Case No. 1:20-cr-00305-DDD       Document 645-2         filed 01/24/25    USDC Colorado      pg
                                       1 of 1354



                                                                                     APPEAL,TERMED
                U.S. District Court − District of Colorado
                      District of Colorado (Denver)
    CRIMINAL DOCKET FOR CASE #: 1:20−cr−00305−DDD All Defendants

  Case title: USA v. Tew et al

   Magistrate judge case number: 1:20−mj−00088−KLM

  Date Filed: 09/29/2020

  Date Terminated: 12/06/2024

  Assigned to: Judge Daniel D.
  Domenico
  Appeals court case number:
  24−1465 USCA−10th Circuit

  Defendant (1)
  Michael Aaron Tew                 represented by Peter R. Bornstein
  TERMINATED: 11/15/2024                           Peter R. Bornstein, Law Offices of
                                                   6060 Greenwood Plaza Boulevard
                                                   Suite 500
                                                   Greenwood Village, CO 80111
                                                   720−354−4440
                                                   Fax: 720−287−5674
                                                   Email: pbornstein@prblegal.com
                                                   TERMINATED: 01/30/2023
                                                   LEAD ATTORNEY
                                                   Designation: CJA Appointment

                                                     David C. Boyer , Jr.
                                                     Newland Legal PLLC
                                                     PO Box 1413
                                                     Midlothian, TX 76065
                                                     469−948−1489
                                                     Email: david@newlandlegal.com
                                                     ATTORNEY TO BE NOTICED
                                                     Designation: CJA Appointment

                                                     Edward R. Harris
                                                     Federal Public Defender's Office
                                                     Districts of Colorado and Wyoming
                                                     633 17th Street
                                                     Suite 1000
                                                     Denver, CO 80202
                                                     303−294−7002
                                                     Email: co.ecf@fd.org


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Case No. 1:20-cr-00305-DDD   Document 645-2    filed 01/24/25   USDC Colorado          pg
                                   2 of 1354



                                           TERMINATED: 10/21/2020
                                           Designation: Public Defender or Community
                                           Defender Appointment

                                           Eric M. Creizman
                                           Armstrong Teasdale LLP
                                           919 Third Avenue
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                                           Designation: Retained

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                                           7350 East Progress Place
                                           Suite 100
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                                           720−505−3861
                                           Email: jason@bowsch.com
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                                           Kristen M. Frost
                                           Ridley McGreevy & Winocur PC
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                                           Denver, CO 80202
                                           303−629−9700
                                           Fax: 303−629−9702
                                           Email: frost@ridleylaw.com
                                           ATTORNEY TO BE NOTICED

                                           Michael Hassard
                                           Tor Ekeland Law, PLLC
                                           30 Wall Street
                                           8th Floor
                                           New York, NY 10005
                                           718−737−7264
                                           Email: michael@torekeland.com
                                           TERMINATED: 03/07/2022
                                           Designation: Retained

                                           Michael J. Sheehan
                                           Sheehan Law
                                           8400 East Prentice Avenue
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                                           Greenwood Village, CO 80111
                                           720−381−6146
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                                                                                            2
Case No. 1:20-cr-00305-DDD          Document 645-2    filed 01/24/25     USDC Colorado          pg
                                          3 of 1354



                                                  TERMINATED: 07/29/2020
                                                  Designation: Retained

                                                  Thomas Richard Ward
                                                  Stuart & Ward LLP
                                                  140 East 19th Avenue
                                                  Suite 300
                                                  Denver, CO 80203
                                                  303−832−8888
                                                  Email: tward@stuartwardlaw.com
                                                  TERMINATED: 03/18/2021
                                                  Designation: CJA Appointment

                                                  Tor Bernhard Ekeland
                                                  Tor Ekeland Law, PLLC
                                                  30 Wall Street
                                                  8th Floor
                                                  New York, NY 10005
                                                  718−737−7264
                                                  Email: tor@torekeland.com
                                                  TERMINATED: 03/07/2022
                                                  Designation: Retained

                                                  Xuan Zhou
                                                  Lewis Brisbois Bisgaard & Smith LLP
                                                  550 West C Street
                                                  Suite 1700
                                                  San Diego, CA 92101
                                                  619−233−1006
                                                  Email: xuan.zhou@lewisbrisbois.com
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                                                  Designation: Retained

                                                  Zachary Lee Newland
                                                  Newland Legal, PLLC
                                                  P.O. Box 3610
                                                  Evergreen, CO 80437
                                                  303−948−1489
                                                  Email: zach@newlandlegal.com
                                                  ATTORNEY TO BE NOTICED
                                                  Designation: CJA Appointment

  Pending Counts                                  Disposition
  18 U.S.C. § 1349 (Conspiracy to                 Defendant shall be imprisoned for a total term of
  Commit Wire Fraud)                              forty−two (42) months. This term consists of
  (1s)                                            forty−two (42) months on each of Counts 1 through
                                                  42 and 44 through 56; and twelve (12) months on
                                                  each of counts 57 through 60; all counts imposed
                                                  concurrently. Three (3) years supervised release on
                                                  each count, to run concurrently. , $5,600.00 special
                                                  assessment, no fine, and restitution in the total


                                                                                                         3
Case No. 1:20-cr-00305-DDD            Document 645-2    filed 01/24/25     USDC Colorado          pg
                                            4 of 1354



                                                    amount of $6,331,622.10.
                                                    Defendant shall be imprisoned for a total term of
                                                    forty−two (42) months. This term consists of
                                                    forty−two (42) months on each of Counts 1 through
                                                    42 and 44 through 56; and twelve (12) months on
  18 U.S.C. § 1343 (Wire Fraud)
                                                    each of counts 57 through 60; all counts imposed
  (2s−40s)
                                                    concurrently. Three (3) years supervised release on
                                                    each count, to run concurrently. , $5,600.00 special
                                                    assessment, no fine, and restitution in the total
                                                    amount of $$6,331,622.10.
                                                    Defendant shall be imprisoned for a total term of
                                                    forty−two (42) months. This term consists of
                                                    forty−two (42) months on each of Counts 1 through
  18 U.S.C. § 1956(h) (Conspiracy                   42 and 44 through 56; and twelve (12) months on
  to Commit Money Laundering)                       each of counts 57 through 60; all counts imposed
  (41s)                                             concurrently. Three (3) years supervised release on
                                                    each count, to run concurrently. , $5,600.00 special
                                                    assessment, no fine, and restitution in the total
                                                    amount of $$6,331,622.10.
                                                    Defendant shall be imprisoned for a total term of
                                                    forty−two (42) months. This term consists of
  18 U.S.C. § 1957 (Engaging in                     forty−two (42) months on each of Counts 1 through
  Monetary Transactions in                          42 and 44 through 56; and twelve (12) months on
  Property Derived from Specified                   each of counts 57 through 60; all counts imposed
  Unlawful Activity)                                concurrently. Three (3) years supervised release on
  (42s)                                             each count, to run concurrently. , $5,600.00 special
                                                    assessment, no fine, and restitution in the total
                                                    amount of $$6,331,622.10.
                                                    Defendant shall be imprisoned for a total term of
                                                    forty−two (42) months. This term consists of
  18 U.S.C. § 1957 (Engaging in                     forty−two (42) months on each of Counts 1 through
  Monetary Transactions in                          42 and 44 through 56; and twelve (12) months on
  Property Derived from Specified                   each of counts 57 through 60; all counts imposed
  Unlawful Activity)                                concurrently. Three (3) years supervised release on
  (44s−56s)                                         each count, to run concurrently. , $5,600.00 special
                                                    assessment, no fine, and restitution in the total
                                                    amount of $6,331,622.10.
                                                    Defendant shall be imprisoned for a total term of
                                                    forty−two (42) months. This term consists of
                                                    forty−two (42) months on each of Counts 1 through
  26 U.S.C. § 7203 (Willful Failure                 42 and 44 through 56; and twelve (12) months on
  to File Tax Return)                               each of counts 57 through 60; all counts imposed
  (57s−60s)                                         concurrently. Three (3) years supervised release on
                                                    each count, to run concurrently. , $5,600.00 special
                                                    assessment, no fine, and restitution in the total
                                                    amount of $6,331,622.10.

  Highest Offense Level
  (Opening)


                                                                                                           4
Case No. 1:20-cr-00305-DDD          Document 645-2     filed 01/24/25     USDC Colorado   pg
                                          5 of 1354



  Felony

  Terminated Counts                                 Disposition
  18 U.S.C. § 1349 (Attempt and
  Conspiracy)
  (1)
  18 U.S.C. § 1957 (Engaging in
  Monetary Transactions in
  Property Derived from Specified
  Unlawful Activity)
  (2)
  26 U.S.C. § 7201 (Attempt to
  Evade or Defeat Tax)
  (3)

  Highest Offense Level
  (Terminated)
  Felony

  Complaints                                        Disposition
  18 U.S.C. § 19569(h) Conspiracy
  to Commit Money Laundering

  Assigned to: Judge Daniel D.
  Domenico
  Appeals court case number:
  24−1333 USCA−10th Circuit

  Defendant (2)
  Kimberley Ann Tew                     represented by Peter R. Bornstein
  TERMINATED: 08/13/2024                               (See above for address)
  also known as                                        TERMINATED: 12/29/2022
  Kimberley Vertanen                                   LEAD ATTORNEY
  TERMINATED: 08/13/2024                               Designation: CJA Appointment

                                                      David Scott Kaplan
                                                      Stimson LaBranche Hubbard, LLC
                                                      1652 North Downing Street
                                                      Denver, CO 80203
                                                      720−689−8909
                                                      Fax: 720−689−8909
                                                      Email: kaplan@slhlegal.com
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: CJA Appointment

                                                      Jamie Hughes Hubbard


                                                                                               5
Case No. 1:20-cr-00305-DDD          Document 645-2     filed 01/24/25       USDC Colorado           pg
                                          6 of 1354



                                                      Stimson LaBranche Hubbard, LLC
                                                      1652 North Downing Street
                                                      Denver, CO 80218
                                                      720−689−8909
                                                      Email: hubbard@slhlegal.com
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: CJA Appointment

                                                      Michael Hassard
                                                      (See above for address)
                                                      TERMINATED: 03/07/2022
                                                      Designation: Retained

                                                      Tor Bernhard Ekeland
                                                      (See above for address)
                                                      TERMINATED: 03/07/2022
                                                      Designation: Retained

                                                      Xuan Zhou
                                                      (See above for address)
                                                      TERMINATED: 03/07/2022
                                                      Designation: Retained

  Pending Counts                                      Disposition
                                                      Defendant shall be imprisoned for a total term of
                                                      forty−eight (48) months on each count to run
  18 U.S.C. § 1349 (Conspiracy to
                                                      concurrently, three (3) years supervised release on
  Commit Wire Fraud)
                                                      each count to run concurrently, $100.00 special
  (1)
                                                      assessment ($1,200 total), no fine, and restitution in
                                                      the total amount of $5,023,878.50.
                                                      Defendant shall be imprisoned for a total term of
                                                      forty−eight (48) months on each count to run
  18 U.S.C. § 1343 (Wire Fraud)                       concurrently, three (3) years supervised release on
  (21−22)                                             each count to run concurrently, $100.00 special
                                                      assessment ($1,200 total), no fine, and restitution in
                                                      the total amount of $5,023,878.50.
                                                      Defendant shall be imprisoned for a total term of
                                                      forty−eight (48) months on each count to run
  18 U.S.C. § 1343 (Wire Fraud)                       concurrently, three (3) years supervised release on
  (25−26)                                             each count to run concurrently, $100.00 special
                                                      assessment ($1,200 total), no fine, and restitution in
                                                      the total amount of $5,023,878.50.
                                                      Defendant shall be imprisoned for a total term of
                                                      forty−eight (48) months on each count to run
  18 U.S.C. § 1343 (Wire Fraud)                       concurrently, three (3) years supervised release on
  (31−32)                                             each count to run concurrently, $100.00 special
                                                      assessment ($1,200 total), no fine, and restitution in
                                                      the total amount of $5,023,878.50.



                                                                                                               6
Case No. 1:20-cr-00305-DDD            Document 645-2     filed 01/24/25       USDC Colorado           pg
                                            7 of 1354



  18 U.S.C. § 1956(h) (Conspiracy                       Defendant shall be imprisoned for a total term of
  to Commit Money Laundering)                           forty−eight (48) months on each count to run
  (41)                                                  concurrently, three (3) years supervised release on
                                                        each count to run concurrently, $100.00 special
                                                        assessment ($1,200 total), no fine, and restitution in
                                                        the total amount of $5,023,878.50.
                                                        Defendant shall be imprisoned for a total term of
  18 U.S.C. § 1957 (Engaging in
                                                        forty−eight (48) months on each count to run
  Monetary Transactions in Property
                                                        concurrently, three (3) years supervised release on
  Derived from Specified Unlawful
                                                        each count to run concurrently, $100.00 special
  Activity)
                                                        assessment ($1,200 total), no fine, and restitution in
  (43−44)
                                                        the total amount of $5,023,878.50.
                                                        Defendant shall be imprisoned for a total term of
  18 U.S.C. § 1957 (Engaging in
                                                        forty−eight (48) months on each count to run
  Monetary Transactions in Property
                                                        concurrently, three (3) years supervised release on
  Derived from Specified Unlawful
                                                        each count to run concurrently, $100.00 special
  Activity)
                                                        assessment ($1,200 total), no fine, and restitution in
  (47)
                                                        the total amount of $5,023,878.50.
                                                        Defendant shall be imprisoned for a total term of
  18 U.S.C. § 1957 (Engaging in
                                                        forty−eight (48) months on each count to run
  Monetary Transactions in Property
                                                        concurrently, three (3) years supervised release on
  Derived from Specified Unlawful
                                                        each count to run concurrently, $100.00 special
  Activity)
                                                        assessment ($1,200 total), no fine, and restitution in
  (56)
                                                        the total amount of $5,023,878.50.

  Highest Offense Level (Opening)
  Felony

  Terminated Counts                                     Disposition
  18 U.S.C. § 1343 (Wire Fraud)
                                                        Dismissed by Court during jury trial.
  (16)
  18 U.S.C. § 1957 (Engaging in
  Monetary Transactions in Property
  Derived from Specified Unlawful                       Defendant was found not guilty by jury at trial.
  Activity)
  (48)

  Highest Offense Level
  (Terminated)
  Felony

  Complaints                                            Disposition
  None

  Assigned to: Judge Daniel D.
  Domenico

                                                                                                                 7
Case No. 1:20-cr-00305-DDD          Document 645-2       filed 01/24/25      USDC Colorado          pg
                                          8 of 1354




  Defendant (3)
  Jonathan K. Yioulos                   represented by Michael John Tallon
  TERMINATED: 12/06/2024                               Michael J. Tallon, Attorney at Law
                                                       401 Stony Brook Road
                                                       Rush, NY 14543−9419
                                                       585−329−8139
                                                       Email: mtallon@tallonlaw.com
                                                       TERMINATED: 07/20/2023
                                                       ATTORNEY TO BE NOTICED
                                                       Designation: Retained

                                                       Richard Kent Kornfeld
                                                       Recht & Kornfeld, P.C.
                                                       1600 Stout Street
                                                       Suite 1400
                                                       Denver, CO 80202
                                                       303−573−1900
                                                       Fax: 303−446−9400
                                                       Email: rick@rklawpc.com
                                                       ATTORNEY TO BE NOTICED
                                                       Designation: Retained

  Pending Counts                                       Disposition
                                                       Defendant shall be imprisoned for a total term of
                                                       two (2) months on each count to run concurrently,
  18 U.S.C. § 1349 (Conspiracy to
                                                       three (3) years supervised release on each count to
  Commit Wire Fraud)
                                                       run concurrently, $200.00 special assessment, no
  (1)
                                                       fine, and restitution in the total amount of
                                                       $5,023,878.50.
                                                       Defendant shall be imprisoned for a total term of
                                                       two (2) months on each count to run concurrently,
  18 U.S.C. § 1343 (Wire Fraud)                        three (3) years supervised release on each count to
  (39)                                                 run concurrently, $200.00 special assessment, no
                                                       fine, and restitution in the total amount of
                                                       $5,023,878.50.

  Highest Offense Level (Opening)
  Felony

  Terminated Counts                                    Disposition
  18 U.S.C. § 1343 (Wire Fraud)                        Dismissed on United States of Americas Motion to
  (2−38)                                               Dismiss Counts.
  18 U.S.C. § 1343 (Wire Fraud)                        Dismissed on United States of Americas Motion to
  (40)                                                 Dismiss Counts.

  Highest Offense Level


                                                                                                             8
Case No. 1:20-cr-00305-DDD         Document 645-2     filed 01/24/25     USDC Colorado        pg
                                         9 of 1354



  (Terminated)
  Felony

  Complaints                                         Disposition
  None



  Movant
  National Air Cargo Holdings, Inc.          represented by Eric S. Galler
                                                            Galler Corporate Law Group
                                                            9466 Georgia Avenue
                                                            Suite 130
                                                            Silver Spring, MD 20910
                                                            301−728−3850
                                                            Email: egaller@gcorplaw.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Retained

                                                             Nancy Lin Cohen
                                                             Cohen Black Law LLC
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                                                             Denver, CO 80203
                                                             720−699−2323
                                                             Email: nancy@cohenblacklaw.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Retained



  Movant
  National Air Cargo Group, Inc.              represented by Eric S. Galler
  doing business as                                          (See above for address)
  National Airlines                                          LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Retained

                                                             Nancy Lin Cohen
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Retained



  Movant
  Christopher J. Alf                          represented by Eric S. Galler
                                                             (See above for address)


                                                                                                   9
Case No. 1:20-cr-00305-DDD   Document 645-2 filed 01/24/25       USDC Colorado         pg
                                  10 of 1354



                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: Retained

                                                      Nancy Lin Cohen
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: Retained



  Movant
  Atlantic Union Bank                  represented by Lisa Marie Saccomano
                                                      Kutak Rock LLP
                                                      2001 16th Street
                                                      Suite 1800
                                                      Denver, CO 80202
                                                      303−297−2400
                                                      Email: lisa.saccomano@kutakrock.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: Retained



  Plaintiff
  USA                                  represented by Matthew T. Kirsch
                                                      U.S. Attorney's Office
                                                      District of Colorado
                                                      1801 California Street
                                                      Suite 1600
                                                      Denver, CO 80202
                                                      303−454−0100
                                                      Fax: 303−454−0402
                                                      Email: matthew.kirsch@usdoj.gov
                                                      TERMINATED: 11/17/2021
                                                      LEAD ATTORNEY
                                                      Designation: Federal Agency Attorney

                                                     Albert C. Buchman
                                                     U.S. Attorney's Office
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                                                     Suite 1600
                                                     Denver, CO 80202
                                                     303−454−0228
                                                     Email: al.buchman@usdoj.gov
                                                     TERMINATED: 12/12/2023
                                                     Designation: Federal Agency Attorney

                                                     Andrea Lee Surratt
                                                     Crowell & Moring LLP


                                                                                             10
Case No. 1:20-cr-00305-DDD   Document 645-2 filed 01/24/25     USDC Colorado        pg
                                  11 of 1354



                                                   District of Colorado
                                                   1601 Wewatta Street
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                                                   303−524−8645
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                                                   TERMINATED: 06/16/2022
                                                   Designation: Federal Agency Attorney

                                                   Bryan David Fields
                                                   U.S. Attorney's Office
                                                   District of Colorado
                                                   1801 California Street
                                                   Suite 1600
                                                   Denver, CO 80202
                                                   303−454−0100
                                                   Fax: 303−454−0402
                                                   Email: bryan.fields3@usdoj.gov
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                                                   Designation: Federal Agency Attorney

                                                   Hetal Janak Doshi
                                                   U.S. Attorney's Office
                                                   District of Colorado
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                                                   202−808−4241
                                                   Email: hetal.doshi@usdoj.gov
                                                   TERMINATED: 02/02/2022
                                                   Designation: Federal Agency Attorney

                                                   Laura Beth Hurd
                                                   U.S. Attorney's Office
                                                   District of Colorado
                                                   1801 California Street
                                                   Suite 1600
                                                   Denver, CO 80202
                                                   303−454−0135
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                                                   Email: laura.hurd@usdoj.gov
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Federal Agency Attorney

                                                   Martha Ann Paluch
                                                   U.S. Attorney's Office
                                                   District of Colorado
                                                   1801 California Street
                                                   Suite 1600
                                                   Denver, CO 80202
                                                   303−454−0100
                                                   Fax: 303−454−0402


                                                                                          11
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25            USDC Colorado         pg
                                       12 of 1354



                                                              Email: Martha.paluch@usdoj.gov
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Federal Agency Attorney

                                                              Sarah Hunter Weiss
                                                              U.S. Attorney's Office
                                                              District of Colorado
                                                              1801 California Street
                                                              Suite 1600
                                                              Denver, CO 80202
                                                              303−454−0100
                                                              Email: sarah.weiss@usdoj.gov
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Federal Agency Attorney

   Date Filed   #   Docket Text
   07/08/2020   1   CRIMINAL COMPLAINT as to Michael Aaron Tew (1). (Attachments: # 1
                    Affidavit, # 2 Criminal Information Sheet) (cmadr, ) [1:20−mj−00088−KLM]
                    (Entered: 07/09/2020)
   07/08/2020   2   Arrest Warrant Issued in case as to Michael Aaron Tew. (cmadr, )
                    [1:20−mj−00088−KLM] (Entered: 07/09/2020)
   07/09/2020   3   Arrest of Michael Aaron Tew. Initial Appearance set for 7/9/2020 02:00 PM in
                    Courtroom A 401 before Magistrate Judge Kristen L. Mix. (Text Only entry)(cmadr,
                    ) [1:20−mj−00088−KLM] (Entered: 07/09/2020)
   07/09/2020   4   NOTICE OF ATTORNEY APPEARANCE: Michael James Sheehan appearing for
                    Michael Aaron TewAttorney Michael James Sheehan added to party Michael Aaron
                    Tew(pty:dft) (Sheehan, Michael) [1:20−mj−00088−KLM] (Entered: 07/09/2020)
   07/09/2020   5   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew (Doshi,
                    Hetal) [1:20−mj−00088−KLM] (Entered: 07/09/2020)
   07/09/2020   6   ORDER ***granting 5 Motion as to Michael Aaron Tew (1), by Magistrate Judge
                    Kristen L. Mix on 7/9/20. (nmarb, ) (nmarb, ). [1:20−mj−00088−KLM] (Entered:
                    07/09/2020)
   07/09/2020   7   MINUTE ENTRY for Initial Appearance as to Michael Aaron Tew held before
                    Magistrate Judge Kristen L. Mix on 7/9/2020. Defendant present in custody via video
                    conference. Defendant advised. Defendant has retained private counsel and is not
                    requesting court appointed counsel. Parties address the Court regarding release
                    conditions. Bond set as to Michael Aaron Tew (1) $20,000 Unsecured with the
                    conditions as set forth in the Order Setting Conditions of Release. Preliminary
                    Examination set for 7/29/2020 2:00 PM in Courtroom A501 before Magistrate Judge
                    Michael E. Hegarty. Defendant advised of conditions of bond and remanded for
                    processing and release. (Total time: 14 minutes, Hearing time: 2:08−2:22)

                    APPEARANCES: Hetal Doshi on behalf of the Government via video conference,
                    Michael Sheehan on behalf of the defendant, Angela Ledesma on behalf of pretrial
                    via video conference FTR: KLM Courtroom A401. (lgale, ) Text Only Entry
                    [1:20−mj−00088−KLM] (Entered: 07/09/2020)



                                                                                                          12
Case No. 1:20-cr-00305-DDD       Document 645-2 filed 01/24/25                USDC Colorado           pg
                                      13 of 1354



   07/09/2020    8   Unsecured Bond Entered as to Michael Aaron Tew in amount of $20,000 (lgale, )
                     [1:20−mj−00088−KLM] (Entered: 07/09/2020)
   07/09/2020    9   ORDER Setting Conditions of Release as to Michael Aaron Tew (1) $20,000
                     Unsecured by Magistrate Judge Kristen L. Mix on 7/9/20. (lgale, )
                     [1:20−mj−00088−KLM] (Entered: 07/09/2020)
   07/10/2020   11   Passport Receipt as to Michael Aaron Tew.Surrender of passport re Bond Conditions;
                     Passport Number 484644160 issued by USA (jtorr, ) [1:20−mj−00088−KLM]
                     (Entered: 07/10/2020)
   07/15/2020   12   Arrest Warrant Returned Executed on 7/8/20 in case as to Michael Aaron Tew.
                     (nmarb, ) [1:20−mj−00088−KLM] (Entered: 07/15/2020)
   07/20/2020   13   Unopposed MOTION to Withdraw as Attorney by Michael Sheehan by Michael
                     Aaron Tew. (Sheehan, Michael) [1:20−mj−00088−KLM] (Entered: 07/20/2020)
   07/21/2020   14   MINUTE ORDER by Magistrate Judge Michael E. Hegarty on 21 July 2020 as to
                     Michael Aaron Tew. The Court is not in possession of a financial affidavit by which
                     to determine whether court appointed counsel is appropriate in this case.Therefore,
                     on or before July 24, 2020, Defendant shall complete and file a financial affidavit by
                     which the Court may determine whether to appoint counsel for Defendant. (cmadr, )
                     [1:20−mj−00088−KLM] (Entered: 07/21/2020)
   07/25/2020   15   SUPPLEMENT to 13 Unopposed MOTION to Withdraw as Attorney by Michael
                     Sheehan by Michael Aaron Tew (Sheehan, Michael) [1:20−mj−00088−KLM]
                     (Entered: 07/25/2020)
   07/28/2020   16   Joint MOTION to Exclude Time Before Indictment by USA as to Michael Aaron
                     Tew. (Attachments: # 1 Proposed Order (PDF Only))(Doshi, Hetal)
                     [1:20−mj−00088−KLM] (Entered: 07/28/2020)
   07/28/2020   17   NOTICE OF ATTORNEY APPEARANCE: Eric M. Creizman appearing for
                     Michael Aaron Tew. Attorney Eric M. Creizman added to party Michael Aaron Tew.
                     (pty:dft) (nmarb, ) [1:20−mj−00088−KLM] (Entered: 07/29/2020)
   07/29/2020   18   Minute ORDER by Magistrate Judge Michael E. Hegarty on 29 July 2020. For good
                     cause shown pursuant to D.C. Colo. LAttyR 5(b), the Motion to Withdraw filedby
                     Michael Sheehan 13 is granted. Mr. Sheehan's representation of the Defendant in this
                     case is terminated. Defendant will continue to be represented Eric Creizman. (cmadr,
                     ) [1:20−mj−00088−KLM] (Entered: 07/29/2020)
   07/29/2020   19   COURTROOM MINUTES for proceedings held before Magistrate Judge Michael E.
                     Hegarty: Preliminary Hearing as to Michael Aaron Tew held on 7/29/2020.
                     Defendant present on bond. Preliminary hearing waived. Status Conference set for
                     10/14/2020 at 02:00 PM in Courtroom A 501 before Magistrate Judge Michael E.
                     Hegarty. (Total time: 8 minutes, Hearing time: 2:12 p.m.−2:20 p.m.)

                     APPEARANCES: Hetal Doshi and Matthew Kirsch on behalf of the Government,
                     Eric Creizman on behalf of the defendant. FTR: A501. (cthom, ) Text Only Entry
                     [1:20−mj−00088−KLM] (Entered: 07/29/2020)
   07/29/2020   20   WAIVER of Preliminary Hearing by Michael Aaron Tew (cthom, )
                     [1:20−mj−00088−KLM] (Entered: 07/29/2020)
   07/29/2020   21


                                                                                                              13
Case No. 1:20-cr-00305-DDD       Document 645-2 filed 01/24/25                USDC Colorado          pg
                                      14 of 1354



                     ORDER granting 16 Motion to Exclude as to Michael Aaron Tew (1) by Magistrate
                     Judge Michael E. Hegarty on 7/29/2020. (cthom, ) [1:20−mj−00088−KLM] (Entered:
                     07/29/2020)
   08/04/2020   22   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew (Doshi,
                     Hetal) [1:20−mj−00088−KLM] (Entered: 08/04/2020)
   08/07/2020   24   NOTICE OF ATTORNEY APPEARANCE Matthew T. Kirsch appearing for USA.
                     Attorney Matthew T. Kirsch added to party USA(pty:pla) (Kirsch, Matthew)
                     [1:20−mj−00088−KLM] (Entered: 08/07/2020)
   08/12/2020   25   MOTION to Withdraw as Attorney by Eric M. Creizman by Michael Aaron Tew.
                     (Creizman, Eric) [1:20−mj−00088−KLM] (Entered: 08/12/2020)
   08/12/2020   26   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew. (Creizman, Eric)
                     [1:20−mj−00088−KLM] (Entered: 08/12/2020)
   08/12/2020   27   MOTION for Leave to Restrict by Michael Aaron Tew. (Creizman, Eric)
                     [1:20−mj−00088−KLM] (Entered: 08/12/2020)
   08/13/2020   28   Minute ORDER by Magistrate Judge Kristen L. Mix on 13 August 2020. IT IS
                     HEREBY ORDERED that, on or before August 20, 2020, Defendant shall complete
                     and file a financial affidavit (attached to this Minute Order) by which the Court may
                     determine whether to appoint counsel for Defendant. IT IS FURTHER ORDERED
                     that the Motion to Withdraw # 25 is GRANTED to the extent that Mr. Creizman is
                     relieved of all further representation of Defendant. (Attachments: # 1 CJA
                     Attachment) (cmadr, ) [1:20−mj−00088−KLM] (Entered: 08/13/2020)
   08/17/2020   29   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew. (Attachments: # 1
                     Affidavit CJA 23 Affidavit)(Creizman, Eric) [1:20−mj−00088−KLM] (Entered:
                     08/17/2020)
   08/19/2020   30   MINUTE ORDER APPOINTING COUNSEL Under CJA, as to Michael Aaron Tew
                     by Magistrate Judge Kristen L. Mix on 8/19/20. IT IS FURTHER ORDERED that if
                     it appears at any time that the Defendant can afford to pay counsel, reimbursement of
                     attorney fees may be required pursuant to 18 U.S.C. §3006A(f). (nmarb, )
                     [1:20−mj−00088−KLM] (Entered: 08/19/2020)
   08/24/2020   31   NOTICE OF ATTORNEY APPEARANCE: Edward R. Harris appearing for Michael
                     Aaron TewAttorney Edward R. Harris added to party Michael Aaron Tew(pty:dft)
                     (Harris, Edward) [1:20−mj−00088−KLM] (Entered: 08/24/2020)
   09/17/2020   32   MINUTE ORDER by Magistrate Judge Kristen L. Mix on 9/17/20 GRANTING 27
                     Motion for Leave to Restrict, as to Michael Aaron Tew (1). Pursuant
                     toD.COLO.LCrR 47.1, the Clerk of the Court is directed to maintain the following
                     document UNDER RESTRICTION at LEVEL 3:1 Declaration of Eric M. Creizman
                     in Support of Motion to Withdraw as Counsel to Michael Tew [#26]. (nmarb, )
                     [1:20−mj−00088−KLM] (Entered: 09/17/2020)
   09/17/2020   33   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew
                     (Attachments: # 1 Proposed Order (PDF Only))(Doshi, Hetal)
                     [1:20−mj−00088−KLM] (Entered: 09/17/2020)
   09/17/2020   34   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew (Doshi,
                     Hetal) [1:20−mj−00088−KLM] (Entered: 09/17/2020)



                                                                                                             14
Case No. 1:20-cr-00305-DDD       Document 645-2 filed 01/24/25                USDC Colorado           pg
                                      15 of 1354



   09/18/2020   35   RESTRICTED DOCUMENT − Level 1: as to Michael Aaron Tew. (nmarb, )
                     [1:20−mj−00088−KLM] (Entered: 09/18/2020)
   09/18/2020   36   RESTRICTED DOCUMENT − Level 1: as to Michael Aaron Tew. (nmarb, )
                     [1:20−mj−00088−KLM] (Entered: 09/18/2020)
   09/22/2020   37   MINUTE ORDER by Magistrate Judge Kristen L. Mix on 9/22/20 as to Michael
                     Aaron Tew re 36 Restricted Document − Level 1. Status Conference set for
                     11/9/2020 10:00 AM in Courtroom A401 before Magistrate Judge Kristen L. Mix.
                     Text Only Entry (lgale, ) [1:20−mj−00088−KLM] (Entered: 09/22/2020)
   09/24/2020   38   Utility Setting Hearings as to Michael Aaron Tew: Text Only Entry Status
                     Conference set for 9/29/2020 01:30 PM in Courtroom A 502 before Magistrate Judge
                     Nina Y. Wang. All parties shall appear by video/telephone conference. (bwilk, )
                     [1:20−mj−00088−KLM] (Entered: 09/28/2020)
   09/29/2020   39   MOTION for Leave to Restrict by Michael Aaron Tew. (Harris, Edward)
                     [1:20−mj−00088−KLM] (Entered: 09/29/2020)
   09/29/2020   40   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Harris, Edward)
                     [1:20−mj−00088−KLM] (Entered: 09/29/2020)
   09/29/2020   41   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Harris, Edward)
                     [1:20−mj−00088−KLM] (Entered: 09/29/2020)
   09/29/2020   42   Unopposed MOTION to Modify 8 Bond, 7 Initial Appearance,,,, Bond Set/Reset,,,,
                     Set Hearings,,,, Text Only Entry − Prompts,,, 9 Order Setting Conditions of Release
                     by Michael Aaron Tew. (Harris, Edward) [1:20−mj−00088−KLM] (Entered:
                     09/29/2020)
   09/29/2020   44   COURTROOM MINUTES for Status Conference, and Arraignment as to Michael
                     Aaron Tew held on 9/29/2020 before Magistrate Judge Nina Y. Wang. Defendant
                     present on bond appearing by videoconference. Defendant advised regarding
                     proceeding by remote means pursuant to CARES Act. Defendant consents.
                     Defendant waives proceeding by indictment. Defendant sworn. Defendant questioned
                     regarding waiver. Waiver tendered to the court. Information and penalty sheet
                     tendered. Criminal Case number issues is 20−cr−00305. Defendant advised regarding
                     the charges, penalties, and fines. Plea of NOT GUILTY entered by defendant. Parties
                     do not believe a discovery conference is necessary in this matter. Defendant intends
                     to file a motion to modify bond which will likely be referred to Judge Mix since she
                     set the original conditions. Parties discuss process for Restricting #39 to Level 1 and
                     the notice period. Defendants bond continues. (Total time: 16 minutes, Hearing time:
                     1:33−1:49)

                     APPEARANCES: Hetal Doshi and Matthew Krisch on behalf of the Government,
                     Edward Harris on behalf of the Defendant. FTR: NYW−CRD. (bwilk, ) Text Only
                     Entry [1:20−mj−00088−KLM] (Entered: 09/29/2020)
   09/29/2020   45   WAIVER OF INDICTMENT by Michael Aaron Tew by Magistrate Judge Nina Y.
                     Wang on 9/29/2020. (bwilk, ) [1:20−mj−00088−KLM] (Entered: 09/30/2020)
   09/29/2020   49   UNRESTRICTED INFORMATION − Level 2 as to Michael Aaron Tew (1) count(s)
                     1, 2, 3. (Attachments: # 1Penalty Sheet ) (bwilk, ) Modified on 10/9/2020 to adjust
                     restriction level (athom, ). Modified on 1/20/2021 to unrestrict pursuant to 81 Order
                     (athom, ). (Entered: 10/05/2020)


                                                                                                               15
Case No. 1:20-cr-00305-DDD       Document 645-2 filed 01/24/25                USDC Colorado          pg
                                      16 of 1354



   09/30/2020   46   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew (Doshi,
                     Hetal) [1:20−mj−00088−KLM] (Entered: 09/30/2020)
   09/30/2020   48   RESTRICTED DOCUMENT − Level 1 as to Michael Aaron Tew. (jgonz, ) (Entered:
                     10/02/2020)
   10/01/2020   47   NOTICE of Disposition by Michael Aaron Tew (Harris, Edward) (Entered:
                     10/01/2020)
   10/06/2020   50   MINUTE ORDER by Magistrate Judge Kristen L. Mix on 10/6/20 as to Michael
                     Aaron Tew re 42 Unopposed MOTION to Modify 8 Bond. Motion Hearing set for
                     10/8/2020 1:30 PM in Courtroom A 401 before Magistrate Judge Kristen L. Mix.
                     Text Only Entry (lgale, ) (Entered: 10/06/2020)
   10/07/2020   51   ORDER Setting Change of Plea hearing and Authorizing VTC or Telephone
                     Conference as to Michael Aaron Tew re 47 Notice of Disposition. Change of Plea
                     Hearing set for 10/22/2020 10:30 AM in Courtroom A 702 before Judge Daniel D.
                     Domenico. The change−of−plea hearing in the above−referenced matter shall be
                     conducted by VTC, or by telephone conference if VTC is not reasonably available.
                     By Judge Daniel D. Domenico on 10/07/2020. (athom, ) (Entered: 10/07/2020)
   10/08/2020   52   MINUTE ENTRY for Motion Hearing as to Michael Aaron Tew held before
                     Magistrate Judge Kristen L. Mix on 10/8/2020. Defendant present on bond via video
                     conference. Parties address the Court regarding 42 Motion to Modify as to Michael
                     Aaron Tew (1). For the reasons stated on the record, it is: ORDERED: 42 Motion to
                     Modify as to Michael Aaron Tew (1) is GRANTED. Defendant's bond is modified to
                     remove the condition of home detention. Gps will remain in effect and a 9:00 pm
                     curfew is imposed.Defendant continued on bond. (Total time: 4 minutes, Hearing
                     time: 1:31−1:35)

                     APPEARANCES (ALL PARTIES APPEAR BY VIDEO CONFERENCE):
                     Hetal Doshi and Matthew Kirsch on behalf of the Government, Edward Harris on
                     behalf of the defendant, Carolos Morales on behalf of probation. FTR: KLM
                     Courtroom A401. (lgale, ) Text Only Entry (Entered: 10/08/2020)
   10/21/2020   54   MOTION to Withdraw as Attorney by Edward R. Harris by Michael Aaron Tew.
                     (Harris, Edward) (Entered: 10/21/2020)
   10/21/2020   55   ORDER granting 54 Motion to Withdraw as Attorney. Good cause having been
                     shown, attorney Edward R. Harris is relieved of any further representation in this
                     case. The Clerk of Court is instructed to terminate Mr. Harris as counsel of record,
                     and to remove his name from the electronic certificate of mailing. An attorney from
                     the Criminal Justice Act panel shall be appointed to represent Defendant Michael
                     Aaron Tew. Absent extraordinary circumstances, no further motions to withdraw or
                     motions to substitute counsel will be granted. The court reminds Mr. Tew that
                     counsel is under a duty to provide him prudent and considered advice, even if that
                     advice is not what Mr. Tew hopes to hear. SO ORDERED by Judge Daniel D.
                     Domenico on 10/21/2020. Text Only Entry (dddlc2, ) (Entered: 10/21/2020)
   10/21/2020   56   ORDER VACATING the change of plea hearing as to Michael Aaron Tew. In the
                     light of this court's order granting Edward Harris' motion to withdraw as counsel for
                     Mr. Tew 55 , the change of plea hearing set for tomorrow, 10/22/2020, is hereby
                     VACATED. SO ORDERED by Judge Daniel D. Domenico on 10/21/2020. Text
                     Only Entry (dddlc2, ) (Entered: 10/21/2020)


                                                                                                             16
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25                USDC Colorado           pg
                                       17 of 1354



   10/21/2020   57   Letter by Michael Aaron Tew. (athom, ) (Entered: 10/21/2020)
   10/22/2020   58   NOTICE OF ATTORNEY APPEARANCE: Thomas Richard Ward appearing for
                     Michael Aaron TewAttorney Thomas Richard Ward added to party Michael Aaron
                     Tew(pty:dft) (Ward, Thomas) (Entered: 10/22/2020)
   10/22/2020   59   MINUTE ORDER re: 47 notice of disposition. Defendant shall file a status report
                     regarding the status of his plea and any other issues he wishes to bring to the court's
                     attention no later than 11/12/2020. SO ORDERED by Judge Daniel D. Domenico on
                     10/22/2020. Text Only Entry (dddlc2, ) (Entered: 10/22/2020)
   10/27/2020   60   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew
                     (Attachments: # 1 Proposed Order (PDF Only))(Doshi, Hetal) (Entered: 10/27/2020)
   10/27/2020   61   Unopposed MOTION for Leave to Restrict by USA as to Michael Aaron Tew.
                     (Attachments: # 1 Proposed Order (PDF Only))(Doshi, Hetal) (Entered: 10/27/2020)
   10/27/2020   62   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew (Doshi,
                     Hetal) (Entered: 10/27/2020)
   10/28/2020   63   RESTRICTED DOCUMENT − Level 1: as to Michael Aaron Tew. (athom, )
                     (Entered: 10/28/2020)
   10/28/2020   64   ORDER granting 61 Motion for Leave to Restrict as to Michael Aaron Tew. By
                     Judge Daniel D. Domenico on 10/28/2020. Text Only Entry (athom, ) (Entered:
                     10/28/2020)
   11/12/2020   65   MOTION for Leave to Restrict by Michael Aaron Tew. (Ward, Thomas) (Entered:
                     11/12/2020)
   11/12/2020   66   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Ward, Thomas)
                     (Entered: 11/12/2020)
   11/12/2020   67   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Ward, Thomas)
                     (Entered: 11/12/2020)
   11/13/2020   68   ORDER granting 65 Motion for Leave to Restrict as to Michael Aaron Tew. For
                     good cause shown, documents 66 and 67 shall remain at a Level 2 Restriction. SO
                     ORDERED by Judge Daniel D. Domenico on 11/13/2020. Text Only Entry (dddlc2, )
                     (Entered: 11/13/2020)
   11/13/2020   69   MINUTE ORDER re Status Report 67 . Defendant shall file a status report regarding
                     the status of his plea and any other issues he wishes to bring to the court's attention
                     no later than 12/10/2020. SO ORDERED by Judge Daniel D. Domenico on
                     11/13/2020. Text Only Entry (dddlc2, ) (Entered: 11/13/2020)
   12/10/2020   70   MOTION for Leave to Restrict by Michael Aaron Tew. (Ward, Thomas) (Entered:
                     12/10/2020)
   12/10/2020   71   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Ward, Thomas)
                     (Entered: 12/10/2020)
   12/10/2020   72   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Ward, Thomas)
                     (Entered: 12/10/2020)
   12/11/2020   73   ORDER granting 70 Motion for Leave to Restrict as to Michael Aaron Tew (1). For
                     good cause shown, Docs. 71 and 72 shall remain at a Level 2 restriction. Defendant is


                                                                                                               17
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25                  USDC Colorado            pg
                                       18 of 1354



                     further ORDERED to file a status report in this matter no later than noon on
                     12/23/2020. SO ORDERED by Judge Daniel D. Domenico on 12/11/2020. Text Only
                     Entry (dddlc2, ) (Entered: 12/11/2020)
   12/11/2020   74   Utility Setting/Resetting Deadlines/Hearings as to Michael Aaron Tew: Status Report
                     due by 12/23/2020 pursuant to 73 Order. Text Only Entry (athom, ) (Entered:
                     12/11/2020)
   12/23/2020   75   STATUS REPORT by Michael Aaron Tew (Ward, Thomas) (Entered: 12/23/2020)
   12/28/2020   76   Order regarding status report 75 filed by Michael Aaron Tew. In light of Mr. Tew's
                     withdrawal of his notice of disposition, unless the parties file a motion to the
                     contrary, the court will remove the restriction on the information on 1/4/21. SO
                     ORDERED by Judge Daniel D. Domenico on 12/28/2020. Text Only Entry (dddlc2, )
                     (Entered: 12/28/2020)
   01/04/2021   77   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Ward, Thomas)
                     (Entered: 01/04/2021)
   01/04/2021   78   MOTION for Leave to Restrict by Michael Aaron Tew. (Ward, Thomas) (Entered:
                     01/04/2021)
   01/05/2021   79   MINUTE ORDER as to Defendant Michael Aaron Tew's Motion to Restrict 77 . The
                     government shall file its response in opposition to the motion, if any, no later than
                     1/12/2021. SO ORDERED by Judge Daniel D. Domenico on 1/5/2021. Text Only
                     Entry (dddlc2, ) (Entered: 01/05/2021)
   01/12/2021   80   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Doshi, Hetal)
                     (Entered: 01/12/2021)
   01/20/2021   81   Order Denying 78 Motion to Maintain Restriction on Indictment. Mr. Tew has failed
                     to identify a private interest in restriction of the information in this case sufficient to
                     overcome the presumption in favor of public access to court documents. His motion
                     to restrict access is thus DENIED. The clerk is directed to un−restrict the information
                     in this case, Doc. 49. SO ORDERED by Judge Daniel D. Domenico on 1/20/2021.
                     Text Only Entry (dddlc2, ) (Entered: 01/20/2021)
   01/20/2021   82   ORDER Setting Trial Date and Related Deadlines as to Michael Aaron Tew. Motions
                     due by 2/17/2021. Responses due by 2/24/2021. Five−day Jury Trial set for
                     3/15/2021 at 09:00 AM in Courtroom A 702 before Judge Daniel D. Domenico. Trial
                     Preparation Conference set for 3/3/2021 at 01:30 PM in Courtroom A 702 before
                     Judge Daniel D. Domenico. By Judge Daniel D. Domenico on 01/20/2021. (athom, )
                     (Entered: 01/20/2021)
   02/03/2021   83   INDICTMENT as to Michael Aaron Tew (1) count(s) 1s, 2s−40s, 41s, 42s, 44s−56s,
                     57s−60s, Kimberley Ann Tew (2) count(s) 1, 16, 21−22, 25−26, 31−32, 41, 43−44,
                     47−48, 56, Jonathan K. Yioulos (3) count(s) 1, 2−40. (Attachments: # 1 Penalty
                     Sheet, # 2 Penalty Sheet, # 3 Penalty Sheet) (athom, ) Modified on 2/9/2021 to
                     correct text (athom, ). (Entered: 02/04/2021)
   02/03/2021   84   RESTRICTED DOCUMENT − Level 4 as to Michael Aaron Tew, Kimberley Ann
                     Tew, Jonathan K. Yioulos. (athom, ) (Entered: 02/04/2021)
   02/03/2021   85   Summons Issued as to Michael Aaron Tew. (athom, ) (Entered: 02/04/2021)
   02/03/2021   86


                                                                                                                   18
Case No. 1:20-cr-00305-DDD       Document 645-2 filed 01/24/25                USDC Colorado          pg
                                      19 of 1354



                     MINUTE ORDER as to Michael Aaron Tew on 02/03/2021. Initial Appearance on
                     Summons set for 2/5/2021 02:00 PM in Courtroom A 401 before Magistrate Judge
                     Kristen L. Mix pursuant to 83 Indictment. Text Only Entry (athom, ) (Entered:
                     02/04/2021)
   02/03/2021   87   Summons Issued as to Kimberley Ann Tew. Initial Appearance set for 2/10/2021
                     02:00 PM in Courtroom A 401 before Magistrate Judge Kristen L. Mix. (athom, )
                     (Entered: 02/04/2021)
   02/03/2021   88   Summons Issued as to Jonathan K. Yioulos. Initial Appearance set for 2/9/2021 02:00
                     PM in Courtroom A 401 before Magistrate Judge Kristen L. Mix. (athom, ) (Entered:
                     02/04/2021)
   02/05/2021   89   MOTION to Modify Conditions of Release by Michael Aaron Tew. (Ward, Thomas)
                     (Entered: 02/05/2021)
   02/05/2021   90   MINUTE ENTRY for Initial Appearance, Arraignment and Discovery Hearing as to
                     Michael Aaron Tew held before Magistrate Judge Kristen L. Mix on 2/5/2021.
                     Defendant present on bond and consents to proceeding via video conference.
                     Defendant advised. Counsel has previously been appointed. Plea of NOT GUILTY
                     entered by defendant. Discovery memorandum executed. Argument by counsel for
                     the government and defense counsel as to 89 Motion to Modify Conditions of
                     Release as to Michael Aaron Tew (1). The Court DENIES 89 Motion to Modify
                     Conditions of Release as to Michael Aaron Tew (1). Defendant's bond continued,
                     Counsel is directed to chambers. (Total time: 29 minutes, Hearing time: 2:21−2:50)

                     APPEARANCES ALL PARTIES APPEAR BY VIDEO CONFERENCE: Hetal
                     Doshi and Matthew Kirsch on behalf of the Government, Tom Ward on behalf of the
                     defendant. FTR: KLM Courtroom A401. (lgale, ) Text Only Entry (Entered:
                     02/05/2021)
   02/05/2021   91   Discovery Conference Memorandum and ORDER: Estimated Trial Time − 8 days as
                     to Michael Aaron Tew by Magistrate Judge Kristen L. Mix on 2/5/21. (lgale, )
                     (Entered: 02/05/2021)
   02/09/2021   92   MINUTE ENTRY for Initial Appearance, Arraignment, Discovery and Detention
                     Hearing as to Jonathan K. Yioulos held before Magistrate Judge Kristen L. Mix on
                     2/9/2021. Defendant present on summons by video conference. Defendant advised.
                     Defendant is not requesting court appointed counsel and is retaining an attorney. Plea
                     of NOT GUILTY entered by defendant. Discovery memorandum executed. Parties
                     address the Court regarding conditions of release. Bond set as to Jonathan K. Yioulos
                     (3) $40,000 Unsecured, with the conditions as set forth in the Order Setting
                     Conditions of Release. Defendant advised of conditions of bond. Counsel is directed
                     to chambers. (Total time: 12 minutes, Hearing time: 2:09−2:21)

                     APPEARANCES ALL PARTIES APPEAR BY VIDEO CONFERENCE: Hetal
                     Doshi and Matthew Kirsch on behalf of the Government, Michael Tallon on behalf of
                     the defendant, Angela Ledesma on behalf of pretrial. FTR: KLM Courtroom A401.
                     (lgale, ) Text Only Entry (Entered: 02/09/2021)
   02/09/2021   93   Unsecured Bond Entered as to Jonathan K. Yioulos in amount of $40,000 (lgale, )
                     (Entered: 02/09/2021)
   02/09/2021   94   ORDER Setting Conditions of Release as to Jonathan K. Yioulos (3) $40,000
                     Unsecured by Magistrate Judge Kristen L. Mix on 2/9/21. (lgale, ) (Entered:

                                                                                                              19
Case No. 1:20-cr-00305-DDD          Document 645-2 filed 01/24/25             USDC Colorado          pg
                                         20 of 1354



                      02/09/2021)
   02/09/2021    95   Discovery Conference Memorandum and ORDER: Estimated Trial Time − 8 days as
                      to Jonathan K. Yioulos by Magistrate Judge Kristen L. Mix on 2/9/21. (lgale, )
                      (Entered: 02/09/2021)
   02/10/2021    96   MINUTE ENTRY for Initial Appearance, Arraignment, Discovery and Detention
                      Hearing as to Kimberley Ann Tew held before Magistrate Judge Kristen L. Mix on
                      2/10/2021. Defendant present on summons and consents to proceeding by video
                      conference. Defendant advised. Defendant is not requesting court appointed counsel.
                      Plea of NOT GUILTY entered by defendant. Discovery memorandum
                      executed.Parties address the Court regarding conditions of release. Bond set as to
                      Kimberley Ann Tew (2) $10,000 Unsecured with the conditions as set forth in the
                      Order Setting Conditions of Release. Defendant is ordered to report to the probation
                      office on 2−11−21 at 1:00 p.m. Defendant advised of conditions of bond. Counsel is
                      directed to chambers. (Total time: 28 minutes, Hearing time: 2:31−2:59)

                      APPEARANCES ALL PARTIES APPEAR BY VIDEO CONFERENCE: Hetal
                      Doshi and Matthew Kirsch on behalf of the Government, Jamie Hubbard on behalf of
                      the defendant, Tommie Anderson on behalf of pretrial. FTR: KLM Courtroom A401.
                      (lgale, ) Text Only Entry (Entered: 02/10/2021)
   02/10/2021    97   Discovery Conference Memorandum and ORDER: Estimated Trial Time − 8 days as
                      to Kimberley Ann Tew by Magistrate Judge Kristen L. Mix on 2/10/21. (lgale, )
                      (Entered: 02/10/2021)
   02/10/2021    98   Unsecured Bond Entered as to Kimberley Ann Tew in amount of $10,000 (lgale, )
                      (Entered: 02/10/2021)
   02/10/2021    99   ORDER Setting Conditions of Release as to Kimberley Ann Tew (2) $10,000
                      Unsecured by Magistrate Judge Kristen L. Mix on 2/10/21. (lgale, ) (Entered:
                      02/10/2021)
   02/11/2021   100   Unopposed MOTION to Travel by Jonathan K. Yioulos. (Tallon, Michael) (Entered:
                      02/11/2021)
   02/11/2021   101   ORDER Setting Trial Date and Related Deadlines as to Michael Aaron Tew,
                      Kimberley Ann Tew, Jonathan K. Yioulos. The court EXCLUDES nineteen days
                      from Mr. Tew's Speedy Trial clock. Motions due by 3/12/2021. Responses due by
                      3/17/2021. Eight−day Jury Trial set for 4/19/2021 at 09:00 AM in Courtroom A 702
                      before Judge Daniel D. Domenico. Trial Preparation Conference set for 4/12/2021 at
                      01:30 PM in Courtroom A 702 before Judge Daniel D. Domenico. By Judge Daniel
                      D. Domenico on 02/11/2021. (athom, ) (Entered: 02/11/2021)
   02/11/2021   102   ORDER GRANTING 100 Unopposed Motion to Travel as to Jonathan Yioulos. Mr.
                      Yioulos may travel to Sarasota, Florida, to visit his wife's family from 2/13/21 to
                      2/18/21. He must (1) provide documentation regarding his travel plans to United
                      States Pretrial and Probation Services in advance of departure, and (2) promptly
                      contact his probation officer upon return from his trip. SO ORDERED by Judge
                      Daniel D. Domenico on 2/11/2021. Text Only Entry (dddlc2, ) (Entered: 02/11/2021)
   02/11/2021   104   Passport Receipt as to Kimberley Ann Tew. Surrender of passport re Bond
                      Conditions; Passport Number 522213975 issued by USA. (athom, ) (Entered:
                      02/12/2021)



                                                                                                             20
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25               USDC Colorado          pg
                                       21 of 1354



   02/16/2021   105   Summons Returned Executed on 2/11/2021 as to Kimberley Ann Tew. (angar, )
                      (Entered: 02/16/2021)
   02/25/2021   106   NOTICE OF ATTORNEY APPEARANCE: Tor Bernhard Ekeland appearing for
                      Michael Aaron Tew, Kimberley Ann TewAttorney Tor Bernhard Ekeland added to
                      party Michael Aaron Tew(pty:dft), Attorney Tor Bernhard Ekeland added to party
                      Kimberley Ann Tew(pty:dft) (Ekeland, Tor) (Entered: 02/25/2021)
   02/28/2021   108   MOTION for Hearing Regarding Joint Representation Pursuant to Fed. R. Crim. P.
                      44 by USA as to Michael Aaron Tew, Kimberley Ann Tew. (Doshi, Hetal) (Entered:
                      02/28/2021)
   03/01/2021   109   MINUTE ORDER regarding 108 motion for hearing concerning joint representation
                      of Defendants Michael Aaron Tew and Kimberley Ann Tew. No later than 4:00 PM
                      on 3/4/2021, Mr. Tew, Ms. Tew, and the Government must confer and email the
                      court at domenico_chambers@cod.uscourts.gov with three mutually agreeable dates
                      for a hearing on the Government's motion (Doc. 108) from the following list of dates:
                      3/9/21, 3/10/21, 3/11/21, 3/17/21, or 3/18/21. Mr. and Ms. Tew must file their
                      responses to the Government's motion, if any, no later than 3/5/2021. SO ORDERED
                      by Judge Daniel D. Domenico on 3/1/2021. Text Only Entry (dddlc2, ) (Entered:
                      03/01/2021)
   03/01/2021   110   NOTICE OF ATTORNEY APPEARANCE Andrea Lee Surratt appearing for USA.
                      Attorney Andrea Lee Surratt added to party USA(pty:pla) (Surratt, Andrea) (Entered:
                      03/01/2021)
   03/02/2021   111   MOTION to Withdraw as Attorney by Thomas R. Ward by Michael Aaron Tew.
                      (Ward, Thomas) (Entered: 03/02/2021)
   03/02/2021   112   ORDER setting hearing on 108 motion concerning joint representation and 111
                      motion to withdraw. A hearing on the Government's motion concerning joint
                      representation (Doc. 108) and Thomas R. Ward's motion to withdraw as counsel
                      (Doc. 111) is hereby set for 3/18/2021 at 10:30 AM before Judge Daniel D.
                      Domenico by video−teleconference. Counsel are directed to contact Courtroom
                      Deputy Patti Glover at patricia_glover@cod.uscourts.gov no later than three business
                      days before the hearing for instructions on how to proceed. SO ODERED by Judge
                      Daniel D. Domenico on 3/2/2021. Text Only Entry (dddlc2, ) (Entered: 03/02/2021)
   03/03/2021   113   Unopposed MOTION to Continue Deadline for Production of Discovery by USA as
                      to Michael Aaron Tew, Kimberley Ann Tew, Jonathan K. Yioulos. (Doshi, Hetal)
                      (Entered: 03/03/2021)
   03/03/2021   114   ORDER granting 113 Motion to Continue. The Government must produce discovery
                      in this case no later than 14 days after the court rules on the Government's motion
                      concerning joint representation. SO ORDERED by Judge Daniel D. Domenico on
                      3/3/2021. (dddlc2, ) (Entered: 03/03/2021)
   03/11/2021   115   MOTION to Continue FOR A 180−DAY ENDS OF JUSTICE CONTINUANCE
                      UNDER 18 U. S. C. § 3161(h)(7) by Michael Aaron Tew, Kimberley Ann Tew,
                      Jonathan K. Yioulos. (Attachments: # 1 Proposed Order (PDF Only))(Ekeland, Tor)
                      (Entered: 03/11/2021)
   03/18/2021   116   MINUTE ENTRY for Motion Hearing as to Michael Aaron Tew, Kimberley Ann
                      Tew, held before Judge Daniel D. Domenico on 3/18/2021. granting 108 Motion for
                      Hearing as to Michael Aaron Tew; Kimberley Ann Tew (2); granting 111 Motion to


                                                                                                              21
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25               USDC Colorado          pg
                                       22 of 1354



                      Withdraw as Attorney. Thomas Richard Ward withdrawn from case as to Michael
                      Aaron Tew granting 115 Motion to Continue as to all defendants. Pretrial Motions
                      due by 8/30/2021, Responses due by 9/6/2021, Jury Trial (8 days) set for 10/12/2021
                      − 10/21/2021 09:00 AM; Trial Preparation Conference set for 9/27/2021 at 10:30 AM
                      all in Courtroom A 702 before Judge Daniel D. Domenico Court Reporter: Tracy
                      Weir. (pglov) (Entered: 03/18/2021)
   03/23/2021   117   NOTICE OF ATTORNEY APPEARANCE: Michael John Tallon appearing for
                      Jonathan K. Yioulos (Tallon, Michael) (Entered: 03/23/2021)
   03/29/2021   118   Unopposed MOTION to Travel Beyond Pre−trial Release Order by Jonathan K.
                      Yioulos. (Tallon, Michael) (Entered: 03/29/2021)
   03/29/2021   119   MOTION for Leave to Restrict by USA as to Michael Aaron Tew, Kimberley Ann
                      Tew, Jonathan K. Yioulos. (Attachments: # 1 Proposed Order (PDF Only))(Doshi,
                      Hetal) (Entered: 03/29/2021)
   03/29/2021   120   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew,
                      Kimberley Ann Tew, Jonathan K. Yioulos (Doshi, Hetal) (Entered: 03/29/2021)
   03/29/2021   121   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew,
                      Kimberley Ann Tew, Jonathan K. Yioulos (Doshi, Hetal) (Entered: 03/29/2021)
   03/30/2021   122   ORDER GRANTING 118 Unopposed Motion to Travel as to Jonathan Yioulos. Mr.
                      Yioulos may travel to St. Thomas, American Virgin Islands from 4/5/21 to 4/9/21. He
                      must (1) provide documentation regarding his travel plans to United States Pretrial
                      and Probation Services in advance of departure, and (2) promptly contact his
                      probation officer upon return from his trip. SO ORDERED by Judge Daniel D.
                      Domenico on 3/30/2021. Text Only Entry (dddlc2, ) (Entered: 03/30/2021)
   03/30/2021   123   ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT
                      RULES/PROCEDURES: re: 118 Unopposed MOTION to Travel Beyond Pre−trial
                      Release Order, 117 Notice of Attorney Appearance − Defendant filed by attorney
                      Michael John Tallon. The format for the attorneys signature block information is not
                      correct. DO NOT REFILE THE DOCUMENTS. Action to take − future
                      documents must be filed pursuant to D.C.COLO.LCr49.1(a) and 4.3(d) of the
                      Electronic Case Filing Procedures (Criminal Cases). Also the documents were
                      scanned and not converted directly to portable document format (PDF). DO NOT
                      REFILE THE DOCUMENTS. Action to take − future documents must be filed
                      pursuant to D.C.COLO.LCr49.1(a) and 1.3(f) of the Electronic Case Filing
                      Procedures (Criminal Cases). (Text Only Entry) (athom, ) (Entered: 03/30/2021)
   03/30/2021   124   RESTRICTED DOCUMENT − Level 1: as to Michael Aaron Tew, Kimberley Ann
                      Tew, Jonathan K. Yioulos. (athom, ) (Entered: 03/30/2021)
   03/30/2021   125   ORDER granting 119 Motion for Leave to Restrict as to Michael Aaron Tew,
                      Kimberley Ann Tew, Jonathan K. Yioulos. By Judge Daniel D. Domenico on
                      03/30/2021. Text Only Entry (athom, ) (Entered: 03/30/2021)
   03/31/2021   126   Unopposed MOTION for Protective Order by USA as to Michael Aaron Tew,
                      Kimberley Ann Tew, Jonathan K. Yioulos. (Attachments: # 1 Proposed Order (PDF
                      Only))(Doshi, Hetal) (Entered: 03/31/2021)
   04/01/2021   127   ORDER Granting 126 Unopposed Motion for Protective Order as to Michael Aaron
                      Tew, Kimberley Ann Tew, Jonathan K. Yioulos. By Judge Daniel D. Domenico on
                      04/01/2021. (athom, ) (Entered: 04/01/2021)

                                                                                                             22
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25              USDC Colorado          pg
                                       23 of 1354



   05/13/2021   128   TRANSCRIPT of TRANSCRIPT OF PROCEEDINGS as to Michael Aaron Tew
                      held on 02/05/2021 before Magistrate Judge Mix. Pages: 1−24. Prepared by: AB
                      Litigation Services.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (AB Court Reporting & Video, Inc., ) (Entered: 05/13/2021)
   05/13/2021   129   TRANSCRIPT of TRANSCRIPT OF PROCEEDINGS as to Jonathan K. Yioulos
                      held on 02/09/2021 before Magistrate Judge Mix. Pages: 1−15. Prepared by: AB
                      Litigation Services.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (AB Court Reporting & Video, Inc., ) (Entered: 05/13/2021)
   05/13/2021   130   TRANSCRIPT of TRANSCRIPT OF PROCEEDINGS as to Kimberley Ann Tew
                      held on 02/10/2021 before Magistrate Judge Mix. Pages: 1−26. Prepared by: AB
                      Litigation Services.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (AB Court Reporting & Video, Inc., ) (Entered: 05/13/2021)
   06/10/2021   131   MOTION for Order , MOTION to Travel by Jonathan K. Yioulos. (Tallon, Michael)
                      (Entered: 06/10/2021)
   06/10/2021   132   ORDER GRANTING 131 Unopposed Motion to Travel as to Jonathan Yioulos. Mr.
                      Yioulos may travel to Queens, New York; Erie, Pennsylvania; and Albrightsville,


                                                                                                            23
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25               USDC Colorado          pg
                                       24 of 1354



                      Pennsylvania on June 25 to 27, June 24 to 25, and July 2 to 5, respectively. He must
                      (1) provide documentation regarding his travel plans to United States Pretrial and
                      Probation Services in advance of departure, and (2) promptly contact his probation
                      officer upon return from each trip. SO ORDERED by Judge Daniel D. Domenico on
                      6/10/2021. Text Only Entry (dddlc2, ) (Entered: 06/10/2021)
   06/18/2021   133   NOTICE OF DEFENDANT KIMBERLEY TEWS MEMORANDUM IN SUPPORT
                      TO MODIFY THE CONDITIONS OF HER RELEASE by Kimberley Ann Tew
                      (Ekeland, Tor) Modified on 7/2/2021 to correct filer (athom, ). (Entered: 06/18/2021)
   06/18/2021   134   MOTION to Modify Conditions of Release by Kimberley Ann Tew. (Attachments: #
                      1 Affidavit Decl Kimbery Tew ISO Motion to Modify the Conditions)(Ekeland, Tor)
                      Modified on 7/2/2021 to correct filer (athom, ). (Entered: 06/18/2021)
   06/21/2021   135   ORDER REFERRING MOTION TO MODIFY CONDITIONS OF PRE−TRIAL
                      RELEASE 134 filed by Kimberly Tew. The Court refers the motion to Magistrate
                      Judge Kristen L. Mix because revocation or modification of a prior release order
                      under § 3142 "is available only when the review of a detention or release order is
                      being conducted by the same judicial officer who entered the order." See United
                      States v. Cisneros, 328 F.3d 610, 614 (10th Cir. 2003); see also United States v.
                      Anaya, 376 F. Supp. 2d 1261, 1262−63 (D.N.M. 2005). SO ORDERED by Judge
                      Daniel D. Domenico on 6/21/2021. Text Only Entry (dddlc2, ) (Entered: 06/21/2021)
   06/23/2021   136   NOTICE OF ATTORNEY APPEARANCE: Michael Hassard appearing for Michael
                      Aaron Tew, Kimberley Ann TewAttorney Michael Hassard added to party Michael
                      Aaron Tew(pty:dft), Attorney Michael Hassard added to party Kimberley Ann
                      Tew(pty:dft) (Hassard, Michael) (Entered: 06/23/2021)
   07/08/2021   137   MINUTE ORDER by Magistrate Judge Kristen L. Mix on 07/08/2021 as to
                      Kimberley Ann Tew re 134 MOTION to Modify Conditions of Release filed by
                      Kimberley Ann Tew Motion Hearing set for 7/15/2021 11:00 AM in Courtroom A
                      401 before Magistrate Judge Kristen L. Mix. (alave, ) (Entered: 07/09/2021)
   07/15/2021   138   MINUTE ENTRY for Motion Hearing as to Kimberley Ann Tew held before
                      Magistrate Judge Kristen L. Mix on 7/15/2021. Defendant present on bond.
                      Argument by defense counsel and counsel for the government as to 134 Motion to
                      Modify Conditions of Release. Court addresses defense counsel. The Court modifies
                      defendant's bond to remove the condition of home confinement and radio frequency
                      and imposes GPS monitoring and imposes a curfew of 8:00 a.m.−9:00 p.m. Probation
                      is granted discretion to allow exceptions to the curfew when requested by defendant.
                      Defendant acknowledges the new conditions of bond and agrees to abide by them.
                      Defendant's bond continued. (Total time: 22 minutes, Hearing time: 11:08−11:30)

                      APPEARANCES: Matthew Kirsch, Hetal Doshi and Andrea Surratt on behalf of the
                      Government, Tor Ekeland and Michael Hassard on behalf of the defendant, Carlos
                      Morales on behalf of probation. FTR: KLM Courtroom A401. (lgale, ) Text Only
                      Entry (Entered: 07/15/2021)
   07/19/2021   139   NOTICE of Disposition by Jonathan K. Yioulos (Tallon, Michael) (Entered:
                      07/19/2021)
   07/27/2021   140   NOTICE of Remote Plea Proceeding by Jonathan K. Yioulos (Tallon, Michael)
                      Modified on 9/9/2021 to correct event (athom, ). (Entered: 07/27/2021)
   07/27/2021   141


                                                                                                              24
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25               USDC Colorado          pg
                                       25 of 1354



                      ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT
                      RULES/PROCEDURES: re: 140 Notice, 139 Notice of Disposition filed by attorney
                      Michael John Tallon. The document was scanned and not converted directly to
                      portable document format (PDF). DO NOT REFILE THE DOCUMENT. Action
                      to take − future documents must be filed pursuant to D.C.COLO.LCr49.1(a) and
                      1.3(f) of the Electronic Case Filing Procedures (Criminal Cases). (Text Only Entry)
                      (athom, ) (Entered: 07/27/2021)
   07/27/2021   142   ORDER as to Jonathan K. Yioulos. ORDER as to Jonathan K. Yioulos. Pursuant to
                      Notice of Disposition (Doc. 139), a Change of Plea Hearing is SET for 10/7/2021 at
                      11:30 AM in Courtroom A 1002 before Judge Daniel D. Domenico. The trial dates
                      and all other deadlines previously set are VACATED. Counsel for the parties shall
                      email a courtesy copy of the Plea Agreement and the Statement by Defendant in
                      Advance of Plea of Guilty in the form required by Local Crim. R. 11.1(c)−(d) to
                      Domenico_Chambers@cod.uscourts.gov no later than 12:00 p.m. three business days
                      prior to the Change of Plea Hearing. If these documents are not timely submitted, the
                      hearing may be vacated. The original and one copy of these documents shall be
                      delivered to the courtroom deputy at the time of the hearing pursuant to Local Crim.
                      R. 11.1(e). Defense counsel who reviewed and advised Defendant regarding the Plea
                      Agreement must attend the Change of Plea Hearing. SO ORDERED by Judge Daniel
                      D. Domenico on 7/27/2021. Text Only Entry (dddlc2, ) Modified on 7/29/2021 to
                      correct text (athom, ). (Entered: 07/27/2021)
   08/10/2021   143   Second MOTION to Continue by Michael Aaron Tew, Kimberley Ann Tew.
                      (Hassard, Michael) Modified on 8/11/2021 to correct applicable parties (athom, ).
                      (Entered: 08/10/2021)
   08/20/2021   144   TRANSCRIPT of MOTION HEARING as to Kimberley Ann Tew held on
                      07/15/2021 before Magistrate Judge Mix. Pages: 1−20. Prepared by: AB Litigation
                      Services.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (AB Court Reporting & Video, Inc., ) (Entered: 08/20/2021)
   09/16/2021   145   MOTION to Modify date of plea hearing by Jonathan K. Yioulos. (Tallon, Michael)
                      (Entered: 09/16/2021)
   09/17/2021   146   WITHDRAWN − Unopposed MOTION to Travel MOTION UPON ATTORNEY
                      DECLARATION SEEKING ORDER PERMITTING TRAVEL BEYOND PRE−TRIAL
                      RELEASE ORDER AT PARAGRAPH 7(f) by Michael Aaron Tew, Kimberley Ann
                      Tew. (Attachments: # 1 Proposed Order (PDF Only))(Ekeland, Tor) Modified on
                      9/20/2021 to correct filers (athom, ). Modified on 2/4/2022 to withdraw pursuant to
                      173 Order (athom, ). (Entered: 09/17/2021)
   09/17/2021   147

                                                                                                              25
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25              USDC Colorado         pg
                                       26 of 1354



                      MOTION to Withdraw as Attorney by USA as to Michael Aaron Tew, Kimberley
                      Ann Tew, Jonathan K. Yioulos. (Kirsch, Matthew) (Entered: 09/17/2021)
   09/20/2021   148   MOTION to Withdraw Document 146 Unopposed MOTION to Travel MOTION
                      UPON ATTORNEY DECLARATION SEEKING ORDER PERMITTING TRAVEL
                      BEYOND PRE−TRIAL RELEASE ORDER AT PARAGRAPH 7(f) by Michael Aaron
                      Tew, Kimberley Ann Tew. (Ekeland, Tor) Modified on 9/22/2021 to correct filers
                      (athom, ). (Entered: 09/20/2021)
   09/22/2021   149   ORDER as to Michael Aaron Tew, Kimberley Ann Tew. Defendants' Unopposed
                      Motion for a 12−Month Ends of Justice Continuance (Doc. 143 ) is PARTIALLY
                      GRANTED. One hundred eighty (180) days, from 9/22/2021 to 3/21/2022, will be
                      excluded from the computation of Defendants' Michael Tew and Kimberley Tew's
                      Speedy Trial Act time. Motions due by 1/3/2022. Responses due by 1/10/2022. The
                      eight−day Jury Trial set to begin 10/12/2021 is VACATED and RESET to 4/4/2022
                      at 09:00 AM in Courtroom A1002 before Judge Daniel D. Domenico. The Trial
                      Preparation Conference set for 09/27/2021 is VACATED and RESET to 3/21/2022 at
                      01:00 PM in Courtroom A1002 before Judge Daniel D. Domenico. By Judge Daniel
                      D. Domenico on 09/22/2021. (athom, ) (Entered: 09/22/2021)
   09/30/2021   150   ORDER as to Jonathan K. Yioulos. Defendant's Motion to Conduct Change of Plea
                      by Video Conference Pursuant to Section 15002(b)(2) of the CARES Act (Doc. 140 )
                      is GRANTED, and the Motion to reschedule the Change of Plea Hearing (Doc. 145 )
                      is GRANTED IN PART. The Change of Plea Hearing set for 10/7/2021 at 11:30 a.m.
                      is VACATED AND RESET to 11/18/2021 at 1:30 p.m. in Courtroom A1002 before
                      Judge Daniel D. Domenico and will be conducted by VTC, or by telephone
                      conference if VTC is not reasonably available. Members of the public may attend the
                      Change of Plea Hearing by teleconference at (866) 390−1828, using Access Code
                      9792296#. All persons participating in court proceedings remotely by VTC or
                      teleconference are prohibited, under penalty of contempt, from recording or
                      broadcasting the proceeding in any manner. By Judge Daniel D. Domenico on
                      09/30/2021. (athom, ) (Entered: 09/30/2021)
   10/12/2021   151   NOTICE OF ATTORNEY APPEARANCE: Tor Bernhard Ekeland Attorney Xuan
                      Zhou appearing for Michael Aaron Tew and Kimberley Ann Tew appearing for
                      Michael Aaron Tew, Kimberley Ann Tew (Ekeland, Tor) Modified on 10/13/2021 to
                      correct applicable parties (athom, ). (Main Document 151 replaced on 1/21/2025)
                      (lrobe, ). (Entered: 10/12/2021)
   10/13/2021   152   NOTICE OF NONCOMPLIANCE WITH COURT RULES/PROCEDURES: re: 151
                      Notice of Attorney Appearance − Defendant, filed by attorney Xuan Zhou. The
                      s/signature did not match the filers name on the account for which the login and
                      password are registered. Future documents must be filed pursuant to
                      D.C.COLO.LCivR 49.1(a) and 4.3(c) of the Electronic Case Filing Procedures
                      (Criminal Cases). Attorney Xuan Zhou has failed to comply D.C.COLO.LCr49.1(a)
                      and 4.3(d) of the Electronic Case Filing Procedures (Criminal Cases), which mandate
                      the correct form for an attorneys signature block. This document does not have a s/
                      signature and must be re−filed. Xuan Zhou must re−file the above referenced
                      document which must contain her s/ signature using her own log in and password.
                      Counsel is REMINDED that your firm does not represent defendant Yioulos.
                      UNLESS you are filing a joint pleading that pertains to defendant Yioulos, you
                      should ONLY be selecting the Tew defendants as the filers and as the applicable
                      parties. If you are unclear about how documents should be filed and/or which


                                                                                                            26
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25                USDC Colorado           pg
                                       27 of 1354



                      parties should be selected when filing your documents, please contact the Clerk's
                      office for assistance or clarification. (Text Only Entry) (athom, ) (Entered:
                      10/13/2021)
   11/17/2021   153   ORDER GRANTING 147 Motion to Withdraw as Attorney. The Clerk of Court is
                      instructed to terminate attorney Matthew T. Kirsch as counsel of record, and to
                      remove this name from the electronic certificate of mailing. Plaintiff United States of
                      America will continue to be represented by attorneys Hetal Doshi and Andrea Surratt.
                      SO ORDERED by Judge Daniel D. Domenico on 11/17/2021. Text Only Entry
                      (dddlc4) (Entered: 11/17/2021)
   11/18/2021   154   MINUTE ENTRY for Change of Plea Hearing by VTC as to Jonathan K. Yioulos
                      held before Judge Daniel D. Domenico on 11/18/2021. Plea of GUILTY entered by
                      defendant Jonathan K. Yioulos to Counts 1,39. Sentencing set for 2/10/2022 01:30
                      PM in Courtroom A1002 before Judge Daniel D. Domenico. Bond continued.Court
                      Reporter: Julie Thomas. (pglov) (Entered: 11/18/2021)
   11/18/2021   155   PLEA AGREEMENT as to Jonathan K. Yioulos (pglov) (Entered: 11/18/2021)
   11/18/2021   156   STATEMENT IN ADVANCE OF PLEA OF GUILTY by Defendant Jonathan K.
                      Yioulos (pglov) (Entered: 11/18/2021)
   11/19/2021   157   NOTICE OF ATTORNEY APPEARANCE: Xuan Zhou appearing for Michael
                      Aaron Tew, Kimberley Ann TewAttorney Xuan Zhou added to party Michael Aaron
                      Tew(pty:dft), Attorney Xuan Zhou added to party Kimberley Ann Tew(pty:dft)
                      (Zhou, Xuan) (Main Document 157 replaced on 1/21/2025) (lrobe, ). (Entered:
                      11/19/2021)
   11/29/2021   158   NOTICE OF ATTORNEY APPEARANCE Bryan David Fields appearing for USA.
                      Attorney Bryan David Fields added to party USA(pty:pla) (Fields, Bryan) (Entered:
                      11/29/2021)
   11/29/2021   159   MOTION to Withdraw as Attorney by USA as to Michael Aaron Tew, Kimberley
                      Ann Tew, Jonathan K. Yioulos. (Doshi, Hetal) (Entered: 11/29/2021)
   12/09/2021   160   MOTION for Order by Jonathan K. Yioulos. (Tallon, Michael) (Entered: 12/09/2021)
   12/15/2021   161   ORDER granting 160 Motion for Order as to Jonathan K. Yioulos (3). The
                      Sentencing Hearing set for 2/10/2022 at 1:30 pm is VACATED and RESET to
                      7/12/2022 at 10:30 pm before Judge Daniel D. Domenico. SO ORDERED by Judge
                      Daniel D. Domenico on 12/15/2021. Text Only Entry (dddlc2, ) (Entered:
                      12/15/2021)
   12/27/2021   162   MOTION to Withdraw as Attorney by Tor Ekeland by Michael Aaron Tew,
                      Kimberley Ann Tew. (Ekeland, Tor) (Main Document 162 replaced on 1/21/2025)
                      (lrobe, ). (Entered: 12/27/2021)
   12/27/2021   163   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew, Kimberley Ann
                      Tew. (Ekeland, Tor) (Main Document 163 replaced on 1/21/2025) (lrobe, ). (Entered:
                      12/27/2021)
   12/27/2021   164   MOTION for Leave to Restrict by Michael Aaron Tew, Kimberley Ann Tew.
                      (Attachments: # 1 Proposed Order (PDF Only))(Ekeland, Tor) (Entered: 12/27/2021)
   12/27/2021   165   Third MOTION to Continue by Michael Aaron Tew, Kimberley Ann Tew.
                      (Attachments: # 1 Proposed Order (PDF Only))(Ekeland, Tor) (Main Document 165


                                                                                                                27
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25                USDC Colorado          pg
                                       28 of 1354



                      replaced on 1/21/2025) (lrobe, ). (Attachment 1 replaced on 1/21/2025) (lrobe, ).
                      (Entered: 12/27/2021)
   12/27/2021   166   MOTION to Withdraw as Attorney by Xuan Zhou by Michael Aaron Tew,
                      Kimberley Ann Tew. (Zhou, Xuan) (Main Document 166 replaced on 1/21/2025)
                      (lrobe, ). (Entered: 12/27/2021)
   12/27/2021   167   MOTION to Withdraw as Attorney by Michael Hassard by Michael Aaron Tew,
                      Kimberley Ann Tew. (Hassard, Michael) (Main Document 167 replaced on
                      1/21/2025) (lrobe, ). (Entered: 12/27/2021)
   01/19/2022   168   MOTION to Travel by Jonathan K. Yioulos. (Tallon, Michael) (Entered: 01/19/2022)
   01/31/2022   169   ORDER REFERRING MOTIONS as to Michael Aaron Tew, Kimberley Ann Tew.
                      167 MOTION to Withdraw as Attorney by Michael Hassard filed by Michael Aaron
                      Tew, Kimberley Ann Tew, 162 MOTION to Withdraw as Attorney by Tor Ekeland
                      filed by Michael Aaron Tew, Kimberley Ann Tew, 159 MOTION to Withdraw as
                      Attorney filed by USA, 166 MOTION to Withdraw as Attorney by Xuan Zhou filed
                      by Michael Aaron Tew, Kimberley Ann Tew. Motions referred to Magistrate Judge
                      Kristen L. Mix. SO ORDERED by Judge Daniel D. Domenico on 1/31/2022. Text
                      Only Entry (dddlc2, ) (Entered: 01/31/2022)
   01/31/2022   170   ORDER granting 168 Motion to Travel as to Jonathan K. Yioulos (3). Mr. Yioulos is
                      permitted to travel as described in the travel plans submitted to the US Attorneys
                      office and the Probation Department. SO ORDERED by Judge Daniel D. Domenico
                      on 1/31/2022. Text Only Entry (dddlc2, ) (Entered: 01/31/2022)
   02/02/2022   171   ORDER granting 159 Motion to Withdraw as Attorney. Hetal Janak Doshi
                      withdrawn from case as to Michael Aaron Tew (1), Kimberley Ann Tew (2),
                      Jonathan K. Yioulos (3). Attorney Hetal Doshi is relieved of any further
                      representation of the United States in this case. The Clerk of Court is instructed to
                      terminate Attorney Doshi as counsel of record, and to remove this name from the
                      electronic certificate of mailing. The Government shall continue to be represented by
                      Attorney Bryan Fields. by Magistrate Judge Kristen L. Mix on 2/2/2022. Text Only
                      Entry (klmlc2, ) (Entered: 02/02/2022)
   02/02/2022   172   MINUTE ORDER as to Michael Aaron Tew, Kimberley Ann Tew re 167 MOTION
                      to Withdraw as Attorney by Michael Hassard filed by Michael Aaron Tew,
                      Kimberley Ann Tew, 162 MOTION to Withdraw as Attorney by Tor Ekeland filed
                      by Michael Aaron Tew, Kimberley Ann Tew, 166 MOTION to Withdraw as
                      Attorney by Xuan Zhou filed by Michael Aaron Tew, Kimberley Ann Tew.
                      Defendant Michael Tew and Defendant Kimberley Tew shall each file a separate
                      financial affidavit under restriction at Level 3 NO LATER THAN FEBRUARY 14,
                      2022. by Magistrate Judge Kristen L. Mix on 2/2/2022. Text Only Entry (klmlc2, )
                      (Entered: 02/02/2022)
   02/02/2022   173   ORDER. The Motion to Withdraw Document 148 as to Michael Aaron Tew and
                      Kimberly Ann Tew is GRANTED. Accordingly, the Motion to Travel 146 is
                      DENIED AS MOOT. SO ORDERED by Judge Daniel D. Domenico on 2/2/2022.
                      Text Only Entry (dddlc2, ) (Entered: 02/02/2022)
   02/04/2022   174   ORDER as to Michael Aaron Tew, Kimberley Ann Tew. Defendants' counsel Motion
                      for a 3−Month Ends of Justice Continuance (Doc. 165 ) is GRANTED. Ninety (90)
                      days, from 2/4/2022 to 5/5/2022, will be excluded from the computation of
                      Defendants' Michael Tew and Kimberley Tew's Speedy Trial Act time. Motions due


                                                                                                              28
Case No. 1:20-cr-00305-DDD         Document 645-2 filed 01/24/25                 USDC Colorado           pg
                                        29 of 1354



                      by 5/12/2022. Responses due by 5/19/2022. The eight−day Jury Trial set to begin
                      4/4/2022 is VACATED and RESET to 6/13/2022 at 09:00 AM in Courtroom A1002
                      before Judge Daniel D. Domenico. The Trial Preparation Conference set for
                      3/21/2022 is VACATED and RESET to 6/2/2022 at 03:30 PM in Courtroom A1002
                      before Judge Daniel D. Domenico. By Judge Daniel D. Domenico on 02/04/2022.
                      (athom, ) (Entered: 02/04/2022)
   02/10/2022   175   Pro Se Letter by Michael Aaron Tew, Kimberley Ann Tew. (athom, ) (Entered:
                      02/10/2022)
   02/10/2022   176   ORDER REFERRING MOTION as to Michael Aaron Tew, Kimberley Ann Tew 175
                      MOTION for Extension of Time to File filed by Michael Aaron Tew, Kimberley Ann
                      Tew. SO ORDERED by Judge Daniel D. Domenico on 2/10/2022. Text Only Entry
                      (dddlc2, ) (Entered: 02/10/2022)
   02/14/2022   177   MINUTE ORDER by Magistrate Judge Kristen L. Mix on February 14, 2022. This
                      matter is before the Court on Defendants' Motion for Extension of Time 175 (the
                      "Motion"). Defendants ask for a two−week extension to file financial affidavits
                      because they "are currently reviewing an engagement letter with a law firm based in
                      Denver" and, therefore, may not require appointment of counsel through the CJA. IT
                      IS HEREBY ORDERED that the Motion 175 is GRANTED. The deadline for each
                      Defendant to file a separate financial affidavit under restriction at Level 3 is extended
                      to February 28, 2022. (csarr, ) (Entered: 02/14/2022)
   02/25/2022   178   NOTICE OF ATTORNEY APPEARANCE: Peter R. Bornstein appearing for
                      Michael Aaron Tew, Kimberley Ann TewAttorney Peter R. Bornstein added to party
                      Michael Aaron Tew(pty:dft), Attorney Peter R. Bornstein added to party Kimberley
                      Ann Tew(pty:dft) (Bornstein, Peter) (Entered: 02/25/2022)
   03/04/2022   179   Order. Defense counsel is directed to file a status report on or before 3/10/2022
                      confirming that he has discussed the potential conflicts of interest that joint
                      representation of criminal codefendants may raise with his clients, and that they each
                      continue to understand these dangers and risks and continue to consent to proceeding
                      with joint counsel in spite of them. SO ORDERED by Judge Daniel D. Domenico on
                      3/4/2022. Text Only Entry (dddlc2, ) (Entered: 03/04/2022)
   03/07/2022   180   ORDER granting 162 Motion to Withdraw as Attorney. Attorney Tor Ekeland is
                      relieved of any further representation of Defendants Michael Tew and Kimberly Tew.
                      The Clerk of Court is instructed to terminate Attorney Ekeland as counsel of record,
                      and to remove this name from the electronic certificate of mailing. Defendants
                      Michael Tew and Kimberly Tew shall continue to be represented by Attorneys
                      Michael Hassard, Peter Bornstein, and Xuan Zhou. by Magistrate Judge Kristen L.
                      Mix on 3/7/2022. Text Only Entry (klmlc2, ) (Entered: 03/07/2022)
   03/07/2022   181   ORDER granting 166 Motion to Withdraw as Attorney. Attorney Xuan Zhou is
                      relieved of any further representation of Defendants Michael Tew and Kimberly Tew.
                      The Clerk of Court is instructed to terminate Attorney Zhou as counsel of record, and
                      to remove this name from the electronic certificate of mailing. Defendants Michael
                      Tew and Kimberly Tew shall continue to be represented by Attorneys Michael
                      Hassard and Peter Bornstein. by Magistrate Judge Kristen L. Mix on 3/7/2022. Text
                      Only Entry (klmlc2, ) (Entered: 03/07/2022)
   03/07/2022   182   ORDER granting 167 Motion to Withdraw as Attorney. Attorney Michael Hassard is
                      relieved of any further representation of Defendants Michael Tew and Kimberly Tew.
                      The Clerk of Court is instructed to terminate Attorney Hassard as counsel of record,

                                                                                                                  29
Case No. 1:20-cr-00305-DDD         Document 645-2 filed 01/24/25                 USDC Colorado           pg
                                        30 of 1354



                      and to remove this name from the electronic certificate of mailing. Defendants
                      Michael Tew and Kimberly Tew shall continue to be represented by Attorney Peter
                      Bornstein. by Magistrate Judge Kristen L. Mix on 3/7/2022. Text Only Entry
                      (klmlc2, ) (Entered: 03/07/2022)
   03/09/2022   183   Unopposed MOTION to Travel by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 03/09/2022)
   03/10/2022   184   STATUS REPORT by Michael Aaron Tew, Kimberley Ann Tew (Bornstein, Peter)
                      (Entered: 03/10/2022)
   03/14/2022   185   Order granting 183 Motion to travel. Defendants Michael and Kimberly Tew may
                      travel out of state with their children for spring break as requested in their motion.
                      Their pretrial monitoring is modified to stand−alone location monitoring without a
                      curfew. SO ORDERED by Judge Daniel D. Domenico on 3/14/2022. Text Only
                      Entry (dddlc2, ) (Entered: 03/14/2022)
   03/21/2022   186   Unopposed MOTION to Travel by Jonathan K. Yioulos. (Tallon, Michael) (Entered:
                      03/21/2022)
   03/22/2022   187   MOTION to Amend/Correct Conditions of Release by Kimberley Ann Tew.
                      (Attachments: # 1 Exhibit A)(Bornstein, Peter) (Entered: 03/22/2022)
   03/24/2022   188   MINUTE ORDER re. 187 Motion to Amend/Correct Conditions of Supervised
                      Release. The Court reviews the conditions of pretrial release de novo, and having
                      reviewed the transcripts of the two previous hearings as well as the recommendations
                      of the Probation Department, does not find that the Government has shown by a
                      preponderance of evidence that location monitoring is required to reasonably assure
                      the appearance of Kimberley Tew or the safety of another person or the community.
                      The government has until 11:00am on 3/25/2022 to respond. SO ORDERED by
                      Judge Daniel D. Domenico on 3/24/2022. Text Only Entry (dddlc2, ) (Entered:
                      03/24/2022)
   03/25/2022   189   RESPONSE in Opposition by USA as to Kimberley Ann Tew re 187 MOTION to
                      Amend/Correct Conditions of Release (Fields, Bryan) (Entered: 03/25/2022)
   03/25/2022   190   ORDER GRANTING 187 Motion for Amendment of Conditions of Release as to
                      Kimberley Ann Tew (2). It is ORDERED that Ms. Tew's conditions of release are
                      modified to remove the requirement that she submit to GPS location monitoring. Ms.
                      Tew is directed to contact the Probation Department for instructions on how to
                      comply with her conditions of release going forward. By Judge Daniel D. Domenico
                      on 3/25/2022. (dddlc1, ) (Entered: 03/25/2022)
   03/28/2022   191   ORDER granting 186 Motion to Travel as to Jonathan K. Yioulos (3). Mr. Yioulos is
                      permitted to travel as described in the travel plans submitted to the US Attorneys
                      office and the Probation Department. SO ORDERED by Judge Daniel D. Domenico
                      on 3/28/2022. Text Only Entry (dddlc2, ) (Entered: 03/28/2022)
   03/31/2022   192   ORDER granting 164 Motion for Leave to Restrict. Doc. 163 is restricted at Level 3.
                      SO ORDERED by Judge Daniel D. Domenico on 3/31/2022. Text Only Entry
                      (dddlc2, ) (Entered: 03/31/2022)
   04/26/2022   193   Unopposed MOTION to Continue Trial and for Ends of Justice Finding Pursuant to
                      18 U.S.C. § 3161(h)(7) by Michael Aaron Tew, Kimberley Ann Tew. (Bornstein,
                      Peter) (Entered: 04/26/2022)


                                                                                                               30
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25               USDC Colorado           pg
                                       31 of 1354



   05/10/2022   194   Unopposed MOTION for Leave to File Excess Pages for Motion to Suppress by
                      Michael Aaron Tew, Kimberley Ann Tew. (Bornstein, Peter) (Entered: 05/10/2022)
   05/12/2022   195   ORDER granting 194 Motion for Leave to File Excess Pages as to Michael Aaron
                      Tew (1), Kimberley Ann Tew (2). The defendants have 6000 words for their motion
                      to suppress and the government has the same number for its response. SO
                      ORDERED by Judge Daniel D. Domenico on 5/12/2022. Text Only Entry (dddlc2, )
                      (Entered: 05/12/2022)
   05/12/2022   196   Unopposed MOTION for Extension of Time to File Pre−Trial Motions by Michael
                      Aaron Tew, Kimberley Ann Tew. (Bornstein, Peter) (Entered: 05/12/2022)
   05/12/2022   197   Unopposed MOTION for Reconsideration re 195 Order on Motion for Leave to File
                      Excess Pages, Motion to Suppress by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 05/12/2022)
   05/12/2022   198   ORDER as to Michael Aaron Tew, Kimberley Ann Tew. Defendants' Motion to
                      Continue Trial and for an Ends of Justice Finding (Doc. 193 ) is GRANTED. One
                      hundred and eighty (180) days, from 5/12/2022 to 11/8/2022, will be excluded from
                      the computation of Defendants' Michael Tew and Kimberley Tew's Speedy Trial Act
                      time. The deadline to file motions to suppress remains 5/12/2022. Other pretrial
                      Motions due by 6/13/2022. Responses due by 6/20/2022. The eight−day Jury Trial
                      set for 06/13/2022 is VACATED and RESET to 12/5/2022 at 09:00 AM in
                      Courtroom A1002 before Judge Daniel D. Domenico. The Trial Preparation
                      Conference set for 6/2/2022 is VACATED and RESET to 11/29/2022 at 03:30 PM in
                      Courtroom A1002 before Judge Daniel D. Domenico. By Judge Daniel D. Domenico
                      on 05/12/2022. (athom, ) (Entered: 05/12/2022)
   05/12/2022   199   ORDER granting 197 Motion for Reconsideration re 197 Unopposed MOTION for
                      Reconsideration re 195 Order on Motion for Leave to File Excess Pages, Motion to
                      Suppress filed by Michael Aaron Tew, Kimberley Ann Tew as to Michael Aaron
                      Tew (1), Kimberley Ann Tew (2). The defendants have 12,000 words for their
                      motion to suppress, and the government has the same number with which to respond.
                      SO ORDERED by Judge Daniel D. Domenico on 5/12/2022. Text Only Entry
                      (dddlc2, ) (Entered: 05/12/2022)
   05/12/2022   200   Motion to Suppress Evidence by Michael Aaron Tew, Kimberley Ann Tew.
                      (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                      E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11
                      Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16
                      Exhibit P, # 17 Exhibit Q, # 18 Exhibit R, # 19 Exhibit S, # 20 Exhibit T, # 21
                      Exhibit U, # 22 Exhibit V, # 23 Exhibit W, # 24 Exhibit X, # 25 Exhibit Y, # 26
                      Exhibit Z, # 27 Exhibit AA, # 28 Exhibit BB)(Bornstein, Peter) Modified on
                      8/22/2022 to add document title and un restrict Motion ONLY per 244 Response.
                      (sphil, ). Modified on 10/28/2022 to add text and correct event (athom, ). (Entered:
                      05/12/2022)
   05/12/2022   201   MOTION for Leave to Restrict by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 05/12/2022)
   05/18/2022   202   Unopposed MOTION for Extension of Time to File Response/Reply as to 200
                      Restricted Document − Level 1,, by USA as to Michael Aaron Tew, Kimberley Ann
                      Tew. (Fields, Bryan) (Entered: 05/18/2022)
   05/19/2022   203


                                                                                                              31
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25             USDC Colorado          pg
                                       32 of 1354



                      NOTICE OF ATTORNEY APPEARANCE Albert C. Buchman appearing for USA.
                      Attorney Albert C. Buchman added to party USA(pty:pla) (Buchman, Albert)
                      (Entered: 05/19/2022)
   05/19/2022   204   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 201 MOTION for Leave to Restrict (Response to Motion to Suppress, ECF No.
                      200) (Attachments: # 1 Government Filter Memo, # 2 Filter Memo − Attachment 1, #
                      3 Filter Memo − Attachment 2, # 4 Filter Memo − Attachment 3, # 5 Filter Memo −
                      Attachment 4, # 6 Filter Memo − Attachment 5, # 7 Filter Memo − Attachment 6, # 8
                      Filter Memo − Attachment 7, # 9 Filter Memo − Attachment 8, # 10 Filter Memo −
                      Attachment 9)(Fields, Bryan) (Attachment 6 replaced on 1/21/2025) (lrobe, ).
                      (Entered: 05/19/2022)
   05/20/2022   205   MOTION to Withdraw as Attorney by Andrea Surratt by USA as to Michael Aaron
                      Tew, Kimberley Ann Tew, Jonathan K. Yioulos. (Surratt, Andrea) (Entered:
                      05/20/2022)
   05/20/2022   206   MOTION to Travel by Jonathan K. Yioulos. (Tallon, Michael) (Entered: 05/20/2022)
   05/20/2022   207   ORDER granting 206 Motion to Travel as to Jonathan K. Yioulos (3). Mr. Yioulos is
                      permitted to travel as described in the travel plans submitted to the US Attorneys
                      office and the Probation Department. SO ORDERED by Judge Daniel D. Domenico
                      on 5/20/2022. Text Only Entry (dddlc2, ) (Entered: 05/20/2022)
   05/20/2022   208   ORDER granting 202 Motion for Extension of Time to File Response/Reply. The
                      government has until and including 6/9/2022 to file a response to the motion to
                      suppress. SO ORDERED by Judge Daniel D. Domenico on 5/20/2022. Text Only
                      Entry (dddlc2, ) (Entered: 05/20/2022)
   05/25/2022   209   MOTION to Disclose Grand Jury Material to Defendant by USA as to Michael
                      Aaron Tew, Kimberley Ann Tew. (Attachments: # 1 Proposed Order (PDF
                      Only))(Fields, Bryan) (Entered: 05/25/2022)
   05/25/2022   210   Unopposed MOTION for Leave to File Reply to Government's Response to
                      Defendant's Motion to Suppress Evidence by Michael Aaron Tew, Kimberley Ann
                      Tew. (Bornstein, Peter) (Entered: 05/25/2022)
   06/07/2022   211   RESTRICTED PRESENTENCE REPORT first disclosure for attorney review as to
                      Jonathan K. Yioulos (Attachments: # 1 Exhibit A)(ntaka) (Entered: 06/07/2022)
   06/13/2022   212   Unopposed MOTION for Order Requiring the Government to Submit Expert Witness
                      Opinions 120 Days Before Trial by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 06/13/2022)
   06/13/2022   213   Unopposed MOTION for Leave to File Additional Motions by Michael Aaron Tew,
                      Kimberley Ann Tew. (Bornstein, Peter) (Entered: 06/13/2022)
   06/13/2022   214   MOTION for Sanctions for Violating Communication Privileges by Michael Aaron
                      Tew, Kimberley Ann Tew. (Bornstein, Peter) (Entered: 06/13/2022)
   06/13/2022   215   MOTION for Franks Hearing by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 06/13/2022)
   06/13/2022   216   MOTION to Suppress the Use of Statements by Michael Aaron Tew. (Bornstein,
                      Peter) (Entered: 06/13/2022)
   06/13/2022   217

                                                                                                           32
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25               USDC Colorado           pg
                                       33 of 1354



                      Unopposed MOTION for Extension of Time to File Response/Reply to Defendant
                      Motions Filed on June 13, 2022 by USA as to Michael Aaron Tew, Kimberley Ann
                      Tew. (Fields, Bryan) (Entered: 06/13/2022)
   06/13/2022   218   MOTION to Sever Defendant by Kimberley Ann Tew. (Bornstein, Peter) (Entered:
                      06/13/2022)
   06/13/2022   219   MOTION for James Hearing and for Government to File a James Proffer by Michael
                      Aaron Tew. (Bornstein, Peter) (Entered: 06/13/2022)
   06/13/2022   220   MOTION for James Hearing and for Government to File a James Proffer by
                      Kimberley Ann Tew. (Bornstein, Peter) (Entered: 06/13/2022)
   06/13/2022   221   MOTION to Suppress Evidence from Search of 3222 East First Avenue, Apartment
                      224 by Michael Aaron Tew, Kimberley Ann Tew. (Attachments: # 1 Exhibit A, # 2
                      Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Bornstein, Peter) (Entered: 06/13/2022)
   06/16/2022   222   ORDER GRANTING 205 Motion to Withdraw as Attorney. The Clerk of Court is
                      instructed to terminate attorney Andrea Surratt as counsel of record, and to remove
                      this name from the electronic certificate of mailing. Plaintiff United States will
                      continue to be represented by attorney Bryan Fields and Albert Buchman. SO
                      ORDERED by Judge Daniel D. Domenico on 6/16/2022. Text Only Entry (dddlc2, )
                      (Entered: 06/16/2022)
   06/16/2022   223   ORDER GRANTING 210 Motion for Leave to File a Reply. Defendants have 5000
                      words for a reply to be filed on or before 6/22/2022. SO ORDERED by Judge Daniel
                      D. Domenico on 6/16/2022. Text Only Entry (dddlc2, ) (Entered: 06/16/2022)
   06/16/2022   224   ORDER Granting 209 Motion to Disclose Grand Jury Material as to Michael Aaron
                      Tew, Kimberley Ann Tew. By Judge Daniel D. Domenico on 06/16/2022. (athom, )
                      (Entered: 06/16/2022)
   06/19/2022   225   MOTION to Continue Sentencing by Jonathan K. Yioulos. (Tallon, Michael)
                      (Entered: 06/19/2022)
   06/22/2022   226   REPLY by Michael Aaron Tew, Kimberley Ann Tew in Support of Motion to
                      Suppress Evidence [Doc.200−Restricted] (Bornstein, Peter) (Entered: 06/22/2022)
   06/29/2022   227   ORDER granting 225 Motion to Continue as to Jonathan K. Yioulos (3). The
                      sentencing hearing set for 7/12/2022 is VACATED AND RESET to 1/19/2023 at
                      10:30 AM in Courtroom A1002 before Judge Daniel D. Domenico. SO ORDERED
                      by Judge Daniel D. Domenico on 6/29/2022. Text Only Entry (dddlc2, ) (Entered:
                      06/29/2022)
   07/14/2022   228   ORDER granting 217 Motion for Extension of Time to File Response/Reply. The
                      government has until and including 8/9/2022 to file responses to the motions filed on
                      6/13/2022. SO ORDERED by Judge Daniel D. Domenico on 8/14/2022. Text Only
                      Entry (dddlc2, ) (Entered: 07/14/2022)
   08/09/2022   229   NOTICE of Conventional Filing Exhibit 1−3 by USA as to Michael Aaron Tew,
                      Kimberley Ann Tew (Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022   230   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 218 MOTION to Sever Defendant (Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022   231   REPLY TO RESPONSE to Motion by USA as to Michael Aaron Tew, Kimberley
                      Ann Tew re 219 MOTION for James Hearing and for Government to File a James

                                                                                                              33
Case No. 1:20-cr-00305-DDD         Document 645-2 filed 01/24/25                USDC Colorado          pg
                                        34 of 1354



                      Proffer (Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022   232   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 220 MOTION for James Hearing and for Government to File a James Proffer
                      (Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022   233   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 215 MOTION for Franks Hearing (Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022   234   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 214 MOTION for Sanctions for Violating Communication Privileges (Buchman,
                      Albert) (Entered: 08/09/2022)
   08/09/2022   235   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 216 MOTION to Suppress the Use of Statements (Attachments: # 1 Conventionally
                      Submitted, # 2 Conventionally Submitted)(Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022   236   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 221 MOTION to Suppress Evidence from Search of 3222 East First Avenue,
                      Apartment 224 (Attachments: # 1 Conventionally Submitted)(Buchman, Albert)
                      (Entered: 08/09/2022)
   08/09/2022   237   Conventionally Submitted Material : 1 Card USB Flash Drive: Exhibit 1 and Exhibit
                      2 to Response in Opposition 235 re 229 Notice, by Plaintiff USA. Material placed in
                      the oversized filing area Area D−5−5 of the Clerk's Office. Text Only Entry (athom, )
                      (submitted additional copy of USB placed in Chambers' mail box) (Entered:
                      08/11/2022)
   08/12/2022   238   ORDER GRANTING IN PART 201 Motion for Leave to File Motion to Suppress
                      Evidence as Restricted Level 1.

                      I must narrowly tailor any restrictions on public access, and must consider whether
                      supplying a redacted version of a document in lieu of restricting access to the entire
                      document would adequately protect the interests of the party seeking restriction.
                      United States v. Walker, 761 F. App'x 822, 835 (10th Cir. 2019); Local Civ. R.
                      7.2(c)(4). Defendants Michael and Kimberly Tew have not shown that redacting the
                      identified financial, medical, and other personal information from the motion to
                      suppress is impracticable or would not adequately protect the privacy interests at
                      stake.

                      Accordingly, the motion for leave to restrict is GRANTED IN PART with respect to
                      the exhibits to the motion only. The Clerk of Court is directed to maintain Doc. 200
                      and Docs. 200−1 to 200−28 under Level 1 restriction. Plaintiff must file a public
                      redacted version of the motion to suppress (Doc. 200 ) on or before 8/19/2022.

                      SO ORDERED by Judge Daniel D. Domenico on 8/12/2022. Text Only Entry
                      (dddlc1, ) (Entered: 08/12/2022)
   08/12/2022   239   ORDER GRANTING IN PART 212 Defendants' Unopposed Motion to Require the
                      Government to Submit Expert Witness Opinions 120 Days Before Trial.

                      Expert witness disclosures pursuant to Federal Rule of Criminal Procedure
                      16(a)(1)(G) and (b)(1)(C) must be made no later than 8/19/2022, and any challenges
                      to such experts must be made no later than 9/9/2022.


                                                                                                               34
Case No. 1:20-cr-00305-DDD         Document 645-2 filed 01/24/25                USDC Colorado           pg
                                        35 of 1354



                      Rebuttal expert witness disclosures must be made no later than 9/16/2022, and any
                      challenges to such rebuttal experts must be made no later than 10/7/2022.

                      SO ORDERED by Judge Daniel D. Domenico on 8/12/2022. Text Only Entry
                      (dddlc1, ) (Entered: 08/12/2022)
   08/15/2022   240   Unopposed MOTION for Leave to File Replies to Government's Responses to
                      Motions by Michael Aaron Tew, Kimberley Ann Tew. (Bornstein, Peter) (Entered:
                      08/15/2022)
   08/15/2022   241   ORDER REGARDING PRETRIAL DEADLINES AND PENDING MOTIONS.

                      Defendants' Unopposed Motion for Leave to File Additional Motions (Doc. 213 ) is
                      GRANTED. Motions due 9/13/2022. Responses due 9/27/2022. No replies will be
                      permitted without prior leave of the Court.

                      Defendants' Unopposed Motion for Leave to File Replies to Government's Responses
                      to Motions (Doc. 240 ) is GRANTED. Replies due 8/23/2022.

                      A Motions Hearing is SET for 10/18/2022 at 10:30 AM in Courtroom A1002 before
                      Judge Daniel D. Domenico.

                      Due to a conflict on the Court's calendar, the eight−day Jury Trial set for 12/5/2022 is
                      VACATED and RESET to commence on 12/12/2022 at 09:00 AM in Courtroom
                      A1002. Counsel and pro se parties must be present at 08:30 AM on the first day of
                      trial. Due to a conflict on the Court's calendar, the Trial Preparation Conference set
                      for 11/29/2022 is VACATED and RESET to 11/22/2022 at 01:30 PM in Courtroom
                      A1002. See written Order for pretrial deadlines.

                      SO ORDERED by Judge Daniel D. Domenico on 8/15/2022. (dddlc1, ) (Entered:
                      08/15/2022)
   08/18/2022   242   Unopposed MOTION for Order to Reschedule Hearing Date on Motion by Michael
                      Aaron Tew, Kimberley Ann Tew. (Bornstein, Peter) (Entered: 08/18/2022)
   08/18/2022   243   ORDER GRANTING 242 Unopposed Motion to Reschedule Hearing Date on
                      Motions as to Michael Aaron Tew (1), Kimberley Ann Tew (2). The Motions
                      Hearing set for 10/18/2022 is VACATED and RESET to 10/12/2022 at 09:30 AM in
                      Courtroom A1002 before Judge Daniel D. Domenico. SO ORDERED by Judge
                      Daniel D. Domenico on 8/18/2022. Text Only Entry (dddlc1, ) (Entered: 08/18/2022)
   08/19/2022   244   RESPONSE by Michael Aaron Tew, Kimberley Ann Tew re: 238 Order on Motion
                      for Leave to Restrict,,,, (Bornstein, Peter) (Entered: 08/19/2022)
   08/23/2022   245   REPLY TO RESPONSE to Motion by Michael Aaron Tew, Kimberley Ann Tew re
                      214 MOTION for Sanctions for Violating Communication Privileges (Bornstein,
                      Peter) (Entered: 08/23/2022)
   08/23/2022   246   REPLY TO RESPONSE to Motion by Michael Aaron Tew, Kimberley Ann Tew re
                      221 MOTION to Suppress Evidence from Search of 3222 East First Avenue,
                      Apartment 224 (Bornstein, Peter) (Entered: 08/23/2022)
   08/23/2022   247   REPLY TO RESPONSE to Motion by Michael Aaron Tew, Kimberley Ann Tew re
                      219 MOTION for James Hearing and for Government to File a James Proffer, 220
                      MOTION for James Hearing and for Government to File a James Proffer (Bornstein,

                                                                                                                 35
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25             USDC Colorado         pg
                                       36 of 1354



                      Peter) (Entered: 08/23/2022)
   08/23/2022   248   REPLY TO RESPONSE to Motion by Kimberley Ann Tew re 218 MOTION to
                      Sever Defendant (Bornstein, Peter) (Entered: 08/23/2022)
   08/23/2022   249   REPLY TO RESPONSE to Motion by Michael Aaron Tew re 216 MOTION to
                      Suppress the Use of Statements (Bornstein, Peter) (Entered: 08/23/2022)
   08/23/2022   250   REPLY TO RESPONSE to Motion by Michael Aaron Tew, Kimberley Ann Tew re
                      215 MOTION for Franks Hearing (Attachments: # 1 Affidavit Declaration of
                      Michael A. Tew, # 2 Affidavit Declaration of Kimberley A. Tew)(Bornstein, Peter)
                      (Entered: 08/23/2022)
   09/15/2022   251   Unopposed MOTION to Travel Out of State by Kimberley Ann Tew. (Bornstein,
                      Peter) (Entered: 09/15/2022)
   09/16/2022   252   ORDER granting 251 Unopposed Motion to Travel as to Kimberley Ann Tew (2).
                      SO ORDERED by Judge Daniel D. Domenico on 09/16/2022. Text Only Entry
                      (dddlc5, ) (Entered: 09/16/2022)
   10/07/2022   253   EXHIBIT LIST for Suppression Hearing of October 12, 2022 by USA as to Michael
                      Aaron Tew, Kimberley Ann Tew (Attachments: # 1 Proposed Exhibit List)(Fields,
                      Bryan) (Entered: 10/07/2022)
   10/07/2022   254   WITNESS LIST for Suppression Hearing of October 12, 2022 by USA as to Michael
                      Aaron Tew, Kimberley Ann Tew (Attachments: # 1 Proposed Witness List)(Fields,
                      Bryan) (Entered: 10/07/2022)
   10/12/2022   255   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico:
                      Suppression Hearing as to Michael Aaron Tew, Kimberley Ann Tew held on
                      10/12/2022. Taking under advisement 214 Motion for Sanctions as to Michael Aaron
                      Tew (1), Kimberley Ann Tew (2). Denying 215 Motion for Franks Hearing as to
                      Michael Aaron Tew (1), Kimberley Ann Tew (2). Taking under advisement 216
                      Motion to Suppress as to Michael Aaron Tew (1). Taking under advisement 200
                      Defendants Motion. Denying 219 Motion for James Hearing as to Michael Aaron
                      Tew (1). Taking under advisement 221 Motion to Suppress as to Michael Aaron Tew
                      (1), Kimberley Ann Tew (2). Taking under advisement 218 Motion to Sever
                      Defendant as to Kimberley Ann Tew (2). Taking under advisement 220 Motion for
                      James Hearing as to Kimberley Ann Tew (2). Bond continued as to both defendants.
                      Court Reporter: Julie Thomas. (rkeec) (Entered: 10/13/2022)
   10/12/2022   256   WITNESS LIST by USA as to Michael Aaron Tew (1), Kimberley Ann Tew (2).
                      With date and time testified. (rkeec) (Entered: 10/13/2022)
   10/12/2022   257   EXHIBIT LIST by USA as to Michael Aaron Tew (1), Kimberley Ann Tew (2).
                      (rkeec) (Entered: 10/13/2022)
   10/27/2022   258   ORDER Denying 221 Motion to Suppress Evidence from Search of 3222 East First
                      Avenue, Apartment 224 as to Michael Aaron Tew, Kimberley Ann Tew. By Judge
                      Daniel D. Domenico on 10/27/2022. (athom, ) (Entered: 10/28/2022)
   10/27/2022   259   ORDER as to Michael Aaron Tew. Mr. Tew's Motion to Suppress the Use of
                      Statements (Doc. 216 ) is DENIED. By Judge Daniel D. Domenico on 10/27/2022.
                      (athom, ) (Entered: 10/28/2022)
   10/27/2022   260


                                                                                                         36
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25                USDC Colorado           pg
                                       37 of 1354



                      ORDER Denying 218 Motion for Severance as to Kimberley Ann Tew. By Judge
                      Daniel D. Domenico on 10/27/2022. (athom, ) (Entered: 10/28/2022)
   10/27/2022   261   ORDER Denying 214 Motion for Sanctions as to Michael Aaron Tew, Kimberley
                      Ann Tew. By Judge Daniel D. Domenico on 10/27/2022. (athom, ) (Entered:
                      10/28/2022)
   10/27/2022   262   ORDER Denying 200 Motion to Suppress Evidence as to Michael Aaron Tew,
                      Kimberley Ann Tew. By Judge Daniel D. Domenico on 10/27/2022. (athom, )
                      (Entered: 10/28/2022)
   10/28/2022   263   ORDER GRANTING IN PART 220 Defendant Kimberly Ann Tew's Motion for a
                      James Proffer and Hearing. Ms. Tew's request for the Government to file a James
                      proffer and for the Court to hold a James hearing is granted, though not on the
                      timeline requested.

                      The Government must file any statements it will seek to admit at trial under Federal
                      Rule of Evidence 801(d)(2)(E) in the form of a James log, along with the referenced
                      exhibits and an accompanying brief, on or before 1/6/2023. The defendants must file
                      their responses to the Government's James log and brief on or before 1/20/2023. A
                      James Hearing is SET for 1/26/2023 at 09:30 AM in Courtroom A1002 before Judge
                      Daniel D. Domenico.

                      In light of the above, the Trial Preparation Conference set for 11/22/2022 is
                      VACATED and RESET for 3/7/2022 at 09:30 AM in Courtroom A1002, and the
                      eight−day Jury Trial set for 12/12/2022 is VACATED and RESET for 3/13/2023 at
                      09:00 AM in Courtroom A1002. Counsel and pro se parties must be present at 08:30
                      AM on the first day of trial. Pretrial deadlines remain as stated in the Court's Order
                      Regarding Pretrial Deadlines and Pending Motions (Doc. 241 ).

                      SO ORDERED by Judge Daniel D. Domenico on 10/28/2022. Text Only Entry
                      (dddlc1, ) (Entered: 10/28/2022)
   11/15/2022   264   MOTION for Leave to Restrict by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 11/15/2022)
   11/15/2022   265   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew, Kimberley Ann
                      Tew. (Bornstein, Peter) (Entered: 11/15/2022)
   11/15/2022   266   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew, Kimberley Ann
                      Tew. (Attachments: # 1 Exhibit A)(Bornstein, Peter) (Entered: 11/15/2022)
   11/16/2022   267   Unopposed MOTION to Travel Out of State by Michael Aaron Tew, Kimberley Ann
                      Tew. (Bornstein, Peter) (Entered: 11/16/2022)
   11/17/2022   268   ORDER granting 267 Motion to Travel as to Michael Aaron Tew (1), Kimberley Ann
                      Tew (2). Mr. and Mrs. Tew are granted permission to leave the state of Colorado and
                      travel to Marquette, Michigan with their children from 11/18/2022 until 11/27/2022.
                      SO ORDERED by Judge Daniel D. Domenico on 11/17/2022. Text Only Entry
                      (dddlc5, ) (Entered: 11/17/2022)
   11/17/2022   269   ORDER granting 264 Motion for Leave to Restrict 265 Restricted Document − Level
                      3, 266 Restricted Document − Level 3 as to Michael Aaron Tew (1), Kimberley Ann
                      Tew (2). The Clerk of Court is directed to maintain 265 and 266 UNDER
                      RESTRICTION at LEVEL 3. SO ORDERED by Judge Daniel D. Domenico on


                                                                                                               37
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25               USDC Colorado           pg
                                       38 of 1354



                      11/17/2022. Text Only Entry (dddlc5, ) (Entered: 11/17/2022)
   11/28/2022   270   Unopposed MOTION to Continue adjourn sentencing by Jonathan K. Yioulos.
                      (Tallon, Michael) (Entered: 11/28/2022)
   11/28/2022   271   ORDER granting 270 Motion to Continue as to Jonathan K. Yioulos (3). Mr.
                      Yioulos's Sentencing set for 1/19/2023 at 10:30 a.m. is VACATED and RESET for
                      3/29/2023 at 10:30 AM in Courtroom A1002 before Judge Daniel D. Domenico. All
                      related deadlines are continued. SO ORDERED by Judge Daniel D. Domenico on
                      11/28/2022. Text Only Entry (dddlc5, ) (Entered: 11/28/2022)
   11/29/2022   272   Order Regarding Motion for Subpoenas as to Michael Aaron Tew and Kimberley
                      Ann Tew. (angar, ) Modified on 11/29/2022 to correct restriction level and title
                      (angar, ). (Entered: 11/29/2022)
   12/01/2022   273   MOTION to Withdraw as Attorney by Peter R. Bornstein by Michael Aaron Tew,
                      Kimberley Ann Tew. (Bornstein, Peter) (Entered: 12/01/2022)
   12/01/2022   274   ORDER REFERRING MOTION as to Michael Aaron Tew, Kimberley Ann Tew 273
                      MOTION to Withdraw as Attorney by Peter R. Bornstein. Motion referred to
                      Magistrate Judge Kristen L. Mix, by Judge Daniel D. Domenico on 12/01/2022. Text
                      Only Entry (dddlc5, ) Modified on 12/5/2022 to add text (athom, ). (Entered:
                      12/01/2022)
   12/02/2022   275   MINUTE ORDER by Magistrate Judge Kristen L. Mix on 12/02/2022. IT IS
                      HEREBY ORDERED that the Motion 273 is GRANTED as to Michael Aaron Tew
                      (1), Kimberley Ann Tew (2). Mr. Bornstein is permitted to withdraw as counsel for
                      Defendants. IT IS FURTHER ORDERED that on or before December 16, 2022,
                      Defendants shall have replacement counsel enter an appearance or, if they believe
                      they are entitled to appointment of CJA counsel to represent them, shall each file a
                      financial affidavit under restriction at Level 3. (alave, ) (Entered: 12/05/2022)
   12/05/2022   276   MOTION for Reconsideration re 275 Order on Motion to Withdraw as Attorney,, or,
                      in the alternative, motion for expedited appointment and extension of deadlines by
                      USA as to Michael Aaron Tew, Kimberley Ann Tew. (Fields, Bryan) (Entered:
                      12/05/2022)
   12/05/2022   277   ORDER REFERRING MOTION as to Michael Aaron Tew, Kimberley Ann Tew 276
                      MOTION for Reconsideration re 275 Order on Motion to Withdraw as Attorney,, or,
                      in the alternative, motion for expedited appointment and extension of deadlines filed
                      by USA. Motion referred to Magistrate Judge Kristen L. Mix by Judge Daniel D.
                      Domenico on 12/05/2022. Text Only Entry (dddlc5, ) (Entered: 12/05/2022)
   12/06/2022   278   MINUTE ORDER by Magistrate Judge Kristen L. Mix on 12/06/2022. IT IS
                      HEREBY ORDERED that a hearing on the Motion 276 is set for December 9, 2022,
                      at 11:00 a.m. Counsel for the parties, including defense counsel Peter Bornstein who
                      was permitted to withdraw by Minute Order 275 of December 2, 2022, shall be
                      present at the hearing. IT IS FURTHER ORDERED that the Clerk of Court shall
                      email a copy of this Minute Order to Mr. Bornstein. (alave, ) (Entered: 12/06/2022)
   12/06/2022   279   Certificate of Service by E−Mail by Clerk of Court re 278 Minute Order to counsel
                      Peter Bornstein at pbornstein@prblegal.com. Text Only Entry. (alave, ) (Entered:
                      12/06/2022)
   12/09/2022   280   MINUTE ENTRY for In Court Hearing as to Michael Aaron Tew, Kimberley Ann
                      Tew held on 12/9/2022 before Magistrate Judge Kristen L. Mix. The court GRANTS

                                                                                                              38
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25               USDC Colorado          pg
                                       39 of 1354



                      276 Motion for Reconsideration re 273 MOTION to Withdraw as Attorney. 273
                      MOTION to Withdraw as Attorney is GRANTED in part and DENIED in part to the
                      extent that Mr. Bornstein is permitted to withdraw as private counsel, but otherwise
                      denied. Defendants are ORDERED to submit financial affidavits on or before 5:00
                      PM Tuesday, December 13, 2022. Should Defendants qualify for court−appointed
                      counsel, Mr. Bornstein will be appointed as CJA counsel.

                      The Clerk of Court is ORDERED to allow Mr. Bornstein to file the financial
                      affidavits on the electronic docket on the Defendants' behalf. Should there be any
                      problem with the filing of the financial affidavits, Mr. Bornstein SHALL email them
                      to Mix_Chambers@cod.uscourts.gov.(Total time: 23 minutes, Hearing time:
                      11:00−11:23)

                      APPEARANCES: Bryan Fields, Albert Buchman on behalf of the Government,
                      Peter Bornstein on behalf of the defendant. FTR: A−401. (cpomm, ) Text Only Entry
                      (Entered: 12/09/2022)
   12/13/2022   281   MOTION for Leave to Restrict by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 12/13/2022)
   12/13/2022   282   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew, Kimberley Ann
                      Tew. (Bornstein, Peter) (Entered: 12/13/2022)
   12/14/2022   283   ORDER granting 281 Motion for Leave to Restrict 282 Restricted Document as to
                      Michael Aaron Tew (1), Kimberley Ann Tew (2). The Clerk of Court is instructed to
                      maintain 282 at LEVEL THREE RESTRICTION. SO ORDERED by Judge Daniel
                      D. Domenico on 12/14/2022. Text Only Entry (dddlc5, ) (Entered: 12/14/2022)
   12/27/2022   284   MOTION to Vacate Deadlines and for Status Conference by USA as to Michael
                      Aaron Tew, Kimberley Ann Tew. (Fields, Bryan) (Entered: 12/27/2022)
   12/27/2022   285   TRANSCRIPT of MOTIONS HEARING as to Michael Aaron Tew, Kimberley Ann
                      Tew held on 10/12/22 before Judge Domenico. Pages: 1−234.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (Thomas, Julie) (Entered: 12/27/2022)
   12/27/2022   286   MINUTE ORDER by Magistrate Judge Kristen L. Mix on 12/27/2022. IT IS
                      HEREBY ORDERED that attorney Peter Bornstein is appointed as CJA counsel for
                      Defendants Michael A. Tew and Kimberly A. Tew. (alave, ) (Entered: 12/27/2022)
   12/28/2022   287   ORDER DENYING 284 Government's Motion to Vacate Current Deadlines and for
                      Status Conference as to Michael Aaron Tew (1), Kimberley Ann Tew (2).

                      Attorney Peter Bornstein represented the defendants as retained counsel for a period


                                                                                                             39
Case No. 1:20-cr-00305-DDD         Document 645-2 filed 01/24/25                USDC Colorado           pg
                                        40 of 1354



                      of over nine months from February to December 2022 (see Docs. 178 , 273 , 275 ,
                      280), and he now continues to represent the defendants as appointed CJA counsel
                      (Doc. 286 ). The Government has repeatedly stated its concern that further delays
                      may prejudice its case and the public (Doc. 284 at 3; Doc. 276 at 2, 3, 5, 8), and has
                      also acknowledged that Mr. Bornstein "is surely in the best position to advance this
                      case without any more delay" (Doc. 276 at 2). Having now been appointed as CJA
                      counsel, Mr. Bornstein has over a week to review the Government's James
                      submission prior to its filing on 1/6/2023.

                      The Government's request to vacate the deadlines related to its James proffer and log
                      is therefore denied.

                      SO ORDERED by Judge Daniel D. Domenico on 12/28/2022. Text Only Entry
                      (dddlc1, ) (Entered: 12/28/2022)
   12/28/2022   288   MOTION for Order Appointing Separate Counsel by Michael Aaron Tew, Kimberley
                      Ann Tew. (Bornstein, Peter) (Entered: 12/28/2022)
   12/29/2022   289   ORDER GRANTING 288 Motion for Appointment of Separate Counsel as to
                      Michael Aaron Tew (1), Kimberley Ann Tew (2).

                      Attorney Peter R. Bornstein is relieved of any further representation of Defendant
                      Kimberley Ann Tew, and the Clerk of Court is instructed to terminate Mr. Bornstein
                      as counsel of record for Ms. Tew. An attorney from the Criminal Justice Act panel
                      will be appointed to represent Ms. Tew. Defendant Michael Aaron Tew will continue
                      to be represented by Mr. Bornstein as appointed CJA counsel.

                      In light of the above, the deadlines for the Goverment's James proffer and log and the
                      defendants' response thereto, and the James Hearing set for 1/26/2023 are
                      CONTINUED pending further order of the Court.

                      Within one week of entry of appearance of new counsel for Ms. Tew, the parties
                      must file a Joint Status Report addressing: (1) the Speedy Trial Act implications of
                      the new representation, if any; (2) mutually agreeable proposed deadlines for further
                      James proceedings; and (3) any other issues the parties wish to bring to the Court's
                      attention.

                      SO ORDERED by Judge Daniel D. Domenico on 12/29/2022. Text Only Entry
                      (dddlc1, ) (Entered: 12/29/2022)
   01/03/2023   290   NOTICE OF ATTORNEY APPEARANCE: David Scott Kaplan appearing for
                      Kimberley Ann TewAttorney David Scott Kaplan added to party Kimberley Ann
                      Tew(pty:dft) (Kaplan, David) (Main Document 290 replaced on 1/21/2025) (lrobe, ).
                      (Entered: 01/03/2023)
   01/05/2023   291   MOTION to Unrestrict Document 2 Warrant Issued, 1 Complaint, by USA as to
                      Michael Aaron Tew, Kimberley Ann Tew, Jonathan K. Yioulos. (Attachments: # 1
                      Proposed Order (PDF Only))(Fields, Bryan) (Entered: 01/05/2023)
   01/06/2023   292   ORDER granting 291 Motion to Unrestrict 291 . The Clerk of Court is directed to
                      unrestrict Documents 1 , 2 , 5 , and 6 as to Michael Aaron Tew (1), Kimberley Ann
                      Tew (2), Jonathan K. Yioulos (3). SO ORDERED by Judge Daniel D. Domenico on
                      01/06/2023. Text Only Entry (dddlc5, ) (Entered: 01/06/2023)


                                                                                                               40
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25               USDC Colorado          pg
                                       41 of 1354



   01/10/2023   293   STATUS REPORT (Joint Status Report of Parties) by USA as to Michael Aaron
                      Tew, Kimberley Ann Tew (Fields, Bryan) (Entered: 01/10/2023)
   01/11/2023   294   MINUTE ORDER as to Michael Aaron Tew, Kimberley Ann Tew re 293 Status
                      Report filed by USA. By 1/17/2023, Mr. Bornstein and Mr. Kaplan must each submit
                      an ex parte filing describing their positions regarding any conflict of interest that
                      might prevent Mr. Bornstein from continuing to represent Mr. Tew and whether a
                      hearing is necessary to evaluate and resolve this issue. SO ORDERED by Judge
                      Daniel D. Domenico on 01/11/2023. Text Only Entry (dddlc5, ) (Entered:
                      01/11/2023)
   01/13/2023   295   NOTICE OF ATTORNEY APPEARANCE: Nancy Lin Cohen appearing for
                      Movants Christopher J. Alf, National Air Cargo Group, Inc., National Air Cargo
                      Holdings, Inc.Attorney Nancy Lin Cohen added to party Christopher J. Alf(pty:mov),
                      Attorney Nancy Lin Cohen added to party National Air Cargo Group, Inc. (pty:mov),
                      Attorney Nancy Lin Cohen added to party National Air Cargo Holdings,
                      Inc.(pty:mov) (athom, ) (Entered: 01/13/2023)
   01/13/2023   296   NOTICE OF ATTORNEY APPEARANCE: Eric S. Galler appearing for Movants
                      Christopher J. Alf, National Air Cargo Group, Inc., National Air Cargo Holdings,
                      Inc.Attorney Eric S. Galler added to party Christopher J. Alf(pty:mov), Attorney Eric
                      S. Galler added to party National Air Cargo Group, Inc. (pty:mov), Attorney Eric S.
                      Galler added to party National Air Cargo Holdings, Inc.(pty:mov) (athom, ) (Entered:
                      01/13/2023)
   01/13/2023   297   MOTION to Quash Subpoenas by Christopher J. Alf, National Air Cargo Group,
                      Inc., National Air Cargo Holdings, Inc. as to Michael Aaron Tew, Kimberley Ann
                      Tew, Jonathan K. Yioulos. (athom, ) (Entered: 01/13/2023)
   01/17/2023   298   NOTICE OF ATTORNEY APPEARANCE: Peter R. Bornstein appearing for
                      Michael Aaron Tew (Bornstein, Peter) (Entered: 01/17/2023)
   01/17/2023   299   MOTION for Leave to Restrict by Michael Aaron Tew. (Bornstein, Peter) (Entered:
                      01/17/2023)
   01/17/2023   300   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew. (Bornstein, Peter)
                      (Entered: 01/17/2023)
   01/17/2023   301   RESTRICTED DOCUMENT − Level 3: by Kimberley Ann Tew. (Kaplan, David)
                      (Entered: 01/17/2023)
   01/26/2023   302   ORDER granting 299 Motion for Leave to Restrict as to Michael Aaron Tew (1). The
                      Clerk of Court is directed to maintain 300 at a LEVEL THREE RESTRICTION. SO
                      ORDERED by Judge Daniel D. Domenico on 1/26/2023. Text Only Entry (dddlc5, )
                      (Entered: 01/26/2023)
   01/29/2023   303   Unopposed MOTION to Modify Conditions of Release by Jonathan K. Yioulos as to
                      Michael Aaron Tew, Kimberley Ann Tew, Jonathan K. Yioulos. (Tallon, Michael)
                      (Entered: 01/29/2023)
   01/30/2023   304   ORDER GRANTING 303 Unopposed Motion to Modify Conditions of Release as to
                      Jonathan K. Yioulos (3). Mr. Yioulos may travel to Sarasota, Florida, to visit family
                      from 2/16/23 to 2/24/23. He must (1) provide documentation regarding his travel
                      plans to United States Pretrial and Probation Services in advance of departure, (2)
                      contact his probation officer as directed during the time of approved travel, and (3)
                      promptly contact his probation officer upon return from his trip. SO ORDERED by

                                                                                                              41
Case No. 1:20-cr-00305-DDD         Document 645-2 filed 01/24/25                USDC Colorado           pg
                                        42 of 1354



                      Judge Daniel D. Domenico on 01/30/2023. Text Only Entry (dddlc5, ) (Entered:
                      01/30/2023)
   01/30/2023   305   ORDER WITHDRAWING COUNSEL as to Michael Aaron Tew. Peter R. Bornstein
                      is WITHDRAWN as counsel to Defendant Michael Aaron Tew and relieved of all
                      further representation. The Clerk of Court is instructed to terminate Mr. Bornstein as
                      counsel of record, and to remove his name from the electronic certificate of mailing.
                      An attorney from the Criminal Justice Act panel will be appointed to represent
                      Defendant Michael Tew. Within one week of entry of appearance of new counsel for
                      Mr. Tew, the parties must file a Joint Status Report addressing: (1) the Speedy Trial
                      Act implications of the new representation, if any; and (2) any other issues the parties
                      wish to bring to the Court's attention. On or before 3/13/2023, the parties must file a
                      Joint Status Report with mutually agreeable proposed deadlines for further James
                      proceedings. By Judge Daniel D. Domenico on 01/30/2023. (athom, ) (Entered:
                      01/30/2023)
   01/30/2023   306   ORDER as to Michael Aaron Tew, Kimberley Ann Tew, Jonathan K. Yioulos.The
                      Motion of Third−Party Victims to Quash Subpoenas (Doc. 297 ) is GRANTED.The
                      defendants' third−party subpoenas dated 12/1/2022 are QUASHED. The defendants
                      may, if they wish, file a renewed motion for leave to serve third−party subpoenas that
                      fully complies with Federal Rule of Criminal Procedure 17. By Judge Daniel D.
                      Domenico on 01/30/2023. (athom, ) (Entered: 01/30/2023)
   01/30/2023   307   ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT
                      RULES/PROCEDURES: re: 303 Unopposed MOTION to Modify Conditions of
                      Release filed by attorney Michael John Tallon. The format for the attorney's signature
                      block information is not correct. DO NOT REFILE THE DOCUMENT. Action to
                      take − future documents must be filed pursuant to D.C.COLO.LCr49.1(a) and 4.3(d)
                      of the Electronic Case Filing Procedures (Criminal Cases). The document was
                      scanned and not converted directly to portable document format (PDF). DO NOT
                      REFILE THE DOCUMENT. Action to take − future documents must be filed
                      pursuant to D.C.COLO.LCr49.1(a) and 1.3(f) of the Electronic Case Filing
                      Procedures (Criminal Cases). (Text Only Entry) (athom, ) (Entered: 01/30/2023)
   01/31/2023   308   NOTICE OF ATTORNEY APPEARANCE: Jason Dale Schall appearing for
                      Michael Aaron TewAttorney Jason Dale Schall added to party Michael Aaron
                      Tew(pty:dft) (Schall, Jason) (Entered: 01/31/2023)
   02/03/2023   309   Unopposed MOTION to Continue Trial by Michael Aaron Tew. (Schall, Jason)
                      (Entered: 02/03/2023)
   02/03/2023   310   ORDER re 309 Motion to Continue as to Michael Aaron Tew. The Court currently
                      does not have enough information to determine whether the ends−of−justice served
                      by the length of delay requested by the Defendant outweighs the best interests of the
                      defendant and public in a speedy trial. In light of the appointment of Mr. Tew's new
                      counsel and the suspension of the present time from the Speedy Trial Act given the
                      James proceeding is not yet under advisement, the eight−day jury trial set for 3/13/23
                      and Trial Preparation Conference set for 3/7/2023 are VACATED. The Motion to
                      Continue 309 is denied without prejudice. If Defendant wishes to file a renewed
                      Motion to Continue, he should do so concurrent with the status report due 3/13/2023.
                      SO ORDERED by Judge Daniel D. Domenico on 02/03/2023. Text Only Entry
                      (dddlc5, ) (Entered: 02/03/2023)
   02/07/2023   311


                                                                                                                 42
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25               USDC Colorado          pg
                                       43 of 1354



                      STATUS REPORT (Joint Status Report of Parties) by USA as to Michael Aaron
                      Tew, Kimberley Ann Tew (Fields, Bryan) (Entered: 02/07/2023)
   02/17/2023   312   Unopposed MOTION to Modify Conditions of Release by Michael Aaron Tew.
                      (Schall, Jason) (Entered: 02/17/2023)
   02/17/2023   313   ORDER granting 312 Motion to Modify Conditions of Release as to Michael Aaron
                      Tew (1). Condition 7(x)(w) is stricken from Defendant's Conditions of Release.
                      Defendant's supervising officer shall notify the Court if any issues arise from the
                      removal of this restriction. SO ORDERED by Judge Daniel D. Domenico on
                      2/17/2023. Text Only Entry (dddlc5, ) (Entered: 02/17/2023)
   03/13/2023   314   STATUS REPORT re James Hearing (Joint Status Report of all Parties) by USA as
                      to Michael Aaron Tew, Kimberley Ann Tew, Jonathan K. Yioulos (Fields, Bryan)
                      (Entered: 03/13/2023)
   03/13/2023   315   Unopposed MOTION for Order for an Ends of Justice (EOJ) Continuance Pursuant
                      to 18 U.S.C. 3161(h)(7) by Kimberley Ann Tew. (Kaplan, David) (Entered:
                      03/13/2023)
   03/13/2023   316   Unopposed MOTION to Continue Trial by Michael Aaron Tew. (Schall, Jason)
                      (Entered: 03/13/2023)
   03/17/2023   317   ORDER as to Kimberley Ann Tew. Defendant's Motion to Continue Trial and for an
                      Ends of Justice Continuance (Doc. 315 ) is GRANTED. Three hundred and
                      twenty−nine (329) days, from 3/17/2023 to 2/9/2024, will be excluded from the
                      computation of Defendant Kimberley Tew's Speedy Trial Act time. Motions due by
                      9/13/2023. Responses due by 9/20/2023. The eight−day Jury Trial is RESET to
                      2/5/2024 at 9:00 a.m. in Courtroom A1002 before Judge Daniel D. Domenico. The
                      Trial Preparation Conference RESET to 1/30/2024 at 1:30 p.m. in Courtroom A1002
                      before Judge Daniel D. Domenico. By Judge Daniel D. Domenico on 03/17/2023.
                      (athom, ) (Entered: 03/17/2023)
   03/17/2023   318   ORDER as to Michael Aaron Tew. Defendant's Motion to Continue Trial and for an
                      Ends of Justice Continuance (Doc. 316 ) is GRANTED. Three hundred and
                      twenty−nine (329) days, from 3/17/2023 to 2/9/2024, will be excluded from the
                      computation of Defendant Michael Tew's Speedy Trial Act time. Motions due by
                      9/13/2023. Responses due by 9/20/2023. The eight−day Jury Trial is RESET to
                      2/5/2024 at 9:00 a.m. in Courtroom A1002 before Judge Daniel D. Domenico. The
                      Trial Preparation Conference is RESET to 1/30/2024 at 1:30 p.m. in Courtroom
                      A1002 before Judge Daniel D. Domenico. By Judge Daniel D. Domenico on
                      03/17/2023. (athom, ) (Entered: 03/17/2023)
   03/20/2023   319   RESTRICTED PRESENTENCE REPORT as to Jonathan K. Yioulos (Attachments:
                      # 1 Exhibit A)(lgiac) (Entered: 03/20/2023)
   03/20/2023   320   RESTRICTED ADDENDUM to Presentence Report 319 as to Jonathan K. Yioulos
                      (lgiac) (Entered: 03/20/2023)
   03/22/2023   321   Unopposed MOTION to Continue adjourn sentencing and apply for,passport by
                      Jonathan K. Yioulos. (Tallon, Michael) (Entered: 03/22/2023)
   03/23/2023   322   ORDER granting 321 Motion to Continue as to Jonathan K. Yioulos (3). The
                      sentencing set for 3/29/2023 is VACATED and RESET for 3/5/2024 10:30 AM in
                      Courtroom A1002 before Judge Daniel D. Domenico.


                                                                                                            43
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25                USDC Colorado          pg
                                       44 of 1354



                      Mr. Yioulos's motion to apply for a passport 321 is GRANTED. If a passport is
                      issued to Mr. Yioulos, his counsel must maintain control of it until specific
                      permission to travel is granted. Mr. Yioulos must separately request permission to
                      travel.

                      SO ORDERED by Judge Daniel D. Domenico on 3/23/2023. Text Only Entry
                      (dddlc5, ) (Entered: 03/23/2023)
   03/24/2023   323   ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT
                      RULES/PROCEDURES: re: 321 Unopposed MOTION to Continue adjourn
                      sentencing and apply for,passport filed by attorney Michael John Tallon. The format
                      for the attorney's signature block information is not correct. DO NOT REFILE THE
                      DOCUMENT. Action to take − future documents must be filed pursuant to
                      D.C.COLO.LCr49.1(a) and 4.3(d) of the Electronic Case Filing Procedures (Criminal
                      Cases). The document was scanned and not converted directly to portable document
                      format (PDF). DO NOT REFILE THE DOCUMENT. Action to take − future
                      documents must be filed pursuant to D.C.COLO.LCr49.1(a) and 1.3(f) of the
                      Electronic Case Filing Procedures (Criminal Cases). (Text Only Entry) (athom, )
                      (Entered: 03/24/2023)
   03/27/2023   324   Unopposed MOTION to Modify Conditions of Release for family travel to Florida
                      on March 30th by Jonathan K. Yioulos. (Tallon, Michael) (Entered: 03/27/2023)
   03/27/2023   325   ORDER granting 324 Motion to Modify Conditions of Release as to Jonathan K.
                      Yioulos (3). Mr. Yioulos may travel to Sarasota, Florida, to visit family from 3/30/23
                      to 4/6/23. He must (1) provide documentation regarding his travel plans to United
                      States Pretrial and Probation Services in advance of departure, (2) contact his
                      probation officer as directed during the time of approved travel, and (3) promptly
                      contact his probation officer upon return from his trip. SO by Judge Daniel D.
                      Domenico on 3/27/2023. (dddlc5, ) (Entered: 03/27/2023)
   03/28/2023   326   ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT
                      RULES/PROCEDURES re: 324 Unopposed Motion to Modify Conditions of Release
                      filed by attorney Michael John Tallon. The document was scanned and not
                      converted directly to portable document format (PDF). DO NOT REFILE THE
                      DOCUMENT. Action to take − future documents must be filed pursuant to
                      D.C.COLO.LCr49.1(a) and 1.3(f) of the Electronic Case Filing Procedures (Criminal
                      Cases). (Text Only Entry) (jtorr, ) (Entered: 03/28/2023)
   05/01/2023   327   Unopposed MOTION to Modify Conditions of Release by Michael Aaron Tew.
                      (Schall, Jason) (Entered: 05/01/2023)
   05/01/2023   328   ORDER granting 327 Motion to Modify Conditions of Release as to Michael Aaron
                      Tew (1). Condition 7(q) of Mr. Tew's pre−trial release is removed. In lieu of 7(q) Mr.
                      Tew must report to U.S. Pre−trial Services/U.S. Probation by no later than 12:00 p.m.
                      MST every Monday. SO ORDERED by Judge Daniel D. Domenico on 5/1/2023.
                      Text Only Entry (dddlc5, ) (Entered: 05/01/2023)
   06/07/2023   329   Unopposed MOTION to Travel by Michael Aaron Tew. (Schall, Jason) (Entered:
                      06/07/2023)
   06/07/2023   330   ORDER granting 329 Motion to Travel as to Michael Aaron Tew (1). Mr. Tew may
                      travel between on or around June 17, 2023 and June 22, 2023 to the States of
                      Wisconsin and Michigan. He must (1) provide documentation regarding his travel
                      plans to United States Pretrial and Probation Services in advance of departure, (2)

                                                                                                               44
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25               USDC Colorado           pg
                                       45 of 1354



                      contact his probation officer as directed during approved travel, and (3) promptly
                      contact his probation officer upon return from travel as directed. SO ORDERED by
                      Judge Daniel D. Domenico on 6/7/2023. Text Only Entry (dddlc5, ) (Entered:
                      06/07/2023)
   06/16/2023   331   Unopposed MOTION to Travel Out of State by Kimberley Ann Tew. (Kaplan,
                      David) (Entered: 06/16/2023)
   06/16/2023   332   ORDER granting 331 Motion to Travel as to Kimberley Ann Tew (2). Ms. Tew may
                      travel between on or around June 17, 2023 and June 22, 2023 to the States of
                      Wisconsin and Michigan. She must (1) provide documentation regarding her travel
                      plans to United States Pretrial and Probation Services in advance of departure, (2)
                      contact her probation officer as directed during approved travel, and (3) promptly
                      contact his probation officer upon return from travel as directed. SO ORDERED by
                      Judge Daniel D. Domenico on 6/16/2023. Text Only Entry (dddlc5, ) (Entered:
                      06/16/2023)
   07/07/2023   333   NOTICE OF ATTORNEY APPEARANCE: Richard Kent Kornfeld appearing for
                      Jonathan K. YioulosAttorney Richard Kent Kornfeld added to party Jonathan K.
                      Yioulos(pty:dft) (Kornfeld, Richard) (Entered: 07/07/2023)
   07/07/2023   334   MOTION to Withdraw as Attorney by Michael J. Tallon by Jonathan K. Yioulos.
                      (Tallon, Michael) (Entered: 07/07/2023)
   07/20/2023   335   ORDER granting 334 Motion to Withdraw as Attorney. The Clerk of Court is
                      directed to terminate Attorney Michael John Tallon as counsel of record for Jonathan
                      K. Yioulos (3). Mr. Yioulos will continue to be represented by Richard K. Kornfeld.
                      SO ORDERED by Judge Daniel D. Domenico on 7/20/2023. Text Only Entry
                      (dddlc5, ) (Entered: 07/20/2023)
   09/12/2023   336   Unopposed MOTION for Extension of Time to File Pre−Trial Motions by
                      Kimberley Ann Tew. (Kaplan, David) (Entered: 09/12/2023)
   09/12/2023   337   Unopposed MOTION for Extension of Time to File by Michael Aaron Tew. (Schall,
                      Jason) (Entered: 09/12/2023)
   09/13/2023   338   ORDER GRANTING 337 Motion for Extension of Time to File as to Michael Aaron
                      Tew; and

                      GRANTING 336 Motion for Extension of Time to File as to Kimberley Ann Tew.

                      The motions deadline as to Mr. Tew and Ms. Tew is extended to October 13, 2023.
                      The government must file responses on or before October 20, 2023. SO ORDERED
                      by Judge Daniel D. Domenico on 9/13/2023. Text Only Entry (dddlc3, ) (Entered:
                      09/13/2023)
   10/13/2023   339   STATUS REPORT (Joint Status Report) by USA as to Michael Aaron Tew,
                      Kimberley Ann Tew (Fields, Bryan) (Entered: 10/13/2023)
   10/26/2023   340   ORDER SETTING JAMES HEARING as to Michael Aaron Tew, Kimberley Ann
                      Tew.

                      The Government must file any statements it will seek to admit at trial under Federal
                      Rule of Evidence 801(d)(2)(E) in the form of a James log, along with an
                      accompanying brief, on or before December 5, 2023.


                                                                                                             45
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25               USDC Colorado           pg
                                       46 of 1354




                      The defendants must file their responses to the Government's James log and brief on
                      or before December 12, 2023. A James Hearing is SET for December 19, 2023 at
                      9:30 a.m. in Courtroom A1002 before Judge Daniel D. Domenico. SO ORDERED by
                      Judge Daniel D. Domenico on 10/26/2023. Text Only Entry (dddlc3, ) (Entered:
                      10/26/2023)
   12/05/2023   341   Government's Proffer (Memorandum in Support of James Log) re: 340 Order,, by
                      USA as to Michael Aaron Tew, Kimberley Ann Tew (Attachments: # 1 Exhibit 1 −
                      James Log, # 2 Exhibit 1001 − Bank Accounts, # 3 Exhibit 1002 − Scheme Invoice
                      Summary, # 4 Exhibit 1003 − Scheme Deposit Summary, # 5 Exhibit 1004 −
                      HSCPA, MCG & 5530JD Summary, # 6 Exhibit 1005 − PM Summary, # 7 Exhibit
                      1006 − GFL Summary, # 8 Exhibit 1007 − AMR Summary)(Fields, Bryan) (Entered:
                      12/05/2023)
   12/12/2023   342   MOTION to Withdraw as Attorney by Albert Buchman by USA as to Michael Aaron
                      Tew, Kimberley Ann Tew, Jonathan K. Yioulos. (Buchman, Albert) (Entered:
                      12/12/2023)
   12/12/2023   343   ORDER GRANTING 342 Motion to Withdraw as Attorney. The Clerk of Court is
                      instructed to terminate attorney Albert Buchman as counsel of record, and to remove
                      this name from the electronic certificate of mailing. The government will continue to
                      be represented by attorney Bryan Fields. SO ORDERED by Judge Daniel D.
                      Domenico on 12/12/2023. Text Only Entry (dddlc3, ) (Entered: 12/12/2023)
   12/12/2023   344   MOTION in Limine Regarding Exhibits Submitted as Part of James Proffer by USA
                      as to Michael Aaron Tew, Kimberley Ann Tew. (Attachments: # 1 Exhibit List of
                      Authentic Business Records)(Fields, Bryan) (Entered: 12/12/2023)
   12/12/2023   345   RESPONSE by Michael Aaron Tew re: 341 Govt's Proffer, filed by USA (Schall,
                      Jason) (Entered: 12/12/2023)
   12/12/2023   346   RESPONSE by Kimberley Ann Tew re: 341 Govt's Proffer, filed by USA
                      (Attachments: # 1 Exhibit 1)(Kaplan, David) (Entered: 12/12/2023)
   12/13/2023   347   RESTRICTED DOCUMENT − Level 3: by Kimberley Ann Tew. (Kaplan, David)
                      (Entered: 12/13/2023)
   12/18/2023   348   MOTION in Limine regarding post−trial release by Michael Aaron Tew. (Schall,
                      Jason) (Entered: 12/18/2023)
   12/18/2023   349   ORDER as to Kimberley Ann Tew. Jamie Hubbard of Stimson LaBranche Hubbard,
                      LLC is to be appointed as co−counsel for Kimberley Ann Tew's trial pursuant to the
                      Criminal Justice Act, 18 U.S.C. § 3006A et. seq. SO ORDERED by Judge Daniel D.
                      Domenico on 12/18/2023. Text Only Entry (dddlc3, ) (Entered: 12/18/2023)
   12/18/2023   350   EXHIBIT LIST JAMES HEARING by USA as to Michael Aaron Tew, Kimberley
                      Ann Tew, Jonathan K. Yioulos (Fields, Bryan) (Entered: 12/18/2023)
   12/18/2023   351   WITNESS LIST JAMES HEARING by USA as to Michael Aaron Tew, Kimberley
                      Ann Tew, Jonathan K. Yioulos (Fields, Bryan) (Entered: 12/18/2023)
   12/19/2023   352   Unopposed MOTION to Travel by Michael Aaron Tew. (Schall, Jason) (Entered:
                      12/19/2023)
   12/19/2023   353


                                                                                                              46
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25               USDC Colorado              pg
                                       47 of 1354



                      NOTICE OF ATTORNEY APPEARANCE Sarah Hunter Weiss appearing for USA.
                      Attorney Sarah Hunter Weiss added to party USA(pty:pla) (Weiss, Sarah) (Entered:
                      12/19/2023)
   12/19/2023   355   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: James
                      Hearing as to Michael Aaron Tew (1), Kimberley Ann Tew (2) held on 12/19/2023 re
                      344 MOTION in Limine Regarding Exhibits Submitted as Part of James Proffer filed
                      by USA, 348 MOTION in Limine regarding post−trial release filed by Michael
                      Aaron Tew. Deferring ruling on 344 Motion in Limine as to Michael Aaron Tew (1),
                      Kimberley Ann Tew (2). Deferring ruling on 348 Motion in Limine as to Michael
                      Aaron Tew (1). James Proffer is TAKEN UNDER ADVISEMENT. Defendants shall
                      file responses to 344 Governments Motion in Limine for Ruling that Certain Exhibits
                      are Authentic and Covered by Business−Records Exception to the Hearsay Rule not
                      later than Friday, December 22, 2023. Bond is CONTINUED as to Defendants
                      Michael Aaron Tew and Kimberley Ann Tew. Court Reporter: Tammy Hoffschildt.
                      (rkeec) (Entered: 12/20/2023)
   12/19/2023   356   WITNESS LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew for James
                      Hearing held on 12/19/2023 with Clerk's notations as to date and time testified.
                      (rkeec) (Entered: 12/20/2023)
   12/19/2023   357   EXHIBIT LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew for
                      12/19/2023 James Hearing with Clerk's notations as to exhibits identified by the
                      witness. (rkeec) (Entered: 12/20/2023)
   12/20/2023   354   NOTICE OF ATTORNEY APPEARANCE: Jamie Hughes Hubbard appearing for
                      Kimberley Ann TewAttorney Jamie Hughes Hubbard added to party Kimberley Ann
                      Tew(pty:dft) (Hubbard, Jamie) (Entered: 12/20/2023)
   12/20/2023   358   ORDER GRANTING 352 Motion to Travel as to Michael Aaron Tew. Michael and
                      Kimberley Tew may travel out of state from on or about December 22 through
                      January 3 as requested so long as Mr. Tew provides completed travel itineraries to
                      the Probation Department once those travel plans are finalized. SO ORDERED by
                      Judge Daniel D. Domenico on 12/20/2023. Text Only Entry (dddlc3, ) (Entered:
                      12/20/2023)
   12/22/2023   359   RESPONSE in Opposition by Michael Aaron Tew re 344 MOTION in Limine
                      Regarding Exhibits Submitted as Part of James Proffer (Schall, Jason) (Entered:
                      12/22/2023)
   12/22/2023   360   RESPONSE to Motion by Kimberley Ann Tew re 344 MOTION in Limine
                      Regarding Exhibits Submitted as Part of James Proffer (Kaplan, David) (Entered:
                      12/22/2023)
   12/29/2023   361   ORDER REGARDING ADMISSIBILITY OF RULE 801(d)(2)(E) STATEMENTS
                      as to Michael Aaron Tew (1), Kimberley Ann Tew (2). SO ORDERED by Judge
                      Daniel D. Domenico on 12/29/23. (rkeec) (Entered: 12/29/2023)
   01/08/2024   362   NOTICE OF ATTORNEY APPEARANCE: Lisa Marie Saccomano appearing for
                      Movant Atlantic Union Bank. (cmadr, ) (Entered: 01/09/2024)
   01/09/2024   363   MOTION to Quash Subpoena by Atlantic Union Bank as to Michael Aaron Tew,
                      Kimberley Ann Tew, Jonathan K. Yioulos. (Attachments: # 1 Exhibit 1, # 2 Exhibit
                      2, # 3 Exhibit 3)(Saccomano, Lisa) (Entered: 01/09/2024)
   01/17/2024   364

                                                                                                              47
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25              USDC Colorado          pg
                                       48 of 1354



                      RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew. (Schall, Jason)
                      (Entered: 01/17/2024)
   01/18/2024   365   ORDER as to Michael Aaron Tew. An attorney selected from the District's Criminal
                      Justice Act Panel is to be appointed as co−counsel for Michael Aaron Tew's trial
                      pursuant to the Criminal Justice Act, 18 U.S.C. § 3006A et seq. SO ORDERED by
                      Judge Daniel D. Domenico on 1/18/2024. Text Only Entry (dddlc3, ) (Entered:
                      01/18/2024)
   01/18/2024   366   RESPONSE to Motion by USA as to Michael Aaron Tew, Kimberley Ann Tew re
                      363 MOTION to Quash Subpoena (Weiss, Sarah) (Entered: 01/18/2024)
   01/19/2024   367   ORDER granting in part and denying in part as outlined in the order 344 Motion in
                      Limine as to Michael Aaron Tew (1), Kimberley Ann Tew (2). Denying as moot 363
                      Motion to Quash as to Michael Aaron Tew (1), Kimberley Ann Tew (2). SO
                      ORDERED by Judge Daniel D. Domenico on 1/19/2024. (rkeec) (Entered:
                      01/19/2024)
   01/19/2024   368   NOTICE OF ATTORNEY APPEARANCE: Kristen M. Frost appearing for Michael
                      Aaron TewAttorney Kristen M. Frost added to party Michael Aaron Tew(pty:dft)
                      (Frost, Kristen) (Entered: 01/19/2024)
   01/22/2024   369   Unopposed MOTION for Order to Produce Trial Exhibits via Electronic Means by
                      USA as to Michael Aaron Tew, Kimberley Ann Tew. (Attachments: # 1 Proposed
                      Order (PDF Only))(Fields, Bryan) (Entered: 01/22/2024)
   01/23/2024   370   MOTION in Limine regarding proffer agreements by Michael Aaron Tew.
                      (Attachments: # 1 Exhibit Defendant's Exhibits A and B)(Schall, Jason) (Entered:
                      01/23/2024)
   01/24/2024   371   CLERK'S NOTE: ORIGINAL GOVERNMENT EXHIBITS for the 355 MINUTE
                      ENTRY for James Hearing as to Michael Aaron Tew, Kimberley Ann Tew were
                      returned to the Government on January 24, 2024. Text only entry. (rkeec) (Entered:
                      01/24/2024)
   01/24/2024   372   ORDER as to Michael Aaron Tew re 370 Motion in limine regarding proffer
                      statements. The government must file a response to Mr. Tew's motion at or before
                      5:00 pm on Friday, January 26, 2024. SO ORDERED by Judge Daniel D. Domenico
                      on 1/24/2024. Text Only Entry (dddlc3, ) (Entered: 01/24/2024)
   01/24/2024   373   MOTION in Limine re Admissibility of Proffer Statements by Kimberley Ann Tew.
                      (Attachments: # 1 Exhibit A)(Kaplan, David) (Entered: 01/24/2024)
   01/24/2024   374   MOTION to Continue Trial and Motion for Ends of Justice Continuance of 90 Days
                      by Kimberley Ann Tew. (Kaplan, David) (Entered: 01/24/2024)
   01/24/2024   375   Proposed Verdict Form as to Michael Aaron Tew, Kimberley Ann Tew
                      (Attachments: # 1 Proposed Document Parties' Proposed Verdict Form)(Weiss,
                      Sarah) (Entered: 01/24/2024)
   01/24/2024   376   TRIAL BRIEF by Kimberley Ann Tew (Attachments: # 1 Exhibit A, # 2 Exhibit
                      B)(Kaplan, David) (Entered: 01/24/2024)
   01/24/2024   377   TRIAL BRIEF by Michael Aaron Tew (Schall, Jason) (Entered: 01/24/2024)
   01/24/2024   378   NOTICE of Certifications of Authentic, Non−Hearsay Business Records by USA as
                      to Michael Aaron Tew, Kimberley Ann Tew (Attachments: # 1 Exhibit, # 2

                                                                                                           48
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25                USDC Colorado          pg
                                       49 of 1354



                      Exhibit)(Weiss, Sarah) (Entered: 01/24/2024)
   01/24/2024   379   TRIAL BRIEF by USA as to Michael Aaron Tew, Kimberley Ann Tew (Weiss,
                      Sarah) (Entered: 01/24/2024)
   01/25/2024   380   Proposed Jury Instructions (Joint) by USA as to Michael Aaron Tew, Kimberley Ann
                      Tew (Weiss, Sarah) (Entered: 01/25/2024)
   01/25/2024   381   ORDER re Kimberley Tew's 373 Motion in Limine and 374 Motion to Continue
                      Trial. The government must provide responses to these two motions at or before
                      11:59 pm on Friday, January 26, 2024. The government's response deadline for Mr.
                      Tew's 370 Motion in Limine is also extended to 11:59 pm on Friday, January 26,
                      2024. SO ORDERED by Judge Daniel D. Domenico on 1/25/2024. Text Only Entry
                      (dddlc3, ) (Entered: 01/25/2024)
   01/25/2024   382   ORDER GRANTING 369 Unopposed Motion to Produce Trial Exhibits Via
                      Electronic Means. The government must provide one original paper set of its
                      proposed exhibits for use at the upcoming trial. The government must provide
                      electronic copies of those exhibits to defense counsel on or before January 26, 2024.

                      The government must also provide three electronic copies (e.g., via three thumb
                      drives) of its proposed exhibits to the court on or before January 26, 2024. SO
                      ORDERED by Judge Daniel D. Domenico on 1/25/2024. Text Only Entry (dddlc3, )
                      (Entered: 01/25/2024)
   01/25/2024   383   EXHIBIT LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew, Jonathan K.
                      Yioulos (Attachments: # 1 Exhibit List)(Fields, Bryan) (Entered: 01/25/2024)
   01/25/2024   384   WITNESS LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew, Jonathan
                      K. Yioulos (Attachments: # 1 Witness List)(Fields, Bryan) (Entered: 01/25/2024)
   01/25/2024   385   NOTICE regarding proposed witness and exhibit lists by Michael Aaron Tew
                      (Schall, Jason) (Entered: 01/25/2024)
   01/25/2024   386   EXHIBIT LIST (Amended) by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      (Attachments: # 1 Amended Exhibit List)(Fields, Bryan) (Entered: 01/25/2024)
   01/25/2024   387   EXHIBIT LIST by Kimberley Ann Tew (Attachments: # 1 Proposed Document
                      Proposed Exhibit List)(Hubbard, Jamie) (Entered: 01/25/2024)
   01/25/2024   388   WITNESS LIST by Kimberley Ann Tew (Attachments: # 1 Proposed Document
                      Proposed Witness List)(Hubbard, Jamie) (Entered: 01/25/2024)
   01/26/2024   389   Proposed Voir Dire by Kimberley Ann Tew (Hubbard, Jamie) (Entered: 01/26/2024)
   01/26/2024   390   Proposed Voir Dire by USA as to Michael Aaron Tew, Kimberley Ann Tew (Weiss,
                      Sarah) (Entered: 01/26/2024)
   01/26/2024   391   RESPONSE in Opposition by USA as to Kimberley Ann Tew re 374 MOTION to
                      Continue Trial and Motion for Ends of Justice Continuance of 90 Days (Fields,
                      Bryan) (Entered: 01/26/2024)
   01/26/2024   392   Proposed Voir Dire by Michael Aaron Tew (Schall, Jason) (Entered: 01/26/2024)
   01/26/2024   393   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 373 MOTION in Limine re Admissibility of Proffer Statements and 370 Defendant
                      Michael Tew's Motion in Limine (Weiss, Sarah) (Entered: 01/26/2024)


                                                                                                              49
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25              USDC Colorado          pg
                                       50 of 1354



   01/27/2024   394   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew, Kimberley Ann
                      Tew. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit)(Weiss, Sarah) (Entered:
                      01/27/2024)
   01/27/2024   395   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew, Kimberley Ann
                      Tew. (Weiss, Sarah) (Entered: 01/27/2024)
   01/27/2024   396   MOTION for Leave to Restrict by USA as to Michael Aaron Tew, Kimberley Ann
                      Tew. (Attachments: # 1 Proposed Order (PDF Only))(Weiss, Sarah) (Entered:
                      01/27/2024)
   01/29/2024   397   MOTION for Leave to File Reply in Support of Motion in Limine by Kimberley Ann
                      Tew. (Hubbard, Jamie) (Entered: 01/29/2024)
   01/29/2024   398   BRIEF in Support by Kimberley Ann Tew to 373 MOTION in Limine re
                      Admissibility of Proffer Statements (Reply) (Hubbard, Jamie) (Entered: 01/29/2024)
   01/29/2024   399   MOTION to Exclude Testimony Regarding the Reasons for Michael Tew's
                      Termination from NAC as Proposed in the Government's Trial Brief (ECF 379) by
                      Kimberley Ann Tew. (Kaplan, David) (Entered: 01/29/2024)
   01/29/2024   400   BAIL STATUS REPORT 10 as to Michael Aaron Tew. (lgiac) (Entered: 01/29/2024)
   01/29/2024   401   BAIL STATUS REPORT 107 as to Kimberley Ann Tew. (lgiac) (Entered:
                      01/29/2024)
   01/30/2024   403   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Trial
                      Preparation Conference as to Michael Aaron Tew (1), Kimberley Ann Tew (2) held
                      on 1/30/2024. Taking under advisement 374 Defendant Kimberly Ann Tews Motion
                      to Continue Trial and Motion for Ends of Justice Continuance of 90 Days. Taking
                      under advisement 370 Motion in Limine as to Michael Aaron Tew (1). Taking under
                      advisement 373 Motion in Limine as to Kimberley Ann Tew (2). Taking under
                      advisement 399 Motion to Exclude as to Kimberley Ann Tew (2); re 370 MOTION
                      in Limine regarding proffer agreements filed by Michael Aaron Tew, 373 MOTION
                      in Limine re Admissibility of Proffer Statements filed by Kimberley Ann Tew, 399
                      MOTION to Exclude Testimony Regarding the Reasons for Michael Tew's
                      Termination from NAC as Proposed in the Government's Trial Brief (ECF 379) filed
                      by Kimberley Ann Tew. Bond is CONTINUED as to Defendants Michael Aaron
                      Tew and Kimberly Ann Tew. Court Reporter: Tammy Hoffschildt. (rkeec) (Entered:
                      01/31/2024)
   01/31/2024   402   ORDER Denying 374 Motion to Continue as to Kimberley Ann Tew (2) by Judge
                      Daniel D. Domenico on 31 January 2024. The trial will proceed on February 5, 2024,
                      as scheduled. (cmadr, ) Modified to correct entry on 1/31/2024 (cmadr, ). (Entered:
                      01/31/2024)
   02/01/2024   404   ORDER REGARDING MOTIONS IN LIMINE AND PRE−TRIAL ISSUES as to
                      Michael Aaron Tew (1) and Kimberley Ann Tew (2) by Judge Daniel D. Domenico
                      on 1 February 2024. Defendants' motions, Docs. 370 and 373 , are GRANTED IN
                      PART and DENIED IN PART as outlined herein. Ms. Tew's motion, Doc. 399 , is
                      therefore DENIED. (cmadr, ) (Entered: 02/01/2024)
   02/02/2024   405   Unopposed MOTION for Order To Obtain Testimony Via Live Contemporaneous
                      Video Conference by USA as to Michael Aaron Tew, Kimberley Ann Tew. (Fields,
                      Bryan) (Entered: 02/02/2024)


                                                                                                            50
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25              USDC Colorado           pg
                                       51 of 1354



   02/02/2024   406   Order GRANTING 405 Unopposed Motion to Obtain Testimony Via Live
                      Contemporaneous Video Conference. The government is cautioned, however, that it
                      bears the risk of any technology malfunctions, whether on the Court's end or the
                      witness's end. SO ORDERED by Judge Daniel D. Domenico on 2/2/2024. Text Only
                      Entry (dddlc3, ) (Entered: 02/02/2024)
   02/02/2024   407   WITNESS LIST (Final Witness List) by USA as to Michael Aaron Tew, Kimberley
                      Ann Tew (Attachments: # 1 Final Witness List)(Fields, Bryan) (Entered: 02/02/2024)
   02/02/2024   408   EXHIBIT LIST Final Exhibit List by USA as to Michael Aaron Tew, Kimberley Ann
                      Tew (Attachments: # 1 Exhibit)(Weiss, Sarah) (Entered: 02/02/2024)
   02/04/2024   409   MOTION for Order for Finding that Ms. Tew's Waiver of Right to Confront and
                      Cross−Examine Witnesses was Not Knowing or, in the Alternative, Request for
                      Hearing by Kimberley Ann Tew. (Hubbard, Jamie) (Entered: 02/04/2024)
   02/04/2024   410   MOTION for Reconsideration re 404 Order on Motion in Limine,, Order on Motion
                      to Exclude,,, by Michael Aaron Tew. (Schall, Jason) (Entered: 02/04/2024)
   02/04/2024   411   NOTICE of Submission of Alternative Version of Charges for Juror Notebooks by
                      Kimberley Ann Tew (Attachments: # 1 Attachment)(Hubbard, Jamie) (Entered:
                      02/04/2024)
   02/04/2024   412   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 409 MOTION for Order for Finding that Ms. Tew's Waiver of Right to Confront
                      and Cross−Examine Witnesses was Not Knowing or, in the Alternative, Request for
                      Hearing, 410 MOTION for Reconsideration re 404 Order on Motion in Limine,,
                      Order on Motion to Exclude,,, (Fields, Bryan) (Entered: 02/04/2024)
   02/05/2024   413   EXHIBIT LIST by Kimberley Ann Tew (Hubbard, Jamie) (Entered: 02/05/2024)
   02/05/2024   414   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 1) held on 2/5/2024 as to Michael Aaron Tew (1), Kimberley Ann Tew (2).
                      Denying 410 Motion for Reconsideration re 410 MOTION for Reconsideration re
                      404 Order on Motion in Limine,, Order on Motion to Exclude,,, filed by Michael
                      Aaron Tew, 409 MOTION for Order for Finding that Ms. Tew's Waiver of Right to
                      Confront and Cross−Examine Witnesses was Not Knowing or, in the Alternative,
                      Request for Hearing filed by Kimberley Ann Tew as to Michael Aaron Tew (1).
                      Denying 409 Motion for Order as to Kimberley Ann Tew (2). Bond continued as to
                      both defendants. Court Reporter: Tammy Hoffschildt. (rkeec) (Entered: 02/06/2024)
   02/05/2024   415   Jury Strike Sheet − Unredacted − Restricted Doc. − Level 4 (rkeec) (Entered:
                      02/06/2024)
   02/05/2024   416   Jury Strike Sheet with juror names redacted as to Michael Aaron Tew, Kimberley
                      Ann Tew. (rkeec) (Entered: 02/06/2024)
   02/05/2024   417   Jury Random List − Unredacted − Restricted Doc. − Level 4 (rkeec) (Entered:
                      02/06/2024)
   02/06/2024   418   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 2) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/6/2024. Defendant
                      Kimberley Ann Tews oral motion for severance is TAKEN UNDER
                      ADVISEMENT. Bond is continued as to both defendants. Court Reporter: Tammy
                      Hoffschildt. (rkeec) (Entered: 02/07/2024)



                                                                                                           51
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25                USDC Colorado           pg
                                       52 of 1354



   02/07/2024   419   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 3) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/7/2024. Bond is
                      continued as to both defendants. Court Reporter: Tammy Hoffschildt. (rkeec)
                      (Entered: 02/08/2024)
   02/08/2024   420   Renewed MOTION to Sever Defendant by Michael Aaron Tew. (Attachments: # 1
                      Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Frost, Kristen) (Entered: 02/08/2024)
   02/08/2024   421   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 4) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/8/2024. Bond
                      continued as to both defendants. Court Reporter: Tammy Hoffschildt. (rkeec)
                      (Entered: 02/09/2024)
   02/09/2024   423   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 5) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/9/2024. Defendant
                      Kimberley Ann Tews oral motion for mistrial is DENIED. Bond continued as to both
                      defendants. Court Reporter: Tammy Hoffschildt. (rkeec) (Entered: 02/12/2024)
   02/11/2024   422   RESPONSE in Opposition by USA as to Michael Aaron Tew re 420 Renewed
                      MOTION to Sever Defendant (Weiss, Sarah) (Entered: 02/11/2024)
   02/12/2024   424   ORDER DENYING 420 Michael Tew's Renewed Motion for Severance. By Judge
                      Daniel D. Domenico on 2/12/2024. (dddlc1, ) (Entered: 02/12/2024)
   02/12/2024   425   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 6) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/12/2024. 420
                      Defendant Michael Tews Renewed Motion for Severance is DENIED. Bond is
                      continued as to both defendants. Court Reporter: Tammy Hoffschildt. (rkeec)
                      (Entered: 02/13/2024)
   02/13/2024   426   MINUTE ORDER as to Michael Aaron Tew, Kimberley Ann Tew. The Clerk of
                      Court shall provide lunch to the jury for the duration of their deliberations
                      commencing on Wednesday, February 14, 2024. SO ORDERED by Judge Daniel D.
                      Domenico on 2/13/2024. (rkeec) (Entered: 02/13/2024)
   02/13/2024   427   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 7) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/13/2024. Bond
                      continued as to both defendants. Court Reporter: Tammy Hoffschildt. (rkeec)
                      (Entered: 02/14/2024)
   02/14/2024   428   AMENDED MINUTE ORDER as to Michael Aaron Tew, Kimberley Ann Tew. The
                      Clerk of Court shall provide lunch to the jury, including the alternate juror, for the
                      duration of their deliberations commencing on Wednesday, February 14, 2024. SO
                      ORDERED by Judge Daniel D. Domenico on 2/14/2024. (rkeec) (Entered:
                      02/14/2024)
   02/14/2024   430   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 8) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/14/2024.
                      Defendant Kimberley Ann Tews oral motion for mistrial is DENIED. Defendant
                      Kimberley Ann Tews oral Rule 29 motion is DENIED. Defendant Kimberley Ann
                      Tews oral motion for severance is DENIED. Defendant Michael Aaron Tews oral
                      Rule 29 motion is DENIED. Defendant Michael Aaron Tews oral motion for
                      severance is DENIED. Bond continued as to both defendants. Court Reporter:
                      Tammy Hoffschildt. (rkeec) (Entered: 02/15/2024)
   02/14/2024   431

                                                                                                               52
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25              USDC Colorado          pg
                                       53 of 1354



                      Jury Note with juror name − Unredacted − Restricted Doc. − Level 4 (rkeec)
                      (Entered: 02/15/2024)
   02/14/2024   432   Jury Note with juror name redacted as to Michael Aaron Tew, Kimberley Ann Tew.
                      (rkeec) (Entered: 02/15/2024)
   02/14/2024   433   WITNESS LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew with dates
                      and times testified. (rkeec) (Entered: 02/15/2024)
   02/14/2024   434   WITNESS LIST by Kimberley Ann Tew as to Michael Aaron Tew, Kimberley Ann
                      Tew. (rkeec) (Entered: 02/15/2024)
   02/14/2024   435   EXHIBIT LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew indicating
                      admitted exhibits. (rkeec) (Entered: 02/15/2024)
   02/14/2024   436   EXHIBIT LIST by Michael Aaron Tew, Kimberley Ann Tew indicating admitted
                      exhibits. (rkeec) (Entered: 02/15/2024)
   02/15/2024   429   ORDER as to Michael Aaron Tew, Kimberley Ann Tew. SO ORDERED by Judge
                      Daniel D. Domenico on 2/15/2024. (rkeec) (Entered: 02/15/2024)
   02/15/2024   438   Final Jury Instructions as to Michael Aaron Tew, Kimberley Ann Tew as read into
                      the record on 2/14/2024. (rkeec) (Entered: 02/16/2024)
   02/15/2024   439   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 9) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/15/2024. Jury
                      Verdict as to Michael Aaron Tew (1) Guilty on Count
                      1,1s,2,2s−40s,3,41s,42s,44s−56s,57s−60s and Kimberley Ann Tew (2) Guilty on
                      Count 1,21−22,25−26,31−32,41,43−44,47,56. Bond is continued as to both
                      defendants. Court Reporter: Tammy Hoffschildt. (rkeec) Modified on 2/16/2024 to
                      correct as to Count 48 (rkeec). (Entered: 02/16/2024)
   02/15/2024   440   Jury Note 1 (Question) − Unredacted − Restricted Doc. − Level 4. (rkeec) (Entered:
                      02/16/2024)
   02/15/2024   441   Jury Note 2 (Question) − Unredacted − Restricted Doc. − Level 4. (rkeec) (Entered:
                      02/16/2024)
   02/15/2024   442   Jury Note 3 (Verdict) − Unredacted − Restricted Doc. − Level 4. (rkeec) (Entered:
                      02/16/2024)
   02/15/2024   443   Jury Note 1 (Question) with juror name redacted as to Michael Aaron Tew,
                      Kimberley Ann Tew. (rkeec) (Entered: 02/16/2024)
   02/15/2024   444   Jury Note 2 (Question) with juror name redacted as to Michael Aaron Tew,
                      Kimberley Ann Tew. (rkeec) (Entered: 02/16/2024)
   02/15/2024   445   Jury Note 3 (Verdict) with juror name redacted as to Michael Aaron Tew, Kimberley
                      Ann Tew. (rkeec) Modified on 2/16/2024 (rkeec, ). (Entered: 02/16/2024)
   02/15/2024   446   Court Response to Jury Notes 1 and 2 (Questions) as to Michael Aaron Tew,
                      Kimberley Ann Tew. (rkeec) (Entered: 02/16/2024)
   02/15/2024   447   Jury Verdict Un−Redacted − Level 4 − Viewable by Court Only. (rkeec) (Entered:
                      02/16/2024)
   02/15/2024   448   JURY VERDICT with juror name redacted as to Michael Aaron Tew, Kimberley
                      Ann Tew. (rkeec) (Entered: 02/16/2024)

                                                                                                           53
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25               USDC Colorado            pg
                                       54 of 1354



   02/15/2024   449   STIPULATION AND ORDER REGARDING CUSTODY OF EXHIBITS AND
                      DEPOSITIONS as to Michael Aaron Tew, Kimberley Ann Tew. SO ORDERED by
                      Judge Daniel D. Domenico on 2/15/2024. (rkeec) (Entered: 02/16/2024)
   02/16/2024   437   Unopposed MOTION to Continue Sentencing by Jonathan K. Yioulos. (Kornfeld,
                      Richard) (Entered: 02/16/2024)
   02/21/2024   450   MOTION to Detain Defendants Michael Tew & Kimberley Tew Pending Sentencing
                      by USA as to Michael Aaron Tew, Kimberley Ann Tew. (Attachments: # 1
                      Exhibit)(Weiss, Sarah) (Entered: 02/21/2024)
   02/21/2024   451   ORDER as to Michael Aaron Tew, Kimberley Ann Tew re 450 MOTION to Detain
                      Defendants Michael Tew & Kimberley Tew Pending Sentencing filed by USA.

                      Mr. Tew and Mrs. Tew must each file responses to the government's 450 Motion to
                      Detain on or before February 27, 2024. SO ORDERED by Judge Daniel D.
                      Domenico on 2/21/2024. Text Only Entry (dddlc3, ) (Entered: 02/21/2024)
   02/21/2024   452   ORDER GRANTING 437 Motion to Continue Sentencing as to Jonathan K. Yioulos.
                      The Sentencing set as to Mr. Yioulos for March 5, 2024 at 10:30 AM is VACATED
                      and RESET for September 17, 2024 at 10:30 AM in Courtroom A1002 before Judge
                      Daniel D. Domenico. SO ORDERED by Judge Daniel D. Domenico on 2/21/2024.
                      Text Only Entry (dddlc3, ) (Entered: 02/21/2024)
   02/27/2024   453   RESPONSE in Opposition by Michael Aaron Tew re 450 MOTION to Detain
                      Defendants Michael Tew & Kimberley Tew Pending Sentencing (Schall, Jason)
                      (Entered: 02/27/2024)
   02/27/2024   454   RESPONSE to Motion by Kimberley Ann Tew re 450 MOTION to Detain
                      Defendants Michael Tew & Kimberley Tew Pending Sentencing (Kaplan, David)
                      (Entered: 02/27/2024)
   03/12/2024   455   ORDER re 450 Motion to Detain Defendants Michael and Kimberley Tew. The
                      government's motion questions whether Mr. and Mrs. Tew are still eligible for
                      CJA−appointed counsel for this case. There is sufficient evidence to call into
                      question their present eligibility under 18 U.S.C. § 3006A(c).

                      The issue of whether Michael Tew and Kimberley Tew remain entitled to ongoing
                      court−appointed counsel under Section 3006A(c) is therefore REFERRED to
                      Magistrate Judge Susan Prose. All other issues raised in the government's motion,
                      including the potential detention of Mr. and Mrs. Tew pending sentencing or the
                      potential un−sealing of any prior CJA affidavits, will be addressed at a detention
                      hearing before this Court as outlined below.

                      It is therefore ORDERED that a Hearing on the 450 Government's Motion is SET for
                      April 22, 2024 at 10:30 AM in Courtroom A1002 before Judge Daniel D. Domenico.
                      SO ORDERED by Judge Daniel D. Domenico on 3/12/2024. Text Only Entry
                      (dddlc3, ) (Entered: 03/12/2024)
   03/12/2024   456   ORDER as to Michael Aaron Tew. A Sentencing Hearing as to Michael Tew is SET
                      for August 8, 2024 at 10:30 AM in Courtroom A1002 before Judge Daniel D.
                      Domenico. SO ORDERED by Judge Daniel D. Domenico on 3/12/2024. Text Only
                      Entry (dddlc3, ) (Entered: 03/12/2024)
   03/12/2024   457


                                                                                                            54
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25                USDC Colorado           pg
                                       55 of 1354



                      ORDER as to Kimberley Ann Tew. A Sentencing Hearing as to Kimberley Tew is
                      SET for August 8, 2024 at 1:30 PM in Courtroom A1002 before Judge Daniel D.
                      Domenico. SO ORDERED by Judge Daniel D. Domenico on 3/12/2024. Text Only
                      Entry (dddlc3, ) (Entered: 03/12/2024)
   03/14/2024   458   SENTENCING STATEMENT by USA as to Michael Aaron Tew (Attachments: # 1
                      Exhibit, # 2 Exhibit)(Fields, Bryan) (Entered: 03/14/2024)
   03/14/2024   459   SENTENCING STATEMENT by USA as to Kimberley Ann Tew (Attachments: # 1
                      Exhibit, # 2 Exhibit)(Fields, Bryan) (Entered: 03/14/2024)
   03/15/2024   460   ORDER SETTING STATUS CONFERENCE as to Michael Aaron Tew, Kimberley
                      Ann Tew by Magistrate Judge Susan Prose on 3/15/2024. A 30−minute in−person
                      Status Conference is hereby set for 3/18/2024, at 4:00 PM in Courtroom C205 before
                      Magistrate Judge Susan Prose. The parties shall be prepared to discuss Defendant
                      Michael Tew's request for "an ex parte hearing... to determine whether Mr. Tew 'is
                      financially able to obtain counsel or to make partial payment for the representation'
                      pursuant to 18 U.S.C. § 3006A(c)." See ECF No. 453 at 3. Text Only Entry. (trvo, )
                      (Entered: 03/15/2024)
   03/18/2024   461   MINUTE ORDER as to Michael Aaron Tew, Kimberley Ann Tew by Magistrate
                      Judge Susan Prose on 3/18/2024. At the request of the parties, the Status Conference
                      is RESET for 3/21/2024, at 04:00 PM in Courtroom C205 before Magistrate Judge
                      Susan Prose. Text Only Entry. (trvo, ) (Entered: 03/18/2024)
   03/21/2024   462   MINUTE ENTRY for Status Conference as to Michael Aaron Tew and Kimberley
                      Ann Tew held before Magistrate Judge Susan Prose on 3/21/2024. Discussion
                      regarding issue referred to this court (see ECF No. 455). An ex parte hearing to
                      determine Michael Tew's entitlement to ongoing court−appointed counsel under 18
                      U.S.C. § 3006A(c) is SET for March 28, 2024, at 1:30 p.m. in Courtroom C205
                      before Magistrate Judge Susan Prose. Any documents to be submitted in connection
                      with this hearing shall be sent directly to Chambers, as discussed on the record, on or
                      before 10:00 a.m. March 27, 2024. An ex parte hearing to determine Kimberley Ann
                      Tew's entitlement to ongoing court−appointed counsel under 18 U.S.C. § 3006A(c) is
                      SET for April 15, 2024, at 1:30 p.m. in Courtroom C205 before Magistrate Judge
                      Susan Prose. Any documents to be submitted in connection with this hearing shall be
                      sent directly to Chambers, as discussed on the record, on or before 12:00 p.m. April
                      10, 2024. Hearing concluded. FTR: C205. (Total time: 1 hour and 8 minutes, Hearing
                      time: 3:57 p.m. − 5:05 p.m.) Text Only Entry.

                      APPEARANCES: Bryan David Fields and Sarah Hunter Weiss on behalf of the
                      Government, Jason Dale Schall and Kristen M. Frost on behalf of Defendant Michael
                      Aaron Tew and David Scott Kaplan on behalf of Defendant Kimberly Ann Tew.
                      (trvo, ) (Entered: 03/22/2024)
   03/21/2024   463   Utility Setting/Resetting Deadlines/Hearings as to Michael Aaron Tew: Ex Parte In
                      Court Hearing set for 3/28/2024, at 01:30 PM in Courtroom C205 before Magistrate
                      Judge Susan Prose. Text Only Entry (trvo, ) (Entered: 03/22/2024)
   03/21/2024   464   Utility Setting/Resetting Deadlines/Hearings as to Kimberley Ann Tew: Ex Parte In
                      Court Hearing set for 4/15/2024, at 01:30 PM in Courtroom C205 before Magistrate
                      Judge Susan Prose. Text Only Entry (trvo, ) (Entered: 03/22/2024)
   03/27/2024   465   STATEMENT by Government Regarding Michael Tew's Eligibility for CJA−Funded
                      Counsel Going Forward by Plaintiff USA (Weiss, Sarah) (Entered: 03/27/2024)

                                                                                                                55
Case No. 1:20-cr-00305-DDD         Document 645-2 filed 01/24/25                USDC Colorado           pg
                                        56 of 1354



   03/27/2024   466   RESTRICTED DOCUMENT LEVEL 3 − Conventionally Submitted Material: 1
                      Flash Drive re 462 Status Conference, by Plaintiff USA. Location: 1st Floor Area,
                      Box D−5−9. Text Only Entry. (sphil, ) Modified on 4/15/2024 to add restriction
                      (trvo, ). (Entered: 03/27/2024)
   03/27/2024   467   RESTRICTED DOCUMENT LEVEL 3 − Conventionally Submitted Material: 1
                      USB Drive re 462 Status Conference, by Defendant Michael Aaron Tew. Location:
                      1st Floor Area, Box D−5−9. Text Only Entry. (trvo, ) Modified on 4/15/2024 to add
                      restriction (trvo, ). (Entered: 03/28/2024)
   03/28/2024   468   MINUTE ENTRY for Ex Parte Hearing as to Michael Aaron Tew held before
                      Magistrate Judge Susan Prose on 3/28/2024. The Court finds that Defendant Michael
                      Tew remains eligible for court−appointed counsel. A separate public written order
                      will be issued. FTR: C205. (trvo, ) (Entered: 03/29/2024)
   04/01/2024   469   ORDER GRANTING 397 Motion for Leave to File Reply as to Kimberley Ann Tew.
                      By Judge Daniel D. Domenico on 4/1/2024. Text Only Entry (dddlc1, ) (Entered:
                      04/01/2024)
   04/01/2024   470   ORDER GRANTING 396 Motion for Leave to Restrict. The Clerk of Court is
                      directed to maintain Docs. 394 and 395 at Level 2 restriction. SO ORDERED by
                      Judge Daniel D. Domenico on 4/1/2024. Text Only Entry (dddlc1, ) (Entered:
                      04/01/2024)
   04/05/2024   471   ORDER REGARDING DEFENDANT MICHAEL TEW'S ELIGIBILITY FOR
                      ONGOING COURT−APPOINTED COUNSEL by Magistrate Judge Susan Prose on
                      4/5/2024. (trvo, ) (Entered: 04/05/2024)
   04/10/2024   472   STATEMENT by Government Regarding Kimberley Tew's Eligibility for
                      CJA−Funded Counsel Going Forward by Plaintiff USA (Weiss, Sarah) (Entered:
                      04/10/2024)
   04/15/2024   473   RESTRICTED DOCUMENT LEVEL 3 − Conventionally Submitted Material: 1
                      USB Drive re 462 Status Conference, by Defendant Kimberley Ann Tew. Location:
                      1st Floor Area, Box D−5−9. Text Only Entry (trvo, ) Modified on 4/15/2024 to add
                      restriction (trvo, ). (Entered: 04/15/2024)
   04/15/2024   474   MINUTE ENTRY for Ex Parte Hearing as to Kimberley Ann Tew held before
                      Magistrate Judge Susan Prose on 4/15/2024. The Court finds that Defendant
                      Kimberley Ann Tew remains eligible for court−appointed counsel. A separate public
                      written order will be issued. FTR: C205. (trvo, ) (Entered: 04/16/2024)
   04/16/2024   475   Unopposed MOTION for Order Requiring the Parties to File Visual Presentations
                      into the Record by Kimberley Ann Tew. (Hubbard, Jamie) (Entered: 04/16/2024)
   04/16/2024   476   ORDER granting 475 Motion for Order Requiring the Parties to File Visual
                      Presentations into the Record. The parties are ordered to file all visual presentations
                      used during opening statements and closing arguments into the record. SO
                      ORDERED by Judge Daniel D. Domenico on 4/16/2024. Text Only Entry (dddlc9, )
                      (Entered: 04/16/2024)
   04/18/2024   477   NOTICE OF CONVENTIONAL SUBMISSION re 476 Order on Motion for Order, by
                      USA as to Michael Aaron Tew, Kimberley Ann Tew (Fields, Bryan) (Entered:
                      04/18/2024)
   04/18/2024   479


                                                                                                                56
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25                USDC Colorado          pg
                                       57 of 1354



                      Conventionally Submitted Material : USB exhibits to 477 NOTICE OF
                      CONVENTIONAL SUBMISSION re 476 Order on Motion for Order, by Plaintiff
                      USA − Material placed in the oversized area D−5−9 of the Clerk's Office. Text Only
                      Entry (angar, ) (Entered: 04/19/2024)
   04/19/2024   478   ORDER REGARDING DEFENDANT KIMBERLEY ANN TEW'S ELIGIBILITY
                      FOR ONGOING COURT−APPOINTED COUNSEL by Magistrate Judge Susan
                      Prose on 4/19/2024. (trvo, ) (Entered: 04/19/2024)
   04/21/2024   480   MOTION for Leave to Restrict by Kimberley Ann Tew. (Hubbard, Jamie) (Entered:
                      04/21/2024)
   04/21/2024   481   RESTRICTED DOCUMENT − Level 1: by Kimberley Ann Tew. (Hubbard, Jamie)
                      (Entered: 04/21/2024)
   04/21/2024   482   RESTRICTED DOCUMENT − Level 1: by Kimberley Ann Tew. (Hubbard, Jamie)
                      (Entered: 04/21/2024)
   04/22/2024   483   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico:
                      Evidentiary Hearing as to Michael Aaron Tew, Kimberley Ann Tew held on
                      4/22/2024 re 450 MOTION to Detain Defendants Michael Tew & Kimberley Tew
                      Pending Sentencing filed by USA. 450 Motion to Detain as to Michael Aaron Tew
                      (1), Kimberley Ann Tew (2) is DENIED, but the Court will impose additional
                      conditions of bond. Court indicates that a written order shall follow. Bond is
                      continued as to Michael Aaron Tew and Kimberley Ann Tew. Court Reporter:
                      Tammy Hoffschildt. (Attachments: # 1 Government's witness list, # 2 Government's
                      exhibit list) (rkeec) (Entered: 04/22/2024)
   04/23/2024   484   NOTICE of Filing of Visual Presentation by Kimberley Ann Tew (Attachments: # 1
                      PowerPoint Closing Statement)(Hubbard, Jamie) (Entered: 04/23/2024)
   04/23/2024   485   Unopposed MOTION to Travel UNOPPOSED MOTION FOR DEFENDANT TO
                      TRAVEL OUT OF THE COUNTRY by Jonathan K. Yioulos. (Attachments: # 1
                      Waiver of Extradition)(Kornfeld, Richard) (Entered: 04/23/2024)
   04/23/2024   486   NOTICE Of Clarification Regarding Sentencing Statement by Michael Aaron Tew
                      (Frost, Kristen) (Entered: 04/23/2024)
   04/24/2024   487   ORDER granting 485 Motion to Travel as to Jonathan K. Yioulos. Mr. Yioulos may
                      travel to Montego Bay, Jamaica, from June 26 to July 2, 2024. He must (1) provide
                      documentation regarding his travel plans to United States Pretrial and Probation
                      Services in advance of departure, and (2) promptly contact his probation officer upon
                      return from each trip. SO ORDERED by Judge Daniel D. Domenico on 4/24/2024.
                      Text Only Entry (dddlc9, ) (Entered: 04/24/2024)
   04/24/2024   488   NOTICE Of Filing Of Visual Presentation by Michael Aaron Tew (Attachments: # 1
                      Closing Argument PowerPoint)(Frost, Kristen) (Entered: 04/24/2024)
   04/25/2024   489   ORDER modifying conditions of release as to Michael Aaron Tew and Kimberley
                      Ann Tew. The following conditions are added to those already in effect:

                      1. Defendants shall disclose a complete list of all bank accounts and peer−to−peer
                      financial services accounts to which they have access no later than April 30, 2024.
                      Defendants shall further provide a statement for each of these accounts to their
                      supervising officer no later than the 5th of each following month, starting on May
                      5th, 2024.

                                                                                                              57
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25                USDC Colorado          pg
                                       58 of 1354




                      2. Defendants shall refrain from gambling of any kind, purchasing over $50 of gift
                      cards in a given day, and engaging in any cryptocurrency transaction without the
                      prior approval of the supervising officer.

                      3.The supervising officer may, in his discretion, share any information provided to
                      him by Defendants pursuant to these conditions with the government.

                      SO ORDERED by Judge Daniel D. Domenico on 4/25/2024. Text Only Entry
                      (dddlc9, ) (Entered: 04/25/2024)
   04/25/2024   490   ORDER denying as moot 348 Motion in Limine in light of 483 and 489 . SO
                      ORDERED by Judge Daniel D. Domenico on 4/25/2024. Text Only Entry (dddlc9, )
                      (Entered: 04/25/2024)
   04/25/2024   491   ORDER granting 480 Motion for Leave to Restrict. The Clerk of Court is directed to
                      maintain Doc. 482 at Level 1 restriction. SO ORDERED by Judge Daniel D.
                      Domenico on 4/25/2024. Text Only Entry (dddlc9, ) (Entered: 04/25/2024)
   04/26/2024   492   NOTICE OF ATTORNEY APPEARANCE Martha Ann Paluch appearing for USA.
                      Attorney Martha Ann Paluch added to party USA(pty:pla) (Paluch, Martha) (Entered:
                      04/26/2024)
   04/26/2024   493   RESTRICTED DOCUMENT − Level 3: by USA as to Kimberley Ann Tew (Paluch,
                      Martha) (Entered: 04/26/2024)
   04/26/2024   494   RESTRICTED DOCUMENT − Level 1: by USA as to Kimberley Ann Tew (Paluch,
                      Martha) (Entered: 04/26/2024)
   04/26/2024   495   MOTION for Leave to Restrict by USA as to Kimberley Ann Tew. (Attachments: # 1
                      Proposed Order (PDF Only))(Paluch, Martha) (Entered: 04/26/2024)
   04/26/2024   499   ORDER Updating Conditions of Release as to Michael Aaron Tew (1) $20,000
                      Unsecured. SO ORDERED by Judge Daniel D. Domenico on 4/26/2024. (rkeec)
                      (Entered: 05/01/2024)
   04/26/2024   500   ORDER Updating Conditions of Release as to Kimberley Ann Tew (2) $10,000
                      Unsecured. SO ORDERED by Judge Daniel D. Domenico on 4/26/2024. (rkeec)
                      (Entered: 05/01/2024)
   04/29/2024   496   Unopposed MOTION to Travel Out of State by Jonathan K. Yioulos. (Kornfeld,
                      Richard) (Entered: 04/29/2024)
   04/30/2024   497   ORDER granting 496 Motion to Travel as to Jonathan K. Yioulos. Instead of going to
                      Jamaica, Mr. Yioulos may travel to Miami, Florida from June 25 to July 1, 2024. He
                      must (1) provide documentation regarding his travel plans to United States Pretrial
                      and Probation Services in advance of departure, and (2) promptly contact his
                      probation officer upon return from the trip. SO ORDERED by Judge Daniel D.
                      Domenico on 4/30/2024. Text Only Entry (dddlc9, ) (Entered: 04/30/2024)
   04/30/2024   498   ORDER granting 495 Motion for Leave to Restrict. The Clerk of Court is directed to
                      maintain Doc. 493 at Level 3 restriction and to maintain Doc. 494 at Level 1
                      restriction. SO ORDERED by Judge Daniel D. Domenico on 4/30/2024. Text Only
                      Entry (dddlc9, ) (Entered: 04/30/2024)
   05/08/2024   501


                                                                                                            58
Case No. 1:20-cr-00305-DDD         Document 645-2 filed 01/24/25                USDC Colorado          pg
                                        59 of 1354



                      ORDER denying 482 RESTRICTED DOCUMENT − Level 1: by Kimberley Ann
                      Tew. Having reviewed the pleadings on this issue and considered the relevant facts,
                      the motion is denied. SO ORDERED by Judge Daniel D. Domenico on 5/8/2024.
                      Text Only Entry (dddlc9, ) (Entered: 05/08/2024)
   05/31/2024   502   Unopposed MOTION to Continue Sentencing and Related Deadlines by Michael
                      Aaron Tew. (Schall, Jason) (Entered: 05/31/2024)
   06/04/2024   503   ORDER granting 502 Motion to Continue as to Michael Aaron Tew. Mr. Tew's
                      sentencing, which was set for 8/8/2024, is vacated and reset for 9/12/2024 at 10:30
                      AM in Courtroom A1002 before Judge Daniel D. Domenico. SO ORDERED by
                      Judge Daniel D. Domenico on 6/4/2024. Text Only Entry (dddlc9, ) (Entered:
                      06/04/2024)
   07/02/2024   504   RESTRICTED PRESENTENCE REPORT first disclosure for attorney review as to
                      Kimberley Ann Tew (Attachments: # 1 Exhibit A)(aarag, ) (Entered: 07/02/2024)
   07/09/2024   505   ORDER RESETTING HEARING as to Jonathan K. Yioulos. Due to a conflict on the
                      Court's calendar, and after consultation with counsel, the Sentencing set for
                      9/17/2024 is VACATED and RESET for 10/2/2024 at 03:30 PM in Courtroom
                      A1002 before Judge Daniel D. Domenico. SO ORDERED by Judge Daniel D.
                      Domenico on 7/9/2024. Text Only Entry (dddlc1, ) (Entered: 07/09/2024)
   07/15/2024   506   Unopposed MOTION for Extension of Time to File Objections to Presentence
                      Investigation Report by Kimberley Ann Tew. (Attachments: # 1 Proposed Order
                      (PDF Only) Proposed Order re: Motion for Extension of Time to Submit Objection to
                      Presentence Investigation Report)(Kaplan, David) (Entered: 07/15/2024)
   07/17/2024   507   ORDER granting 506 Motion for Extension of Time. Ms. Tew may file objections to
                      the PSIR on or before July 19, 2024. SO ORDERED by Judge Daniel D. Domenico
                      on 7/17/2024. Text Only Entry (dddlc9, ) (Entered: 07/17/2024)
   07/19/2024   508   OBJECTION/RESPONSE to Presentence Report by Kimberley Ann Tew
                      (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2, # 3 Exhibit Exhibit 3, # 4
                      Exhibit Exhibit 3a, # 5 Exhibit Exhibit 4, # 6 Exhibit Exhibit 5, # 7 Exhibit Exhibit 6,
                      # 8 Exhibit Exhibit 6a, # 9 Exhibit Exhibit 7, # 10 Exhibit Exhibit 7a)(Kaplan, David)
                      (Entered: 07/19/2024)
   07/19/2024   510   Conventionally Submitted Material : 1 Flash Drive re Objection/Response to
                      Presentence Report, 508 by Defendant Kimberley Ann Tew. Location of Stored
                      Items: Box D−5−5. Text Only Entry (cmadr, ) (Entered: 07/23/2024)
   07/22/2024   509   Unopposed MOTION for Leave to Restrict by Kimberley Ann Tew. (Attachments: #
                      1 Proposed Order (PDF Only) PO re Unopposed Motion to Restrict)(Kaplan, David)
                      (Entered: 07/22/2024)
   07/24/2024   511   ORDER granting 509 Motion for Leave to Restrict. The Clerk of Court is directed to
                      maintain Doc. 508 at Level 2 restriction. SO ORDERED by Judge Daniel D.
                      Domenico on 7/24/2024. Text Only Entry (dddlc9, ) (Entered: 07/24/2024)
   07/25/2024   512   NOTICE OF ATTORNEY APPEARANCE Laura Beth Hurd appearing for USA.
                      Attorney Laura Beth Hurd added to party USA(pty:pla) (Hurd, Laura) (Entered:
                      07/25/2024)
   07/25/2024   513   MOTION for Forfeiture of Property for Preliminary Order of Forfeiture by USA as
                      to Kimberley Ann Tew. (Attachments: # 1 Proposed Order (PDF Only))(Hurd,


                                                                                                                 59
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25               USDC Colorado          pg
                                       60 of 1354



                      Laura) (Entered: 07/25/2024)
   07/25/2024   514   ORDER re 513 Motion for Preliminary Order of Forfeiture. If Ms. Tew opposes the
                      motion, she is ordered to file a response on or before August 2, 2024. SO ORDERED
                      by Judge Daniel D. Domenico on 7/25/2024. Text Only Entry (dddlc9, ) (Entered:
                      07/25/2024)
   07/25/2024   515   RESTRICTED DOCUMENT − Level 2: as to Kimberley Ann Tew. (Kaplan, David)
                      (Entered: 07/25/2024)
   07/26/2024   516   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew, Kimberley Ann
                      Tew, Jonathan K. Yioulos. (Attachments: # 1 Conventionally Submitted, # 2 Exhibit,
                      # 3 Exhibit)(Weiss, Sarah) (Entered: 07/26/2024)
   07/26/2024   519   Conventionally Submitted Material : One CD re Restricted Document − Level 2 516
                      by Plaintiff USA. Location of stored items: Sealed Room. Text Only Entry (cmadr, )
                      (Entered: 07/30/2024)
   07/29/2024   517   RESTRICTED PRESENTENCE REPORT as to Kimberley Ann Tew (Attachments:
                      # 1 Exhibit A)(agalv) (Entered: 07/29/2024)
   07/29/2024   518   RESTRICTED ADDENDUM to Presentence Report 517 as to Kimberley Ann Tew
                      (agalv) (Entered: 07/29/2024)
   08/01/2024   520   RESTRICTED DOCUMENT − Level 2: as to Kimberley Ann Tew. (Weiss, Sarah)
                      (Entered: 08/01/2024)
   08/01/2024   521   Unopposed MOTION for Order To Permit Virtual or Telephonic Attendance for
                      Co−Defendant's Sentencing Hearing by Michael Aaron Tew. (Frost, Kristen)
                      (Entered: 08/01/2024)
   08/02/2024   522   RESPONSE to Motion by Kimberley Ann Tew re 513 MOTION for Forfeiture of
                      Property for Preliminary Order of Forfeiture (Kaplan, David) (Entered: 08/02/2024)
   08/05/2024   523   ORDER as to Kimberley Ann Tew re 513 Motion for Preliminary Order of
                      Forfeiture. The Court will hold a hearing regarding forfeiture starting at 1:00 PM on
                      August 8, 2024 in Courtroom A1002. Sentencing will follow immediately afterward.
                      SO ORDERED by Judge Daniel D. Domenico on 8/5/2024. Text Only Entry (dddlc9,
                      ) (Entered: 08/05/2024)
   08/05/2024   524   ORDER granting 521 Motion for Order as to Michael Aaron Tew to Permit Virtual
                      or Telephonic Attendance for Co−Defendant's Sentencing Hearing. Mr. Tew's
                      counsel is directed to contact the Courtroom Deputy via email
                      (robb_keech@cod.uscourts.gov) no later than 8/6/2024 for instructions on how to
                      proceed by telephone conference. All persons participating in court proceedings
                      remotely by VTC or teleconference are prohibited, under penalty of contempt, from
                      recording or broadcasting the proceeding in any manner. SO ORDERED by Judge
                      Daniel D. Domenico on 8/5/2024. Text Only Entry (dddlc9, ) (Entered: 08/05/2024)
   08/06/2024   525   REPLY TO RESPONSE to Motion by USA as to Kimberley Ann Tew re 513
                      MOTION for Forfeiture of Property for Preliminary Order of Forfeiture UNITED
                      STATES REPLY TO KIMBERLEY TEWS NOTICE OF OBJECTION TO UNITED
                      STATES MOTION FOR PRELIMINARY ORDER OF FORFEITURE (ECF DOC.
                      522) (Hurd, Laura) (Entered: 08/06/2024)
   08/08/2024   526


                                                                                                              60
Case No. 1:20-cr-00305-DDD         Document 645-2 filed 01/24/25                USDC Colorado           pg
                                        61 of 1354



                      RESTRICTED PRESENTENCE REPORT first disclosure for attorney review as to
                      Michael Aaron Tew (Attachments: # 1 Exhibit A)(ntaka) (Entered: 08/08/2024)
   08/08/2024   527   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico:
                      Forfeiture Hearing and Sentencing as to Kimberley Ann Tew (2) held on 8/8/2024.
                      Granting 513 Motion for Forfeiture of Property as to Kimberley Ann Tew (2).
                      Granting in part 515 Defendants Motion. Defendant sentenced as reflected on the
                      record. Bond continued. Court Reporter: Tammy Hoffschildt. (rkeec) Modified on
                      8/8/2024 to include ruling on 515 Defendant's Motion. (rkeec). (Entered: 08/08/2024)
   08/13/2024   528   JUDGMENT as to defendant Kimberley Ann Tew (2), Count(s) 1, Defendant shall be
                      imprisoned for a total term of forty−eight (48) months on each count to run
                      concurrently, three (3) years supervised release on each count to run concurrently,
                      $100.00 special assessment ($1,200 total), no fine, and restitution in the total amount
                      of $5,053,878.50.; Count(s) 16, Dismissed by Court during jury trial.; Count(s)
                      21−22, Defendant shall be imprisoned for a total term of forty−eight (48) months on
                      each count to run concurrently, three (3) years supervised release on each count to
                      run concurrently, $100.00 special assessment ($1,200 total), no fine, and restitution in
                      the total amount of $5,053,878.50.; Count(s) 25−26, Defendant shall be imprisoned
                      for a total term of forty−eight (48) months on each count to run concurrently, three
                      (3) years supervised release on each count to run concurrently, $100.00 special
                      assessment ($1,200 total), no fine, and restitution in the total amount of
                      $5,053,878.50.; Count(s) 31−32, Defendant shall be imprisoned for a total term of
                      forty−eight (48) months on each count to run concurrently, three (3) years supervised
                      release on each count to run concurrently, $100.00 special assessment ($1,200 total),
                      no fine, and restitution in the total amount of $5,053,878.50.; Count(s) 41, Defendant
                      shall be imprisoned for a total term of forty−eight (48) months on each count to run
                      concurrently, three (3) years supervised release on each count to run concurrently,
                      $100.00 special assessment ($1,200 total), no fine, and restitution in the total amount
                      of $5,053,878.50.; Count(s) 43−44, Defendant shall be imprisoned for a total term of
                      forty−eight (48) months on each count to run concurrently, three (3) years supervised
                      release on each count to run concurrently, $100.00 special assessment ($1,200 total),
                      no fine, and restitution in the total amount of $5,053,878.50.; Count(s) 47, Defendant
                      shall be imprisoned for a total term of forty−eight (48) months on each count to run
                      concurrently, three (3) years supervised release on each count to run concurrently,
                      $100.00 special assessment ($1,200 total), no fine, and restitution in the total amount
                      of $5,053,878.50.; Count(s) 48, Defendant was found not guilty by jury at trial.;
                      Count(s) 56, Defendant shall be imprisoned for a total term of forty−eight (48)
                      months on each count to run concurrently, three (3) years supervised release on each
                      count to run concurrently, $100.00 special assessment ($1,200 total), no fine, and
                      restitution in the total amount of $5,053,878.50. Entered by Judge Daniel D.
                      Domenico on 8/13/2024. (rkeec) (Entered: 08/13/2024)
   08/13/2024   529   STATEMENT OF REASONS as to Kimberley Ann Tew (2). (rkeec) (Entered:
                      08/13/2024)
   08/14/2024   530   Passport Receipt as to Kimberley Ann Tew (2). Forwarding passport to Dept. of
                      State; Passport Number 522213975 issued by USA. Sent certified mail; receipt
                      number 7019 2920 0001 1984 2431. (rkeec) (Entered: 08/14/2024)
   08/15/2024   531   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Schall, Jason)
                      (Entered: 08/15/2024)
   08/15/2024   532

                                                                                                                 61
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25               USDC Colorado          pg
                                       62 of 1354



                      RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (cmadr, )
                      (Entered: 08/15/2024)
   08/19/2024   533   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (rkeec) (Entered:
                      08/19/2024)
   08/19/2024   534   Utility Setting/Resetting Deadlines/Hearings as to Michael Aaron Tew: Text Only
                      Entry. Sentencing reset for 11/12/2024, at 01:30 PM, in Courtroom A1002 before
                      Judge Daniel D. Domenico. (rkeec) (Entered: 08/19/2024)
   08/20/2024   535   NOTICE OF APPEAL by Kimberley Ann Tew. (Kaplan, David) (Entered:
                      08/20/2024)
   08/21/2024   536   Unopposed MOTION to Continue Second Unopposed Motion to Continue
                      Sentencing by Jonathan K. Yioulos. (Kornfeld, Richard) (Entered: 08/21/2024)
   08/21/2024   537   LETTER Transmitting Notice of Appeal to all counsel advising of the transmittal of
                      the 535 Notice of Appeal as to Kimberley Ann Tew to the U.S. Court of Appeals. (
                      CJA, Fee not paid and 1915 motion not filed,) (Attachments: # 1 Preliminary
                      Record)(cmadr, ) (Entered: 08/21/2024)
   08/21/2024   538   USCA Case Number as to Kimberley Ann Tew 24−1333 for 535 Notice of Appeal
                      filed by Kimberley Ann Tew. (cmadr, ) (Entered: 08/21/2024)
   08/22/2024   539   ORDER granting 536 Motion to Continue as to Jonathan K. Yioulos. Sentencing set
                      for 10/2/2024 is VACATED and RESET for 11/19/2024 at 10:30 AM in Courtroom
                      A1002 before Judge Daniel D. Domenico. SO ORDERED by Judge Daniel D.
                      Domenico on 8/22/2024. Text Only Entry (dddlc9, ) (Entered: 08/22/2024)
   08/26/2024   540   USPS Certified Mail Receipt Return re 530 Passport Receipt by Kimberley Ann Tew
                      (cmadr, ) (Entered: 08/27/2024)
   08/28/2024   541   TRANSCRIPT of Sentencing hearing as to Kimberley Ann Tew held on August 8,
                      2024 before Judge Domenico. Pages: 1−103.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 08/28/2024)
   08/28/2024   542   MOTION for Leave to Restrict by Michael Aaron Tew. (Schall, Jason) (Entered:
                      08/28/2024)
   08/28/2024   543   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Schall, Jason)
                      (Entered: 08/28/2024)
   08/28/2024   544   ORDER granting 542 Motion for Leave to Restrict. The Clerk of Court is directed to
                      maintain Docs. 531 , 532 , 533 , and 543 at Level 2 restriction. SO ORDERED by
                      Judge Daniel D. Domenico on 8/28/2024. Text Only Entry (dddlc9, ) (Entered:


                                                                                                              62
Case No. 1:20-cr-00305-DDD          Document 645-2 filed 01/24/25               USDC Colorado          pg
                                         63 of 1354



                      08/28/2024)
   08/29/2024   545   ORDER to Surrender as to Kimberley Ann Tew; Defendant to surrender to Satellite
                      Prison Camp, FCI Phoenix, on 10/9/2024, at 12:00 PM, and will travel at her own
                      expense. SO ORDERED by Judge Daniel D. Domenico on 8/29/2024. (rkeec)
                      (Entered: 08/30/2024)
   09/04/2024   547   TRANSCRIPT ORDER FORM by Kimberley Ann Tew Transcript ordered for
                      proceedings held on 2/5/2024 through 2/15/2024, and 8/8/2024 re 535 Notice of
                      Appeal. (cmadr, ) (Entered: 09/05/2024)
   09/05/2024   546   MOTION for Order Extending the Time for her to Surrender to the Warden at
                      Satellite Prison Camp by Kimberley Ann Tew. (Attachments: # 1 Proposed Order
                      (PDF Only) Proposed Order re: Motion Requesting an Order Extending the Time for
                      her to Surrender to the Warden at Satellite Prison Camp)(Kaplan, David) (Entered:
                      09/05/2024)
   09/05/2024   548   ORDER of USCA as to Kimberley Ann Tew re 535 Notice of Appeal. (USCA Case
                      No. 24−1333). Upon consideration, the court grants the motion and appoints CJA
                      Panel member Justin A. Lollman to represent appellant Kimberley Ann Tew going
                      forward. See 18 U.S.C. § 3006A. On or before September 16, 2024, Mr. Lollman
                      shall file an entry of appearance in this appeal. The Clerk of the U.S. District Court
                      for the District of Colorado shall wait until at least September 26, 2024 before
                      transmitting the record on appeal to this court. (cmadr, ) (Entered: 09/05/2024)
   09/06/2024   549   ORDER denying 546 Motion Requesting Order Extending the Time for her to
                      Surrender to the Warden at Satellite Prison Camp. Mr. and Mrs. Tew have had
                      sufficient time to finalize childcare arrangements. The motion is DENIED. SO
                      ORDERED by Judge Daniel D. Domenico on 9/6/2024. Text Only Entry (dddlc9, )
                      (Entered: 09/06/2024)
   09/16/2024   550   MOTION for Order for Release Pending Appeal by Kimberley Ann Tew.
                      (Attachments: # 1 Proposed Order (PDF Only) Proposed Order re: Motion for
                      Release Pending Appeal)(Hubbard, Jamie) (Entered: 09/16/2024)
   09/17/2024   551   MINUTE ORDER as to Kimberley Ann Tew re: 550 Motion for Order for Release
                      Pending Appeal. The Government must respond by 9/27/2024. SO ORDERED by
                      Judge Daniel D. Domenico on 9/17/2024. Text Only Entry (dddlc1, ) (Entered:
                      09/17/2024)
   09/20/2024   552   RESPONSE in Opposition by USA as to Kimberley Ann Tew re 550 MOTION for
                      Order for Release Pending Appeal (Fields, Bryan) (Entered: 09/20/2024)
   09/25/2024   553   SUPPLEMENT Designation of Record by Kimberley Ann Tew (Attachments: # 1
                      Exhibit 1 Designation of Record − District Court Docket Sheet)(Lollman, Justin)
                      (Entered: 09/25/2024)
   09/25/2024   554   TRANSCRIPT ORDER FORM re 535 Notice of Appeal by Kimberley Ann Tew.
                      (Attachments: # 1 CJA Attachment CJA 24 Form)(Lollman, Justin) (Entered:
                      09/25/2024)
   09/26/2024   555   ORDER Denying 550 MOTION FOR RELEASE PENDING APPEAL as to
                      Kimberley Ann Tew (2) by Judge Daniel D. Domenico on 26 September 2024.
                      (cmadr, ) (Entered: 09/26/2024)
   10/08/2024   556


                                                                                                               63
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25               USDC Colorado           pg
                                       64 of 1354



                      REPORTER TRANSCRIPT ORDER FORM as to Plaintiff USA, Movants Atlantic
                      Union Bank, Christopher J. Alf, National Air Cargo Group, Inc., National Air Cargo
                      Holdings, Inc., Defendants Michael Aaron Tew, Kimberley Ann Tew, Jonathan K.
                      Yioulos, filed by Tamara Hoffschildt. Transcripts ordered 2−5−24 through 2−8−24;
                      2−9−24 through 2−16−24, JT and 8−8−24 Sentencing (thoff, ) (Entered: 10/08/2024)
   10/15/2024   557   Unopposed MOTION to Travel by Michael Aaron Tew. (Schall, Jason) (Entered:
                      10/15/2024)
   10/15/2024   558   ORDER granting 557 Motion to Travel as to Michael Aaron Tew. Mr. Tew may
                      travel to Pheonix, Arizona during the following windows:

                      1. October 25 through October 28, 2024;
                      2. November 1 through November 4, 2024; amd
                      3. November 8 through November 11, 2024.

                      Mr. Tew must (1) provide documentation regarding his travel plans to United States
                      Pretrial and Probation Services as directed in advance of departure, (2) contact his
                      probation officer as directed during approved travel, and (3) promptly contact his
                      probation officer upon return from travel as directed. SO ORDERED by Judge
                      Daniel D. Domenico on 10/15/2024. Text Only Entry (dddlc9, ) (Entered:
                      10/15/2024)
   10/20/2024   559   VOIR DIRE TRANSCRIPT of proceedings held on February 5, 2025 before Judge
                      Domenico. Pages: 1−119. (thoff, ) (Entered: 10/20/2024)
   10/20/2024   560   TRANSCRIPT of Jury Trial as to Kimberley Ann Tew held on February 5, 2024
                      before Judge Domenico. Pages: 1−95.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 10/20/2024)
   10/20/2024   561   TRANSCRIPT of Jury Trial as to Kimberley Ann Tew held on February 6, 2024
                      before Judge Domenico. Pages: 96−350.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the


                                                                                                              64
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25                USDC Colorado          pg
                                       65 of 1354



                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 10/20/2024)
   10/20/2024   562   TRANSCRIPT of Jury Trial as to Kimberley Ann Tew held on February 8, 2024
                      before Judge Domenico. Pages: 351−554.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 10/20/2024)
   10/20/2024   563   TRANSCRIPT of Jury Trial as to Kimberley Ann Tew held on February 8, 2024
                      before Judge Domenico. Pages: 555−811.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 10/20/2024)
   10/20/2024   564   TRANSCRIPT of Jury Trial as to Kimberley Ann Tew held on February 9, 2024
                      before Judge Domenico. Pages: 812−1018.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 10/20/2024)
   10/20/2024   565   TRANSCRIPT of Jury Trial as to Kimberley Ann Tew held on February 12, 2024
                      before Judge Domenico. Pages: 1019−1249.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to


                                                                                                              65
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25               USDC Colorado          pg
                                       66 of 1354



                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 10/20/2024)
   10/20/2024   566   TRANSCRIPT of Jury Trial as to Kimberley Ann Tew held on February 13, 2024
                      before Judge Domenico. Pages: 1250−1509.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 10/20/2024)
   10/20/2024   567   TRANSCRIPT of Jury Trial as to Kimberley Ann Tew held on February 14, 2024
                      before Judge Domenico. Pages: 1510−1662.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 10/20/2024)
   10/20/2024   568   TRANSCRIPT of Jury Trial, verdict as to Kimberley Ann Tew held on February 15,
                      2024 before Judge Domenico. Pages: 1663−1681.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on

                                                                                                              66
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25               USDC Colorado          pg
                                       67 of 1354



                      PACER. (thoff, ) (Entered: 10/20/2024)
   10/20/2024   569   Amended TRANSCRIPT of Jury Trial, Day 3 as to Kimberley Ann Tew held on
                      February 7, 2024 before Judge Domenico. Pages: 351−554.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, incorrect date was entered. ) (Entered: 10/20/2024)
   10/20/2024   570   TRANSCRIPT of James hearing as to Kimberley Ann Tew held on December 19,
                      2023 before Judge Domenico. Pages: 1−140.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 10/20/2024)
   10/21/2024   571   OBJECTION/RESPONSE to Presentence Report 526 by Michael Aaron Tew (Schall,
                      Jason) (Entered: 10/21/2024)
   10/24/2024   572   MOTION for Forfeiture of Property for Preliminary Order of Forfeiture for a
                      Personal Money Judgment Against Defendant Michael Aaron Tew by USA as to
                      Michael Aaron Tew. (Attachments: # 1 Proposed Order (PDF Only))(Hurd, Laura)
                      (Entered: 10/24/2024)
   10/24/2024   573   OBJECTION/RESPONSE to Presentence Report 571 by USA as to Michael Aaron
                      Tew (Fields, Bryan) (Entered: 10/24/2024)
   10/24/2024   574   ORDER as to Michael Aaron Tew re 572 Motion for Preliminary Order of Forfeiture.
                      If Mr. Tew opposes this motion, he is ordered to file a response on or before
                      November 1, 2024. SO ORDERED by Judge Daniel D. Domenico on 10/24/2024.
                      Text Only Entry (dddlc9, ) (Entered: 10/24/2024)
   10/29/2024   575   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Attachments: #
                      1 Exhibit Defendant's Exhibits)(Schall, Jason) (Entered: 10/29/2024)
   11/05/2024   576   RESTRICTED PRESENTENCE REPORT as to Michael Aaron Tew (Attachments:
                      # 1 Exhibit A − Revised Recommendation).(agalv) (Entered: 11/05/2024)
   11/05/2024   577


                                                                                                              67
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25                USDC Colorado           pg
                                       68 of 1354



                      RESTRICTED ADDENDUM to Presentence Report 576 as to Michael Aaron Tew
                      (Attachments: # 1 Exhibit A − Letters in Support). (agalv) (Entered: 11/05/2024)
   11/05/2024   578   MOTION for Non−Guideline Sentence by Jonathan K. Yioulos. (Attachments: # 1
                      Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Kornfeld, Richard) (Entered: 11/05/2024)
   11/05/2024   579   MEMORANDUM in Opposition by USA as to Michael Aaron Tew re 575 Restricted
                      Document − Level 2 (Response in Opposition to Motion for Variant Sentence)
                      (Fields, Bryan) (Entered: 11/05/2024)
   11/05/2024   580   MOTION For Downward Departure Pursuant to 5K1.1 by USA as to Jonathan K.
                      Yioulos. (Fields, Bryan) (Entered: 11/05/2024)
   11/06/2024   581   ORDER RESETTING HEARING as to Jonathan K. Yioulos. Due to a conflict on the
                      Court's calendar, and after consultation with counsel, the Sentencing set for
                      11/19/2024 is VACATED and RESET for 12/3/2024 at 10:30 AM in Courtroom
                      A1002 before Judge Daniel D. Domenico. SO ORDERED by Judge Daniel D.
                      Domenico on 11/6/2024. Text Only Entry (dddlc1, ) (Entered: 11/06/2024)
   11/10/2024   582   ORDER re Sentencing as to Michael Aaron Tew. Live witnesses will not be
                      permitted to testify at Tuesday's sentencing, though the defendant may speak on his
                      own behalf or may submit other support in writing if he wishes. Any victims will also
                      be given an opportunity to speak. SO ORDERED by Judge Daniel D. Domenico on
                      11/10/2024. Text Only Entry (dddlc9, ) (Entered: 11/10/2024)
   11/11/2024   583   PRELIMINARY ORDER OF FORFEITURE FOR A PERSONAL MONEY
                      JUDGMENT as to Michael Aaron Tew (1) by Judge Daniel D. Domenico on 11
                      November 2024. (cmadr, ) (Entered: 11/12/2024)
   11/12/2024   584   MOTION for Victim Rights (Permission for Telephonic Participation) by USA as to
                      Michael Aaron Tew. (Fields, Bryan) (Entered: 11/12/2024)
   11/12/2024   585   ORDER granting 584 Motion for Victim Rights as to Michael Aaron Tew. While it is
                      unclear whether Fed. R. Crim. P. 32 requires the Court to permit victims not
                      physically present in the courtroom an opportunity to speak at sentencing, the Court
                      will allow any victims in this case an opportunity to speak telephonically at today's
                      sentencing. SO ORDERED by Judge Daniel D. Domenico on 11/12/2024. Text Only
                      Entry (dddlc9, ) (Entered: 11/12/2024)
   11/12/2024   586   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico:
                      Sentencing held on 11/12/2024 as to defendant Michael Aaron Tew (1). Defendant
                      sentenced as reflected on the record. 575 Defendants Motion is GRANTED IN
                      PART. Bond continued. Court Reporter: Tammy Hoffschildt. (Attachments: # 1
                      Defendant Exhibit 1, # 2 Defendant Exhibit 2) (rkeec) (Entered: 11/12/2024)
   11/14/2024   587   Unopposed MOTION to Travel by Michael Aaron Tew. (Schall, Jason) (Entered:
                      11/14/2024)
   11/15/2024   588   ORDER granting 587 Motion to Travel as to Michael Aaron Tew. Mr. Tew may
                      travel to Pheonix, Arizona to visit his wife at FCI Pheonix between now and his
                      self−report date so long as he provides completed travel itineraries (including both
                      flight and lodging information) to probation at least two weeks prior to travel and
                      receives approval from U.S.P.O. Seth Junker. SO ORDERED by Judge Daniel D.
                      Domenico on 11/15/2024. Text Only Entry (dddlc9, ) (Entered: 11/15/2024)
   11/15/2024   589


                                                                                                              68
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25               USDC Colorado          pg
                                       69 of 1354



                      JUDGMENT as to defendant Michael Aaron Tew (1), Count(s) 1s, Defendant shall
                      be imprisoned for a total term of forty−two (42) months. This term consists of
                      forty−two (42) months on each of Counts 1 through 42 and 44 through 56; and
                      twelve (12) months on each of counts 57 through 60; all counts imposed
                      concurrently. Three (3) years supervised release on each count, to run concurrently.,
                      $5,600.00 special assessment, no fine, and restitution in the total amount of
                      $6,361,622.10.; Count(s) 2s−40s, Defendant shall be imprisoned for a total term of
                      forty−two (42) months. This term consists of forty−two (42) months on each of
                      Counts 1 through 42 and 44 through 56; and twelve (12) months on each of counts 57
                      through 60; all counts imposed concurrently. Three (3) years supervised release on
                      each count, to run concurrently., $5,600.00 special assessment, no fine, and
                      restitution in the total amount of $6,361,622.10.; Count(s) 41s, Defendant shall be
                      imprisoned for a total term of forty−two (42) months. This term consists of forty−two
                      (42) months on each of Counts 1 through 42 and 44 through 56; and twelve (12)
                      months on each of counts 57 through 60; all counts imposed concurrently. Three (3)
                      years supervised release on each count, to run concurrently., $5,600.00 special
                      assessment, no fine, and restitution in the total amount of $6,361,622.10.; Count(s)
                      42s, Defendant shall be imprisoned for a total term of forty−two (42) months. This
                      term consists of forty−two (42) months on each of Counts 1 through 42 and 44
                      through 56; and twelve (12) months on each of counts 57 through 60; all counts
                      imposed concurrently. Three (3) years supervised release on each count, to run
                      concurrently., $5,600.00 special assessment, $100,000.00 fine, and restitution in the
                      total amount of $6,361,622.10.; Count(s) 44s−56s, Defendant shall be imprisoned for
                      a total term of forty−two (42) months. This term consists of forty−two (42) months
                      on each of Counts 1 through 42 and 44 through 56; and twelve (12) months on each
                      of counts 57 through 60; all counts imposed concurrently. Three (3) years supervised
                      release on each count, to run concurrently., $5,600.00 special assessment,
                      $100,000.00 fine, and restitution in the total amount of $6,361,622.10.; Count(s)
                      57s−60s, Defendant shall be imprisoned for a total term of forty−two (42) months.
                      This term consists of forty−two (42) months on each of Counts 1 through 42 and 44
                      through 56; and twelve (12) months on each of counts 57 through 60; all counts
                      imposed concurrently. Three (3) years supervised release on each count, to run
                      concurrently., $5,600.00 special assessment, $100,000.00 fine, and restitution in the
                      total amount of $6,361,622.10. Entered by Judge Daniel D. Domenico on
                      11/15/2024. (rkeec) Modified on 11/18/2024 to correct fine amount (rkeec). (Entered:
                      11/15/2024)
   11/15/2024   590   STATEMENT OF REASONS as to Michael Aaron Tew (1). (rkeec) (Entered:
                      11/15/2024)
   11/18/2024   591   Passport Receipt as to Michael Aaron Tew (1). Forwarding passport to Dept. of State;
                      Passport Number 484644160 issued by USA. Sent via certified mail receipt number
                      7019 2970 0001 1984 2455. (rkeec) (Entered: 11/18/2024)
   11/21/2024   592   Unopposed MOTION to Travel by Michael Aaron Tew. (Schall, Jason) (Entered:
                      11/21/2024)
   11/22/2024   593   ORDER granting 592 Motion to Travel as to Michael Aaron Tew. Mr. Tew may
                      travel to Marquette, Michigan between January 1, 2025 and his self−report date. He
                      must (1) provide documentation regarding his travel plans to United States Pretrial
                      and Probation Services in advance of departure, and (2) promptly contact his
                      probation officer upon return from the trip. SO ORDERED by Judge Daniel D.
                      Domenico on 11/22/2024. Text Only Entry (dddlc9, ) (Entered: 11/22/2024)


                                                                                                              69
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25               USDC Colorado           pg
                                       70 of 1354



   11/22/2024   594   MOTION for Forfeiture of Property for Preliminary Order of Forfeiture for a
                      Personal Money Judgment Against Defendant Jonathan K. Yioulos by USA as to
                      Jonathan K. Yioulos. (Attachments: # 1 Proposed Order (PDF Only))(Hurd, Laura)
                      (Entered: 11/22/2024)
   11/22/2024   595   MOTION to Dismiss Counts Pursuant to Plea Agreement by USA as to Jonathan K.
                      Yioulos. (Fields, Bryan) (Entered: 11/22/2024)
   11/22/2024   596   MOTION for Decrease for Acceptance of Responsibility by USA as to Jonathan K.
                      Yioulos. (Fields, Bryan) (Entered: 11/22/2024)
   11/25/2024   597   NOTICE OF APPEAL as to 589 Judgment,,,,,,,,,,, by Michael Aaron Tew. (Schall,
                      Jason) (Entered: 11/25/2024)
   11/25/2024   598   PRELIMINARY ORDER OF FORFEITURE FOR A PERSONAL MONEY
                      JUDGMENT as to Jonathan K. Yioulos (3) by Judge Daniel D. Domenico on 25
                      November 2024. (cmadr, ) (Entered: 11/25/2024)
   11/25/2024   599   DESIGNATION OF RECORD ON APPEAL re 597 Notice of Appeal by Michael
                      Aaron Tew. (Attachments: # 1 Exhibit A)(Frost, Kristen) (Entered: 11/25/2024)
   11/25/2024   600   MOTION to Proceed in Forma Pauperis by Michael Aaron Tew. (Frost, Kristen)
                      (Entered: 11/25/2024)
   11/26/2024   601   LETTER Transmitting Notice of Appeal to all counsel advising of the transmittal of
                      the 597 Notice of Appeal as to Michael Aaron Tew to the U.S. Court of Appeals. (
                      CJA, 1915 motion filed,) (Attachments: # 1 Preliminary Record)(cmadr, ) (Entered:
                      11/26/2024)
   11/26/2024   602   RESTRICTED PRESENTENCE REPORT as to Jonathan K. Yioulos (Attachments:
                      # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(mcfont) (Entered: 11/26/2024)
   11/26/2024   603   RESTRICTED SECOND ADDENDUM to Presentence Report 602 as to Jonathan K.
                      Yioulos (mcfont) (Entered: 11/26/2024)
   11/26/2024   604   USCA Case Number as to Michael Aaron Tew 24−1465 for 597 Notice of Appeal
                      filed by Michael Aaron Tew. (cmadr, ) (Entered: 11/27/2024)
   12/02/2024   605   MINUTE ORDER as to Jonathan K. Yioulos re: Sentencing set for 12/3/2024.
                      Members of the public may attend the hearing by teleconference at (571) 353−2301,
                      using guest code 478499919. All persons participating in court proceedings by
                      teleconference are prohibited, under penalty of contempt, from recording or
                      broadcasting the proceeding in any manner. SO ORDERED by Judge Daniel D.
                      Domenico on 12/2/2024. Text Only Entry (dddlc1, ) (Entered: 12/02/2024)
   12/03/2024   606   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico:
                      Sentencing held on 12/3/2024 as to defendant Jonathan K. Yioulos (3). Granting in
                      part 578 Motion for Non−Guideline Sentence as to Jonathan K. Yioulos (3). Granting
                      580 Motion for Downward Departure Pursuant to 5K1.1 as to Jonathan K. Yioulos
                      (3). Granting 595 Motion to Dismiss Counts as to Jonathan K. Yioulos (3). Granting
                      596 Motion for Decrease for Acceptance of Responsibility as to Jonathan K. Yioulos
                      (3). Defendant sentenced as reflected on the record. Bond is continued. Court
                      Reporter: Kevin Carlin. (rkeec) (Entered: 12/03/2024)
   12/06/2024   607   JUDGMENT as to defendant Jonathan K. Yioulos (3), Count(s) 1, Defendant shall be
                      imprisoned for a total term of two (2) months on each count to run concurrently, three


                                                                                                               70
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25                USDC Colorado           pg
                                       71 of 1354



                      (3) years supervised release on each count to run concurrently, $200.00 special
                      assessment, no fine, and restitution in the total amount of $5,023,878.50.; Count(s)
                      2−38, 40, Dismissed on United States of Americas Motion to Dismiss Counts.;
                      Count(s) 39, Defendant shall be imprisoned for a total term of two (2) months on
                      each count to run concurrently, three (3) years supervised release on each count to
                      run concurrently, $200.00 special assessment, no fine, and restitution in the total
                      amount of $5,023,878.50. Entered by Judge Daniel D. Domenico on 12/6/2024.
                      (rkeec) (Entered: 12/06/2024)
   12/06/2024   608   STATEMENT OF REASONS as to Jonathan K. Yioulos (3). (rkeec) (Entered:
                      12/06/2024)
   12/09/2024   609   USPS Certified Mail Receipt Return re 591 Passport Receipt as to Michael Aaron
                      Tew (cmadr, ) (Entered: 12/10/2024)
   12/10/2024   610   TRANSCRIPT ORDER FORM re 597 Notice of Appeal by Michael Aaron Tew.
                      (Frost, Kristen) (Entered: 12/10/2024)
   12/10/2024   611   TRANSCRIPT ORDER FORM re 597 Notice of Appeal by Michael Aaron Tew.
                      (Frost, Kristen) (Entered: 12/10/2024)
   12/10/2024   612   TRANSCRIPT ORDER FORM re 597 Notice of Appeal by Michael Aaron Tew.
                      (Frost, Kristen) (Entered: 12/10/2024)
   12/10/2024   613   TRANSCRIPT ORDER FORM re 597 Notice of Appeal by Michael Aaron Tew.
                      (Frost, Kristen) (Entered: 12/10/2024)
   12/13/2024   614   ORDER to Surrender as to Michael Aaron Tew (1). Defendant to surrender to FCI
                      Florence, located at 5880 CO−67, Florence, CO 81226 on 2/1/2025, by 2:00 p.m. and
                      will travel at their own expense. SO ORDERED by Judge Daniel D. Domenico on
                      12/13/2024. (rkeec) (Entered: 12/13/2024)
   12/13/2024   615   ORDER of USCA as to Michael Aaron Tew re 597 Notice of Appeal. (USCA Case
                      No. 24−1465). Kari Schmidt is appointed as counsel for Mr. Tew. Within 10 days of
                      the date of this order, Ms. Schmidt shall file an entry of appearance in this appeal.
                      (cmadr, ) (Entered: 12/16/2024)
   12/16/2024   616   ORDER as to Michael Aaron Tew (1) by Judge Daniel D. Domenico on 16
                      December 2024. Accordingly, it is ORDERED that Defendant Michael Aaron Tew's
                      Motion to Proceed In Forma Pauperis, Doc. 600 , is GRANTED. (cmadr, ) (Entered:
                      12/16/2024)
   12/23/2024   617   REPORTER TRANSCRIPT ORDER FORM as to Defendants Michael Aaron Tew,
                      Michael Aaron Tew, filed by Tamara Hoffschildt. Transcripts ordered 01−30−24;
                      4−22−24; 11−12−24 (thoff, ) (Entered: 12/23/2024)
   12/24/2024   618   REPORTER TRANSCRIPT ORDER FORM as to Defendants Michael Aaron Tew
                      filed by Julie Thomas. (nrich) (Entered: 12/24/2024)
   12/27/2024   619   REPORTER TRANSCRIPT ORDER FORM filed by Patterson Transcription
                      Company re 597 Notice of Appeal. Transcript due by 1/28/2025. (nrich) (Entered:
                      12/27/2024)
   01/03/2025   620   TRANSCRIPT of Sentencing Hearing as to Jonathan K. Yioulos held on 12/03/2024
                      before Judge Domenico. Pages: 1−25.



                                                                                                              71
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25                USDC Colorado          pg
                                       72 of 1354



                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (kcarl, ) (Entered: 01/03/2025)
   01/07/2025   621   MINUTE ORDER re 589 Judgement as to Michael Aaron Tew. Upon review of the
                      Declaration of Victim Losses and supporting documentation submitted by victim
                      National Air Cargo, and consistent with the judgment imposed in the case of
                      codefendant Jonathan K. Yioulos, the Court finds the restitution owed in relation to
                      victim National Air Cargo is $5,023,878.50. Furthermore, the restitution payees are
                      the insurance companies that reimbursed National Air Cargo, pursuant to 18 U.S.C. §
                      3664(j). Assistant United States Attorney Bryan David Fields and the defendants
                      attorney, Jason Dale Schall, have advised the Probation Office that they have no
                      objection to the judgment being amended to update the restitution order as detailed
                      above. Therefore, the Court ORDERS the U.S. Probation Office to prepare an
                      Amended Judgment reflecting amendments to the restitution order, as detailed above.
                      SO ORDERED by Judge Daniel D. Domenico on 1/7/2025. Text Only Entry (dddlc9,
                      ) (Entered: 01/07/2025)
   01/07/2025   622   MINUTE ORDER re 528 Judgment as to Kimberley Ann Tew. Upon review of the
                      Declaration of Victim Losses and supporting documentation submitted by victim
                      National Air Cargo, and consistent with the judgment imposed in the case of
                      codefendant Jonathan K. Yioulos, the Court finds the restitution owed in relation to
                      victim National Air Cargo is $5,023,878.50. Furthermore, the restitution payees are
                      the insurance companies that reimbursed National Air Cargo, pursuant to 18 U.S.C. §
                      3664(j). Assistant United States Attorney Bryan David Fields and the defendants
                      attorney, David Scott Kaplan, have advised the Probation Office that they have no
                      objection to the judgment being amended to update the restitution order as detailed
                      above. Additionally, the judgment shall be amended to reflect forfeiture includes a
                      money judgment in the amount of proceeds obtained by the scheme and by the
                      defendants, $5,023,878.50, consistent with the Courts finding during the forfeiture
                      hearing on August 8, 2024. Therefore, the Court ORDERS the U.S. Probation Office
                      to prepare an Amended Judgment reflecting amendments to the restitution and
                      forfeiture orders, as detailed above. SO ORDERED by Judge Daniel D. Domenico on
                      1/7/2025. Text Only Entry (dddlc9, ) (Entered: 01/07/2025)
   01/07/2025   623   ORDER as to Michael Aaron Tew.

                      On 1/7/2025, my chambers received an email from Defendant Michael Tew
                      requesting that I consider an attached motion to extend his self−surrender date. Any
                      documents that require the Court's attention must be filed on the record as motions or
                      other appropriate filings. The parties in this case are ordered not to email my
                      chambers, and any such communications will be ignored in the future.

                      In addition, Mr. Tew is currently represented by counsel, and all motions and papers
                      on his behalf must be filed electronically by his attorney. His attorney may, if Mr.

                                                                                                               72
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25                USDC Colorado           pg
                                       73 of 1354



                      Tew wishes, file a motion seeking appropriate relief after conferring with Mr. Tew.

                      SO ORDERED by Judge Daniel D. Domenico on 1/7/2025. Text Only Entry (dddlc1,
                      ) (Entered: 01/07/2025)
   01/08/2025   624   AMENDED JUDGMENT as to Michael Aaron Tew (1), Count(s) 1s, Defendant
                      shall be imprisoned for a total term of forty−two (42) months. This term consists of
                      forty−two (42) months on each of Counts 1 through 42 and 44 through 56; and
                      twelve (12) months on each of counts 57 through 60; all counts imposed
                      concurrently. Three (3) years supervised release on each count, to run concurrently.,
                      $5,600.00 special assessment, no fine, and restitution in the total amount of
                      $6,331,622.10.; Count(s) 2s−40s, Defendant shall be imprisoned for a total term of
                      forty−two (42) months. This term consists of forty−two (42) months on each of
                      Counts 1 through 42 and 44 through 56; and twelve (12) months on each of counts 57
                      through 60; all counts imposed concurrently. Three (3) years supervised release on
                      each count, to run concurrently., $5,600.00 special assessment, no fine, and
                      restitution in the total amount of $$6,331,622.10.; Count(s) 41s, Defendant shall be
                      imprisoned for a total term of forty−two (42) months. This term consists of forty−two
                      (42) months on each of Counts 1 through 42 and 44 through 56; and twelve (12)
                      months on each of counts 57 through 60; all counts imposed concurrently. Three (3)
                      years supervised release on each count, to run concurrently., $5,600.00 special
                      assessment, no fine, and restitution in the total amount of $$6,331,622.10.; Count(s)
                      42s, Defendant shall be imprisoned for a total term of forty−two (42) months. This
                      term consists of forty−two (42) months on each of Counts 1 through 42 and 44
                      through 56; and twelve (12) months on each of counts 57 through 60; all counts
                      imposed concurrently. Three (3) years supervised release on each count, to run
                      concurrently. $5,600.00 special assessment, no fine, and restitution in the total
                      amount of $$6,331,622.10.; Count(s) 44s−56s, Defendant shall be imprisoned for a
                      total term of forty−two (42) months. This term consists of forty−two (42) months on
                      each of Counts 1 through 42 and 44 through 56; and twelve (12) months on each of
                      counts 57 through 60; all counts imposed concurrently. Three (3) years supervised
                      release on each count, to run concurrently., $5,600.00 special assessment, no fine,
                      and restitution in the total amount of $6,331,622.10.; Count(s) 57s−60s, Defendant
                      shall be imprisoned for a total term of forty−two (42) months. This term consists of
                      forty−two (42) months on each of Counts 1 through 42 and 44 through 56; and
                      twelve (12) months on each of counts 57 through 60; all counts imposed
                      concurrently. Three (3) years supervised release on each count, to run concurrently.,
                      $5,600.00 special assessment, no fine, and restitution in the total amount of
                      $6,331,622.10. Entered by Judge Daniel D. Domenico on 1/8/2025. (rkeec) (Entered:
                      01/08/2025)
   01/08/2025   625   AMENDED STATEMENT OF REASONS as to Michael Aaron Tew (1). (rkeec)
                      (Entered: 01/08/2025)
   01/08/2025   626   REASON FOR AMENDMENT as to Michael Aaron Tew (1). (rkeec) (Entered:
                      01/08/2025)
   01/08/2025   627   AMENDED JUDGMENT as to Kimberley Ann Tew (2), Count(s) 1, Defendant shall
                      be imprisoned for a total term of forty−eight (48) months on each count to run
                      concurrently, three (3) years supervised release on each count to run concurrently,
                      $100.00 special assessment ($1,200 total), no fine, and restitution in the total amount
                      of $5,023,878.50.; Count(s) 16, Dismissed by Court during jury trial. Count(s)
                      21−22, Defendant shall be imprisoned for a total term of forty−eight (48) months on


                                                                                                                73
Case No. 1:20-cr-00305-DDD         Document 645-2 filed 01/24/25                USDC Colorado           pg
                                        74 of 1354



                      each count to run concurrently, three (3) years supervised release on each count to
                      run concurrently, $100.00 special assessment ($1,200 total), no fine, and restitution in
                      the total amount of $5,023,878.50.; Count(s) 25−26, Defendant shall be imprisoned
                      for a total term of forty−eight (48) months on each count to run concurrently, three
                      (3) years supervised release on each count to run concurrently, $100.00 special
                      assessment ($1,200 total), no fine, and restitution in the total amount of
                      $5,023,878.50.; Count(s) 31−32, Defendant shall be imprisoned for a total term of
                      forty−eight (48) months on each count to run concurrently, three (3) years supervised
                      release on each count to run concurrently, $100.00 special assessment ($1,200 total),
                      no fine, and restitution in the total amount of $5,023,878.50.; Count(s) 41, Defendant
                      shall be imprisoned for a total term of forty−eight (48) months on each count to run
                      concurrently, three (3) years supervised release on each count to run concurrently,
                      $100.00 special assessment ($1,200 total), no fine, and restitution in the total amount
                      of $5,023,878.50.; Count(s) 43−44, Defendant shall be imprisoned for a total term of
                      forty−eight (48) months on each count to run concurrently, three (3) years supervised
                      release on each count to run concurrently, $100.00 special assessment ($1,200 total),
                      no fine, and restitution in the total amount of $5,023,878.50.; Count(s) 47, Defendant
                      shall be imprisoned for a total term of forty−eight (48) months on each count to run
                      concurrently, three (3) years supervised release on each count to run concurrently,
                      $100.00 special assessment ($1,200 total), no fine, and restitution in the total amount
                      of $5,023,878.50.; Count(s) 48, Defendant was found not guilty by jury at trial.;
                      Count(s) 56, Defendant shall be imprisoned for a total term of forty−eight (48)
                      months on each count to run concurrently, three (3) years supervised release on each
                      count to run concurrently, $100.00 special assessment ($1,200 total), no fine, and
                      restitution in the total amount of $5,023,878.50. Entered by Judge Daniel D.
                      Domenico on 1/8/2025. (rkeec) (Entered: 01/08/2025)
   01/08/2025   628   AMENDED STATEMENT OF REASONS as to Kimberley Ann Tew (2). (rkeec)
                      (Entered: 01/08/2025)
   01/08/2025   629   REASON FOR AMENDMENT as to Kimberley Ann Tew (2). (rkeec) (Entered:
                      01/08/2025)
   01/13/2025   630   TRANSCRIPT of Motion Hearing as to Michael Aaron Tew, Kimberley Ann Tew,
                      Jonathan K. Yioulos held on March 18, 2021 before Judge Domenico. Pages: 1−27.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (nrich) (Entered: 01/13/2025)
   01/13/2025   631   NOTICE OF ATTORNEY APPEARANCE: Zachary Lee Newland appearing for
                      Michael Aaron TewAttorney Zachary Lee Newland added to party Michael Aaron
                      Tew(pty:dft) (Newland, Zachary) (Entered: 01/13/2025)
   01/13/2025   632   NOTICE OF ATTORNEY APPEARANCE: David C. Boyer, Jr appearing for


                                                                                                                 74
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25               USDC Colorado          pg
                                       75 of 1354



                      Michael Aaron TewAttorney David C. Boyer, Jr added to party Michael Aaron
                      Tew(pty:dft) (Boyer, David) (Entered: 01/13/2025)
   01/15/2025   633   ORDER to Surrender as to Jonathan K. Yioulos (3). Defendant to surrender to
                      Lewisburg Satellite Camp on January 21, 2025, by 12:00 pm. and will travel at their
                      own expense. SO ORDERED by Judge Daniel D. Domenico on 1/15/2025. (rkeec)
                      (Entered: 01/15/2025)
   01/16/2025   634   TRANSCRIPT of Trial Preparation Conference as to Michael Aaron Tew held on
                      January 30, 2024 before Judge Domenico. Pages: 1−100.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 01/16/2025)
   01/16/2025   635   TRANSCRIPT of Evidentiary hearing as to Michael Aaron Tew held on April 22,
                      2024 before Judge Domenico. Pages: 1−100.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 01/16/2025)
   01/16/2025   636   TRANSCRIPT of Sentencing hearing as to Michael Aaron Tew held on November
                      12, 2024 before Judge Domenico. Pages: 1−31.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 01/16/2025)



                                                                                                              75
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25               USDC Colorado          pg
                                       76 of 1354



   01/16/2025   637   TRANSCRIPT of Motion to Detain hearing as to Kimberley Ann Tew held on April
                      22, 2024 before Judge Domenico. Pages: 1−100.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 01/16/2025)
   01/16/2025   638   TRANSCRIPT of Sentencing hearing for the codefendant as to Kimberley Ann Tew
                      held on 1−31 before Judge Domenico. Pages: 1−31.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 01/16/2025)
   01/17/2025   639   RESTRICTED DOCUMENT − Level 2: Defendant's Motion to Extend
                      Self−Surrender Date as to Michael Aaron Tew. (Attachments: # 1 Exhibit 1, # 2
                      Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Proposed Order (PDF Only))(Boyer,
                      David) Modified to change event type to a Motion on 1/21/2025 (ggill, ). (Entered:
                      01/17/2025)
   01/17/2025   640   MOTION for Leave to Restrict by Michael Aaron Tew. (Attachments: # 1 Proposed
                      Order (PDF Only))(Boyer, David) (Entered: 01/17/2025)
   01/17/2025   641   RESTRICTED DOCUMENT − Level 2: Brief in Support of Motion to Restrict
                      Document No. 639 as to Michael Aaron Tew. (Boyer, David) Modified to update text
                      on 1/21/2025 (ggill, ). (Entered: 01/17/2025)
   01/17/2025   642   ORDER granting 640 Motion for Leave to Restrict. The Clerk of Court is directed to
                      maintain Dkt. 639 and 641 at Level 2 restriction. SO ORDERED by Judge Daniel D.
                      Domenico on 1/17/2025. Text Only Entry (dddlc9, ) (Entered: 01/17/2025)
   01/17/2025   643   ORDER granting in part Mr. Tew's 639 Motion to Extend Self−Surrender Date.
                      While the Court understands and regrets the extremely difficult situation Mr. Tew's
                      family members are in, that is one of the many unfortunate consequences of Mr. and
                      Mrs. Tew's criminal behavior. Recognizing the complications presented in the
                      motion, Mr. Tew's self−surrender date is extended to March 1, 2025. Otherwise, the
                      motion is denied. SO ORDERED by Judge Daniel D. Domenico on 1/17/2025. Text
                      Only Entry (dddlc9, ) (Entered: 01/17/2025)

                                                                                                              76
Case No. 1:20-cr-00305-DDD        Document 645-2 filed 01/24/25             USDC Colorado          pg
                                       77 of 1354



   01/21/2025   644   NOTICE of Replacement due to Non−Compliant Files re 167 MOTION to Withdraw
                      as Attorney by Michael Hassard, 151 Notice of Attorney Appearance − Defendant,
                      157 Notice of Attorney Appearance − Defendant, 290 Notice of Attorney Appearance
                      − Defendant, 163 Restricted Document − Level 3, 165 Third MOTION to Continue ,
                      [204−6] Attachment to Response in Opposition,, 166 MOTION to Withdraw as
                      Attorney by Xuan Zhou, 162 MOTION to Withdraw as Attorney by Tor Ekeland :
                      The aforelisted documents have been converted to PDF/A standard and replaced on
                      the docket due to a non−compliant PDF file type which prevents creation of a Record
                      on Appeal. (lrobe) (Entered: 01/21/2025)




                                                                                                            77
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
                                      645-2
                                          373 filed
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                                                     01/24/25
                                                       01/24/24 USDC
                                                                  PageColorado
                                                                       1 of 7             pg
                                   78 of 1354




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


  Case No. 1:20-cr-00305-DDD-2

  UNITED STATES OF AMERICA,

        Plaintiff,
  v.

  2. KIMBERLEY ANN TEW

        Defendant.

       Kimberley Tew’s Motion in Limine re Admissibility of Proffer Statements


       Kimberley Tew, through attorneys David S. Kaplan and Jamie Hubbard of the

 law firm Stimson LaBranche Hubbard, LLC, move in limine for a pretrial ruling on the

 Government’s ability to substantively admit as evidence at trial the recording of her

 proffer session with the Government. The Government opposes the relief sought herein.

                                   Factual Background

       On July 9, 2020, Defendant Michael Tew was arrested at the apartment he shared

 with his wife Kimberley Tew. Kimberley Tew was home at the time of the arrest, as

 were the couple’s two young children. Mrs. Tew had contact with case agents during

 their arrest of her husband and thereafter. Mrs. Tew was encouraged to retain a lawyer

 to engage with the prosecutors and agents on her behalf.

       Mrs. Tew retained Jamie Hubbard to represent her. Ms. Hubbard began

 discussions with the prosecution team about the case and the evidence the Government




                                                                                               78
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
                                      645-2
                                          373 filed
                                                 Filed
                                                     01/24/25
                                                       01/24/24 USDC
                                                                  PageColorado
                                                                       2 of 7                pg
                                   79 of 1354




 believed showed Mrs. Tew was involved in criminal activity with her husband. These

 discussions ultimately led to an agreement whereby Mrs. Tew would meet with the

 government for a proffer session.

         On October 20, 2020, Mrs. Tew signed a proffer letter. (Ex. A.) The proffer letter is

 addressed to Ms. Hubbard as counsel for Mrs. Tew, and was also signed by Ms.

 Hubbard in her capacity as Mrs. Tew’s counsel. Paragraph 4 of the proffer letter states:

                The government may also use any statements made by your
                client during the proffer, either as evidence or for cross-
                examination, at trial or any other stage of the criminal
                prosecution, if your client later testifies, offers other
                evidence or presents a position (including through affidavit
                or in argument) that contradicts statements made by your
                client during the proffer. By signing this letter, you and your
                client specifically agree that the government may use your
                client’s statements or information in the circumstances
                described above. See United States v. Mezzanatto, 513 U.S. 196
                (1995).

 (Id. at 2.)

         On October 23, 2020, Mrs. Tew participated in a proffer session with federal

 agents and the then-prosecutors Hetal Doshi and Matthew Kirsch. Ms. Hubbard served

 as Mrs. Tew’s counsel during this proffer session. The proffer session was audio

 recorded by the Government.

         The Government has marked the audio recording of Mrs. Tew’s proffer session

 as a trial exhibit. Mr. Tew similarly proffered and audio recordings of his meeting were

 also marked as trial exhibits. When defense counsel inquired as to how the recordings

 of Mr. and Mrs. Tew’s proffer sessions would be used at trial, the Government


                                               2
                                                                                                  79
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
                                      645-2
                                          373 filed
                                                 Filed
                                                     01/24/25
                                                       01/24/24 USDC
                                                                  PageColorado
                                                                       3 of 7                 pg
                                   80 of 1354




 expressed its view that the Government can introduce these recordings in its case-in-

 chief if the defendants take “any position contrary to what was stated in the proffers at

 any point during the trial – including argument in opening or using cross to draw

 inferences.”

        Given the potential significance of the Government’s position on this issue,

 counsel felt it necessary to address the issue in a motion in limine, despite the deadline

 for such motions having passed.

    The Government’s Interpretation of the Proffer Letters Leads to Absurd Results

        Mrs. Tew hereby adopts by reference the arguments made in Defendant Michael

 Tew’s Motion in Limine to Prohibit the Impermissible and Unconstitutional Use of Proffer

 Agreements (ECF No. 370). Mrs. Tew agrees that the Government’s position on what

 constitutes a breach of her proffer agreement interferes with important constitutional

 rights, including but not limited to her right to confront and cross-examine the

 witnesses testifying against her, her right to effective assistance of counsel, and her right

 to present a defense.1

                    A Pretrial Hearing is Required to Address Waiver

        As explained in the Motion in Limine filed by Mr. Tew, the position advocated

 by the Government regarding the proffer letters essentially means that Mrs. Tew


 1 Admission of Mr. Tew’s unredacted proffer statements in a joint trial with Mrs. Tew—

 or vice versa—implicates Bruton v. United States, 391 U.S. 123 (1968). This issue is not
 ripe unless and until the Court rules the proffer agreements have been breached but is
 referenced here to avoid any possibility of waiver.


                                               3
                                                                                                   80
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
                                      645-2
                                          373 filed
                                                 Filed
                                                     01/24/25
                                                       01/24/24 USDC
                                                                  PageColorado
                                                                       4 of 7                  pg
                                   81 of 1354




 waived her right to confront witnesses, right to effective assistance of counsel, and her

 right to present a defense when she signed a proffer letter in October 2020.

        The right to confront and cross-examine witnesses, to effective counsel, and to

 present a defense are fundamental to ensuring a fair trial. Thus, any waiver of these

 rights must be knowing and intelligent. In Schneckloth v. Bustamonte, 412 U.S. 218 (1973),

 the Supreme Court held: “Almost without exception, the requirement of a knowing and

 voluntary waiver has been applied only to those rights which the Constitution

 guarantees to a criminal defendant in order to preserve a fair trial.” Id. at 238. The

 Schneckloth court listed many of the rights considered “fundamental” to ensuring a fair

 trial, including, the right to counsel, to jury trial, and to confrontation. Id.

        Courts indulge every reasonable presumption against waiver of important

 constitutional rights that are fundamental to ensuring a fair trial. Von Moltke v. Gillies,

 332 U.S. 708, 723–24 (1948) (“To discharge this duty [of inquiry] properly in light of the

 strong presumption against waiver of the constitutional right to counsel, a judge must

 investigate as long and as thoroughly as the circumstances of the case before him

 demand.”); United States v. Simpson, 845 F.3d 1039, 1046 (10th Cir. 1977); United States v.

 Padilla, 819 F.2d 952, 956 (10th Cir. 1987) (“The task of ensuring that defendant

 possesses the requisite understanding initially falls on the trial judge, who must bear in

 mind the strong presumption against waiver.”).

        Whether Mrs. Tew waived her constitutional rights in this case must be

 determined based on the particular facts and circumstances applicable to her. See, e.g.,


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                                                                       5 of 7                   pg
                                   82 of 1354




 Harvey v. Shillinger, 893 F. Supp. 1021, 1028 (D. Wyo. 1995), aff'd, 76 F.3d 1528 (10th Cir.

 1996) (a determination of whether rights were waived “depends in each case, upon the

 particular facts and circumstances surrounding that case, including the background,

 experience, and conduct of the accused.”) For a waiver to be knowing and intelligent, it

 “must have been made with a full awareness both of the nature of the right being

 abandoned and the consequences of the decision to abandon it.” United States v. Morris,

 287 F.3d 985, 989 (10th Cir. 2002) (quoting Colorado v. Spring, 479 U.S. 564, 573 (1987)).

        Given the important constitutional rights at issue and the need for an

 individualized determination, Mrs. Tew requests a hearing on whether her proffer

 agreement contemplates use of the statements in the manner suggested by the

 Government and, if so, whether she knowingly and intelligently waived her rights by

 signing the proffer agreement. See, e.g., United States v. Hansen, 929 F.3d 1238, 1251 (10th

 Cir. 2019) (a hearing is the best way to determine whether defendant’s waiver of

 important trial rights is knowing and intelligent).

                                         Conclusion

        For the reasons set forth above, Kimberley Tew joins in the Motion in Limine

 filed on behalf of Defendant Michael Tew. Mrs. Tew further asks the Court to set a

 hearing at which the parties could address and the Court could consider: (1) the

 circumstances under which the Government may be permitted to use the recorded

 proffer statements at trial; and (2) whether any waiver of her rights necessary to ensure

 a fair trial was knowing and intelligent.


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                                   83 of 1354




       Dated: January 24, 2024.

                                            Respectfully submitted,



                                            s/ David S. Kaplan
                                            David S. Kaplan
                                            Jamie Hubbard
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                                            1652 Downing Street
                                            Denver, CO 80218
                                            Phone: 720.689.8909
                                            Email: kaplan@slhlegal.com
                                            hubbard@slhlegal.com

                                            Attorney for Kimberley Ann Tew




                       Certification of Type-Volume Limitation


        I hereby certify that the foregoing pleading complies with the type-volume
 limitation set forth in Judge Domenico’s Practice Standard III(A)(1).


                           Statement of Speedy Trial Impact

        Pursuant to Judge Domenico’s Practice Standard III(C), defense counsel believes
 the time between filing this motion and the resolution thereof is excludable from the
 speedy trial period. See 18 USC § 3161(h)(1)(D).



                                            s/ David S. Kaplan
                                            David S. Kaplan




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                                   84 of 1354




                                     Certificate of Service

       I certify that on January 24, 2024, I electronically filed the foregoing Kimberley
 Tew’s Motion in Limine re Admissibility of Proffer Statements with the Clerk of Court using
 the CM/ECF system which will send notification of such filing to the following e-mail
 address and all parties of record:

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 Counsel for Michael Tew
                                                s/ Brenda Rodriguez
                                                Brenda Rodriguez




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                                                                         1 of 4   pg
                                    85 of 1354




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                                    86 of 1354




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                                                                         3 of 4   pg
                                    87 of 1354




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                                                                         4 of 4   pg
                                    88 of 1354




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                                                                  PageColorado
                                                                       1 of 7           pg
                                   89 of 1354




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


  Case No. 1:20-cr-00305-DDD-2

  UNITED STATES OF AMERICA,

        Plaintiff,
  v.

  2. KIMBERLEY ANN TEW

        Defendant.

   Motion to Continue Trial and Motion for Ends of Justice Continuance of 90 Days


       Defendant Kimberley Tew, through undersigned counsel, moves to continue the

 current trial setting and to exclude 90 days from the Speedy Trial Clock under 18 U.S.C.

 § 3161. The ends of justice served by this requested continuance outweigh the best

 interests of the public and the defendant in a speedy trial. This motion is unopposed by

 co-defendant Michael Tew. The government opposes it being granted.

                                 Procedural Background

       1.     This case involves a 60-count indictment charging wire fraud, money

 laundering, and tax fraud. Three defendants were initially charged. One has pled and

 the remaining two defendants are set to begin trial on February 5, 2024.

       2.     Discovery in this case is voluminous. Third-party subpoenas were served

 on multiple banks, which returned hundreds of thousands of pages of records. Multiple




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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                                       01/24/24 USDC
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                                                                       2 of 7                 pg
                                   90 of 1354




 electronic devices were imaged and downloaded. A warrant was obtained for the Tews’

 cloud-based storage account, which alone produced nearly 1TB of electronic data.

        3.      On December 5, 2023, the Government filed its James Log outlining the

 statements on which it sought a pretrial ruling as to the applicability of FRE

 801(d)(2)(E). This log showed that a significant part of the Government’s proof –

 particularly as to Mrs. Tew—would involve communications recovered from the Tews’

 iCloud account. A James Hearing was conducted on December 18, 2023.

        4.      In preparing for the James hearing, defense counsel first recognized there

 are significant authentication and foundation issues related to the iCloud account. For

 example, the James log demonstrates that the Government intends to allege that certain

 messages obtained from an account titled “Kley” are attributable to Michael Tew while

 other messages from the same account are being attributed to Kimberley Tew. Compare

 James Entry 56 with Entry 204. The source materials—Cellebrite reports—show that in

 the same string of correspondence, the speaker attributed the “kley” moniker appears to

 switch between Mr. Tew and Mrs. Tew. Additionally, notice of the conversations

 sought to be introduced gave rise to an inquiry regarding other conversations, not

 included in the Jame Log, which may exist providing context to the government’s

 submissions.

        5.      Defense counsel is working diligently to untangle the electronic data in

 order to prepare to confront the evidence offered against Mrs. Tew at trial. It entails an

 examination of the iCloud account not previously anticipated to both understand the


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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                                       01/24/24 USDC
                                                                  PageColorado
                                                                       3 of 7                  pg
                                   91 of 1354




 source of communications and uncover impeachment evidence of the government’s

 witnesses. However, these efforts have been slower than anticipated.

        6.     Given the apparent importance of this evidence in the Government’s case

 against Mrs. Tew, defense counsel has sought expert assistance to efficiently and

 competently evaluate the amount of date to be reviewed. If testimony from an expert is

 ultimately deemed necessary in the defense of Mrs. Tew, defense counsel understands

 that reports will need to be provided and that the Government will need adequate time

 to prepare for cross-examination of any defense expert.

        7.     The current deadlines and trial setting do not afford adequate time for

 defense counsel to now be prepared for trial.

                                     Law and Argument

        8.     The Speedy Trial Act is “designed to protect a defendant's constitutional

 right to a speedy indictment and trial, and to serve the public interest in ensuring

 prompt criminal proceedings.” United States v. Hill, 197 F.3d 436, 440 (10th Cir. 1999). It

 requires that a criminal defendant’s trial commence within 70 days after his indictment

 or initial appearance, whichever is later. See 18 U.S.C. § 3161(c)(1); United States v. Lugo,

 170 F.3d 996, 1001 (10th Cir. 1999). Certain periods of delay are excluded and do not

 count toward the 70–day limit. See 18 U.S.C. § 3161(h)(1)-(9). Specifically, “the Act

 excludes any period of delay resulting from a continuance granted by any judge . . . on

 the basis of its findings that the ends of justice served by taking such action outweigh




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         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                                       01/24/24 USDC
                                                                  PageColorado
                                                                       4 of 7                   pg
                                   92 of 1354




 the best interest of the public and the defendant in a speedy trial.” Hill, 197 F.3d at 440-

 41 (quoting 18 U.S.C. § 3161(h)(7)(A)).

        9.     A continuance under the Speedy Trial Act is appropriate where failure to

 grant a continuance would deny the defendant the ability to fully prepare for trial. 18

 U.S.C. § 3161(h)(7)(B)(ii), (iv). One factor for the Court to consider in granting this delay

 is “[w]hether the failure to grant such a continuance in the proceeding would be likely

 to make a continuation of such proceeding impossible or result in a miscarriage of

 justice.” 18 U.S.C. § 3161(h)(7)(B)(i). An additional factor, set forth in 18 U.S.C. §

 3161(h)(7)(B)(iv), is whether failure to grant such a continuance “would deny counsel

 for the defendant…the reasonable time necessary for effective preparation, taking into

 account the exercise of due diligence.”

        10.    In evaluating a request for an ends of justice continuance, “the record

 must clearly establish the district court considered the proper factors at the time such a

 continuance was granted.” United States v. Toombs, 574 F.3d 1262, 1269 (10th Cir. 2009)

 (quoting United States v. Gonzales, 137 F.3d 1431, 1433 (10th Cir. 1998)). The record must

 contain an explanation for why the occurrence of the event identified by the moving

 party as necessitating the continuance results in the need for additional time. See id. At

 1271-72.

        11.    In United States v. West, 828 F.2d 1468, 1470 (10th Cir. 1987), the Tenth

 Circuit set forth four factors a court should consider when evaluating if a continuance

 should be granted: (1) the diligence of the party requesting the continuance, (2) the


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                                                                  PageColorado
                                                                       5 of 7               pg
                                   93 of 1354




 likelihood that the continuance, if granted, would accomplish the purpose underlying

 the request for continuance, (3) the inconvenience to the opposing party, its witnesses

 and the court resulting from the continuance, and (4) the need asserted for the

 continuance and the harm that could be suffered as a result of the court’s denial of the

 continuance.

        12.     Here, an additional 90-day continuance, if granted, would accomplish the

 purpose underlying the request for a continuance as it would allow undersigned

 counsel the time to complete their analysis of the electronic data, consult with their

 expert, and—if expert testimony is necessary, make the appropriate disclosures.

        13.     Without the exclusion of time from the speedy trial calculations, defense

 counsel will be unable to provide effective assistance of counsel and the defendant’s

 right to be effectively represented in these proceedings will be seriously damaged.

        14.     Undersigned counsel has informed Mrs. Tew of the present motion. She

 understands the impact of this request on the currently scheduled trial setting and

 related deadlines. Mrs. Tew has no objection to the requested exclusion.

                                        Conclusion

        WHEREFORE, Defendant Kimberley Tew respectfully requests that the Court

 enter an order excluding 90 days from the speedy trial calculation pursuant to 18 U.S.C.

 § 3161(h)(7) and resetting the trial and related deadlines.

        Dated: January 24, 2024.




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                                   94 of 1354




                                               Respectfully submitted,



                                               s/ David S. Kaplan
                                               David S. Kaplan
                                               Jamie Hubbard
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                                               Denver, CO 80218
                                               Phone: 720.689.8909
                                               Email: kaplan@slhlegal.com
                                               hubbard@slhlegal.com

                                               Attorneys for Kimberley Ann Tew


                         Certification of Type-Volume Limitation

        I hereby certify that the foregoing pleading complies with the type-volume
 limitation set forth in Judge Domenico’s Practice Standard III(A)(1).


                            Statement of Speedy Trial Impact

         Pursuant to Judge Domenico’s Practice Standard III(C), defense counsel notes
 this motion will impact the speedy trial calculation as it seeks an exclusion. Also, the
 filing of this motion creates an excludable period under 18 USC 3161(h)(1)(D).



                                               s/ David S. Kaplan
                                               David S. Kaplan




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                                   95 of 1354




                                     Certificate of Service

        I certify that on January 24, 2024, I electronically filed the foregoing Motion to
 Continue Trial and Motion for Ends of Justice Continuance of 90 Days with the Clerk of
 Court using the CM/ECF system which will send notification of such filing to the
 following e-mail address and all parties of record:

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 Counsel for Michael Tew


                                                s/ Brenda Rodriguez
                                                Brenda Rodriguez




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                                                                       1 of 3       pg
                                   96 of 1354




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW, and
      2. KIMBERLEY ANN TEW, a/k/a Kimberley Vertanen,

        Defendants.


                      PARTIES’ PROPOSED VERDICT FORM


        On behalf of the parties, the United States submits the attached proposed

 verdict form.



 Respectfully submitted this 24th day of January, 2024, on behalf of all parties.




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                                                                       2 of 3           pg
                                   97 of 1354




 Respectfully submitted this 24th day of January, 2024, on behalf of all the parties:


                                               COLE FINEGAN
                                               United States Attorney

  By: /s/ Bryan Fields                       By: /s/ Sarah H. Weiss
  Bryan Fields                               Sarah H. Weiss
  Assistant United States Attorney           Assistant United States Attorney
  U.S. Attorney’s Office                     U.S. Attorney’s Office
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  Bryan.Fields3@usdoj.gov                    Sarah.Weiss@usdoj.gov
  Attorney for the Government                Attorney for the Government




  By: /s/ Jason D. Schall                    By: /s/ Kristen M. Frost
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  Bowlin & Schall LLC                        Ridley, McGreevy Winocur, P.C.
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  Counsel for Defendant Michael Tew          Counsel for Defendant Michael Tew




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  David S. Kaplan                            Jamie Hubbard
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  Counsel for Defendant Kimberley Ann        Counsel for Defendant Kimberley Ann
  Tew                                        Tew




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                                   98 of 1354




                            CERTIFICATE OF SERVICE

        I hereby certify that on this 24th day of January, 2024, I electronically filed
 the foregoing with the Clerk of the Court using the CM/ECF system that will send
 notification of such filing to counsel of record in this case.




                                                s/ Sarah H. Weiss
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                                                Assistant U.S. Attorney
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                                                Denver, CO 80202
                                                Telephone 303-454-0100
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                                  99 of 1354




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW, and
      2. KIMBERLEY ANN TEW, a/k/a Kimberley Vertanen,

        Defendants.


                      PARTIES’ PROPOSED VERDICT FORM


        Please do not write anything on this form except to check a response and to

 sign and date the form.

      COUNT 1 – CONSPIRACY TO COMMIT WIRE FRAUD – MICHAEL TEW

         We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 1 of the Indictment, charging conspiracy to commit wire fraud:

                       Not Guilty

                       Guilty




                                    Page 1 of 26


                                                                                       99
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     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
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                                                       01/24/24 USDC
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                                                                       2 of 26    pg
                                  100 of 1354




            COUNT 1 – CONSPIRACY TO COMMIT WIRE FRAUD
                               – KIMBERLEY TEW


        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 1 of the Indictment, charging conspiracy to commit wire fraud:

                     Not Guilty

                     Guilty


                  COUNT 2 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 2 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                  COUNT 3 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 3 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




                                    Page 2 of 26


                                                                                       100
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                                                       01/24/24 USDC
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                                                                       3 of 26   pg
                                  101 of 1354




                  COUNT 4 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 4 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                  COUNT 5 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 5 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                  COUNT 6 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 6 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




                                    Page 3 of 26


                                                                                      101
Case No.
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                                                       01/24/24 USDC
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                                                                       4 of 26   pg
                                  102 of 1354




                  COUNT 7 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 7 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                  COUNT 8 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 8 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                  COUNT 9 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 9 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




                                    Page 4 of 26


                                                                                      102
Case No.
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                                                       01/24/24 USDC
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                                                                       5 of 26   pg
                                  103 of 1354




                 COUNT 10 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 10 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 11 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 11 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 12 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 12 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




                                    Page 5 of 26


                                                                                      103
Case No.
     Case1:20-cr-00305-DDD
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                                                                       6 of 26   pg
                                  104 of 1354




                 COUNT 13 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 13 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 14 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 14 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 15 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 15 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




                                    Page 6 of 26


                                                                                      104
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        375-1 filed
                                                 Filed
                                                    01/24/25
                                                       01/24/24 USDC
                                                                  PageColorado
                                                                       7 of 26   pg
                                  105 of 1354




                 COUNT 16 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 16 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 17 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 17 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 18 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 18 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




                                    Page 7 of 26


                                                                                      105
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        375-1 filed
                                                 Filed
                                                    01/24/25
                                                       01/24/24 USDC
                                                                  PageColorado
                                                                       8 of 26   pg
                                  106 of 1354




                 COUNT 19 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 19 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 20 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 20 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 21 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 21 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




                                    Page 8 of 26


                                                                                      106
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        375-1 filed
                                                 Filed
                                                    01/24/25
                                                       01/24/24 USDC
                                                                  PageColorado
                                                                       9 of 26    pg
                                  107 of 1354




                COUNT 21 – WIRE FRAUD – KIMBERLEY TEW

        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 21 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 22 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 22 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                COUNT 22 – WIRE FRAUD – KIMBERLEY TEW

        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 22 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




                                    Page 9 of 26


                                                                                       107
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      375-1 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                    10 of 26    pg
                                 108 of 1354




                 COUNT 23 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 23 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 24 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 24 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 25 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 25 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




                                   Page 10 of 26


                                                                                     108
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      375-1 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                    11 of 26      pg
                                 109 of 1354




                COUNT 25 – WIRE FRAUD – KIMBERLEY TEW

        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 25 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 26 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 26 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                COUNT 26 – WIRE FRAUD – KIMBERLEY TEW

        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 26 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




                                   Page 11 of 26


                                                                                       109
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      375-1 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                    12 of 26    pg
                                 110 of 1354




                 COUNT 27 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 27 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 28 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 28 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 29 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 29 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




                                   Page 12 of 26


                                                                                     110
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      375-1 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                    13 of 26      pg
                                 111 of 1354




                 COUNT 30 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 30 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 31 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 31 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                COUNT 31 – WIRE FRAUD – KIMBERLEY TEW

        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 31 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




                                   Page 13 of 26


                                                                                       111
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      375-1 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                    14 of 26      pg
                                 112 of 1354




                 COUNT 32 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 32 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                COUNT 32 – WIRE FRAUD – KIMBERLEY TEW

        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 32 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 33 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 33 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




                                   Page 14 of 26


                                                                                       112
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      375-1 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                    15 of 26    pg
                                 113 of 1354




                 COUNT 34 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 34 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 35 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 35 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 36 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 36 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




                                   Page 15 of 26


                                                                                     113
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      375-1 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                    16 of 26    pg
                                 114 of 1354




                 COUNT 37 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 37 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 38 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 38 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 39 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 39 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




                                   Page 16 of 26


                                                                                     114
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      375-1 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                    17 of 26      pg
                                 115 of 1354




                 COUNT 40 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 40 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


      COUNT 41 – CONSPIRACY TO COMMIT MONEY LAUNDERING –

                                  MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 41 of the Indictment, charging conspiracy to commit money

  laundering:

                     Not Guilty

                     Guilty


       COUNT 41 – CONSPIRACY TO COMMIT MONEY LAUNDERING
                               – KIMBERLEY TEW


        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 41 of the Indictment, charging conspiracy to commit money

  laundering:

                     Not Guilty

                     Guilty



                                   Page 17 of 26


                                                                                       115
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      375-1 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                    18 of 26      pg
                                 116 of 1354




     COUNT 42 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 42 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty


     COUNT 43 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 43 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty


    COUNT 43 – MONEY LAUNDERING (SPENDING) – KIMBERLEY TEW

        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 43 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty




                                   Page 18 of 26


                                                                                       116
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      375-1 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                    19 of 26      pg
                                 117 of 1354




     COUNT 44 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 44 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty


    COUNT 44 – MONEY LAUNDERING (SPENDING) – KIMBERLEY TEW

        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 44 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty


     COUNT 45 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 45 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty




                                   Page 19 of 26


                                                                                       117
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      375-1 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                    20 of 26      pg
                                 118 of 1354




     COUNT 46 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 46 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty


     COUNT 47 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 47 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty


    COUNT 47 – MONEY LAUNDERING (SPENDING) – KIMBERLEY TEW

        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 47 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty




                                   Page 20 of 26


                                                                                       118
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      375-1 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                    21 of 26      pg
                                 119 of 1354




     COUNT 48 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 48 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty


    COUNT 48 – MONEY LAUNDERING (SPENDING) – KIMBERLEY TEW

        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 48 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty


     COUNT 49 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 49 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty




                                   Page 21 of 26


                                                                                       119
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      375-1 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                    22 of 26    pg
                                 120 of 1354




     COUNT 50 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 50 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty


     COUNT 51 –MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 51 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty


     COUNT 52 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 52 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty




                                   Page 22 of 26


                                                                                     120
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      375-1 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                    23 of 26    pg
                                 121 of 1354




     COUNT 53 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 53 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty


     COUNT 54 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 54 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty


     COUNT 55 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 55 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty




                                   Page 23 of 26


                                                                                     121
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      375-1 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                    24 of 26           pg
                                 122 of 1354




     COUNT 56 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 56 of the Indictment, charging money laundering (spending):

                      Not Guilty

                      Guilty


    COUNT 56 – MONEY LAUNDERING (SPENDING) – KIMBERLEY TEW

        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 56 of the Indictment, charging money laundering (spending):

                      Not Guilty

                      Guilty


                    COUNT 57 – WILLFUL FAILURE TO FILE
                          TAX RETURN – MICHAEL TEW


        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 57 of the Indictment, charging willful failure to file a tax return:

                      Not Guilty

                      Guilty




                                     Page 24 of 26


                                                                                            122
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      375-1 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                    25 of 26           pg
                                 123 of 1354




                    COUNT 58 – WILLFUL FAILURE TO FILE
                          TAX RETURN – MICHAEL TEW


        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 58 of the Indictment, charging willful failure to file a tax return:

                      Not Guilty

                      Guilty


                    COUNT 59 – WILLFUL FAILURE TO FILE
                          TAX RETURN – MICHAEL TEW


        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 59 of the Indictment, charging willful failure to file a tax return:

                      Not Guilty

                      Guilty


                    COUNT 60 – WILLFUL FAILURE TO FILE
                          TAX RETURN – MICHAEL TEW


        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 60 of the Indictment, charging willful failure to file a tax return:

                      Not Guilty

                      Guilty




                                     Page 25 of 26


                                                                                            123
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      375-1 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                    26 of 26   pg
                                 124 of 1354




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 FOREPERSON



 Dated this ______th day of February, 2024.




                                    Page 26 of 26


                                                                                    124
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         376 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                   1 of 10                pg
                                  125 of 1354




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


  Case No. 1:20-cr-00305-DDD-2

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  2. KIMBERLEY ANN TEW

         Defendant.

                         Defendant Kimberley Tew’s Trial Brief


        Kimberley Tew, through attorneys David S. Kaplan and Jamie Hubbard of the

 law firm Stimson LaBranche Hubbard, LLC submit the following trial brief:

 A.     Government’s Proposed Rule 1006 Exhibits

        The Government has provided the defense with 57 pages of exhibits that it seeks

 to admit pursuant to Federal Rule of Evidence 1006. The bulk of the information

 contained in these 57 pages is not true “summary” materials; it is the Government’s

 theory of the case prepared in closing argument-style graphics. The Court should

 exclude these exhibits from trial.

        Federal Rule of Evidence 1006 permits the use of summary exhibits “to prove the

 content of voluminous writings . . . that cannot be conveniently examined in court.”

 Fed. R. Evid. 1006. Evidence is “voluminous” under Rule 1006 when comprehension

 would be “difficult” and “inconvenient” absent summarization. United States v.




                                                                                               125
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         376 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                   2 of 10                       pg
                                  126 of 1354




 Hemphill, 514 F.3d 1350, 1358 (D.C. Cir. 2008); see Daniel v. Ben E. Keith Co., 97 F.3d 1329,

 1335 (10th Cir. 1996) (“eighteen one-page” documents not voluminous); Griddine v. GP1

 KS-SB, Inc., 2019 WL 1002049, at *8 (D. Kan. Feb. 28, 2019) (223 pages not necessarily “so

 voluminous as to require a summary”).

        Summary exhibits are meant only to reflect the contents of the documents they

 summarize, not add inferences, interpretations, or argument. State Office Sys., Inc. v.

 Olivetti Corp. of Am., 762 F.2d 843, 845-46 (10th Cir. 1985) (summaries that go beyond

 “simple compilation” of records impermissible). Accordingly, summary exhibits must

 be “accurate and non-prejudicial”; nothing should be “lost in the translation” and

 information should not be “embellished” or “annotated” with the proponent’s

 inferences, “whether in the form of labels, captions, highlighting techniques, or

 otherwise.” United States v. Bray, 139 F.3d 1104, 1110-11 (6th Cir. 1998).

        The government’s proposed “summary” exhibits are not proper Rule 1006

 exhibits. While there are many documents in the case, most of the proposed “summary”

 exhibits do not purport to summarize voluminous information. Many simply

 characterize a small set of materials plucked from a non-voluminous handful of

 documents, edited and arranged to advance the government’s narrative, and overlaid

 with misleading titles and headings.

        In United States v. Penn, 20-cr-152-PAB, the Government sought to admit similar

 “summary” charts that overlaid parts of records with other graphics and explanations

 as to how the Government believed those documents were relevant to a particular


                                               2
                                                                                                      126
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         376 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                   3 of 10                    pg
                                  127 of 1354




 charge. In rejecting these exhibits, Chief Judge Brimmer held: “The exhibit does not

 summarize voluminous material, but rather consists of a small number of text

 messages. The text messages are superimposed inside of a graphic depiction of a

 cellular telephone. The photographs of these defendants are placed to the side of their

 text messages. The Court finds the exhibit, which is in the nature of a closing argument

 graphic, to be argumentative and will grant defendants’ motion [to exclude].” (Penn,

 ECF No. 741 at 6.) Chief Judge Brimmer excluded other “summaries” because they

 contained “impermissible editorializing by emphasizing certain portions of exhibits in

 large letters and overlaying exhibits on top of each other” in a manner that “goes

 beyond summarizing the underlying information to include opinion.” Id. (citing United

 States v. Miller, 2010 WL 235034, at *3 (D. Kan. Jan. 15, 2010) (“[S]ummaries shall not

 include any testimonial, interpretative, or inferential statements drawn from the content

 of the underlying documents.”)

        Similarly, in Penn, the Government sought to admit summary charts through

 testimony from case agents. Chief Judge Brimmer instructed the Government that the

 agent’s “knowledge of the documents” would “probably not [] be a permitted category

 of testimony because that’s what lawyers do in their closings. . . . That doesn’t give him

 the foundation to offer testimony or form opinions.” (Penn, ECF No. 1041, p. 170.) The

 fact that the agent had prepared the summary charts was irrelevant “because even if an

 agent put it together, once again, the agent doesn’t have any personal knowledge of it.”

 (Ex. A, Penn Transcript Day 8, p. 1626.)


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                                                     01/24/24 USDC
                                                               PageColorado
                                                                   4 of 10                   pg
                                  128 of 1354




        When the Government sought to have a paralegal testify about summary charts

 she had prepared, Chief Judge Brimmer strictly limited her testimony. The paralegal

 was not permitted to read any portion of the supporting document to the jury:

                There is no reason that [the paralegal] needs to read things.
                She simply is vouching for the accuracy of the entirety of it,
                so by bringing out particular portions of it and in particular
                hav[ing] her read it goes beyond really what her purpose of
                being called is, beyond what her duties were. She is not
                necessarily—it’s just inappropriate for this particular witness
                with no knowledge other than having confirmed things.

 (Ex. B, Penn Transcript Day 20, p. 4053.)

        It is unclear how the Government intends to introduce the proposed summary

 exhibits. The defense includes the above law and analysis to benefit the Court when

 these issues arise at trial.

 B.     The Court Should Not Allow Overview or Summary Testimony by
        Government Agents

        The Government’s witness list includes multiple federal agents that were

 involved with the investigation of this matter. The topics each agent is expected to

 address are unknown to the defense, but the defense urges the Court to reject any effort

 by the Government to have these witnesses testify in an overview or summary manner.

        Both overview and summary testimony are prone to abuse and strictly limited

 by Tenth Circuit precedent. See United States v. Brooks, 736 F.3d 921, 930 (10th Cir. 2013).

 Overview testimony from law enforcement or other government agents is generally

 “susceptible to abuse” because “it can stray into matters that are reserved for the jury,



                                              4
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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                      645-2
                                         376 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                   5 of 10                     pg
                                  129 of 1354




 such as opinions about a defendant’s guilt or a witness’s credibility.” Id. Such testimony

 is particularly problematic when the “overview witness testifies based on hearsay

 rather than on personal knowledge or when an overview witness offers an opinion on

 the defendant’s guilt.” United States v. Marquez, 898 F.3d 1036, 1051 (10th Cir. 2018); cf.

 United States v. Bader, 678 F.3d 858, 878 (10th Cir. 2012) (permitting a non-law

 enforcement witness to read from a document on the stand where the witness had

 personal knowledge of the document from which she read). “Other potential problems

 include the government’s ability (1) to spin the evidence in its favor before it is admitted

 (assuming it is ever admitted), (2) to give its official imprimatur to certain evidence, and

 (3) to allow its witnesses (usually law enforcement) to testify on matters about which

 they have no personal knowledge or that are based on hearsay.” Brooks, 736 F.3d at 930.

 “There is also the possibility that later testimony might be different than what the

 overview witness assumed,” and “overview testimony by government agents is

 especially problematic because juries may place greater weight on evidence perceived

 to have the imprimatur of the government.” Id. at 930–31 (quoting United States v. Casas,

 356 F.3d 104, 119–20 (1st Cir. 2004)).

        Because of these dangers, Tenth Circuit precedent restricts the use of overview

 testimony to certain “limited circumstances” and “courts generally allow overview

 testimony to the extent it concerns how an investigation began, the law enforcement

 agencies involved, or the investigative techniques used.” Id. at 930. Such testimony

 should be given at a “high-level of generality, focused on the investigative techniques


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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                                     01/24/24 USDC
                                                               PageColorado
                                                                   6 of 10                       pg
                                  130 of 1354




 used and the course of the investigation while only mentioning names to the extent

 necessary to explain the next course of action taken.” Id. at 934. But “the government’s

 agent should not be testifying second-hand as to the incriminating information gleaned

 during the investigation.” Id. In short, “police witnesses may not simply repeat on the

 stand what other witnesses have told them and justify the practice by arguing that the

 statements are introduced to explain how they went about their investigation.” United

 States v. Cass, 127 F.3d 1218, 1224 (10th Cir. 1997).

        Summary testimony is equally problematic. It is “conceptually similar to

 overview testimony,” except that it “comes toward the end of a case” and is “used to

 repackage complex testimony or already-admitted evidence for the jury.” Brooks, 736

 F.3d at 931. Courts “must look at two factors when determining whether to admit

 summary testimony . . . (1) the testimony’s . . . potential to aid the jury in ascertaining

 the truth; and (2) the possible prejudice that may result to the defendant in allowing

 such evidence.” Id.

        In Penn, Chief Judge Brimmer set strict boundaries on overview testimony:

 “overview testimony is just about categories of things that explain how the

 investigation . . . was initiated, but not in a lot of detail.” (Penn, ECF No. 1041, p. 165.)

 He ruled that the testimony needed to be “pretty general,” and the agent could not

 testify about “specific search warrants, specific interviews,” nor could he offer

 “inappropriate opinion testimony” on “whether there was any evidence of bid-rigging




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      Case
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            1:20-cr-00305-DDDDocument
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                                      645-2
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                                                     01/24/24 USDC
                                                               PageColorado
                                                                   7 of 10                       pg
                                  131 of 1354




 or price-fixing,” such as, “we gathered all these documents and then I drew the

 following conclusions after my preliminary review[.]” (Id. at 167, 168.)

        The Court should strictly limit overview or summary testimony by case agents.

 C.     Manner of Admission of Communications between Co-Defendants

        The Court has ruled that certain communications between the alleged co-

 conspirators are not hearsay under F.R.E. 801(d)(2)(E). While Mr. Yioulos is expected to

 testify at trial, the Government cannot compel testimony from Mr. Tew or Mrs. Tew.

 Thus, if the Government seeks to admit communications sent between the Tews, it will

 have to do so without a testifying witness who has personal knowledge of the

 communications.

        In Penn, the Government sought to introduce email and text communications

 between non-testifying co-defendants through testimony of government agents. Chief

 Judge Brimmer ruled that it would be impermissible for “a special agent who has no

 personal knowledge of . . . an e-mail . . . [to] read that to the jury.” (Ex. A, Penn Tr. Day

 8, p. 1625.) Chief Judge Brimmer also denied the government’s request that agents

 “establish relevance” of documents or communications because that would “go more

 towards attorney argument.” (Id. at 1630 (finding it unlikely that agents in this case

 “could supply some fact testimony that would bear on relevancy”).) Instead, Chief

 Judge Brimmer suggested that the government could simply display these documents

 on the screen to the jury. In doing so, he noted that, although “putting [documents] up

 on the screen” is “cumbersome,” it is a “strategic or logistical problem” that is “almost


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         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                                     01/24/24 USDC
                                                               PageColorado
                                                                   8 of 10            pg
                                  132 of 1354




 inherent with documents that are coming in without a person who has some personal

 knowledge of the document.” (Id. at 1627.) Chief Judge Brimmer also did not permit the

 government to highlight portions of the documents admitted without a sponsoring

 witness when those documents were displayed to the jury because the highlighting

 would convey which parts of the documents the government viewed as important,

 which “boils down to being argumentative.” (Id. at 1628.)

       The defense urges the Court to follow the same procedure here.

       Dated: January 24, 2024.

                                            Respectfully submitted,



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                                                     01/24/24 USDC
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                                                                   9 of 10             pg
                                  133 of 1354




                       Certification of Type-Volume Limitation

        I hereby certify that the foregoing pleading complies with the type-volume
 limitation set forth in Judge Domenico’s Practice Standard III(A)(1).


                           Statement of Speedy Trial Impact

        Pursuant to Judge Domenico’s Practice Standard III(C), defense counsel notes
 that this filing has no effect on the speedy trial clock.



                                            s/ David S. Kaplan
                                            David S. Kaplan




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                                                                   10 of 10                pg
                                  134 of 1354




                                     Certificate of Service

       I certify that on January 24, 2024, I electronically filed the foregoing Defendant
 Kimberley Tew’s Trial Brief with the Clerk of Court using the CM/ECF system which will
 send notification of such filing to the following e-mail address and all parties of record:

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                                                Brenda Rodriguez




                                              10
                                                                                                134
Case No.
      Case
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                                       645-2
                                          376-1 filed
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                                                                       Colorado
                                                                         1 of 9   pg
                                   135 of 1354                                  1391


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                             FOR THE DISTRICT OF COLORADO
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       Criminal Action No. 20-CR-00152-PAB
  3
       UNITED STATES OF AMERICA,
  4
             Plaintiff,
  5
       vs.
  6
       JAYSON JEFFREY PENN,
  7    MIKELL REEVE FRIES,
       SCOTT JAMES BRADY,
  8    ROGER BORN AUSTIN,
       TIMOTHY R. MULRENIN,
  9    WILLIAM VINCENT KANTOLA,
       JIMMIE LEE LITTLE,
 10    WILLIAM WADE LOVETTE,
       GAR BRIAN ROBERTS,
 11    RICKIE PATTERSON BLAKE,

 12        Defendants
       _______________________________________________________________
 13
                            REPORTER'S TRANSCRIPT
 14                         Trial to Jury, Vol. 8
       _______________________________________________________________
 15

 16               Proceedings before the HONORABLE PHILIP A. BRIMMER,

 17    Chief Judge, United States District Court for the District of

 18    Colorado, commencing at 8:40 a.m., on the 4th day of November,

 19    2021, in Courtroom A201, United States Courthouse, Denver,

 20    Colorado.

 21

 22

 23

 24     Proceeding Recorded by Mechanical Stenography, Transcription
         Produced via Computer by Janet M. Coppock, 901 19th Street,
 25          Room A257, Denver, Colorado, 80294, (303) 335-2106



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                                Document
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                                                                    Page
                                                                       Colorado
                                                                         2 of 9   pg
                                   136 of 1354                                  1623


  1    government insists on the scope, I will sustain the objection.

  2               We almost got through a day without the use of the

  3    transceivers, but not quite.

  4               Okay.    Thank you.

  5               THE COURT:     The objection is sustained.

  6               Ms. Rahman, we are almost at 5:00, but you can ask a

  7    few more questions.       But if you can look for a convenient

  8    stopping point.

  9               MS. RAHMAN:      Your Honor, this is a convenient stopping

 10    point.

 11               THE COURT:     Great.    Ladies and gentlemen, we will go

 12    ahead and break for the day.          Keep the admonitions in mind.

 13    Remember what I mentioned to you about not allowing yourself to

 14    listen to people and maybe telling you about the case.                I am

 15    not sure that anyone would, but just in case.              And we will be

 16    back the same time tomorrow.          If you can be ready to go at

 17    8:30.    The jury is excused for the evening.

 18               (Jury excused.)

 19               Ms. Fisher, you are excused for the day.             Thank you

 20    very much.

 21               THE WITNESS:      Thank you.

 22               THE COURT:     Anything to take up at this time?

 23               Ms. Call?

 24               MS. CALL:     Very briefly, Your Honor.         I wanted to

 25    inquire whether you had the opportunity to review the brief we



                                                                        EXHIBIT A
                                                                                       136
Case No.
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            1:20-cr-00305-DDD Document
                                Document
                                       645-2
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                                                      01/24/25
                                                          01/24/24USDC
                                                                    Page
                                                                       Colorado
                                                                         3 of 9   pg
                                   137 of 1354                                  1624


  1    filed last night following up on the anticipated agent

  2    testimony.     I think hopefully we will be calling Agent

  3    Koppenhaver tomorrow, so if you had the opportunity to consider

  4    it, we would like to discuss now or --

  5               THE COURT:     What did you want to discuss?          I was a

  6    little bit inclined to just let it play out.              I still have

  7    concerns.     I really do.     As you can tell from the Brooks

  8    decision, the Brooks decision is fairly limited.               And Chief

  9    Judge Tymkovich in it suggested that one way to get around

 10    potential risks of improper overview testimony would be to

 11    limit it to a high level of generality.

 12               And I'm not -- who knows, but I am not too worried

 13    about Special Agent Koppenhaver going through too much of an

 14    overview per se; but once again, I still question whether for a

 15    lot of the exhibits that the government may attempt to

 16    introduce he is even necessary.          It seems to me that whether or

 17    not those exhibits come in or not wouldn't depend upon any

 18    testimony on his part.

 19               But let's assume that he happens to be on the witness

 20    stand at the time that the government moves their admission

 21    and, in fact, they are admissible, to then have him read

 22    selected portions of them to the jury I would probably not

 23    allow.    The reason is because although it's true a number of

 24    witnesses have read portions of exhibits to the jury after

 25    having been admitted, with rare exceptions those witnesses have



                                                                        EXHIBIT A
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         1:20-cr-00305-DDD
            1:20-cr-00305-DDD Document
                                Document
                                       645-2
                                          376-1 filed
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                                                      01/24/25
                                                          01/24/24USDC
                                                                    Page
                                                                       Colorado
                                                                         4 of 9   pg
                                   138 of 1354                                  1625


  1    each been the author of that exhibit or perhaps they're reading

  2    something that they acknowledged having received.

  3               I think it's a little bit different to have a special

  4    agent who has no personal knowledge of, you know, for instance

  5    an e-mail, let's say it's a co-conspirator statement, read that

  6    to the jury.      Now, that's not to say that it can't be displayed

  7    to the jury and that would be fine, but I'm a little bit

  8    worried -- once again, I haven't seen it happen and so I don't

  9    know -- but I do have a few concerns about if that's going to

 10    be the kind of MO of at least some of Special Agent

 11    Koppenhaver's testimony.

 12               MS. CALL:     Yes, Your Honor.       And for the documents, I

 13    will say the ones we would anticipate to have him read, I tried

 14    to do a count last night.         It's not all of the like 300 or so

 15    documents that were cited.         It's more like -- an estimate would

 16    be maybe 70 or so that we would actually be looking at with him

 17    and looking at the From and the To and perhaps reading a

 18    portion.

 19               I think the government's position is just really we

 20    are trying to figure out what a permissible way from your

 21    standpoint would be to ensure that the jury can really digest

 22    this information, see the documents.            If they are presented

 23    with, let's say, a three-page e-mail, how are they going to --

 24    how are we even going to give them time to review it in a

 25    meaningful way in context with the other things that were



                                                                        EXHIBIT A
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            1:20-cr-00305-DDD Document
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                                                                    Page
                                                                       Colorado
                                                                         5 of 9   pg
                                   139 of 1354                                  1626


  1    happening in that time frame.          Obviously, the summary exhibit

  2    is one way to do that.        Do you take any issue with the agent

  3    reviewing the context of materials that are in the summary

  4    exhibits themselves?

  5               THE COURT:     There is really no difference between the

  6    concern that I just mentioned say with an e-mail and with a

  7    summary exhibit because even if an agent put it together, once

  8    again, the agent doesn't have any personal knowledge of it.

  9               Now, for instance, a telephone record, you know, if

 10    you've got Exhibit 8000, the 99,000-page exhibit and the

 11    special agent was asked to find the telephone number needle in

 12    that haystack, I think that that is probably quite legit.                 That

 13    sounds like an investigation.          There is some process that he

 14    had to go through to identify that and maybe link it up and

 15    that may be perfectly fine.         But for a summary exhibit of, say,

 16    co-conspirator hearsay e-mails, that is not -- that doesn't

 17    seem to be any type of an investigation.

 18               And I do have concerns just as the Court in Brooks

 19    expressed that, you know, for a special agent, for instance, to

 20    say, oh, yeah, I thought this was a real important one, or

 21    something of that nature or even, as I said before, just be

 22    asked:

 23               Do you see this one?

 24               Yes.

 25               Who is it to?



                                                                        EXHIBIT A
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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDD Document
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                                                      01/24/25
                                                          01/24/24USDC
                                                                    Page
                                                                       Colorado
                                                                         6 of 9   pg
                                   140 of 1354                                  1627


  1               So and so.

  2               Who is it from?

  3               So and so.

  4               Can you read the second sentence?

  5               That -- I don't think that just because there is not a

  6    great way to get that information in front of a jury, that that

  7    would then entitle any party to have a reader as opposed to

  8    putting it up on the screen.          Now, that's cumbersome too.

  9    There is no doubt about it.         But that -- you know, that

 10    strategic or logistical problem is one that is almost inherent

 11    with documents that are coming in without a person who has some

 12    personal knowledge of the document.

 13               MS. CALL:     And just to be clear, as thrilling as Your

 14    Honor does make it sound, I think we are anticipating that the

 15    latter kind you described, the agent would not be saying, you

 16    know, we found this e-mail to be important to the

 17    investigation, making conclusions of that kind.              It would be

 18    more so reading selected portions.

 19               And perhaps I may suggest we could start out with the

 20    reading.     And if Your Honor does see it becoming troublesome,

 21    we can change or shift course to just displaying the documents.

 22    But on that latter front, I know you were concerned about

 23    highlighting or zooming to certain areas to draw attention when

 24    a witness was testifying, but if the witness were not reading

 25    portions, would Your Honor have any issue highlighting or



                                                                        EXHIBIT A
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      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDD Document
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                                          376-1 filed
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                                                          01/24/24USDC
                                                                    Page
                                                                       Colorado
                                                                         7 of 9   pg
                                   141 of 1354                                  1628


  1    zooming in on certain portions of documents for the jurors?

  2               THE COURT:     Not when you're giving your closing.

  3    That's a problem.       Being selective about it, it's a tricky

  4    issue.    If you had a sponsoring witness, a witness with some

  5    knowledge, you could do that.          But, you know, for the attorney

  6    or for a witness who doesn't know anything about the document

  7    to be asked to read a selective portion is different and it

  8    would have no other -- the only thing I think the jury would

  9    understand from it is that the government counsel thinks that's

 10    the part that's important.         So that's not evidentiary.         That

 11    boils down to being argumentative.

 12               MS. CALL:     Okay.    Two things I perhaps did want to

 13    point you to.      I know I said we made this filing last night.

 14    It was obviously somewhere in between last night and this

 15    morning.     But when we looked at it with brighter eyes, we did

 16    notice two typos in our filing, one that I think is pretty

 17    material because there was supposed to be a "not" in the

 18    sentence and we left the "not" out.           Would Your Honor prefer us

 19    to refile it or I can just correct the sentence on the record

 20    here.

 21               THE COURT:     You can correct it on the record if you

 22    want here.

 23               MS. CALL:     This is Docket 789.       The error is on Page 4

 24    in the paragraph where Brooks is cited.            The sentence currently

 25    reads:    Even assuming the agent's testimony qualifies as



                                                                        EXHIBIT A
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      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDD Document
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                                       645-2
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                                                          01/24/24USDC
                                                                    Page
                                                                       Colorado
                                                                         8 of 9   pg
                                   142 of 1354                                  1629


  1    overview testimony, which it does not, they're anticipated

  2    testimony will implicate these concerns.             We clearly meant

  3    there to be a "not" after the will and before the term

  4    implicate.     And that is a material error I did want to correct

  5    today.

  6               So we will, I suppose, proceed tomorrow kind of in the

  7    way we outlined, but we are happy to start just leaving up

  8    documents if Your Honor believes it is starting to push that

  9    line in overview testimony, but I don't believe it does.

 10               THE COURT:     I don't think you would get by the first

 11    attempt.

 12               MS. CALL:     Okay.

 13               THE COURT:     That's just my sense.        You can try.      You

 14    can try.     It's just -- to the extent you are seeking some

 15    guidance, I think that it may be problematic for the reasons

 16    that I just explained.

 17               MS. CALL:     Of course.     And we did review Brooks, Your

 18    Honor, and we do appreciate the concerns there.

 19               THE COURT:     Right.    So once again, you do have a right

 20    to display something that has been admitted and we can do that.

 21    It's cumbersome.       And, you know, you have to -- for multi-page

 22    exhibits you look at the jury and it's kind of like the one

 23    who's -- I could maybe tell them once you've read it, look at

 24    me, and then once everyone's at me.           We can go through that and

 25    that's fine.      It doesn't mean that you have to show the jury



                                                                        EXHIBIT A
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            1:20-cr-00305-DDD Document
                                Document
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                                          376-1 filed
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                                                      01/24/25
                                                          01/24/24USDC
                                                                    Page
                                                                       Colorado
                                                                         9 of 9   pg
                                   143 of 1354                                  1630


  1    everything, but that's how it's typically done.

  2               MS. CALL:     Just anticipating how this may flow, in

  3    establishing relevance for those documents, before we move to

  4    admit them, our intention had been to -- it's very much clear

  5    on the face of most of these documents, so have the agent

  6    review a From and To.        And we may ask a leading question to

  7    prevent him from reading the context, like is a customer

  8    mentioned in this e-mail or is a competitor mentioned in this

  9    e-mail, just to establish relevance.            Does that sound like it

 10    runs any risk of these things we're talking about?

 11               THE COURT:     Yes, because, you know, typically the

 12    relevance would be established -- with a lot of these documents

 13    I would assume that the relevance may have -- may go more

 14    towards attorney argument.         You would -- if there is an

 15    objection that's irrelevant, you would have the ability to

 16    respond to it.      We've already -- we already have a foundation

 17    of certain facts.       We know what the charge is.         Those are

 18    things that typically add up to the ability of a Court to

 19    determine the relevance of it.

 20               So it would surprising to me, although once again, I

 21    don't know, that the -- that Special Agent Koppenhaver could

 22    supply some fact testimony that would bear on relevancy.

 23               MS. CALL:     Yes, Your Honor.       I think that would

 24    probably be limited circumstances and I understand what you're

 25    proposing -- or not proposing, but what you are anticipating



                                                                        EXHIBIT A
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      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDD Document
                                Document
                                       645-2
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                                                                       Colorado
                                                                         1 of 4   pg
                                   144 of 1354                                  3923


  1                      IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
  2
       Criminal Action No. 20-CR-00152-PAB
  3
       UNITED STATES OF AMERICA,
  4
             Plaintiff,
  5
       vs.
  6
       JAYSON JEFFREY PENN,
  7    MIKELL REEVE FRIES,
       SCOTT JAMES BRADY,
  8    ROGER BORN AUSTIN,
       TIMOTHY R. MULRENIN,
  9    WILLIAM VINCENT KANTOLA,
       JIMMIE LEE LITTLE,
 10    WILLIAM WADE LOVETTE,
       GAR BRIAN ROBERTS,
 11    RICKIE PATTERSON BLAKE,

 12        Defendants
       _______________________________________________________________
 13
                             REPORTER'S TRANSCRIPT
 14                         Trial to Jury, Vol. 20
       _______________________________________________________________
 15

 16               Proceedings before the HONORABLE PHILIP A. BRIMMER,

 17    Chief Judge, United States District Court for the District of

 18    Colorado, commencing at 8:01 a.m., on the 23rd day of November,

 19    2021, in Courtroom A201, United States Courthouse, Denver,

 20    Colorado.

 21

 22

 23

 24     Proceeding Recorded by Mechanical Stenography, Transcription
         Produced via Computer by Janet M. Coppock, 901 19th Street,
 25          Room A257, Denver, Colorado, 80294, (303) 335-2106



                                                                        EXHIBIT B
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                                                          01/24/24USDC
                                                                    Page
                                                                       Colorado
                                                                         2 of 4   pg
                                   145 of 1354                                  4052
                                 Rachel Evans - Direct

  1    Q.   Did you review a phone record containing a call from

  2    Defendant Bill Kantola that same afternoon -- or morning, I

  3    apologize.

  4    A.   Yes.

  5    Q.   All right.     And who was that to?

  6    A.   It was to Scott Brady, Claxton.

  7    Q.   All right.

  8                MR. FAGG:    Your Honor, may we be heard on said bar?

  9                THE COURT:    Yes, you may.

 10         (At the bench:)

 11                THE COURT:    Mr. Fagg, go ahead.

 12                MR. FAGG:    Your Honor, we object to the witness simply

 13    reading all of these e-mails into the record.              As she is

 14    reading them, she is giving the appearance to the jury it's

 15    some sort of endorsement that what they say is true and we

 16    don't think it's appropriate for this summary witness to be

 17    doing.

 18                THE COURT:    Ms. Call, response?

 19                MS. CALL:    Your Honor, Ms. Evans is simply reading

 20    portions of documents.        I have not heard her giving any

 21    inflection.     And as to the truth, I believe all she stated is

 22    she confirmed that the words in those e-mails are accurate, so

 23    I don't believe there is any sort of vouching, for lack of a

 24    better word, she is giving to words in the documents.

 25                THE COURT:    I am going to sustain the objection.



                                                                        EXHIBIT B
                                                                                       145
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDD Document
                                Document
                                       645-2
                                          376-2 filed
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                                                          01/24/24USDC
                                                                    Page
                                                                       Colorado
                                                                         3 of 4   pg
                                   146 of 1354                                  4053
                                 Rachel Evans - Direct

  1    There is no reason that she needs to read things.               She simply

  2    is vouching for the accuracy of the entirety of it, so by

  3    bringing out particular portions of it and in particular have

  4    her read it goes beyond really what her purpose of being called

  5    is, beyond what her duties were.           She is not necessarily --

  6    it's just inappropriate for this particular witness with no

  7    knowledge other than having confirmed things.              So I will

  8    sustain that.

  9               MS. CALL:     Would Your Honor find it appropriate for

 10    her to just identify that there was an e-mail at that time and

 11    then she did review phone records following a given e-mail?

 12               THE COURT:     Well, once again, given the fact that she

 13    has testified and has checked the entirety of the exhibit, to

 14    highlight particular things unless there was some --

 15    particularly, you know, for instance, with an earlier exhibit

 16    she testified about how she filled in time zone information,

 17    that type of thing, that's perfectly appropriate and there is

 18    no problem with that.        But to pick out an otherwise ordinary

 19    looking line and then have her testify about that particular

 20    line, it's emphasizing it to the jury and that's not her

 21    particular role and that's not what her assignment was.

 22               MS. CALL:     Yes, Your Honor.       And, of course, it's a

 23    little more unusual here that we will not be offering these

 24    exhibits into evidence until the defendants have an opportunity

 25    to cross-examine Ms. Evans, but I would like the jury to have



                                                                        EXHIBIT B
                                                                                       146
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDD Document
                                Document
                                       645-2
                                          376-2 filed
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                                                          01/24/24USDC
                                                                    Page
                                                                       Colorado
                                                                         4 of 4   pg
                                   147 of 1354                                  4054
                                 Rachel Evans - Direct

  1    the ability to view these summaries.            Would it be appropriate

  2    to have them do that now and, you know, have Ms. Evans sit

  3    there while they review them or should we wait until after

  4    cross-examination for that?

  5               THE COURT:     Well, I think they are being displayed to

  6    the jury right now and that can take place now.              Once again, I

  7    wouldn't want you to dwell on it, but -- and I wouldn't want to

  8    take too much time because there will be cross-examination, but

  9    just to reiterate, she can be asked about relevant aspects of

 10    them, but not ordinary entries just for what would appear to be

 11    the sake of calling it to the jury's attention.

 12               MR. TUBACH:      Your Honor, Michael Tubach.         I think if

 13    we are going to display all of these charts to the jury now,

 14    this is probably 40 pages of documents, multiple entries, this

 15    is going to take hours to do.          I don't know if that's what the

 16    government is intending to do, but I think that is not an

 17    appropriate use of this chart.

 18               THE COURT:     Maybe you can display pages you want to

 19    call her attention to because she needs to explain something.

 20    After cross-examination maybe once they have been admitted, it

 21    may be an appropriate time to let the jury view them, all

 22    right?

 23               MS. CALL:     All right.     Thank you, Your Honor.

 24         (In open court:)

 25               THE COURT:     Go ahead, Ms. Call.



                                                                        EXHIBIT B
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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
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                                                       01/24/24 USDC
                                                                  PageColorado
                                                                       1 of 4                     pg
                                  148 of 1354




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD-01

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1. MICHAEL AARON TEW,

        Defendant.



                        DEFENDANT MICHAEL TEW’S TRIAL BRIEF


        In advance of trial scheduled to begin on February 5, 2024, Defendant Michael Aaron Tew

 (“Mr. Tew”) submits this trial brief to raise certain anticipated issues to the Court’s attention.

 Should this case be continued (see Doc. 374), counsel requests the opportunity to supplement this

 brief in advance of any future trial setting.

 A.     Anticipated Evidentiary Issues Likely to Arise at Trial

        i.      Proffer Interviews (Government Exhibits 528 and 529).

        As discussed at length in Mr. Tew’s Motion in Limine, Doc. 370, and Mrs. Kimberley

 Tew’s (“Mrs. Tew”) Motion in Limine, Doc. 373, the interpretation and application of certain

 proffer agreements stands to dramatically impact each defendant’s ability to present a defense. Mr.

 Tew asks the Court for a pre-trial ruling regarding the breadth of those agreements and joins in

 Mrs. Tew’s request for a pre-trial hearing on the issue.

        ii.     Government’s Proposed Rule 1006 Summary Exhibits and Supporting Testimony

        The government has stated its intent to offer certain summary exhibits (and presumably

 testimony supporting their creation), including but not limited to, those marked as Government’s




                                                                                                       148
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                          377 filed
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                                                     01/24/25
                                                       01/24/24 USDC
                                                                  PageColorado
                                                                       2 of 4                        pg
                                  149 of 1354




 Exhibits 1001 through 1007, under Federal Rule of Evidence 1006. Mrs. Tew discusses this issue

 at length in her own Trial Brief, Doc. 376. Mr. Tew hereby adopts by reference the arguments

 made therein and asks the Court to proceed with caution when considering the admission of such

 exhibits, asking that even if each fact summarized therein has been independently admitted into

 evidence, whether such summary’s prejudicial impact exceeds their probative value.

 B.     Presenting the Indictment to the Jury and/or Venire.

        The Indictment, Doc. 83, is long – sixty counts, covering 24 pages that include numerous

 tables. While most of the Indictment is straight forward, the government makes frequent use of the

 word “fraudulent” to describe invoices and payments submitted as part of the alleged scheme to

 commit wire fraud. This begs the very conclusions for which trial is set – whether fraud occurred,

 for starters. Such short cuts only serve to inflame the jury. See, e.g., United States v. Rodriguez,

 192 F.3d 946, 951 (10th Cir. 1999) (“Evidence is unfairly prejudicial if it makes a conviction more

 likely because it provokes an emotional response in the jury or otherwise tends to affect adversely

 the jury's attitude toward the defendant wholly apart from its judgment as to his guilt or innocence

 of the crime charged.”). By way of analogy, if the government questioned a witness in this manner,

 it would be impermissible vouching.

        Federal Rule of Criminal Procedure 7(d) provides that, upon motion by a defendant, “the

 court may strike surplusage from the indictment or information.” Fed. R. Crim. Pro. 7(d). See, e.g,

 United States v. Scott, 37 F.2d 1564, 1576. Mr. Tew moves to strike the word “fraudulent” as

 surplusage any time it is used in the Indictment to describe an invoice or payment.

        Should the Court deny this request, Mr. Tew asks that the government be restricted from

 providing written copies of the Indictment to the jury, and instead read it out loud (to the jury or

 entire venire) at the outset of the proceedings. Such a decision is within the sound discretion of the



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                                                                                                          149
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
                                      645-2
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                                                     01/24/25
                                                       01/24/24 USDC
                                                                  PageColorado
                                                                       3 of 4                        pg
                                  150 of 1354




 Court. United States v. Skolek, 474 F.2d 582, 586 (10th Cir. 1973).

         DATED this 24th day of January, 2024.

                                                      /s/ Jason D. Schall
                                                 Jason D. Schall
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                                                 E-mail: frost@ridleylaw.com

                                                 Attorneys for Michael Aaron Tew




                               CERTIFICATE OF CONFORMITY

         I hereby certify that the foregoing pleading complies with the type-volume limitation set

 forth in Judge Domenico’s Practice Standard III(A)(1).

                                                     /s/ Jason D. Schall
                                                 Jason D. Schall



                          STATEMENT OF SPEEDY TRIAL IMPACT

         Pursuant to Judge Domenico’s Practice Standard III(C), undersigned counsel notes that

 this filing has no effect on the speedy trial clock.

                                                     /s/ Jason D. Schall
                                                 Jason D. Schall



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            1:20-cr-00305-DDDDocument
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                                                                  PageColorado
                                                                       4 of 4                     pg
                                  151 of 1354




                                  CERTIFICATE OF SERVICE

        I hereby certify that on January 24, 2024, I electronically filed the foregoing with

 the Clerk of Court using the CM/ECF system which will send notification of such filing to

 the following:

 AUSA Bryan Fields                                              David Kaplan / Jamie Hubbard
 U.S. Attorney’s Office                                         Stimson LaBranche Hubbard, LLC
 1801 California Street, Suite 1600                             1652 North Downing Street
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 Bryan.Fields3@usdoj.gov                                        kaplan@slhlegal.com
                                                                hubbard@slhlegal.com
                                                                Attorneys for Kimberley Ann Tew

        I hereby certify that I will mail or serve the filing to the following participants:

                  Mr. Michael Aaron Tew (defendant)


                                                    /s/ Jason D. Schall
                                                Jason D. Schall




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Case No.
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            1:20-cr-00305-DDDDocument
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                                                     01/24/25
                                                       01/24/24 USDC
                                                                  PageColorado
                                                                       1 of 6          pg
                                  152 of 1354




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW, and
      2. KIMBERLEY ANN TEW, a/k/a Kimberley Vertanen,

        Defendants.


         GOVERNMENT’S LIST OF 902(11) & 902(13) DECLARATIONS


        Pursuant to the Court’s Orders on the government’s Motion in Limine; Atlantic

 Unions Motion to Quash, and the Government’s Response to the same (ECF Nos. 367,

 344, 363, and 367, respectively), the government provides the following list of all

 custodial declaration, pursuant to Fed. Rs. Evid. 902(11) and 902(13), that it intends

 to use to authenticate trial exhibits of non-hearsay business records.

        The proposed declarations are attached (in the cumulative), as Exhibit 1 to this

 filing.1 The most recent version of the government’s anticipated Exhibit List for trial

 is attached as Exhibit 2 to this filing.2




 1     Certain certifications have been redacted for public filing when they mention
 private, identifying information regarding individuals who are not on trial. The
 defense has received unredacted versions, which will be used at trial.
 2     A final version of the government’s Exhibit List will be filed on Friday, January
 26, 2024. See ECF Nos. 241 & 317 (Orders setting pretrial and motions deadlines).
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                                                                                            152
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                      645-2
                                          378 filed
                                                 Filed
                                                     01/24/25
                                                       01/24/24 USDC
                                                                  PageColorado
                                                                       2 of 6       pg
                                  153 of 1354




          Custodian Name3       Exhibit Nos. &               Type of Record
                                Corresponding Bates
                                No.

     1.   Access National       ** 1135 (ACNB_00001)         Bank Records
          Bank**

     2.   American              * 1129 (AMEX_00001)          Account Records
          Express*

     3.   Apple                 1115 (SW_FIL_342321-22)      Subscriber
                                                             Information & Other
                                1140 (ORD_15053-54)
                                                             Messaging-Service
                                                             Related Records

     4.   ANB Bank              1101 (ANB_00002)             Bank Records
                                1102 (ANB_00035)

     5.   Atlantic Union        1100 (ACNB_00101)            Bank Records
          Bank

     6.   AT&T                  1127 (ORD_20003-04)          Subscriber
                                                             Information & Other
                                                             Messaging-Service
                                                             Related Records

     7.   BBVA                  1103 (BBVA_00002)            Bank Records
                                1104 (BBVA_00280)

     8.   Coinbase**            ** 1136 (COIN_00076)         Account Records
                                ** 1137 (COIN_00077)
                                ** 1138 (COIN_00078)

     9.   GoDaddy               1108 (ORD_19742)             Account Records




 3     Custodians marked with a star provided declarations subsequent to the James
 Hearing. Custodians marked with two stars provided declarations subsequent to the
 Court’s Order on January 19, 2014 (ECF No. 367), or were inadvertently left off of
 the previous lists. All declarations have been provided to the defense in discovery.
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Case No.
      Case
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            1:20-cr-00305-DDDDocument
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                                          378 filed
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                                                     01/24/25
                                                       01/24/24 USDC
                                                                  PageColorado
                                                                       3 of 6    pg
                                  154 of 1354




           Custodian Name3      Exhibit Nos. &             Type of Record
                                Corresponding Bates
                                No.

     10.   Google**             1109 (ORD_17711)           Subscriber
                                1114 (SW_FIL_00094-99)     Information & Other
                                                           Messaging-Service
                                1116 (SW_FIL_11402-07)     Related Records
                                1117 (SW_FIL_11557-61)
                                1122 (ORD_19955-61)
                                1123 (ORD_19962-76)
                                1124 (ORD_19977-91)
                                1125 (ORD_19992-96)
                                1126 (ORD_19997-20002)
                                ** 1141     (GPAY_00097-
                                00106)

     11.   Guaranty Bank &      1105 (GUAR_00001)          Bank Records
           Trust Company

     12.   Kraken               1106 (KRKN_00001)          Know Your Customer,
                                                           Account, &
                                                           Transaction Records

     13.   McDonald             1131 (AUDI_00042)          Account &
           Automotive                                      Transaction Records
           Group (Audi)*

     14.   National Air**       1130 (NAC_E_204515-16)     Email Records &
           Cargo                1134 (NAC_00978-79)        Business Records

     15.   Navy Federal         1107 (NAVY_00002-03)       Bank Records
           Credit Union**       1128 (NAVY_02211-12)
                                ** 1139 (NAVY_02217)

     16.   Red Leaf (Digital    ** 1132 (DGMT_00001)
           Mint)**              ** 1133 (DGMT_00814)

     17.   Regions Bank         1111 (REG_00001)           Bank Records



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                                                                                      154
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                      645-2
                                          378 filed
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                                                                  PageColorado
                                                                       4 of 6      pg
                                  155 of 1354




           Custodian Name3      Exhibit Nos. &               Type of Record
                                Corresponding Bates
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     18.   Simple Finance       1112 (SFT_00001)             Account Records
           Technology Corp.

     19.   Signature Bank       1113 (SIG_0678)              Bank Records

     20.   Vcorp                1118 (VCORP_00001)           Account Records &
                                                             Emails

     21.   Verizon              1110 (ORD_19935)             Subscriber
                                                             Information & Other
                                                             Messaging-Service
                                                             Related Records

     22.   Wells Fargo Bank     1119 (WFB_00144-46)          Bank Records
                                1120 (WFB_01054-58)

     23.   Wynn Las Vegas       1121 (WYNN_00002)            Account & Business
                                                             Records



                                      COLE FINEGAN
                                      United States Attorney

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                                                                  PageColorado
                                                                       5 of 6             pg
                                  156 of 1354




 Certification of Type-Volume Limitation

        I hereby certify that the foregoing pleading complies with the type-volume
 limitation set forth in Judge Domenico’s Practice Standard III(A)(1).

                                                        /s/ Sarah H. Weiss
                                                        Sarah H. Weiss



 Statement of Speedy Trial Impact

         Pursuant to Judge Domenico’s Practice Standard III(C), the government notes
 that this filing will not affect the speedy trial clock in this case because any resolution
 of it will be within the already-granted ends-of-justice continuances granted on March
 17, 2023. ECF Nos. 317 and 318.

                                                        /s/ Sarah H. Weiss
                                                        Sarah H. Weiss




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Case No.
      Case
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                                                                       6 of 6             pg
                                  157 of 1354




                            CERTIFICATE OF SERVICE

        I hereby certify that on this 24th day of January, 2024, I electronically filed
 the foregoing with the Clerk of the Court using the CM/ECF system that will send
 notification of such filing to counsel of record in this case.




                                                s/ Sarah H. Weiss
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                                                Telephone 303-454-0100
                                                Facsimile 303-454-0402
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                                                               PageColorado
                                                                    1 of 121   pg
                                 158 of 1354




                                                                                    158
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     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
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                                                     01/24/24 USDC
                                                               PageColorado
                                                                    2 of 121   pg
                                 159 of 1354




                                                                                    159
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     No. 1:20-cr-00305-DDD
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                                      378-1 filed
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                                                     01/24/24 USDC
                                                               PageColorado
                                                                    3 of 121   pg
                                 160 of 1354




                                                                                    160
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      378-1 filed
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                                                     01/24/24 USDC
                                                               PageColorado
                                                                    4 of 121   pg
                                 161 of 1354




                                                                                    161
Case Case
     No. 1:20-cr-00305-DDD
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                             Document645-2
                                      378-1 filed
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                                                     01/24/24 USDC
                                                               PageColorado
                                                                    5 of 121   pg
                                 162 of 1354




                                                                                    162
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     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
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                                      378-1 filed
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                                                     01/24/24 USDC
                                                               PageColorado
                                                                    6 of 121   pg
                                 163 of 1354




                                                                                    163
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     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      378-1 filed
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                                                     01/24/24 USDC
                                                               PageColorado
                                                                    7 of 121   pg
                                 164 of 1354




                                                                                    164
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      378-1 filed
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                                                     01/24/24 USDC
                                                               PageColorado
                                                                    8 of 121   pg
                                 165 of 1354




                                                                                    165
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      378-1 filed
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                                                     01/24/24 USDC
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                                                                    9 of 121   pg
                                 166 of 1354




                                                                                    166
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     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
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                                                                    10 of 121   pg
                                   167 of 1354




                                                                                     167
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                                                               Page Colorado
                                                                    11 of 121   pg
                                   168 of 1354




                                                                                     168
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    12 of 121   pg
                                   169 of 1354




                                                                                     169
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    13 of 121   pg
                                   170 of 1354




                                                                                     170
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    14 of 121   pg
                                   171 of 1354




                                                                                     171
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    15 of 121   pg
                                   172 of 1354




                                                                                     172
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    16 of 121   pg
                                   173 of 1354




                                                                                     173
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    17 of 121   pg
                                   174 of 1354




                                                                                     174
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    18 of 121   pg
                                   175 of 1354




                                                                                     175
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    19 of 121   pg
                                   176 of 1354




                                                                                     176
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    20 of 121   pg
                                   177 of 1354




                                                                                     177
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    21 of 121   pg
                                   178 of 1354




                                                                                     178
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    22 of 121   pg
                                   179 of 1354




                                                                                     179
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    23 of 121   pg
                                   180 of 1354




                                                                                     180
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    24 of 121   pg
                                   181 of 1354




                                                                                     181
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    25 of 121   pg
                                   182 of 1354




                                                                                     182
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    26 of 121   pg
                                   183 of 1354




                                                                                     183
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    27 of 121   pg
                                   184 of 1354




                                                                                     184
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    28 of 121   pg
                                   185 of 1354




                                                                                     185
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    29 of 121   pg
                                   186 of 1354




                                                                                     186
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    30 of 121   pg
                                   187 of 1354




                                                                                     187
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    31 of 121   pg
                                   188 of 1354




                                                                                     188
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    32 of 121   pg
                                   189 of 1354




                                                                                     189
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    33 of 121   pg
                                   190 of 1354




                                                                                     190
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    34 of 121   pg
                                   191 of 1354




                                                                                     191
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    35 of 121   pg
                                   192 of 1354




                                                                                     192
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    36 of 121   pg
                                   193 of 1354




                                                                                     193
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    37 of 121   pg
                                   194 of 1354




                                                                                     194
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    38 of 121   pg
                                   195 of 1354




                                                                                     195
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    39 of 121   pg
                                   196 of 1354




                                                                                     196
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    40 of 121   pg
                                   197 of 1354




                                                                                     197
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    41 of 121   pg
                                   198 of 1354




                                                                                     198
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    42 of 121   pg
                                   199 of 1354




                                                                                     199
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    43 of 121   pg
                                   200 of 1354




                                                                                     200
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    44 of 121   pg
                                   201 of 1354




                                                                                     201
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    45 of 121   pg
                                   202 of 1354




                                                                                     202
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    46 of 121   pg
                                   203 of 1354




                                                                                     203
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    47 of 121   pg
                                   204 of 1354




                                                                                     204
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    48 of 121   pg
                                   205 of 1354




                                                                                     205
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    49 of 121   pg
                                   206 of 1354




                                                                                     206
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    50 of 121   pg
                                   207 of 1354




                                                                                     207
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    51 of 121   pg
                                   208 of 1354




                                                                                     208
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    52 of 121   pg
                                   209 of 1354




                                                                                     209
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    53 of 121   pg
                                   210 of 1354




                                                                                     210
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    54 of 121   pg
                                   211 of 1354




                                                                                     211
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    55 of 121   pg
                                   212 of 1354




                                                                                     212
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    56 of 121   pg
                                   213 of 1354




                                                                                     213
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    57 of 121   pg
                                   214 of 1354




                                                                                     214
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    58 of 121   pg
                                   215 of 1354




                                                                                     215
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    59 of 121   pg
                                   216 of 1354




                                                                                     216
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    60 of 121   pg
                                   217 of 1354




                                                                                     217
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    61 of 121   pg
                                   218 of 1354




                                                                                     218
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    62 of 121   pg
                                   219 of 1354




                                                                                     219
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    63 of 121   pg
                                   220 of 1354




                                                                                     220
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    64 of 121   pg
                                   221 of 1354




                                                                                     221
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    65 of 121   pg
                                   222 of 1354




                                                                                     222
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    66 of 121   pg
                                   223 of 1354




                                                                                     223
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    67 of 121   pg
                                   224 of 1354




                                                                                     224
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    68 of 121   pg
                                   225 of 1354




                                                                                     225
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    69 of 121   pg
                                   226 of 1354




                                                                                     226
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    70 of 121   pg
                                   227 of 1354




                                                                                     227
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    71 of 121   pg
                                   228 of 1354




                                                                                     228
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    72 of 121   pg
                                   229 of 1354




                                                                                     229
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    73 of 121   pg
                                   230 of 1354




                                                                                     230
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    74 of 121   pg
                                   231 of 1354




                                                                                     231
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    75 of 121   pg
                                   232 of 1354




                                                                                     232
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    76 of 121   pg
                                   233 of 1354




                                                                                     233
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    77 of 121   pg
                                   234 of 1354




                                                                                     234
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    78 of 121   pg
                                   235 of 1354




                                                                                     235
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    79 of 121   pg
                                   236 of 1354




                                                                                     236
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    80 of 121   pg
                                   237 of 1354




                                                                                     237
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    81 of 121   pg
                                   238 of 1354




                                                                                     238
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    82 of 121   pg
                                   239 of 1354




                                                                                     239
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    83 of 121   pg
                                   240 of 1354




                                                                                     240
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    84 of 121   pg
                                   241 of 1354




                                                                                     241
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    85 of 121   pg
                                   242 of 1354




                                                                                     242
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    86 of 121   pg
                                   243 of 1354




                                                                                     243
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    87 of 121   pg
                                   244 of 1354




                                                                                     244
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    88 of 121   pg
                                   245 of 1354




                                                                                     245
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    89 of 121   pg
                                   246 of 1354




                                                                                     246
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    90 of 121   pg
                                   247 of 1354




                                                                                     247
CaseCase
     No. 1:20-cr-00305-DDD
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                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    91 of 121   pg
                                   248 of 1354




                                                                                     248
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    92 of 121   pg
                                   249 of 1354




                                                                                     249
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    93 of 121   pg
                                   250 of 1354




                                                                                     250
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
                                               Filed01/24/25
                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    94 of 121   pg
                                   251 of 1354




                                                                                     251
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
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                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    95 of 121   pg
                                   252 of 1354




                                                                                     252
CaseCase
     No. 1:20-cr-00305-DDD
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                              Document645-2
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                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    96 of 121   pg
                                   253 of 1354




                                                                                     253
CaseCase
     No. 1:20-cr-00305-DDD
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                              Document645-2
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                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    97 of 121   pg
                                   254 of 1354




                                                                                     254
CaseCase
     No. 1:20-cr-00305-DDD
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                              Document645-2
                                       378-1 filed
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                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    98 of 121   pg
                                   255 of 1354




                                                                                     255
CaseCase
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD   Document
                              Document645-2
                                       378-1 filed
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                                                     01/24/24 USDC
                                                               Page Colorado
                                                                    99 of 121   pg
                                   256 of 1354




                                                                                     256
CaseCase
     No. 1:20-cr-00305-DDD   Document 645-2
                                      378-1 filed
                                              Filed01/24/25
                                                    01/24/24 USDC
                                                              Page 100
                                                                   Colorado
                                                                       of 121 pg
                                  257 of 1354




                                                                                   257
CaseCase
     No. 1:20-cr-00305-DDD   Document 645-2
                                      378-1 filed
                                              Filed01/24/25
                                                    01/24/24 USDC
                                                              Page 101
                                                                   Colorado
                                                                       of 121 pg
                                  258 of 1354




                                                                                   258
CaseCase
     No. 1:20-cr-00305-DDD   Document 645-2
                                      378-1 filed
                                              Filed01/24/25
                                                    01/24/24 USDC
                                                              Page 102
                                                                   Colorado
                                                                       of 121 pg
                                  259 of 1354




                                                                                   259
CaseCase
     No. 1:20-cr-00305-DDD   Document 645-2
                                      378-1 filed
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                                                    01/24/24 USDC
                                                              Page 103
                                                                   Colorado
                                                                       of 121 pg
                                  260 of 1354




                                                                                   260
CaseCase
     No. 1:20-cr-00305-DDD   Document 645-2
                                      378-1 filed
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                                                    01/24/24 USDC
                                                              Page 104
                                                                   Colorado
                                                                       of 121 pg
                                  261 of 1354




                                                                                   261
CaseCase
     No. 1:20-cr-00305-DDD   Document 645-2
                                      378-1 filed
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                                                    01/24/24 USDC
                                                              Page 105
                                                                   Colorado
                                                                       of 121 pg
                                  262 of 1354




                                                                                   262
CaseCase
     No. 1:20-cr-00305-DDD   Document 645-2
                                      378-1 filed
                                              Filed01/24/25
                                                    01/24/24 USDC
                                                              Page 106
                                                                   Colorado
                                                                       of 121 pg
                                  263 of 1354




                                                                                   263
CaseCase
     No. 1:20-cr-00305-DDD   Document 645-2
                                      378-1 filed
                                              Filed01/24/25
                                                    01/24/24 USDC
                                                              Page 107
                                                                   Colorado
                                                                       of 121 pg
                                  264 of 1354




                                                                                   264
CaseCase
     No. 1:20-cr-00305-DDD   Document 645-2
                                      378-1 filed
                                              Filed01/24/25
                                                    01/24/24 USDC
                                                              Page 108
                                                                   Colorado
                                                                       of 121 pg
                                  265 of 1354




                                                                                   265
CaseCase
     No. 1:20-cr-00305-DDD   Document 645-2
                                      378-1 filed
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                                                    01/24/24 USDC
                                                              Page 109
                                                                   Colorado
                                                                       of 121 pg
                                  266 of 1354




                                                                                   266
CaseCase
     No. 1:20-cr-00305-DDD   Document 645-2
                                      378-1 filed
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                                                    01/24/24 USDC
                                                              Page 110
                                                                   Colorado
                                                                       of 121 pg
                                  267 of 1354




                                                                                   267
CaseCase
     No. 1:20-cr-00305-DDD   Document 645-2
                                      378-1 filed
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                                                    01/24/24 USDC
                                                              Page 111
                                                                   Colorado
                                                                       of 121 pg
                                  268 of 1354




                                                                                   268
CaseCase
     No. 1:20-cr-00305-DDD   Document 645-2
                                      378-1 filed
                                              Filed01/24/25
                                                    01/24/24 USDC
                                                              Page 112
                                                                   Colorado
                                                                       of 121 pg
                                  269 of 1354




                                                                                   269
CaseCase
     No. 1:20-cr-00305-DDD   Document 645-2
                                      378-1 filed
                                              Filed01/24/25
                                                    01/24/24 USDC
                                                              Page 113
                                                                   Colorado
                                                                       of 121 pg
                                  270 of 1354




                                                                                   270
CaseCase
     No. 1:20-cr-00305-DDD   Document 645-2
                                      378-1 filed
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                                                    01/24/24 USDC
                                                              Page 114
                                                                   Colorado
                                                                       of 121 pg
                                  271 of 1354




                                                                                   271
CaseCase
     No. 1:20-cr-00305-DDD   Document 645-2
                                      378-1 filed
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                                                    01/24/24 USDC
                                                              Page 115
                                                                   Colorado
                                                                       of 121 pg
                                  272 of 1354




                                                                                   272
CaseCase
     No. 1:20-cr-00305-DDD   Document 645-2
                                      378-1 filed
                                              Filed01/24/25
                                                    01/24/24 USDC
                                                              Page 116
                                                                   Colorado
                                                                       of 121 pg
                                  273 of 1354




                                                                                   273
CaseCase
     No. 1:20-cr-00305-DDD   Document 645-2
                                      378-1 filed
                                              Filed01/24/25
                                                    01/24/24 USDC
                                                              Page 117
                                                                   Colorado
                                                                       of 121 pg
                                  274 of 1354




                                                                                   274
CaseCase
     No. 1:20-cr-00305-DDD   Document 645-2
                                      378-1 filed
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                                                    01/24/24 USDC
                                                              Page 118
                                                                   Colorado
                                                                       of 121 pg
                                  275 of 1354




                                                                                   275
CaseCase
     No. 1:20-cr-00305-DDD   Document 645-2
                                      378-1 filed
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                                                    01/24/24 USDC
                                                              Page 119
                                                                   Colorado
                                                                       of 121 pg
                                  276 of 1354




                                                                                   276
CaseCase
     No. 1:20-cr-00305-DDD   Document 645-2
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                                                    01/24/24 USDC
                                                              Page 120
                                                                   Colorado
                                                                       of 121 pg
                                  277 of 1354




                                                                                   277
CaseCase
     No. 1:20-cr-00305-DDD   Document 645-2
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                                                    01/24/24 USDC
                                                              Page 121
                                                                   Colorado
                                                                       of 121 pg
                                  278 of 1354




                                                                                   278
                                                     Case No.
                                                          Case1:20-cr-00305-DDD
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                                                                                   Document645-2
                                                                                             378-2 filed
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                                                                                                                            1 of 17                                             pg
                                                                                       279 of 1354
                                                                                                                                                                                                        Printed 1/24/2024 at 10:31 PM




                                                                               IN THE UNITED STATES DISTRICT COURT
                                                                                  FOR THE DISTRICT OF COLORADO
                                                                                       Judge Daniel D. Domenico
Case No. 20-cr-00305-DDD

Case Title: United States of America v. Tew et al.


                                                                            GOVERNMENT’S PRELIMINARY EXHIBIT LIST

          Exhibit                                                                             Brief Description                                  BEG Bates #      END Bates #                  902 Declaration
              1               INTENTIONALLY LEFT BLANK
              2               Signature Bank Statement re Account x5529 National Air Cargo Holdings, statement period 08.01.2018-08.31.2018   SIG_00000005     SIG_00000011     SIG_00006978
              3               Signature Bank Statement re Account x5529 National Air Cargo Holdings, statement period 10.01.2018-10.31.2018   SIG_00000018     SIG_00000023     SIG_00006978
              4               INTENTIONALLY LEFT BLANK
              5               Signature Bank Statement re Account x5529 National Air Cargo Holdings, statement period 11.01.2018-11.30.2018   SIG_00000024     SIG_00000029     SIG_00006978
              6               INTENTIONALLY LEFT BLANK
              7               Signature Bank Statement re Account x5529 National Air Cargo Holdings, statement period 12.01.2018-12.31.2018   SIG_00000030     SIG_00000035     SIG_00006978
              8               Signature Bank ACH Transaction re $15,250 to [PM], dated 02.07.2019                                             NAC_00000303                      NAC_00000978-NAC_00000979
              9               Signature Bank ACH Transaction re $15,250 to [PM], dated 02.19.2019                                             NAC_00000304                      NAC_00000978-NAC_00000979
             10               Signature Bank ACH Transaction re $38,000 to [PM], dated 03.28.2019                                             NAC_00000309                      NAC_00000978-NAC_00000979
             11               Signature Bank ACH Transaction re $11,250 to [PM], dated 04.03.2019                                             NAC_00000310                      NAC_00000978-NAC_00000979
             12               Signature Bank ACH Transaction re $45,000 to Global Fuel Logistics, dated 07.23.2019                            NAC_00000157                      NAC_00000978-NAC_00000979
             13               Signature Bank ACH Transaction re $31,500 to SHI LLC, dated 08.06.2019                                          NAC_00000161                      NAC_00000978-NAC_00000979
             14               Signature Bank ACH Transaction re $9,500 to Global Fuel Logistics, dated 08.19.2019                             NAC_00000165                      NAC_00000978-NAC_00000979
             15               Signature Bank ACH Transaction re $28,000 to SHI LLC, dated 08.21.2019                                          NAC_00000166                      NAC_00000978-NAC_00000979
             16               Signature Bank ACH Transaction re $45,000 to Global Fuel Logistics, dated 09.03.2019                            NAC_00000169                      NAC_00000978-NAC_00000979
             17               Signature Bank ACH Transaction re $18,000 to SHI LLC, dated 09.09.2019                                          NAC_00000191                      NAC_00000978-NAC_00000979
             18               Signature Bank ACH Transaction re $33,500 to SHI LLC, dated 09.17.2019                                          NAC_00000195                      NAC_00000978-NAC_00000979
             19               Signature Bank ACH Transaction re $52,750 to SHI LLC, dated 09.25.2019                                          NAC_00000197                      NAC_00000978-NAC_00000979
             20               Signature Bank ACH Transaction re $75,000 to Global Fuel Logistics, dated 10.16.2019                            NAC_00000201                      NAC_00000978-NAC_00000979
             21               Signature Bank ACH Transaction re $43,000 to Global Fuel Logistics, dated 10.24.2019                            NAC_00000203                      NAC_00000978-NAC_00000979
             22               Signature Bank ACH Transaction re $49,750 to SHI LLC, dated 10.31.2019                                          NAC_00000205                      NAC_00000978-NAC_00000979
             23               Signature Bank ACH Transaction re $40,500 to SHI LLC, dated 11.07.2019                                          NAC_00000206                      NAC_00000978-NAC_00000979
             24               Signature Bank ACH Transaction re $43,250 to Global Fuel Logistics, dated 11.25.2019                            NAC_00000209                      NAC_00000978-NAC_00000979
             25               Signature Bank ACH Transaction re $9,550 to Global Fuel Logistics, dated 12.02.2019                             NAC_00000211                      NAC_00000978-NAC_00000979
             26               Signature Bank ACH Transaction re $24,500 to Global Fuel Logistics, dated 12.11.2019                            NAC_00000214                      NAC_00000978-NAC_00000979
             27               Signature Bank ACH Transaction re $15,200 to Global Fuel Logistics, dated 12.23.2019                            NAC_00000437                      NAC_00000978-NAC_00000979
             28               Signature Bank ACH Transaction re $33,000 to Global Fuel Logistics, dated 02.11.2020                            NAC_00000442                      NAC_00000978-NAC_00000979
             29               Signature Bank ACH Transaction re $95,000 to Global Fuel Logistics, dated 02.19.2020                            NAC_00000444                      NAC_00000978-NAC_00000979
             30               Signature Bank ACH Transaction re $36,555 to Global Fuel Logistics, dated 03.02.2020                            NAC_00000447                      NAC_00000978-NAC_00000979
             31               Signature Bank ACH Transaction re $35,000 to Global Fuel Logistics, dated 03.09.2020                            NAC_00000449                      NAC_00000978-NAC_00000979
             32               Signature Bank ACH Transaction re $22,5000 to Global Fuel Logistics, dated 03.19.2020                           NAC_00000452                      NAC_00000978-NAC_00000979
             33               Signature Bank ACH Transaction re $73,460 to Global Fuel Logistics, dated 03.31.2020                            NAC_00000402                      NAC_00000978-NAC_00000979
             34               Signature Bank ACH Transaction re $36,925 to Global Fuel Logistics, dated 04.06.2020                            NAC_00000456                      NAC_00000978-NAC_00000979
             35               Signature Bank ACH Transaction re $68,255 to Global Fuel Logistics, dated 04.15.2020                            NAC_00000170                      NAC_00000978-NAC_00000979
             36               Signature Bank ACH Transaction re $46,850 to Global Fuel Logistics, dated 04.27.2020                            NAC_00000172                      NAC_00000978-NAC_00000979
             37               Signature Bank ACH Transaction re $85,325 to Global Fuel Logistics, dated 05.05.2020                            NAC_00000459                      NAC_00000978-NAC_00000979
             38               Signature Bank ACH Transaction re $82,422 to Global Fuel Logistics, dated 05.12.2020                            NAC_00000174                      NAC_00000978-NAC_00000979
             39               Signature Bank ACH Transaction re $78,565 to Global Fuel Logistics, dated 05.20.2020                            NAC_00000176                      NAC_00000978-NAC_00000979
             40               Signature Bank ACH Transaction re $95,000 to Global Fuel Logistics, dated 07.02.2020                            NAC_00000537                      NAC_00000978-NAC_00000979
             41               INTENTIONALLY LEFT BLANK
                                                                                                                                                                                NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                NAVY_00002211-NAVY_00002212;
             42               Navy Federal Credit Union Transaction Log Summary re Acct x8486 $15,000 withdrawal, dated 06.04.2019            NAVY_00000392                     NAVY_00002217
                                                                                                                                                                                NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                NAVY_00002211-NAVY_00002212;
             43               Navy Federal Credit Union Transaction Log Summary re Acct x8486 $15,000 withdrawal, dated 06.11.2019            NAVY_00000394                     NAVY_00002217
                                                                                                                                                                                WFB_00000144-WFB_00000146;
             44               Wells Fargo Bank withdrawal Slip re Acct x6934 $22,000 withdrawal, dated 08.28.2019                             WFB_00000183                      WFB_00001054-WFB_00001058
                                                                                                                                                                                WFB_00000144-WFB_00000146;
             45               Wells Fargo Bank withdrawal Slip re Acct x2064 $25,000 withdrawal, dated 08.29.2019                             WFB_00000155                      WFB_00001054-WFB_00001058


                                                                                                                                                                                                                              1 of 17
                                                                                                                                                                                                                          279
                               Case No.
                                    Case1:20-cr-00305-DDD
                                          1:20-cr-00305-DDD Document
                                                             Document645-2
                                                                       378-2 filed
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                                                                                      01/24/24 USDC
                                                                                                 PageColorado
                                                                                                      2 of 17                                            pg
                                                                 280 of 1354
                                                                                                                                                                                 Printed 1/24/2024 at 10:31 PM




Exhibit                                                                     Brief Description                              BEG Bates #     END Bates #                  902 Declaration
                                                                                                                                                         NAVY_00000002-NAVY_00000003;
                                                                                                                                                         NAVY_00002211-NAVY_00002212;
   46       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 08.17.2019-09.16.2019     NAVY_00000517    NAVY_00000526   NAVY_00002217
                                                                                                                                                         WFB_00000144-WFB_00000146;
   47       Wells Fargo Bank Wire Transaction Report re Acct x6934 $15,000, dated 09.18.2019                            WFB_00001020                     WFB_00001054-WFB_00001058
                                                                                                                                                         WFB_00000144-WFB_00000146;
   48       Wells Fargo Bank withdrawal Slip re Acct x6934 $20,000 withdrawal, dated 089.26.2019                        WFB_00000192                     WFB_00001054-WFB_00001058
                                                                                                                                                         WFB_00000144-WFB_00000146;
   49       Wells Fargo Bank withdrawal Slip re Acct x6934 $20,000 withdrawal, dated 09.27.2019                         WFB_00000194                     WFB_00001054-WFB_00001058
                                                                                                                                                         WFB_00000144-WFB_00000146;
   50       Wells Fargo Bank withdrawal Slip re Acct x6934 $20,000 withdrawal, dated 10.01.2019                         WFB_00000195                     WFB_00001054-WFB_00001058
                                                                                                                                                         WFB_00000144-WFB_00000146;
   51       Wells Fargo Bank withdrawal Slip re Acct x6934 $12,000 withdrawal, dated 10.02.2019                         WFB_00000196                     WFB_00001054-WFB_00001058
                                                                                                                                                         WFB_00000144-WFB_00000146;
   52       Wells Fargo Bank Statement re Account x6934 Sand Hill LLC, dated 11.30.2019                                 WFB_00000745     WFB_00000750    WFB_00001054-WFB_00001058
                                                                                                                                                         WFB_00000144-WFB_00000146;
   53       Wells Fargo Bank withdrawal Slip re Acct x2064 $20,000 withdrawal, dated 02.20.2020                         WFB_00000164                     WFB_00001054-WFB_00001058
                                                                                                                                                         WFB_00000144-WFB_00000146;
   54       Wells Fargo Bank withdrawal Slip re Acct x2064 $15,000 withdrawal, dated 02.21.2020                         WFB_00000165                     WFB_00001054-WFB_00001058
                                                                                                                                                         WFB_00000144-WFB_00000146;
   55       Wells Fargo Bank withdrawal Slip re Acct x2064 $20,000 withdrawal, dated 02.27.2020                         WFB_00000166                     WFB_00001054-WFB_00001058
                                                                                                                                                         WFB_00000144-WFB_00000146;
   56       Wells Fargo Bank withdrawal Slip re Acct x2064 $20,000 withdrawal, dated 03.03.2020                         WFB_00000167                     WFB_00001054-WFB_00001058
57 - 100    INTENTIONALLY LEFT BLANK
  101       2016 Gross Income Summary for Michael Tew
  102       2017 Gross Income Summary for Michael Tew
  103       2018 Gross Income Summary for Michael Tew
  104       2019 Gross Income Summary for Michael Tew
  105       Internal Revenue Service 2019 Account Transcript
106 - 200   INTENTIONALLY LEFT BLANK
  201       INTENTIONALLY LEFT BLANK
  202       Guaranty Bank and Trust Statement re Account x7867 Michael Tew, statement 08.31.2018                        GUAR_00000047    GUAR_00000059   GUAR_00000001
  203       Regions Bank Statement re Account x4514 [MM], statement period 10.12.2018-11.08.2018                        REG_00000177     REG_00000181    REG_00000001
  204       INTENTIONALLY LEFT BLANK
  205       Regions Bank Statement re Account x4514 [MM], statement period 11.09.2018-12.10.2018                        REG_00000171     REG_00000175    REG_00000001
  206       INTENTIONALLY LEFT BLANK
  207       ANB Bank Statement re Account x3099 [MM], dated 12.18.2018                                                  ANB_00000048     ANB_00000052    ANB_00000002; ANB_00000035
                                                                                                                                                         NAVY_00000002-NAVY_00000003;
                                                                                                                                                         NAVY_00002211-NAVY_00002212;
  208       Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 01.17.2019-02.16.2019   NAVY_00000020    NAVY_00000029   NAVY_00002217
                                                                                                                                                         NAVY_00000002-NAVY_00000003;
                                                                                                                                                         NAVY_00002211-NAVY_00002212;
  209       Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 02.17.2019-03.16.2019   NAVY_00000030    NAVY_00000039   NAVY_00002217
                                                                                                                                                         NAVY_00000002-NAVY_00000003;
                                                                                                                                                         NAVY_00002211-NAVY_00002212;
  210       Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 03.17.2019-04.16.2019   NAVY_00000040    NAVY_00000054   NAVY_00002217
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  212       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 07.17.2019-08.16.2019     NAVY_00000508    NAVY_00000516   NAVY_00002217
                                                                                                                                                         WFB_00000144-WFB_00000146;
  213       Wells Fargo Bank Statement re Account x6934 Sand Hill LLC, dated 08.31.2019                                 WFB_00000724     WFB_00000731    WFB_00001054-WFB_00001058
  214       INTENTIONALLY LEFT BLANK
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  217       Wells Fargo Bank Statement re Account x6934 Sand Hill LLC, dated 09.30.2019                                 WFB_00000732     WFB_00000738    WFB_00001054-WFB_00001058
  218       INTENTIONALLY LEFT BLANK
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  220       Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, dated 10.31.2019                         WFB_00000592     WFB_00000596    WFB_00001054-WFB_00001058
  221       INTENTIONALLY LEFT BLANK

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                               Case No.
                                    Case1:20-cr-00305-DDD
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                                                                       378-2 filed
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                                                                                                      3 of 17                                                                               pg
                                                                 281 of 1354
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  224       Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, dated 11.30.2019                                                            WFB_00000597     WFB_00000602    WFB_00001054-WFB_00001058
                                                                                                                                                                                            NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                            NAVY_00002211-NAVY_00002212;
  225       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 11.17.2019-12.16.2019                                        NAVY_00000550    NAVY_00000561   NAVY_00002217
  226       INTENTIONALLY LEFT BLANK
                                                                                                                                                                                            NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                            NAVY_00002211-NAVY_00002212;
  227       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 12.17.2019-01.16.2020                                        NAVY_00001284    NAVY_00001300   NAVY_00002217
                                                                                                                                                                                            NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                            NAVY_00002211-NAVY_00002212;
  228       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 01.17.2020-02.16.2020                                        NAVY_00001301    NAVY_00001313   NAVY_00002217
                                                                                                                                                                                            WFB_00000144-WFB_00000146;
  229       Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, dated 02.29.2020                                                            WFB_00000612     WFB_00000616    WFB_00001054-WFB_00001058
                                                                                                                                                                                            WFB_00000144-WFB_00000146;
  230       Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, dated 03.31.2020                                                            WFB_00000617     WFB_00000621    WFB_00001054-WFB_00001058
                                                                                                                                                                                            NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                            NAVY_00002211-NAVY_00002212;
  231       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 02.17.2020-03.16.2020                                        NAVY_00001314    NAVY_00001324   NAVY_00002217
                                                                                                                                                                                            NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                            NAVY_00002211-NAVY_00002212;
  232       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 03.17.2020-04.16.2020                                        NAVY_00001325    NAVY_00001340   NAVY_00002217
  233       INTENTIONALLY LEFT BLANK
  234       INTENTIONALLY LEFT BLANK
  235       INTENTIONALLY LEFT BLANK
                                                                                                                                                                                            NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                            NAVY_00002211-NAVY_00002212;
  236       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 04.17.2020-05.16.2020                                        NAVY_00001341    NAVY_00001355   NAVY_00002217
  237       INTENTIONALLY LEFT BLANK
  238       INTENTIONALLY LEFT BLANK
                                                                                                                                                                                            NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                            NAVY_00002211-NAVY_00002212;
  239       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 05.17.2020-06.16.2020                                        NAVY_00001356    NAVY_00001379   NAVY_00002217
                                                                                                                                                                                            NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                            NAVY_00002211-NAVY_00002212;
  240       Navy Federal Credit Union Transaction Details re Access x1390, Account x3094 Global Fuel Logistics, transaction period 07.20.2020-07.08.2020   NAVY_00002205                    NAVY_00002217
  241       INTENTIONALLY LEFT BLANK
                                                                                                                                                                                            NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                            NAVY_00002211-NAVY_00002212;
  242       Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 05.17.2019-06.16.2019                                      NAVY_00000079    NAVY_00000101   NAVY_00002217
  243       INTENTIONALLY LEFT BLANK
  244       INTENTIONALLY LEFT BLANK
                                                                                                                                                                                            WFB_00000144-WFB_00000146;
  245       Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, dated 08.31.2019                                                            WFB_00000584     WFB_00000587    WFB_00001054-WFB_00001058
                                                                                                                                                                                            NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                            NAVY_00002211-NAVY_00002212;
  246       Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 08.17.2019-09.16.2019                                      NAVY_00000141    NAVY_00000163   NAVY_00002217
  247       INTENTIONALLY LEFT BLANK
  248       INTENTIONALLY LEFT BLANK
  249       INTENTIONALLY LEFT BLANK
                                                                                                                                                                                            WFB_00000144-WFB_00000146;
  250       Wells Fargo Bank Statement re Account x6934 Sand Hill LLC, dated 10.31.2019                                                                    WFB_00000739     WFB_00000744    WFB_00001054-WFB_00001058
251 - 300   INTENTIONALLY LEFT BLANK
  301       ANB Bank Signature Card re Account x3099 [MM]                                                                                                  ANB_00000037                     ANB_00000002; ANB_00000035
  302       Guaranty Bank and Trust Signature Card re Account x7867 Michael Tew                                                                            GUAR_00000034                    GUAR_00000001
                                                                                                                                                                                            NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                            NAVY_00002211-NAVY_00002212;
  303       Navy Federal Credit Union Application re Kimberley Tew and Michael Tew                                                                         NAVY_00001959    NAVY_00001968   NAVY_00002217




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                                                                                                                                                                                                                                    281
                              Case No.
                                   Case1:20-cr-00305-DDD
                                         1:20-cr-00305-DDD Document
                                                            Document645-2
                                                                      378-2 filed
                                                                               Filed
                                                                                  01/24/25
                                                                                     01/24/24 USDC
                                                                                                PageColorado
                                                                                                     4 of 17                                           pg
                                                                282 of 1354
                                                                                                                                                                            Printed 1/24/2024 at 10:31 PM




Exhibit                                                                     Brief Description                            BEG Bates #     END Bates #               902 Declaration
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 304      Navy Federal Credit Union Application re Global Fuel Logistics, dated 06.08.2020                            NAVY_00000850    NAVY_00000857   NAVY_00002217
 305      Regions Bank Signature Cards re Account x0514 [MM]                                                          REG_00000219     REG_00000220    REG_00000001
                                                                                                                                                       WFB_00000144-WFB_00000146;
 306      Wells Fargo Bank Signature Card re Account x6934 Sand Hill LLC, LLC                                         WFB_00000536     WFB_00000539    WFB_00001054-WFB_00001058
                                                                                                                                                       WFB_00000144-WFB_00000146;
 307      Wells Fargo Bank Signature Card re Account x2064 Global Fuel Logistics                                      WFB_00000532     WFB_00000535    WFB_00001054-WFB_00001058
 308      Signature Bank Signature Card re Accounts x5545 and x6150 National Air Cargo Group, Inc                     SIG_00002876     SIG_00002887    SIG_00006978
 309      Signature Bank Signature Card re Accounts x5529, x6363, x6355, and x6134 National Air Cargo Group, Inc      SIG_00002888     SIG_00002900    SIG_00006978
 310      Guaranty Bank and Trust Statement re Account x7867 Michael Tew, dated 08.31.2018                            GUAR_00000047                    GUAR_00000001
 311      BBVA Compass Signature Card re Account x0987 [5530 JD] LLC                                                  BBVA_00000404    BBVA_00000405   BBVA_00000002; BBVA_00000280
 312      Access National Bank Statement re Account x5965 [PM] Inc., statement period 12.01.2018-12.31.2018           ACNB_00000438    ACNB_00000443   ACNB_00000001
 313      Simple Signature Card for Kimberley Tew                                                                     SFT_00000173                     SFT_00000001
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 314      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 07.17.2019-08.16.2019   NAVY_00000120    NAVY_00000140   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 315      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 09.17.2019-10.16.2019   NAVY_00000164    NAVY_00000187   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 316      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 10.17.2019-11.16.2019   NAVY_00000188    NAVY_00000223   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 317      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 11.17.2019-12.16.2019   NAVY_00000224    NAVY_00000262   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 318      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 12.17.2019-01.16.2020   NAVY_00000918    NAVY_00000958   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 319      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 01.17.2020-02.16.2020   NAVY_00000959    NAVY_00000999   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 320      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 02.17.2020-03.16.2020   NAVY_00001000    NAVY_00001038   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 321      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 03.17.2020-04.16.2020   NAVY_00001039    NAVY_00001078   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 322      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 04.17.2020-05.16.2020   NAVY_00001079    NAVY_00001121   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 323      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 05.17.2020-06.16.2020   NAVY_00001122    NAVY_00001169   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 324      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 01.08.2019-01.16.2019     NAVY_00000458    NAVY_00000461   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 325      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 01.17.2019-02.16.2019     NAVY_00000462    NAVY_00000466   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 326      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 02.17.2019-03.16.2019     NAVY_00000467    NAVY_00000471   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 327      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 03.17.2019-04.16.2019     NAVY_00000472    NAVY_00000478   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 328      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 04.17.2019-05.16.2019     NAVY_00000479    NAVY_00000488   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 329      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 05.17.2019-06.16.2019     NAVY_00000489    NAVY_00000498   NAVY_00002217

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                                                                                                                                                                                              282
                             Case No.
                                  Case1:20-cr-00305-DDD
                                        1:20-cr-00305-DDD Document
                                                           Document645-2
                                                                     378-2 filed
                                                                              Filed
                                                                                 01/24/25
                                                                                    01/24/24 USDC
                                                                                               PageColorado
                                                                                                    5 of 17                                                                   pg
                                                               283 of 1354
                                                                                                                                                                                                   Printed 1/24/2024 at 10:31 PM




Exhibit                                                                   Brief Description                                                    BEG Bates #      END Bates #               902 Declaration
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                                                                                                                                                                              NAVY_00002211-NAVY_00002212;
 330      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 06.17.2019-07.16.2019                           NAVY_00000499    NAVY_00000507    NAVY_00002217
                                                                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                                                                              NAVY_00002211-NAVY_00002212;
 331      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 09.17.2019-10.16.2019                           NAVY_00000527    NAVY_00000536    NAVY_00002217
                                                                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                                                                              NAVY_00002211-NAVY_00002212;
 332      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 10.17.2019-11.16.2019                           NAVY_00000537    NAVY_00000549    NAVY_00002217
                                                                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                                                                              NAVY_00002211-NAVY_00002212;
 333      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 11.17.2019-12.16.2019                           NAVY_00001272    NAVY_00001283    NAVY_00002217
                                                                                                                                                                              WFB_00000144-WFB_00000146;
 334      Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, dated 09.30.2019                                               WFB_00002339     WFB_00002342     WFB_00001054-WFB_00001058
 335      American Express Corporate Card Authorization re Account x91009 National Air Cargo, Cardmember Michael Tew                        AMEX_00000181                     AMEX_00000001
                                                                                                                                                                              WFB_00000144-WFB_00000146;
 336      Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, dated 12.31.2019                                               WFB_00002354     WFB_00002358     WFB_00001054-WFB_00001058
                                                                                                                                                                              WFB_00000144-WFB_00000146;
 337      Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, dated 01.31.2020                                               WFB_00002359     WFB_00002362     WFB_00001054-WFB_00001058
 338      American Express Corporate Card Statement re Account x91009 National Air Cargo, Cardmember Michael Tew, closing date 06.16.2018   AMEX_00000004    AMEX_00000005    AMEX_00000001
 339      American Express Corporate Card Statement re Account x91009 National Air Cargo, Cardmember Michael Tew, closing date 07.16.2018   AMEX_00000006    AMEX_00000009    AMEX_00000001
                                                                                                                                                                              WFB_00000144-WFB_00000146;
 340      Wells Fargo Bank Statement re Account x6934 Sand Hill LLC, dated 12.31.2019                                                       WFB_00002536     WFB_00002540     WFB_00001054-WFB_00001058
 341      BBVA Compass Statement re Account x0987 5530 Jassamine Development LLC, statement period 11.01.2018-11.30.2018                    BBVA_00000444    BBVA_00000446    BBVA_00000002; BBVA_00000280
                                                                                                                                                                              WFB_00000144-WFB_00000146;
 342      Wells Fargo Bank Statement re Account x6934 Sand Hill LLC, dated 05.31.2019                                                       WFB_00000709     WFB_00000712     WFB_00001054-WFB_00001058
                                                                                                                                                                              WFB_00000144-WFB_00000146;
 343      Wells Fargo Bank Statement re Account x6934 Sand Hill LLC, dated 01.31.2020                                                       WFB_00000756     WFB_00000760     WFB_00001054-WFB_00001058
                                                                                                                                                                              WFB_00000144-WFB_00000146;
 344      Wells Fargo Bank Statement re Account x6934 Sand Hill LLC, dated 02.29.2020                                                       WFB_00000761     WFB_00000764     WFB_00001054-WFB_00001058
                                                                                                                                                                              WFB_00000144-WFB_00000146;
 345      Wells Fargo Bank Statement re Account x6934 Sand Hill LLC, dated 03.31.2020                                                       WFB_00000765     WFB_00000768     WFB_00001054-WFB_00001058
                                                                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                                                                              NAVY_00002211-NAVY_00002212;
 346      Navy Federal Credit Union Statement re Access x1390 Global Fuel Logistics Inc, statement period 06.08.2020-06.30.2020             NAVY_00000858    NAVY_00000865    NAVY_00002217
 347      American Express Corporate Card Statement re Account x91009 National Air Cargo, Cardmember Michael Tew, closing date 08.16.2018   AMEX__00000010   AMEX_00000013    AMEX_00000001
 348      American Express Corporate Card Statement re Account x91009 National Air Cargo, Cardmember Michael Tew, closing date 09.16.2018   AMEX__00000014   AMEX_00000015    AMEX_00000001
 349      American Express Corporate Card Statement re Account x91009 National Air Cargo, Cardmember Michael Tew, closing date 10.16.2018   AMEX__00000016   AMEX_00000017    AMEX_00000001
 350      American Express Corporate Card Statement re Account x91009 National Air Cargo, Cardmember Michael Tew, closing date 11.16.2018   AMEX__00000018   AMEX_00000019    AMEX_00000001
 351      American Express Corporate Card Statement re Account x91009 National Air Cargo, Cardmember Michael Tew, closing date 12.16.2018   AMEX__00000020   AMEX_00000021    AMEX_00000001
 352      American Express Corporate Card Statement re Account x91009 National Air Cargo, Cardmember Michael Tew, closing date 01.16.2019   AMEX__00000022   AMEX_00000023    AMEX_00000001
 353      American Express Corporate Card Statement re Account x91009 National Air Cargo, Cardmember Michael Tew, closing date 02.16.2019   AMEX__00000024   AMEX_00000025    AMEX_00000001
 354      Access National Bank Signature Card re Account x5965 [PM]                                                                         ACNB_00000099    ACNB_00000100    ACNB_00000001
 355      Signature Bank ACH Transaction re $25,000 to Global Fuel Logistics, dated 10.23.2019                                              NAC_00000202                      NAC_00000978-NAC_00000979
 356      Signature Bank ACH Transaction re $21,250 to [PM] Inc., dated 12.10.2018                                                          NAC_00000142                      NAC_00000978-NAC_00000979
 357      Signature Bank ACH Transaction re $15,000 to [5530 JD] LLC, dated 08.22.2018                                                      SIG_00000142     SIG_00000143     SIG_00006978
 358      Signature Bank ACH Transaction re $15,000 to [5530 JD] LLC, dated 08.23.2018                                                      SIG_00000143     SIG_00000144     SIG_00006978
 359      Signature Bank ACH Transaction re $15,000 to [5530 JD] LLC, dated 09.10.2018                                                      SIG_00000149     SIG_00000150     SIG_00006978
 360      Signature Bank ACH Transaction re $15,000 to [5530 JD] LLC, dated 09.18.2018                                                      SIG_00000151     SIG_00000152     SIG_00006978
 361      Signature Bank ACH Transaction re $15,000 to [5530 JD] LLC, dated 09.28.2018                                                      SIG_00000155     SIG_00000156     SIG_00006978
 362      Signature Bank ACH Transaction re $30,000 to [MM], dated 12.03.2018                                                               NAC_E_00059594                    NAC_E_00204515-NAC_E_00204516
 363      Access National Bank Statement re Account x5965 [PM] Inc., statement period 03.01.2019-03.31.2019                                 ACNB_00000550    ACNB_00000555    ACNB_00000001
 364      ANB Bank Statement re Account x3099 [MM], dated 01.04.2019                                                                        ANB_00000053     ANB_00000055     ANB_00000002; ANB_00000035
 365      Signature Bank ACH Transaction re $21,000 to [PM] Inc., dated 01.23.2019                                                          NAC_00000565                      NAC_00000978-NAC_00000979
 366      Signature Bank ACH Transaction re $15,312.50 to [PM] Inc., dated 01.07.2019                                                       NAC_00000299                      NAC_00000978-NAC_00000979
 367      Signature Bank ACH Transaction re $23,350 to [PM] Inc., dated 01.10.2019                                                          NAC_00000300                      NAC_00000978-NAC_00000979
                                                                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                                                                              NAVY_00002211-NAVY_00002212;
 368      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 01.07.2019-01.16.2019                         NAVY_00000013    NAVY_00000019    NAVY_00002217
 369      Signature Bank ACH Transaction re $28,000 to [PM] Inc., dated 01.18.2019                                                          NAC_00000301                      NAC_00000978-NAC_00000979
 370      Signature Bank ACH Transaction re $31,500 to [PM] Inc., dated 03.14.2019                                                          NAC_00000306                      NAC_00000978-NAC_00000979
 371      Signature Bank ACH Transaction re $37,800 to [PM] Inc., dated 03.04.2019                                                          NAC_00000305                      NAC_00000978-NAC_00000979

                                                                                                                                                                                                                         5 of 17
                                                                                                                                                                                                                     283
                              Case No.
                                   Case1:20-cr-00305-DDD
                                         1:20-cr-00305-DDD Document
                                                            Document645-2
                                                                      378-2 filed
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                                                                                  01/24/25
                                                                                     01/24/24 USDC
                                                                                                PageColorado
                                                                                                     6 of 17                                                                                       pg
                                                                284 of 1354
                                                                                                                                                                                                                         Printed 1/24/2024 at 10:31 PM




Exhibit                                                                     Brief Description                                                                        BEG Bates #     END Bates #                902 Declaration
 372      Signature Bank ACH Transaction re $20,250 to [PM] Inc., dated 03.19.2019                                                                                NAC_00000307                     NAC_00000978-NAC_00000979
          Signature Bank ACH Transactions re: $37,500 to [PM] Inc., dated 04.08.2019; $18,750 to [PM] Inc., dated 04.11.2019; and $18,750 to [PM] Inc., dated
 373      04.15.2019                                                                                                                                              NAC_00000311     NAC_00000313    NAC_00000978-NAC_00000979
 374      Signature Bank ACH Transaction re $18,750 to [PM] Inc., dated 04.17.2019                                                                                NAC_00000314                     NAC_00000978-NAC_00000979
          Signature Bank ACH Transactions re: $18,750 to [PM] Inc., dated 04.22.2019; $18,750 to [PM] Inc., dated 04.24.2019; $38,640 to [PM], dated
 375      04.29.2019; and $19,890 to [PM], dated 05.07.2019                                                                                                       NAC_00000315     NAC_00000318    NAC_00000978-NAC_00000979
 376      Signature Bank ACH Transactions re: $49,750 to [PM], dated 05.07.2019; and $40,000 to [PM] Inc., dated 05.10.2019                                       NAC_00000319     NAC_00000320    NAC_00000978-NAC_00000979
          Signature Bank ACH Transactions re: $19,900 to [PM], dated 05.15.2019; $23,785 to [PM], dated 05.21.2019; $9,950 to [PM], dated 05.23.2019; $11,150
 377      to [PM], dated 05.28.2019; and $10,100 to [PM] Inc., dated 05.29.2019                                                                                   NAC_00000321     NAC_00000325    NAC_00000978-NAC_00000979
                                                                                                                                                                                                   NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                                   NAVY_00002211-NAVY_00002212;
 378      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 04.17.2019-05.16.2019                                               NAVY_00000055    NAVY_00000078   NAVY_00002217

 379      Signature Bank ACH Transactions re: $53,500 to [PM], dated 06.03.2019; $28,000 to [PM], dated 06.10.2019; and $9,500 to [PM], dated 06.13.2019          NAC_00000326     NAC_00000328    NAC_00000978-NAC_00000979
          Signature Bank ACH Transactions re: $50,000 to [PM] Inc., dated 06.20.2019; $15,000 to [PM], dated 06.25.2019; and $30,000 to Sand Hill LLC, dated
 380      06.26.2019                                                                                                                                              NAC_00000329     NAC_00000331    NAC_00000978-NAC_00000979
                                                                                                                                                                                                   NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                                   NAVY_00002211-NAVY_00002212;
 381      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 06.17.2019-07.16.2019                                               NAVY_00000102    NAVY_00000119   NAVY_00002217
                                                                                                                                                                                                   WFB_00000144-WFB_00000146;
 382      Wells Fargo Bank Statement re Account x6934 Sand Hill LLC, dated 06.30.2019                                                                             WFB_00000713     WFB_00000717    WFB_00001054-WFB_00001058
          Signature Bank ACH Transactions re: $45,000 to Global Fuel Logistics, dated 07.30.2019; $47,000 to SHI LLC, dated 08.01.2019; and $30,000 to SHI
 383      LLC, dated 08.05.2019                                                                                                                                   NAC_00000158     NAC_00000160    NAC_00000978-NAC_00000979
          Signature Bank ACH Transactions re: $9,200 to Sand Hill LLC, dated 06.28.2019; $13,000 to SHI LLC, dated 07.09.2019; $27,475 to SHI LLC, dated
 384      07.11.2019; and $10,000 to SHI LLC, dated 07.19.2019                                                                                                    NAC_00000332     NAC_00000335    NAC_00000978-NAC_00000979
                                                                                                                                                                                                   WFB_00000144-WFB_00000146;
 385      Wells Fargo Bank Statement re Account x6934 Sand Hill LLC, dated 07.31.2019                                                                             WFB_00000718     WFB_00000723    WFB_00001054-WFB_00001058
 386      Signature Bank ACH Transaction re $12,900 to Global Fuel Logistics, dated 01.07.2020                                                                    NAC_00000411                     NAC_00000978-NAC_00000979
          Signature Bank ACH Transactions re: $15,500 to Global Fuel Logistics, dated 01.10.2020; $19,500 to Global Fuel Logistics, dated 01.17.2020; $9,800 to
          Global Fuel Logisitics, dated 01.22.2020; $13,500 to Global Fuel Logistics, dated 01.23.2020; $36,500 to Global Fuel Logistics, dated 01.27.2020; and
 387      $7,200 to Global Fuel Logistics, dated 01.30.2020                                                                                                       NAC_00000412     NAC_00000417    NAC_00000978-NAC_00000979
 388      Signature Bank ACH Transaction re $13,000 to Global Fuel Logistics, dated 08.09.2019                                                                    NAC_00000162                     NAC_00000978-NAC_00000979
 389      Signature Bank ACH Transaction re $24,700 to Global Fuel Logistics, dated 03.05.2020                                                                    NAC_00000448                     NAC_00000978-NAC_00000979
          Signature Bank ACH Transactions re: $97,545 to Global Fuel Logistics, dated 06.22.2020; $71,550 to Global Fuel Logistics, dated 06.24.2020; and
 390      $105,000 to Global Fuel Logisitics, dated 06.29.2020                                                                                                    NAC_00000461     NAC_00000463    NAC_00000978-NAC_00000979
 391      Signature Bank ACH Transaction re $83,526 to Global Fuel Logistics, dated 06.02.2020                                                                    NAC_00000532                     NAC_00000978-NAC_00000979
          Signature Bank ACH Transactions re: $45,220 to Global Fuel Logistics, dated 06.04.2020; $93,135 to Global Fuel Logistics, dated 06.09.2020; and
 392      $93,635 to Global Fuel Logisitics, dated 06.17.2020                                                                                                     NAC_00000533     NAC_00000535    NAC_00000978-NAC_00000979
                                                                                                                                                                                                   NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                                   NAVY_00002211-NAVY_00002212;
 393      Navy Federal Credit Union Statement re Access x1390 Global Fuel Logistics Inc, statement period 06.08.2010-06.30.2020                                   NAVY_00000858    NAVY_00000865   NAVY_00002217
                                                                                                                                                                                                   NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                                   NAVY_00002211-NAVY_00002212;
 394      Navy Federal Credit Union Check re Acct x3494 $500.00 to Sand Hill LLC, dated 10.15.19                                                                  NAVY_00000753                    NAVY_00002217
                                                                                                                                                                                                   NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                                   NAVY_00002211-NAVY_00002212;
 395      Navy Federal Credit Union Surveillance Photo, dated 04.14.2020                                                                                          NAVY_00001678                    NAVY_00002217
                                                                                                                                                                                                   NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                                   NAVY_00002211-NAVY_00002212;
 396      Navy Federal Credit Union Surveillance Photo, dated 04.03.2020                                                                                          NAVY_00001684                    NAVY_00002217
                                                                                                                                                                                                   NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                                   NAVY_00002211-NAVY_00002212;
 397      Navy Federal Credit Union Surveillance Photo, dated 02.04.2020                                                                                          NAVY_00001692                    NAVY_00002217
                                                                                                                                                                                                   NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                                   NAVY_00002211-NAVY_00002212;
 398      Navy Federal Credit Union Surveillance Photo, dated 01.13.2020                                                                                          NAVY_00001702                    NAVY_00002217
                                                                                                                                                                                                   NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                                   NAVY_00002211-NAVY_00002212;
 399      Navy Federal Credit Union Surveillance Photo, dated 06.11.2020 08:14:04.950 PM                                                                          NAVY_00001707                    NAVY_00002217
                                                                                                                                                                                                   NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                                   NAVY_00002211-NAVY_00002212;
 400      Navy Federal Credit Union Surveillance Photo, dated 06.11.2020 07:53:41.888 PM                                                                          NAVY_00001711                    NAVY_00002217

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                             Case No.
                                  Case1:20-cr-00305-DDD
                                        1:20-cr-00305-DDD Document
                                                           Document645-2
                                                                     378-2 filed
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                                                                                    01/24/24 USDC
                                                                                               PageColorado
                                                                                                    7 of 17                   pg
                                                               285 of 1354
                                                                                                                                                   Printed 1/24/2024 at 10:31 PM




Exhibit                                                                    Brief Description      BEG Bates #   END Bates #               902 Declaration
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 401      Navy Federal Credit Union Surveillance Photo, dated 06.26.2020                       NAVY_00001717                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 402      Navy Federal Credit Union Surveillance Photo, dated 06.08.2020                       NAVY_00001718                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 403      Navy Federal Credit Union Surveillance Photo, dated 03.20.2020 02:19:42.572 PM       NAVY_00001719                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 404      Navy Federal Credit Union Surveillance Photo, dated 03.20.2020 09:23:58.357 PM       NAVY_00001720                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 405      Navy Federal Credit Union Surveillance Photo, dated 03.06.2020                       NAVY_00001731                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 406      Navy Federal Credit Union Surveillance Photo, dated 05.12.2020                       NAVY_00001737                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 407      Navy Federal Credit Union Surveillance Photo, dated 05.04.2020                       NAVY_00001744                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 408      Navy Federal Credit Union Surveillance Photo, dated 04.01.2020 04:02:07.321 PM       NAVY_00001758                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 409      Navy Federal Credit Union Surveillance Photo, dated 04.01.2020 04:05:40.320 PM       NAVY_00001757                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 410      Navy Federal Credit Union Surveillance Photo, dated 02.12.2020                       NAVY_00001767                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 411      Navy Federal Credit Union Surveillance Photo, dated 02.25.2020                       NAVY_00001770                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 412      Navy Federal Credit Union Surveillance Photo, dated 01.23.2020                       NAVY_00001772                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 413      Navy Federal Credit Union Surveillance Photo, dated 01.29.2020                       NAVY_00001775                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 414      Navy Federal Credit Union Surveillance Photo, dated 06.11.2019                       NAVY_00001779                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 415      Navy Federal Credit Union Surveillance Photo, dated 06.11.2020 07:59:59.914 PM       NAVY_00001780                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 416      Navy Federal Credit Union Surveillance Photo, dated 06.11.2020 07:53:41.888 PM       NAVY_00001786                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 417      Navy Federal Credit Union Surveillance Photo, dated 06.30.2020                       NAVY_00001787                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 418      Navy Federal Credit Union Surveillance Photo, dated 06.25.2020                       NAVY_00001789                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 419      Navy Federal Credit Union Surveillance Photo, dated 06.09.2020 05:16:56.734 PM       NAVY_00001795                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 420      Navy Federal Credit Union Surveillance Photo, dated 06.09.2020 05:17:57.737 PM       NAVY_00001796                  NAVY_00002217




                                                                                                                                                                         7 of 17
                                                                                                                                                                     285
                              Case No.
                                   Case1:20-cr-00305-DDD
                                         1:20-cr-00305-DDD Document
                                                            Document645-2
                                                                      378-2 filed
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                                                                                  01/24/25
                                                                                     01/24/24 USDC
                                                                                                PageColorado
                                                                                                     8 of 17                        pg
                                                                286 of 1354
                                                                                                                                                         Printed 1/24/2024 at 10:31 PM




Exhibit                                                                     Brief Description         BEG Bates #     END Bates #               902 Declaration
                                                                                                                                    NAVY_00000002-NAVY_00000003;
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 421      Navy Federal Credit Union Surveillance Photo, dated 03.11.2020                           NAVY_00001797                    NAVY_00002217
                                                                                                                                    NAVY_00000002-NAVY_00000003;
                                                                                                                                    NAVY_00002211-NAVY_00002212;
 422      Navy Federal Credit Union Surveillance Photo, dated 03.18.2020 11:58:06.124 AM           NAVY_00001805                    NAVY_00002217
                                                                                                                                    NAVY_00000002-NAVY_00000003;
                                                                                                                                    NAVY_00002211-NAVY_00002212;
 423      Navy Federal Credit Union Surveillance Photo, dated 03.18.2020 05:08:46.082 PM           NAVY_00001800                    NAVY_00002217
                                                                                                                                    NAVY_00000002-NAVY_00000003;
                                                                                                                                    NAVY_00002211-NAVY_00002212;
 424      Navy Federal Credit Union Surveillance Photo, dated 05.12.2020 12:12:35.352 PM           NAVY_00001823                    NAVY_00002217
                                                                                                                                    NAVY_00000002-NAVY_00000003;
                                                                                                                                    NAVY_00002211-NAVY_00002212;
 425      Navy Federal Credit Union Surveillance Photo, dated 05.12.2020 06:36:34.932 PM           NAVY_00001821                    NAVY_00002217
                                                                                                                                    NAVY_00000002-NAVY_00000003;
          Navy Federal Credit Union Surveillance Photo, dated 03.27.2020                                                            NAVY_00002211-NAVY_00002212;
 426                                                                                               NAVY_00001725                    NAVY_00002217
                                                                                                                                    NAVY_00000002-NAVY_00000003;
                                                                                                                                    NAVY_00002211-NAVY_00002212;
 427      Navy Federal Credit Union Surveillance Photo, dated 06.11.2019                           NAVY_00001778                    NAVY_00002217
 428      Signature Bank ACH Transaction re: $13,000 to Sand Hill LLC, dated 08.09.2019            NAC_00000162                     NAC_00000978-NAC_00000979
 429      Signature Bank ACH Transaction re: $35,000 to Sand Hill LLC, dated 08.14.2019            NAC_00000163                     NAC_00000978-NAC_00000979
 430      Signature Bank ACH Transaction re: $15,000 to Global Fuel Logistics, dated 08.15.2019    NAC_00000164                     NAC_00000978-NAC_00000979
 431      Signature Bank ACH Transaction re: $27,000 to Sand Hill LLC, dated 08.22.2019            NAC_00000167                     NAC_00000978-NAC_00000979
 432      Signature Bank ACH Transaction re: $45,000 to Sand Hill LLC, dated 08.26.2019            NAC_00000168                     NAC_00000978-NAC_00000979
 433      Signature Bank Wire Transaction re: $45,000 to Global Fuel Logistics, dated 08.29.2019   NAC_00000902     NAC_00000903    NAC_00000978-NAC_00000979
 434      Signature Bank ACH Transaction re: $13,000 to Global Fuel Logistics, dated 02.03.2020    NAC_00000440                     NAC_00000978-NAC_00000979
 435      Signature Bank ACH Transaction re: $23,200 to Global Fuel Logistics, dated 02.06.2020    NAC_00000441                     NAC_00000978-NAC_00000979
 436      Signature Bank ACH Transaction re: $32,500 to Global Fuel Logistics, dated 02.13.2020    NAC_00000443                     NAC_00000978-NAC_00000979
 437      Signature Bank ACH Transaction re: $55,000 to Global Fuel Logistics, dated 02.18.2020    NAC_00000445                     NAC_00000978-NAC_00000979
 438      Signature Bank ACH Transaction re: $40,000 to Global Fuel Logistics, dated 02.26.2020    NAC_00000446                     NAC_00000978-NAC_00000979
 439      Signature Bank ACH Transaction re: $74,955 to Global Fuel Logistics, dated 03.11.2020    NAC_00000450                     NAC_00000978-NAC_00000979
 440      Signature Bank ACH Transaction re: $17,200 to Global Fuel Logistics, dated 03.17.2020    NAC_00000451                     NAC_00000978-NAC_00000979
 441      Signature Bank ACH Transaction re: $32,245 to Global Fuel Logistics, dated 03.24.2020    NAC_00000453                     NAC_00000978-NAC_00000979
 442      Signature Bank ACH Transaction re: $32,300 to Global Fuel Logistics, dated 03.26.2020    NAC_00000454                     NAC_00000978-NAC_00000979
 443      Signature Bank ACH Transaction re: $41,225 to Global Fuel Logistics, dated 04.02.2020    NAC_00000455                     NAC_00000978-NAC_00000979
 444      Signature Bank ACH Transaction re: $37,353 to Global Fuel Logistics, dated 04.08.2020    NAC_00000457                     NAC_00000978-NAC_00000979
 445      Signature Bank ACH Transaction re: $31,355 to Global Fuel Logistics, dated 04.13.2020    NAC_00000458                     NAC_00000978-NAC_00000979
 446      Signature Bank ACH Transaction re: $56,530 to Global Fuel Logistics, dated 04.21.2020    NAC_00000171                     NAC_00000978-NAC_00000979
 447      Signature Bank ACH Transaction re: $36,240 to Global Fuel Logistics, dated 04.29.2020    NAC_00000173                     NAC_00000978-NAC_00000979
 448      Signature Bank ACH Transaction re: $77,460 to Global Fuel Logistics, dated 05.18.2020    NAC_00000175                     NAC_00000978-NAC_00000979
 449      Signature Bank ACH Transaction re: $85,500 to Global Fuel Logistics, dated 05.27.2020    NAC_00000177                     NAC_00000978-NAC_00000979
 450      Signature Bank ACH Transaction re $20,250.00 to [PM] Inc., dated 03.18.2019              NAC_00000308                     NAC_00000978-NAC_00000979
 451      Signature Bank ACH Transaction re $60,000 to Global Fuel Logistics, dated 09.10.2019     NAC_00000192                     NAC_00000978-NAC_00000979
 452      Signature Bank ACH Transaction re $51,500 to Sand Hill LLC, dated 09.12.2019             NAC_00000193                     NAC_00000978-NAC_00000979
 453      Signature Bank ACH Transaction re $11,950 to Global Fuel Logistics, dated 09.16.2019     NAC_00000194                     NAC_00000978-NAC_00000979
 454      Signature Bank ACH Transaction re $41,500 to Sand Hill LLC, dated 09.19.2019             NAC_00000196                     NAC_00000978-NAC_00000979
 455      Signature Bank ACH Transaction re $60,000 to Sand Hill LLC, dated 09.26.2019             NAC_00000198                     NAC_00000978-NAC_00000979
 456      Signature Bank ACH Transaction re $75,000 to Sand Hill LLC, dated 09.30.2019             NAC_00000199                     NAC_00000978-NAC_00000979
 457      Signature Bank ACH Transaction re $35,000 to Sand Hill LLC, dated 10.10.2019             NAC_00000200                     NAC_00000978-NAC_00000979
 458      Signature Bank ACH Transaction re $23,750 to Global Fuel Logistics, dated 10.30.2019     NAC_00000204                     NAC_00000978-NAC_00000979
 459      Signature Bank ACH Transaction re $25,000 to Sand Hill LLC, dated 11.18.2019             NAC_00000207                     NAC_00000978-NAC_00000979
 460      Signature Bank ACH Transaction re $17,900 to Global Fuel Logistics, dated 11.21.2019     NAC_00000208                     NAC_00000978-NAC_00000979
 461      Signature Bank ACH Transaction re $42,000 to Global Fuel Logistics, dated 11.27.2019     NAC_00000210                     NAC_00000978-NAC_00000979
 462      Signature Bank ACH Transaction re $26,500 to Global Fuel Logistics, dated 12.05.2019     NAC_00000212                     NAC_00000978-NAC_00000979
 463      Signature Bank ACH Transaction re $51,150 to Global Fuel Logistics, dated 12.09.2019     NAC_00000213                     NAC_00000978-NAC_00000979
 464      Signature Bank ACH Transaction re $7,800 to Global Fuel Logistics, dated 12.16.2019      NAC_00000215                     NAC_00000978-NAC_00000979
 465      Signature Bank ACH Transaction re $33,300 to Global Fuel Logistics, dated 12.17.2019     NAC_00000216                     NAC_00000978-NAC_00000979
 466      Signature Bank ACH Transaction re $14,350 to Global Fuel Logistics, dated 12.19.2019     NAC_00000217                     NAC_00000978-NAC_00000979
 467      Signature Bank ACH Transaction re $55,500 to Global Fuel Logistics, dated 12.26.2019     NAC_00000438                     NAC_00000978-NAC_00000979
 468      Signature Bank ACH Transaction re $77,500 to Global Fuel Logistics, dated 12.30.2019     NAC_00000439                     NAC_00000978-NAC_00000979

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                                                                                                                                                                           286
                               Case No.
                                    Case1:20-cr-00305-DDD
                                          1:20-cr-00305-DDD Document
                                                             Document645-2
                                                                       378-2 filed
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                                                                                   01/24/25
                                                                                      01/24/24 USDC
                                                                                                 PageColorado
                                                                                                      9 of 17                                                                                     pg
                                                                 287 of 1354
                                                                                                                                                                                                                          Printed 1/24/2024 at 10:31 PM




Exhibit                                                                      Brief Description                                                                     BEG Bates #      END Bates #                  902 Declaration
                                                                                                                                                                                                  WFB_00000144-WFB_00000146;
  469       Wells Fargo Bank Wire Transaction Report re Acct x6934 $20,611.01, dated 11.01.2019                                                                 WFB_00001033                      WFB_00001054-WFB_00001058
  470       INTENTIONALLY LEFT BLANK
  471       INTENTIONALLY LEFT BLANK
  472       INTENTIONALLY LEFT BLANK
  473       American Express Application re Michael Tew                                                                                                         AMEX_00000182                     AMEX_00000001
  474       American Express Application re Kimberley Tew                                                                                                       AMEX_00000183                     AMEX_00000001
475 - 499   INTENTIONALLY LEFT BLANK
  500       Kraken Account Opening and Verification Documents for Kimberley Tew                                                                                 KRKN_00000008    KRKN_00000001    KRKN_00000001
  501       Kraken Account Opening and Verification Documents for Michael Tew                                                                                   KRKN_00000020    KRKN_00000001    KRKN_00000001
                                                                                                                                                                COIN_00000027;                    COIN_00000076; COIN_00000077;
  502       Coinbase profile image records for Michael Tew                                                                                                      COIN_00000032                     COIN_00000078
                                                                                                                                                                                                  COIN_00000076; COIN_00000077;
  503       Coinbase profile image records for Kimberley Tew                                                                                                    COIN_00000028    COIN_00000029    COIN_00000078
  504       Google Pay Customer Profile re kley@me.com                                                                                                          GPAY_00000009    GPAY_00000012    GPAY_00000097-GPAY_00000106
  505       McDonald Audi Purchase Documents re 2016 Audi A4 VIN x2447, dated 10.03.2019                                                                        AUDI_00000001    AUDI_00000037    AUDI_00000042
  506       McDonald Audi Wire Transfer Records re $20,611.01 Incoming Money Transfer, dated 11.01.2019                                                         AUDI_00000038    AUDI_00000039    AUDI_00000042
  507       Wynn Las Vegas Jackpot Report between 07.04.2019 and 11.29.2019                                                                                     WYNN_00000174                     WYNN_00000002
  508       Wynn Las Vegas 2019 Loss Summary, as of 07.16.2020                                                                                                  WYNN_00000179                     WYNN_00000002
  509       Wynn Las Vegas Reservation Confirmation #23362412 for Kimberley Tew, 10.30.2019 arrival & 11.02.19 departure                                        WYNN_00000689                     WYNN_00000002
  510       Wynn Las Vegas Reservation/Stay History for Kimberley Tew                                                                                           WYNN_00000730    WYNN_00000736    WYNN_00000002
  511       Wynn Las Vegas Reservation/Stay History re: Kimberley Ann Tew, arrival 09.01.2019 & departure 09.05.2019                                            WYNN_00000624                     WYNN_00000002
                                                                                                                                                                ORD_00019768;
  512       GoDaddy Domain Information re Domain Name "Global Fuel.Co"                                                                                          ORD_00019821                      ORD_00019742
                                                                                                                                                                ORD_00019747;
  513       GoDaddy Domain Information re Domain Name "Sandhillrp.com"                                                                                          ORD_00019823     ORD_00019827     ORD_00019742
  514       AT&T Subscriber Information re phone number x1312, Michael Tew                                                                                      ORD_00019224                      ORD_00020003-ORD_00020004
  515       AT&T Subscriber Information re phone number x7473, Michael Tew                                                                                      ORD_00019225                      ORD_00020003-ORD_00020004
  516       AT&T Subscriber Information re phone number x2046, Kimberley Vertanen                                                                               ORD_00019223                      ORD_00020003-ORD_00020004
  517       AT&T Text Message History re phone numbers x2046 & x1312                                                                                            ORD_00019204                      ORD_00020003-ORD_00020004
                                                                                                                                                                ORD_00019224;
  518       AT&T Records re phone number x1312                                                                                                                  ORD_00019331     ORD_00019544     ORD_00020003-ORD_00020004
  519       Spreadsheet of Verizon Call Records re phone number x1709                                                                                           ORD_00019950                      ORD_00019935

  520       Google Subscriber Information re [5530 JD] Email Recovery (chrisrncn@gmail.com)                                                                     ORD_00015084                      ORD_00017711; ORD_00019955-ORD_00020002

  521       Google Subscriber Information re [PM] email recovery (political.media.wdc@gmail.com)                                                                ORD_00017716                      ORD_00017711; ORD_00019955-ORD_00020003

  522       Google Voice Record re Google Voice Number x0152                                                                                                    ORD_00015068                      ORD_00017711; ORD_00019955-ORD_00020004

  523       Google Subscriber Information re vtleycap@gmail.com (recovery email kley@me.com)                                                                    ORD_00019129                      ORD_00017711; ORD_00019955-ORD_00020005

  524       Google subscriber information re meyersconsultinggroupinc@gmail.com                                                                                                                   ORD_00017711; ORD_00019955-ORD_00020006
  525       IRS Form W-9 re [MM], dated 10.11.2018                                                                                                              NAC_00000393     NAC_00000398     NAC_00000978-NAC_00000979
  526       Colorado Secretary of State Statement of Foreign Entity Authority re: Sand Hill LLC, filed 11.12.2018                                               VCORP_00000062   VCORP_00000064   VCORP_00000001
  527       Plea agreement as to Jonathan Yioulos, dated 11.18.2021
  528       Audio of 7/15/2020 Proffer with Michael Tew                                                                                                         INV_00004475
  529       Audio of 7/28/2020 Proffer with Michael Tew                                                                                                         INV_00004476     INV_00004479
  530       Audio of 10/23/2020 Proffer with Kimberley Tew                                                                                                      INV_00004486     INV_00004488
  531       07.07.2020 Photograph of Yioulos Phone Contact ‘JB’                                                                                                 INV_00005154
  532       Email re "RE: AMEX" on 07.16.2018                                                                                                                   NAC_E_00108968   NAC_E_00108969   NAC_E_00204515-NAC_E_00204516
  533       Email re "FW: Scanned Document" on 07.31.2018                                                                                                       NAC_E_00113905   NAC_E_00113906   NAC_E_00204515-NAC_E_00204516
  534       Email re "RE: Wire - Michael Tew" on 08.02.2018                                                                                                     NAC_E_00055400   NAC_E_00055401   NAC_E_00204515-NAC_E_00204516
  535       Email re "FW: MT AGMT" on 09.14.2018                                                                                                                NAC_E_00069611   NAC_E_00069612   NAC_E_00204515-NAC_E_00204516
  536       Email re "FW: National Air Cargo Holdings Correspondence" on 09.17.2018                                                                             NAC_E_00194887   NAC_E_00194888   NAC_E_00204515-NAC_E_00204516
  537       Invoice #79487 re: [MCG] Inc for $10,000.00, dated 10.30.2018                                                                                       NAC_00000546                      NAC_00000978-NAC_00000979
  538       Email re "RE: Michael Tew - AMEX" on 01.17.2019                                                                                                     NAC_E_00170325                    NAC_E_00204515-NAC_E_00204516
            Email re "Invoices for June 2020" on 06.30.2020 (Global Fuel Logistics Invoice #10222 for $17,955.50; & Aero Maintenenace Resources Invoice #9611
  539       for $79,292)                                                                                                                                        NAC_E_106466     NAC_E_00106468   NAC_E_00204515-NAC_E_00204516
  540       Invoice #79466 re: [MCG] Inc for $30,000.00, dated 10.12.2018                                                                                       NAC_00000545                      NAC_00000978-NAC_00000979
  541       Invoice #79488 re: [MCG] Inc for $30,000.00, dated 11.30.2018                                                                                       NAC_00000547                      NAC_00000978-NAC_00000979
  542       Invoice #79489 re: [MCG] Inc for $30,000.00, dated 11.30.2018                                                                                       NAC_00000548                      NAC_00000978-NAC_00000979

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                                     No. 1:20-cr-00305-DDD
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                                                                                               PageColorado
                                                                                                    10 of 17                                                                                 pg
                                                                 288 of 1354
                                                                                                                                                                                                                   Printed 1/24/2024 at 10:31 PM




Exhibit                                                                         Brief Description                                                             BEG Bates #     END Bates #                 902 Declaration
  543       Invoice #79490 re: [MCG] Inc for $25,000.00, dated 12.11.2018                                                                                  NAC_00000549                      NAC_00000978-NAC_00000979
  544       Colorado Secretary of State Statement of Foreign Entity Authority re: Global Fuel Logistics Inc., filed 07.11.2019                             VCORP_00000003   VCORP_00000005   VCORP_00000001
  545       IRS assignment of Emploment Identification Number re Global Fuel Logistics, dated 07.09.2019                                                   VCORP_00000015   VCORP_00000017   VCORP_00000001
  546       Wyoming Secretary of State Articles of Incorporation re Global Fuel Logistics Inc, filed 07.09.2019                                            VCORP_00000018   VCORP_00000021   VCORP_00000001
  547       IRS Form SS-4 Application for Employer Identification Number re Sand Hill LLC                                                                  VCORP_00000070   VCORP_00000071   VCORP_00000001
  548       State of New York Department of State Certification of Articles of Organization, dated 11.09.2018                                              VCORP_00000072                    VCORP_00000001
  549       Google Pay Customer Profile re kleytew@gmail.com                                                                                               GPAY_00000017    GPAY_00000020    GPAY_00000097-GPAY_00000106
  550       IRS Form 1099 re SandHill Research Partners, tax years 2015 through 2018                                                                       NAC_00000898     NAC_00000899     NAC_00000978-NAC_00000979
  551       Audio of 07.29.2020 meeting with Michael Tew at Yeti store                                                                                     INV_00004480
  552       Email re "RE: MT AGMT" on 09.14.2018                                                                                                           NAC_E_00161044                    NAC_E_00204515-NAC_E_00204516

  553       Email headers re email received by chrisrncn@gmail.com on 08.22.2018                                                                           ORD_00015085     ORD_00015089     ORD_00017711; ORD_00019955-ORD_00020006
  554       Spreadsheet of Apple account information re kley@me.com                                                                                        ORD_00002913                      ORD_00015053-ORD_00015054
555 - 599   INTENTIONALLY LEFT BLANK
  600       James Log (ECF #341-1), filed 12.05.2023
  601       Email re "ACH Invoice" on 08.07.2018 ([HS] Invoice dated 08.07.2018 for $15,000)                                                                                                 NAC_E_00204515-NAC_E_00204516
  602       Text messages between M.T. and J.Y. 08.07.2018                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
  603       Email re "re ACH Invoice" on 08.08.2018 ([HS] Invoice dated 08.08.2018 for $15,000)                                                                                              NAC_E_00204515-NAC_E_00204516
  604       Text messages between M.T. and J.Y. 08.08.2018                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
  605       Text messages between M.T. and J.Y. 08.09.2018                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
  606       Text messages between M.T. and J.Y. 08.13.2018                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
  607       Email re "Invoices: Michael Tew ACH August 15" on 08.14.2018 (Sand Hill Invoice #49 for $10,000 & [HS] Invoice dated 08.14.2018 for $20,000)                                     NAC_E_00204515-NAC_E_00204516
  608       Text message between J.Y. and M.T on 08.10.2018                                                                                                                                  SW_FIL_00342321-SW_FIL_00342322
  609       Text message between J.Y. and M.T on 08.18.2018                                                                                                                                  SW_FIL_00342321-SW_FIL_00342322
  610       Text message between J.Y. and M.T on 08.21.2018                                                                                                                                  SW_FIL_00342321-SW_FIL_00342322
  611       Email re "Invoice (CORRECTED)" on 08.22.2018 ([5530 JD] Invoice #7321116 for $15,000)                                                                                            NAC_E_00204515-NAC_E_00204516
  612       Email re "Wire Confirmation" on 08.22.2018                                                                                                                                       NAC_E_00204515-NAC_E_00204516
  613       Text messages between J.Y. and M.T on 08.22.2018                                                                                                                                 SW_FIL_00342321-SW_FIL_00342322
  614       Text messages between J.Y. and M.T on 08.23.2018                                                                                                                                 SW_FIL_00342321-SW_FIL_00342322
  615       Email re "re Invoice (CORRECTED)" on 08.23.2018                                                                                                                                  NAC_E_00204515-NAC_E_00204516
  616       Emails re "re Is there an invocie for this wire out of Holdings?" on 08.24.2018                                                                                                  NAC_E_00204515-NAC_E_00204516
  617       Text messages between M.T. and JY. on 08.28.2018                                                                                                                                 SW_FIL_00342321-SW_FIL_00342322
  618       Email re "Confirms" on 08.30.2018                                                                                                                                                NAC_E_00204515-NAC_E_00204516
  619       Text messages between J.Y. and K.T. on 08.30.2018                                                                                                                                SW_FIL_00342321-SW_FIL_00342322
  620       Text messages between J.Y. and M.T. on 08.30.2018                                                                                                                                SW_FIL_00342321-SW_FIL_00342322
  621       Text messages between M.T. and J.Y. on 08.31.2018                                                                                                                                SW_FIL_00342321-SW_FIL_00342322
  622       Text messages between M.T. and J.Y. on 09.01.2018                                                                                                                                SW_FIL_00342321-SW_FIL_00342322
  623       INTENTIONALLY LEFT BLANK
  624       Emails re "RE: Is there an invoice?" on 09.07.2018                                                                                                                               NAC_E_00204515-NAC_E_00204516
  625       Text messages between M.T. and J.Y. on 09.07.2018                                                                                                                                SW_FIL_00342321-SW_FIL_00342322
  626       Email re "FW: ACH INVOICE" on 09.07.2018 at 03:13pm                                                                                                                              NAC_E_00204515-NAC_E_00204516
  627       Email re "FW: ACH INVOICE" on 09.07.2018 at 03:14pm                                                                                                                              NAC_E_00204515-NAC_E_00204516
  628       Text messages from J.Y. to K.T. on 09.10.2018                                                                                                                                    SW_FIL_00342321-SW_FIL_00342322
  629       Email (NO SUBJECT) on 09.10.2018 ([5530 JD] Invoice #7321118 for $15,000 & Invoice #7321117 for $15,000)                                                                         NAC_E_00204515-NAC_E_00204516
  630       Emails re "RE: [HS] Invoices" on 09.10.2018                                                                                                                                      NAC_E_00204515-NAC_E_00204516
  631       Emails re "RE:" (NO SUBJECT) on 09.10.2018                                                                                                                                       NAC_E_00204515-NAC_E_00204516
  632       Email re "Cancel ACH" on 09.10.2018                                                                                                                                              NAC_E_00204515-NAC_E_00204516
  633       Text messages between M.T. and J.Y. on 09.12.2018                                                                                                                                SW_FIL_00342321-SW_FIL_00342322
  634       Text messages from J.Y. to K.T. on 09.12.2018                                                                                                                                    SW_FIL_00342321-SW_FIL_00342322
  635       Text messages from J.Y. to K.T. on 09.13.2018                                                                                                                                    SW_FIL_00342321-SW_FIL_00342322
  636       Text messages between M.T. and J.Y. on 09.13.2018                                                                                                                                SW_FIL_00342321-SW_FIL_00342322
  637       INTENTIONALLY LEFT BLANK
  638       Email re "Invoice" on 09.18.2018 ([5530 JD] Invoice #7321119 for $15,000)                                                                                                        NAC_E_00204515-NAC_E_00204516
  639       Text messages from J.Y. to K.T. on 09.18.2018                                                                                                                                    SW_FIL_00342321-SW_FIL_00342322
  640       Text messages from J.Y. to K.T. on 09.28.2018                                                                                                                                    SW_FIL_00342321-SW_FIL_00342322
  641       INTENTIONALLY LEFT BLANK
  642       Email re "Consulting Invoice" on 09.28.2018 ([5530 JD] Invoice #7321120 for $15,000)                                                                                             NAC_E_00204515-NAC_E_00204516
  643       Email re "RE: Invoices needed - Holdings" on 09.28.2018                                                                                                                          NAC_E_00204515-NAC_E_00204516
  644       Email re "Jess" on 10.01.2018                                                                                                                                                    NAC_E_00204515-NAC_E_00204516
  645       Text message from J.Y. to M.T. on 10.09.2018                                                                                                                                     SW_FIL_00342321-SW_FIL_00342322
  646       Text messages from J.Y. to K.T. on 10.25.2018                                                                                                                                    SW_FIL_00342321-SW_FIL_00342322
  647       Email re "Fwd: Invoice" on 10.25.2018                                                                                                                                            NAC_E_00204515-NAC_E_00204516

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                                  No. 1:20-cr-00305-DDD
                                       1:20-cr-00305-DDD Document
                                                          Document645-2
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                                                                                  01/24/24 USDC
                                                                                            PageColorado
                                                                                                 11 of 17                                                pg
                                                              289 of 1354
                                                                                                                                                                               Printed 1/24/2024 at 10:31 PM




Exhibit                                                                   Brief Description                                  BEG Bates #   END Bates #                902 Declaration
 648      Text messages between J.Y. to M.T. on 10.25.2018                                                                                               SW_FIL_00342321-SW_FIL_00342322
 649      Email re "Oct Invoice" on 10.30.2018                                                                                                           NAC_E_00204515-NAC_E_00204516
 650      Text messages between J.Y. to M.T. on 10.30.2018                                                                                               SW_FIL_00342321-SW_FIL_00342322
 651      Text messages from J.Y. to K.T. on 10.30.2018                                                                                                  SW_FIL_00342321-SW_FIL_00342322
 652      Text messages between J.Y. to M.T. on 10.31.2018                                                                                               SW_FIL_00342321-SW_FIL_00342322
 653      Email re "is there an invoice for this payment out of holdings?" on 10.31.2018                                                                 NAC_E_00204515-NAC_E_00204516
 654      Email re "RE: Michael Tew: Sand Hill, LLC" on 11.05.2018 at 2:13pm                                                                             NAC_E_00204515-NAC_E_00204516
 655      Email re "RE: Michael Tew: Sand Hill, LLC" on 11.05.2018, time unknown                                                                         NAC_E_00204515-NAC_E_00204516
 656      Text messages sent from Kley (M.T.) to M.M. on 11.06.2018                                                                                      SW_FIL_00342321-SW_FIL_00342322
 657      Email re "[MCG] LLC" on 11.06.2018                                                                                                             NAC_E_00204515-NAC_E_00204516
 658      Email re "RE: Invoice" on 11.09.2018                                                                                                           NAC_E_00204515-NAC_E_00204516
 659      Text messages between J.Y. to M.T. on 11.09.2018                                                                                               SW_FIL_00342321-SW_FIL_00342322
 660      INTENTIONALLY LEFT BLANK
 661      Email re "RE: Entity: Sand Hill, LLC - New York" on 11.12.2018                                                                                 NAC_E_00204515-NAC_E_00204516
 662      Text messages between J.Y. and M.T. on 11.13.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 663      Text messages between J.Y. and M.T. on 11.15.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 664      Text messages between J.Y. and M.T. on 11.16.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 665      Text messages between J.Y. and M.T. on 11.19.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 666      Email re "RE: Invoice" on 11.19.2018 at 8:55pm                                                                                                 NAC_E_00204515-NAC_E_00204516
 667      Email re "RE: Invoice" on 11.19.2018 at 9:04pm                                                                                                 NAC_E_00204515-NAC_E_00204516
 668      Text messages between J.Y. and M.T. on 11.20.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 669      Text messages between Kley (M.T.) and M.M. on 11.20.2018                                                                                       SW_FIL_00342321-SW_FIL_00342322
 670      Text messages between J.Y. and M.T. on 11.21.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 671      Text messages between J.Y. and M.T. on 11.23.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 672      Text messages between J.Y. and M.T. on 11.25.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 673      Text messages between J.Y. and M.T. on 11.26.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 674      Email re "RE: Invoice" on 11.26.2018 at 7:22pm ([5530 JD] Invoice #7321122 for $30,000)                                                        NAC_E_00204515-NAC_E_00204516
 675      Email re "RE: Invoice" on 11.26.2018 at 4:22pm                                                                                                 NAC_E_00204515-NAC_E_00204516
 676      Text messages between J.Y. and M.T. on 11.27.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 677      Email re "RE: Cash Sheet - Holdings - what's this?" on 11.28.2018                                                                              NAC_E_00204515-NAC_E_00204516
 678      Text message from J.Y. to M.T. on 11.30.2018                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 679      Text messages from J.Y. to K.T. on 12.01.2018                                                                                                  SW_FIL_00342321-SW_FIL_00342322
 680      Email re "RE: Final Invoice" on 12.03.2018 ([MCG] Invoice #79489 for $30,000)                                                                  NAC_E_00204515-NAC_E_00204516
 681      Text messages between J.Y. and M.T. on 12.04.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 682      Text messages from J.Y. to K.T. on 12.04.2018                                                                                                  SW_FIL_00342321-SW_FIL_00342322
 683      Email re "Missing Meyers invoices" on 12.04.2018 ([MCG] Invoice #79489 for $30,000 & Invoice #79488 for $30,000)                               NAC_E_00204515-NAC_E_00204516
 684      Text messages between J.Y. and M.T. on 12.06.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 685      Text messages from J.Y. to K.T. on 12.06.2018                                                                                                  SW_FIL_00342321-SW_FIL_00342322
 686      Email re "Fwd: [PM], Inc. - Invoice for Services" on 12.07.2018 ([PM] Invoice #6516 for $21,250)                                               NAC_E_00204515-NAC_E_00204516
 687      Text messages between J.Y. and M.T. on 12.07.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 688      Email re: "RE: [PM], Inc. - Invoice for Services" on 12.07.2018                                                                                NAC_E_00204515-NAC_E_00204516
 689      Text messages between J.Y. and M.T. on 12.06.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 690      Text messages between J.Y. and M.T. on 12.10.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 691      Email re "New Vendor - Paid on Friday" on 12.10.2018                                                                                           NAC_E_00204515-NAC_E_00204516
 692      Email re "Re: Final Invoice" on 12.11.2018 ([MCG] Invoice #79490 for $25,000)                                                                  NAC_E_00204515-NAC_E_00204516
 693      Text messages between J.Y. and M.T. on 12.11.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 694      Email re "Meyers Inv" on 12.14.2018                                                                                                            NAC_E_00204515-NAC_E_00204516
 695      Text messages between J.Y. and M.T. on 12.18.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 696      Text messages between Kley (M.T.) and M.M. on 12.18.2018                                                                                       SW_FIL_00342321-SW_FIL_00342322
 697      Text messages between J.Y. and M.T. on 12.19.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 698      Text messages between J.Y. and M.T. on 12.20.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 699      Email re "FW: INVOICES: MICHAEL TEW ACH AUGUST 15" on 12.20.2018                                                                               NAC_E_00204515-NAC_E_00204516
 700      Email re "FW: [PM], Inc. - Invoice for Services" on 12.20.2018 ([PM] Invoice #6517 for $15,125)                                                NAC_E_00204515-NAC_E_00204516
 701      Text messages between J.Y. and M.T. on 12.21.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 702      Text messages between J.Y. and M.T. on 01.07.2019                                                                                              SW_FIL_00342321-SW_FIL_00342322
 703      Email re "Invoice from [PM], Inc." on 01.07.2019 ([PM] Invoice #6540 for $15,312.50)                                                           NAC_E_00204515-NAC_E_00204516
 704      Text messages between J.Y. and M.T. on 01.09.2019                                                                                              SW_FIL_00342321-SW_FIL_00342322
 705      Text messages between J.Y. and M.T. on 01.10.2019                                                                                              SW_FIL_00342321-SW_FIL_00342322
 706      Email re "Invoice from [PM], Inc." on 01.10.2019 ([PM] Invoice #6670 for $25,350)                                                              NAC_E_00204515-NAC_E_00204516
 707      Text messages between J.Y. and M.T. on 01.17.2019                                                                                              SW_FIL_00342321-SW_FIL_00342322
 708      Text messages from J.Y. to K.T. on 01.17.2019                                                                                                  SW_FIL_00342321-SW_FIL_00342322
 709      Email re "FW: Invoice from [PM], Inc." on 01.17.2019                                                                                           NAC_E_00204515-NAC_E_00204516

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                             Case Case
                                  No. 1:20-cr-00305-DDD
                                       1:20-cr-00305-DDD Document
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                                                                                  01/24/24 USDC
                                                                                            PageColorado
                                                                                                 12 of 17                                               pg
                                                              290 of 1354
                                                                                                                                                                              Printed 1/24/2024 at 10:31 PM




Exhibit                                                                    Brief Description                                BEG Bates #   END Bates #                902 Declaration
 710      Text messages between J.Y. and M.T. on 01.18.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 711      Email re "Invoice from [PM], Inc." on 01.18.2019 ([PM] Invoice #6712 for $27,562.50)                                                          NAC_E_00204515-NAC_E_00204516
 712      Text messages between J.Y. and M.T. on 01.23.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 713      Email re "Invoice from [PM], Inc." on 01.23.2019 ([PM] Invoice #6714 for $21,000 & Invoice #6712 for $28,000)                                 NAC_E_00204515-NAC_E_00204516
 714      Email re "FW: Invoice from [PM], Inc." on 01.25.2019                                                                                          NAC_E_00204515-NAC_E_00204516
 715      Text messages from J.Y. to K.T. on 02.07.2019                                                                                                 SW_FIL_00342321-SW_FIL_00342322
 716      Email re "Invoice from [PM], Inc." on 02.07.2019 ([PM] Invoice #6775 for $15,250)                                                             NAC_E_00204515-NAC_E_00204516
 717      Text messages between J.Y. and M.T. on 02.19.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 718      Text messages from J.Y. to K.T. on 02.19.2019                                                                                                 SW_FIL_00342321-SW_FIL_00342322
 719      Email re "Invoice from [PM], Inc." on 02.19.2019 ([PM] Invoice #6786 for $15,250)                                                             NAC_E_00204515-NAC_E_00204516
 720      Email re "FW: Invoice from [PM], Inc." on 02.21.2019                                                                                          NAC_E_00204515-NAC_E_00204516
 721      Text messages between J.Y. and M.T. on 02.24.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 722      Text messages between J.Y. and M.T. on 03.01.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 723      Email re "Invoice from [PM], Inc." on 03.04.2019 ([PM] Invoice #6804 for $37,800)                                                             NAC_E_00204515-NAC_E_00204516
 724      Text messages between Kley (M.T.) and K.T. on 03.06.2019                                                                                      SW_FIL_00342321-SW_FIL_00342322
 725      Email re "FW: Invoice from [PM], Inc." on 03.07.2019                                                                                          NAC_E_00204515-NAC_E_00204516
 726      Text messages between Kley (M.T.) and K.T. on 03.14.2019                                                                                      SW_FIL_00342321-SW_FIL_00342322
 727      Email re "Invoice from [PM], Inc." on 03.14.2019 ([PM] Invoice #6881 for $31,500)                                                             NAC_E_00204515-NAC_E_00204516
 728      Email re "FW: Invoice from [PM], Inc." on 03.15.2019                                                                                          NAC_E_00204515-NAC_E_00204516
 729      Text messages between Kley (M.T.) and K.T. on 03.17.2019                                                                                      SW_FIL_00342321-SW_FIL_00342322
 730      Text messages between Kley (M.T.) and K.T. on 03.18.2019                                                                                      SW_FIL_00342321-SW_FIL_00342322
 731      Text messages between J.Y. and M.T. on 03.18.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 732      Email re "Invoice from [PM], Inc." on 03.18.2019 ([PM] Invoice #6910 for $20,250)                                                             NAC_E_00204515-NAC_E_00204516
 733      Email re "FW: Invoice from [PM], Inc." on 03.19.2019                                                                                          NAC_E_00204515-NAC_E_00204516
 734      Text messages between J.Y. and M.T. on 03.19.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 735      Text messages between Kley (M.T.) and K.T. on 03.19.2019                                                                                      SW_FIL_00342321-SW_FIL_00342322
 736      Text messages between M.T. and K.T. on 03.28.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 737      Email re "Invoice from [PM], Inc." on 03.28.2019 ([PM] Invoice #6976 for $38,000)                                                             NAC_E_00204515-NAC_E_00204516
 738      INTENTIONALLY LEFT BLANK
 739      Text messages between Kley (M.T.) and K.T. on 03.30.2019                                                                                      SW_FIL_00342321-SW_FIL_00342322
 740      Text messages between Kley (M.T.) and K.T. on 04.03.2019                                                                                      SW_FIL_00342321-SW_FIL_00342322
 741      Text messages between J.Y. and M.T. on 04.03.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 742      Email re "Invoice from [PM], Inc." on 04.03.2019 ([PM] Invoice #6910 for $30,150)                                                             NAC_E_00204515-NAC_E_00204516
 743      Email re "FW: Invoice from [PM], Inc." on 04.04.2019 ([PM] Invoice #7004 for 11,250)                                                          NAC_E_00204515-NAC_E_00204516
 744      INTENTIONALLY LEFT BLANK
 745      Text messages between J.Y. and M.T. on 04.07.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 746      Text messages between Kley (M.T.) and K.T. on 04.07.2019                                                                                      SW_FIL_00342321-SW_FIL_00342322
 747      Text messages between J.Y. and M.T. on 04.08.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 748      Email re "Invoice from [PM], Inc." on 04.08.2019 ([PM] Invoice #7101 for $37,500)                                                             NAC_E_00204515-NAC_E_00204516
 749      Email re "re Invoice from [PM], Inc." on 04.09.2019                                                                                           NAC_E_00204515-NAC_E_00204516
 750      INTENTIONALLY LEFT BLANK
 751      Text messages between M.T. and K.T. on 04.11.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 752      Text messages from Kley (M.T.) to M.M. on 04.12.2019                                                                                          SW_FIL_00342321-SW_FIL_00342322
 753      Text messages between M.T. and K.T. on 04.12.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 754      Text messages between J.Y. and M.T. on 04.13.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 755      Text messages between M.T. and K.T. on 04.16.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 756      Text messages between M.T. and K.T. on 04.17.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 757      INTENTIONALLY LEFT BLANK
 758      Text messages between M.T. and Kley (K.T.) on 04.21.2019                                                                                      SW_FIL_00342321-SW_FIL_00342322
 759      Text messages between M.T. and K.T. on 04.22.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 760      Text messages between Kley (M.T.) and K.T. on 04.23.2019                                                                                      SW_FIL_00342321-SW_FIL_00342322
 761      Text message from J.Y. to M.T. on 04.24.2019                                                                                                  SW_FIL_00342321-SW_FIL_00342322
 762      Text messages between M.T. and K.T. on 04.24.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 763      INTENTIONALLY LEFT BLANK
 764      Email re "Invoice from [PM], Inc." on 04.29.2019 ([PM] Invoice #7156 for $75,000 and Invoice #7158 for $39,780)                               NAC_E_00204515-NAC_E_00204516
 765      Email re "FW: Invoice from [PM]. Inc." on 04.29.2019                                                                                          NAC_E_00204515-NAC_E_00204516
 766      Text messages between Kley (M.T.) and K.T. on 04.30.2019                                                                                      SW_FIL_00342321-SW_FIL_00342322
 767      Text messages between M.T. and K.T. on 05.01.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 768      Text messages between M.T. and K.T. on 05.02.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 769      Text messages between M.T. and K.T. on 05.06.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 770      Text messages between J.Y. and M.T. on 05.07.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 771      Text messages between M.T. and K.T. on 05.08.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322

                                                                                                                                                                                                   12 of 17
                                                                                                                                                                                                290
                              Case Case
                                   No. 1:20-cr-00305-DDD
                                        1:20-cr-00305-DDD Document
                                                           Document645-2
                                                                    378-2 filed
                                                                             Filed
                                                                                 01/24/25
                                                                                   01/24/24 USDC
                                                                                             PageColorado
                                                                                                  13 of 17                                                                                pg
                                                               291 of 1354
                                                                                                                                                                                                                Printed 1/24/2024 at 10:31 PM




Exhibit                                                                    Brief Description                                                                  BEG Bates #   END Bates #                902 Declaration
 772      Text messages between Kley (M.T.) and K.T. on 05.09.2019                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
 773      Text messages between Kley (M.T.) and K.T. on 05.10.2019                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
 774      Text messages between J.Y. and M.T. on 05.10.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 775      Text messages between J.Y. and M.T. on 05.15.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 776      Text messages between M.T. and K.T. on 05.20.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 777      Text messages between M.T. and Kley (K.T.) on 05.21.2019                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
 778      Text messages between M.T. and Kley (K.T.) on 05.22.2019                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
 779      Text messages between M.T. and K.T. on 05.27.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 780      Text messages between M.T. and K.T. on 05.28.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 781      Text messages between J.Y. and M.T. on 06.03.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 782      Text messages between Kley (M.T.) and K.T. on 06.03.2019                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
 783      Email re "Journal Entry Testing" on 06.04.2019                                                                                                                                  NAC_E_00204515-NAC_E_00204516
 784      Text messages between M.T. and K.T. on 06.07.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 785      Text messages between M.T. and K.T. on 06.10.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 786      Text messages between J.Y. and M.T. on 06.12.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 787      Text messages between Kley (M.T.) and K.T. on 06.12.2019                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
 788      Text messages between J.Y. and M.T. on 06.13.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 789      Text messages between M.T. and K.T. on 06.13.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 790      Text messages between M.T. and K.T. on 06.18.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 791      INTENTIONALLY LEFT BLANK
 792      Text messages between M.T. and K.T. on 06.24.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 793      Text messages between M.T. and K.T. on 06.25.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 794      Text messages between M.T. and K.T. on 06.26.2019 and 06.27.2019                                                                                                                SW_FIL_00342321-SW_FIL_00342322
 795      Text messages between J.Y. and M.T. on 06.26.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 796      Text messages between J.Y. and M.T. on 06.28.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 797      Text messages between M.T. and K.T. on 06.28.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 798      Text messages between M.T. and K.T. on 06.29.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 799      Email re "RE: Please assist" on 07.11.2019                                                                                                                                      NAC_E_00204515-NAC_E_00204516
 800      Text messages between M.T. and K.T. on 07.02.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
          Emails re "Invoice From [PM], Inc." on 07.03.2019 ([PM] Invoice #7201 for $40,000; Invoice #7263 for $10,100; Invoice #7312 for $9,500; & Invoice
 801      #7322 for $30,000)                                                                                                                                                              NAC_E_00204515-NAC_E_00204516
 802      Text messages between M.T. and K.T. on 07.04.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 803      INTENTIONALLY LEFT BLANK
 804      Text messages between M.T. and K.T. on 07.07.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 805      Text messages between M.T. and K.T. on 07.07.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 806      Text messages between J.Y. and M.T. on 07.08.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 807      Emails re "Re: Please assist" on 07.08.2019                                                                                                                                     NAC_E_00204515-NAC_E_00204516
 808      Emails re "Re: Please assist" on 07.09.2019                                                                                                                                     NAC_E_00204515-NAC_E_00204516
 809      Text messages between M.T. and K.T. on 07.09.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 810      Text messages between M.T. and K.T. on 07.11.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 811      Text messages between M.T. and K.T. on 07.17.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 812      Text messages between M.T. and K.T. on 07.18.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 813      Text messages between J.Y. and M.T. on 07.19.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 814      Text messages between J.Y. and M.T. on 07.22.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 815      Text messages between M.T. and K.T. on 07.29.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 816      Text messages between J.Y. and M.T. on 07.30.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 817      Text messages between J.Y. and M.T. on 08.01.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 818      Text messages between J.Y. and M.T. on 08.03.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 819      Text messages between M.T. and K.T. on 08.04.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 820      Text messages between J.Y. and M.T. on 08.05.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 821      Text messages between M.T. and K.T. on 08.05.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 822      Text messages between M.T. and K.T. on 08.06.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 823      Text messages between J.Y. and M.T. on 08.06.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 824      Text messages between M.T. and K.T. on 08.11.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 825      Text messages between M.T. and K.T. on 08.13.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 826      Text messages between J.Y. and M.T. on 08.13.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 827      Text messages between J.Y. and M.T. on 08.14.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 828      Text messages between J.Y. and M.T. on 08.15.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 829      Text messages between M.T. and K.T. on 08.18.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 830      Text messages between J.Y. and M.T. on 08.19.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 831      Text messages between J.Y. and M.T. on 08.20.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 832      Text messages between J.Y. and M.T. on 08.21.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322

                                                                                                                                                                                                                                     13 of 17
                                                                                                                                                                                                                                  291
                              Case Case
                                   No. 1:20-cr-00305-DDD
                                        1:20-cr-00305-DDD Document
                                                           Document645-2
                                                                    378-2 filed
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                                                                                 01/24/25
                                                                                   01/24/24 USDC
                                                                                             PageColorado
                                                                                                  14 of 17                                                                                    pg
                                                               292 of 1354
                                                                                                                                                                                                                    Printed 1/24/2024 at 10:31 PM




Exhibit                                                                     Brief Description                                                                     BEG Bates #   END Bates #                902 Declaration
 833      Text messages between J.Y. and M.T. on 08.22.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 834      Text messages between M.T. and K.T. on 08.22.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 835      Text messages between M.T. and K.T. on 08.23.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 836      Text messages between M.T. and K.T. on 08.25.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 837      Text messages between J.Y. and M.T. on 08.26.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 838      Text messages between M.T. and K.T. on 08.26.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 839      Text messages between M.T. and K.T. on 08.27.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 840      Text messages between M.T. and K.T. on 08.28.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
          Email re "Invoices from Global Fuel Logistics, Inc" on 08.28.2019 (Global Fuel Logistics Invoice #987 for #9,500; Invoice #972 for $94,500; & Invoice
 841      #763 for $152,000)                                                                                                                                                                  NAC_E_00204515-NAC_E_00204516
 842      Text messages between M.T. and K.T. on 08.29.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 843      Emails re "RE: 8/29 Wires" on 08.29.2019                                                                                                                                            NAC_E_00204515-NAC_E_00204516
 844      Email re "Global Fuel - Updated Invoice" on 08.29.2019 (Global Fuel Logistics Invoice #1001 for $55,000)                                                                            NAC_E_00204515-NAC_E_00204516
          Email re "Invoices from Global Fuel Logistics, Inc" on 08.29.2019 (Global Fuel Logistics Invoice #1023 for $45,000; Invoice #1011 for $45,000; &
 845      Invoice #1001 for $56,000)                                                                                                                                                          NAC_E_00204515-NAC_E_00204516
 846      Text messages between M.T. and K.T. on 08.30.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 847      INTENTIONALLY LEFT BLANK
 848      Text messages between M.T. and K.T. on 09.06.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 849      Text messages between M.T. and K.T. on 09.07.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 850      Text messages between M.T. and K.T. on 09.08.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 851      Text messages between J.Y. and M.T. on 09.09.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 852      Text messages between M.T. and K.T. on 09.09.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 853      Text messages between M.T. and K.T. on 09.10.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 854      Text messages between M.T. and K.T. on 09.13.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 855      Text messages between M.T. and K.T. on 09.14.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 856      Text messages between J.Y. and M.T. on 09.16.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 857      Text messages between J.Y. and M.T. on 09.17.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 858      Text messages between J.Y. and M.T. on 09.18.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 859      Text messages between M.T. and K.T. on 09.18.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 860      Text messages between M.T. and K.T. on 09.22.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 861      Text messages between M.T. and K.T. on 09.23.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 862      Text messages between J.Y. and M.T. on 09.25.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 863      Text messages between J.Y. and M.T. on 09.26.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 864      Text messages between M.T. and K.T. on 09.26.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 865      Text messages between J.Y. and M.T. on 09.27.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 866      Text messages between M.T. and K.T. on 09.28.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 867      Text messages between M.T. and K.T. on 09.30.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 868      INTENTIONALLY LEFT BLANK
 869      Text messages between M.T. and K.T. on 10.02.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 870      INTENTIONALLY LEFT BLANK
 871      Text messages between M.T. and K.T. on 10.05.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 872      Text messages between M.T. and K.T. on 10.07.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 873      Text messages between M.T. and K.T. on 10.08.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 874      Text messages between M.T. and K.T. on 10.09.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
          Email re "Invoices from Aero Maintenance Resources" on 10.11.2019 (Aero Maintenance Resources Invoice #697 for $112,750; Invoice #634 for $75,000;
 875      & Invoice #627 for $141,450)                                                                                                                                                        NAC_E_00204515-NAC_E_00204516
 876      Text messages between M.T. and K.T. on 10.11.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 877      Text messages between M.T. and K.T. on 10.15.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 878      INTENTIONALLY LEFT BLANK
 879      Text messages between M.T. and K.T. on 10.19.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 880      Text messages between M.T. and K.T. on 10.20.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 881      Text messages between M.T. and K.T. on 10.21.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 882      Text messages between M.T. and K.T. on 10.22.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 883      Text messages between M.T. and K.T. on 10.25.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 884      Text messages between M.T. and K.T. on 10.25.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 885      Text messages between M.T. and K.T. on 10.31.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 886      Text messages between M.T. and K.T. on 11.01.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
          Email re "Invoices from Aero Maintenance Resources" on 11.11.2019 (Aero Maintenance Resources Invoice #1017 for $110,000; Invoice #1021 for
 887      $100,000; & Invoice #1103 for $66,750)                                                                                                                                              NAC_E_00204515-NAC_E_00204516
 888      Text messages between M.T. and K.T. on 11.13.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 889      Text messages between M.T. and K.T. on 11.14.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 890      Text messages between M.T. and K.T. on 11.19.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322

                                                                                                                                                                                                                                         14 of 17
                                                                                                                                                                                                                                      292
                             Case Case
                                  No. 1:20-cr-00305-DDD
                                       1:20-cr-00305-DDD Document
                                                          Document645-2
                                                                   378-2 filed
                                                                            Filed
                                                                                01/24/25
                                                                                  01/24/24 USDC
                                                                                            PageColorado
                                                                                                 15 of 17                                                                            pg
                                                              293 of 1354
                                                                                                                                                                                                           Printed 1/24/2024 at 10:31 PM




Exhibit                                                                   Brief Description                                                              BEG Bates #   END Bates #                902 Declaration
 891      Text messages between M.T. and K.T. on 11.20.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 892      Text messages between M.T. and K.T. on 11.21.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 893      Text messages between M.T. and K.T. on 11.22.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 894      Text messages between M.T. and K.T. on 11.25.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 895      Text messages between M.T. and K.T. on 12.01.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 896      Text messages between M.T. and K.T. on 12.02.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 897      Text messages between M.T. and K.T. on 12.03.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 898      Text messages between M.T. and K.T. on 12.04.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 899      Text messages between M.T. and K.T. on 12.06.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 900      INTENTIONALLY LEFT BLANK
 901      Text messages between M.T. and K.T. on 12.11.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 902      Text messages between M.T. and K.T. on 12.13.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
          Email re "Invoices from Aero Maintenance Resources" on 12.17.2019 (Aero Maintenance Resources Invoice #2110 for $49,750; Invoice #2325 for
 903      $83,400; & Invoice #2392 for $85,250)                                                                                                                                      NAC_E_00204515-NAC_E_00204516
 904      Text messages between M.T. and K.T. on 12.20.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 905      Text messages between M.T. and K.T. on 12.21.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 906      Text messages between M.T. and K.T. on 12.30.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 907      Text messages between M.T. and K.T. on 12.31.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 908      Text messages between M.T. and K.T. on 01.03.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 909      Text messages between M.T. and K.T. on 01.07.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 910      Text messages between M.T. and K.T. on 01.08.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 911      Text messages between M.T. and K.T. on 01.09.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
          Email re "Invoices from Aero Maintenance Resources" on 01.09.2020 (Aero Maintenance Resources Invoice #2515 for $79,950; Invoice #2479 for
 912      $87,200; & Invoice #2601 for $148,200)                                                                                                                                     NAC_E_00204515-NAC_E_00204516
 913      Text messages between M.T. and K.T. on 01.10.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 914      Text messages between M.T. and K.T. on 01.11.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 915      Text messages between M.T. and K.T. on 01.13.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 916      Text messages between M.T. and K.T. on 01.16.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 917      Text messages between M.T. and K.T. on 01.17.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 918      Text messages between M.T. and K.T. on 01.22.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 919      Text messages between M.T. and K.T. on 01.26.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 920      Text messages between M.T. and K.T. on 01.28.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 921      Text messages between M.T. and K.T. on 01.29.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 922      Text messages between M.T. and K.T. on 01.31.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 923      Text messages between M.T. and K.T. on 02.01.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 924      Text messages between M.T. and K.T. on 02.05.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 925      Text messages between M.T. and K.T. on 02.12.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 926      Text messages between M.T. and K.T. on 02.13.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 927      Text messages between M.T. and K.T. on 02.15.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
          Email re "Invoices from Aero Maintenance Resources" on 02.18.2020 (Aero Maintenance Resources Invoice #2807 for $15,689; & Invoice #2753 for
 928      $99,211)                                                                                                                                                                   NAC_E_00204515-NAC_E_00204516
 929      Text messages between M.T. and K.T. on 02.25.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 930      Text messages between M.T. and K.T. on 02.26.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 931      Text messages between M.T. and K.T. on 03.03.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 932      Text messages between M.T. and K.T. on 03.06.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
          Email re "Invoices from Aero Maintenance Resources" on 03.09.2020 (Aero Maintenance Resources Invoice #3004 for $95,000; Invoice #2987 for
 933      $33,520; & Invoice #2901 for $90,180)                                                                                                                                      NAC_E_00204515-NAC_E_00204516
 934      Text messages between M.T. and K.T. on 03.10.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 935      Email re "Aero Maintenance Invoices for February 2020" on 03.11.2020 (Aero Maintenance Resources Invoice #2990 for $73,000)                                                NAC_E_00204515-NAC_E_00204516
 936      Text messages between M.T. and K.T. on 03.11.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 937      Text messages between M.T. and K.T. on 03.17.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 938      Text messages between M.T. and K.T. on 03.18.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 939      Email re NO SUBJECT on 03.19.2020                                                                                                                                          NAC_E_00204515-NAC_E_00204516
 940      Text messages between M.T. and K.T. on 03.20.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 941      Text messages between M.T. and K.T. on 03.22.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 942      Text messages between M.T. and K.T. on 03.23.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 943      Text messages between M.T. and K.T. on 03.28.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 944      Text messages between M.T. and K.T. on 03.30.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 945      Text messages between M.T. and K.T. on 04.01.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 946      Text messages between M.T. and K.T. on 04.02.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 947      Text messages between M.T. and K.T. on 04.05.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 948      Text messages between M.T. and K.T. on 04.06.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322

                                                                                                                                                                                                                                15 of 17
                                                                                                                                                                                                                             293
                                 Case Case
                                      No. 1:20-cr-00305-DDD
                                           1:20-cr-00305-DDD Document
                                                              Document645-2
                                                                       378-2 filed
                                                                                Filed
                                                                                    01/24/25
                                                                                      01/24/24 USDC
                                                                                                PageColorado
                                                                                                     16 of 17                                                                                          pg
                                                                  294 of 1354
                                                                                                                                                                                                                             Printed 1/24/2024 at 10:31 PM




 Exhibit                                                                       Brief Description                                                                       BEG Bates #       END Bates #                902 Declaration
   949        Text messages between M.T. and K.T. on 04.08.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
              Email re "Invoices for Aero Maintenance Resources" on 04.14.2020 (Aero Maintenance Resources Invoice #4001 for $87,045; & Invoice #3176 for
   950        $127,155)                                                                                                                                                                                NAC_E_00204515-NAC_E_00204516
   951        Text messages between M.T. and K.T. on 04.14.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
              Email re "Aero Maintenance Invoices for April 2020" on 04.16.2020 (Aero Maintenance Resources Invoice #5120 for $105,603; & Invoice #4784 for
   952        $114,685)                                                                                                                                                                                NAC_E_00204515-NAC_E_00204516
   953        Email re "Invoice for Global Fuel Logistics, Inc." on 04.27.2020 (Global Fuel Logistics Invoice #7988 for $124,785)                                                                      NAC_E_00204515-NAC_E_00204516
   954        Email re "Invoice for Aero Maintenance Resources 2 March 2020" on 05.04.2020 (Aero Maintenance Resources Invoice #3101 for $61,255)                                                      NAC_E_00204515-NAC_E_00204516
   955        Email re "Invoice for Global Fuel Logistics, Inc." on 05.11.2020 (Global Fuel Logistics Invoice #8011 for $83,090)                                                                       NAC_E_00204515-NAC_E_00204516
   956        Text messages between M.T. and K.T. on 05.12.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   957        Text messages between M.T. and K.T. on 05.23.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   958        Text messages between M.T. and K.T. on 05.28.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
              Email re "Invoices for May 2020" on 06.03.2020 (Aero Maintenance Resources Invoice #8888 for $153,725; Global Fuel Logistics Invoice #9014 for
   959        $159,882; & Global Fuel Logistics Invoice #9071 for $164,065)                                                                                                                            NAC_E_00204515-NAC_E_00204516
   960        Text messages between M.T. and K.T. on 06.07.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   961        Text messages between M.T. and K.T. on 06.09.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   962        Text messages between M.T. and K.T. on 06.10.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   963        Text messages between M.T. and K.T. on 06.11.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   964        Text messages between M.T. and K.T. on 06.16.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   965        Text messages between M.T. and K.T. on 06.17.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   966        Text messages between M.T. and K.T. on 06.24.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   967        Text messages between M.T. and K.T. on 06.25.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   968        Text messages between M.T. and K.T. on 06.26.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
              Email re "Invoices for June 2020" on 06.30.2020 (Global Fuel Logistics Invoice #10101 for $170,274.50; Aero Maintenance Resources Invoice #9302 for
   969        $194,803; & Global Fuel Logistics Invoice #11812 for $127,264)                                                                                                                           NAC_E_00204515-NAC_E_00204516
   970        Text messages between M.T. and K.T. on 06.29.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   971        Text messages between M.T. and K.T. on 07.01.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   972        Text messages between J.Y. and K.T. on 07.01.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   973        Email re "Invoice for July 1 2020" on 07.02.2020 (Global Fuel Logistics Invoice #10226 for $95,000)                                                                                      NAC_E_00204515-NAC_E_00204516
   974        Audio recording of consensual phone call between J.Y. and M.T. on 07.07.2020                                                                          INV_00005038
   975        Audio recording of consensual phone call between J.Y. and M.T. on 07.08.2020                                                                          INV_00005040
                                                                                                                                                                    INV_00005141;     INV_00005142;
                                                                                                                                                                    INV_00005182;     INV_00005182;
   976        Text messages between J.Y. and M.T. on 07.08.2020                                                                                                     INV_00005185      INV_00005191
   977        INTENTIONALLY LEFT BLANK
   978        Email re Kimberley Tew $10,000 Invoice, dated 12.31.2018                                                                                              NAC_E_00060469    NAC_E_00060470   NAC_E_00204515-NAC_E_00204516
   979        Email re ACH Payment Questions, dated 04.17.2019                                                                                                      NAC_E_00100476                     NAC_E_00204515-NAC_E_00204516
   980        Email re Lululemon Order Confirmation to Amy Tew, dated 11.04.2018                                                                                    SW_FIL_00003054                    SW_FIL_00011402-SW_FIL_00011407
   981        Email re Lilky Pulitzer Shipping Confirmation to Amy Tew, dated 10.18.2018                                                                            SW_FIL_00006094                    SW_FIL_00011402-SW_FIL_00011408
   982        Email re Lilky Pulitzer Order Confirmation to Amy Tew, dated 10.17.2018                                                                               SW_FIL_00006901                    SW_FIL_00011402-SW_FIL_00011409
   983        Email re Saks Fifth Avenue Order Confirmation to Amy Tew, dated 10.18.2018                                                                            SW_FIL_00008364                    SW_FIL_00011402-SW_FIL_00011410
   984        Email re Zappos Order Confirmation to Amy Tew, dated 11.03.2018                                                                                       SW_FIL_00009825                    SW_FIL_00011402-SW_FIL_00011411
   985        Email re Kimberley Tew Introduction & Contact Information, dated 01.30.2018                                                                           NAC_E_00058418                     NAC_E_00204515-NAC_E_00204516
   986        Invoice #001 re Kimberley Tew for $10,000.00, dated 02.08.2018                                                                                        NAC_00000731                       NAC_00000978-NAC_00000979
   987        Transcript of consensual phone call between J.Y. and M.T. on 07.07.2020                                                                               INV_00008612      INV_00008768
   988        Transcript of consensual phone call between J.Y. and M.T. on 07.08.2020                                                                               INV_00008506      INV_00008539

                                                                                                                                                                    SW_FIL_00327501; SW_FIL_00327505;
   989        Text messages between M.T. and K.T. on 08.28.2019                                                                                                     SW_FIL_00373676 SW_FIL_00373617 SW_FIL_00342321-SW_FIL_00342322
                                                                                                                                                                    SW_FIL_00327625;
    990       Text messages between M.T. and K.T. on 09.18.2019                                                                                                     SW_FIL_00374972 SW_FIL_00327628 SW_FIL_00342321-SW_FIL_00342322
 991 - 999    INTENTIONALLY LEFT BLANK
   1000       INTENTIONALLY LEFT BLANK
   1001       Account Owners and Signors for Relevant Bank Accounts
   1002       Payments of Fraudulent Invoices by NAC between August 2018 and July 2020
   1003       Deposits of Fraudulent Invoices by NAC between August 2018 and July 2020
   1004       Summary of [HS CPA], [MCG], and [5530 JD] Invoices and Payments
   1005       Summary of [PM] Invoices and Payments
   1006       Summary of Global Fuel Logistics Invoices and Payments
   1007       Summary of Aero Maintenance Resources Invoices and Payments
1008 - 1099   INTENTIONALLY LEFT BLANK

                                                                                                                                                                                                                                                  16 of 17
                                                                                                                                                                                                                                               294
                             Case Case
                                  No. 1:20-cr-00305-DDD
                                       1:20-cr-00305-DDD Document
                                                          Document645-2
                                                                   378-2 filed
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                                                                                01/24/25
                                                                                  01/24/24 USDC
                                                                                            PageColorado
                                                                                                 17 of 17                           pg
                                                              295 of 1354
                                                                                                                                                  Printed 1/24/2024 at 10:31 PM




Exhibit                                                                     Brief Description      BEG Bates #       END Bates #         902 Declaration
 1100     Certificate of Authenticity for Atlantic Union Bank                                   ACNB_00000101
 1101     Certificate of Authenticity for ANB Bank                                              ANB_00000002
 1102     Certificate of Authenticity for ANB Bank                                              ANB_00000035
 1103     Certificate of Authenticity for BBVA                                                  BBVA_00000002
 1104     Certificate of Authenticity for BBVA                                                  BBVA_00000280
 1105     Certificate of Authenticity for Guaranty Bank and Trust Company                       GUAR_00000001
 1106     Certificate of Authenticity for Kraken                                                KRKN_00000001
 1107     Certificate of Authenticity for Navy Federal Credit Union                             NAVY_00000002     NAVY_00000003
 1108     Certificate of Authenticity for GoDaddy                                               ORD_00019742
 1109     Certificate of Authenticity for Google                                                ORD_00017711
 1110     Certificate of Authenticity for Verizon                                               ORD_00019935
 1111     Certificate of Authenticity for Regions Bank                                          REG_00000001
 1112     Certificate of Authenticity for Simple Finance Technology Corp                        SFT_00000001
 1113     Certificate of Authenticity for Signature Bank                                        SIG_00006978
 1114     Certificate of Authenticity for Google                                                SW_FIL_00000094   SW_FIL_00000099
 1115     Certificate of Authenticity for Apple                                                 SW_FIL_00342321   SW_FIL_00342322
 1116     Certificate of Authenticity for Google                                                SW_FIL_00011402   SW_FIL_00011407
 1117     Certificate of Authenticity for Google                                                SW_FIL_00011557   SW_FIL_00011561
 1118     Certificate of Authenticity for Vcorp                                                 VCORP_00000001
 1119     Certificate of Authenticity for Wells Fargo Bank                                      WFB_00000144      WFB_00000146
 1120     Certificate of Authenticity for Wells Fargo Bank                                      WFB_00001054      WFB_00001058
 1121     Certificate of Authenticity for Wynn Las Vegas                                        WYNN_00000002
 1122     Certificate of Authenticity for Google                                                ORD_00019955      ORD_00019961
 1123     Certificate of Authenticity for Google                                                ORD_00019962      ORD_00019976
 1124     Certificate of Authenticity for Google                                                ORD_00019977      ORD_00019991
 1125     Certificate of Authenticity for Google                                                ORD_00019992      ORD_00019996
 1126     Certificate of Authenticity for Google                                                ORD_00019997      ORD_00020002
 1127     Certificate of Authenticity for AT&T                                                  ORD_00020003      ORD_00020004
 1128     Certificate of Authenticity for Navy Federal Credit Union                             NAVY_00002211     NAVY_00002212
 1129     Certificate of Authenticity for American Express                                      AMEX_00000001
 1130     Certificate of Authenticity for National Air Cargo                                    NAC_E_00204515    NAC_E_00204516
 1131     Certificate of Authenticity for McDonald Automotive (Audi)                            AUDI_00000042
 1132     Certificate of Authenticity for Digital Mint                                          DGMT_00000001
 1133     Certificate of Authenticity for Digital Mint                                          DGMT_00000814
 1134     Certification of Authenticity for National Air Cargo                                  NAC_00000978      NAC_00000979
 1135     Certification of Authenticity for Access National Bank                                ACNB_00000001
 1136     Certification of Authenticity for Coinbase                                            COIN_00000076
 1137     Certification of Authenticity for Coinbase                                            COIN_00000077
 1138     Certification of Authenticity for Coinbase                                            COIN_00000078
 1139     Certification of Authenticity for Navy FCU                                            NAVY_00002217
 1140     Certification of Authenticity for Apple                                               ORD_00015053      ORD_00015054
 1141     Certification for Google                                                              GPAY_00000097     GPAY_00000106




                                                                                                                                                                       17 of 17
                                                                                                                                                                    295
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         379 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                   1 of 11             pg
                                  296 of 1354




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW, and
      2. KIMBERLEY ANN TEW, a/k/a Kimberley Vertanen,

        Defendants.


                          GOVERNMENT’S TRIAL BRIEF


        Michael and Kimberley Tew conspired to steal over $5,000,000 from National

 Air Cargo (NAC) by agreeing to submit fake invoices from sham vendors to their

 friend and co-conspirator Jonathan Yioulos. Indictment at ¶¶ 1-25 (describing

 charged conspiracy to commit wire fraud). The pending indictment identifies 39

 executions of their fraud scheme — anecdotes of a brazen two-year crime spree that

 saw the Tews threaten their friend and callously turn away concerns that NAC might

 not be able to pay its employees or stay out of bankruptcy. Id. at ¶ 30 (charging

 individual executions of the fraud scheme). The Tews also agreed to fritter away their

 loot on selfish personal projects benchmarked by 15 five-figure financial transactions.

 Id. at ¶¶ 31-34 (describing charged conspiracy to spend more than $10,000 in fraud

 proceeds) and ¶ 36 (identifying specific transactions). Despite his substantial income

 and prior experience as a corporate CFO who knows that income is taxable, Michael


                                           1


                                                                                            296
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         379 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                   2 of 11              pg
                                  297 of 1354




 Tew failed to file any tax returns in 2016, 2017, 2018, or 2019. Id. ¶¶ 37-40.

         The jury will hear Michael Tew, with active advice from Kimberley, clumsily

 try to persuade Yioulos to stay in the conspiracy by explaining the effectiveness of his

 efforts to conceal the scheme. Hundreds of texts and emails captured by investigators

 and found by the Court to be preliminarily admissible, ECF No.361, will turn the

 upcoming trial into an epistolary novel of greed punctuated by the diligent record-

 keeping of financial institutions who kept track of every ill-gotten penny. The

 government submits this trial brief to provide legal guidance on the issues that might

 arise as the court and jury evaluate evidence related to the Tews’ crimes.

    I.      The Tews should not be permitted to tell the Court they used the
            fraudulent emails for one purpose and then shamelessly deny it for
            another

         In an issue adjacent to the one raised by the defendants’ motions to suppress,

 see ECF Nos. 370, 373, the defendants have not only taken incriminating positions

 with the government during proffer sessions — they’ve also done made strategic

 decisions before the Court, decisions which now bear consequence. As part of the

 motion to suppress, the defendants represented that each of them used the straw

 email accounts used to submit fraudulent invoices to NAC so that they could establish

 standing to challenge the warrants used to seize those accounts. ECF No. 226 at 7-9

 (proffering that Kimberley Tew used the [CR]@gmail.com account and the

 [MCG[@gmail.com account and that Michael Tew used the [PM]@gmail.com account).

 Although the Supreme Court held that a defendant’s testimony at a suppression

 hearing cannot be admitted against him, it has expressly reserved the issue of



                                            2


                                                                                             297
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         379 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                   3 of 11                pg
                                  298 of 1354




 whether such testimony can be used for impeachment purposes. United States v.

 Salvucci, 448 U.S. 83, 94 n.8 (1980). The Tenth Circuit has not ruled on the issue,

 but the circuits who have weighed in have concluded that such impeachment is

 permissible. See, e.g., United States v. Jaswal, 47 F.3d 539, 544-45 (2d Cir. 1995);

 United States v. Beltran-Gutierrez, 19 F.3d 1287, 1291 (9th Cir. 1994); United States

 v. Quesada-Rosdal, 685 F.2d 1281, 1283 (11th Cir. 1982). If either of the Tews tries

 to testify on cross-examination that they did not use these respective emails to submit

 fake invoices, that testimony would be inconsistent with their prior representations

 to the court and should be a valid basis for cross-examination.

    II.      The Tews acted out of greed, not duress, and should not be
             permitted to present such a factually baseless defense

          Consistent with the position that they cannot present evidence inconsistent

 with their proffers, the Tews should not be permitted to tell the government that they

 voluntarily agreed to commit fraud, but then tell a jury that their fraud was justified

 by duress.

          Even if such a defense was consistent with their proffers (and to be clear, it is

 not), the Tews should still not be permitted to argue that they stole $5 million because

 others to whom they owed money alleged made threats. At all times, the Tews had

 alternatives to taking millions that didn’t belong to them: they could have gone to the

 police or sought protective orders. Shannon v. United States, 76 F.3d 490, 493 (10th

 Cir. 1935) (“One who has full opportunity to avoid the act without danger of that kind

 cannot invoke the doctrine of coercion and is not entitled to an instruction submitting

 that question to the jury.”) And even then, the Tews would have to explain why

                                              3


                                                                                               298
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         379 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                   4 of 11             pg
                                  299 of 1354




 stealing millions and then using it to gamble, buys cars, pay rent on a $4,500-a-month

 apartment in Cherry Creek, and otherwise luxuriate in various indulges for two years

 was necessary to avoid “imminent” danger or otherwise had a “direct causal

 relationship” to avoiding that danger. United States v. Vigil, 743 F.2d 751, 755 (10th

 Cir. 1984). They cannot and the Court should not entertain the absurdity of letting

 them try.

    III.     The probative value of evidence about Kimberley Tew’s motives for
             participating in the fraud is res gestae that is not substantially
             outweighed by unfair prejudice

          Evidence at trial will show that Kimberley Tew has a gambling problem. It will

 also show that, one of the ways she fed that beast, was to speculate in cryptocurrency,

 peddling a supposedly winning algorithm to her unwitting “investors.” Among her

 motives for agreeing to take millions from Michael’s former employer was a desire to

 keep placing bets — literally at casinos and online in speculative cryptocurrency

 products. Evidence of motive is always relevant. And here, the fact that Kimberley

 consistently wanted money from Yioulos to gamble with will help the jury understand

 context for the crime. See, e.g., United States v. Candelaria, 2024 WL 82845, at *3

 (D.N.M. Jan. 8, 2024) (“Gambling is a popular activity, one that ordinarily does not

 stir an emotional response nor is such evidence likely to confuse the issues or mislead

 the jury.”).

    IV.      Testimony about the reasons for Michael Tew’s termination is
             inextricably intertwined with his fraud scheme.

          Because evidence about why Michael Tew was fired from NAC provides

 “contextual and background information” about their relationship to the jury, it is not


                                             4


                                                                                            299
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         379 filed
                                               Filed
                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                   5 of 11             pg
                                  300 of 1354




 “other” acts evidence covered by Rule 404(b). United States v. Parker, 553 F. 3d 1309,

 1314 (10th Cir. 2009); see United States v. Kupfer, 797 F.3d 1233, 1228 (10th Cir.

 2015) (laying out test for determining whether evidence is intrinsic, and thus not

 covered by Rule 404); see, e.g., United States v. Williams, 934 F.3d 1122, 1133–34

 (10th Cir. 2019) (concluding that prior statements by defendant were not 404(b)

 where they explained earlier relevant circumstances and presaged later testimony

 about the same subject); United States v. Irving, 665 F.3d 1184, 1212–13 (10th Cir.

 2011) (concluding that prior event helping explain motives for why defendant would

 want someone dead were intrinsic). The same is true of Ms. Tew’s extracurricular

 hobbies, to the extent that they were a motivating factor in this fraud. See supra.

    V.      The government should be permitted to offer additionally
            identified co-conspirator statements pursuant to Federal Rule of
            Evidence 801(d)(2)(E)

         In order to prepare for the James hearing, the government labored to narrow

 down those statements it believed were admissible pursuant to Federal Rule of

 Evidence 801(d)(2)(E). This was a time-intensive process, culling and sorting much

 detail. And still, at the end, the government submitted a James log with 376 entries.

         In further preparation for trial, the government has identified two additional

 co-conspirator statements which directly pertain to counts 44 and 47 of the

 Indictment. Additionally, the government respectfully seeks reconsideration of one

 entry which the Court previously ruled inadmissible (James Log 37), which was

 deemed inadmissible due, at least in part, to marital privilege. ECF No. 361 at 14-15.

 However, this was a conversation between Ms. Tew and Jonathan Yioulos. The



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                                                                   6 of 11               pg
                                  301 of 1354




 government remains mindful of the Court’s admonition to avoid cumulative evidence

 at trial, and will do so.

    VI.      The defendants must remain within the bounds of the Federal
             Rules of Evidence on cross-examination.

          At the core of this case is the Tews’ heartless abuse of trust. Michael Tew, of

 course, leveraged his high position and intimate knowledge of NAC’s inner workings

 of NAC to embezzle funds from the company, even long after he was terminated.

 Michael Tew’s former position was not just a reflection of his business capabilities,

 but also of his ability to earn the trust of high-level NAC employees.

          The Tews’ callousness did not end there. Over of the years, the evidence will

 show a pattern of the Tews earning the trust of their friends and business associates,

 only to turn around and treat them not only cruelly, but criminally. A particularly

 poignant aspect of this pattern is individuals who now are faced with federal

 testimony, but fear that information from their past friendships with the Tews will

 be leveraged against them.

          The Tews should not be permitted to harass these witnesses on

 cross-examination, not only because of moral and ethical reasons, but because the

 Federal Rules of Evidence do not permit it. The most basic and axiomatic principle of

 trial is that “[i]rrelevant evidence is not admissible.” Fed. R. Evid. 402. To the extent

 practicable, the court must conduct a jury trial so that inadmissible evidence is not

 suggested to the jury by any means. Fed. R. Evid. 103(d). Although the defendants

 will be accorded wide latitude on cross-examination, that latitude is not unfettered.

 Events concerning NAC’s business, for example, that happened years and even


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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                      645-2
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                                                                   7 of 11             pg
                                  302 of 1354




 decades before Michael Tew’s employment are clearly irrelevant. Similarly, the

 Federal Rules place clear boundaries on the proper use of impeachment by evidence

 of a criminal conviction. Fed. R. Evid. 609. And while evidence regarding an

 individual’s prior drug or alcohol use might be a permissible avenue to question a

 person’s credibility as to their memory of events during a certain time period, it

 should not be used as a character attack.

       Likewise, insinuations through cross-examination which seek only to

 embarrass, harass, or otherwise impugn a person’s character should not be allowed.

 Aspects of witnesses’ personal lives, especially private and intimate details, that are

 years’ old, have nothing to do with the witnesses’ credibility regarding the events at

 bar, and that the Tews only have access to because of the way in which they groomed

 those around them, should be swiftly denied. The Tews are represented by able and

 professional counsel, and the government expects nothing less.

    VII.   The defendants should be restricted to permissible uses of their
           devices in the courtroom and prohibited from public displays of
           photographs only designed to encourage a verdict based on
           emotion.

       In prior hearings of this case, both defendants have used their personal laptops

 in the courtroom. The government takes no issue with this use, provided the screens

 are limited to the display of admitted evidence and other justifiable work-product

 related to trial preparation. In the past, however, defendant Kimberley Tew,

 especially, has used her laptop during proceedings for personal use. Of particular

 concern is Ms. Tew’s habit of scrolling through pictures of her children on her laptop,

 in a full-screen mode. Should Ms. Tew continue this habit during trial, given the


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                                                   01/24/25
                                                     01/24/24 USDC
                                                               PageColorado
                                                                   8 of 11                pg
                                  303 of 1354




 layout of the courtroom, her screen will be on full display to the jury. The Tews’

 children and the Tews’ status as parents are matters wholly irrelevant to the

 proceedings. The defendants should be admonished on the appropriate limits of the

 use of their devices at trial, in order to prevent the introduction of subject matter that

 would only serve to undermine the fair adminstration of justice.

    VIII. The defendants should be restricted to permissible uses of their
          devices in the courtroom and prohibited from public displays of
          photographs only designed to encourage a verdict based on
          emotion.

       The government has proposed several summary charts, which the prosecution

 intends to admit via Fed. R. Evid. 1006 and the testimony of FBI forensic accountant

 Matt Morgan. Rule 1006 provides that a proponent “may use a summary, chart, or

 calculation to prove the content of voluminous writings, recordings, or photographs

 that cannot be conveniently examined in court,” provided the proponent makes the

 originals or duplicates available to the other party. In this case, all such records were

 provided to the defense in discovery. The government understands that the

 defendants raised this issue in their respective trial briefs, and will be prepared to

 discuss these proposed exhibits at the pretrial conference.


                                          COLE FINEGAN
                                          United States Attorney

  By: /s/ Bryan Fields                           By: /s/ Sarah H. Weiss
  Bryan Fields                                   Sarah H. Weiss
  Assistant United States Attorney               Assistant United States Attorney
  U.S. Attorney’s Office                         U.S. Attorney’s Office
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                                                                   9 of 11    pg
                                  304 of 1354




  Bryan.Fields3@usdoj.gov                  Sarah.Weiss@usdoj.gov
  Attorney for the Government              Attorney for the Government




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Case No.
     Case1:20-cr-00305-DDD
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                                                                   10 of 11      pg
                                  305 of 1354




 Certification of Type-Volume Limitation

        I hereby certify that the foregoing pleading complies with the type-volume
 limitation set forth in Judge Domenico’s Practice Standard III(A)(1).

                                                  /s/ Bryan Fields
                                                  Bryan Fields



 Statement of Speedy Trial Impact

       Pursuant to Judge Domenico’s Practice Standard III(C), the government notes
 that this motion will not affect the speedy trial clock in this case because any
 resolution of it will be within the already-granted ends-of-justice continuances
 granted on March 17, 2023. ECF Nos. 317 and 318.

                                                  /s/ Bryan Fields
                                                  Bryan Fields




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                                                                   11 of 11               pg
                                  306 of 1354




                            CERTIFICATE OF SERVICE

        I hereby certify that on this 24th day of January, 2024, I electronically filed
 the foregoing with the Clerk of the Court using the CM/ECF system that will send
 notification of such filing to counsel of record in this case.




                                                s/ Sarah H. Weiss
                                                Sarah H. Weiss
                                                Assistant U.S. Attorney
                                                1801 California Street, Suite 1600
                                                Denver, CO 80202
                                                Telephone 303-454-0100
                                                Facsimile 303-454-0402
                                                Sarah.Weiss@usdoj.gov




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                                                               PageColorado
                                                                   1 of 61     pg
                                  307 of 1354




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW, and
      2. KIMBERLEY ANN TEW, a/k/a Kimberley Vertanen,

        Defendants.


                     PARTIES’ PROPOSED JURY INSTRUCTIONS


        The parties jointly submit the following Proposed Jury Instructions. The

 following proposed instructions are designated as Stipulated, Competing, or

 Non-Stipulated. Citations and source materials are cited below each proposed

 instruction.

        Brackets indicate language that may require adjustment depending on the

 presentation of evidence at trial.

        The parties reserve their rights to modify these requested instructions,

 withdraw instructions, or submit additional instructions as pretrial and trial

 proceedings progress.




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                                                                   2 of 61    pg
                                  308 of 1354




                 PART 0: INSTRUCTIONS PRIOR TO TRIAL




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Case No.
      Case
         1:20-cr-00305-DDD
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                                                               PageColorado
                                                                   3 of 61              pg
                                  309 of 1354




                        PROPOSED INSTRUCTION NO. [ 1 ] 1
                                STIPULATED

                PRELIMINARY INSTRUCTIONS BEFORE TRIAL
                & INSTRUCTIONS REGARDING NOTE-TAKING

 Members of the jury:

       At the end of the trial I will give you detailed guidance on the law and on how

 you will go about reaching your decision. But now I simply want to generally explain

 how the trial will proceed.

       This criminal case has been brought by the United States government. I will

 sometimes refer to the government as the prosecution. The government is

 represented by Assistant United States Attorneys Bryan Fields and Sarah Weiss.

 Defendant Michael Tew is represented by Jason Schall and Kristen Frost. Defendant

 Kimberley Tew is represented by David Kaplan and Jamie Hubbard.

       The Indictment charges both Michael Tew and Kimberley Tew with one count

 of conspiracy to commit wire fraud, in violation of Title 18, United States Code Section

 1349 (Count 1). Michael Tew is charged with thirty-nine counts of wire fraud (Counts

 2 through 40), and Kimberley Tew is charged with six counts of wire fraud (Counts

 21, 22, 25, 26, 31, and 32), in violation of Title 18, United States Code, Section 1343.

       The Indictment further charges both Michael and Kimberley Tew with one

 count of conspiracy to commit money laundering, in violation of Title 18, United

 States Code, Section 1956(h) (Count 41). Michael Tew also is charged with fourteen




 1      10th Cir. Pattern Jury Instructions §§ 1.01 & 1.02 (3d ed. 2021) (modified to
 reflect multiple defendants and multiple counts).
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                                                               PageColorado
                                                                   4 of 61             pg
                                  310 of 1354




 counts of engaging in monetary transactions in property derived from specified

 unlawful activity (“money laundering–spending”) (Count 42 and Counts 44 through

 56), and Kimberley Tew is also charged with five counts of money laundering–

 spending (Counts 43, 44, 47, 48, and 56), in violation of Title 18, United States Code,

 Section 1957.

       The Indictment further charges Michael Tew with four counts of willful failure

 to file tax returns, in violation of Title 26, United States Code, Section 7203 (Counts

 57 through 60).

       The Indictment is simply the description of the charges made by the

 government against the defendants; it is not evidence of guilt or anything else. The

 defendants have pled not guilty and are presumed innocent. Each defendant may not

 be found guilty by you unless all twelve of you unanimously find that the government

 has proved that defendant’s guilt beyond a reasonable doubt. There are two

 defendants in this case, and you will have to give separate consideration to the case

 against each defendant, as each is entitled to individual consideration.

       The first step in the trial will be the opening statements. The government in

 its opening statement will tell you about the evidence which it intends to put before

 you. Just as the Indictment is not evidence, neither is the opening statement. Its

 purpose is only to help you understand what the evidence will be. It is a road map to

 show you what is ahead.




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                                                                   5 of 61            pg
                                  311 of 1354




       After the government's opening statement, each defendant may make an

 opening statement. [Change if any defendant reserves his/her statement until later

 or omit if a defendant has decided not to make an opening statement.]

       Evidence will be presented from which you will have to determine the facts.

 The evidence will consist of the testimony of the witnesses, documents and other

 things received into the record as exhibits, and any facts about which the lawyers

 agree or to which they stipulate.

       The government will offer its evidence. After the government's evidence, the

 defendants’ lawyers may [make an opening statement and] present evidence, but they

 are not required to do so. I remind you that each defendant is presumed innocent and

 it is the government that must prove each defendant’s guilt beyond a reasonable

 doubt. If a defendant submits evidence, the government may introduce rebuttal

 evidence.

       At times during the trial, a lawyer may make an objection to a question asked

 by another lawyer or to an answer by a witness. This simply means that the lawyer

 or party is requesting that I make a decision on a particular rule of law. Do not draw

 any conclusion from such objections or from my rulings on the objections. If I sustain

 an objection to a question, the witness may not answer it. Do not attempt to guess

 what answer might have been given if I had allowed the answer. If I overrule the

 objection, treat the answer as any other. If I tell you not to consider a particular

 statement, you may not refer to that statement in your later deliberations. Similarly,




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                                                                   6 of 61              pg
                                  312 of 1354




 if I tell you to consider a particular piece of evidence for a specific purpose, you may

 consider it only for that purpose.

        The lawyers for both sides may object to some of the things that are said and

 done during the trial. Do not hold that against either side. The lawyers have a duty

 to object whenever they think that something is not permitted by the rules of

 evidence. Those rules are designed to make sure that both sides receive a fair trial. 2

        During the course of the trial I may have to interrupt the proceedings to confer

 with the attorneys or the parties about the rules of law that should apply. Sometimes

 we will talk briefly, at the bench. But some of these conferences may take more time,

 so I will excuse you from the courtroom. I will try to avoid such interruptions

 whenever possible, but please be patient even if the trial seems to be moving slowly

 because conferences often actually save time in the end.

        You are to consider all the evidence received in this trial. It will be up to you

 to decide what evidence to believe and how much of any witness's testimony to accept

 or reject.

        After you have heard all the evidence on both sides, the government and the

 defense will each be given time for their final arguments.

        The final part of the trial occurs when I instruct you on the rules of law which

 you are to use in reaching your verdict.




 2      6th Cir. Pattern Jury Instructions § 1.09 (current through July 1, 2019).
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            1:20-cr-00305-DDDDocument
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                                      645-2
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                                                               PageColorado
                                                                   7 of 61               pg
                                  313 of 1354




       During the course of the trial I may ask a question of a witness. If I do, that

 does not indicate I have any opinion about the facts in the case but am only trying to

 bring out facts that you may consider.

       If you would like to take notes during the trial, you may. On the other hand,

 you are not required to take notes. If you do decide to take notes, be careful not to get

 so involved in note taking that you become distracted, and remember that your notes

 will not necessarily reflect exactly what was said, so your notes should be used only

 as memory aids. Therefore, you should not give your notes precedence over your

 independent recollection of the evidence. You should also not be unduly influenced by

 the notes of other jurors. If you do take notes, leave them in the jury room at night

 and do not discuss the contents of your notes until you begin deliberations.

       [I will now summarize the allegations detailed in the Indictment. As I

 mentioned, the defendants are Michael Tew and Kimberley Tew. The Indictment

 alleges that, during the relevant time period, they were married. As described in the

 Indictment, Mr. Michael Tew and Ms. Kimberly Tew are alleged to have conspired to

 defraud National Air Cargo (NAC or National), a Florida company at which Mr. Tew

 served as a contracted chief financial officer between 2015 and September 2018. The

 Indictment alleges that this scheme to defraud involved the submission of false

 invoices to NAC by companies that either never existed and/or never provided

 services to NAC. According to the Indictment, the alleged conspiracy to defraud NAC

 resulted in a loss of over $4 million. The Indictment also alleges a conspiracy to

 commit money laundering by Mr. Tew and Ms. Tew, as well as money laundering-



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                                                               PageColorado
                                                                   8 of 61               pg
                                  314 of 1354




 spending counts. These counts involve allegations that Mr. and Ms. Tew spent funds

 that they obtained through the scheme to defraud NAC. Finally, the Indictment

 alleges that Mr. Tew willfully failed to file federal income tax returns over a series of

 several years.] 3

        [Insert discussion of the elements of the offense here if they are to be set out

 for the jury in the preliminary instruction.] 4

        [Ordinarily, the attorneys will develop all the relevant evidence that will be

 necessary for you to reach your verdict. However, in rare situations, a juror may

 believe a question is critical to reaching a decision on a necessary element of the case.

 In that exceptional circumstance, you may write out a question and provide it to the

 courtroom deputy while the witness is on the stand. I will then consider that question

 with the lawyers. If it is determined to be a proper and necessary question, I will ask

 it. If I do not ask it, you should recognize that I have determined it is not a legally

 appropriate question and not worry about why it was not asked or what the answer

 would have been.]

        During the course of the trial, you should not talk with any witness, or with

 the defendant, or with any of the lawyers at all. In addition, during the course of the

 trial you should not talk about the trial with anyone else. Do not discuss the case with

 anyone or provide any information about the trial to anyone outside the courtroom



 3     This summary is derived from and expanded from the Court’s prior summaries
 in previous Orders in this case. See, e.g., ECF Nos. 258, 259, 262 (Orders Denying
 Motions to Suppress).

 4      See infra, Proposed Instructions of the Offense Elements.
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                                                     01/25/24 USDC
                                                               PageColorado
                                                                   9 of 61              pg
                                  315 of 1354




 until the verdict is received. Do not use the internet or any other form of electronic

 communication to provide any information. Simply put, do not communicate with

 anyone about the trial until your verdict is received. Also, you should not discuss this

 case among yourselves until I have instructed you on the law and you have gone to

 the jury room to make your decision at the end of the trial. It is important that you

 wait until all the evidence is received and you have heard my instructions on the

 controlling rules of law before you deliberate among yourselves. Let me add that

 during the course of the trial you will receive all the evidence you properly may

 consider to decide the case. Because of this, you should not attempt to gather any

 information on your own that you think might be helpful. Do not engage in any

 outside reading on this case, do not attempt to visit any places mentioned in the case,

 either actually or on the internet, and do not in any other way try to learn about the

 case outside the courtroom.

       The court reporter is making stenographic notes of everything that is said. This

 is basically to assist any appeals. However, a typewritten copy of the testimony will

 not be available for your use during deliberations. On the other hand, any exhibits

 will be available to you during your deliberations.

       Now that the trial has begun you must not hear or read about it in the media.

 The reason for this is that your decision in this case must be made solely on the

 evidence presented at the trial.

       With that introduction, Ms. Weiss, you may present the opening statement for

 the government.



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                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   10 of 61   pg
                                  316 of 1354




  PART I: GENERAL INSTRUCTIONS & EVIDENTIARY CONSIDERATIONS




                                      10


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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
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                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   11 of 61              pg
                                  317 of 1354




                       PROPOSED INSTRUCTION NO. [ 2 ] 5
                               STIPULATED

                  INTRODUCTION TO FINAL INSTRUCTIONS

 Members of the Jury:

       In any jury trial there are, in effect, two judges. I am one of the judges, you are

 the other. I am the judge of the law. You, as jurors, are the judges of the facts. I

 presided over the trial and decided what evidence was proper for your consideration.

 It is also my duty at the end of the trial to explain to you the rules of law that you

 must follow and apply in arriving at your verdict.

       In explaining the rules of law that you must follow, first, I will give you some

 general instructions which apply in every criminal case—for example, instructions

 about burden of proof and insights that may help you to judge the believability of

 witnesses. Then I will give you some specific rules of law that apply to this particular

 case and, finally, I will explain the procedures you should follow in your deliberations,

 and the possible verdicts you may return. These instructions will be given to you for

 use in the jury room, so you need not take notes.




 5     10th Cir. Pattern Jury Instructions § 1.03 (3d ed. 2021).
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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
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                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   12 of 61             pg
                                  318 of 1354




                       PROPOSED INSTRUCTION NO. [ 3 ] 6
                               STIPULATED

                       DUTY TO FOLLOW INSTRUCTIONS

        You, as jurors, are the judges of the facts. But in determining what actually

 happened—that is, in reaching your decision as to the facts—it is your sworn duty to

 follow all of the rules of law as I explain them to you.

        You have no right to disregard or give special attention to any one instruction,

 or to question the wisdom or correctness of any rule I may state to you. You must not

 substitute or follow your own notion or opinion as to what the law is or ought to be.

 It is your duty to apply the law as I explain it to you, regardless of the consequences.

 However, you should not read into these instructions, or anything else I may have

 said or done, any suggestion as to what your verdict should be. That is entirely up to

 you.

        It is also your duty to base your verdict solely upon the evidence, without

 prejudice or sympathy. That was the promise you made and the oath you took.

        The lawyers may properly refer to some of the governing rules of law in their

 closing arguments. If there is any difference between the law as stated by the lawyers

 and my instructions, you must follow my instructions.




 6     10th Cir. Pattern Jury Instructions § 1.04 (3d ed. 2021) (modified to reflect
 Charge of the Honorable Daniel D. Domenico at 13, United States v. Cline, 21-cr-
 00339-DDD (D. Colo. July 28, 2023), ECF No. 191).
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Case No.
     Case1:20-cr-00305-DDD
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                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   13 of 61              pg
                                  319 of 1354




                         PROPOSED INSTRUCTION NO. [ 4 ] 7
                                 STIPULATED

                      PRESUMPTION OF INNOCENCE—
                   BURDEN OF PROOF—REASONABLE DOUBT

       The government has the burden of proving the defendants guilty beyond a

 reasonable doubt. The law does not require a defendant to prove his or her innocence

 or produce any evidence at all. The government has the burden of proving each

 defendant guilty beyond a reasonable doubt, and if it fails to do so, you must find that

 defendant not guilty.

       Proof beyond a reasonable doubt is proof that leaves you firmly convinced of a

 defendant’s guilt. There are few things in this world that we know with absolute

 certainty, and in criminal cases the law does not require proof that overcomes every

 possible doubt. It is only required that the government’s proof exclude any

 “reasonable doubt” concerning the defendant’s guilt.

       A reasonable doubt is a doubt based on reason and common sense after careful

 and impartial consideration of all the evidence in the case. If, based on your

 consideration of the evidence, you are firmly convinced that defendant Michael Tew,

 or defendant Kimberley Tew, or both, are guilty of the crimes charged, you must find

 him or her guilty. If on the other hand, you think there is a real possibility that he or

 she is not guilty, you must give him or her the benefit of the doubt and find him or

 her not guilty.




 7     10th Cir. Pattern Jury Instructions § 1.05 (3d ed. 2021) (modified to reflect
 multiple defendants and multiple counts).
                                            13


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Case No.
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                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   14 of 61              pg
                                  320 of 1354




                      PROPOSED INSTRUCTION NO. [ 5 ] 8
                    NON-STIPULATED IN PART (see footnote)

                               EVIDENCE—DEFINED

         You must make your decision based only on the evidence that you saw and

 heard here in court. Do not let rumors, suspicions, or anything else that you may have

 seen or heard outside of court influence your decision in any way.

         The evidence in this case includes only what the witnesses said while they were

 testifying under oath, the exhibits that I allowed into evidence, [the stipulations that

 the lawyers or parties agreed to, and the facts that I have judicially noticed].

         Nothing else is evidence. The lawyers’ statements and arguments are not

 evidence. Their questions and objections are not evidence. My legal rulings are not

 evidence. And my comments and questions are not evidence.

         [Certain charts and summaries have been shown to you to help explain the

 evidence in this case but were not admitted as exhibits. Their only purpose is to help

 explain the evidence. These charts and summaries are not evidence or proof of any

 facts.] 9




 8     10th Cir. Pattern Jury Instructions § 1.06 (3d ed. 2021) (modified to reflect
 Charge of the Honorable Daniel D. Domenico at 13, United States v. Cline, 21-cr-
 00339-DDD (D. Colo. July 28, 2023), ECF No. 191); see also 10th Cir. Pattern Jury
 Instructions § 1.41 (3d ed. 2021).

 9       Defendant Michael Tew and defendant Kimberley Tew each object to this
 paragraph, at least at this time. Each defendant continues to evaluate his and her
 objections to certain summary exhibits that the government has proposed are
 admissible pursuant to Fed. R. Evid. 1006. Should any such exhibits be admitted at
 trial, such that giving this part of the instruction is appropriate, each will provide an
 update as to his and her respective objections at that time.
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                                                                                              320
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   15 of 61          pg
                                  321 of 1354




       You may use the notes taken by you during the trial. However, the notes should

 not be substituted for your memory. Your notes are not evidence. If your memory

 should differ from your notes, or those of other jurors, then you should rely on your

 memory and not on your notes or the notes of other jury members.

       During the trial, I did not let you hear the answers to some of the questions

 that the lawyers asked. I also ruled that you could not see some of the exhibits that

 the lawyers or parties wanted you to see. And sometimes I ordered you to disregard

 things that you saw or heard, or I struck things from the record. You must completely

 ignore all of these things. Do not even think about them. Do not speculate about what

 a witness might have said or what an exhibit might have shown. These things are not

 evidence, and you are bound by your oath not to let them influence your decision in

 any way.




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                                                                                          321
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   16 of 61             pg
                                  322 of 1354




                      PROPOSED INSTRUCTION NO. [ 6 ] 10
                              STIPULATED

       EVIDENCE—DIRECT AND CIRCUMSTANTIAL—INFERENCES

       As I instructed you at the beginning of the trial, there are, generally speaking,

 two types of evidence from which a jury may properly determine the facts of a case.

 One is direct evidence, such as the testimony of an eyewitness. The other is indirect

 or circumstantial evidence, that is, the proof of a fact or a chain of facts which point

 to the existence or non-existence of certain other facts.

       [As a general rule,] 11 the law makes no distinction between direct and

 circumstantial evidence. The law simply requires that you find the facts based on all

 the evidence in the case, both direct and circumstantial.

       While you must consider only the evidence in this case, you are permitted to

 draw reasonable inferences from the testimony and exhibits, inferences you feel are

 justified in the light of common experience. An inference is a conclusion that reason

 and common sense may lead you to draw from facts that have been established by the

 evidence.




 10    10th Cir. Pattern Jury Instructions § 1.07 (3d ed. 2021) (modified to reflect
 Charge of the Honorable Daniel D. Domenico at 13, United States v. Cline, 21-cr-
 00339-DDD (D. Colo. July 28, 2023), ECF No. 191).

 11    The Pattern Instruction includes this bracketed language, but this Court
 previously deleted it in Cline.
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                                                                                             322
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   17 of 61            pg
                                  323 of 1354




                      PROPOSED INSTRUCTION NO. [ 7 ] 12
                              STIPULATED

                          CREDIBILITY OF WITNESSES

       I remind you that it is your job to decide whether the government has proved

 the guilt of the defendant beyond a reasonable doubt. In doing so, you must consider

 all of the evidence. This does not mean, however, that you must accept all of the

 evidence as true or accurate.

       You are the sole judges of the credibility or “believability” of each witness and

 the weight to be given to the witness’s testimony. An important part of your job will

 be making judgments about the testimony of the witnesses [including the defendant]

 who testified in this case. You should think about the testimony of each witness you

 have heard and decide whether you believe all or any part of what each witness had

 to say, and how important that testimony was.

       In making that decision, I suggest that you ask yourself a few questions:

          •   Did the witness impress you as honest?

          •   Did the witness have any particular reason not to tell the truth?

          •   Did the witness have a personal interest in the outcome in this case?

          •   Did the witness have any relationship with either the government or the

              defense?

          •   Did the witness seem to have a good memory?




 12    10th Cir. Pattern Jury Instructions § 1.08 (3d ed. 2021).
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                                                                                            323
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   18 of 61              pg
                                  324 of 1354




           •   Did the witness clearly see or hear the things about which he or she

               testified?

           •   Did the witness have the opportunity and ability to understand the

               questions clearly and answer them directly?

           •   Did the witness's testimony differ from the testimony of other witnesses?

        When weighing the conflicting testimony, you should consider whether the

 discrepancy has to do with a material fact or with an unimportant detail. And you

 should keep in mind that innocent mis-recollection—like failure of recollection—is

 not uncommon.

        [The testimony of the defendant should be weighed and his or her credibility

 evaluated in the same way as that of any other witness.]

        [The defendant[s] did not testify and I remind you that you cannot consider

 [his/her/their] decision not to testify as evidence of guilt. I want you to clearly

 understand that the Constitution of the United States grants to a defendant the right

 to remain silent. That means the right not to testify or call any witnesses. That is a

 constitutional right in this country, it is very carefully guarded, and you should

 understand that no presumption of guilt may be raised and no inference of any kind

 may be drawn from the fact that a defendant does not take the witness stand and

 testify or call any witnesses.] 13




 13    If either defendant, or both of the defendants, elect not to testify, this language
 should be moved to a separate instruction pursuant to 10th Cir. Pattern Jury
 Instruction § 1.08.1 (Non-Testifying Defendant).
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                                                                                              324
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   19 of 61      pg
                                  325 of 1354




       In reaching a conclusion on a particular point, or ultimately in reaching a

 verdict in this case, do not make any decisions simply because there were more

 witnesses on one side than on the other.




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                                                                                      325
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   20 of 61          pg
                                  326 of 1354




                     PROPOSED INSTRUCTION NO. [ 8 ] 14
                     STIPULATED IN PART (see footnote) 15

                IMPEACHMENT BY PRIOR INCONSISTENCIES

       You have heard the testimony of one or more witnesses who, before this trial,

 made statements that may be different from their testimony here in court. These

 earlier statements were brought to your attention only to help you decide how

 believable their testimony was in this trial. You cannot use it as proof of anything

 else. You can only use it as one way of evaluating their testimony here in court.




 14    10th Cir. Pattern Jury Instructions § 1.10 (3d ed. 2021) (modified to reflect
 Charge of the Honorable Daniel D. Domenico at 13, United States v. Cline, 21-cr-
 00339-DDD (D. Colo. July 28, 2023), ECF No. 191).

 15     Defendant Michael Tew and defendant Kimberley Tew each seek to reserve
 the right to argue and propose an instruction that, under certain circumstances as
 outlined in Rule 801(d)(2)(A), testimony may be admissible as substantive evidence.
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                                                                                          326
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   21 of 61           pg
                                  327 of 1354




                      PROPOSED INSTRUCTION NO. [ 9 ] 16
                              STIPULATED

      IMPEACHMENT BY PRIOR CONVICTION—WITNESS OTHER THAN
                          DEFENDANT

       The testimony of a witness may be discredited or impeached by showing that

 the witness previously has been convicted of a [felony, that is, of a crime punishable

 by imprisonment for a term of years] or of a [crime of dishonesty or false statement].

 A prior conviction does not mean that a witness is not qualified to testify, but is

 merely one circumstance that you may consider in determining the credibility of the

 witness. You may decide how much weight to give any [prior felony conviction] [crime

 of dishonesty] that was used to impeach a witness.




 16    10th Cir. Pattern Jury Instructions § 1.12 (3d ed. 2021).
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                                                                                           327
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   22 of 61             pg
                                  328 of 1354




                      PROPOSED INSTRUCTION NO. [ 10 ] 17
                               STIPULATED

           ACCOMPLICE—CO-PARTICIPANT—PLEA AGREEMENT

       The government called as a witness an alleged co-participant in the charged

 scheme, who was identified as a co-defendant in the Indictment. The government has

 entered into a plea agreement with this co-participant, providing for the dismissal of

 some charges and a recommendation of a lesser sentence than this participant might

 otherwise likely receive. Plea bargaining is lawful and proper, and the rules of this

 Court expressly provide for it.

       An alleged co-participant, including one who has entered into a plea agreement

 with the government, is not prohibited from testifying. On the contrary, the testimony

 of an alleged co-participant may, but itself, support a guilty verdict. You should

 receive this type of testimony with caution and weigh it with great care. You should

 never convict a defendant upon the unsupported testimony of an alleged

 co-participant, unless you believe that testimony beyond a reasonable doubt. The fact

 that a co-participant has entered a guilty plea to the offense charged is not evidence

 of the guilt of any other person. The witness’s plea agreement may not be used to

 establish the guilt of either of these defendants. The fact that the co-participant pled

 guilty should only be used to assess the co-participant’s credibility as a witness.




 17    10th Cir. Pattern Jury Instructions § 1.15 (3d ed. 2021) (modified to reflect
 Charge of the Honorable Daniel D. Domenico at 13, United States v. Cline, 21-cr-
 00339-DDD (D. Colo. July 28, 2023), ECF No. 191).
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                                                                                             328
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   23 of 61               pg
                                  329 of 1354




                         INSTRUCTION NO. [ 11 – Gov’t ] 18
                              NON-STIPULATED

              EVIDENCE ADMITTED FOR A LIMITED PURPOSE 19

       On occasion, a particular item of evidence or testimony has been received for a

 limited purpose only. That is, it can be used by you only for one particular purpose,

 and not for any other purpose. I have told you when that occurred, and instructed you

 on the purposes for which the item can and cannot be used.

       [Detail statements from defendant Michael Tew and defendant Kimberley Tew

 that may be received only as to that defendant who made that statement.] 20




 18     1st Cir. Pattern Jury Instructions § 3.07 (updated March 6, 2017); see also
 3 Fed. Jury Prac. & Instr. § 104.42 (5th ed.).

 19     Defendant Michael Tew and defendant Kimberley Tew each object to this
 proposed instruction, and note that their objections implicate the subject of pending
 motions. See ECF Nos. 370, 373 (M. Tew & K. Tew’s motions in limine regarding use
 of proffer statements).

 20     See Samia v. United States, 599 U.S. 635, 642, 655 (2023) (evaluating line of
 cases that began with Bruton v. United States, 391 U.S. 123, 126 (1968), and
 concluding that limiting instruction sufficiently protected defendants’ rights where
 sanitized confession might nevertheless allow jury to make inferences regarding that
 confession and explaining that “[t]he Confrontation Clause ensures that defendants
 have the opportunity to confront witnesses against them, but it does not provide a
 freestanding guarantee against the risk of potential prejudice that may arise
 inferentially in a joint trial.”; see also United States v. Zar, 790 F.3d 1036, 1052 (10th
 Cir. 2015) (applying Richardson v. Marsh, 481 U.S. 200, 208, 211 (1987), for principle
 that, where a non-testifying codefendant’s statements implicating another
 codefendant can be “linked with evidence introduced later at trial,” the Confrontation
 Clause is not violated as long as the court (1) redacts the non-testifying codefendant’s
 confession to eliminate the defendant’s name and any reference to their existence,
 and (2) gives a proper limiting instruction when admitting the confessing statement).


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                                                                                               329
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   24 of 61       pg
                                  330 of 1354




                     PROPOSED INSTRUCTION NO. [ 12 ] 21
                              STIPULATED

                    WITNESS’S USE OF ADDICTIVE DRUGS

       The testimony of a drug abuser must be examined and weighed by the jury

 with greater caution than the testimony of a witness who does not abuse drugs.

       [Name of witness] may be considered to be an abuser of drugs.

       You must determine whether the testimony of that witness has been affected

 by the use of drugs or the need for drugs.




 21    10th Cir. Pattern Jury Instructions § 1.16 (3d ed. 2021).
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                                                                                       330
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   25 of 61             pg
                                  331 of 1354




                      PROPOSED INSTRUCTION NO. [ 13 ] 22
                      STIPULATED IN PART (see footnote) 23

               TRANSCRIPTS OF RECORDED CONVERSATIONS

       During this trial, you have heard sound recordings of certain conversations.

 These conversations were legally recorded; they are a proper form of evidence and

 may be considered by you as you would any other evidence. You were also given

 transcripts of those recorded conversations.

       Keep in mind that the transcripts are not evidence. They were given to you

 only as a guide to help you follow what was being said. The recordings themselves

 are the evidence. If you noticed any differences between what you heard on the

 recordings and what you read in the transcripts, you must rely on what you heard,

 not what you read. If you could not hear or understand certain parts of the recordings,

 you must ignore the transcript as far as those parts are concerned.




 22     10th Cir. Pattern Jury Instructions § 1.40 (3d ed. 2021); Charge of the
 Honorable Daniel D. Domenico at 13, United States v. Cline, 21-cr-00339-DDD (D.
 Colo. July 28, 2023), ECF No. 191).

 23    Defendant Michael Tew and defendant Kimberley Tew object to this pattern
 instruction, in so far as it contemplates the jury taking transcripts of recordings into
 the jury deliberation room. The defendants do not object to the use of transcripts
 during trial to assist in the presentation of audio recorded evidence, or to the pattern
 language, apart from this issue.
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                                                                                             331
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   26 of 61           pg
                                  332 of 1354




                     [PROPOSED INSTRUCTION NO. [ 14 ] 24
                              STIPULATED

      CONFESSION-STATEMENT—VOLUNTARINESS BY DEFENDANT
                      (Multiple Defendants)

       Evidence relating to any statement attributed to a defendant alleged to have

 been made after the commission of the crime (or crimes) charged in this case but not

 made in court, should always be considered by you with caution and weighed with

 care. You should give any such statement the weight you think it deserves, after

 considering all the circumstances under which the statement was made.

       In determining whether any such statement is reliable and credible, consider

 factors bearing on the voluntariness of the statement. For example, consider the age,

 gender, training, education, occupation, and physical and mental condition of the

 defendant, and any evidence concerning his treatment while under interrogation if

 the statement was made in response to questioning by government officials, and all

 the other circumstances in evidence surrounding the making of the statement.

       After considering all this evidence, you may give such weight to the statement

 as you feel it deserves under all the circumstances. If you determine that the

 statement is unreliable or not credible, you may disregard the statement entirely.

       Of course, any such statement should not be considered in any way whatsoever

 as evidence with respect to any other defendant on trial.




 24    10th Cir. Pattern Jury Instructions § 1.26 (3d ed. 2021) (modified to reflect
 multiple defendants and multiple statements).
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                                                                                           332
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   27 of 61            pg
                                  333 of 1354




                      PROPOSED INSTRUCTION NO. [ 15 ] 25
                               STIPULATED

               CAUTION—CONSIDER ONLY CRIMES CHARGED

       You are here to decide whether the government has proved beyond a

 reasonable doubt that defendant Michael Tew or defendant Kimberley Tew, or both,

 are guilty of the crimes charged. The defendants are not on trial for any act, conduct,

 or crime not charged in the Indictment.

       It is not up to you to decide whether anyone who is not on trial in this case

 should be prosecuted for the crime charged. The fact that another person also may be

 guilty is no defense to a criminal charge.

       The question of the possible guilt of others should not enter your thinking as

 you decide whether this defendant has been proved guilty of the crime charged.




 25    10th Cir. Pattern Jury Instructions § 1.19 (3d ed. 2021) (modified to reflect
 multiple defendants and multiple counts).
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                                                                                            333
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   28 of 61        pg
                                  334 of 1354




                    PROPOSED INSTRUCTION NO. [ 16 ] 26
                             STIPULATED

                           CAUTION—PUNISHMENT

       If you find that defendant Michael Tew or defendant Kimberley Tew, or both,

 are guilty of any of the crimes charged, it will be my duty to decide what the

 punishment will be. You should not discuss or consider the possible punishment in

 any way while deciding your verdict.




 26    10th Cir. Pattern Jury Instructions § 1.20 (3d ed. 2021) (modified to reflect
 multiple defendants and multiple counts).
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                                                                                        334
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   29 of 61             pg
                                  335 of 1354




                     PROPOSED INSTRUCTION NO. [ 17 ] 27
                              STIPULATED

               MULTIPLE DEFENDANTS—MULTIPLE COUNTS

       A separate crime is charged against one or more of the defendants in each

 count of the Indictment. You must separately consider the evidence against each

 defendant on each count and return a separate verdict for each defendant.

       Your verdict as to any one defendant or count, whether it is guilty or not guilty,

 should not influence your verdict as to any other defendants or counts.




 27    10th Cir. Pattern Jury Instructions § 1.22 (3d ed. 2021).
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                                                                                             335
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   30 of 61        pg
                                  336 of 1354




                    PROPOSED INSTRUCTION NO. [ 18 ] 28
                             STIPULATED

                                  ON OR ABOUT

       You will note that the Indictment charges that the crimes were committed on

 or about certain dates. The government must prove beyond a reasonable doubt that

 the defendant committed the crime reasonably near these dates.




 28    10th Cir. Pattern Jury Instructions § 1.18 (3d ed. 2021) (modified to reflect
 Charge of the Honorable Daniel D. Domenico at 13, United States v. Cline, 21-cr-
 00339-DDD (D. Colo. July 28, 2023), ECF No. 191).
                                         30


                                                                                        336
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   31 of 61            pg
                                  337 of 1354




                      PROPOSED INSTRUCTION NO. [ 19 ] 29
                            NON-STIPULATED 30

                      PROOF OF KNOWLEDGE OR INTENT

       The intent of a person or the knowledge that a person possesses at any given

 time may not ordinarily be proved directly because there is no way of directly

 scrutinizing the workings of the human mind. In determining the issue of what a

 person knew or what a person intended at a particular time, you may consider any

 statements made or acts done by that person and all other facts and circumstances

 received in evidence which may aid in your determination of that person’s knowledge

 or intent.

       You may infer, but you certainly are not required to infer, that a person intends

 the natural and probable consequences of acts knowingly done or knowingly omitted.

 It is entirely up to you, however, to decide what facts to find from the evidence

 received during this trial.




 29    See Charge of the Hon. Christine M. Arguello Criminal at 27, United States v.
 Luton, 19-cr-00098-CMA (D. Colo. Feb. 13, 2020), ECF No. 103).

 30    Defendant Michael Tew and defendant Kimberley Tew each object statign that
 the concerns in this instruction are adequately addressed by the use of the pattern
 instructions adopted in this district.
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                                                                                            337
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   32 of 61        pg
                                  338 of 1354




               PART II: ELEMENTS OF THE CRIMES CHARGED


       That concludes the part of my instructions explaining your duties and the

 general rules that apply in every criminal case. Now I will explain the elements of

 the crimes with which the defendants are charged in this case.




                                         32


                                                                                        338
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   33 of 61          pg
                                  339 of 1354




                     PROPOSED INSTRUCTION NO. [ 20 ] 31
                              STIPULATED

         CONSPIRACY TO COMMIT WIRE FRAUD – 18 U.S.C. § 1349

                    (Count 1 – Michael Tew; Kimberley Tew)

       The defendants, Michael Tew and Kimberley Tew, are each charged in Count 1

 of the Indictment with conspiracy to commit wire fraud, in violation of Title 18,

 United States Code, Section 1349.

       This law makes it a federal crime for any person to conspire to commit wire

 fraud. I will instruct you in a moment about wire fraud, which is the offense charged

 against one or both of the defendants in Counts 2 through 40. You should refer to

 those instructions regarding the elements of wire fraud.

                     (CONTINUED ON FOLLOWING PAGE)




 31    10th Cir. Pattern Jury Instructions § 2.19 (conspiracy in general) & 10th Cir.
 Pattern Jury Instructions § 2.87 (modified to exclude elements of 21 U.S.C. § 846
 pertaining to a controlled substances conspiracy) (3d ed. 2021); United States v.
 Fishman, 645 F.3d 1175, 1186 (10th Cir. 2011) (citing Whitfield v. United States, 543
 U.S. 209 (2005)) (addressing § 1349 conspiracy and noting that a § 1349 charge does
 not require proof of an overt act).
                                          33


                                                                                          339
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   34 of 61              pg
                                  340 of 1354




          To find a defendant guilty of conspiracy to commit wire fraud, you must be

 convinced that the government has proved each of the following elements beyond a

 reasonable doubt:

          First:         The defendant agreed with at least one other person to commit

                         wire fraud;

          Second:        The defendant knew of the essential objectives of the conspiracy;

          Third:         The defendant knowingly and voluntarily participated in the

                         conspiracy; and

          Fourth:        There was interdependence among the members of the

                         conspiracy. That is, the members, in some way or manner,

                         intended to act together for their shared mutual benefit within

                         the scope of the conspiracy charged.



          For further instruction on the definition of “knowledge”; “knowingly”; and

 “voluntarily,” refer to Instruction Nos. [__] – [__].

          For      further   instruction   on   the   definitions   of   “agreement”   and

 “interdependence,” refer to Instruction No. [__].

          For further instruction on the elements of wire fraud, refer to Instruction No.

 [___].




                                                34


                                                                                              340
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   35 of 61          pg
                                  341 of 1354




                  PROPOSED INSTRUCTION NO. [ 21 - Gov’t ] 32
                           NOT STIPULATED 33

      CONSPIRACY TO COMMIT MONEY LAUNDERING – 18 U.S.C. § 1956(h)

                     (Count 41 – Michael Tew; Kimberley Tew)

         The defendants, Michael Tew and Kimberley Tew, are each charged in

 Count 41 of the Indictment with conspiracy to commit money laundering, in violation

 of Title 18, United States Code, Section 1956(h).

         This law makes it a federal crime for any person to conspire to commit money

 laundering. I will instruct you in a moment about money laundering, which is the

 offense charged against one or both of the defendants in Counts 42 through 56. You

 should refer to those instructions regarding the elements of Title 18, United States

 Code, Section 1957 (money laundering–spending).

                       (CONTINUED ON FOLLOWING PAGE)




 32      United States v. Keck, 643 F.3d 789, 794 (10th Cir. 2011).

 33     The Tenth Circuit does not have pattern language for a money laundering
 conspiracy charge, in violation of 18 U.S.C. § 1956(h), where the Section 1956(h)
 charge is premised on violations of 18 U.S.C. § 1957. The present option, as proposed
 by the government, hews closely to the statutory language. The parties continue to
 meaningfully confer on this instruction, and the defendants expressly reserve the
 right to pose a suitable alternative to the government and to the Court, but this
 instruction remains, at the present time, disputed..
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                                                                                          341
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   36 of 61                  pg
                                  342 of 1354




        To find a defendant guilty of conspiracy to commit money laundering, you must

 be convinced that the government has proved each of the following elements beyond

 a reasonable doubt:

        First:         The defendant agreed with another person to knowingly engage

                       in a monetary transaction in criminally derived property of a

                       value greater than $10,000, that is property derived from

                       specified unlawful activity, in violation of 18 U.S.C. § 1957; 34

        Second:        The defendant knew of the essential objectives of the conspiracy;

        Third:         The defendant knowingly and voluntarily participated in the

                       conspiracy; and

        Fourth:        There was interdependence among the members of the

                       conspiracy.

        For further instruction on the definition of “knowledge” and “knowingly”; and

 “voluntarily,” refer to Instruction Nos. [__] – [__].

        For      further   instruction   on   the    definitions   of   “agreement”        and

 “interdependence,” refer to Instruction No. [__].

        For further instruction on the offense of money laundering–spending, refer to

 Instruction No. [___].




 34    The Tenth Circuit does not have pattern language for a money laundering
 conspiracy charge, in violation of 18 U.S.C. § 1956(h), where the Section 1956(h)
 charge is premised on violations of 18 U.S.C. § 1957. In recognition of the absence of
 a guiding pattern instruction, the parties have opted to hew closely to the statutory
 language, but are open to further conferral on this language.
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                                                                                                  342
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   37 of 61            pg
                                  343 of 1354




                     PROPOSED INSTRUCTION NO. [22 ] 35
                     STIPULATED IN PART (see footnote) 36

      CONSPIRACY — AGREEMENT & INTERDEPENDENCE DEFINED

                                  (Counts 1 and 41)

        Count 1 and Count 41 charge two separate conspiracies. A conspiracy is an

 agreement between two or more persons to accomplish an unlawful purpose. It is a

 kind of “partnership in criminal purposes” in which each member becomes the agent

 or partner of every other member.

        The evidence may show that some of the persons involved in the alleged

 conspiracy are not on trial. This does not matter. There is no requirement that all

 members of a conspiracy be charged or tried together in one proceeding.

        The evidence need not show that the members entered into an express or

 formal agreement. Nor does the law require proof that the members agreed on all the

 details.

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 35    10th Cir. Pattern Jury Instructions § 2.87 (3d ed. 2021) (modified to exclude
 elements of 21 U.S.C. § 846 pertaining to a controlled substances conspiracy); see also
 6th Cir. Pattern Jury Instructions §§ 3.02, 3.30 (current through July 1, 2019)
 (paragraph 4 and 5 of proposed instruction, respectively); United States v. Wardell,
 591 F.3d 1279, 1287 (10th Cir. 2009) (quotation marks and internal quotation marks
 omitted) (paragraph 4 and paragraph 7 of proposed instruction, respectively).

 36     Defendant Michael Tew and defendant Kimberley Tew object to the provisions
 of this instruction, as proposed by the government, in so far as it includes certain
 language not in the 10th Circuit Pattern Instruction. That language has been
 indicated by brackets in this proposed instruction. The defendants otherwise have no
 objection to the standard 10th Cir. Pattern language.
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                                                                                            343
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   38 of 61             pg
                                  344 of 1354




       [Moreover, the government does not have to prove that the conspiracy

 succeeded or was achieved. The crime of conspiracy is complete upon the agreement

 to commit the underlying crime. But the evidence must show that the members of the

 alleged conspiracy came to a mutual understanding to try to accomplish a common

 and unlawful plan.]

       [Conspiracy convictions may be based on circumstantial evidence, and you may

 infer conspiracy from the defendants’ conduct and other circumstantial evidence

 indicating coordination and concert of action. But it is up to the government to

 convince you that such facts and circumstances existed in this particular case.]

       If you are convinced that the charged conspiracy existed, then you must next

 determine whether a defendant was a member of that conspiracy, that is, whether

 that defendant knew at least the essential goals of the conspiracy and voluntarily

 chose to be part of it. You must consider each defendant separately in this regard.

       [The law does not require proof that a defendant knew all the other members

 of the conspiracy or knew all the details about how activities were to be carried out. A

 defendant’s knowledge can be proved circumstantially or indirectly by facts and

 circumstances which lead to a conclusion that a defendant knew the conspiracy’s

 main purpose.]

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                                           38


                                                                                             344
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   39 of 61            pg
                                  345 of 1354




       A person may belong to a conspiracy for a brief period of time or play a minor

 role. On the other hand, proof is not sufficient if it merely shows that a defendant

 knew about the existence of the conspiracy or was associated with members of the

 conspiracy. Rather, the evidence must show the defendant knowingly joined the

 conspiracy with the intent to advance its purposes.

       You are also required to find that interdependence existed among the members

 of the conspiracy. This means that the members intended to act for their shared

 mutual benefit. To satisfy this element, you must conclude that the defendant

 participated in a shared criminal purpose and that his actions constituted an

 essential and integral step toward the realization of that purpose.

       [Interdependence is present if the activities of a defendant charged with

 conspiracy facilitated the endeavors of other alleged coconspirators or facilitated the

 venture as a whole. Interdependence is established when each coconspirators’ actions

 are necessary to accomplish a common, illicit goal. 37]




 37   United States v. Wardell, 591 F.3d 1279, 1287 (10th Cir. 2009) (quotation
 marks and internal quotation marks omitted)
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                                                                                            345
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   40 of 61          pg
                                  346 of 1354




                   PROPOSED INSTRUCTION NO. [ 23 – Gov’t ] 38
                               COMPETING

          CONSPIRACY — EVIDENCE OF MULTIPLE CONSPIRACIES 39

                                  (Counts 1 and 41)

          Counts 1 and 41 of the Indictment charge that defendants Michael Tew and

 Kimberley Tew were members of two different conspiracies, specifically, a conspiracy

 to commit wire fraud, in Count 1, and a conspiracy to commit money laundering, in

 Count 41.

          You must determine whether each conspiracy, as charged in the Indictment,

 existed, and if it did, whether Michael Tew or Kimberley Tew, or both, was a member

 of it.

          If you find that a defendant was not a member of one of the conspiracies

 charged, then you must find the defendant not guilty of that conspiracy, even though

 the defendant may have been a member of some other conspiracy. This is because

 proof that a defendant was a member of one charged conspiracy, or some other

 uncharged conspiracy, is not enough to convict on a different charged conspiracy.

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 38    10th Cir. Pattern Jury Instructions § 2.20 (3d ed. 2021) (modified to exclude
 language regarding defense arguments regarding existence of multiple conspiracies,
 rather than the single conspiracy charged, but keeping language instructing that the
 government is required to meet its burden of proof as to each separate charged
 conspiracy).

 39    Defendant Michael Tew and defendant Kimberley Tew each object to this
 10th Circuit Pattern Instruction.
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                                                                                          346
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   41 of 61         pg
                                  347 of 1354




       But proof that a defendant was a member of some other conspiracy would not

 prevent you from returning a guilty verdict, if the government proved that he or she

 was also a member of the conspiracy charged in the Indictment.




                                         41


                                                                                         347
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   42 of 61           pg
                                  348 of 1354




                 PROPOSED INSTRUCTION NO. [ 24 - Gov’t ] 40
                          NOT STIPULATED 41

         CONSPIRATOR’S LIABILITY FOR SUBSTANTIVE COUNTS

       If you find either defendant guilty of either of the conspiracies charged in

 Counts 1 or 41 of the Indictment, and you find beyond a reasonable doubt that

 another coconspirator committed a substantive offense charged in relation to one of

 those conspiracies during the time the defendant was a member of that conspiracy,

 and if you find that a substantive offense charged in relation to one of those

 conspiracies was committed to achieve an objective of or was a foreseeable

 consequence of the conspiracy, then you may find the defendant charged with that

 substantive offense guilty of that substantive offense, even though the defendant may

 not have participated in any of the acts that constitute the offenses described in the

 substantive offenses.

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 40     10th Cir. Pattern Jury Instructions § 2.21 (3d ed. 2021; Pinkerton v. United
 States, 328 U.S. 640, 645–48 (1946); United States v. Cherry, 217 F.3d 811, 817 (10th
 Cir. 2000); United States v. Russell, 963 F.2d 1320, 1322 (10th Cir. 1992); United
 States v. Dumas, 688 F.2d 84, 87 (10th Cir. 1982).

 41    The parties will continue to confer on this instruction.
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                                                                                           348
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   43 of 61        pg
                                  349 of 1354




       The substantive offenses associated with each of the charged conspiracies are

 as follows:

  Conspiracy to Commit Wire Fraud (Count 1)

  Wire Fraud                                   Counts 2-40
        (as to defendant Michael Tew)

  Wire Fraud                                   Counts 21, 22, 25, 26, 31, 32
        (as to defendant Kimberley Tew)

  Conspiracy to Money Laundering (Count 41)

  Money Laundering–Spending                    Counts 44-56
        (as to defendant Michael Tew)

  Money Laundering–Spending                    Counts 43, 44, 47, 48, 56
        (as to defendant Kimberley Tew)




                                          43


                                                                                        349
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   44 of 61            pg
                                  350 of 1354




                      PROPOSED INSTRUCTION NO. [ 25 ] 42
                               STIPULATED

                          WIRE FRAUD — 18 U.S.C. § 1343

                         (Counts 2 – 40 (Michael Tew))
                                        and
               (Counts 21, 22, 25, 26, 31, and 32 (Kimberley Tew))

       Defendant Michael Tew is charged with 39 violations (in Counts 2 through 40),

 and defendant Kimberley Tew is charged with 6 violations (in Counts 21, 22, 25, 26,

 31 and 32), of Section 1343 of Title 18 of the United States Code, alleged on various

 dates, as listed in the Indictment.

       This law makes it a crime to use interstate wire communication facilities in

 carrying out a scheme to defraud. A scheme to obtain money or property by means of

 false or fraudulent pretenses, representations, or promises is a specific type of a

 scheme to defraud.

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 42     10th Cir. Pattern Jury Instructions § 2.57 (3d ed. 2021); see also United States
 v. Cline, 21-cr-00339-DDD (D. Colo. 2023) (ECF No. 191 at 20-21, Final Instruction
 No. 17).


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                                                                                            350
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   45 of 61               pg
                                  351 of 1354




       To find the defendant guilty of wire fraud, you must be convinced that the

 government has proved each of the following elements beyond a reasonable doubt:

       First:        the defendant devised or intended to devise a scheme to

                     defraud, as alleged in the Indictment;

       Second:       the defendant acted with specific intent to defraud;

       Third:        the defendant used or caused another person to use interstate

                     or foreign wire communications facilities for the purpose of

                     carrying out the scheme; and

       Fourth:       the    scheme     employed     false   or   fraudulent     pretenses,

                     representations, or promises that were material.

       A “scheme to defraud” is conduct intended to or reasonably calculated to

 deceive persons of ordinary prudence or comprehension.

       A scheme to defraud includes a scheme to deprive another of money, property,

 or the intangible right of honest services.

       An “intent to defraud” means an intent to deceive or cheat someone.

       A representation is “false” if it is known to be untrue or is made with reckless

 indifference as to its truth or falsity. A representation would also be false when it

 constitutes a half-truth, or effectively omits or conceals a material fact, provided it is

 made with intent to defraud.

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                                            45


                                                                                               351
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   46 of 61               pg
                                  352 of 1354




       A false statement is “material” if it has a natural tendency to influence, or is

 capable of influencing, the decision of the person or entity to which it is addressed.

       To “cause” interstate wire communications facilities to be used is to do an act

 with knowledge that the use of the wire facilities will follow in the ordinary course of

 business or where such use can reasonably be foreseen.




                                           46


                                                                                               352
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   47 of 61             pg
                                  353 of 1354




                PROPOSED INSTRUCTION NO. [ 26 - Gov’t ] 43, 44
                             COMPETING

             MONEY LAUNDERING–SPENDING — 18 U.S.C. § 1957

                     (Counts 42 and 44 – 56 (Michael Tew))
                                         and
                  (Counts 43, 44, 47, 48 and 56 (Kimberley Tew))

       Defendant Michael Tew is charged with 14 violations (in Count 42 and Counts

 44 through 56), and defendant Kimberley Tew is charged with 5 violations (in Counts

 43, 44, 47, 48, and 56), of Section 1957 of Title 18 of the United States Code, alleged

 on various dates, as listed in the Indictment.

       These counts charge the defendants with engaging in monetary transactions

 in violation of federal law.

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 43     See United States v. Huff, 641 F.3d 1228, 1230-31 (10th Cir. 2011) (citations
 omitted); see also 6th Cir. Pattern Jury Instructions § 11.06 (current through July 1,
 2019); 1st Cir. Pattern Jury Instructions § 4.18.1957 (updated March 6, 2017).

 44     The introduction to this instruction, as well as proposed additional instructions
 regarding the terms used in § 1957, are derived primarily from comments to 6th Cir.
 Pattern Jury Instructions § 11.06 (current through July 1, 2019) and 1st Cir. Pattern
 Jury Instructions § 4.18.1957 (updated March 6, 2017). The Sixth Circuit Committee
 specifically advises against giving “instruction[s] recounting the statutory language
 of [§§ 1956 and 1957] because it would be difficult for the jury to absorb.”
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                                                                                             353
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   48 of 61          pg
                                  354 of 1354




        To find the defendant guilty of money laundering–spending, you must be

 convinced that the government has proved each of the following elements beyond a

 reasonable doubt:

        First:        the defendant engaged in a monetary transaction;

        Second:       the defendant knew the transaction involved property or funds

                      that were the proceeds of some criminal activity;

        Third:        the property had a value of more than $10,000;

        Fourth:       the property was in fact proceeds of wire fraud; and

        Fifth:        the transaction took place within the United States.

        The term “proceeds of some criminal activity” means any property constituting,

 or derived from, proceeds obtained from a criminal offense. Wire fraud is a type of

 specified unlawful activity. 45

        The term “monetary transaction” means the deposit, withdrawal, transfer, or

 exchange, in or affecting interstate or foreign commerce, of funds or a monetary

 instrument by, through, or to a financial institution.

        “Interstate commerce” means commerce or travel between one state, territory

 or possession of the United States and another state, territory or possession of the

 United States, including the District of Columbia. Commerce includes travel, trade,

 transportation and communication. 46

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 45     See United States v. Huff, 641 F.3d at 1230 (language altered for readability;
 citations omitted).

 46     10th Cir. Pattern Jury Instructions § 1.39 (3d ed. 2021).
                                           48


                                                                                          354
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   49 of 61             pg
                                  355 of 1354




       If you decide that there was any effect at all on interstate commerce, then that

 is enough to satisfy this element. 47 All that is necessary is that the natural and

 probable consequence of the acts the defendant took would be to affect interstate

 commerce, however minimal that effect is. [A minimal effect is sufficient (for example,

 a deposit in an FDIC-insured bank is sufficient).] 48

       [The government does not have to prove that a defendant knew that the money

 was derived from a specified unlawful activity or that a defendant committed the

 specified unlawful activity. It is enough that defendant had general knowledge that

 the proceeds; money; deposit; etc. came from some kind of criminal offense.] 49




 47    10th Cir. Pattern Jury Instructions § 1.39.1 (3d ed. 2021).

 48    1st Cir. Pattern Jury Instructions § 4.18.1957 (updated March 6, 2017); see
 also Huff, 641 at 1231 (supporting same reasoning as reflected in 1st Circuit
 instruction).

        Defendant Michael Tew and defendant Kimberley Tew each object to this
 sentence insofar as it is not included in 10th Cir. Pattern Jury Instructions § 1.39 and
 1.39.1.

 49    1st Cir. Pattern Jury Instructions § 4.18.1957 (updated March 6, 2017).
       Defendant Michael Tew and defendant Kimberley Tew each object to this
 paragraph insofar as it is not included in 10th Cir. Pattern Jury Instructions § 1.39
 and 1.39.1.


                                           49


                                                                                             355
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   50 of 61             pg
                                  356 of 1354




                PROPOSED INSTRUCTION NO. [26 - M. Tew] 50, 51
                             COMPETING

             MONEY LAUNDERING–SPENDING — 18 U.S.C. § 1957

                     (Counts 42 and 44 – 56 (Michael Tew))
                                         and
                  (Counts 43, 44, 47, 48 and 56 (Kimberley Tew))

       Defendant Michael Tew is charged with 14 violations (in Count 42 and Counts

 44 through 56) and defendant Kimberley Tew is charged with 5 violations (in Counts

 43, 44, 47, 48, and 56) of Section 1957 of Title 18 of the United States Code, alleged

 on various dates, as listed in the Indictment.

       These counts charge the defendants with engaging in a monetary transaction

 in violation of federal law.

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 50     See United States v. Huff, 641 F.3d 1228, 1230-31 (10th Cir. 2011) (citations
 omitted); see also 6th Cir. Pattern Jury Instructions § 11.06 (current through July 1,
 2019); 1st Cir. Pattern Jury Instructions § 4.18.1957 (updated March 6, 2017).

 51     The introduction to this instruction, as well as proposed additional instructions
 regarding the terms used in § 1957, are derived primarily from comments to 6th Cir.
 Pattern Jury Instructions § 11.06 (current through July 1, 2019) and 1st Cir. Pattern
 Jury Instructions § 4.18.1957 (updated March 6, 2017). The Sixth Circuit Committee
 specifically advises against giving “instruction[s] recounting the statutory language
 of [§§ 1956 and 1957] because it would be difficult for the jury to absorb.”
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                                                                                             356
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   51 of 61          pg
                                  357 of 1354




       To find the defendant guilty of money laundering–spending, you must be

 convinced that the government has proved each of the following elements beyond a

 reasonable doubt:

       First:        the defendant engaged;

       Second:       in a monetary transaction;

       Third:        in criminally derived property;

       Fourth:       the defendant knew the transaction involved property or funds

                     that were derived from unlawful actions;

       Fifth:        the property had a value of more than $10,000;

       Sixth:        the property was in fact proceeds of wire fraud; and

       Seventh:      the transaction took place within the United States.

       The term “criminally derived property” means any property constituting, or

 derived from, proceeds obtained from a criminal offense. Funds obtained by wire

 fraud are considered to be criminally derived property. 52

       The term “monetary transaction” means the deposit, withdrawal, transfer, or

 exchange, in or affecting interstate or foreign commerce, of funds or a monetary

 instrument by, through, or to a financial institution.

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 52     See United States v. Huff, 641 F.3d at 1230 (language altered for readability;
 citations omitted).


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                                                                                          357
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   52 of 61           pg
                                  358 of 1354




       “Interstate commerce” means commerce or travel between one state, territory

 or possession of the United States and another state, territory or possession of the

 United States, including the District of Columbia. Commerce includes travel, trade,

 transportation and communication. 53

       If you decide that there was any effect at all on interstate commerce, then that

 is enough to satisfy this element. All that is necessary is that the natural and

 probable consequence of the acts the defendant took would be to affect interstate

 commerce. 54




 53    10th Cir. Pattern Jury Instructions § 1.39 (3d ed. 2021).

 54    10th Cir. Pattern Jury Instructions § 1.39.1 (3d ed. 2021).


                                          52


                                                                                           358
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   53 of 61              pg
                                  359 of 1354




                     PROPOSED INSTRUCTION NO. [ 27 ] 55
                     STIPULATED IN PART (see footnote) 56

       WILLFUL FAILURE TO FILE A TAX RETURN — 26 U.S.C. § 7203

                             (Counts 57 – 60 (Michael Tew))

       Defendant Michael Tew is charged with 4 violations (in Counts 57 through 60),

 of Section 7203 of Title 26 of the United States Code, alleged on various dates, as

 listed in the Indictment.

       This law makes it a crime to willfully fail to file federal income tax returns.

       To find the defendant guilty of willfully failing to file a tax return, you must be

 convinced that the Government has proved each of the following elements beyond a

 reasonable doubt:

       First:        the defendant was required to file a return for the calendar year

                     specified in the Count of the Indictment;

       Second:       the defendant failed to file an income tax return as required by

                     Title 26 of the United States Code; and

       Third:        in failing to do so, the defendant acted willfully;

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 55    See 9th Cir. Pattern Jury Instructions §§ 22.2, 22.6 (2022 ed.).

 56    The government objects to the bracketed language in the last paragraph.
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                                                                                              359
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   54 of 61           pg
                                  360 of 1354




       To prove that the defendant acted “willfully,” the government must prove

 beyond a reasonable doubt that the defendant knew federal tax law imposed a duty

 on him, and the defendant intentionally and voluntarily violated that duty.

       [If the defendant acted on a good faith misunderstanding as to the

 requirements of the law, he did not act willfully even if his understanding of the law

 was wrong or unreasonable. Nevertheless, merely disagreeing with the law does not

 constitute a good faith misunderstanding of the law because all persons have a duty

 to obey the law whether or not they agree with it. Thus, to prove that the defendant

 acted willfully, the government must prove beyond a reasonable doubt that the

 defendant did not have a good faith belief that he was complying with the law.]




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                                                                                           360
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   55 of 61          pg
                                  361 of 1354




                PART III: DELIBERATIONS & VERDICT FORM

       That concludes the part of my instructions explaining the law that applies in

 this case. Now let me finish up by explaining some things about your deliberations in

 the jury room and your possible verdicts.




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                                                                                          361
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   56 of 61               pg
                                  362 of 1354




                      PROPOSED INSTRUCTION NO. [ 28 ] 57
                               STIPULATED

                       PROCEDURES FOR DELIBERATION

        You must follow these rules while deliberating and returning your verdict:

        First, when you go to the jury room, you must select a foreperson. The

 foreperson will help to guide your deliberations and will speak for you here in the

 courtroom. You should also review the instructions. Your deliberations will be more

 productive if you understand the legal principles upon which your verdict must be

 based, and you are bound by your oath to follow the law stated in these instructions

 throughout your deliberations. Once you begin deliberations, you may only discuss

 the case if all jurors are present.

        Second, it is your duty as jurors to discuss this case with one another in the

 jury room and try to reach agreement. Each of you must decide the case for yourself,

 but only after you have considered all the evidence, discussed it fully with the other

 jurors, and listened to the views of the other jurors. During your deliberations, do not

 hesitate to re-examine your own opinions, and do not be afraid to change your mind

 if the discussion persuades you that you should. But do not make a decision or

 surrender your honest conviction as to the weight or effect of the evidence solely

 because of the opinion of your fellow jurors, or simply to reach a verdict. Remember

 at all times that you are the judges of the facts. Your sole interest is to seek the truth

 from the evidence in the case.



 57     See Charge of the Honorable Daniel D. Domenico at 25-26, United States v.
 Cline, 21-cr-00339-DDD (D. Colo. July 28, 2023), ECF No. 191).
                                            56


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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   57 of 61             pg
                                  363 of 1354




       Third, if you need to communicate with me during your deliberations, you may

 send a note to me through the Court Security Officer, signed by one or more jurors. I

 will respond as soon as possible either in writing or orally in open court. You should

 not tell anyone—including me—details of your deliberations or how your votes stand

 numerically.

       Fourth, your verdict must be based solely on the evidence you have seen and

 heard in the courtroom and on the law I have given to you in these instructions.

       Fifth, the verdict must represent the considered judgment of each of you. In

 order to return a verdict, whether it is guilty or not guilty, it is necessary that each

 juror agree. Your verdict must be unanimous on each count.

       Finally, the verdict form is the written notice of the decision that you reach in

 this case. You will take this form to the jury room, and when each of you has agreed

 on the verdict, your foreperson will fill in the form, sign and date it, and advise the

 Court Security Officer that you are ready to return to the courtroom.

       Let me remind you again that nothing I have said in these instructions, nor

 anything I have said or done during the trial, was meant to suggest to you what I

 think your decision should be. That is your exclusive responsibility..




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                                                                                             363
Case No.
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                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   58 of 61            pg
                                  364 of 1354




                     PROPOSED INSTRUCTION NO. [ 29 ] 58
                              STIPULATED

                 COMMUNICATION DURING DELIBERATIONS

       During your deliberations, you must not communicate with, provide any

 information to, or receive any information from anyone else by any means about this

 case. You may not use any electronic device or medium, such as a phone, computer,

 or tablet, to communicate to anyone any information about this case, or to conduct

 any research about this case. Until I accept your verdict, you can only discuss the

 case in the jury room with your fellow jurors. I expect you will inform me if you

 become aware of another juror’s violation of these instructions.

       You may not use these electronic means to investigate or communicate about

 the case because it is important that you decide this case based solely on the evidence

 presented in this courtroom. Information on the internet or available through social

 media might be wrong, incomplete, or inaccurate. You are only permitted to discuss

 the case with your fellow jurors during deliberations because they have seen and

 heard the same evidence you have. You will never have to explain your verdict to

 anyone. In our judicial system, it is important that you are not influenced by anything

 or anyone outside of this courtroom. Otherwise, your decision may be based on

 information known only by you and not your fellow jurors or the parties to the case.

 This would unfairly impact the judicial process.




 58     See Charge of the Honorable Daniel D. Domenico at 27, United States v. Cline,
 21-cr-00339-DDD (D. Colo. July 28, 2023), ECF No. 191).
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                                                                                            364
Case No.
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           1:20-cr-00305-DDD Document
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                                      645-2
                                         380 filed
                                              Filed01/24/25
                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   59 of 61             pg
                                  365 of 1354




                            PART IV: THE INDICTMENT

        The Indictment will be provided to you for your convenience.

        You will note that the Indictment charges that crimes were committed on or

 about specified dates. Per my previous instruction, the government must prove

 beyond a reasonable doubt that the defendants committed the crimes reasonably near

 those dates. 59

        Remember, the Indictment is not evidence. You may not rely on anything said

 in the Indictment to find the defendants guilty on any charge, and you must not let

 the Indictment influence your weighing of the evidence. You are receiving the

 Indictment simply to help you understand what you are deliberating about when you

 consider each count.

        Because the Indictment is lengthy, I will not read it now, but as I said, it will

 be included in your set of jury instructions.




 59    See 10th Cir. Pattern Jury Instructions § 1.18 (3d ed. 2021) (modified to reflect
 multiple counts) (cited supra).
                                           59


                                                                                             365
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
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                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   60 of 61             pg
                                  366 of 1354




 Respectfully submitted this 24th day of January, 2024, on behalf of all the parties:


                                                COLE FINEGAN
                                                United States Attorney

  By: /s/ Bryan Fields                       By: /s/ Sarah H. Weiss
  Bryan Fields                               Sarah H. Weiss
  Assistant United States Attorney           Assistant United States Attorney
  U.S. Attorney’s Office                     U.S. Attorney’s Office
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  Denver, CO 80202                           Denver, CO 80202
  (303) 454-0100                             (303) 454-0100
  Bryan.Fields3@usdoj.gov                    Sarah.Weiss@usdoj.gov
  Attorney for the Government                Attorney for the Government




  By: /s/ Jason D. Schall                    By: /s/ Kristen M. Frost
  Jason D. Schall                            Kristen M. Frost
  Bowlin & Schall LLC                        Ridley, McGreevy Winocur, P.C.
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  jason@bowsch.com                           frost@ridleylaw.com
  Counsel for Defendant Michael Tew          Counsel for Defendant Michael Tew




  By: /s/ David S. Kaplan                    By: /s/ Jamie Hubbard
  David S. Kaplan                            Jamie Hubbard
  Stimson LaBranche Hubbard, LLC             Stimson LaBranche Hubbard, LLC
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  Denver, CO 80218                           Denver, CO 80218
  (720) 689-8909                             (720) 689-8909
  kaplan@slhlegal.com                        hubbard@ slhlegal.com
  Counsel for Defendant Kimberley Ann        Counsel for Defendant Kimberley Ann
  Tew                                        Tew




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Case No.
     Case1:20-cr-00305-DDD
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                                                    01/25/24 USDC
                                                              Page Colorado
                                                                   61 of 61               pg
                                  367 of 1354




                            CERTIFICATE OF SERVICE

        I hereby certify that on this 24th day of January, 2024, I electronically filed
 the foregoing with the Clerk of the Court using the CM/ECF system that will send
 notification of such filing to counsel of record in this case.




                                                s/ Sarah H. Weiss
                                                Sarah H. Weiss
                                                Assistant U.S. Attorney
                                                1801 California Street, Suite 1600
                                                Denver, CO 80202
                                                Telephone 303-454-0100
                                                Facsimile 303-454-0402
                                                sarah.weiss@usdoj.gov




                                           61


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Case No. 1:20-cr-00305-DDD         Document 645-2 filed 01/24/25              USDC Colorado   pg
                                        368 of 1354


  MIME−Version:1.0
  From:COD_ENotice@cod.uscourts.gov
  To:COD_ENotice@cod.uscourts.gov
  Bcc:
  −−Case Participants: Richard Kent Kornfeld (admin@rklawpc.com, erin@rklawpc.com,
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  Judge Daniel D. Domenico (domenico_chambers@cod.uscourts.gov)
  −−Non Case Participants: clinde (colin_linde@cod.uscourts.gov), dddlc6
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  scott.scherfling@usdoj.gov, sike.bennett@usdoj.gov, triana.luce@usdoj.gov,
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  −−No Notice Sent:

  Message−Id:9518708@cod.uscourts.gov
  Subject:Activity in Case 1:20−cr−00305−DDD USA v. Tew et al Order
  Content−Type: text/html

                                 U.S. District Court − District of Colorado

                                           District of Colorado

  Notice of Electronic Filing


  The following transaction was entered on 1/25/2024 at 10:38 AM MST and filed on 1/25/2024

  Case Name:       USA v. Tew et al
  Case Number:     1:20−cr−00305−DDD
  Filer:
  Document Number: 381(No document attached)
  Docket Text:
   ORDER re Kimberley Tew's [373] Motion in Limine and [374] Motion to Continue Trial. The
  government must provide responses to these two motions at or before 11:59 pm on Friday,
  January 26, 2024. The government's response deadline for Mr. Tew's [370] Motion in Limine
  is also extended to 11:59 pm on Friday, January 26, 2024. SO ORDERED by Judge Daniel D.
  Domenico on 1/25/2024. Text Only Entry (dddlc3, )


  1:20−cr−00305−DDD−1 Notice has been electronically mailed to:

  Nancy Lin Cohen nancy@cohenblacklaw.com, cbfile@cohenblacklaw.com, ilana@cohenblacklaw.com,
  mary@cohenblacklaw.com


                                                                                                   368
Case No. 1:20-cr-00305-DDD           Document 645-2 filed 01/24/25           USDC Colorado       pg
                                          369 of 1354




  David Scott Kaplan      kaplan@slhlegal.com, hickam@slhlegal.com, rodriguez@slhlegal.com

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  Bryan David Fields bryan.fields3@usdoj.gov, CaseView.ECF@usdoj.gov, Kelsey.Totura@usdoj.gov,
  danielle.storinsky@usdoj.gov, ilmira.allazova@usdoj.gov, usaco.ecfcriminal@usdoj.gov

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  maggie.grenvik@usdoj.gov, usaco.ecfcriminal@usdoj.gov

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  Eric S. Galler     egaller@gcorplaw.com

  1:20−cr−00305−DDD−1 Notice has been mailed by the filer to:

  1:20−cr−00305−DDD−2 Notice has been electronically mailed to:

  Nancy Lin Cohen nancy@cohenblacklaw.com, cbfile@cohenblacklaw.com, ilana@cohenblacklaw.com,
  mary@cohenblacklaw.com

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  maggie.grenvik@usdoj.gov, usaco.ecfcriminal@usdoj.gov

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  Michael John Tallon (Terminated)     mtallon@tallonlaw.com, jdeatsch@tallonlaw.com

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                                                                                                      369
Case No. 1:20-cr-00305-DDD           Document 645-2 filed 01/24/25           USDC Colorado       pg
                                          370 of 1354


  1:20−cr−00305−DDD−2 Notice has been mailed by the filer to:

  1:20−cr−00305−DDD−3 Notice has been electronically mailed to:

  Nancy Lin Cohen nancy@cohenblacklaw.com, cbfile@cohenblacklaw.com, ilana@cohenblacklaw.com,
  mary@cohenblacklaw.com

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  Jason Dale Schall     jason@bowsch.com, jasondschall@yahoo.com

  Jamie Hughes Hubbard       hubbard@slhlegal.com, hickam@slhlegal.com, rodriguez@slhlegal.com

  Bryan David Fields bryan.fields3@usdoj.gov, CaseView.ECF@usdoj.gov, Kelsey.Totura@usdoj.gov,
  danielle.storinsky@usdoj.gov, ilmira.allazova@usdoj.gov, usaco.ecfcriminal@usdoj.gov

  Sarah Hunter Weiss sarah.weiss@usdoj.gov, CaseView.ECF@usdoj.gov, USACO.ECFCivil@usdoj.gov,
  maggie.grenvik@usdoj.gov, usaco.ecfcriminal@usdoj.gov

  Lisa Marie Saccomano       lisa.saccomano@kutakrock.com, trina.rioux@kutakrock.com

  Michael John Tallon (Terminated)     mtallon@tallonlaw.com, jdeatsch@tallonlaw.com

  Eric S. Galler     egaller@gcorplaw.com

  1:20−cr−00305−DDD−3 Notice has been mailed by the filer to:




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                                                                       1 of 3            pg
                                  371 of 1354




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW and
      2. KIMBERLEY ANN TEW,
         a/ka Kimberley Vertanen,

        Defendants.



                GOVERNMENT’S LIST OF PROPOSED EXHIBITS


        The government hereby submits its preliminary list of proposed exhibits.

 The government respectfully reserves its right, within reasonable notice depending

 on the circumstances, to add additional exhibits as it continues preparing for trial.

               Respectfully submitted this 25th day of January, 2024.

                                                 COLE FINEGAN
                                                 United States Attorney

  By: /s/ Bryan Fields                         By: /s/ Sarah H. Weiss
  Bryan Fields                                 Sarah H. Weiss
  Assistant United States Attorney             Assistant United States Attorney
  U.S. Attorney’s Office                       U.S. Attorney’s Office
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  Denver, CO 80202                             Denver, CO 80202
  (303) 454-0100                               (303) 454-0100
  Bryan.Fields3@usdoj.gov                      Sarah.Weiss@usdoj.gov
  Attorney for the Government                  Attorney for the Government




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                                                                       2 of 3             pg
                                  372 of 1354




                             CERTIFICATE OF SERVICE


        I hereby certify that on this 25th day of January, 2024, I electronically filed

 the foregoing with the Clerk of the Court using the CM/ECF system which will send

 notification to all counsel of record.




                                                By:    /s Bryan Fields
                                                       Bryan Fields
                                                       Assistant United States
                                                       Attorney
                                                       U.S. Attorney’s Office
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                                                       Bryan.Fields3@usdoj.gov
                                                       Attorney for the Government




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                                  373 of 1354




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                                                                                                    1 of 57                                     pg
                                                               374 of 1354



CASE CAPTION: United States v. Tew, et al.

CASE NO.: 20-cr-305-DDD

EXHIBIT LIST OF: United States of America, Plaintiff
                         (Name and Party Designation)



 Exhibit           Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                        Brief Description
                                                                                                                                                       Only

    1                                          INTENTIONALLY LEFT BLANK


                                     Signature Bank Statement re Account x5529 National Air
    2
                                     Cargo Holdings, statement period 08.01.2018-08.31.2018

                                     Signature Bank Statement re Account x5529 National Air
    3
                                     Cargo Holdings, statement period 10.01.2018-10.31.2018


    4                                          INTENTIONALLY LEFT BLANK


                                     Signature Bank Statement re Account x5529 National Air
    5
                                     Cargo Holdings, statement period 11.01.2018-11.30.2018


    6                                          INTENTIONALLY LEFT BLANK


                                     Signature Bank Statement re Account x5529 National Air
    7
                                     Cargo Holdings, statement period 12.01.2018-12.31.2018

                                      Signature Bank ACH Transaction re $15,250 to Political
    8
                                                     Media, dated 02.07.2019

                                      Signature Bank ACH Transaction re $15,250 to Political
    9
                                                     Media, dated 02.19.2019

                                      Signature Bank ACH Transaction re $38,000 to Political
    10
                                                     Media, dated 03.28.2019

                                      Signature Bank ACH Transaction re $11,250 to Political
    11
                                                     Media, dated 04.03.2019




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                    Case No.
                         Case1:20-cr-00305-DDD
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                                                                                           2 of 57                                  pg
                                                      375 of 1354


Exhibit   Witness                                                                      Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                           Only

                             Signature Bank ACH Transaction re $45,000 to Global
   12
                                        Fuel Logistics, dated 07.23.2019

                              Signature Bank ACH Transaction re $31,500 to SHI
   13
                                           LLC, dated 08.06.2019

                             Signature Bank ACH Transaction re $9,500 to Global
   14
                                       Fuel Logistics, dated 08.19.2019

                              Signature Bank ACH Transaction re $28,000 to SHI
   15
                                           LLC, dated 08.21.2019

                             Signature Bank ACH Transaction re $45,000 to Global
   16
                                        Fuel Logistics, dated 09.03.2019

                              Signature Bank ACH Transaction re $18,000 to SHI
   17
                                           LLC, dated 09.09.2019

                              Signature Bank ACH Transaction re $33,500 to SHI
   18
                                           LLC, dated 09.17.2019

                              Signature Bank ACH Transaction re $52,750 to SHI
   19
                                           LLC, dated 09.25.2019

                             Signature Bank ACH Transaction re $75,000 to Global
   20
                                        Fuel Logistics, dated 10.16.2019

                             Signature Bank ACH Transaction re $43,000 to Global
   21
                                        Fuel Logistics, dated 10.24.2019

                              Signature Bank ACH Transaction re $49,750 to SHI
   22
                                           LLC, dated 10.31.2019

                              Signature Bank ACH Transaction re $40,500 to SHI
   23
                                           LLC, dated 11.07.2019

                             Signature Bank ACH Transaction re $43,250 to Global
   24
                                        Fuel Logistics, dated 11.25.2019

                             Signature Bank ACH Transaction re $9,550 to Global
   25
                                       Fuel Logistics, dated 12.02.2019

                             Signature Bank ACH Transaction re $24,500 to Global
   26
                                        Fuel Logistics, dated 12.11.2019




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                                                                                                                                                     375
                    Case No.
                         Case1:20-cr-00305-DDD
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                                                                                           3 of 57                                   pg
                                                      376 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                            Only

                             Signature Bank ACH Transaction re $15,200 to Global
   27
                                        Fuel Logistics, dated 12.23.2019

                             Signature Bank ACH Transaction re $33,000 to Global
   28
                                        Fuel Logistics, dated 02.11.2020

                             Signature Bank ACH Transaction re $95,000 to Global
   29
                                        Fuel Logistics, dated 02.19.2020

                             Signature Bank ACH Transaction re $36,555 to Global
   30
                                        Fuel Logistics, dated 03.02.2020


   31                        Signature Bank ACH Transaction re $35,000 to Global
                                        Fuel Logistics, dated 03.09.2020


   32                        Signature Bank ACH Transaction re $22,5000 to Global
                                        Fuel Logistics, dated 03.19.2020


   33                        Signature Bank ACH Transaction re $73,460 to Global
                                        Fuel Logistics, dated 03.31.2020


   34                        Signature Bank ACH Transaction re $36,925 to Global
                                        Fuel Logistics, dated 04.06.2020


   35                        Signature Bank ACH Transaction re $68,255 to Global
                                        Fuel Logistics, dated 04.15.2020


   36                        Signature Bank ACH Transaction re $46,850 to Global
                                        Fuel Logistics, dated 04.27.2020


   37                        Signature Bank ACH Transaction re $85,325 to Global
                                        Fuel Logistics, dated 05.05.2020


   38                        Signature Bank ACH Transaction re $82,422 to Global
                                        Fuel Logistics, dated 05.12.2020


   39                        Signature Bank ACH Transaction re $78,565 to Global
                                        Fuel Logistics, dated 05.20.2020


   40                        Signature Bank ACH Transaction re $95,000 to Global
                                        Fuel Logistics, dated 07.02.2020


   41                                 INTENTIONALLY LEFT BLANK




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                    Case No.
                         Case1:20-cr-00305-DDD
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                                                  Document645-2
                                                            383-1 filed
                                                                     Filed
                                                                        01/24/25
                                                                           01/25/24 USDC
                                                                                      PageColorado
                                                                                           4 of 57                                   pg
                                                      377 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                            Only

   42                       Navy Federal Credit Union Transaction Log Summary re
                              Acct x8486 $15,000 Withdrawl, dated 06.04.2019


   43                       Navy Federal Credit Union Transaction Log Summary re
                              Acct x8486 $15,000 Withdrawl, dated 06.11.2019


   44                       Wells Fargo Bank Withdrawl Slip re Acct x6934 $22,000
                                         Withdrawl, dated 08.28.2019


   45                       Wells Fargo Bank Withdrawl Slip re Acct x2064 $25,000
                                         Withdrawl, dated 08.29.2019


   46                        Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 08.17.2019-09.16.2019


   47                         Wells Fargo Bank Wire Transaction Report re Acct
                                      x6934 $15,000, dated 09.18.2019


   48                       Wells Fargo Bank Withdrawl Slip re Acct x6934 $20,000
                                        Withdrawl, dated 089.26.2019


   49                       Wells Fargo Bank Withdrawl Slip re Acct x6934 $20,000
                                         Withdrawl, dated 09.27.2019


   50                       Wells Fargo Bank Withdrawl Slip re Acct x6934 $20,000
                                         Withdrawl, dated 10.01.2019


   51                       Wells Fargo Bank Withdrawl Slip re Acct x6934 $12,000
                                         Withdrawl, dated 10.02.2019


   52                       Wells Fargo Bank Statement re Account x6934 Sand Hill
                                           LLC, dated 11.30.2019


   53                       Wells Fargo Bank Withdrawl Slip re Acct x2064 $20,000
                                         Withdrawl, dated 02.20.2020


   54                       Wells Fargo Bank Withdrawl Slip re Acct x2064 $15,000
                                         Withdrawl, dated 02.21.2020


   55                       Wells Fargo Bank Withdrawl Slip re Acct x2064 $20,000
                                         Withdrawl, dated 02.27.2020


   56                       Wells Fargo Bank Withdrawl Slip re Acct x2064 $20,000
                                         Withdrawl, dated 03.03.2020




                                                                                    4


                                                                                                                                                      377
                    Case No.
                         Case1:20-cr-00305-DDD
                               1:20-cr-00305-DDD Document
                                                  Document645-2
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                                                                           01/25/24 USDC
                                                                                      PageColorado
                                                                                           5 of 57                                 pg
                                                      378 of 1354


Exhibit   Witness                                                                     Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                          Only

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  101
                                2016 Gross Income Summary for Michael Tew

  102
                                2017 Gross Income Summary for Michael Tew

  103
                                2018 Gross Income Summary for Michael Tew

  104
                                2019 Gross Income Summary for Michael Tew

  105
                              Internal Revenue Service 2019 Account Transcript

  106
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  107
                                2016 Gross Income Summary for Michael Tew

  108
                                2017 Gross Income Summary for Michael Tew

  109
                                2018 Gross Income Summary for Michael Tew

 110 -
  200                           2019 Gross Income Summary for Michael Tew


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  201

                             Guaranty Bank and Trust Statement re Account x7867
                                     Michael Tew, statement 08.31.2018
  202

                              Regions Bank Statement re Account x4514 Michael
                               Meyers, statement period 10.12.2018-11.08.2018
  203

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                    Case No.
                         Case1:20-cr-00305-DDD
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                                                            383-1 filed
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                                                                        01/24/25
                                                                           01/25/24 USDC
                                                                                      PageColorado
                                                                                           6 of 57                                   pg
                                                      379 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                            Only

                              Regions Bank Statement re Account x4514 Michael
                               Meyers, statement period 11.09.2018-12.10.2018
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  206

                            ANB Bank Statement re Account x3099 Michael Meyers,
                                            dated 12.18.2018
  207

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 01.17.2019-02.16.2019
  208

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 02.17.2019-03.16.2019
  209

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 03.17.2019-04.16.2019
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  211

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 07.17.2019-08.16.2019
  212

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
                                           LLC, dated 08.31.2019
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                            Wells Fargo Bank Statement re Account x6934 Sand Hill
                                           LLC, dated 09.30.2019
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                    Case No.
                         Case1:20-cr-00305-DDD
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                                                  Document645-2
                                                            383-1 filed
                                                                     Filed
                                                                        01/24/25
                                                                           01/25/24 USDC
                                                                                      PageColorado
                                                                                           7 of 57                                  pg
                                                      380 of 1354


Exhibit   Witness                                                                      Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                           Only

                             Wells Fargo Bank Statement re Account x2064 Global
                                       Fuel Logistics, dated 10.31.2019
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                             Wells Fargo Bank Statement re Account x2064 Global
                                       Fuel Logistics, dated 11.30.2019
  224

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 11.17.2019-12.16.2019
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                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 12.17.2019-01.16.2020
  227

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 01.17.2020-02.16.2020
  228

                             Wells Fargo Bank Statement re Account x2064 Global
                                       Fuel Logistics, dated 02.29.2020
  229

                             Wells Fargo Bank Statement re Account x2064 Global
                                       Fuel Logistics, dated 03.31.2020
  230

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 02.17.2020-03.16.2020
  231

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 03.17.2020-04.16.2020
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                                                  Document645-2
                                                            383-1 filed
                                                                     Filed
                                                                        01/24/25
                                                                           01/25/24 USDC
                                                                                      PageColorado
                                                                                           8 of 57                                     pg
                                                      381 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                              Only

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                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 04.17.2020-05.16.2020
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                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 05.17.2020-06.16.2020
  239
                            Navy Federal Credit Union Transaction Details re Access
                            x1390, Account x3094 Global Fuel Logistics, transaction
  240                                   period 07.20.2020-07.08.2020

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                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 05.17.2019-06.16.2019
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                             Wells Fargo Bank Statement re Account x2064 Global
                                       Fuel Logistics, dated 08.31.2019
  245

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 08.17.2019-09.16.2019
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                                                  Document645-2
                                                            383-1 filed
                                                                     Filed
                                                                        01/24/25
                                                                           01/25/24 USDC
                                                                                      PageColorado
                                                                                           9 of 57                                   pg
                                                      382 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                            Only

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
                                           LLC, dated 10.31.2019
  250

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                              ANB Bank Signature Card re Account x3099 Michael
                                                  Meyers
  301

                              Guaranty Bank and Trust Signature Card re Account
                                            x7867 Michael Tew
  302

                              Navy Federal Credit Union Application re Kimberley
                                            Tew and Michael Tew
  303

                             Navy Federal Credit Union Application re Global Fuel
                                         Logistics, dated 06.08.2020
  304

                            Regions Bank Signature Cards re Account x0514 Michael
                                                   Meyers
  305

                            Wells Fargo Bank Signature Card re Account x6934 Sand
                                               Hill LLC, LLC
  306

                              Wells Fargo Bank Signature Card re Account x2064
                                            Global Fuel Logistics
  307

                             Signature Bank Signature Card re Accounts x5545 and
                                     x6150 National Air Cargo Group, Inc
  308

                              Signature Bank Signature Card re Accounts x5529,
                            x6363, x6355, and x6134 National Air Cargo Group, Inc
  309

                             Guaranty Bank and Trust Statement re Account x7867
                                       Michael Tew, dated 08.31.2018
  310

                             BBVA Compass Signature Card re Account x0987 5530
                                      Jessamine Development LLC
  311
                               Access National Bank Statement re Account x5965
                               Political Media Inc., statement period 12.01.2018-
  312                                              12.31.2018

                                   Simple Signature Card for Kimberley Tew
  313




                                                                                    9


                                                                                                                                                      382
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        10 of 57                                      pg
                                                     383 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                             Only

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 07.17.2019-08.16.2019
  314

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 09.17.2019-10.16.2019
  315

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 10.17.2019-11.16.2019
  316

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 11.17.2019-12.16.2019
  317

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 12.17.2019-01.16.2020
  318

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 01.17.2020-02.16.2020
  319

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 02.17.2020-03.16.2020
  320

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 03.17.2020-04.16.2020
  321

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 04.17.2020-05.16.2020
  322

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 05.17.2020-06.16.2020
  323

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 01.08.2019-01.16.2019
  324

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 01.17.2019-02.16.2019
  325

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 02.17.2019-03.16.2019
  326

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 03.17.2019-04.16.2019
  327

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 04.17.2019-05.16.2019
  328




                                                                                    10


                                                                                                                                                       383
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        11 of 57                                      pg
                                                     384 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                             Only

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 05.17.2019-06.16.2019
  329

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 06.17.2019-07.16.2019
  330

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 09.17.2019-10.16.2019
  331

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 10.17.2019-11.16.2019
  332

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 11.17.2019-12.16.2019
  333

                             Wells Fargo Bank Statement re Account x2064 Global
                                       Fuel Logistics, dated 09.30.2019
  334
                              American Express Corporate Card Authorization re
                              Account x91009 National Air Cargo, Cardmember
  335                                          Michael Tew

                             Wells Fargo Bank Statement re Account x2064 Global
                                       Fuel Logistics, dated 12.31.2019
  336

                             Wells Fargo Bank Statement re Account x2064 Global
                                       Fuel Logistics, dated 01.31.2020
  337
                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  338                                     closing date 06.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  339                                     closing date 07.16.2018

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
                                           LLC, dated 12.31.2019
  340
                              BBVA Compass Statement re Account x0987 5530
                               Jassamine Development LLC, statement period
  341                                     11.01.2018-11.30.2018

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
                                           LLC, dated 05.31.2019
  342

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
                                           LLC, dated 01.31.2020
  343




                                                                                    11


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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        12 of 57                                        pg
                                                     385 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                               Only

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
                                           LLC, dated 02.29.2020
  344

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
                                           LLC, dated 03.31.2020
  345
                            Navy Federal Credit Union Statement re Access x1390
                            Global Fuel Logistics Inc, statement period 06.08.2020-
  346                                             06.30.2020

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  347                                     closing date 08.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  348                                     closing date 09.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  349                                     closing date 10.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  350                                     closing date 11.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  351                                     closing date 12.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  352                                     closing date 01.16.2019

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  353                                     closing date 02.16.2019

                            Access National Bank Signature Card re Account x5965
                                               Political Media
  354

                             Signature Bank ACH Transaction re $25,000 to Global
                                        Fuel Logistics, dated 10.23.2019
  355

                            Signature Bank ACH Transaction re $21,250 to Political
                                         Media Inc., dated 12.10.2018
  356

                             Signature Bank ACH Transaction re $15,000 to 5530
                               Jessamine Development LLC, dated 08.22.2018
  357

                             Signature Bank ACH Transaction re $15,000 to 5530
                               Jessamine Development LLC, dated 08.23.2018
  358




                                                                                      12


                                                                                                                                                         385
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        13 of 57                                        pg
                                                     386 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                               Only

                              Signature Bank ACH Transaction re $15,000 to 5530
                                Jessamine Development LLC, dated 09.10.2018
  359

                              Signature Bank ACH Transaction re $15,000 to 5530
                                Jessamine Development LLC, dated 09.18.2018
  360

                              Signature Bank ACH Transaction re $15,000 to 5530
                                Jessamine Development LLC, dated 09.28.2018
  361

                            Signature Bank ACH Transaction re $30,000 to Michael
                                          Meyers, dated 12.03.2018
  362
                              Access National Bank Statement re Account x5965
                              Political Media Inc., statement period 03.01.2019-
  363                                             03.31.2019

                            ANB Bank Statement re Account x3099 Michael Meyers,
                                            dated 01.04.2019
  364

                            Signature Bank ACH Transaction re $21,000 to Political
                                         Media Inc., dated 01.23.2019
  365

                               Signature Bank ACH Transaction re $15,312.50 to
                                     Political Media Inc., dated 01.07.2019
  366

                            Signature Bank ACH Transaction re $23,350 to Political
                                         Media Inc., dated 01.10.2019
  367

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 01.07.2019-01.16.2019
  368

                            Signature Bank ACH Transaction re $28,000 to Political
                                         Media Inc., dated 01.18.2019
  369

                            Signature Bank ACH Transaction re $31,500 to Political
                                         Media Inc., dated 03.14.2019
  370

                            Signature Bank ACH Transaction re $37,800 to Political
                                         Media Inc., dated 03.04.2019
  371

                            Signature Bank ACH Transaction re $20,250 to Political
                                         Media Inc., dated 03.19.2019
  372
                               Signature Bank ACH Transactions re: $37,500 to
                               Political Media Inc., dated 04.08.2019; $18,750 to
                             Political Media Inc., dated 04.11.2019; and $18,750 to
  373                                 Political Media Inc., dated 04.15.2019




                                                                                      13


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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        14 of 57                                         pg
                                                     387 of 1354


Exhibit   Witness                                                                           Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                                Only

                            Signature Bank ACH Transaction re $18,750 to Political
                                         Media Inc., dated 04.17.2019
  374
                               Signature Bank ACH Transactions re: $18,750 to
                               Political Media Inc., dated 04.22.2019; $18,750 to
                               Political Media Inc., dated 04.24.2019; $38,640 to
  375                          Political Media, dated 04.29.2019; and $19,890 to
                                        Political Media, dated 05.07.2019
                               Signature Bank ACH Transactions re: $49,750 to
                               Political Media, dated 05.07.2019; and $40,000 to
  376                                 Political Media Inc., dated 05.10.2019
                               Signature Bank ACH Transactions re: $19,900 to
                             Political Media, dated 05.15.2019; $23,785 to Political
                              Media, dated 05.21.2019; $9,950 to Political Media,
                              dated 05.23.2019; $11,150 to Political Media, dated
  377                        05.28.2019; and $10,100 to Political Media Inc., dated
                                                   05.29.2019
                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 04.17.2019-05.16.2019
  378
                               Signature Bank ACH Transactions re: $53,500 to
                            Political Media, dated 06.03.2019; $28,000 to Political
                            Media, dated 06.10.2019; and $9,500 to Political Media,
  379                                          dated 06.13.2019
                               Signature Bank ACH Transactions re: $50,000 to
                              Political Media Inc., dated 06.20.2019; $15,000 to
                            Political Media, dated 06.25.2019; and $30,000 to Sand
  380                                     Hill LLC, dated 06.26.2019

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 06.17.2019-07.16.2019
  381

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
                                           LLC, dated 06.30.2019
  382
                            Signature Bank ACH Transactions re: $45,000 to Global
                             Fuel Logistics, dated 07.30.2019; $47,000 to SHI LLC,
                                dated 08.01.2019; and $30,000 to SHI LLC, dated
  383                                              08.05.2019
                              Signature Bank ACH Transactions re: $9,200 to Sand
                            Hill LLC, dated 06.28.2019; $13,000 to SHI LLC, dated
                            07.09.2019; $27,475 to SHI LLC, dated 07.11.2019; and
  384                                $10,000 to SHI LLC, dated 07.19.2019

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
                                           LLC, dated 07.31.2019
  385

                             Signature Bank ACH Transaction re $12,900 to Global
                                        Fuel Logistics, dated 01.07.2020
  386
                            Signature Bank ACH Transactions re: $15,500 to Global
                            Fuel Logistics, dated 01.10.2020; $19,500 to Global Fuel
                               Logistics, dated 01.17.2020; $9,800 to Global Fuel
                              Logisitics, dated 01.22.2020; $13,500 to Global Fuel
                              Logistics, dated 01.23.2020; $36,500 to Global Fuel
  387                        Logistics, dated 01.27.2020; and $7,200 to Global Fuel
                                           Logistics, dated 01.30.2020




                                                                                       14


                                                                                                                                                          387
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        15 of 57                                         pg
                                                     388 of 1354


Exhibit   Witness                                                                           Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                                Only

                             Signature Bank ACH Transaction re $13,000 to Global
                                        Fuel Logistics, dated 08.09.2019
  388

                             Signature Bank ACH Transaction re $24,700 to Global
                                        Fuel Logistics, dated 03.05.2020
  389
                            Signature Bank ACH Transactions re: $97,545 to Global
                            Fuel Logistics, dated 06.22.2020; $71,550 to Global Fuel
                            Logistics, dated 06.24.2020; and $105,000 to Global Fuel
  390                                      Logisitics, dated 06.29.2020

                             Signature Bank ACH Transaction re $83,526 to Global
                                        Fuel Logistics, dated 06.02.2020
  391
                            Signature Bank ACH Transactions re: $45,220 to Global
                            Fuel Logistics, dated 06.04.2020; $93,135 to Global Fuel
                            Logistics, dated 06.09.2020; and $93,635 to Global Fuel
  392                                      Logisitics, dated 06.17.2020
                            Navy Federal Credit Union Statement re Access x1390
                            Global Fuel Logistics Inc, statement period 06.08.2010-
  393                                             06.30.2020

                            Navy Federal Credit Union Check re Acct x3494 $500.00
                                      to Sand Hill LLC, dated 10.15.19
  394

                              Navy Federal Credit Union Surveillance Photo, dated
                                                  04.14.2020
  395

                              Navy Federal Credit Union Surveillance Photo, dated
                                                  04.03.2020
  396

                              Navy Federal Credit Union Surveillance Photo, dated
                                                  02.04.2020
  397

                              Navy Federal Credit Union Surveillance Photo, dated
                                                  01.13.2020
  398

                              Navy Federal Credit Union Surveillance Photo, dated
                                        06.11.2020 08:14:04.950 PM
  399

                              Navy Federal Credit Union Surveillance Photo, dated
                                        06.11.2020 07:53:41.888 PM
  400

                              Navy Federal Credit Union Surveillance Photo, dated
                                                  06.26.2020
  401

                              Navy Federal Credit Union Surveillance Photo, dated
                                                  06.08.2020
  402




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                    Case Case
                         No. 1:20-cr-00305-DDD
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                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        16 of 57                                     pg
                                                     389 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
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                             Navy Federal Credit Union Surveillance Photo, dated
                                       03.20.2020 02:19:42.572 PM
  403

                             Navy Federal Credit Union Surveillance Photo, dated
                                       03.20.2020 09:23:58.357 PM
  404

                             Navy Federal Credit Union Surveillance Photo, dated
                                                 03.06.2020
  405

                             Navy Federal Credit Union Surveillance Photo, dated
                                                 05.12.2020
  406

                             Navy Federal Credit Union Surveillance Photo, dated
                                                 05.04.2020
  407

                             Navy Federal Credit Union Surveillance Photo, dated
                                       04.01.2020 04:02:07.321 PM
  408

                             Navy Federal Credit Union Surveillance Photo, dated
                                       04.01.2020 04:05:40.320 PM
  409

                             Navy Federal Credit Union Surveillance Photo, dated
                                                 02.12.2020
  410

                             Navy Federal Credit Union Surveillance Photo, dated
                                                 02.25.2020
  411

                             Navy Federal Credit Union Surveillance Photo, dated
                                                 01.23.2020
  412

                             Navy Federal Credit Union Surveillance Photo, dated
                                                 01.29.2020
  413

                             Navy Federal Credit Union Surveillance Photo, dated
                                                 06.11.2019
  414

                             Navy Federal Credit Union Surveillance Photo, dated
                                       06.11.2020 07:59:59.914 PM
  415

                             Navy Federal Credit Union Surveillance Photo, dated
                                       06.11.2020 07:53:41.888 PM
  416

                             Navy Federal Credit Union Surveillance Photo, dated
                                                 06.30.2020
  417




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                                                          383-1 filed
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                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        17 of 57                                      pg
                                                     390 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                             Only

                              Navy Federal Credit Union Surveillance Photo, dated
                                                  06.25.2020
  418

                              Navy Federal Credit Union Surveillance Photo, dated
                                        06.09.2020 05:16:56.734 PM
  419

                              Navy Federal Credit Union Surveillance Photo, dated
                                        06.09.2020 05:17:57.737 PM
  420

                              Navy Federal Credit Union Surveillance Photo, dated
                                                  03.11.2020
  421

                              Navy Federal Credit Union Surveillance Photo, dated
                                        03.18.2020 11:58:06.124 AM
  422

                              Navy Federal Credit Union Surveillance Photo, dated
                                        03.18.2020 05:08:46.082 PM
  423

                              Navy Federal Credit Union Surveillance Photo, dated
                                        05.12.2020 12:12:35.352 PM
  424

                              Navy Federal Credit Union Surveillance Photo, dated
                                        05.12.2020 06:36:34.932 PM
  425

                              Navy Federal Credit Union Surveillance Photo, dated
                                                  03.27.2020
  426

                              Navy Federal Credit Union Surveillance Photo, dated
                                                  06.11.2019
  427

                             Signature Bank ACH Transaction re: $13,000 to Sand
                                         Hill LLC, dated 08.09.2019
  428

                             Signature Bank ACH Transaction re: $35,000 to Sand
                                         Hill LLC, dated 08.14.2019
  429

                             Signature Bank ACH Transaction re: $15,000 to Global
                                        Fuel Logistics, dated 08.15.2019
  430

                             Signature Bank ACH Transaction re: $27,000 to Sand
                                         Hill LLC, dated 08.22.2019
  431

                             Signature Bank ACH Transaction re: $45,000 to Sand
                                         Hill LLC, dated 08.26.2019
  432




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                    Case Case
                         No. 1:20-cr-00305-DDD
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                                                 Document645-2
                                                          383-1 filed
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                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        18 of 57                                       pg
                                                     391 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                              Only

                             Signature Bank Wire Transaction re: $45,000 to Global
                                        Fuel Logistics, dated 08.29.2019
  433

                             Signature Bank ACH Transaction re: $13,000 to Global
                                        Fuel Logistics, dated 02.03.2020
  434

                             Signature Bank ACH Transaction re: $23,200 to Global
                                        Fuel Logistics, dated 02.06.2020
  435

                             Signature Bank ACH Transaction re: $32,500 to Global
                                        Fuel Logistics, dated 02.13.2020
  436

                             Signature Bank ACH Transaction re: $55,000 to Global
                                        Fuel Logistics, dated 02.18.2020
  437

                             Signature Bank ACH Transaction re: $40,000 to Global
                                        Fuel Logistics, dated 02.26.2020
  438

                             Signature Bank ACH Transaction re: $74,955 to Global
                                        Fuel Logistics, dated 03.11.2020
  439

                             Signature Bank ACH Transaction re: $17,200 to Global
                                        Fuel Logistics, dated 03.17.2020
  440

                             Signature Bank ACH Transaction re: $32,245 to Global
                                        Fuel Logistics, dated 03.24.2020
  441

                             Signature Bank ACH Transaction re: $32,300 to Global
                                        Fuel Logistics, dated 03.26.2020
  442

                             Signature Bank ACH Transaction re: $41,225 to Global
                                        Fuel Logistics, dated 04.02.2020
  443

                             Signature Bank ACH Transaction re: $37,353 to Global
                                        Fuel Logistics, dated 04.08.2020
  444

                             Signature Bank ACH Transaction re: $31,355 to Global
                                        Fuel Logistics, dated 04.13.2020
  445

                             Signature Bank ACH Transaction re: $56,530 to Global
                                        Fuel Logistics, dated 04.21.2020
  446

                             Signature Bank ACH Transaction re: $36,240 to Global
                                        Fuel Logistics, dated 04.29.2020
  447




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                    Case Case
                         No. 1:20-cr-00305-DDD
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                                                 Document645-2
                                                          383-1 filed
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                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        19 of 57                                       pg
                                                     392 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                              Only

                             Signature Bank ACH Transaction re: $77,460 to Global
                                        Fuel Logistics, dated 05.18.2020
  448

                             Signature Bank ACH Transaction re: $85,500 to Global
                                        Fuel Logistics, dated 05.27.2020
  449

                               Signature Bank ACH Transaction re $20,250.00 to
                                     Political Media Inc., dated 03.18.2019
  450

                             Signature Bank ACH Transaction re $60,000 to Global
                                        Fuel Logistics, dated 09.10.2019
  451

                            Signature Bank ACH Transaction re $51,500 to Sand Hill
                                            LLC, dated 09.12.2019
  452

                             Signature Bank ACH Transaction re $11,950 to Global
                                        Fuel Logistics, dated 09.16.2019
  453

                            Signature Bank ACH Transaction re $41,500 to Sand Hill
                                            LLC, dated 09.19.2019
  454

                            Signature Bank ACH Transaction re $60,000 to Sand Hill
                                            LLC, dated 09.26.2019
  455

                            Signature Bank ACH Transaction re $75,000 to Sand Hill
                                            LLC, dated 09.30.2019
  456

                            Signature Bank ACH Transaction re $35,000 to Sand Hill
                                            LLC, dated 10.10.2019
  457

                             Signature Bank ACH Transaction re $23,750 to Global
                                        Fuel Logistics, dated 10.30.2019
  458

                            Signature Bank ACH Transaction re $25,000 to Sand Hill
                                            LLC, dated 11.18.2019
  459

                             Signature Bank ACH Transaction re $17,900 to Global
                                        Fuel Logistics, dated 11.21.2019
  460

                             Signature Bank ACH Transaction re $42,000 to Global
                                        Fuel Logistics, dated 11.27.2019
  461

                             Signature Bank ACH Transaction re $26,500 to Global
                                        Fuel Logistics, dated 12.05.2019
  462




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                    Case Case
                         No. 1:20-cr-00305-DDD
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                                                          383-1 filed
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                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        20 of 57                                     pg
                                                     393 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
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                             Signature Bank ACH Transaction re $51,150 to Global
                                        Fuel Logistics, dated 12.09.2019
  463

                             Signature Bank ACH Transaction re $7,800 to Global
                                       Fuel Logistics, dated 12.16.2019
  464

                             Signature Bank ACH Transaction re $33,300 to Global
                                        Fuel Logistics, dated 12.17.2019
  465

                             Signature Bank ACH Transaction re $14,350 to Global
                                        Fuel Logistics, dated 12.19.2019
  466

                             Signature Bank ACH Transaction re $55,500 to Global
                                        Fuel Logistics, dated 12.26.2019
  467

                             Signature Bank ACH Transaction re $77,500 to Global
                                        Fuel Logistics, dated 12.30.2019
  468

                              Wells Fargo Bank Wire Transaction Report re Acct
                                     x6934 $20,611.01, dated 11.01.2019
  469

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  472

                                American Express Application re Michael Tew
  473

                               American Express Application re Kimberley Tew
  474

                             ANB Bank Signature Card re Account x3099 Michael
                                                 Meyers
  475

                              Guaranty Bank and Trust Signature Card re Account
                                            x7867 Michael Tew
  476

                             Navy Federal Credit Union Application re Kimberley
                                           Tew and Michael Tew
  477




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
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                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        21 of 57                                      pg
                                                     394 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                             Only

                             Navy Federal Credit Union Application re Global Fuel
                                         Logistics, dated 06.08.2020
  478

                            Regions Bank Signature Cards re Account x0514 Michael
                                                   Meyers
  479

                            Wells Fargo Bank Signature Card re Account x6934 Sand
                                               Hill LLC, LLC
  480

                              Wells Fargo Bank Signature Card re Account x2064
                                            Global Fuel Logistics
  481

                             Signature Bank Signature Card re Accounts x5545 and
                                     x6150 National Air Cargo Group, Inc
  482

                              Signature Bank Signature Card re Accounts x5529,
                            x6363, x6355, and x6134 National Air Cargo Group, Inc
  483

                             Guaranty Bank and Trust Statement re Account x7867
                                       Michael Tew, dated 08.31.2018
  484

                            BBVA Compass Signature Card re Account x0987 5530
                                     Jessamine Development LLC
  485
                               Access National Bank Statement re Account x5965
                               Political Media Inc., statement period 12.01.2018-
  486                                              12.31.2018

                                   Simple Signature Card for Kimberley Tew
  487

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 07.17.2019-08.16.2019
  488

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 09.17.2019-10.16.2019
  489

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 10.17.2019-11.16.2019
  490

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 11.17.2019-12.16.2019
  491

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 12.17.2019-01.16.2020
  492




                                                                                    21


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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
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                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        22 of 57                                      pg
                                                     395 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                             Only

 493 -                       Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 01.17.2020-02.16.2020
  499

                             Kraken Account Opening and Verification Documents
                                            for Kimberley Tew
  500

                             Kraken Account Opening and Verification Documents
                                             for Michael Tew
  501

                                Coinbase profile image records for Michael Tew
  502

                               Coinbase profile image records for Kimberley Tew
  503

                                Google Pay Customer Profile re kley@me.com
  504

                             McDonald Audi Purchase Documents re 2016 Audi A4
                                       VIN x2447, dated 10.03.2019
  505

                             McDonald Audi Wire Transfer Records re $20,611.01
                                Incoming Money Transfer, dated 11.01.2019
  506

                            Wynn Las Vegas Jackpot Report between 07.04.2019 and
                                                11.29.2019
  507

                            Wynn Las Vegas 2019 Loss Summary, as of 07.16.2020
  508
                             Wynn Las Vegas Reservation Confirmation #23362412
                              for Kimberley Tew, 10.30.2019 arrival & 11.02.19
  509                                            departure

                            Wynn Las Vegas Reservation/Stay History for Kimberley
                                                   Tew
  510

                            Wynn Las Vegas Reservation/Stay History re: Kimberley
                             Ann Tew, arrival 09.01.2019 & departure 09.05.2019
  511

                            GoDaddy Domain Information re Domain Name "Global
                                                Fuel.Co"
  512

                                GoDaddy Domain Information re Domain Name
                                           "Sandhillrp.com"
  513




                                                                                    22


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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
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                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        23 of 57                                        pg
                                                     396 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                               Only

                             AT&T Subscriber Information re phone number x1312,
                                                Michael Tew
  514

                             AT&T Subscriber Information re phone number x7473,
                                                Michael Tew
  515

                             AT&T Subscriber Information re phone number x2046,
                                           Kimberley Vertanen
  516

                            AT&T Text Message History re phone numbers x2046 &
                                                 x1312
  517

                                    AT&T Records re phone number x1312
  518

                             Spreadsheet of Verizon Call Records re phone number
                                                    x1709
  519

                              Google Subscriber Information re 5530 Jessamine
                             Development Email Recovery (chrisrncn@gmail.com)
  520

                            Google Subscriber Information re Political Media email
                                 recovery (political.media.wdc@gmail.com)
  521

                             Google Voice Record re Google Voice Number x0152
  522

                             Google Subscriber Information re vtleycap@gmail.com
                                       (recovery email kley@me.com)
  523

                                      Google subscriber information re
                                    meyersconsultinggroupinc@gmail.com
  524

                              IRS Form W-9 re Michael Meyers, dated 10.11.2018
  525

                            Colorado Secretary of State Statement of Foreign Entity
                                Authority re: Sand Hill LLC, filed 11.12.2018
  526

                            Plea agreement as to Jonathan Yioulos, dated 11.18.2021
  527

                                 Audio of 7/15/2020 Proffer with Michael Tew
  528




                                                                                      23


                                                                                                                                                         396
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
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                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        24 of 57                                        pg
                                                     397 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                               Only

                                 Audio of 7/28/2020 Proffer with Michael Tew
  529

                               Audio of 10/23/2020 Proffer with Kimberley Tew
  530

                             07.07.2020 Photograph of Yioulos Phone Contact ‘JB’
  531

                                     Email re "RE: AMEX" on 07.16.2018
  532

                               Email re "FW: Scanned Document" on 07.31.2018
  533

                               Email re "RE: Wire - Michael Tew" on 08.02.2018
  534

                                  Email re "FW: MT AGMT" on 09.14.2018
  535

                                  Email re "FW: National Air Cargo Holdings
                                       Correspondence" on 09.17.2018
  536

                              Invoice #79487 re: Meyers Consulting Group Inc for
                                         $10,000.00, dated 10.30.2018
  537

                             Email re "RE: Michael Tew - AMEX" on 01.17.2019
  538
                            Email re "Invoices for June 2020" on 06.30.2020 (Global
                             Fuel Logistics Invoice #10222 for $17,955.50; & Aero
  539                         Maintenance Resources Invoice #9611 for $79,292)

                              Invoice #79466 re: Meyers Consulting Group Inc for
                                         $30,000.00, dated 10.12.2018
  540

                              Invoice #79488 re: Meyers Consulting Group Inc for
                                         $30,000.00, dated 11.30.2018
  541

                              Invoice #79489 re: Meyers Consulting Group Inc for
                                         $30,000.00, dated 11.30.2018
  542

                              Invoice #79490 re: Meyers Consulting Group Inc for
                                         $25,000.00, dated 12.11.2018
  543




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                    Case Case
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                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        25 of 57                                           pg
                                                     398 of 1354


Exhibit   Witness                                                                             Stipulation   Offered   Admitted   Refused        Court Use
                                                Brief Description
                                                                                                                                                  Only

                            Colorado Secretary of State Statement of Foreign Entity
                            Authority re: Global Fuel Logistics Inc., filed 07.11.2019
  544

                            IRS assignment of Employment Identification Number re
                                    Global Fuel Logistics, dated 07.09.2019
  545

                            Wyoming Secretary of State Articles of Incorporation re
                                Global Fuel Logistics Inc, filed 07.09.2019
  546

                            IRS Form SS-4 Application for Employer Identification
                                         Number re Sand Hill LLC
  547
                            State of New York Department of State Certification of
                            Articles of Organization and Other Filings for Sand Hill
  548                                       LLC, dated 11.09.2018

                              Google Pay Customer Profile re kleytew@gmail.com
  549

                            IRS Form 1099 re SandHill Research Partners, tax years
                                             2015 through 2018
  550

                             Audio of 07.29.2020 meeting with Michael Tew at Yeti
                                                    store
  551

                                   Email re "RE: MT AGMT" on 09.14.2018
  552

                            Email headers re email received by chrisrncn@gmail.com
                                                on 08.22.2018
  553

                                  Spreadsheet of Apple account information re
                                                 kley@me.com
  554

                             Photograph re Search Warrant Executed on 07.31.2020
                                                     #1
  555

                             Photograph re Search Warrant Executed on 07.31.2020
                                                     #2
  556

                             Photograph re Search Warrant Executed on 07.31.2020
                                                     #3
  557

                             Photograph re Search Warrant Executed on 07.31.2020
                                                     #4
  558




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                    Case Case
                         No. 1:20-cr-00305-DDD
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                                                 Document645-2
                                                          383-1 filed
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                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        26 of 57                                     pg
                                                     399 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                            Only

                             Photograph re Search Warrant Executed on 07.31.2020
                                                     #5
  559

                             Photograph re Search Warrant Executed on 07.31.2020
                                                     #6
  560

                             Photograph re Search Warrant Executed on 07.31.2020
                                                     #7
  561

                                           Wells Fargo Bank Bag
  562

                              2TB Seagate HDD Model ST20000DM001-1CH164
                                         Serial Number W241LEZM
  563

                                    Photograph re Cellebrite Processing #1
  564

                                    Photograph re Cellebrite Processing #2
  565

                                    Photograph re Cellebrite Processing #3
  566

                                    Photograph re Cellebrite Processing #4
  567

                                                  Wipe Log
  568

                                         Hash List for Apple Return
  569

                                  Kraken Ledger - AA70N84GI5WBRUCHI
  570

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  599

                             Kraken Account Opening and Verification Documents
                                            for Kimberley Tew
  600

                             Email re "ACH Invoice" on 08.07.2018 (Hanna Scaife
                                    Invoice dated 08.07.2018 for $15,000)
  601




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                    Case Case
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                                                                                   PageColorado
                                                                                        27 of 57                                         pg
                                                     400 of 1354


Exhibit   Witness                                                                           Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                                Only

                               Text messages between M.T. and J.Y. 08.07.2018
  602

                            Email re "re ACH Invoice" on 08.08.2018 (Hanna Scaife
                                     Invoice dated 08.08.2018 for $15,000)
  603

                               Text messages between M.T. and J.Y. 08.08.2018
  604

                               Text messages between M.T. and J.Y. 08.09.2018
  605

                               Text messages between M.T. and J.Y. 08.13.2018
  606
                             Email re "Invoices: Michael Tew ACH August 15" on
                            08.14.2018 (Sand Hill Invoice #49 for $10,000 & Hanna
  607                            Scaife Invoice dated 08.14.2018 for $20,000)

                              Text message between J.Y. and M.T on 08.10.2018
  608

                              Text message between J.Y. and M.T on 08.18.2018
  609

                              Text message between J.Y. and M.T on 08.21.2018
  610

                            Email re "Invoice (CORRECTED)" on 08.22.2018 (5530
                            Jessamine Development Invoice #7321116 for $15,000)
  611

                                 Email re "Wire Confirmation" on 08.22.2018
  612

                              Text messages between J.Y. and M.T on 08.22.2018
  613

                              Text messages between J.Y. and M.T on 08.23.2018
  614

                             Email re "re Invoice (CORRECTED)" on 08.23.2018
  615

                              Emails re "re Is there an invoice for this wire out of
                                           Holdings?" on 08.24.2018
  616




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                                                          383-1 filed
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                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        28 of 57                                     pg
                                                     401 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                            Only

                              Text messages between M.T. and JY. on 08.28.2018
  617

                                     Email re "Confirms" on 08.30.2018
  618

                              Text messages between J.Y. and K.T. on 08.30.2018
  619

                             Text messages between J.Y. and M.T. on 08.30.2018
  620

                             Text messages between M.T. and J.Y. on 08.31.2018
  621

                             Text messages between M.T. and J.Y. on 09.01.2018
  622

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  623

                              Emails re "RE: Is there an invoice?" on 09.07.2018
  624

                             Text messages between M.T. and J.Y. on 09.07.2018
  625

                               Email re "FW: ACH INVOICE" on 09.07.2018 at
                                                03:13pm
  626

                               Email re "FW: ACH INVOICE" on 09.07.2018 at
                                                03:14pm
  627

                                Text messages from J.Y. to K.T. on 09.10.2018
  628
                             Email (NO SUBJECT) on 09.10.2018 (5530 Jessamine
                             Development Invoice #7321118 for $15,000 & Invoice
  629                                      #7321117 for $15,000)

                                Emails re "RE: Scaife Invoices" on 09.10.2018
  630

                                Emails re "RE:" (NO SUBJECT) on 09.10.2018
  631




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
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                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        29 of 57                                    pg
                                                     402 of 1354


Exhibit   Witness                                                                      Stipulation   Offered   Admitted   Refused        Court Use
                                             Brief Description
                                                                                                                                           Only

                                   Email re "Cancel ACH" on 09.10.2018
  632

                             Text messages between M.T. and J.Y. on 09.12.2018
  633

                               Text messages from J.Y. to K.T. on 09.12.2018
  634

                               Text messages from J.Y. to K.T. on 09.13.2018
  635

                             Text messages between M.T. and J.Y. on 09.13.2018
  636

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  637

                              Email re "Invoice" on 09.18.2018 (5530 Jessamine
                                Development Invoice #7321119 for $15,000)
  638

                               Text messages from J.Y. to K.T. on 09.18.2018
  639

                               Text messages from J.Y. to K.T. on 09.28.2018
  640

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  641

                              Email re "Consulting Invoice" on 09.28.2018 (5530
                            Jessamine Development Invoice #7321120 for $15,000)
  642

                                Email re "RE: Invoices needed - Holdings" on
                                                 09.28.2018
  643

                                       Email re "Jess" on 10.01.2018
  644

                                Text message from J.Y. to M.T. on 10.09.2018
  645

                               Text messages from J.Y. to K.T. on 10.25.2018
  646




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
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                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        30 of 57                                        pg
                                                     403 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                               Only

                                    Email re "Fwd: Invoice" on 10.25.2018
  647

                              Text messages between J.Y. to M.T. on 10.25.2018
  648

                                     Email re "Oct Invoice" on 10.30.2018
  649

                              Text messages between J.Y. to M.T. on 10.30.2018
  650

                                Text messages from J.Y. to K.T. on 10.30.2018
  651

                              Text messages between J.Y. to M.T. on 10.31.2018
  652

                              Email re "is there an invoice for this payment out of
                                            holdings?" on 10.31.2018
  653

                               Email re "RE: Michael Tew: Sand Hill, LLC" on
                                           11.05.2018 at 2:13pm
  654

                               Email re "RE: Michael Tew: Sand Hill, LLC" on
                                          11.05.2018, time unknown
  655

                            Text mess+C405ages sent from Kley (M.T.) to M.M. on
                                                11.06.2018
  656

                            Email re "Meyers Consulting Group LLC" on 11.06.2018
  657

                                     Email re "RE: Invoice" on 11.09.2018
  658

                              Text messages between J.Y. to M.T. on 11.09.2018
  659

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  660

                             Email re "RE: Entity: Sand Hill, LLC - New York" on
                                                  11.12.2018
  661




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
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                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        31 of 57                                     pg
                                                     404 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                             Brief Description
                                                                                                                                            Only

                             Text messages between J.Y. and M.T. on 11.13.2018
  662

                             Text messages between J.Y. and M.T. on 11.15.2018
  663

                             Text messages between J.Y. and M.T. on 11.16.2018
  664

                             Text messages between J.Y. and M.T. on 11.19.2018
  665

                               Email re "RE: Invoice" on 11.19.2018 at 8:55pm
  666

                               Email re "RE: Invoice" on 11.19.2018 at 9:04pm
  667

                             Text messages between J.Y. and M.T. on 11.20.2018
  668

                              Text messages between Kley (M.T.) and M.M. on
                                                11.20.2018
  669

                             Text messages between J.Y. and M.T. on 11.21.2018
  670

                             Text messages between J.Y. and M.T. on 11.23.2018
  671

                             Text messages between J.Y. and M.T. on 11.25.2018
  672

                             Text messages between J.Y. and M.T. on 11.26.2018
  673

                            Email re "RE: Invoice" on 11.26.2018 at 7:22pm (5530
                            Jessamine Development Invoice #7321122 for $30,000)
  674

                               Email re "RE: Invoice" on 11.26.2018 at 4:22pm
  675

                             Text messages between J.Y. and M.T. on 11.27.2018
  676




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        32 of 57                                        pg
                                                     405 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                Brief Description
                                                                                                                                               Only

                             Email re "RE: Cash Sheet - Holdings - what's this?" on
                                                 11.28.2018
  677

                                 Text message from J.Y. to M.T. on 11.30.2018
  678

                                Text messages from J.Y. to K.T. on 12.01.2018
  679

                              Email re "RE: Final Invoice" on 12.03.2018 (Meyers
                                Consulting Group Invoice #79489 for $30,000)
  680

                              Text messages between J.Y. and M.T. on 12.04.2018
  681

                                Text messages from J.Y. to K.T. on 12.04.2018
  682
                              Email re "Missing Meyers invoices" on 12.04.2018
                            (Meyers Consulting Group Invoice #79489 for $30,000 &
  683                                    Invoice #79488 for $30,000)

                              Text messages between J.Y. and M.T. on 12.06.2018
  684

                                Text messages from J.Y. to K.T. on 12.06.2018
  685
                               Email re "Fwd: Political Media, Inc. - Invoice for
                            Services" on 12.07.2018 (Political Media Invoice #6516
  686                                            for $21,250)

                              Text messages between J.Y. and M.T. on 12.07.2018
  687

                                Email re: "RE: Political Media, Inc. - Invoice for
                                            Services" on 12.07.2018
  688

                              Text messages between J.Y. and M.T. on 12.06.2018
  689

                              Text messages between J.Y. and M.T. on 12.10.2018
  690

                            Email re "New Vendor - Paid on Friday" on 12.10.2018
  691




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
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                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        33 of 57                                       pg
                                                     406 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                              Only

                             Email re "Re: Final Invoice" on 12.11.2018 (Meyers
                               Consulting Group Invoice #79490 for $25,000)
  692

                             Text messages between J.Y. and M.T. on 12.11.2018
  693

                                    Email re "Meyers Inv" on 12.14.2018
  694

                             Text messages between J.Y. and M.T. on 12.18.2018
  695

                              Text messages between Kley (M.T.) and M.M. on
                                                12.18.2018
  696

                             Text messages between J.Y. and M.T. on 12.19.2018
  697

                             Text messages between J.Y. and M.T. on 12.20.2018
  698

                              Email re "FW: INVOICES: MICHAEL TEW ACH
                                         AUGUST 15" on 12.20.2018
  699
                               Email re "FW: Political Media, Inc. - Invoice for
                            Services" on 12.20.2018 (Political Media Invoice #6517
  700                                            for $15,125)

                             Text messages between J.Y. and M.T. on 12.21.2018
  701

                             Text messages between J.Y. and M.T. on 01.07.2019
  702
                               Email re "Invoice from Political Media, Inc." on
                                01.07.2019 (Political Media Invoice #6540 for
  703                                            $15,312.50)

                             Text messages between J.Y. and M.T. on 01.09.2019
  704

                             Text messages between J.Y. and M.T. on 01.10.2019
  705

                                Email re "Invoice from Political Media, Inc." on
                            01.10.2019 (Political Media Invoice #6670 for $25,350)
  706




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
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                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        34 of 57                                        pg
                                                     407 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                               Only

                              Text messages between J.Y. and M.T. on 01.17.2019
  707

                                Text messages from J.Y. to K.T. on 01.17.2019
  708

                              Email re "FW: Invoice from Political Media, Inc." on
                                                  01.17.2019
  709

                              Text messages between J.Y. and M.T. on 01.18.2019
  710
                                Email re "Invoice from Political Media, Inc." on
                                 01.18.2019 (Political Media Invoice #6712 for
  711                                             $27,562.50)

                              Text messages between J.Y. and M.T. on 01.23.2019
  712
                                Email re "Invoice from Political Media, Inc." on
                            01.23.2019 (Political Media Invoice #6714 for $21,000 &
  713                                     Invoice #6712 for $28,000)

                              Email re "FW: Invoice from Political Media, Inc." on
                                                  01.25.2019
  714

                                Text messages from J.Y. to K.T. on 02.07.2019
  715

                                Email re "Invoice from Political Media, Inc." on
                            02.07.2019 (Political Media Invoice #6775 for $15,250)
  716

                              Text messages between J.Y. and M.T. on 02.19.2019
  717

                                Text messages from J.Y. to K.T. on 02.19.2019
  718

                                Email re "Invoice from Political Media, Inc." on
                            02.19.2019 (Political Media Invoice #6786 for $15,250)
  719

                              Email re "FW: Invoice from Political Media, Inc." on
                                                  02.21.2019
  720

                              Text messages between J.Y. and M.T. on 02.24.2019
  721




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                                                                                                                                                         407
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        35 of 57                                       pg
                                                     408 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                              Only

                             Text messages between J.Y. and M.T. on 03.01.2019
  722

                                Email re "Invoice from Political Media, Inc." on
                            03.04.2019 (Political Media Invoice #6804 for $37,800)
  723

                               Text messages between Kley (M.T.) and K.T. on
                                                03.06.2019
  724

                             Email re "FW: Invoice from Political Media, Inc." on
                                                 03.07.2019
  725

                               Text messages between Kley (M.T.) and K.T. on
                                                03.14.2019
  726

                                Email re "Invoice from Political Media, Inc." on
                            03.14.2019 (Political Media Invoice #6881 for $31,500)
  727

                             Email re "FW: Invoice from Political Media, Inc." on
                                                 03.15.2019
  728

                               Text messages between Kley (M.T.) and K.T. on
                                                03.17.2019
  729

                               Text messages between Kley (M.T.) and K.T. on
                                                03.18.2019
  730

                             Text messages between J.Y. and M.T. on 03.18.2019
  731

                                Email re "Invoice from Political Media, Inc." on
                            03.18.2019 (Political Media Invoice #6910 for $20,250)
  732

                             Email re "FW: Invoice from Political Media, Inc." on
                                                 03.19.2019
  733

                             Text messages between J.Y. and M.T. on 03.19.2019
  734

                               Text messages between Kley (M.T.) and K.T. on
                                                03.19.2019
  735

                             Text messages between M.T. and K.T. on 03.28.2019
  736




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        36 of 57                                       pg
                                                     409 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                              Only

                                Email re "Invoice from Political Media, Inc." on
                            03.28.2019 (Political Media Invoice #6976 for $38,000)
  737

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  738

                                Text messages between Kley (M.T.) and K.T. on
                                                 03.30.2019
  739

                                Text messages between Kley (M.T.) and K.T. on
                                                 04.03.2019
  740

                              Text messages between J.Y. and M.T. on 04.03.2019
  741

                                Email re "Invoice from Political Media, Inc." on
                            04.03.2019 (Political Media Invoice #6910 for $30,150)
  742

                              Email re "FW: Invoice from Political Media, Inc." on
                             04.04.2019 (Political Media Invoice #7004 for 11,250)
  743

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  744

                              Text messages between J.Y. and M.T. on 04.07.2019
  745

                                Text messages between Kley (M.T.) and K.T. on
                                                 04.07.2019
  746

                              Text messages between J.Y. and M.T. on 04.08.2019
  747

                                Email re "Invoice from Political Media, Inc." on
                            04.08.2019 (Political Media Invoice #7101 for $37,500)
  748

                               Email re "re Invoice from Political Media, Inc." on
                                                   04.09.2019
  749

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  750

                             Text messages between M.T. and K.T. on 04.11.2019
  751




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        37 of 57                                      pg
                                                     410 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                             Only

                            Text messages from Kley (M.T.) to M.M. on 04.12.2019
  752

                             Text messages between M.T. and K.T. on 04.12.2019
  753

                             Text messages between J.Y. and M.T. on 04.13.2019
  754

                             Text messages between M.T. and K.T. on 04.16.2019
  755

                             Text messages between M.T. and K.T. on 04.17.2019
  756

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  757

                               Text messages between M.T. and Kley (K.T.) on
                                                04.21.2019
  758

                             Text messages between M.T. and K.T. on 04.22.2019
  759

                               Text messages between Kley (M.T.) and K.T. on
                                                04.23.2019
  760

                                Text message from J.Y. to M.T. on 04.24.2019
  761

                             Text messages between M.T. and K.T. on 04.24.2019
  762

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  763
                                Email re "Invoice from Political Media, Inc." on
                            04.29.2019 (Political Media Invoice #7156 for $75,000
  764                                   and Invoice #7158 for $39,780)

                             Email re "FW: Invoice from Political Media. Inc." on
                                                04.29.2019
  765

                               Text messages between Kley (M.T.) and K.T. on
                                                04.30.2019
  766




                                                                                    37


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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
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                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        38 of 57                                   pg
                                                     411 of 1354


Exhibit   Witness                                                                     Stipulation   Offered   Admitted   Refused        Court Use
                                             Brief Description
                                                                                                                                          Only

                             Text messages between M.T. and K.T. on 05.01.2019
  767

                             Text messages between M.T. and K.T. on 05.02.2019
  768

                             Text messages between M.T. and K.T. on 05.06.2019
  769

                             Text messages between J.Y. and M.T. on 05.07.2019
  770

                             Text messages between M.T. and K.T. on 05.08.2019
  771

                               Text messages between Kley (M.T.) and K.T. on
                                                05.09.2019
  772

                               Text messages between Kley (M.T.) and K.T. on
                                                05.10.2019
  773

                             Text messages between J.Y. and M.T. on 05.10.2019
  774

                             Text messages between J.Y. and M.T. on 05.15.2019
  775

                             Text messages between M.T. and K.T. on 05.20.2019
  776

                               Text messages between M.T. and Kley (K.T.) on
                                                05.21.2019
  777

                               Text messages between M.T. and Kley (K.T.) on
                                                05.22.2019
  778

                             Text messages between M.T. and K.T. on 05.27.2019
  779

                             Text messages between M.T. and K.T. on 05.28.2019
  780

                             Text messages between J.Y. and M.T. on 06.03.2019
  781




                                                                                 38


                                                                                                                                                    411
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        39 of 57                                      pg
                                                     412 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                             Only

                                Text messages between Kley (M.T.) and K.T. on
                                                 06.03.2019
  782

                                Email re "Journal Entry Testing" on 06.04.2019
  783

                             Text messages between M.T. and K.T. on 06.07.2019
  784

                             Text messages between M.T. and K.T. on 06.10.2019
  785

                              Text messages between J.Y. and M.T. on 06.12.2019
  786

                                Text messages between Kley (M.T.) and K.T. on
                                                 06.12.2019
  787

                              Text messages between J.Y. and M.T. on 06.13.2019
  788

                             Text messages between M.T. and K.T. on 06.13.2019
  789

                             Text messages between M.T. and K.T. on 06.18.2019
  790

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  791

                             Text messages between M.T. and K.T. on 06.24.2019
  792

                             Text messages between M.T. and K.T. on 06.25.2019
  793

                            Text messages between M.T. and K.T. on 06.26.2019 and
                                                 06.27.2019
  794

                              Text messages between J.Y. and M.T. on 06.26.2019
  795

                              Text messages between J.Y. and M.T. on 06.28.2019
  796




                                                                                    39


                                                                                                                                                       412
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        40 of 57                                       pg
                                                     413 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                              Only

                             Text messages between M.T. and K.T. on 06.28.2019
  797

                             Text messages between M.T. and K.T. on 06.29.2019
  798

                                  Email re "RE: Please assist" on 07.11.2019
  799

                             Text messages between M.T. and K.T. on 07.02.2019
  800
                               Emails re "Invoice From Political Media, Inc." on
                            07.03.2019 (Political Media Invoice #7201 for $40,000;
                            Invoice #7263 for $10,100; Invoice #7312 for $9,500; &
  801                                     Invoice #7322 for $30,000)

                             Text messages between M.T. and K.T. on 07.04.2019
  802

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  803

                             Text messages between M.T. and K.T. on 07.07.2019
  804

                             Text messages between M.T. and K.T. on 07.07.2019
  805

                             Text messages between J.Y. and M.T. on 07.08.2019
  806

                                  Emails re "Re: Please assist" on 07.08.2019
  807

                                  Emails re "Re: Please assist" on 07.09.2019
  808

                             Text messages between M.T. and K.T. on 07.09.2019
  809

                             Text messages between M.T. and K.T. on 07.11.2019
  810

                             Text messages between M.T. and K.T. on 07.17.2019
  811




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        41 of 57                                   pg
                                                     414 of 1354


Exhibit   Witness                                                                     Stipulation   Offered   Admitted   Refused        Court Use
                                             Brief Description
                                                                                                                                          Only

                             Text messages between M.T. and K.T. on 07.18.2019
  812

                             Text messages between J.Y. and M.T. on 07.19.2019
  813

                             Text messages between J.Y. and M.T. on 07.22.2019
  814

                             Text messages between M.T. and K.T. on 07.29.2019
  815

                             Text messages between J.Y. and M.T. on 07.30.2019
  816

                             Text messages between J.Y. and M.T. on 08.01.2019
  817

                             Text messages between J.Y. and M.T. on 08.03.2019
  818

                             Text messages between M.T. and K.T. on 08.04.2019
  819

                             Text messages between J.Y. and M.T. on 08.05.2019
  820

                             Text messages between M.T. and K.T. on 08.05.2019
  821

                             Text messages between M.T. and K.T. on 08.06.2019
  822

                             Text messages between J.Y. and M.T. on 08.06.2019
  823

                             Text messages between M.T. and K.T. on 08.11.2019
  824

                             Text messages between M.T. and K.T. on 08.13.2019
  825

                             Text messages between J.Y. and M.T. on 08.13.2019
  826




                                                                                 41


                                                                                                                                                    414
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        42 of 57                                        pg
                                                     415 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                               Only

                             Text messages between J.Y. and M.T. on 08.14.2019
  827

                             Text messages between J.Y. and M.T. on 08.15.2019
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                             Text messages between M.T. and K.T. on 08.18.2019
  829

                             Text messages between J.Y. and M.T. on 08.19.2019
  830

                             Text messages between J.Y. and M.T. on 08.20.2019
  831

                             Text messages between J.Y. and M.T. on 08.21.2019
  832

                             Text messages between J.Y. and M.T. on 08.22.2019
  833

                             Text messages between M.T. and K.T. on 08.22.2019
  834

                             Text messages between M.T. and K.T. on 08.23.2019
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                             Text messages between M.T. and K.T. on 08.25.2019
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                             Text messages between J.Y. and M.T. on 08.26.2019
  837

                             Text messages between M.T. and K.T. on 08.26.2019
  838

                             Text messages between M.T. and K.T. on 08.27.2019
  839

                             Text messages between M.T. and K.T. on 08.28.2019
  840
                             Email re "Invoices from Global Fuel Logistics, Inc" on
                              08.28.2019 (Global Fuel Logistics Invoice #987 for
                             #9,500; Invoice #972 for $94,500; & Invoice #763 for
  841                                              $152,000)




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                                                                                                                                                         415
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        43 of 57                                        pg
                                                     416 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                               Only

                              Text messages between M.T. and K.T. on 08.29.2019
  842

                                   Emails re "RE: 8/29 Wires" on 08.29.2019
  843

                            Email re "Global Fuel - Updated Invoice" on 08.29.2019
                              (Global Fuel Logistics Invoice #1001 for $55,000)
  844
                             Email re "Invoices from Global Fuel Logistics, Inc" on
                              08.29.2019 (Global Fuel Logistics Invoice #1023 for
                            $45,000; Invoice #1011 for $45,000; & Invoice #1001 for
  845                                              $56,000)

                              Text messages between M.T. and K.T. on 08.30.2019
  846

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                              Text messages between M.T. and K.T. on 09.06.2019
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                              Text messages between M.T. and K.T. on 09.07.2019
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                              Text messages between M.T. and K.T. on 09.08.2019
  850

                              Text messages between J.Y. and M.T. on 09.09.2019
  851

                              Text messages between M.T. and K.T. on 09.09.2019
  852

                              Text messages between M.T. and K.T. on 09.10.2019
  853

                              Text messages between M.T. and K.T. on 09.13.2019
  854

                              Text messages between M.T. and K.T. on 09.14.2019
  855

                              Text messages between J.Y. and M.T. on 09.16.2019
  856




                                                                                      43


                                                                                                                                                         416
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        44 of 57                                   pg
                                                     417 of 1354


Exhibit   Witness                                                                     Stipulation   Offered   Admitted   Refused        Court Use
                                             Brief Description
                                                                                                                                          Only

                             Text messages between J.Y. and M.T. on 09.17.2019
  857

                             Text messages between J.Y. and M.T. on 09.18.2019
  858

                             Text messages between M.T. and K.T. on 09.18.2019
  859

                             Text messages between M.T. and K.T. on 09.22.2019
  860

                             Text messages between M.T. and K.T. on 09.23.2019
  861

                             Text messages between J.Y. and M.T. on 09.25.2019
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                             Text messages between J.Y. and M.T. on 09.26.2019
  863

                             Text messages between M.T. and K.T. on 09.26.2019
  864

                             Text messages between J.Y. and M.T. on 09.27.2019
  865

                             Text messages between M.T. and K.T. on 09.28.2019
  866

                             Text messages between M.T. and K.T. on 09.30.2019
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                             Text messages between M.T. and K.T. on 10.02.2019
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                             Text messages between M.T. and K.T. on 10.05.2019
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                                                                                 44


                                                                                                                                                    417
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        45 of 57                                       pg
                                                     418 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                              Only

                             Text messages between M.T. and K.T. on 10.07.2019
  872

                             Text messages between M.T. and K.T. on 10.08.2019
  873

                             Text messages between M.T. and K.T. on 10.09.2019
  874
                             Email re "Invoices from Aero Maintenance Resources"
                              on 10.11.2019 (Aero Maintenance Resources Invoice
                            #697 for $112,750; Invoice #634 for $75,000; & Invoice
  875                                         #627 for $141,450)

                             Text messages between M.T. and K.T. on 10.11.2019
  876

                             Text messages between M.T. and K.T. on 10.15.2019
  877

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                             Text messages between M.T. and K.T. on 10.19.2019
  879

                             Text messages between M.T. and K.T. on 10.20.2019
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                             Text messages between M.T. and K.T. on 10.21.2019
  881

                             Text messages between M.T. and K.T. on 10.22.2019
  882

                             Text messages between M.T. and K.T. on 10.25.2019
  883

                             Text messages between M.T. and K.T. on 10.25.2019
  884

                             Text messages between M.T. and K.T. on 10.31.2019
  885

                             Text messages between M.T. and K.T. on 11.01.2019
  886




                                                                                     45


                                                                                                                                                        418
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        46 of 57                                     pg
                                                     419 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                            Only
                             Email re "Invoices from Aero Maintenance Resources"
                              on 11.11.2019 (Aero Maintenance Resources Invoice
                              #1017 for $110,000; Invoice #1021 for $100,000; &
  887                                     Invoice #1103 for $66,750)

                             Text messages between M.T. and K.T. on 11.13.2019
  888

                             Text messages between M.T. and K.T. on 11.14.2019
  889

                             Text messages between M.T. and K.T. on 11.19.2019
  890

                             Text messages between M.T. and K.T. on 11.20.2019
  891

                             Text messages between M.T. and K.T. on 11.21.2019
  892

                             Text messages between M.T. and K.T. on 11.22.2019
  893

                             Text messages between M.T. and K.T. on 11.25.2019
  894

                             Text messages between M.T. and K.T. on 12.01.2019
  895

                             Text messages between M.T. and K.T. on 12.02.2019
  896

                             Text messages between M.T. and K.T. on 12.03.2019
  897

                             Text messages between M.T. and K.T. on 12.04.2019
  898

                             Text messages between M.T. and K.T. on 12.06.2019
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                             Text messages between M.T. and K.T. on 12.11.2019
  901




                                                                                   46


                                                                                                                                                      419
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        47 of 57                                        pg
                                                     420 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                               Only

                              Text messages between M.T. and K.T. on 12.13.2019
  902
                             Email re "Invoices from Aero Maintenance Resources"
                              on 12.17.2019 (Aero Maintenance Resources Invoice
                            #2110 for $49,750; Invoice #2325 for $83,400; & Invoice
  903                                         #2392 for $85,250)

                              Text messages between M.T. and K.T. on 12.20.2019
  904

                              Text messages between M.T. and K.T. on 12.21.2019
  905

                              Text messages between M.T. and K.T. on 12.30.2019
  906

                              Text messages between M.T. and K.T. on 12.31.2019
  907

                              Text messages between M.T. and K.T. on 01.03.2020
  908

                              Text messages between M.T. and K.T. on 01.07.2020
  909

                              Text messages between M.T. and K.T. on 01.08.2020
  910

                              Text messages between M.T. and K.T. on 01.09.2020
  911
                             Email re "Invoices from Aero Maintenance Resources"
                              on 01.09.2020 (Aero Maintenance Resources Invoice
                            #2515 for $79,950; Invoice #2479 for $87,200; & Invoice
  912                                         #2601 for $148,200)

                              Text messages between M.T. and K.T. on 01.10.2020
  913

                              Text messages between M.T. and K.T. on 01.11.2020
  914

                              Text messages between M.T. and K.T. on 01.13.2020
  915

                              Text messages between M.T. and K.T. on 01.16.2020
  916




                                                                                      47


                                                                                                                                                         420
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        48 of 57                                     pg
                                                     421 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                            Only

                             Text messages between M.T. and K.T. on 01.17.2020
  917

                             Text messages between M.T. and K.T. on 01.22.2020
  918

                             Text messages between M.T. and K.T. on 01.26.2020
  919

                             Text messages between M.T. and K.T. on 01.28.2020
  920

                             Text messages between M.T. and K.T. on 01.29.2020
  921

                             Text messages between M.T. and K.T. on 01.31.2020
  922

                             Text messages between M.T. and K.T. on 02.01.2020
  923

                             Text messages between M.T. and K.T. on 02.05.2020
  924

                             Text messages between M.T. and K.T. on 02.12.2020
  925

                             Text messages between M.T. and K.T. on 02.13.2020
  926

                             Text messages between M.T. and K.T. on 02.15.2020
  927
                             Email re "Invoices from Aero Maintenance Resources"
                              on 02.18.2020 (Aero Maintenance Resources Invoice
  928                          #2807 for $15,689; & Invoice #2753 for $99,211)

                             Text messages between M.T. and K.T. on 02.25.2020
  929

                             Text messages between M.T. and K.T. on 02.26.2020
  930

                             Text messages between M.T. and K.T. on 03.03.2020
  931




                                                                                   48


                                                                                                                                                      421
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        49 of 57                                        pg
                                                     422 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                               Only

                              Text messages between M.T. and K.T. on 03.06.2020
  932
                             Email re "Invoices from Aero Maintenance Resources"
                              on 03.09.2020 (Aero Maintenance Resources Invoice
                            #3004 for $95,000; Invoice #2987 for $33,520; & Invoice
  933                                         #2901 for $90,180)

                              Text messages between M.T. and K.T. on 03.10.2020
  934
                            Email re "Aero Maintenance Invoices for February 2020"
                             on 03.11.2020 (Aero Maintenance Resources Invoice
  935                                        #2990 for $73,000)

                              Text messages between M.T. and K.T. on 03.11.2020
  936

                              Text messages between M.T. and K.T. on 03.17.2020
  937

                              Text messages between M.T. and K.T. on 03.18.2020
  938

                                    Email re NO SUBJECT on 03.19.2020
  939

                              Text messages between M.T. and K.T. on 03.20.2020
  940

                              Text messages between M.T. and K.T. on 03.22.2020
  941

                              Text messages between M.T. and K.T. on 03.23.2020
  942

                              Text messages between M.T. and K.T. on 03.28.2020
  943

                              Text messages between M.T. and K.T. on 03.30.2020
  944

                              Text messages between M.T. and K.T. on 04.01.2020
  945

                              Text messages between M.T. and K.T. on 04.02.2020
  946




                                                                                      49


                                                                                                                                                         422
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        50 of 57                                        pg
                                                     423 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                               Only

                             Text messages between M.T. and K.T. on 04.05.2020
  947

                             Text messages between M.T. and K.T. on 04.06.2020
  948

                             Text messages between M.T. and K.T. on 04.08.2020
  949
                            Email re "Invoices for Aero Maintenance Resources" on
                            04.14.2020 (Aero Maintenance Resources Invoice #4001
  950                             for $87,045; & Invoice #3176 for $127,155)

                             Text messages between M.T. and K.T. on 04.14.2020
  951
                            Email re "Aero Maintenance Invoices for April 2020" on
                            04.16.2020 (Aero Maintenance Resources Invoice #5120
  952                            for $105,603; & Invoice #4784 for $114,685)

                              Email re "Invoice for Global Fuel Logistics, Inc." on
                              04.27.2020 (Global Fuel Logistics Invoice #7988 for
  953                                              $124,785)

                              Email re "Invoice for Aero Maintenance Resources 2
                                March 2020" on 05.04.2020 (Aero Maintenance
  954                                Resources Invoice #3101 for $61,255)

                              Email re "Invoice for Global Fuel Logistics, Inc." on
                              05.11.2020 (Global Fuel Logistics Invoice #8011 for
  955                                               $83,090)

                             Text messages between M.T. and K.T. on 05.12.2020
  956

                             Text messages between M.T. and K.T. on 05.23.2020
  957

                             Text messages between M.T. and K.T. on 05.28.2020
  958
                             Email re "Invoices for May 2020" on 06.03.2020 (Aero
                              Maintenance Resources Invoice #8888 for $153,725;
                              Global Fuel Logistics Invoice #9014 for $159,882; &
  959                          Global Fuel Logistics Invoice #9071 for $164,065)

                             Text messages between M.T. and K.T. on 06.07.2020
  960

                             Text messages between M.T. and K.T. on 06.09.2020
  961




                                                                                      50


                                                                                                                                                         423
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        51 of 57                                         pg
                                                     424 of 1354


Exhibit   Witness                                                                           Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                                Only

                              Text messages between M.T. and K.T. on 06.10.2020
  962

                              Text messages between M.T. and K.T. on 06.11.2020
  963

                              Text messages between M.T. and K.T. on 06.16.2020
  964

                              Text messages between M.T. and K.T. on 06.17.2020
  965

                              Text messages between M.T. and K.T. on 06.24.2020
  966

                              Text messages between M.T. and K.T. on 06.25.2020
  967

                              Text messages between M.T. and K.T. on 06.26.2020
  968
                            Email re "Invoices for June 2020" on 06.30.2020 (Global
                             Fuel Logistics Invoice #10101 for $170,274.50; Aero
                             Maintenance Resources Invoice #9302 for $194,803; &
  969                         Global Fuel Logistics Invoice #11812 for $127,264)

                              Text messages between M.T. and K.T. on 06.29.2020
  970

                              Text messages between M.T. and K.T. on 07.01.2020
  971

                              Text messages between J.Y. and K.T. on 07.01.2020
  972

                            Email re "Invoice for July 1 2020" on 07.02.2020 (Global
                                   Fuel Logistics Invoice #10226 for $95,000)
  973

                             Audio recording of consensual phone call between J.Y.
                                           and M.T. on 07.07.2020
  974

                             Audio recording of consensual phone call between J.Y.
                                           and M.T. on 07.08.2020
  975

                              Text messages between J.Y. and M.T. on 07.08.2020
  976




                                                                                       51


                                                                                                                                                          424
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        52 of 57                                       pg
                                                     425 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                              Only

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  977

                               Email re Kimberley Tew $10,000 Invoice, dated
                                                12.31.2018
  978

                             Email re ACH Payment Questions, dated 04.17.2019
  979

                             Email re Lululemon Order Confirmation to Amy Tew,
                                              dated 11.04.2018
  980

                             Email re Lilly Pulitzer Shipping Confirmation to Amy
                                             Tew, dated 10.18.2018
  981

                            Email re Lilly Pulitzer Order Confirmation to Amy Tew,
                                                dated 10.17.2018
  982

                            Email re Saks Fifth Avenue Order Confirmation to Amy
                                            Tew, dated 10.18.2018
  983

                            Email re Zappos Order Confirmation to Amy Tew, dated
                                                 11.03.2018
  984

                               Email re Kimberley Tew Introduction & Contact
                                        Information, dated 01.30.2018
  985

                             Invoice #001 re Kimberley Tew for $10,000.00, dated
                                                 02.08.2018
  986

                             Transcript of consensual phone call between J.Y. and
                                              M.T. on 07.07.2020
  987

                             Transcript of consensual phone call between J.Y. and
                                              M.T. on 07.08.2020
  988

                             Text messages between M.T. and K.T. on 08.28.2019
  989

                             Text messages between M.T. and K.T. on 09.18.2019
  990

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                                                                                     52


                                                                                                                                                        425
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        53 of 57                                      pg
                                                     426 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                             Only

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 1001                           Account Owners and Signors for Relevant Bank
                                                 Accounts


 1002                          Payments of Fraudulent Invoices by NAC between
                                         August 2018 and July 2020


 1003                       Deposits of Fraudulent Invoices by NAC between August
                                              2018 and July 2020

                              Summary of Hanna Scaife CPA, Meyers Consulting
 1004                        Group, and 5530 Jessamine Development Invoices and
                                                  Payments

 1005                         Summary of Political Media Invoices and Payments


 1006                           Summary of Global Fuel Logistics Invoices and
                                                Payments

                             Summary of Aero Maintenance Resources Invoices and
                                                Payments
 1007

                                        Summary - Calendar of Events
 1008

                                            Summary - Count 42
 1009

                                            Summary - Count 43
 1010

                                            Summary - Count 44
 1011

                                            Summary - Count 45
 1012

                                            Summary - Count 46
 1013

                                            Summary - Count 47
 1014




                                                                                    53


                                                                                                                                                       426
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        54 of 57                                      pg
                                                     427 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                             Only

                                             Summary - Count 48
 1015

                                             Summary - Count 49
 1016

                                             Summary - Count 50
 1017

                                             Summary - Count 51
 1018

                                             Summary - Count 52
 1019

                                             Summary - Count 53
 1020

                                             Summary - Count 54
 1021

                                             Summary - Count 55
 1022

                                             Summary - Count 56
 1023

                               Summary - M. Tew Transactions and Photographs
 1024

                               Summary - K. Tew Transactions and Photographs
 1025

                            Summary - M. and K. Tew Transactions and Photographs
 1026

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 1100                         Certificate of Authenticity for Atlantic Union Bank


 1101                              Certificate of Authenticity for ANB Bank




                                                                                    54


                                                                                                                                                       427
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          383-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        55 of 57                                          pg
                                                     428 of 1354


Exhibit   Witness                                                                            Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                                 Only

 1102                              Certificate of Authenticity for ANB Bank


 1103                                 Certificate of Authenticity for BBVA


 1104                                 Certificate of Authenticity for BBVA


 1105                       Certificate of Authenticity for Guaranty Bank and Trust
                                                   Company


 1106                                Certificate of Authenticity for Kraken


 1107                       Certificate of Authenticity for Navy Federal Credit Union


 1108                               Certificate of Authenticity for GoDaddy


 1109                                Certificate of Authenticity for Google


 1110                                Certificate of Authenticity for Verizon


 1111                             Certificate of Authenticity for Regions Bank


 1112                            Certificate of Authenticity for Simple Finance
                                                Technology Corp


 1113                            Certificate of Authenticity for Signature Bank


 1114                                Certificate of Authenticity for Google


 1115                                 Certificate of Authenticity for Apple


 1116                                Certificate of Authenticity for Google




                                                                                        55


                                                                                                                                                           428
                    Case Case
                         No. 1:20-cr-00305-DDD
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                                                     429 of 1354


Exhibit   Witness                                                                            Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                                 Only

 1117                                Certificate of Authenticity for Google


 1118                                 Certificate of Authenticity for Vcorp


 1119                           Certificate of Authenticity for Wells Fargo Bank


 1120                           Certificate of Authenticity for Wells Fargo Bank


 1121                           Certificate of Authenticity for Wynn Las Vegas


 1122                                Certificate of Authenticity for Google


 1123                                Certificate of Authenticity for Google


 1124                                Certificate of Authenticity for Google


 1125                                Certificate of Authenticity for Google


 1126                                Certificate of Authenticity for Google


 1127                                 Certificate of Authenticity for AT&T


 1128                       Certificate of Authenticity for Navy Federal Credit Union


 1129                           Certificate of Authenticity for American Express


 1130                          Certificate of Authenticity for National Air Cargo


 1131                        Certificate of Authenticity for McDonald Automotive
                                                     (Audi)




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                                                                                   PageColorado
                                                                                        57 of 57                                        pg
                                                     430 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                               Only

 1132                             Certificate of Authenticity for Digital Mint


 1133                             Certificate of Authenticity for Digital Mint


 1134                         Certification of Authenticity for National Air Cargo


 1135                        Certification of Authenticity for Access National Bank


 1136                              Certification of Authenticity for Coinbase


 1137                              Certification of Authenticity for Coinbase


 1138                              Certification of Authenticity for Coinbase


 1139                             Certification of Authenticity for Navy FCU


 1140                               Certification of Authenticity for Apple


 1141                                       Certification for Google




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                                  431 of 1354




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW and
      2. KIMBERLEY ANN TEW,
         a/ka Kimberley Vertanen,

        Defendants.



               GOVERNMENT’S LIST OF PROPOSED WITNESSES


        The government hereby submits its preliminary list of proposed witnesses,

 along with estimates of the length of their testimony on direct examination. The

 government reserves the right, with reasonable notice depending on the

 circumstances, to call additional witnesses should a need arise during trial or based

 on rulings made at the pretrial conference. The government also reserves the right




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                                  432 of 1354




 to submit a revised witness list as it continues to prepare testimony and develops

 better estimates of the time needed for direct examinations.

              Respectfully submitted this 25th day of January, 2024.

                                                COLE FINEGAN
                                                United States Attorney

  By: /s/ Bryan Fields                        By: /s/ Sarah H. Weiss
  Bryan Fields                                Sarah H. Weiss
  Assistant United States Attorney            Assistant United States Attorney
  U.S. Attorney’s Office                      U.S. Attorney’s Office
  1801 California St. Suite 1600              1801 California St. Suite 1600
  Denver, CO 80202                            Denver, CO 80202
  (303) 454-0100                              (303) 454-0100
  Bryan.Fields3@usdoj.gov                     Sarah.Weiss@usdoj.gov
  Attorney for the Government                 Attorney for the Government




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                                  433 of 1354




                             CERTIFICATE OF SERVICE


       I hereby certify that on this 25th day of January, 2024, I electronically filed

 the foregoing with the Clerk of the Court using the CM/ECF system which will send

 notification to all counsel of record




                                               By:    /s Bryan Fields
                                                      Bryan Fields
                                                      Assistant United States
                                                      Attorney
                                                      U.S. Attorney’s Office
                                                      1801 California St. Suite 1600
                                                      Denver, CO 80202
                                                      (303) 454-0100
                                                      Bryan.Fields3@usdoj.gov
                                                      Attorney for the Government




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                                  434 of 1354




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                                   435 of 1354




                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

                                Judge Daniel D. Domenico


Case No.      20-cr-305-DDD                         Date:      February 5, 2024
Case Title:   United States v. Michael Tew et al.

              GOVERNMENT’S                                  WITNESS LIST
              (Plaintiff/Defendant)


                                                            ESTIMATED DATE(S) AND
WITNESS
                                                            LENGTH OF TESTIMONY

Ronald Brodfuehrer                                          Feb. 5 - 15 minutes

Jonathan Yioulos                                            Feb. 5-6 - 300 minutes

Hannah Scaife                                               Feb. 7 - 45 minutes

Raeesa Telly (nee Ibrahim)                                  Feb. 7 - 45 minutes

Abby Schwartz                                               Feb 7 - 120 minutes

Regions Bank Representative                                 Feb. 7 - 15 minutes

Navy Federal Credit Union                                   Feb. 7 - 15 minutes
Representative

Flagstar Bank / FIS Global                                  Feb. 7 - 15 minutes
Representative

Sarah Anderson                                              Feb. 7 - 30 minutes

PNC Bank Representative                                     Feb. 8 - 15 minutes

Michael Meyers                                              Feb. 8 - 30 minutes

Roman Hernandez                                             Feb. 8 - 30 minutes

Wells Fargo Representative                                  Feb. 8 - 15 minutes

ANB Bank Representative                                     Feb. 8 - 15 minutes

Lori Alf                                                    Feb. 8 - 30 minutes

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Case No.
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                                                                       Colorado
                                                                         2 of 2   pg
                                   436 of 1354




Chris Alf                                          Feb. 8 - 30 minutes

Matthew Morgan                                     Feb. 8 - 60 minutes

Nicholas Hanggi                                    Feb. 9 - 30 minutes

Matthew Vanderveer                                 Feb. 9 - 30 minutes

Lisa Palmer                                        Feb. 9 & 12 - 180 minutes




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Case No.
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                                                                       1 of 4         pg
                                  437 of 1354




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW and
      2. KIMBERLEY ANN TEW,
         a/ka Kimberley Vertanen,

        Defendants.



        GOVERNMENT’S (AMENDED) LIST OF PROPOSED EXHIBITS


        The government hereby submits an amended version of its preliminary list of

 proposed exhibits. The government respectfully reserves its right, within

 reasonable notice depending on the circumstances, to add additional exhibits as it

 continues preparing for trial.

               Respectfully submitted this 25th day of January, 2024.

                                                 COLE FINEGAN
                                                 United States Attorney

  By: /s/ Bryan Fields                         By: /s/ Sarah H. Weiss
  Bryan Fields                                 Sarah H. Weiss
  Assistant United States Attorney             Assistant United States Attorney
  U.S. Attorney’s Office                       U.S. Attorney’s Office
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  Attorney for the Government                  Attorney for the Government

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                                  438 of 1354




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                                  439 of 1354




                             CERTIFICATE OF SERVICE


        I hereby certify that on this 25th day of January, 2024, I electronically filed

 the foregoing with the Clerk of the Court using the CM/ECF system which will send

 notification to all counsel of record.




                                                By:    /s Bryan Fields
                                                       Bryan Fields
                                                       Assistant United States
                                                       Attorney
                                                       U.S. Attorney’s Office
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                                                       Denver, CO 80202
                                                       (303) 454-0100
                                                       Bryan.Fields3@usdoj.gov
                                                       Attorney for the Government




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                                                                                                    1 of 61                                    pg
                                                               441 of 1354



CASE CAPTION: United States v. Tew, et al.

CASE NO.: 20-cr-305-DDD

EXHIBIT LIST OF: United States of America, Plaintiff
                         (Name and Party Designation)



 Exhibit           Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                                      Only
                                                       Brief Description


    1                                          INTENTIONALLY LEFT BLANK


                                     Signature Bank Statement re Account x5529 National Air
    2
                                     Cargo Holdings, statement period 08.01.2018-08.31.2018

                                     Signature Bank Statement re Account x5529 National Air
    3
                                     Cargo Holdings, statement period 10.01.2018-10.31.2018


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                                     Signature Bank Statement re Account x5529 National Air
    5
                                     Cargo Holdings, statement period 11.01.2018-11.30.2018


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                                     Signature Bank Statement re Account x5529 National Air
    7
                                     Cargo Holdings, statement period 12.01.2018-12.31.2018

                                      Signature Bank ACH Transaction re $15,250 to [PM],
    8
                                                       dated 02.07.2019

                                      Signature Bank ACH Transaction re $15,250 to [PM],
    9
                                                       dated 02.19.2019

                                      Signature Bank ACH Transaction re $38,000 to [PM],
    10
                                                       dated 03.28.2019




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                    Case No.
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                                                                                           2 of 61                                  pg
                                                      442 of 1354


Exhibit   Witness                                                                      Stipulation   Offered   Admitted   Refused        Court Use
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                                              Brief Description

                             Signature Bank ACH Transaction re $11,250 to [PM],
   11
                                              dated 04.03.2019

                             Signature Bank ACH Transaction re $45,000 to Global
   12
                                       Fuel Logistics, dated 07.23.2019

                              Signature Bank ACH Transaction re $31,500 to SHI
   13
                                           LLC, dated 08.06.2019

                             Signature Bank ACH Transaction re $9,500 to Global
   14
                                       Fuel Logistics, dated 08.19.2019

                              Signature Bank ACH Transaction re $28,000 to SHI
   15
                                           LLC, dated 08.21.2019

                             Signature Bank ACH Transaction re $45,000 to Global
   16
                                       Fuel Logistics, dated 09.03.2019

                              Signature Bank ACH Transaction re $18,000 to SHI
   17
                                           LLC, dated 09.09.2019

                              Signature Bank ACH Transaction re $33,500 to SHI
   18
                                           LLC, dated 09.17.2019

                              Signature Bank ACH Transaction re $52,750 to SHI
   19
                                           LLC, dated 09.25.2019

                             Signature Bank ACH Transaction re $75,000 to Global
   20
                                       Fuel Logistics, dated 10.16.2019

                             Signature Bank ACH Transaction re $43,000 to Global
   21
                                       Fuel Logistics, dated 10.24.2019

                              Signature Bank ACH Transaction re $49,750 to SHI
   22
                                           LLC, dated 10.31.2019

                              Signature Bank ACH Transaction re $40,500 to SHI
   23
                                           LLC, dated 11.07.2019

                             Signature Bank ACH Transaction re $43,250 to Global
   24
                                       Fuel Logistics, dated 11.25.2019




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                                                                                           3 of 61                                   pg
                                                      443 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
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                                              Brief Description

                              Signature Bank ACH Transaction re $9,550 to Global
   25
                                       Fuel Logistics, dated 12.02.2019

                             Signature Bank ACH Transaction re $24,500 to Global
   26
                                       Fuel Logistics, dated 12.11.2019

                             Signature Bank ACH Transaction re $15,200 to Global
   27
                                       Fuel Logistics, dated 12.23.2019

                             Signature Bank ACH Transaction re $33,000 to Global
   28
                                       Fuel Logistics, dated 02.11.2020

                             Signature Bank ACH Transaction re $95,000 to Global
   29
                                       Fuel Logistics, dated 02.19.2020

                             Signature Bank ACH Transaction re $36,555 to Global
   30
                                       Fuel Logistics, dated 03.02.2020

                             Signature Bank ACH Transaction re $35,000 to Global
   31
                                       Fuel Logistics, dated 03.09.2020

                             Signature Bank ACH Transaction re $22,5000 to Global
   32
                                       Fuel Logistics, dated 03.19.2020

                             Signature Bank ACH Transaction re $73,460 to Global
   33
                                       Fuel Logistics, dated 03.31.2020

                             Signature Bank ACH Transaction re $36,925 to Global
   34
                                       Fuel Logistics, dated 04.06.2020

                             Signature Bank ACH Transaction re $68,255 to Global
   35
                                       Fuel Logistics, dated 04.15.2020

                             Signature Bank ACH Transaction re $46,850 to Global
   36
                                       Fuel Logistics, dated 04.27.2020

                             Signature Bank ACH Transaction re $85,325 to Global
   37
                                       Fuel Logistics, dated 05.05.2020

                             Signature Bank ACH Transaction re $82,422 to Global
   38
                                       Fuel Logistics, dated 05.12.2020




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                    Case No.
                         Case1:20-cr-00305-DDD
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                                                                                      PageColorado
                                                                                           4 of 61                                   pg
                                                      444 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
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                                              Brief Description

                             Signature Bank ACH Transaction re $78,565 to Global
   39
                                       Fuel Logistics, dated 05.20.2020

                             Signature Bank ACH Transaction re $95,000 to Global
   40
                                       Fuel Logistics, dated 07.02.2020


   41                                INTENTIONALLY LEFT BLANK

                            Navy Federal Credit Union Transaction Log Summary re
   42
                              Acct x8486 $15,000 Withdrawal, dated 06.04.2019

                            Navy Federal Credit Union Transaction Log Summary re
   43
                              Acct x8486 $15,000 Withdrawal, dated 06.11.2019

                               Wells Fargo Bank Withdrawal Slip re Acct x6934
   44
                                    $22,000 Withdrawal, dated 08.28.2019

                               Wells Fargo Bank Withdrawal Slip re Acct x2064
   45
                                    $25,000 Withdrawal, dated 08.29.2019

                             Navy Federal Credit Union Statement re Access x3844
   46
                             Michael Tew, statement period 08.17.2019-09.16.2019

                              Wells Fargo Bank Wire Transaction Report re Acct
   47
                                       x6934 $15,000, dated 09.18.2019

                               Wells Fargo Bank Withdrawal Slip re Acct x6934
   48
                                   $20,000 Withdrawal, dated 089.26.2019

                               Wells Fargo Bank Withdrawal Slip re Acct x6934
   49
                                    $20,000 Withdrawal, dated 09.27.2019

                               Wells Fargo Bank Withdrawal Slip re Acct x6934
   50
                                    $20,000 Withdrawal, dated 10.01.2019

                               Wells Fargo Bank Withdrawal Slip re Acct x6934
   51
                                    $12,000 Withdrawal, dated 10.02.2019

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
   52
                                           LLC, dated 11.30.2019




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                    Case No.
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                                                                                           5 of 61                                pg
                                                      445 of 1354


Exhibit   Witness                                                                    Stipulation   Offered   Admitted   Refused        Court Use
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                              Wells Fargo Bank Withdrawal Slip re Acct x2064
   53
                                   $20,000 Withdrawal, dated 02.20.2020

                              Wells Fargo Bank Withdrawal Slip re Acct x2064
   54
                                   $15,000 Withdrawal, dated 02.21.2020

                              Wells Fargo Bank Withdrawal Slip re Acct x2064
   55
                                   $20,000 Withdrawal, dated 02.27.2020

                              Wells Fargo Bank Withdrawal Slip re Acct x2064
   56
                                   $20,000 Withdrawal, dated 03.03.2020


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  101
                               2016 Gross Income Summary for Michael Tew

  102
                               2017 Gross Income Summary for Michael Tew

  103
                               2018 Gross Income Summary for Michael Tew

  104
                               2019 Gross Income Summary for Michael Tew

  105
                              Internal Revenue Service 2019 Account Transcript

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  107
                               2016 Gross Income Summary for Michael Tew

  108
                               2017 Gross Income Summary for Michael Tew

  109
                               2018 Gross Income Summary for Michael Tew

 110 -
  200                          2019 Gross Income Summary for Michael Tew




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                    Case No.
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  201
                             Guaranty Bank and Trust Statement re Account x7867
  202                                Michael Tew, statement 08.31.2018

                               Regions Bank Statement re Account x4514 [MM],
  203                              statement period 10.12.2018-11.08.2018


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  204
                               Regions Bank Statement re Account x4514 [MM],
  205                              statement period 11.09.2018-12.10.2018


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  206
                             ANB Bank Statement re Account x3099 [MM], dated
  207                                            12.18.2018

                             Navy Federal Credit Union Statement re Access x3843
  208                       Kimberley Tew, statement period 01.17.2019-02.16.2019

                             Navy Federal Credit Union Statement re Access x3843
  209                       Kimberley Tew, statement period 02.17.2019-03.16.2019

                             Navy Federal Credit Union Statement re Access x3843
  210                       Kimberley Tew, statement period 03.17.2019-04.16.2019

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  211
                             Navy Federal Credit Union Statement re Access x3844
  212                        Michael Tew, statement period 07.17.2019-08.16.2019

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  213                                      LLC, dated 08.31.2019

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                    Case No.
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                                                                                      PageColorado
                                                                                           7 of 61                                   pg
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  216
                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  217                                      LLC, dated 09.30.2019

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  218

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  219
                             Wells Fargo Bank Statement re Account x2064 Global
  220                                  Fuel Logistics, dated 10.31.2019


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  223
                             Wells Fargo Bank Statement re Account x2064 Global
  224                                  Fuel Logistics, dated 11.30.2019

                             Navy Federal Credit Union Statement re Access x3844
  225                        Michael Tew, statement period 11.17.2019-12.16.2019


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  226
                             Navy Federal Credit Union Statement re Access x3844
  227                        Michael Tew, statement period 12.17.2019-01.16.2020

                             Navy Federal Credit Union Statement re Access x3844
  228                        Michael Tew, statement period 01.17.2020-02.16.2020

                             Wells Fargo Bank Statement re Account x2064 Global
  229                                  Fuel Logistics, dated 02.29.2020



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                    Case No.
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                                                                                           8 of 61                                     pg
                                                      448 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
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                                               Brief Description

                             Wells Fargo Bank Statement re Account x2064 Global
  230                                  Fuel Logistics, dated 03.31.2020

                             Navy Federal Credit Union Statement re Access x3844
  231                        Michael Tew, statement period 02.17.2020-03.16.2020

                             Navy Federal Credit Union Statement re Access x3844
  232                        Michael Tew, statement period 03.17.2020-04.16.2020

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                             Navy Federal Credit Union Statement re Access x3844
  236                        Michael Tew, statement period 04.17.2020-05.16.2020

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  238
                             Navy Federal Credit Union Statement re Access x3844
  239                        Michael Tew, statement period 05.17.2020-06.16.2020

                            Navy Federal Credit Union Transaction Details re Access
                            x1390, Account x3094 Global Fuel Logistics, transaction
  240                                    period 07.20.2020-07.08.2020

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  241
                             Navy Federal Credit Union Statement re Access x3843
  242                       Kimberley Tew, statement period 05.17.2019-06.16.2019

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                                                                                                                                                        448
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                                                  Document645-2
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                                                                        01/24/25
                                                                           01/25/24 USDC
                                                                                      PageColorado
                                                                                           9 of 61                                   pg
                                                      449 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                            Only
                                               Brief Description

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  244
                             Wells Fargo Bank Statement re Account x2064 Global
  245                                  Fuel Logistics, dated 08.31.2019

                             Navy Federal Credit Union Statement re Access x3843
  246                       Kimberley Tew, statement period 08.17.2019-09.16.2019


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  249
                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  250                                       LLC, dated 10.31.2019

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                              ANB Bank Signature Card re Account x3099 [MM]
  301
                              Guaranty Bank and Trust Signature Card re Account
  302                                        x7867 Michael Tew

                              Navy Federal Credit Union Application re Kimberley
  303                                       Tew and Michael Tew

                             Navy Federal Credit Union Application re Global Fuel
  304                                     Logistics, dated 06.08.2020

                             Regions Bank Signature Cards re Account x0514 [MM]
  305
                            Wells Fargo Bank Signature Card re Account x6934 Sand
  306                                           Hill LLC, LLC




                                                                                    9


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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        10 of 61                                      pg
                                                     450 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                             Only
                                              Brief Description

                              Wells Fargo Bank Signature Card re Account x2064
  307                                       Global Fuel Logistics

                             Signature Bank Signature Card re Accounts x5545 and
  308                                x6150 National Air Cargo Group, Inc

                              Signature Bank Signature Card re Accounts x5529,
  309                       x6363, x6355, and x6134 National Air Cargo Group, Inc

                             Guaranty Bank and Trust Statement re Account x7867
  310                                  Michael Tew, dated 08.31.2018

                            BBVA Compass Signature Card re Account x0987 [5530
  311                                             JD] LLC

                            Access National Bank Statement re Account x5965 [PM]
  312                            Inc., statement period 12.01.2018-12.31.2018

                                  Simple Signature Card for Kimberley Tew
  313
                             Navy Federal Credit Union Statement re Access x3843
  314                       Kimberley Tew, statement period 07.17.2019-08.16.2019

                             Navy Federal Credit Union Statement re Access x3843
  315                       Kimberley Tew, statement period 09.17.2019-10.16.2019

                             Navy Federal Credit Union Statement re Access x3843
  316                       Kimberley Tew, statement period 10.17.2019-11.16.2019

                             Navy Federal Credit Union Statement re Access x3843
  317                       Kimberley Tew, statement period 11.17.2019-12.16.2019

                             Navy Federal Credit Union Statement re Access x3843
  318                       Kimberley Tew, statement period 12.17.2019-01.16.2020

                             Navy Federal Credit Union Statement re Access x3843
  319                       Kimberley Tew, statement period 01.17.2020-02.16.2020

                             Navy Federal Credit Union Statement re Access x3843
  320                       Kimberley Tew, statement period 02.17.2020-03.16.2020




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
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                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        11 of 61                                      pg
                                                     451 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                             Only
                                              Brief Description

                             Navy Federal Credit Union Statement re Access x3843
  321                       Kimberley Tew, statement period 03.17.2020-04.16.2020

                             Navy Federal Credit Union Statement re Access x3843
  322                       Kimberley Tew, statement period 04.17.2020-05.16.2020

                             Navy Federal Credit Union Statement re Access x3843
  323                       Kimberley Tew, statement period 05.17.2020-06.16.2020

                             Navy Federal Credit Union Statement re Access x3844
  324                        Michael Tew, statement period 01.08.2019-01.16.2019

                             Navy Federal Credit Union Statement re Access x3844
  325                        Michael Tew, statement period 01.17.2019-02.16.2019

                             Navy Federal Credit Union Statement re Access x3844
  326                        Michael Tew, statement period 02.17.2019-03.16.2019

                             Navy Federal Credit Union Statement re Access x3844
  327                        Michael Tew, statement period 03.17.2019-04.16.2019

                             Navy Federal Credit Union Statement re Access x3844
  328                        Michael Tew, statement period 04.17.2019-05.16.2019

                             Navy Federal Credit Union Statement re Access x3844
  329                        Michael Tew, statement period 05.17.2019-06.16.2019

                             Navy Federal Credit Union Statement re Access x3844
  330                        Michael Tew, statement period 06.17.2019-07.16.2019

                             Navy Federal Credit Union Statement re Access x3844
  331                        Michael Tew, statement period 09.17.2019-10.16.2019

                             Navy Federal Credit Union Statement re Access x3844
  332                        Michael Tew, statement period 10.17.2019-11.16.2019

                             Navy Federal Credit Union Statement re Access x3844
  333                        Michael Tew, statement period 11.17.2019-12.16.2019

                             Wells Fargo Bank Statement re Account x2064 Global
  334                                  Fuel Logistics, dated 09.30.2019




                                                                                    11


                                                                                                                                                       451
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
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                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        12 of 61                                        pg
                                                     452 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                              Brief Description

                              American Express Corporate Card Authorization re
                               Account x91009 National Air Cargo, Cardmember
  335                                           Michael Tew

                             Wells Fargo Bank Statement re Account x2064 Global
  336                                  Fuel Logistics, dated 12.31.2019

                             Wells Fargo Bank Statement re Account x2064 Global
  337                                  Fuel Logistics, dated 01.31.2020

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  338                                      closing date 06.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  339                                      closing date 07.16.2018

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  340                                       LLC, dated 12.31.2019

                              BBVA Compass Statement re Account x0987 5530
                                Jassamine Development LLC, statement period
  341                                       11.01.2018-11.30.2018

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  342                                       LLC, dated 05.31.2019

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  343                                       LLC, dated 01.31.2020

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  344                                       LLC, dated 02.29.2020

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  345                                       LLC, dated 03.31.2020

                             Navy Federal Credit Union Statement re Access x1390
                            Global Fuel Logistics Inc, statement period 06.08.2020-
  346                                            06.30.2020




                                                                                      12


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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        13 of 61                                     pg
                                                     453 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                            Only
                                              Brief Description

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  347                                      closing date 08.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  348                                      closing date 09.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  349                                      closing date 10.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  350                                      closing date 11.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  351                                      closing date 12.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  352                                      closing date 01.16.2019

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  353                                      closing date 02.16.2019

                            Access National Bank Signature Card re Account x5965
  354                                               [PM]

                             Signature Bank ACH Transaction re $25,000 to Global
  355                                  Fuel Logistics, dated 10.23.2019

                             Signature Bank ACH Transaction re $21,250 to [PM]
  356                                       Inc., dated 12.10.2018

                             Signature Bank ACH Transaction re $15,000 to [5530
  357                                    JD] LLC, dated 08.22.2018




                                                                                   13


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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        14 of 61                                      pg
                                                     454 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                             Only
                                              Brief Description

                             Signature Bank ACH Transaction re $15,000 to [5530
  358                                    JD] LLC, dated 08.23.2018

                             Signature Bank ACH Transaction re $15,000 to [5530
  359                                    JD] LLC, dated 09.10.2018

                             Signature Bank ACH Transaction re $15,000 to [5530
  360                                    JD] LLC, dated 09.18.2018

                             Signature Bank ACH Transaction re $15,000 to [5530
  361                                    JD] LLC, dated 09.28.2018

                             Signature Bank ACH Transaction re $30,000 to [MM],
  362                                         dated 12.03.2018

                            Access National Bank Statement re Account x5965 [PM]
  363                            Inc., statement period 03.01.2019-03.31.2019

                             ANB Bank Statement re Account x3099 [MM], dated
  364                                            01.04.2019

                             Signature Bank ACH Transaction re $21,000 to [PM]
  365                                       Inc., dated 01.23.2019

                            Signature Bank ACH Transaction re $15,312.50 to [PM]
  366                                       Inc., dated 01.07.2019

                             Signature Bank ACH Transaction re $23,350 to [PM]
  367                                       Inc., dated 01.10.2019

                             Navy Federal Credit Union Statement re Access x3843
  368                       Kimberley Tew, statement period 01.07.2019-01.16.2019

                             Signature Bank ACH Transaction re $28,000 to [PM]
  369                                       Inc., dated 01.18.2019

                             Signature Bank ACH Transaction re $31,500 to [PM]
  370                                       Inc., dated 03.14.2019

                             Signature Bank ACH Transaction re $37,800 to [PM]
  371                                       Inc., dated 03.04.2019




                                                                                    14


                                                                                                                                                       454
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        15 of 61                                       pg
                                                     455 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                               Brief Description

                             Signature Bank ACH Transaction re $20,250 to [PM]
  372                                       Inc., dated 03.19.2019

                             Signature Bank ACH Transactions re: $37,500 to [PM]
                              Inc., dated 04.08.2019; $18,750 to [PM] Inc., dated
  373                       04.11.2019; and $18,750 to [PM] Inc., dated 04.15.2019

                             Signature Bank ACH Transaction re $18,750 to [PM]
  374                                       Inc., dated 04.17.2019

                             Signature Bank ACH Transactions re: $18,750 to [PM]
                              Inc., dated 04.22.2019; $18,750 to [PM] Inc., dated
                              04.24.2019; $38,640 to [PM], dated 04.29.2019; and
  375                                 $19,890 to [PM], dated 05.07.2019

                            Signature Bank ACH Transactions re: $49,750 to [PM],
                               dated 05.07.2019; and $40,000 to [PM] Inc., dated
  376                                             05.10.2019

                            Signature Bank ACH Transactions re: $19,900 to [PM],
                             dated 05.15.2019; $23,785 to [PM], dated 05.21.2019;
                              $9,950 to [PM], dated 05.23.2019; $11,150 to [PM],
                               dated 05.28.2019; and $10,100 to [PM] Inc., dated
  377                                             05.29.2019

                             Navy Federal Credit Union Statement re Access x3843
  378                       Kimberley Tew, statement period 04.17.2019-05.16.2019

                            Signature Bank ACH Transactions re: $53,500 to [PM],
                             dated 06.03.2019; $28,000 to [PM], dated 06.10.2019;
  379                                and $9,500 to [PM], dated 06.13.2019

                             Signature Bank ACH Transactions re: $50,000 to [PM]
                                Inc., dated 06.20.2019; $15,000 to [PM], dated
                               06.25.2019; and $30,000 to Sand Hill LLC, dated
  380                                             06.26.2019

                             Navy Federal Credit Union Statement re Access x3843
  381                       Kimberley Tew, statement period 06.17.2019-07.16.2019




                                                                                     15


                                                                                                                                                        455
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        16 of 61                                         pg
                                                     456 of 1354


Exhibit   Witness                                                                           Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                                Only
                                               Brief Description

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  382                                       LLC, dated 06.30.2019

                            Signature Bank ACH Transactions re: $45,000 to Global
                             Fuel Logistics, dated 07.30.2019; $47,000 to SHI LLC,
                               dated 08.01.2019; and $30,000 to SHI LLC, dated
  383                                             08.05.2019

                             Signature Bank ACH Transactions re: $9,200 to Sand
                            Hill LLC, dated 06.28.2019; $13,000 to SHI LLC, dated
                            07.09.2019; $27,475 to SHI LLC, dated 07.11.2019; and
  384                               $10,000 to SHI LLC, dated 07.19.2019

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  385                                       LLC, dated 07.31.2019

                             Signature Bank ACH Transaction re $12,900 to Global
  386                                   Fuel Logistics, dated 01.07.2020

                            Signature Bank ACH Transactions re: $15,500 to Global
                            Fuel Logistics, dated 01.10.2020; $19,500 to Global Fuel
                               Logistics, dated 01.17.2020; $9,800 to Global Fuel
                              Logisitics, dated 01.22.2020; $13,500 to Global Fuel
                              Logistics, dated 01.23.2020; $36,500 to Global Fuel
                             Logistics, dated 01.27.2020; and $7,200 to Global Fuel
  387                                     Logistics, dated 01.30.2020

                             Signature Bank ACH Transaction re $13,000 to Global
  388                                   Fuel Logistics, dated 08.09.2019

                             Signature Bank ACH Transaction re $24,700 to Global
  389                                   Fuel Logistics, dated 03.05.2020

                            Signature Bank ACH Transactions re: $97,545 to Global
                            Fuel Logistics, dated 06.22.2020; $71,550 to Global Fuel
                            Logistics, dated 06.24.2020; and $105,000 to Global Fuel
  390                                     Logisitics, dated 06.29.2020

                             Signature Bank ACH Transaction re $83,526 to Global
  391                                   Fuel Logistics, dated 06.02.2020




                                                                                       16


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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        17 of 61                                         pg
                                                     457 of 1354


Exhibit   Witness                                                                           Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                                Only
                                               Brief Description

                            Signature Bank ACH Transactions re: $45,220 to Global
                            Fuel Logistics, dated 06.04.2020; $93,135 to Global Fuel
                            Logistics, dated 06.09.2020; and $93,635 to Global Fuel
  392                                     Logisitics, dated 06.17.2020

                             Navy Federal Credit Union Statement re Access x1390
                            Global Fuel Logistics Inc, statement period 06.08.2010-
  393                                             06.30.2020

                            Navy Federal Credit Union Check re Acct x3494 $500.00
  394                                  to Sand Hill LLC, dated 10.15.19

                             Navy Federal Credit Union Surveillance Photo, dated
  395                                             04.14.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  396                                             04.03.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  397                                             02.04.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  398                                             01.13.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  399                                    06.11.2020 08:14:04.950 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  400                                    06.11.2020 07:53:41.888 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  401                                             06.26.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  402                                             06.08.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  403                                    03.20.2020 02:19:42.572 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  404                                    03.20.2020 09:23:58.357 PM




                                                                                       17


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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        18 of 61                                     pg
                                                     458 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                            Only
                                              Brief Description

                             Navy Federal Credit Union Surveillance Photo, dated
  405                                            03.06.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  406                                            05.12.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  407                                            05.04.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  408                                   04.01.2020 04:02:07.321 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  409                                   04.01.2020 04:05:40.320 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  410                                            02.12.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  411                                            02.25.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  412                                            01.23.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  413                                            01.29.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  414                                            06.11.2019

                             Navy Federal Credit Union Surveillance Photo, dated
  415                                   06.11.2020 07:59:59.914 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  416                                   06.11.2020 07:53:41.888 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  417                                            06.30.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  418                                            06.25.2020




                                                                                   18


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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        19 of 61                                      pg
                                                     459 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                             Only
                                               Brief Description

                              Navy Federal Credit Union Surveillance Photo, dated
  419                                    06.09.2020 05:16:56.734 PM

                              Navy Federal Credit Union Surveillance Photo, dated
  420                                    06.09.2020 05:17:57.737 PM

                              Navy Federal Credit Union Surveillance Photo, dated
  421                                             03.11.2020

                              Navy Federal Credit Union Surveillance Photo, dated
  422                                    03.18.2020 11:58:06.124 AM

                              Navy Federal Credit Union Surveillance Photo, dated
  423                                    03.18.2020 05:08:46.082 PM

                              Navy Federal Credit Union Surveillance Photo, dated
  424                                    05.12.2020 12:12:35.352 PM

                              Navy Federal Credit Union Surveillance Photo, dated
  425                                    05.12.2020 06:36:34.932 PM

                              Navy Federal Credit Union Surveillance Photo, dated
  426                                             03.27.2020

                              Navy Federal Credit Union Surveillance Photo, dated
  427                                             06.11.2019

                             Signature Bank ACH Transaction re: $13,000 to Sand
  428                                     Hill LLC, dated 08.09.2019

                             Signature Bank ACH Transaction re: $35,000 to Sand
  429                                     Hill LLC, dated 08.14.2019

                             Signature Bank ACH Transaction re: $15,000 to Global
  430                                  Fuel Logistics, dated 08.15.2019

                             Signature Bank ACH Transaction re: $27,000 to Sand
  431                                     Hill LLC, dated 08.22.2019

                             Signature Bank ACH Transaction re: $45,000 to Sand
  432                                     Hill LLC, dated 08.26.2019




                                                                                    19


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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        20 of 61                                       pg
                                                     460 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                               Brief Description

                             Signature Bank Wire Transaction re: $45,000 to Global
  433                                  Fuel Logistics, dated 08.29.2019

                             Signature Bank ACH Transaction re: $13,000 to Global
  434                                  Fuel Logistics, dated 02.03.2020

                             Signature Bank ACH Transaction re: $23,200 to Global
  435                                  Fuel Logistics, dated 02.06.2020

                             Signature Bank ACH Transaction re: $32,500 to Global
  436                                  Fuel Logistics, dated 02.13.2020

                             Signature Bank ACH Transaction re: $55,000 to Global
  437                                  Fuel Logistics, dated 02.18.2020

                             Signature Bank ACH Transaction re: $40,000 to Global
  438                                  Fuel Logistics, dated 02.26.2020

                             Signature Bank ACH Transaction re: $74,955 to Global
  439                                  Fuel Logistics, dated 03.11.2020

                             Signature Bank ACH Transaction re: $17,200 to Global
  440                                  Fuel Logistics, dated 03.17.2020

                             Signature Bank ACH Transaction re: $32,245 to Global
  441                                  Fuel Logistics, dated 03.24.2020

                             Signature Bank ACH Transaction re: $32,300 to Global
  442                                  Fuel Logistics, dated 03.26.2020

                             Signature Bank ACH Transaction re: $41,225 to Global
  443                                  Fuel Logistics, dated 04.02.2020

                             Signature Bank ACH Transaction re: $37,353 to Global
  444                                  Fuel Logistics, dated 04.08.2020

                             Signature Bank ACH Transaction re: $31,355 to Global
  445                                  Fuel Logistics, dated 04.13.2020

                             Signature Bank ACH Transaction re: $56,530 to Global
  446                                  Fuel Logistics, dated 04.21.2020




                                                                                     20


                                                                                                                                                        460
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        21 of 61                                       pg
                                                     461 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description

                             Signature Bank ACH Transaction re: $36,240 to Global
  447                                  Fuel Logistics, dated 04.29.2020

                             Signature Bank ACH Transaction re: $77,460 to Global
  448                                  Fuel Logistics, dated 05.18.2020

                             Signature Bank ACH Transaction re: $85,500 to Global
  449                                  Fuel Logistics, dated 05.27.2020

                            Signature Bank ACH Transaction re $20,250.00 to [PM]
  450                                       Inc., dated 03.18.2019

                             Signature Bank ACH Transaction re $60,000 to Global
  451                                  Fuel Logistics, dated 09.10.2019

                            Signature Bank ACH Transaction re $51,500 to Sand Hill
  452                                       LLC, dated 09.12.2019

                             Signature Bank ACH Transaction re $11,950 to Global
  453                                  Fuel Logistics, dated 09.16.2019

                            Signature Bank ACH Transaction re $41,500 to Sand Hill
  454                                       LLC, dated 09.19.2019

                            Signature Bank ACH Transaction re $60,000 to Sand Hill
  455                                       LLC, dated 09.26.2019

                            Signature Bank ACH Transaction re $75,000 to Sand Hill
  456                                       LLC, dated 09.30.2019

                            Signature Bank ACH Transaction re $35,000 to Sand Hill
  457                                       LLC, dated 10.10.2019

                             Signature Bank ACH Transaction re $23,750 to Global
  458                                  Fuel Logistics, dated 10.30.2019

                            Signature Bank ACH Transaction re $25,000 to Sand Hill
  459                                       LLC, dated 11.18.2019

                             Signature Bank ACH Transaction re $17,900 to Global
  460                                  Fuel Logistics, dated 11.21.2019




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        22 of 61                                          pg
                                                     462 of 1354


Exhibit   Witness                                                                            Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                                 Only
                                               Brief Description

                             Signature Bank ACH Transaction re $42,000 to Global
  461                                   Fuel Logistics, dated 11.27.2019

                             Signature Bank ACH Transaction re $26,500 to Global
  462                                   Fuel Logistics, dated 12.05.2019

                             Signature Bank ACH Transaction re $51,150 to Global
  463                                   Fuel Logistics, dated 12.09.2019

                              Signature Bank ACH Transaction re $7,800 to Global
  464                                   Fuel Logistics, dated 12.16.2019

                             Signature Bank ACH Transaction re $33,300 to Global
  465                                   Fuel Logistics, dated 12.17.2019

                             Signature Bank ACH Transaction re $14,350 to Global
  466                                   Fuel Logistics, dated 12.19.2019

                             Signature Bank ACH Transaction re $55,500 to Global
  467                                   Fuel Logistics, dated 12.26.2019

                             Signature Bank ACH Transaction re $77,500 to Global
  468                                   Fuel Logistics, dated 12.30.2019

                               Wells Fargo Bank Wire Transaction Report re Acct
  469                                 x6934 $20,611.01, dated 11.01.2019

                              Navy Federal Credit Union Surveillance Photo, dated
  470                                             06.23.2020



  471                       Spreadsheet of Digital Mint Transaction Details, Part One

                              Spreadsheet of Digital Mint Transaction Details, Part
  472                                                 Two



  473                            American Express Application re Michael Tew



  474                           American Express Application re Kimberley Tew




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                                                                                                                                                           462
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
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                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        23 of 61                                     pg
                                                     463 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                            Only
                                              Brief Description

                             Digital Mint Surveillance Photo 03.07.2020 00:33:01
  475                                               UTC

                             Digital Mint Surveillance Photo 03.07.2020 00:29:36
  476                                               UTC

                             Digital Mint Surveillance Photo 04.30.2020 21:51:39
  477                                               UTC

                             Digital Mint Surveillance Photo 04.30.2020 21:53:34
  478                                               UTC

                             Digital Mint Surveillance Photo 04.30.2020 21:55:38
  479                                               UTC

                             Digital Mint Surveillance Photo 04.30.2020 21:58:08
  480                                               UTC

                             Digital Mint Surveillance Photo 04.30.2020 21:59:40
  481                                               UTC

                             Digital Mint Surveillance Photo 04.30.2020 23:43:54
  482                                               UTC

                             Digital Mint Surveillance Photo 04.30.2020 23:46:20
  483                                               UTC

                             Digital Mint Surveillance Photo 06.23.2020 23:27:57
  484                                               UTC

                             Digital Mint Surveillance Photo 06.23.2020 23:30:15
  485                                               UTC

                             Digital Mint Surveillance Photo 06.23.2020 23:32:14
  486                                               UTC

                             Digital Mint Surveillance Photo 06.23.2020 23:33:59
  487                                               UTC

                             Digital Mint Surveillance Photo 06.23.2020 23:37:58
  488                                               UTC




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
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                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        24 of 61                                      pg
                                                     464 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
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                                               Brief Description

                              Digital Mint Surveillance Photo 06.23.2020 23:40:00
  489                                                UTC

                              Digital Mint Surveillance Photo 06.23.2020 23:42:54
  490                                                UTC

                              Digital Mint Surveillance Photo 06.23.2020 23:44:58
  491                                                UTC

                             Signature Bank ACH Transaction re $68,400 to Global
  492                                  Fuel Logistics, dated 05.11.2020

                              Navy Federal Credit Union Surveillance Photo, dated
                                                  04.30.2020

  493

 494 -                                   INTENTIONALLY BLANK
  499
                             Kraken Account Opening and Verification Documents
  500                                         for Kimberley Tew

                             Kraken Account Opening and Verification Documents
  501                                          for Michael Tew

                                Coinbase profile image records for Michael Tew
  502

                               Coinbase profile image records for Kimberley Tew
  503

                                Google Pay Customer Profile re kley@me.com
  504
                             McDonald Audi Purchase Documents re 2016 Audi A4
  505                                    VIN x2447, dated 10.03.2019

                             McDonald Audi Wire Transfer Records re $20,611.01
  506                             Incoming Money Transfer, dated 11.01.2019

                            Wynn Las Vegas Jackpot Report between 07.04.2019 and
  507                                             11.29.2019




                                                                                    24


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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        25 of 61                                      pg
                                                     465 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                             Only
                                              Brief Description

                            Wynn Las Vegas 2019 Loss Summary, as of 07.16.2020
  508
                             Wynn Las Vegas Reservation Confirmation #23362412
                               for Kimberley Tew, 10.30.2019 arrival & 11.02.19
  509                                             departure

                            Wynn Las Vegas Reservation/Stay History for Kimberley
  510                                               Tew

                            Wynn Las Vegas Reservation/Stay History re: Kimberley
  511                        Ann Tew, arrival 09.01.2019 & departure 09.05.2019

                            GoDaddy Domain Information re Domain Name "Global
  512                                             Fuel.Co"

                                GoDaddy Domain Information re Domain Name
  513                                         "Sandhillrp.com"

                             AT&T Subscriber Information re phone number x1312,
  514                                           Michael Tew

                             AT&T Subscriber Information re phone number x7473,
  515                                           Michael Tew

                             AT&T Subscriber Information re phone number x2046,
  516                                        Kimberley Vertanen

                            AT&T Text Message History re phone numbers x2046 &
  517                                               x1312

                                    AT&T Records re phone number x1312
  518
                             Spreadsheet of Verizon Call Records re phone number
  519                                               x1709

                               Google Subscriber Information re [5530 JD] Email
  520                                 Recovery (chrisrncn@gmail.com)

                             Google Subscriber Information re [PM] email recovery
  521                                 (political.media.wdc@gmail.com)




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        26 of 61                                        pg
                                                     466 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
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                                               Brief Description

                             Google Voice Record re Google Voice Number x0152
  522
                             Google Subscriber Information re vtleycap@gmail.com
  523                                   (recovery email kley@me.com)

                                       Google subscriber information re
  524                               meyersconsultinggroupinc@gmail.com


                                  IRS Form W-9 re [MM], dated 10.11.2018
  525
                            Colorado Secretary of State Statement of Foreign Entity
  526                            Authority re: Sand Hill LLC, filed 11.12.2018


                            Plea agreement as to Jonathan Yioulos, dated 11.18.2021
  527

                                 Audio of 7/15/2020 Proffer with Michael Tew
  528

                                 Audio of 7/28/2020 Proffer with Michael Tew
  529

                               Audio of 10/23/2020 Proffer with Kimberley Tew
  530

                             07.07.2020 Photograph of Yioulos Phone Contact ‘JB’
  531

                                     Email re "RE: AMEX" on 07.16.2018
  532

                               Email re "FW: Scanned Document" on 07.31.2018
  533

                               Email re "RE: Wire - Michael Tew" on 08.02.2018
  534

                                  Email re "FW: MT AGMT" on 09.14.2018
  535
                                  Email re "FW: National Air Cargo Holdings
  536                                  Correspondence" on 09.17.2018




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
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                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        27 of 61                                           pg
                                                     467 of 1354


Exhibit   Witness                                                                             Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                                  Only
                                                Brief Description

                              Invoice #79487 re: [MCG] Inc for $10,000.00, dated
  537                                              10.30.2018


                              Email re "RE: Michael Tew - AMEX" on 01.17.2019
  538
                            Email re "Invoices for June 2020" on 06.30.2020 (Global
                             Fuel Logistics Invoice #10222 for $17,955.50; & Aero
  539                         Maintenance Resources Invoice #9611 for $79,292)

                              Invoice #79466 re: [MCG] Inc for $30,000.00, dated
  540                                              10.12.2018

                              Invoice #79488 re: [MCG] Inc for $30,000.00, dated
  541                                              11.30.2018

                              Invoice #79489 re: [MCG] Inc for $30,000.00, dated
  542                                              11.30.2018

                              Invoice #79490 re: [MCG] Inc for $25,000.00, dated
  543                                              12.11.2018

                            Colorado Secretary of State Statement of Foreign Entity
  544                       Authority re: Global Fuel Logistics Inc., filed 07.11.2019

                            IRS assignment of Employment Identification Number re
  545                               Global Fuel Logistics, dated 07.09.2019

                            Wyoming Secretary of State Articles of Incorporation re
  546                              Global Fuel Logistics Inc, filed 07.09.2019

                            IRS Form SS-4 Application for Employer Identification
  547                                      Number re Sand Hill LLC

                             State of New York Department of State Certification of
                            Articles of Organization and Other Filings for Sand Hill
  548                                        LLC, dated 11.09.2018

                             Google Pay Customer Profile re kleytew@gmail.com
  549




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        28 of 61                                       pg
                                                     468 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                               Brief Description

                            IRS Form 1099 re SandHill Research Partners, tax years
  550                                         2015 through 2018

                             Audio of 07.29.2020 meeting with Michael Tew at Yeti
  551                                                store

                                   Email re "RE: MT AGMT" on 09.14.2018
  552
                            Email headers re email received by chrisrncn@gmail.com
  553                                           on 08.22.2018

                                  Spreadsheet of Apple account information re
  554                                           kley@me.com

                             Photograph re Search Warrant Executed on 07.31.2020
  555                                                 #1

                             Photograph re Search Warrant Executed on 07.31.2020
  556                                                 #2

                             Photograph re Search Warrant Executed on 07.31.2020
  557                                                 #3

                             Photograph re Search Warrant Executed on 07.31.2020
  558                                                 #4

                             Photograph re Search Warrant Executed on 07.31.2020
  559                                                 #5

                             Photograph re Search Warrant Executed on 07.31.2020
  560                                                 #6

                             Photograph re Search Warrant Executed on 07.31.2020
  561                                                 #7

                                            Wells Fargo Bank Bag
  562
                              2TB Seagate HDD Model ST20000DM001-1CH164
  563                                     Serial Number W241LEZM




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                                                                                                                                                        468
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        29 of 61                                      pg
                                                     469 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                             Only
                                              Brief Description

                                    Photograph re Cellebrite Processing #1
  564

                                    Photograph re Cellebrite Processing #2
  565

                                    Photograph re Cellebrite Processing #3
  566

                                    Photograph re Cellebrite Processing #4
  567

                                                  Wipe Log
  568

                                         Hash List for Apple Return
  569

                                  Kraken Ledger - AA70N84GI5WBRUCHI
  570

 571 -                               INTENTIONALLY LEFT BLANK
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  600
                             Email re "ACH Invoice" on 08.07.2018 ([HS] Invoice
  601                                   dated 08.07.2018 for $15,000)

                               Text messages between M.T. and J.Y. 08.07.2018
  602
                            Email re "re ACH Invoice" on 08.08.2018 ([HS] Invoice
  603                                   dated 08.08.2018 for $15,000)

                               Text messages between M.T. and J.Y. 08.08.2018
  604

                               Text messages between M.T. and J.Y. 08.09.2018
  605

                               Text messages between M.T. and J.Y. 08.13.2018
  606




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        30 of 61                                         pg
                                                     470 of 1354


Exhibit   Witness                                                                           Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                                Only
                                               Brief Description

                             Email re "Invoices: Michael Tew ACH August 15" on
                             08.14.2018 (Sand Hill Invoice #49 for $10,000 & [HS]
  607                               Invoice dated 08.14.2018 for $20,000)

                              Text message between J.Y. and M.T on 08.10.2018
  608

                              Text message between J.Y. and M.T on 08.18.2018
  609

                              Text message between J.Y. and M.T on 08.21.2018
  610
                              Email re "Invoice (CORRECTED)" on 08.22.2018
  611                             ([5530 JD] Invoice #7321116 for $15,000)

                                 Email re "Wire Confirmation" on 08.22.2018
  612

                              Text messages between J.Y. and M.T on 08.22.2018
  613

                              Text messages between J.Y. and M.T on 08.23.2018
  614

                             Email re "re Invoice (CORRECTED)" on 08.23.2018
  615
                              Emails re "re Is there an invoice for this wire out of
  616                                      Holdings?" on 08.24.2018

                              Text messages between M.T. and JY. on 08.28.2018
  617

                                      Email re "Confirms" on 08.30.2018
  618

                              Text messages between J.Y. and K.T. on 08.30.2018
  619

                             Text messages between J.Y. and M.T. on 08.30.2018
  620




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
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                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        31 of 61                                     pg
                                                     471 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                            Only
                                              Brief Description

                              Text messages between M.T. and J.Y. on 08.31.2018
  621

                              Text messages between M.T. and J.Y. on 09.01.2018
  622

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  623

                              Emails re "RE: Is there an invoice?" on 09.07.2018
  624

                              Text messages between M.T. and J.Y. on 09.07.2018
  625
                               Email re "FW: ACH INVOICE" on 09.07.2018 at
  626                                             03:13pm

                               Email re "FW: ACH INVOICE" on 09.07.2018 at
  627                                             03:14pm

                                Text messages from J.Y. to K.T. on 09.10.2018
  628
                            Email (NO SUBJECT) on 09.10.2018 ([5530 JD] Invoice
  629                       #7321118 for $15,000 & Invoice #7321117 for $15,000)

                                Emails re "RE: Scaife Invoices" on 09.10.2018
  630

                                Emails re "RE:" (NO SUBJECT) on 09.10.2018
  631

                                    Email re "Cancel ACH" on 09.10.2018
  632

                              Text messages between M.T. and J.Y. on 09.12.2018
  633

                                Text messages from J.Y. to K.T. on 09.12.2018
  634

                                Text messages from J.Y. to K.T. on 09.13.2018
  635



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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        32 of 61                                       pg
                                                     472 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description

                             Text messages between M.T. and J.Y. on 09.13.2018
  636

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  637
                             Email re "Invoice" on 09.18.2018 ([5530 JD] Invoice
  638                                       #7321119 for $15,000)

                                Text messages from J.Y. to K.T. on 09.18.2018
  639

                                Text messages from J.Y. to K.T. on 09.28.2018
  640

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  641
                            Email re "Consulting Invoice" on 09.28.2018 ([5530 JD]
  642                                   Invoice #7321120 for $15,000)

                                 Email re "RE: Invoices needed - Holdings" on
  643                                            09.28.2018


                                        Email re "Jess" on 10.01.2018
  644

                                Text message from J.Y. to M.T. on 10.09.2018
  645

                                Text messages from J.Y. to K.T. on 10.25.2018
  646

                                    Email re "Fwd: Invoice" on 10.25.2018
  647

                              Text messages between J.Y. to M.T. on 10.25.2018
  648

                                    Email re "Oct Invoice" on 10.30.2018
  649

                              Text messages between J.Y. to M.T. on 10.30.2018
  650



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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
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                                                          386-1 filed
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                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        33 of 61                                        pg
                                                     473 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description

                                Text messages from J.Y. to K.T. on 10.30.2018
  651

                              Text messages between J.Y. to M.T. on 10.31.2018
  652
                              Email re "is there an invoice for this payment out of
  653                                      holdings?" on 10.31.2018

                               Email re "RE: Michael Tew: Sand Hill, LLC" on
  654                                        11.05.2018 at 2:13pm

                               Email re "RE: Michael Tew: Sand Hill, LLC" on
  655                                     11.05.2018, time unknown

                            Text mess+C405ages sent from Kley (M.T.) to M.M. on
  656                                             11.06.2018

                                    Email re "[MCG] LLC" on 11.06.2018
  657

                                     Email re "RE: Invoice" on 11.09.2018
  658

                              Text messages between J.Y. to M.T. on 11.09.2018
  659

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  660
                             Email re "RE: Entity: Sand Hill, LLC - New York" on
  661                                             11.12.2018


                             Text messages between J.Y. and M.T. on 11.13.2018
  662

                             Text messages between J.Y. and M.T. on 11.15.2018
  663

                             Text messages between J.Y. and M.T. on 11.16.2018
  664

                             Text messages between J.Y. and M.T. on 11.19.2018
  665



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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        34 of 61                                        pg
                                                     474 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description

                               Email re "RE: Invoice" on 11.19.2018 at 8:55pm
  666

                               Email re "RE: Invoice" on 11.19.2018 at 9:04pm
  667

                             Text messages between J.Y. and M.T. on 11.20.2018
  668
                               Text messages between Kley (M.T.) and M.M. on
  669                                             11.20.2018

                             Text messages between J.Y. and M.T. on 11.21.2018
  670

                             Text messages between J.Y. and M.T. on 11.23.2018
  671

                             Text messages between J.Y. and M.T. on 11.25.2018
  672

                             Text messages between J.Y. and M.T. on 11.26.2018
  673
                            Email re "RE: Invoice" on 11.26.2018 at 7:22pm ([5530
  674                                 JD] Invoice #7321122 for $30,000)


                               Email re "RE: Invoice" on 11.26.2018 at 4:22pm
  675

                             Text messages between J.Y. and M.T. on 11.27.2018
  676
                             Email re "RE: Cash Sheet - Holdings - what's this?" on
  677                                             11.28.2018

                                Text message from J.Y. to M.T. on 11.30.2018
  678

                                Text messages from J.Y. to K.T. on 12.01.2018
  679
                              Email re "RE: Final Invoice" on 12.03.2018 ([MCG]
  680                                    Invoice #79489 for $30,000)




                                                                                      34


                                                                                                                                                         474
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
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                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        35 of 61                                       pg
                                                     475 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                               Brief Description

                              Text messages between J.Y. and M.T. on 12.04.2018
  681

                                Text messages from J.Y. to K.T. on 12.04.2018
  682
                              Email re "Missing Meyers invoices" on 12.04.2018
                             ([MCG] Invoice #79489 for $30,000 & Invoice #79488
  683                                            for $30,000)

                              Text messages between J.Y. and M.T. on 12.06.2018
  684

                                Text messages from J.Y. to K.T. on 12.06.2018
  685
                              Email re "Fwd: [PM], Inc. - Invoice for Services" on
  686                            12.07.2018 ([PM] Invoice #6516 for $21,250)


                              Text messages between J.Y. and M.T. on 12.07.2018
  687
                              Email re: "RE: [PM], Inc. - Invoice for Services" on
  688                                             12.07.2018

                              Text messages between J.Y. and M.T. on 12.06.2018
  689

                              Text messages between J.Y. and M.T. on 12.10.2018
  690

                            Email re "New Vendor - Paid on Friday" on 12.10.2018
  691
                              Email re "Re: Final Invoice" on 12.11.2018 ([MCG]
  692                                    Invoice #79490 for $25,000)

                              Text messages between J.Y. and M.T. on 12.11.2018
  693

                                     Email re "Meyers Inv" on 12.14.2018
  694




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
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                                                          386-1 filed
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                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        36 of 61                                       pg
                                                     476 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description

                              Text messages between J.Y. and M.T. on 12.18.2018
  695
                               Text messages between Kley (M.T.) and M.M. on
  696                                            12.18.2018

                              Text messages between J.Y. and M.T. on 12.19.2018
  697

                              Text messages between J.Y. and M.T. on 12.20.2018
  698
                              Email re "FW: INVOICES: MICHAEL TEW ACH
  699                                    AUGUST 15" on 12.20.2018

                              Email re "FW: [PM], Inc. - Invoice for Services" on
  700                            12.20.2018 ([PM] Invoice #6517 for $15,125)

                              Text messages between J.Y. and M.T. on 12.21.2018
  701

                              Text messages between J.Y. and M.T. on 01.07.2019
  702
                            Email re "Invoice from [PM], Inc." on 01.07.2019 ([PM]
  703                                   Invoice #6540 for $15,312.50)

                              Text messages between J.Y. and M.T. on 01.09.2019
  704

                              Text messages between J.Y. and M.T. on 01.10.2019
  705
                            Email re "Invoice from [PM], Inc." on 01.10.2019 ([PM]
  706                                     Invoice #6670 for $25,350)

                              Text messages between J.Y. and M.T. on 01.17.2019
  707

                                Text messages from J.Y. to K.T. on 01.17.2019
  708

                             Email re "FW: Invoice from [PM], Inc." on 01.17.2019
  709



                                                                                     36


                                                                                                                                                        476
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        37 of 61                                       pg
                                                     477 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description

                              Text messages between J.Y. and M.T. on 01.18.2019
  710
                            Email re "Invoice from [PM], Inc." on 01.18.2019 ([PM]
  711                                   Invoice #6712 for $27,562.50)

                              Text messages between J.Y. and M.T. on 01.23.2019
  712
                            Email re "Invoice from [PM], Inc." on 01.23.2019 ([PM]
  713                       Invoice #6714 for $21,000 & Invoice #6712 for $28,000)

                             Email re "FW: Invoice from [PM], Inc." on 01.25.2019
  714

                                Text messages from J.Y. to K.T. on 02.07.2019
  715
                            Email re "Invoice from [PM], Inc." on 02.07.2019 ([PM]
  716                                     Invoice #6775 for $15,250)

                              Text messages between J.Y. and M.T. on 02.19.2019
  717

                                Text messages from J.Y. to K.T. on 02.19.2019
  718
                            Email re "Invoice from [PM], Inc." on 02.19.2019 ([PM]
  719                                     Invoice #6786 for $15,250)

                             Email re "FW: Invoice from [PM], Inc." on 02.21.2019
  720

                              Text messages between J.Y. and M.T. on 02.24.2019
  721

                              Text messages between J.Y. and M.T. on 03.01.2019
  722
                            Email re "Invoice from [PM], Inc." on 03.04.2019 ([PM]
  723                                     Invoice #6804 for $37,800)

                                Text messages between Kley (M.T.) and K.T. on
  724                                            03.06.2019



                                                                                     37


                                                                                                                                                        477
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        38 of 61                                       pg
                                                     478 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description

                             Email re "FW: Invoice from [PM], Inc." on 03.07.2019
  725
                               Text messages between Kley (M.T.) and K.T. on
  726                                            03.14.2019

                            Email re "Invoice from [PM], Inc." on 03.14.2019 ([PM]
  727                                     Invoice #6881 for $31,500)


                             Email re "FW: Invoice from [PM], Inc." on 03.15.2019
  728
                               Text messages between Kley (M.T.) and K.T. on
  729                                            03.17.2019

                               Text messages between Kley (M.T.) and K.T. on
  730                                            03.18.2019

                              Text messages between J.Y. and M.T. on 03.18.2019
  731
                            Email re "Invoice from [PM], Inc." on 03.18.2019 ([PM]
  732                                     Invoice #6910 for $20,250)


                             Email re "FW: Invoice from [PM], Inc." on 03.19.2019
  733

                              Text messages between J.Y. and M.T. on 03.19.2019
  734
                               Text messages between Kley (M.T.) and K.T. on
  735                                            03.19.2019

                             Text messages between M.T. and K.T. on 03.28.2019
  736
                            Email re "Invoice from [PM], Inc." on 03.28.2019 ([PM]
  737                                     Invoice #6976 for $38,000)

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                                                                                                                                                        478
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        39 of 61                                       pg
                                                     479 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                               Brief Description

                                Text messages between Kley (M.T.) and K.T. on
  739                                             03.30.2019

                                Text messages between Kley (M.T.) and K.T. on
  740                                             04.03.2019

                              Text messages between J.Y. and M.T. on 04.03.2019
  741
                            Email re "Invoice from [PM], Inc." on 04.03.2019 ([PM]
  742                                     Invoice #6910 for $30,150)

                             Email re "FW: Invoice from [PM], Inc." on 04.04.2019
  743                                  ([PM] Invoice #7004 for 11,250)

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  744

                              Text messages between J.Y. and M.T. on 04.07.2019
  745
                                Text messages between Kley (M.T.) and K.T. on
  746                                             04.07.2019


                              Text messages between J.Y. and M.T. on 04.08.2019
  747
                            Email re "Invoice from [PM], Inc." on 04.08.2019 ([PM]
  748                                     Invoice #7101 for $37,500)

                              Email re "re Invoice from [PM], Inc." on 04.09.2019
  749

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  750

                             Text messages between M.T. and K.T. on 04.11.2019
  751

                            Text messages from Kley (M.T.) to M.M. on 04.12.2019
  752

                             Text messages between M.T. and K.T. on 04.12.2019
  753



                                                                                     39


                                                                                                                                                        479
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        40 of 61                                       pg
                                                     480 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description

                              Text messages between J.Y. and M.T. on 04.13.2019
  754

                             Text messages between M.T. and K.T. on 04.16.2019
  755

                             Text messages between M.T. and K.T. on 04.17.2019
  756

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  757
                                Text messages between M.T. and Kley (K.T.) on
  758                                            04.21.2019

                             Text messages between M.T. and K.T. on 04.22.2019
  759
                                Text messages between Kley (M.T.) and K.T. on
  760                                            04.23.2019

                                Text message from J.Y. to M.T. on 04.24.2019
  761

                             Text messages between M.T. and K.T. on 04.24.2019
  762

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  763
                            Email re "Invoice from [PM], Inc." on 04.29.2019 ([PM]
                               Invoice #7156 for $75,000 and Invoice #7158 for
  764                                             $39,780)


                             Email re "FW: Invoice from [PM]. Inc." on 04.29.2019
  765
                                Text messages between Kley (M.T.) and K.T. on
  766                                            04.30.2019

                             Text messages between M.T. and K.T. on 05.01.2019
  767




                                                                                     40


                                                                                                                                                        480
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        41 of 61                                   pg
                                                     481 of 1354


Exhibit   Witness                                                                     Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                          Only
                                             Brief Description

                             Text messages between M.T. and K.T. on 05.02.2019
  768

                             Text messages between M.T. and K.T. on 05.06.2019
  769

                             Text messages between J.Y. and M.T. on 05.07.2019
  770

                             Text messages between M.T. and K.T. on 05.08.2019
  771
                               Text messages between Kley (M.T.) and K.T. on
  772                                           05.09.2019

                               Text messages between Kley (M.T.) and K.T. on
  773                                           05.10.2019


                             Text messages between J.Y. and M.T. on 05.10.2019
  774

                             Text messages between J.Y. and M.T. on 05.15.2019
  775

                             Text messages between M.T. and K.T. on 05.20.2019
  776
                               Text messages between M.T. and Kley (K.T.) on
  777                                           05.21.2019

                               Text messages between M.T. and Kley (K.T.) on
  778                                           05.22.2019


                             Text messages between M.T. and K.T. on 05.27.2019
  779

                             Text messages between M.T. and K.T. on 05.28.2019
  780

                             Text messages between J.Y. and M.T. on 06.03.2019
  781
                               Text messages between Kley (M.T.) and K.T. on
  782                                           06.03.2019



                                                                                 41


                                                                                                                                                    481
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        42 of 61                                      pg
                                                     482 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                             Only
                                              Brief Description

                                Email re "Journal Entry Testing" on 06.04.2019
  783

                             Text messages between M.T. and K.T. on 06.07.2019
  784

                             Text messages between M.T. and K.T. on 06.10.2019
  785

                              Text messages between J.Y. and M.T. on 06.12.2019
  786
                                Text messages between Kley (M.T.) and K.T. on
  787                                            06.12.2019

                              Text messages between J.Y. and M.T. on 06.13.2019
  788

                             Text messages between M.T. and K.T. on 06.13.2019
  789

                             Text messages between M.T. and K.T. on 06.18.2019
  790

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  791

                             Text messages between M.T. and K.T. on 06.24.2019
  792

                             Text messages between M.T. and K.T. on 06.25.2019
  793
                            Text messages between M.T. and K.T. on 06.26.2019 and
  794                                            06.27.2019

                              Text messages between J.Y. and M.T. on 06.26.2019
  795

                              Text messages between J.Y. and M.T. on 06.28.2019
  796

                             Text messages between M.T. and K.T. on 06.28.2019
  797




                                                                                    42


                                                                                                                                                       482
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        43 of 61                                       pg
                                                     483 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description

                             Text messages between M.T. and K.T. on 06.29.2019
  798

                                  Email re "RE: Please assist" on 07.11.2019
  799

                             Text messages between M.T. and K.T. on 07.02.2019
  800
                              Emails re "Invoice From [PM], Inc." on 07.03.2019
                             ([PM] Invoice #7201 for $40,000; Invoice #7263 for
                            $10,100; Invoice #7312 for $9,500; & Invoice #7322 for
  801                                              $30,000)

                             Text messages between M.T. and K.T. on 07.04.2019
  802

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  803

                             Text messages between M.T. and K.T. on 07.07.2019
  804

                             Text messages between M.T. and K.T. on 07.07.2019
  805

                             Text messages between J.Y. and M.T. on 07.08.2019
  806

                                  Emails re "Re: Please assist" on 07.08.2019
  807

                                  Emails re "Re: Please assist" on 07.09.2019
  808

                             Text messages between M.T. and K.T. on 07.09.2019
  809

                             Text messages between M.T. and K.T. on 07.11.2019
  810

                             Text messages between M.T. and K.T. on 07.17.2019
  811




                                                                                     43


                                                                                                                                                        483
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        44 of 61                                   pg
                                                     484 of 1354


Exhibit   Witness                                                                     Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                          Only
                                             Brief Description

                             Text messages between M.T. and K.T. on 07.18.2019
  812

                             Text messages between J.Y. and M.T. on 07.19.2019
  813

                             Text messages between J.Y. and M.T. on 07.22.2019
  814

                             Text messages between M.T. and K.T. on 07.29.2019
  815

                             Text messages between J.Y. and M.T. on 07.30.2019
  816

                             Text messages between J.Y. and M.T. on 08.01.2019
  817

                             Text messages between J.Y. and M.T. on 08.03.2019
  818

                             Text messages between M.T. and K.T. on 08.04.2019
  819

                             Text messages between J.Y. and M.T. on 08.05.2019
  820

                             Text messages between M.T. and K.T. on 08.05.2019
  821

                             Text messages between M.T. and K.T. on 08.06.2019
  822

                             Text messages between J.Y. and M.T. on 08.06.2019
  823

                             Text messages between M.T. and K.T. on 08.11.2019
  824

                             Text messages between M.T. and K.T. on 08.13.2019
  825

                             Text messages between J.Y. and M.T. on 08.13.2019
  826




                                                                                 44


                                                                                                                                                    484
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        45 of 61                                   pg
                                                     485 of 1354


Exhibit   Witness                                                                     Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                          Only
                                             Brief Description

                             Text messages between J.Y. and M.T. on 08.14.2019
  827

                             Text messages between J.Y. and M.T. on 08.15.2019
  828

                             Text messages between M.T. and K.T. on 08.18.2019
  829

                             Text messages between J.Y. and M.T. on 08.19.2019
  830

                             Text messages between J.Y. and M.T. on 08.20.2019
  831

                             Text messages between J.Y. and M.T. on 08.21.2019
  832

                             Text messages between J.Y. and M.T. on 08.22.2019
  833

                             Text messages between M.T. and K.T. on 08.22.2019
  834

                             Text messages between M.T. and K.T. on 08.23.2019
  835

                             Text messages between M.T. and K.T. on 08.25.2019
  836

                             Text messages between J.Y. and M.T. on 08.26.2019
  837

                             Text messages between M.T. and K.T. on 08.26.2019
  838

                             Text messages between M.T. and K.T. on 08.27.2019
  839

                             Text messages between M.T. and K.T. on 08.28.2019
  840




                                                                                 45


                                                                                                                                                    485
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        46 of 61                                        pg
                                                     486 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description

                             Email re "Invoices from Global Fuel Logistics, Inc" on
                              08.28.2019 (Global Fuel Logistics Invoice #987 for
                             #9,500; Invoice #972 for $94,500; & Invoice #763 for
  841                                              $152,000)

                              Text messages between M.T. and K.T. on 08.29.2019
  842

                                   Emails re "RE: 8/29 Wires" on 08.29.2019
  843
                            Email re "Global Fuel - Updated Invoice" on 08.29.2019
  844                          (Global Fuel Logistics Invoice #1001 for $55,000)

                             Email re "Invoices from Global Fuel Logistics, Inc" on
                              08.29.2019 (Global Fuel Logistics Invoice #1023 for
                            $45,000; Invoice #1011 for $45,000; & Invoice #1001 for
  845                                              $56,000)


                              Text messages between M.T. and K.T. on 08.30.2019
  846

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                              Text messages between M.T. and K.T. on 09.06.2019
  848

                              Text messages between M.T. and K.T. on 09.07.2019
  849

                              Text messages between M.T. and K.T. on 09.08.2019
  850

                              Text messages between J.Y. and M.T. on 09.09.2019
  851

                              Text messages between M.T. and K.T. on 09.09.2019
  852

                              Text messages between M.T. and K.T. on 09.10.2019
  853




                                                                                      46


                                                                                                                                                         486
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        47 of 61                                   pg
                                                     487 of 1354


Exhibit   Witness                                                                     Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                          Only
                                             Brief Description

                             Text messages between M.T. and K.T. on 09.13.2019
  854

                             Text messages between M.T. and K.T. on 09.14.2019
  855

                             Text messages between J.Y. and M.T. on 09.16.2019
  856

                             Text messages between J.Y. and M.T. on 09.17.2019
  857

                             Text messages between J.Y. and M.T. on 09.18.2019
  858

                             Text messages between M.T. and K.T. on 09.18.2019
  859

                             Text messages between M.T. and K.T. on 09.22.2019
  860

                             Text messages between M.T. and K.T. on 09.23.2019
  861

                             Text messages between J.Y. and M.T. on 09.25.2019
  862

                             Text messages between J.Y. and M.T. on 09.26.2019
  863

                             Text messages between M.T. and K.T. on 09.26.2019
  864

                             Text messages between J.Y. and M.T. on 09.27.2019
  865

                             Text messages between M.T. and K.T. on 09.28.2019
  866

                             Text messages between M.T. and K.T. on 09.30.2019
  867

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                                                                                 47


                                                                                                                                                    487
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        48 of 61                                       pg
                                                     488 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description

                             Text messages between M.T. and K.T. on 10.02.2019
  869

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  870

                             Text messages between M.T. and K.T. on 10.05.2019
  871

                             Text messages between M.T. and K.T. on 10.07.2019
  872

                             Text messages between M.T. and K.T. on 10.08.2019
  873

                             Text messages between M.T. and K.T. on 10.09.2019
  874
                             Email re "Invoices from Aero Maintenance Resources"
                             on 10.11.2019 (Aero Maintenance Resources Invoice
                            #697 for $112,750; Invoice #634 for $75,000; & Invoice
  875                                        #627 for $141,450)


                             Text messages between M.T. and K.T. on 10.11.2019
  876

                             Text messages between M.T. and K.T. on 10.15.2019
  877

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  878

                             Text messages between M.T. and K.T. on 10.19.2019
  879

                             Text messages between M.T. and K.T. on 10.20.2019
  880

                             Text messages between M.T. and K.T. on 10.21.2019
  881

                             Text messages between M.T. and K.T. on 10.22.2019
  882




                                                                                     48


                                                                                                                                                        488
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        49 of 61                                     pg
                                                     489 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                            Only
                                              Brief Description

                             Text messages between M.T. and K.T. on 10.25.2019
  883

                             Text messages between M.T. and K.T. on 10.25.2019
  884

                             Text messages between M.T. and K.T. on 10.31.2019
  885

                             Text messages between M.T. and K.T. on 11.01.2019
  886
                             Email re "Invoices from Aero Maintenance Resources"
                             on 11.11.2019 (Aero Maintenance Resources Invoice
                              #1017 for $110,000; Invoice #1021 for $100,000; &
  887                                    Invoice #1103 for $66,750)

                             Text messages between M.T. and K.T. on 11.13.2019
  888

                             Text messages between M.T. and K.T. on 11.14.2019
  889

                             Text messages between M.T. and K.T. on 11.19.2019
  890

                             Text messages between M.T. and K.T. on 11.20.2019
  891

                             Text messages between M.T. and K.T. on 11.21.2019
  892

                             Text messages between M.T. and K.T. on 11.22.2019
  893

                             Text messages between M.T. and K.T. on 11.25.2019
  894

                             Text messages between M.T. and K.T. on 12.01.2019
  895

                             Text messages between M.T. and K.T. on 12.02.2019
  896




                                                                                   49


                                                                                                                                                      489
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        50 of 61                                        pg
                                                     490 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description

                              Text messages between M.T. and K.T. on 12.03.2019
  897

                              Text messages between M.T. and K.T. on 12.04.2019
  898

                              Text messages between M.T. and K.T. on 12.06.2019
  899

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                              Text messages between M.T. and K.T. on 12.11.2019
  901

                              Text messages between M.T. and K.T. on 12.13.2019
  902
                             Email re "Invoices from Aero Maintenance Resources"
                              on 12.17.2019 (Aero Maintenance Resources Invoice
                            #2110 for $49,750; Invoice #2325 for $83,400; & Invoice
  903                                         #2392 for $85,250)


                              Text messages between M.T. and K.T. on 12.20.2019
  904

                              Text messages between M.T. and K.T. on 12.21.2019
  905

                              Text messages between M.T. and K.T. on 12.30.2019
  906

                              Text messages between M.T. and K.T. on 12.31.2019
  907

                              Text messages between M.T. and K.T. on 01.03.2020
  908

                              Text messages between M.T. and K.T. on 01.07.2020
  909

                              Text messages between M.T. and K.T. on 01.08.2020
  910




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                    Case Case
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                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        51 of 61                                        pg
                                                     491 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description

                              Text messages between M.T. and K.T. on 01.09.2020
  911
                             Email re "Invoices from Aero Maintenance Resources"
                              on 01.09.2020 (Aero Maintenance Resources Invoice
                            #2515 for $79,950; Invoice #2479 for $87,200; & Invoice
  912                                        #2601 for $148,200)

                              Text messages between M.T. and K.T. on 01.10.2020
  913

                              Text messages between M.T. and K.T. on 01.11.2020
  914

                              Text messages between M.T. and K.T. on 01.13.2020
  915

                              Text messages between M.T. and K.T. on 01.16.2020
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                              Text messages between M.T. and K.T. on 01.17.2020
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                              Text messages between M.T. and K.T. on 01.22.2020
  918

                              Text messages between M.T. and K.T. on 01.26.2020
  919

                              Text messages between M.T. and K.T. on 01.28.2020
  920

                              Text messages between M.T. and K.T. on 01.29.2020
  921

                              Text messages between M.T. and K.T. on 01.31.2020
  922

                              Text messages between M.T. and K.T. on 02.01.2020
  923

                              Text messages between M.T. and K.T. on 02.05.2020
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                    Case Case
                         No. 1:20-cr-00305-DDD
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                                                                                   PageColorado
                                                                                        52 of 61                                        pg
                                                     492 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description

                              Text messages between M.T. and K.T. on 02.12.2020
  925

                              Text messages between M.T. and K.T. on 02.13.2020
  926

                              Text messages between M.T. and K.T. on 02.15.2020
  927
                             Email re "Invoices from Aero Maintenance Resources"
                              on 02.18.2020 (Aero Maintenance Resources Invoice
  928                          #2807 for $15,689; & Invoice #2753 for $99,211)

                              Text messages between M.T. and K.T. on 02.25.2020
  929

                              Text messages between M.T. and K.T. on 02.26.2020
  930

                              Text messages between M.T. and K.T. on 03.03.2020
  931

                              Text messages between M.T. and K.T. on 03.06.2020
  932
                             Email re "Invoices from Aero Maintenance Resources"
                              on 03.09.2020 (Aero Maintenance Resources Invoice
                            #3004 for $95,000; Invoice #2987 for $33,520; & Invoice
  933                                         #2901 for $90,180)

                              Text messages between M.T. and K.T. on 03.10.2020
  934
                            Email re "Aero Maintenance Invoices for February 2020"
                              on 03.11.2020 (Aero Maintenance Resources Invoice
  935                                         #2990 for $73,000)


                              Text messages between M.T. and K.T. on 03.11.2020
  936

                              Text messages between M.T. and K.T. on 03.17.2020
  937




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                    Case Case
                         No. 1:20-cr-00305-DDD
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                                                 Document645-2
                                                          386-1 filed
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                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        53 of 61                                      pg
                                                     493 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                             Only
                                              Brief Description

                             Text messages between M.T. and K.T. on 03.18.2020
  938

                                    Email re NO SUBJECT on 03.19.2020
  939

                             Text messages between M.T. and K.T. on 03.20.2020
  940

                             Text messages between M.T. and K.T. on 03.22.2020
  941

                             Text messages between M.T. and K.T. on 03.23.2020
  942

                             Text messages between M.T. and K.T. on 03.28.2020
  943

                             Text messages between M.T. and K.T. on 03.30.2020
  944

                             Text messages between M.T. and K.T. on 04.01.2020
  945

                             Text messages between M.T. and K.T. on 04.02.2020
  946

                             Text messages between M.T. and K.T. on 04.05.2020
  947

                             Text messages between M.T. and K.T. on 04.06.2020
  948

                             Text messages between M.T. and K.T. on 04.08.2020
  949
                            Email re "Invoices for Aero Maintenance Resources" on
                            04.14.2020 (Aero Maintenance Resources Invoice #4001
  950                            for $87,045; & Invoice #3176 for $127,155)

                             Text messages between M.T. and K.T. on 04.14.2020
  951




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
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                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        54 of 61                                        pg
                                                     494 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
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                                               Brief Description

                            Email re "Aero Maintenance Invoices for April 2020" on
                            04.16.2020 (Aero Maintenance Resources Invoice #5120
  952                            for $105,603; & Invoice #4784 for $114,685)

                              Email re "Invoice for Global Fuel Logistics, Inc." on
                              04.27.2020 (Global Fuel Logistics Invoice #7988 for
  953                                              $124,785)

                              Email re "Invoice for Aero Maintenance Resources 2
                                March 2020" on 05.04.2020 (Aero Maintenance
  954                                Resources Invoice #3101 for $61,255)

                              Email re "Invoice for Global Fuel Logistics, Inc." on
                              05.11.2020 (Global Fuel Logistics Invoice #8011 for
  955                                               $83,090)

                             Text messages between M.T. and K.T. on 05.12.2020
  956

                             Text messages between M.T. and K.T. on 05.23.2020
  957

                             Text messages between M.T. and K.T. on 05.28.2020
  958
                             Email re "Invoices for May 2020" on 06.03.2020 (Aero
                              Maintenance Resources Invoice #8888 for $153,725;
                             Global Fuel Logistics Invoice #9014 for $159,882; &
  959                          Global Fuel Logistics Invoice #9071 for $164,065)


                             Text messages between M.T. and K.T. on 06.07.2020
  960

                             Text messages between M.T. and K.T. on 06.09.2020
  961

                             Text messages between M.T. and K.T. on 06.10.2020
  962

                             Text messages between M.T. and K.T. on 06.11.2020
  963




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
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                                                          386-1 filed
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                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        55 of 61                                         pg
                                                     495 of 1354


Exhibit   Witness                                                                           Stipulation   Offered   Admitted   Refused        Court Use
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                                               Brief Description

                              Text messages between M.T. and K.T. on 06.16.2020
  964

                              Text messages between M.T. and K.T. on 06.17.2020
  965

                              Text messages between M.T. and K.T. on 06.24.2020
  966

                              Text messages between M.T. and K.T. on 06.25.2020
  967

                              Text messages between M.T. and K.T. on 06.26.2020
  968
                            Email re "Invoices for June 2020" on 06.30.2020 (Global
                              Fuel Logistics Invoice #10101 for $170,274.50; Aero
                             Maintenance Resources Invoice #9302 for $194,803; &
  969                         Global Fuel Logistics Invoice #11812 for $127,264)

                              Text messages between M.T. and K.T. on 06.29.2020
  970

                              Text messages between M.T. and K.T. on 07.01.2020
  971

                              Text messages between J.Y. and K.T. on 07.01.2020
  972
                            Email re "Invoice for July 1 2020" on 07.02.2020 (Global
  973                             Fuel Logistics Invoice #10226 for $95,000)

                             Audio recording of consensual phone call between J.Y.
  974                                       and M.T. on 07.07.2020

                             Audio recording of consensual phone call between J.Y.
  975                                       and M.T. on 07.08.2020

                              Text messages between J.Y. and M.T. on 07.08.2020
  976

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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
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                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        56 of 61                                       pg
                                                     496 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description

                               Email re Kimberley Tew $10,000 Invoice, dated
  978                                            12.31.2018


                             Email re ACH Payment Questions, dated 04.17.2019
  979
                             Email re Lululemon Order Confirmation to Amy Tew,
  980                                         dated 11.04.2018

                             Email re Lilly Pulitzer Shipping Confirmation to Amy
  981                                       Tew, dated 10.18.2018

                            Email re Lilly Pulitzer Order Confirmation to Amy Tew,
  982                                         dated 10.17.2018

                            Email re Saks Fifth Avenue Order Confirmation to Amy
  983                                       Tew, dated 10.18.2018

                            Email re Zappos Order Confirmation to Amy Tew, dated
  984                                            11.03.2018

                               Email re Kimberley Tew Introduction & Contact
  985                                   Information, dated 01.30.2018

                             Invoice #001 re Kimberley Tew for $10,000.00, dated
  986                                            02.08.2018

                             Transcript of consensual phone call between J.Y. and
  987                                        M.T. on 07.07.2020

                             Transcript of consensual phone call between J.Y. and
  988                                        M.T. on 07.08.2020

                             Text messages between M.T. and K.T. on 08.28.2019
  989

                             Text messages between M.T. and K.T. on 09.18.2019
  990

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                    Case Case
                         No. 1:20-cr-00305-DDD
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                                                 Document645-2
                                                          386-1 filed
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                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        57 of 61                                      pg
                                                     497 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
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                                              Brief Description


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                                Account Owners and Signors for Relevant Bank
 1001
                                                  Accounts

                               Payments of Fraudulent Invoices by NAC between
 1002
                                         August 2018 and July 2020

                            Deposits of Fraudulent Invoices by NAC between August
 1003
                                             2018 and July 2020

                            Summary of [HS] CPA, [MCG], and [5530 JD] Invoices
 1004
                                                and Payments


 1005                              Summary of [PM] Invoices and Payments

                                Summary of Global Fuel Logistics Invoices and
 1006
                                                  Payments

                             Summary of Aero Maintenance Resources Invoices and
 1007                                             Payments


                                        Summary - Calendar of Events
 1008

                                            Summary - Count 42
 1009

                                            Summary - Count 43
 1010

                                            Summary - Count 44
 1011

                                            Summary - Count 45
 1012

                                            Summary - Count 46
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                                            Summary - Count 47
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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
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                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        58 of 61                                      pg
                                                     498 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
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                                              Brief Description

                                             Summary - Count 48
 1015

                                             Summary - Count 49
 1016

                                             Summary - Count 50
 1017

                                             Summary - Count 51
 1018

                                             Summary - Count 52
 1019

                                             Summary - Count 53
 1020

                                             Summary - Count 54
 1021

                                             Summary - Count 55
 1022

                                             Summary - Count 56
 1023

                               Summary - M. Tew Transactions and Photographs
 1024

                               Summary - K. Tew Transactions and Photographs
 1025

                            Summary - M. and K. Tew Transactions and Photographs
 1026

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 1100                         Certificate of Authenticity for Atlantic Union Bank


 1101                              Certificate of Authenticity for ANB Bank




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        59 of 61                                          pg
                                                     499 of 1354


Exhibit   Witness                                                                            Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                                 Only
                                               Brief Description


 1102                              Certificate of Authenticity for ANB Bank


 1103                                 Certificate of Authenticity for BBVA


 1104                                 Certificate of Authenticity for BBVA

                            Certificate of Authenticity for Guaranty Bank and Trust
 1105
                                                   Company


 1106                                Certificate of Authenticity for Kraken


 1107                       Certificate of Authenticity for Navy Federal Credit Union


 1108                               Certificate of Authenticity for GoDaddy


 1109                                Certificate of Authenticity for Google


 1110                                Certificate of Authenticity for Verizon


 1111                             Certificate of Authenticity for Regions Bank

                                 Certificate of Authenticity for Simple Finance
 1112
                                               Technology Corp


 1113                            Certificate of Authenticity for Signature Bank


 1114                                Certificate of Authenticity for Google


 1115                                 Certificate of Authenticity for Apple


 1116                                Certificate of Authenticity for Google




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
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                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        60 of 61                                          pg
                                                     500 of 1354


Exhibit   Witness                                                                            Stipulation   Offered   Admitted   Refused        Court Use
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                                               Brief Description


 1117                                Certificate of Authenticity for Google


 1118                                 Certificate of Authenticity for Vcorp


 1119                           Certificate of Authenticity for Wells Fargo Bank


 1120                           Certificate of Authenticity for Wells Fargo Bank


 1121                           Certificate of Authenticity for Wynn Las Vegas


 1122                                Certificate of Authenticity for Google


 1123                                Certificate of Authenticity for Google


 1124                                Certificate of Authenticity for Google


 1125                                Certificate of Authenticity for Google


 1126                                Certificate of Authenticity for Google


 1127                                 Certificate of Authenticity for AT&T


 1128                       Certificate of Authenticity for Navy Federal Credit Union


 1129                           Certificate of Authenticity for American Express


 1130                          Certificate of Authenticity for National Air Cargo

                             Certificate of Authenticity for McDonald Automotive
 1131
                                                     (Audi)




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          386-1 filed
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                                                                         01/25/24 USDC
                                                                                   PageColorado
                                                                                        61 of 61                                        pg
                                                     501 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
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                                               Brief Description


 1132                             Certificate of Authenticity for Digital Mint


 1133                             Certificate of Authenticity for Digital Mint


 1134                         Certification of Authenticity for National Air Cargo


 1135                        Certification of Authenticity for Access National Bank


 1136                              Certification of Authenticity for Coinbase


 1137                              Certification of Authenticity for Coinbase


 1138                              Certification of Authenticity for Coinbase


 1139                             Certification of Authenticity for Navy FCU


 1140                               Certification of Authenticity for Apple


 1141                                       Certification for Google




                                                                                      61


                                                                                                                                                         501
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
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                                                       01/25/24 USDC
                                                                  PageColorado
                                                                       1 of 2          pg
                                  502 of 1354




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


  Case No. 1:20-cr-00305-DDD-2

  UNITED STATES OF AMERICA,

        Plaintiff,
  v.

  2. KIMBERLEY ANN TEW

        Defendant.

                 KIMBERLEY TEW’S PROPOSED LIST OF EXHIBITS


       Kimberley Tew hereby submits her proposed list of exhibits for the Jury Trial set

 to commence February 5, 2024, and reserves her right to amend this list.

       Dated: January 25, 2024.

                                             Respectfully submitted,



                                             s/ amie Hubbard
                                             Jamie Hubbard
                                             David S. Kaplan
                                             STIMSON LABRANCHE HUBBARD, LLC
                                             1652 Downing Street
                                             Denver, CO 80218
                                             Phone: 720.689.8909
                                             Email: hubbard@slhlegal.com
                                             kaplan@slhlegal.com

                                             Attorneys for Kimberley Ann Tew




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Case No.
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            1:20-cr-00305-DDDDocument
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                                          387 filed
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                                                     01/24/25
                                                       01/25/24 USDC
                                                                  PageColorado
                                                                       2 of 2                pg
                                  503 of 1354




                                     Certificate of Service

        I certify that on January 25, 2024, I electronically filed the foregoing Kimberley
 Tew’s Proposed List of Exhibits with the Clerk of Court using the CM/ECF system which
 will send notification of such filing to the following e-mail address and all parties of
 record:

 Bryan Fields
 Sarah Weiss
 U.S. Attorney's Office-Denver
 1801 California Street
 Suite 1600
 Denver, CO 80202
 bryan.fields3@usdoj.gov
 sarah.weiss@usdoj.gov

 Jason D. Schall
 7350 E. Progress Place, Suite 100
 Greenwood Village, CO 80111
 jason@bowsch.com

 Kristen M. Frost
 Ridley McGreevy & Winocur, P.C.
 303 16th Street, Suite 200
 Denver, CO 80202
 frost@ridleylaw.com

 Counsel for Michael Tew


                                                s/ Brenda Rodriguez
                                                Brenda Rodriguez




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                     Case No.
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                                                     Document
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                                                                               01/25/24USDC
                                                                                         Page
                                                                                            Colorado
                                                                                              1 of 1                            pg
                                                        504 of 1354



CASE CAPTION: USA v. Tew, et al.

CASE NO.: 20-cr-00305-DDD

EXHIBIT LIST OF:            Kimberley Tew
                         (Name and Party Designation)



 Exhibit       Witness                           Brief Description                 Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                       Only

 A                              Rose Management Group 1099s and Declaration

 B                              Miscellaneous Tax Records for Michael Tew (2018-
                                2020)

 C                              3.15.19 Communications between M Tew and K Tew

 D                              4.11.19 Communications between M Tew and K Tew

 E                              4.3.20 Communications between M Tew and K Tew

 F                              6.13.19 Communications between M Tew and K Tew

 G                              6.24.19 Communications between M Tew and K Tew

 H                              7.2.19 Communications between M Tew and K Tew

 I                              7.15.19 Communications between M Tew and K Tew

 J                              7.18.19 Communications between M Tew and K Tew

 K                              8.14.19 Communications between M Tew and K Tew

 L                              9.18.19 Communications between M Tew and K Tew

 M                              Invoice from Sand Hill to Rose Management Group




                                                                                                                                                 504
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
                                      645-2
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                                                     01/24/25
                                                       01/25/24 USDC
                                                                  PageColorado
                                                                       1 of 2           pg
                                  505 of 1354




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


  Case No. 1:20-cr-00305-DDD-2

  UNITED STATES OF AMERICA,

        Plaintiff,
  v.

  2. KIMBERLEY ANN TEW

        Defendant.

                KIMBERLEY TEW’S PROPOSED LIST OF WITNESSES


       Kimberley Tew hereby submits her proposed list of witnesses for the Jury Trial

 set to commence February 5, 2024, and reserves her right to amend this list.

       Dated: January 25, 2024.

                                             Respectfully submitted,



                                             s/ amie Hubbard
                                             Jamie Hubbard
                                             David S. Kaplan
                                             STIMSON LABRANCHE HUBBARD, LLC
                                             1652 Downing Street
                                             Denver, CO 80218
                                             Phone: 720.689.8909
                                             Email: hubbard@slhlegal.com
                                             kaplan@slhlegal.com

                                             Attorneys for Kimberley Ann Tew




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            1:20-cr-00305-DDDDocument
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                                          388 filed
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                                                     01/24/25
                                                       01/25/24 USDC
                                                                  PageColorado
                                                                       2 of 2              pg
                                  506 of 1354




                                     Certificate of Service

        I certify that on January 25, 2024, I electronically filed the foregoing Kimberley
 Tew’s Proposed List of Witnesses with the Clerk of Court using the CM/ECF system
 which will send notification of such filing to the following e-mail address and all parties
 of record:

 Bryan Fields
 Sarah Weiss
 U.S. Attorney's Office-Denver
 1801 California Street
 Suite 1600
 Denver, CO 80202
 bryan.fields3@usdoj.gov
 sarah.weiss@usdoj.gov

 Jason D. Schall
 7350 E. Progress Place, Suite 100
 Greenwood Village, CO 80111
 jason@bowsch.com

 Kristen M. Frost
 Ridley McGreevy & Winocur, P.C.
 303 16th Street, Suite 200
 Denver, CO 80202
 frost@ridleylaw.com

 Counsel for Michael Tew


                                                s/ Brenda Rodriguez
                                                Brenda Rodriguez




                                               2
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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDD Document
                                Document
                                       645-2
                                          388-1 filed
                                                    Filed
                                                      01/24/25
                                                          01/25/24USDC
                                                                    Page
                                                                       Colorado
                                                                         1 of 2   pg
                                   507 of 1354




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLORADO

                           Judge Daniel D. Domenico


           20-cr-00305-DDD
 Case No. _________________________                       January 25, 2024
                                                   Date:_________________

               USA v. Tew, et al.
 Case Title: ____________________________________________________________


                   Kimberley Tew
                _______________________________ WITNESS LIST
                    (Plaintiff/Defendant)

 WITNESS                                           ESTIMATED DATE(S) AND
                                                   LENGTH OF TESTIMONY

   Brittany McNeil
 __________________________________                 15 minutes
                                                   _____________________


   Tina Schumann
 __________________________________                 15 minutes
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                                                                         2 of 2   pg
                                   508 of 1354




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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                                     01/24/25
                                                       01/26/24 USDC
                                                                  PageColorado
                                                                       1 of 5           pg
                                  509 of 1354




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO


  Case No. 1:20-cr-00305-DDD-2

  UNITED STATES OF AMERICA,

           Plaintiff,
  v.

  2. KIMBERLEY ANN TEW

           Defendant.

                 KIMBERLEY TEW’S PROPOSED VOIR DIRE QUESTIONS


          Kimberley Tew submits the following voir dire questions for trial:

       1. The defendants are charged with a criminal offense. The government has the

          burden to prove each of the crimes charged beyond a reasonable doubt. Can

          you hold the government to this standard?


       2. The defendants have a constitutional right to remain silent. That means they

          may not testify in this case. As a juror, the law demands that you not hold

          their silence against them. Can you follow this law?


       3. Have you or anyone in your family ever owned your own business? If so, what

          kind of business? What was your role in the business?


       4. Do you have any family members employed in a bank or other financial

          institution? Please explain.




                                                                                             509
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
                                      645-2
                                          389 filed
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                                                     01/24/25
                                                       01/26/24 USDC
                                                                  PageColorado
                                                                       2 of 5           pg
                                  510 of 1354




    5. Have you or a family member ever been the victim of a crime? Please explain.


    6. Have you or a family member ever been the victim of a “scam?” Please explain.

    7. What is your general opinion on the federal government? Federal law

       enforcement agents? Federal tax authorities and the IRS?

    8. Have you had any interactions with law enforcement? Were those

       interactions good or bad? Please explain.

    9. Have you or anyone in your family ever worked for the federal government?

       As a regular employee or a contractor? If so, in what capacity?


    10. How do you feel about the concept that someone can get a better plea bargain

       or sentence if they testify against another person in court?


    11. The government intends to call numerous witnesses in this case. What

       impact will the number of witnesses have on your decision?


    12. If part of the government’s presentation includes voluminous documents and

       communications, how will the volume of the documents and communications

       impact your deliberations? Will you be able to look critically at the evidence

       presented and hold the government to its burden of proof?


    13. Are you or any of your family members involved with cryptocurrencies?

       Please explain.




                                           2
                                                                                             510
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
                                      645-2
                                          389 filed
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                                                     01/24/25
                                                       01/26/24 USDC
                                                                  PageColorado
                                                                       3 of 5           pg
                                  511 of 1354




    14. Do you have any opinions about cryptocurrency and/or those who are

       involved with cryptocurrency? How might those opinions affect your ability to

       serve as a juror in this case?


    15. What are your general feelings about gambling and those who gamble? If you

       hear testimony that one of the defendants is involved with gambling, how

       might that impact your ability to be fair?


    16. Describe your views on the division of responsibilities inside a marriage,

       specifically with respect to sharing of information with your spouse,

       managing family finances, and managing electronic devices/accounts/storage

       systems.


    17. Describe your familiarity with cloud-based data storage systems (e.g., iCloud

       accounts). Do you have any experience with cloud-based data storage systems

       that could impact your service on this jury?


    18. Describe your experience with electronic mail and “spoofed” email addresses.

       How do you know whether the name assigned to an email address reflects the

       person behind the email address? What hallmarks do you look for in helping

       you evaluate the situation? Do you have any experience with “spoofed” email

       accounts that could impact your jury service?




                                           3
                                                                                             511
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
                                      645-2
                                          389 filed
                                                 Filed
                                                     01/24/25
                                                       01/26/24 USDC
                                                                  PageColorado
                                                                       4 of 5        pg
                                  512 of 1354




    19. There are two defendants in this case. The government must prove the case

       against each defendant separately. Each defendant is presumed innocent and

       you must return a separate verdict for each defendant. Can you agree to

       follow the law and require that the government prove beyond a reasonable

       doubt that each defendant is guilty?


    20. Defendants Michael Tew and Kimberley are married. How might this impact

       your service on the jury and your ability to be fair to both defendants?


    21. The government has brought multiple charges against each defendant in this

       case. You must consider separately the evidence that applies to each charge

       and return a separate verdict on each charge. What impact will the number

       of charges have on your decision?


       Dated: January 26, 2024.

                                           Respectfully submitted,



                                           s/ Jamie Hubbard
                                           Jamie Hubbard
                                           David S. Kaplan
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                                           Attorneys for Kimberley Ann Tew



                                           4
                                                                                          512
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                      645-2
                                          389 filed
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                                                     01/24/25
                                                       01/26/24 USDC
                                                                  PageColorado
                                                                       5 of 5              pg
                                  513 of 1354




                                     Certificate of Service

        I certify that on January 26, 2024, I electronically filed the foregoing Kimberley
 Tew’s Proposed Voir Dire Questions with the Clerk of Court using the CM/ECF system
 which will send notification of such filing to the following e-mail address and all parties
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 Counsel for Michael Tew


                                                s/ Brenda Rodriguez
                                                Brenda Rodriguez




                                               5
                                                                                                513
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                      645-2
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                                                   01/24/25
                                                     01/26/24 USDC
                                                               PageColorado
                                                                   1 of 17             pg
                                  514 of 1354




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW, and
      2. KIMBERLEY ANN TEW, a/k/a Kimberley Vertanen,

        Defendants.


             GOVERNMENT’S PROPOSED VOIR DIRE QUESTIONS


        The United States of America seeks leave to ask any of the following proposed

 voir dire questions, to the extent that these topics are not asked by the Court, and to

 ask follow-up questions if juror responses tend to warrant further inquiry. The

 government further seeks leave to ask follow-up questions on any pertinent juror

 questions submitted by the defendants:




                                           1


                                                                                            514
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         390 filed
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                                                   01/24/25
                                                     01/26/24 USDC
                                                               PageColorado
                                                                   2 of 17           pg
                                  515 of 1354




 GENERAL BACKGROUND INFORMATION

    1. Please tell us your name; age; and the city where you live.

    2. Could you please tell us where you are currently employed, or where you

       worked most recently? Have you worked in any other industries?

    3. What grade of education did you complete?

    4. What is your marital status? Do you live with any other adults? (a spouse,

       roommates, or other family members)?

    5. Can you please tell us who those individuals are, what their relationship is to

       you, and what industry they work in?

    6. Do you have any children? What are their ages? Where are they employed,

       and/or what grade of school are they in?

    7. Do you, or does someone close to you, have current or prior experience and/or

       training in either (a) the legal industry, or (b) the accounting-finance-

       bookkeeping industries? If yes, please describe.

    8. Have you ever served on a jury before? If yes:

          a. When and in which court?

          b. Was it a criminal case or a civil matter? Grand jury?

          c. If civil: In a civil case, the burden of proof is a preponderance of the

             evidence. In a criminal case the burden of proof is upon the government

             to prove the case beyond a reasonable doubt. Do you understand that

             beyond a reasonable doubt is a higher burden of proof? And you will be

             instructed by the Court on what the phrase “beyond a reasonable doubt”



                                          2


                                                                                          515
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         390 filed
                                               Filed
                                                   01/24/25
                                                     01/26/24 USDC
                                                               PageColorado
                                                                   3 of 17             pg
                                  516 of 1354




              means? Can you follow the court’s instruction?

          d. Can you tell us about the subject matter of the case?

          e. Without informing us of the result itself, was the jury able to reach a

              verdict?

          f. How did you find your jury experience?

          g. Did you serve as the foreperson?

    9. Has anyone here served as a witness at a trial? Please tell us about that

       experience.

    10. Have you, or anyone close to you, been involved in any legal proceeding with a

       federal or state governmental agency that was not resolved to your

       satisfaction? Please describe.

    11. Have any of you, or someone close to you, ever been arrested, charged, or

       convicted for any crime, felony or misdemeanor, other than minor traffic

       violations? If yes:

    12. What was the crime? Was the case resolved in a trial or by a plea of guilty?

          a. What sentence was imposed?

          b. Were you [or they] satisfied with the criminal justice process? Why or

              why not?

          c. Would that experience interfere with your ability to decide this case

              fairly and impartially?

    13. Have any of you, or someone close to you, ever been a victim of a crime? If yes:

          a. When did that happen, and what type of crime was it?



                                           3


                                                                                            516
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         390 filed
                                               Filed
                                                   01/24/25
                                                     01/26/24 USDC
                                                               PageColorado
                                                                   4 of 17           pg
                                  517 of 1354




          b. Was anyone ever charged for committing that crime?

          c. Was there anything about that experience that would interfere with

             your ability to decide this case fairly and impartially?

    14. What about the criminal justice system more generally? Do any of you have

       opinions or feelings about the criminal justice system — including of judges,

       prosecutors, and defense lawyers — that could interfere with your ability to be

       fair and impartial?

    15. As I mentioned, this is a criminal case — Is there anything in your personal

       experience that would cause you to start off the trial — before hearing any

       evidence — leaning towards either the government or the defendants?

    16. What do you like to do in your spare time? What are your hobbies?

    17. What websites do you frequently visit? If you use social media, which social

       media platforms do you use, and for what purpose?

    18. Where do you get your news? (e.g., TV, online, radio, social media, etc.) How

       often do you read/watch/listen to the news per week?

    19. If you watch television, what television shows do you watch regularly?

          a. Does anyone watch any crime TV shows, like Law & Order or Forensic

             Files? How about true-crime podcasts? If yes:

          b. Which ones? How often?

          c. What about those shows appeals to you?

          d. Do you think these types of shows realistically portray the criminal

             justice process?



                                          4


                                                                                          517
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         390 filed
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                                                   01/24/25
                                                     01/26/24 USDC
                                                               PageColorado
                                                                   5 of 17              pg
                                  518 of 1354




          e. Do you have any expectations of the government based on watching

              those shows?

    20. Given the COVID-19 pandemic, as well as general cold & flu season, are any

       of you uncomfortable serving as a juror? Why?

    21. This case is expected to involve many written records, such as records from

       banks and other businesses, as well as summary charts, and audio recordings.

       Does anyone have any medical conditions — for instance, visual or hearing

       impairment, or trouble paying attention for long periods — which might affect

       your ability to fully consider the types of evidence that could be presented?

    22. On occasion, over the course of this case, you may hear testimony that involves

       coarse language and swear words. Would any of you have trouble listening to

       that evidence?

    23. You may also hear testimony or be presented with evidence that references (a)

       being terminated from a job; (b) drug and/or alcohol use; (b) drug and/or alcohol

       addiction; (c) addiction to gambling or betting. Would any of you be

       uncomfortable listening to evidence of that nature?

 GENERAL LEGAL PRINCIPLES

    24. It is the judge’s job to determine the law that applies to the case, and to tell

       you that law. It will be your job, as jurors, to determine the facts and apply the

       law to those facts to see if the government has proved this case to you beyond

       a reasonable doubt.

          a. Does anyone think that they could have difficulty following the law as



                                           5


                                                                                             518
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         390 filed
                                               Filed
                                                   01/24/25
                                                     01/26/24 USDC
                                                               PageColorado
                                                                   6 of 17            pg
                                  519 of 1354




             Judge Domenico gives it you?

          b. Will you determine the facts, apply the law to them, and return a verdict

             without being swayed by sympathy or prejudice or whether you want a

             defendant to be punished?

    25. The burden of proof is on the government to prove the elements of each charge

       beyond a reasonable doubt. Reasonable doubt, put simply, is doubt based on

       reason and common sense after careful and impartial consideration of all the

       evidence in the case.

          a. If the evidence is insufficient to prove a defendant guilty beyond a

             reasonable doubt, your oath will require that you come out of the jury

             room and tell the defendant that you have found him/her not guilty. Can

             you give me your assurance that you can do that?

          b. But if the evidence proves the defendant committed the crime beyond a

             reasonable doubt, your oath will require that you come out of the jury

             room and tell the defendant that you have found him/her guilty. Can you

             give me your assurance that you can do that?

    26. This case involves two defendants and multiple charges — and the government

       needs to meet its burden of proof beyond a reasonable doubt as to each

       defendant and to each crime that defendant is charged with. Can you give

       separate consideration to each defendant and each charge?

    27. Is anyone going to think, “Well these are important charges, I do want a little

       more than a reasonable doubt?” Will anyone require the government to prove



                                           6


                                                                                           519
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         390 filed
                                               Filed
                                                   01/24/25
                                                     01/26/24 USDC
                                                               PageColorado
                                                                   7 of 17              pg
                                  520 of 1354




       the elements of each count beyond a shadow of a doubt?

    28. The government is not required to prove a defendant’s motive in this case. The

       government does not have to prove why someone committed a crime —all it

       has to do is prove the elements of the crime as set forth by the judge. People

       commit crimes for many reasons. You may find after listening to the evidence

       that a motive has been established; or you may never determine a defendant’s

       motives. But if the evidence proves beyond a reasonable doubt that the

       defendant acted with the intent required by the law and he or she committed

       the crime, can you give me your assurance that you will reach a guilty verdict?

    29. In a criminal trial, your duty, as jurors will be to determine whether or not the

       defendants are guilty of the crimes charged in the indictment, It is the judge’s

       duty to determine what punishment — if any — may be imposed in the event

       of a guilty verdict.

          a. Will you be able to assess the evidence in the case and reach a verdict

              without consideration as to the type of sentence or punishment that

              ultimately might be imposed as a result of your verdict?

    30. If you are selected as a juror, you will take an oath to reach a verdict based

       upon the law as the Court gives it you. In other words, do you understand that,

       if selected, it will be your obligation to follow the law —even if you personally

       disagree with it?

    31. There are many people who, for a variety of reasons — including personal

       feelings, political views, religious beliefs, and/or dissatisfaction with the



                                            7


                                                                                             520
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                         390 filed
                                               Filed
                                                   01/24/25
                                                     01/26/24 USDC
                                                               PageColorado
                                                                   8 of 17            pg
                                  521 of 1354




       criminal justice system — may be uncomfortable sitting in judgment of another

       person.

          a. Does anyone have any beliefs that you believe would cause you to

             hesitate to reach a verdict of either not guilty or guilty?

          b. Does anyone have any beliefs that might impact your ability to assess

             the credibility of any witness who might testify in this case? That

             evidence is expected to include the testimony of victims, law

             enforcement, fact witnesses, and the defendants.

          c. Do you understand that you may be called on to decide whether someone

             is or is not telling the truth as part of your assessment of the evidence

             in this case? Is there anything that might prevent you from being able

             to do this?

    32. Evidence can be direct or circumstantial. Direct evidence is direct proof of a

       fact, such as a witness’s testimony about what he or she personally saw or did.

       Circumstantial evidence is indirect evidence — in other words, proof of one or

       more facts from which you can find another fact. Either direct or circumstantial

       evidence — or both — can be used to support a criminal conviction. All that is

       required is that the government meets their burden of proof. Does anyone have

       any concerns about relying on circumstantial evidence to support a guilty

       verdict?

          a. Do any of you feel that you would not be able to convict a defendant —

             despite the strength of any circumstantial evidence — unless there was



                                           8


                                                                                           521
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         390 filed
                                               Filed
                                                   01/24/25
                                                     01/26/24 USDC
                                                               PageColorado
                                                                   9 of 17                 pg
                                  522 of 1354




              direct evidence?

    33. Do you understand that the consideration of both types of proof — direct and

       circumstantial — is part of how we use our reason and common sense every

       day? Will you bring your reason and common sense to your service on this jury?

 CASE SPECIFIC QUESTIONS

    34. This is a criminal case involving allegations of fraud, specifically invoice fraud.

       In simple terms, fraud is obtaining something — for instance, money — from

       someone else based on lies, mistruths, or omissions. The government alleges

       that the defendants conspired to submit false invoices to a business for services

       that were not rendered, in order to obtain money.

          a. Have you, or someone close to you, ever been the victim of a fraud?

          b. If so, do you believe that experience will affect your ability to sit as a fair

              and impartial juror in this case?

    35. Have you ever had an experience — short of a criminal case — where you

       were betrayed by someone you trusted?

          a. Do you think that experience will affect your ability to listen objectively

              to the facts of this case?

    36. Do you believe that victims who fall for a fraud bear some responsibility for

       their losses?

          a. If so, will that belief affect your ability to listen objectively to the facts

              about how this alleged fraud took place?

    37. You may also hear allegations about blackmail or extortion in this case. Has



                                             9


                                                                                                522
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         390 filed
                                              Filed01/24/25
                                                    01/26/24 USDC
                                                              Page Colorado
                                                                   10 of 17              pg
                                  523 of 1354




       anyone had an experience where you, or someone close to you, was threatened

       or coerced into doing something that you or they didn’t want to?

          a. If so, will that experience affect your ability to fairly and impartially

              decide this case?

    38. This case also involves allegations of money laundering. Money laundering is

       essentially taking the proceeds of a criminal act and using it in other ways —

       for instance, hiding it, mixing it up with legitimate money, or spending it.

          a. Have you, or someone close to you, ever been the victim of a crime or a

              fraud where someone took something from you and you couldn’t get it

              back because it was already gone?

          b. Any similar experiences that fell short of a crime?

          c. If so, do you believe that fact will affect your ability to sit as a fair and

              impartial juror in this case?

    39. This case also involves allegations of willful failure to file federal income tax

       returns.

          a. Does anyone have any feelings or opinions about the Internal Revenue

              Service that would affect your ability to be fair and impartial to either

              the defendant(s) or the government?

          b. Do any of you believe that the income tax laws of the United States are

              unconstitutional or that it is wrong for the government to impose income

              taxes?

          c. Do any of you disagree with the idea that everyone is obligated to obey



                                              10


                                                                                              523
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         390 filed
                                              Filed01/24/25
                                                    01/26/24 USDC
                                                              Page Colorado
                                                                   11 of 17            pg
                                  524 of 1354




             the income tax laws, as well as all other laws of this country?

          d. Do any of you feel that violations of income tax laws should not be

             prosecuted as crimes by the United States?

          e. Have you, or someone close to you, ever been audited by, assessed a

             penalty by, and/or had a bad experience with] the Internal Revenue

             Service?

          f. Have you, or someone close to you, ever been a member of any

             organization whose members study, protest against, or otherwise

             express dissatisfaction with the substance, form, or administration of

             federal tax laws or federal tax policy generally?

          g. Have you, or someone close to you, ever attended an event organized by

             or attended by people you thought were so-called "tax protesters"?

          h. Do any of you have a disagreement with any of the Internal Revenue

             laws of the United States or hold any personal belief that the United

             States should not regulate the payment of income taxes or that the

             Internal Revenue Service should not investigate or audit taxpayers.

    40. This trial will involve what the law calls a “conspiracy.” A conspiracy is an

       intentional agreement with someone else to do something illegal. In other

       words, it can be a violation of the law not just to commit a crime — for example,

       a bank robbery — but to agree with someone else to commit the robbery in the

       first place. Is there anything about this legal concept that causes you concern?

    41. For example, the government is not required to prove that the defendant knew



                                          11


                                                                                            524
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         390 filed
                                              Filed01/24/25
                                                    01/26/24 USDC
                                                              Page Colorado
                                                                   12 of 17            pg
                                  525 of 1354




       all the other members of the conspiracy or knew all the details about how the

       activities of the conspiracy were to be carried out. A person may belong to a

       conspiracy for a brief period of time or play a minor role. Is there anything

       regarding these aspects of conspiracy law that causes you concern?

    42. You will hear evidence that others may have had a greater or lesser role in this

       case than a defendant. Will anyone have a hard time weighing the evidence

       as it pertains to each defendant individually, setting aside what others may or

       may not have done?

    43. You will hear evidence in this case that there were associates involved in this

       case who entered into plea agreements with the government. Would anyone

       here have a hard time believing a person who entered into a plea agreement

       with the government?

    44. You will also hear evidence that associates in this case cooperated and received

       recommendations for lower sentences. Would anyone have a hard time

       believing a person who cooperated, provided information to the government,

       and received a benefit in return?

    45. What is your view of the United States government generally? Would these

       views affect your ability to be fair and impartial in this case?

    46. You may hear testimony from law enforcement officers — including agents

       with the FBI, IRS, and Homeland Security Investigations — would hearing

       testimony from a law enforcement officer be any more or less credible to you,

       from the outset, than that of any other witness?



                                           12


                                                                                            525
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         390 filed
                                              Filed01/24/25
                                                    01/26/24 USDC
                                                              Page Colorado
                                                                   13 of 17             pg
                                  526 of 1354




    47. Have you read or seen in the news reports involving allegations of misconduct

       by law enforcement? How do you feel about those reports? Is there anything

       about this knowledge that would affect your ability to be fair and impartial in

       this case?

    48. Do you think it is appropriate as a juror in a criminal case to base your vote on

       “sending a message” to law enforcement?

    49. In this case you will hear about various investigative techniques, including

       secretly recording conversations with a defendant. Does anyone feel that

       because the government collected evidence in this manner, they could not be

       fair and impartial in this case?

    50. You will hear that the government collected certain evidence through the use

       of search warrants — including search warrants of the defendants’ home and

       search warrants to obtain certain electronic evidence, like email and cloud

       accounts. Does anyone feel that because the government collected evidence in

       this manner, they could not be fair and impartial in this case?

    51. The alleged victim in this case is a larger company, and the two defendants are

       individuals.

          a. Would anyone here have a hard time holding someone to account, or

              being fair, knowing that the victim is a company and the defendant is

              an individual?

          b. Does anyone have strong feelings, either way, about large companies?

              What about if the person on the other side of the case is an individual?



                                           13


                                                                                             526
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         390 filed
                                              Filed01/24/25
                                                    01/26/24 USDC
                                                              Page Colorado
                                                                   14 of 17              pg
                                  527 of 1354




              Do you believe anything about the fact that the victim here is a company

              and the defendants are individuals will affect your ability to sit as a fair

              and impartial juror in this case?

    52. This case also involves larger sums of money than many of us deal with in our

       everyday lives. Does hearing that cause you any concern about your ability to

       judge the facts in a fair and impartial manner?

    53. Have you, or someone close to you, ever been terminated unexpectedly? Did

       you receive a severance? Does hearing that this case involves a termination

       without a severance cause you any concern about your ability to judge the facts

       in a fair and impartial manner?

    54. Have you ever quit or been terminated from a job where you thought you were

       treated unfairly? If yes, would you ever think it was okay to get back at the

       company in some way?

    55. Have you ever managed other people as part of your work?

    56. Have you ever been managed by others?

    57. Do you have strong feelings or sympathies — in either direction — towards the

       manager or the employee?

    58. Do you have any personal experience with cryptocurrency?

    59. Do you have strong feelings — in either direction — about investing in

       cryptocurrency?

 CONCLUSION QUESTIONS

    60. If you are selected to serve as a juror and hear this case, you will be required



                                           14


                                                                                              527
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         390 filed
                                              Filed01/24/25
                                                    01/26/24 USDC
                                                              Page Colorado
                                                                   15 of 17           pg
                                  528 of 1354




       to deliberate with eleven other jurors. This will require you to discuss the

       evidence and the law in this case with those other jurors. Is there anything

       that might interfere with your ability to deliberate and reach a verdict in this

       case? Is there anything that may lead you to believe that you might be unable

       or unwilling to engage in such discussions with your fellow jurors?

    61. Is there anything that we have discussed that, perhaps with a little more time

       to think about it, or anything that we have not covered, that leads you to

       believe that you might not be the best fit to be an impartial and fair juror in

       this particular case?




                                          15


                                                                                           528
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         390 filed
                                              Filed01/24/25
                                                    01/26/24 USDC
                                                              Page Colorado
                                                                   16 of 17   pg
                                  529 of 1354




 Respectfully submitted this 26th day of January, 2024.

                                              COLE FINEGAN
                                              United States Attorney

  By: /s/ Bryan Fields                     By: /s/ Sarah H. Weiss
  Bryan Fields                             Sarah H. Weiss
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                                         16


                                                                                   529
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         390 filed
                                              Filed01/24/25
                                                    01/26/24 USDC
                                                              Page Colorado
                                                                   17 of 17               pg
                                  530 of 1354




                            CERTIFICATE OF SERVICE

        I hereby certify that on this 26th day of January, 2024, I electronically filed
 the foregoing with the Clerk of the Court using the CM/ECF system that will send
 notification of such filing to counsel of record in this case.




                                                s/ Sarah H. Weiss
                                                Sarah H. Weiss
                                                Assistant U.S. Attorney
                                                1801 California Street, Suite 1600
                                                Denver, CO 80202
                                                Telephone 303-454-0100
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                                           17


                                                                                               530
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         391 filed
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                                                   01/24/25
                                                     01/26/24 USDC
                                                               PageColorado
                                                                   1 of 14          pg
                                  531 of 1354




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW and
      2. KIMBERLEY ANN TEW,
         a/ka Kimberley Vertanen,

        Defendants.


 GOVERNMENT=S RESPONSE TO DEFENDANT KIMBERLEY TEW’S MOTION TO
 CONTINUE TRIAL AND MOTION FOR ENDS OF JUSTICE CONTINUANCE OF 90
                              DAYS


        Further delay in this matter would not serve the ends of justice and is

 unsupported by the West factors. United States v. West, 828 F.2d 1468, 1470 (10th

 Cir. 1987). This case has been pending for almost three years. Defense counsel has

 been assigned for over one year, and it has been almost two months since the filing

 of a James log that chronicled, almost day-by-day, the Tews’ successful efforts to

 defraud their victims out of over $5,000,000. Those victims deserve their day in

 Court. Witnesses — a few of whom have had to prepare to discuss before a jury of

 12 strangers vignettes from some of the worst moments of their lives — have been

 subpoenaed and have made arrangements to travel to Colorado. They, too, deserve

 an end to their waiting and anxiety. And the public deserves a speedy trial over the


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                                                                                         531
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                      645-2
                                         391 filed
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                                                   01/24/25
                                                     01/26/24 USDC
                                                               PageColorado
                                                                   2 of 14              pg
                                  532 of 1354




 allegations in the indictment.

       The court should deny Defendant Kimberley Tew’s Motion to Continue Trial

 and Motion for Ends of Justice Continuance, ECF No. 374 (Def. Mot.). See United

 States v. Rivera, 900 F.2d 1462, 1475 (10th Cir. 1990) (noting that decisions to deny

 a motion for a continuance are reviewed for abuse of discretion, which only occurs if

 denial is “arbitrary or unreasonable and materially prejudice[s] the [defendant].”).

       Denying the defendant’s motion for three more months of delay will cause no

 material prejudice and — especially because it was filed so shortly before trial and

 after so many previous continuances — is well within the Court’s considerable

 discretion. See, e.g., United States v. Maley, 681 F. App’x 685, 687 (10th Cir. 2017)

 (finding no abuse of discretion in denying defendant's fourth motion for continuance

 filed days before trial where court balanced defendant’s right to counsel against

 need to maintain integrity of judicial process, including inconvenience to 35

 witnesses and the granting of three prior continuances); United States v. Davies,

 No. 14-cr-362-WJM, 2018 WL 305734, at *2 (D. Colo. Jan. 5, 2018) (denying motion

 for continuance where case had been set for trial for three years after indictment);

 Order, United States v. McFadden, 19-cr-00243-CMA, ECF No. 108 at (Oct. 19,

 2022) (denying motion for a continuance because, among other reasons, counsel had

 nine months to prepare but filed motion only two-and-a-half weeks before trial and

 raised only issues pertaining to long-disclosed evidence) [Exhibit 1].




                                           2



                                                                                             532
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         391 filed
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                                                   01/24/25
                                                     01/26/24 USDC
                                                               PageColorado
                                                                   3 of 14            pg
                                  533 of 1354




       I.     The defendant has had over nine months to review the
              discovery and almost two months to raise issues first identified
              by the government’s James filing so I would change this to
              defense counsel has had – clearly the defendant has had 4
              years. And why is it nine months? I thought Kaplan has been
              on the case for a year?

       The first West factor—the diligence of the party seeking the extension—does

 not support a continuance here. The defendant has been aware that “[d]iscovery in

 this case is voluminous,” Def. Mot. at 1, since the last time she filed a motion for a

 continuance in March 2023. ECF No. 315 (describing accurately the immense

 volume of digital evidence). The only thing that appears to have changed is that she

 finally looked at that information in detail in late December while sitting through

 the James hearing.

       As counsel for Michael Tew put it at that hearing: this is not a particularly

 complicated case. It involves two defendants who submitted false invoices to illicitly

 obtain millions of dollars, most of which was deposited directly into their personal

 and business accounts. Nothing about the actual allegations are “so unusual or

 complex” as to make it “unreasonable to expect adequate preparation for pretrial

 proceedings or for trial itself within the time limits” of the Speedy Trial Act. 18

 U.S.C. § 3161(h)(7)(B)(ii). The only thing that makes this case even somewhat out of

 the ordinary is the massive quantity of evidence supporting the charged fraud and

 money laundering conspiracies. But the government accommodated that concern

 and the Court already addressed it when it granted Kimberley Tew’s request for a

 120-day exclusion in March 2023 so that her third lawyer could prepare to properly


                                           3



                                                                                           533
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         391 filed
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                                                   01/24/25
                                                     01/26/24 USDC
                                                               PageColorado
                                                                   4 of 14         pg
                                  534 of 1354




 advise her. ECF No. 315.

       The court should keep in mind that the major item of evidence identified in

 the motion as requiring additional defense review is the defendant’s own telephone

 and associated iCloud account, which she has had access to in its original,

 user-friendly and completely searchable format since well before the grand jury

 even returned the indictment against her. The defendant was and is more than well

 equipped, with her historical knowledge of her own telephone habits, patterns,

 contacts and conversations, to provide her counsel with any and all available

 information casting doubt on the attribution of text messages stored in her iCloud

 account.

       It is unclear why or how the defendant could not have anticipated that a

 repository of correspondence with co-conspirators and other trial witnesses would

 become a significant component of the prosecution, nor why she could not

 “untangle” the evidence on her own phone and iCloud account to find impeachment

 evidence. Def. Mot. at 2-3. Also left unexplained is why the defendant — unique

 among the various stakeholders here in having singular personal knowledge about

 her own communications — would find any review of her own digital accounts to be

 “slower than anticipated.” These failures of explanation are, by themselves, a

 reason to deny the motion. United States v. Toombs, 574 F.3d 1262, 1272 (10th Cir.

 2009) (“ “Simply identifying an event, and adding the conclusory statement that the

 event requires more time for counsel to prepare, is not enough.”)

       The government emphasizes here that Kimberley Tew’s lead counsel has

                                           4



                                                                                        534
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         391 filed
                                               Filed
                                                   01/24/25
                                                     01/26/24 USDC
                                                               PageColorado
                                                                   5 of 14             pg
                                  535 of 1354




 decades   of   experience    successfully       representing   defendants   confronting

 sophisticated charges in high-stakes matters with complicated evidentiary issues.

 The government has no doubt that current counsel have exercised diligence in

 preparing for trial and recognizes that they are skilled, thorough, effective, and

 competent.

       Through the motion, it becomes clear that any problem must be with the

 diligence of the party — Kimberley Tew — and not her lawyers. The record in this

 case evinces the defendant’s steadfast refusal to actually engage with her three prior

 lawyers over the past three-and-a-half years and who has, instead, pursued every

 possible avenue to delay the day of reckoning. To the extent more information is

 needed regarding the authenticity of the defendant’s own text messages, there can

 be no other explanation than that the defendant herself has stymied counsel’s

 progress by failing to participate in her own defense. The defendant should not be

 permitted to postpone justice in this matter by manipulating the system related to

 the appointment of counsel and then frustrating that appointed counsels’ ability to

 prepare for trial. United States v. Willie, 1941 F.2d 1384, 1390 (10th Cir. 1991)

 (noting “there must be some limit to the defendant’s ability to manipulate the

 judicial system,” and identifying the myriad ways in which clients can use tactical

 disengagement with counsel as a delaying tactic).

       If there really are genuine issues of “authentication and foundation,” Def.

 Mot. at 2, the defendant could and should have been aware of that issue almost



                                             5



                                                                                            535
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         391 filed
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                                                   01/24/25
                                                     01/26/24 USDC
                                                               PageColorado
                                                                   6 of 14            pg
                                  536 of 1354




 immediately.1 The time to consult with an expert was in April or May 2023, after

 initial review of the file from Apple provided in its native form by the Filter Team.

 It is not now, fewer than ten days before trial. The motion is another delay tactic

 that should be denied.

          II.   The defendant has not demonstrated how 90 more days of
                delay will be useful, let alone necessary

          The second and fourth West factors — the likelihood that a continuance will

 accomplish the stated purpose and the need for the asserted continuance —

 similarly weigh against further delay.

          The defendant is essentially asking for 90 days to make authenticity

 arguments or to challenge attribution of messages that have been available to her

 since the inception of this case. 2 But she fails to explain how — even if she is

 successful — why an expert would do anything she isn’t already capable of doing

 through cross-examination and a comparison of the government’s evidence of the

 text messages with her native copies of the same.


      1        The business records that Apple provided, along with a declaration
 certifying that the government’s exhibits are derived, by reliable electronic means,
 from a true and correct copy of the kley@me.com account, is one of the government’s
 902(11) and (13) certifications. The defendant has been afforded multiple
 opportunities to challenge the governments’ certifications, first, orally at the James
 hearing; next, in a subsequent written filing, see ECF No. 360; and finally, by
 “specific objections to those declarations,” which are due to the court on January 29.
 ECF No. 367 at 10-11. To date, the defendant has raised no such specific objection.

          2 Setting
                  aside the defendant’s own access to her personal accounts, the
 James log filed over seven weeks ago provided citations to the discovery for every
 single text. And the defendants received courtesy copies of every single text a week
 later, on December 14, 2023.

                                           6



                                                                                           536
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         391 filed
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                                                   01/24/25
                                                     01/26/24 USDC
                                                               PageColorado
                                                                   7 of 14             pg
                                  537 of 1354




       Nor does she grapple with a simple legal principle already ruled upon by this

 court: Attacks on the attribution of a particular message, whether to her or to a

 co-conspirator, do not go to that evidence’s admissibility. The government made this

 point clear in its James proffer. See ECF No. 341 at 8, 10, 11 (citing United States v.

 Martinez, 430 F.3d 317, 326 (6th Cir. 2005); United States v. Ayalaa, 601 F.3d 256,

 268 (4th Cir. 2010)). Defense counsel conceded that point at the time, both by not

 raising the argument in the more general sense that she describes it now, and also

 by failing to challenge many of the messages she now targets in her response to the

 James log. ECF No. 341-1. See ECF No. 346 (responding to government’s James

 proffer without raising any legal issues related to attribution, authenticity, or

 foundation). The methods used by the witnesses to make attributions were also

 discussed at the James hearing itself. The court has heard all of these arguments,

 and it has ruled: the vast majority of the statements in the government’s James log

 were in furtherance of a conspiracy, and have been provisionally deemed authentic

 (at least as to the first layer of hearsay). ECF No. 361 at 12; ECF No. 367 at 6. To

 the extent that the defendant seeks to question the government’s witnesses on the

 technology, the Court has expressly carved a lane for that avenue of cross-

 examination. ECF No. 367 at 9.

       The Court’s provisional ruling as to the admissibility of the co-conspirator

 statements largely undermines the basis for the defendant’s motion stated now.

 because the court has also already ruled as a matter of law that questions over who

 received a particular message “[do] not matter.” This is because the sort of doubts

                                           7



                                                                                            537
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         391 filed
                                               Filed
                                                   01/24/25
                                                     01/26/24 USDC
                                                               PageColorado
                                                                   8 of 14             pg
                                  538 of 1354




 the defendant now states that she needs to explore do not go to whether the

 statement actually furthered the conspiracy, but rather, “whether it was meant to.”

 ECF no. 361 at 8 (citing United States v. Reyes, 798 F.2d 380, 384 (10th Cir. 1986)

 and quoting from United States v. Piper, 298 F.3d 47, 53 (1st Cir. 2002); Id. at 7

 (quoting Charles Allan Wright & Arthur R. Miller, Federal Practice and Procedure

 § 6778 (2023 ed.).

       Given this clear legal guidance, the defendant cannot explain how an

 additional ninety days will make any appreciable difference to the trial: even if

 attribution to a particular phone is successfully attacked, the court has ruled that

 the messages are in furtherance because they can be attributed to the conspiracy.

 Absent some other successful objection based on another rule of evidence, the jury

 will get to see these messages anyway and the defendant will be left to argue to the

 fact-finders that her questions regarding attribution cast reasonable doubt as to her

 guilt. That she now wishes that she had time to secure expert testimony to assist

 her in that regard cannot justify continuing this trial ten days before it is scheduled

 to start, thereby inconveniencing this Court, prospective witnesses, and the

 government, all while thwarting the interests of the public in a speedy trial.

       Attribution and authentication issues were also already litigated as part of

 the government’s motion in limine. ECF Nos. 344 (Gov’t Mot.); 360 (Def. Resp.). The

 Court gave the defendant ample time to file a response brief describing her concerns

 about attribution, which is, of course, a legal argument derivative of authentication

 or foundation issues. That would have been the obvious time to ask for a possible

                                           8



                                                                                            538
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         391 filed
                                               Filed
                                                   01/24/25
                                                     01/26/24 USDC
                                                               PageColorado
                                                                   9 of 14            pg
                                  539 of 1354




 continuance to consult with an expert or to raise related arguments regarding the

 admissibility of the government’s exhibits. But the defendant made no such

 arguments when given the fair opportunity to do so, and the moment has passed.

       The defendant has had years to analyze the digital evidence and numerous

 opportunities to file motions, raise issues of concern, or ask for more time. The fact

 that she declined to make these arguments — despite the previous extensive

 litigation and their now-professed importance — means that such arguments should

 be deemed waived. Asking for 90 more days to prepare what is effectively a motion

 for reconsideration premised on waived arguments is not good cause for a

 continuance.3

       III.   A continuance prejudices the government, the public, and the
              victims.

       For all of the reasons above, denying a continuance will not prejudice the

 defendant. But it will prejudice the government, and it will thwart the public’s

 interest in vindicating its constitutional right to a speedy trial.

       The United States is obligated to protect the interests of the public in a

       3 The example cited by defense counsel in the brief illuminates clearly that

 the delay will be geared at re-litigating issues that have already been raised and
 waived. The brief complains about the attribution in James log entry 56. Def. Mot.
 at 2. But the Court has already explained in its order, “context clues and other
 characteristics of various messages are sufficient to deem those messages authentic
 under Rule 901.” ECF No. 367 (citing United States v. Fluker, 698 F.3d 988, 999
 (7th Cir. 2012) as an example of how messages can be authenticated based on
 context). That message — to the number used by MM — references “Kimberley” in
 the third person and discusses the participants’ respective wives. It is, based on
 context, clearly from Michael Tew. The Court found this message to be in
 furtherance of the conspiracy. Giving the defendant 90 days to develop additional
 arguments to attack the Court’s ruling is not a valid reason for a continuance.

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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         391 filed
                                              Filed01/24/25
                                                    01/26/24 USDC
                                                              Page Colorado
                                                                   10 of 14            pg
                                  540 of 1354




 speedy trial. The Speedy Trial Act protects not only the defendant’s constitutional

 right to a speedy trial but also “the public interest in ensuring prompt criminal

 proceedings.” United States v. Hill, 197 F.3d 436, 440 (10th Cir. 1999). The statute

 was “designed with the public interest firmly in mind.” Toombs, 574 F.3d at 1273.

 Therefore, “[i]t is the responsibility of not only the district court, but also the

 government, to protect the interests of the public by ensuring adherence to the

 requirements of the Speedy Trial Act.” Id.

        To grant the requested exclusion of time, the Court must find that “the ends

 of justice served by [the continuance] outweigh the best interest of the public and

 the defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). In balancing these

 interests, the Court considers the applicable factors under section 3161(h)(7)(B),

 including whether the failure to grant a continuance would be likely to result in a

 miscarriage of justice, or whether denial would unreasonably prevent adequate and

 effective preparation for trial. Id. § 3161(h)(7)(B)(i), (ii), (iv).

        The victims in this case also have a right to speedy trial. See United States v.

 Fraley, 2023 WL 409700, at *5 (6th Cir. 2023) (denying continuance, district court

 properly considered victims’ rights to speedy trial); United States v. McDaniel, 411

 F. Supp. 2d 1323, 1325 (D. Utah 2015) (noting that substitutions of counsel can

 frustrate speedy trial rights of both defendants and victims). Further, crime victims

 have a statutory “right to full and timely restitution as provided in law,” and “the

 right to proceedings free from unreasonable delay,” 18 U.S.C. § 3771(a)(6), (7).



                                               10



                                                                                            540
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         391 filed
                                              Filed01/24/25
                                                    01/26/24 USDC
                                                              Page Colorado
                                                                   11 of 14            pg
                                  541 of 1354




       The owners of NAC — victims of the betrayal of their former CFO and of the

 defendant, and a former contractor — have been awaiting justice for almost

 three-and-a-half years. Continued delay negatively impacts the prosecution’s ability

 to vindicate victim rights, given the natural consequences of delay, such as

 witnesses’ memories fading and witnesses becoming more likely to be unavailable

 due to death or infirmity. Over the passage of time, restitution and forfeiture

 become more elusive, as well. The victims’ interest in a speedy trial outweighs

 defendants’ need for yet another continuance.4

       Additionally, there are significant logistical issues with moving the trial date.

 Many witnesses will be travelling from out of state, taking time out of otherwise

 busy work schedules and making arrangements to satisfy their personal

 responsibilities. The United States has served trial subpoenas on its witnesses for

 the February 5 trial date; for many of the witnesses this is the second time they

 have been subpoenaed. These witnesses’ willingness to comply with subpoenas and

 provide their testimony to a jury in the interests of justice does not mean that they

 deserve to be subjected to a repeated upending of their lives. In sum, a continuance

 would undermine the public’s, the victims’, and the Government’s interest in a

 speedy trial.

       On the other side of the scale, denial of the requested continuance is not

 likely to result in a miscarriage of justice, because adequate time has been provided

 to address the issues raised in the defendant’s motion. 18 U.S.C. § 3161(h)(7)(B)(i).

       4         The motion is unopposed by Michael Tew. See ECF No. 373 at 1.

                                           11



                                                                                            541
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         391 filed
                                              Filed01/24/25
                                                    01/26/24 USDC
                                                              Page Colorado
                                                                   12 of 14             pg
                                  542 of 1354




 The 1,087 days since the Grand Jury returned its indictment (or even just the 388

 days since counsel entered his appearance) have been sufficient time for effective

 preparation, taking into account the exercise of due diligence. Id. § 3161(h)(7)(B)(iv),

 (ii).

         Should the Court determine a continuance is appropriate, the United States

 respectfully submits that sufficient time should be excluded from the speedy trial

 clock to permit trial in late June 2024. Trial after the currently set date but before

 June 2024 would unreasonably deny the Government continuity of counsel and,

 relatedly, prevent adequate preparation for trial. 18 U.S.C. § 3161(h)(7)(B)(ii), (iv).

 Undersigned counsel have invested significant time to prepare for trial; they are

 deep into trial preparation and have personally met with witnesses and victims.

 AUSA Fields is set for a four-day trial on March 18, 2024, United States v.

 Robinson, 23-cr-274-RMR, and then a thirteen-day trial in a complex international

 foreign exchange fraud case featuring numerous international witnesses set to

 begin on April 29, 2024, United States v. Stewart, 21-cr-000034-WJM. Both cases

 have already been reset several times and further delay is extremely unlikely.

 Given those obligations, if trial does not begin as scheduled in ten days, AUSA

 Fields will need time in March and April to prepare witnesses and other materials

 for the other cases’ trials, and then will immediately need to return to this case in

 May once again prepare for this trial. The Government has planned its staffing

 around the current, long-set, February 5, 2024 trial date and respectfully requests



                                           12



                                                                                             542
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         391 filed
                                              Filed01/24/25
                                                    01/26/24 USDC
                                                              Page Colorado
                                                                   13 of 14            pg
                                  543 of 1354




 that, if moved again, it be set in or after June 2024 to avoid another reassignment of

 counsel that prejudices the Government and potentially leads to further cascading

 delays.

                                         Respectfully submitted,

                                         COLE FINEGAN
                                         United States Attorney

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 Attorney for the Government                 Attorney for the Government




 Certification of Type-Volume Limitation

        I hereby certify that the foregoing pleading complies with the type-volume
 limitation set forth in Judge Domenico’s Practice Standard III(A)(1).

                                                       /s Bryan Fields
                                                       Bryan David Fields

 Statement of Speedy Trial Impact

        Pursuant to Judge Domenico’s Practice Standard III(C), the government
 notes that this motion will not affect the speedy trial clock in this case its granting
 would necessarily involve the court making the necessary findings of fact to exclude
 time and denial will keep the case on track to be tried on February 5, 2024, within
 the calculated speedy trial deadline.




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                                                                   14 of 14               pg
                                  544 of 1354




 CERTIFICATE OF SERVICE


        I hereby certify that on January, 26 2024, I electronically filed the foregoing
 with the Clerk of the Court using the CM/ECF system which will send notification
 of such filing to any and all counsel of record.


                                         s/ Bryan Fields
                                         United States Attorney’s Office




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                                                                       1 of 4                     pg
                                  545 of 1354




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD-01

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 1. MICHAEL AARON TEW,

       Defendant.



        DEFENDANT MICHAEL TEW’S PROPOSED VOIR DIRE QUESTIONS


       Defendant Michael Aaron Tew submits the following voir dire questions for the panel:

       1. Have any of you heard anything about this case from the media, online, or from other

           people?

       2. Based on media coverage of other federal criminal matters frequently in the news, has

           anyone developed an opinion about the U.S. Department of Justice, the Federal Bureau

           of Investigation, or the Internal Revenue Service acting in a political manner?

       3. Has anyone had any personal interactions with law enforcement or are you related to

           or close friends with any law enforcement officers? Were your experiences with law

           enforcement positive or negative? Please explain.

       4. Does anyone believe the federal government is too large or shouldn’t be getting

           involved with so many parts of society? Does that include private financial matters?

       5. Has anyone themselves been or had a close family member who was ever the victim of

           a crime? If so, please explain.

       6. Have you or a close family member ever been “ripped off” or the victim of a scam?




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                                                       01/26/24 USDC
                                                                  PageColorado
                                                                       2 of 4                    pg
                                  546 of 1354




          Did you report it to the police? Was anything done about it?

       7. How did you react upon receiving your jury summons to court here today? Were you

          happy? Frustrated? Anxious? Annoyed? Please explain.

       8. How do you feel about the idea that someone can get a better deal or possibly a lower

          sentencing by cooperating with authorities against someone else? Would you judge that

          person’s credibility differently knowing that they were receiving consideration for their

          testimony?

       9. Have you or a close family member ever struggled with addiction of any kind? If so,

          please explain as you are comfortable.

       10. Defendants Michael Tew and Kimberley Tew are married. Does anyone believe that

          they would struggle to treat each defendant individually or be unable to separate them

          as distinct people and independently consider their individual personalities?

       11. Every defendant has a constitutional right to remain silent. This means that no

          defendant must testify. As a juror, would you hold it against a defendant that did not

          take the witness stand on their own behalf even though they do not have to do so?

       12. Will anyone be offended if the prosecution presents evidence of personal

          communications between a husband and a wife that were obtained by the federal

          government?

       13. Can anyone think of a reason why a defendant would not want to testify?

       14. If the government’s case includes evidence that someone has a large number of bank

          accounts, how does that make you feel? Would such evidence cause you to believe that

          a person was up to no good?

       15. Does anyone have a strong opinion about charging someone with a crime for allegedly



                                                2


                                                                                                      546
Case No.
      Case
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                                                       01/26/24 USDC
                                                                  PageColorado
                                                                       3 of 4                       pg
                                  547 of 1354




            not filing federal income tax returns?

        16. How do you feel about people that do not file income tax returns on time?

        17. Does anyone have any family or professional commitments (such as two working

            parents of small children) that would make it particularly challenging for them and their

            family if they served on the jury?

        DATED this 26th day of January, 2024.

                                                      /s/ Jason D. Schall
                                                 Jason D. Schall
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                                                 Greenwood Village, CO 80111
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                                                 Attorneys for Michael Aaron Tew




                              CERTIFICATE OF CONFORMITY

        I hereby certify that the foregoing pleading complies with the type-volume limitation set

 forth in Judge Domenico’s Practice Standard III(A)(1).

                                                     /s/ Jason D. Schall
                                                 Jason D. Schall




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                                                       01/26/24 USDC
                                                                  PageColorado
                                                                       4 of 4                      pg
                                  548 of 1354




                          STATEMENT OF SPEEDY TRIAL IMPACT

         Pursuant to Judge Domenico’s Practice Standard III(C), undersigned counsel notes that

 this filing has no effect on the speedy trial clock.

                                                     /s/ Jason D. Schall
                                                 Jason D. Schall



                                   CERTIFICATE OF SERVICE

         I hereby certify that on January 26, 2024, I electronically filed the foregoing with

 the Clerk of Court using the CM/ECF system which will send notification of such filing to

 the following:

 AUSA Bryan Fields                                               David Kaplan / Jamie Hubbard
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                                                                 Attorneys for Kimberley Ann Tew

         I hereby certify that I will mail or serve the filing to the following participants:

                  Mr. Michael Aaron Tew (defendant)


                                                     /s/ Jason D. Schall
                                                 Jason D. Schall




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                                                                   1 of 16          pg
                                  549 of 1354




                     Just IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW, and
      2. KIMBERLEY ANN TEW, a/k/a Kimberley Vertanen,

        Defendants.


              GOVERNMENT’S RESPONSE TO DEFENDANTS’
          MOTIONS IN LIMINE REGARDING THE USE OF PROFFER
          AGREEMENTS IN THE UNITED STATES’ CASE IN CHIEF


        Nothing in the Constitution endorses the conclusion that criminal defendants

 — especially those who sign binding legal agreements and are fully advised by

 capable attorneys — can peddle one story to the prosecution and another to a court

 without consequence. Consistent with the law in every circuit to address the issue,

 the Court should enforce the clear and unambiguous language of the proffer

 agreements, deny the Defendants’ respective motions in limine, ECF Nos. 370 and

 373, and further the “laudable policy” of “encouraging defendants to tell the truth

 during both plea negotiations and subsequent trial.” United States v. Dortch, 5 F.3d

 1056, 1069 (7th Cir. 1993). That policy will be furthered by proceeding to trial, as

 scheduled, on February 5.




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                                                     01/26/24 USDC
                                                               PageColorado
                                                                   2 of 16             pg
                                  550 of 1354




    I.      Enforcing proffer agreements “enhances the truth-seeking
            function of trials” and yields “more accurate verdicts”

         The law is clear. Agreements that voluntarily waive the protections otherwise

 afforded by Rule 410 are enforceable. United States v. Mitchell, 633 F.3d 997,

 1003-1006 (10th Cir. 2011) (analyzing United States v. Mezzanatto, 513 U.S. 196,

 2010 (1995) in detail and finding no error in district court’s decision to admit

 defendant’s plea statements during government’s case-in-chief).

         For good reason: such a waiver “encourages criminal defendants to present

 defenses at trial that are not fraudulent.” United State v. Rebbe, 314 F.3d 402, 408

 (9th Cir. 2002)

         Indeed, the defendants’ own citations are completely in line with the entire

 body of law surrounding Mezzanatto waivers. For example, Michael Tew cites the

 Tenth Circuit’s decisions in Jim and Mitchell. M. Tew. Mot. at 4 and 7 (citing United

 States v. Jim, 786 F.3d 802, 810 (10th Cir. 2015) and Mitchell, 633 F.3d at 1003); ECF

 No. 373 at 3 (adopting M. Tew’s legal arguments). The defendant in Jim — just like

 Michael and Kimberley Tew — entered into an agreement waiving his rights under

 Rule 410. Then — just like Michael and Kimberley Tew — he got a new lawyer,

 decided he no longer liked his agreement, and moved in limine to exclude his

 proffered confession. The district court enforced the agreement and the Tenth Circuit

 affirmed. Mitchell similarly involved a client disappointed with the outcome of his

 plea negotiation who, after proffering, got a new lawyer to take his case to trial. The

 defendant ultimately found himself similarly disappointed. Mitchell 633 F.3d at

 1003-1006.


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                                                     01/26/24 USDC
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                                                                   3 of 16                 pg
                                  551 of 1354




       These outcomes are the logical conclusion to the Supreme Court’s reasoning in

 Mezzanato. The defendants’ waivers do nothing to put at risk a fair proceeding under

 the law. Indeed enforcing the waivers serves the opposite effect. As Justice Thomas

 explained, “the admission of plea statements for impeachment purposes enhances the

 truth-seeking function of trials and will result in more accurate verdicts.” Mezzanato,

 513 U.S. at 204; see also id. at 205 (“Under any view of the evidence, the defendant

 has made a false statement, either to the prosecutor during the plea discussion or to

 the jury at trial; making the jury aware of the inconsistency will tend to increase the

 reliability of the verdict without risking institutional harm to the federal courts.”).

       The Supreme Court’s concerns in Mezzanato over the integrity of the judicial

 process found receptive audiences in the Courts of Appeals. The Tenth Circuit does

 not stand alone in its willingness to enforce these types of proffer agreements. As far

 as the government can tell, every circuit to consider the issue has enforced similar

 agreements that included Rule 410 waivers. United States v. Hardwick, 544 F.3d 565,

 570 (3d Cir. 2008) (cataloging cases from Second, Seventh, Ninth and D.C. Circuits

 finding waiver triggered where defense counsel used cross examination to imply facts

 inconsistent with proffer); United States v. Sylvester, 583 F.3d 285, 289 (5th Cir.

 2009); United States v. Young, 223 F.3d 905, 911 (8th Cir. 2000). The defendants give

 this Court no reason to disregard the force of this near-uniform body of caselaw. 1




       1 At least one district court has refused to enforce a proffer agreement. United

 States v. Duffy, 133 F. Supp. 2d 213 (E.D.N.Y. 2001; but see United States v. Velez,
 354 F.3d 190, 195 (2d Cir. 2004) (criticizing Duffy).
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                                                     01/26/24 USDC
                                                               PageColorado
                                                                   4 of 16                  pg
                                  552 of 1354




    II.      Proffer agreements provide benefit to all parties in the criminal
             justice process

                A.     The proffer agreements offer mutual benefits

          The reality is that “criminal justice today is for the most part a system of pleas,

 not a system of trials.” Laffler v. Cooper, 566 U.S. 156, 170 (2012). The Tenth Circuit

 recognizes this in its pattern jury instructions: “Plea bargaining is lawful and proper,

 and the rules of this court expressly provide for it.” 10th Cir. Pattern Jury Inst. § 1.15

 (3d ed. 2021). This means that while defendants have the absolute and cherished

 right to remain silent, courts and defense attorneys have recognized that silent

 defendants cannot make successful pleas for leniency.

          Accepting the position defendants advance here would undermine countless

 opportunities for reasonable negotiated resolutions, gutting the settled expectations

 of the parties’ proffer agreements, which are specifically designed to lower each sides’

 risks while encouraging candid discussions that help everyone evaluate cases based

 on accepted facts. For prosecutors, proffer agreements “buy” the reliability assurance

 that accompanies a waiver agreement. Mezzanatto, 513 U.S. at 208. For defendants,

 proffer agreements strengthen their hand in negotiations by leveraging what they

 “sell” — their credibility —under conditions designed so that deceit is more costly and

 thus less likely. United States v. Krilich, 159 F.3d 1020, 1024-25 (7th Cir. 1998); see

 also Mezzanatto, 513 U.S. at 208. Without the ability to enter into “Mezzanatto

 waivers” mutual distrust and anxiety over the high stakes of failed negotiations

 might mean many fewer discussions, to the detriment of criminal justice.

          The Tews’ proffer agreements capture this mutual give-and-take. The


                                               4


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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                                   01/24/25
                                                     01/26/24 USDC
                                                               PageColorado
                                                                   5 of 16           pg
                                  553 of 1354




 government pays the “cost” of a defendant’s information by making the promises in

 paragraph 2, in return for the benefits in paragraph 3.2 E.g., ECF No. 370-1 at 2. In

 return, the defendant agrees to pay the “cost” of any attempted deception down-the-

 line, as outlined in paragraph 4, and made possible by paragraph 5. E.g., ECF No.

 370-1 at 4. Importantly, whether to pay that “cost” — by trying to offer competing

 accounts to two different audiences — is completely up to the defendant, as outlined

 in paragraph 4. E.g., ECF No. 370-1 at 2 (noting that information can be used only if

 the client takes certain actions). The reciprocal and hoped-for benefits arising from

 the parties’ mutual consideration is the truth, as contemplated in paragraphs 1 and

 7. E.g. ECF No. 3701-1 at 1 and 3.

              B.    The upside benefits of the agreement are virtually always
                    made available to those with legal counsel, who are
                    tasked with ensuring that the potential downside risks
                    are also knowingly and intelligently understood

       Mezzanatto’s recognition that Rule 410 waivers can actually produce better

 outcomes for all stakeholders is the animating force behind the uniform consensus of

 the Courts of Appeals’ decisions outlined above. But Courts have coupled these

 abstract ideals with a clear-eyed view of their dangers. Any agreement giving up a

 right must be “knowing and voluntary.” Mezzanatto, 513 U.S. at 210. For that reason,

 this Office requires that defense counsel review and explain the agreement’s terms

 and provisions to the client prior to signing. See ECF No. 370-1 at 3 and 373-1 at 4

 and 7 (requiring defense counsel to sign statement “I acknowledge that I have read



 2     The government’s promises are cabined by paragraph 6 (making clear
 agreement does not impart transactional immunity).
                                          5


                                                                                          553
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                                     01/26/24 USDC
                                                               PageColorado
                                                                   6 of 16            pg
                                  554 of 1354




 this proffer agreement, reviewed it with my client, and discussed fully with my client

 each of the provisions of the agreement.”).

    III.    The defendants knowingly and voluntarily signed clear and
            unambiguous agreements


              A.     Michael Tew acknowledges that he entered his
                     agreement knowingly and voluntarily

       The court should take defendant Michael Tew at his word that “[i]t cannot

 reasonably be argued . . . that Mr. Tew did know that his statements to federal

 authorities could be used against him if he later changed his version of events.” ECF

 No. 370 at 6. Likewise, the court should make the “reasonable inference” he admits,

 namely that “Mr. Tew also knew, and agreed, that he could not affirmatively present

 evidence to the contrary.” Id.

       B.     Kimberley Tew is represented by the same lawyer who advised
              her to enter the agreement and does not make any arguments
              that it was unknowing or involuntary

       For her part, Kimberley Tew does not challenge the waiver itself; instead, she

 now suggests (but does not explicitly say) that, if the government’s interpretation is

 correct, then her waiver was not knowing and voluntary. ECF no. 373 at 5. That

 implicit argument has been soundly rejected elsewhere. Krilich, 159 F.3d at 1026

 (“No party to a contract has Humpty Dumpty’s power over language either directly

 or through the gambit that unanticipated consequences render the agreement

 “involuntary.”).

       Kimberley Tew’s argument is, of course, also further complicated by the fact

 that it is being raised by the exact same defense counsel who advised Ms. Tew to sign


                                           6


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Case No.
      Case
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                                         393 filed
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                                                     01/26/24 USDC
                                                               PageColorado
                                                                   7 of 16               pg
                                  555 of 1354




 the agreement in the first place. Given the obvious attorney-client privilege questions

 raised, the government cannot participate fully or effectively in a hearing about those

 questions at this stage of the proceedings, especially when the lawyer involved could

 also be a fact witness. Because the defendant has not explicitly stated that she is

 contesting the knowing and voluntary nature of an agreement she signed — one

 which contained an express acknowledgment that she entered into it “voluntarily,

 knowingly and willfully” — with an experienced attorney who also acknowledged

 discussing each provision of the agreement her client — the issue should be deemed

 waived. The complexity of this situation proves the point: the law provides very

 specific vehicles for appeals and collateral attacks, and determinations on this issue

 should be left to those forums rather than upending this trial.

       C.     The proffers speak for themselves, and the Court can decide the
              meaning of the language as a matter of straightforward contract
              interpretation

       The defendants are not even really saying their agreements were entirely

 unknowing or involuntary. The Tews clearly understood at some level they were

 giving up their Rule 410 rights. That fundamental waiver is what must have been

 knowing and voluntary, not all of the possible expressions of it. Krilich, 159 F.3d at

 1026. In any case, this is not a situation where the consequences are so ambiguous as

 to cause concern. All parties entered the agreements with the same basic intent — to

 encourage truth-telling by raising the costs of deceit. United States v. Barrow, 400

 F.3d 109, 117 (2d Cir. 2005) (recognizing a proffer agreement is like a contract that,

 as an issue of law, must be interpreted to give effect to the intent of the parties.)

       Moreover, the defendants raise their challenge in the vaguest of terms, simply
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            1:20-cr-00305-DDDDocument
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                                                   01/24/25
                                                     01/26/24 USDC
                                                               PageColorado
                                                                   8 of 16              pg
                                  556 of 1354




 asserting that they “contest” the language of the Mezzanatto waiver, without

 describing the actual language they take objection to and without any textual

 analysis or law. It is too late for the defendants to raise such textual arguments now,

 and those arguments should be deemed waived.

        Moreover, it bears note that their motions effectively launch a broadside attack

 against the U.S. Attorney’s Office itself, by claiming that this Office regularly enters

 into unconstitutional proffer agreements in its standard proffer agreement language.

        Not so. A straightforward reading of the standard proffer language confirms

 the government’s interpretation. Taking the Tews’ Mezzanatto waivers, statement-

 by-statement, a clear textual interpretation follows:

        “The government may [] use . . .

    •   “any statements made by your client during the proffer . . . .”

                 ▪   The word “any” makes the waiver absolute. If one
                     statement is contradicted, any statement from the proffer
                     can come in.

    •   “either as evidence or for cross-examination”

                 ▪   The government is permitted two opportunities at trial to
                     put on its evidence: (1) in its case-in-chief; and (2) on
                     rebuttal.

                 ▪   The proffer language does not limit the waiver to rebuttal,
                     as defendants suggest. In fact, the word “rebuttal” never
                     appears. It is a basic principle of textual analysis that
                     words that do not appear in the text are not read in,
                     especially in the face of a clear reading to the contrary.

                 ▪   This interpretation is furthered by the contrasting
                     reference to “or for cross-examination.” Obviously, the
                     government cannot cross-examine its own witnesses. If the
                     phrase “as evidence” did not include the government’s

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                                         393 filed
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                                                   01/24/25
                                                     01/26/24 USDC
                                                               PageColorado
                                                                   9 of 16              pg
                                  557 of 1354




                    case-in-chief, this phrase would instead read “either in its
                    rebuttal case or for cross-examination.”

                ▪   Under the defendants’ interpretation, the government
                    would have no means of countering any positions taken by
                    the defendant in contradiction to their proffer statements,
                    unless (1) the defendant himself testified, or (2) otherwise
                    presented an affirmative case for his defense.

                ▪   This interpretation leads to absurd results that would
                    essentially eviscerate the consideration provided to the
                    government under the Mezzanatto waiver. Effectively the
                    defendants suggest the government has entered into a
                    contract which, through a defendant’s careful legal
                    stratagem, would provide no benefit on the other side. As
                    with all contracts, there must be consideration on both
                    sides for the contract to have effect.

                ▪   For example, the defendants seem to suggest that what
                    they agreed not to do for themselves can instead be done if
                    performed only through their agents, in the form of
                    contradictory statements in openings, or by raising doubt
                    throughout the government’s case-in-chief by means of
                    cross-examination. The defendants’ position expects the
                    government to sit on its hands and let such insinuations
                    remain unimpeached and uncontradicted throughout its
                    own entire case-in-chief. This manipulation would
                    perpetrate clear fraud on the jury, and puppeteering of this
                    sort would put every defense counsel in the unenviable
                    position of risking his or her duty of candor to the court.

    •   “at trial or any other stage of the criminal prosecution”

                ▪   The waiver applies at trial; pre-trial proceedings; and at
                    sentencing

    •   “if your client later testifies, offers evidence, or presents a
        position (including through affidavit or in argument) that
        contradicts statements made by your client during the proffer.”

                ▪   Under rudimentary textual interpretation principles,
                    every phrase in the list of “later testifies,” “offers evidence,”
                    and “presents a position,” must be given meaning. The
                    defense’s interpretation — which would allow a defendant

                                            9


                                                                                             557
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         393 filed
                                              Filed01/24/25
                                                    01/26/24 USDC
                                                              Page Colorado
                                                                   10 of 16         pg
                                  558 of 1354




                     to contradict his proffer statements, so long as he did so
                     only in opening statements or through cross-examination
                     — would, once again, render the phrases “offers evidence,”
                     “presents a position,” and “in argument” surplusage.

                 ▪   The final words in this phrase make clear that the
                     Mezzanatto waiver is only triggered when a defendant
                     contradicts their proffer. Otherwise, the government must
                     adhere to paragraph 2 of the agreement and fully honor
                     Rule 410’s evidentiary exclusions.

       The language is clear, and the defendants’ arguments should be dismissed on

 the merits. Courts have had no hesitation in enforcing legally indistinguishable

 language of similar breadth in the exact same way that the government proposes.

       To take but one example of a case with similar language to the Tews’

 agreements, in Barrow, 400 F.3d. at 118, the court examined the phrase “any

 evidence” in a challenged Mezzanatto waiver. The Second Circuit reasoned that such

 language carried “expansive intent,” one that extended beyond formally admitted

 evidence and which encompassed any “factual assertions” at “any stage of the

 prosecution.” As a result, the court ruled that “[f]actual assertions made by

 defendant’s counsel in an opening argument or on cross-examination plainly fall

 within this broad language.”); Rebbe, 314 F.3d at 406 (ruling that, if breached, the

 Mezzanatto waiver allowed the government “to rebut any evidence, argument or

 representations” made by the defendant or on his behalf at trial).

       In summary, the Tews’ Mezzanatto waivers are clear, as is the law applying

 them. To quote Judge Easterbrook’s explanation:

       Evidence is evidence, whether it comes out on direct or
       cross-examination. One can “otherwise present” a position through
       argument of counsel alone, so it is easy to see how a position can be

                                          10


                                                                                         558
Case No.
     Case1:20-cr-00305-DDD
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                                      645-2
                                         393 filed
                                              Filed01/24/25
                                                    01/26/24 USDC
                                                              Page Colorado
                                                                   11 of 16               pg
                                  559 of 1354




          “presented” by evidence developed on cross-examination and elaborated
          by counsel.

 Krilich, 159 F.3d at 1025-26 (7th Cir. 1998) (affirming use at trial of proffer

 statements as a result of defense counsel’s cross examination questions).

    IV.      There is nothing unconstitutional about enforcing agreements that
             prevent the defendants from engaging in deceit.

          To be sure the Tews' find themselves in dire circumstances, having boxed

 themselves into a corner of their own making. The defendants now pray to this Court

 for relief, arguing that they “sign[ed] away” their constitutional trial rights. ECF No.

 370. at 7; ECF No. 374 at 203. Not so. The Tews can present their individual defenses

 — even those that are inconsistent with the proffers — they just have to confront the

 consequences of that choice.

          As the Ninth Circuit put when analyzing a similar (though narrower) proffer

 agreement, “[the defendant] was still free to make any arguments or ask any

 questions he wished to at trial. The only limitation on [the defendant’s] right to

 present a defense was that if he presented evidence or arguments that were

 inconsistent with his proffer statements, the Government could introduce his proffer

 statements in rebuttal.” Rebbe, 314 F.3d at 408; see also United States v. Velez, 354

 F.3d 190, 196 (2d Cir. 2004) (“Finally, a defendant remains free to present evidence

 inconsistent with his proffer statements, with the fair consequence that, if he does,

 the Government [is] then ... permitted to present the defendant's own words in

 rebuttal. With this avenue open to him, a defendant who has consented to a waiver

 provision like the one at issue here has not forfeited his constitutional right to present



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Case No.
     Case1:20-cr-00305-DDD
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                                              Filed01/24/25
                                                    01/26/24 USDC
                                                              Page Colorado
                                                                   12 of 16              pg
                                  560 of 1354




 a defense, to the effective assistance of his counsel, or to a fair trial.”) (citation and

 quotation omitted).

       The Tews have this same choice. That it is a difficult one is precisely the point

 of the parties’ agreement.

       To be clear, Michael and Kimberley Tew can each present a defense. They are

 each free to make unfettered opening statements, to reserve their openings for their

 defense case, or to forego openings entirely. They are free to exercise the wide (though

 not wholly unfettered) right to cross-examine the government’s witnesses as they see

 fit. They can call their own witnesses, and they can admit their own evidence. They

 retain the right to testify fully in their own defense. Each will have the opportunity

 to present a vigorous closing argument. In short, at every stage of the proceeding,

 they will have precisely the same rights accorded to every other criminal defendant

 in this country, as they should and as the constitution requires. Rebbe, 314 F.2d at

 408 (noting that, even in shadow of a proffer agreement, defense counsel can

 challenge sufficiency of evidence, impeach credibility, challenge knowledge and

 qualifications of witnesses, challenge inconsistencies in evidence, and ask about

 witnesses’ motives).

       The only thing the proffer agreements do here is ensure that the jury will know

 more about Michael and Kimberley Tew, including that they told a different audience

 different things on different days. Nothing about this is unconstitutional. Rebbe, 314

 F.2d at 408 (rejecting as “without merit” similar argument that a proffer agreement

 deprived defendant of his right to present a defense); Velez, 354 F.3d at 190 (rejecting



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                                      645-2
                                         393 filed
                                              Filed01/24/25
                                                    01/26/24 USDC
                                                              Page Colorado
                                                                   13 of 16             pg
                                  561 of 1354




 constitutional challenge to proffer agreement with Mezannato waiver). It is, instead,

 exactly the kind of truth-enhancing protocol the public expects of its courts. United

 States v. Chaparro, 181 F. Supp. 2d 323, 324 (S.D.N.Y. 2002) (explaining that there

 is “no unfairness to [the defendant] in allowing use of his statements during proffer

 sessions once he has opened the door to their use by his arguments and evidence,”

 because the “design of the [Proffer] Agreement provides any defendant who decides

 to speak with the Government strong incentives to speak truthfully, and discourages

 anyone from speaking at all if she intends to lie . . . .”).

         The Tews inked their proffers to get the benefit of a possible pre-indictment

 deal. Nothing in that bargain, nor in the constitution, nor in the Tews’ vague appeals

 to “fairness,” ECF No. 370 at 2, 5 and 7; ECF No. 374 at 4 and 5, permits the Tews to

 further delay this case. ECF No. 285 at 17 (transcribing extensive arguments at

 suppression hearing last summer over use of proffer statements at trial). The fact

 that such evidence may be prejudicial to their cause — even highly prejudicial — does

 not mean it should be excluded, practically limited, or deemed unconstitutional. See

 Fed. R. Evid. 403 (excluding only that evidence which is unfairly prejudicial).

    V.      PROPOSAL FOR TRIAL PROCEDURES

         In order to assist the Court in preparing for the very real possibility that, at

 some point during trial, this issue will require swift action, the government

 respectfully suggests the following procedures:

    1. Over the past two days, the government obtained formal court transcripts of
       the audio recordings of the proffer sessions. They were produced to the defense
       today, and will be filed under restriction as exhibits by separate filing for the
       court’s benefit. Exhibits 1, 2, and 3.

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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         393 filed
                                              Filed01/24/25
                                                    01/26/24 USDC
                                                              Page Colorado
                                                                   14 of 16             pg
                                  562 of 1354




    2. The government will ask to be heard, outside the presence of the jury, if it at
       any point believes the waivers have been triggered. That will allow the
       defendants ample opportunity to argue otherwise, if they so desire, and for the
       Court to rule accordingly.

    3. The parties can confer on proposed language to advise the jury of the nature of
       this evidence and the context from which it comes before playing it for the first
       time, similar to a Bruton instruction.

    4. Although the government expects that many of these statements will make the
       most sense to introduce through the government witness who was present for
       the proffer sessions, depending on the nature of cross-examination, the
       government may deem it necessary to counter certain questions more
       immediately on its re-directs, as is its right. If that occurs, the government will
       request a sidebar prior to its questioning, and will ask to play only that limited
       portion of the proffer session at that time, again giving the defendants a chance
       to make their record.

    5. Mindful of Rules 102 and 403, the government intends to use as its primary
       guideposts the rules for impeachment evidence laid out in Rules 607 and 608.
       Although these are the defendants’ confessions, and powerful evidence in
       support of the prosecution’s case, at no time will the government abuse this
       process. Akin to the James statements, the government promises to use this
       evidence (if it even becomes necessary to do so) in a fair and measured manner,
       albeit one that also seeks to satisfy its high burden of proof.

    6. The government proposes that these procedures be discussed at the final
       pretrial conference, scheduled for January 30. If that timing is insufficient, the
       government is supportive of a separate hearing to specifically address these
       procedures. The government contests, however, setting such a hearing in a
       manner that would delay the trial.


                                    CONCLUSION

       The defendants effectively ask this court to reward a form of deceit. In the

 alternative, they request immediate gratification for that deceit in the form of yet

 another delay of this trial. They should not be so rewarded.

       The Court should endorse the truth seeking function of the trial process. To do



                                           14


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Case No.
     Case1:20-cr-00305-DDD
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                                      645-2
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                                              Filed01/24/25
                                                    01/26/24 USDC
                                                              Page Colorado
                                                                   15 of 16             pg
                                  563 of 1354




 that, the Court should strictly enforce defendants’ Mezzanatto waivers; deny the

 motions; and open this trial, as scheduled, on February 5. The interests of justice call

 for no less.

                                         COLE FINEGAN
                                         United States Attorney

  By: /s/ Bryan Fields                        By: /s/ Sarah H. Weiss
  Bryan Fields                                Sarah H. Weiss
  Assistant United States Attorney            Assistant United States Attorney
  U.S. Attorney’s Office                      U.S. Attorney’s Office
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  Bryan.Fields3@usdoj.gov                     Sarah.Weiss@usdoj.gov
  Attorney for the Government                 Attorney for the Government


 Certification of Type-Volume Limitation

        I hereby certify that the foregoing pleading complies with the type-volume
 limitation set forth in Judge Domenico’s Practice Standard III(A)(1).

                                                       /s/ Bryan Fields
                                                       Bryan Fields



 Statement of Speedy Trial Impact

       Pursuant to Judge Domenico’s Practice Standard III(C), the government notes
 that this motion will not affect the speedy trial clock in this case because any
 resolution of it will be within the already-granted ends-of-justice continuances
 granted on March 17, 2023. ECF Nos. 317 and 318.

                                                       /s/ Bryan Fields
                                                       Bryan Fields




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                                  564 of 1354




                            CERTIFICATE OF SERVICE

        I hereby certify that on this 26th day of January, 2024, I electronically filed
 the foregoing with the Clerk of the Court using the CM/ECF system that will send
 notification of such filing to counsel of record in this case.




                                                s/ Sarah H. Weiss
                                                Sarah H. Weiss
                                                Assistant U.S. Attorney
                                                1801 California Street, Suite 1600
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                                                Telephone 303-454-0100
                                                Facsimile 303-454-0402
                                                Sarah.Weiss@usdoj.gov




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                                                                       1 of 3            pg
                                  565 of 1354




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW and
      2. KIMBERLEY ANN TEW,
         a/ka Kimberley Vertanen,

        Defendants.


              GOVERNMENT=S MOTION TO RESTRICT EXHIBITS


        The United States of America, by and through Cole Finegan, United States

 Attorney for the District of Colorado, and Bryan D. Fields and Sarah H. Weiss,

 Assistant United States Attorneys, respectfully moves to restrict the document filed

 at ECF No. 394, any order revealing the contents of that document, and the brief filed

 in support of this motion filed at ECF No. 395, for the reasons stated in the brief filed

 in support of this motion.

        The   United    States   requests   a   “Level   2”   restriction.   Pursuant   to

 D.C.COLO.LCrR 47.1(b), “Level 2” restriction would make the document, any order

 revealing the contents of that document, and the brief filed in support of this motion

 accessible to the government, the affected defendant, and the Court.



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                                         Respectfully submitted,

                                         COLE FINEGAN
                                         United States Attorney

  By: /s/ Bryan Fields                         By: /s/ Sarah H. Weiss
  Bryan Fields                                 Sarah H. Weiss
  Assistant United States Attorney             Assistant United States Attorney
  U.S. Attorney’s Office                       U.S. Attorney’s Office
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  Bryan.Fields3@usdoj.gov                      Sarah.Weiss@usdoj.gov
  Attorney for the Government                  Attorney for the Government



 Certification of Type-Volume Limitation

        I hereby certify that the foregoing pleading complies with the type-volume
 limitation set forth in Judge Domenico’s Practice Standard III(A)(1).

                                                       /s Sarah H. Weiss
                                                       Sarah H. Weiss

 Statement of Speedy Trial Impact

        Pursuant to Judge Domenico’s Practice Standard III(C), the government notes
 that this motion will not affect the speedy trial clock in this case its granting would
 necessarily involve the court making the necessary findings of fact to exclude time
 and denial will keep the case on track to be tried on February 5, 2024, within the
 calculated speedy trial deadline.




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                            CERTIFICATE OF SERVICE


        I hereby certify that on January 26th, 2024, I electronically filed the foregoing
 with the Clerk of the Court using the CM/ECF system which will send notification of
 such filing to any and all counsel of record.


                                         s/ Sarah H. Weiss
                                         United States Attorney’s Office
                                         Assistant U.S. Attorney




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                                                                       Colorado
                                                                         1 of 3         pg
                                   568 of 1354




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW and
      2. KIMBERLEY ANN TEW,
         a/ka Kimberley Vertanen,

        Defendants.


              GOVERNMENT=S MOTION TO RESTRICT EXHIBITS


        This matter is before the Court on the Government’s Motion to Restrict ECF

 Nos. 394 and 395. Upon consideration and for good cause shown,

        IT IS ORDERED that said Document (ECF No. 394), the Brief in Support of

 Motion to Restrict Document (ECF No. 395), as well as any order revealing the

 contents of those documents, are hereby restricted until further order by the Court.

        IT IS ORDERED that said Document (Doc. 394), the Brief in Support of Motion

 to Restrict (Doc. 395), as well as any order revealing the contents of that document,

 pursuant to D.C.COLO.LCrR 47.1(b) are hereby at a “Level 2 Restriction” and will be

 “Viewable by Selected Parties & Court” only.

        IT IS SO ORDERED on this         day of ________________, 2023.



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                                         Respectfully submitted,

                                         COLE FINEGAN
                                         United States Attorney

  By: /s/ Bryan Fields                         By: /s/ Sarah H. Weiss
  Bryan Fields                                 Sarah H. Weiss
  Assistant United States Attorney             Assistant United States Attorney
  U.S. Attorney’s Office                       U.S. Attorney’s Office
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  Bryan.Fields3@usdoj.gov                      Sarah.Weiss@usdoj.gov
  Attorney for the Government                  Attorney for the Government



 Certification of Type-Volume Limitation

        I hereby certify that the foregoing pleading complies with the type-volume
 limitation set forth in Judge Domenico’s Practice Standard III(A)(1).

                                                       /s Sarah H. Weiss
                                                       Sarah H. Weiss

 Statement of Speedy Trial Impact

        Pursuant to Judge Domenico’s Practice Standard III(C), the government notes
 that this motion will not affect the speedy trial clock in this case its granting would
 necessarily involve the court making the necessary findings of fact to exclude time
 and denial will keep the case on track to be tried on February 5, 2024, within the
 calculated speedy trial deadline.




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                                   570 of 1354




                            CERTIFICATE OF SERVICE


        I hereby certify that on January 26th, 2024, I electronically filed the foregoing
 with the Clerk of the Court using the CM/ECF system which will send notification of
 such filing to any and all counsel of record.


                                         s/ Sarah H. Weiss
                                         United States Attorney’s Office
                                         Assistant U.S. Attorney




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                                                                       1 of 3              pg
                                  571 of 1354




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO


  Case No. 1:20-cr-00305-DDD-2

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  2. KIMBERLEY ANN TEW

         Defendant.

          MOTION TO FILE REPLY IN SUPPORT OF MOTION IN LIMINE


        Kimberley Tew, through counsel, seeks leave to file a reply in support of her

 Motion in Limine re Admissibility of Proffer Statements (“Motion”). (ECF No. 373.) The

 Government’s response argues Ms. Tew has failed to make certain arguments and/or

 waived arguments. Ms. Tew disagrees with the Government’s position and requests

 leave to file the attached reply brief to avoid any confusion in advance of Tuesday’s trial

 preparation conference.

        The Government opposes the relief requested.

        Dated: January 29, 2024.




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                                  572 of 1354




                                         Respectfully submitted,



                                         s/ Jamie Hubbard
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                                         David S. Kaplan
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                                         Attorneys for Kimberley Ann Tew




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                                  573 of 1354




                                     Certificate of Service

        I certify that on January 29, 2024, I electronically filed the foregoing Motion to File
 Reply in Support of Motion in Limine with the Clerk of Court using the CM/ECF system
 which will send notification of such filing to the following e-mail address and all parties
 of record:

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 Counsel for Michael Tew


                                                s/ Brenda Rodriguez
                                                Brenda Rodriguez




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                                                                       1 of 9                 pg
                                  574 of 1354




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


  Case No. 1:20-cr-00305-DDD-2

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  2. KIMBERLEY ANN TEW

         Defendant.

       REPLY IN SUPPORT OF MOTION IN LIMINE RE ADMISSIBILITY OF
                         PROFFER STATEMENTS


        Kimberley Tew, through counsel, submits the following reply in support of her

 Motion in Limine re Admissibility of Proffer Statements (“Motion”). (ECF No. 373.)

 A.     Ms. Tew Disagrees with the Government’s Interpretation of the Waiver
        Provision in the Proffer Letter

        The Government’s response inaccurately states: “Kimberley Tew does not

 challenge the waiver itself; instead, she now suggests (but does not explicitly say) that,

 if the government’s interpretation is correct, then her waiver was not knowing and

 voluntary.” (ECF No. 393 at 6.) Nothing in Ms. Tew’s Motion conceded the

 Government’s interpretation of the proffer agreement (which was unknown at the time

 of filing). Ms. Tew’s Motion in Limine incorporated by reference the Motion filed by

 Defendant Michael Tew, which objected to the Government’s interpretation of the

 waiver provision. (ECF No. 373 at 3.) To the extent it was previously unclear, Ms. Tew




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                                                     01/24/25
                                                       01/29/24 USDC
                                                                  PageColorado
                                                                       2 of 9                pg
                                  575 of 1354




 now explicitly states that she objects to the Government’s interpretation of the waiver

 provision in the proffer letter.

        The Government contends that a “straightforward reading of the standard

 proffer language confirms the government’s interpretation.” (ECF No. 393 at 8.) But the

 Government ignores the omission of key language about who can trigger a waiver.

        The proffer letter is addressed to “Jamie Hubbard, Esq. Counsel to Kimberley

 Tew.” Throughout the letter, there is a distinction between actions taken by “you”

 (meaning Ms. Hubbard) and “your client” (meaning Ms. Tew). Where the government

 intended a restriction in the proffer agreement to apply to both counsel and client, it

 said so:

            •   Paragraph 1: “You and your client understand that false statements

                willfully made during this proffer will negate the Government’s

                agreement not to use this proffered information against your client.”

            •   Paragraph 4, second sentence: “By signing this letter, you and your client

                specifically agree that the government may use your client’s statements or

                information in the circumstances described above.”

        The relevant provision here—the first sentence of Paragraph 4—provides that

 Ms. Tew’s statements made in the proffer session may be used as evidence if “your

 client” (meaning Ms. Tew) “testifies, offers other evidence, or presents a position

 (including through affidavit or in argument) that contradicts statements made by your




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                                                       01/29/24 USDC
                                                                  PageColorado
                                                                       3 of 9                 pg
                                  576 of 1354




 client during the proffer.” This sentence contains no references to evidence presented or

 arguments made by “you” (meaning Ms. Hubbard). Nor does this provision reference

 “your representative” or similar language indicating that it binds Ms. Tew’s attorney.

 Thus, nothing in the proffer agreement suggests that evidence presented or arguments

 made by counsel—whether Ms. Hubbard or anyone else—can constitute a breach of the

 proffer agreement.

        If the Government wanted the proffer agreement to operate as it now argues, it

 could easily have included language indicating Ms. Tew’s representative could trigger

 waiver. Indeed, the government has done exactly that in other cases. In United States v.

 Barrow, 400 F.3d 109 (2d Cir. 2005), the proffer agreement stated the prosecutor could

 use the defendant’s proffer statements “as substantive evidence to rebut any evidence

 offered or elicited, or factual assertions made, by or on behalf of [the defendant] at any

 stage of a criminal prosecution.” Id. at 113. The same is true in United States v. Rebbe, 314

 F.3d 402 (9th Cir. 2002), where the proffer agreement allowed statements to be used “to

 rebut any evidence, argument or representations offered by or on behalf of your client

 in connection with the trial.” Id. at 404. Here, the proffer agreement applies only to

 evidence presented or arguments made by “your client”, i.e., Ms. Tew, and does not

 apply to evidence or arguments made on behalf of Ms. Tew. Thus, on its face, the

 waiver provision cannot be triggered by the actions of counsel.

        As set forth above, the Government’s interpretation of the proffer agreement is

 inconsistent with the plain language of the contract. However, to the extent the Court


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                                                                  PageColorado
                                                                       4 of 9                pg
                                  577 of 1354




 believes the first sentence of paragraph 4 is ambiguous, the provision should be

 construed against the Government as the drafter of the proffer letter. See K&V Scientific

 Co., Inc. v. BMW, 314 F.3d 494, 500 (10th Cir. 2002).

 B.     Mezzanatto Requires a Case-by-Case Analysis of the Circumstances of Waiver

        In United States v. Mezzanatto, 513 U.S. 196 (1995), the Supreme Court held that a

 waiver of certain trial rights is permissible as part of some plea negotiations. However,

 the Court noted: “There may be some evidentiary provisions that are so fundamental to

 the reliability of the factfinding process that they may never be waived without

 irreparably discrediting the federal courts.” Id. at 204. As indicated in Mr. Tew’s Motion

 in Limine, and previously adopted by Ms. Tew, the Government’s interpretation of the

 waiver language effectively means Ms. Tew waived her right to counsel, to cross-

 examine witnesses, and to present a defense.

        The Mezzanatto court recognized the potential for abuse by prosecutors given the

 imbalance of power during plea negotiations. Rather than adopt a blanket rule barring

 admissibility of any statement made during plea negotiations, the Court held “the

 appropriate response to respondent’s predictions of abuse is to permit case-by-case

 inquiries into whether waiver arguments are the product of fraud or coercion.” Id. at

 210.

        The Mezzanatto dissent warned against the effect of exactly what the Government

 promotes in this case – a waiver provision that allows admission of proffer statements

 in the Government’s case-in-chief. Id. at 217. And the Tenth Circuit left open the


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 question of whether a Mezzanatto waiver is enforceable where—like here—the waiver is

 executed as a condition of entering plea negotiations with the government. United States

 v. Mitchell, 633 F.3d 997, 1005 (10th Cir. 2011) (“To us, the waiver in Mezzanatto was

 more burdensome than the waiver here since the defendant had no assurance the

 negotiations would bear fruit.”) Notably, at the time Ms. Tew signed the proffer letter,

 she had not been charged with any offense, had no access to discovery, and was facing

 the prospect of being criminally charged alongside her husband and potentially leaving

 their young children without parents.

        Mezzanatto requires analysis of the case-specific facts in determining whether any

 waiver is enforceable.

 C.     Ms. Tew Did Not Knowingly Waive Her Trial Rights and Reiterates her
        Request for a Pretrial Hearing

        The Government contends Ms. Tew’s argument that any waiver of her

 fundamental trial rights was not knowing and voluntary “has been soundly rejected

 elsewhere.” (ECF No. 393 at 6.) In United States v. Krilich, 159 F.3d 1020 (7th Cir. 1998),

 the case cited by the Government, the court noted that the defendant offered no support

 for his conclusion that he didn’t understand the rights he was waiving. That is precisely

 why Ms. Tew has requested a hearing in this case. Ms. Tew seeks an opportunity to

 show that her waiver was not made knowingly.

        A waiver is knowing if made “with full awareness of both the nature of the right

 being abandoned and the consequences of the decision to abandon it.” Moran v. Burbine,



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                                                                       6 of 9                  pg
                                  579 of 1354




 475 U.S. 412, 421 (1986); United States v. Morris, 287 F.3d 985, 988 (10th Cir. 2002). “The

 purpose of the ‘knowing and voluntary’ inquiry ... is to determine whether the

 defendant actually does understand the significance and consequences of a particular

 decision and whether the decision is uncoerced.” Godinez v. Moran, 509 U.S. 389, 401

 (1993). When a defendant waives his constitutional rights, he must be “made aware of

 the dangers and disadvantages ... so that the record will establish that ‘he knows what

 he is doing and his choice is made with eyes open.’” Faretta v. California, 422 U.S. 806,

 835 (1975). Given the important constitutional issues raised by the Government’s

 interpretation of the proffer agreement, the Court has an obligation to ensure Ms. Tew’s

 waiver thereof was knowing and intelligent.

        The Government argues Ms. Tew has somehow waived her ability to contest

 whether her waiver was knowing and voluntary because she is currently represented

 by the same attorney as when she signed the proffer letter. (ECF No. 393 at 7.) Notably,

 the Government cites no authority for this position, likely because none exists.

 Undersigned counsel’s current involvement in this case does not deprive Ms. Tew of

 the ability to request a hearing on whether she knowingly and voluntarily waived her

 rights by signing the proffer letter.

        The Government also alleges the “complexity of the situation” means this Court

 should punt on deciding whether Ms. Tew’s waiver was knowing and voluntary and

 leave those matters to “appeals and collateral attacks.” (ECF No. 393 at 7.) But that

 approach makes no sense given the roles of a trial court and an appellate court. Courts


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                                                                       7 of 9                   pg
                                  580 of 1354




 apply a “totality of the circumstances” approach when determining whether a waiver of

 important constitutional rights was knowing and voluntary. Colorado v. Spring, 479 U.S.

 564, 573 (1987); United States v. Burson, 531 F.3d 1254, 1256-57 (10th Cir. 2008). The trial

 court is responsible for developing the factual record through testimony, making any

 necessary credibility determinations, and analyzing the relevant factors in the first

 instance. Given the fact-intensive nature of a “totality of the circumstances” analysis,

 the trial court is best positioned to determine whether Ms. Tew’s waiver was knowing

 and voluntary.

        The Government would have the Court defer all rulings on the proffer

 agreement until the middle of trial. (ECF No. 393 at 14.) That approach ignores practical

 realities. Defense counsel cannot meaningfully prepare their defense—including

 opening statements, cross-examinations of the Government’s witnesses, etc.—without

 guideposts regarding what the Court believes triggers waiver under paragraph 4. And

 waiting until trial to decide whether any waiver is knowing and voluntary risks

 unnecessarily inconveniencing the jury with lengthy mid-trial hearings. This issue has

 been raised and briefed by the parties, and Ms. Tew respectfully requests that the Court

 set a hearing to decide the matter before empaneling a jury.

        As such, Ms. Tew reiterates her request for a pre-trial hearing on whether she

 knowingly and voluntarily waived important trial rights when she executed the proffer

 agreement.




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                                  581 of 1354




       Dated: January 29, 2024.

                                         Respectfully submitted,



                                         s/ Jamie Hubbard
                                         Jamie Hubbard
                                         David S. Kaplan
                                         STIMSON LABRANCHE HUBBARD, LLC
                                         1652 Downing Street
                                         Denver, CO 80218
                                         Phone: 720.689.8909
                                         Email: hubbard@slhlegal.com
                                         kaplan@slhlegal.com

                                         Attorneys for Kimberley Ann Tew




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                                     Certificate of Service

        I certify that on January 29, 2024, I electronically filed the foregoing Reply in
 Support of Motion in Limine re Admissibility of Proffer Statements with the Clerk of Court
 using the CM/ECF system which will send notification of such filing to the following e-
 mail address and all parties of record:

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 bryan.fields3@usdoj.gov
 sarah.weiss@usdoj.gov

 Jason D. Schall
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 jason@bowsch.com

 Kristen M. Frost
 Ridley McGreevy & Winocur, P.C.
 303 16th Street, Suite 200
 Denver, CO 80202
 frost@ridleylaw.com

 Counsel for Michael Tew


                                                s/ Brenda Rodriguez
                                                Brenda Rodriguez




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                                  583 of 1354




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


  Case No. 1:20-cr-00305-DDD-2

  UNITED STATES OF AMERICA,

          Plaintiff,
  v.

  2. KIMBERLEY ANN TEW

          Defendant.

          Motion to Exclude Testimony Regarding the Reasons for Michael Tew’s
       Termination from NAC as Proposed in the Government’s Trial Brief (ECF 379)


         Defendant Kimberley Tew, through undersigned counsel requests this court

 exclude the testimony sought to be introduced by the government in their trial brief and

 as grounds states the following:

         On January 24, 2024, the Government’s Trial Brief (ECF 379) was filed. Section IV

 discussed the Government’s intent to introduce evidence related to the reasons Michael

 Tew was terminated from National Air Cargo (“NAC”) and stated the Government’s

 belief that such evidence is res gestae of the charged offenses. The Government further

 requested that introduction of Ms. Tew’s “extracurricular hobbies” be allowed to the

 extent they were a “motivating factor in this fraud.” (ECF No. 379 at 4.) No further

 description of the reasons for termination, nor the hobbies or their relevance, was

 provided in the pleading.




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                                  584 of 1354




          The line between evidence that is res gestae and that which must be analyzed

 under Rule 404(b) is not always bright. United States v. Kimball, 73 F.3d 269, 272 (10th

 Cir. 1995). Indeed, this lack of clarity led the Colorado Supreme Court to recently

 declare an end to res gestae in the state court system and demand the government give

 notice of all extrinsic evidence under Rule 404(b). Rojas v. People, 504 P.3d 296 (Colo.

 2022).

          Neither the court nor the defendant are bound by the government’s conclusion

 that the proffered evidence is res gestae. At this point, the defense lacks sufficient

 information about what precisely the Government intends to admit about Mr. Tew’s

 termination and Ms. Tew’s gambling to fully analyze whether the evidence is intrinsic

 or extrinsic to the charged crimes. While the jury may need to be informed of certain

 limited facts related to Mr. Tew’s termination—such as when Mr. Tew was terminated

 by the company—the circumstances of that termination are not intrinsic to the crimes

 charged. And whether Mrs. Tew was involved in any of the events that led to her

 husband’s termination may certainly be extrinsic.

          The purpose of the pretrial notice required by the Court’s February 10, 2021

 Discovery Conference Memorandum and Order is to require the Government to explain the

 other acts evidence it seeks to admit so Rule 404(b) factors can be considered. See

 Huddleston v. United States, 485, U.S. 681, 691 (1988); United States v. Parker 553 F.3d 1309

 (10th Cir. 2009) (Rule 404(b) requires a court to consider whether 1) the evidence is

 offered for a proper purpose, 2) the evidence is relevant, 3) the probative value of the


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                                                                       3 of 5                pg
                                  585 of 1354




 evidence is substantially outweighed by its prejudicial effect, and 4) whether a limiting

 instruction is given if the defendant so requests). Because the Government did not

 comply with the notice requirement and has only stated generally that it seeks to admit

 evidence of Ms. Tew’s gambling and the circumstances of Mr. Tew’s termination, the

 parties and the Court lack sufficient evidence to analyze whether the proffered evidence

 is res gestae or subject to a Rule 404(b) analysis.

        WHEREFORE, it is requested that the government be required to provide greater

 specificity regarding the evidence it seeks to introduce and a hearing to determine its

 admissibility.

        January 29, 2024.

                                                 Respectfully submitted,



                                                 s/ David S. Kaplan
                                                 Jamie Hubbard
                                                 David S. Kaplan
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                                                 Attorneys for Kimberley Ann Tew




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                                  586 of 1354




                       Certification of Type-Volume Limitation

        I hereby certify that the foregoing pleading complies with the type-volume
 limitation set forth in Judge Domenico’s Practice Standard III(A)(1).


                           Statement of Speedy Trial Impact

        Pursuant to Judge Domenico’s Practice Standard III(C), defense counsel notes
 that this filing has no effect on the speedy trial clock.



                                            s/ David S. Kaplan
                                            David S. Kaplan




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                                  587 of 1354




                                     Certificate of Service

        I certify that on January 29, 2024 I electronically filed the foregoing Motion to
 Exclude Testimony Regarding the Reasons for Michael Tew’s Termination from NAC as
 Proposed in the Government’s Trial Brief (ECF 379) with the Clerk of Court using the
 CM/ECF system which will send notification of such filing to the following e-mail
 address and all parties of record:

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 Counsel for Michael Tew



                                                s/ Brenda Rodriguez
                                                Brenda Rodriguez




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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO
                           Judge Daniel D. Domenico

       Criminal Action No. 1:20-cr-00305-DDD

       UNITED STATES OF AMERICA,

               Plaintiff,
       v.

       MICHAEL AARON TEW,
       KIMBERLEY ANN TEW, and
       JONATHAN K. YIOULOS

               Defendants.


                    ORDER DENYING MOTION TO CONTINUE


            Before the court is Defendant Kimberley Tew’s motion to continue
       the trial date in this case by ninety days and to exclude that period of
       delay when computing the time within which her trial must commence
       under the Speedy Trial Act. Doc. 374. For the following reasons, the
       court finds that Ms. Tew has not shown that continuance is warranted,
       and the motion is denied.

                              PROCEDURAL HISTORY

            On July 8, 2020, a criminal complaint was issued as to Mr. Tew, and
       he was arrested on July 9, 2020. On February 3, 2021, an indictment
       was handed down as to all defendants, including Mr. and Ms. Tew.

            On February 5, 2021, Mr. Tew entered a plea of not guilty at his ar-
       raignment, and Ms. Tew entered a plea of not guilty on February 10,
       2021, making April 22, 2021, the initial deadline for their trial to com-
       mence under the Speedy Trial Act, 18 U.S.C. § 3161(c)(1). On February



                                          -1-

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                                                                       2 of 6         pg
                                  589 of 1354




       11, 2021, the court entered an order setting trial to commence on April
       19, 2021. Doc. 101. The court excluded 19 days from Mr. Tew’s speedy
       clock when his co-defendants were joined for trial (Doc. 101) and shortly
       thereafter excluded another 180 days for an Ends of Justice Continu-
       ance. Doc. 116. Defendants subsequently filed motions to exclude twelve
       months, ninety days, ninety days, and one hundred and eighty days from
       this time calculation, which the court granted. Docs. 143, 149, 165, 174,
       165, 174, 193. On December 28, 2022, Mr. and Ms. Tew moved for the
       appointment of separate counsel, (Doc. 288), which the court granted.
       Doc. 289. Mr. Tew’s current primary counsel entered his appearance on
       January 31, 2023, and Ms. Tew’s current primary counsel entered his
       appearance on January 3, 2023. Docs. 290, 308.

          On March 13, 2023, Ms. Tew filed another motion to continue, asking
       that the court exclude sufficient time “to allow for the scheduling of trial
       in February of 2024.” Doc. 315 at 4. The court granted that motion on
       March 17, 2023, excluded 329 days from the computation of Ms. Tew’s
       Speedy Trial Act time, and set trial to commence on February 5, 2024.
       Doc. 317. Ms. Tew filed the instant motion on January 24, 2024—12 days
       before trial is set to commence and months after the motions deadline.
       See Doc. 336 (motion requesting extension of motions deadlines); Doc.
       338 (order extending motions deadline to October 13, 2023); Doc. 374
       (Ms. Tew’s motion to continue).

                                 APPLICABLE LAW

          When evaluating a request to continue a trial, the court considers the
       following factors: (1) the diligence of the party requesting the continu-
       ance; (2) the likelihood that the continuance, if granted, would accom-
       plish the purpose underlying the party’s expressed need for the contin-
       uance; (3) the inconvenience to the opposing party, its witnesses, and



                                          -2-

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                                                                       3 of 6         pg
                                  590 of 1354




       the court resulting from the continuance; and (4) the need asserted for
       the continuance and the harm that the party requesting it might suffer
       if the continuance is denied. United States v. West, 828 F.2d 1468, 1470
       (10th Cir. 1987). No single factor is determinative, and the weight given
       to any one factor may vary depending on the extent of the showing on
       the others. Id. However, “by far the most important factor to consider”
       is the requesting party’s need for a continuance and the prejudice result-
       ing from its denial. Id. at 1471.

          When a request for continuance implicates Speedy Trial Act require-
       ments, the court may exclude from the statutory time period within
       which the Defendants’ trial must commence “[a]ny period of delay re-
       sulting from a continuance granted . . . on the basis of [the court’s] find-
       ings that the ends of justice served by taking such action outweigh the
       best interest of the public and the defendant in a speedy trial.” 18 U.S.C.
       § 3161(h)(7)(A). In order to exclude the period resulting from such a con-
       tinuance, the court must set forth in the record its reasons for finding
       that the ends of justice served by granting the continuance outweigh the
       best interests of the public and the defendant in a speedy trial, consid-
       ering the following factors:

             (i) Whether the failure to grant such a continuance in the
             proceeding would be likely to make a continuation of such
             proceeding impossible, or result in a miscarriage of justice.

             (ii) Whether the case is so unusual or so complex, due to
             the number of defendants, the nature of the prosecution, or
             the existence of novel questions of fact or law, that it is un-
             reasonable to expect adequate preparation for pretrial pro-
             ceedings or for the trial itself within the time limits estab-
             lished by this section.

             ....

             (iv) Whether the failure to grant such a continuance in a
             case which, taken as a whole, is not so unusual or so


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                                                                       4 of 6      pg
                                  591 of 1354




             complex as to fall within clause (ii), would deny the defend-
             ant reasonable time to obtain counsel, would unreasonably
             deny the defendant or the Government continuity of coun-
             sel, or would deny counsel for the defendant or the attorney
             for the Government the reasonable time necessary for ef-
             fective preparation, taking into account the exercise of due
             diligence.

       18 U.S.C. § 3161(h)(7)(A)-(B); see also United States v. Toombs, 574
       F.3d 1262, 1268 (10th Cir. 2009).

                                   DISCUSSION

          Ms. Tew’s counsel requests a continuance because he states that he
       needs more time to evaluate certain data relating to an iCloud account
       attributed to both Mr. and Ms. Tew. Doc. 374 at 1-3. Ms. Tew’s counsel
       suggests that he might consider retaining an expert for “assistance to
       efficiently and competently evaluate the amount of dat[a] to be re-
       viewed.” Id. at 3.

          The court finds that the West factors do not support granting a con-
       tinuance. First, this purported issue has not been addressed diligently.
       As the government notes, Ms. Tew presumably had access to this ac-
       count even before the start of this case nearly four years ago. Even once
       this case started, the government specifically raised this issue at least
       as early as the filing of its James log on December 5, 2023 (pursuant to
       a delayed briefing schedule that the parties jointly sought, Docs. 339,
       340). The government also provided courtesy copies of all relevant text
       messages on December 14, 2023 ahead of the James hearing. Prior to
       and at the James hearing, neither defendant raised any specific issue
       about attribution of the “Kley” iCloud account. And even when the gov-
       ernment contemporaneously moved in limine to admit these messages,
       Doc. 345, Ms. Tew did not raise any such specific objection.




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                                                                       5 of 6        pg
                                  592 of 1354




          Second, Ms. Tew has not shown that a three-month continuance
       would accomplish any purported need for the continuance. Ms. Tew sug-
       gests that there may be issues of attribution because Mr. and Ms. Tew
       may have both used this account to communicate with others. Perhaps,
       but it is not explained how expert assistance would aid in teasing out
       who (between Mr. and Ms. Tew) authored certain messages, assuming
       they both had access to the account, or why such efforts could not be (or
       have been) accomplished without a continuance. Ms. Tew will be able to
       attack the reliability of these text messages even though a large major-
       ity of them likely will be admitted, all as discussed in the court’s orders
       regarding co-conspirator statements and authentication. Docs. 361 and
       367.

          Third, a delay at this late hour would cause significant prejudice to
       the court, the government, and many third-party witnesses who are
       scheduled to give testimony next week and the week after. And Ms. Tew
       has not adequately explained why this request could not have been
       made sooner, particularly where it appears that counsel noticed this is-
       sue prior to the James hearing.

          Fourth, Ms. Tew has not shown how she would suffer meaningful—
       let alone material—prejudice absent a continuance here. See United
       States v. Pursley, 577 F.3d 1204, 1228-29 (10th Cir. 2009). As discussed
       above, the court sees little benefit from enlisting expert assistance to
       evaluate who, between Mr. and Ms. Tew, sent certain messages from
       one account in this case. As the government notes, the wider issues sur-
       rounding this account have largely been litigated and resolved by the
       court’s two orders on co-conspirator statements and authentication is-
       sues, Docs. 361 and 367. This issue also does not implicate the vast ma-
       jority of the evidence and arguments that the court anticipates will be




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                                                                       6 of 6     pg
                                  593 of 1354




       presented at trial. And even as to this particular iCloud account, Ms.
       Tew will have ample opportunity to attack this evidence at trial.

          Therefore, after careful consideration of the West factors, the court
       finds that Ms. Tew has not shown that a continuance is warranted. See
       United States v. Orr, 692 F.3d 1079, 1101 (10th Cir. 2012) (affirming
       denial of motion for continuance where defendant claimed that trying
       the case had become “complex” due to alleged “late-developing
       changes”).

                                  CONCLUSION

          Ms. Tew’s Motion to Continue Trial and Motion for Ends of Justice
       Continuance of 90 Days, Doc. 374, is DENIED. The trial will proceed
       on February 5, 2024, as scheduled.

       DATED: January 31, 2024                   BY THE COURT:




                                                 Daniel D. Domenico
                                                 United States District Judge




                                         -6-

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                                  594 of 1354




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                            JUDGE DANIEL D. DOMENICO


 Date:             January 30, 2024    Prob./Pret.: N/A
 Courtroom Deputy: Robert R. Keech     Interpreter: N/A
 Court Reporter:   Tammy Hoffschildt
 ______________________________________________________________________

 Criminal Case No. 1:20-cr-00305-DDD           Counsel:

 UNITED STATES OF AMERICA,                     Bryan D. Fields
                                               Sarah H. Weiss
              Plaintiff,

 v.

 1. MICHAEL AARON TEW;                         Jason D. Schall
 and                                           Kristen M. Frost
 2. KIMBERLY ANN TEW,                          David S. Kaplan
                                               Jamie H. Hubbard
              Defendants.



                               COURTROOM MINUTES


 TRIAL PREPARATION CONFERENCE

 1:38 p.m.    Court in session. Defendants present, on bond.

 Appearances of counsel.

 [374] Defendant Kimberly Ann Tew’s Motion to Continue Trial and Motion for Ends of
 Justice Continuance of 90 Days is raised for argument.

 Argument by Mr. Kaplan, Mr. Schall, and Mr. Fields.



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 ORDERED: [374] Defendant Kimberly Ann Tew’s Motion to Continue Trial and Motion
          for Ends of Justice Continuance of 90 Days is TAKEN UNDER
          ADVISMENT.

 Court outlines protocol for jury selection, use of strike sheet for peremptory challenges,
 and schedule for trial.

 ORDERED: Government will be allowed twenty (20) minutes for voir dire and each
          defendant will be allowed ten (10) minutes for voir dire.

 ORDERED: Each side will be allowed ninety (90) minutes total for opening
          statements and closing arguments.

 ORDERED: If Defendants have electronic exhibits, they should be submitted to the
          Court by Friday, February 2, 2024.

 Discussion regarding preliminary jury instructions and language from the Indictment
 back to the jury.

 Discussion regarding sequestration of witnesses.

 ORDERED: Witnesses shall be sequestered for the duration of the trial.

 Discussion regarding designating advisory witness and use of summary exhibits at trial.

 ORDERED: Counsel shall agree on a time each day to inform the other side about
          exhibits to be used the next day in trial.

               [373] Defendant Kimberly Ann Tew’s Motion in Limine re Admissibility of
               Proffer Statements and [370] Defendant Michael Aaron Tew’s Motion in
               Limine to Prohibit the Impermissible and Unconstitutional Use of Proffer
               Agreements are raised for argument.

 Argument by Ms. Hubbard and Ms. Weiss.

 3:05 p.m.     Court in recess.

 3:18 p.m.     Court in session.

 Argument by Ms. Hubbard, Mr. Schall, and Ms. Weiss.


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                                  596 of 1354




 ORDERED: [370] Defendant Michael Aaron Tew’s Motion in Limine to Prohibit the
          Impermissible and Unconstitutional Use of Proffer Agreements is TAKEN
          UNDER ADVISEMENT.

 ORDERED: [373] Defendant Kimberly Ann Tew’s Motion in Limine re Admissibility of
          Proffer Statements is TAKEN UNDER ADVISEMENT.

 [399] Defendant Kimberly Ann Tew’s Motion to Exclude Testimony Regarding the
 Reasons for Michael Tew’s Termination from NAC as Proposed in the Government’s
 Trial Brief is raised for argument.

 Argument by Mr. Kaplan, Ms. Weiss, and Mr. Kaplan.

 ORDERED: [399] Defendant Kimberly Ann Tew’s Motion to Exclude Testimony
          Regarding the Reasons for Michael Tew’s Termination from NAC as
          Proposed in the Government’s Trial Brief is TAKEN UNDER
          ADVISEMENT.

 Discussion and argument regarding trial logistics related to witnesses testifying about
 interpretations of text messages and the use of bolding and highlighting of
 demonstrative exhibits.

 Discussion and argument regarding possible use of suppression hearing testimony.

 Discussion and argument on the issue of duress and additional exhibits (989 and 990)
 as part of the James proffer.

 Court further outlines procedure for voir dire and jury selection.

 Discussion related to whether coffee is allowed, types of water containers allowed in
 courtroom, and a scheduling conflict Ms. Frost has on Tuesday, February 6, 2024.

 ORDERED: Bond is CONTINUED as to Defendants Michael Aaron Tew and Kimberly
          Ann Tew.

 4:38 p.m.     Court in Recess. HEARING CONCLUDED. TOTAL TIME: 2:47




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                                  597 of 1354




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO
                           Judge Daniel D. Domenico

       Criminal Action No. 1:20-cr-00305-DDD

       UNITED STATES OF AMERICA,

               Plaintiff,
       v.

       MICHAEL AARON TEW,
       KIMBERLEY ANN TEW, and
       JONATHAN K. YIOULOS

               Defendants.


        ORDER REGARDING MOTIONS IN LIMINE AND PRE-TRIAL
                           ISSUES


            The court held a Trial Preparation Conference in this case on Tues-
       day, January 30, 2024. At the conference, the Court provided several
       presumptive orders on pre-trial issues from the bench. This written or-
       der memorializes those orders and clarifies a few remaining issues. If
       there is any conflict between the Court’s oral orders made at the Trial
       Preparation Conference and this written order, this written order will
       control.

       I. Admissibility of Proffer Statements

            Mr. and Ms. Tew challenge the admissibility of statements they
       made in proffers to the government in 2020. Docs. 370, 373.

            The relevant language in the proffer agreements (styled as letters to
       defense counsel) reads as follows:




                                            -1-

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                                                                   2 of 10          pg
                                  598 of 1354




          The government may also use any statements made by your client
          during the proffer either as evidence or for cross-examination, at
          trial or any other stage of the criminal prosecution, if your client
          later testifies, offers other evidence, or presents a position (includ-
          ing through affidavit or in argument) that contradicts statements
          made by your client during the proffer. By signing this letter, you
          and your client specifically agree that the government may use
          your client’s statements or information in the circumstances de-
          scribed above. See United States v. Mezzanatto, 513 U.S. 196
          (1995).

       Docs. 370-1 at 2, 373-1 at 2.

          As noted at the conference, there is nothing inherently unconstitu-
       tional about even more extensive waivers to Rule 410’s general exclud-
       ability of plea-bargaining discussions. See United States v. Mitchell, 633
       F.3d 997, 999 (10th Cir. 2011) (allowing government to introduce proffer
       statements in its case-in-chief based on broader waiver agreement). De-
       fendants’ more generic arguments that such a waiver per se violates
       their Fifth and Sixth Amendment rights, therefore, are unpersuasive.

          Nor have the defendants 1 met their burden to show that their entry
       into these agreements was not knowing and voluntary. U.S. v. Smith,
       770 F.3d 628, 638 (7th Cir. 2014) (defense has burden to show waiver
       not voluntary and knowing and citing Mezzanato, 513 U.S. at 210); U.S.
       v. Nelson, 732 F.3d 504, 516 (5th Cir. 2013) (holding similarly). While
       Ms. Tew has made vague assertions that her agreement was not entered
       into “knowingly,” it became clear at the conference that this was actually
       a dispute about the scope of the agreement’s terms. Because these agree-
       ments are treated as contracts, the court sees no reason to hold an evi-
       dentiary hearing to interpret their scope, and Ms. Tew has provided no
       specific authority for doing so here.




       1 It appears that only Ms. Tew raises such an argument.



                                           -2-

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                                                                   3 of 10             pg
                                  599 of 1354




          As to scope, the government appears to take a very expansive reading
       of this waiver, suggesting that counsel—through argument or cross-ex-
       amination questions—may trigger the waiver in many ways, all as dis-
       cussed at the conference. On the other end, defendants say that nothing
       counsel does can trigger this waiver and that only testimony from one of
       the defendants could trigger the waiver.

          Neither position is quite correct. It is true that most of the cases cited
       by the government focus on impeachment though contrary statements
       made by defendants themselves (Mezzanato) or introduction of contra-
       dictory evidence (Krilich). But the defendants’ view that no attorney ar-
       gument could trigger the waiver provision is not a fair reading of the
       waiver agreement (particularly its reference to taking a position or pre-
       senting an argument, which are generally things that a client does
       through an attorney). The government’s apparent reading, on the other
       hand, seeks too much and may preclude the defendants from attacking
       the sufficiency of the evidence presented and putting the government to
       its burden of proving their guilt without allowing the proffer statements
       into evidence. See United States v. Oluwanisola, 605 F.3d 124, 133 (2d
       Cir. 2010) (vacating guilty verdict where court allowed proffer state-
       ments into evidence based on similar waiver agreement after defense
       counsel challenged witness’s credibility and presented opening argu-
       ment challenging the sufficiency of the evidence). 2



       2 As an initial matter, the government has cited no Tenth Circuit au-

       thority on a sufficiently similar waiver provision. As discussed above,
       Mitchell addressed a much broader waiver that included no similar
       “trigger” provision and instead amounted to a flat waiver of objecting to
       the entire proffer being admitted if the defendant withdrew his guilty
       plea. 633 F.3d at 999. United States v. Jim dealt with a similarly broad
       waiver that does not match the facts at issue here. 786 F.3d 801, 806
       (10th Cir. 2015).



                                           -3-

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                                                                   4 of 10            pg
                                  600 of 1354




          The government relies on United States v. Krilich for the proposition
       that an attorney’s cross-examination of a government witness can
       amount to “taking a position” contrary to proffer testimony, therefore
       invoking a similar waiver to the one seen here. 159 F.3d 1020, 1024-25
       (7th Cir. 1998). As noted above, the court agrees, as a general principle,
       that cross-examination alone could trigger the waiver at issue here. But
       the devil is in the details. The waiver should not be implicated lightly;
       instead, the proffer statements should only come into evidence if counsel
       elicits a specific, direct, factual contradiction by a witness of what was
       said in the proffers. See id. at 1025 (noting that the prosecutor’s position
       was “as unrealistic as” the defendant’s but affirming inclusion of the
       proffer statements where defense counsel elicited a specific, contradic-
       tory factual statement from a witness).

          Indeed, the Krilich court held that, “statements are inconsistent only
       if the truth of one implies the falsity of the other” and provided several
       examples of both consistent and inconsistent statements. Id. at 1025-26.
       Those examples are useful and should serve as a general guide for the
       parties during trial on what may and what may not trigger admission of
       certain proffer statements. And the Krilich court’s reasoning and exam-
       ples match closely with the reasoning and examples provided in Olu-
       wanisola. See 605 F.3d at 133 (noting, as an example, that “there is no
       inconsistency or contradiction between a defendant’s admission that he
       robbed the bank and his challenge to a witness's testimony that the wit-
       ness saw the defendant rob the bank and recognizes the defendant.”).

          Given this, the court will adhere to a few principles in policing this
       issue at trial. First, the most likely reason that proffer statements would
       be admitted would be if either defendant testifies and makes a




                                          -4-

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                                                                   5 of 10            pg
                                  601 of 1354




       statement contrary to either of their proffers. Second, as a general mat-
       ter, attorney argument or questioning could trigger the waiver provision
       here if it clearly seeks to introduce evidence that is contrary to the prof-
       fer statements. But in gray areas, the court will view the scope of this
       waiver narrowly in the context of argument or questioning by attorneys,
       particularly for purposes of opening and closing arguments. As dis-
       cussed in Krilich and Oluwanisola, any contradictions here must be spe-
       cific, fact-based, and truly inconsistent. Merely questioning a witness’s
       credibility or perception of certain events, attacking the sufficiency of
       the evidence, or more generally claiming innocence (even on an element-
       by-element basis) will not trigger the waiver provision. See Oluwanisola,
       605 F.3d at 132 (holding that defense counsel should have been able to
       reference certain elements and attack the sufficiency of the evidence as
       to those elements in opening statement without triggering proffer
       waiver provision).

          In this case like every other, counsel, of course, may not make mate-
       rially false statements of fact or law or offer evidence that they know to
       be false. Colo. Rules of Professional Conduct 3.3. Adhering to this ethical
       boundary seems likely to eliminate much of the possibility that defend-
       ants’ counsel might introduce evidence or argument contradicted by
       their own clients’ sworn proffer statements. Arguing that their clients
       are not guilty or that the government’s evidence does not prove particu-
       lar facts or elements of the charges is well on the safe side of both this
       ethical rule and the proffer agreement. But eliciting truly inconsistent
       factual statements from a witness, or making arguments that are known
       to be false, will open the door to admitting contradictory statements
       made during the proffers.

          Given all this, Defendants’ motions, Docs. 370 and 373, are
       GRANTED IN PART and DENIED IN PART as outlined above.


                                          -5-

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                                                                   6 of 10             pg
                                  602 of 1354




          II.    Admissibility of Business Records

          At the conference, the government sought a more final ruling on its
       motion in limine regarding business records. See Docs. 344 (motion in
       limine), 367 (order granting in part and denying in part that motion). As
       outlined in the court’s order on that motion, bank and subscriber records
       that are accompanied by an appropriate custodial declaration are ad-
       missible. The court gave the defendants an opportunity to object to the
       authentication of those records on or before January 29, and neither de-
       fendant did. See Doc. 378 (government’s filing of custodian declarations).
       The court therefore will admit those records as non-hearsay business
       records barring some other evidentiary objection not implicating hear-
       say or authentication, such as Rule 403, all subject to the caveats out-
       lined in the prior order (including as to Cellebrite exhibits). See Doc. 367.

          III.   Motion in Limine Regarding Mr. Tew’s Firing

          Ms. Tew filed a motion in limine to exclude the basis for Mr. Tew’s
       firing from NAC. As discussed at the conference, this issue also seemed
       to implicate Ms. Tew’s gambling and her use of Mr. Tew’s company
       credit card.

          As discussed at the conference, the court finds that this evidence, as
       a general matter, is intrinsic to the alleged fraud and therefore not ex-
       cludable under Rule 404(b) and otherwise will be admissible to prove
       motive. United States v. Kupfer, 797 F.3d 1233, 1238 (10th Cir. 2015).
       There may be some outliers, and some of this evidence could conceivably
       run afoul of Rule 403, particularly if it becomes cumulative. The govern-
       ment stated that it would not venture too far afield with this evidence,
       and the court will hold the government to that.

          Ms. Tew’s motion, Doc. 399, is therefore DENIED.


                                           -6-

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                                                                   7 of 10          pg
                                  603 of 1354




          IV.    Redactions to the Indictment

          Mr. Tew argues that references to the term “fraudulently” should be
       removed from the indictment if it is given to the jurors. As discussed at
       the conference, the court’s instructions regarding the indictment will re-
       iterate that it is not evidence and cannot form the basis of a guilty ver-
       dict. In any event, the references to fraudulent behavior derives from
       the criminal statutes themselves and is not improper. Mr. Tew’s request
       therefore will be denied, and the indictment will be provided to the ju-
       rors in the form it was handed down.

          V.     The Government’s Rule 1006 Exhibits

          As addressed at the conference, the court will evaluate the govern-
       ment’s exhibits on a case-by-case basis to ensure that they meet Rule
       1006’s requirements. But as to presentation in the courtroom, the gov-
       ernment generally will be free to use highlighting and zoom tools when
       presenting exhibits on monitors displayed to the jury, regardless of the
       testifying witness or their affiliation with the government. See Rule 611.

          Also, as discussed at the conference, the parties must confer each
       night prior to the next day of trial and share proposed exhibits (except
       for exhibits used solely for impeachment) and demonstratives intended
       to be used the next day. The court suggests conferring and sharing ex-
       hibits and demonstratives by 7 p.m. each evening but leaves the exact
       timing up to the parties.

          VI.    “Overview” or “Summary” Evidence and the Admission
                 of Co-Conspirator Statements

          The court will not allow government witnesses to provide improper
       “overview” evidence as outlined in United States v. Brooks, 736 F.3d 921,




                                          -7-

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                                                                   8 of 10          pg
                                  604 of 1354




       930-33 (10th Cir. 2013) (rejecting arguments that certain testimony was
       improper “overview” evidence regarding conspiracy).

          But the court will allow government witnesses, such as Ms. Palmer,
       to read, for example, co-conspirator text or email messages that have
       been admitted into evidence, generally consistent with how testimony
       was elicited at the James hearing. The court will limit government
       agents from improperly “opining” on such messages or providing “spin”
       on them. See Brooks, 736 F.3d at 930. But such witnesses may provide
       context such as that necessary to lay a foundation or, perhaps, to au-
       thenticate certain exhibits, like Cellebrite reports.

          VII.   Use of Suppression Hearing “Testimony” on Cross-Ex-
                 amination of Defendants

          The government seeks to use “testimony” from the suppression hear-
       ing to impeach either defendant if they testify at trial. The government
       acknowledges that the Tenth Circuit has not necessarily blessed such a
       maneuver, although other circuits may have. In any event, this alleged
       “testimony” appears to be representations made by prior defense counsel
       of what defendants would say at the hearing if called to testify. See Doc.
       226 at 7-16. Particularly because the court did not rule on the specific
       argument that the proposed testimony sought to support, Doc. 262 at 9,
       the court fails to see how impeaching defendants with this material
       would be appropriate. But if the defendants testify and make statements
       contrary to prior counsel’s representations, the government may re-raise
       this issue at that time.

          VIII. Evidence of Duress and a Duress Instruction

          The government seeks to preclude the defendants from “presenting”
       a “factually baseless” duress defense related to Ms. Tew’s gambling or
       cryptocurrency activities. See Doc. 379 at 3-4. At the conference, the


                                          -8-

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                                                                   9 of 10          pg
                                  605 of 1354




       government seemed to be arguing more narrowly that a duress instruc-
       tion should not be given to the jury.

          The Tenth Circuit recognizes duress as a defense and has a pattern
       instruction for it. United States v. Dixon, 901 F.3d 1170, 1176 (10th Cir.
       2018). But to obtain such an instruction, the defendant must make a
       “threshold showing” of duress as to each element of the defense. Id. at
       1177. As a general matter, the court will not exclude relevant evidence
       that might bear on this defense, if it exists, particularly where the gov-
       ernment seeks to introduce related evidence of gambling and alleged
       cryptocurrency scams. And if either defendant seeks to put this defense
       to the jury, the court will evaluate whether they have made a sufficient
       showing to warrant a duress instruction prior to reciting the final in-
       structions.

          IX.    Additional Co-Conspirator Statement Issues

          As discussed at the conference, the government seeks to admit James
       log entry #37, which the court previously excluded. Upon reconsidera-
       tion, the court finds that the martial privilege does not preclude admis-
       sion of that conversation and that the message was in furtherance of a
       conspiracy for purposes of Rule 801(d)(2)(E). As to the other two mes-
       sages or statements not addressed at the James hearing, the court will
       evaluate those statements at trial before admitting them. And the court
       reiterates that the government must warn the court and the defendants




                                          -9-

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                                                              Page Colorado
                                                                   10 of 10       pg
                                  606 of 1354




       prior to seeking to admit these statements, preferably in the morning
       prior to the arrival of the jury on the relevant day.

       DATED: February 1, 2024                     BY THE COURT:




                                                   Daniel D. Domenico
                                                   United States District Judge




                                         - 10 -

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                                                                       1 of 4       pg
                                  607 of 1354




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW and
      2. KIMBERLEY ANN TEW,
         a/ka Kimberley Vertanen,

        Defendants.



               GOVERNMENT’S LIST OF PROPOSED WITNESSES


        The government hereby submits its final list of proposed witnesses, along

 with estimates of the length of their testimony on direct examination. The

 government intends to call them in the order listed, with leave to vary as trial

 demands dictate. The government has consulted with defense counsel, who provided

 the listed estimates for the length of cross-examination.

               Respectfully submitted this 2nd day of February, 2024.

                                                 COLE FINEGAN
                                                 United States Attorney

  By: /s/ Bryan Fields                         By: /s/ Sarah H. Weiss
  Bryan Fields                                 Sarah H. Weiss
  Assistant United States Attorney             Assistant United States Attorney
  U.S. Attorney’s Office                       U.S. Attorney’s Office
  1801 California St. Suite 1600               1801 California St. Suite 1600
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  (303) 454-0100                               (303) 454-0100

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                                  608 of 1354




  Bryan.Fields3@usdoj.gov                    Sarah.Weiss@usdoj.gov
  Attorney for the Government                Attorney for the Government




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                                  609 of 1354




                             CERTIFICATE OF SERVICE


       I hereby certify that on this 2nd day of February, 2024, I electronically filed

 the foregoing with the Clerk of the Court using the CM/ECF system which will send

 notification to all counsel of record




                                               By:    /s Bryan Fields
                                                      Bryan Fields
                                                      Assistant United States
                                                      Attorney
                                                      U.S. Attorney’s Office
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                                                      Denver, CO 80202
                                                      (303) 454-0100
                                                      Bryan.Fields3@usdoj.gov
                                                      Attorney for the Government




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                                  610 of 1354




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                                                                    Page
                                                                       Colorado
                                                                         1 of 2             pg
                                   611 of 1354




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

                              Judge Daniel D. Domenico


Case No.       20-cr-305-DDD                     Date:      February 5, 2024
Case Title:    United States v. Michael Tew et al.

               GOVERNMENT’S                              WITNESS LIST
               (Plaintiff/Defendant)


                                                         ESTIMATED DATE(S) AND
WITNESS
                                                         LENGTH OF TESTIMONY

                                     330                 Feb. 5-6 - 330 minutes (direct);
Jonathan Yioulos
                                                         170 minutes (cross

                                     45                  Feb. 7 - 45 minutes (direct); 20
Raeesa Telly
                                                         minutes (cross)

                                     45                  Feb. 7 - 45 minutes (direct); 60
Hannah Scaife
                                                         minutes (cross)

                                     30                  Feb. 7 – 30 minutes (direct); 20
Brittney Perry
                                                         minutes (cross)

                                     120                 Feb 7 - 120 minutes (direct); 60
Abby Schwartz
                                                         minutes (cross)

Kimberly Burkhalter Townsley         15                  Feb. 7 - 15 minutes (direct); 20
(Regions Bank)                                           minutes (cross)

Patricia Townsend                    15                  Feb. 7 - 15 minutes (direct); 20
                                                         minutes (cross)
(NFCU)

Flagstar Bank / FIS                  15                  Feb. 7 - 15 minutes (direct); 20
Representative                                           minutes (cross)

                                     30                  Feb. 8 - 30 minutes (direct); 30
Sarah Anderson
                                                         minutes (cross)

Joe Ridenour                         15                  Feb. 8 - 15 minutes (direct); 20
                                                         minutes (cross)
(BBVA / PNC Bank)

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                                                                         2 of 2       pg
                                   612 of 1354




                                  30               Feb. 8 - 30 minutes (direct); 25
Chris Alf
                                                   minutes (cross)

                                  75               Feb. 8 - 75 minutes (direct); 40
Michael Meyers
                                                   minutes (cross)

                                  30               Feb. 8 - 30 minutes (direct); 20
Roman Hernandez
                                                   minutes (cross)

Julie Mussack                     15               Feb. 8 - 15 minutes (direct); 20
                                                   minutes (cross)
(Wells Fargo Bank)

Jerry Plumley                     15               Feb. 8 - 15 minutes(direct); 20
                                                   minutes (cross)
(ANB Bank)

                                  30               Feb. 8 - 30 minutes (direct); 45
Nicholas Hanggi
                                                   minutes (cross)

                                  30               Feb. 9 - 30 minutes(direct); 40
Matthew Vanderveer
                                                   minutes (cross)

                                  60               Feb. 9 - 60 minutes (direct); 40
Matthew Morgan
                                                   minutes (cross)

                                  210              Feb. 9 & 12 - 210 minutes
Lisa Palmer
                                                   (direct); 90 minutes (cross)




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Case No.
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                                                                       1 of 2        pg
                                  613 of 1354




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW and
      2. KIMBERLEY ANN TEW,
         a/ka Kimberley Vertanen,

        Defendants.



                GOVERNMENT’S LIST OF PROPOSED EXHIBITS


        The government hereby submits its final list of proposed exhibits. The

 government respectfully reserves its right, within reasonable notice depending on the

 circumstances, to add additional exhibits as trial demands dictate.

               Respectfully submitted this 2nd day of February, 2024.

                                                 COLE FINEGAN
                                                 United States Attorney

  By: /s/ Bryan Fields                         By: /s/ Sarah H. Weiss
  Bryan Fields                                 Sarah H. Weiss
  Assistant United States Attorney             Assistant United States Attorney
  U.S. Attorney’s Office                       U.S. Attorney’s Office
  1801 California St. Suite 1600               1801 California St. Suite 1600
  Denver, CO 80202                             Denver, CO 80202
  (303) 454-0100                               (303) 454-0100
  Bryan.Fields3@usdoj.gov                      Sarah.Weiss@usdoj.gov
  Attorney for the Government                  Attorney for the Government




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                                                       02/02/24 USDC
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                                                                       2 of 2             pg
                                  614 of 1354




                             CERTIFICATE OF SERVICE


        I hereby certify that on this 2nd day of February, 2024, I electronically filed

 the foregoing with the Clerk of the Court using the CM/ECF system which will send

 notification to all counsel of record.




                                                By:    /s Sarah H. Weiss
                                                       Sarah H. Weiss
                                                       Assistant United States
                                                       Attorney
                                                       U.S. Attorney’s Office
                                                       1801 California St. Suite 1600
                                                       Denver, CO 80202
                                                       (303) 454-0100
                                                       sarah.weiss@usdoj.gov
                                                       Attorney for the Government




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                                                                                    02/02/24 USDC
                                                                                               PageColorado
                                                                                                    1 of 62                                    pg
                                                               615 of 1354



CASE CAPTION: United States v. Tew, et al.

CASE NO.: 20-cr-305-DDD

EXHIBIT LIST OF: United States of America, Plaintiff
                         (Name and Party Designation)



 Exhibit           Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                                      Only
                                                       Brief Description


    1                                          INTENTIONALLY LEFT BLANK


                                     Signature Bank Statement re Account x5529 National Air
    2
                                     Cargo Holdings, statement period 08.01.2018-08.31.2018

                                     Signature Bank Statement re Account x5529 National Air
    3
                                     Cargo Holdings, statement period 10.01.2018-10.31.2018


    4                                          INTENTIONALLY LEFT BLANK


                                     Signature Bank Statement re Account x5529 National Air
    5
                                     Cargo Holdings, statement period 11.01.2018-11.30.2018


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                                     Signature Bank Statement re Account x5529 National Air
    7
                                     Cargo Holdings, statement period 12.01.2018-12.31.2018

                                      Signature Bank ACH Transaction re $15,250 to [PM],
    8
                                                       dated 02.07.2019

                                      Signature Bank ACH Transaction re $15,250 to [PM],
    9
                                                       dated 02.19.2019

                                      Signature Bank ACH Transaction re $38,000 to [PM],
    10
                                                       dated 03.28.2019




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                    Case No.
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                                                            408-1 filed
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                                                                           02/02/24 USDC
                                                                                      PageColorado
                                                                                           2 of 62                                  pg
                                                      616 of 1354


Exhibit   Witness                                                                      Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                           Only
                                              Brief Description

                             Signature Bank ACH Transaction re $11,250 to [PM],
   11
                                              dated 04.03.2019

                             Signature Bank ACH Transaction re $45,000 to Global
   12
                                       Fuel Logistics, dated 07.23.2019

                              Signature Bank ACH Transaction re $31,500 to SHI
   13
                                           LLC, dated 08.06.2019

                             Signature Bank ACH Transaction re $9,500 to Global
   14
                                       Fuel Logistics, dated 08.19.2019

                              Signature Bank ACH Transaction re $28,000 to SHI
   15
                                           LLC, dated 08.21.2019

                             Signature Bank ACH Transaction re $45,000 to Global
   16
                                       Fuel Logistics, dated 09.03.2019

                              Signature Bank ACH Transaction re $18,000 to SHI
   17
                                           LLC, dated 09.09.2019

                              Signature Bank ACH Transaction re $33,500 to SHI
   18
                                           LLC, dated 09.17.2019

                              Signature Bank ACH Transaction re $52,750 to SHI
   19
                                           LLC, dated 09.25.2019

                             Signature Bank ACH Transaction re $75,000 to Global
   20
                                       Fuel Logistics, dated 10.16.2019

                             Signature Bank ACH Transaction re $43,000 to Global
   21
                                       Fuel Logistics, dated 10.24.2019

                              Signature Bank ACH Transaction re $49,750 to SHI
   22
                                           LLC, dated 10.31.2019

                              Signature Bank ACH Transaction re $40,500 to SHI
   23
                                           LLC, dated 11.07.2019

                             Signature Bank ACH Transaction re $43,250 to Global
   24
                                       Fuel Logistics, dated 11.25.2019




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                    Case No.
                         Case1:20-cr-00305-DDD
                               1:20-cr-00305-DDD Document
                                                  Document645-2
                                                            408-1 filed
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                                                                           02/02/24 USDC
                                                                                      PageColorado
                                                                                           3 of 62                                   pg
                                                      617 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                            Only
                                              Brief Description

                              Signature Bank ACH Transaction re $9,550 to Global
   25
                                       Fuel Logistics, dated 12.02.2019

                             Signature Bank ACH Transaction re $24,500 to Global
   26
                                       Fuel Logistics, dated 12.11.2019

                             Signature Bank ACH Transaction re $15,200 to Global
   27
                                       Fuel Logistics, dated 12.23.2019

                             Signature Bank ACH Transaction re $33,000 to Global
   28
                                       Fuel Logistics, dated 02.11.2020

                             Signature Bank ACH Transaction re $95,000 to Global
   29
                                       Fuel Logistics, dated 02.19.2020

                             Signature Bank ACH Transaction re $36,555 to Global
   30
                                       Fuel Logistics, dated 03.02.2020

                             Signature Bank ACH Transaction re $35,000 to Global
   31
                                       Fuel Logistics, dated 03.09.2020

                             Signature Bank ACH Transaction re $22,5000 to Global
   32
                                       Fuel Logistics, dated 03.19.2020

                             Signature Bank ACH Transaction re $73,460 to Global
   33
                                       Fuel Logistics, dated 03.31.2020

                             Signature Bank ACH Transaction re $36,925 to Global
   34
                                       Fuel Logistics, dated 04.06.2020

                             Signature Bank ACH Transaction re $68,255 to Global
   35
                                       Fuel Logistics, dated 04.15.2020

                             Signature Bank ACH Transaction re $46,850 to Global
   36
                                       Fuel Logistics, dated 04.27.2020

                             Signature Bank ACH Transaction re $85,325 to Global
   37
                                       Fuel Logistics, dated 05.05.2020

                             Signature Bank ACH Transaction re $82,422 to Global
   38
                                       Fuel Logistics, dated 05.12.2020




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                    Case No.
                         Case1:20-cr-00305-DDD
                               1:20-cr-00305-DDD Document
                                                  Document645-2
                                                            408-1 filed
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                                                                           02/02/24 USDC
                                                                                      PageColorado
                                                                                           4 of 62                                   pg
                                                      618 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
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                                              Brief Description

                             Signature Bank ACH Transaction re $78,565 to Global
   39
                                       Fuel Logistics, dated 05.20.2020

                             Signature Bank ACH Transaction re $95,000 to Global
   40
                                       Fuel Logistics, dated 07.02.2020


   41                                INTENTIONALLY LEFT BLANK


                            Navy Federal Credit Union Transaction Log Summary re
   42
                              Acct x8486 $15,000 Withdrawal, dated 06.04.2019

                            Navy Federal Credit Union Transaction Log Summary re
   43
                              Acct x8486 $15,000 Withdrawal, dated 06.11.2019

                               Wells Fargo Bank Withdrawal Slip re Acct x6934
   44
                                    $22,000 Withdrawal, dated 08.28.2019

                               Wells Fargo Bank Withdrawal Slip re Acct x2064
   45
                                    $25,000 Withdrawal, dated 08.29.2019

                             Navy Federal Credit Union Statement re Access x3844
   46
                             Michael Tew, statement period 08.17.2019-09.16.2019

                              Wells Fargo Bank Wire Transaction Report re Acct
   47
                                       x6934 $15,000, dated 09.18.2019

                               Wells Fargo Bank Withdrawal Slip re Acct x6934
   48
                                    $20,000 Withdrawal, dated 09.26.2019

                               Wells Fargo Bank Withdrawal Slip re Acct x6934
   49
                                    $20,000 Withdrawal, dated 09.27.2019

                               Wells Fargo Bank Withdrawal Slip re Acct x6934
   50
                                    $20,000 Withdrawal, dated 10.01.2019

                               Wells Fargo Bank Withdrawal Slip re Acct x6934
   51
                                    $12,000 Withdrawal, dated 10.02.2019

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
   52
                                           LLC, dated 11.30.2019




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                                                                                                                                                      618
                    Case No.
                         Case1:20-cr-00305-DDD
                               1:20-cr-00305-DDD Document
                                                  Document645-2
                                                            408-1 filed
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                                                                           02/02/24 USDC
                                                                                      PageColorado
                                                                                           5 of 62                                pg
                                                      619 of 1354


Exhibit   Witness                                                                    Stipulation   Offered   Admitted   Refused        Court Use
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                                             Brief Description

                              Wells Fargo Bank Withdrawal Slip re Acct x2064
   53
                                   $20,000 Withdrawal, dated 02.20.2020

                              Wells Fargo Bank Withdrawal Slip re Acct x2064
   54
                                   $15,000 Withdrawal, dated 02.21.2020

                              Wells Fargo Bank Withdrawal Slip re Acct x2064
   55
                                   $20,000 Withdrawal, dated 02.27.2020

                              Wells Fargo Bank Withdrawal Slip re Acct x2064
   56
                                   $20,000 Withdrawal, dated 03.03.2020


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  101
                               2016 Gross Income Summary for Michael Tew

  102
                               2017 Gross Income Summary for Michael Tew

  103
                               2018 Gross Income Summary for Michael Tew

  104
                               2019 Gross Income Summary for Michael Tew

  105
                              Internal Revenue Service 2019 Account Transcript

  106
                               2016 Gross Income Summary for Sand Hill LLC

  107
                               2017 Gross Income Summary for Sand Hill LLC

  108
                               2018 Gross Income Summary for Sand Hill LLC

  109
                               2019 Gross Income Summary for Sand Hill LLC

  110
                              Internal Revenue Service 2016 Account Transcript




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                                                                                                                                                   619
                    Case No.
                         Case1:20-cr-00305-DDD
                               1:20-cr-00305-DDD Document
                                                  Document645-2
                                                            408-1 filed
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                                                                        01/24/25
                                                                           02/02/24 USDC
                                                                                      PageColorado
                                                                                           6 of 62                                   pg
                                                      620 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
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  111
                               Internal Revenue Service 2017 Account Transcript

  112
                               Internal Revenue Service 2018 Account Transcript

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  201
                             Guaranty Bank and Trust Statement re Account x7867
  202                                 Michael Tew, statement 08.31.2018

                               Regions Bank Statement re Account x4514 [MM],
  203                              statement period 10.12.2018-11.08.2018


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  204
                               Regions Bank Statement re Account x4514 [MM],
  205                              statement period 11.09.2018-12.10.2018


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  206
                             ANB Bank Statement re Account x3099 [MM], dated
  207                                            12.18.2018

                             Navy Federal Credit Union Statement re Access x3843
  208                       Kimberley Tew, statement period 01.17.2019-02.16.2019

                             Navy Federal Credit Union Statement re Access x3843
  209                       Kimberley Tew, statement period 02.17.2019-03.16.2019

                             Navy Federal Credit Union Statement re Access x3843
  210                       Kimberley Tew, statement period 03.17.2019-04.16.2019


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                    Case No.
                         Case1:20-cr-00305-DDD
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                                                            408-1 filed
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                                                                        01/24/25
                                                                           02/02/24 USDC
                                                                                      PageColorado
                                                                                           7 of 62                                   pg
                                                      621 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                            Only
                                              Brief Description

                             Navy Federal Credit Union Statement re Access x3844
  212                        Michael Tew, statement period 07.17.2019-08.16.2019

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  213                                      LLC, dated 08.31.2019


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  216
                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  217                                      LLC, dated 09.30.2019


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  219
                             Wells Fargo Bank Statement re Account x2064 Global
  220                                  Fuel Logistics, dated 10.31.2019


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  223
                             Wells Fargo Bank Statement re Account x2064 Global
  224                                  Fuel Logistics, dated 11.30.2019

                             Navy Federal Credit Union Statement re Access x3844
  225                        Michael Tew, statement period 11.17.2019-12.16.2019


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                    Case No.
                         Case1:20-cr-00305-DDD
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                                                            408-1 filed
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                                                                           02/02/24 USDC
                                                                                      PageColorado
                                                                                           8 of 62                                     pg
                                                      622 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
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                                               Brief Description

                             Navy Federal Credit Union Statement re Access x3844
  227                        Michael Tew, statement period 12.17.2019-01.16.2020

                             Navy Federal Credit Union Statement re Access x3844
  228                        Michael Tew, statement period 01.17.2020-02.16.2020

                             Wells Fargo Bank Statement re Account x2064 Global
  229                                  Fuel Logistics, dated 02.29.2020

                             Wells Fargo Bank Statement re Account x2064 Global
  230                                  Fuel Logistics, dated 03.31.2020

                             Navy Federal Credit Union Statement re Access x3844
  231                        Michael Tew, statement period 02.17.2020-03.16.2020

                             Navy Federal Credit Union Statement re Access x3844
  232                        Michael Tew, statement period 03.17.2020-04.16.2020


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                             Navy Federal Credit Union Statement re Access x3844
  236                        Michael Tew, statement period 04.17.2020-05.16.2020


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  238
                             Navy Federal Credit Union Statement re Access x3844
  239                        Michael Tew, statement period 05.17.2020-06.16.2020

                            Navy Federal Credit Union Transaction Details re Access
                            x1390, Account x3094 Global Fuel Logistics, transaction
  240                                    period 07.20.2020-07.08.2020




                                                                                      8


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                    Case No.
                         Case1:20-cr-00305-DDD
                               1:20-cr-00305-DDD Document
                                                  Document645-2
                                                            408-1 filed
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                                                                           02/02/24 USDC
                                                                                      PageColorado
                                                                                           9 of 62                                   pg
                                                      623 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
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  241
                             Navy Federal Credit Union Statement re Access x3843
  242                       Kimberley Tew, statement period 05.17.2019-06.16.2019


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  244
                             Wells Fargo Bank Statement re Account x2064 Global
  245                                  Fuel Logistics, dated 08.31.2019

                             Navy Federal Credit Union Statement re Access x3843
  246                       Kimberley Tew, statement period 08.17.2019-09.16.2019


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  249
                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  250                                      LLC, dated 10.31.2019

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                              ANB Bank Signature Card re Account x3099 [MM]
  301
                              Guaranty Bank and Trust Signature Card re Account
  302                                        x7867 Michael Tew

                             Navy Federal Credit Union Application re Kimberley
  303                                       Tew and Michael Tew

                             Navy Federal Credit Union Application re Global Fuel
  304                                    Logistics, dated 06.08.2020



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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
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                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        10 of 62                                      pg
                                                     624 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
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                                              Brief Description


                            Regions Bank Signature Cards re Account x0514 [MM]
  305
                            Wells Fargo Bank Signature Card re Account x6934 Sand
  306                                          Hill LLC, LLC

                              Wells Fargo Bank Signature Card re Account x2064
  307                                       Global Fuel Logistics

                             Signature Bank Signature Card re Accounts x5545 and
  308                                x6150 National Air Cargo Group, Inc

                               Signature Bank Signature Card re Accounts x5529,
  309                       x6363, x6355, and x6134 National Air Cargo Group, Inc

                             Guaranty Bank and Trust Statement re Account x7867
  310                                   Michael Tew, dated 08.31.2018

                            BBVA Compass Signature Card re Account x0987 [5530
  311                                             JD] LLC

                            Access National Bank Statement re Account x5965 [PM]
  312                            Inc., statement period 12.01.2018-12.31.2018


                                   Simple Signature Card for Kimberley Tew
  313
                             Navy Federal Credit Union Statement re Access x3843
  314                       Kimberley Tew, statement period 07.17.2019-08.16.2019

                             Navy Federal Credit Union Statement re Access x3843
  315                       Kimberley Tew, statement period 09.17.2019-10.16.2019

                             Navy Federal Credit Union Statement re Access x3843
  316                       Kimberley Tew, statement period 10.17.2019-11.16.2019

                             Navy Federal Credit Union Statement re Access x3843
  317                       Kimberley Tew, statement period 11.17.2019-12.16.2019

                             Navy Federal Credit Union Statement re Access x3843
  318                       Kimberley Tew, statement period 12.17.2019-01.16.2020




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
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                                                          408-1 filed
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                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        11 of 62                                      pg
                                                     625 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                             Only
                                              Brief Description

                             Navy Federal Credit Union Statement re Access x3843
  319                       Kimberley Tew, statement period 01.17.2020-02.16.2020

                             Navy Federal Credit Union Statement re Access x3843
  320                       Kimberley Tew, statement period 02.17.2020-03.16.2020

                             Navy Federal Credit Union Statement re Access x3843
  321                       Kimberley Tew, statement period 03.17.2020-04.16.2020

                             Navy Federal Credit Union Statement re Access x3843
  322                       Kimberley Tew, statement period 04.17.2020-05.16.2020

                             Navy Federal Credit Union Statement re Access x3843
  323                       Kimberley Tew, statement period 05.17.2020-06.16.2020

                             Navy Federal Credit Union Statement re Access x3844
  324                        Michael Tew, statement period 01.08.2019-01.16.2019

                             Navy Federal Credit Union Statement re Access x3844
  325                        Michael Tew, statement period 01.17.2019-02.16.2019

                             Navy Federal Credit Union Statement re Access x3844
  326                        Michael Tew, statement period 02.17.2019-03.16.2019

                             Navy Federal Credit Union Statement re Access x3844
  327                        Michael Tew, statement period 03.17.2019-04.16.2019

                             Navy Federal Credit Union Statement re Access x3844
  328                        Michael Tew, statement period 04.17.2019-05.16.2019

                             Navy Federal Credit Union Statement re Access x3844
  329                        Michael Tew, statement period 05.17.2019-06.16.2019

                             Navy Federal Credit Union Statement re Access x3844
  330                        Michael Tew, statement period 06.17.2019-07.16.2019

                             Navy Federal Credit Union Statement re Access x3844
  331                        Michael Tew, statement period 09.17.2019-10.16.2019

                             Navy Federal Credit Union Statement re Access x3844
  332                        Michael Tew, statement period 10.17.2019-11.16.2019




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                                                          408-1 filed
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                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        12 of 62                                      pg
                                                     626 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
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                                              Brief Description

                             Navy Federal Credit Union Statement re Access x3844
  333                        Michael Tew, statement period 11.17.2019-12.16.2019

                             Wells Fargo Bank Statement re Account x2064 Global
  334                                  Fuel Logistics, dated 09.30.2019

                              American Express Corporate Card Authorization re
                               Account x91009 National Air Cargo, Cardmember
  335                                           Michael Tew

                             Wells Fargo Bank Statement re Account x2064 Global
  336                                  Fuel Logistics, dated 12.31.2019

                             Wells Fargo Bank Statement re Account x2064 Global
  337                                  Fuel Logistics, dated 01.31.2020

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  338                                      closing date 06.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  339                                      closing date 07.16.2018

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  340                                      LLC, dated 12.31.2019

                              BBVA Compass Statement re Account x0987 5530
                                Jassamine Development LLC, statement period
  341                                      11.01.2018-11.30.2018

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  342                                      LLC, dated 05.31.2019

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  343                                      LLC, dated 01.31.2020

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  344                                      LLC, dated 02.29.2020




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                    Case Case
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                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
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                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        13 of 62                                        pg
                                                     627 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                              Brief Description

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  345                                       LLC, dated 03.31.2020

                             Navy Federal Credit Union Statement re Access x1390
                            Global Fuel Logistics Inc, statement period 06.08.2020-
  346                                            06.30.2020

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  347                                      closing date 08.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  348                                      closing date 09.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  349                                      closing date 10.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  350                                      closing date 11.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  351                                      closing date 12.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  352                                      closing date 01.16.2019

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  353                                      closing date 02.16.2019

                            Access National Bank Signature Card re Account x5965
  354                                               [PM]

                             Signature Bank ACH Transaction re $25,000 to Global
  355                                  Fuel Logistics, dated 10.23.2019




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                                                                                                                                                         627
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        14 of 62                                      pg
                                                     628 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                             Only
                                              Brief Description

                             Signature Bank ACH Transaction re $21,250 to [PM]
  356                                       Inc., dated 12.10.2018

                             Signature Bank ACH Transaction re $15,000 to [5530
  357                                    JD] LLC, dated 08.22.2018

                             Signature Bank ACH Transaction re $15,000 to [5530
  358                                    JD] LLC, dated 08.23.2018

                             Signature Bank ACH Transaction re $15,000 to [5530
  359                                    JD] LLC, dated 09.10.2018

                             Signature Bank ACH Transaction re $15,000 to [5530
  360                                    JD] LLC, dated 09.18.2018

                             Signature Bank ACH Transaction re $15,000 to [5530
  361                                    JD] LLC, dated 09.28.2018

                             Signature Bank ACH Transaction re $30,000 to [MM],
  362                                         dated 12.03.2018

                            Access National Bank Statement re Account x5965 [PM]
  363                            Inc., statement period 03.01.2019-03.31.2019

                             ANB Bank Statement re Account x3099 [MM], dated
  364                                            01.04.2019

                             Signature Bank ACH Transaction re $21,000 to [PM]
  365                                       Inc., dated 01.23.2019

                            Signature Bank ACH Transaction re $15,312.50 to [PM]
  366                                       Inc., dated 01.07.2019

                             Signature Bank ACH Transaction re $23,350 to [PM]
  367                                       Inc., dated 01.10.2019

                             Navy Federal Credit Union Statement re Access x3843
  368                       Kimberley Tew, statement period 01.07.2019-01.16.2019

                             Signature Bank ACH Transaction re $28,000 to [PM]
  369                                       Inc., dated 01.18.2019




                                                                                    14


                                                                                                                                                       628
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        15 of 62                                       pg
                                                     629 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                               Brief Description

                             Signature Bank ACH Transaction re $31,500 to [PM]
  370                                       Inc., dated 03.14.2019

                             Signature Bank ACH Transaction re $37,800 to [PM]
  371                                       Inc., dated 03.04.2019

                             Signature Bank ACH Transaction re $20,250 to [PM]
  372                                       Inc., dated 03.19.2019

                             Signature Bank ACH Transactions re: $37,500 to [PM]
                              Inc., dated 04.08.2019; $18,750 to [PM] Inc., dated
  373                       04.11.2019; and $18,750 to [PM] Inc., dated 04.15.2019

                             Signature Bank ACH Transaction re $18,750 to [PM]
  374                                       Inc., dated 04.17.2019

                             Signature Bank ACH Transactions re: $18,750 to [PM]
                              Inc., dated 04.22.2019; $18,750 to [PM] Inc., dated
                              04.24.2019; $38,640 to [PM], dated 04.29.2019; and
  375                                 $19,890 to [PM], dated 05.07.2019

                            Signature Bank ACH Transactions re: $49,750 to [PM],
                               dated 05.07.2019; and $40,000 to [PM] Inc., dated
  376                                             05.10.2019

                            Signature Bank ACH Transactions re: $19,900 to [PM],
                             dated 05.15.2019; $23,785 to [PM], dated 05.21.2019;
                              $9,950 to [PM], dated 05.23.2019; $11,150 to [PM],
                               dated 05.28.2019; and $10,100 to [PM] Inc., dated
  377                                             05.29.2019

                             Navy Federal Credit Union Statement re Access x3843
  378                       Kimberley Tew, statement period 04.17.2019-05.16.2019

                            Signature Bank ACH Transactions re: $53,500 to [PM],
                             dated 06.03.2019; $28,000 to [PM], dated 06.10.2019;
  379                                and $9,500 to [PM], dated 06.13.2019




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
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                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        16 of 62                                         pg
                                                     630 of 1354


Exhibit   Witness                                                                           Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                                Only
                                               Brief Description

                             Signature Bank ACH Transactions re: $50,000 to [PM]
                                 Inc., dated 06.20.2019; $15,000 to [PM], dated
                               06.25.2019; and $30,000 to Sand Hill LLC, dated
  380                                             06.26.2019

                             Navy Federal Credit Union Statement re Access x3843
  381                       Kimberley Tew, statement period 06.17.2019-07.16.2019

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  382                                       LLC, dated 06.30.2019

                            Signature Bank ACH Transactions re: $45,000 to Global
                             Fuel Logistics, dated 07.30.2019; $47,000 to SHI LLC,
                               dated 08.01.2019; and $30,000 to SHI LLC, dated
  383                                             08.05.2019

                             Signature Bank ACH Transactions re: $9,200 to Sand
                            Hill LLC, dated 06.28.2019; $13,000 to SHI LLC, dated
                            07.09.2019; $27,475 to SHI LLC, dated 07.11.2019; and
  384                               $10,000 to SHI LLC, dated 07.19.2019

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  385                                       LLC, dated 07.31.2019

                             Signature Bank ACH Transaction re $12,900 to Global
  386                                   Fuel Logistics, dated 01.07.2020

                            Signature Bank ACH Transactions re: $15,500 to Global
                            Fuel Logistics, dated 01.10.2020; $19,500 to Global Fuel
                               Logistics, dated 01.17.2020; $9,800 to Global Fuel
                              Logisitics, dated 01.22.2020; $13,500 to Global Fuel
                              Logistics, dated 01.23.2020; $36,500 to Global Fuel
                             Logistics, dated 01.27.2020; and $7,200 to Global Fuel
  387                                     Logistics, dated 01.30.2020

                             Signature Bank ACH Transaction re $13,000 to Global
  388                                   Fuel Logistics, dated 08.09.2019

                             Signature Bank ACH Transaction re $24,700 to Global
  389                                   Fuel Logistics, dated 03.05.2020




                                                                                       16


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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        17 of 62                                         pg
                                                     631 of 1354


Exhibit   Witness                                                                           Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                                Only
                                               Brief Description

                            Signature Bank ACH Transactions re: $97,545 to Global
                            Fuel Logistics, dated 06.22.2020; $71,550 to Global Fuel
                            Logistics, dated 06.24.2020; and $105,000 to Global Fuel
  390                                     Logisitics, dated 06.29.2020

                             Signature Bank ACH Transaction re $83,526 to Global
  391                                   Fuel Logistics, dated 06.02.2020

                            Signature Bank ACH Transactions re: $45,220 to Global
                            Fuel Logistics, dated 06.04.2020; $93,135 to Global Fuel
                            Logistics, dated 06.09.2020; and $93,635 to Global Fuel
  392                                     Logisitics, dated 06.17.2020

                             Navy Federal Credit Union Statement re Access x1390
                            Global Fuel Logistics Inc, statement period 06.08.2010-
  393                                             06.30.2020

                            Navy Federal Credit Union Check re Acct x3494 $500.00
  394                                  to Sand Hill LLC, dated 10.15.19

                              Navy Federal Credit Union Surveillance Photo, dated
  395                                             04.14.2020

                              Navy Federal Credit Union Surveillance Photo, dated
  396                                             04.03.2020

                              Navy Federal Credit Union Surveillance Photo, dated
  397                                             02.04.2020

                              Navy Federal Credit Union Surveillance Photo, dated
  398                                             01.13.2020

                              Navy Federal Credit Union Surveillance Photo, dated
  399                                    06.11.2020 08:14:04.950 PM

                              Navy Federal Credit Union Surveillance Photo, dated
  400                                    06.11.2020 07:53:41.888 PM

                              Navy Federal Credit Union Surveillance Photo, dated
  401                                             06.26.2020




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        18 of 62                                     pg
                                                     632 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                            Only
                                              Brief Description

                             Navy Federal Credit Union Surveillance Photo, dated
  402                                            06.08.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  403                                   03.20.2020 02:19:42.572 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  404                                   03.20.2020 09:23:58.357 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  405                                            03.06.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  406                                            05.12.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  407                                            05.04.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  408                                   04.01.2020 04:02:07.321 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  409                                   04.01.2020 04:05:40.320 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  410                                            02.12.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  411                                            02.25.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  412                                            01.23.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  413                                            01.29.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  414                                            06.11.2019

                             Navy Federal Credit Union Surveillance Photo, dated
  415                                   06.11.2020 07:59:59.914 PM




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                    Case Case
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                                                 Document645-2
                                                          408-1 filed
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                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        19 of 62                                     pg
                                                     633 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
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                                              Brief Description

                             Navy Federal Credit Union Surveillance Photo, dated
  416                                   06.11.2020 07:53:41.888 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  417                                            06.30.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  418                                            06.25.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  419                                   06.09.2020 05:16:56.734 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  420                                   06.09.2020 05:17:57.737 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  421                                            03.11.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  422                                   03.18.2020 11:58:06.124 AM

                             Navy Federal Credit Union Surveillance Photo, dated
  423                                   03.18.2020 05:08:46.082 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  424                                   05.12.2020 12:12:35.352 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  425                                   05.12.2020 06:36:34.932 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  426                                            03.27.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  427                                            06.11.2019

                             Signature Bank ACH Transaction re: $13,000 to Sand
  428                                    Hill LLC, dated 08.09.2019

                             Signature Bank ACH Transaction re: $35,000 to Sand
  429                                    Hill LLC, dated 08.14.2019




                                                                                   19


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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        20 of 62                                       pg
                                                     634 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                               Brief Description

                             Signature Bank ACH Transaction re: $15,000 to Global
  430                                  Fuel Logistics, dated 08.15.2019

                             Signature Bank ACH Transaction re: $27,000 to Sand
  431                                     Hill LLC, dated 08.22.2019

                             Signature Bank ACH Transaction re: $45,000 to Sand
  432                                     Hill LLC, dated 08.26.2019

                             Signature Bank Wire Transaction re: $45,000 to Global
  433                                  Fuel Logistics, dated 08.29.2019

                             Signature Bank ACH Transaction re: $13,000 to Global
  434                                  Fuel Logistics, dated 02.03.2020

                             Signature Bank ACH Transaction re: $23,200 to Global
  435                                  Fuel Logistics, dated 02.06.2020

                             Signature Bank ACH Transaction re: $32,500 to Global
  436                                  Fuel Logistics, dated 02.13.2020

                             Signature Bank ACH Transaction re: $55,000 to Global
  437                                  Fuel Logistics, dated 02.18.2020

                             Signature Bank ACH Transaction re: $40,000 to Global
  438                                  Fuel Logistics, dated 02.26.2020

                             Signature Bank ACH Transaction re: $74,955 to Global
  439                                  Fuel Logistics, dated 03.11.2020

                             Signature Bank ACH Transaction re: $17,200 to Global
  440                                  Fuel Logistics, dated 03.17.2020

                             Signature Bank ACH Transaction re: $32,245 to Global
  441                                  Fuel Logistics, dated 03.24.2020

                             Signature Bank ACH Transaction re: $32,300 to Global
  442                                  Fuel Logistics, dated 03.26.2020

                             Signature Bank ACH Transaction re: $41,225 to Global
  443                                  Fuel Logistics, dated 04.02.2020




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        21 of 62                                       pg
                                                     635 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description

                             Signature Bank ACH Transaction re: $37,353 to Global
  444                                  Fuel Logistics, dated 04.08.2020

                             Signature Bank ACH Transaction re: $31,355 to Global
  445                                  Fuel Logistics, dated 04.13.2020

                             Signature Bank ACH Transaction re: $56,530 to Global
  446                                  Fuel Logistics, dated 04.21.2020

                             Signature Bank ACH Transaction re: $36,240 to Global
  447                                  Fuel Logistics, dated 04.29.2020

                             Signature Bank ACH Transaction re: $77,460 to Global
  448                                  Fuel Logistics, dated 05.18.2020

                             Signature Bank ACH Transaction re: $85,500 to Global
  449                                  Fuel Logistics, dated 05.27.2020

                            Signature Bank ACH Transaction re $20,250.00 to [PM]
  450                                       Inc., dated 03.18.2019

                             Signature Bank ACH Transaction re $60,000 to Global
  451                                  Fuel Logistics, dated 09.10.2019

                            Signature Bank ACH Transaction re $51,500 to Sand Hill
  452                                       LLC, dated 09.12.2019

                             Signature Bank ACH Transaction re $11,950 to Global
  453                                  Fuel Logistics, dated 09.16.2019

                            Signature Bank ACH Transaction re $41,500 to Sand Hill
  454                                       LLC, dated 09.19.2019

                            Signature Bank ACH Transaction re $60,000 to Sand Hill
  455                                       LLC, dated 09.26.2019

                            Signature Bank ACH Transaction re $75,000 to Sand Hill
  456                                       LLC, dated 09.30.2019

                            Signature Bank ACH Transaction re $35,000 to Sand Hill
  457                                       LLC, dated 10.10.2019




                                                                                     21


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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        22 of 62                                          pg
                                                     636 of 1354


Exhibit   Witness                                                                            Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                                 Only
                                               Brief Description

                             Signature Bank ACH Transaction re $23,750 to Global
  458                                   Fuel Logistics, dated 10.30.2019

                            Signature Bank ACH Transaction re $25,000 to Sand Hill
  459                                        LLC, dated 11.18.2019

                             Signature Bank ACH Transaction re $17,900 to Global
  460                                   Fuel Logistics, dated 11.21.2019

                             Signature Bank ACH Transaction re $42,000 to Global
  461                                   Fuel Logistics, dated 11.27.2019

                             Signature Bank ACH Transaction re $26,500 to Global
  462                                   Fuel Logistics, dated 12.05.2019

                             Signature Bank ACH Transaction re $51,150 to Global
  463                                   Fuel Logistics, dated 12.09.2019

                              Signature Bank ACH Transaction re $7,800 to Global
  464                                   Fuel Logistics, dated 12.16.2019

                             Signature Bank ACH Transaction re $33,300 to Global
  465                                   Fuel Logistics, dated 12.17.2019

                             Signature Bank ACH Transaction re $14,350 to Global
  466                                   Fuel Logistics, dated 12.19.2019

                             Signature Bank ACH Transaction re $55,500 to Global
  467                                   Fuel Logistics, dated 12.26.2019

                             Signature Bank ACH Transaction re $77,500 to Global
  468                                   Fuel Logistics, dated 12.30.2019

                               Wells Fargo Bank Wire Transaction Report re Acct
  469                                 x6934 $20,611.01, dated 11.01.2019

                              Navy Federal Credit Union Surveillance Photo, dated
  470                                              06.23.2020



  471                       Spreadsheet of Digital Mint Transaction Details, Part One




                                                                                        22


                                                                                                                                                           636
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        23 of 62                                       pg
                                                     637 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description

                             Spreadsheet of Digital Mint Transaction Details, Part
  472                                                Two



  473                          American Express Application re Michael Tew



  474                         American Express Application re Kimberley Tew

                             Digital Mint Surveillance Photo 03.07.2020 00:33:01
  475                                                UTC

                             Digital Mint Surveillance Photo 03.07.2020 00:29:36
  476                                                UTC

                             Digital Mint Surveillance Photo 04.30.2020 21:51:39
  477                                                UTC

                             Digital Mint Surveillance Photo 04.30.2020 21:53:34
  478                                                UTC

                             Digital Mint Surveillance Photo 04.30.2020 21:55:38
  479                                                UTC

                             Digital Mint Surveillance Photo 04.30.2020 21:58:08
  480                                                UTC

                             Digital Mint Surveillance Photo 04.30.2020 21:59:40
  481                                                UTC

                             Digital Mint Surveillance Photo 04.30.2020 23:43:54
  482                                                UTC

                             Digital Mint Surveillance Photo 04.30.2020 23:46:20
  483                                                UTC

                             Digital Mint Surveillance Photo 06.23.2020 23:27:57
  484                                                UTC

                             Digital Mint Surveillance Photo 06.23.2020 23:30:15
  485                                                UTC




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        24 of 62                                     pg
                                                     638 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                            Only
                                              Brief Description

                             Digital Mint Surveillance Photo 06.23.2020 23:32:14
  486                                               UTC

                             Digital Mint Surveillance Photo 06.23.2020 23:33:59
  487                                               UTC

                             Digital Mint Surveillance Photo 06.23.2020 23:37:58
  488                                               UTC

                             Digital Mint Surveillance Photo 06.23.2020 23:40:00
  489                                               UTC

                             Digital Mint Surveillance Photo 06.23.2020 23:42:54
  490                                               UTC

                             Digital Mint Surveillance Photo 06.23.2020 23:44:58
  491                                               UTC

                             Signature Bank ACH Transaction re $68,400 to Global
  492                                  Fuel Logistics, dated 05.11.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  493                                            04.30.2020

                                Flagstar Bank FIS Technology Centers Service
  494                          Organizations Report re 01.01.2020 to 09.30.2020


                                    ACH Spreadsheet from Regions Bank
  495

 496 -                                  INTENTIONALLY BLANK
  499
                             Kraken Account Opening and Verification Documents
  500                                        for Kimberley Tew

                             Kraken Account Opening and Verification Documents
  501                                          for Michael Tew


                               Coinbase profile image records for Michael Tew
  502




                                                                                   24


                                                                                                                                                      638
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        25 of 62                                      pg
                                                     639 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                             Only
                                              Brief Description


                               Coinbase profile image records for Kimberley Tew
  503

                                Google Pay Customer Profile re kley@me.com
  504
                             McDonald Audi Purchase Documents re 2016 Audi A4
  505                                    VIN x2447, dated 10.03.2019

                             McDonald Audi Wire Transfer Records re $20,611.01
  506                             Incoming Money Transfer, dated 11.01.2019

                            Wynn Las Vegas Jackpot Report between 07.04.2019 and
  507                                            11.29.2019


                            Wynn Las Vegas 2019 Loss Summary, as of 07.16.2020
  508
                             Wynn Las Vegas Reservation Confirmation #23362412
                               for Kimberley Tew, 10.30.2019 arrival & 11.02.19
  509                                             departure

                            Wynn Las Vegas Reservation/Stay History for Kimberley
  510                                                Tew

                            Wynn Las Vegas Reservation/Stay History re: Kimberley
  511                         Ann Tew, arrival 09.01.2019 & departure 09.05.2019

                            GoDaddy Domain Information re Domain Name "Global
  512                                             Fuel.Co"

                                GoDaddy Domain Information re Domain Name
  513                                         "Sandhillrp.com"

                             AT&T Subscriber Information re phone number x1312,
  514                                           Michael Tew

                             AT&T Subscriber Information re phone number x7473,
  515                                           Michael Tew

                             AT&T Subscriber Information re phone number x2046,
  516                                        Kimberley Vertanen




                                                                                    25


                                                                                                                                                       639
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        26 of 62                                        pg
                                                     640 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description

                            AT&T Text Message History re phone numbers x2046 &
  517                                               x1312


                                    AT&T Records re phone number x1312
  518
                             Spreadsheet of Verizon Call Records re phone number
  519                                               x1709

                               Google Subscriber Information re [5530 JD] Email
  520                                  Recovery (chrisrncn@gmail.com)

                             Google Subscriber Information re [PM] email recovery
  521                                  (political.media.wdc@gmail.com)


                             Google Voice Record re Google Voice Number x0152
  522
                             Google Subscriber Information re vtleycap@gmail.com
  523                                   (recovery email kley@me.com)

                                       Google subscriber information re
  524                               meyersconsultinggroupinc@gmail.com


                                  IRS Form W-9 re [MM], dated 10.11.2018
  525
                            Colorado Secretary of State Statement of Foreign Entity
  526                            Authority re: Sand Hill LLC, filed 11.12.2018


                            Plea agreement as to Jonathan Yioulos, dated 11.18.2021
  527

                                 Audio of 7/15/2020 Proffer with Michael Tew
  528

                                 Audio of 7/28/2020 Proffer with Michael Tew
  529

                               Audio of 10/23/2020 Proffer with Kimberley Tew
  530

                             07.07.2020 Photograph of Yioulos Phone Contact ‘JB’
  531


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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
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                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        27 of 62                                           pg
                                                     641 of 1354


Exhibit   Witness                                                                             Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                                  Only
                                                Brief Description


                                     Email re "RE: AMEX" on 07.16.2018
  532

                               Email re "FW: Scanned Document" on 07.31.2018
  533

                               Email re "RE: Wire - Michael Tew" on 08.02.2018
  534

                                   Email re "FW: MT AGMT" on 09.14.2018
  535
                                  Email re "FW: National Air Cargo Holdings
  536                                   Correspondence" on 09.17.2018

                              Invoice #79487 re: [MCG] Inc for $10,000.00, dated
  537                                              10.30.2018


                              Email re "RE: Michael Tew - AMEX" on 01.17.2019
  538
                            Email re "Invoices for June 2020" on 06.30.2020 (Global
                             Fuel Logistics Invoice #10222 for $17,955.50; & Aero
  539                         Maintenance Resources Invoice #9611 for $79,292)

                              Invoice #79466 re: [MCG] Inc for $30,000.00, dated
  540                                              10.12.2018

                              Invoice #79488 re: [MCG] Inc for $30,000.00, dated
  541                                              11.30.2018

                              Invoice #79489 re: [MCG] Inc for $30,000.00, dated
  542                                              11.30.2018

                              Invoice #79490 re: [MCG] Inc for $25,000.00, dated
  543                                              12.11.2018

                            Colorado Secretary of State Statement of Foreign Entity
  544                       Authority re: Global Fuel Logistics Inc., filed 07.11.2019

                            IRS assignment of Employment Identification Number re
  545                               Global Fuel Logistics, dated 07.09.2019




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
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                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        28 of 62                                         pg
                                                     642 of 1354


Exhibit   Witness                                                                           Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                                Only
                                               Brief Description

                            Wyoming Secretary of State Articles of Incorporation re
  546                             Global Fuel Logistics Inc, filed 07.09.2019

                            IRS Form SS-4 Application for Employer Identification
  547                                      Number re Sand Hill LLC

                             State of New York Department of State Certification of
                            Articles of Organization and Other Filings for Sand Hill
  548                                       LLC, dated 11.09.2018


                              Google Pay Customer Profile re kleytew@gmail.com
  549
                            IRS Form 1099 re SandHill Research Partners, tax years
  550                                         2015 through 2018

                             Audio of 07.29.2020 meeting with Michael Tew at Yeti
  551                                                store


                                   Email re "RE: MT AGMT" on 09.14.2018
  552
                            Email headers re email received by chrisrncn@gmail.com
  553                                            on 08.22.2018

                                  Spreadsheet of Apple account information re
  554                                           kley@me.com

                             Photograph re Search Warrant Executed on 07.31.2020
  555                                                 #1

                             Photograph re Search Warrant Executed on 07.31.2020
  556                                                 #2

                             Photograph re Search Warrant Executed on 07.31.2020
  557                                                 #3

                             Photograph re Search Warrant Executed on 07.31.2020
  558                                                 #4

                             Photograph re Search Warrant Executed on 07.31.2020
  559                                                 #5




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
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                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        29 of 62                                        pg
                                                     643 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description

                             Photograph re Search Warrant Executed on 07.31.2020
  560                                                 #6

                             Photograph re Search Warrant Executed on 07.31.2020
  561                                                 #7


                                            Wells Fargo Bank Bag
  562
                              2TB Seagate HDD Model ST20000DM001-1CH164
  563                                     Serial Number W241LEZM


                                    Photograph re Cellebrite Processing #1
  564

                                    Photograph re Cellebrite Processing #2
  565

                                    Photograph re Cellebrite Processing #3
  566

                                    Photograph re Cellebrite Processing #4
  567

                                                  Wipe Log
  568

                                          Hash List for Apple Return
  569

                                   Kraken Ledger - AA70N84GI5WBRUCHI
  570
                                Consulting A, Effective Date 02.08.2016, signed
  571                                             02.08.2016

                            Consulting Agreement, Effective Date 02.08.2016, signed
  572                                             02.10.2016

                            Consulting Agreement, Effective Date 05.01.2016, signed
  573                                             06.22.2016

                            Consulting Agreement, Effective Date 08.01.2016, signed
  574                                             08.23.2016



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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
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                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        30 of 62                                        pg
                                                     644 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description

                            Consulting Agreement, Effective Date 11.01.2016, signed
  575                                             12.15.2016

                            Consulting Agreement, Effective Date 05.01.2017, signed
  576                                             05.01.2017

                            Text messages from H.S. to K.T. on 08.07.2018 12:43:34
  577                                  AM UTC and 02:47:20 PM UTC

                            Text messages from H.S. to K.T. on 08.07.2018 01:02:41
  578                                  AM UTC and 01:09:10 AM UTC


                                Text messages from H.S. to K.T. on 08.08.2018
  579

                                Text messages from H.S. to K.T. on 08.13.2018
  580

                                Text messages from H.S. to K.T. on 08.14.2018
  581

                                Text messages from H.S. to K.T. on 08.14.2018
  582

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  600
                             Email re "ACH Invoice" on 08.07.2018 ([HS] Invoice
  601                                    dated 08.07.2018 for $15,000)


                               Text messages between M.T. and J.Y. 08.07.2018
  602
                            Email re "re ACH Invoice" on 08.08.2018 ([HS] Invoice
  603                                    dated 08.08.2018 for $15,000)


                               Text messages between M.T. and J.Y. 08.08.2018
  604

                               Text messages between M.T. and J.Y. 08.09.2018
  605



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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
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                                                          408-1 filed
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                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        31 of 62                                         pg
                                                     645 of 1354


Exhibit   Witness                                                                           Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                                Only
                                               Brief Description


                               Text messages between M.T. and J.Y. 08.13.2018
  606
                             Email re "Invoices: Michael Tew ACH August 15" on
                             08.14.2018 (Sand Hill Invoice #49 for $10,000 & [HS]
  607                               Invoice dated 08.14.2018 for $20,000)


                              Text message between J.Y. and M.T on 08.10.2018
  608

                              Text message between J.Y. and M.T on 08.18.2018
  609

                              Text message between J.Y. and M.T on 08.21.2018
  610
                              Email re "Invoice (CORRECTED)" on 08.22.2018
  611                             ([5530 JD] Invoice #7321116 for $15,000)


                                 Email re "Wire Confirmation" on 08.22.2018
  612

                              Text messages between J.Y. and M.T on 08.22.2018
  613

                              Text messages between J.Y. and M.T on 08.23.2018
  614

                             Email re "re Invoice (CORRECTED)" on 08.23.2018
  615
                              Emails re "re Is there an invoice for this wire out of
  616                                      Holdings?" on 08.24.2018


                              Text messages between M.T. and JY. on 08.28.2018
  617

                                      Email re "Confirms" on 08.30.2018
  618

                              Text messages between J.Y. and K.T. on 08.30.2018
  619




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
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                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        32 of 62                                     pg
                                                     646 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                            Only
                                              Brief Description


                              Text messages between J.Y. and M.T. on 08.30.2018
  620

                              Text messages between M.T. and J.Y. on 08.31.2018
  621

                              Text messages between M.T. and J.Y. on 09.01.2018
  622

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  623

                              Emails re "RE: Is there an invoice?" on 09.07.2018
  624

                              Text messages between M.T. and J.Y. on 09.07.2018
  625
                               Email re "FW: ACH INVOICE" on 09.07.2018 at
  626                                             03:13pm

                               Email re "FW: ACH INVOICE" on 09.07.2018 at
  627                                             03:14pm


                                Text messages from J.Y. to K.T. on 09.10.2018
  628
                            Email (NO SUBJECT) on 09.10.2018 ([5530 JD] Invoice
  629                       #7321118 for $15,000 & Invoice #7321117 for $15,000)


                                Emails re "RE: Scaife Invoices" on 09.10.2018
  630

                                Emails re "RE:" (NO SUBJECT) on 09.10.2018
  631

                                    Email re "Cancel ACH" on 09.10.2018
  632

                              Text messages between M.T. and J.Y. on 09.12.2018
  633

                                Text messages from J.Y. to K.T. on 09.12.2018
  634



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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
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                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        33 of 62                                       pg
                                                     647 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description


                                Text messages from J.Y. to K.T. on 09.13.2018
  635

                             Text messages between M.T. and J.Y. on 09.13.2018
  636

                                Text messages from J.Y. to K.T. on 09.18.2018
  637
                             Email re "Invoice" on 09.18.2018 ([5530 JD] Invoice
  638                                      #7321119 for $15,000)


                                Text messages from J.Y. to K.T. on 09.18.2018
  639

                                Text messages from J.Y. to K.T. on 09.28.2018
  640

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  641
                            Email re "Consulting Invoice" on 09.28.2018 ([5530 JD]
  642                                   Invoice #7321120 for $15,000)

                                Email re "RE: Invoices needed - Holdings" on
  643                                            09.28.2018


                                        Email re "Jess" on 10.01.2018
  644

                                Text message from J.Y. to M.T. on 10.09.2018
  645

                                Text messages from J.Y. to K.T. on 10.25.2018
  646

                                    Email re "Fwd: Invoice" on 10.25.2018
  647

                              Text messages between J.Y. to M.T. on 10.25.2018
  648

                                    Email re "Oct Invoice" on 10.30.2018
  649



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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
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                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        34 of 62                                        pg
                                                     648 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description


                              Text messages between J.Y. to M.T. on 10.30.2018
  650

                                Text messages from J.Y. to K.T. on 10.30.2018
  651

                              Text messages between J.Y. to M.T. on 10.31.2018
  652
                              Email re "is there an invoice for this payment out of
  653                                      holdings?" on 10.31.2018

                               Email re "RE: Michael Tew: Sand Hill, LLC" on
  654                                        11.05.2018 at 2:13pm

                               Email re "RE: Michael Tew: Sand Hill, LLC" on
  655                                     11.05.2018, time unknown

                            Text mess+C405ages sent from Kley (M.T.) to M.M. on
  656                                             11.06.2018


                                    Email re "[MCG] LLC" on 11.06.2018
  657

                                     Email re "RE: Invoice" on 11.09.2018
  658

                              Text messages between J.Y. to M.T. on 11.09.2018
  659

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  660
                             Email re "RE: Entity: Sand Hill, LLC - New York" on
  661                                             11.12.2018


                             Text messages between J.Y. and M.T. on 11.13.2018
  662

                             Text messages between J.Y. and M.T. on 11.15.2018
  663

                             Text messages between J.Y. and M.T. on 11.16.2018
  664



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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
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                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        35 of 62                                        pg
                                                     649 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description


                             Text messages between J.Y. and M.T. on 11.19.2018
  665

                               Email re "RE: Invoice" on 11.19.2018 at 8:55pm
  666

                               Email re "RE: Invoice" on 11.19.2018 at 9:04pm
  667

                             Text messages between J.Y. and M.T. on 11.20.2018
  668
                               Text messages between Kley (M.T.) and M.M. on
  669                                             11.20.2018


                             Text messages between J.Y. and M.T. on 11.21.2018
  670

                             Text messages between J.Y. and M.T. on 11.23.2018
  671

                             Text messages between J.Y. and M.T. on 11.25.2018
  672

                             Text messages between J.Y. and M.T. on 11.26.2018
  673
                            Email re "RE: Invoice" on 11.26.2018 at 7:22pm ([5530
  674                                 JD] Invoice #7321122 for $30,000)


                               Email re "RE: Invoice" on 11.26.2018 at 4:22pm
  675

                             Text messages between J.Y. and M.T. on 11.27.2018
  676
                             Email re "RE: Cash Sheet - Holdings - what's this?" on
  677                                             11.28.2018


                                Text message from J.Y. to M.T. on 11.30.2018
  678

                                Text messages from J.Y. to K.T. on 12.01.2018
  679



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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        36 of 62                                       pg
                                                     650 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                               Brief Description

                              Email re "RE: Final Invoice" on 12.03.2018 ([MCG]
  680                                    Invoice #79489 for $30,000)


                              Text messages between J.Y. and M.T. on 12.04.2018
  681

                                Text messages from J.Y. to K.T. on 12.04.2018
  682
                              Email re "Missing Meyers invoices" on 12.04.2018
                             ([MCG] Invoice #79489 for $30,000 & Invoice #79488
  683                                            for $30,000)


                              Text messages between J.Y. and M.T. on 12.06.2018
  684

                                Text messages from J.Y. to K.T. on 12.06.2018
  685
                              Email re "Fwd: [PM], Inc. - Invoice for Services" on
  686                            12.07.2018 ([PM] Invoice #6516 for $21,250)


                              Text messages between J.Y. and M.T. on 12.07.2018
  687
                              Email re: "RE: [PM], Inc. - Invoice for Services" on
  688                                             12.07.2018


                              Text messages between J.Y. and M.T. on 12.06.2018
  689

                              Text messages between J.Y. and M.T. on 12.10.2018
  690

                            Email re "New Vendor - Paid on Friday" on 12.10.2018
  691
                              Email re "Re: Final Invoice" on 12.11.2018 ([MCG]
  692                                    Invoice #79490 for $25,000)


                              Text messages between J.Y. and M.T. on 12.11.2018
  693




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        37 of 62                                       pg
                                                     651 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description


                                     Email re "Meyers Inv" on 12.14.2018
  694

                             Text messages between J.Y. and M.T. on 12.18.2018
  695
                               Text messages between Kley (M.T.) and M.M. on
  696                                            12.18.2018


                             Text messages between J.Y. and M.T. on 12.19.2018
  697

                             Text messages between J.Y. and M.T. on 12.20.2018
  698
                              Email re "FW: INVOICES: MICHAEL TEW ACH
  699                                    AUGUST 15" on 12.20.2018

                              Email re "FW: [PM], Inc. - Invoice for Services" on
  700                            12.20.2018 ([PM] Invoice #6517 for $15,125)


                             Text messages between J.Y. and M.T. on 12.21.2018
  701

                             Text messages between J.Y. and M.T. on 01.07.2019
  702
                            Email re "Invoice from [PM], Inc." on 01.07.2019 ([PM]
  703                                   Invoice #6540 for $15,312.50)


                             Text messages between J.Y. and M.T. on 01.09.2019
  704

                             Text messages between J.Y. and M.T. on 01.10.2019
  705
                            Email re "Invoice from [PM], Inc." on 01.10.2019 ([PM]
  706                                    Invoice #6670 for $25,350)


                             Text messages between J.Y. and M.T. on 01.17.2019
  707

                                Text messages from J.Y. to K.T. on 01.17.2019
  708



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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        38 of 62                                       pg
                                                     652 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description


                             Email re "FW: Invoice from [PM], Inc." on 01.17.2019
  709

                              Text messages between J.Y. and M.T. on 01.18.2019
  710
                            Email re "Invoice from [PM], Inc." on 01.18.2019 ([PM]
  711                                   Invoice #6712 for $27,562.50)


                              Text messages between J.Y. and M.T. on 01.23.2019
  712
                            Email re "Invoice from [PM], Inc." on 01.23.2019 ([PM]
  713                       Invoice #6714 for $21,000 & Invoice #6712 for $28,000)


                             Email re "FW: Invoice from [PM], Inc." on 01.25.2019
  714

                                Text messages from J.Y. to K.T. on 02.07.2019
  715
                            Email re "Invoice from [PM], Inc." on 02.07.2019 ([PM]
  716                                     Invoice #6775 for $15,250)


                              Text messages between J.Y. and M.T. on 02.19.2019
  717

                                Text messages from J.Y. to K.T. on 02.19.2019
  718
                            Email re "Invoice from [PM], Inc." on 02.19.2019 ([PM]
  719                                     Invoice #6786 for $15,250)


                             Email re "FW: Invoice from [PM], Inc." on 02.21.2019
  720

                              Text messages between J.Y. and M.T. on 02.24.2019
  721

                              Text messages between J.Y. and M.T. on 03.01.2019
  722
                            Email re "Invoice from [PM], Inc." on 03.04.2019 ([PM]
  723                                     Invoice #6804 for $37,800)



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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
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                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        39 of 62                                       pg
                                                     653 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description

                                Text messages between Kley (M.T.) and K.T. on
  724                                            03.06.2019


                             Email re "FW: Invoice from [PM], Inc." on 03.07.2019
  725
                                Text messages between Kley (M.T.) and K.T. on
  726                                            03.14.2019

                            Email re "Invoice from [PM], Inc." on 03.14.2019 ([PM]
  727                                     Invoice #6881 for $31,500)


                             Email re "FW: Invoice from [PM], Inc." on 03.15.2019
  728
                                Text messages between Kley (M.T.) and K.T. on
  729                                            03.17.2019

                                Text messages between Kley (M.T.) and K.T. on
  730                                            03.18.2019


                              Text messages between J.Y. and M.T. on 03.18.2019
  731
                            Email re "Invoice from [PM], Inc." on 03.18.2019 ([PM]
  732                                     Invoice #6910 for $20,250)


                             Email re "FW: Invoice from [PM], Inc." on 03.19.2019
  733

                              Text messages between J.Y. and M.T. on 03.19.2019
  734
                                Text messages between Kley (M.T.) and K.T. on
  735                                            03.19.2019


                             Text messages between M.T. and K.T. on 03.28.2019
  736
                            Email re "Invoice from [PM], Inc." on 03.28.2019 ([PM]
  737                                     Invoice #6976 for $38,000)




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
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                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        40 of 62                                       pg
                                                     654 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
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  738
                                Text messages between Kley (M.T.) and K.T. on
  739                                             03.30.2019

                                Text messages between Kley (M.T.) and K.T. on
  740                                             04.03.2019


                              Text messages between J.Y. and M.T. on 04.03.2019
  741
                            Email re "Invoice from [PM], Inc." on 04.03.2019 ([PM]
  742                                     Invoice #6910 for $30,150)

                             Email re "FW: Invoice from [PM], Inc." on 04.04.2019
  743                                  ([PM] Invoice #7004 for 11,250)


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  744

                              Text messages between J.Y. and M.T. on 04.07.2019
  745
                                Text messages between Kley (M.T.) and K.T. on
  746                                             04.07.2019


                              Text messages between J.Y. and M.T. on 04.08.2019
  747
                            Email re "Invoice from [PM], Inc." on 04.08.2019 ([PM]
  748                                     Invoice #7101 for $37,500)


                              Email re "re Invoice from [PM], Inc." on 04.09.2019
  749

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                             Text messages between M.T. and K.T. on 04.11.2019
  751

                            Text messages from Kley (M.T.) to M.M. on 04.12.2019
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                                                                                                                                                        654
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        41 of 62                                       pg
                                                     655 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description


                             Text messages between M.T. and K.T. on 04.12.2019
  753

                              Text messages between J.Y. and M.T. on 04.13.2019
  754

                             Text messages between M.T. and K.T. on 04.16.2019
  755

                             Text messages between M.T. and K.T. on 04.17.2019
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  757
                                Text messages between M.T. and Kley (K.T.) on
  758                                            04.21.2019


                             Text messages between M.T. and K.T. on 04.22.2019
  759
                                Text messages between Kley (M.T.) and K.T. on
  760                                            04.23.2019


                                Text message from J.Y. to M.T. on 04.24.2019
  761

                             Text messages between M.T. and K.T. on 04.24.2019
  762

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  763
                            Email re "Invoice from [PM], Inc." on 04.29.2019 ([PM]
                               Invoice #7156 for $75,000 and Invoice #7158 for
  764                                             $39,780)


                             Email re "FW: Invoice from [PM]. Inc." on 04.29.2019
  765
                                Text messages between Kley (M.T.) and K.T. on
  766                                            04.30.2019




                                                                                     41


                                                                                                                                                        655
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        42 of 62                                   pg
                                                     656 of 1354


Exhibit   Witness                                                                     Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                          Only
                                             Brief Description


                             Text messages between M.T. and K.T. on 05.01.2019
  767

                             Text messages between M.T. and K.T. on 05.02.2019
  768

                             Text messages between M.T. and K.T. on 05.06.2019
  769

                             Text messages between J.Y. and M.T. on 05.07.2019
  770

                             Text messages between M.T. and K.T. on 05.08.2019
  771
                               Text messages between Kley (M.T.) and K.T. on
  772                                           05.09.2019

                               Text messages between Kley (M.T.) and K.T. on
  773                                           05.10.2019


                             Text messages between J.Y. and M.T. on 05.10.2019
  774

                             Text messages between J.Y. and M.T. on 05.15.2019
  775

                             Text messages between M.T. and K.T. on 05.20.2019
  776
                               Text messages between M.T. and Kley (K.T.) on
  777                                           05.21.2019

                               Text messages between M.T. and Kley (K.T.) on
  778                                           05.22.2019


                             Text messages between M.T. and K.T. on 05.27.2019
  779

                             Text messages between M.T. and K.T. on 05.28.2019
  780

                             Text messages between J.Y. and M.T. on 06.03.2019
  781



                                                                                 42


                                                                                                                                                    656
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        43 of 62                                      pg
                                                     657 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                             Only
                                              Brief Description

                                Text messages between Kley (M.T.) and K.T. on
  782                                            06.03.2019


                                Email re "Journal Entry Testing" on 06.04.2019
  783

                             Text messages between M.T. and K.T. on 06.07.2019
  784

                             Text messages between M.T. and K.T. on 06.10.2019
  785

                              Text messages between J.Y. and M.T. on 06.12.2019
  786
                                Text messages between Kley (M.T.) and K.T. on
  787                                            06.12.2019


                              Text messages between J.Y. and M.T. on 06.13.2019
  788

                             Text messages between M.T. and K.T. on 06.13.2019
  789

                             Text messages between M.T. and K.T. on 06.18.2019
  790

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                             Text messages between M.T. and K.T. on 06.24.2019
  792

                             Text messages between M.T. and K.T. on 06.25.2019
  793
                            Text messages between M.T. and K.T. on 06.26.2019 and
  794                                            06.27.2019


                              Text messages between J.Y. and M.T. on 06.26.2019
  795

                              Text messages between J.Y. and M.T. on 06.28.2019
  796



                                                                                    43


                                                                                                                                                       657
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        44 of 62                                       pg
                                                     658 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description


                             Text messages between M.T. and K.T. on 06.28.2019
  797

                             Text messages between M.T. and K.T. on 06.29.2019
  798

                                  Email re "RE: Please assist" on 07.11.2019
  799

                             Text messages between M.T. and K.T. on 07.02.2019
  800
                              Emails re "Invoice From [PM], Inc." on 07.03.2019
                             ([PM] Invoice #7201 for $40,000; Invoice #7263 for
                            $10,100; Invoice #7312 for $9,500; & Invoice #7322 for
  801                                              $30,000)


                             Text messages between M.T. and K.T. on 07.04.2019
  802

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                             Text messages between M.T. and K.T. on 07.07.2019
  804

                             Text messages between M.T. and K.T. on 07.07.2019
  805

                             Text messages between J.Y. and M.T. on 07.08.2019
  806

                                  Emails re "Re: Please assist" on 07.08.2019
  807

                                  Emails re "Re: Please assist" on 07.09.2019
  808

                             Text messages between M.T. and K.T. on 07.09.2019
  809

                             Text messages between M.T. and K.T. on 07.11.2019
  810




                                                                                     44


                                                                                                                                                        658
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        45 of 62                                   pg
                                                     659 of 1354


Exhibit   Witness                                                                     Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                          Only
                                             Brief Description


                             Text messages between M.T. and K.T. on 07.17.2019
  811

                             Text messages between M.T. and K.T. on 07.18.2019
  812

                             Text messages between J.Y. and M.T. on 07.19.2019
  813

                             Text messages between J.Y. and M.T. on 07.22.2019
  814

                             Text messages between M.T. and K.T. on 07.29.2019
  815

                             Text messages between J.Y. and M.T. on 07.30.2019
  816

                             Text messages between J.Y. and M.T. on 08.01.2019
  817

                             Text messages between J.Y. and M.T. on 08.03.2019
  818

                             Text messages between M.T. and K.T. on 08.04.2019
  819

                             Text messages between J.Y. and M.T. on 08.05.2019
  820

                             Text messages between M.T. and K.T. on 08.05.2019
  821

                             Text messages between M.T. and K.T. on 08.06.2019
  822

                             Text messages between J.Y. and M.T. on 08.06.2019
  823

                             Text messages between M.T. and K.T. on 08.11.2019
  824

                             Text messages between M.T. and K.T. on 08.13.2019
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                                                                                 45


                                                                                                                                                    659
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        46 of 62                                   pg
                                                     660 of 1354


Exhibit   Witness                                                                     Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                          Only
                                             Brief Description


                             Text messages between J.Y. and M.T. on 08.13.2019
  826

                             Text messages between J.Y. and M.T. on 08.14.2019
  827

                             Text messages between J.Y. and M.T. on 08.15.2019
  828

                             Text messages between M.T. and K.T. on 08.18.2019
  829

                             Text messages between J.Y. and M.T. on 08.19.2019
  830

                             Text messages between J.Y. and M.T. on 08.20.2019
  831

                             Text messages between J.Y. and M.T. on 08.21.2019
  832

                             Text messages between J.Y. and M.T. on 08.22.2019
  833

                             Text messages between M.T. and K.T. on 08.22.2019
  834

                             Text messages between M.T. and K.T. on 08.23.2019
  835

                             Text messages between M.T. and K.T. on 08.25.2019
  836

                             Text messages between J.Y. and M.T. on 08.26.2019
  837

                             Text messages between M.T. and K.T. on 08.26.2019
  838

                             Text messages between M.T. and K.T. on 08.27.2019
  839

                             Text messages between M.T. and K.T. on 08.28.2019
  840




                                                                                 46


                                                                                                                                                    660
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        47 of 62                                        pg
                                                     661 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description

                             Email re "Invoices from Global Fuel Logistics, Inc" on
                              08.28.2019 (Global Fuel Logistics Invoice #987 for
                             #9,500; Invoice #972 for $94,500; & Invoice #763 for
  841                                              $152,000)


                             Text messages between M.T. and K.T. on 08.29.2019
  842

                                   Emails re "RE: 8/29 Wires" on 08.29.2019
  843
                            Email re "Global Fuel - Updated Invoice" on 08.29.2019
  844                          (Global Fuel Logistics Invoice #1001 for $55,000)

                             Email re "Invoices from Global Fuel Logistics, Inc" on
                              08.29.2019 (Global Fuel Logistics Invoice #1023 for
                            $45,000; Invoice #1011 for $45,000; & Invoice #1001 for
  845                                              $56,000)


                             Text messages between M.T. and K.T. on 08.30.2019
  846

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                             Text messages between M.T. and K.T. on 09.06.2019
  848

                             Text messages between M.T. and K.T. on 09.07.2019
  849

                             Text messages between M.T. and K.T. on 09.08.2019
  850

                              Text messages between J.Y. and M.T. on 09.09.2019
  851

                             Text messages between M.T. and K.T. on 09.09.2019
  852

                             Text messages between M.T. and K.T. on 09.10.2019
  853




                                                                                      47


                                                                                                                                                         661
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        48 of 62                                   pg
                                                     662 of 1354


Exhibit   Witness                                                                     Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                          Only
                                             Brief Description


                             Text messages between M.T. and K.T. on 09.13.2019
  854

                             Text messages between M.T. and K.T. on 09.14.2019
  855

                             Text messages between J.Y. and M.T. on 09.16.2019
  856

                             Text messages between J.Y. and M.T. on 09.17.2019
  857

                             Text messages between J.Y. and M.T. on 09.18.2019
  858

                             Text messages between M.T. and K.T. on 09.18.2019
  859

                             Text messages between M.T. and K.T. on 09.22.2019
  860

                             Text messages between M.T. and K.T. on 09.23.2019
  861

                             Text messages between J.Y. and M.T. on 09.25.2019
  862

                             Text messages between J.Y. and M.T. on 09.26.2019
  863

                             Text messages between M.T. and K.T. on 09.26.2019
  864

                             Text messages between J.Y. and M.T. on 09.27.2019
  865

                             Text messages between M.T. and K.T. on 09.28.2019
  866

                             Text messages between M.T. and K.T. on 09.30.2019
  867

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                                                                                 48


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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        49 of 62                                       pg
                                                     663 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description


                             Text messages between M.T. and K.T. on 10.02.2019
  869

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                             Text messages between M.T. and K.T. on 10.05.2019
  871

                             Text messages between M.T. and K.T. on 10.07.2019
  872

                             Text messages between M.T. and K.T. on 10.08.2019
  873

                             Text messages between M.T. and K.T. on 10.09.2019
  874
                             Email re "Invoices from Aero Maintenance Resources"
                             on 10.11.2019 (Aero Maintenance Resources Invoice
                            #697 for $112,750; Invoice #634 for $75,000; & Invoice
  875                                        #627 for $141,450)


                             Text messages between M.T. and K.T. on 10.11.2019
  876

                             Text messages between M.T. and K.T. on 10.15.2019
  877

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                             Text messages between M.T. and K.T. on 10.19.2019
  879

                             Text messages between M.T. and K.T. on 10.20.2019
  880

                             Text messages between M.T. and K.T. on 10.21.2019
  881

                             Text messages between M.T. and K.T. on 10.22.2019
  882




                                                                                     49


                                                                                                                                                        663
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        50 of 62                                     pg
                                                     664 of 1354


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                            Only
                                              Brief Description


                             Text messages between M.T. and K.T. on 10.25.2019
  883

                             Text messages between M.T. and K.T. on 10.25.2019
  884

                             Text messages between M.T. and K.T. on 10.31.2019
  885

                             Text messages between M.T. and K.T. on 11.01.2019
  886
                             Email re "Invoices from Aero Maintenance Resources"
                             on 11.11.2019 (Aero Maintenance Resources Invoice
                              #1017 for $110,000; Invoice #1021 for $100,000; &
  887                                    Invoice #1103 for $66,750)


                             Text messages between M.T. and K.T. on 11.13.2019
  888

                             Text messages between M.T. and K.T. on 11.14.2019
  889

                             Text messages between M.T. and K.T. on 11.19.2019
  890

                             Text messages between M.T. and K.T. on 11.20.2019
  891

                             Text messages between M.T. and K.T. on 11.21.2019
  892

                             Text messages between M.T. and K.T. on 11.22.2019
  893

                             Text messages between M.T. and K.T. on 11.25.2019
  894

                             Text messages between M.T. and K.T. on 12.01.2019
  895

                             Text messages between M.T. and K.T. on 12.02.2019
  896




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                                                                                                                                                      664
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        51 of 62                                        pg
                                                     665 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description


                             Text messages between M.T. and K.T. on 12.03.2019
  897

                             Text messages between M.T. and K.T. on 12.04.2019
  898

                             Text messages between M.T. and K.T. on 12.06.2019
  899

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  900

                             Text messages between M.T. and K.T. on 12.11.2019
  901

                             Text messages between M.T. and K.T. on 12.13.2019
  902
                             Email re "Invoices from Aero Maintenance Resources"
                              on 12.17.2019 (Aero Maintenance Resources Invoice
                            #2110 for $49,750; Invoice #2325 for $83,400; & Invoice
  903                                         #2392 for $85,250)


                             Text messages between M.T. and K.T. on 12.20.2019
  904

                             Text messages between M.T. and K.T. on 12.21.2019
  905

                             Text messages between M.T. and K.T. on 12.30.2019
  906

                             Text messages between M.T. and K.T. on 12.31.2019
  907

                             Text messages between M.T. and K.T. on 01.03.2020
  908

                             Text messages between M.T. and K.T. on 01.07.2020
  909

                             Text messages between M.T. and K.T. on 01.08.2020
  910




                                                                                      51


                                                                                                                                                         665
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        52 of 62                                        pg
                                                     666 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description


                             Text messages between M.T. and K.T. on 01.09.2020
  911
                             Email re "Invoices from Aero Maintenance Resources"
                              on 01.09.2020 (Aero Maintenance Resources Invoice
                            #2515 for $79,950; Invoice #2479 for $87,200; & Invoice
  912                                        #2601 for $148,200)


                             Text messages between M.T. and K.T. on 01.10.2020
  913

                             Text messages between M.T. and K.T. on 01.11.2020
  914

                             Text messages between M.T. and K.T. on 01.13.2020
  915

                             Text messages between M.T. and K.T. on 01.16.2020
  916

                             Text messages between M.T. and K.T. on 01.17.2020
  917

                             Text messages between M.T. and K.T. on 01.22.2020
  918

                             Text messages between M.T. and K.T. on 01.26.2020
  919

                             Text messages between M.T. and K.T. on 01.28.2020
  920

                             Text messages between M.T. and K.T. on 01.29.2020
  921

                             Text messages between M.T. and K.T. on 01.31.2020
  922

                             Text messages between M.T. and K.T. on 02.01.2020
  923

                             Text messages between M.T. and K.T. on 02.05.2020
  924




                                                                                      52


                                                                                                                                                         666
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        53 of 62                                        pg
                                                     667 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description


                             Text messages between M.T. and K.T. on 02.12.2020
  925

                             Text messages between M.T. and K.T. on 02.13.2020
  926

                             Text messages between M.T. and K.T. on 02.15.2020
  927
                             Email re "Invoices from Aero Maintenance Resources"
                              on 02.18.2020 (Aero Maintenance Resources Invoice
  928                          #2807 for $15,689; & Invoice #2753 for $99,211)


                             Text messages between M.T. and K.T. on 02.25.2020
  929

                             Text messages between M.T. and K.T. on 02.26.2020
  930

                             Text messages between M.T. and K.T. on 03.03.2020
  931

                             Text messages between M.T. and K.T. on 03.06.2020
  932
                             Email re "Invoices from Aero Maintenance Resources"
                              on 03.09.2020 (Aero Maintenance Resources Invoice
                            #3004 for $95,000; Invoice #2987 for $33,520; & Invoice
  933                                         #2901 for $90,180)


                             Text messages between M.T. and K.T. on 03.10.2020
  934
                            Email re "Aero Maintenance Invoices for February 2020"
                              on 03.11.2020 (Aero Maintenance Resources Invoice
  935                                         #2990 for $73,000)


                             Text messages between M.T. and K.T. on 03.11.2020
  936

                             Text messages between M.T. and K.T. on 03.17.2020
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                                                                                      53


                                                                                                                                                         667
                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
                                                                   Filed
                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        54 of 62                                      pg
                                                     668 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                             Only
                                              Brief Description


                             Text messages between M.T. and K.T. on 03.18.2020
  938

                                    Email re NO SUBJECT on 03.19.2020
  939

                             Text messages between M.T. and K.T. on 03.20.2020
  940

                             Text messages between M.T. and K.T. on 03.22.2020
  941

                             Text messages between M.T. and K.T. on 03.23.2020
  942

                             Text messages between M.T. and K.T. on 03.28.2020
  943

                             Text messages between M.T. and K.T. on 03.30.2020
  944

                             Text messages between M.T. and K.T. on 04.01.2020
  945

                             Text messages between M.T. and K.T. on 04.02.2020
  946

                             Text messages between M.T. and K.T. on 04.05.2020
  947

                             Text messages between M.T. and K.T. on 04.06.2020
  948

                             Text messages between M.T. and K.T. on 04.08.2020
  949
                            Email re "Invoices for Aero Maintenance Resources" on
                            04.14.2020 (Aero Maintenance Resources Invoice #4001
  950                            for $87,045; & Invoice #3176 for $127,155)


                             Text messages between M.T. and K.T. on 04.14.2020
  951




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                    Case Case
                         No. 1:20-cr-00305-DDD
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                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        55 of 62                                        pg
                                                     669 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
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                            Email re "Aero Maintenance Invoices for April 2020" on
                            04.16.2020 (Aero Maintenance Resources Invoice #5120
  952                            for $105,603; & Invoice #4784 for $114,685)

                              Email re "Invoice for Global Fuel Logistics, Inc." on
                              04.27.2020 (Global Fuel Logistics Invoice #7988 for
  953                                              $124,785)

                              Email re "Invoice for Aero Maintenance Resources 2
                                March 2020" on 05.04.2020 (Aero Maintenance
  954                                Resources Invoice #3101 for $61,255)

                              Email re "Invoice for Global Fuel Logistics, Inc." on
                              05.11.2020 (Global Fuel Logistics Invoice #8011 for
  955                                               $83,090)


                             Text messages between M.T. and K.T. on 05.12.2020
  956

                             Text messages between M.T. and K.T. on 05.23.2020
  957

                             Text messages between M.T. and K.T. on 05.28.2020
  958
                             Email re "Invoices for May 2020" on 06.03.2020 (Aero
                              Maintenance Resources Invoice #8888 for $153,725;
                             Global Fuel Logistics Invoice #9014 for $159,882; &
  959                          Global Fuel Logistics Invoice #9071 for $164,065)


                             Text messages between M.T. and K.T. on 06.07.2020
  960

                             Text messages between M.T. and K.T. on 06.09.2020
  961

                             Text messages between M.T. and K.T. on 06.10.2020
  962

                             Text messages between M.T. and K.T. on 06.11.2020
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                    Case Case
                         No. 1:20-cr-00305-DDD
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                                                 Document645-2
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                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        56 of 62                                         pg
                                                     670 of 1354


Exhibit   Witness                                                                           Stipulation   Offered   Admitted   Refused        Court Use
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                                               Brief Description


                             Text messages between M.T. and K.T. on 06.16.2020
  964

                             Text messages between M.T. and K.T. on 06.17.2020
  965

                             Text messages between M.T. and K.T. on 06.24.2020
  966

                             Text messages between M.T. and K.T. on 06.25.2020
  967

                             Text messages between M.T. and K.T. on 06.26.2020
  968
                            Email re "Invoices for June 2020" on 06.30.2020 (Global
                              Fuel Logistics Invoice #10101 for $170,274.50; Aero
                             Maintenance Resources Invoice #9302 for $194,803; &
  969                         Global Fuel Logistics Invoice #11812 for $127,264)


                             Text messages between M.T. and K.T. on 06.29.2020
  970

                             Text messages between M.T. and K.T. on 07.01.2020
  971

                              Text messages between J.Y. and K.T. on 07.01.2020
  972
                            Email re "Invoice for July 1 2020" on 07.02.2020 (Global
  973                             Fuel Logistics Invoice #10226 for $95,000)

                             Audio recording of consensual phone call between J.Y.
  974                                       and M.T. on 07.07.2020

                             Audio recording of consensual phone call between J.Y.
  975                                       and M.T. on 07.08.2020


                              Text messages between J.Y. and M.T. on 07.08.2020
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                                                          408-1 filed
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                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        57 of 62                                       pg
                                                     671 of 1354


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
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                               Email re Kimberley Tew $10,000 Invoice, dated
  978                                            12.31.2018


                             Email re ACH Payment Questions, dated 04.17.2019
  979
                             Email re Lululemon Order Confirmation to Amy Tew,
  980                                         dated 11.04.2018

                             Email re Lilly Pulitzer Shipping Confirmation to Amy
  981                                       Tew, dated 10.18.2018

                            Email re Lilly Pulitzer Order Confirmation to Amy Tew,
  982                                         dated 10.17.2018

                            Email re Saks Fifth Avenue Order Confirmation to Amy
  983                                       Tew, dated 10.18.2018

                            Email re Zappos Order Confirmation to Amy Tew, dated
  984                                            11.03.2018

                               Email re Kimberley Tew Introduction & Contact
  985                                   Information, dated 01.30.2018

                             Invoice #001 re Kimberley Tew for $10,000.00, dated
  986                                            02.08.2018

                             Transcript of consensual phone call between J.Y. and
  987                                        M.T. on 07.07.2020

                             Transcript of consensual phone call between J.Y. and
  988                                        M.T. on 07.08.2020


                             Text messages between M.T. and K.T. on 08.28.2019
  989

                             Text messages between M.T. and K.T. on 09.18.2019
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                    Case Case
                         No. 1:20-cr-00305-DDD
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                                                          408-1 filed
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                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        58 of 62                                      pg
                                                     672 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
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                                Account Owners and Signors for Relevant Bank
 1001
                                                  Accounts

                               Payments of Fraudulent Invoices by NAC between
 1002
                                         August 2018 and July 2020

                            Deposits of Fraudulent Invoices by NAC between August
 1003
                                             2018 and July 2020

                            Summary of [HS] CPA, [MCG], and [5530 JD] Invoices
 1004
                                                and Payments


 1005                              Summary of [PM] Invoices and Payments


                                Summary of Global Fuel Logistics Invoices and
 1006
                                                  Payments

                             Summary of Aero Maintenance Resources Invoices and
 1007                                             Payments


                                        Summary - Calendar of Events
 1008

                                            Summary - Count 42
 1009

                                            Summary - Count 43
 1010

                                            Summary - Count 44
 1011

                                            Summary - Count 45
 1012

                                            Summary - Count 46
 1013

                                            Summary - Count 47
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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
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                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        59 of 62                                      pg
                                                     673 of 1354


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
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                                              Brief Description


                                             Summary - Count 48
 1015

                                             Summary - Count 49
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                                             Summary - Count 50
 1017

                                             Summary - Count 51
 1018

                                             Summary - Count 52
 1019

                                             Summary - Count 53
 1020

                                             Summary - Count 54
 1021

                                             Summary - Count 55
 1022

                                             Summary - Count 56
 1023

                               Summary - M. Tew Transactions and Photographs
 1024

                               Summary - K. Tew Transactions and Photographs
 1025

                            Summary - M. and K. Tew Transactions and Photographs
 1026

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 1100                         Certificate of Authenticity for Atlantic Union Bank


 1101                              Certificate of Authenticity for ANB Bank




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
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                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        60 of 62                                          pg
                                                     674 of 1354


Exhibit   Witness                                                                            Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                                 Only
                                               Brief Description


 1102                              Certificate of Authenticity for ANB Bank


 1103                                 Certificate of Authenticity for BBVA


 1104                                 Certificate of Authenticity for BBVA


                            Certificate of Authenticity for Guaranty Bank and Trust
 1105
                                                   Company


 1106                                Certificate of Authenticity for Kraken


 1107                       Certificate of Authenticity for Navy Federal Credit Union


 1108                               Certificate of Authenticity for GoDaddy


 1109                                Certificate of Authenticity for Google


 1110                                Certificate of Authenticity for Verizon


 1111                             Certificate of Authenticity for Regions Bank


                                 Certificate of Authenticity for Simple Finance
 1112
                                               Technology Corp


 1113                            Certificate of Authenticity for Signature Bank


 1114                                Certificate of Authenticity for Google


 1115                                 Certificate of Authenticity for Apple


 1116                                Certificate of Authenticity for Google




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
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                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        61 of 62                                          pg
                                                     675 of 1354


Exhibit   Witness                                                                            Stipulation   Offered   Admitted   Refused        Court Use
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 1117                                Certificate of Authenticity for Google


 1118                                 Certificate of Authenticity for Vcorp


 1119                           Certificate of Authenticity for Wells Fargo Bank


 1120                           Certificate of Authenticity for Wells Fargo Bank


 1121                           Certificate of Authenticity for Wynn Las Vegas


 1122                                Certificate of Authenticity for Google


 1123                                Certificate of Authenticity for Google


 1124                                Certificate of Authenticity for Google


 1125                                Certificate of Authenticity for Google


 1126                                Certificate of Authenticity for Google


 1127                                 Certificate of Authenticity for AT&T


 1128                       Certificate of Authenticity for Navy Federal Credit Union


 1129                           Certificate of Authenticity for American Express


 1130                          Certificate of Authenticity for National Air Cargo


                              Certificate of Authenticity for McDonald Automotive
 1131
                                                     (Audi)




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                    Case Case
                         No. 1:20-cr-00305-DDD
                              1:20-cr-00305-DDD Document
                                                 Document645-2
                                                          408-1 filed
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                                                                       01/24/25
                                                                         02/02/24 USDC
                                                                                   PageColorado
                                                                                        62 of 62                                        pg
                                                     676 of 1354


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
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 1132                             Certificate of Authenticity for Digital Mint


 1133                             Certificate of Authenticity for Digital Mint


 1134                         Certification of Authenticity for National Air Cargo


 1135                        Certification of Authenticity for Access National Bank


 1136                              Certification of Authenticity for Coinbase


 1137                              Certification of Authenticity for Coinbase


 1138                              Certification of Authenticity for Coinbase


 1139                             Certification of Authenticity for Navy FCU


 1140                               Certification of Authenticity for Apple


 1141                                       Certification for Google


 1142                                   Certification for Signature Bank


 1143                                   Certification for Regions Bank




                                                                                      62


                                                                                                                                                         676
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
                                      645-2
                                          409 filed
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                                                     01/24/25
                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       1 of 7                  pg
                                  677 of 1354




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


  Case No. 1:20-cr-00305-DDD-2

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  2. KIMBERLEY ANN TEW

         Defendant.

  Motion for Finding that Ms. Tew’s Waiver of Right to Confront and Cross-Examine
       Witnesses was Not Knowing or, in the Alternative, Request for Hearing


        Defendant Kimberley Tew, through undersigned counsel, moves the Court for a

 finding that her execution of the proffer letter was not a knowing and intelligent waiver

 of her right to confront and cross-examine the witnesses who will testify against her. In

 the alternative, Ms. Tew requests a hearing on whether her waiver was knowing and

 intelligent.

        In a recent ruling, the Court interpreted Ms. Tew’s proffer agreement and held

 that attorney argument or questioning could trigger the waiver provision “if it clearly

 seeks to introduce evidence that is contrary to the proffer statements.” (Id. at 5.) If the

 waiver provision is triggered, the Government may use any portion of Ms. Tew’s

 proffer statements against her. (ECF No. 373-1.) The Court’s ruling limits counsel’s

 cross-examination of the witnesses that will testify against Ms. Tew at trial, and




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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
                                      645-2
                                          409 filed
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                                                     01/24/25
                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       2 of 7                  pg
                                  678 of 1354




 therefore requires the Court to find that this important trial right was knowingly

 waived by Ms. Tew.

        Statement of Conferral: The government opposes the relief requested herein.

 A.     The Right to Cross-Examine Witnesses is Fundamental to a Fair Trial

        “The Confrontation Clause of the Sixth Amendment guarantees the right of an

 accused in a criminal prosecution ‘to be confronted with the witnesses against him.’”

 Delaware v. Van Arsdall, 475 U.S. 673, 678 (1986). “Confrontation means more than being

 allowed to confront the witness physically.” Davis v. Alaska, 415 U.S. 308, 315 (1974).

 Central to the Clause's purpose is “secur[ing] for the opponent the opportunity of cross-

 examination.” Van Arsdall, 475 U.S. at 678. As the Supreme Court explained in Davis:

               Cross-examination is the principal means by which the
               believability of a witness and the truth of his testimony are
               tested. Subject always to the broad discretion of a trial judge
               to preclude repetitive and unduly harassing interrogation,
               the cross-examiner is not only permitted to delve into the
               witness’ story to test the witness’ perceptions and memory,
               but the cross-examiner has traditionally been allowed to
               impeach, i.e., discredit, the witness.

 415 U.S. at 316.

 B.     Any Waiver of a Fundamental Trial Right must be Knowing and Voluntary

        Any waiver of a fundamental trial right in a criminal case “must be a ‘knowing,

 intelligent act done with sufficient awareness of the relevant circumstances.’” Iowa v.

 Tovar, 541 U.S. 77, 80 (2004) (quoting Brady v. United States, 397 U.S. 742, 748 (1970)). A

 waiver is knowing if made “with full awareness of both the nature of the right being



                                              2
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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
                                      645-2
                                          409 filed
                                                 Filed
                                                     01/24/25
                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       3 of 7                pg
                                  679 of 1354




 abandoned and the consequences of the decision to abandon it.” Moran v. Burbine, 475

 U.S. 412, 421 (1986); United States v. Morris, 287 F.3d 985, 988 (10th Cir. 2002). “The

 purpose of the ‘knowing and voluntary’ inquiry ... is to determine whether the

 defendant actually does understand the significance and consequences of a particular

 decision and whether the decision is uncoerced.” Godinez v. Moran, 509 U.S. 389, 401

 (1993). When a defendant waives his constitutional rights, he must be “made aware of

 the dangers and disadvantages ... so that the record will establish that ‘he knows what

 he is doing and his choice is made with eyes open.’” Faretta v. California, 422 U.S. 806,

 835 (1975).

 C.     Ms. Tew Did Not Knowingly and Intelligently Waive Her Right to Confront
        and Cross-Examine the Government’s Witnesses

        When Ms. Tew executed the proffer letter, she did not understand that her

 statements at the proffer session could limit her ability to confront the witnesses who

 testified against her through cross-examination by counsel. As an offer of proof,1

 undersigned counsel states that she represented Ms. Tew at the time of her proffer and

 reviewed the proffer agreement with Ms. Tew. Consistent with local practice,

 undersigned counsel understood the waiver provision in paragraph 4 could only be

 triggered by Ms. Tew affirmatively testifying or offering evidence on her own behalf.

 Undersigned counsel advised Ms. Tew that, by signing the proffer letter, she was


 1 Ms. Tew has authorized undersigned counsel to reveal the content of attorney-client

 communications. This waiver is limited to communications about the proffer letter and
 how Ms. Tew was advised on the impact of executing the proffer agreement.


                                               3
                                                                                                  679
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
                                      645-2
                                          409 filed
                                                 Filed
                                                     01/24/25
                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       4 of 7                pg
                                  680 of 1354




 agreeing that her proffer statements could be used against her if she chose to testify at

 trial.

          Counsel did not understand the proffer letter to mean that Ms. Tew’s attorney

 could trigger the waiver provision through argument, cross-examination, or in any

 other way. Ms. Tew was not advised that her proffer statements could be used against

 her if her attorney argued or elicited testimony contrary to a statement made in her

 proffer session.

          In determining whether a waiver is knowing and intelligent, the relevant inquiry

 is whether a defendant “understands the rights at stake and the consequences of

 waiving them.” Smith v. Mullin, 379 F.3d 919, 934 (10th Cir. 2004); see also Godinez, 509

 U.S. at 401(a knowing and intelligent waiver requires an understanding of the

 “significance and consequences of a particular decision”). Ms. Tew was advised that the

 proffer agreement affected her constitutional right to testify on her own behalf because

 doing so could trigger the waiver provision. Ms. Tew was not advised that executing

 the proffer letter limited her ability to confront and cross-examine the witnesses

 testifying against her. Ms. Tew was not advised that executing the proffer letter

 impacted her right to counsel by limiting positions taken or arguments advanced by her

 attorneys at trial.




                                              4
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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
                                      645-2
                                          409 filed
                                                 Filed
                                                     01/24/25
                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       5 of 7                     pg
                                  681 of 1354




 D.     The Oluwanisola Decision is Distinguishable Because It Utilizes Different
        Language that is Material to the Analysis

        At the trial preparation conference, the Court directed the parties to United States

 v. Oluwanisola, 605 F.3d 124 (2d Cir. 2010). The waiver provision in Oluwanisola stated

 that defendant’s proffer statements could be used “as substantive evidence to rebut,

 directly or indirectly, any evidence offered or elicited, or factual assertions made, by or

 on behalf of [the defendant].” Id. at 128 (emphasis added). This language put

 Oluwanisola on notice that, in signing his proffer agreement, he was contracting away

 not only his personal right to offer or elicit factual assertions contrary to his proffer, but

 also the right to have an attorney or someone else acting on his behalf offer or elicit

 contrary factual assertions. The same “by or on behalf of” language appears in the

 waiver provisions in nearly every case cited by the Government. See United States v.

 Rebbe, 314 F.3d 402, 404 (9th Cir. 2002) (“or to rebut any evidence, argument or

 representations offered by or on behalf of your client”); United States v. Barrow, 400 F.3d

 109, 113 (2d Cir. 2005) (“to rebut any evidence offered or elicited, or factual assertions

 made, by or on behalf of [the defendant]”; United States v. Hardwick, 544 F.3d 565, 569

 (3d Cir. 2008) (to rebut any evidence or arguments offered on [Murray’s] behalf.”).

        Ms. Tew’s proffer agreement does not say that the waiver provision can be

 triggered by someone acting “on behalf of” Ms. Tew. The plain language of the

 agreement did not advise Ms. Tew that she was contracting away her right to confront

 witnesses through her attorney. And Ms. Tew was not advised that, by signing the



                                               5
                                                                                                       681
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
                                      645-2
                                          409 filed
                                                 Filed
                                                     01/24/25
                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       6 of 7             pg
                                  682 of 1354




 proffer agreement, she was limiting her attorney’s ability to make arguments or cross-

 examine witnesses.

                                        Conclusion

        The Court has ruled that Ms. Tew waived—in part—her right to confront

 witnesses when she executed the proffer agreement. Ms. Tew’s waiver of these rights

 was not knowing and intelligent, and the proffer statements should be barred from use

 at trial. If the above record is not sufficient to meet Ms. Tew’s burden to show her

 waiver was not knowing and intelligent, she requests a hearing on the matter.

        Dated: February 4, 2024.

                                              Respectfully submitted,



                                              s/ Jamie Hubbard
                                              Jamie Hubbard
                                              David S. Kaplan
                                              STIMSON LABRANCHE HUBBARD, LLC
                                              1652 Downing Street
                                              Denver, CO 80218
                                              Phone: 720.689.8909
                                              Email: hubbard@slhlegal.com
                                              kaplan@slhlegal.com

                                              Attorneys for Kimberley Ann Tew




                                             6
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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
                                      645-2
                                          409 filed
                                                 Filed
                                                     01/24/25
                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       7 of 7                 pg
                                  683 of 1354




                                    Certificate of Service

        I certify that on February 4, 2024, I electronically filed the foregoing Motion for
 Finding that Ms. Tew’s Waiver of Right to Confront and Cross-Examine Witnesses was Not
 Knowing or, in the Alternative, Request for Hearing with the Clerk of Court using the
 CM/ECF system which will send notification of such filing to all parties of record.



                                               s/ Brenda Rodriguez
                                               Brenda Rodriguez




                         Certification of Type-Volume Limitation

        I hereby certify that the foregoing pleading complies with the type-volume
 limitation set forth in Judge Domenico’s Practice Standard III(A)(1).


                             Statement of Speedy Trial Impact

         Pursuant to Judge Domenico’s Practice Standard III(C), defense counsel states
 that, as a motion filed by the defendant, any time between filing of the motion and its
 resolution are excludable from the speedy trial calculation.



                                               s/ Jamie Hubbard
                                               Jamie Hubbard




                                               7
                                                                                                   683
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
                                      645-2
                                          410 filed
                                                 Filed
                                                     01/24/25
                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       1 of 4                       pg
                                  684 of 1354




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD-01

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.
 1. MICHAEL AARON TEW,

        Defendant.



            MOTION FOR RECONSIDERATION OF COURT’S ORDER
        REGARDING PROFFER AGREEMENTS AND REQUEST FOR HEARING


        Defendant Michael Aaron Tew (“Mr. Tew”) respectfully asks the Court to reconsider its

 Order (Doc. 404) regarding the interpretation and application of the proffer agreements at issue

 in this case. The Court’s Order, which held that neither the government’s nor Mr. Tew’s

 interpretation of the proffer agreements was what it actually meant, implicitly calls into question

 how such an agreement could have been knowingly and voluntarily entered into by either party.

        For reasons including those outlined in Mrs. Kimberley Tew’s Motion for Finding that

 Ms. Tew’s Waiver of Right to Confront and Cross-Examine Witnesses was Not Knowing or, in

 the Alternative, Request for Hearing, Doc. 409, which Mr. Tew hereby adopts the same rationale

 and law raised by Ms. Tew, Mr. Tew requests that the Court schedule a hearing to determine

 whether he intended to waive any portion of his constitutional rights to cross-examine witnesses

 against him without his incriminating statements being used against him. As an offer of proof, at

 such a hearing Mr. Tew and/or his then counsel would testify that his attorney advised him that

 the agreement meant that his proffer would be put into evidence only if he introduced testimony




                                                                                                         684
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
                                      645-2
                                          410 filed
                                                 Filed
                                                     01/24/25
                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       2 of 4                       pg
                                  685 of 1354




 conflicting with the statements in the proffer agreement.

         The Court’s textual interpretation of the proffer agreements demonstrates that the

 purported waiver provisions were unclear three and a half years ago when Mr. Tew signed those

 agreements. The Court, grappling with this issue at the Trial Preparation Conference, admitted as

 much:

         [The Court] And I think it’s also an easy case that if the defense, on the
         opposite extreme, if the defense is very limited and extremely careful about how
         they characterize things, and say only things like the government – the evidence
         the government has presented doesn’t support X, Y, or Z, then it’s an easy case,
         that none of it gets in. But to me, it’s a little bit more of a gray area between those
         two. If they don’t testify, and if counsel simply is saying things like, to an agent,
         You don’t have – this exhibit doesn’t say who created the email account, does it?

         [AUSA]         Hm-hm.

         [The Court] And things like that, trying to draw this line, that you are
         suggesting I try to draw, seems very difficult and not obvious, to me, that even
         someone with experienced counsel would understand that they are walking that
         line, when they agree to this, because it’s just hard for me to figure out a really
         principled distinction between some of the things that you are asking me to
         distinguish.

 Transcript of Trial Preparation Conference at p. 52.

         For these reasons, Mr. Tew requests the Court reconsider its Order and hold a hearing to

 determine whether he knowingly waived constitutional and not just evidentiary rights when he

 agreed to proffer with the government in July 2020.

         DATED this 4th day of February, 2024.

                                                     /s/ Jason D. Schall
                                                Jason D. Schall
                                                BOWLIN & SCHALL LLC
                                                7350 E Progress Pl Ste 100
                                                Greenwood Village, CO 80111
                                                Telephone: (720) 505-3861
                                                E-mail: jason@bowsch.com




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      Case
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                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       3 of 4                        pg
                                  686 of 1354




                                                      /s/ Kristen M. Frost
                                                 Kristen M. Frost
                                                 RIDLEY, MCGREEVY & WINOCUR, P.C.
                                                 303 16th Street, Suite 200
                                                 Denver, CO 80202
                                                 Telephone: (303) 629-9700
                                                 Facsimile: (303) 629-9702
                                                 E-mail: frost@ridleylaw.com
                                                 Attorneys for Michael Aaron Tew



                               CERTIFICATE OF CONFORMITY

         I hereby certify that the foregoing pleading complies with the type-volume limitation set

 forth in Judge Domenico’s Practice Standard III(A)(1).

                                                     /s/ Jason D. Schall
                                                 Jason D. Schall



                          STATEMENT OF SPEEDY TRIAL IMPACT

         Pursuant to Judge Domenico’s Practice Standard III(C), undersigned counsel notes that

 this filing has no effect on the speedy trial clock.

                                                     /s/ Jason D. Schall
                                                 Jason D. Schall



                                   CERTIFICATE OF SERVICE

         I hereby certify that on February 4, 2024, I electronically filed the foregoing with

 the Clerk of Court using the CM/ECF system which will send notification of such filing to

 the following:

 AUSA Bryan Fields                                             David Kaplan / Jamie Hubbard
 U.S. Attorney’s Office                                        Stimson LaBranche Hubbard, LLC
 1801 California Street, Suite 1600                            1652 North Downing Street
 Denver, CO 80202                                              Denver, CO 80203




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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
                                      645-2
                                          410 filed
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                                                     01/24/25
                                                       02/04/24 USDC
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                                  687 of 1354




 (303) 454-0100                                                (720) 689-8909
 Bryan.Fields3@usdoj.gov                                       kaplan@slhlegal.com
                                                               hubbard@slhlegal.com
                                                               Attorneys for Kimberley Ann Tew

       I hereby certify that I will mail or serve the filing to the following participants:

               Mr. Michael Aaron Tew (defendant)


                                                   /s/ Jason D. Schall
                                               Jason D. Schall




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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
                                      645-2
                                          411 filed
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                                                     01/24/25
                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       1 of 3              pg
                                  688 of 1354




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


  Case No. 1:20-cr-00305-DDD-2

  UNITED STATES OF AMERICA,

          Plaintiff,
  v.

  2. KIMBERLEY ANN TEW

          Defendant.

       NOTICE OF SUBMISSION OF ALTERNATIVE VERSION OF CHARGES FOR
                            JUROR NOTEBOOKS


         Kimberley Tew, through counsel, submits the attached as an alternative to

 providing the full speaking indictment to the jury. The attached provides the jury with

 the information it needs to consider the charges in this case but omits unnecessary

 verbiage that is prejudicial to the defendants.

         Dated: February 4, 2024.




                                                                                                688
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
                                      645-2
                                          411 filed
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                                                     01/24/25
                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       2 of 3    pg
                                  689 of 1354




                                         Respectfully submitted,



                                         s/ Jamie Hubbard
                                         Jamie Hubbard
                                         David S. Kaplan
                                         STIMSON LABRANCHE HUBBARD, LLC
                                         1652 Downing Street
                                         Denver, CO 80218
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                                         kaplan@slhlegal.com

                                         Attorneys for Kimberley Ann Tew




                                        2
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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
                                      645-2
                                          411 filed
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                                                     01/24/25
                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       3 of 3            pg
                                  690 of 1354




                                     Certificate of Service

        I certify that on February 4, 2024, I electronically filed the foregoing Notice of
 Submission of Alternative Version of Charges for Juror Notebooks with the Clerk of Court
 using the CM/ECF system which will send notification of such filing to the following e-
 mail address and all parties of record:

 Bryan Fields
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 Counsel for Michael Tew


                                                s/ Brenda Rodriguez
                                                Brenda Rodriguez




                                               3
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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        411-1 filed
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                                                    01/24/25
                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       1 of 15                           pg
                                  691 of 1354




                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO

 Criminal Action No.: 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

         Plaintiff,
 v.

      1. MICHAEL AARON TEW;

      2. KIMBERLEY ANN TEW; and
         a/k/a Kimberley Vertanen

      3. JONATHAN K. YIOULOS,

         Defendants.


                                             INDICTMENT



 The Grand Jury charges that:

                                                    Count 1

       Beginning no later than June 2018 and continuing until about July 2020, in the State and District of

 Colorado, and elsewhere,


                                          MICHAEL AARON TEW
                                          KIMBERLEY ANN TEW
                                                  and
                                         JONATHAN K. YIOULOS,

 did knowingly combine, conspire, confederate, and agree together and interdependently to commit wire

 fraud, in violation of Title 18, United States Code, Section 1343.




                                                      1


                                                                                                              691
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        411-1 filed
                                                 Filed
                                                    01/24/25
                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       2 of 15                                            pg
                                  692 of 1354



                                                       Counts 2-39

         Beginning not later than July 2018 and continuing thereafter until about July 2020, in the State and

 District of Colorado, and elsewhere

                                              MICHAEL AARON TEW
                                              KIMBERLEY ANN TEW
                                                      and
                                             JONATHAN K. YIOULOS,

 knowingly devised and intended to devise a scheme to defraud and to obtain money and property from

 N.A.C., Inc., and its affiliates and subsidiaries that MICHAEL AARON TEW, KIMBERLEY ANN

 TEW, AND YIOULOS knew were fraudulent and were based on or supported by fraudulent invoices

 reflecting services that had not been provided to N.A.C., Inc. and its affiliates and subsidiaries.


          For purposes of executing and attempting to execute the scheme, defendants MICHAEL

AARON TEW, KIMBERLEY ANN TEW, AND YIOULOS, having devised and intending to devise the scheme,

transmitted, and caused to be transmitted by means of wire communication in interstate commerce writing, signs,

and signals, that is, payments reflecting the transfer of funds in the amounts listed below from the account listed

below as held by N.A.C., Inc. and its subsidiaries and affiliates at Signature Bank to accounts at the banks identified

below, which were controlled by or accessible to MICHAEL AARON TEW or KIMBERLEY ANN TEW, or

otherwise associated with contacts of MICHAEL AARON TEW or KIMBERLEY ANN TEW:

               Count              Defendant              Approx.             Approx.               Transaction
                                                          Date               Amount
                   2             MICHAEL                 August 8,           $15,000         ACH transaction from
                                AARON TEW                 2018                               Signature Bank
                                                                                             account ending in
                              JONATHAN K.                                                    5529 to
                                YIOULOS                                                      Guaranty Bank and
                                                                                             Trust account ending
                                                                                             in 7867, held in the
                                                                                             name of Michael A.
                                                                                             Tew




                                                            2


                                                                                                                               692
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        411-1 filed
                                                 Filed
                                                    01/24/25
                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       3 of 15       pg
                                  693 of 1354




          Count        Defendant       Approx.      Approx.        Transaction
                                        Date        Amount
             3        MICHAEL         October 26,   $30,000    ACH transaction from
                     AARON TEW           2018                  Signature Bank
                                                               account ending in
                      JONATHAN                                 5529 to
                       YIOULOS                                 Regions Bank account
                                                               ending in 4514, held in
                                                               the name of M.M.
             4        MICHAEL         October 30,   $10,000    Wire transfer from
                     AARON TEW           2018                  Signature Bank
                                                               account ending in
                     JONATHAN K.                               5529 to
                       YIOULOS                                 Regions Bank account
                                                               ending in 4514, held in
                                                               the name of M.M.
             5        MICHAEL         November      $30,000    ACH transaction from
                     AARON TEW         20, 2018                Signature Bank
                                                               account ending in
                     JONATHAN K.                               5529 to
                       YIOULOS                                 Regions Bank account
                                                               ending in 4514, held in
                                                               the name of M.M.
             6        MICHAEL         November      $30,000    ACH transaction from
                     AARON TEW         27, 2018                Signature Bank
                                                               account ending in
                     JONATHAN K.                               5529 to
                       YIOULOS                                 BBVA Compass
                                                               account ending in
                                                               0987, held in the name
                                                               of 5530 Jessamine
                                                               Development LLC
             7        MICHAEL         December      $25,000    ACH transaction from
                     AARON TEW         12, 2018                Signature Bank
                                                               account ending in
                     JONATHAN K.                               5529 to
                       YIOULOS                                 ANB account ending
                                                               in 3099, held in the
                                                               name of M.M.




                                         3


                                                                                          693
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        411-1 filed
                                                 Filed
                                                    01/24/25
                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       4 of 15       pg
                                  694 of 1354




          Count        Defendant       Approx.       Approx.          Transaction
                                        Date         Amount
             8        MICHAEL         February 8,    $15,250      ACH transaction from
                     AARON TEW           2019                     Signature Bank
                                                                  account ending in
                     JONATHAN K.                                  5545 to
                       YIOULOS                                    Navy Federal Credit
                                                                  Union account ending
                                                                  in 8486, held in the
                                                                  names of Michael Tew
                                                                  and Kimberley Tew
             9        MICHAEL        February 20,     $15,250     ACH transaction from
                     AARON TEW          2019                      Signature Bank
                                                                  account ending in
                     JONATHAN K.                                  5545 to
                       YIOULOS                                    Navy Federal Credit
                                                                  Union account ending
                                                                  in 8486, held in the
                                                                  names of Michael Tew
                                                                  and Kimberley Tew
            10        MICHAEL         March 29,       $38,000     ACH transaction from
                     AARON TEW         2019                       Signature Bank
                                                                  account ending in
                     JONATHAN K.                                  5545 to
                       YIOULOS                                    Navy Federal Credit
                                                                  Union account ending
                                                                  in 8486, held in the
                                                                  names of Michael Tew
                                                                  and Kimberley Tew
            11        MICHAEL        April 4, 2019    $11,250     ACH transaction from
                     AARON TEW                                    Signature Bank
                                                                  account ending in
                     JONATHAN K.                                  5545 to
                       YIOULOS                                    Navy Federal Credit
                                                                  Union account ending
                                                                  in 8486, held in the
                                                                  names of Michael Tew
                                                                  and Kimberley Tew
            12        MICHAEL        July 24, 2019   $45,000.00   ACH transaction from
                     AARON TEW                                    Signature Bank
                                                                  account ending in
                     JONATHAN K.                                  5545 to
                       YIOULOS                                    Navy Federal Credit
                                                                  Union account ending
                                                                  in 5336, held in the
                                                                  name of Michael Tew



                                        4


                                                                                          694
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        411-1 filed
                                                 Filed
                                                    01/24/25
                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       5 of 15         pg
                                  695 of 1354




          Count        Defendant       Approx.       Approx.         Transaction
                                        Date         Amount
            13        MICHAEL          August 7,    $31,500.00   ACH transaction from
                     AARON TEW          2019                     Signature Bank
                                                                 account ending in
                     JONATHAN K.                                 5545 to
                       YIOULOS                                   Wells Fargo account
                                                                 ending in 6934, held in
                                                                 the name of Sand Hill,
                                                                 LLC
            14        MICHAEL         August 19,    $9,500.00    ACH transaction from
                     AARON TEW          2019                     Signature Bank
                                                                 account ending in
                     JONATHAN K.                                 5545 to
                       YIOULOS                                   Navy Federal Credit
                                                                 Union account ending
                                                                 in 5336, held in the
                                                                 name of Michael Tew
            15        MICHAEL         August 22,    $28,000.00   ACH transaction from
                     AARON TEW          2019                     Signature Bank
                                                                 account ending in
                     JONATHAN K.                                 5545 to
                       YIOULOS                                   Wells Fargo account
                                                                 ending in 6934, held in
                                                                 the name of Sand Hill,
                                                                 LLC
            16        MICHAEL        September 4,   $45,000.00   ACH transaction from
                     AARON TEW           2019                    Signature Bank
                                                                 account ending in
                      KIMBERLEY                                  5545 to
                       ANN TEW                                   Navy Federal Credit
                                                                 Union account ending
                     JONATHAN K.                                 in 5336, held in the
                       YIOULOS                                   name of Michael Tew
            17         MICHAEL        September     $18,000.00   ACH transaction from
                      AARON TEW        10, 2019                  Signature Bank
                                                                 account ending in
                     JONATHAN K.                                 5545 to
                       YIOULOS                                   Wells Fargo account
                                                                 ending in 6934, held in
                                                                 the name of Sand Hill,
                                                                 LLC




                                        5


                                                                                            695
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        411-1 filed
                                                 Filed
                                                    01/24/25
                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       6 of 15         pg
                                  696 of 1354




          Count        Defendant       Approx.       Approx.         Transaction
                                        Date         Amount
            18        MICHAEL         September     $33,500.00   ACH transaction from
                     AARON TEW         18, 2019                  Signature Bank
                                                                 account ending in
                     JONATHAN K.                                 5545 to
                       YIOULOS                                   Wells Fargo account
                                                                 ending in 6934, held in
                                                                 the name of Sand Hill,
                                                                 LLC
            19        MICHAEL         September     $52,750.00   ACH transaction from
                     AARON TEW         26, 2019                  Signature Bank
                                                                 account ending in
                     JONATHAN K.                                 5545 to
                       YIOULOS                                   Wells Fargo account
                                                                 ending in 6934, held in
                                                                 the name of Sand Hill,
                                                                 LLC
            20        MICHAEL         October 17,   $75,000.00   ACH transaction from
                     AARON TEW           2019                    Signature Bank
                                                                 account ending in
                     JONATHAN K.                                 5545 to
                       YIOULOS                                   Wells Fargo account
                                                                 ending in 2064, held in
                                                                 the name of Global
                                                                 Fuel Logistics, Inc.
            21        MICHAEL         October 25,   $43,000.00   ACH transaction from
                     AARON TEW           2019                    Signature Bank
                                                                 account ending in
                      KIMBERLEY                                  5545 to
                       ANN TEW                                   Wells Fargo account
                                                                 ending in 2064, held in
                     JONATHAN K.                                 the name of Global
                       YIOULOS                                   Fuel Logistics, Inc.
            22         MICHAEL       November 1,    $49,750.00   ACH transaction from
                      AARON TEW         2019                     Signature Bank
                                                                 account ending in
                      KIMBERLEY                                  5545 to
                       ANN TEW                                   Wells Fargo account
                                                                 ending in 6934, held in
                     JONATHAN K.                                 the name of Sand Hill,
                       YIOULOS                                   LLC




                                        6


                                                                                            696
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        411-1 filed
                                                 Filed
                                                    01/24/25
                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       7 of 15        pg
                                  697 of 1354




          Count        Defendant      Approx.       Approx.         Transaction
                                        Date        Amount
            23        MICHAEL        November 8,   $40,500.00   ACH transaction from
                     AARON TEW          2019                    Signature Bank
                                                                account ending in
                     JONATHAN K.                                5545 to
                       YIOULOS                                  Wells Fargo account
                                                                ending in 6934, held in
                                                                the name of Sand Hill,
                                                                LLC
            24        MICHAEL         November     $43,250.00   ACH transaction from
                     AARON TEW         26, 2019                 Signature Bank
                                                                account ending in
                     JONATHAN K.                                5545 to
                       YIOULOS                                  Wells Fargo account
                                                                ending in 2064, held in
                                                                the name of Global
                                                                Fuel Logistics, Inc.
            25        MICHAEL        December 3,    $9,550.00   ACH transaction from
                     AARON TEW          2019                    Signature Bank
                                                                account ending in
                      KIMBERLEY                                 5545 to
                       ANN TEW                                  Navy Federal Credit
                                                                Union account ending
                     JONATHAN K.                                in 5336, held in the
                       YIOULOS                                  name of Michael Tew
            26         MICHAEL        December     $24,500.00   ACH transaction from
                      AARON TEW        12, 2019                 Signature Bank
                                                                account ending in
                      KIMBERLEY                                 5545 to
                       ANN TEW                                  Navy Federal Credit
                                                                Union account ending
                     JONATHAN K.                                in 5336, held in the
                       YIOULOS                                  name of Michael Tew
            27         MICHAEL        December     $15,200.00   ACH transaction from
                      AARON TEW        24, 2019                 Signature Bank
                                                                account ending in
                     JONATHAN K.                                5545 to
                       YIOULOS                                  Navy Federal Credit
                                                                Union account ending
                                                                in 5336, held in the
                                                                name of Michael Tew




                                        7


                                                                                           697
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        411-1 filed
                                                 Filed
                                                    01/24/25
                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       8 of 15         pg
                                  698 of 1354




          Count        Defendant      Approx.        Approx.         Transaction
                                        Date         Amount
            28        MICHAEL        February 12,   $33,000.00   ACH transaction from
                     AARON TEW          2020                     Signature Bank
                                                                 account ending in
                     JONATHAN K.                                 5545 to
                       YIOULOS                                   Navy Federal Credit
                                                                 Union account ending
                                                                 in 5336, held in the
                                                                 name of Michael Tew
            29        MICHAEL        February 20,   $95,000.00   ACH transaction from
                     AARON TEW          2020                     Signature Bank
                                                                 account ending in
                     JONATHAN K.                                 5545 to
                       YIOULOS                                   Wells Fargo account
                                                                 ending in 2064, held in
                                                                 the name of Global
                                                                 Fuel Logistics, Inc.
            30        MICHAEL          March 3,     $36,555.00   ACH transaction from
                     AARON TEW          2020                     Signature Bank
                                                                 account ending in
                     JONATHAN K.                                 5545 to
                       YIOULOS                                   Wells Fargo account
                                                                 ending in 2064, held in
                                                                 the name of Global
                                                                 Fuel Logistics, Inc.
            31        MICHAEL         March 10,     $35,000.00   ACH transaction from
                     AARON TEW         2020                      Signature Bank
                                                                 account ending in
                      KIMBERLEY                                  5545 to
                       ANN TEW                                   Navy Federal Credit
                                                                 Union account ending
                     JONATHAN K.                                 in 5336, held in the
                       YIOULOS                                   name of Michael Tew
            32         MICHAEL        March 20,     $22,500.00   ACH transaction from
                      AARON TEW        2020                      Signature Bank
                                                                 account ending in
                      KIMBERLEY                                  5545 to
                       ANN TEW                                   Navy Federal Credit
                                                                 Union account ending
                     JONATHAN K.                                 in 5336, held in the
                       YIOULOS                                   name of Michael Tew




                                        8


                                                                                            698
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        411-1 filed
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                                                    01/24/25
                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       9 of 15       pg
                                  699 of 1354




          Count        Defendant      Approx.         Approx.         Transaction
                                        Date          Amount
            33        MICHAEL        April 1, 2020   $73,460.00   ACH transaction from
                     AARON TEW                                    Signature Bank
                                                                  account ending in
                     JONATHAN K.                                  5545 to
                       YIOULOS                                    Navy Federal Credit
                                                                  Union account ending
                                                                  in 5336, held in the
                                                                  name of Michael Tew
            34        MICHAEL        April 7, 2020   $36,925.00   ACH transaction from
                     AARON TEW                                    Signature Bank
                                                                  account ending in
                     JONATHAN K.                                  5545 to
                       YIOULOS                                    Navy Federal Credit
                                                                  Union account ending
                                                                  in 5336, held in the
                                                                  name of Michael Tew
            35        MICHAEL          April 16,     $68,255.00   ACH transaction from
                     AARON TEW          2020                      Signature Bank
                                                                  account ending in
                     JONATHAN K.                                  5545 to
                       YIOULOS                                    Navy Federal Credit
                                                                  Union account ending
                                                                  in 5336, held in the
                                                                  name of Michael Tew
            36        MICHAEL          April 28,     $46,850.00   ACH transaction from
                     AARON TEW          2020                      Signature Bank
                                                                  account ending in
                     JONATHAN K.                                  5545 to
                       YIOULOS                                    Navy Federal Credit
                                                                  Union account ending
                                                                  in 5336, held in the
                                                                  name of Michael Tew
            37        MICHAEL         May 6, 2020    $85,325.00   ACH transaction from
                     AARON TEW                                    Signature Bank
                                                                  account ending in
                     JONATHAN K.                                  5545 to
                       YIOULOS                                    Navy Federal Credit
                                                                  Union account ending
                                                                  in 5336, held in the
                                                                  name of Michael Tew




                                        9


                                                                                          699
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      411-1 filed
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                                                   01/24/25
                                                     02/04/24 USDC
                                                               PageColorado
                                                                    10 of 15                           pg
                                 700 of 1354




             Count           Defendant          Approx.            Approx.           Transaction
                                                  Date             Amount
               38           MICHAEL            May 13, 2020       $82,422.00     ACH transaction from
                           AARON TEW                                             Signature Bank
                                                                                 account ending in
                          JONATHAN K.                                            5545 to
                            YIOULOS                                              Navy Federal Credit
                                                                                 Union account ending
                                                                                 in 5336, held in the
                                                                                 name of Michael Tew
               39           MICHAEL            May 21, 2020       $78,565.00     ACH transaction from
                           AARON TEW                                             Signature Bank
                                                                                 account ending in
                          JONATHAN K.                                            5545 to
                            YIOULOS                                              Navy Federal Credit
                                                                                 Union account ending
                                                                                 in 5336, held in the
                                                                                 name of Michael Tew
               40           MICHAEL             July 3, 2020      $95,000.00     ACH transaction from
                           AARON TEW                                             Signature Bank
                                                                                 account ending in
                          JONATHAN K.                                            5545 to
                            YIOULOS                                              Navy Federal Credit
                                                                                 Union account ending
                                                                                 in 3094, held in the
                                                                                 name of Global Fuel
                                                                                 Logistics Inc, with
                                                                                 Michael A. Tew as the
                                                                                 listed owner

All in violation of Title 18, United States Code, Section 1343, and Title 18, United States Code, Section

2.

                                              COUNT 41

       Beginning on a date unknown to the grand jury but not later than in or about June 2018 and

continuing to in or about July 2020, in the State and District of Colorado and elsewhere,

                                       MICHAEL AARON TEW
                                               and
                                       KIMBERLEY ANN TEW


did knowingly combine, conspire, confederate and agree with each other and acted interdependently, ot

commit offenses against the United States in violation of Title 18, United States Code, Section 1957, to
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                                                     02/04/24 USDC
                                                               PageColorado
                                                                    11 of 15                              pg
                                 701 of 1354



wit to knowingly engage and attempt to engage, in monetary transactions by, through or to a financial

institution, affecting interstate and foreign commerce, in criminally derived property of a value greater

than $10,000.00, as specified below, such property having been derived from a specified unlawful

activity, that is wire fraud, in violation of Title 18, United States Code, Section 1957.

                                         COUNTS 42-56

         On or about the dates identified below, within the District of Colorado and elsewhere, the

defendants named in each count below did knowingly engage in and attempt to engage in monetary

transactions, specifically deposits, withdrawals, and transfers of funds and monetary instruments, in

and affecting interstate commerce, by, through and to one or more financial institutions, in criminally

derived property that was of a value greater than $10,000 and that was derived from specified

unlawful activity, specifically, wire fraud, in violation of Title 18 United States Code, Section 1343,

knowing that the property involved in such monetary transaction represented the proceeds of some

form of unlawful activity, as follows:

              Count           Defendant             Approx.          Approx.                Transaction
                                                     Date            Amount
                42           MICHAEL              June 4, 2019      $15,000.00      Withdrawal from
                            AARON TEW                                               Navy Federal Credit
                                                                                    Union account ending
                                                                                    in 8486, held in the
                                                                                    names of MICHAEL
                                                                                    AARON TEW and
                                                                                    KIMBERLEY TEW
                43          KIMBERLEY            June 11, 2019      $15,000.00      Withdrawal from
                             ANN TEW                                                Navy Federal Credit
                                                                                    Union account ending
                                                                                    in 8486, held in the
                                                                                    names of MICHAEL
                                                                                    AARON TEW and
                                                                                    KIMBERLEY TEW
                44           MICHAEL               August 28,       $22,000.00      Withdrawal from
                            AARON TEW                2019                           Wells Fargo account
                                                                                    ending in 6934, held in
                             KIMBERLEY                                              the name of Sand Hill,
                              ANN TEW                                               LLC


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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      411-1 filed
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                                                   01/24/25
                                                     02/04/24 USDC
                                                               PageColorado
                                                                    12 of 15          pg
                                 702 of 1354



            45        MICHAEL        August 29,    $25,000.00   Withdrawal from
                     AARON TEW         2019                     Wells Fargo account
                                                                ending in 2064, held in
                                                                the name of Global
                                                                Fuel Logistics, Inc.
            46        MICHAEL       September 4,   $45,000.00   Transfer from Navy
                     AARON TEW          2019                    Federal Credit Union
                                                                account ending in
                                                                5336, held in the name
                                                                of MICHAEL TEW
                                                                to a Navy Federal
                                                                Credit Union account
                                                                ending in 8486, held in
                                                                the names of
                                                                MICHAEL AARON
                                                                TEW and
                                                                KIMBERLEY TEW
            47        MICHAEL        September     $15,000.00   Wire transfer from
                     AARON TEW        18, 2019                  Wells Fargo account
                                                                ending in 6934, held in
                     KIMBERLEY                                  the name of Sand Hill,
                      ANN TEW                                   LLC, to JPMorgan
                                                                Chase Bank, N.A.
                                                                account ending in
                                                                8260
            48        MICHAEL        September     $20,000.00   Withdrawal from
                     AARON TEW        26, 2019                  Wells Fargo account
                                                                ending in 6934, held in
                     KIMBERLEY                                  the name of Sand Hill,
                      ANN TEW                                   LLC
            49        MICHAEL        September     $20,000.00   Withdrawal from
                     AARON TEW        27, 2019                  Wells Fargo account
                                                                ending in 6934, held in
                                                                the name of Sand Hill,
                                                                LLC
            50        MICHAEL        October 1,    $20,000.00   Withdrawal from
                     AARON TEW         2019                     Wells Fargo account
                                                                ending in 6934, held in
                                                                the name of Sand Hill,
                                                                LLC
            51        MICHAEL        October 2,    $12,000.00   Withdrawal from
                     AARON TEW         2019                     Wells Fargo account
                                                                ending in 6934, held in
                                                                the name of Sand Hill,
                                                                LLC




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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      411-1 filed
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                                                   01/24/25
                                                     02/04/24 USDC
                                                               PageColorado
                                                                    13 of 15                          pg
                                 703 of 1354




             Count            Defendant          Approx.            Approx.          Transaction
                                                   Date             Amount
                52           MICHAEL            November 1,        $20,611.01   Transfer from Wells
                            AARON TEW              2019                         Fargo account ending
                                                                                in 6934, held in the
                                                                                name of Sand Hill
                                                                                LLC to Continental
                                                                                Volkswagen at
                                                                                Comerica Bank
                                                                                account ending in
                                                                                5559
                53           MICHAEL             February 20,      $20,000.00   Withdrawal from
                            AARON TEW               2020                        Wells Fargo account
                                                                                ending in 2064, held in
                                                                                the name of Global
                                                                                Fuel Logistics, Inc.
                54           MICHAEL             February 21,      $15,000.00   Withdrawal from
                            AARON TEW               2020                        Wells Fargo account
                                                                                ending in 2064, held in
                                                                                the name of Global
                                                                                Fuel Logistics, Inc.
                55           MICHAEL             February 27,      $20,000.00   Withdrawal from
                            AARON TEW               2020                        Wells Fargo account
                                                                                ending in 2064, held in
                                                                                the name of Global
                                                                                Fuel Logistics, Inc.
                56           MICHAEL               March 3,        $20,000.00   Withdrawal from
                            AARON TEW               2020                        Wells Fargo account
                                                                                ending in 2064, held in
                            KIMBERLEY                                           the name of Global
                             ANN TEW                                            Fuel Logistics, Inc.


 All in violation of Title 18, United States Code, Section 1957.

                                               COUNT 57

        During the calendar year 2019, MICHAEL AARON TEW, whose principal place of business

was in Colorado, had and received gross income in excess of $24,400. Because of such gross income,

he was required by law, on or before July 15, 2020, to make an income tax return to the Internal Revenue

Service stating specifically the items of his gross income and any deductions and credits to which he

was entitled. Well knowing and believing the foregoing, the defendant, MICHAEL AARON TEW, did

willfully fail to make an income tax return as required.
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     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
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                                                   01/24/25
                                                     02/04/24 USDC
                                                               PageColorado
                                                                    14 of 15                          pg
                                 704 of 1354



         All in violation of Title 26, United States Code, Section 7203.

                                               COUNT 58

         During the calendar year 2018, MICHAEL AARON TEW, whose principal place of business

was in Colorado, had and received gross income in excess of $24,000. Because of such gross income, he

was required by law, on or before April 15, 2019, to make an income tax return to the Internal Revenue

Service stating specifically the items of his gross income and any deductions and credits to which he was

entitled. Well knowing and believing the foregoing, the defendant, MICHAEL AARON TEW, did

willfully fail to make an income tax return as required.

         All in violation of Title 26, United States Code, Section 7203.

                                               COUNT 59

         During the calendar year 2017, MICHAEL AARON TEW, whose principal place of business

was in Colorado, had and received gross income in excess of $20,800. Because of such gross income, he

was required by law, on or before April 17, 2018, to make an income tax return to the Internal Revenue

Service stating specifically the items of his gross income and any deductions and credits to which he was

entitled. Well knowing and believing the foregoing, the defendant, MICHAEL AARON TEW, did

willfully fail to make an income tax return as required.

         All in violation of Title 26, United States Code, Section 7203.

                                           COUNT 60
        During the calendar year 2016, MICHAEL AARON TEW, whose principal place of business

was in Colorado, had and received gross income in excess of $20,700. Because of such gross income,

he was required by law, on or before April 18, 2017, to make an income tax return to the Internal

Revenue Service stating specifically the items of his gross income and any deductions and credits to

which he was entitled. Well knowing and believing the foregoing, the defendant, MICHAEL AARON

TEW, did willfully fail to make an income tax return as required.

         All in violation of Title 26, United States Code, Section 7203.
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     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      411-1 filed
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                                                   01/24/25
                                                     02/04/24 USDC
                                                               PageColorado
                                                                    15 of 15         pg
                                 705 of 1354



                                           A TRUE BILL:

                                           Ink signature on file in Clerk’s Office
                                           FOREPERSON

 JASON R. DUNN
 United States Attorney

 s/Hetal J. Doshi
 Hetal J. Doshi
 Matthew T. Kirsch
 Assistant United States Attorneys
 United States Attorney’s Office
 1801 California Street, Suite 1600
 Denver, Colorado 80202
 Telephone: (303) 454-0100
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         Matthew.Kirsch@usdoj.gov
         Attorneys for the United States




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                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       1 of 7          pg
                                  706 of 1354




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW, and
      2. KIMBERLEY ANN TEW, a/k/a Kimberley Vertanen,

        Defendants.


           GOVERNMENT’S RESPONSE TO DEFENDANTS’
  MOTIONS FOR RECONSIDERATION OF COURT’S ORDER REGARDING
                   PROFFER STATEMENTS


        “It is not appropriate to revisit issues already addressed or advance arguments

 that could have been raised in prior briefing.” Servants of Paraclete v. Does, 204 F.3d

 1005, 1012 (10th Cir. 2000). The proffer statements the defendants are asking the

 court to reconsider were signed in 2020, were discussed extensively during the

 pretrial motions hearing in October 2022, and were the subject of argument just five

 days ago at the pretrial conference. This past Thursday, the Court issued its ruling:

        Nor have the defendants met their burden to show that their entry into
        these agreements was not knowing and voluntary. U.S. v. Smith, 770
        F.3d 628, 638 (7th Cir. 2014) (defense has burden to show waiver not
        voluntary and knowing and citing Mezzanato, 513 U.S. at 210); U.S. v.
        Nelson, 732 F.3d 504, 516 (5th Cir. 2013) (holding similarly). While Ms.
        Tew has made vague assertions that her agreement was not entered into
        “knowingly,” it became clear at the conference that this was actually a
        dispute about the scope of the agreement’s terms. Because these
        agreements are treated as contracts, the court sees no reason to hold an
        evidentiary hearing to interpret their scope, and Ms. Tew has provided

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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                                     01/24/25
                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       2 of 7             pg
                                  707 of 1354




         no specific authority for doing so here.

 ECF No. 404 at 2 (footnote omitted). The defendants advance no good cause for the

 Court to reconsider an issue decided two business days ago. Their respective motions

 for reconsideration, ECF Nos. 409 and 410, should be denied.

    I.      The defendants have articulated no basis for reconsideration —
            and no legal precedent that would guide a principled method for
            doing so

         The rules of criminal procedure do not provide for motions for reconsideration.

 Whether to entertain such a motion is left to the sound discretion of the court, which

 can consider analogous rules from the civil realm. United States v. Baraja-Chavez,

 358 F.3d 1263, 1266 (10th Cir. 2004). In exercising that discretion, the Court should

 consider whether it was reasonable for the parties (a) to wait until the week before

 the pretrial conference to raise an issue that has been known from the start, (b) to

 wait until a reply brief to make fulsome arguments engaging with text and caselaw

 they did not deem worth bringing to the court’s attention in their primary brief, and

 (c) to file a motion for reconsideration on the literal eve of trial. It is not. Cf. United

 States v. Randall, 666 F.3d 1238, 1242 (10th Cir. 2011) (suggesting fourteen-day

 deadline is appropriate benchmark). The Court should exercise its discretion to

 summarily dismiss the motions as ones filed out of time and without good cause. Id.

 (“Motions for reconsideration, however, cannot be brought at simply any time. If they

 could, criminal proceedings might never end.”).

         Alternatively, the motions should be denied because they do not even attempt

 to articulate that there had been an “intervening change in the law,” the discovery of



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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                                     01/24/25
                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       3 of 7          pg
                                  708 of 1354




 “new evidence previously unavailable,” or something necessary to “correct clear error

 or prevent manifest injustice.” Servants of the Paraclete, 204 F.3d at 1012. See ECF

 Nos. 409 and 410 (omitting reference to any legal principle or precedent that would

 authorize or encourage reconsideration). Nothing about the law or the facts has

 changed in the intervening days since the Court’s order. Indeed, the motions make

 clear that the defendants advance the same position they did last week — a challenge

 to the scope of the waiver, not the fundamental nature of the waiver itself. ECF No.

 404 at 2.

       To the extent      that   Kimberley     Tew’s motion    now    implicitly seeks

 reconsideration because of a “manifest injustice,” it simply elaborates on the same

 argument already raised (late) in her reply brief. In the reply, she argued that any

 waiver purporting to sign away the right to counsel, the right to confront witnesses,

 and the right to present a defense, was not knowing and voluntary. ECF No. 398. She

 makes the same argument now, differentiating its presentation only in citations to

 new cases. ECF No. 409 at 2-3 (making arguments about right to confrontation and

 law regarding waiver). The government addressed this argument in its response, ECF

 No. 393, and repeats those arguments here. The defendant did not sign away her

 right to confront witnesses or to present a defense; she simply agreed that if she told

 prosecutors one thing and later tried to argue to a jury something else, the jury would

 get to hear both statements, taking all information into account when deliberating

 over its verdict. Subject to the Court’s admonishment regarding the rules of

 professional responsibility, Kimberley Tew can ask her lawyers to cross-examine



                                           3


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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
                                      645-2
                                          412 filed
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                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       4 of 7           pg
                                  709 of 1354




 witnesses however she likes, and she retains the ability to present any defense she

 wants. She just faces the agreed-upon consequences for doing so. ECF No. 393 at 11-

 13.

       To the extent that Kimberley Tew’s motion implicitly seeks reconsideration

 based on “new evidence that was previously unavailable” in the form of her lawyer’s

 selective waiver of attorney-client privilege, she is similarly asking for yet another

 bite at the apple. Evidence of her present attorneys’ interpretation of the contract she

 signed back then is not new — she could have made the argument in her (late) reply

 brief. Or indeed, virtually any time before that. But even if she had, it is hard to see

 how that would have made a difference given that the court’s clear legal ruling, which

 makes her factual assertion irrelevant: her issue relates to the scope of the

 contractual language, not whether the contract itself was knowing and voluntary.

 ECF No. 404 at 2; see also ECF No. 393 at 6 (quoting Judge Easterbrook’s colorful

 rephrasing of black-letter law regarding contracts: they do not become invalid

 through the gambit of asserting unanticipated consequences).

       Finally, to the extent Kimberley Tew’s motion seeks reconsideration because

 of “clear error,” she now seeks a do-over regarding her arguments about the text of

 the proffer agreement. She is not wrong to point out that the proffer agreement in

 Oluwanisola used different language. But that doesn’t make her preferred

 interpretation right. She had the opportunity to raise textual arguments for the first

 time in her original motion, and yet again in her (late) reply brief. The Court had that

 brief, and heard extensive arguments of counsel, at the hearing. And it rejected that



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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                          412 filed
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                                                     01/24/25
                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       5 of 7         pg
                                  710 of 1354




 reading of the proffer, pointing out that clients “take positions” and “present

 arguments” through attorneys. ECF No. 404 at 3. The government responds here by

 repeating what it argued that the hearing: the language of the proffer agreement at

 issue is substantially similar to the language interpreted in Krilich. The waiver’s

 trigger includes cross-examination and argument by counsel that is inconsistent with

 the proffer. ECF No. 404 at 2 (citing United States v. Krilich, 159 F.3d 1020, 1024-25

 (7th Cir. 1998) and noting similarities of language). If Robert Krilich couldn’t use

 cross-examination to make insinuations inconsistent with a proffer, neither should

 Kimberley Tew.

       For his part, Michael Tew quotes from the transcript of the pretrial conference

 and suggests that the Court’s active and dynamic engagement of issues through

 argument somehow supersedes a thoughtful written order issued later, with the

 benefit of time to fully consider everyone’s written and oral positions. ECF No. 410.

 But that is like using a hypothetical raised by a judge in an oral argument to

 second-guess a later written ruling. That is not how courts work (or should work) –

 oral argument is useful for judges to honestly grapple with the issues and tease out

 all the implications of an argument, to the benefit of the parties and the public.

       The Court should put an end to the infinite time loop related to the Tews’

 arguments about their proffer agreements. Groundhog Day1 was Friday. Trial should



       1 See Dawn T. v. Saul, NO. 18-cv-50101, 2019 WL 4014240, at *1 n.1 (N.D. Ill.

 Aug. 26, 2019) (describing rich and extensive history of the movie’s reference in
 litigation all the way to the Supreme Court and, of course, its use as a shorthand
 lament for parties trapped in litigation that seems to present the same issue over and
 over.)
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                                                     01/24/25
                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       6 of 7    pg
                                  711 of 1354




 proceed tomorrow, consistent with the Court’s order. The Tews can present any

 defense they choose, mindful of the fact that choices have consequences.

                                        COLE FINEGAN
                                        United States Attorney

  By: /s/ Bryan Fields                        By: /s/ Sarah H. Weiss
  Bryan Fields                                Sarah H. Weiss
  Assistant United States Attorney            Assistant United States Attorney
  U.S. Attorney’s Office                      U.S. Attorney’s Office
  1801 California St. Suite 1600              1801 California St. Suite 1600
  Denver, CO 80202                            Denver, CO 80202
  (303) 454-0100                              (303) 454-0100
  Bryan.Fields3@usdoj.gov                     Sarah.Weiss@usdoj.gov
  Attorney for the Government                 Attorney for the Government




 Certification of Type-Volume Limitation

        I hereby certify that the foregoing pleading complies with the type-volume
 limitation set forth in Judge Domenico’s Practice Standard III(A)(1).

                                                      /s/ Bryan Fields
                                                      Bryan Fields



 Statement of Speedy Trial Impact

       Pursuant to Judge Domenico’s Practice Standard III(C), the government notes
 that this motion will not affect the speedy trial clock in this case because any
 resolution of it will be within the already-granted ends-of-justice continuances
 granted on March 17, 2023. ECF Nos. 317 and 318.

                                                      /s/ Bryan Fields
                                                      Bryan Fields




                                          6


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Case No.
      Case
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            1:20-cr-00305-DDDDocument
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                                                       02/04/24 USDC
                                                                  PageColorado
                                                                       7 of 7           pg
                                  712 of 1354




                           CERTIFICATE OF SERVICE

        I hereby certify that on this 4th day of February 4th, 2024, I electronically
 filed the foregoing with the Clerk of the Court using the CM/ECF system that will
 send notification of such filing to counsel of record in this case.




                                               s/ Sarah H. Weiss
                                               Sarah H. Weiss
                                               Assistant U.S. Attorney
                                               1801 California Street, Suite 1600
                                               Denver, CO 80202
                                               Telephone 303-454-0100
                                               Facsimile 303-454-0402
                                               Sarah.Weiss@usdoj.gov




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                                                                            02/05/24 USDC
                                                                                       PageColorado
                                                                                            1 of 1                              pg
                                                       713 of 1354



CASE CAPTION: USA v. Tew, et al.

CASE NO.: 20-cr-00305-DDD

EXHIBIT LIST OF:            Kimberley Tew
                         (Name and Party Designation)



 Exhibit       Witness                            Brief Description                Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                       Only

 A                              Rose Management Group 1099s and Declaration

 B                              Miscellaneous Tax Records for Michael Tew (2017-
                                2019)

 C                              3.15.19 Communications between M Tew and K Tew

 D                              4.11.19 Communications between M Tew and K Tew

 E                              4.30.20 Communications between M Tew and K Tew

 F                              6.13.19 Communications between M Tew and K Tew

 G                              6.24.19 Communications between M Tew and K Tew

 H                              7.2.19 Communications between M Tew and K Tew

 I                              7.15.19 Communications between M Tew and K Tew

 J                              7.18.19 Communications between M Tew and K Tew

 K                              8.14.19 Communications between M Tew and K Tew

 L                              9.18.19 Communications between M Tew and K Tew

 M                              Invoices from Sand Hill to Rose Management Group

 N                              Google voice linked cookies

 O                              7.01.20 Communications between M Tew and K Tew

 P                              Jonathan Yioulos Resume - 2020




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Case No.
      Case
         1:20-cr-00305-DDD
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                                                                  PageColorado
                                                                       1 of 6            pg
                                  714 of 1354




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                            JUDGE DANIEL D. DOMENICO


 Date:             February 5, 2024    Prob./Pret.: N/A
 Courtroom Deputy: Robert R. Keech     Interpreter: N/A
 Court Reporter:   Tammy Hoffschildt
 ______________________________________________________________________

 Criminal Case No. 1:20-cr-00305-DDD             Counsel:

 UNITED STATES OF AMERICA,                       Bryan D. Fields
                                                 Sarah H. Weiss
              Plaintiff,

 v.

 1. MICHAEL AARON TEW;                           Jason D. Schall
 and                                             Kristen M. Frost
 2. KIMBERLY ANN TEW,                            David S. Kaplan
                                                 Jamie H. Hubbard
              Defendants.


                                COURTROOM MINUTES


 TRIAL TO JURY (DAY 1)

 8:47 a.m.    Court in session. Jury not present. Defendants present, on bond.

 Discussion regarding objections to the Indictment being sent to the jury, preliminary
 matters, and motions filed over the weekend.

 ORDERED: [409] Defendant Kimberly Ann Tew’s Motion for Finding that Ms. Tew’s
          Waiver of Right to Confront and Cross-Examine Witnesses was Not
          Knowing or, in the Alternative, Request for Hearing is DENIED.

 ORDERED: [410] Defendant Michael Aaron Tew’s Motion for Reconsideration of
          Court’s Order Regarding Proffer Agreements and Request for Hearing is
          DENIED.

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                                                       02/05/24 USDC
                                                                  PageColorado
                                                                       2 of 6          pg
                                  715 of 1354




 9:00 a.m.    Court in recess.

 9:22 a.m.    Court in session. Jury present.

              Court=s opening remarks to prospective jurors.

 9:31 a.m.    Voir dire oath given.

 9:32 a.m.    Voir dire by Court commences.

 9:41 a.m.    Bench conference regarding voir dire as to juror 100478684.

 9:45 a.m.    Voir dire by Court continues.

 9:51 a.m.    Bench conference regarding voir dire of juror 100487853.

 9:53 a.m.    Voir dire by Court continues.

 10:05 a.m.   Bench conference regarding voir dire of juror 100499899.

 10:07 a.m.   Bench conference regarding voir dire of juror 100486112.

 10:09 a.m.   Voir dire by Court continues.

 10:24 a.m.   Bench conference regarding voir dire of juror 100496425.

 10:25 a.m.   Voir dire by Court continues.

 10:34 a.m.   Bench conference regarding challenges for cause as to juror 100479487.

 10:36 a.m.   Voir dire by Court continues.

 10:43 a.m.   Court in recess.

 10:56 a.m.   Court in session. Jury present.

              Voir dire by Court continues.

 11:26 a.m.   Voir dire by Government by Ms. Weiss.

 11:49 a.m.   Voir dire by Defendant Michael Aaron Tew by Ms. Frost.

 12:00 p.m.   Voir dire by Defendant Kimberly Ann Tew by Ms. Hubbard.

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                                  716 of 1354




 12:11 p.m.   Voir dire by Court continues.

 12:20 p.m.   Bench conference regarding challenge for cause as to juror 100483499.
              Defendants’ challenge jurors 100487853 and 100508777 for cause –
              OVERRULED.

 12:27 p.m.   Voir dire by Court continues.

 12:29 p.m.   Court in recess.

 1:36 p.m.    Court in recess. Jury not present.

              Court’s remarks to counsel regarding peremptory challenges which will be
              done off the record.

 1:37 p.m.    Court in recess.

 1:54 p.m.    Court in session. Jury not present.

 Defendants’ Batson challenge as to jurors100476984 and 100503819.

 ORDERED: Defendants’ Batson challenge as to jurors100476984 and 100503819 is
          DENIED.

 Discussion regarding the basis for peremptory challenges.

 2:06 p.m.    Jury enters.

 Court’s remarks to jurors regarding those who were excused.

 Challenges for Cause:

  1)   100510162
  2)   100478684
  3)   100513116
  4)   100484691
  5)   100496425
  6)   100479269
  7)   100479487
  8)   100490873
  9)   100483499
 10)   100475936

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                                                                  PageColorado
                                                                       4 of 6    pg
                                  717 of 1354




 Peremptory challenges by Government:

  1)   100520578
  2)   100503819
  3)   100476984
  4)   100501698
  5)   100486112
  6)   100481549

 Peremptory challenges by Defendant:

  1)   100487853
  2)   100499070
  3)   100508777
  4)   100515424
  5)   100499899
  6)   100509932
  7)   100474147
  8)   100510255
  9)   100509339
 10)   100485172
 11)   100512625

              Court’s remarks to jury.

 2:10 p.m.    Jury sworn to try the case:

  1)   100505639 2)         100497700
  3)   100490018 4)         100507419
  5)   100495665 6)         100499527
  7)   100495206 8)         100518357
  9)   100480054 10)        100495067
 11)   100517226 12)        100475229
 13)   100485198

 2:12 p.m.    Court reads preliminary jury instructions.

 2:41 p.m.    Court in recess.

 2:59 p.m.    Court in session. Jury not present.

 Discussion regarding protocol for opening statements.

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                                  718 of 1354




 3:02 p.m.    Jury enters.

 3:03 p.m.    Opening statement by Government by Ms. Weiss.

 3:30 p.m.    Opening statement by Defendant Michael Aaron Tew by Mr. Schall.

 3:41 p.m.    Opening statement by Defendant Kimberly Ann Tew by Mr. Kaplan.

 3:58 p.m.    Bench conference regarding argument on Defendant Kimberly Ann Tew’s
              oral motion to sever.

 ORDERED: Defendant Kimberly Ann Tew’s oral motion to sever is TAKEN UNDER
          ADVISEMENT.

 ORDERED: Parties shall file simultaneous briefs on the motion to sever by the end of
          the day on Wednesday, February 7, 2024.

 4:10 p.m.    Government’s witness Jonathan Yioulos sworn.

              Direct examination by Government by Mr. Fields.
              Exhibit(s) identified:   527, 531, 986, 605

 Exhibit(s) 527, 531, 986 RECEIVED.

 4:42 p.m.    Bench conference regarding objection to exhibit 605.

 4:47 p.m.    Direct examination by Government continues by Mr. Fields.
              Exhibit(s) identified:   605, 863

 Exhibit(s) 605 (portion shown) RECEIVED.

 4:49 p.m.    Bench conference regarding objection to exhibit 863.

 4:55 p.m.    Direct examination by Government continues by Mr. Fields.
              Exhibit(s) identified:   863

 Exhibit(s) 863 (portion shown) RECEIVED.

 5:00 p.m.    Jury excused for the day and shall report back on Tuesday, February 6,
              2024, at 9:00 a.m.

 Discussion regarding objection by defendants to the word conspiracy on direct

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                                                                       6 of 6    pg
                                  719 of 1354




 examination of Mr. Yioulos.
 ORDERED: Bond is CONTINUED as to Defendants Michael Aaron Tew and Kimberly
              Ann Tew.

 5:05 p.m.   Court in Recess. TRIAL CONTINUED. TOTAL TIME: 6:01




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                                  720 of 1354




                  Juror names redacted.




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                                  721 of 1354




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                                                                       1 of 4             pg
                                  722 of 1354




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                            JUDGE DANIEL D. DOMENICO


 Date:             February 6, 2024    Prob./Pret.: N/A
 Courtroom Deputy: Robert R. Keech     Interpreter: N/A
 Court Reporter:   Tammy Hoffschildt
 ______________________________________________________________________

 Criminal Case No. 1:20-cr-00305-DDD            Counsel:

 UNITED STATES OF AMERICA,                      Bryan D. Fields
                                                Sarah H. Weiss
              Plaintiff,

 v.

 1. MICHAEL AARON TEW;                          Jason D. Schall
 and                                            Kristen M. Frost
 2. KIMBERLEY ANN TEW,                          David S. Kaplan
                                                Jamie H. Hubbard
              Defendants.



                                COURTROOM MINUTES


 TRIAL TO JURY (DAY 2)

 9:01 a.m.    Court in session. Defendants present, on bond. Jury not present.

 Discussion regarding procedure for exhibits that were partially admitted yesterday and
 pending motion to sever.

 9:23 a.m.    Jury enters.




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                                  723 of 1354




 9:23 a.m.    Government’s witness Jonathan Yioulos resumes.

              Direct examination by Government continues by Mr. Fields.
              Exhibit(s) identified:   857, 731, 707, 865, 659, 433, 8, 9-40, 355-362,
              365-367, 369-377, 379, 380, 383, 384, 386-392, 428-468, 492, 2, 3, 5, 7,
              832, 642, 646

 Exhibit(s) 857, 605 (entire exhibit), 863 (entire exhibit), 731, 707, 865, 659, 433, 8, 9-
 40, 355-362, 365-367, 369-377, 379, 380, 383, 384, 386-392, 428-468, 492, 2, 3, 5, 7,
 832, 642 RECEIVED.

 10:37 a.m.   Court in recess.

 10:58 a.m.   Court in session. Jury enters.

 11:00 a.m.   Government’s witness Jonathan Yioulos resumes.

              Direct examination by Government continues by Mr. Fields.
              Exhibit(s) identified:   732, 733, 741, 742, 706, 705, 747, 748, 765,
              775, 635

 Exhibit(s) 732, 733, 741, 742, 706, 705, 747, 748, 765, 775 RECEIVED.

 11:27 a.m.   Bench conference regarding objection to exhibit 635.

 11:30 a.m.   Direct examination by Government continues by Mr. Fields.
              Exhibit(s) identified:   635, 636, 715, 718, 717, 601, 603, 607, 602,
              611, 629, 638

 Exhibit(s) 636, 717, 601, 603, 607, 602, 611, 629, 638, 674 RECEIVED.

 12:06 p.m.   Court in recess.

 1:05 p.m.    Court in session. Jury not present.

 Discussion regarding objections to exhibits 974 and 975.

 1:12 p.m.    Court in recess.




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                                                                       3 of 4              pg
                                  724 of 1354




 1:24 p.m.    Court in session. Jury enters.

 1:24 p.m.    Government’s witness Jonathan Yioulos resumes.

              Direct examination by Government continues by Mr. Fields.
              Exhibit(s) identified:     611, 629, 638, 642, 674, 613, 614, 615, 625,
              638, 639, 628, 647, 649, 680, 692, 683, 694, 657, 537, 540, 541, 542,
              543, 637, 697, 649, 650, 674, 659, 665, 668, 673, 692, 693, 939, 688,
              700, 703, 706, 711, 716, 719, 723, 727, 732, 737, 742, 748, 764, 801,
              725, 749, 688, 687, 700, 703, 774, 801, 708, 681, 795, 801, 817

 Exhibit(s) 613, 614, 615, 625, 639, 647, 649, 680, 692, 683, 694, 657, 537, 540, 541,
 542, 543, 697, 650, 665, 668, 673, 693, 939, 688, 700, 703, 711, 719, 723, 727, 732,
 737, 742, 764, 801, 725, 749, 774, 681, 795, 817 RECEIVED.

 3:13 p.m.    Court in recess.

 3:30 p.m.    Court in session. Jury not present.

 Further discussion regarding objection to exhibits 974 and 975.

 3:46 p.m.    Jury enters.

              Government’s witness Jonathan Yioulos resumes.

              Direct examination by Government continues by Mr. Fields.
              Exhibit(s) identified:     383, 817, 13, 15, 17, 18, 19, 22, 23, 841, 844,
              845, 875, 887, 903, 912, 928, 933, 935, 950, 952, 953, 954, 955, 959,
              969, 828, 830, 14, 833, 15, 820, 837, 685, 689, 786, 788, 858, 796, 969,
              390, 972, 974

 Exhibit(s) 841, 844, 845, 875, 887, 903, 912, 928, 933, 935, 950, 952, 953, 954, 955,
 959, 969, 828, 830, 833, 820, 837, 689, 786, 788, 858, 796, 972, 974 RECEIVED.

 4:57 p.m.    Jury excused for the day and shall report back on Wednesday, February
              7, 2024, at 9:00 a.m.

 Discussion regarding objections to exhibit 974.

 Defendant Kimberley Ann Tew’s oral motion for severance.

 Argument by counsel.


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                                  725 of 1354




 ORDERED: Defendant Kimberley Ann Tew’s oral motion for severance is TAKEN
          UNDER ADVISEMENT.

 Discussion regarding objection to text message exhibits.

 ORDERED: Bond is CONTINUED as to Defendants Michael Aaron Tew and Kimberley
          Ann Tew.

 5:12 p.m.    Court in Recess. TRIAL CONTINUED. TOTAL TIME: 6:24




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                                                                       1 of 3        pg
                                  726 of 1354




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                            JUDGE DANIEL D. DOMENICO


 Date:             February 7, 2024    Prob./Pret.: N/A
 Courtroom Deputy: Robert R. Keech     Interpreter: N/A
 Court Reporter:   Tammy Hoffschildt
 ______________________________________________________________________

 Criminal Case No. 1:20-cr-00305-DDD             Counsel:

 UNITED STATES OF AMERICA,                       Bryan D. Fields
                                                 Sarah H. Weiss
              Plaintiff,

 v.

 1. MICHAEL AARON TEW;                           Jason D. Schall
 and                                             Kristen M. Frost
 2. KIMBERLEY ANN TEW,                           David S. Kaplan
                                                 Jamie H. Hubbard
              Defendants.



                                 COURTROOM MINUTES


 TRIAL TO JURY (DAY 3)

 8:54 a.m.    Court in session. Defendants present, on bond. Jury not present.

 Discussion regarding protocol as to exhibit 974 and an issue as to one juror.

 8:57 a.m.    Court in recess.

 9:11 a.m.    Court in session. Jury not present.

 9:12 a.m.    Bench conference: Court informs counsel of an issue with a juror and
              efforts to remedy the situation.



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                                  727 of 1354




 9:16 a.m.    Jury enters.

              Government’s witness Jonathan Yioulos resumes.

              Direct examination by Government continues by Mr. Fields.
              Exhibit(s) identified: 974, 841, 975, 742, 976

 Exhibit(s) 975, 976 RECEIVED.

 10:43 a.m.   Court in recess.

 11:09 a.m.   Court in session. Jury enters.

 11:12 a.m.   Government’s witness Jonathan Yioulos resumes.

              Cross examination by Defendant Michael Aaron Tew by Mr. Schall.

 11:23 a.m.   Bench conference regarding recorded interview.

 11:28 a.m.   Cross examination by Defendant Michael Aaron Tew continues by Mr.
              Schall.
              Exhibit(s) identified: 527

 12:00 p.m.   Court in recess.

 1:05 p.m.    Court in session. Jury enters.

 1:07 p.m.    Government’s witness Jonathan Yioulos resumes.

              Cross examination by Defendant Michael Aaron Tew continues by Mr.
              Schall.
              Exhibit(s) identified: 605, 707, 865, 832, 715, 717, 697, 650, Q, R, 795,
              875, 747, 715, 527

 Exhibit(s) Q, R RECEIVED.

 2:52 p.m.    Court in recess.




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                                                                       3 of 3              pg
                                  728 of 1354




 3:12 p.m.    Court in session. Jury enters.

 3:15 p.m.    Government’s witness Jonathan Yioulos resumes.

              Cross examination by Defendant Michael Aaron Tew continues by Mr.
              Schall.

 3:32 p.m.    Bench conference regarding recorded interview.

 3:34 p.m.    Cross examination by Defendant Michael Aaron Tew continues by Mr.
              Schall.
              Exhibit(s) identified: T

 Exhibit(s) T RECEIVED.

 3:39 p.m.    Cross examination by Defendant Kimberley Ann Tew by Mr. Kaplan.
              Exhibit(s) identified: 718, S, 614, 615, 639, 601, 603, 607, 732, 741,
              912, 8, 12, 13, 20, 40, 356, 357, 362

 4:55 p.m.    Re-direct examination by Government by Mr. Fields.
              Exhibit(s) identified: 40, 38, 659

 5:00 p.m.    Jury excused for the day and shall report back on Thursday, February 8,
              2024, at 9:00 a.m.

 Discussion regarding admission of the entirety of the recorded interview and witness to
 appear via VTC tomorrow.

 ORDERED: Simultaneous briefs on severance issue shall be filed by the morning of
          Thursday, February 8, 2024.

 ORDERED: Bond is CONTINUED as to Defendants Michael Aaron Tew and Kimberley
          Ann Tew.

 5:05 p.m.    Court in Recess. TRIAL CONTINUED. TOTAL TIME: 5:56




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                                                                   1 of 16                         pg
                                  729 of 1354




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

      1. MICHAEL AARON TEW;

      2. KIMBERLY ANN TEW; and
         a/k/a Kimberley Vertanen

      3. JONATHAN K. YIOULOS,

 Defendants.


                MICHAEL TEW’S RENEWED MOTION FOR SEVERANCE



         Mr. Michael Tew, by and through counsel Kristen M. Frost of Ridley McGreevy &

 Winocur and Jason D. Schall of Bowlin & Schall LLC, respectfully renews the request to sever

 this case on behalf of Mr. Tew. In support thereof, Mr. Tew states as follows:

                                           Introduction

         A court has a continuing duty at all stages of a trial to grant severance if prejudice

 continues to exist in a joint trial. See Schaffer v. United States, 362 U.S. 511, 516 (1960); United

 States v. Peveto, 881 F.2d 844, 857 (quoting Schaffer). That rule exits because as a practical

 matter, and not an academic one, prejudice to a defendant can manifest itself unexpectedly, at the

 last minute, after a jury is empaneled and as a criminal trial unfolds – as they often do – with

 unanticipated twists and turns, including when one co-defendant ends up inculpating the other.


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                                                                   2 of 16                         pg
                                  730 of 1354




 This situation is not limited to a case where the defendants happen to be husband and wife.

 Indeed, that relationship status can actually have the opposite effect and up the ante on the

 surprise factor at trial.

         In addressing Mr. Tew’s renewed motion for severance, the Court has acknowledged its

 continuing duty to address this issue when Mr. Tew moved for a severance pursuant to Federal

 Rule of Criminal Procedure 14(a) at the conclusion of Mrs. Tew’s opening statement.             The

 Court raised United States v. Jones, 530 F.3d 1292 (10th Cir. 2008), and the government lodged

 general claims of “waiver” that are unsupported by the record. Mr. Tew maintains that nothing

 has been “waived,” or forfeited, and that severance is now ripe and required. Further, applying

 Jones actually establishes why a severance is now required based on Mr. Tew’s constitutional

 rights to due process, a fair trial, an impartial jury and his rights to confrontation and effective

 assistance of counsel. U.S. Const. ameds V, VI.

                                      Relevant Factual Background

         1.       Michael Tew and Kimberly Tew have been represented by numerous attorneys in

 this case, 1 and at times, they were jointly represented by the same attorney and/or legal team. 2

 Indeed, two different legal teams jointly represented this married couple at different times during




 1
   See Docs. 4, 13, 15, 17-18, 25, 28, 30-31, 54-55, 58, 106, 111, 136, 151, 162, 166-167, 178,
 180-182, 288-290, 305-306, 308.
 2
   See Docs. 106, 136, 151 (Entry of Appearances for Tor Elkland, and his colleagues Michael
 Hassard and Xuan Zhou on behalf of both Michael Tew and Kimberly Tew); Docs. 166, 180-182
 (Orders granting motions to withdraw as to Mr. Elkland, Mr. Hassard, and Mr. Zhou); Doc. 178
 (Entry of Appearance for Peter Bornstein on behalf of both Michael Tew and Kimberly Tew);
 Doc. 288 (Motion For Order Appointing Separate Counsel filed by Mr. Bornstein); Doc. 289
 (Order granting Mr. Bornstein’s Motion For Order Appointing Separate Counsel); Doc. 290
 (Entry of Appearance for David Kaplan on behalf of Kimberly Tew); Doc. 298 (Entry of
 Appearance for Mr. Bornstein on behalf of Michael Tew); Doc. 305 (Order withdrawing Mr.
 Bornstein as counsel for Michael Tew); Doc. 308 (Entry of Appearance for Jason Schall on
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                                                                   3 of 16                         pg
                                  731 of 1354




 this case – namely, Tor Elkland and his firm, and Peter Bornstein and his firm. Eventually the

 problematic nature of this joint representation reared its head, and separate counsel from the

 Criminal Justice Act Panel were appointed to represent Mr. Tew and Mrs. Tew independently.

        2.      While representing both Mr. Tew and Mrs. Tew, Mr. Bornstein filed Defendant

 Kimberly Ann Tew’s Motion For Severance on June 13, 2022. Doc. 218. Mr. Bornstein did not

 file a severance motion on behalf of his other client, Mr. Tew. Mrs. Tew’s motion moved for a

 severance pursuant to Rule 14(a) because: (1) the joinder of Ms. Tew with her husband Michael

 Tew in this case violates the Bruton Rule because in interviews Mr. Tew had made incriminating

 statements against Mrs. Tew and at a joint trial Mrs. Tew would be unable to cross-examine Mr.

 Tew about these statements. Id. at ¶¶ 6-9.     As a basis for severance, Mrs. Tew’s motion also

 generally asserted that a joint trial was prejudicial because “of the prejudice to Ms. Tew due to

 the sheer number of counts against Michael Tew in a joint trial, the evidence admissible on those

 counts and her different degree of culpability.” Id. at ¶ 15. Again, in referring to the quantity of

 evidence and number of counts, versus a situation involving antagonistic defenses, the motion

 makes reference to the potential that jurors will not be able to follow instructions relating to Ms.

 Tew only and that the “evidence against Ms. Tew is far less than that the government intends to

 use against Michael Tew.”

        3.      Mrs. Tew’s motion makes no reference to Mr. and Mrs. Tew (Mr. Bornstein’s

 joint clients at the time) pointing fingers at one another at trial, much less the idea that Ms. Tew

 might completely blame Mr. Tew for all fraud and money laundering at trial; nor, does it even




 behalf of Michael Tew); Doc. 349 (Order appointing Jamie Hubbard on behalf of Kimberly
 Tew); Doc. 368 (Entry of Appearance for Kristen Frost on behalf of Michael Tew).
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                                                                   4 of 16                           pg
                                  732 of 1354




 make a general reference to what is oftentimes referred to as the concept of “antagonistic

 defenses.” See generally id.

        4.      On August 9, 2022, the government filed its Response In Opposition To

 Defendant Kimberly Ann Tew’s Motion For Severance. Doc. 230. This Response addresses the

 Bruton claim, the quantity of evidence it has against Mr. and Mrs. Tew, including the proffer

 statements of each defendant, the “number of counts,” and the fact that there may be less

 evidence related to Mrs. Tew. Id. at ¶¶ 2-4. In addressing the main issue, the government stated

 that the Tenth Circuit “has explained that’[t]he mere fact that one co-defendant is less culpable

 than the remaining co-defendants is not alone [a] sufficient ground’ to overturn a district court

 that decides to try defendants together.” Id. at p. 6 (citing to United States v. Williams, 45 F.3d

 1481, 1484 (10th Cir. 1995)).

        5.      Counsel for Mr. and Mrs. Tew filed a Reply Re: Defendant Kimberly Ann Tew’s

 Motion For Severance on behalf of Mrs. Tew on August 23, 2022 addressing these same issues –

 Bruton and differences in the quantity of evidence implicating his clients. Doc. 248.

        6.      Neither the government’s Response, nor Mrs. Tew’s Reply, raised the concept of

 antagonistic or mutually exclusive defenses.

        7.      The Court issued its Order Denying Motion For Severance on October 27, 2022.

 Doc. 260. The Order addressed the Bruton challenge, with respect to Mr. Tew’s call with

 Jonathan Yioulos and the proffer agreements, and prejudicial joinder under Rule 14(a) with

 respect to the quantity and type of evidence related to Mr. Tew and Mrs. Tew. Id. The Order

 addressed inter alia the possibility of negative spill-over effect in a joint trial, that disparate

 culpability is not unusual in joint trials, and the inapplicability of United States v. Sarracino, 340

 F.3d 1148, 1165 (10th Cir. 2003). Id. at 7-8. Ultimately, the Court decided that the difference

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                                                               PageColorado
                                                                   5 of 16                       pg
                                  733 of 1354




 in number of counts and culpability between Mr. and Mrs. Tew does not present a risk of real

 prejudice in this case, and nor would a jury be unable to independently evaluate Mr. and Mrs.

 Tew because they are married. Id. at 7. The Court’s Order did not address the issue of finger

 pointing, or antagonistic defenses, because that basis for severance had not been previously

 asserted by counsel for Mrs. Tew (or Mr. Tew).

        8.      No attorney has filed a motion to sever on behalf of Mr. Tew in this matter.

        9.      Discovery in this matter is voluminous. It consists of multiple terabytes of

 reports, audio recordings and transcripts, including the transcripts of the proffer interviews of

 Mr. Tew and Mrs. Tew. When the Tews gave these interviews at the beginning of this case, Mr.

 Tew requested a carve out for Mrs. Tew in his first proffer, and Mrs. Tew did the same in her

 proffer. Doc. 394.1, Exhibit A. This carve out was so that Mr. Tew could decline to answer

 questions about Mrs. Tew and all facts and alleged exposure related to her in the debriefing

 session. Mrs. Tew negotiated the same type of carve out. Doc. 394.3, Exhibit C.

        10.     Undersigned counsel for Mr. Tew has never been party to a joint defense

 agreement with current counsel for Mrs. Tew. More recently, the two sets of attorneys have

 conferred about trial logistics, for example, to be efficient and prudent. Counsel for the two

 defendants have also discussed other practical matters, such as exhibits, witness issues and other

 non-privileged, routine matters.

        11.     Undersigned counsel has not had access to Mrs. Tew’s trial strategy, work

 product or attorney-client communications. They did not have knowledge, indirect or otherwise,

 about Mrs. Tew’s defense, investigation, trial strategy or what the content of her attorney’s

 opening statement would be. Likewise, counsel for Mrs. Tew did not have access to the strategy,



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                                                   01/24/25
                                                     02/08/24 USDC
                                                               PageColorado
                                                                   6 of 16                      pg
                                  734 of 1354




 investigation, or work product of Mr. Tew’s attorneys. Nor, did they know or have access to Mr.

 Tew’s theory of defense or what his attorney would say in opening statement.

                                                Discussion

    I. Mr. Tew Has Not Waived Or Forfeited This Severance Request Because It Was Not
       Ripe Or Timely Until After Opening Statements.

        Relying upon generalities, the government has improperly argued that Mr. Tew has

 somehow waived a specific rule and constitutional based challenge. But his severance motion is

 founded on fluid developments and evidence in an ongoing trial and there has been no

 abandonment of any known right on his part. The government’s position overlooks the fact that

 Mr. Tew’s motion could not have been raised earlier because the facts and circumstances giving

 rise to the need for a severance were not known until trial had begun.

        “Waiver is different from forfeiture. Whereas forfeiture is the failure to make the timely

 assertion of a right, waiver is the ‘intentional relinquishment or abandonment of a known

 right.’” United States v. Carrasco-Salazar, 494 F.3d 1270, 1272 (10th Cir. 2007)(quoting United

 States v. Olano, 507 U.S. 725, 733 (1993)). Waiver is accomplished by intent,

 whereas forfeiture comes about through neglect. Carrasco-Salazar, 494 F.3d at 1272. Mr. Tew

 has neither waived, nor forfeited, his right to request a severance through intent, or through

 neglect.

        The severance motion filed on behalf of Mrs. Tew raised Bruton and Sixth Amendment

 concerns and argued the fact that Mrs. Tew was facing less charges than Mr. Tew and that the

 quantity of charges and evidence may prejudice Mrs. Tew at trial. Doc. 218. The related

 response, reply and Order address only those issues.     None of these pleadings, or the related

 order, addressed antagonistic defenses, or mutually exclusive defenses, because the issue was not


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      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                                   01/24/25
                                                     02/08/24 USDC
                                                               PageColorado
                                                                   7 of 16                       pg
                                  735 of 1354




 raised by prior counsel. Contrary to the government’s prior assertions on the record during trial,

 the specific basis for severance at issue now was not addressed in prior defense motions or the

 related Order. Further, it is difficult to imagine that Mr. Tew, who was represented by the same

 attorney as Mrs. Tew and relied upon that same attorney’s advice, could have waived a known

 right to move to sever the trial based on antagonistic defenses at that stage of the case.    The

 same logic applies to forfeiture.

        Since the outset of this case, the Tews’ conduct (that which is now documented in the

 record) has not reflected antagonism, despite their status as husband and wife co-defendants.

 Before agreeing to be debriefed by the government, Mr. Tew negotiated a carve out in the terms

 and conditions of his proffer agreement so that he was not compelled to say anything about Mrs.

 Tew. Exhibit B. The transcript of the proffer meeting shows Mr. Tew trying to protect Mrs.

 Tew. See Doc. 394.1. The same is true for Mrs. Tew, who obtained the same carve out. This

 conduct shows the Tews were not contemplating antagonistic defenses at the time that Mrs.

 Tew’s motion to sever was filed. 3       Undersigned counsel cannot speak to what the client

 dynamics looked like at that stage of the case.

        Moving to more recent times, after trial in this matter was continued and new counsel

 were appointed for Mr. and Mrs. Tew, the Court scheduled another motions filing deadline.

 Doc. 338. A motion to sever was not filed at that point because the level of antagonism that exits

 now during trial, did not exist then in a way that would have substantiated filing a meritorious

 severance motion, or a ripe motion. Undersigned counsel is not at liberty to discuss client

 dynamics, client communications or client confidences at the time of the last filing deadline, or




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         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                                     02/08/24 USDC
                                                               PageColorado
                                                                   8 of 16                            pg
                                  736 of 1354




 now during trial. Colo. RPC 1.6, 1.7. What undersigned counsel can assert is that Mr. Tew’s

 defense team has not been, and is not, in a joint defense agreement with Mrs. Tew’s counsel.

 Mr. Tew’s counsel has had no access to Mrs. Tew’s trial strategy, communications with her

 attorneys or what approach Mrs. Tew would take at trial over the past many months.

        Criminal trials are fluid and unpredictable, and what a criminal trial will ultimately look

 like after a jury is sworn typically remains unclear during the weeks and months leading up to a

 trial. Criminal defense attorneys, for example, as a general rule do not have the ability to take

 depositions in advance of trial. Unlike in a civil matter, where discovery typically closes on a

 date certain, the government in a federal criminal case oftentimes produces discovery and

 witness statements at the last minute, and the information contained in those late disclosures

 impacts the evolving defense strategy at trial. In the practice of criminal defense work, it is

 impossible to have a crystal ball, or any reliable indication of what could happen during a trial.

        In this case, there were many last-minute events that impacted trial strategy.            For

 instance, as of the last motions filing deadline in October of 2023, the James hearing had not yet

 occurred. The defense was not on notice of what exact evidence from the James log would

 actually be admitted at trial until the Court issued its Order Regarding Admissibility Of Rule

 801(d)(2)(E) Statement on December 29, 2023. Doc. 361. The government did not file its final

 exhibit and witness lists until February 2, 2024, three days before trial. Docs. 407, 408. And,

 since the defense has no burden of proof, oftentimes defense strategy (although ongoing) is only

 solidified upon notice of how the government plans to prove its case and what evidence it will

 use to do so.



 3
   Mr. Tew’s second proffer letter did not contain this carve out and counsel cannot say any more
 than that. See CRPC 1.6, 1.7. Mrs. Tew had not yet been indicted at the time of this second
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            1:20-cr-00305-DDDDocument
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                                                   01/24/25
                                                     02/08/24 USDC
                                                               PageColorado
                                                                   9 of 16                          pg
                                  737 of 1354




          It should also be noted that the government disclosed significant additional discovery in

 the last several weeks and days leading up to trial, and these disclosures have continued during

 the trial. 4 Even today, over the lunch break the government just disclosed interview notes for

 witnesses that may testify today. That the defense has been receiving and reviewing discovery

 on an ongoing and last minute basis is another factor that has compounded the antagonistic

 nature of the positions of Mr. Tew and Mrs. Tew, as new information emerges in each new

 disclosure.

          In sum, there are several practical reasons why a pre-trial motion for severance based on

 antagonistic, or mutually exclusive defenses, was simply not appropriate, timely or ripe before

 trial.   And, the Rules of Criminal Procedure recognize that there must be room for a criminal

 defendant to move for severance after trial has begun. Rule 12 requires a defendant to file

 motions to sever before trial only if the basis for the motion was reasonably available before the

 trial and the motion can be determined without a trial on the merits. Fed. R. Crim. P.

 12(b)(3)(D).

          Also, the unique position of a criminal defendant and the rights that protect the accused

 should also be noted at this juncture. With some specific exceptions related to specific defenses

 that are not at issue here, a defendant has no obligation or duty to reveal his strategy, his general

 defenses or the core of his defense in a pleading before the Court. In fact, in almost all cases it

 would be unwise to do so. By way of analogy, in analyzing the constitutionality of a trial court’s

 order requiring a criminal defendant to produce exhibits thirty days before trial began, the




 proffer.
 4
   The defense has received hundreds of pages of new discovery over the last several weeks.
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Case No.
     Case1:20-cr-00305-DDD
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                                      645-2
                                         420 filed
                                              Filed01/24/25
                                                    02/08/24 USDC
                                                              Page Colorado
                                                                   10 of 16                          pg
                                  738 of 1354




 Supreme Court of Colorado acknowledged that the special rights of the accused prohibits such

 disclosures:

        The disclosure order compels Kilgore to reveal exculpatory evidence and to tip his hand
        vis-à-vis his investigation and the theory of his defense. In effect, it forces Kilgore to
        share with the prosecution his trial strategy —i.e., how he plans to defend against the
        charges brought against him. This is problematic. Gaining access to Kilgore's exhibits
        prior to trial may help the prosecution meet its burden of proof. Put differently, the
        disclosure requirement rests on shaky constitutional ground because it improperly risks
        lessening the prosecution's burden of proof.

        People v. Kilgore, 2020 CO 6, ¶ 29, 455 P.3d 746, 751.

        In this case, not only was a severance request not yet ripe before trial but filing one would

 have required Mr. Tew to explain his defense strategy under Jones would have put him in the

 unconstitutional position of lessening the prosecution’s burden of proof, when nothing had yet

 triggered his duty to make such a motion.

        Based on all of these evolving developments and moving parts, Mr. Tew’s motion for

 severance was not an untimely request, Carrasco-Salazar supra, based on all of the factors

 described above and this issue has not been forfeited or waived.

    II. United States v. Jones. 530 F.3d 1292 (10th Cir. 2008) Does Not Require A Different
        Result.

        United States v. Jones. 530 F.3d 1292 (10th Cir. 2008), is inapposite to the facts of this

 case because this case now involves a defense that Mrs. Tew is not guilty, because Mr. Tew is

 guilty, and his guilt negates her – the classic problematic finger pointing situation. However,

 applying the three-part test in Jones to the distinct facts of this case demonstrates why the Court

 should grant Mr. Tew’s request for severance.

        In Jones, Ms. Jones and Mr. Wright were charged jointly for conspiracy and bank fraud

 related to a check fraud scheme involving Wells Fargo. Jones, 530 F.3d at 1297. Mr. Jones was


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Case No.
     Case1:20-cr-00305-DDD
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                                      645-2
                                         420 filed
                                              Filed01/24/25
                                                    02/08/24 USDC
                                                              Page Colorado
                                                                   11 of 16                         pg
                                  739 of 1354




 additionally charged with drugs and firearms offenses in this same case. Id. Prior to trial, both

 defendants filed separate motions to sever. Id. at 1298. Ms. Jones moved to sever the drug and

 firearm counts because she wanted to testify as to one or some counts, but not others. Mr.

 Wright moved to sever his trial from Ms. Jones’ trial because he claimed that the drug trafficking

 charges related to Ms. Jones would prejudice him at trial. The District Court denied both

 severance requests.

        On appeal, and in relevant part, Mr. Wright argued that severance was warranted because

 he and Ms. Jones presented mutually exclusive defenses. Id. at 1301. The Tenth Circuit applied

 a three-step test to determine whether a defendant will be prejudiced because he and a co-

 defendant will present defenses that are mutually exclusive. 5 Id. at 1304 (citing to Pursley, 474

 F.3d at 765). “The conflict between the defendants' defenses must be such that the jury, in order

 to believe the core of one defense, must necessarily disbelieve the core of the other.”          Id.

 (quoting United States v. Dazey, 403 F.3d 1147, 1165 (10th Cir.2005) (emphasis added) (internal

 quotation marks omitted). The Court held that the defenses were not so antagonistic that they

 were mutually exclusive, that Mr. Wright’s guilt was not a viable legal defense for Ms. Jones and

 that the core of Ms. Jones’ defense did not necessarily depend on Mr. Wright’s guilt. Id.

        Here, unlike Jones, the prejudicial nature of the joint trial is not limited to one defendant

 facing additional and/or accusations of a different nature.         For example, the prejudicial


 5
   First, a court must determine whether the two defenses are so antagonistic that they are
 mutually exclusive. Id. Second, because “mutually antagonistic defenses are not prejudicial per
 se,” a court must consider whether there is “a serious risk that a joint trial would compromise a
 specific trial right . . . or prevent the jury from making a reliable judgment about guilt or
 innocence.” Id. (quoting Zafiro, 506 U.S. at 539). Third, if a defendant shows that the case
 satisfies the first two factors, the trial court must “weigh the prejudice to a particular defendant
 caused by joinder against the obviously important considerations of economy and expedition in
 judicial administration.” Id. (quoting Pursley, 474 F.3d at 765).

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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         420 filed
                                              Filed01/24/25
                                                    02/08/24 USDC
                                                              Page Colorado
                                                                   12 of 16                          pg
                                  740 of 1354




 comments that have been presented to the jury about the antagonistic defenses in this case are not

 just limited to a few examples, as was the case in Jones. See id. (Specifically referring to the

 following statement made by Ms. Jones’ counsel: “[I]t will be up to you to decide when you go

 back to deliberate, did Shyla Jones act knowingly and voluntarily [?]”). The finger pointing has

 been present from opening statements onwards.          This is now the classic case of mutually

 antagonistic defenses, which will continue to grow throughout trial, and continue to result in

 uncurable prejudice to Mr. Tew.

        Under the first Jones prong, the two defenses between Mr. and Mrs. Tew are so

 antagonistic now that they are mutually exclusive. Jones, 530 F.3d at 1304. Since trial has

 begun, Mrs. Tew has unequivocally implicated Mr. Tew through attorney argument and cross-

 examination in a manner that only suggests that Mrs. Tew is not guilty – because Mr. Tew is

 guilty. Mrs. Tew said this out of the gate repeatedly during her opening statement, in a way that

 the jury will likely convict Mr. Tew of all counts, and very likely may convict Mrs. Tew of none.

 Ant, this argument is the very definition of a situation involving prejudicial antagonistic

 defenses, or mutually exclusive ones, that developed late in the game, due to many factors,

 outside of Mr. Tew’s control.

        For example, in opening statement, Mrs. Tew asserted the following: 6

        This case is about a scheme concocted and executed by Michael Tew and Jon Yioulos
        that resulted in millions of dollars of loss to National Air Cargo. (p. 19, lines 20-24)

        And yes, both of them ended up experts at that, and they worked together. They were
        both in sort of a related part of the business. The financial part of the business. And why
        is that important? It's important because the combination of these two people working
        with each other, ultimately on behalf of National Air Cargo, and then on behalf of each
        other, was what made what was otherwise a scheme very difficult to do, very difficult to
        understand, very difficult to work out, very difficult not to get caught, because this -- this
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   The rough draft transcript of opening statements is attached hereto as Exhibit A. The page
 references above are citations to Exhibit A.
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Case No.
     Case1:20-cr-00305-DDD
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                               Document
                                      645-2
                                         420 filed
                                              Filed01/24/25
                                                    02/08/24 USDC
                                                              Page Colorado
                                                                   13 of 16                          pg
                                  741 of 1354




       is not something that can be done by somebody that didn't know not only about finances,
       but didn't know about the finances of this company, and what they both knew is they
       knew how vendors were identified.
       (pgs 20-21, lines 23-25, 1-10).

       They knew how invoices were to be approved, and invoices would be forwarded to
       accounts payable, how invoices would then be paid out. They even knew more important
       things than that, which is, how could you fly under the radar? How could you do it so you
       don't get caught? These are -- this is not a scheme or a plan or a design, as I said, that can
       be a run-of-the-mill put together program. This is a scheme and a plan that only could be
       executed because both of these individuals knew the weaknesses at NAC.
       (p 21, lines 12-20)

       And the two of them were able to create this, create this that resulted in the loss to NAC.
       (p 22, lines 1-2)

       And the two of them together were able to function in this way, as I said, because they
       knew how to do the invoices, and set up the vendors, and they knew how to get it by,
       because Jon Yioulos was the person who could approve the invoices, send them to
       accounts payable, have his signature, on hundreds of these, saying I approve this
       payment, Jon Yioulos and Michael Tew. Then there's a whole other part of this plan of
       theirs, which is, where does the money go?
       (p 23, lines 9-16)

       There is one account that you will see this money being deposited into that Kimberly Tew
       has any signatory authority. You know what, it's Navy Federal Credit Union, and you
       will see it. Guess what? She is not the only signatory on that account, because the other
       individual who has authority to work in that account, to put money into that account and
       to take out money of that account is Michael Tew. The only one account that this money
       was distributed to from NAC into bank accounts that has Kimberly Tew's name on it, is
       also one that's jointly held with Michael.
       (p 24, lines 13-22)

       Because Michael Tew is a player, who makes money, and can make money for NAC. He
       can make money in other places, he can make money when he has worked for people in
       the marijuana industry.
       (p 25, lines 12-15)

       So distinguishing the participants, it's going to come down to a company for sure, and
       then the behavior and the design and intent and the scheme of Jon Yioulos and Michael
       Tew, and rather than just say the Tews, that seems to roll off the government's tongues,
       without making that kind of distinction that's so important.
       (p 26, lines 3-8)



                                                13




                                                                                                          741
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         420 filed
                                              Filed01/24/25
                                                    02/08/24 USDC
                                                              Page Colorado
                                                                   14 of 16                           pg
                                  742 of 1354




        So I ask you, as I'm sure you will, to pay close attention to who was needed for the
        scheme, who had the knowledge and the intelligence for the scheme, who got it
        through NAC, where it went from NAC to whose accounts, and after you are done
        looking at the government's case, you will realize that, while, Kimberly Tew was around
        for these years, they have not proven beyond a reasonable doubt her criminal
        participation.
        (p 26, lines 9-16)

        This opening statement, or what the evidence would show from Mrs. Tew’s perspective,

 was that “they” – meaning Mr. Tew and Mr. Yioulos – are the ones who worked at NAC, had the

 access, knowledge and intelligence to conspire together to commit all of the charged crimes.

 Indeed, the opening started with the position that: “This case is about a scheme concocted and

 executed by Michael Tew and Jon Yioulos that resulted in millions of dollars of loss to National

 Air Cargo.” Exhibit A, p 19, lines 22-24. This opening statement is a classic example of finger

 pointing and mutually exclusive defenses.

        The same goes for Mrs. Tew’s cross-examination of Mr. Yioulos’s statements, text

 messages, interactions with Mr. Tew, and Mr. Yioulos’s testimony about documents and

 invoices. This line of questioning equally implicated Mr. Tew as the guilty party who conspired

 and schemed with Mr. Yioulos. And, that therefore, Mrs. Tew is not guilty. As counsel for Mr.

 Tew stated on the record, this cross-examination Mrs. Tew’s attorney literally pointing his finger

 at Mr. Tew numerous times. This is another classic example of mutually exclusive defenses –

 Mrs. Tew did not scheme with Mr. Yioulos, but Mr. Tew did.

        Second, and although “mutually antagonistic defenses are not prejudicial per se,” the

 facts here establish that there is “a serious risk that a joint trial would compromise a specific trial

 right . . . or prevent the jury from making a reliable judgment about guilt or innocence.” Jones,

 530 F.3d at 1304 (quoting Zafiro, 506 U.S. at 539). Based on testimony that has been elicited

 from the government’s witnesses, the dynamic discussed above will continue throughout this

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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         420 filed
                                              Filed01/24/25
                                                    02/08/24 USDC
                                                              Page Colorado
                                                                   15 of 16                           pg
                                  743 of 1354




 trial where Mrs. Tew points to evidence that she was not involved in a conspiracy, a scheme to

 defraud, illegal wires or money laundering. But, that Mr. Tew and Mr. Yioulos were. This

 situation now poses a real risk that the jury will not view Mr. Tew as an individual defendant and

 hold the government to its burden of proof to Mr. Tew, the same way it would if he were to be

 tried without Mrs. Tew present as a co-defendant. This dynamic will continue to have an impact

 on Mr. Tew’s constitutional rights to a fair trial, due process and to a fair and impartial jury that

 will not be impacted by the antagonistic and mutually exclusive defense that has developed

 between himself and Mr. Tew.

         Third, according to Jones, if a defendant shows that the case satisfies the first two factors,

 the trial court must “weigh the prejudice to a particular defendant caused by joinder against the

 obviously important considerations of economy and expedition in judicial administration.” Id.

 (quoting Pursley, 474 F.3d at 765). Here, this Court should weigh this prejudice to Mr. Tew in

 light of concerns over judicial economy. Mr. Tew faces 59 counts and learned for the first time

 in opening statement that Mrs. Tew’s primary defense is that she is not guilty because he

 committed all of these crimes. Under these circumstances, Mr. Tew’s important constitutional

 rights are in sever jeopardy and no considerations of economy and convenience can outweigh

 them.

         Accordingly, based on the foregoing facts and law, Michael Tew respectfully files this

 renewed motion for severance pursuant to Federal Rule of Criminal Procedure 14(a) and moves

 this Court to sever his trial from that of his co-defendant wife, Kimberly Tew.

                                                Respectfully submitted,

                                                s/ Kristen M. Frost
                                                Kristen M. Frost
                                                RIDLEY, MCGREEVY & WINOCUR, P.C.
                                                303 16th Street, Suite 200
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                                                                                                           743
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         420 filed
                                              Filed01/24/25
                                                    02/08/24 USDC
                                                              Page Colorado
                                                                   16 of 16                       pg
                                  744 of 1354




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                                              Attorneys for Defendant Michael Tew


         I hereby certify that the foregoing pleading complies with the type-volume limitation set
 forth in Judge Domenico’s Practice Standard III(A)(1).


                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 8th day of February 2024, I served a true and correct copy of
 the foregoing MICHAEL TEW’S RENEWED MOTION FOR SEVERANCE electronically
 with the Clerk of the Court via the CM/ECF system, which will send notice of such filing to the
 Court and parties.



                                                      s/ Heather Grant
                                                      Heather Grant




                                                 16




                                                                                                       744
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDD Document
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                                                      01/24/25
                                                          02/08/24USDC
                                                                    Page
                                                                       Colorado
                                                                         1 of 8   pg
                                   745 of 1354                                    19
                                  REALTIME TRANSCRIPT

  1    spark, the heat.       The element that eventually grows and left

  2    uncontrolled becomes a conflagration that runs out of control

  3    destroying the things in its wake.           The second element of a

  4    fire is oxygen.      The breath of the fire, without which the fire

  5    would be choked off, there would be no fire.              The element that

  6    has the ability to deny the fire its life.             And finally, ladies

  7    and gentlemen, every fire must have fuel.             The very object, the

  8    very material that the fire consumes, that the fire consumes

  9    only to prolong its own life, to only prolong the flames, to

 10    keep them coming, and in the end, the fuel is left ravaged.

 11    It's left destroyed.        It's left as nothing more than dust.               And

 12    there's nothing left to show of it, and as you consider the

 13    evidence presented to you as the trial develops, I ask that you

 14    see behind the Indictment.         I ask that you see the full story,

 15    and make an effort to understand what is really going on here.

 16    Thank you.

 17               THE COURT:     Thank you, Mr. Schall.        Mr. Kaplan.

 18               MR. KAPLAN:      Thank you, judge.

 19                                 OPENING STATEMENT

 20               MR. KAPLAN:      May it please the Court.

 21               THE COURT:     Go ahead.

 22               MR. KAPLAN:      This case is about a scheme concocted and

 23    executed by Michael Tew and Jon Yioulos that resulted in

 24    millions of dollars of loss to National Air Cargo.                That's what

 25    you are going to hear, that's what the evidence is going to
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                                                          02/08/24USDC
                                                                    Page
                                                                       Colorado
                                                                         2 of 8   pg
                                   746 of 1354                                    20
                                  REALTIME TRANSCRIPT

  1    demonstrate, when the government attempts to prove their case.

  2               Jon Yioulos, as was briefly mentioned, was an employee

  3    of National Cargo, an employee that started as an accounts

  4    executive, became a manager, became a controller, and he was

  5    intimately familiar with all of the financial workings, all of

  6    the financial circumstances all of the financial procedures,

  7    all the way -- the way National Air Cargo got its money,

  8    distributed its money.        He was intimately familiar with.

  9               Michael Tew, as you heard from the government, was

 10    hired by National Air Cargo, he was a pretty impressive guy

 11    with an MBA from NYU, very well-spoken, knew about finances,

 12    was liked by the head of NAC, that's how you will hear about

 13    that company, and came in to do just some work for them, and

 14    worked his way into a position of great responsibility.                Worked

 15    his way into a position, under contract, as the chief financial

 16    officer, and similarly to Jon Yioulos, he also became

 17    intimately familiar with the financial workings, the processes,

 18    the procedures, how NAC did business from a financial

 19    standpoint.     What were the strengths of their financial

 20    circumstances?      What were the strengths of the processes?              How

 21    did they do it?      How did they take care of all that the

 22    government just talked about with vendors and money coming in

 23    and money coming out?        And yes, both of them ended up experts

 24    at that, and they worked together.           They were both in sort of a

 25    related part of the business.          The financial part of the




                                                                                        746
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDD Document
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                                                      01/24/25
                                                          02/08/24USDC
                                                                    Page
                                                                       Colorado
                                                                         3 of 8   pg
                                   747 of 1354                                    21
                                  REALTIME TRANSCRIPT

  1    business.     And why is that important?         It's important because

  2    the combination of these two people working with each other,

  3    ultimately on behalf of National Air Cargo, and then on behalf

  4    of each other, was what made what was otherwise a scheme very

  5    difficult to do, very difficult to understand, very difficult

  6    to work out, very difficult not to get caught, because this --

  7    this is not something that can be done by somebody that didn't

  8    know not only about finances, but didn't know about the

  9    finances of this company, and what they both knew is they knew

 10    how vendors were identified.          They knew how vendors would bill

 11    for their services.       They knew how invoices were to come into

 12    the company.      They knew how invoices were to be approved, and

 13    invoices would be forwarded to accounts payable, how invoices

 14    would then be paid out.        They even knew more important things

 15    than that, which is, how could you fly under the radar?                How

 16    could you do it so you don't get caught?             These are -- this is

 17    not a scheme or a plan or a design, as I said, that can be a

 18    run-of-the-mill put together program.            This is a scheme and a

 19    plan that only could be executed because both of these

 20    individuals knew the weaknesses at NAC.

 21               They knew how to avoid the audits.           They knew how to

 22    to define the companies, to determine what companies would be

 23    accepted, and what companies would be accepted and charging a

 24    certain amount of money that, for a company this big, wouldn't

 25    be seen by the other financial people involved in the company.




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                                                          02/08/24USDC
                                                                    Page
                                                                       Colorado
                                                                         4 of 8   pg
                                   748 of 1354                                    22
                                  REALTIME TRANSCRIPT

  1    And the two of them were able to create this, create this that

  2    resulted in the loss to NAC.

  3               The government sometimes in their opening talked about

  4    Michael Tew occasionally about Ms. Tew and a lot just by saying

  5    the Tews.     The Tews.     Well, it's important for you to evaluate

  6    who was responsible for this?          Who committed this crime, and

  7    not lump these two people together, that's not their

  8    responsibility.      Their responsibility is to prove their case

  9    beyond a reasonable doubt as it relates to two different and

 10    defined individuals, facing the charges that bring us all into

 11    this room today, and for the next week.

 12               Now, you are going to hear from Mr. Yioulos.              I assume

 13    that part of what you are going to hear -- I know what you are

 14    going to hear is that he was a reluctant participant over the

 15    years that he did this.        He was a reluctant participant, but

 16    this wasn't his first rodeo at NAC.           This wasn't something that

 17    was the first time that he decided to steal from NAC.                He had

 18    done it before he even met Michael Tew, and he did it in a way

 19    that was very similar, it was an invoice scheme, because he was

 20    sitting there with another one of the employees at NAC talking

 21    about hey, you know, we can identify how sloppy this

 22    financial -- this organization is with their finances.                I bet

 23    you that we could provide invoices that they would pay, that we

 24    could then receive, without ever being noticed, and that's what

 25    they did.     They did it when they just said, You know what, I




                                                                                       748
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         1:20-cr-00305-DDD
            1:20-cr-00305-DDD Document
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                                                      01/24/25
                                                          02/08/24USDC
                                                                    Page
                                                                       Colorado
                                                                         5 of 8   pg
                                   749 of 1354                                    23
                                  REALTIME TRANSCRIPT

  1    need some money.       My wife spends a lot of money.          I'm working

  2    on the house.      You want to get it into your account or you want

  3    to get it into my account; doesn't matter because whenever we

  4    get it, well split it 50/50.          That was before he met Michael

  5    Tew or knew who Kimberly Tew was.           So the idea that when you

  6    hear about a bolt of lightning, the consciousness, he was so

  7    relieved that this nightmare was over.            There's a character

  8    that you will evaluate for yourself.            And the two of them

  9    together were able to function in this way, as I said, because

 10    they knew how to do the invoices, and set up the vendors, and

 11    they knew how to get it by, because Jon Yioulos was the person

 12    who could approve the invoices, send them to accounts payable,

 13    have his signature, on hundreds of these, saying I approve this

 14    payment, Jon Yioulos and Michael Tew.

 15               Then there's a whole other part of this plan of

 16    theirs, which is, where does the money go?             You have the

 17    vendors, where does the money go?           And you are going to see a

 18    lot of documents, a lot of bank records, a lot of

 19    communication, and it's not just volume that's important, it's

 20    taking a look closer to see whether all of those documents

 21    establish the guilt of Ms. Kimberly Tew beyond a reasonable

 22    doubt.    And what you will find is that the money that was

 23    wrongfully received from NAC and put into bank accounts, went

 24    into nine or ten different bank accounts.             By the time this

 25    case is over you are probably going to have to sense yourself




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         1:20-cr-00305-DDD
            1:20-cr-00305-DDD Document
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                                                      01/24/25
                                                          02/08/24USDC
                                                                    Page
                                                                       Colorado
                                                                         6 of 8   pg
                                   750 of 1354                                    24
                                  REALTIME TRANSCRIPT

  1    of some of these numbers.         They are not important right now,

  2    you will see it with the presentation of the government's case,

  3    but what you will see is that money gets deposited into an ANB

  4    Bank account, Kimberly Tew isn't a signatory.              Into an Access

  5    National Bank account, 5965.          Kimberly Tew is not a signatory.

  6    PBVA account 0987, Kimberly Tew isn't a signatory.               Guaranty

  7    Bank & Trust Company, 7867, an account who the signatory is

  8    Michael Tew.      Region Bank 4514, Kimberly Tew is not a

  9    signatory.     Wells Fargo, 6934, Michael Tew account.            Wells

 10    Fargo 2064, a Michael Tew account.           Navy Federal Credit Union,

 11    account 5336, a Michael Tew account.            Navy Federal Credit

 12    Union, 3094, a Michael Tew account.

 13               There is one account that you will see this money

 14    being deposited into that Kimberly Tew has any signatory

 15    authority.     You know what, it's Navy Federal Credit Union, 8486

 16    and you will see it.        Guess what?     She is not the only

 17    signatory on that account, because the other individual who has

 18    authority to work in that account, to put money into that

 19    account and to take out money of that account is Michael Tew.

 20    The only one account that this money was distributed to from

 21    NAC into bank accounts that has Kimberly Tew's name on it, is

 22    also one that's jointly held with Michael.

 23               So the volume, the -- looking at the money, and where

 24    it goes, it's important to look at it with a critical eye,

 25    because there are two defendants here.            You have already been




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                                          420-1 filed
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                                                          02/08/24USDC
                                                                    Page
                                                                       Colorado
                                                                         7 of 8   pg
                                   751 of 1354                                    25
                                  REALTIME TRANSCRIPT

  1    told just, it's not -- I can't say it's a corollary to this,

  2    because counts can mean many different things, but you have now

  3    heard from the government and from Michael Tew's attorney, the

  4    difference in the number of counts, just shows you from jump

  5    street that there's a distinction.

  6               And yes, Kimberly Tew is married to Michael Tew, and

  7    they have two children.        Michael Tew was a consultant, and

  8    chief financial officer for NAC.           He also was allowed, as a

  9    contractor and as the government said to participate in other

 10    types of businesses to bring money in.            To maintain the pretty

 11    comfortable, if not better than comfortable, lifestyle that the

 12    family was used to.       Because Michael Tew is a player, who makes

 13    money, and can make money for NAC.           He can make money in other

 14    places, he can make money when he has worked for people in the

 15    marijuana industry.

 16               And Kimberly did some work.          She did some work for

 17    NAC, that's kind of the melding of things.             Oh yeah, she

 18    worked -- take a look at how little that really was.                She is a

 19    smart lady, but a business person, with the ability to bring

 20    money in and have the income to make the lifestyle of their

 21    family, what it was.        No.   That's Michael.      And Kimberly did do

 22    some gambling and did do some Bitcoin trading.              She is not here

 23    for violating cryptocurrency laws or for her gambling, which

 24    she probably did do a little too much of.             And you will hear

 25    conversations between a husband and a wife, and they are




                                                                                       751
Case No.
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         1:20-cr-00305-DDD
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                                          420-1 filed
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                                                          02/08/24USDC
                                                                    Page
                                                                       Colorado
                                                                         8 of 8   pg
                                   752 of 1354                                    26
                                  REALTIME TRANSCRIPT

  1    talking about finances, and they are talking about what could

  2    be perceived as funds justifiably received by Michael Tew.

  3               So distinguishing the participants, it's going to come

  4    down to a company for sure, and then the behavior and the

  5    design and intent and the scheme of Jon Yioulos and Michael

  6    Tew, and rather than just say the Tews, that seems to roll off

  7    the government's tongues, without making that kind of

  8    distinction that's so important.

  9               So I ask you, as I'm sure you will, to pay close

 10    attention to who was needed for the scheme, who had the

 11    knowledge and the intelligence for the scheme, who got it

 12    through NAC, where it went from NAC to whose accounts, and

 13    after you are done looking at the government's case, you will

 14    realize that, while, Kimberly Tew was around for these years,

 15    they have not proven beyond a reasonable doubt her criminal

 16    participation.      Thank you.

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                                   753 of 1354




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                                                               Jason II. Dunn
                       /'Y'                                    United Slates Attorney
        A. \L/ /'
                                                               District of Colorado

       HetalJ. Doshi                                          1801 California Street. Suite 1600   Telephone: 303-454-0100
       Assistant United States Attorney                       Denver. CO 80202                     Fax: 303-454-0405




                                                               July 12, 2020


       Via Email
       Michael Sheehan, Esq.
       Counsel to Michael Aaron Tew
       Sheehan Law Denver
      7400 East Caley Avenue
      Quebec Center II
      Suite 300
      Centennial, Colorado 801 1 1
      michael@shechanlawdenver.com
      720.38 1.6146


      Dear Mr. Sheehan.


      I understand your client, Michael Tew, is interested in meeting with federal law enforcement
      agencies and the Criminal Division of the United States Attorney's Office for the District of
      Colorado for a proffer related to this office’s criminal investigation of conduct related to or
      arising out Mr. Tew’s financial transactions, direct or indirect, with National Air Cargo, and
      subsequent transactions initiated by or for the benefit of Mr. Tew, either directly or indirectly.
      This letter sets out the terms for that proffer, to be scheduled soon and set to occur in Denver,
      and any follow up proffer sessions between the Criminal Division of the United States
      Attorney’s Office for the District of Colorado (“the government”), and you and your client.


                 Your client agrees that he will truthfully and completely disclose all information with
      respect to his activities and the activities of others that are the subject of inquiry by the
      government during the proffer. In this regard, your client must neither attempt to protect any
      person, entity, or asset through materially false information or omission, nor falsely implicate
      any person, entity, or asset. The only limited exception to this is that Mr. Tew has elected at this
      time not to answer questions that may specifically implicate his wife, Kimberly Tew. He has
      consulted with his counsel and understands that this decision could diminish the value, if any, of
      his cooperation. Mr. Tew has stated that he may revisit this decision in the future. In the event


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                                                      01/24/25
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                                                                       Colorado
                                                                         2 of 4                                 pg
                                   754 of 1354




           that Mr. Tew agrees in the future to answer questions that may specifically implicate his wife,
       such a change will be memorialized in a subsequent proffer agreement. At a future time your
       client may be subpoenaed to testify before a federal grand Jury, at trial, or in other court
       proceedings. You and your client understand that false statements willfully made during this
       proffer will negate the Government's agreement not to use this proffered information against
       your client.


       2.         Except as set forth below, the government will not offer as evidence statements made by
       your client, or other information provided by your client during the proffer relating to the subject
       matter of the proffer, in (a) grand jury proceedings seeking an indictment against your client, (b)
       its case-in-chief at a trial against your client, or (c) at your client’s sentencing.


       3.        The government may use any statements made by your client or any information directly
       or indirectly derived from statements made by your client during the proffer for any other
       purpose, including (a) to obtain leads to other evidence that may be used against your client at
       any stage of a criminal prosecution, (b) in any prosecution of your client for perjury, false
       statements, or obstruction ofjustice, or (c) in a prosecution of your client for any crimes of
       violence, as defined in Title 1 8, United States Code, Section 1 6, or any conspiracy to commit a
      crime of violence. Provision (a) eliminates the need for a hearing at which the government
      would have to prove that the evidence it would introduce at trial is not tainted by any statements
      made by or other information provided by your client during the proffer. See Kasligarv. United
      States, 408 U.S. 931 (1 972). It is the intent of this agreement to establish that such derivative use
      is proper. By signing this letter, your client expressly waives any right to challenge the
      derivative use of such statements or information.


      4.         The government may also use any statements made by your client during the proffer,
      either as evidence or for cross-examination, at trial or any other stage of the criminal
      prosecution, if your client later testifies, offers other evidence, or presents a position (including
      through affidavit or in argument) that contradicts statements made by your client during the
      proffer. By signing this letter, you and your client specifically agree that the government may
      use your client’s statements or information in the circumstances described above. See United
      Slates v. Mezzanatto, 513 U.S. 196 (1995).


      5.         Federal Rule ofCriminal Procedure 1 1(f) and Federal Rule of Evidence 410 do not apply
      to any statements made by your client during the course of the proffer.


      6.         In the event evidence other than your client's own statements is developed, regardless of
      whether it is developed before or after the proffer, this agreement does not impart "transactional"
      immunity to your client or preclude the government from bringing charges against him in the
      future.



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                                                      01/24/25
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                                                                         3 of 4                               pg
                                   755 of 1354




       7.     Your client understands that he is required to provide full and complete information
       about the subject matter of (he proffer and any information about himself which might adversely
       impact on his credibility as a witness concerning such activity.


       8.     This agreement does not obligate the government to enter into any future plea bargain
      with your client or to file any motion regarding cooperation provided by your client.


      9.      This agreement is not binding on the Civil Division of the United States Attorney’s
      Office for the District of Colorado, any other federal government office, or any other state, tribal,
      or local office or agency not specifically named in this agreement.


      No understandings, promises, or agreements have been entered into other than those set forth in
      this agreement, and nothing said during the proffer will constitute a promise or agreement unless
      all parties agree in writing.




                                                            Sincerely,


                                                            JASON R. DUNN
                                                            United States Attorney


                                                            s/ Helal J. Doshi
                                                            By: Helal J. Doshi
                                                            Assistant United States Attorney




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                                                      01/24/25
                                                          02/08/24USDC
                                                                    Page
                                                                       Colorado
                                                                         4 of 4                                pg
                                   756 of 1354




       I, Michael Tew, have read this agreement and carefully reviewed it with my attorney.     1
      understand it, and I voluntarily, knowingly and willfully agree to it without force, threat or
      coercion. No other promises or inducements have been made to me other than those contained in
      this letter. I am satisfied with the representation of my attorney in this matter.




                                                                    7M
      Michael Aaron Tew                                      Dale




      I acknowledge that I have read this proffer agreement, reviewed it with my client, and discussed
      fully with my client each of the provisions of the agreement.




                                                                                .




      Michael Sheehan                                        Date
      Counsel for Michael Aaron Tew




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                                    757 of 1354




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    <l1.l            -I:                                     Jason R. Dunn

    A       **    7 /                                        United States Attorney
                                                             District of Colorado

    Hetal J. Doshi                                          1801 California Street. Suite 1600   Telephone: 303-454-0100
    Assistant United Stales Attorney                        Denver. CO 80202                     Fax: 303-454-0405




                                                                                   October 1 6, 2020


    Via Email
    Jamie Hubbard, Esq.
    Counsel to Kimberley Tew
    Stimson, Stancil, LaBranche, Hubbard, LLC
    1652 North Downing Street
    Denver, CO, 80218

    hubbard@sslhlaw.com
    720.689.8909


    Dear Ms. Hubbard,


    I understand your client, Kimberley Tew, is interested in meeting with federal law enforcement
    agencies and the Criminal Division of the United States Attorney's Office for the District of
    Colorado for a proffer related to this office’s criminal investigation of conduct related to or
    arising out Ms. Tew’s financial transactions related to, directly or indirectly, with National Air
    Cargo, and subsequent transactions initiated by or for the benefit of, among others, Ms. Tew,
    either directly or indirectly. This letter sets out the terms for that proffer, to be scheduled soon
    and set to occur in Denver, and any follow up proffer sessions between the Criminal Division of
    the United States Attorney’s Office for the District of Colorado (“the government”), and you and
    your client.


    1.         Your client agrees that she will truthfully and completely disclose all information with
    respect to her activities and the activities of others that are the subject of inquiry by the
    government during the proffer. In this regard, your client must neither attempt to protect any
    person, entity, or asset through materially false information or omission, nor falsely implicate
    any person, entity, or asset. The only limited exception to this is that Ms. Tew has elected at this
    time not to answer questions that may specifically implicate her husband, Michael Tew. She has
    consulted with her counsel and understands that this decision could diminish the value, if any, of
    her cooperation. At a future time your client may be subpoenaed to testify before a federal grand
   jury, at trial, or in other court proceedings. You and your client understand that false statements


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                                                                            2 of pg
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                                                                                 pg 2
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                                                                                      pg4
                                                                                      of 4
                                    758 of 1354




    willfully made during this proffer will negate the Government's agreement not to use this
    proffered information against your client.


    2.        Except as set forth below, the government will not offer as evidence statements made by
    your client, or other information provided by your client during the proffer relating to the subject
    matter of the proffer, in (a) grand jury proceedings seeking an indictment against your client, (b)
    its case-in-chief at a trial against your client, or (c) at your client’s sentencing.


    3.        The government may use any statements made by your client or any information directly
    or indirectly derived from statements made by your client during the proffer for any other
    purpose, including (a) to obtain leads to other evidence that may be used against your client at
    any stage of a criminal prosecution, (b) in any prosecution of your client for perjury, false
    statements, or obstruction of justice, or (c) in a prosecution of your client for any crimes of
    violence, as defined in Title 18, United States Code, Section 16, or any conspiracy to commit a
    crime of violence. Provision (a) eliminates the need for a hearing at which the government
    would have to prove that the evidence it would introduce at trial is not tainted by any statements
    made by or other information provided by your client during the proffer. See Kastigar v. United
    States, 408 U.S. 931 (1972). It is the intent of this agreement to establish that such derivative use
    is proper. By signing this letter, your client expressly waives any right to challenge the
    derivative use of such statements or information.


    4.        The government may also use any statements made by your client during the proffer,
    either as evidence or for cross-examination, at trial or any other stage of the criminal
    prosecution, if your client later testifies, offers other evidence, or presents a position (including
    through affidavit or in argument) that contradicts statements made by your client during the
    proffer. By signing this letter, you and your client specifically agree that the government may
    use your client’s statements or information in the circumstances described above. See United
    States v. Mezzanatto, 513 U.S. 196 (1995).


    5.        Federal Rule of Criminal Procedure 1 1(f) and Federal Rule of Evidence 410 do not apply
    to any statements made by your client during the course of the proffer.


    6.        In the event evidence other than your client's own statements is developed, regardless of
    whether it is developed before or after the proffer, this agreement does not impart "transactional"
    immunity to your client or preclude the government from bringing charges against her in the
    future.


    7.        Your client understands that she is required to provide full and complete information
    about the subject matter of the proffer and any information about herself which might adversely
    impact on her credibility as a witness concerning such activity.



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                                    759 of 1354




    8.     This agreement does not obligate the government to enter into any future plea bargain
   with your client or to file any motion regarding cooperation provided by your client.


    9.     This agreement is not binding on the Civil Division of the United States Attorney’s
   Office for the District of Colorado, any other federal government office, or any other state, tribal,
   or local office or agency not specifically named in this agreement.


   No understandings, promises, or agreements have been entered into other than those set forth in
   this agreement, and nothing said during the proffer will constitute a promise or agreement unless
   all parties agree in writing.




                                                          Sincerely,


                                                          JASON R. DUNN
                                                          United States Attorney


                                                          s/ Hetal J. Doshi
                                                          By: Hetal J. Doshi
                                                          Assistant United States Attorney


   I, Kimberley Tew, have read this agreement and carefully reviewed it with my attorney.       I
   understand it, and I voluntarily, knowingly and willfully agree to it without force, threat or
    coercion. No other promises or inducements have been made to me other than those contained in
   this letter. 1 am satisfied with the representation of my attorney in this matter.




                   j
   Kimberley Tew                                          Date




    I acknowledge that I have read this proffer agreement, reviewed it with my client, and discussed
    fully with my client each of the provisions of the agreement.




    ’
    Jam e Hubbard           •-                            Date

    Counsel for Kimberley Tew




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                                  761 of 1354




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                            JUDGE DANIEL D. DOMENICO


 Date:             February 8, 2024    Prob./Pret.: N/A
 Courtroom Deputy: Robert R. Keech     Interpreter: N/A
 Court Reporter:   Tammy Hoffschildt
 ______________________________________________________________________

 Criminal Case No. 1:20-cr-00305-DDD           Counsel:

 UNITED STATES OF AMERICA,                     Bryan D. Fields
                                               Sarah H. Weiss
              Plaintiff,

 v.

 1. MICHAEL AARON TEW;                         Jason D. Schall
 and                                           Kristen M. Frost
 2. KIMBERLEY ANN TEW,                         David S. Kaplan
                                               Jamie H. Hubbard
              Defendants.



                               COURTROOM MINUTES


 TRIAL TO JURY (DAY 4)

 9:00 a.m.    Court in session. Defendants present, on bond. Jury not present

 Discussion and argument regarding oral motion for severance and issues related to
 witness Hannah Scaife.

 9:18 a.m.    Jury enters.

 9:19 a.m.    Government’s witness Hannah Scaife sworn.

              Direct examination by Government by Ms. Weiss.

 9:30 a.m.    Bench conference regarding objection by Defendant Kimberley Ann Tew.
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                                                                       2 of 4        pg
                                  762 of 1354




 9:32 a.m.    Direct examination by Government continues by Ms. Weiss.

 9:43 a.m.    Bench conference regarding objection by Defendant Kimberley Ann Tew.

 9:45 a.m.    Direct examination by Government continues by Ms. Weiss.
              Exhibit(s) identified: 601

 9:51 a.m.    Cross examination by Defendant Kimberley Ann Tew by Ms. Hubbard.

 9:59 a.m.    Bench conference regarding objection by Government.

 10:00 a.m.   Cross examination by Defendant Kimberley Ann Tew continues by Ms.
              Hubbard.

 10:07 a.m.   Bench conference regarding objection by Government.

 10:11 a.m.   Cross examination by Defendant Kimberley Ann Tew continues by Ms.
              Hubbard.

 10:25 a.m.   Bench conference regarding objection by Government.

 10:26 a.m.   Cross examination by Defendant Kimberley Ann Tew continues by Ms.
              Hubbard.

 10:37 a.m.   Cross examination by Defendant Michael Aaron Tew by Ms. Frost.

 10:41 a.m.   Re-direct examination by Government by Ms. Weiss.

 10:44 a.m.   Court in recess.

 11:07 a.m.   Court in session. Jury not present.

 Discussion regarding witness appearing via VTC this afternoon.

 11:10 a.m.   Jury enters.




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                                  763 of 1354




 11:11 a.m.   Government’s witness Brittany Perry sworn.

              Direct examination by Government by Mr. Fields.
              Exhibit(s) identified: 414, 410, 227, 318, 402, 419, 420, 411, 418, 424,
              470, 396, 398, 406, 407, 417, 493, 395, 397, 403, 404, 412, 421, 423,
              425, 426, 408, 409, 413, 422, 399, 400, 405, 427

 Exhibit(s) 414, 410, 227, 318, 402, 419, 420, 411, 418, 424, 470, 396, 398, 406, 407,
 417, 493, 395, 397, 403, 404, 412, 421, 423, 425, 426, 408, 409, 413, 422, 399, 400,
 405 RECEIVED.

 11:59 a.m.   Court in recess.

 1:02 p.m.    Court in session. Jury enters.

 1:05 p.m.    Government’s witness Meghan Oakes sworn.

              Direct examination by Government by Mr. Fields.

 1:12 p.m.    Government’s witness Brittany Perry resumes.

              Cross examination by Defendant Kimberley Ann Tew by Ms. Hubbard.
              Exhibit(s) identified: 318, 227

 1:19 p.m.    Cross examination by Defendant Michael Aaron Tew by Mr. Schall.

 1:26 p.m.    Government’s witness Christopher Alf sworn.

              Direct examination by Government by Ms. Weiss.

 1:41 p.m.    Bench conference regarding objection by Defendant Michael Aaron Tew.

 1:43 p.m.    Direct examination by Government continues by Ms. Weiss.
              Exhibit(s) identified: 535, 550, 534, 538, 536

 Exhibit(s) 535, 550, 534, 538, 536 RECEIVED.

 2:33 p.m.    Court in recess.




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                                                                       4 of 4         pg
                                  764 of 1354




 2:51 p.m.    Court in session. Jury enters.

              Government’s witness Christopher Alf resumes.

              Direct examination by Government continues by Ms. Weiss.
              Exhibit(s) identified: 552, 571, 572, 573, 574, 575, 576

 Exhibit(s) 552, 571, 572, 573, 574, 575, 576 RECEIVED.

 2:56 p.m.    Cross examination by Defendant Michael Aaron Tew by Mr. Schall.
              Exhibit(s) identified: U

 Exhibit(s) U RECEIVED.

 3:28 p.m.    Cross examination by Defendant Kimberley Ann Tew by Mr. Kaplan.

 3:31 p.m.    Government’s witness Raeesa Telly sworn.

              Direct examination by Government by Ms. Weiss.
              Exhibit(s) identified: 548, 547, 655, 654, 661, 526, 799, 546, 545

 Exhibit(s) 548, 547, 655, 654, 661, 526, 799, 546, 545, 544 RECEIVED.

 4:14 p.m.    Court in recess.

 4:26 p.m.    Court in session. Jury enters

 4:29 p.m.    Government’s witness Abby Schwartz sworn.

              Direct examination by Government by Ms. Weiss.
              Exhibit(s) identified: 607, 978

 Exhibit(s) 978 RECEIVED.

 4:54 p.m.    Jury excused for the day and shall report back on Friday, February 9,
              2024, at 9:00 a.m.

 Counsel has nothing to address with the Court.

 ORDERED: Bond is CONTINUED as to Defendants Michael Aaron Tew and Kimberley
          Ann Tew.

 4:55 p.m.    Court in Recess. TRIAL CONTINUED. TOTAL TIME: 5:59

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                                                                   1 of 17         pg
                                  765 of 1354




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW, and
      2. KIMBERLEY ANN TEW, a/k/a Kimberley Vertanen,

        Defendants.


     GOVERNMENT’S RESPONSE TO MICHAEL TEW’S MOTION TO SEVER1


        No “crystal ball” was needed to anticipate the issue now before the Court.

 ECF No. 420 (M. Tew “Renewed” Mot. to Sever). The Indictment returned in early

 2021 charged a husband and wife with running a two-year-long wire fraud and

 money-laundering conspiracy to their mutual benefit. The potential for a conflict

 between the defendants’ potential theories at trial has been raised numerous times

 — by the government, by defense counsel, and by this Court — over the course of

 three years of protracted pretrial litigation.

        Time and time again, Michael Tew deliberately eschewed every opportunity to

 appropriately and timely make a pretrial request for severance. Trial is now a week

 underway. Nothing that has happened over the course of the past five days warrants



 1     ECF No. 420 is styled as a “renewed” motion. Yet, the filing also expressly
 acknowledges — as it must — that Mr. Tew intentionally declined to file a formal
 motion to sever in this matter before trial. ECF No. 420 at 5, ¶ 8.
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                                                                   2 of 17          pg
                                  766 of 1354




 reconsideration of the abandoned argument Mr. Tew now hopes to raise, zombie-like,

 from the dead. The defendants might be antagonistic to one another, but their chosen

 strategies are not “mutually exclusive.” The motion should be denied.

                            PROCEDURAL HISTORY

       The motion presents only a partial and skewed version of the procedural

 history of this case. To supplement the record, the government summarizes the

 docket as follows:

    1. Michael Tew was originally charged by Complaint on July 8, 2020, ECF No. 1,

       because of concerns that he would flee the country with his family. ECF No.

       128 (discussing procedural history and concerns about flight).

    2. Following participation in two proffer sessions, ECF No. 394-1, 394-2 (the

       second of which did not include a carve out for incriminating his wife), and

       terminations of no less than three sets of counsel (ECF Nos. 15, 25, and 54),

       Michael Tew withdrew from a change of plea hearing the day before. ECF No.

       56. At that time, the Court admonished Mr. Tew:

              Absent extraordinary circumstances, no further motions to withdraw or
              motions to substitute counsel will be granted. The court reminds Mr.
              Tew that counsel is under a duty to provide him prudent and considered
              advice, even if that advice is not what Mr. Tew hopes to hear.

              ECF No. 55.

    3. Ongoing investigative efforts indicated that Kimberley Tew had agreed with

       Michael Tew to defraud National. Prior to being charged, she, too, initially

       engaged in attempts to reach a pre-indictment resolution by participating in a

       proffer session. See ECF No. 394-3.

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                                                                   3 of 17              pg
                                  767 of 1354




    4. On February 3, 2021, the grand jury returned the Indictment. ECF No. 83.

    5. On February 26, 2021, Tor Ekeland’s firm entered an appearance on behalf of

       both defendants. ECF No. 106.

    6. The government responded immediately, asking for a prompt inquiry into the

       providence of the Tews’ proposed joint representation. ECF No. 108 at 7-8

       (citing inter alia, Wheat v. United States, 486 U.S. 153, 162-63 (1988), which

       articulates the “notoriously and hard to predict” nature of all stages of criminal

       prosecution, as well as the “nascent conflicts of interest” lurking in any joint

       representation of codefendants).

    7. Joint counsel for Michael and Kimberley Tew never filed a formal response.

    8. However, at a hearing convened on March 18, 2021, Mr. Ekeland made

       representations sufficient to satisfy the Court such that joint representation

       was “permitted to continue.” ECF No. 116.

    9. Mr. Ekeland continued to jointly represent the Tews for an additional nine

       months. On December 27, 2021, he, too, moved to withdraw. See, e.g., ECF No.

       162 (noting, among other factors, “certain circumstances [making] it

       unreasonably difficult to continue to the representation separate and apart

       from” financial issues). See also ECF No. 163 (elaborating further under seal).

    10. On February 10, 2022, Michael and Kimberley Tew filed a joint pro se letter —

       signed by both — averring their intent to engage new counsel. ECF No. 175.

    11. Approximately two weeks later, on February 25, 2022, the Tews’ evident choice

       to pursue joint representation persisted, when Peter Bornstein entered an



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Case No.
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                                                                   4 of 17               pg
                                  768 of 1354




       appearance on behalf of both defendants. ECF No. 175.

    12. Mr. Bornstein represented the pair through the remainder of 2022, filing

       numerous pretrial motions on each of their behalf individually, as well as

       jointly. See, e.g. ECF Nos. 200, 209, 212, 213, 213, 215, 216, 221 (joint motions);

       ECF No. 216 (M. Tew motion to suppress); ECF No. 218 (K. Tew motion to

       sever); ECF Nos. 219 & 220 (separate motions filed by each individually

       requesting government James proffer).

    13. On October 12, 2022, an all-day motions hearing was held. ECF No. 285

       (Transcript). The very first issue discussed at that hearing was Kimberley

       Tew’s motion to sever. Id. at 5:16-20:25.

          a. At that time, the court expressly noted its concerns about the potential

             for conflict posed by the defendants’ ongoing joint representation,

             including the evidentiary issues raised by both defendants’ proffers. Id.

             at 5:18-6:8.

          b. The government presented arguments against severance, including the

             obvious impacts on judicial resources and economy. Importantly, the

             government also fronted an issue that would be raised by separate trials,

             namely, that proceeding in such a manner would itself pose certain

             strategic disadvantages for the defendants, because aspects of the

             proffer agreements meant that certain evidence would more easily be

             used at separate trials. See id. at 8:8-9:11; 17:13-16.

          c. The government reiterated that continued joint representation of both



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                                                                                              768
Case No.
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         1:20-cr-00305-DDD
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                                                               PageColorado
                                                                   5 of 17           pg
                                  769 of 1354




             defendants was concerning. Id. at 9:9-17.

          d. On that point, the Court seemed inclined to agree — noting that if

             financial concern was all that was driving the continued joint

             representation — that could be addressed by the appointment of

             separate CJA counsel. Id. at 9:18-25.

          e. Mr. Bornstein went on to present oral argument regarding Kimberley

             Tew’s motion to sever at length. Id. at 11:5-14:20. At no time did Mr.

             Bornstein represent that Ms. Tew’s severance motion was based on

             mutually exclusive defense theories; indeed he suggested otherwise. Id.

             at 6:21-22 (“But in terms of my professional role in representing both of

             them, I don’t see the severance issue as raising that badly.”).

    14. On October 27, 2022, the Court denied Kimberley Tew’s motion to sever. ECF

       No. 260 (discussed infra).

    15. On December 1, 2022, Mr. Bornstein filed a motion to withdraw from his

       representation of both defendants. ECF No. 273. Notably, that motion

       indicated a single defense agreement, stating, “The attorney and clients

       negotiated and signed an engagement agreement including the financial terms

       for the representation.” Id (emphasis added).

    16. After Mr. Bornstein’s withdrawal was granted without government input, ECF

       No. 275, the prosecution moved for reconsideration, noting that the motion

       presented no representations of conflict of interest or a breakdown of

       communications with either client. See ECF No. 276 at 4.



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                                                               PageColorado
                                                                   6 of 17              pg
                                  770 of 1354




    17. As a result, a hearing was held on December 9, 2022. ECF No. 280. Mr.

       Bornstein was permitted to withdraw as private counsel, but ordered

       appointed as CJA counsel for both of the Tews. ECF No. 280.

    18. By December 28, 2022, (one day after the transcript from the pre-trial motions

       hearing was posted to the docket), it became clear that Mr. Bornstein and his

       clients finally had absorbed the Court’s messaging from the hearing two

       months’ prior. In filing a Motion for Appointment of Separate Counsel, ECF

       No. 288, Mr. Bornstein made clear that conflicting defense theories from each

       defendant was a possibility:

          a. The motion flatly cited the “inherent conflict of interest” in “[j]oint

             representation of two criminal defendants.” Id. at 2, ¶ 5.

          b. The motion also stated, in no uncertain terms, that: “The previous

             waiver by the clients of a potential conflict of interest when Mr. Bornstein

             was retained privately is no longer operative.” Id. at 2, ¶8 (emphasis

             added).

          c. The motion went on to state as grounds the potential that one or both of

             the defendants could testify at trial, a possibility bringing “into sharp

             resolution the significant proffers made by each Defendant to the

             Government during the preliminary events in this case. These proffers

             contain statements that incriminate both defendants.” Id. at 3, ¶ 9.

    19. Shortly thereafter, on January 3, 2023, Ms. Tew’s present counsel, David

       Kaplan, entered his appearance. ECF No. 290.



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                                                               PageColorado
                                                                   7 of 17              pg
                                  771 of 1354




    20. A joint status report, filed on January 10, 2023, ECF No. 293 at 2-3, ¶ 3, the

       parties discussed the potential for conflicting defenses at trial at length:

       The parties are evaluating whether there is a conflict that would prevent
       attorney Peter Bornstein from continuing to represent defendant Michael Tew.
       Mr. Bornstein does not believe that there is a conflict that would provide good
       cause to withdraw. Mr. Kaplan has concerns about a conflict: one such issue is
       if Ms. Tew decides to testify at trial, such a scenario might require Mr.
       Bornstein to either cross-examine a former client or waive that cross-
       examination to the potential detriment of a current client. The government is
       not in a position to evaluate whether such a conflict is real or merely abstract,
       whether a joint defense agreement could solve any such conflict, whether such
       a conflict can be resolved with a knowing and intelligent waiver of cross-
       examination by Mr. Tew, or whether any such conflict could otherwise be
       resolved by defense counsel in this case. Mr. Bornstein is concerned that the
       government is meddling in the province of the defendants and their lawyers
       and that nothing should be scheduled at this time.

    21. On January 17, 2023, Peter Bornstein (on behalf of Michael Tew) and David

       Kaplan (on behalf of Kimberley Tew) filed documents related to this issue

       under restriction. ECF Nos. 300, 301.

    22. On January 30, 2023, Peter Bornstein was permitted to withdraw as counsel

       for Michael Tew. ECF No. 305. Jason Schall entered his appearance for Mr.

       Tew the following day. ECF No. 308.

    23. In the intervening 404 days between the Court’s Order on Kimberley Tew’s

       pre-trial motion to sever and the commencement of this trial, no further

       motions to sever were filed by either defendant. Most recent defense counsel

       for both parties, however, elected to file different pretrial motions, both within

       and (well) outside of the motions deadline. See, e.g., ECF Nos. 336, 337 (moving

       for extensions of the pretrial motions deadline); ECF Nos. 345, 346 (defense

       motions related to James proffer); ECF Nos. 359, 360 (objections to business

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                                                                   8 of 17               pg
                                  772 of 1354




          record certifications); ECF Nos. 370, 373, 398, 410 (out-of-time motions in

          limine and briefing related to admissibility of proffer statements); ECF No. 374

          (K. Tew motion to continue); ECF Nos. 376, 377 (trial briefs).

                                       ARGUMENT

     I.      Michael Tew has both waived and forfeited this severance
             argument on multiple occasions over the past three years

          The present motion suggests that the Court’s continuing duty under Federal

 Rule of Criminal Procedure 14(a) means that such a defense can never be “waived” or

 “forfeited,” because trials are “unpredictable” and because the “unique position of a

 criminal defendant and the rights that protect the accused” mean that a defendant

 has “no obligation or duty to reveal his strategy, his general defenses, or the core of

 his defense in a pleading before the Court.” 2 ECF No. 420 at 9. Taken to its logical

 end, the argument Michael Tew proposes would mean that the Federal Rules of

 Criminal Procedure are unconstitutional and that experienced defense lawyers

 should never be required to evaluate known or likely trial risks and bring them to the

 court’s attention in advance of trial. This is wrong.



 2       The sole authority cited for this extraordinary argument is a state case, People
 v. Kilgore, 455 P.3d 746, 751 (Colo. Sup. Ct. 2020). That case concerned a court order
 requiring the defense to produce its exhibits thirty days before trial. That is to say,
 Kilgore rejected an order requiring the defense to produce specific evidence well before
 trial. Kilgore did not, however, stand for the proposition that a defendant can ignore
 pre-trial deadlines designed to ensure the orderly resolution of legal issues by the
 Court. Kilgore is thus not only nowhere close to legally binding; it is also factually
 inapposite. Kilgore is also, for obvious reasons, unable to override the federal system’s
 long-standing reciprocal discovery requirements, which are reflected in the Federal
 Rules of Criminal Procedura and this District’s standard discovery order, which
 requires production of exhibits if a defendant intendsto use them in his or her case in
 chief. Fed. R. Crim. P. 16.
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                                                     02/11/24 USDC
                                                               PageColorado
                                                                   9 of 17                pg
                                  773 of 1354




       Federal Rule of Criminal Procedure 12(b)(3) governs those defense motions

 that “must” be raised before trial. That list includes “improper joinder.” Fed. R. Crim.

 P. 12(b)(3)(iv). Rule 12(b)(3) was crafted as an easy-to-read list of common defenses,

 precisely to ensure that “such [common] claims are not overlooked.” See 2014

 Amendment Committee Notes.

       The only safety valve to escape Rule 12(b)(3)’s clear deadline is outlined in the

 Rule’s introductory language: A defendant’s obligation to timely raise one of Rule 12’s

 defenses is limited to arguments that are “reasonably available” pretrial and which

 can be determined “without trial on the merits.” See 2014 Amendment Committee

 Notes (explaining purpose of this language).

       The present motion contorts the procedural history in an attempt to squeeze

 into Rule 12’s safety valve. But, as the summary of preceding events makes

 abundantly clear, the potential for conflicting defenses at trial from Michael and

 Kimberley Tew has been well-known for years. The idea that the defendants could

 turn on each other, even at the very last minute, was “reasonably available”

 information, and it did not require “trial on the merits” to bring that potential conflict

 to light. It is the kind of thing every experienced criminal lawyer anticipates in a

 multi-defendant case.

       The government identifies at least seven specific, logical points in time where

 such an argument could have been raised pretrial:

    1. February 8, 2021: ECF Nos. 108 & 116 (Gov’t Mot. & Hearing on Joint

       Representation);



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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
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                                      645-2
                                         422 filed
                                              Filed01/24/25
                                                    02/11/24 USDC
                                                              Page Colorado
                                                                   10 of 17             pg
                                  774 of 1354




    2. June 13, 2022: ECF No. 218 (K. Tew’s Pre-Trial Mot. to Sever);

    3. October 12, 2022: ECF No. 285 (Transcript of Pre-Trial Mots. Hearing,

       including extensive discussion of K. Tew’s Mot. to Sever, ongoing concerns

       regarding continued joint representation; and evidentiary implications of

       defendants’ proffer statements at trial);

    4. December 28, 2022: ECF No. 288 (P. Bornstein Motion for Order Appointing

       Separate Counsel, citing “inherent conflict of interest” and possibility of one or

       both defendants taking the witness stand at trial);

    5. January 10, 2023: ECF No. 293 (Joint Status Report noting Kimberley Tew

       and D. Kaplan’s concerns regarding P. Bornstein’s continued representation of

       Michael Tew, as well as government’s concerns about same);

    6. January 17, 2023: ECF Nos. 300 & 301 (filings by D. Kaplan and P. Bornstein);

    7. January 7, 2024: ECF Nos. 241; 263; 336; 337 (pretrial motions deadline).

       At a bare minimum, Mr. Bornstein’s motion on December 28, 2022 — 404 days

 prior to trial — provided sufficient notice for current defense counsel (who

 immediately succeeded him) to understand that there was an “inherent conflict of

 interest” between Michael and Kimberley Tew and that the waiver of the potential

 conflict “was no longer operative.” ECF No. 288.

       Likewise, the motion’s own factual recitation proves the point: Taking defense

 counsel at their word — if indeed there has never been a formal joint defense

 agreement, let alone any informal communications sharing defense strategy between




                                           10


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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         422 filed
                                              Filed01/24/25
                                                    02/11/24 USDC
                                                              Page Colorado
                                                                   11 of 17             pg
                                  775 of 1354




 Michael and Kimberley Tew’s current teams3 — then those circumstances only

 further suggest that Mr. Tew was on good notice that he should file a timely pretrial

 severance motion if he believed his constitutional rights could be put at jeopardy by

 his wife’s defense at trial.

        Finally, the government produced the proffer statements of each defendant to

 each round of successive defense counsel in its initial productions. It was well known

 to all throughout that those proffers implicated each defendant, as well as one

 another. The potential conflict raised by those proffers alone constituted “reasonably

 available” information justifying timely motions to sever. The fact that Kimberley

 Tew might seek to place some degree of blame on Michael, or vice versa, is part and

 parcel of that history. Additionally, the defendant studiously limits his mention of the

 fact that his second proffer specifically did not contain the carve out regarding his

 wife, another well-known fact with obvious potential repercussions at a joint trial.

        Whether Michael Tew’s failure to raise this issue at any point during the case’s

 lengthy pre-trial history is considered to be an actual, intentional waiver, or an

 inadvertent forfeiture, the result remains the same. See United States v. Carrasco-

 Salazar, 494 F.3d 1270, 1272 (10th Cir. 2007); United States v. Jones, 530 F.2d 1292,



 3     The government’s insight into these representations is obviously limited.
 However, the defendant’s joint pro se letter, which refers to them as a collective, as
 well as Mr. Bornstein’s motion to withdraw, which references a single engagement
 agreement, suggests at the very least an informal sharing of defense strategy up to
 that point. Likewise, the defendants have represented at this trial that they remain
 married and, on information and belief, continue to cohabitate. The idea that they
 have maintained a strict wall and have never discussed legal strategy with one
 another strains belief.


                                           11


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Case No.
     Case1:20-cr-00305-DDD
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                                      645-2
                                         422 filed
                                              Filed01/24/25
                                                    02/11/24 USDC
                                                              Page Colorado
                                                                   12 of 17              pg
                                  776 of 1354




 1298-99 fns. 1 &2 (10th Cir. 2008). Michael Tew could have, and should have, raised

 this issue well before trial as Rule 12 requires. He did not, for tactical reasons, and

 his severance argument has been abandoned.

    II.      Michael Tew and Kimberley Tew’s respective defenses are not
             mutually exclusive.

          Michael Tew now argues that the defenses presented to this jury are

 “antagonistic.” Apart from the fact that this should have come as no surprise, the

 argument fails on the merits.

          In denying Kimberley Tew’s prior motion to sever, this Court’s summary of the

 law included citations to key cases analyzing how to evaluate potentially prejudicial

 “spill-over” and arguments between defendants over relative culpability. ECF No. 260

 at 6 (denying severance while citing and quoting United States v. Caldwell, 560 F.3d

 1214, 1221 (10th Cir. 2009); United States v. Youngpeter, 986 F.2d 349, 354 (10th Cir.

 1993); and United States v. Sarracino, 340 F.3d 1148, 1165 (10th Cir. 2003)).

          Although this recitation of the law did not specifically use the phrases

 “antagonistic” or “mutually exclusive”, the general concept is still reflected. In United

 States v. Jones, (a case which notably cited many of the other cases listed in the

 Court’s summary of the legal standard for severance of codefendants), the Tenth

 Circuit laid out the three-step inquiry for whether a defendant will be so prejudiced

 by mutually exclusive defenses as to justify severance:

          First, the court must determine whether the defenses are “so antagonistic that

 they are mutually exclusive.” Second, because “mutually antagonistic defenses are

 not prejudicial per se, the court must consider whether there is a “serious risk that a

                                            12


                                                                                              776
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         422 filed
                                              Filed01/24/25
                                                    02/11/24 USDC
                                                              Page Colorado
                                                                   13 of 17              pg
                                  777 of 1354




 joint trial would compromise a specific trial right … or prevent the jury from making

 a reliable judgment about guilt or innocence.” Third, if a defendant shows that his

 case satisfies the first two factors, the trial court must “weigh the prejudice to a

 particular   defendant   caused    by   joinder   against   the   obviously   important

 considerations of economy and expedition in judicial administration.” United States

 v. Jones, 530 F.3d 1292, 1304 (10th Cir. 2008) (quotations omitted).

       As the past five days of trial make clear, Michael Tew cannot meet any of Jones’

 three prongs:

       First, Michael and Kimberley Tew’s respective defenses have not been “so

 antagonistic that they are mutually exclusive.” See Jones, 530 F.3d at 1304

 (explaining that a “mutually exclusive” defense occurs when, in order to believe one

 defense, the jury must necessarily disbelieve the core of the other).

       Broadly distilling the past four days of opening statements, testimony, and

 cross-examination, Kimberley Tew has argued to the jury that this case concerns “a

 scheme concocted and executed by Michael Tew and Jon Yioulos.” ECF No. 420-1 at

 19:22-24 (Transcript of K. Tew Opening Statement). Michael Tew, for his part, has

 argued that this case is “crazy” and that there is more to the “full story” that the jury

 should consider, including evidence that Kimberley had knowledge of, as well as

 motive, influence, and authority to encourage, her codefendants’ illicit conduct. See

 id. at 19:14-15.

       The government’s presentation thus far has supported both defense theories,

 which are — in no way — mutually exclusive. Michael Tew and Jonathan Yioulos



                                            13


                                                                                              777
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         422 filed
                                              Filed01/24/25
                                                    02/11/24 USDC
                                                              Page Colorado
                                                                   14 of 17              pg
                                  778 of 1354




 could have crafted the scheme and Kimberley could have actively encouraged it for

 far longer than the other two would have liked. All of this evidence also would be

 equally admissible against either party at a separate trial. Indeed, more evidence

 could conceivably be admissible if Michael and Kimberley Tew were tried separately,

 because certain proffer-protected evidence, like Michael Tew’s cell phone, would not

 be Bruton-limited in the same fashion as it has been in this joint trial. See ECF No.

 285 at 8:8-9:11; 17:13-16.

       At its core, the “finger-pointing” that has occurred over the course of the past

 trial week has addressed only the respective roles and culpability of each defendant’s

 participation in a $5,000,000 fraud, not whether they intentionally participated in it.

 That concept of respective culpability was already addressed in the Court’s prior

 order. See ECF No. 260 at 7 (citing Caldwell, Richardson, and Youngpeter). That

 ruling makes clear that adjudging respective culpability is a benefit to joint trials,

 not a detraction.

       Second, even if the defendants’ defenses were somehow considered mutually

 antagonistic — and to be clear, they are not — they still would need to meet the

 second part of the Jones test, and show that a specific trial right has been put at issue

 by joinder. On this, Michael Tew generally complains that his constitutional rights to

 a fair trial, due process[,] and to a fair and impartial jury” have somehow been put at

 risk by Ms. Tew’s theory of the case. See ECF No. 420 at 15. But he does not elaborate

 on how so.

       To the contrary, none of Mr. Tew’s fundamental trial rights have been put in



                                            14


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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         422 filed
                                              Filed01/24/25
                                                    02/11/24 USDC
                                                              Page Colorado
                                                                   15 of 17            pg
                                  779 of 1354




 jeopardy over the past five days. He has been able to pursue his theory of the case, to

 cross-examine the government’s witnesses; and, over the course of next three trial

 days, he can present his own evidence and further argument.

       His generalized argument about a hypothetical “risk” of prejudice also ignores

 the proposed jury instructions, specifically proposed Instruction Nos. 14, 17, 18,

 which all collectively and appropriately advise the jury to consider each defendant’s

 culpability individually, as well as each defendant’s culpability as to each respective

 count individually. As this Court has repeatedly acknowledged, both by written Order

 and by comments at trial, “[a] central assumption of our jurisprudence is that juries

 follow the instructions they receive.” ECF No. 260 at 7 (quoting United States v.

 Castillo, 140 F.3d 874, 884 (10th Cir. 1998) (quotation marks omitted). Similar

 instructions were credited when affirming the defendants’ convictions in Jones. 530

 F.3d at 1303.

       Finally, the motion fails on the third prong of the Jones test. Any hypothetical

 prejudice to Michael Tew is vastly outweighed by considerations of judicial economy

 and prejudice to the government. This case has been pending for over three years. A

 fair administration of these proceedings has been hampered, over and over again, by

 deliberate legal stratagems employed by these defendants expressly for the purpose

 of delaying this trial. Once again, untimely and vague appeals to constitutional rights

 are no excuse for Michael Tew’s deliberate disregard of the Federal Rules of Criminal

 Procedure and court deadlines.




                                           15


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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
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                                      645-2
                                         422 filed
                                              Filed01/24/25
                                                    02/11/24 USDC
                                                              Page Colorado
                                                                   16 of 17              pg
                                  780 of 1354




                                     CONCLUSION

       It should not take two separate jury trials to fairly and accurately sort out

 whether Michael and Kimberley Tew are guilty. Michael Tew’s motion to sever is

 untimely and meritless. It should be denied.



 Respectfully submitted this 11th day of February, 2024.

                                          COLE FINEGAN
                                          United States Attorney

  By: /s/ Bryan Fields                         By: /s/ Sarah H. Weiss
  Bryan Fields                                 Sarah H. Weiss
  Assistant United States Attorney             Assistant United States Attorney
  U.S. Attorney’s Office                       U.S. Attorney’s Office
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  Attorney for the Government                  Attorney for the Government


 Certification of Type-Volume Limitation

        I hereby certify that the foregoing pleading complies with the type-volume
 limitation set forth in Judge Domenico’s Practice Standard III(A)(1).

                                                        /s/ Sarah H. Weiss
                                                        Sarah H. Weiss

 Statement of Speedy Trial Impact

        Pursuant to Judge Domenico’s Practice Standard III(C), the government notes
 that this motion will not affect the speedy trial clock in this case because trial already
 began within the time required by the Speedy Trial Act.

                                                        /s/ Sarah H. Weiss
                                                        Sarah H. Weiss




                                            16


                                                                                              780
Case No.
     Case1:20-cr-00305-DDD
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                                      645-2
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                                                    02/11/24 USDC
                                                              Page Colorado
                                                                   17 of 17                pg
                                  781 of 1354




                            CERTIFICATE OF SERVICE

        I hereby certify that on this 11th day of February, 2024, I electronically filed
 the foregoing with the Clerk of the Court using the CM/ECF system that will send
 notification of such filing to counsel of record in this case.




                                                 s/ Sarah H. Weiss
                                                 Sarah H. Weiss
                                                 Assistant U.S. Attorney
                                                 1801 California Street, Suite 1600
                                                 Denver, CO 80202
                                                 Telephone 303-454-0100
                                                 Facsimile 303-454-0402
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                                                                  PageColorado
                                                                       1 of 3          pg
                                  782 of 1354




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                            JUDGE DANIEL D. DOMENICO


 Date:             February 9, 2024    Prob./Pret.: N/A
 Courtroom Deputy: Robert R. Keech     Interpreter: N/A
 Court Reporter:   Tammy Hoffschildt
 ______________________________________________________________________

 Criminal Case No. 1:20-cr-00305-DDD           Counsel:

 UNITED STATES OF AMERICA,                     Bryan D. Fields
                                               Sarah H. Weiss
              Plaintiff,

 v.

 1. MICHAEL AARON TEW;                         Jason D. Schall
 and                                           Kristen M. Frost
 2. KIMBERLEY ANN TEW,                         David S. Kaplan
                                               Jamie H. Hubbard
              Defendants.



                               COURTROOM MINUTES


 TRIAL TO JURY (DAY 5)

 9:02 a.m.    Court in session. Defendants present, on bond. Jury not present.

 Discussion regarding breaking early due to inclement weather, motion for severance,
 and jury instructions.

 ORDERED: Government shall respond to [420] Defendant Michael Aaron Tew’s
          Renewed Motion for Severance by Sunday, February 11, 2024, at 12:00
          p.m.

 Discussion regarding American Express charges and Government proffers.



                                           1




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Case No.
      Case
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                                                                  PageColorado
                                                                       2 of 3            pg
                                  783 of 1354




 9:08 a.m.    Jury enters.

 Court’s remarks to jurors regarding schedule for today due to inclement weather.

 9:10 a.m.    Government’s witness Abby Schwartz resumes.

              Direct examination by Government continues by Ms. Weiss.
              Exhibit(s) identified: 308, 309, 653, 630, 539, 615, 618, 624, 626, 627,
              631, 632, 643, 653, 657, 658, 666, 675, 691, 699, 709, 713, 714, 720,
              728, 743, 843, 979, 335, 338, 339, 347, 348, 349, 350, 351, 352, 353

 Exhibit(s) 308, 309, 653, 630, 539, 615, 618, 624, 626, 627, 631, 632, 643, 653, 657,
 658, 666, 675, 691, 699, 709, 713, 714, 720, 728, 743, 843, 979, 338, 339, 347, 348,
 349, 350, 351, 352, 353 RECEIVED.

 9:48 a.m.    Bench conference regarding objection by Defendant Michael Aaron Tew.

 9:51 a.m.    Direct examination by Government continues by Ms. Weiss.
              Exhibit(s) identified: 533, 532, 841, 12, 384

 Exhibit(s) 533, 532 RECEIVED.

 10:11 a.m.   Cross examination by Defendant Michael Aaron Tew by Ms. Frost.
              Exhibit(s) identified: 339

 10:39 a.m.   Court in recess.

 10:51 a.m.   Court in session. Jury enters.

              Government’s witness Abby Schwartz resumes.

 10:53 a.m.   Cross examination by Defendant Michael Aaron Tew continues by Ms.
              Frost.

 10:57 a.m.   Cross examination by Defendant Kimberley Ann Tew by Mr. Kaplan.

 11:03 a.m.   Re-direct examination by Government by Ms. Weiss.




                                            2




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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                                     01/24/25
                                                       02/09/24 USDC
                                                                  PageColorado
                                                                       3 of 3          pg
                                  784 of 1354




 11:12 a.m.   Government’s witness Michael Meyers sworn.

              Direct examination by Government by Ms. Weiss.
              Exhibit(s) identified: 752, 305, 656, 669

 Exhibit(s) 305 RECEIVED.

 12:13 p.m.   Bench conference regarding taking a lunch recess.

 12:15 p.m.   Court in recess.

 1:04 p.m.    Court in session. Jury enters.

 1:06 p.m.    Government’s witness Michael Meyers resumes.

              Direct examination by Government continues by Ms. Weiss.
              Exhibit(s) identified: 301, 696, 752, 804, 805, 525, 537

 Exhibit(s) 301 RECEIVED.

 1:50 p.m.    Cross examination by Defendant Kimberley Ann Tew by Mr. Kaplan.

 2:17 p.m.    Cross examination by Defendant Michael Aaron Tew by Mr. Schall.

 2:26 p.m.    Re-direct examination by Government by Ms. Weiss.

 2:30 p.m.    Jury excused for the day and shall report back on Monday, February 12,
              2024, at 9:00 a.m.

 Discussion regarding redacting social security numbers in exhibits.

 Defendant Kimberley Ann Tew’s oral motion for mistrial.

 Argument by counsel.

 ORDERED: Defendant Kimberley Ann Tew’s oral motion for mistrial is DENIED.

 ORDERED: Bond is CONTINUED as to Defendants Michael Aaron Tew and Kimberley
          Ann Tew.

 2:42 p.m.    Court in Recess. TRIAL CONTINUED. TOTAL TIME: 4:39



                                            3




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Case No.
      Case
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                                                                  PageColorado
                                                                       1 of 8       pg
                                  785 of 1354




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO
                            Judge Daniel D. Domenico

       Civil Action No. 1:20-cr-00305-DDD

       UNITED STATES OF AMERICA,

               Plaintiff,
       v.

       (1) MICHAEL AARON TEW;
       (2) KIMBERLEY ANN TEW, a/k/a Kimberley Vertanen; and
       (3) JONATHAN K. YIOULOS,

               Defendants.


                  ORDER DENYING MOTION FOR SEVERANCE


            Defendants Michael Tew and Kimberley Tew (who are married) are
       being jointly tried. During trial, Mr. Tew orally moved for severance,
       followed by a written motion, arguing primarily that Mrs. Tew’s pur-
       portedly “antagonistic” defense requires trying him separately from his
       co-defendant wife. Doc. 420. For the reasons set forth below, the motion
       is denied.

                                   BACKGROUND

            On February 3, 2021, a grand jury indicted Mr. and Mrs. Tew on doz-
       ens of counts including wire fraud, conspiracy to commit wire fraud, and
       conspiracy to commit money laundering. Doc. 83. The government al-
       leges that the defendants defrauded various entities affiliated with Na-
       tional Air Cargo, Inc. (collectively, “NAC”). Id. at 1.

            Issues regarding joint representation and potential conflicts between
       Mr. and Mrs. Tew have been a longstanding concern in this case. Indeed,



                                           -1-

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Case No.
      Case
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                                                       02/12/24 USDC
                                                                  PageColorado
                                                                       2 of 8       pg
                                  786 of 1354




       the government raised potential conflict issues as early as Febru-
       ary 28, 2021 in a motion regarding the Tews’ potential joint representa-
       tion by a single lawyer. Doc. 108. As the government noted, one defend-
       ant may seek to admit evidence that is prejudicial to the co-defendant
       and “even if Mr. and Mrs. Tew agree about their defenses now, it may
       well be that such agreement changes as the prosecution continues.” Id.
       at 7.

          The court allowed Mr. and Mrs. Tew to have joint representation in
       the early stages of this case, consistent with their joint wishes. But the
       Tews’ then-joint counsel ultimately sought appointment of separate
       counsel, noting the potential for conflicts between the defendants. Doc.
       288. The court granted that request on December 29, 2022. Doc. 289.

          Prior to that order, on June 13, 2022, the Tews’ then-joint counsel
       filed a motion for severance on behalf of Mrs. Tew. Doc. 218. In that
       motion for severance, Mrs. Tew argued that a joint trial would, among
       other things, constitute “prejudicial joinder.” Doc. 218 at 3-5. Mrs. Tew
       argued that severance was necessary due to the “evidence admissible”
       against Mr. Tew and because of Mrs. Tew’s purported “different degree
       of culpability” given that, in Mrs. Tew’s wording, “the evidence against
       Mrs. Tew is far less than that the government intends to use against
       Michael Tew.” Id. at 4. The court denied that motion on October 27, 2022
       and explicitly rejected this “prejudicial joinder” argument. Doc. 260 at
       6-8.

          At trial, Mr. Tew made an oral motion for severance due to a pur-
       ported “antagonistic defense” that arose during Mrs. Tew’s opening ar-
       guments. The court deferred ruling on that oral argument pending writ-
       ten submissions on the issue. Mr. Tew then filed a written motion on
       this issue mid-trial, and the government responded. Docs. 420, 422.



                                         -2-

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            1:20-cr-00305-DDDDocument
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                                                       02/12/24 USDC
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                                                                       3 of 8         pg
                                  787 of 1354




                                 APPLICABLE LAW

          In relevant part, Federal Rule of Criminal Procedure 8(b) provides
       that the “indictment or information may charge 2 or more defendants if
       they are alleged to have participated in the same act or transaction, or
       in the same series of acts or transactions, constituting an offense or of-
       fenses.” Joint trials are preferred in the federal system for defendants
       who are indicted together. See Zafiro v. United States, 506 U.S. 534, 537
       (1993). Joint trials “generally serve the interests of justice by avoiding
       inconsistent verdicts and enabling more accurate assessment of relative
       culpability.” Richardson v. Marsh, 481 U.S. 200, 107 (1987). The Tenth
       Circuit recognizes “a presumption in a conspiracy trial that coconspira-
       tors charged together preferably should be tried together.” United States
       v. Pursley, 577 F.3d 1204, 1215 (10th Cir. 2009); Charles Alan Wright &
       Arthur R. Miller, Federal Practice and Procedure § 224 (2023 ed.) (char-
       acterizing this presumption for joint trial in conspiracy cases as “espe-
       cially strong”). As a general matter, motions for severance must be made
       prior to trial absent a showing of “good cause.” Fed. R. Crim. P. 12(b),
       12(c), 14; see also United States v. Pursley, 577 F.3d 1204, 1219 (10th
       Cir. 2009).

          “Mutually exclusive defenses” between jointly tried co-defendants
       may constitute a ground for severance. United States v. Jones, 530 F.3d
       1292, 1304 (10th Cir. 2008). To sever a trial on this ground, the movant
       must first show that the co-defendants’ defenses are “so antagonistic
       that they are mutually exclusive.” Id. If so, the movant must next show
       that there is “a serious risk that a joint trial would compromise a specific
       trial right or prevent the jury from making a reliable judgment about
       guilt or innocence.” Id. (cleaned up). If the movant makes these two
       showings, the court “must weigh the prejudice to a particular defendant




                                          -3-

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            1:20-cr-00305-DDDDocument
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                                                       02/12/24 USDC
                                                                  PageColorado
                                                                       4 of 8        pg
                                  788 of 1354




       caused by joinder against the obviously important considerations of
       economy and expedition in judicial administration.” Id. (cleaned up).

                                    DISCUSSION

          Mr. Tew argues that (1) he has not waived or forfeited his severance
       arguments and (2) on the merits, severance is required “because this
       case now involves a defense that Mrs. Tew is not guilty, because Mr.
       Tew is guilty, and his guilt negates her – the classic problematic finger
       pointing situation.” Doc. 420 at 1-10. Both arguments are unpersuasive.

          I.     Timeliness of the Motion

          As discussed above, a defendant generally must demonstrate “good
       cause” to make a motion for severance after trial has started if the “basis
       for the motion” was “reasonably available” prior to trial. See Fed. R.
       Crim. P. 12(b)(3)(B)(iv), 12(c)(3), 14; United States v. Herrera, 51 F.4th
       1226, 1267 (10th Cir. 2022). Mr. Tew does not explicitly address this
       “good cause” standard, but he argues that he has not forfeited or waived
       his argument. The court construes these arguments as an attempt to
       demonstrate good cause to file this motion after trial commenced.

          Despite Mr. Tew’s protestations, there has been a real, foreseeable
       possibility that Mrs. Tew’s defense would be antagonistic to his for
       years. As noted above, the government raised this very issue early on in
       the case, suggesting that joint representation may not be appropriate.
       See generally, Doc. 108. The fact that the court later ordered separate
       counsel for each defendant—over a year prior to the start of trial—
       should have put Mr. Tew on further notice that his defense strategy may
       not align with Mrs. Tew’s. And as the government outlined in its re-
       sponse, there were multiple natural opportunities to raise this issue in
       the years before trial started. See Doc. 422 at 9-10.



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          Mr. Tew’s suggestion that the defenses—or potential defenses—were
       not sufficiently antagonistic prior to trial to warrant filing a motion re-
       mains unpersuasive. The parties have demonstrated little reluctance in
       raising more minor hypothetical issues prior to trial throughout the
       nearly four-year pendency of this case. The standard is whether the ba-
       sis for severance—here, Mrs. Tew’s potential finger-pointing defense—
       was “reasonably available” prior to trial, not definitively available. Fed.
       R. Crim. P. 12(b)(3). That standard does not require that all relevant
       information be made available. See United States v. Rodriguez-Lozada,
       558 F.3d 29, 38 (1st Cir. 2009) (affirming finding that mid-trial motion
       to sever was untimely where defense counsel argued that they had to
       wait until prior hearing transcript was available before making motion).

          The court acknowledges that there is no joint defense group in this
       case and that counsel cannot be expected to anticipate every defense a
       co-conspirator may raise at trial. But Mr. Tew could have seen this com-
       ing, at least at a high level, particularly given the case history outlined
       above and outlined in the government’s response to this motion. Mr. Tew
       therefore has not demonstrated good cause to file an untimely motion
       for severance or that the basis for his motion was not “reasonably avail-
       able” prior to trial. In any event, the motion fails on the merits as out-
       lined below.

          II.    Severance Is Not Warranted

          Mr. Tew must first establish that there are truly “mutually exclu-
       sive” antagonistic defenses at issue here and that Mrs. Tew’s defense
       either compromises a “specific trial right” or prevents “the jury from
       making a reliable judgment about guilt or innocence.” Jones, 530 F.3d
       at 1302 (emphasis in original). Mr. Tew cannot meet either prong.




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                                                                       6 of 8         pg
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          As to the first prong, the “core” of Mrs. Tew’s defense must be “so
       antagonistic to” Mr. Tew’s defense such that “the two defenses [are] mu-
       tually exclusive.” Id. at 1304. Jones is on point. In that bank fraud case,
       the non-moving defendant argued, both in opening and closing argu-
       ments, that the moving co-defendant was “the ‘head’ of the bank fraud
       operation” charged in the indictment and that the moving co-defendant
       was “running that organization.” Id. While these statements were “an-
       tagonistic” to the moving defendant, the Tenth Circuit found that this
       did not render the defenses mutually exclusive. Id. The Tenth Circuit
       found that the moving defendant’s “guilt was not, in itself, a viable legal
       defense for” the non-moving defendant. Id. Instead, the Circuit found
       that the core of the non-moving defendant’s actual legal defense was
       based on the sufficiency of the evidence, a lack of willfulness or
       knowledge of the alleged conspiracy, and an attack on the government’s
       witness’s credibility and truthfulness. Id.

          The same high-level “finger-pointing” defense is at issue here. As Mr.
       Tew notes, Mrs. Tew has argued that Mr. Tew had greater, if not sole,
       involvement with Mr. Yioulos as to the counts charged against him and
       that, somehow, Mrs. Tew may therefore be innocent of the counts
       charged against her. See Doc. 420 at 12-13 (citing opening argument
       statements made by Mrs. Tew’s counsel that Mr. Tew and Mr. Yioulos
       “concocted and executed” the charged scheme and suggesting that they,
       not Mrs. Tew, are more culpable). But this, standing alone, is not a via-
       ble legal defense as described in Jones. Indeed, in a wire fraud conspir-
       acy like this, it’s perfectly consistent for both defendants, and Mr. Yiou-
       los, to be guilty of the conspiracy even if one is more culpable than others
       (a fact reflected by the variance in the number of counts charged against
       each defendant). And Mr. Tew’s guilt, standing alone, would not absolve
       Mrs. Tew as a legal matter.



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                                  791 of 1354




          Instead, the “core” of Mrs. Tew’s defense amounts to a suggestion
       that she did not know the details of the conspiracy as much as Mr. Tew
       and Mr. Yioulos (just as in Jones), that the government cannot meet its
       burden to prove guilt beyond a reasonable doubt (just as in Jones), and
       that the government’s witnesses lack credibility or are lying (just as in
       Jones). These are the same “core defenses” at issue in Jones and are not
       mutually exclusive to Mr. Tew’s core defenses (which appear to have
       been very similar thus far). Mr. Tew therefore has not established that
       there are mutually exclusive defenses at issue here.

          Even if Mr. Tew had established the first prong, as to the second
       prong, he has not identified a specific trial right compromised by Mrs.
       Tew’s defense, nor has he demonstrated that the jury will be unable to
       make a reliable judgment about guilt or innocence. See Pursley, 474 F.3d
       at 766. Mr. Tew argues generally that his “rights to a fair trial, due pro-
       cess, and to a fair and impartial jury” are at issue because the jury may
       not treat him as an individual defendant. This mirrors the unsuccessful
       arguments made in Pursley that the joint trial rendered the moving de-
       fendant’s defense “less likely to be successful.” Id. That is not sufficiently
       specific, as detailed in Pursley: “It is well settled that defendants are not
       entitled to severance merely because they may have a better chance of
       acquittal in separate trials.” Id. (cleaned up) (emphasis in original). And
       the court has—and will again—instruct the jury that the evidence must
       be weighed independently as to each defendant. That is sufficient to cure
       any alleged prejudice caused by Mrs. Tew’s “antagonism” toward Mr.
       Tew. See Zafiro, 506 U.S. at 540-41.

          And even if Mr. Tew had established these first two prongs, any al-
       leged prejudice to Mr. Tew does not outweigh the “obviously important
       considerations of economy and expedition in judicial administration.”
       530 F.3d at 1304. As discussed above, any prejudice to Mr. Tew is


                                           -7-

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                                                                       8 of 8           pg
                                  792 of 1354




       minimal and has been/will be cured with appropriate instructions. On
       the other hand, severing trial now would completely undermine the con-
       siderations of judicial economy: (1) the court has already conducted most
       of this trial and received the testimony of many witnesses, most of whom
       flew from out of state to testify; (2) Mr. Tew failed to raise this issue pre-
       trial and has not shown good cause for that failure; (3) this case has been
       ongoing for nearly four years, largely due to delays requested by both
       defendants; and (4) both defendants have tried to delay this trial multi-
       ple times (both before and after it started), including through re-litiga-
       tion of many issues resolved prior to trial. Judicial economy therefore
       outweighs any minimal purported prejudice resulting from the joint
       trial of both defendants.

                                     CONCLUSION

          Mr. Tew’s Renewed Motion for Severance, Doc. 420, is DENIED.

       DATED: February 12, 2024               BY THE COURT:



                                             Daniel D. Domenico
                                             United States District Judge




                                           -8-

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                                  793 of 1354




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                            JUDGE DANIEL D. DOMENICO


 Date:             February 12, 2024   Prob./Pret.: N/A
 Courtroom Deputy: Robert R. Keech     Interpreter: N/A
 Court Reporter:   Tammy Hoffschildt
 ______________________________________________________________________

 Criminal Case No. 1:20-cr-00305-DDD          Counsel:

 UNITED STATES OF AMERICA,                    Bryan D. Fields
                                              Sarah H. Weiss
              Plaintiff,

 v.

 1. MICHAEL AARON TEW;                        Jason D. Schall
 and                                          Kristen M. Frost
 2. KIMBERLEY ANN TEW,                        David S. Kaplan
                                              Jamie H. Hubbard
              Defendants.



                              COURTROOM MINUTES


 TRIAL TO JURY (DAY 6)

 8:57 a.m.    Court in session. Defendants present, on bond. Jury not present.

 Discussion regarding jury instructions, [420] Defendant Michael Tew’s Renewed Motion
 for Severance, Mr. Schall having a bond revocation hearing at 12:00 p.m. before
 Magistrate Judge Susan B. Prose, and exhibits.

 ORDERED: [420] Defendant Michael Tew’s Renewed Motion for Severance is
          DENIED.

 9:02 a.m.    Jury enters.



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                                                                       2 of 4            pg
                                  794 of 1354




 9:02 a.m.    Government’s witness Sarah Anderson sworn.

              Direct examination by Government by Mr. Fields.
              Exhibit(s) identified: 555, 556, 557, 558, 559, 560, 561, 562, 409

 Exhibit(s) 555, 556, 557, 558, 559, 560, 561, 562 RECEIVED.

 9:30 a.m.    Cross examination by Defendant Michael Aaron Tew by Mr. Schall.

 9:35 a.m.    Cross examination by Defendant Kimberley Ann Tew by Mr. Kaplan.

 9:38 a.m.    Government’s witness Roman Hernandez sworn.

              Direct examination by Government by Mr. Fields.
              Exhibit(s) identified: 101, 102, 103, 104, 105, 110, 111, 112, 106, 107,
              108, 109

 Exhibit(s) 101, 102, 103, 104, 105, 110, 111, 112, 106, 107, 108, 109 RECEIVED.

 9:59 a.m.    Cross examination by Defendant Michael Aaron Tew by Ms. Frost.
              Exhibit(s) identified: 111, 112

 10:06 a.m.   Government’s witness Nicholas Hanggi sworn.

              Direct examination by Government by Mr. Fields.
              Exhibit(s) identified: 1115, 564, 565, 566, 567, 568, 569, 563

 Exhibit(s) 1115, 564, 565, 566, 567, 568, 563 RECEIVED.

 10:29 a.m.   Court in recess.

 10:43 a.m.   Court in session. Jury enters.

 10:45 a.m.   Government’s witness Nicholas Hanggi resumes.

              Cross examination by Defendant Kimberley Ann Tew by Ms. Hubbard.
              Exhibit(s) identified: 555, 564, 569

 11:02 a.m.   Cross examination by Defendant Michael Aaron Tew by Mr. Schall.




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 11:07 a.m.   Government’s witness Matthew Vanderveer sworn.

              Direct examination by Government by Mr. Fields.
              Exhibit(s) identified: 605, 613, 614, 625, 639, 650, 673, 681, 689, 693,
              697, 705, 707, 717, 747, 774, 775, 786, 788, 817, 820, 829, 830, 833,
              837, 851, 857, 858, 865, 718, 628, 635, 637, 646, 685, 708, 715, 718,
              730, 740, 760, 776, 784, 787, 804, 805, 842, 883, 885, 886, 895, 896,
              897, 901, 902, 915, 917, 925, 927, 932, 934, 937, 938, 941, 942, 946,
              958, 960, 964, 966, 967, 970, 989, 990

 11:30 a.m.   Bench conference regarding objections to exhibits.

 11:35 a.m.   Direct examination by Government continues by Mr. Fields.
              Exhibit(s) identified: 605, 613, 614, 625, 639, 650, 673, 681, 689, 693,
              697, 705, 707, 717, 747, 774, 775, 786, 788, 817, 820, 829, 830, 833,
              837, 851, 857, 858, 865, 718, 628, 635, 637, 646, 685, 708, 715, 718,
              730, 740, 760, 776, 784, 787, 804, 805, 842, 883, 885, 886, 895, 896,
              897, 901, 902, 915, 917, 925, 927, 932, 934, 937, 938, 941, 942, 944,
              946, 958, 960, 961, 964, 966, 967, 970, 989, 990

 Exhibit(s) 628, 635, 637, 646, 685, 708, 715, 718, 730, 740, 760, 776, 784, 787, 804,
 805, 842, 883, 885, 886, 895, 896, 897, 901, 902, 915, 917, 925, 927, 932, 934, 937,
 938, 941, 942, 946, 958, 960, 964, 966, 967, 970, 989, 990, 656, 669, 696, 752
 RECEIVED.

 11:48 a.m.   Court in recess.

 1:01 p.m.    Court in session. Jury enters.

 1:03 p.m.    Government’s witness Matthew Vanderveer resumes.

              Cross examination by Defendant Kimberley Ann Tew by Ms. Hubbard.
              Exhibit(s) identified: 650, 863, 885

 1:17 p.m.    Cross examination by Defendant Michael Aaron Tew by Ms. Frost.

 1:28 p.m.    Re-direct examination by Government by Mr. Fields.




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                                                                       4 of 4              pg
                                  796 of 1354




 1:32 p.m.    Government’s witness Matthew Edward Morgan sworn.

              Direct examination by Government by Ms. Weiss.
              Exhibit(s) identified: 312, 354, 363, 207, 364, 311, 341, 202, 302, 310,
              46, 208, 209, 210, 212, 225, 228, 231, 232, 236, 239, 240, 246, 303, 304,
              314, 315, 319, 324, 325, 328, 329, 331, 333, 368, 393, 394, 203, 205, 48,
              52, 53, 213, 217, 220, 224, 229, 230, 245, 250, 306, 307, 334, 337, 340,
              342, 343, 344, 345, 382, 385, 973, 1001, 1004

 Exhibit(s) 312, 354, 363, 207, 364, 311, 341, 46, 208, 209, 210, 212, 225, 228, 231,
 232, 236, 239, 240, 246, 303, 304, 314, 319, 324, 325, 328, 329, 331, 333, 368, 393,
 394, 203, 205, 48, 52, 53, 213, 217, 220, 224, 229, 230, 245, 250, 306, 307, 334, 337,
 340, 342, 343, 344, 345, 382, 385, 973. 1001, 1004 RECEIVED.

 2:04 p.m.    Bench conference regarding objection to exhibit 1004.

 2:11 p.m.    Direct examination by Government continues by Ms. Weiss.
              Exhibit(s) identified: 1004, 601, 2, 202, 540, 647, 3, 305, 203, 649, 537,
              3, 305, 203, 1004, 683, 541, 5, 305, 205, 674, 675, 5, 311, 341, 1004,
              543, 692, 7, 301, 207

 2:53 p.m.    Court in recess.

 3:10 p.m.    Court in session. Jury enters.

 3:11 p.m.    Government’s witness Matthew Edward Morgan resumes.

              Direct examination by Government continues by Ms. Weiss.
              Exhibit(s) identified: 1004, 1005, 716, 8, 303, 208, 719, 9, 303, 209, 737,
              210, 743, 11, 210, 1006, 841, 12, 13. 213, 306, 14, 844, 15, 306, 213,
              845, 16, 46, 246, 953, 35, 232, 36, 236, 38, 959, 239

 4:56 p.m.    Jury excused for the day and shall report back on Tuesday, February 13,
              2024, at 9:00 a.m.

 Discussion regarding schedule for tomorrow and redacting social security numbers
 contained in documents.

 ORDERED: Bond is CONTINUED as to Defendants Michael Aaron Tew and Kimberley
          Ann Tew.

 5:00 p.m.    Court in Recess. TRIAL CONTINUED. TOTAL TIME: 6:19


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                                  797 of 1354




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                               Judge Daniel D. Domenico

 Criminal Case No. 1:20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1. MICHAEL AARON TEW; and
 2. KIMBERLEY ANN TEW,

        Defendants.


                                      MINUTE ORDER

 ORDER ENTERED BY JUDGE DANIEL D. DOMENICO

        The Clerk of Court shall provide lunch to the jury for the duration of their
 deliberations commencing on Wednesday, February 14, 2024.

        Dated: February 13, 2024.




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                                  799 of 1354




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                            JUDGE DANIEL D. DOMENICO


 Date:             February 13, 2024   Prob./Pret.: N/A
 Courtroom Deputy: Robert R. Keech     Interpreter: N/A
 Court Reporter:   Tammy Hoffschildt
 ______________________________________________________________________

 Criminal Case No. 1:20-cr-00305-DDD            Counsel:

 UNITED STATES OF AMERICA,                      Bryan D. Fields
                                                Sarah H. Weiss
              Plaintiff,

 v.

 1. MICHAEL AARON TEW;                          Jason D. Schall
 and                                            Kristen M. Frost
 2. KIMBERLEY ANN TEW,                          David S. Kaplan
                                                Jamie H. Hubbard
              Defendants.



                                COURTROOM MINUTES


 TRIAL TO JURY (DAY 7)

 9:00 a.m.    Court in session. Defendants present, on bond. Jury not present.

 Discussion regarding audio files from recording of Jonathan Yioulos.

 9:09 a.m.    Jury enters.




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                                  800 of 1354




 9:09 a.m.    Government’s witness Matthew Edward Morgan resumes.

              Direct examination by Government continues by Ms. Weiss.
              Exhibit(s) identified: 1006, 240, 1007, 903, 52, 887, 220, 224, 933, 229,
              954, 230, 912, 225, 227, 935, 228, 950, 231, 232, 952, 232, 959, 37, 236,
              1002, 1003

 Exhibit(s) 1002, 1003 RECEIVED.

 9:32 a.m.    Cross examination by Defendant Kimberley Ann Tew by Mr. Kaplan.
              Exhibit(s) identified: 1001, 1002, 1003, 1004, 1005, 1006, 1007

 9:56 a.m.    Cross examination by Defendant Michael Aaron Tew by Mr. Schall.
              Exhibit(s) identified: 203, 301, 1002

 10:00 a.m.   Re-direct examination by Government by Mr. Fields. Ms. Weiss.
              Exhibit(s) identified: 303, 1007, 236, 1002

 10:06 a.m.   Court in recess.

 10:20 a.m.   Court in session. Jury enters.

 10:22 a.m.   Government’s witness Lisa Palmer sworn.

              Direct examination by Government by Mr. Fields.
              Exhibit(s) identified: 514, 303, 515, 505, 473, 516, 313, 474, 504, 554,
              569, 520, 524, 980, 981, 982, 983, 984, 985, 524, 937, 938, 939, 940,
              941, 521, 513, 687, 686, 512, 584, 1008

 Exhibit(s) 514, 515, 505, 473, 516, 474, 504, 554, 520, 524, 980, 981, 982, 983, 984,
 985, 521, 513, 686, 512, 584 RECEIVED.

 11:31 a.m.   Bench conference regarding objections to exhibit 1008.

 11:35 a.m.   Direct examination by Government continues by Mr. Fields.
              Exhibit(s) identified: 1008, 327, 730, 731, 917, 740, 742

 Exhibit(s) 1008 (pp. 1-27), 327 RECEIVED.

 11:57 p.m.   Court in recess.




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                                  801 of 1354




 1:01 p.m.     Court in session. Jury not present.

 Discussion regarding limiting jury instruction on conspiracy and fraud, jury instructions
 and verdict form to counsel shortly.

 1:06 p.m.     Jury enters.

               Government’s witness Lisa Palmer resumes.

               Direct examination by Government continues by Mr. Fields.
               Exhibit(s) identified: 1008, 842, 246, 883, 220, 316, 332, 502, 503, 885,
               886, 332, 52, 500, 501, 509, 510, 511, 507, 508, 895, 336, 896, 225, 896,
               897, 901, 925, 410, 927, 934, 421, 938, 403, 942, 967, 804, 805, 972,
               522, 760, 938, 427, 414, 427, 961, 420, 943, 471, 472, 776, 322, 477,
               478, 479, 480, 481, 482, 483, 570, 1024, 320, 475, 476, 1025, 346, 330,
               381, 484, 485, 586, 487, 488, 489, 490, 491, 1026, 482

 Exhibit(s) 316, 332, 502, 503, 500, 501, 509, 510, 511, 507, 508, 336, 522, 427, 471,
 472, 322, 477, 478, 479, 480, 481, 482, 483, 570, 320, 475, 476, 346, 330, 381, 484,
 485, 486, 487, 488, 489, 490, 491 RECEIVED.

 2:33 p.m.     Jury excused.

 Discussion regarding objection to exhibit 1009.

 2:40 p.m.     Court in recess.

 2:54 p.m.     Court in session. Jury enters.

 2:55 p.m.     Government’s witness Lisa Palmer resumes.

               Direct examination by Government continues by Mr. Fields.
               Exhibit(s) identified: 471, 472, 42, 242, 1009, 43, 1010, 44, 1011, 989,
               45, 1012, 1013, 47, 1014, 990, 48, 1015, 864, 49, 1016, 50, 1017, 51,
               506, 469, 1019, 505, 1020, 54, 1021, 55, 1022, 56, 1023, 931

 Exhibit(s) 42, 242, 44, 45, 47, 49, 50, 51, 506, 469, 54, 55, 56, 931 RECEIVED.

 3:43 p.m.     Cross examination by Defendant Michael Aaron Tew by Ms. Frost.
               Exhibit(s) identified: 937, 980, 983, 984, 938, 508, 507




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                                                                       4 of 4         pg
                                  802 of 1354




 4:13 p.m.   Cross examination by Defendant Kimberley Ann Tew by Ms. Hubbard.
             Exhibit(s) identified: 1009, 1013, 1010, 1011, 1014, N, 564, 567, 554,
             650, 687, 961, 730, 760, 917, 784, 792

 Exhibit(s) N RECEIVED.

 4:59 p.m.   Bench conference regarding schedule for tomorrow.

 5:01 p.m.   Jury excused for the day and shall report back on Wednesday, February
             14, 2024, at 9:30 a.m.

 ORDERED: Bond is CONTINUED as to Defendants Michael Aaron Tew and Kimberley
          Ann Tew.

 5:02 p.m.   Court in Recess. TRIAL CONTINUED. TOTAL TIME: 6:30




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                                  803 of 1354




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                               Judge Daniel D. Domenico

 Criminal Case No. 1:20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1. MICHAEL AARON TEW; and
 2. KIMBERLEY ANN TEW,

        Defendants.


                                AMENDED MINUTE ORDER

 ORDER ENTERED BY JUDGE DANIEL D. DOMENICO

        The Clerk of Court shall provide lunch to the jury, including the alternate juror, for
 the duration of their deliberations commencing on Wednesday, February 14, 2024.

        Dated: February 14, 2024.




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       Jury_Clerk@cod.uscourts.gov




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Case No.
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                                  805 of 1354




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                            JUDGE DANIEL D. DOMENICO


 Date:             February 14, 2024   Prob./Pret.: N/A
 Courtroom Deputy: Robert R. Keech     Interpreter: N/A
 Court Reporter:   Tammy Hoffschildt
 ______________________________________________________________________

 Criminal Case No. 1:20-cr-00305-DDD             Counsel:

 UNITED STATES OF AMERICA,                       Bryan D. Fields
                                                 Sarah H. Weiss
              Plaintiff,

 v.

 1. MICHAEL AARON TEW;                           Jason D. Schall
 and                                             Kristen M. Frost
 2. KIMBERLEY ANN TEW,                           David S. Kaplan
                                                 Jamie H. Hubbard
              Defendants.



                                COURTROOM MINUTES


 TRIAL TO JURY (DAY 8)

 9:11 a.m.    Court in session. Defendants present, on bond. Jury not present.

 Court’s remarks related to exhibits V, W, X, Y, Z, and AA.

 Exhibit(s) V, W, X, Y, Z, AA RECEIVED.

 Discussion and argument regarding jury instructions and verdict forms.

 Request by Mr. Kaplan for additional time for closing arguments.




                                             1




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Case No.
      Case
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                                                       02/14/24 USDC
                                                                  PageColorado
                                                                       2 of 4          pg
                                  806 of 1354




 10:00 a.m.   Court in recess.

 10:11 a.m.   Court in session. Jury enters.

 10:13 a.m.   Government’s witness Lisa Palmer resumes.

              Cross examination by Defendant Kimberley Ann Tew continues by Ms.
              Hubbard.
              Exhibit(s) identified: N, A, 708, BB, 707, 685, CC, 684

 Exhibit(s) A, BB, CC, 684 RECEIVED.

 10:40 a.m.   Direct examination by Government by Mr. Fields.
              Exhibit(s) identified: 886, 509, 943, 426, 787, 786, N, 505, 886, 400,
              740, 742, 741, 43

 Exhibit(s) 43 RECEIVED.

 11:02 a.m.   Government rests.

 11:03 a.m.   Jury excused.

 Defendant Kimberley Ann Tew’s oral motion for judgment of acquittal by Mr. Kaplan and
 Defendant Michael Aaron Tew’s oral motion for judgment of acquittal and renewed
 motion for severance by Ms. Frost. Defendant Kimberley Ann Tew’s renewed motion to
 sever by Ms. Hubbard.

 Argument by counsel.

 ORDERED: Defendant Michael Aaron Tew’s oral motion for judgment of acquittal is
          DENIED.

 ORDERED: Defendant Kimberley Ann Tew’s oral motion for judgment of acquittal is
          DENIED.

 ORDERED: Defendant Michael Aaron Tew’s oral renewed motion for severance is
          DENIED.

 ORDERED: Defendant Kimberley Ann Tew’s renewed motion to sever is DENIED.

              Court advises Defendants of their rights with regard to testifying or
              remaining silent at trial.


                                             2




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Case No.
      Case
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                                                     01/24/25
                                                       02/14/24 USDC
                                                                  PageColorado
                                                                       3 of 4                 pg
                                  807 of 1354




 11:12 a.m.   Court in recess.

 11:25 a.m.   Court in session. Jury not present.

              Court further advises Defendants of their rights with regard to testifying or
              remaining silent at trial.

 11:29 a.m.   Jury enters.

 Defendant Michael Aaron Tew and Defendant Kimberley Ann Tew rest.

 Court reads jury instructions and verdict form.

 12:12 p.m.   Court in recess.

 1:19 p.m.    Court in session. Jury not present.

 1:22 p.m.    Jury enters.

 1:23 p.m.    Closing argument by Government by Mr. Fields.

 2:11 p.m.    Court in recess.

 2:20 p.m.    Court in session. Jury enters

 2:22 p.m.    Closing argument by Defendant Michael Aaron Tew by Ms. Frost.

 2:56 p.m.    Closing argument by Defendant Kimberley Ann Tew by Mr. Kaplan.

 3:34 p.m.    Rebuttal argument by Government by Mr. Fields. Ms. Weiss.

 3:44 p.m.    Court Security Officer (CSO) sworn.

 3:45 p.m.    Alternate juror 100485198 is excused.

 3:45 p.m.    Jury excused to commence deliberations.

 Defendant Kimberley Ann Tew’s oral motion for mistrial by Ms. Hubbard.

 Argument by counsel.

 Defendant Michael Aaron Tew’s oral Rule 29 motion and oral motion for severance by
 Ms. Frost.

                                             3




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Case No.
      Case
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            1:20-cr-00305-DDDDocument
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                                                                  PageColorado
                                                                       4 of 4            pg
                                  808 of 1354




 Defendant Kimberley Ann Tew’s oral Rule 29 motion and oral motion for severance by
 Mr. Kaplan.

 Court makes findings.

 ORDERED: Defendant Kimberley Ann Tew’s oral motion for mistrial is DENIED.

 ORDERED: Defendant Kimberley Ann Tew’s oral Rule 29 motion is DENIED.

 ORDERED: Defendant Kimberley Ann Tew’s oral motion for severance is DENIED.

 ORDERED: Defendant Michael Aaron Tew’s oral Rule 29 motion is DENIED.

 ORDERED: Defendant Michael Aaron Tew’s oral motion for severance is DENIED.

 Jury will be allowed to leave around 5:00 p.m.

 ORDERED: Bond is CONTINUED as to Defendants Michael Aaron Tew and Kimberley
          Ann Tew.

 4:00 p.m.    Court in recess. Subject to call.

 4:53 p.m.    Court in session. Jury not present.

 Discussion regarding note from the jury.

 Jury will be excused for the day and shall resume deliberations on Thursday, February
 15, 2024, at 9:00 a.m.

 ORDERED: Bond is CONTINUED as to Defendants Michael Aaron Tew and Kimberley
          Ann Tew.

 4:54 p.m.    Court in Recess. TRIAL CONTINUED. TOTAL TIME:5:10




                                            4




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                                  809 of 1354




                                             Juror name redacted.




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                                  810 of 1354




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                                  811 of 1354




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                                  812 of 1354




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                                  813 of 1354




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                                  814 of 1354




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                                  815 of 1354




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                                  816 of 1354




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                                  817 of 1354




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                                  818 of 1354




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                                  819 of 1354




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                                  820 of 1354




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                                                                   9 of 62    pg
                                  821 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                                  822 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                                  823 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                                                                   12 of 62   pg
                                  824 of 1354




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     Case1:20-cr-00305-DDD
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                                  825 of 1354




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                                  826 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                                                                   15 of 62   pg
                                  827 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                                                                   16 of 62   pg
                                  828 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                                                                   17 of 62   pg
                                  829 of 1354




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Case No.
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                                                                   18 of 62   pg
                                  830 of 1354




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                                                                   19 of 62   pg
                                  831 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                                                                   20 of 62   pg
                                  832 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                                                                   21 of 62   pg
                                  833 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                                         435 filed
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                                                                   22 of 62   pg
                                  834 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                                                                   23 of 62   pg
                                  835 of 1354




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Case No.
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                                                              Page Colorado
                                                                   24 of 62   pg
                                  836 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                                         435 filed
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                                                    02/14/24 USDC
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                                                                   25 of 62   pg
                                  837 of 1354




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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
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                                         435 filed
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                                                                   26 of 62   pg
                                  838 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                                         435 filed
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                                                                   27 of 62   pg
                                  839 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                                                                   28 of 62   pg
                                  840 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                                         435 filed
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                                                              Page Colorado
                                                                   29 of 62   pg
                                  841 of 1354




                                                                                   841
Case No.
     Case1:20-cr-00305-DDD
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                                                              Page Colorado
                                                                   30 of 62   pg
                                  842 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                                         435 filed
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                                                              Page Colorado
                                                                   31 of 62   pg
                                  843 of 1354




                                                                                   843
Case No.
     Case1:20-cr-00305-DDD
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                                                              Page Colorado
                                                                   32 of 62   pg
                                  844 of 1354




                                                                                   844
Case No.
     Case1:20-cr-00305-DDD
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                                                              Page Colorado
                                                                   33 of 62   pg
                                  845 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                                                              Page Colorado
                                                                   34 of 62   pg
                                  846 of 1354




                                                                                   846
Case No.
     Case1:20-cr-00305-DDD
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                                         435 filed
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                                                              Page Colorado
                                                                   35 of 62   pg
                                  847 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                                         435 filed
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                                                                   36 of 62   pg
                                  848 of 1354




                                                                                   848
Case No.
     Case1:20-cr-00305-DDD
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                                         435 filed
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                                                              Page Colorado
                                                                   37 of 62   pg
                                  849 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                                                                   38 of 62   pg
                                  850 of 1354




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     Case1:20-cr-00305-DDD
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                                                                   39 of 62   pg
                                  851 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                                                              Page Colorado
                                                                   40 of 62   pg
                                  852 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                                                              Page Colorado
                                                                   41 of 62   pg
                                  853 of 1354




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                                                                   42 of 62   pg
                                  854 of 1354




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                                                                   43 of 62   pg
                                  855 of 1354




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                                                                   44 of 62   pg
                                  856 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                                                              Page Colorado
                                                                   45 of 62   pg
                                  857 of 1354




                                                                                   857
Case No.
     Case1:20-cr-00305-DDD
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                                                              Page Colorado
                                                                   46 of 62   pg
                                  858 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                                                              Page Colorado
                                                                   47 of 62   pg
                                  859 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                                                              Page Colorado
                                                                   48 of 62   pg
                                  860 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                                                              Page Colorado
                                                                   49 of 62   pg
                                  861 of 1354




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                                  862 of 1354




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                                  863 of 1354




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                                  864 of 1354




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                                  865 of 1354




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                                                                   54 of 62   pg
                                  866 of 1354




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                                  867 of 1354




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                                                                   56 of 62   pg
                                  868 of 1354




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                                  869 of 1354




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                                  870 of 1354




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                                  872 of 1354




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                                  873 of 1354




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                                  874 of 1354




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                                  875 of 1354




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                                  878 of 1354




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                                  879 of 1354




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                                  880 of 1354




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                                  881 of 1354




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                                  882 of 1354




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                                  883 of 1354




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                                  884 of 1354




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                                  886 of 1354




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                                  887 of 1354




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                                  893 of 1354




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                                  894 of 1354




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                                  895 of 1354




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                                  896 of 1354




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                                  897 of 1354




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                                  898 of 1354




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                                  900 of 1354




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                                  904 of 1354




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                                  905 of 1354




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                                  906 of 1354




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                                  907 of 1354




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                                                                   31 of 37   pg
                                  908 of 1354




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                                                                   32 of 37   pg
                                  909 of 1354




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                                  910 of 1354




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                                  911 of 1354




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                                                                   35 of 37   pg
                                  912 of 1354




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                                                                   36 of 37   pg
                                  913 of 1354




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Case No.
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                                                                   37 of 37   pg
                                  914 of 1354




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                                                                       1 of 4          pg
                                  915 of 1354




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                            JUDGE DANIEL D. DOMENICO


 Date:             February 15, 2024   Prob./Pret.: N/A
 Courtroom Deputy: Robert R. Keech     Interpreter: N/A
 Court Reporter:   Tammy Hoffschildt
 ______________________________________________________________________

 Criminal Case No. 1:20-cr-00305-DDD              Counsel:

 UNITED STATES OF AMERICA,                        Bryan D. Fields
                                                  Sarah H. Weiss
              Plaintiff,

 v.

 1. MICHAEL AARON TEW;                            Jason D. Schall
 and                                              Kristen M. Frost
 2. KIMBERLEY ANN TEW,                            David S. Kaplan
                                                  Jamie H. Hubbard
              Defendants.



                                COURTROOM MINUTES


 TRIAL TO JURY (DAY 9)

 9:00 a.m.    JURY ARRIVES TO RESUME DELIBERATIONS

 11:54 a.m.   Court in session. Jury not present.

 Discussion regarding how to respond to notes (questions) from jury.

 Court provides counsel with intended responses to jury notes (questions). No objection.

 12:01 p.m.   Court in recess. Subject to call.

 5:03 p.m.    Court in Session - Jury not present.

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                                                                  PageColorado
                                                                       2 of 4    pg
                                  916 of 1354




             Seth Junker is present on behalf of probation.

             Court informs counsel that jury has reached a verdict.

 5:06 p.m.   Jury enters

             Court reads jury verdict.

                                  Michael Aaron Tew

             Count 1       GUILTY
             Count 2       GUILTY
             Count 3       GUILTY
             Count 4       GUILTY
             Count 5       GUILTY
             Count 6       GUILTY
             Count 7       GUILTY
             Count 8       GUILTY
             Count 9       GUILTY
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                                                                       3 of 4    pg
                                  917 of 1354




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             Count 59      GUILTY
             Count 60      GUILTY

                                Kimberly Ann Tew

             Count 1       GUILTY
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             Count 25      GUILTY
             Count 26      GUILTY
             Count 31      GUILTY
             Count 32      GUILTY
             Count 41      GUILTY
             Count 43      GUILTY
             Count 44      GUILTY
             Count 47      GUILTY
             Count 48      NOT GUILTY
             Count 56      GUILTY

 5:12 p.m.   Jury is polled.


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                                                                       4 of 4    pg
                                  918 of 1354




             Court thanks jurors for their service and they are discharged.

 5:14 p.m.   Jury excused

 Government request for defendants to be remanded into custody.

 Argument by counsel.

 ORDERED: Conditions of bond will be modified as to both Michael Aaron Tew and
          Kimberley Ann Tew to the extent they shall be placed on electronic
          monitoring.

             Court=s closing remarks to counsel.

 ORDERED: Bond is CONTINUED as to Defendants Michael Aaron Tew and Kimberley
          Ann Tew.

 5:26 p.m.   Court in Recess - TRIAL CONCLUDED. TOTAL TIME: :30

 CLERK=S NOTE: EXHIBITS WERE RETURNED TO COUNSEL AT THE
 CONCLUSION OF THE TRIAL.




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                                  919 of 1354




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                                  920 of 1354




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                                  921 of 1354




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                                                                       1 of 1    pg
                                  922 of 1354




                                                                                      922
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                                                                   1 of 26    pg
                                  923 of 1354




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                                                     02/15/24 USDC
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                                                                   2 of 26    pg
                                  924 of 1354




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                                                                   3 of 26    pg
                                  925 of 1354




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                                                   01/24/25
                                                     02/15/24 USDC
                                                               PageColorado
                                                                   4 of 26    pg
                                  926 of 1354




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Case No.
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            1:20-cr-00305-DDDDocument
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                                         448 filed
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                                                   01/24/25
                                                     02/15/24 USDC
                                                               PageColorado
                                                                   5 of 26    pg
                                  927 of 1354




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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                      645-2
                                         448 filed
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                                                   01/24/25
                                                     02/15/24 USDC
                                                               PageColorado
                                                                   6 of 26    pg
                                  928 of 1354




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            1:20-cr-00305-DDDDocument
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                                                   01/24/25
                                                     02/15/24 USDC
                                                               PageColorado
                                                                   7 of 26    pg
                                  929 of 1354




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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                      645-2
                                         448 filed
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                                                   01/24/25
                                                     02/15/24 USDC
                                                               PageColorado
                                                                   8 of 26    pg
                                  930 of 1354




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            1:20-cr-00305-DDDDocument
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                                      645-2
                                         448 filed
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                                                   01/24/25
                                                     02/15/24 USDC
                                                               PageColorado
                                                                   9 of 26    pg
                                  931 of 1354




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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         448 filed
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                                                    02/15/24 USDC
                                                              Page Colorado
                                                                   10 of 26   pg
                                  932 of 1354




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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         448 filed
                                              Filed01/24/25
                                                    02/15/24 USDC
                                                              Page Colorado
                                                                   11 of 26   pg
                                  933 of 1354




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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         448 filed
                                              Filed01/24/25
                                                    02/15/24 USDC
                                                              Page Colorado
                                                                   12 of 26   pg
                                  934 of 1354




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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         448 filed
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                                                    02/15/24 USDC
                                                              Page Colorado
                                                                   13 of 26   pg
                                  935 of 1354




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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         448 filed
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                                                    02/15/24 USDC
                                                              Page Colorado
                                                                   14 of 26   pg
                                  936 of 1354




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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         448 filed
                                              Filed01/24/25
                                                    02/15/24 USDC
                                                              Page Colorado
                                                                   15 of 26   pg
                                  937 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                               Document
                                      645-2
                                         448 filed
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                                                    02/15/24 USDC
                                                              Page Colorado
                                                                   16 of 26   pg
                                  938 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                               Document
                                      645-2
                                         448 filed
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                                                    02/15/24 USDC
                                                              Page Colorado
                                                                   17 of 26   pg
                                  939 of 1354




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Case No.
     Case1:20-cr-00305-DDD
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                               Document
                                      645-2
                                         448 filed
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                                                    02/15/24 USDC
                                                              Page Colorado
                                                                   18 of 26   pg
                                  940 of 1354




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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         448 filed
                                              Filed01/24/25
                                                    02/15/24 USDC
                                                              Page Colorado
                                                                   19 of 26   pg
                                  941 of 1354




                                                                                   941
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         448 filed
                                              Filed01/24/25
                                                    02/15/24 USDC
                                                              Page Colorado
                                                                   20 of 26   pg
                                  942 of 1354




                                                                                   942
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         448 filed
                                              Filed01/24/25
                                                    02/15/24 USDC
                                                              Page Colorado
                                                                   21 of 26   pg
                                  943 of 1354




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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         448 filed
                                              Filed01/24/25
                                                    02/15/24 USDC
                                                              Page Colorado
                                                                   22 of 26   pg
                                  944 of 1354




                                                                                   944
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         448 filed
                                              Filed01/24/25
                                                    02/15/24 USDC
                                                              Page Colorado
                                                                   23 of 26   pg
                                  945 of 1354




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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         448 filed
                                              Filed01/24/25
                                                    02/15/24 USDC
                                                              Page Colorado
                                                                   24 of 26   pg
                                  946 of 1354




                                                                                   946
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         448 filed
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                                                    02/15/24 USDC
                                                              Page Colorado
                                                                   25 of 26   pg
                                  947 of 1354




                                                                                   947
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         448 filed
                                              Filed01/24/25
                                                    02/15/24 USDC
                                                              Page Colorado
                                                                   26 of 26   pg
                                  948 of 1354




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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                                Document
                                      645-2
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                                                     01/24/25
                                                       02/15/24 USDC
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                                                                       1 of 1    pg
                                  949 of 1354




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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
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                                                   01/24/25
                                                     02/21/24 USDC
                                                               PageColorado
                                                                   1 of 17          pg
                                  950 of 1354




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW, and
      2. KIMBERLEY ANN TEW,
         a/ka Kimberley Vertanen,

        Defendants.


       GOVERNMENT’S MOTION FOR DETENTION PENDING SENTENCING


        Following an eight-day jury trial, Michael and Kimberley Tew are now

 convicted felons. The law dictates that they be detained pending sentencing. 18

 U.S.C. § 3143(a). The facts also suggest that the presumption of detention cannot be

 overcome.

        As proven at trial, the Tews spent the past six years conniving to get away

 with a brazen scheme to steal $5 million, much of which was converted offshore into

 bitcoin. In service of this goal, the Tews lied to their friends and associates for

 years. During the conspiracy, they collaborated on what they would do if they ever

 were caught.

        When that day finally came and federal agents showed up at their door,

 Michael Tew made good on their plans and sought to flee the country with his


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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         450 filed
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                                                   01/24/25
                                                     02/21/24 USDC
                                                               PageColorado
                                                                   2 of 17           pg
                                  951 of 1354




 family. A swift probable cause arrest interrupted that attempt. But they did not

 give up. Thereafter, Kimberley Tew tried to tamper with several witnesses and

 impede the government’s investigation. In doing so, she candidly admitted the plan

 she shared with her husband all along — despite the extent of the evidence against

 them both —the government could “only have one head.” When trial finally arrived,

 they persisted with their plan, by ignoring court orders and deadlines, and by

 attempting to manipulate the jury by pointing blame at one another.

       Each sought to delay trial in this matter for years. Throughout, they showed

 that neither has come to terms with the substantial harms wrought by their years

 of deception and criminality. Now, they seek to delay justice even further,

 demanding presentence release and intimating that they should be accorded

 staggered sentences, using their status as parents as justification.

       As if the long history of this case were not enough to indicate that such a

 result would be an injustice, recently acquired bank records underscore the point.

 Those records show that the Tews likely lied to the courts, and that their casual

 relationship to truth came at a tangible cost to the American taxpayer. Specifically,

 they made representations to the court — under penalty of perjury — in order to

 secure the appointment of CJA counsel to which they were not entitled. While

 availing themselves of free CJA representation, they lived in an $8,649.69-a-month

 luxury apartment and pocketed gross income of between $22,000 and $124,000

 every month since January 2022.

       The Tews should be treated like every other defendant convicted at trial.

                                           2



                                                                                          951
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         450 filed
                                               Filed
                                                   01/24/25
                                                     02/21/24 USDC
                                                               PageColorado
                                                                   3 of 17             pg
                                  952 of 1354




 There are not two systems of justice in this country – one for the wealthy and one

 for the poor. The law should be applied equally, and that law presumes they should

 be detained. The facts add weight to that presumption, and the Tews have not

 presented clear and convincing evidence to the contrary. The Court should revoke

 their bonds and order that they be detained pending sentencing.

       I.     Recently obtained bank records suggest that the Tews lied on
              their CJA affidavits, which constitutes perjury and a
              mandatory revocation of bond.

       As detailed below, Michael Tew has received at least $1,212,181.27 in gross

 deposits into a single bank account since January 2022. The government

 respectfully requests that the Court order release to the government of the Tews’

 respective CJA financial affidavits, filed at ECF No. 282, so that the government

 can evaluate whether they made false statements under penalty of perjury. See

 United States v. Kahan, 415 U.S 239, 243 (1979); see, e.g., United States v. Jenkins,

 2012 WL 12952829, at *4 (N.D.N.Y. Oct. 9, 2012) (“[T]he government has the

 authority request disclosure of the above-described financial affidavit on the ground

 that it is necessary for the government to determine whether to seek a separate

 indictment against the affiant for perjury); United States v. Ponzo, 2012 WL 28065,

 at 6 (D. Mass. Jan. 3, 2012) (ordering release of defendant’s financial affidavit after

 trial so that government could evaluate whether separate prosecution for perjury

 was warranted); United States v. Becker, 2010 WL 1936038, at *2 (D. Kan. May 12,

 2010) (granting disclosure of CJA affidavit to government).

       Should the Court conclude that release of the affidavits is appropriate, the

                                           3



                                                                                            952
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         450 filed
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                                                   01/24/25
                                                     02/21/24 USDC
                                                               PageColorado
                                                                   4 of 17         pg
                                  953 of 1354




 government also requests a hearing, pursuant to 18 U.S.C. § 3148, to determine

 whether the Tews’ orders of release should be revoked on the basis that they

 committed new crimes while on release

       Bank records obtained during the trial show that tens of thousands of dollars

 are deposited into an account held in the name of Michael Tew every month:

                          Month and Year Deposits
                          01/22              $50,875.79
                          02/22              $124,989.95
                          03/22              $55,521.54
                          04/22              $57,233.14
                          05/22              $71,069.11
                          06/22              $62,932.81
                          07/22              $53,482.97
                          08/22              $51,086.67
                          09/22              $59,056.31
                          10/22              $27,523.52
                          11/22              $25,332.10
                          12/22              $39,491.31
                          01/23              $36,856.25
                          02/23              $46,199.01
                          03/23              $41,929.82
                          04/23              $22,987.04
                          05/23              $33,174.51
                          06/23              $35,474.86
                          07/23              $36,500.05
                          08/23              $30,875.68
                          09/23              $43,116.57
                          10/23              Not available
                          11/23              $51,069.33
                          12/23              $63,477.26
                          01/24              $91,925.67
                          TOTAL              $1,212,181.27

 Every month, much of this money disappears via transfers to Kimberley Tew, wire

 transfers, cash withdrawals, or purchases on cryptocurrency exchange platforms. At


                                         4



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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                                   01/24/25
                                                     02/21/24 USDC
                                                               PageColorado
                                                                   5 of 17           pg
                                  954 of 1354




 a hearing, the government can compare the CJA affidavits to these bank records. If

 the Court concludes that there is probable cause to believe that the Tews committed

 perjury in violation of 18 U.S.C. § 1621 when they submitted their affidavits, then

 there is a rebuttable presumption that they should be detained. 18 U.S.C. §3148(b)

 (mandating revocation where there is probable cause to believe that a person has

 committed a federal, state, or local crime while on release).

       II.    The Tews are now convicted felons, subject to a rebuttable
              presumption that they be detained.

       The Tews are guilty of conspiracy to commit wire fraud, conspiracy to commit

 money laundering, and substantive counts of the same. They are no longer entitled

 to a presumption of liberty. 18 U.S.C. § 3143(a)(1). Detention is therefore the

 mandatory, routine norm for any defendant in their position, namely, one following

 conviction and before the imposition of a custodial sentence. 18 U.S.C. § 3143(b)(1).

 As the Senate articulated in the report accompanying the Bail Reform Act:

       Once guilt of a crime has been established in a court of law, there is no
       reason to favor release pending imposition of sentence or appeal. The
       conviction, in which the defendant's guilt of a crime has been established
       beyond a reasonable doubt, is presumably correct in law.

 Senate Judiciary Committee Report, S. Rep. NO. 225, 98th Cong., 1st Sess. 19

 (1983). See, e.g., United State v. Johnson, 652 F. App’x 619, 622 (10th Cir. 2019)

 (affirming order of detention pending sentencing after applying presumption and

 concluding that defendant facing only 0-6 months’ imprisonment presented flight

 risk). At this point in the proceedings, the Tews bear the burden to establish that

 they deserve the extraordinary remedy of presentence release. To do so, they must

                                            5



                                                                                          954
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         450 filed
                                               Filed
                                                   01/24/25
                                                     02/21/24 USDC
                                                               PageColorado
                                                                   6 of 17           pg
                                  955 of 1354




 show — by clear and convincing evidence — that they are neither flight risks nor

 dangers to the community. See, e.g., United States v. Giancola, 754 F.2d 898, 900-01

 (11th Cir. 1985) (“The 1984 Act was intended to change the presumption so that the

 conviction is presumed correct and the burden is on the convicted defendant to

 overcome that presumption.”); see also Fed. R. Crim. P. 46(c) (“The burden of

 establishing that the defendant will not flee or pose a danger to any other person or

 to the community rests with the defendant.”)/

       In considering whether the Tews have met this burden, the Court should be

 guided by two principles First, the Tews cannot overcome the presumption simply

 by pointing to their conformity to the terms of their pretrial release.   See United

 States v. Martinez, 2020 WL 1666804, at * 2 (W.D. Okla. April 3, 2020 (“That

 Defendant was previously compliant with pretrial conditions, at a time when

 Defendant was hopeful that he would be acquitted of his charges, is insufficient to

 show by clear and convincing evidence that he would neither flee nor present a

 danger to the community.”); United States v. Hanhardt, 173 F. Supp. 2d 801, 806

 (N.D. Ill. 2011) (noting that arguments seeking pre-sentencing release based on

 compliance with pre-trial release orders are “routinely rejected” because “prior to

 trial there is the possibility of no imprisonment, which evaporates upon a finding of

 guilt”). Compliance with bond conditions is not a merit badge; it is the bare

 minimum of what the law and the courts require of everyone on bond.

       Second, “danger to the community” is not limited to violence. The Court

 should consider, instead, whether the Tews are likely to continue committing crimes

                                          6



                                                                                          955
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         450 filed
                                               Filed
                                                   01/24/25
                                                     02/21/24 USDC
                                                               PageColorado
                                                                   7 of 17           pg
                                  956 of 1354




 in the months between now and sentencing. See, e.g., United States v. Provenzano,

 605 F.2d 85, 95 (3d Cir. 1979) (holding that “a defendant's propensity to commit

 crime generally, even if the resulting harm would be not solely physical, may

 constitute a sufficient risk of danger to come within the contemplation of the [Bail

 Reform] Act”); United States v. Reynolds, 956 F.3d 192 (9th Cir. 1992) (concluding

 that “danger” may encompass pecuniary or economic harm).; see also S. REP. NO.

 225, 98th Cong., 1st Sess. 12 (1983), reprinted in 1984 U.S.C.C.A.N. 3182, 3195

 (“[T]he language referring to the safety of the community refers to the danger that

 the defendant might engage in criminal activity to the detriment of the community.

 The committee intends that the concern about safety be given a broader

 construction than merely danger of harm involving physical violence.”). On this

 front, there is at least probable cause to believe that the Tews have not been

 compliant with the terms of their release, and indeed have continued to engage in

 speculative cryptocurrency transactions, all while depleting limited public resources

 designed to protect the right of counsel for those who actually need it.

       III.   Even if the presumption were not present, the factors set forth
              in the Bail Reform Act weigh in favor of detention.

       The law’s presumption that the Tews should be detained is reinforced by all

 of the factors the statute asks the court to consider.      18 U.S.C. § 3143 (cross-

 referencing 18 U.S.C. §§ 3142(b) and (c)); 18 U.S.C. § 3142(g) (setting forth factors

 to consider in applying § 3142(b) and (c)).




                                               7



                                                                                          956
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         450 filed
                                               Filed
                                                   01/24/25
                                                     02/21/24 USDC
                                                               PageColorado
                                                                   8 of 17             pg
                                  957 of 1354




              A.     The nature of the crimes is serious and the
                     circumstances suggest that the Tews are not susceptible
                     to customary forms of deterrence.

       The Court is well-acquainted with the nature of the offenses from its

 oversight of the eight-day jury trial. The crimes of conviction are serious.

       The United States Sentencing Guidelines will likely recommend up to 188

 months’ imprisonment:

        Enhancement                       Guideline             Offense Level
                                          Provision
        Total Fraud Offense level                                            29
        Base Offense level                2B1.1(a)(1)                         7
        Loss > $3.5 million               2B1.1(b)(1)(J)                    +18
        Substantial Financial Hardship    2B1.1(b)(2)(A)                     +2
        Sophisticated Means               2B1.1(b)(1)                        +2
                                                       Additional Enhancements
        § 1957 laundering                 2S1.1(b)(a)                        +1
        Leader/Organizer                  3B1.1(c)                           +2
        Obstruction                       3C1.1                              +2
         Total Offense Level                                   34
        Recommended Range                                      151-188 months

 The Tews face the near-certainty of a lengthy term of imprisonment. That

 possibility increases both the risk of flight and the risk of danger. See United States

 v. Bruno, 89 F. supp. 3d 425, 431 (E.D.N.Y. 2015) (“When evidence of a defendant’s

 guilt is strong, and when the sentence of imprisonment upon conviction is likely to

 be long . . . a defendant has stronger motives to flee.”) (cleaned up).

       In its assessment of the nature of the Tews’ crimes, the Court should consider

 their criminogenic behavior. To further their two-year fraud, the Tews used various

 artifices and manipulations to encourage others to commit crimes. The Court heard



                                             8



                                                                                            957
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         450 filed
                                               Filed
                                                   01/24/25
                                                     02/21/24 USDC
                                                               PageColorado
                                                                   9 of 17            pg
                                  958 of 1354




 testimony about how the Tews kept Yioulos involved in the scheme for years and

 how they encouraged criminal behavior from the principals of several of the sham

 vendor companies, including H.S. (HS CPAs), M.M. (MCG, Inc), and L.W. (PM). The

 Tews’ willingness to use and manipulate others for their own selfish ends is

 precisely the type of conduct that increases the likelihood that the public will be

 exposed to their dangers. Put simply, more than just money is at stake — other

 people’s potential culpability and freedom is at risk, too.

       The circumstances of the crime are related to issues of flight and danger. The

 Tews committed their crime knowing that, someday, they might be caught. The fact

 that this risk did not deter them from committing a serious financial crime weighs

 in favor of the conclusion that they will continue to commit these kinds of crimes

 while they remain free. In reality, there is good reason to believe such criminal acts

 are continuing. Just this past October, a Denver District Court judge found that

 Kimberley Tew committed civil theft and conversion when she kept cryptocurrency

 that had been promised to an “investor.” Attachment A.

       Further, the recent bank records described show that the pattern of financial

 activity the Court saw at the trial has continued. Each month, tens of thousands of

 dollars deposited into Michael Tew’s bank accounts; each month, tens of thousands

 of dollars are transferred out of those accounts, including to Kimberley Tew, using

 fintech applications, wire transfers, ATM and cash withdrawals, or transfers into

 cryptocurrency exchanges. This pattern of banking activity is entirely consistent

 with that during the crimes of conviction.

                                              9



                                                                                           958
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         450 filed
                                              Filed01/24/25
                                                    02/21/24 USDC
                                                              Page Colorado
                                                                   10 of 17          pg
                                  959 of 1354




       Here, the Tews delayed justice in this matter for years and showed every

 indication that they did not believe the day of reckoning would ever rise. If

 anything, the excuse that their crimes were ones solely borne of providence and

 opportunity is dispelled by the fact that they have continued, utterly unabated, even

 while under pretrial supervision.

              B.    The weight of the evidence is heavy and the likelihood of
                    success on appeal is slight.

       The court is similarly well-positioned to judge the weight of the evidence and

 the corresponding likelihood that any trial deficiencies amount to more than

 harmless error. This factor, too, adds to the presumption in favor of detention.

              C.    The Tews’ respective history and characteristics suggest
                    a profound lack of respect for the law that militates
                    against any finding they will not flee or refrain from
                    committing additional financial crimes (18 U.S.C.
                    § 3142(g)(3)).

       Character and Past Conduct. As noted above, the circumstances of the Tews’

 crimes, by themselves, show a profound lack of concern for legal consequences.

 Yioulos’ frequent references to how they would all spend time in jail for what they

 were doing did not stop Michael or Kimberley Tew from stealing tens of thousands

 of dollars every week to fuel a luxury lifestyle, gamble, and speculate in

 cryptocurrency. When the authorities arrived, the Tews planned to flee. The Tews

 committed these offenses while parenting young children, heedless of the

 consequences their needless criminal conduct could have on their children’s lives.

 Neither has the kind of character that suggests they can overcome the presumption


                                           10



                                                                                          959
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         450 filed
                                              Filed01/24/25
                                                    02/21/24 USDC
                                                              Page Colorado
                                                                   11 of 17         pg
                                  960 of 1354




 in favor of detention.

       Michael Tew’s first response to the possibility of federal charges was to ask

 Yioulos for money so that he could flee. He also contacted MM, wanting to know if

 MM had spoken to the FBI. Kimberley Tew’s response was to tamper with

 witnesses. Her first effort was her most successful. When Michael Tew eventually

 agreed to submit to a proffer free from any conditions that would prevent him from

 cooperating against his wife, Kimberley stalked him down at the Yeti Store,

 disrupted his meeting with government agents, and corruptly endeavored to

 prevent him from testifying against her. Before that, she attempted to obstruct the

 investigation and prosecution by wiping her text messages. And then, when the

 Speedy Trial clock was ticking towards a deadline for indictment in the beginning of

 2021, she sent threats to HS in an effort to prevent HS from providing information

 to the authorities. The responses of both suggest that each is willing to take

 extreme risks to avoid consequences or accountability. Their actions further weigh

 against the notion that they have or will meekly submit to authorities.

       Physical and Mental Condition. The Tews have no known health issues that

 would prevent or hinder flight. They have no known diagnosed mental health

 conditions, but the Court has been able to see and evaluate for itself the extent to

 which their mental conditions, including Kimberley Tew’s severe gambling

 addiction, have encouraged risk-taking and a propensity to indulge selfish impulses.

 These factors do not support release.

       Family Ties. Michael Tew’s family is here in Colorado and the Tews live in

                                          11



                                                                                         960
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         450 filed
                                              Filed01/24/25
                                                    02/21/24 USDC
                                                              Page Colorado
                                                                   12 of 17           pg
                                  961 of 1354




 Denver with their children.    The fact that they have two school-age children is

 perhaps the strongest factor they can point to in favor of overcoming the

 presumption of detention. But the mere fact that the Tews have children does not

 mean they won’t flee and it has no bearing on whether or not they will continue to

 commit crimes or encourage others to do so. Most obviously: the Tews committed

 the crimes of conviction despite knowing that if they were caught, they’d likely face

 years in jail that would mean being separated from their kids. That didn’t matter.

 They did it anyways. This suggests that the mere fact that the Tews are parents is

 insufficient to deter them from making impulsive and harmful decisions. Indeed, a

 perverse consequence of the pending sentencing might be to increase the likelihood

 that they will flee with their children (in the hope that they can remain outside long

 enough to see the children to adulthood) or to use their facility with both financial

 crime and cryptocurrency to hide enough ill-gotten gains to provide for them while

 they are imprisoned. Finally, it is difficult to believe that the Tews have not made

 alternative arrangements for their children at this point in the proceedings. They

 bear the burden of showing how this and other factors can overcome both the legal

 presumption of detention and the facts supporting it. But they have not presented

 any evidence at all.

       Financial Resources. The Tews stole $5 million and put at least $2.4 million

 of that into cryptocurrency. The government is not capable of finding where all of

 those funds went, and even if everyone assumes that the two of them gambled or

 frittered away a substantial portion of it, there is still a high likelihood that they

                                          12



                                                                                           961
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         450 filed
                                              Filed01/24/25
                                                    02/21/24 USDC
                                                              Page Colorado
                                                                   13 of 17             pg
                                  962 of 1354




 have thousands hidden somewhere. And that’s before the Court considers evidence

 in the form of the bank records described above, which show that in just one account

 the Tews have received over a million dollars in the past two years. The Tews

 clearly have the means to flee, which makes them flight risks. See Matter of

 Extradition of Ricardo Alberto Martinelli Berrocal, 263 F. Supp. 3d 1280, 1304 (S.D.

 Fl. 2017) (citing numerous cases in multiple jurisdictions across the United States

 holding that defendants with financial means to flee are flight risks). Separate and

 apart from how much money the Tews might currently have, the Court should also

 consider the Tews’ ability to generate money, both licit and illicit: each is very

 familiar with cryptocurrency, adept at using social engineering to get what they

 want or need from people, and willing to use others’ identities to further their own

 interests. This factor, too, supports the presumption in favor of detention.

       Length of Residence and Community Ties.            Michael Tew has family in

 Colorado, but he spent most of his adult life outside the state. Kimberley Tew has

 no ties to Colorado outside of her connection with Michael. Despite the fact that

 both have lived here now for several years, there is no evidence of the kind of robust

 community ties that would have moral suasion over their decision-making. Michael

 Tew can work remotely from anywhere in the world and it would be tempting for

 them to build a new life somewhere else, free from the possibility of a prison

 sentence or the efforts of civil plaintiffs to collect on any judgment. Like every other

 factor, this one does not help them overcome the presumption in favor of detention.

       Drug use. The defendants each have a history of illicit drug use. This is yet

                                           13



                                                                                             962
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         450 filed
                                              Filed01/24/25
                                                    02/21/24 USDC
                                                              Page Colorado
                                                                   14 of 17            pg
                                  963 of 1354




 another factor that weighs against, rather than in favor, of release: the coming

 weeks are bound to impose additional stresses on the Tews, which increases the

 likelihood of drug use and its attendant propensity to encourage rash and

 ill-considered decisions.

               D.    Alternatives to detention are unlikely to be adequate,
                     especially where, as here, the defendants have been
                     convicted by a jury of crimes and circumstances that are
                     less amenable to supervision.

       Michael and Kimberley Tew are flight risks who are likely to be a continuing

 danger to the community who will continue to commit crimes while on release. In

 fact, as noted above, there is at least probable cause to believe that they have

 committed additional crimes while on release. The Court should consider whether

 alternatives to detention will substantially assure their appearance and prevent

 future criminal conduct.    Among those alternatives, either in combination or in

 isolation, would be home detention with electronic monitoring, coupled with

 stringent financial monitoring conditions, internet restrictions or monitoring, a

 prohibition on gambling, and drug testing.

       The government submits that even imposing all of these conditions would be

 inadequate.   Ankle monitors can — and are — easily cut off.         United States v.

 Maxwell, 510 F. Supp. 3d 165, 177 (S.D.N.Y. 2020) (“[H]ome detention with

 electronic monitoring does not prevent flight; at best, it limits a fleeing defendant's

 head start.”) (quoting United States v. Zarger, 200 WL 1134364, at *1 (E.D.N.Y.

 Aug. 4, 2000)). By the time anyone responds, it would not be difficult for the Tews to


                                           14



                                                                                            963
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         450 filed
                                              Filed01/24/25
                                                    02/21/24 USDC
                                                              Page Colorado
                                                                   15 of 17             pg
                                  964 of 1354




 have already put miles between themselves and Colorado. United States v.

 Wasendorf, 2012 WL 4793366, at *3 (N.D. Iowa Oct. 9, 2012) (“Although ‘fleeing’ is

 typically associated with fleeing abroad, fugitives flee with[in] the United States'

 boarders [sic] successfully as well. Moreover, it is possible—although difficult—to

 flee abroad without a passport.”) On the road, they would have access to digital

 wallets bursting with cryptocurrency and experience converting that cryptocurrency

 into ready cash. Assuming they did not flee and submitted to home detention,

 financial and internet monitoring would be difficult to enforce. The Tews could —

 and likely would, if past performance is any indication — lie on any form asking

 them to report their accounts. Even if they reported their bank accounts, they could

 retain profiles on any of the many widely-accessible cryptocurrency exchanges or

 use peer-to-peer platforms.      Likewise, pretrial services cannot be over the

 defendants’ shoulders 24-7 ensuring that they do not misuse the internet to

 perpetrate further offenses. Pretrial services is unlikely to be able to stop or prevent

 the Tews from committing further financial crimes in real time.

       IV.    Conclusion.

       The Tews have been found guilty of serious crimes and the law presumes that

 they should begin serving their sentences. Now that Kimberley’s ultimate gamble

 has proven to be a loss there is no reason to give them the opportunity to commit

 additional crimes or to use their considerable resources to flee. Instead, the law

 dictates their detention, and all available facts support it as well. For all of the

 reasons set forth above, the Court should revoke the defendants’ bonds and order

                                           15



                                                                                             964
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         450 filed
                                              Filed01/24/25
                                                    02/21/24 USDC
                                                              Page Colorado
                                                                   16 of 17             pg
                                  965 of 1354




 that they be detained pending sentencing.



 Dated this 21st day of Feburary, 2024.

                                          Respectfully submitted,

                                          COLE FINEGAN
                                          United States Attorney

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 Certification of Type-Volume Limitation

        I hereby certify that the foregoing pleading complies with the type-volume
 limitation set forth in Judge Domenico’s Practice Standard III(A)(1).

                                                       /s Bryan Fields
                                                       Bryan David Fields

 Statement of Speedy Trial Impact

        Pursuant to Judge Domenico’s Practice Standard III(C), the government
 notes that this motion will not affect the speedy trial clock in this case because trial
 has already occurred within the Speedy Trial Act deadline.




                                            16



                                                                                             965
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         450 filed
                                              Filed01/24/25
                                                    02/21/24 USDC
                                                              Page Colorado
                                                                   17 of 17             pg
                                  966 of 1354




                            CERTIFICATE OF SERVICE


        I hereby certify that on February 21st,2024, I electronically filed the foregoing
 with the Clerk of the Court using the CM/ECF system which will send notification
 of such filing to any and all counsel of record.


                                         s/ Sarah H. Weiss
                                         United States Attorney’s Office




                                           17



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Case No.
     Case1:20-cr-00305-DDD
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                              Document645-2
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                                                    01/24/25
                                                       02/21/24 USDC
                                                                  PageColorado
                                                                       1 of 32   pg
                                  967 of 1354




                                                                                      967
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        450-1 filed
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                                                    01/24/25
                                                       02/21/24 USDC
                                                                  PageColorado
                                                                       2 of 32   pg
                                  968 of 1354




                                                                                      968
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        450-1 filed
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                                                    01/24/25
                                                       02/21/24 USDC
                                                                  PageColorado
                                                                       3 of 32   pg
                                  969 of 1354




                                                                                      969
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        450-1 filed
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                                                    01/24/25
                                                       02/21/24 USDC
                                                                  PageColorado
                                                                       4 of 32   pg
                                  970 of 1354




                                                                                      970
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        450-1 filed
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                                                    01/24/25
                                                       02/21/24 USDC
                                                                  PageColorado
                                                                       5 of 32   pg
                                  971 of 1354




                                                                                      971
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        450-1 filed
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                                                    01/24/25
                                                       02/21/24 USDC
                                                                  PageColorado
                                                                       6 of 32   pg
                                  972 of 1354




                                                                                      972
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        450-1 filed
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                                                    01/24/25
                                                       02/21/24 USDC
                                                                  PageColorado
                                                                       7 of 32   pg
                                  973 of 1354




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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        450-1 filed
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                                                    01/24/25
                                                       02/21/24 USDC
                                                                  PageColorado
                                                                       8 of 32   pg
                                  974 of 1354




                                                                                      974
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        450-1 filed
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                                                    01/24/25
                                                       02/21/24 USDC
                                                                  PageColorado
                                                                       9 of 32   pg
                                  975 of 1354




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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
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                                      450-1 filed
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                                                   01/24/25
                                                     02/21/24 USDC
                                                               PageColorado
                                                                    10 of 32   pg
                                 976 of 1354




                                                                                    976
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      450-1 filed
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                                                   01/24/25
                                                     02/21/24 USDC
                                                               PageColorado
                                                                    11 of 32   pg
                                 977 of 1354




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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      450-1 filed
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                                                     02/21/24 USDC
                                                               PageColorado
                                                                    12 of 32   pg
                                 978 of 1354




                                                                                    978
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      450-1 filed
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                                                   01/24/25
                                                     02/21/24 USDC
                                                               PageColorado
                                                                    13 of 32   pg
                                 979 of 1354




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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      450-1 filed
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                                                     02/21/24 USDC
                                                               PageColorado
                                                                    14 of 32   pg
                                 980 of 1354




                                                                                    980
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      450-1 filed
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                                                   01/24/25
                                                     02/21/24 USDC
                                                               PageColorado
                                                                    15 of 32   pg
                                 981 of 1354




                                                                                    981
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      450-1 filed
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                                                     02/21/24 USDC
                                                               PageColorado
                                                                    16 of 32   pg
                                 982 of 1354




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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      450-1 filed
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                                                     02/21/24 USDC
                                                               PageColorado
                                                                    17 of 32   pg
                                 983 of 1354




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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      450-1 filed
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                                                     02/21/24 USDC
                                                               PageColorado
                                                                    18 of 32   pg
                                 984 of 1354




                                                                                    984
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      450-1 filed
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                                                   01/24/25
                                                     02/21/24 USDC
                                                               PageColorado
                                                                    19 of 32   pg
                                 985 of 1354




                                                                                    985
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      450-1 filed
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                                                   01/24/25
                                                     02/21/24 USDC
                                                               PageColorado
                                                                    20 of 32   pg
                                 986 of 1354




                                                                                    986
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      450-1 filed
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                                                     02/21/24 USDC
                                                               PageColorado
                                                                    21 of 32   pg
                                 987 of 1354




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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      450-1 filed
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                                                     02/21/24 USDC
                                                               PageColorado
                                                                    22 of 32   pg
                                 988 of 1354




                                                                                    988
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      450-1 filed
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                                                     02/21/24 USDC
                                                               PageColorado
                                                                    23 of 32   pg
                                 989 of 1354




                                                                                    989
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      450-1 filed
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                                                     02/21/24 USDC
                                                               PageColorado
                                                                    24 of 32   pg
                                 990 of 1354




                                                                                    990
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      450-1 filed
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                                                     02/21/24 USDC
                                                               PageColorado
                                                                    25 of 32   pg
                                 991 of 1354




                                                                                    991
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
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                                                     02/21/24 USDC
                                                               PageColorado
                                                                    26 of 32   pg
                                 992 of 1354




                                                                                    992
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      450-1 filed
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                                                     02/21/24 USDC
                                                               PageColorado
                                                                    27 of 32   pg
                                 993 of 1354




                                                                                    993
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      450-1 filed
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                                                   01/24/25
                                                     02/21/24 USDC
                                                               PageColorado
                                                                    28 of 32   pg
                                 994 of 1354




                                                                                    994
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      450-1 filed
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                                                   01/24/25
                                                     02/21/24 USDC
                                                               PageColorado
                                                                    29 of 32   pg
                                 995 of 1354




                                                                                    995
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      450-1 filed
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                                                   01/24/25
                                                     02/21/24 USDC
                                                               PageColorado
                                                                    30 of 32   pg
                                 996 of 1354




                                                                                    996
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      450-1 filed
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                                                   01/24/25
                                                     02/21/24 USDC
                                                               PageColorado
                                                                    31 of 32   pg
                                 997 of 1354




                                                                                    997
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      450-1 filed
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                                                   01/24/25
                                                     02/21/24 USDC
                                                               PageColorado
                                                                    32 of 32   pg
                                 998 of 1354




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Case No. 1:20-cr-00305-DDD         Document 645-2 filed 01/24/25              USDC Colorado   pg
                                        999 of 1354


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  The following transaction was entered on 2/21/2024 at 12:46 PM MST and filed on 2/21/2024

  Case Name:       USA v. Tew et al
  Case Number:     1:20−cr−00305−DDD
  Filer:
  Document Number: 451(No document attached)
  Docket Text:
  ORDER as to Michael Aaron Tew, Kimberley Ann Tew re [450] MOTION to Detain Defendants
  Michael Tew & Kimberley Tew Pending Sentencing filed by USA.

  Mr. Tew and Mrs. Tew must each file responses to the government's [450] Motion to Detain
  on or before February 27, 2024. SO ORDERED by Judge Daniel D. Domenico on 2/21/2024.
  Text Only Entry (dddlc3, )


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Case No. 1:20-cr-00305-DDD           Document 645-2 filed 01/24/25           USDC Colorado       pg
                                         1000 of 1354


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Case No. 1:20-cr-00305-DDD       Document 645-2 filed 01/24/25   USDC Colorado   pg
                                     1001 of 1354




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                                  1002 of 1354




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


  Case No. 1:20-cr-00305-DDD-2

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  2. KIMBERLEY ANN TEW

         Defendant.

       DEFENDANT KIMBERLEY TEW’S RESPONSE TO GOVERNMENT’S
        MOTION FOR DETENTION PENDING SENTENCING (ECF #450)


        Kimberley Tew, by and through counsel David S. Kaplan and Jamie Hubbard

 of the law firm Stimson LaBranche Hubbard, LLC submits Defendant Kimberley

 Tew’s Response to Government’s Motion for Detention Pending Sentencing (Doc.

 #450) and states the following:

                                   Release History

        An indictment naming Kimberley Tew was filed on February 3, 2021 (Doc.

 #83). A summons for Mrs. Tew’s appearance was issued on the same day instructing

 her to appear before the court on February 10, 2021 (Doc. #87). On February 10,

 2021 Mrs. Tew appeared and Magistrate Mix authorized an unsecured bond in the

 amount of $10,000.00 (Doc. #98). An order setting conditions of release was entered

 that same day (Doc. #99). On July 15, 2021 in response to Mrs. Tew’s Motion to

 Modify Conditions of Release (Doc. #134) Magistrate Mix modified the conditions by




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Case No.
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            1:20-cr-00305-DDDDocument
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                                                     01/24/25
                                                       02/27/24 USDC
                                                                  PageColorado
                                                                       2 of 7        pg
                                  1003 of 1354




 removing the requirement of home confinement and radio frequency, imposing GPS

 monitoring and curfew times (exceptions allowed at the discretion of probation)

 (Doc. #138).

        On March 25, 2022, this court granted Defendant Kimberley Tew’s Motion for

 Amendment of Conditions of Release (Doc. #187). Among other findings the court

 commented that a potentially lengthy sentence alone does not carry the

 government’s burden of persuasion that she poses a flight risk absent GPS

 monitoring. Despite being made aware of text messages produced from Defendant

 Michael Tew suggesting the family might flee, the court noted Mrs. Tew’s response

 indicating “[she thinks we should all turn ourselves in and end it [.]” The court

 granted Mrs. Tew’s request removing the GPS location monitoring device (Doc.

 #190). Mrs. Tew filed an Unopposed Motion to Permit Out-of-State Travel on June

 16, 2023 (Doc. #331) which was granted by this court the same day (Doc. #332). Mrs.

 Tew, after reducing the severity of her conditions of release and being granted

 permission to leave the state, continued throughout the course of this prosecution to

 abide by the conditions of bond, attend all required court appearances, including the

 trial of this matter.

        An eight-day trial was held with guilty verdicts rendered on February 15,

 2024. The jury having been excused, the court took up the matter of presentence

 release. After acknowledging the considerations are different once a verdict is

 rendered, the court concluded that neither defendant has displayed “any reason to



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                                                       02/27/24 USDC
                                                                  PageColorado
                                                                       3 of 7            pg
                                  1004 of 1354




 think they are a danger to the community or that they are a flight risk” and allowed

 their continued release with the added condition of GPS monitoring (Daily

 transcript for February 15, 2024, at page 10).

                                 Standard for Release

       The government recognizes that 18 U.S.C. §3143(a)(1) Release or detention

 pending sentence, allows for the release of a defendant if the “judicial officer finds by

 clear and convincing evidence that the person is not likely to flee or pose a danger to

 the safety of any other person or the community…”. Id. The court has reached the

 conclusion required by statute and Fed.R.Crim.P. 46 (c) for release. Having made

 such a finding Mrs. Tew is eligible to remain out of custody pending sentencing in

 accordance with 18 U.S.C. §3142 (b) or (c).

       The government in their motion often confuses the provisions under which

 Mrs. Kimberley Tew should be evaluated for presentence release. At times it cites

 to 18 U.S.C. §3143 (b) which applies to defendant’s found guilty of specific offenses

 in subparagraph (A) (B) or (C) of subsection (f)(1) of section 3142, none of which

 apply to Mrs. Tew. Equally mistaken are cases involving the need to find

 “exceptional reasons” why a person’s detention may not be appropriate by citing

 cases such as United States v. Martinez, 2020 WL 1666804 (W.D. Okla. April 3,

 2020) affirming the trial court’s decision not to reconsider an order of detention)

 involving a drug trafficking charge subjected to § 3145 (c) considerations and cited

 for the proposition that compliance with pretrial conditions are not enough to rebut



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                                                                  PageColorado
                                                                       4 of 7           pg
                                  1005 of 1354




 the presumption of release. Or referring to United States v. Giancola, 754 F.2d 898

 (11th Cir. 1985) a case involving release pending appeal.

       The Tenth Circuit in United States. v. Johnson, 652 F. App’x 619 (10th Cir.

 2019) (cited by the government) considered the defendant’s faithfulness to

 requirements imposed during a 5-year pretrial release, timely appearance for court

 dates, family ties and surrender of passport as appropriate considerations for

 presentencing release. The trial court’s denial of release was affirmed based on its

 stated concern about the risk of non-appearance.

       Recognizing the argument for presuming Kimberley Tew is a flight risk or

 danger to the community as required in §3143 (a) is not persuasive, the government

 turns to factors contained in 18 U.S.C. §3142(g). Their position is just to

 regurgitate the nature of the offense which the court has been privy to long before

 the trial and presumably considered when continuing Mrs. Tew’s release after the

 verdicts were rendered. The facts establishing the fraud, guideline calculations, Mr.

 Yioulos’s involvement in the offense, are hardly new to the court or the government,

 including during the times the government did not object to relaxing the conditions

 of release by permitting travel out of state.

       The government requests the court make inappropriate factual conclusions

 absent an evidentiary basis, suggested by conjecture, and lacking in the most

 minimum requirements of due process considerations. Concluding that a swift

 probable cause arrest interrupted an attempt to flee is not based on any reliable



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                                                                  PageColorado
                                                                       5 of 7           pg
                                  1006 of 1354




 information relating to Mrs. Tew. Admitting Mrs. Tew has no known diagnosed

 mental health conditions, it asks the court to draw mental health conclusions as a

 basis for denying release. It is offensive for the government to make an argument

 for detention by implying Mrs. Tew ignored court orders and deadlines, an

 accusation more suited if directed at counsel. Criticizing Mrs. Tew for a defense

 implicating Mr. Tew is not grounds to deny release but rather raises her right to a

 jury trial and counsel’s responsibility to present a defense on her behalf. Arguing

 for detention based on a delay in bringing this case to trial when continuances were

 granted for multiple legitimate reasons and with the acquiescence of the court is not

 legitimate cause. Mr. Fields further suggests that their release pending sentencing

 would be the result of a two-tier system of justice, one for the wealthy and one for

 the poor. As an attorney who has dedicated a career to the representation of

 indigent defendants, such an accusation is insulting to both counsel and the court.

                                 Perjury Allegation

       The government further makes an allegation of perjury requesting the court

 order release to the government of the Tews’ respective CJA affidavits to aid in a

 potential investigation into additional criminal behavior and a determination of

 whether an indictment for perjury will be pursued. This allegation and request are

 not appropriately raised in a response to the court indicating a willingness to

 consider a motion to modify conditions. (Daily transcript for Feb. 15, 2024, at page

 16). Should the court entertain a motion for release of the affidavits, counsel



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Case No.
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            1:20-cr-00305-DDDDocument
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                                      645-2
                                          454 filed
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                                                     01/24/25
                                                       02/27/24 USDC
                                                                  PageColorado
                                                                       6 of 7               pg
                                  1007 of 1354




 requests an opportunity to address the government’s position. Seeking such an

 order to obtain evidence of criminal conduct with the threat of having committed

 perjury pursuant to 18 U.S.C. §1621 requires an opportunity to be heard and a

 hearing where additional argument can be presented.

                                       Conclusion

       The court concluded that clear and convincing evidence based on Mrs. Tew’s

 conduct, pretrial release behavior, costs, and risks of appearing for trial, ties to the

 community including young children, among other considerations, establish that

 she is unlikely to flee. The government is attempting to establish her danger to the

 community by recounting circumstances long known to the court or established with

 a paucity of evidence. The court has already added the condition of GPS monitoring

 which was accomplished before Mrs. Tew left the court on the day of the verdict.

 Home detention does not increase the likelihood of what has already been shown as

 compliance with terms of release, as the government in its own motion stated,

 “home detention does not prevent flight.” Despite the government’s accusations

 there have been no violations of pretrial release filed with the court. No

 substantiated allegations of improper financial dealings or internet indiscretions

 while released. The accusation that Mrs. Tew engaged in illegal drug consumption

 was sketchy at best and alleged to have occurred over 10 years ago.

       The court has imposed a reasonable addition to Mrs. Tew remaining out of

 custody until sentencing. No other conditions need be imposed.



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                                                                       7 of 7       pg
                                  1008 of 1354




        Dated: February 27, 2024.




                                         s/ David S. Kaplan
                                         David S. Kaplan
                                         Jamie Hubbard
                                         STIMSON LABRANCHE HUBBARD, LLC
                                         1652 Downing Street
                                         Denver, CO 80218
                                         Phone: 720.689.8909

                                         Attorneys for Kimberley Ann Tew




                              Certificate of Service

        I certify that on February 27, 2024, I electronically filed the foregoing
 Defendant Kimberley Tew’s Response to Government’s Motion for Detention Pending
 Sentencing (ECF #450) with the Clerk of Court using the CM/ECF system which
 will send notification of such filing to all parties of record:



                                         s/ Brenda Rodriguez
                                         Brenda Rodriguez




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  Document Number: 455(No document attached)
  Docket Text:
   ORDER re [450] Motion to Detain Defendants Michael and Kimberley Tew. The government's
  motion questions whether Mr. and Mrs. Tew are still eligible for CJA−appointed counsel for
  this case. There is sufficient evidence to call into question their present eligibility under 18
  U.S.C. § 3006A(c).

  The issue of whether Michael Tew and Kimberley Tew remain entitled to ongoing
  court−appointed counsel under Section 3006A(c) is therefore REFERRED to Magistrate
  Judge Susan Prose. All other issues raised in the government's motion, including the
  potential detention of Mr. and Mrs. Tew pending sentencing or the potential un−sealing of
  any prior CJA affidavits, will be addressed at a detention hearing before this Court as

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Case No. 1:20-cr-00305-DDD           Document 645-2 filed 01/24/25           USDC Colorado       pg
                                         1010 of 1354


  outlined below.

  It is therefore ORDERED that a Hearing on the [450] Government's Motion is SET for April 22,
  2024 at 10:30 AM in Courtroom A1002 before Judge Daniel D. Domenico. SO ORDERED by
  Judge Daniel D. Domenico on 3/12/2024. Text Only Entry (dddlc3, )


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                                         1011 of 1354




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  Case Name:       USA v. Tew et al
  Case Number:     1:20−cr−00305−DDD
  Filer:
  Document Number: 457(No document attached)
  Docket Text:
  ORDER as to Kimberley Ann Tew. A Sentencing Hearing as to Kimberley Tew is SET for
  August 8, 2024 at 1:30 PM in Courtroom A1002 before Judge Daniel D. Domenico. SO
  ORDERED by Judge Daniel D. Domenico on 3/12/2024. Text Only Entry (dddlc3, )


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Case No. 1:20-cr-00305-DDD           Document 645-2 filed 01/24/25           USDC Colorado       pg
                                         1013 of 1354


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      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                         459 filed
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                                                   01/24/25
                                                     03/14/24 USDC
                                                               PageColorado
                                                                   1 of 58              pg
                                 1014 of 1354




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW and
      2. KIMBERLEY ANN TEW,
         a/ka Kimberley Vertanen,

        Defendants.


        STATEMENT REGARDING SENTENCING OF KIMBERLEY TEW


        Jonathan Yioulos told Kimberley that what they were doing was “1000%

 fraud.” ECF No. 341-1 (Log Entry #371). Her own husband and co-conspirator

 encouraged her to make realistic deals, pay off her debts, and move on. Id. (Log

 Entry # 129). But Kimberley didn’t care and she didn’t want to move on. She knew

 what she was doing and she wanted it all. She wanted to gamble with other people’s

 money, speculate in cryptocurrency risk-free, and enjoy luxury living without a life

 of labor. Her only complaint was that the people around her weren’t stealing enough

 fast enough frequently enough. Day after day for nearly two years, she cajoled,



        1 The text exchange corresponding to this entry, marked as Government

 Exhibit 637, was admitted at trial after the Court clarified that messages from
 Yioulos were in furtherance and unprotected by a privilege.

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                                                                                             1014
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         459 filed
                                               Filed
                                                   01/24/25
                                                     03/14/24 USDC
                                                               PageColorado
                                                                   2 of 58                pg
                                 1015 of 1354




 comminated, and corrupted everyone around her in the selfish pursuit of more and

 more money. Without her, it is highly likely that this crime would not have

 occurred. She was the animating force behind a $5,053,878.50 fraud conspiracy that

 destroyed lives and cut at the fraying bonds of trust that our society relies upon for

 its continued commercial prosperity. Kimberley Tew is the most culpable of the

 conspirators and deserves the highest sentence.

       The government recommends that the Court impose a top-of-the-Guidelines

 sentence of 151 months’ imprisonment, the maximum three-year term of supervised

 release, and a fine of $250,000 (the “Recommended Sentence”).

 I.    MICHAEL AND KIMBERLEY TEW COMMITTED WIRE FRAUD AND
       THEN USED THE BANKING SYSTEM TO HANDLE ITS PROCEEDS,
       ALL WHILE REFUSING TO PAY TAXES2

       Evidence at trial showed that Michael Tew, Kimberley Tew, and Jonathan

 Yioulos engaged in a complex scheme to defraud a Florida-based company, N.A.C.,

 Inc. (“the Victim Company”) of more than $5 million through the submission of



       2 This statement of facts is repeated without change in the sentencing
 statements for both Michael and Kimberley Tew. The court has already found by a
 preponderance of the evidence that many of the statements in the government’s
 James proffer, ECF No. 341-1, were in furtherance of the charged conspiracy. ECF
 No. 361. That is sufficient for the Court to rely on those statements for purposes of
 making findings relevant to sentencing. Because the James log is easily searchable
 and accessible on the docket and because only some of those statements were
 admitted at trial even though those and others are relevant for sentencing, the
 government cites here to the James log when describing defendant statements and
 incorporates both the James Proffer, ECF No. 341, and the statements found to be in
 furtherance in the log, ECF No. 341-1, by reference. Other citations are to admitted
 government exhibits.

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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         459 filed
                                               Filed
                                                   01/24/25
                                                     03/14/24 USDC
                                                               PageColorado
                                                                   3 of 58           pg
                                 1016 of 1354




 fraudulent invoices billing the Victim Company for services never rendered. Their

 conspiracy began in August 2018 and ended only after the intervention of federal law

 enforcement in July 2020. [Testimony of Jonathan Yioulos; GX 1002,1003, and 1008]

       Michael Tew and Kimberley Tew — sometimes borrowing the identities of their

 friends, their associates, and those friends’ and associates’ companies — submitted

 these invoices on behalf of what appeared to be six different entities. They

 calculatingly adjusted the amounts demanded by each invoice based on the Victim

 Company’s resources at any given moment. [Testimony of Jonathan Yioulos]. As the

 Victim Company paid these invoices, Michael and Kimberley Tew engaged in

 multiple financial transactions through multiple financial institutions in amounts

 greater than $10,000 from money they knew to be the proceeds of wire fraud. [GX

 1009 – 1023].3

       Michael Tew was convicted by a jury of failing to file taxes. But both he and

 Kimberley Tew had previously filed tax returns and each was therefore aware of their

 obligation to file tax returns. Neither did so between 2018 and 2019. [GX 110-112]

 Instead, each took affirmative steps to evade or defeat assessment and payment of

 their taxes.




       3 These exhibits were not admitted at trial, but were shown to the jury as

 summaries. They reference the underlying exhibits that were admitted at trial and
 are the handiest reference.

                                          3


                                                                                          1016
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         459 filed
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                                                   01/24/25
                                                     03/14/24 USDC
                                                               PageColorado
                                                                   4 of 58           pg
                                 1017 of 1354




       A.     The Individuals and Entities Involved

              1.    Michael Aaron Tew

       Michael Tew is a resident of the State of Colorado. He has a master’s degree in

 business administration from New York University and has held roles in finance, to

 include serving as Chief Financial Officer (CFO) for private companies, including the

 Victim Company. As part of this scheme, he submitted fraudulent invoices from

 Colorado to the Victim Company, communicated and coordinated with his

 coconspirators Kimberley Tew and Jonathan Yioulos in and from Colorado, and

 engaged in financial transactions largely in Colorado with the proceeds of the fraud.

 [Testimony of C.A., Testimony of B.P., A.S., Jonathan Yioulos, Lisa Palmer and

 Roman Hernandez, GX 535, 571-576, 974, 975]

       He also recruited others into the scheme, both witting and unwitting. He

 recruited Jonathan Yioulos to knowingly agree to be part of the fraud. But he also

 used his friend, L.W., to help him. [Testimony of Jonathan Yioulos; GX 975]. Michael

 Tew used interstate wires to submit these fraudulent invoices by electronic mail to

 the Victim Company, and he engaged in financial transactions that were executed

 through the use of interstate wires. [Testimony of M.O.]. The defendant personally

 benefitted from the scheme to defraud, setting up multiple bank accounts at several

 different institutions to take custody of scheme proceeds and sometimes using third

 parties to receive fraud money in their bank accounts. [GX 312, 363, 975, 1001]. At

 all times during the conspiracy, he was married and remains married to coconspirator


                                          4


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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         459 filed
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                                                   01/24/25
                                                     03/14/24 USDC
                                                               PageColorado
                                                                   5 of 58               pg
                                 1018 of 1354




 Kimberley Tew.

       He did not pay taxes on either his legitimate or illegitimate income. [Testimony

 of Roman Hernandez, GX 101 – 112]

              2.     Jonathan Yioulos

       Jonathan Yioulos is a resident of the State of New York and was, at some prior

 to 2018, the Director of Finance for the Victim Company. Sometime between 2018

 and July 2020, Yioulos became the Victim Company’s controller while continuing to

 perform his responsibilities as Director of Finance. Michael and Kimberley Tew

 recruited Yioulos to be a part of their fraud scheme by leveraging Michael Tew’s

 friendship and by promising to pay him bitcoin.

       Once Yioulos had agreed to start giving the Tews money based on fraudulent

 invoices, they kept him involved in the conspiracy through a combination of

 emotionally manipulative techniques, best summarized in one of Michael Tew’s texts

 to Kimberley: “I’m trying being nice I’m trying being mean I’m trying to threaten I’m

 trying to help him I’m trying to play ball I’m trying every method and he is not

 responding.” ECF No. 341-1 (Log Entry #341); see also id. (Log Entry 347 (“I have to

 threaten hi” [sic]). As shown at trial, Michael and Kimberley Tew maintained

 Yioulos’s involvement in a two-year criminal enterprise by making appeals to

 friendship — offering Yioulos bitcoin, ECF No. 341-1 (all entries in furtherance

 referencing Indictment ¶ 25); other things of value like football tickets, Id. (Log Entry

 # 317); and payments for his student loans and mortgage, Id. (Entries # 130 & 131).


                                            5


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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         459 filed
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                                                   01/24/25
                                                     03/14/24 USDC
                                                               PageColorado
                                                                   6 of 58              pg
                                 1019 of 1354




 When that wouldn’t work, they preyed on his fears and anxieties — threatening to

 take action that would cause Yioulos to lose his accounting license, Id. (Log Entry #

 59); to adversely affect Yioulos’s marriage and then divorce proceedings, Id. (Log

 Entry # 265); and to trick Yioulos into believing that, if stopped sending money, others

 would call the Victim Company and have Yioulos fired. Id. (Log Entry# 650).

 [Testimony of Jonathan Yioulos; Testimony of Lisa Palmer].

       Yioulos benefited financially from the conspiracy, but only on the terms and

 conditions dictated by Michael and Kimberley Tew, and at a much lower level. The

 Tews ultimately got over $5 million, whereas Yioulos got around $100,000. The

 Victim Company fired Yioulos on July 7, 2020, after his involvement in the conspiracy

 was uncovered by a combination of another employee and law enforcement.

 [Testimony of Jonathan Yioulos; Testimony of A.S., Testimony of C.A.; Testimony of

 Sarah Anderson; Testimony of Lisa Palmer].

              3.     Kimberley Tew

       Kimberley Tew is a resident of Colorado who conspired with Michael Tew and

 Jonathan Yioulos to execute this scheme to defraud her husband’s former employer.

 Kimberley Tew pushed the fraud forward by directing Michael Tew to ask Jonathan

 Yioulos for payments. She used those funds to stake her gambling wagers, to

 subsidize a separate cryptocurrency investment scam that she ran in parallel with

 the charged fraud, and to support her opulent lifestyle. [Testimony of Jonathan

 Yioulos; GX 974 and 975].


                                            6


                                                                                             1019
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         459 filed
                                               Filed
                                                   01/24/25
                                                     03/14/24 USDC
                                                               PageColorado
                                                                   7 of 58             pg
                                 1020 of 1354




       She represented to others that she graduated from Fordham University in New

 York and that she had previously held jobs at Google. [Testimony of C.A.; Testimony

 of M.M.]. She used tactics similar to Michael Tew’s to keep Yioulos involved. “Play

 into greed,” she once encouraged Michael. ECF No. 341-1 (Log Entry # 130). On

 another occasion she suggested that Yiolous was a “kid” who could be manipulated

 with “something small” and then worked with Michael to offer Yioulos concert tickets

 or sports tickets. Id. (Log Entry # 317). Lurking behind it all was her ruthless

 willingness to exploit others’ fears and weaknesses. Id. (Entries #59, 117, 118, 265,

 317). Kimberley Tew also tried to recruit others to participate in the fraud, including

 H.S. and M.M.. [Testimony of H.S.; Testimony of M.M.]

              4.     The Victim Company

       The Victim Company was headquartered in Florida with an office in Buffalo,

 New York. The Victim Company operated in the United States and around the world.

 Its subsidiaries included N.A.C. Group, Inc., d/b/a N.A., which operates as an airline,

 and provides freight forwarding solutions. N.A.C. Holdings, Inc. (“NAC Holdings”)

 was one of several affiliates of the Victim Company. C.A., the owner of the Victim

 Company, testified at trial to the immense hardships imposed by the fraud, which

 created cash shortages that strained the company’s reputation with vendors and

 caused enormous stress on its staff. At times, there were concerns the company

 wouldn’t even be able to make payroll. [Testimony of C.A.; Testimony of Jonathan

 Yioulos]. These hardships were corroborated in contemporaneous statements among


                                           7


                                                                                            1020
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         459 filed
                                               Filed
                                                   01/24/25
                                                     03/14/24 USDC
                                                               PageColorado
                                                                   8 of 58            pg
                                 1021 of 1354




 the conspirators. ECF No. 341-1 (Entries # 84, 85, 156, 186-188, 194, 196). C.A. also

 testified that he placed a tremendous amount of professional and personal trust in

 Michael Tew before the Tews betrayed him and the company and Michael Tew was

 fired in September 2018.

              5.    Sand Hill, LLC (“Sand Hill”)

       In February 2012, Michael Tew incorporated Sand Hill in New York. Sand Hill

 was a single-member LLC with Michael Tew as its only member. In or around

 November 2018, Michael Tew registered Sand Hill as a foreign limited liability

 company in Colorado. He then opened accounts for Sand Hill at local bank branches

 in Colorado to further dissipate the fraud proceeds across several different financial

 institutions and accounts. During the course of this fraud, in an effort to defeat

 detection, Michael Tew and Jonathan Yioulos agreed to abbreviate Sand Hill, Inc.as

 “SHI LLC” on records used by NAC’s accounting team in order to create the false

 impression of another entity. [Testimony of Jonathan Yioulos; Testimony of B.P.,

 Testimony of R.T.]; ECF No. 341-1 (Log Entries # 54, 55, 61, 199, 207, 208, 217).

              6.    Sham Vendors associated with the Tews’ friends and
                    partners: HS CPA, MCG, Inc., 5530 JD and PM

       HS CPA; MCG, Inc.; 5530 JD, and PM were all entities affiliated or purportedly

 affiliated with former friends or associates of Michael and Kimberley Tew. Michael

 Tew had the connection with PM. Kimberley Tew had connections with H.S., M.M.

 and C.R., who were the supposed principals of HS CPA; MCG, Inc.; and 5530JD.

 Michael and Kimberley Tew submitted or caused to be submitted fraudulent invoices

                                           8


                                                                                           1021
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         459 filed
                                               Filed
                                                   01/24/25
                                                     03/14/24 USDC
                                                               PageColorado
                                                                   9 of 58              pg
                                 1022 of 1354




 to the Victim Company for each of these four entities. [Testimony of H.S.; Testimony

 of M.M., Testimony of Jonathan Yioulos, Testimony of Lisa Palmer; GX 601, 603, 607,

 611, 629, 638, 642, 647, 649, 674, 680, 683, 684, 688, 692 700, 703, 706, 711, 716, 719,

 723, 727, 732, 737, 742, 748, 764, 801, 974, GX 975, 1002, 1003, 1004-1007, 10084].

       Kimberley Tew created a fake email account in the name of MCG, Inc., only

 slightly modifying the name of that company so that it would appear to be from M.M..

 [Testimony of Lisa Palmer, GX 524, 980-984]. Michael Tew created fake email

 accounts for C.R. and P.M. [Testimony of Lisa Palmer, GX 520, 521, 975]. These

 invoices were paid by the Victim Company. [Testimony of A.S., Testimony of

 Jonathan Yioulos, Testimony of Matt Morgan, GX 1002, 1003, 1004, 1005].

              7.     Global Fuel Logistics, Inc. (GFL)

       On or around July 9, 2019, Michael Tew created and registered GFL in

 Wyoming. [GX 546]. A couple of days later, on or about July 11, 2019, the defendant

 registered GFL in Colorado as a foreign corporation and, shortly thereafter, opened

 additional bank accounts for GFL at local bank branches in Colorado. [Testimony of

 Matt Morgan; Testimony of Lisa Palmer; Testimony of R.T.; GX 526, 975, 1001].

 Michael Tew created GFL to diversify the names of the entities submitting fraudulent

 invoices to the Victim Company and to align the name of the shell company more

 closely with the business of the Victim Company. These efforts assisted in evading


       4 Government Exhibits 1004-1007 were shown to the jury but not admitted.

 They reference the underlying exhibits and remain handy references for purposes of
 identifying bank transactions.

                                            9


                                                                                             1022
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    10 of 58         pg
                                  1023 of 1354




 the Victim Company’s detection. [Testimony of Jonathan Yioulos, Testimony of A.S.].

 The Victim Company paid invoices based on the fraudulent pretense that GFL was

 one of its vendors. [Testimony of Jonathan Yioulos, Testimony of A.S., Testimony of

 Matt Morgan, GX 539, 841, 844, 845, 875, 887, 903, 912, 928, 933, 935, 950, 952, 953,

 954, 955, 959, 969, 1002, 1003, 1006].

       Michael Tew intentionally did not list the Colorado address he shared with

 Kimberley Tew on the registration materials with the States of Colorado and

 Wyoming. Instead, he chose to list an address in Michigan associated with Kimberley

 Tew’s parents as the principal office address and mailing address. [Testimony of

 R.T.]; ECF NO. 341-1 (Log Entry # 208). He did so to put multiple layers between

 himself and GFL, which had no legitimate business operations and whose sole

 function was to serve as a shell company nominee listed on invoices to the Victim

 Company. GFL was never registered in Michigan. [GX 974, GX 975].

              8.    Aero Maintenance Resources (AMR)

       Michael Tew never registered AMR as a separate entity in any state. To serve

 the defendant’s and the coconspirators’ goal of evading detection by diversifying the

 names of the entities on the fraudulent invoices, the defendant, with the knowledge

 and coordination of Kimberley Tew and Jonathan Yioulos, submitted invoices on

 behalf of AMR. [Testimony of Jonathan Yioulos]. AMR was described on the

 fraudulent invoices as a “division” of GFL. [Testimony of Jonathan Yioulos].




                                          10


                                                                                          1023
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    11 of 58          pg
                                  1024 of 1354




       B.     The Relationships between the Tews and the Victim Company

       Between sometime in 2015 and September 2018, the defendant served as the

 contracted CFO for the Victim Company. As a contractor, he was paid approximately

 $10,000 per month to, in later months, up to $25,000 per month pursuant to his

 contracts with the Victim Company. [GX 535, 550, 571-576]. The Victim Company

 paid for the defendant’s contracted CFO services through his single-member LLC,

 Sand Hill. Kimberley Tew also provided limited contract services to the Victim

 Company related to the creation of a virtual web application. [Testimony of C.A.,

 Testimony of Jonathan Yioulos, GX 986].

       In June 2018, Michael Tew began to use an American Express corporate card

 issued to him for work-related expenses to instead purchase gift cards at Target, King

 Soopers, Walgreens, and other retailers. He did this at the request and

 encouragement of Kimberley Tew, who needed the gift cards to pay off a debt. When

 American Express and the Victim Company separately asked Michael Tew questions

 about these expenses, the defendant lied to both entities. Michael Tew, in

 coordination with Kimberley Tew, had purchased those gift cards because they could

 be easily, and largely anonymously, sold for cryptocurrency such as bitcoin. The

 defendant needed these funds because of family debts, some of which were the result

 of Kimberley’s gambling and crypto-speculation. [Testimony of C.A., Testimony of

 Jonathan Yioulos, Testimony of A.S., GX 335, 338, 339, 347 – 353, 532, 538]

       In or around September 15, 2018, the Victim Company terminated Michael


                                           11


                                                                                           1024
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    12 of 58         pg
                                  1025 of 1354




 Tew’s contract for this unauthorized use of the corporate credit card and because

 another individual to whom Kimberley owed a debt had called employees and owners

 of the Victim Company to threaten and extort them. [Testimony of C.A., Testimony

 of Jonathan Yioulos, Testimony of A.S., GX 536]; ECF No. 341-1 (Log Entries # 33,

 36, 37, 50, 59, 85, 93, 108, 156). After September 15, 2018, the Victim Company did

 not know it had engaged in any further business dealings with Michael or Kimberley

 Tew. The Victim Company learned of the scheme to defraud in or around July 2020,

 after it was contacted by the IRS and the FBI. [Testimony of C.A.; Testimony of Sarah

 Anderson; Testimony of Lisa Palmer].

       C.     The Tews inflicted millions of dollars of loss on the Victim
              Company during a two year crime-spree

              1.    The Tews used adaptive invoicing techniques to make their
                    scheme more effective over time

       In or around August 2018, Michael Tew, at the encouragement and direction

 of Kimberley Tew, began submitting fraudulent invoices to the Victim Company,

 which the Victim Company paid. Initially, the dollar amounts for the invoices were

 relatively small, but over time, the amounts demanded by each fraudulent invoice

 grew substantially. Between August 2018 and July 2020, as a result of this conspiracy

 to commit wire fraud, the Victim Company paid $5,053,878.50 either directly to the

 defendant and Kimberley Tew or to third parties recruited by Michael and Kimberley

 Tew. [GX 1002, 1003]

       The fraud was perpetrated to pay outstanding and ongoing debts incurred by


                                          12


                                                                                          1025
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    13 of 58            pg
                                  1026 of 1354




 Kimberley Tew’s gambling, to cover the redemptions of “investors” who were victims

 of a separate cryptocurrency scheme, and to finance a lavish lifestyle that included a

 luxury apartment in Cherry Creek, designer clothes, expensive food, and Las Vegas

 junkets.

       Initially, the invoices were submitted by or on behalf of entities not previously

 used as vendors by the Victim Company and who performed functions unrelated to

 the conspiracy. Over time, the invoices were submitted by shell company nominees

 that existed as vehicles to continue the fraud, to evade detection, and to conceal the

 source and destination of income. When the amount paid to one sham vendor became

 large enough to make its notice a higher audit risk, Michael and Kimberley would

 pivot to a different vendor, spreading their fraud across multiple different entities so

 that no single vendor would stand out. [Testimony of Jonathan Yioulos, GX 974, 975,

 1002, 1003].

       The fraudulent invoices were all approved by Yioulos, and the payments were

 largely made via automated clearinghouse (ACH) transactions, although some

 payments were tendered by wire transfer. The ACH transactions were executed

 through interstate wires from the Victim Company’s account at Signature Bank in

 New York to bank accounts in Colorado and elsewhere. [Testimony of M.O.;

 Testimony of Jonathan Yioulos; GX 9-40, 355-262, 365-367, 369-377, 379-380, 383-

 384, 386-392, 428-468, 492; GX 1001 - 1007].

       Kimberley Tew directed Michael Tew to obtain money from the Victim


                                           13


                                                                                             1026
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    14 of 58         pg
                                  1027 of 1354




 Company. Michael Tew, in turn, would advise Jonathan Yioulos to continue

 authorizing invoices, or risk the Tews and their associates going to the Victim

 Company’s management, something which would result in the termination of

 Yioulos’s employment. Yioulos, who initially had a friendly relationship with Michael

 Tew, agreed and continued to knowingly process fraudulent invoices submitted by or

 for the benefit of the defendant and Kimberley Tew during the course of the

 conspiracy. In exchange, the Tews also offered Yioulos a few bitcoin as compensation,

 which Kimberley would supposedly invest on Yioulos’s behalf. Under this

 arrangement, the bitcoin was transmitted by Michael or Kimberley to Yioulos, then

 requested back, and then re-transmitted multiple times. Ultimately, Jonathan

 Yioulos received a relatively small portion of the fraud proceeds: approximately

 $100,000 worth of bitcoin, which he then converted into fiat currency. [Testimony of

 Jonathan Yioulos; GX 527]; ECF No. 341-1 (all log entries found to be in furtherance

 in which Kimberley requests money from Jon, all entries found to be in furtherance

 referencing Indictment paragraph 25, all log entries describing texts between

 Michael Tew and Jonathan Yioulos).

       At first, both Michael and Kimberley Tew contacted Yioulos to request or

 demand money from the Victim Company. Later, Yioulos cut off contact with

 Kimberley Tew because of her caustic tone and mercenary tactics. See, e.g., ECF No.,

 241-1 (Log Entries # 115, 118); see also Id. (Log Entry # 197 (encouraging Michael

 Tew to threaten Jonathan so that Kimberley can get money to pay redemptions of her


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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    15 of 58           pg
                                  1028 of 1354




 “investors”). From that time forward, Kimberley would tell Michael when she needed

 money, direct him to ask Yioulos, and Michael would execute her instructions. [GX

 974, 975].

       To accommodate these demands for payment, Yioulos often advised Michael

 Tew about the financial status of the Victim Company and/or its affiliates so that

 payments of the fraudulent invoices did not result in the Victim Company and/or its

 affiliates overdrawing their bank accounts. Michael would then pass along this

 information to Kimberley. See, e.g., ECF No. 341-1 (Log Entry # 156, 187, 194, 317)

 Yioulos often made payments in installments or “progress payments.” That is, Yioulos

 authorized and approved multiple ACH transfers or wire transfers where each

 transfer was for an amount less than the total amount of an invoice to try to pay the

 defendants with whatever money was available to the Victim Company or its

 affiliates at that time. [Testimony of Jonathan Yioulos]; See, e.g., ECF No. 341-1 (Log

 Entry # 348).

       Michael and Kimberley Tew accepted partial payments based on what the

 Victim Company or its affiliates could afford at any given time during the conspiracy.

 Many times partial payments were made by the Victim Company and its affiliates

 prior to the receipt of an invoice to satisfy Michael Tew and/or Kimberley Tew’s

 immediate demands for money. During the conspiracy, if Yioulos deferred or delayed

 payment of the fraudulent invoices based on the financial status of the Victim

 Company or its affiliates, Michael and Kimberley Tew pressured or threatened


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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    16 of 58            pg
                                  1029 of 1354




 Yioulos to induce him to pay the invoices. [Testimony of Jonathan Yioulos]; ECF No.

 341-1 (Log Entry #341); see also id. (Log Entry 347 (“I have to threaten hi” [sic]).

       Over time, the conspirators used more sophisticated means to conceal the

 fraud. For example, at the beginning of the scheme to defraud, the fraudulent invoices

 contained generic descriptions of services like consulting services or “service fee[s]”

 but over time, those descriptions grew more specific with later fraudulent invoices

 bearing descriptions like “Trailing Edge Flap”; “Replacement of Moisture Barrier over

 Kevlar (Labor Hours)”; and “A-330-200 (N819CA) Crew / Operations / Staff

 Training[.]” [GX 845, 875, 969]

       Michael Tew, in coordination and consultation with Kimberley Tew and

 Yioulos, also took steps to ensure that the face of each invoice would not arouse

 suspicion at the Victim Company. Indicia of legitimacy on the fraudulent invoices

 included the following:

           •   Unique, non-consecutive invoice numbers, which implied that invoices
               were being directed to other companies beyond the Victim Company or
               its affiliates;

           •   Naming an entity that was purportedly providing services, entities
               whose registration with various Secretaries of State could be confirmed,
               a description of services and, sometimes, a project name, as well as a
               due date;

           •   Identifying a sum certain, sometimes round numbers and other times
               specific numbers, that were associated with the purported provision of
               certain numbers of hours of service or work and which were sometimes
               reduced by “adjustments”;

           •   Identifying real bank account information for the entities, even if the


                                           16


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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    17 of 58             pg
                                  1030 of 1354




               entity was not in fact associated with that bank account; and

           •   Identifying a purported specific person, for example, “Jessica
               Thompson,” as a contact person in the “Accounting Department” for
               questions about the invoices. “Jessica Thompson” did not in fact exist.

 [Testimony of Jonathan Yioulos, GX 539,601, 603, 607, 611, 629, 638, 642, 647, 649,

 674, 680, 683, 684, 688, 692 700, 703, 706, 711, 716, 719, 723, 727, 732, 737, 742, 748,

 764, 801, 841, 844, 845, 875, 887, 903, 912, 928, 933, 935, 950, 952, 953, 954, 955, 959,

 969, 975].

               2.    The Tews’ used a shell company as another artifice to
                     deceive the Victim Company while insulating themselves
                     from detection

       Michael Tew took additional steps to evade detection by also creating and using

 newly-formed shell entities to submit these fraudulent invoices. These new entities,

 GFL and AMR, appeared to at least superficially engage in work that related to the

 Victim Company’s industry, but in fact had no other operations beyond being used to

 perpetrate this fraud. The defendant not only intentionally registered them in a

 manner that would make it difficult to connect the entities to him Kimberley Tew, he

 requested Employer Identification Numbers, [GX 545], created official-sounding new

 email addresses, [GX 512], and otherwise attended to the business of perpetrating

 this fraud, [GX 974, 975]. [Testimony of Jonathan Yioulos].




                                            17


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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    18 of 58         pg
                                  1031 of 1354




               3.   The Tews recruited third parties to assist in their criminal
                    endeavor and then, when those parties balked at such
                    brazen fraud, stole their identities to insulate themselves
                    from detection

       As set forth above, the fact that using the same vendor over and over again

 would draw attention imposed an inherent constraint on the Tews’ ability to

 perpetrate the fraud. Furthermore, Michael and Kimberley Tew were aware that

 another risk of their criminal endeavor was that others might see their association

 with a vendor. For the first few months of their scheme, the Tews tried to push the

 risk of exposure away from themselves and towards third parties they felt they could

 manipulate.

                    a.     Kimberley Tew’s Exploitation of H.S.’s addiction

       In August 2018 — just after Kimberley Tew had been caught using Michael

 Tew’s corporate credit card to purchase gift cards — Kimberley pitched H.S. on an

 opportunity make money with bitcoin. H.S. initially agreed to invest with Kimberley’s

 bitcoin opportunity. But when Kimberley asked H.S. to open a bank account to receive

 a large sum of money, H.S. turned Kimberley down. This didn’t stop Michael or

 Kimberley from using H.S. to help advance their fraud: they simply adopted H.S.’s

 name for use on some of their fake invoices, falsely stating that H.S. was a CPA

 contracted by Michael Tew in his capacity as the Victim Company’s CFO. H.S. has

 never been a CPA, and she was entirely unaware of the scheme to defraud or the use

 of her name in that endeavor. Kimberley Tew knew that H.S. had addiction problems

 and a troubled background that would make her a convenient scapegoat. She also

                                          18


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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    19 of 58           pg
                                  1032 of 1354




 relied on her friendship with H.S., believing that H.S. would be less likely to divulge

 information to the authorities. Michael Tew explained this thinking in one of the calls

 with Yioulos that was recorded by law enforcement. [Testimony of H.S.].

                     b.    Kimberley Tew’s exploitation of M.M.’s financial
                           desperation

       Kimberley Tew was a cryptocurrency hobbyist who used the peer-to-peer

 exchange platform Paxful. There, she met M.M. while using the false name “Matthew

 Vertanen.” M.M. had established his own company, MCG, LLC, to engage in peer-to-

 peer cryptocurrency exchange brokering. Over a course of time Kimberley convinced

 M.M. that she was his friend. Eventually, she played up her experience at Google and

 told M.M. that she had a trading algorithm she could use to generate fantastic 100%

 returns on the market for bitcoin. She offered M.M. the opportunity to invest, noting

 that she did this for others too. Kimberley Tew’s description of her luxury tastes —

 Jimmy Choo shoes and elaborate trips to the Wynn in Las Vegas — lent further

 credibility to her appearance of success. M.M. agreed and, at least at first, enjoyed

 spectacular returns that basically doubled his investments. Michael Tew helped

 Kimberley Tew with this separate “investment” business, once meeting with M.M. in

 person in Ft. Collins to withdraw money that the Tews promised to convert into

 bitcoin. He invested more and more with Kimberley until, eventually, he had invested

 almost everything he had. [Testimony of M.M.]; see also ECF No. 341-1 (Log Entries

 # 162, 205) (discussing debt owed to M.M.).

       M.M. was not a wealthy investor. He was a high school graduate and former

                                           19


                                                                                            1032
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    20 of 58        pg
                                  1033 of 1354




 construction worker without a large financial safety net. Over time, Kimberley’s

 apparent success evaporated. She was late in returning money to M.M. Or she would

 return his bitcoin when asked, but then immediately ask for that bitcoin’s return on

 the pretense that, without it, her algorithm would collapse and everyone would be

 worse off. When Kimberley Tew’s returns to Michael decreased, or she delayed in

 returning his bitcoin, M.M. became desperate and angry. See, e.g., ECF NO. 341-1

 (Log Entries # 204 and 205)

       In the fall of 2018 Kimberley Tew took advantage of M.M.’s desperation by

 offering him another opportunity to make money. She asked M.M. to open bank

 accounts to receive money from the Victim Company. In return, he could keep 10% of

 the transaction. M.M. agreed. Michael and Kimberley then instructed Yioulos to send

 NAC’s money to M.M.’s accounts. M.M. would then convert that money into bitcoin,

 which he would transfer to Kimberley. On a few occasions, when M.M. was slow to

 get the money to Kimberley, Kimberley would respond with threats. Kimberley once

 called M.M.’s wife and accused M.M. of stealing. She also told M.M. that she would

 turn M.M. into authorities. [Testimony of M.M., GX 1004].

                    c.    Michael Tew’s exploitation of his friendship with
                          L.W.

       By the end of 2018, Michael and Kimberley needed to use another vendor to

 hide their scheme. Michael Tew turned to his friend, L.W., who was the proprietor of

 a business called P.M. Michael Tew prevailed on his friend to receive payments from

 the Victim Company and then kick those payments back to Michael Tew. L.W. did

                                         20


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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    21 of 58         pg
                                  1034 of 1354




 this on two occasions. After that, Michael Tew cut out L.W. as a middleman,

 appropriated the P.M. name, and directed Yioulos to send the money directly into a

 joint bank account controlled by both Michael and Kimberley Tew or into his own

 accounts. [Testimony of Jonathan Yioulos, Testimony of Matthew Morgan, GX 312,

 363, 975, 1002, 1003, 1005]; ECF No. 341-1 (Log Entries # 174 and 175 (discussing

 payments to “actual” PM).

              4.        The Tews’ use of dummy email accounts and their
                        staggered deceptions of the Victim Company and Jonathan
                        Yioulos

       Michael and Kimberley Tew further staggered their layers of deception by

 using dummy e-mail addresses to make it appear that the invoices were coming from

 others. Kimberley Tew created an email account using the name “MCG, Inc.” — a

 disguised variant of M.M.’s company — and then used that email account to submit

 false invoices to the Victim Company. [Testimony of Lisa Palmer; GX 524, 980-984]

       Michael Tew similarly created email addresses using others’ names or

 companies. The first he created used the name of C.R., who was another

 cryptocurrency enthusiast befriended by Kimberley Tew. Another used P.M.’s name.

 After he had set up GFL he took additional steps to bolster the pretense that it was

 a real company by paying for a dedicated domain name — globalfuel.co — and an

 associated email address, accounting@globalfuel.co. [Testimony of Lisa Palmer, GX

 512, 520, 521, 975].

       Yioulos was a willing but often reluctant coconspirator. To encourage his


                                          21


                                                                                          1034
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    22 of 58         pg
                                  1035 of 1354




 participation, the Tews represented to him that they were being extorted or

 blackmailed and that only more money would save them. They also represented that

 M.M. and C.R. — the purported extortionists — were the ones sending emails to

 Yioulos. [Testimony of Jonathan Yioulos]; see e.g., ECF No. 341-1 (Log Entries # 37,

 115). These statements were false. Michael and Kimberley Tew were using the same

 tools they used to deceive the Victim Company to deceive Yioulos. The Tews did not

 really believe that M.M. was going to resort to violence against them. Michael told

 Kimberley that M.M. was just “empty threats. ECF No. 341-1 (Log Entry #205). And

 C.R.’s “extortion” amounted to telling Michael and Kimberley that he would report

 their theft of his money to the police. Id. By convincing Yioulos that they were

 receiving emails from others of unpredictable disposition, Michael and Kimberley

 Tew could manipulate Yioulos’s fear. To encourage him to send them NAC’s money

 they would send emails from the MCG, Inc. and CR email accounts suggesting that

 failing to do so would cause M.M. or C.R. to report Yioulos. See, e.g., ECF No. 341-1

 (Log Entries # 58, 67, 75, 339).

              5.     The Tews developed expertise in banking practices to avoid
                     detection and ensure access to their ill-gotten gains

       The banking side of the fraud was also intricate. Michael Tew and Kimberley

 Tew maintained multiple bank accounts at multiple financial institutions; some they

 held in their individual names, and others were joint accounts. [GX 1001]. Through

 these multiple bank accounts, they each made multiple transfers of funds that

 originated from the fraud against the Victim Company or its affiliates. On many

                                          22


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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    23 of 58            pg
                                  1036 of 1354




 occasions, those transfers led to several cash withdrawals in a single day from

 accounts controlled by Michael Tew or Kimberley Tew or both Michael and Kimberley

 Tew. After withdrawing cash from the proceeds of the fraud, Michael Tew and

 Kimberley often deposited the aggregated amount of cash from that day or over a few

 days into cryptocurrency ATMs, where they were able to deposit United States dollars

 in exchange for bitcoin, either held in their own wallets or sent to third parties, many

 of whom were owed money. All told, the Tews deposited approximately $2,429,181

 into just one company’s cryptocurrency ATMs during the conspiracy. This likely

 substantially undercounts the total converted into cryptocurrency because other

 companies also provide bitcoin ATM services and messages describe routine bitcoin

 atm transactions. See, e.g., ECF No. 341-1 (Log Entry # 176, 179, 189, 192, 193, 348,

 351, 356).

        During the early part of the conspiracy, when a bank that held accounts

 receiving payments from the Victim Company closed some or all of the defendant

 and/or Kimberley Tew’s accounts, the defendant and Kimberley Tew then created

 multiple accounts at another credit union, of which Kimberley Tew was a member.

 [GX 975]. Michael Tew asked bank managers at that location detailed questions

 about their policies and what they might flag as suspicious transactions. [Testimony

 of B.P.].

        D.    Summary of the Entities Used to Submit Fraudulent Invoices
              and the Dramatic Increase of Invoiced and Paid Amounts

        The chart pictured below, admitted at trial as Government Exhibit 1002,

                                           23


                                                                                             1036
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    24 of 58        pg
                                  1037 of 1354




 summarizes the fraudulent invoices by the entity; the number of fraudulent invoices

 submitted by or on behalf of that entity; the total dollar amount paid by the Victim

 Company to the entity for Michael Tew and Kimberley Tew’s benefit or directly to

 bank accounts controlled or operated by the defendant and Kimberley Tew; and the

 increase over time in the amounts that the Tews personally benefitted from this

 fraud.




          E.    Michael Tew responded to the possibility of being caught by
                seeking additional fraud payments so that he could flee

          In the days and weeks leading up to Michael Tew’s eventual arrest, Michael

 and Kimberley Tew were both in touch with Yioulos. In early July 2020, Yioulos had

 told the defendant that the FBI was asking questions, a fact that Yioulos had become

 aware of as the Victim Company began looking at its books to understand the

 fraudulent payments. Both Michael Tew and Kimberley Tew were concerned about

 an FBI and/or IRS investigation. On July 8, 2020, Michael Tew again asked Yioulos

                                          24


                                                                                         1037
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    25 of 58        pg
                                  1038 of 1354




 for additional funds in the form of bitcoin; this time, the money was to be used to

 facilitate his, Kimberley Tew, and their minor children’s flight from the country.

 [Testimony of Jonathan Yioulos]; ECF NO. 341-1 (Log Entry # 376).

       F.    Prohibited Financial Transactions

       Between August 2018 and July 2020, Michael Tew and Kimberley Tew

 organized and coordinated numerous prohibited financial transactions in amounts

 greater than $10,000 that each knew was sourced from the proceeds of unlawfully

 obtained activity, namely conspiracy to commit wire fraud and wire fraud. Each of

 these transactions was described at trial using summary exhibits GX 1000 – 1023

 that reference the underlying bank records.

       G.    Kimberley Tew’s efforts to obstruct the investigation and
             prosecution

       Kimberley Tew acted to obstruct the investigation into the charged fraud and

 money laundering conspiracy by tampering with witnesses and by destroying

 evidence.

       Kimberley’s Tew’s first act of obstruction was her most successful: she

 convinced Michael Tew not to cooperate against her. Michael Tew was arrested on

 July 8, 2020. He immediately agreed to cooperate, but negotiated a major concession.

 His first proffer contained a provision that prevented the government from using his

 information to prosecute Kimberley. Michael Tew later decided to waive that

 concession, agreed to cooperate against Kimberley, and he agreed to provide

 information against her at a subsequent proffer session. He also agreed to allow the

                                         25


                                                                                         1038
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    26 of 58           pg
                                  1039 of 1354




 government to image his phone. IRS-CI and FBI agents surreptitiously arranged a

 meeting with him (outside of Kimberley Tew’s knowledge) at a Yeti store in Cherry

 Creek to perform the cell phone extraction on July 29, 2020. Sometime that day,

 however, Kimberley Tew figured out that the meeting was happening. While the

 imaging was underway, Kimberley Tew showed up and immediately began

 haranguing Michael Tew, his attorneys, the prosecutors, and the agents. Using their

 children as a cudgel — claiming that Michael Tew didn’t care about them — and

 generally doing everything she could to disrupt the meeting, including claiming to

 fire Michael Tew’s attorney without his consent, she eventually coaxed her husband

 into leaving. [GX 551].5 Michael eventually stopped cooperating.

       At the July 29 Yeti meeting, which was audio recorded, Kimberley Tew

 admitted to her second act of obstruction. Acknowledging that the agents were there

 to gather evidence from Michael Tew’s phones, she tried to convince the assembled

 gathering that it was a futile exercise: “I already wiped most of it anyway,” she said.

 [GX 584]. Sure enough, when agents later tried to obtain messages that were stored

 in Kimberley’s iCloud account, they found that her tampering had resulted in a

 situation where half of conversations — the half involving Kimberley Tew — were


       5 GX 551 is the audio recording of the entire meeting. It was marked, but not

 admitted at trial. Statements made by Michael Tew on the recording are protected
 by the proffer agreement and should not be referenced as part of his sentencing. But
 Kimberley Tew was not a party to that agreement, her statements were made of her
 own volition, and the Court can and should review and consider the entire recording
 as evidence of her obstruction.


                                           26


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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    27 of 58           pg
                                  1040 of 1354




 missing. See, e.g., ECF No. 341-1 (Log Entries # 19, 28, 35, 37, 46, 51, 85, 108, 115,

 and 118).

       Finally, as the Speedy Trial Act ticked its way towards indictment, Kimberley

 Tew took action to tamper with H.S. She tried to play on H.S.’s sympathy by sending

 her a slideshow with pictures of their friendship. In late 2020 or early 2021 she tried

 the other tack: she threatened to reveal extremely embarrassing and intimate private

 information about H.S. unless H.S. remained silent. [Testimony of H.S.]. The Grand

 Jury’s indictment came in February 2021.

       H.     Michael and Kimberley              Tew’s    parallel   cryptocurrency
              investment fraud scheme

       As described above, Kimberley Tew offered M.M. an “investment opportunity”

 involving cryptocurrency. She offered Jonathan Yioulos much the same. But it was

 just another scam. Kimberley was taking bitcoin from others under the pretense that

 she had a proprietary algorithm that could double their money. But she lost it.

 Michael Tew explained all of this to Yioulos:

       MT 1312:      she has other investors, legitimate wealthy guys that are buying
                     BTC through her right now. Its weird to explain but they are too
                     old to use the exchanges.

       MT1312:       Totally separate from any of this. NY people. Not my people, I
                     don’t know any of them. Its her own thing.

       MT1312:       She can get it.

 ECF No. 341-1 (Log Entry # 175). Later on, Michael Tew told Yioulos a variation of

 the story that Kimberley Tew had told M.M.: sometimes she couldn’t pay people back


                                           27


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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    28 of 58           pg
                                  1041 of 1354




 because her “script” had gone amok. “She came to me and said shit I have jons BTC

 I’m sending ypbuimband [sic] then said shit I just lost momentum in my script,”

 Michael Tew told Yioulos. ECF No. 341-1 (Log Entry # 257). Michael Tew elaborated

 the next day: “KT was running her script, was waiting for $15K from my airline /

 chairman of frontier project, he literally never sent it I’ve been slaving away for him

 and it fucked everything up.” Id. (Log Entry # 257)

        Kimberley Tew, aided and abetted by Michael Tew, was essentially committing

 one fraud to subsidize another, like a particularly grotesque Ponzi scheme. Id. (Log

 Entry # 129) (noting plan for Kimberley to use “the last two wires” to build a

 “portfolio”).

        On August 5, 2019, Michael Tew begged Yioulos for money from the Victim

 Company, explaining that without it “we’re going to bounce a check to investors. A

 check to investors.” Id. (Log Entry #220). In correspondence between Michael Tew

 and Kimberley Tew, Kimberley would complain that having to pay back her investors

 meant not having any money to gamble. Id. (Log Entry # 283) (“With the negative

 accounts and bills we have to pay plus the car and AN that’s over 60K. It really leaves

 nothing for Vegas.”). On other occasions, Kimberley would pressure Michael to ask

 Yioulos for money so that she could use the Victim Company’s money to recoup

 investor losses, instead of paying them out herself. Id. (Entres # 173, 178, 185, 187,

 192, 197 222, 261, 274, 286, 347, 367) (discussing need for money from Jon to pay out

 several others).


                                           28


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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    29 of 58            pg
                                  1042 of 1354




       James log entry number 185 is particularly illuminating. Kimberley had lost

 so much money gambling in Las Vegas that she couldn’t pay an investor who was “all

 over” her to see his account. Desperate, she told Michael to offer Yioulos three bitcoin

 to send them money. Then she and Michael proceeded to make up false excuses as to

 why they couldn’t pay the investor, with Michael pointedly noting that they “need a

 new story.” Just a few days later, Kimberley told Michael that she had gotten a loan

 from one investor that she could use to pay another (a classic manifestation of a Ponzi

 scheme), while they waited for money from Yioulos so that Kimberley would not “blow

 up.” Id. (Log Entry # 187). When “everyone is cashing” out their investment with

 Kimberley, she asked Michael to ask Yioulos to bail her out. Id. (Log Entry # 197).

 And then she and Michael discussed how to alter the date and amount of withdrawals

 from cryptocurrency investors so they could show them false and fraudulent

 statements. Id. On another occasion, Kimberley warned Michael that an investor

 “could cash a check” and that she needed to make sure Yioulos sent them money to

 cover it. Id. (Log Entry # 274.); see also Id. (Log Entry # 261) (featuring Kimberley

 asking Michael to “talk to Jon” because “I have people asking for money today”).

       In September 2023, a Denver District Court concluded by a preponderance of

 the evidence that Kimberley Tew committed civil theft when she took cryptocurrency

 from an investor and refused to give it back. ECF No. 450-1 at 15. The court’s

 description of the undisputed facts tells a story similar to the one detailed by M.M.

 and Yioulos. Kimberley Tew learned that an acquaintance, D.B., had an interest in


                                           29


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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    30 of 58          pg
                                  1043 of 1354




 cryptocurrency, told D.B. she could make enormous returns trading cryptocurrency,

 and offered to take bitcoin and invest it on D.B.’s behalf. She also represented that

 she was doing the same for others. D.B. gave Kimberley thousands of dollars. When

 he asked for it back, he got the same types of excuses Kimberley had given M.M.

 Kimberley eventually refused to give the money back. Id. at 2-10.

       I.     Evidence related to Michael and Kimberley Tew’s income while
              retaining counsel through the Criminal Justice Act program

       On December 13, 2022 Michael Tew and Kimberley Tew filed affidavits with

 the Court so that it could make the statutorily required finding that they were

 “financially unable to obtain counsel.” 18 U.S.C. § 3006A(b). However, bank records

 show that, between January 2022 and December 2022, Michael Tew received

 $678,595.22 in deposits into a single bank account. This is just over nine times the

 median     United   States   income   of   $74,580.    https://www.census.gov/library/

 publications/2023/demo/p60-279.html.

       Between January 2022 and January 2024, Michael Tew’s single account

 received enough money to make him a bona fide millionaire: $1,212,181.27.

                          Month and Year         Deposits
                          01/22                  $50,875.79
                          02/22                  $124,989.95
                          03/22                  $55,521.54
                          04/22                  $57,233.14
                          05/22                  $71,069.11
                          06/22                  $62,932.81
                          07/22                  $53,482.97
                          08/22                  $51,086.67
                          09/22                  $59,056.31


                                            30


                                                                                           1043
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    31 of 58         pg
                                  1044 of 1354




                          10/22                $27,523.52
                          11/22                $25,332.10
                          12/22                $39,491.31
                          01/23                $36,856.25
                          02/23                $46,199.01
                          03/23                $41,929.82
                          04/23                $22,987.04
                          05/23                $33,174.51
                          06/23                $35,474.86
                          07/23                $36,500.05
                          08/23                $30,875.68
                          09/23                $43,116.57
                          10/23                Not available
                          11/23                $51,069.33
                          12/23                $63,477.26
                          01/24                $91,925.67
                          TOTAL                $1,212,181.27

       The records show a similarly byzantine financial history to that presented at

 trial, including substantial transfers to cryptocurrency exchanges; Kimberley Tew;

 and app-based peer-to-peer payment platforms. And this is only one account. Other

 evidence obtained by the government shows that the Tews had financial accounts at

 other banks and brokerages. Moreover, during the pendency of the case, Michael and

 Kimberley Tew lived in a luxury apartment complex in downtown Denver for

 $8,649.69 a month.

       The government has asked the Court to release the affidavit so that it can

 evaluate whether the Tews were truthful in their statements to the Court. It does not

 have the affidavit and so cannot say whether the Tews committed perjury or

 defrauded the Criminal Justice Act program. But the Probation Office can access the

 affidavit and determine whether they did and, if so, how that should impact their

                                          31


                                                                                          1044
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    32 of 58          pg
                                  1045 of 1354




 sentence, including whether to impose a fine as part of that sentence.

       J.     Evading Payment of Taxes

       Despite having taxable income from their contracts with the Victim Company

 and later from the fraud described herein, neither Michael nor Kimberley Tew filed

 income tax returns for tax years 2016 through 2022. They had previously filed tax

 returns, and were therefore aware of their responsibility to do so. Michael and

 Kimberley Tew, while living and working in Colorado, devised the complex fraud as

 an income generation scheme, and then took a variety of actions to conceal that

 income. These actions included causing the Victim Company to issue payments to

 pre-existing companies like MCG, 5530 JD and PM but to route those payments into

 accounts that the defendant and his coconspirators knew were controlled by the

 Michael and Kimberley Tew. Later, Michael Tew used shell entities like GFL and

 AMR as nominees, again to put distance between the defendant and the income that

 was being generated to GFL and AMR. These were, among others, affirmative acts

 taken by Michael and Kimberley Tew to evade or attempt to evade the payment their

 taxes. Michael and Kimberley Tew engaged in these actions willfully: they knew that

 they had income, that they were required to file tax returns and pay tax on that

 income, and that they specifically intended not to pay those taxes. See, e.g., ECF NO.

 341-1 (Log Entry # 129, 139, 242) (musing about how they are going to get money to

 pay their taxes).

       A very conservative estimate of the taxes due and owing is $1,307,743.60


                                          32


                                                                                           1045
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    33 of 58            pg
                                  1046 of 1354




 calculated by adding together the fraud proceeds in the relevant years plus either

 compensation reflected in IRS records and then applying the 20% tax rate set forth

 at U.S.S.G.§2T1.1(c)(2)(A):

                                                Applicable    Tax
       Tax Year            Amount                                   Tax Loss
                                                Rate
       2016        Gross
                           $185,000.00          20%                 $37,000.00
       Income
       2017        Gross
                           $312,500.00          20%                 $62,500.00
       Income
       2018        Gross
                           $702,215.00          20%                 $140,443.00
       Income
       2019        Gross
                           $2,465,002.00        20%                 $493,000.40
       Income
       2020        Gross
                           $2,471,001.00        20%                 $494,200.20
       Income
       2021        Gross
                           $403,000.00          20%                 $80,600.00
       Income
                                                                    $1,307,743.60

 II.    ALL OF THE FACTORS THAT THE COURT MUST CONSIDER
        WEIGH IN FAVOR OF THE RECOMMENDED SENTENCE

        In fashioning a sentence, the Court must address each of the factors set forth

 at 18 U.S.C. § 3553(a), including (1) the applicable United States Sentencing

 Guidelines (the “Guidelines”), (2) the nature, circumstances, and seriousness of the

 offense, (3) the history and characteristics of the defendant, and (4) the need to

 promote respect for the law, afford adequate deterrence, and protect the public from

 further crimes. Each fully supports the Recommended Sentence.




                                           33


                                                                                             1046
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    34 of 58            pg
                                  1047 of 1354




    A. The Guidelines recommend a substantial prison sentence that should
       not deviate from others that would be imposed on similarly situated
       defendants being sentenced in other district courts around the
       country (18 U.S.C. §§ 3553(a)(4) and (a)(6))

       The government submits that Kimberley Tew’s Offense Level is 32, based on

 reference to the relevant Guidelines:

      Enhancement                        Guideline        Offense Level
                                         Provision
      Total Fraud Offense level                                              27
      Base Offense level                 2B1.1(a)(1)                          7
      Loss > $3.5 million                2B1.1(b)(1)(J)                     +18
      Sophisticated Means                2B1.1(b)(1)                         +2
      Additional Enhancements
      § 1957 laundering                  2S1.1(b)(a)                          +1
      Leader/Organizer6                  3B1.1(c)                             +2
      Obstruction                        3C1,1                                +2
       Total Offense Level                                32
      Recommended Range                                   121-151       months

                    1. There is no doubt about the base offense level, the
                       intended loss, or the applicability of the enhancement
                       for violating 18 U.S.C. § 1957

       Evidence presented at trial showed beyond a reasonable doubt that the

 defendant committed wire fraud (which has a base offense of 7), “spending” money

 laundering in violation of 18 U.S.C. § 1957 (a one-level enhancement) and that the




       6 Despite her lack of criminal history, Kimberley Tew does not qualify for the

 zero-point offender reduction under new guideline §4C1.1 because she was a leader
 and organizer of the scheme. U.S.S.G. § 4C1.1 See United States v. Mahee, 2023 WL
 8452433, *3-4 (N.D. Ga. Dec. 6, 2023) (“No defendant who receives an Aggravating
 Role Adjustment under § 3B1.1 of the Guidelines can ever be eligible for the Zero-
 Point Offender Adjustment under § 4C1.1(a).”); see also United States v. Gordon,
 2023 WL 8601494, at *3 (D. Maine, Dec. 12, 2023).

                                            34


                                                                                             1047
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    35 of 58           pg
                                  1048 of 1354




 defendant intended to inflict the losses charged in the indictment: $5,053,878.50,

 (an 18-level enhancement). The court should also have no trouble concluding that it

 is more likely than not that the other sentencing enhancements apply here.

 U.S.S.G. § 6A1.3, comment; United States v. Watts, 519 U.S. 148, 156 (1997)

 (acknowledging that preponderance of the evidence standard is appropriate for

 findings of fact related to sentencing).

                     2. Kimberley Tew’s sophisticated knowledge of digital
                        platforms and familiarity with the Victim Corporation
                        led her to use sophisticated means to siphon over $5
                        million from a large corporation through frequent but
                        relatively small individual transactions to maintain
                        the scheme for two years

        The Tews submitted false invoices in return for money. But the surface-level

 simplicity of this type of fraud belies the “especially intricate offense conduct

 pertaining to the execution or concealment of” of their fraud offense. U.S.S.G. §

 2B1.1 cmt. app. n. 9(B). Kimberley Tew directly carried out the scheme using

 several of the means and methods the Sentencing Commission and courts around

 the country have identified as hallmarks of sophistication:

    •   Use of others’ identities. Kimberley adopted the identity of M.M. and MCG to
        create the appearance that multiple fake vendors were submitting invoices,
        all as part of a clever effort to spread out the payments on the victim
        company’s internal balance sheets so that she and Michael Tew could avoid
        detection and keep the scheme going. Cf. United States v. Sethi, 702 F.3d
        1076, 1079 (8th Cir. 2013) (noting sophisticated involved in using names an
        identifies of others to conceal workers’ compensation insurance scheme). She
        was the primary source of contact with H.S., too, whose identity was used to
        help further the scheme in August 2018. That was just after Kimberley’s
        first, clumsy, effort to obtain money from the Victim Corporation using


                                            35


                                                                                            1048
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    36 of 58          pg
                                  1049 of 1354




        Michael Tew’s corporate credit card.

    •   Creation of shell companies. Kimberley Tew caused Michael Tew to use and
        create a shell company, Global Fuel Logistics, that would perpetrate the
        scheme. For example, in August 2019 Michael asked Yioulos about how
        Yioulos was accounting for things in the Victim Company’s books. “We’re just
        trying to understanding the banking issues,” Michael told him — conveying
        that Kimberley, too, was sensitive to the fact that in order to maintain the
        scheme they needed to have legitimate-seeming corporations with their own
        banking issues. Other evidence ties her to GFL. It was registered using her
        parents’ address to make sure that mail would go to someone the Tews’
        trusted and controlled. And numerous communications reference her
        coordination with Michael to get money from the Victim Company through
        the GFL artifice. ECF No. 341-1 (Log Entries # 253, 292, 293, 295, 299, 302,
        304, 313, 314, 318, 332, 360, 361, 362). There is no doubt that she directly
        used and encouraged the artifice of a shell company to help make the scheme
        a success. U.S.S.G. § 2B1.1 cmt. app. n. 9(B) (“Conduct such as hiding assets
        or transactions, or both, through the use of fictitious entities . . . also
        ordinarily indicates sophisticated means.”); See, e.g., United States v.
        Robertson, 493 F.3d 1322, 1332 (11th Cir. 2007) (finding no error where
        district applied enhancement against defendant who used fictitious entities
        and then switched them out at intervals to circumvent victim controls and
        avoid detection). Kimberley also encouraged Michael’s use of Sand Hill to
        help conceal the transmission of scheme proceeds. See, e.g., ECF NO. 341-1
        (Log Entry # 85)

    •   Use of multiple bank accounts and structured transactions. Kimberley Tew
        used multiple bank accounts and then employed a dizzyingly complicated
        series of transfers, wires, deposits, and withdrawals to evade her banks’ anti-
        money laundering protocols and quickly distance herself from the fraud
        proceeds. ECF No. 341-1 (Log Entry # 194). As set forth above, she
        encouraged Michael Tew to create sham bank accounts in the name of GFL to
        add a layer of fraud and deception to his enterprise. Although Sand Hill was
        not completely fraudulent, Michael took specific steps to register that entity
        as a foreign corporation in Colorado so that he could then open bank accounts
        specifically for the use of obtaining fraud proceeds. Kimberley Tew then
        relied upon Michael’s efforts as a way to collect scheme proceeds while
        insulating herself from liability. ECF No. 341-1 (Log Entries # 139, 184, 193,
        292, 295, 299, 302, 313, 314, 318); United States v. Mirando, 768 F. App’x
        596, 598 (9th Cir. 2019) (affirming as reasonable exercise of discretion
        District Court’s finding that use of fake entity and associated bank account


                                           36


                                                                                           1049
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    37 of 58             pg
                                  1050 of 1354




        was sophisticated); United States v. Erwin, 426 F. App’x 425, 436-37 (6th Cir.
        2011) (affirming District Court’s reasoning that using knowledge of bank
        system to structure transactions to conceal scheme was among sophisticated
        means used to perpetrate fraud).

    •   Creation of Fake invoices. Kimberley Tew used her savvy at creating
        marketing presentations to create the sham invoices for MCG, Inc. that she
        then sent to Yioulos using the dummy MCG, Inc. account. She also routinely
        discussed the use of false invoices with Michael Tew. See, e.g., United States
        v. Tanke, 743 F.3d 1296, 1307 (9th Cir. 2014) (concluding that creation of
        fake invoices supported sophisticated means enhancement). Kimberley Tew
        directly discussed the need to create the false invoices and pushed Michael
        Tew to make them. See, e.g., ECF No. 341-1 (Log Entries # 173) (“He [Jon]
        needs to pay that invoice himself again today.”); Id. (Log Entries # 28, 46,
        140, 173, 332).

    •   Creation of fake email accounts. Kimberley Tew created the MCG, Inc. fake
        email account to further disguise her involvement in the submission of false
        invoices. This aspect of the scheme layered one deception on top of another in
        a way that shrewdly leveraged her deceptions for maximum effect. Michael
        Tew and Kimberley Tew was already deceiving the victim company by using
        false invoices. But they were also deceiving co-conspirator Jonathan Yioulos,
        telling him that the invoices were being submitted by third-parties who were
        extorting and blackmailing the Tews. That wasn’t true. It was part of an
        effort to disingenuously appeal to Yioulos’s desire for friendship. In reality,
        the emails were sent by either Michael or Kimberley Tew. ECF No. 341-1
        (Log Entries # 339 -341); cf. United States v. Milligan, 77 F. 4th 1008, 1013
        (D.C. Cir. 2023) (affirming finding of sophisticated means where defendant
        created fake email accounts to impersonate others).

    •   Recruitment of others. Kimberley Tew recruited others to help her perpetrate
        the scheme so that she could diffuse responsibility. She was directly
        responsible for trying to bring H.S. into the scheme and she successfully
        persuaded M.M. to let her use his bank account to receive fraudulent money,
        which was then forwarded Kimberley Tew in transactions designed to conceal
        their role. Cf. United States v. Snow, 663 F.3d 1156, 1164 (10th Cir. 2011)
        (affirming sophisticated means finding in scheme that involved defendant
        asking others to help in scheme).

    •   Cryptocurrency. Kimberley used her advanced knowledge of cryptocurrency
        to help herself and Michael Tew hide scheme proceeds, quickly spend them,


                                           37


                                                                                              1050
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    38 of 58              pg
                                  1051 of 1354




       and to reward co-conspirators like Yioulos. ECF No. 341-1 (Log Entries # 139,
       171, 185, 197, 201, 283, 286, 291, 304, 308, 345). M.M. testified at trial that
       Kimberley used cryptocurrency platforms to eventually the money fraud
       money that was deposited into M.M.’s account by the Victim Company as
       part of the scheme. And it was Kimberley’s perceived prowess at crypto
       investing that helped induce Yioulos’s participation. See, e.g., Id. (Log Entry #
       256).

       Even if any single transaction might be viewed as unsophisticated, the

 relentless, intricate, and coordinated nature of the overall conduct is more than

 sufficient to make the scheme — which evaded detection by the victim company’s

 accounting staff for two years through dozens of transactions that sometimes

 required multiple false invoices, the use of six different fake vendors, and dozens of

 bank accounts — an especially complex one. United States v. Weiss, 630 F.3d 1263,

 1279 (10th Cir. 2010) (explaining that “Guidelines do not require every step of the

 defendant’s scheme to be particularly sophisticated” and quoting opinions in other

 districts for principle that scheme as a whole can be sophisticated where it involves

 repetitive and coordinated conduct that links several steps to exploit vulnerabilities

 and avoid detection); Cf. United States v. Hogeland, No. 10-cr-0061, 2012 WL

 4868904, at *6 (D. Minn. Oct. 15, 2012) (finding sophisticated means in remarkably

 similar wire fraud scheme perpetrated that victimized logistics company through

 submission of fraudulent invoices from multiple fake vendors), affirmed on other

 grounds United States v. Bennett, 765 F.3d 887, 899 (8th Cir. 2024); United States v.

 Horob, 735 F.3d 866, 872 (9th Cir. 2013) (affirming finding of sophisticated means

 where defendant “manipulated several people to lie for him, used several different


                                           38


                                                                                               1051
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    39 of 58           pg
                                  1052 of 1354




 bank accounts (including accounts of other people) to move funds around, and

 fabricated numerous documents. Moreover, the complicated and fabricated paper

 trail made discovery of his fraud difficult”).

                3.   Kimberley Tew led Michael Tew’s efforts, organized them,
                     and encouraged them, all while seeking other
                     opportunities to expand the scheme by using others

        Leadership can be manifold: criminal conspiracies are often

 compartmentalized, with each conspirator exercising entrepreneurial verve within a

 delimited area of responsibility. The court and can and should apply the

 enhancement to both Michael and Kimberley Tew because each organized and led

 different aspects of the fraud. U.S.S.G. § 3B1.1 cmt. app. note 4 (“There can, of

 course, be more than one person who qualifies as a leader or organizers or a

 criminal association or conspiracy); United States v. Valdez-Arieta, 127 F.3d 1267,

 1271 (10th Cir. 1997) (noting this feature of guidelines and going on to conclude

 that someone can be subject to this enhancement even if he or she has no

 underlings: it’s enough to have an organizing role and there can be many

 organizers).

    •   Recruiting of Accomplices. Kimberley Tew started the scheme, encouraged it,
        maintained it, demanded that Michael Tew be a part of it, and recruited
        M.M. to help with it. She was directly responsible for turning Michael to
        crime to maintain her lifestyle and subsidize her gambling. See, e.g., ECF No.
        341-1 (Log Entries # 301, 304, 332). She used the same tactics that Michael
        used against Yioulos. She threatened Michael with jail. “I’m going to jail if I
        don’t get you money. That’s what you said,” Michael told Kimberley in April
        2019. ECF No. 341-1 (Log Entry # 162). She manipulated his desire for family
        and ridiculed him as a provider: “why don’t you ever think about your


                                            39


                                                                                            1052
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    40 of 58            pg
                                  1053 of 1354




        family?” she pointedly accused him in June 2019 as part of an effort to prod
        him to ask Yioulos for money. Id. (Log Entry #192); see also Id. (Log Entry #
        370) (suggesting that Michael Tew didn’t want to be in the family because of
        his reluctance to involve his friend in a criminal conspiracy). At other times,
        stressed over her inability to pay her debts, she overrode Michael’s stirring
        conscience. Michael reminded Kimberley they had promised to give Yioulos
        his expected bitcoin and that Yioulos had already sent them money. But
        Kimberley wanted more, ridiculing Michael for “freaking” and coldly ignoring
        Michael’s questioning about “why do we purposely fuck hom [sic] over?” Id.
        (Log Entry # 249); see also Id. (Log Entry # 364) (encouraging Michael to
        encourage Yioulos to commit fraud despite Yioulos’s desire to stop). She also
        pondered the possibility that Michael Tew might try to help his friend by
        engaging in self-sabotage and took active steps to warn Michael against it. Id.
        (Log Entry #177). All of this is consistent with leadership. Cf. United States v.
        Clark, 747 F.3d 890, 897 (D.C. Cir. 2014) (finding enhancement could apply
        where defendant controlled another criminal participant). In addition to her
        own husband, Kimberley Tew was also directly responsible for recruiting
        M.M. to open a bank account into which she and Michael Tew could deposit
        fraudulent proceeds. United States v. Yarnell, 129 F.3d 1127, 1139 (10th Cir.
        1997) (concluding that defendant was leader or organizer of scheme). She also
        tried, unsuccessfully, to recruit H.S.

    •   Obtaining unwitting services of third parties. Kimberley Tew encouraged,
        supervised, and organized the participation of her own mother, who agreed to
        let the Tews use her bank accounts and cryptocurrency trading accounts.
        Kimberley Tew used her own mother to further the fraud by using those
        accounts to obtain and dissipate fraud proceeds, thereby furthering her own
        fraud while circumventing anti-money laundering controls put in place by the
        banks to stop exactly that. See, e.g., ECF No. 341-1 (Log Entries #159, 160,
        162, 166, 168, 171, 176, 177, 194, 197, 205, 262, 264) Cf. United States v.
        Byrd, 690 F. App’x 892, 894 (6th Cir. 2017).

    •   Nature of Participation. Kimberley Tew was the driving force behind the
        fraud. She was the one who initiated it, using Michael Tew’s corporate card to
        pay off her debts and then, when that was shut down, encouraging Michael to
        commit the invoicing fraud to keep paying those debts, to subsidize her
        gambling, and to finance their lifestyle. See, e.g., Id. (Log Entry # 178)
        (criticizing Michael Tew for not making enough money and directing Michael
        to tell Yioulos “to just pay the invoice again himself.”). The evidence shows
        that she was the one who decided when Michael would ask for money,
        directing him to make the requests to Yioulos. See, e.g., ECF No. 341-1 (Log


                                           40


                                                                                             1053
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    41 of 58             pg
                                  1054 of 1354




        Entries # 139, 178, 185, 192, 197, 249, 260, 274, 276, 279, 283, 288, 291, 304,
        308, 330, 334, 348, 364, 368). And she kept track of how much Yioulos had
        sent to them. See, e.g., Id. 1 (Log Entry # 311). It is difficult to find examples
        of fraudulent payments made entirely on Michael Tew’s initiative: it appears,
        instead, that Michael — and thus Yioulos — acted only when Kimberley
        expressed a need for money. Cf. United States v. Atkins, 881 F.3d 621, 628
        (8th Cir. 2018) (concluding that there was no error in applying enhancement
        to defendant who planned timing and frequency of fictitious transactions as
        well as amount of fraudulent proceeds in each payment); United States v.
        Byrd, 690 F. App’x 892, 895 (6th Cir. 2017) (affirming District Court’s
        application of enhancement to defendant whose accomplice testified that he
        took instructions from defendant and took no action without approval).

    •   Planning and Organizing of Offense. Kimberley Tew, in conjunction with
        Michael Tew planned and organized the use of the various different vendors
        to maintain the scheme over the course of two years. She helped plan and
        organize the use of sham vendors HS CPA, MCG, Inc. and 5530 JD using the
        names of her friends and crypto-trading associations. She organized much of
        the complex banking that helped them evade detection, giving Michael Tew
        detailed directions on how to money their money between and among fiat and
        cryptocurrency accounts belonging to her, her family, and her associates. See,
        e.g., ECF No. 341-1 (Log Entries # 153, 167, 168, 171, 173, 177, 178, 182, 185,
        189, 197, 202, 255, 261, 264, 276, 281, 282, 291, 302, 311, 332, 334, 343, 348,
        356, 363, 366). And she designed their plan for what they would do if they
        ever got caught: turn in one of them so that other could escape. See id. (Log
        Entry # 338). She also helped plot the scenarios that would frighten Yioulos
        the most, helping to stimulate his consistent involvement. See, e.g., id. (Log
        Entry #129, 341). And she advised Michael not to send sham agreements in
        addition to the sham invoices. Id. (Log Entry # 59).

    •   Claimed Right to Proceeds. Michael Tew and Kimberley Tew controlled and
        laid claim to the vast majority of the millions taken as a result of the scheme.
        Cf. United States v. Brown, 293 F. App’x 826, 830 (2d Cir. 2008) (concluding
        that District Court was reasonable in applying leadership enhancement
        where defendant paid coconspirators only a small fraction of amount he kept
        for himself); United States v. Tookes, 456 F. App’x 159, 163 (3d Cir. 2012)
        (finding no error in application of enhancement where defendant recruited co-
        conspirators, directed their actions, and maintained sole control of assets and
        proceeds of fraud). Although she tried to claim at trial that Michael controlled
        the bank accounts that received the proceeds, any suggestion that she did not
        control where the proceeds went is belied by the copious text messages in


                                            41


                                                                                              1054
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    42 of 58              pg
                                  1055 of 1354




       which she give Michael detailed demands on where the money should go. See,
       e.g., ECF No. 341-1 (Log Entries # 153, 167, 168, 171, 173, 177, 178, 182, 185,
       189, 197, 202, 255, 261, 264, 276, 281, 282, 291, 302, 311, 332, 334, 343, 348,
       356, 363, 366).

       But for Kimberley Tew’s relentless requests for money, her constant cajoling

 of others to carry out the scheme, and her ability to recruit others to participate,

 this scheme would not have been successful for two years. The court should

 recognize the criminogenic nature of Kimberley Tew’s conduct and apply the

 enhancement.

              4.     Kimberley Tew repeatedly attempted to obstruct justice in
                     order to avoid accountability

       Kimberley Tew did exactly what the Guidelines describe as the kind of thing

 that should result in an enhancement for obstruction: “threatening, intimidating, or

 otherwise unlawfully influencing a co-defendant [or] witness . . . directly or

 indirectly, or attempting to do so” and “destroying . . . evidence that is material to

 an official investigation or judicial proceeding . . . or attempting to do so.” U.S.S.G. §

 3C1.1 cmt. app. n. 4(A) & 4(D).

       Kimberley’s audio-recorded efforts to convince Michael Tew not to cooperate

 against her constitutes obstruction under the Guidelines. The fact that it involved

 two members of the same family is legally irrelevant. United States v. Hesser, 800

 F.3d 1310 (11th Cir. 2015) explains why. In that case, the Eleventh Circuit affirmed

 an obstruction enhancement for a husband who asked his wife to “go over” her

 testimony and, when she refused, told her “if you don’t want to help, I’ll know whose


                                            42


                                                                                               1055
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    43 of 58              pg
                                  1056 of 1354




 head to lop off.” Id. at 1331. The defendant later told his children that their mother

 was betraying them by working for the government. Id. The defendant argued that

 the comments were part of a domestic spat. The district court disagreed and the

 Eleventh Circuit affirmed. Id. Kimberley’s self-interested use of their children to

 cajole Michael into leaving a meeting with federal agents is different only in its

 particulars, not in its intent or consequences. Hesser is not an outlier. Courts have

 had no trouble concluding that spouses can obstruct justice by making efforts to

 stymie cooperation. See also United States v. Pofahl, 990 F.2d 1456, 1481 (5th Cir.

 1993) (describing defendant’s effort to obstruct justice by writing husband letter

 imploring him to stop providing information to authorities); cf. United States v.

 Bingham, 81 F.3d 617, 632 (6th Cir. 1996) (concluding that letters by defendant to

 co-defendant girlfriend were obstructive effort to influence decision whether to

 plead guilty).

       An effort to obstruct does not have to be successful to evince contempt for the

 law and the need for additional punishment. An attempt is sufficient. Even if the

 Court is unpersuaded that Kimberley Tew stopped her husband from cooperating,

 Kimberley Tew’s unsuccessful efforts to persuade H.S. not to speak to law

 enforcement independently justifies application of the obstruction enhancement.

 United States v. Pinkney, 552 F. App’x 512, 515 (6th Cir. 2014)

       Kimberley’s deletion of text messages also independently justifies the

 sentencing enhancement.


                                           43


                                                                                               1056
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    44 of 58              pg
                                  1057 of 1354




               5.    The range of 121-151 months recommended by the
                     guidelines provides a rough approximation of the kind of
                     sentence that is sufficient but not greater than necessary
                     to accomplish the goals of criminal justice

       The defendant has no known criminal history. At Offense Level 32, the

 Sentencing Guidelines recommend a sentence between 121 and 151 months’

 imprisonment. U.S.S.G.§ 1B1.1(a)(7); U.S.S.G. ch. 5 pt.A. This range is, by itself,

 one of the factors the Court should consider before imposing a sentence. 18 U.S.C. §

 3553(a)(4).

       The Guideline range is not mandatory, but it should be a persuasive

 background consideration for organizing and thinking about sentencing in this case.

 As the Supreme Court has advised, the sentencing range provides a useful

 framework for evaluating all of the various sentencing factors in one conclusive

 gestalt because it provides a “rough approximation” of sentences that will achieve

 all of § 3553(a)’s objectives. Rita v. United States, 551 U.S. 338, 350 (2007); United

 States v. Kristl, 437 F.3d 1050, 1054 (10th Cir. 2006). For this reason, sentences

 within the Guideline range are presumed to be reasonable on appeal. Kristl, 437

 F.3d at 1054. Furthermore, a sentence within the range satisfies not just one factor

 but two: sentencing within the range is the best way to avoid an unwarranted

 sentencing disparity as required by 18 U.S.C. § 3553(a)(6). Id. (describing how

 Guidelines remain essential tool for creating a fair and uniform sentencing regime

 across the country). The Recommended Sentence is thus supported by two of the

 statutory sentencing factors.

                                           44


                                                                                               1057
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    45 of 58            pg
                                  1058 of 1354




       But set the Guidelines aside for a moment. As set forth in more detail below

 the conclusion that the Guidelines independently urge in this case — a sentence

 between 121-151 months — is not an abstract or academic one. The particular facts

 of this case viewed through the prism of § 3553(a) fully support the Recommended

 Sentence of 151 months.

       B.     The brazen and callous nature of a serious crime that imposed
              substantial financial and emotional harm under privileged
              circumstances fully support the Recommended Sentence (18
              U.S.C. § 3553(a)(1) and (a)2(A))

       Kimberley Tew was the animating force behind a two year crime spree that

 consumed everyone around her. The crime was born of greed. “I really really really

 don’t want to stress you out, but we are going to need more money,” she told

 Michael in October 2019. ECF No. 341-1 (Log Entry # 283). Quite simply, she never

 had enough money for the lifestyle she wanted, the crypto-business accolades to

 which she thought she was entitled, or the gambling wagers she wanted to make.

 “It’s just not enough. With the negative accounts and bills we have to pay plus the

 car and AN [one of the investors to whom she owed money] that’s over 60K. It really

 leaves nothing for Vegas,” she complained. Id. To get money, she turned to crime,

 bringing her husband around with her. “I need you to work on Jon for sending

 today,” she told him. Id. She repeated this request over and over and over again.

 See, e.g., ECF No. 341-1 (Log Entries # 139, 178, 185, 192, 197, 249, 260, 274, 276,

 279, 283, 288, 291, 304, 308, 330, 334, 348, 364, 368). She did this despite being

 warned that what she was doing was 1000% fraud. Id. (Log Entry # 37). When she

                                           45


                                                                                             1058
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    46 of 58            pg
                                  1059 of 1354




 didn’t get her way, she ruthlessly threatened to destroy the lives around her. Id.

 (Log Entries # 59, 265, 317). She did this even to the people, like Michael Tew, she

 purported to love. Id. (Log Entry # 162). For two years, deceit became a central

 focus of her life.

        As with Michael Tew, nothing about Kimberley Tew’s decision to commit her

 crimes — and to bring others into it —arose out of some kind of moral, ethical, or

 professional dilemma. She wanted money so she took it. Without scruples. She took

 it from the Victim Company. She took it from investors. She took it from people she

 considered friends. She took it and then she gambled it away, always feeling

 entitled to more. See, e.g. Id. (Log Entry #342) (reporting to Michael that they did

 not have enough for rent and needed money from Yioulos to pay it). Nothing about

 the circumstances of her crime helps to contextualize, explain, or minimize it.

 Throughout this period the defendant lived in upper -class comfort, using income

 from the fraud to pay for a luxury apartment, fine dining, vacations, and cutting-

 edge couture. This was a crime of choice chosen deliberately and without regard for

 consequences.

        Federal wire fraud and money laundering crimes that inherently spill across

 state lines to infect interstate are already among the most serious of non-violent

 crimes a person can commit. But Kimberley Tew’s crime stands out. This was not a

 “one off” or an anomaly. It was a deliberate pattern of criminal behavior carried out

 over a long period of time. This makes it more serious than most theft crimes. The


                                           46


                                                                                             1059
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    47 of 58           pg
                                  1060 of 1354




 loss amount of more than $5,000,000 also makes it more serious. In 2022 the

 median loss amount for federal fraud offenders was $160,737 and only 17.5%

 involved losses of more than $1.5 million. The defendant’s crime is likely among the

 most serious that will be evaluated by all federal courts this year. Quick Facts,

 Fiscal Year 2022, available at https://www.ussc.gov/sites/default/files/pdf/

 research-and-publications/quick-facts/Theft_Property_Destruction_Fraud_FY22.pdf

 (accessed on March 7, 2024) (“Quick Facts”). Everything else about the crime — its

 complicated nature and broad scope, its corruption of the banking system, its

 contempt for the criminal justice process, its criminogenic tendency to ensnare

 others in criminal behavior, and its blithe disregard for consequences — makes it

 worse.

          The nature of the crime is serious and nothing about its circumstances makes

 it sympathetic or deserving of leniency. This factor weighs heavily in favor of the

 Recommended Sentence.

          C.    Nothing about the defendant’s history warrants less
                punishment and everything about the characteristics she
                demonstrated while committing the crime support the
                Recommended Sentence (18 U.S.C. § 3553(a)(1)

          Kimberley Tew’s pursuit of money came at everyone else’s expense. She was

 a college-educated and tech-savvy entrepreneur who could have made an extremely

 comfortable living by working hard. She didn’t do that. Instead, she myopically

 pursued her own selfish desires through crime. For example, she once gambled so

 much in Vegas that she and her family risked being stranded without the money to

                                           47


                                                                                            1060
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    48 of 58              pg
                                  1061 of 1354




 buy tickets home and then had to beg Michael for another execution of their fraud.

 ECF No. 341-1 (Log Entries # 297 and 301). There is nothing about the defendant’s

 background that mitigates, explains or contextualizes her criminal behavior.

 “Criminals who have the education and training that enables people to make a

 decent living without resorting to crime are more rather than less culpable than

 their desperately poor and deprived brethren in crime.” United States v. Stefonek,

 179 F.3d 1030, 1038 (7th Cir. 1999).

       To commit, continue, and conceal her crime for two years Kimberley Tew had

 to exhibit characteristics that were particularly cruel and callous. She convinced

 Michael to treat Yioulos with derision and contempt. ECF No. 341-1 (Log Entry #

 242, 317). When Michael Tew wouldn’t commit fraud for her, she threatened to

 make him responsible for all of her schemes including her cryptocurrency fraud. Id.

 (Log Entry # 177 ) (featuring Kimberley threatening to tell “everyone you are

 holding the crypto,” and telling Michael he was “useless”). She did this even after

 Michael strongly suggested they needed to stop committing fraud, telling her that

 they needed to make realistic deals to get out of debit and “move on.” Id. (Log Entry

 # 129). She, just like Michael, layered one lie on top of another: she lied to Yioulos

 about being threatened by others and she lied to Yioulos about invoices being

 submitted to Yioulos by M.M. and C.R. Id. (Log Entry #37, 115). The Court will

 have to evaluate whether she even lied in the middle of her prosecution by asking

 for counsel, intended for the indigent and those in true need, while pocketing tens of


                                            48


                                                                                               1061
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    49 of 58           pg
                                  1062 of 1354




 thousands of dollars.

       The Recommended Sentence, which is at the very top of the advisory

 guideline range, takes into account the lack of any mitigating factors here. The

 defendant has no criminal history, but the guidelines already take that into

 account. Quick Facts (noting that 70.6% of offenders sentenced using § 2B1.1 of the

 Guidelines were in Criminal History Category I); Cf. United States v. McClatchey,

 316 F.3d 1122, 1135 (10th Cir. 2003) (noting, in context of disfavored Guideline

 departure at U.S.S.G. § 5H1.11, that it expects district courts to view good character

 references with skepticism in sentencing executives who commit white-collar

 offenses); Stefonek, 179 F.3d at 1038 (emphasizing that district judges should not

 impose ‘middle class’ sentencing discount and then explaining, by reference to

 U.S.S.G. 5H1.10, that “[b]usiness criminals are not to be treated more leniently

 than members of the “criminal class” just by virtue of being regularly employed or

 otherwise productively engaged in lawful economic activity.”)

       Kimberley Tew’s criminal appetite appears to be driven by an untreated

 gambling addiction, but she had numerous opportunities, loving support, and

 adequate resources to attend treatment. She made a deliberate choice not to do so,

 consciously embracing and selecting the thrill of the tables over the costs it imposed

 on others. See, e.g., ECF No. 341-1 (Log Entry # 301) (refusing to come up from

 gaming floor and, instead, asking Michael for another execution of the fraud scheme

 so that Kimberley would be “more comfortable”). Her threats were non-violent, but


                                           49


                                                                                            1062
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    50 of 58           pg
                                  1063 of 1354




 they were malicious: she cynically tried to use the government and — ultimately —

 judicial consequences as a bludgeon to keep her drafted minions in line.

       Kimberley Tew’s cynical views of the criminal justice system manifested

 themselves in other ways. Evidence shows she believed that she had the power to

 get immunity for herself or for others so that they could escape from consequences.

 Id. (Log Entry # 338).

       Kimberley Tew committed the crime knowing that getting caught would

 mean she faced the very realistic possibility of being incarcerated during the

 childhoods of her two daughters. This consequence — unimaginable to many — did

 nothing to deter her lies or encourage her to make different choices. Rather, she

 weaponized the plight of her children to stop her husband from trying to make

 things right.

       The Recommended Sentence reflects that fact that the Guidelines were

 created, in part, to help address the concern that white-collar offenders received

 special treatment and “frequently do not receive sentences that reflect the

 seriousness of their offenses.” S. Rep. No. 98-225 (1983), reprinted in 1984

 U.S.C.C.A.N. 3182, 3260. A sentence outside the Guidelines range would create

 disparities with other types of offenders that would simply reinforce this perception

 of special treatment and thus undermine deterrence and respect for the law. United

 States v. Kuhlman, 711 F.3d 1321, 1329 (11th Cir. 2013) (“The Sentencing

 Guidelines authorize no special sentencing discounts on account of economic or


                                           50


                                                                                            1063
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    51 of 58            pg
                                  1064 of 1354




 social status.”); United States v. D’Amico, 496 F.3d 95, 107 (1st Cir. 2007)

 (explaining that lower sentences for white collar criminals contradicts purpose of

 Guidelines), reversed on other grounds, D’Amico v. United States, 522 U.S. 1173

 (2008).

       The Recommended Sentence takes into account the personal characteristics

 that combined to turn Kimberley Tew into the leader of a multi-year multi-million

 dollar conspiracy.

       D.     The Recommended Sentence would deter Kimberley Tew from
              committing other crimes while deterring other would-be
              fraudsters from tearing at the bonds of trust that are vital to
              our general prosperity

       The nature and circumstances of the crime, combined with the characteristics

 the defendant exhibited to carry it out, make a strong a strong case for concluding

 that she is the Holmesian bad actor personified: the kind of person who “cares

 nothing for an ethical rule which is believed and practiced by his neighbors” but

 who “is likely to care a good deal to avoid being made to pay money, and will want

 to keep out of jail if he can.” Oliver Wendell Holmes, The Path of the Law, 10 Harv.

 L. Rev. 458, 459 (1897). That is, she is precisely the kind of person who can be

 deterred only if she can accurately predict that courts will impose a lengthy prison

 sentence for her conduct.

       Specific deterrence supports the Recommend Sentence. Everything known

 about the crime, its circumstances, and the defendant’s characteristics suggest that

 Kimberley Tew is exactly what she has never denied: a gambler seeking the thrill

                                           51


                                                                                             1064
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    52 of 58            pg
                                  1065 of 1354




 that comes from beating the odds (or the boost from imagining you are so smart the

 normal odds don’t even apply to you) — the kind of person who rationalizes the

 odds, balances the probability and size of the reward against the risks of failure,

 and then makes her wager. The sentence in this case should convince her that the

 house always wins.

       The sentence in this case should also do what appeals to her conscience by

 friends and the specter of being unavailable for her children could not: alter the

 defendant’s decision calculus so that the consequences, discounted by the likelihood

 of getting caught, outweigh the perceived benefits. See Richard A. Posner, Economic

 Analysis of the Law 256 (9th ed. 2014) (Attachment 1).

       Research indicates that the Recommended Sentence is likely to have that

 effect. United States Sentencing Commission, Length of Incarceration and

 Recidivism at 4 (April 2020), available at https://www.ussc.gov/sites/default/

 files/pdf/research-and-publications/research-publications/2020/20200429

 _Recidivism-SentLength.pdf (last accessed March 13, 2024) (finding significant

 deterrent effect to sentences of more than 60 months); See Loughran et al., Can

 Rational Choice Theory Be Considered a General Theory of Crime? Evidence from

 Individual-Level Panel Data, 54 Criminology 86, 107 (2016) (finding that criminals

 “act in accordance with anticipated rewards and costs of offending”) (Attachment 2).

       Anything less than the Recommended Sentence would also undermine

 general deterrence. “Defendants in white collar crimes often calculate the financial


                                           52


                                                                                             1065
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    53 of 58               pg
                                  1066 of 1354




 gain and risk of loss, and white collar crime can therefore be affected and reduced

 with serious punishment.” United States v. Martin, 455 F.3d 1227, 1240 (11th Cir.

 2006); United States v. Sample, 901 F.3d 1196, 1200 (10th Cir. 2018) (citing cases

 and Congressional findings supporting the deterrent effect of prison on white collar

 crime).

       Kimberley Tew calculated here that stealing over $5 million was “worth it,”

 once she discounted the likelihood she’d be caught and the high probability that she

 could hold on to large sums of that money by offshoring it on cryptocurrency

 platforms. Anyone else who thinks that they can take millions and then obtain

 immunity or otherwise hack the justice system to get away with it —other would-be

 criminal millionaires weighing the possibly enormous gains of fraud against the

 likely consequences, discounted by the likelihood of detection — should be able to

 look at the sentence in this case and rationally conclude that the crime is not worth

 it (taking into account the remarkably resilient ability of individuals to believe that

 they are above average and that they can avoid the pitfalls that led others to be

 caught).

       The Court should also consider the possibility that the defendant is simply

 not deterrable. In this case, the defendant kept committing fraud (1) in the shadow

 of constant paranoia regarding whether Yioulos was a “rat” who would turn her in,

 (2) after she found out that the FBI had contacted the Victim Company, and (3) in

 background circumstances of substantial financial security that would leave almost


                                           53


                                                                                                1066
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    54 of 58             pg
                                  1067 of 1354




 anybody content. Then, after being indicted and despite being aware that she faced

 years in prison, the defendant’s internal decision calculus somehow computed that

 the gains of applying for CJA counsel through the same judge who would eventually

 sentence her outweighed the potential consequences. If the defendant cannot be

 deterred from committing fraud in a situation almost custom-built to do exactly that

 — supervision by federal pretrial services while confronting the extremely high

 likelihood of a conviction and the resulting serious sentence — it is difficult to

 imagine what could deter her from lying for personal benefit.

       If the defendant cannot be deterred, only the Recommended Sentence will be

 sufficient, but not greater than necessary, to protect the public from further crimes

 of the defendant. 18 U.S.C. § 3553(a)(2)C). This is all the more true when the

 defendant at issue has extensive experience and knowledge regarding most effective

 means and methods for committing financial crime. She knows how to create and

 use a shell corporation, how to manipulate bank procedures to avoid anti-money

 laundering protocols, how to use and maintain digital aliases, the most effective

 ways to recruit and retain accomplices, how to create other fake documents, how to

 use offshore cryptocurrency platforms to hold on to any ill-gotten gains, and how to

 use all of these means to defraud others. The only way to ensure she is not tempted

 to use this knowledge to immediately enrich herself — or take stake another wager

 as part of another criminal venture — is a lengthy sentence of imprisonment.




                                            54


                                                                                              1067
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    55 of 58           pg
                                  1068 of 1354




        E.    Only the Recommended Sentence would impose just
              punishment and instill respect for the law from a defendant
              who has treated it with contempt

        Imposing the Recommended Sentence would mean that the defendant

 receives one year of prison for approximately every $404,310 she stole. Even spread

 across a sentence longer than Michael Tew’s, that’s still one year of prison for

 taking more than most people in the United States will earn in over five years while

 following the law. And that simple calculus does not include qualitative aspects of

 the crime, like her callous manipulation of others. Approximately twelve-and-a-half

 years, given all of the circumstances, is just punishment that “reflects the gravity of

 the offense” and “takes into account the cost of the defendant’s criminal conduct and

 the cost society must undertake to punish that offense.” Simon v. United States, 361

 F. Supp. 2d 35, 44 (E.D.N.Y. 2005) (interpreting this § 3553(a) factor with support

 from legislative history and circuit precedent).

        The Recommended Sentence would also promote the respect for the law that

 Kimberley Tew held in contempt throughout the conspiracy and during the

 pendency of his criminal prosecution.

 III.   CONCLUSION

        “I don’t care if we all go down,” Kimberley once told Michael in a moment of

 candor. ECF No. 341-1 (Log Entry # 317). And she didn’t: all of the evidence shows

 that Kimberley lied for years with no remorse. If she had regrets, it was that the

 people around her failed to give ger more money. Id. (Log Entries # 129, 192, 267,


                                           55


                                                                                            1068
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    56 of 58             pg
                                  1069 of 1354




 283, 340, 341, 367). In just two years she managed to ruin several lives and

 squander a stolen fortune. Then she applied the same tactics she had used to

 perpetrate the fraud to target the justice system itself, targeting its witnesses,

 mechanisms and objectives. She lived a life that was 1000% fraud. She deserves a

 sentence that is at least 100% of what our judicial system, through the Sentencing

 Commission, demands of everyone else in a similar circumstance. For all of the

 reasons set forth above, the Recommended Sentence is sufficient, but not greater

 than necessary, to achieve all the goals of criminal justice set forth at 18 U.S.C. §

 3553(a).

                                         Respectfully submitted,

                                         COLE FINEGAN
                                         United States Attorney

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 Certification of Type-Volume Limitation

        Judge Domenico’s Practice Standard III(A)(1) does not impose a type-volume
 limitation on sentencing statements.

                                                       /s Bryan Fields
                                                       Bryan David Fields

 Statement of Speedy Trial Impact

                                           56


                                                                                              1069
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    57 of 58            pg
                                  1070 of 1354




        Pursuant to Judge Domenico’s Practice Standard III(C), the government
 notes that this motion will not affect the speedy trial clock in this case because trial
 has already occurred within the Speedy Trial Act deadline.




                                            57


                                                                                             1070
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         459 filed
                                               Filed01/24/25
                                                     03/14/24 USDC
                                                               Page Colorado
                                                                    58 of 58               pg
                                  1071 of 1354




                            CERTIFICATE OF SERVICE

               I certify that on this 14th day of March, 2024 I electronically filed the
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                                                     01/24/25
                                                         03/14/24USDC
                                                                   Page
                                                                      Colorado
                                                                        1 of 8   pg
                                  1072 of 1354


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  ECONOMIC ANALYSIS OF LAW

  NINTH EDITION




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 Senior Lecturer, University of Chicago Law School




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                                                         03/14/24USDC
                                                                   Page
                                                                      Colorado
                                                                        2 of 8                             pg
                                  1073 of 1354




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                                                      01/24/25
                                                          03/14/24USDC
                                                                    Page
                                                                       Colorado
                                                                         3 of 8                  pg
                                   1074 of 1354




    CHAPTER 7

                             1
    CRIMINAL LA w




        The Economic Nature and Function
        of Criminal Law


   The types of wrongful conduct examined in previous chapters, mainly torts
 and breaches of contract, subject the wrongdoer to having to pay money
   damages to his victim, or sometimes to being prohibited (that is, enjoined),
., on pain of being sanctioned for contempt of court, from continuing or
   repeating the wrong-but only if the victim sues. Crimes are prosecuted
•by the state, however, and the criminal is ordered to pay a fine to the state or
• to suffer a non pecuniary sanction such as being imprisoned. Trial procedure
js also different in the two kinds of case, but examination of the procedural
   differences is deferred to Chapter 22. For now our interest is in why there
  should be distinctive sanctions, sought by the state, for some types of wrong-
  doing and what substantive doctrines such sanctions entail.
     Five principal types of wrongful conduct are made criminal in the
  American legal system.

   1. Intentional torts, examined in the last chapter, that represent a pure
coercive transfer either of wealth or of utility from victim to wrongdoer.
Murder, robbery, burglary, larceny, rape, assault and battery, mayhem,
theft by false pretenses, and most other crimes that, like these, were punish-
able under the English common law correspond to such intentional torts as
assault, battery, tre~pass, and conversion, although we shall see that the
requirements concerning the defendant's state of mind and the presence
of an actual injury sometimes differ for the criminal counterpart of the
intentional tort. Here, however, are some problematic examples of crime
as pure coercive transfer:


  1. On the rules and principles, respectively, of criminal law, see Wayne R. LaFave, Criminal
Law (4th ed. 2003), and Ronald N. Boyce, Donald A. Drips & Rollin M. Perkins, Criminal Law
and Procedure: Cases and Materials (9th ed. 2004) (both on rules); and H.L.A. Hart, Pun-
ishment and Responsibility: Essays in the Philosophy of Law (1968), and George P. Fletcher,
Rethinking Criminal Law (2d ed. 2000) (both on principles).
                                                                                                      1074
                                                                                         253
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDD Document
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                                         459-1 filed
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                                                     01/24/25
                                                         03/14/24USDC
                                                                   Page
                                                                      Colorado
                                                                        4 of 8               pg
                                  1075 of 1354


  254                                                          Chapter 7.   Criminal Law

      ( 1) Counterfeiting can be viewed as a form of theft by false pretenses - the        the divorce ra
   pretense being that the payor is paying with legal tender. If the counterfeiting is     is harder if th,
   discovered, the victim is whoever ends up holding the worthless currency. Ifit is       correlation b<
   not discovered, the loss is more widely diffused. Since counterfeiting increases        until recently,
   the amount of money in circulation relative to the total stock of goods and             took their ph
  services in society, everyone's money is worth less (inflation); everyone but the           The reason
  counterfeiter, and a debtor whose repayment obligation is in fixed dollar                For example,
   terms, is a loser. More important-for unless counterfeiting is widespread the           their improw
  effect on the supply of money will be slight- counterfeiting imposes dead-               control over '
  weight costs in the form of the counterfeiter's tools and time (anq ~es,ulting loss      their childre1
  of productive employment) and of self-protective m~.(L'{1+res)bf merchant.s1             untary intero
  banks, and other enterprises that receive morify,from tlie public .. •                   course effect
      (2) Rape bypasses the marketin sexual relati6ns (marit9Jand otherwise) in            disrupt the w
  the same way that theft bypasses markets in ordinary goods and services. But                 Continuin:
  some rapists derive extra pleasure from the fact that the woman has not                  makes crimir
  consented. For these rapists there is no market substitute - market transac-
  tion costs are prohibitive-and an economist might therefore argue that for                 2. Deliben
  them rape is not a pure coercive transfer and should not be punished if the              fixing (on wl
  pleasure to the rapist (as measured by what he would be willing to pay-                  common law
  though not to the victim-for the right to rape) exceeds the victim's
  physical and emotional pain. There are practical objections, such as that                   3. Volunta
  these rapists are hard to distinguish empirically from mere thieves of sex;              know from C
  that giving them free rein would induce women to invest heavily in self-                 activities that
 protection, which would in turn incite heavy spending by rapists to overcome              pornography
  that investment; and that there is no objective method of measuring the                  services at pri
 rapist's utility and the victim's disutility for the purpose of deciding which            narcotics.
 is greater. But the fact that any sort of rape license is even thinkable within
 the framework of the wealth-maximization theory that guides the analysis in                  4. Certain
 this book is a limitation on the usefulness of that theory. What generates the            fully attempt
 possibility of a rape license is the fact that the rapist's utility is weighted the       tortious atter
 same as his victim's utility. If his utility were given a zero weight in the cal-         not injured;:
 culus of costs and benefits, a rape license could not be efficient. But such a
 weighting would be based on ethical rather than economic thinking.                          5. Conduc
     (3) Marital rape. 1 Until recently marriage was a complete defense to a               regulation. E
 charge of rape. In a society that prizes premarital virginity and marital chas-           concealing a
 tity, the cardinal harm from rape is the destruction of those goods and is not •
 inflicted by marital rape. In such societies the seduction of a married woman               Why, th01:
 is a more serious crime than rape, as it is more likely to produce children -             leaps to mim
 and they will not be the husband's. In such societies, moreover, the main                 answer; we o
 services that a wife contributes to the marriage are sexual and procreative1              punitive dan
 and to deprive her husband of these services is to strike at the heart of the             ficultwhen tl
 II1:arriage. A right to demand something does not entail a right to take it by            wrongdoer. J
 force, but it can dilute the felt impropriety of force. Furthermore, the lower            difficulty of 1
                                                                                           crimes as wel
                                                                                           be collectibli
    §7.1   1. See Richard A. Posner, Sex and Reason, ch. 14 (1992).                        that don't
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                                                        01/24/25
                                                            03/14/24USDC
                                                                      Page
                                                                         Colorado
                                                                           5 of 8      pg
                                     1076 of 1354


 §7,1. The Economic Nature and Function of Criminal Law                         255

the divorce rate, the fewer separations there are; and proving lack of consent
is harder if the married couple is still together. The exception to the negative
correlation between divorce and separation is where, as in Catholic countries
until recently, divorce was forbidden but formal separations, often permanent,
wok their place.
   The reasons for not making marital rape a crime have lost force with time.
For example, the increasing financial independence of women, based on
their improved access to the labor market, has increased their demand for
control over their reproductive capacity, so that the timing and number of
their children are coordinated with their market career. Any form of, ~nvol-
untary intercourse impairs that control, at least in principle (f9r,)hir~- are of
course effective contraceptives), by creating the t:qrt';at,,of a\hfrth that,will
disrupt the woman's career.                                        , _  0
                                                                            ,


   Continuing with our typology of types of wrongful conduct that th~ law
makes criminal:                                                          ••
                                                                                              I,'
                                                                                              1:
                                                                                              I

   2. Deliberate commission of acts that reduce social welfare, such as price
fixing (on which see Chapters 9-10), as may not have been recognized at
common law.

   3. Voluntary, and therefore presumptively (but only presumptively, as we
know from Chapters 3 through 6) value-maximizing, exchanges involving
activities that the state has outlawed, such as prostitution, trafficking in child
pornography, selling babies for adoption, selling regulated transportation
services at prices not listed in the carrier's published tariffs, and trafficking in           i
                                                                                               I,
narcotics.                                                                                     I




   4. Certain menacing but nontortious preparatory acts, such as unsuccess-
fully attempting or conspiring to murder someone when the elements of a
tortious attempt are missing (as they would be if, for example, the victim was
not injured and didn't even know of the attempt when it was made).

  5. Conduct that if allowed would complicate other forms of common l3;w
regulation. Examples are leaving the scene of an accident and fraudulently
concealing assets from a judgment creditor.

   Why, though, can't all five categories be left to the tort law? An answer
leaps to mind for categories 3 and 4: No one is hurt. But this is a superficial
answer; we could allow whomever the law was intended to protect to sue for
                                                                                                    I
punitive damages. A better, but incomplete, answer is that detection is dif-                   ! !
                                                                                               j,
ficult when there is no victim to report the wrongdoing and testify against the
wrongdoer. Punitive damages can be adjusted upward to take account of the
difficulty of detection; in principle this device could take care of category 5
crimes as well. But the higher the punitive damages, the less likely they are to
he collectible. Another question about categories 3 and 4 is, why punish acts
that don't hurt anybody? For category 3, the answer lies outside of
                                                                                            1076
   Case No.
         Case
            1:20-cr-00305-DDD
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                                          645-2
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                                                        01/24/25
                                                            03/14/24USDC
                                                                      Page
                                                                         Colorado
                                                                           6 of 8                        pg
                                     1077 of 1354

 256                                                              Chapter 7.     Criminal Law
                                                                                                      §7.1.    The Eo

  economics; it is difficult for an economist to understand why, if a crime is
                                                                                                         tortfeasor esc
  truly "victimless," the criminal should be punished-though of course
                                                                                                        $100,000. On:
  ostensibly victimless crimes may, like other contractual exchanges, have
                                                                                                        cost to the pre
  third-party effects; the sale of liquor to a drunk driver is an example.                                 Once dam;:
 For category 4, the answer is bound up with the question - to which we                                 discourage efl
 now turn -why tort law is not adequate to deal with categories I and 2                                 tionship betw<
  (coerced transfers in violation of common law or statutory principles).                               offset the defe
    We know from the last chapter that the proper sanction for a pure coercive                         exceed the tor
 transfer such as theft exceeds the law's estimate of the victim's loss-the                            society uses. (
 extra something being designed to confine transfers to the market wh.enever                           forms, such as
 market transaction costs are not prohibitive. 2 Damages equal to m,;irlzetvalue                       of concealme1
 would thus be inadequate even if the owner valued; the-good'itiquestion at its                        crimes. A third
 market price. He might well value it at a higher pdce (rerµe,mper that the                            punishment o
 market price is the value to the marginal, not the average, purchaser).                               before it occrn
 The law cannot readily measure subjective values, so this is an argument for                         policing is mor
 adding a hefty bonus to damages based on market value and thus for heavy                             to any moneta1
 punitive damages in a case of theft.                                                                 fines rather th
    In the case of crimes that cause death or even just a substantial risk of                         damages if the
 death, properly computed damages will often be astronomical. Recall from                                 When tort re
 Figure 6.3 in Chapter 6 the nonlinear relation between risk and full com-                            any punitive dai
 pensation for bearing the risk. The risk of being killed by accident is more or                      need to invoke
less randomly distributed throughout the population. But the risk of being                           civil penalties ei
murdered is concentrated on the relatively small number of people who                                antitrust and se
 constitute obstacles to the goals of persons willing to murder. The probabil-                       nally and sued ,
ity of those people being murdered may exceed the probability of their dying                         diets, for cases ii
accidentally, making the proper damages award greater than in the case ofa                           Itmightseem tl:
normal death, even a death caused by negligence.                                                     these cases wou
    We must also consider the effect of concealment on the correct level of                         than optimal, b<:
damages. Being for the most part a by-product of lawful, public activities,                         greater disutili~
accidents usually are difficult to conceal and breaches of contract usually                         rence the added
impossible to conceal. But someone who is deliberately endeavoring to take                          dants to hire ex1
something of value from someone else will naturally try to conceal what he is                       the defendant is
doing, and will often succeed because he has planned the concealment in                             punishment. M<
advance. A handy formula for deciding how much to award in damages if the                          having to pay a t
probability that the tortfeasor will actually be caught and forced to pay the                      wealth, may be ;;
damages is less than one is D = L/p, where Dis the optimal damages award, L                        tacts, etc.) that 12
the harm caused by the tortfeasor (including any aqjustment to discourage                              The decisive~
bypassing the market by coercing weal th transfers), and pthe probability of his                   that their wealt
being caught and made to pay D. If p = I, Land Dare the same amount. But if,                       damages becaw
for example, L = $10,000 and p = .I, meaning thafnine times out often the                          has through er:
                                                                                                   and the probab,
                                                                                                  percent. Then h
   2. Subject to two qualifications, discussed below at greater length. The first is that the     ficient to have d
wrongdoers be responsive to the higher monetary sanctions. If not, the design of a penalty
                                                                                                  $100 million. W1
structure is complicated. Second, if the costs of law enforcement are very high, it may make·
sense to shift some responsibility for crime prevention to potential victims of crime by light-
                                                                                                  award would no
ening penalties.                                                                                  imposition is les,
                                                                                                               1077
Case No.
      Case
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            1:20-cr-00305-DDD Document
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                                         459-1 filed
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                                                     01/24/25
                                                         03/14/24USDC
                                                                   Page
                                                                      Colorado
                                                                        7 of 8         pg
                                  1078 of 1354

§7,1.   The Economic Nature and Function of Criminal Law                       257

  tortfeasor escapes the clutches of the law, then D, the optimal penalty, is
  $100,000. Only if the penalty is jacked up to this level is the expected penalty
  cost to the prospective tortfeasor (pD) equal to the harm caused by his act (L).
     Once damages in the pure coercive transfer case are adjusted upward to
 discourage efforts to bypass the market, to give effect to the nonlinear rela-
 tionship between risk of death and compensation for bearing the risk, and to
 offset the defendant's efforts at concealment, the level of damages will often
 exceed the tortfeasor's ability to pay. Three responses are possible, all ofwhich
 society uses. One is to impose disutility on the criminal in nonmonetary
 forms, such as imprisonment or death. Another is to reduce the prol:>ability
 of concealment of the offense by maintaining a police fore~ t9Jnvestigate
 crimes. A third, which involves both the maintenarice of a poff,2e f~~ce and the
 punishment of preparatory acts (category 4), is to _'prevent SriTinal activity
 before it occurs. If, for reasons that will be discussed in Chkpter 23, public
 policing is more efficient than private, the state is the enforcer and ha.$:a claim
 to anymonetary penalties imposed. So these penalties are paid to the state as
 fines rather than to the victims of crime as damages. The victims can seek
 damages if the crime is also a tort, whether common law or statutory.
     When tort remedies are an adequate deterrent because damages, including
.:mypunitive damages, are within potential defendants' ability to pay, there is no
 need to invoke criminal penalties, which, as explained below, are costlier than
.civil penalties even when only a fine is imposed. Although in some cases, such as
antitrust and securities fraud, affluent defendants are both prosecuted crimi-
hally and sued civilly, criminal sanctions generally are reserved, as theory pre-
   icts, for cases in which the tort remedy bumps up against a solvency limitation.
  tmightseem that the doqble punishment (tort and criminal) of the affluent in
 ·.hese cases would produce excessive punishment (punishment more severe
  han optimal, because the added severity costs more to achieve, and/ orimposes
. reaterdisutility on the defendant, than the benefit in whatever slight deter-
fence the added severity produces). But wealth enables afiluen t criminal defen-
9ants to hire excellent lawyers, reducing the probability of conviction (even if
~he defendant is guilty) and hence the deterrent effect of the threat of criminal
 ·unishment. More important, a wealthy defendant who "gets away" with just
   aving to pay a tort judgment, even if the judgment confiscates all his existing
   ealth, may be able to recoup quickly because the human capital (skills, con-
 , cts, etc.) that generated that wealth remains intact.                         .
(The decisive argument for imposing criminal sanctions on the affluent is
• ,at their wealth, however great, may fall short of the optimal level of
    mages because of concealment of the offense. Suppose the defendant
    s through criminal violations of securities law amassed $100 million,
    d the probability of his being caught and subjected to a tort suit is 20
    rcent. Then his expected punishment cost is only $20 million and is insuf-
    ient to have deterred him from the criminal activities that brought him
    00 million. Which means that even the prospect of a $100 million damages
      rd would not be sufficient to deter him, because the probability of its
     position is less than 100 percent.
                                                                                            1078
Case No.
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                                         459-1 filed
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                                                     01/24/25
                                                         03/14/24USDC
                                                                   Page
                                                                      Colorado
                                                                        8 of 8                               pg
                                  1079 of 1354

          258                                                               Chapter 7.      Criminal Law
                                                                                                                         §

             The argument that the criminal law system is primarily (though not exclu-
          sively) designed for the nonaffluent is not refuted by the use of fines as a
                                                                                                                         fl
          criminal penalty. They generally are much lower than the corresponding
          tort damages, and even then are often forgiven because of the defendant's                                    1
          indigence.                                                                                                   a:

                                                                                                                       b
          §7 .2 Optimal Criminal Sanctions                                                                             ta
                                                                                                                       t1
                                                                                                                       m
         A person commits a crime because he thinks, though pftep. erroneously or in                                   ir
          the grip of madness, that the expecte_d bep.efitSJj'Whe'th~r pecuniary or emo-                               h;
          tional, exceed the expected costs. Mapy criminals J:iave a Jow IQ or psycho-                                el
         logical problems (or both) that mak~ 'it difficult £br them to obtain legal                                  of
          employment or make -a competent assessment of the r_eJative benefits and                                    in
          costs (including expected punishment costs) of criminal activity. Neverthe-
         less the empirical literature on crime finds that criminals respond to changes                               en
         in opportunity costs of criminals' time, in the probability of apprehension                                  SC.

          (and so in the number of police), in the length of prison terms, and in other                              pe
         relevant variables - and this regardless of whether the crime is committed                                  th
         for pecuniary gain or out of passion, or by well-educated or poorly educated                                co
         people,1 or for that matter by minors. 2                       •                                            en
             The costs of crime include various out-of-pocket expenses (for guns, bur-                               of
         glar tools, masks, etc.), as well as the opportunity costs of the criminal's time                           im
         and the expected costs of criminal punishment. The last will be our focus,                                  fel
         but it is useful to mention the others in order to bring out the possibility of                             is t
         controlling the level of criminal activity in ways other than by tinkering with                             me
                                                                                                                     (h(
         the level of law enforceme·nt activity and the severity of punishment.
         For example, the opportunity costs of crime could be iI?-creased, and thus                                  on
         the incidence of crime reduced, by reducing unemployment, which would
                                                                                                                    the
         increase the gains from lawful work. 3 The benefits of theft, and hence its
                                                                                                                    tio1
         incidence, might also be reduced by a redistribution of wealth away from the
                                                                                                                    alt(
         wealthy- or increased. It is easier to fence goods in common use, and they
                                                                                                                    off
         are more widely possessed in an egalitarian society; and a welfare system
                                                                                                                    the
                                                                                                                    less
             §7.2 I. For summaries of the empirical literature on the rational-choice model of                      oft
         criminal behavior, see Steven D. Levitt, Understanding Why Crime Fell in the 1990s: Four                   f'Xa
         Factors That Explain the Decline and Six That Do Not, J. Econ. Perspectives, Winter 2004,
         p. 163; Isaac Ehrlich, Crime, Punishment, and the Market for Offenses, 10 J. Econ. Perspec-
                                                                                                                   pro
         tives, Winter 1996, pp. 43, 55-63; DJ. Pyle, The Economic Approach to Crime and Punish-                   ple1
         ment, 6 J. Interdisciplinary Stud. l, 4-8 (1995). For an illustrative empirical study, see Steven         cou
         D. Levitt, The Effect of Prison Population Size on Crime Rates: Evidence from Prison Over-                see
         crowding Litigation, lll QJ. Econ. 319 (1996).
             2. See Steven D. Levitt,Juvenile Crime and Punishment, 106 J. Pol. Econ. ll56 (1998).
             3. For evidence that reducing the unemployment level does indeed reduce the incidence                     4.
         of property crimes, but that a more important way in which prosperity reduces crime is by                 reno
         enabling larger state and local budgets for police and prisons, see Levitt, Understanding Why             Stew
         Crime Fell in the 1990s, note 1 supra, at 170-171.                                                        Inca1
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se No.
   Case1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-2
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                                                  01/24/25
                                                     03/14/24 USDC
                                                                PageColorado
                                                                     1 of 27
                               1080 of 1354



    CAN RATIONAL CHOICE BE CONSIDERED A
    GENERAL THEORY OF CRIME? EVIDENCE FROM
    INDIVIDUAL-LEVEL PANEL DATA*

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    AARON CHALFIN,2 and THEODORE WILSON'
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    KEYWORDS: rational choice, deterrence, decision making, adolescents

            In the last few decades, rationalchoice theory has emerged as a bedrock theory in
         the fields of economics, sociology, psychology, and politicalscience. Although rational
         choice theory has been availableto criminologistsfor many years now, thefield has not
         embraced it as other disciplines have. Moreover, rationalchoice scholars have fueled
         this skepticism of the theory's generality by modeling offender decision making that is
         one-sided-largeon the costs of crime (sanctionthreats), short on the benefits of crime.
         In this article, we directly assess the generality of rationalchoice theory by examining
         a fully specified model in a population that is often presumed to be less rational-
         adolescentsfrom lower socioeconomicfamilies who commit both instrumental (prop-
         erty) and expressive crimes (violence/drugs). By using a panel of N = 1,354 individ-
         uals, we find that offending behavior is consistent with rationalresponses to changes
         in the perceived costs and benefits of crime even after eliminatingfixed unobserved
         heterogeneity and other time-varying confounders, and these results are robust across
         different subgroups. The findings support our argument that rationalchoice theory is
         a general theory of crime.

        Rational choice theory (RCT) has made important contributions to the social sciences
     and has become a prominent theoretical model within sociology, economics, psychology,
     and political science. Although there has been and continues to be considerable interest
     in RCT within criminology, many criminologists harbor great skepticism about it, partic-
     ularly its rationalist assumption and its ability to offer a general theory of crime (DeHaan
     and Vos, 2003; O'Grady, 2014; Pratt et al., 2006). A repeated criticism against RCT with
     respect to its generality has been that a theory that emphasizes the rational weighing of
     the costs and benefits of actions may be perfectly applicable to financial market deci-
     sions but not to criminal behavior, and even if applicable to crime, the theory is limited
     to explaining instrumental kinds of criminal acts such as property crimes and simply is
     not relevant for actions that are laden with strong affect such as violent crimes. Another


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           Library at http://onlinelibrary.wiley.comdoi/lO.1111/crim.2016.54.issue-l/issuetoc.
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   Case1:20-cr-00305-DDD
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                            Document645-2
                                      459-2 filed
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                                                     03/14/24 USDC
                                                                PageColorado
                                                                     2 of 27
                               1081 of 1354
                        RATIONAL CHOICE AS A GENERAL THEORY

      consistent criticism of the theory is that it is overly narrow in its conceptual scope: that
      it is a simplistic model that includes only the financial costs and gains from offending. In
      criminology, rational choice theory has been closely aligned with deterrence theory, and
      so specification of RC theoretical models have frequently only included a limited range
      of variables-those focused on formal and informal sanctions.
         Other criticisms are more parochial. Sociologically trained criminologists (a large share
      of the field) are frequently hostile to rational choice theory because it seems "too eco-
      nomic" and fails to take seriously the kinds of theoretical constructs that are at the heart
      of social theories of crime (Matsueda, 2013). This theoretical short-sightedness has also
      been passed on to those testing RC theory. In many cases, when it has been put to a test,
      it has consisted of only formal sanction variables (sticks) to the neglect of the many other
      factors that comprise the utility function of individuals (carrots). Many of the perceived
      problems that have been identified with rational choice theory in criminology, then, are
      of its own making 1 but needlessly so. Rational choice theory is a conceptually broader
      theory than both proponents have made it out to be and critics have taken it to be.
      Although formal sanctions are without a doubt an integral part of the theory, the per-
      ceived costs of crimes consistent with the theory include a much wider array of informal
      penalties and the perceived benefits include much more than financial remuneration. In
      fact, rational choice theory includes theoretical constructs that easily harmonize with sev-
      eral social theories of crime such as social control, routine activities, labeling theory, and
      others. In short, criminologists' understanding of rational choice theory has been myopic
      and the specification of rational choice models in the existing empirical literature has been
      sparse given its theoretical richness.
         Our aim in this article is to examine the conceptual generality of RCT by testing a more
      inclusive specification of the theory, one that includes a comprehensive collection of car-
      rots and sticks, in a sample of individuals that has demonstrated involvement in a mixture
      of both serious instrumental and violent offenses. We hope to demonstrate that many of
      the criticisms directed at the theory are off the mark mainly because critics have a far too
      narrow understanding of it and that the theory is far more inclusive than its critics realize.
      In the sections that follow, we will lay out our specification of the rational choice theory of
      crime by drawing on the economic model of crime by Gary Becker (1968) and show how
      that model differs in several important ways both from deterrence theory (in being far
      more general) and from the RCT model examined in previous criminological research,
      and that it includes variables that sociological criminologists should feel at home with.
      We then describe the intent of the present study, our sample, measures, and empirical
      strategy. We conclude with a discussion of the implications of our findings for the study
      of rational choice theory in criminology.




        1.   Skepticism about the theory's capacity to explain all crime was even expressed by Cornish and
             Clarke (1986: 1-2), two of the initial translators of rational choice ideas into criminology: "Its
             [RCT] starting point was an assumption that offenders seek to benefit themselves by their crimi-
             nal behavior; that this involves the making of decisions and of choices, however rudimentary on
             occasion these processes might be; and that these processes exhibit a measure of rationality, al-
             beit constrained by limits of time and ability and the availability of relevant information. It was
             recognized that this conception of crime seemed to fit some forms of offending better than others."




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se No.
   Case1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-2
                                      459-2 filed
                                               Filed
                                                  01/24/25
                                                     03/14/24 USDC
                                                                PageColorado
                                                                     3 of 27
                               1082 of 1354
                                          LOUGHRAN ET AL.

           DETERRENCE VERSUS RATIONAL CHOICE THEORY
        Although the introduction of rational choice theory into criminology is most often at-
     tributed to Cornish and Clarke's (1986) The Reasoning Criminal, the foundation of our
     rational choice model of offending is to be found in Gary Becker's (1968) journal article
     "Crime and Punishment: An Economic Analysis." In this seminal work, Becker laid out a
     relatively simple premise, that a rational offender weighs a risky choice in which he or she
     will engage in the commission of a crime if the expected utility from committing the crime
     is greater than the expected utility from refraining from committing the crime. Although
     Becker's article has had wide influence on public policy in the nearly 50 years since it was
     published (see the discussion in Nagin, 2013), it has been somewhat less influential in con-
     temporary criminological research than one might reasonably expect and, as a result, has
     attracted surprisingly few direct empirical tests. Importantly, one can make a distinction
     between the wealth of empirical tests of deterrence, which are primarily aimed at testing
     components of Becker's (1968) theory such as the association between sanctions and/or
     perceptions of risk with offending (Chiricos and Waldo, 1970; Loughran et al., 2011; Pa-
     ternoster et al., 1983), and the more complete theory of rational choice, which provides
     a richer depiction of criminal decision making as predicted by Becker's (1968) model. In
     this article, we provide a comprehensive test of Becker's theory by using individual-level
     panel data on active and serious offenders for whom we observe detailed information on
     beliefs about risks, costs and benefits, and offending behavior.
        The key inputs of the choice calculus in Becker's (1968) model include p, the offender's
     probability of detection; f, the severity of the sanction one faces if apprehended; and
     Y, the utility benefits one accrues after the successful commission of the crime without
     apprehension. 2 In particular, Becker imagined the following equation, which describes a
     potential offender's utility as a function of the costs and benefits of crime:

                                    EU = pU(Y- f)+(1-p)U(Y)                                                (1)

     According to equation 1, if an offender commits a crime and is apprehended, he or she
     experiences utility associated with the criminal gain net of losses as a result of the criminal
     sanction. On the other hand, if the offender commits a crime and is not apprehended, he
     or she experiences utility associated with the criminal gain only. Deriving the first-order
     conditions of equation 1 leads to several predictions regarding the three main behavioral
     variables of rational choice-namely, that crime will rise in Y and will fall in both p and f.
     Given this framework, any test of rational choice theory must necessarily include each of
     these three components. Instead, what scholars have largely produced are studies aimed
     at only testing specific, constituent parts of rational choice theory, or what can be thought
     of as studies of deterrence. We now discuss how the empirical literature has been mainly
     concerned with testing the former.




      2.   Becker's (1968) model does not include celerity, although subsequently economists have argued
           for the primacy of time preferences in recent work (Lee and McCrary, 2009), and only a few crim-
           inologists have directly tried to test for celerity effects (Loughran, Paternoster, and Weiss, 2012;
           Nagin and Pogarsky, 2004).




                                                                                                          1082
se No.
   Case1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-2
                                      459-2 filed
                                               Filed
                                                  01/24/25
                                                     03/14/24 USDC
                                                                PageColorado
                                                                     4 of 27
                               1083 of 1354
                     RATIONAL CHOICE AS A GENERAL THEORY

      DETERRENCE-RISKS AND COSTS
         The probability of detection (p) has been the variable most traditionally studied in the
      criminological literature on rational choice. This literature has made two primary con-
      tributions. First, a policy-oriented literature has considered the responsiveness of crime
      to various criminal justice interventions that have plausibly raised the objective proba-
      bility that an offender is apprehended for having committed a crime. This literature has
      documented evidence in favor of a negative relationship between crime and increases in
      police manpower (Evans and Owens, 2007; Lin, 2009; Marvell and Moody, 1996), "hot
      spots" policing (Braga, 2001; Sherman and Weisburd, 1995; Weisburd, 2005), "problem-
      oriented" policing (Braga et al., 2001; Braga et al., 1999; Weisburd et al., 2010), and ex-
      ogenous shifts in police redeployments (DiTella and Schargrodsky, 2004; Draca, Machin,
      and Witt, 2011; Klick and Tabarrok, 2005). Although this literature has identified robust
      evidence of a reduced form relationship between the intensity of policing and criminal
      activity, the extent to which such studies have provided a credible test of deterrence the-
      ory is debatable. In particular, the findings in this research have been equally consistent
      with an important role for incapacitation effects (Chalfin and McCrary, 2014; Durlauf and
      Nagin, 2011; Nagin, 1998). Moreover, by examining aggregate data, this literature has not
      spoken to the deterrability of specific types of offenders.
         A second type of literature has considered the responsiveness of crime to individual-
      level risk perceptions. The primary contribution of this wide-ranging literature has been
      to demonstrate the usefulness of individual subjective perceptions, as opposed to objec-
      tive clearance rates, as measures of individual risk, dating back to the work of Waldo
      and Chiricos (1972). Recent work with samples from the general population (Lochner,
      2007), high-risk youth (Matsueda, Kreager, and Huizinga, 2006), and serious offenders
      (Anwar and Loughran, 2011) has demonstrated that subjective risk perceptions are dy-
      namic and rationally updated to be reflective of new information. Much of this literature
      has been primarily concerned with the relationship between subjective risk perceptions
      and offending, and scholars have typically observed a weak, negative association that is
      usually interpreted as evidence of a slight deterrent effect of increased risk perceptions
      (see Apel, 2013, for an overview of this literature).
         However, these certainty studies have largely ignored several important components
      of Becker's (1968) more general rational choice model. First, although consensus strongly
      exists in the criminological literature that the certainty of punishment is the greater deter-
      rent mechanism than severity (Paternoster, 2010), the criminological literature has failed
      to demonstrate empirically that increases in p yield a greater reduction in offending than
      a comparably measured increase in f. Second, and more importantly, most criminolog-
      ical studies have been concerned with risk perceptions, or one's subjective belief about
      the true probability of detection, but often these studies have failed to make a distinc-
      tion between or even mention risk preferences, or an individual's tendency to prefer a
      less (more) risky option net of the expected value. Becker (1968: 178, emphasis added)
      highlighted this latter idea as an explanation for the certainty effect being stronger than
      the severity effect: "The widespread generalization that offenders are more deterred by
      the probability of conviction than by the punishment when convicted turns out to imply
      in the expected utility approach that offenders are risk preferrers,at least in the relevant
      region of punishments." Stated differently, the wealth of studies that have compared the
      association of perceptions and offending without considering preferences for risk have




                                                                                             1083
se No.
   Case1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-2
                                      459-2 filed
                                               Filed
                                                  01/24/25
                                                     03/14/24 USDC
                                                                PageColorado
                                                                     5 of 27
                               1084 of 1354
                                           LOUGHRAN ET AL.

     been generally incomplete, perhaps providing insight as to why the empirical relationship
     between the two measures is often weak.
        The second component of Becker's (1968) model that has received considerable empir-
     ical investigation is the severity of punishment f. Studies of specific deterrence typically
     have conceptualized severity in terms of (longer) imprisonment spells, generally finding
     a null or sometimes criminogenic effect on future offending (Nagin, Cullen, and Jonson,
     2009). Variability in methodological validity aside, 3 these studies have failed in several
     ways to test more formally a fuller version of rational choice theory, instead testing only
     a narrow conceptualization of deterrence. First, most studies have failed to account for
     the simultaneous interplay between severity and certainty. In particular, the research typ-
     ically has assumed that the timing of shocks to the sanctions regime is as good as random
     insofar as it does not coincide with a broader effort to address crime through interven-
     tions that change the certainty of capture. Such assumptions are difficult to substantiate
     and have become the focal point for numerous controversies in the extant literature, the
     most prominent of which is the large and contentious literature on the deterrent effect of
     capital punishment (Chalfin, Haviland, and Raphael, 2013; Donohue and Wolfers, 2005;
     Durlauf and Nagin, 2011). Second, criminological theory has emphasized that possible
     costs to crime can include not only formal sanctioning such as imprisonment or fines but
     also informal sanctions such as the social costs of reputational embarrassment and shame
     (Grasmick and Bursik, 1990; Williams and Hawkins, 1986; Zimring and Hawkins, 1973).
     In other words, multiple sets of costs to crime must be considered when describing an
     offender's choice calculus.

     REWARDS TO OFFENDING
        It is the third component of Becker's (1968) model, the benefits from crime Y, which
     highlights the most compelling distinction between deterrence studies and the broader
     concept of rational choice, and it is through this that rational choice becomes a conceptu-
     ally broad, general theory of crime. As a result of severe data constraints, the literature
     on deterrence and offender decision making, even that which considers both certainty
     and severity, has tended to ignore the benefit side of the offender's decision calculus. The
     implicit assumption is that the perceived distribution of criminal benefits has remained
     unchanged, which seems to be difficult to justify on theoretical grounds. However, even
     if this assumption is met in a given data set, failing to consider whether changes in the
     benefits of crime lead to changes in offending leaves us with an incomplete test of ra-
     tional choice theory. Typically, the benefits or rewards of crime are conceptualized as a
     monetary return to criminal activity. Such returns might include the "loot" from a theft or
     profits from the sale of illegal drugs, each of which can be lucrative (Loughran et al., 2013;
     McCarthy and Hagan, 2001; Nguyen et al., 2015). Of particular importance is the net ben-
     efit of crime-that is, the returns to crime above and beyond the opportunity cost of time
     spent in criminal activity, typically operationalized by using a potential offender's legal
     wage or, alternatively, measures of local labor market conditions more broadly (Ehrlich,
     1973; Freeman, 1996; Grogger, 1998). Considering the net wage of crime emphasizes that


       3.   Nagin, Cullen, and Jonson (2009) highlighted the issues with selection bias in studies such as these,
            and they commented on the degree to which certain classes of studies are perhaps better equipped
            to yield internally valid estimates.




                                                                                                          1084
se No.
   Case1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-2
                                      459-2 filed
                                               Filed
                                                  01/24/25
                                                     03/14/24 USDC
                                                                PageColorado
                                                                     6 of 27
                               1085 of 1354
                      RATIONAL CHOICE AS A GENERAL THEORY

      crime is costly not only because it is risky but also because it involves time that could
      otherwise be put to alternative use. Moreover, although public policy can potentially in-
      tervene to make legal work more rewarding, it is less clear how social planners can alter
      the rewards of illicit activities.
          Although few studies have documented the responsiveness of crime to the gains of
      illicit activity, the idea that offenders are potentially deterred by better legal employ-
      ment opportunities has been largely tested in the empirical labor economics literature
      with numerous recent studies finding robust evidence of a negative relationship between
      wages and employment rates and crime (Lin, 2008; Machin and Meghir, 2004; Raphael
      and Winter-Ebmer, 2001). As in the criminological literatures on the importance of cer-
      tainty and severity, empirical tests of legal labor market opportunities offer only incom-
      plete and suggestive evidence in favor of rational choice theory.
          An equally important consideration is that conceptualizing the benefits of crime in
      monetary terms provides only a limited understanding of the motivations underlying
      criminal activity. Indeed, according to Becker's (1968) model, the benefits from crime can
      be conceptualized in multiple ways beyond formal monetary returns, including perceived
      intrinsic or social benefits such as increased social standing or the pleasure and enjoyment
      solely derived from breaking society's rules (Katz, 1990).' Indeed, such an articulation of
      the benefits of crime is more broadly applicable to violent crimes that often lack an ex-
      plicitly instrumental motive, but "kicks" are an element of property crimes as well (Katz,
      1990). For example, Nagin and Paternoster (1993) operationalized benefits from offend-
      ing as "how much thrill or kick" an individual got from engaging in different types of
      offending. Furthermore, multiple studies have suggested that offenders are sensitive to
      rewards (Loughran et al., 2013; Pezzin, 1995). Any more comprehensive test of rational
      choice theory must therefore include components of criminal rewards against costs and
      risks to crime. Perhaps the best summary statement of a rational choice theory of criminal
      offending, one that clearly reveals its inclusion of a wide sweep of variables in addition to
      sanctions and sanction threats, was made by Matsueda (2013: 287), who argued that "the
      utility from crime is a function of the returns to crime plus income from conventional ac-
      tivity (each weighted by the probability of getting away with crime), plus the returns to
      crime and conventional activity minus the punishment for crime (each weighted by the
      probability of getting caught and punished)."
          In summary, the extant literature on testing a rational choice theory of crime has several
      shortcomings that prevent us from making larger generalizations about the prominence
      of rational choice theory in predicting criminal activity. First, deterrence studies test only
      partial components of the theory, such as the relationship between risk perceptions and
      offending, or the specific deterrent effect of imprisonment, and such studies do not al-
      low for comparisons between different components such as comparable changes in both.
      Second, many of the key concepts often are narrowly defined (e.g., imprisonment) and
      not fully operationalized in accordance with broader criminological theory. Third, most
      tests of deterrence fail to consider the reward side of an offender's decision calculus. It is

       4.   Also consider Bentham's (1789: 2) much more widely inclusive definition that signals the utility
            of psychic benefits: "that property ... whereby it tends to produce benefit, advantage, pleasure,
            good, or happiness." Becker (1968: 10) too used the term "psychic" to describe the affective gains
            of offending: "Y is his income, monetary plus psychic [utility] from an offense."




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se No.
   Case1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-2
                                      459-2 filed
                                               Filed
                                                  01/24/25
                                                     03/14/24 USDC
                                                                PageColorado
                                                                     7 of 27
                               1086 of 1354
                                          LOUGHRAN ET AL.

     probably not unreasonable,therefore, to think that many of the criticisms directed at ratio-
     nal choice theory as not yet ready to be a general theory may be in part a result of the stunted
     way in which the theory has been conceptualized and tested as well as misunderstood.

     TESTS OF RATIONAL CHOICE THEORY
        To our knowledge, only a few studies in criminology have examined the rational choice
     model to provide a test of Becker's (1968) rational choice theory by using individual-
     level data. 5 Witte (1980), in using a sample of released prisoners in North Carolina, found
     that increases in certainty and severity reduced participation in future crime, although a
     percent increase in certainty had a comparatively larger impact than a percent change in
     severity. Second, she found that although higher (legal) earnings did deter future crime,
     the effect was weak. In contrast, Myers (1983), in using a sample of federal releases, found
     only a slight severity effect and a positive relationship between certainty and future crime.
     Piliavin et al.'s (1986: 101) work most closely parallels our own. In arguing for a broader
     rational choice model of crime, they urged that "[a] more fruitful approach to the issue
     of deterrence would examine the relationship between formal sanctions and crime from
     within an explicit theoretical framework." Piliavin and colleagues estimated a rational
     choice theoretical model that included factors as accrued legal and illegal earnings, as well
     as the perceived formal and informal costs of punishment, but did not include indicators
     of what Becker (1968) would consider the "psychic" gains of criminal offending. Nev-
     ertheless, they found that for three diverse samples of offenders (adult criminals, adult
     addicts, and youths), offending was related to the anticipated rewards of offending (and
     to the presence of criminal opportunities) but not to the perceived costs. Pezzin (1995)
     and Uggen and Thompson (2003) both applied versions of Becker's (1968) human capital
     theory to criminal offending. By using the National Longitudinal Survey of Youth, Pezzin
     (1995) found that those with greater criminal earnings were more likely to continue of-
     fending over time, whereas those with higher legal earnings were more likely to terminate
     their offending. By focusing on the factors explaining illegal income, Uggen and Thomp-
     son (2003) found that illegal earnings were positively related to arrest experiences, drug
     use, and criminal opportunities, whereas they were inversely related to conventional em-
     beddedness (employment and ties to a spouse or partner). Both sets of findings confirm
     the importance of a major component of a rational choice theory of crime-the returns to
     illegal and legal employment. As with Piliavin et al. (1986), however, neither of these two
     studies examined other components of the rational choice model such as the perceptions
     of informal costs and the anticipated psychic rewards of crime. More recently, Matsueda,
     Kreager, and Huizinga (2006) articulated and tested a rational choice model of theft and
     violence. Appealing to Becker's (1968) model, Matsueda, Kreager, and Huizinga (2006:
     96) argued that individuals will engage in crime when the "expected utility from com-
     mitting crime is greater than expected utility from not committing a crime." In examin-
     ing the responses to the Denver Youth Survey, they found partial support for a rational
     choice model of crime. Offending was inversely related to the perceived risk of arrest and



       5.   Several other studies have tested the model at a macro level by using panel data (Cherry and List,
            2002; Cornwell and Trumbull, 1994).




                                                                                                        1086
se No.
   Case1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-2
                                      459-2 filed
                                               Filed
                                                  01/24/25
                                                     03/14/24 USDC
                                                                PageColorado
                                                                     8 of 27
                               1087 of 1354
                     RATIONAL CHOICE AS A GENERAL THEORY

      positively related to psychic costs, such as the perceived excitement and coolness of the
      crime and the perceived opportunities to offend. Although it was a comprehensive ra-
      tional choice model, Matsueda, Kreager, and Huizinga had no measures of the informal
      costs of offending or of the trade-off between legal and illegal earnings.
         Although these studies are important in that they have provided informative tests of
      Becker's (1968) RCT theory, they nonetheless each have several limitations. First, no one
      study included a full panoply of the perceived informal costs and nonfinancial rewards
      of offending. Second, in some studies, offending was measured in terms of official, not
      self-reported, offending. Third, many of the key measures in several studies were either
      aggregated or unobservable altogether (e.g., the subjective probability of detection or
      returns to offending). Finally, and most importantly, the data in some of these studies
      were cross-sectional, which means that potentially important unobserved heterogeneity
      was left unaccounted for. Multiple criminological theories posit that time-stable, unob-
      served population heterogeneity could be an important confounder driving the findings
      of these studies (Gottfredson and Hirschi, 1990; Nagin and Land, 1993). Moreover, the
      lack of panel data prevents a deeper understanding of how changes in preferences over
      time within individuals contribute to their changing choice calculus. Finally, in arguing
      for a greater inclusion of rational choice into criminological theory, McCarthy (2002: 437)
      articulated the need for more acute tests of the theory with finer, longitudinal measures,
      when noting the following:
          [S]ociological criminologists must move beyond the assumption that all offenders
          share the same preferences. ... Individual preferences vary over time ... crime pro-
          vides an array of returns, and people differ in their assessments of crime's costs and
          benefits. Future theory and research must begin by specifying the preference order-
          ings that contribute to offending and then explicate how particular contexts or struc-
          tural configurations encourage people to choose crime as a means of satisfying their
          preferences.

                                    THE PRESENT STUDY
         This study aims to provide a more inclusive test of criminological rational choice theory
      as it is conceived of in Becker's (1968) economic model of criminal offending by using
      individual-level panel data from a sample of juvenile and young adult serious offenders in
      two U.S. cities. The nature of the data provides us with several advantages over the tests
      discussed earlier. First, we observe individual-specific measures of multiple dimensions
      of costs and rewards to crime, including social and personal costs, along with subjective
      beliefs about detection probability. Second, we observe detailed self-reports of offending
      variety and frequency, which we can disaggregate by crime type. Third, the panel data
      allow us to eliminate fixed, unobserved heterogeneity as a possible confounder. Fourth,
      we can test for heterogeneity in responsiveness to costs, risks, and rewards in several ways,
      including type of offending behavior-property versus violent.
         Our intention, therefore, is first to construct a comprehensive rational choice model of
      offending and then to test empirically that model within a group of disadvantaged adoles-
      cent offenders of both property and violent crimes to gauge how general RCT theory is.
      If the hypotheses of the theory are supported within a group where it is least likely to be




                                                                                            1087
se No.
   Case1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-2
                                      459-2 filed
                                               Filed
                                                  01/24/25
                                                     03/14/24 USDC
                                                                PageColorado
                                                                     9 of 27
                               1088 of 1354
                                       LOUGHRAN ET AL.

     applicable, because the population of individuals is thought to be less rational, then we
     think it can lay claim to being a general theory. To provide an even more comprehen-
     sive test of the generality of the RCT model, recall that Becker's (1968) RCT theory also
     considers the possibility that there is important heterogeneity in how responsive certain
     individuals are to costs and rewards. Therefore, we also test the idea of "differential ratio-
     nal choice," the idea that different subsets of economically disadvantaged offenders may
     be more or less responsive to changes in risks, costs, and benefits. Specifically, we con-
     sider differences based on gender and race but also based on what might be thought of as
     criminal propensity (Gottfredson and Hirschi, 1990). Competing theoretical arguments
     debate whether those individuals high in criminal propensity are either less (Gottfred-
     son and Hirschi, 1990; Wilson and Herrnstein, 1985) or more (Pogarsky, 2002; Thomas,
     Loughran, and Piquero, 2013; Wright et al., 2004) likely to be influenced by considerations
     of the cost and benefits of offending. We create an indicator for high-criminal-propensity
     individuals based on several baseline risk factors for persistent offending to push the no-
     tion of the generality of RCT further.

                                   DATA AND METHODS
      SAMPLE
        We analyze data from the Pathways to Desistance study, a longitudinal investigation
     of the transition from adolescence to young adulthood in serious adolescent offenders
     (Mulvey, 2012). Study participants are adolescents who were found guilty of a serious of-
     fense (almost entirely felony offenses) in the juvenile or adult court systems in Maricopa
     County (Phoenix), AZ, or Philadelphia County, PA. These youth were 14 to 17 years of
     age at the time of enrollment into the study. A total of 1,354 adolescents are enrolled in
     the study, representing approximately one in three adolescents adjudicated on the enu-
     merated charges in each locale during the recruitment period (November 2000 through
     January 2003). The study sample comprises mainly non-White (44 percent African Amer-
     ican and 29 percent Hispanic) males (86 percent), who were, on average, 14.9 years old
     at the age of their first petition, with an average of three petitions prior to the baseline
     interview. In addition to being from urban areas, the sample is mostly poor (54 percent of
     the respondents reported family income at $25,000 or less, and 70 percent reported family
     income $35,000 or less).
        In this analysis, we use data collected at ten consecutive follow-up interviews, the first
     six of which correspond to 6-month observational periods over 36 months, whereas the
     last four correspond to yearly observation periods for a total of 84 months. In each period,
     we observe, for each individual, the self-reported number and types of crimes he or she
     commits, if any, during the observation period, along with detailed information regarding
     the risks, costs, and rewards to offending, which will be defined.

      MEASURES
        We use three primary types of measures: 1) data on self-reported criminal activity, 2)
      data on the perceived costs and benefits of crime, and 3) survey data describing each
      individual's experiences and circumstances. In particular, the indices of costs and rewards
      were adapted for the Pathways study based on previous work by Nagin and Paternoster




                                                                                             1088
se Case
   No. 1:20-cr-00305-DDD
        1:20-cr-00305-DDD Document
                           Document645-2
                                    459-2 filed
                                             Filed
                                                 01/24/25
                                                   03/14/24 USDC
                                                             PageColorado
                                                                  10 of 27
                               1089 of 1354
                      RATIONAL CHOICE AS A GENERAL THEORY

      (1994). For each of these measures, a full list of included items and relevant psychometric
      properties is available at the study website: http://www.pathwaysstudy.pitt.edu.

      SELF-REPORTED OFFENDING

         The number of crimes an individual commits is derived from his or her self-reported
      offenses (SROs) recorded in each period. This measure is a revised version of a common
      self-reported delinquency measure of the number of crimes committed (Huizinga,
      Esbensen, and Weiher, 1991). In each period, an individual is asked whether he or she
      committed each of these 10 crimes during the recall period and, if so, how many times.
      Although the data allow us to consider offending frequency, this measurement approach
      has potentially serious shortcomings, as shown by Sweeten (2012). As such, we also use
      a variety score measure (i.e., the number of different types of criminal acts in which the
      individual reported engaging). As a result of granularity in the data, we classify each
      crime into one of three broad aggregates: 1) acquisitive crimes, 2) drug crimes, and
      3) violent crimes. Acquisitive crimes include the following activities: breaking into a
      dwelling to steal, shoplifting, buying or receiving stolen property, using a check or credit
      card illegally, theft of a vehicle, carjacking, taking property by force with or without a
      weapon, or breaking into a vehicle to steal. Drug crimes refer to the sale (but not to
      the consumption) of narcotics. Finally, violent crimes include forcing another person to
      have sex, murder, shooting at someone regardless of whether the person was struck by
      the bullet, assaults involving a serious injury,
                                                    6
                                                        or participation in gang assaults. Violent
      crimes  do not  include self-reported fights.

      PERCEIVED RISK

        At each observation period, individuals were asked how likely it is that they would be
      caught and arrested for each of the following crimes: fighting, robbery with gun, stabbing
      someone, breaking into a store or home, stealing clothes from a store, vandalism, and auto
      theft. Response options ranged from 0 (no chance) to 10 (absolutely certain to be caught).
      The mean of these seven items was calculated for each individual at each observation
      period. The measure displayed high internal consistency (a = .89 at baseline).

      PERCEIVED PERSONAL REWARDS

         The personal rewards of crime were measured by asking each individual how much
      "thrill" or "rush" it is to do any of the following things: fighting, robbery with gun, stab-
      bing someone, breaking into a store or home, stealing clothes from a store, vandalism,
      and auto theft. If the individuals had reported never doing any of these things, they were
      asked to give a rating for how much thrill or rush they thought it would be. Response
      options ranged from 0 (no fun or kick at all) to 10 (a great deal of fun or kick). The mean
      across all items was then taken for each individual at each observation period, and the
      item had good internal consistency (a = .88 at baseline).


       6.   We note that the distinction we have drawn between violent and property crimes does not accord
            with that used by the Federal Bureau of Investigation's (FBI's) Uniform Crime Reports System.
            Although the FBI records robberies as violent crimes (crimes again persons), we have chosen to
            classify robbery as an acquisitive crime because of its largely instrumental motivation.




                                                                                                    1089
se Case
   No. 1:20-cr-00305-DDD
        1:20-cr-00305-DDD Document
                           Document645-2
                                    459-2 filed
                                             Filed
                                                 01/24/25
                                                   03/14/24 USDC
                                                             PageColorado
                                                                  11 of 27
                               1090 of 1354
                                          LOUGHRAN ET AL.

     PERCEIVED SOCIAL COST

       The social cost of crime was measured by asking each individual if the police were
     to catch him or her doing something that breaks the law, how likely it is that he or she
     would be suspended from school, lose respect from close friends, lose respect from family
     members, lose respect from neighbors or other adults, lose respect from a girlfriend or
     boyfriend, or find it harder to get a job. Response options ranged from 1 (very unlikely)
     to 5 (very likely). This measure might reasonably be thought of as extralegal costs. The
     mean across all items was then taken for each individual at each observation period, and
     the item had acceptable internal consistency (ce = .76 at baseline).

     PERCEIVED SOCIAL REWARDS

       The social rewards to crime were measured by asking each individual how much he
     or she agreed or disagreed with several statements about how other people might react
     to the three different crimes: stealing (e.g., "If I take things, other people my age will
     respect me more"), fighting (e.g., "If I beat someone up, other people my age will respect
     me more"), and robbery (e.g., "IfI rob someone, people my age will be afraid to mess
     with me"). Response options ranged from I (strongly disagree) to 5 (strongly agree). The
     mean across all items was then taken for each individual at each observation period, and
     the item had good internal consistency (a = .82 at baseline).

     LEGAL AND ILLEGAL EARNINGS

       For each observation period, we observed how much money each individual reported
     earning from activities that were legal as well as illegal.

                                                   MODEL
      We estimate a descriptive model of individual-level rational choice theory that
     motivates the following regression:
                     J                                                                                     (2)
                    Yi           +
                       = C1+ 01lPit       P 2 fit+ P3Ylit + P4 Y2it + XiiY + Oi +r        +   it

        In equation 2, Y represents the number of crimes of type J committed by individual i
     in time period t. Pit represents an individual's perceived probability of apprehension, fi,
     represents an individual's perception regarding the severity of the criminal sanction, and
     Ylit and Y2it represent an individual's social and personal rewards of crime, respectively.
     Xit is a vector of time-varying control variables that address changes in an individual's
     circumstances that are likely to co-vary with both criminal activity and perceptual deter-
     rence variables. Included in Xit are an individual's age, the proportion of the time period
     spent in prison or jail, 7 whether an individual witnessed a relative be arrested, the num-
     ber of different violent crimes an individual was the victim of and the number of different


       7.   As an additional sensitivity check, we estimated each model excluding those individuals who were
            incapacitated and out of the community for the entire observational period. These results, which
            are substantively similar, are available as part of the online supporting information in table S1.
            (Additional supporting information can be found in the listing for this article in the Wiley Online
            Library at http://onlinelibrary.wiley.com/doi/10.1111/crim.2016.54.issue-1/issuetoc.)




                                                                                                         1090
se Case
   No. 1:20-cr-00305-DDD
        1:20-cr-00305-DDD Document
                           Document645-2
                                    459-2 filed
                                             Filed
                                                 01/24/25
                                                   03/14/24 USDC
                                                             PageColorado
                                                                  12 of 27
                               1091 of 1354
                         RATIONAL CHOICE AS A GENERAL THEORY

      Table 1. Summary Statistics (N = 1,354)
                                                              Standard                                 Within-Respondent
      Variable                                       Mean     Deviation    Minimum       Maximum       Share of Variation
      A. Self-Reported Crimes
        All Crimes (Frequency)                       23.58      85.13            .0         500.0              .28**
        All Crimes (Variety)                            .71      1.64            .0          15.0              .39**
        Theft and Robbery (Frequency)                 4.01      28.20            .0         500.0              .22**
        Drug Crimes (Frequency)                      20.09      79.60            .0         500.0              .27**
        Violent Crimes (Frequency)                      .60      9.14            .0         500.0              .12*
        Legal Share of Earnings                         .81        .37           .0           1.0              .55**
      B. Model Parameters
        Certainty of Apprehension (P)                 5.61        2.97           .0          10.0              .51*
        Severity of Sanction (f)                      3.15          .93         1.0           5.0              .42**
        Social Rewards (Y1)                           1.88          .52         1.0           4.0              .47**
        Personal Rewards (Y2)                         1.79        2.33           .0          10.0              .55**
      C. Key Covariates
        Age                                          19.30        2.37        14.5          26.0               .23**
        Proportion of Time Spent Incarcerated          .33         .42          .0           1.0               .49**
        Relative Arrested                              .12         .32          .0           1.0               .25**
        Number of Victimizations                       .20         .59          .0           5.0               .23**
        Number of Crimes Witnessed                     .96        1.43          .0           7.0               .38**
        Gang Membership                                .09         .28          .0           1.0               .61*
        Male with Pregnant Partner                     .06         .24          .0           1.0               .16*
        Birth of a Child                               .07         .26          .0           1.0               .13*
      NOTES: The table reports summary statistics-the mean and the standard deviation, as well as the minimum
      and maximum values for each variable used in subsequent analyses. We also report the proportion of variation in
      each variable that is explained by respondent fixed effects (within-variation in an analysis of variance). Statistical
      significance refers to the p value from an F test on the respondent fixed effects.
      **p < .01 (two-tailed).


      violent crimes an individual witnessed, whether the individual reported a gang affiliation,
      whether the individual had a pregnant significant other, and whether the individual re-
      ported the birth of a child during the time period. Finally, Oi and pt represent individual
      and time period fixed effects, respectively, that account for time- and individual-invariant
      unobserved heterogeneity. In practice, given that individuals in the data set live in two
      U.S. cities-Philadelphia and Phoenix-we condition on individual and interacted city-
      by-time period fixed effects that allow global time trends in criminal activity to vary by
      site. The coefficients P1, 0l2, P3, and 64 provide a test of each element of rational choice
      theory with respect to the four primary behavioral variables suggested by Becker (1968).
      Accordingly, a joint test of the inclusion of these four variables provides an omnibus sig-
      nificance test of the contribution of rational choice theory in understanding offending
      behavior.

      EMPIRICAL STRATEGY
        Although we have motivated the model by using least-squares regression, in practice,
      the distribution of the primary dependent variables in our data is most consistent with a
      count regression model. Our analysis, therefore, uses Poisson regression (Osgood, 2000).
      Although a review of table 1 indicates that the mean and variance are substantially dif-
      ferent for each of our three crime types and that formal tests for overdispersion indicate




                                                                                                                       1091
se Case
   No. 1:20-cr-00305-DDD
        1:20-cr-00305-DDD Document
                           Document645-2
                                    459-2 filed
                                             Filed
                                                 01/24/25
                                                   03/14/24 USDC
                                                             PageColorado
                                                                  13 of 27
                               1092 of 1354
                                      LOUGHRAN ET AL.

     that it is present, we nevertheless elect to use Poisson regression over negative binomial
     regression for two reasons.
         The first reason is practical-as our models contain between 500 and 1,000 individ-
     ual fixed effects, we require an estimator that will return consistent estimates of the
     behavioral parameters of interest. Although fixed effects are estimated consistently
     in a linear panel data model, nonlinear models pose a substantial challenge to esti-
     mating fixed-effects parameters. To the extent that the fixed effects are related to the
     time-varying independent variables in the model, nonlinear models may yield incorrect
     estimates of the deterrence parameters of interest as a result of the problem of incidental
     parameters (Allison and Waterman, 2002; Kalbfleisch and Sprott, 1970). Although
     parameter estimates arising from a negative binomial regression with fixed effects will
     differ depending on whether an unconditional or a conditional maximum likelihood
     function is used, the likelihood function in Poisson regression is equivalent to that of the
     multinomial logit model, and accordingly, the unconditional and conditional likelihood
     functions yield identical parameter estimates (Allison and Waterman, 2002; Cameron
     and Trivedi, 1998). The second and more compelling reason is simplicity as robustness
     checks using a conditional fixed-effects negative binomial model (Hausman, Hall, and
     Griliches, 1984) return results that are qualitatively extremely similar to those obtained
     via Poisson regression, which suggests that overdispersion is not much of an issue. We
     include the main results of this sensitivity analysis for comparison.
         Prior to presenting results, it is worth considering the limitations that are inherent in
     our modeling exercise and, given these limitations, how the parameters Pl1, P2, f3, and
     Pl4 are best interpreted. Our approach to testing an individual-level model of deterrence
     is not directly motivated by a natural experiment and, as such, is necessarily descriptive.
     Although we condition on a rich vector of covariates and include a powerful set of fixed
     effects to account for various types of fixed unobserved heterogeneity, the four behavioral
     parameters cannot be said to arise from any sort of experimental manipulation, natural or
     otherwise. Indeed, there are presumably many reasons why an individual might change
     his or her perceptions regarding the risk and rewards of criminal activity; for example, en-
     gaging in criminal activity provides information to respondents about the risk and rewards
     of crime (Anwar and Loughran, 2011; Lochner, 2007; Matsueda, Kreager, and Huizinga,
     2006) at a level of temporal granularity that our data simply cannot capture (i.e., updat-
     ing occurs at a frequency that is greater than every 6 months). Ultimately, we discuss
      the estimated parameters as associations rather than as causal effects, which we argue
      are still of fundamental interest. Conditional on the usual assumptions regarding omitted
     variables, the regression described in equation (2) provides insight into which behavioral
      parameters are more highly correlated with criminal activity, regardless of whether crime
      is sensitive to the variable or the variable is sensitive to criminal activity.

                                             RESULTS
     SAMPLE CHARACTERISTICS
        Table 1 reports the selected descriptive statistics for each variable used in subsequent
     models. For each variable, we report the mean and the standard deviation, as well as the
     minimum and maximum values. We also report the within-respondent share of the varia-
     tion to provide the reader with a sense for the degree to which each variable varies within,




                                                                                            1092
se Case
   No. 1:20-cr-00305-DDD
        1:20-cr-00305-DDD Document
                           Document645-2
                                    459-2 filed
                                             Filed
                                                 01/24/25
                                                   03/14/24 USDC
                                                             PageColorado
                                                                  14 of 27
                               1093 of 1354
                     RATIONAL CHOICE AS A GENERAL THEORY

      as opposed to between, individuals. As our subsequent models condition on respondent
      fixed effects, we ultimately retain only the within-individual share of the overall variation.
          Panel A considers each dependent variable we examine. Overall, over a given report-
      ing period, the average individual in our sample reports having committed 23.58 crimes,
      which is an average of 2.82 crimes per month. The data are highly skewed with 73.38 per-
      cent of respondent time periods yielding zero reported crimes. Likewise, 27 percent of
      the sample reports never having committed a crime, while just 2.5 percent of the sample
      reports having offended in all ten time periods in our data. With respect to the upper
      range of the data, we have elected to top code very high values of reported crime at 500.
      This translates to approximately 20 crimes per week, which we view as not implausible for
      drug crimes, as well as for petty acquisitive crimes such as shoplifting. On average, respon-
      dents report having committed 4.0 thefts, 20.0 drug crimes, and just .6 violent crimes per
      6-month period. Intuitively, most variation in the criminal activity is between rather than
      within individuals, implying a prominent role for the fixed effects in purging the model of
      unobserved unit-specific heterogeneity.
          With respect to the share of earnings obtained legally, the data show that, overall,
      81 percent of reported earnings have a legal source. The prominence of legal earnings
      varies by age with respondents younger than 17 years of age reporting that 73 percent
      of earnings are legal, whereas adults report that 82 percent of earnings are legal. With
      respect to cross-sectional heterogeneity, 47 percent of the panel report legal earnings but
      never report any illicit earnings, whereas slightly less than 5 percent of the sample reports
      illicit earnings but no legal earnings. Overall, 42 percent of the sample reports both legal
      and illicit earnings at some point during the 4-year period, whereas 6 percent report no
      earnings data at all.
          Panel B of table 1 reports descriptive statistics for the key model parameters prior to
      z score standardization. Each of the following analyses employs standardized forms of
      these key model parameters to facilitate comparative tests and ease of interpretation.
      Overall, approximately half of the variation in the model parameters is within-individual
      variation and the remaining half is between-individual variation. The degree to which per-
      ceptions shift over time for a given individual is perhaps surprising and provides a rich de-
      gree of variation with which to identify the association between perceptual variables and
      crime.
          Finally, Panel C reports descriptive statistics for each covariate we condition in our pri-
      mary models. Overall, for the average time period in the sample, individuals are slightly
      older than 19 years of age. Respondents are as young as 14.5 and as old as 26.0. Given
      the high degree of criminal involvement in the sample, it is perhaps not surprising that in-
      dividuals spend approximately one third of their time incarcerated in prison or jail. With
      respect to individual experiences, 12 percent of the sample has a relative who is arrested
      in a given time period and the typical individual reports being the victim of .2 different vi-
      olent crimes per recall period (or 2.0 different violent crimes over the ten recall periods).
      These individuals also report having consistently witnessed violent crimes, on average,
      one type of violent crime witnessed per recall period. In a given time period, 9 percent
      of the sample reported being a member of a gang with most of the overall variation oc-
      curring between rather than within individuals. In a given time period, 6 percent of the
      respondents are males with a pregnant girlfriend or spouse and 7 percent of respondents
      report that either they or a significant other have given birth to a child.




                                                                                               1093
ase Case
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-2
                                     459-2 filed
                                              Filed
                                                  01/24/25
                                                    03/14/24 USDC
                                                              PageColorado
                                                                   15 of 27
                                1094 of 1354
      100                                      LOUGHRAN ET AL.

      Table 2. Model-Based Tests of Rational Choice Theory
                                                            (1)           (2)          (3)        (4)          (5)
                                                        All Crimes     Theft and      Drug      Violent    Legal Share
      Variable                                           (Variety)     Robbery       Crimes     Crimes     of Earnings
      Certainty of Apprehension (P)                       -. 138**      -. 238**     -. 150**   -. 165*         .018**
                                                          (.025)        (.078)       (.044)     (.080)         (.006)
      Severity of Sanction (f)                            -.010           .064       -. 073     -. 044          .002
                                                          (.022)         (.072)      (.047)     (.131)         (.006)
      Social Rewards (Y1)                                   .173**        .202*         100t      .336**      -. 021**
                                                          (.026)         (.082)      (.051)     (.069)         (.006)
      Personal Rewards (Y2)                                 .152**        .233**       .093f      .062        -. 025**
                                                          (.022)        (.084)       (.049)     (.089)        (.007)
      Joint Tests of Model Parameters
        Chi-squared statistic on model parameters         142.5**        37.0**       22.6**     45.8**
        F statistic on model parameters                       ...                                  .            8.7**
      Chi-Square Tests on Individual Restrictions
        P=f                                                14.6**         6.5*          1.3        .8            3.3t
        P = -Y1                                             1.0            .1            .6       5.8*            .1
        P = -Y2                                              .2            .0             .8       .6             .4
       f = -Y1                                             22.0**         5.0*            .2      5.9*          5.2*
       f= -Y2                                              18.8**         6.2*            .1       .0           5.8*
        Y1 - Y2                                              .4            .1             .0      3.9*             .2
      Cross-sectional n                                     965           752          675        551          1,252
      NOTES: Estimates presented are regression coefficients, and cluster-robust standard errors that account for
      within-respondent dependence are reported in the parentheses below the coefficient estimates. In columns (1)-
      (4), we report the results of a Poisson regression of the variety or frequency of crimes a respondent reports
      having committed during the recall period on four behavioral parameters implicit in rational choice theory.
      The z score of each behavioral parameter is used for ease of interpretation. Column (5) reports the results of
      a least-squares regression on the proportion of earnings that are earned in the legal sector during the recall
      period on the same four behavioral parameters. All models condition on the respondent's age, the percentage
      of a respondent's time spent in custody, as well as additional control variables and interacted site-by-period and
      respondent fixed effects.
      tp < .10; *p < .05; **p < .01 (two-tailed).


      MAIN ANALYSIS
         The top panel of table 2 presents Poisson regression estimates for the model presented
      in equation (2) for each of several different crime types. Column (1) presents estimates for
      a variety of all crimes committed in the recall period. Columns (2), (3), and (4) present es-
      timates for income-generating crimes (theft and robbery), drug crimes, and violent crimes,
      respectively. For these three outcomes, we report estimates by using frequency rather
      than variety given the limited amount of crimes in each category. 8 Finally, in column (5),
      we present least-squares estimates for the share of total earnings that derive from legal (as
      opposed to illicit) sources. Estimates and robust standard errors clustered on the respon-
      dent are reported for the four behavioral parameters implicit in rational choice theory.
      Beginning with column (1), we estimate that a 1 standard deviation increase in an indi-
      vidual's perceived certainty of apprehension is associated with a .14 decline in the natural
      logarithm of types of crime, which is a 13 percent reduction. Likewise, a 1 standard devi-
      ation increase in perceived severity is associated with a 1 percent reduction in offending,

        8.   We also estimated results by using variety scoring for the crime-specific outcomes. These results
             are substantively similar and are available as part of the online supporting information in table S2.




                                                                                                                   1094
se Case
   No. 1:20-cr-00305-DDD
        1:20-cr-00305-DDD Document
                           Document645-2
                                    459-2 filed
                                             Filed
                                                 01/24/25
                                                   03/14/24 USDC
                                                             PageColorado
                                                                  16 of 27
                               1095 of 1354
                     RATIONAL CHOICE AS A GENERAL THEORY

     although the parameter is not precisely estimated. With respect to the perceived benefits
     of crime, a 1 standard deviation increase in the social and personal rewards of crime is
     associated with a 19 percent and 16 percent increase in offending, respectively.
        Given that the average individual reports committing .71 different infractions in a
     recall period, the models predict that a 1 standard deviation increase in certainty is
     associated with -. 09 fewer types of crimes, whereas a 1 standard deviation increase in
     social or personal rewards is associated with -. 13 and -. 11 additional types of crimes,
     respectively. Thus, although three of the four behavioral parameters are significantly
     associated with changes in offending, the magnitudes of these parameters are best
     characterized as important but not as large relative to baseline.
        Column (2) presents results for instrumental crimes that we characterize as theft and
     robbery. Here we see that a 1 standard deviation increase in certainty reduces log crime
     by -. 24 (21 percent), whereas a 1 standard deviation increase in social rewards and per-
     sonal rewards increases log crime by .20 (22 percent) and .23 (26 percent), respectively.
     Interestingly, the coefficient on severity is close to zero and falls in the opposite direc-
     tion, indicating that perceived changes in the severity of sanctions are not associated with
     changes in acquisitive crimes, a finding that may be rationalized by the fact that such
     crimes are rarely punished. Overall, given that the average individual in the sample re-
     ports committing four acquisitive crimes per 6-month period, a 1 standard deviation in-
     crease in certainty and a 1 standard deviation decrease in perceived personal rewards
     would reduce theft by .84 and 1.04 crimes per year, respectively. Again, assuming that
     2 percent of a city's population is sensitive to such changes, these parameter estimates
     translate to annual decreases in theft of approximately 1,700-2,100 in a city of 100,000
     residents.
        Column (3) reports results for drug crimes. Here, a I standard deviation increase in
     certainty reduces the number of drug crimes by 14 percent. Likewise, both personal and
     social rewards are drivers of drug crime (p < .10), a finding that accords with ethnographic
     research on young drug offenders (Venkatesh, 2008; Wright and Decker, 1994). For drug
     crimes, some evidence exists that the severity of the sanction is more important, although
     the parameter estimate is not significant at conventional levels of significance. Column (4)
     reports the same results for violent crimes. Here the finding is that violent crimes are, to
     a large degree, driven by perceived social rewards. A 1 standard deviation increase in the
     perceived social rewards is associated with a 40 percent increase in criminal activity.
        Finally, in column (5), we report results for a least-squares regression of the share of
     earnings obtained in the legal sector on the same regressors included in models (1)-(4).
     The evidence is consistent with a rational reallocation of time spent in legal versus illicit
     activities in response to changes in perceptions of the benefits of criminal activity. In par-
     ticular, a 1 standard deviation increase in certainty is associated with a 1.8 percentage
     point increase in the legal share of earnings, whereas the perceived rewards of crime are
     associated with a 2.0 to 3.0 percentage decrease in this variable. Interestingly, the nega-
     tive coefficient on social rewards implies that offenders are, other things equal, willing to
     trade off legal earnings for social status. As in models (1)-(4), little evidence exists of a
     relationship between criminal activity and perceived sanction severity.
        Overall, the pattern of the results suggests that offenders behave in a rational way with
     respect to perceived changes in the costs and benefits of crime. In this population, which
     many assume to be motivated more by irrational, emotional factors, both the benefits
     and costs of behavior seem to matter, and the rational consideration of costs and benefits
     characterize both property and expressive crimes such as violence and drug offenses alike.



                                                                                             1095
se Case
   No. 1:20-cr-00305-DDD
        1:20-cr-00305-DDD Document
                           Document645-2
                                    459-2 filed
                                             Filed
                                                 01/24/25
                                                   03/14/24 USDC
                                                             PageColorado
                                                                  17 of 27
                               1096 of 1354
                                           LOUGHRAN ET AL.

     Below the coefficient estimates in table 2, we provide a formal omnibus test for the sig-
     nificance of rational choice theory, operationalized as a joint test of the model's four key
     parameters. For the Poisson regression models in columns (1)-(4), this was done by using
     a likelihood ratio test with a critical value of X 2 with four degrees of freedom of 9.49. In
     column (5), we use an F test that, in a large sample, and given four parameters has a crit-
     ical value of 2.37. For all five dependent variables, we can reject the null hypothesis that
     rational choice has no predictive power at a = .01, indicating that offenders are at least
     somewhat responsive to risks, costs, and rewards.
        The final rows of table 2 present the results of tests of the set of pairwise linear restric-
     tions on the equality of individual model parameters for the rational choice measures.
     These tests allow us to draw inferences regarding whether offenders are, in fact, more
     responsive to certainty than to severity or whether they are more responsive to the per-
     ceived rewards of crime than to its costs. Because the theoretically expected signs on the
     estimates vary with certainty and severity expected to generate negative coefficients and
     the social and personal rewards measures expected to generate positive coefficients, for
     four of the six pairs of tests, we test whether one parameter estimate is equal to -1 times
     the other parameter estimate. We first consider the equality of certainty (p) and sever-
     ity (f) as this comparison has generated considerable discussion in the extant literature
      (Nagin, 2013; Paternoster, 2010). Although both parameter estimates are negative, for all
      crimes, we can reject (p < .01) that the two estimates are equal, providing direct evidence
      that offenders are, in fact, more responsive to certainty than they are to severity. This is also
      true for acquisitive crimes (p < .05). However, given the precision of our estimates, we
      cannot make this claim for drug crimes where severity seems to feature more prominently
      in offender decision making. Likewise, for violent crimes that are more uncommon in the
      data, a considerable degree of uncertainty remains regarding the relative magnitudes of
      these parameters.
         Several other results are worth noting. First, for four of the five dependent variables,
      we cannot distinguish the relative importance of social versus personal rewards of crime.
      The exception is for violent crimes where we conclude individuals seem to be more
      responsive to social rather than to personal rewards. Second, for acquisitive and violent
      crimes, we can conclude that the social rewards of crime are more strongly associated
      with offending than with sanction severity. For acquisitive crimes, we also can conclude
      that personal rewards are more strongly associated with offending than with severity.

      HETEROGENEITY
         For the full sample of individuals, table 2 provides strong descriptive evidence in favor
      of offender rationality in this sample. A natural extension is to consider whether these
      findings differ for theoretically important subgroups. Table 3 reports results by using a
      variety of all crimes as the dependent variable for seven subgroups within our sample:
      high-risk individuals, low-risk offenders, males, females, and White, Black, and Hispanic
      offenders. We highlight three primary conclusions. First, in each case, we can reject the
      null hypothesis that rational choice has no predictive power at a = .01, which suggests that
      the model yields some predictive validity across each subpopulation. 9 Second, although


       9.   We also conducted similar analyses for each subgroup by using the other dependent variables (i.e.,
            theft/robbery, drug crimes, violent crimes, and share of legal earnings). In the interest of brevity,
            we omit these results but note they are available as part of the online supporting information in




                                                                                                          1096
se Case
   No. 1:20-cr-00305-DDD
        1:20-cr-00305-DDD Document
                           Document645-2
                                    459-2 filed
                                             Filed
                                                 01/24/25
                                                   03/14/24 USDC
                                                             PageColorado
                                                                  18 of 27
                               1097 of 1354
                          RATIONAL CHOICE AS A GENERAL THEORY

      Table 3. Model-Based Tests of Rational Choice Theory: Subgroup
               Analyses for All Crimes Variety Score
                                               (1)         (2)        (3)        (4)       (5)         (6)         (7)
      Variable                              High Risk   Low Risk     Males     Females    Whites     Blacks     Hispanics
      Certainty of Apprehension (P)          -. 101*     -. 153**   -. 124**   -. 302**   -. 226**   -. 081*     -. 136**
                                              (.047)     (.028)      (.026)    (.077)     (.053)      (.038)      (.046)
      Severity of Sanction (f)                  .005     -. 016     -. 012       .074       .020     -. 016      -. 009
                                              (.037)     (.028)      (.023)    (.091)     (.050)      (.033)      (.042)
      Social Rewards (Y1)                      .120"*      .197**     .169**     .225*      .156**     .135**      .218*
                                             (.037)      (.034)      (.026)    (.100)     (.049)      (.040)     (.049)
      Personal Rewards (Y2)                    .44*        .160**     .146*      .115       .158"*     .147*#      .159**
                                             (.034)      (.027)      (.022)    (.092)     (.045)      (.038)     (.038)
      Joint Tests of Model Parameters
        X2 statistic on model parameters     41.7**      107.2**    120.1**    26.5**     63.2**     31.7**      47.5**
      X2 Tests on Individual Restrictions
        P=f                                   3.2 t       11.4**     10.8**     9.4**     12.8**       1.7        4.0*
        P = -Y1                                 .1           .9       1.4         .3        .8          .9        1.7
        P=-Y2                                   .6           .0        .4       2.5         .9         1.6         .1
        f= -Y1                                6.4*        14.8"*     19.0"*      4.6*      5.4*       4.9*       10.2**
        f= -Y2                                8.1*        12.1*      16.0**     2.0        6.6*       6.9**       5.8*
        Y1 = Y2                                .2           .7         .4          .5       .0          .1         .9
      Cross-sectional n                        318         647        870        95         208       391         325
     NOTES: Estimates presented are regression coefficients, and cluster-robust standard errors that account for
     within-respondent dependence are reported in parentheses below the coefficient estimates. In columns (1)-(7),
     we report the results of a Poisson regression on the variety of all crimes a respondent reports having committed
     during a recall period on four behavioral parameters implicit in rational choice theory. Each column presents
     a separate subgroup analysis according to risk, gender, or race. The z score of each behavioral parameter is
     used for ease of interpretation. All models condition on the respondent's age, the percentage of a respondent's
     time spent in custody, as well as additional control variables and interacted site-by-period and respondent fixed
     effects.
     tp < .10; *p < .05; **p < .01 (two-tailed).


     our sample of females is small (95 cross-sectional), women seem to be highly sensitive to
     changes in the certainty of apprehension. A 1 standard deviation increase in certainty is
     expected to reduce offending by -26 percent. At the same time, women seem to be less
     sensitive to the personal rewards of crime. Instead, they are highly responsive to perceived
     changes in the social rewards, providing some evidence that women's participation in
     criminal activity is more tied to the perceptions of their peers. Third, and perhaps most
     importantly, we observe the relative homogeneity of the results by race. Although several
     individual parameter estimates seem to differ by subgroup, overall, the model seems to
                                                                           10
     be equally predictive for White, Black, and Hispanic respondents.
        Tables 4 and 5 provide tests of differential deterrence across both crime types and sub-
     groups. Table 4 presents p values from tests of cross-equation restrictions for each of

           tables S3-S6. To summarize, including all crimes outcome, five dependent variables and seven
           subgroups generated 35 unique tests of offender rationality. In 28 out of 35 tests, we rejected the
           null hypothesis that rational choice has no predictive power at the a = .05 level. Only 3 of the 35
           tests yield an insignificant test statistic at ca= .10.
       10. An exception is acquisitive crimes for Black respondents (not shown in the current output although
           available as part of the online supporting information). For these respondents, the model does not
           have predictive power. In particular, certainty of capture seems not to matter with crime largely
           driven by perceived personal rewards.




                                                                                                                  1097
se Case
   No. 1:20-cr-00305-DDD
        1:20-cr-00305-DDD Document
                           Document645-2
                                    459-2 filed
                                             Filed
                                                 01/24/25
                                                   03/14/24 USDC
                                                             PageColorado
                                                                  19 of 27
                               1098 of 1354
     104                                     LOUGHRAN ET AL.

     Table 4. Tests of Cross-Equation Restrictions
                                                            (2)                       (3)                      (4)
                                                         Theft and                   Drug                    Violent
     Variable                                            Robbery                    Crimes                   Crimes
     A. Certainty of Apprehension (P)
       Theft and Robbery                                    -                          .33                     .87
       Drug Crimes                                         .33                         -                       .51
       Violent Crimes                                      .87                         .51                      -
     B. Severity of Sanction (f)
       Theft and Robbery                                    -                          .11                     .83
       Drug Crimes                                         .11                         -                       .47
       Violent Crimes                                      .83                         .47                      -
     C. Social Rewards (YI)
       Theft and Robbery                                    -                          .29                     .01*
       Drug Crimes                                         .29                          -                      .21
       Violent Crimes                                      .01**                       .21                      -
     D. Personal Rewards (Y2)
       Theft and Robbery                                    -                          .15                     .76
        Drug Crimes                                        .15                          -                      .16
       Violent Crimes                                      .76                         .16                      -
     Cross-sectional n                                     752                        675                      551
     NOTES: Table tests cross-equation restrictions for the four key parameters in our model of rational choice.
                                                        2
     Each entry refers to the p value arising from a X test of the null hypothesis that a given parameter is equal
     across Poisson regression models for different crime types. These are tests of the equality of the parameters in
     different columns of table 2. For example, Panel C reports that we can reject (p < .01) that the social rewards
     parameter is equal in the theft and violent models.
     **p < .01 (two-tailed).


     Table 5. Tests of Cross-Group Differences-All Crimes (Variety)
                                    (1)                  (2)             (3)                (4)
                                Certainty of         Severity of        Social            Personal          Cross-
     Variable                 Apprehension (P)       Sanction (f)    Rewards (Y1)       Rewards (Y2)      sectional n
     High risk / Low risk            .34                 .65               .13               .71              965
     Male / Female                   .03*                .36               .59               .74              965
     White / Black                   .03*                .55               .74               .85              591
     White / Hispanic                .20                 .66               .37               .99              533
     Black / Hispanic                .36                 .90               .19               .82              716
     NOTES: Table tests whether each of the four key parameters of our models of rational choice in table 3 differs
     by subgroup. For each pair of subgroups (e.g., male and female respondents), each entry refers to the p value
                      2
     arising from a X test of the null hypothesis that the two subgroups have equal parameter values for the all
     crimes variety outcome.
     *p < .05 (two-tailed).


     the four model parameters and each of the three crime types we consider. For any two
     crime types, the null hypothesis is that the parameter is equal for each crime type. For
     example, we might wish to know whether the certainty parameter is larger for acquisitive
     crimes than it is for drug crimes. Panels A, B, and D present evidence that, with respect
     to certainty, sanction severity, and personal rewards, we cannot reject the equality of
     any of the cross-equation parameter estimates. Thus, evidence that sanction severity is
     more strongly associated with some crimes than with other crime types is best regarded
     as speculative. The only evidence of differences we observe across crime types is that so-
     cial rewards seem to be more important for violent crimes as compared with theft/robbery
     crimes. In sum, the rational choice model of offending that we have specified seems to be
     equally similar for different kinds of offenses.



                                                                                                               1098
se Case
   No. 1:20-cr-00305-DDD
        1:20-cr-00305-DDD Document
                           Document645-2
                                    459-2 filed
                                             Filed
                                                 01/24/25
                                                   03/14/24 USDC
                                                             PageColorado
                                                                  20 of 27
                               1099 of 1354
                          RATIONAL CHOICE AS A GENERAL THEORY

      Table 6. Model-Based Tests of Rational Choice Theory: Robustness
               Checks
                                                  (1)                 (2)                (3)                 (4)
                                           Poisson without       Poisson with         Negative            Ordinary
                                             Interaction          Interaction         Binomial          Least Squares
      Variable                                  (P xJ)              (P x J)         Specification       Specification
      Certainty of Apprehension (P)            -. 138**             -. 141**           -. 139**            -. 103**
                                                (.025)               (.025)            (.022)               (.020)
      Severity of Sanction ()                  -. 010               -. 019             -. 009              -. 012
                                                (.022)              (.023)             (.017)               (.015)
      Interaction (P x f)                                           -. 026                -
                                                                    (.020)                -
      Social Rewards (Y1)                         .173**              .171**              .195**            .079**
                                                (.026)              (.026)              (.025)             (.019)
      Personal Rewards (Y2)                       .152**              .153**              .153*             .170*
                                                (.022)              (.022)              (.021)             (.027)
      Cross-sectional n                            965                 965                 965               965
      NOTES: In columns (1) and (2), we report the results of a Poisson regression of the variety of all crimes a
      respondent reports having committed during a recall period on four behavioral parameters implicit in rational
      choice theory. The z score of each behavioral parameter is used for ease of interpretation. Column (1) presents
      estimates from the baseline model reported in column (1) of table 2. In column (2), we add an interaction
      term between P and f to the baseline model. Columns (3) and (4) test the robustness of our choice of Poisson
      regression. In column (3), we report estimates for a negative binomial regression estimated via conditional
      maximum likelihood. Column (4) reports estimates using ordinary least squares. In all cases, standard errors are
      clustered at the level of the respondent with the exception of the negative binomial model where the standard
      errors are bootstrapped.
      **p < .01 (two-tailed).


         Table 5 reports p values arising from formal tests of the equality of the model param-
      eters across subgroups for all crime varieties. Column (1) reports results for certainty,
      whereas columns (2), (3), and (4) report results for severity and the social and personal
      rewards of crime, respectively. Overall, we again see little difference across subgroups, in-
      dicating the relative ubiquity of the model across these different groups. With the notable
      exception that Whites seem to be more responsive to certainty than Blacks, we observe no
      difference in the remaining parameters across race. Moreover, little evidence exists that
      offenders who were identified at baseline as posing an especially high risk of delinquency
      operate differently than low-risk offenders. The other exception
                                                                    11
                                                                           is we find evidence that
      men and women differ in their responsiveness to certainty.

      SENSITIVITY ANALYSIS
        Finally, we consider whether the main results reported in table 2 are robust to certain
      specification choices. This set of results is reported in table 6 with the results of column

        11. Although we are careful to avoid making causal claims in this analysis, we do wish to acknowl-
            edge the issue of temporal ordering of our measures, whereby the offending outcomes and rational
            choice measures were observed contemporaneously. As a robustness check, we estimated an addi-
            tional set of the model specifications by using the variety score outcome in which we used lagged
            versions of the key rational choice measures (i.e., measured at time t - 1) for the full sample and
            each subsample. In 6 of the 8 models, we could reject a null hypothesis that rational choice has no
            predictive power at the a = .05 level. Only 1 of the 8 tests yielded an insignificant test statistic at
            a = .10.




                                                                                                              1099
se Case
   No. 1:20-cr-00305-DDD
        1:20-cr-00305-DDD Document
                           Document645-2
                                    459-2 filed
                                             Filed
                                                 01/24/25
                                                   03/14/24 USDC
                                                             PageColorado
                                                                  21 of 27
                               1100 of 1354
                                          LOUGHRAN ET AL.

     1 in table 2 reproduced in column 1 of table 6 to ease comparisons. First, we consider
     a specification by using a variety of all crime for the full sample where we include the
     interaction between certainty and severity, to test whether the effect of severity is greater
     when certainty is greatest. This interaction directly falls out of Becker's (1968) model and
     has been suggested by extant literature. Results from the specification are reported in
     column (2). Although the sign of the coefficient on the interaction term (-.026) is in the
     theoretically expected direction, it fails to reach statistical significance. As such, evidence
     of a multiplicative relationship between certainty and severity is merely suggestive.
         Second, we considered the robustness of our estimates to our choice of a Poisson esti-
     mator. Column (3) reports results for the full sample by using conditional negative bino-
     mial regression. With the exception of the larger difference in magnitude of the coefficient
     on the social rewards, the results are similar with differences between coefficients across
     specification of .001. Column (4) reports estimates of ordinary least squares. Although
     the coefficients have a different interpretation and, as such, are not directly comparable,
     they yield a qualitatively similar story, again suggesting our choice of Poisson estimation
                     12
     is justifiable.


                                             CONCLUSION
        Although scholars promoting rational choice theory have made important contribu-
     tions to work in other social sciences, there has been some reluctance to accept it warmly
     within criminology. We think that the reluctance of many criminologists to embrace a
     rational choice model is that it has been misunderstood by critics who frequently claim
     that the rationalist assumptions of the theory are unreasonable for criminal behavior and
     that its conceptual net is cast too narrow, including only the formal costs and benefits of
     offending. Part of this mythos about rational choice theory must also, however, be un-
     derstood to have been reinforced by the way the theory has been empirically specified
     even by its proponents. Empirical models of so-called rational choice theory have only
     rarely moved beyond the consideration of what are really deterrence variables, and al-
     though some have tested more expansive versions of the theory (Matsueda, Kreager, and
     Huizinga, 2006; Piliavin et al., 1986), even these versions have omitted some important
     factors that are integral to rational choice theory. Our intent in this article is to pick up
     on a strain of thought first articulated by Piliavin et al. in 1986: "Unfortunately, despite
     numerous calls for a general theory of deterrence, nearly all of the empirical research on
     the issue takes as its framework 'a vague congery of ideas with no unifying factor other
     than their being legacies of two major figures in moral philosophy, Cesare Beccaria and
     Jeremy Bentham' (Gibbs, 1975: 5) ... [a] more fruitful approach to the issue of deter-
     rence would be to examine the relationship between formal sanctions and crime from
     within an explicit theoretical framework" (p. 101). Our ambition was to specify and test
     empirically a comprehensive rational choice model of crime and, in so doing, illustrate
     that the explanatory parts of the model are consistent with more sociological theories of


       12. We performed several additional robustness checks that included removing time-varying control
           variables. Without the full set of controls, the certainty and social and personal rewards param-
           eters are larger in magnitude, stressing the importance of the control variables we have chosen.
           Nevertheless, although the magnitudes vary, the results are again qualitatively similar.




                                                                                                      1100
se Case
   No. 1:20-cr-00305-DDD
        1:20-cr-00305-DDD Document
                           Document645-2
                                    459-2 filed
                                             Filed
                                                 01/24/25
                                                   03/14/24 USDC
                                                             PageColorado
                                                                  22 of 27
                               1101 of 1354
                     RATIONAL CHOICE AS A GENERAL THEORY

      crime and that it does not require that human beings act as homo economicus-strictly
      financial agents solely interested in the best price of things.
         With this motivation, several key findings emerged from our analysis. First, we found
      general support that individuals seem to be responsive to rational choice perceptions
      and that this held across different types of crimes, including aggressive crimes. More-
      over, these perceptions still held explanatory power even after taking account of time-
      stable unobserved heterogeneity between individuals, as well as multiple time-varying
      confounders. Second, we found that even when conditioning on observable heterogene-
      ity in terms of gender, race, and high- and low-offending risk, each of these subgroups
      was still responsive to these perceived risks, costs, and rewards. Third, we observed a
      large degree of homogeneity in terms of the magnitudes of the parameters across these
      subgroups, which suggests that there was little difference in how factors operate across
      different subgroups.
         We find that these adolescents with a history of serious criminal offending act in ac-
      cordance with the anticipated rewards and costs of offending and that this is as true for
      drug and violent offenses as it is for property crimes. We also found that these adoles-
      cents rationally reallocate their time in response to the expected changes in the benefits
      of legal and illegal activity. Although consistent with much previous research, the rewards
      of behavior generally carry somewhat greater weight than the costs, both are important
      influences on the youths' conduct. Finally, we find evidence of rational response to the
      contingencies of behavior across youths with different risk levels of criminal propensity,
      for both genders, and for Black, White, and Hispanic youth.
         In sum, we think we have posed a difficult test for the generality of rational choice
      theory, but a test it has passed. Our results would seem to confirm unambiguously our
      assertion that rational choice theory is as general a theory of crime as are social learning,
      social control, and strain theories. Moreover, our results, taken together with the prior
      work of Anwar and Loughran (2011); Matsueda, Kreager, and Huizinga (2006); and Pil-
      iavin et al. (1986), provide a substantial counterweight to the blunt conclusion reached
      by Pratt et al. (2006: 5) that "the effects of the variables specified by deterrence theory
      on crime/deviance are, at best, weak-especially in studies that employ more rigorous re-
      search designs." Moreover, our results also would seem to provide strong support for the
      core tenets of both situational crime prevention (Clarke, 1983) and a more recent theoret-
      ical model put forth by Nagin, Solow, and Lum (2015). We, however, caution RC scholars
      to be careful in making sure that their empirical models are faithful to the complexity of
      rational choice theory and that they include the full set of incentives and disincentives
      for legal and illegal conduct. Finally, we emphasize that often the failure of individuals
      to act in a fully rational manner is not necessarily an indictment of the entire theoretical
      paradigm of rational choice, but instead, it can provide important insight into heuristic
      devices and predictable deviations from rational behavior that may be useful in tweaking
      the theory.
         Our results also reveal an important consideration for future studies of criminal deter-
      rence, the bulk of which often have tended to offer hypotheses that typically are laid out
      in terms of a null hypothesis of no association between sanction cost/risk and offending.
      Any evidence in which this type of null hypothesis can be rejected tends to be taken as
      support for deterrence. Although such tests are perhaps weakly formed as is, our findings
      would suggest that the strong sensitivity of potential offenders to rewards to offending,
      both monetary and intrinsic, can easily offset any such weak deterrent effects of sanctions




                                                                                            1101
se Case
   No. 1:20-cr-00305-DDD
        1:20-cr-00305-DDD Document
                           Document645-2
                                    459-2 filed
                                             Filed
                                                 01/24/25
                                                   03/14/24 USDC
                                                             PageColorado
                                                                  23 of 27
                               1102 of 1354
                                     LOUGHRAN ET AL.

     and must be contemporaneously considered. As such, we advocate that future studies of
     offender decision making evolve beyond the somewhat narrow, current focus on costs and
     risk and bridge into deeper study of offending rewards and motivation, including studies
     of time preference, as it is clear that rewards and costs to crime are temporally distinct
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                                                                                          1102
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        1:20-cr-00305-DDD Document
                           Document645-2
                                    459-2 filed
                                             Filed
                                                 01/24/25
                                                   03/14/24 USDC
                                                             PageColorado
                                                                  24 of 27
                               1103 of 1354
                    RATIONAL CHOICE AS A GENERAL THEORY

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                                                                                         1103
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   No. 1:20-cr-00305-DDD
        1:20-cr-00305-DDD Document
                           Document645-2
                                    459-2 filed
                                             Filed
                                                 01/24/25
                                                   03/14/24 USDC
                                                             PageColorado
                                                                  25 of 27
                               1104 of 1354
     110                             LOUGHRAN ET AL.

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        Residential Break-ins. Boston, MA: Northeastern University Press.
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       Aaron Chalfin is a researcher at the University of Chicago Crime Lab, with Crime Lab
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                             SUPPORTING INFORMATION
       Additional Supporting Information may be found in the online version of this article at
     the publisher's web site:

     Table S1. Model-Based Tests of Rational Choice Theory: Variety Score Nonzero Expo-
     sure Time
     Table S2. Model-Based Tests of Rational Choice Theory: Variety Score Sensitivity Check
     Table S3. Model-Based Tests of Rational Choice Theory: Subgroup Analyses for Theft
     And Robbery (Frequency)
     Table S4. Model-Based Tests of Rational Choice Theory: Subgroup Analyses for Drug
     Crimes (Frequency)
     Table S5. Model-Based Tests of Rational Choice Theory: Subgroup Analyses for Violent
     Crimes (Frequency)
     Table S6. Model-Based Tests of Rational Choice Theory: Subgroup Analyses for Legal
     Share of Earnings
     STATA SYNTAX RECORDS FOR TABLES IN TEXT




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Case No. 1:20-cr-00305-DDD         Document 645-2 filed 01/24/25              USDC Colorado   pg
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                                            District of Colorado

  Notice of Electronic Filing


  The following transaction was entered on 3/22/2024 at 4:37 PM MDT and filed on 3/21/2024

  Case Name:       USA v. Tew et al
  Case Number:     1:20−cr−00305−DDD
  Filer:
  Document Number: 462(No document attached)
  Docket Text:
   MINUTE ENTRY for Status Conference as to Michael Aaron Tew and Kimberley Ann Tew
  held before Magistrate Judge Susan Prose on 3/21/2024. Discussion regarding issue referred
  to this court (see ECF No. 455). An ex parte hearing to determine Michael Tew's entitlement
  to ongoing court−appointed counsel under 18 U.S.C. § 3006A(c) is SET for March 28, 2024, at
  1:30 p.m. in Courtroom C205 before Magistrate Judge Susan Prose. Any documents to be
  submitted in connection with this hearing shall be sent directly to Chambers, as discussed
  on the record, on or before 10:00 a.m. March 27, 2024. An ex parte hearing to determine
  Kimberley Ann Tew's entitlement to ongoing court−appointed counsel under 18 U.S.C. §
  3006A(c) is SET for April 15, 2024, at 1:30 p.m. in Courtroom C205 before Magistrate Judge
  Susan Prose. Any documents to be submitted in connection with this hearing shall be sent
  directly to Chambers, as discussed on the record, on or before 12:00 p.m. April 10, 2024.
  Hearing concluded. FTR: C205. (Total time: 1 hour and 8 minutes, Hearing time: 3:57 p.m. −


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Case No. 1:20-cr-00305-DDD           Document 645-2 filed 01/24/25           USDC Colorado       pg
                                         1108 of 1354


  5:05 p.m.) Text Only Entry.

  APPEARANCES: Bryan David Fields and Sarah Hunter Weiss on behalf of the Government,
  Jason Dale Schall and Kristen M. Frost on behalf of Defendant Michael Aaron Tew and David
  Scott Kaplan for on behalf of Defendant Kimberly Ann Tew. (trvo, )


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Case No. 1:20-cr-00305-DDD           Document 645-2 filed 01/24/25           USDC Colorado   pg
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                                 1110 of 1354




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD-SBP

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW, and
      2. KIMBERLEY ANN TEW, a/k/a Kimberley Vertanen,

        Defendants.


             GOVERNMENT’S BRIEF REGARDING DEFENDANTS’
                ONGOING ELIGIBILITY FOR CJA COUNSEL


        Since December of 2022, Michael and Kimberley Tew have been the

 beneficiaries of a free criminal defense, funded by taxpayers through the Criminal

 Justice Act of 1964.1 Last month, they were convicted by a jury of nearly all charges.

 ECF No. 448. At trial, the government proved the Tews conspired to steal over

 $5,000,000 from Michael’s former employer through the submission of fake invoices

 from sham vendors.2 The jury heard the Tews’ motive for doing what they did: Both




 1      Over this case’s long history, Michael and Kimberley Tew have each cycled
 through numerous defense counsel, some private, and some CJA-funded.
 Additionally, they pursued joint counsel for a period of time before finally agreeing to
 and receiving separate attorneys. A summary of this procedural history can be found
 in the government’s response to Michael Tew’s motion for severance, which was filed
 mid-trial. See ECF No. 422.

 2     The government also proved that Michael Tew failed to file any tax returns
 from 2016-2018.
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                                                               PageColorado
                                                                   2 of 21              pg
                                 1111 of 1354




 enjoyed a lavish lifestyle, and Kimberley Tew, in particular, was addicted to gambling

 and speculated heavily in cryptocurrency. The couple chose, over and over again, to

 defraud the Victim Company over a two-year period in order to finance these selfish

 ends. They did so with brazen and callous disregard for any potential legal exposure.

    I.      Relevant Evidence Adduced at Trial & Procedural Background

         At the same time the charged offenses were taking place, Kimberley Tew was

 running a cryptocurrency Ponzi scheme, in which she convinced investors to give her

 their money and/or digital currency, which she would purportedly invest on their

 behalf. Her customers’ initial investments would appear to pay off spectacularly,

 convincing them to invest more. Once the customers were in, however, she would then

 feign troubles with her proprietary trading “algorithm” and/or complain of her own

 financial woes in order to convince them to send more and more. Those “investments”

 were often transferred to Kimberley via peer-to-peer payment platforms, such as

 PayPal, Apple Pay, Amazon Pay, and CashApp (Block, Inc.), or otherwise were

 transferred to her directly through crypto exchange platforms, such as Coinbase.

         The jury also learned that, at least at one point, the Tews financed Kimberley’s

 crypto habit through the purchase of gift cards from various national retailers, such

 as King Soopers, Target, and Walgreens. These gift cards were purchased in

 round-dollar amounts ranging between $500 to upwards of $3,000 at a time, and they

 served as a way for Kimberley to repay her crypto debtors and/or to resell the gift

 cards on the secondary market to obtain even more cash for even more crypto. The

 jury heard evidence that the Tews’ true purpose behind purchasing the gift cards in



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                                                     03/27/24 USDC
                                                               PageColorado
                                                                   3 of 21              pg
                                 1112 of 1354




 this manner was to conceal the true source of the funds (which in that case came from

 the Victim Company’s coffers).

       Likewise, the jury learned that the Tews manipulated their friends and

 associates into becoming witting and unwitting money mules in this crypto scam. In

 at least one instance, a crypto investor of Kimberley’s was convinced to act as a money

 mule and receive the Victim Company’s funds into his accounts. He testified that,

 although he realized this was questionable and possibly criminal behavior, he only

 did so because he was so desperate after losing nearly all his life savings to Kimberley.

       The government also presented evidence at trial that the defendants had

 control and ownership of numerous bank accounts with multiple financial

 institutions during the time period when they were defrauding the Victim Company.

 The bank records showed vast quantities of the Victim Company’s money being

 deposited in accounts owned or controlled by the Tews, which then quickly

 disappeared through a tangled web of bank transfers, cash withdrawals, deposits into

 cryptocurrency ATMS, and transfers to offshore crypto exchanges, peer-to-peer

 payment services, and peer-to-peer crypto trading websites.

       During trial preparation, the government learned something very disturbing:

 It seemed the Tews’ questionable banking activity was continuing, unabated, despite

 the fact that the defendants were subject to bond conditions. In early 2024, the

 government began receiving records that indicated Michael Tew continued to be

 employed by several companies. He was earning significant income each month,

 income which appeared to be quickly transferred into other bank accounts in



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                                                     03/27/24 USDC
                                                               PageColorado
                                                                   4 of 21            pg
                                 1113 of 1354




 Kimberley Tew’s name and/or otherwise invested in crypto-related speculations. This

 income also continued to finance a lifestyle for the Tews that would be beyond the

 reach of most people. For example, during the pendency of trial, the Tews rented a

 luxury apartment in Denver’s Speer neighborhood at a cost of $8,646.69 per month.

       That banking activity was concerningly similar to the conduct at issue in this

 case. It also appeared that it could be contradictory to the Tews’ bond conditions,

 which placed significant financial monitoring requirements on each of them. See ECF

 No. 9 (M. Tew Bond Conditions) and ECF No. 99 (K. Tew Bond Conditions).

       Following their convictions, the government sought the defendants’ detention

 pending sentencing. In moving for that relief, the government questioned whether

 the recently received records also suggested that the Tews, under penalty of perjury,

 may have misrepresented their financial status to the court in order to obtain their

 CJA-funded counsel. See ECF No. 450. If so, and as pertinent to the prosecution’s

 detention motion, new offenses (e.g. perjury), may have been committed while the

 Tews were on bond, in direct violation of their conditions for release.

       The government’s suspicions also raise two practical and factually-distinct

 questions regarding the Tews’ past and ongoing qualification for CJA-funded counsel:

 (1) Do the Tews owe reimbursement for any of the back-costs of their criminal defense

 that were incurred?, and (2) Are the Tews entitled to CJA-funded counsel going

 forward?

       On March 12, 2024, the district court issued a minute order referring the latter

 question to this Court. Quoting the minute order in full:



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                                                               PageColorado
                                                                   5 of 21               pg
                                 1114 of 1354




       The government’s motion questions whether Mr. and Mrs. Tew are still
       eligible for CJA-appointed counsel for this case. There is sufficient
       evidence to call into question their present eligibility under 18 U.S.C.
       § 3006A.

       The issue of whether Michael Tew and Kimberley Tew remain entitled
       to ongoing court-appointed counsel under Section 3006A(c) is therefore
       REFERRED to Magistrate Judge Susan Prose. All other issues raised in
       the government’s motion, including the potential detention of Mr. and
       Mrs. Tew pending sentencing or the potential unsealing of any prior CJA
       affidavits, will be addressed at a detention hearing before this Court[.]

 ECF No. 455 (emphasis added).

       On March 21, this Court held a status conference to discuss how to approach

 the referred issue. At the status conference, the Court invited the parties to submit

 briefing   and   any   supporting    documentation     they   believe   merits   judicial

 consideration.3 The Court also set separate ex parte hearings for each defendant. See

 ECF No. 462.

       The government’s knowledge of the Tews’ present financial status is limited.

 The government does not know, for example, what the Tews told the courts in their

 prior CJA affidavits. Nor does the government know what the Tews represented to

 their pretrial officers while on bond. Likewise, the government does not know what

 the Tews would say to the court now. The government does not know if it has obtained

 records for all of the Tews’ holdings, and for the holdings the government does know

 about, the prosecution has not had sufficient time to conduct a full financial

 accounting to understand the relationship among those holdings. The prosecution



 3      Per the Court’s request, the government will hand-deliver its evidence by USB
 drive to the clerk’s office with a marking indicating that its contents are for chambers’
 review only and not for docketing.
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                                                               PageColorado
                                                                   6 of 21                  pg
                                 1115 of 1354




 also is not privy to what effects, if any, the Tews’ convictions may have had on their

 current finances. All the government can say at this point is that the evidence it has

 obtained raises serious questions.

          The government therefore submits this briefing and supporting evidence in

 advance of the defendants’ ex parte hearings for a limited purpose: Through this filing

 and the submission of the records, the government seeks to provide the court with its

 position on the law and its understanding at this time of the evidence that it has been

 able to obtain. Due to the Tews’ history of dishonesty both outside of the courtroom

 and within it, the government urges this Court to conduct a searching inquiry into

 the present state of the Tews’ finances and their eligibility for CJA-funded counsel

 going forward. That inquiry should include an examination of underlying documents,

 and it should require fulsome disclosures, supporting extrinsic evidence, and honest

 explanations of all of the facts. In this case, the axiom “distrust and verify” applies.

    II.      Summary of Recently Received Records

          As noted, the government has not seen and cannot access all potential evidence

 of the Tews’ present financial condition. Nor has the government had sufficient time

 to try and compare and contrast and piece together all of the records received from

 each institution to determine exactly how they interact. The records that the

 government has received, however, indicate that the couple received substantial

 income while this case was pending, which they quickly spent on highly questionable

 crypto speculation. This activity even took place during the trial itself.

          Looking backward, this banking activity calls into question the Tews’



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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         465 filed
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                                                   01/24/25
                                                     03/27/24 USDC
                                                               PageColorado
                                                                   7 of 21             pg
                                 1116 of 1354




 truthfulness when they represented their assets and liabilities to the courts.4 It also

 may have implications on whether they truly complied with the conditions of their

 bonds pending trial. Looking forward, and as pertinent to the issue before this Court,

 these records may shed some light on the “present” state of the Tews’ finances. To the

 extent that these facts undermine the Tews’ prior candor with the courts, they also

 can be considered when evaluating whether to qualify CJA counsel through the

 remaining proceedings. See infra.

         To assist the Court in reviewing these financial records, the government

 provides the following high-level summary and index. These summaries are not

 intended to go through the documents on a transaction-by-transaction basis, but

 instead highlight illustrative points that prove the Tews’ finances must be reviewed

 with careful scrutiny.

     •   Credit Union of        Denver     Bank     Statements      [INV_09583-09900;
         INV_09953-10358]:

            o The Credit Union of Denver bank statements cover an account held by
              Michael Tew (x8851) between May 2021 through February 2024. That
              account including a “prime share” account (suffix -00) and a “basic
              checking account (suffix -06). Focusing on the period of the Tews’ CJA
              appointments,5 the x8851 account received deposits ranging from


 4     See ECF No. 29 (M. Tew financial affidavit); ECF No. 282 (M. Tew and K. Tew
 financial affidavits). See also ECF No. 26 (M. Tew request for FPD appointment);
 ECF No. 175 (pro se letter from Tews requesting additional time to retain private
 counsel); ECF Nos. 13, 25, 54, 111, 162, 166, 167, 273, 300 (various motions to
 withdraw filed by defense counsel over the history of this litigation).
 5     Michael Tew and Kimberley Tew first were appointed CJA counsel (Peter
 Bornstein) in December 2022. Mr. Bornstein was previously retained, but after he
 attempted to withdraw based on the Tews’ failure to pay, he was appointed as CJA
 counsel. See ECF No. 287. Thereafter, Kimberley Tew received her own CJA counsel,
 and Mr. Bornstein was replaced with Michael Tew’s present CJA counsel. Trial was
 held between February 5 and 15, 2024.
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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-2
                                         465 filed
                                               Filed
                                                   01/24/25
                                                     03/27/24 USDC
                                                               PageColorado
                                                                   8 of 21           pg
                                 1117 of 1354




             $22,987.04 to $124,989.95 per month in the two years the Tews received
             publicly funded legal counsel. See ECF No. 450.

          o Many of these deposits were five-figure, regular influxes from legitimate
            corporations. Based on this and other publicly available information, the
            government believes that Michael Tew was employed during this period,
            probably providing financial consulting work to those companies (to
            include the Seaport Global Asset Management, the Seaport Group, and
            Stephen C Smith (an individual associated with these entities);
            Scantech Identification Beam Tech Systems, Inc; as well as Springbig
            and Canna Business (entities in the cannabis space, where Michael Tew
            has prior experience)).

          o The account also received significant (often four figure) deposits from
            crypto exchanges, such as Bittrex and Bitstamp, during the same time
            period.

          o During the 2022-2024 time frame, this single account received more
            than $1,212,181.27 in deposits.

          o Every month, most of that money disappeared, often through bank
            transfers or withdrawals and purchases from retailers in round-dollar
            amounts (which, based on prior conduct, may be bulk purchases of gift
            cards).

          o Focusing on the most recent of those statements (January and February
            2024) reveals several interesting transactions:

                ▪   During the month of the trial (February 2024), the x8851 CU
                    Denver account received $27,157.15 in deposits. Within the same
                    month, almost all of those funds were withdrawn, specifically,
                    $27,107.99. [INV_10139-10147.]

                ▪   Deposits of note in February 2024 include two influxes of
                    $9,337.38 and $9,728.93, received on February 5 and 7 (the first
                    and third days of trial). Both of these deposits originated from
                    Bitstamp USA Inc., a cryptocurrency exchange.

                ▪   Almost all of those funds were withdrawn within a matter of days
                    (again during the course of trial itself). The government does not
                    know the destination of those funds at this time; however, it notes
                    that each deposit is just of the $10,000 threshold that would
                    trigger institutional reporting requirements.



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Case No.
      Case
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            1:20-cr-00305-DDDDocument
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                                         465 filed
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                                                   01/24/25
                                                     03/27/24 USDC
                                                               PageColorado
                                                                   9 of 21         pg
                                 1118 of 1354




                ▪   The month prior to trial (January 2024) is similarly concerning.
                    During that month alone, Michael Tew received $91,925,67 in
                    deposits. By the end of the month, $88,930.62 had been
                    withdrawn. [INV_09970-09989.]

                ▪   The account was drawn down largely through a series of round
                    dollar withdrawals, ranging from $100 to $1,500 at a time. Some
                    of these withdrawals are to retailers known to offer gift cards
                    (such as Walgreens, Uber Eats, Instacart, and DoorDash). This
                    pattern is virtually identical to the Tews’ past history of
                    purchasing gift cards as a means to fund crypto speculations.

                ▪   Similarly, numerous deposits and withdrawals went through
                    peer-to-peer transfer sites such as Apple Pay and Amazon Pay,
                    platforms that Kimberley Tew has used in the past with money
                    mules and crypto customers.

                ▪   Finally, the January statement shows repeated withdrawals to
                    “Ramp” with an address at 8 The Green in Dover, DE. The
                    government believes that these withdrawals went to
                    Ramp.network, a crypto app that provides, inter alia, transfers
                    between fiat currency and crypto.

    •   Evolve Bank & Trust Records [INV_10359-10417]:

          o This spreadsheet and the supporting documents summarize
            transactions of a bank account held by Kimberley Tew with Evolve Bank
            & Trust, a digital bank.

          o Between approximately June 2023 through December 2023, the account
            received over $142,000 in deposits. The majority of the deposits were
            from peer-to-peer transactions from services such as Apple Cash,
            PayPal, Metapay, and CryptoHub.

          o Those funds appear to were rapidly transferred out in order to purchase
            cryptocurrency, as well as sent to a personal account held by Kimberley
            Tew at Stride Bank.

    •   Chime Card (Stride Bank) Records [INV_10433]:

          o Stride Bank provides banking services for Chime, a financial technology
            company where Kimberley Tew holds or has held a debit or credit card.
            Stride provided records showing that, between March 2023 and
            February 2024, Kimberley engaged in similar transactional activity in

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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         465 filed
                                               Filed01/24/25
                                                     03/27/24 USDC
                                                               Page Colorado
                                                                    10 of 21         pg
                                  1119 of 1354




             this account. Specifically, between March 2023 and February 2024, the
             records show an influx of approximately $36,000 worth of deposits, in
             the form of visa money transfers, other peer-to-peer transfers, and
             deposits from crypto exchanges. The same amount of money was
             transferred out to various crypto exchanges. [See “summary” tab.]

    •   Block, Inc. (CashApp/Square) Records [INV_09582]:

          o Block, Inc. is the corporate entity that runs CashApp, a popular peer-to-
            peer service that allows individuals to send money to one another, as
            well as Square. Block, Inc. and its entities also provide services to buy,
            sell, send, and receive cryptocurrency. The spreadsheet received from
            Block summarizes transactions for an account held in Kimberley Tew’s
            name between January and March of 2022.

          o It shows that Kimberley Tew’s CashApp account was linked or
            attempted to be linked to at least three credit or debit cards held with
            multiple financial institutions during this brief time period.

          o In a less than two week period in March 2022, Kimberley Tew’s
            CashApp account and a bank account held in the name of Michael Tew
            attempted $8,460 worth of peer-to-peer transfers.

          o Additional transfers of $9,500 were attempted between the two, but did
            not complete, apparently because the amounts exceeded CashApp’s
            monthly transaction limit.

          o Hundreds of attempted transfers and transactions are reflected,
            including numerous purchases, transfers, and sales of Bitcoin.

    •   PayPal Records [INV_09901-09921]:

          o The PayPal records show that Kimberley Tew held an account in her
            maiden name (Kimberley Vertanen). The spreadsheet summarizing the
            account activity indicates that Kimberley’s account was linked to
            multiple bank accounts and virtual currency accounts. [INV_09901
            (Tab: “Financials”).] The various “Transaction” tabs show that the
            account was frequently engaged in crypto trading.

          o Moreover, the accompanying documents show that PayPal flagged the
            account’s activity, because of its tendency to transact with online
            gambling sites, such as stake.com and shuffle.com. PayPal also noted
            significant activity with crypto exchange and brokerage sites, such as
            coinbase.com and paxos.com.

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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
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                                      645-2
                                         465 filed
                                               Filed01/24/25
                                                     03/27/24 USDC
                                                               Page Colorado
                                                                    11 of 21      pg
                                  1120 of 1354




          o PayPal also flagged transfers with other peer-to-peer payment services,
            such as Apple cash, where the origins of funds could not be determined,
            as well as other transactions of dubious origin.

          o Finally, PayPal noted that the account received payments from
            Raise.com, a website where individuals can sell gift cards at a
            discounted amount in exchange for cash. [See INV_09902-09921.]

    •   PNC Records [INV_09922]:

          o PNC provided a spreadsheet that summarizes transaction activity for
            an account held in Kimberley’s name from approximately March
            through July of 2022.

          o During that four-month period, the account received over $144,853.61 of
            credits, the vast majority of which were deposits from peer-to-peer
            payment services, including Zelle, Apple Cash, Cash App, and Facebook
            Pay.

          o Many of these deposits originated from Michael Tew, often multiple
            times within a single day. On May 12, 2022, the account received two
            separate deposits from Credit Union of Denver (where Michael Tew
            banked), which, based on the amounts, appear to have been structured
            to avoid the $10,000 reporting requirement.

          o During the same four-month period, the account was drawn down via
            near-daily transfers to cryptocurrency exchanges, such as zerohash.com
            and crypto.com, to the tune of $116,946.71.

    •   Robinhood Records [INV_09923-09951]:

          o The records provided by Robinhood show that Michael Tew and
            Kimberley Tew each held brokerage accounts between January 2018
            and August 2023.

          o The Know Your Customer information provided to Robinhood contains
            possible misrepresentations and/or evidence that may contradict what
            the Tews said to the courts in their CJA-23 affidavits. For example,
            Kimberley stated that she had 4 dependents (rather than 2), and she
            stated that she was employed as a “consultant” for Sand Hill LLC
            (Michael Tew’s company which was used in the charged fraud). She
            listed her income as being $200,000-$499,999 per year; her cash and
            investments as being between $50,000 - $99,999; and her total net worth

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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         465 filed
                                               Filed01/24/25
                                                     03/27/24 USDC
                                                               Page Colorado
                                                                    12 of 21             pg
                                  1121 of 1354




              as being between $100,000 - $249,000.

           o For his part, Michael listed no dependents, but stated that he was
             employed as a financial planner advisor with “Seaport,” which matches
             the regular deposits into his CU Denver account. He did not provide
             further specification regarding his assets.

           o In a pattern which is all too familiar, both accounts show substantial
             peer-to-peer and crypto transactions.

    •   ZeroHash Financial Records [INV_009952]:

           o Based on some of the other records received, it is clear that Kimberley
             Tew has held accounts with ZeroHash, a company that boasts business-
             to-business brokerage and crypto trading.

           o According to the spreadsheet of records received from ZeroHash, the
             company’s AML department flagged transactions with their company as
             well.

    III.   Legal Standards for Determining CJA Eligibility

        The Criminal Justice Act of 1964, 18 U.S.C. § 3006A, is the federal vehicle

 providing for the appointment and payment of counsel for certain criminal

 defendants. See also United States v. Gonzales, 150 F.3d 1246, 1265 (10th Cir. 1998).

 Its purpose is to protect the right to counsel by assuring that every defendant,

 regardless of his or her ability to pay, receives the benefit of a competent defense.

 United States v. Parker, 439 F.3d 81, 90 (2d Cir. 2006) (citing United States v.

 Barcelon, 833 F.2d 894, 896 (10th Cir. 1987)).

        The Act’s funding is not limitless. In order to protect the source of that funding

 from abuse — and by extension — to ensure the availability of such funding for those

 that truly need it, the court must conduct an “appropriate inquiry” into whether the

 defendant is “financially unable to obtain counsel.” 18 U.S.C. § 3006A(b); see also



                                            12


                                                                                              1121
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         465 filed
                                               Filed01/24/25
                                                     03/27/24 USDC
                                                               Page Colorado
                                                                    13 of 21             pg
                                  1122 of 1354




 Barcelon, 833 F.2d 894, 896-97 (10th Cir. 1987). That inquiry is shaped by two

 governing principles:

           First, under the Act, the defendant bears the burden of persuading the court

 that they are unable to pay for their own counsel. Barcelon, 833 F.2d at 898 (citing

 cases); see also United States v. Anthony, No. 15-CR-126-C-5, 2018 WL 1866614, at

 *2 (W.D. Okla. Mar. 29, 2018) (noting that the Tenth Circuit has not decided the

 precise standard of review for defendant’s burden, but applying a preponderance of

 the evidence standard).

           Second, the inquiry is not a static one. Rather, the Act charges the court with

 an ongoing obligation to inquire about a defendant’s ability to pay throughout the

 lifespan of the proceedings.6 18 U.S.C. § 3006A(b)-(c); see also 51 A.L.R. Fed. 561

 § 2(b).

           Under Section 3006(c), appointment of CJA counsel may be invoked at any




 6      The U.S. Court’s Guide to Judicial Policy regarding the Criminal Justice Act,
 as well as its Model Plan for the Act’s Implementation and Administration, mandates
 that each judicial district implement a CJA plan that includes a provision notifying
 defense counsel of their affirmative obligation to notify the court of changes to a
 client’s CJA eligibility. See Section Vol. 7, Part A, Section 210.10.30, available at
 https://www.uscourts.gov/rules-policies/judiciary-policies/criminal-justice-act-cja-gui
 delines#:~:text=Enacted%20in%201964%2C%20the%20CJA,counsel%20in%20feder
 al%20criminal%20proceedings.
        Despite this, the District of Colorado’s CJA Plan does not appear to include
 such language. The District Plan does generally direct CJA counsel to abide by the
 CJA Guidelines approved by the Judicial Conference. See D. Colo. CJA Plan, Section
 (I)(B), available at https://cocja.wpcomstaging.com/wp-content/uploads /2019/12/
 COD_CJA_Plan_Dec2019.pdf.
        In any event, the docket reflects that Magistrate Judge Kristen L. Mix notified
 at least Michael Tew that changes to his financial status could impact his CJA
 eligibility and could require him to reimburse the CJA fund. See, e.g., ECF No. 30.
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                                                                                              1122
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         465 filed
                                               Filed01/24/25
                                                     03/27/24 USDC
                                                               Page Colorado
                                                                    14 of 21             pg
                                  1123 of 1354




 point in the judicial proceedings, “as the interests of justice may dictate.” Likewise,

 under Section 3006(f), if at any point a defendant is able to afford the costs or some

 portion of the costs of their defense, the court may direct the defendant to start paying

 for or to reimburse previously paid-for costs. At all times, the court’s inquiry should

 be directed at the defendant’s present or current availability to pay. Anthony, 2018

 WL 1866614, at *3 (citing cases from the Fourth, Sixth, and Ninth Circuits).

       In the typical case, most federal courts, including the courts of this district,

 rely on the defendant’s submission of a basic affidavit (the CJA-23 financial affidavit),

 certified under penalty of perjury, that outlines the defendant’s income and assets,

 as well as their obligations, expenses, and debts. If that document suggests that the

 defendant would be unable to afford the costs of counsel, in most instances, the court

 has satisfied its obligation to conduct the “appropriate inquiry” required by 18 U.S.C.

 § 3006A. Barcelon, 833 F.2d at 897 (citing cases). However, an “appropriate inquiry”

 “necessarily varies with the circumstances presented, and no one method or

 combination of methods is required.” Id.

       “[A] broad range of additional considerations” may apply where circumstances

 warrant. Id. Such considerations may include the needs of the defendant and his

 family, the amount posted by the defendant as bail, the expense and extent of legal

 services which the defendant requires, and other sources of assets, including the

 availability of assets from a spouse or other family member, as well as funds available

 through trusts, estates, IRAs, or other asset streams. See Barcelon, 833 F.2d at 897

 n. 5 (citing cases). Likewise, the liquidity of the defendant’s assets is a valid



                                            14


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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         465 filed
                                               Filed01/24/25
                                                     03/27/24 USDC
                                                               Page Colorado
                                                                    15 of 21            pg
                                  1124 of 1354




 consideration. See id. at 897-98 (citing cases); see also United States v. Konrad, 730

 F.3d 343, 347 (3d Cir 2013) (citing Guide to Judicial Policy for principle that assets

 are “available” when defendant has control or discretionary use of them).

          Another valid consideration is the defendant’s credibility. For example, where

 the evidence shows that a defendant has misrepresented or secreted assets to create

 a false impression of CJA-eligibility, that may justify declining or discontinuing

 appointment. See Barcelon, 833 F.2d at 897 n.5 (citing United States v. Rubinson, 545

 F.2d 951, 964 (2d Cir. 1976) (evidence of secreted assets justified declination of CJA

 appointment); United States v. Binder, 794 F.2d 1195, 1202 (7th Cir. 1986)

 (defendant’s refusal to provide evidence of financial status in light of evidence

 submitted by government which suggested ability to pay justified denial of CJA

 payment)).

    Similarly, the court may consider how a defendant has been using their available

 funds. For instance, a defendant’s decision to invest their money in other

 opportunities, rather than paying for their own criminal defense, can undermine a

 defendant’s CJA eligibility. See, e.g., Konrad, F.3d 343, 347-48 (3d Cir. 2013) (quoting

 Barry v. Brower, 864 F.2d 294, 300 (3d Cir. 1988) for principle that, “[i]n some cases,

 liquidation of assets may be required); O’Neil, 118 F.3d 65, 74 (2d Cir. 1997) (evidence

 of defendant’s independent investments showed ability to pay).

    IV.      Application at the Ex Parte Hearings

          Although the Tews may present revised CJA-23 affidavits at the upcoming

 ex parte hearings, the evidence provided by the government, combined with the legal



                                            15


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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         465 filed
                                               Filed01/24/25
                                                     03/27/24 USDC
                                                               Page Colorado
                                                                    16 of 21           pg
                                  1125 of 1354




 standards described above, provide a solid factual and legal basis for this Court to

 inquire further. The defendants should not simply be taken at their word, even if that

 word is submitted under pains and penalties of perjury.

       Rather, should the Tews desire CJA-funded counsel going forward, they must

 meet their burden and prove to this Court that they truly qualify for it. The court

 would be well within the law and the facts to require that the Tews submit all of their

 bank statements, to include a full disclosure of their crypto holdings, to prove the

 current state of their assets and liabilities. The government also encourages the court

 to consult with the defendants’ supervising pretrial officers, to determine whether

 and to what extent they disclosed their financial activities while under bond.

       From what the government can see, Michael Tew continued to receive

 substantial income up through the point of trial. For example, as of the fourth quarter

 of 2023, Michael Tew was still receiving tens of thousands of dollars per month from

 companies such as the Seaport Group and Springbig. During this same period,

 Michael Tew also willingly received substantial deposits into his account in the form

 of transfers from crypto exchanges. The government does not know whether these

 transfers originated from Michael Tew, Kimberley Tew, her “investors,” or some other

 third-party source, including potential new victims.

       Similar to the time period when the Tews were defrauding the Victim

 Company, those assets were quickly diverted to other destinations. If past history is

 considered indicative of future conduct, those funds most likely went to locations

 controlled by Kimberley Tew, probably for the purpose of gambling and crypto



                                           16


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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         465 filed
                                               Filed01/24/25
                                                     03/27/24 USDC
                                                               Page Colorado
                                                                    17 of 21            pg
                                  1126 of 1354




 speculation. Even setting aside the question of the propriety of these purchases and

 transfers, they show that the funds in Michael Tew’s account were highly liquid. The

 availability and fungibility of these assets are all things that this Court should

 consider when evaluating the Tews’ eligibility for CJA counsel going forward. See

 supra. Likewise, to the extent that these facts call into question the Tews’ prior

 candor to the courts and to the Tews’ pretrial officers, their credibility is also a

 germane factor to this Court’s inquiry.

       Finally, the government seeks to address two arguments raised by the

 defendants at the status conference.

       First, because this Court’s inquiry must remain on the Tews’ present ability to

 pay for counsel, requiring them to put forth evidence supporting a request for ongoing

 CJA funding to this Court does not put them in any sort of legal jeopardy regarding

 their past representations. See, e.g., Anthony, 2018 WL 1866614, at *3 (noting that

 defendant’s past dishonesty is not necessarily dispositive of present financial status).

       A refusal to provide such evidence, or to put forward the requisite proof to meet

 their burden of showing eligibility, however, can justify denying continued

 appointment. See also Parker, 439 F.3d at 97 (quoting United States v. Anderson, 400

 F. Supp. 2d 32, 35 (D.D.C. 2005) and the Guide to Judicial Policy for principle that,

 “It is the responsibility of the defendant to provide the court with sufficient and

 accurate information upon which the court can make an eligibility determination.”)).

       For example, in United States v. Binder, 794 F.2d 1195, 1200-01 (7th Cir.

 1986), the Seventh Circuit addressed the declination of CJA funding for two



                                           17


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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         465 filed
                                               Filed01/24/25
                                                     03/27/24 USDC
                                                               Page Colorado
                                                                    18 of 21            pg
                                  1127 of 1354




 defendants. In Binder, the prosecution provided evidence that the defendants

 possessed substantial assets immediately prior to indictment and that they engaged

 in a “flurry of dubious financial activity” after indictment. When presented with an

 opportunity to account for the source or destination of their funds and valuable assets,

 one defendant declined to do so. The other provided “evasive and disingenuous”

 testimony. Under those circumstances, the Seventh Circuit decided that the lower

 court satisfied its obligation to conduct an “appropriate inquiry” and it affirmed the

 lower court’s declination of CJA-funded counsel.

         Second, to the extent that the defendants may argue at the ex parte hearings

 that requiring them to pay for their own counsel out-of-pocket going forward risks the

 withdrawal of their current counsel and disruptions to judicial efficiency, this Court

 should not be so distracted. The question of whether failing to pay counsel, in and of

 itself, satisfies the standard for a motion to withdraw has already been answered in

 this case. See ECF Nos. 280; 276 at 5-6 (citing United States v. Beers, 189 F.3d 1297,

 1302 (10th Cir. 1999) and Rophaiel v. Alken Murray Corp, 1996 WL 306457, at *2

 (S.D.N.Y. 1996)). Defendants may not manipulate the legal system and cause delay

 simply by refusing to pay their counsel. A motion to withdraw on that basis alone

 would be insufficient.

    V.     Conclusion

         The Criminal Justice Act requires appropriate inquiry into whether a

 defendant can pay for his own legal counsel. That obligation is ongoing, and it serves

 the important purpose of providing CJA funds only to those defendants who qualify



                                           18


                                                                                             1127
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-2
                                         465 filed
                                               Filed01/24/25
                                                     03/27/24 USDC
                                                               Page Colorado
                                                                    19 of 21           pg
                                  1128 of 1354




 for it and only for the parts of the proceedings where they qualify for it. Here, the

 records obtained by the government strongly suggest that the Tews have access to

 assets that would disqualify them from CJA funding going forward.

       To be clear, it is possible that the government — with its limited information

 — does not understand some aspect of the Tews finances. It is also perfectly possible

 that the Tews’ convictions, now that they are final and publicly available information,

 have changed or will somewhere change down the line the family’s income streams.

 Certainly, should either defendant be detained after the hearing before Judge

 Domenico in April, that, too, also could change their financial status.

       However, the Criminal Justice Act requires evaluation of the defendants’

 present financial status to evaluate whether they qualify for funding going forward.

 See, e.g., Anthony, 2018 WL 1866614, at *2-3 (dividing eligibility analysis into three

 “stages” — initial appointment, continued appointment, and reimbursement — and

 evaluating each against present ability to pay). From what the government can see,

 at the present time, the evidence suggests that the Tews still have access to

 substantial resources. That income should be used to pay for their legal counsel

 rather than their own personal whims and frivolities. The Criminal Justice Act does

 not require that taxpayers front the costs of the Tews’ legal expenses under such

 circumstances.




                                           19


                                                                                            1128
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                                                     03/27/24 USDC
                                                               Page Colorado
                                                                    20 of 21   pg
                                  1129 of 1354




 Respectfully submitted this 27th day of March, 2024.

                                       COLE FINEGAN
                                       United States Attorney

  By: /s/ Bryan Fields                     By: /s/ Sarah H. Weiss
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  Attorney for the Government              Attorney for the Government




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                                                               Page Colorado
                                                                    21 of 21            pg
                                  1130 of 1354




                            CERTIFICATE OF SERVICE

        I hereby certify that on this 27th day of March, 2024, I electronically filed the
 foregoing with the Clerk of the Court using the CM/ECF system that will send
 notification of such filing to counsel of record in this case.




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                                                Denver, CO 80202
                                                Telephone 303-454-0100
                                                Facsimile 303-454-0402
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            1:20-cr-00305-DDDDocument
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                                                       03/28/24 USDC
                                                                  PageColorado
                                                                       1 of 2                      pg
                                  1131 of 1354




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                  Magistrate Judge Susan Prose

 Civil Action No: 1:20-cr-00305-DDD-1                       Date: March 28, 2024
 Courtroom Deputy: Tram Vo                                  FTR: Courtroom C205

     Parties:                                               Counsel:

     UNITED STATES OF AMERICA,                              No Appearance


            Plaintiff,

     v.

     1. MICHAEL AARON TEW,                                  Kristen M. Frost
                                                            Jason Dale Schall

            Defendant.


                                       COURTROOM MINUTES


 SEALED EX PARTE HEARING

 1:37 p.m.         Court in session.
 1:37 p.m.         Record sealed.

 Court calls case. Appearances of defense counsel.

 This Court has been referred the issue of whether Defendant Michael Aaron Tew 1 remains
 entitled to ongoing court-appointed counsel pursuant to 18 U.S.C. § 3006A(c). See Order, ECF
 No. 455. The Court hears argument on the referred issue.

 4:19 p.m.         Court in recess.
 4:28 p.m.         Court in session.

 As stated on the sealed record, the Court finds that Defendant Michael Tew remains eligible for
 court-appointed counsel. A separate public written order will be issued.

 4:31 p.m.         Court in recess.


 1
  A separate ex parte hearing regarding Defendant Kimberley Ann Tew’s eligibility for ongoing
 court-appointed counsel will be conducted at a later date.




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                                                       03/28/24 USDC
                                                                  PageColorado
                                                                       2 of 2                                       pg
                                  1132 of 1354




 Hearing concluded.
 Total in-court time: 2 hours and 45 minutes

 *To order transcripts of hearings, please contact either Patterson Transcription Company at (303) 755-4536 or AB
 Litigation Services at (303) 629-8534.




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                                                                  PageColorado
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                                  1133 of 1354




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Action No. 1:20-cr-00305-DDD-1

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1.     MICHAEL AARON TEW,

       Defendant.
 ______________________________________________________________________________

               ORDER REGARDING DEFENDANT MICHAEL TEW’S
           ELIGIBILITY FOR ONGOING COURT-APPOINTED COUNSEL
 ______________________________________________________________________________

        THIS MATTER came before the court for a determination of the narrow question of

 Defendant Michael Aaron Tew’s eligibility for ongoing court-appointed counsel pursuant to 18

 U.S.C. § 3006A(c) of the Criminal Justice Act of 1964 (“CJA” or “Act”). Judge Domenico

 referred that question to the undersigned Magistrate Judge by Order dated March 12, 2024. ECF

 No. 455. Specifically, Judge Domenico stated:

        ORDER re 450 Motion to Detain Defendants Michael and Kimberley Tew. The
        government’s motion questions whether Mr. and Mrs. Tew are still eligible for
        CJA-appointed counsel for this case. There is sufficient evidence to call into
        question their present eligibility under 18 U.S.C. § 3006A(c).

        The issue of whether Michael Tew and Kimberley Tew remain entitled to
        ongoing court-appointed counsel under Section 3006A(c) is therefore
        REFERRED to Magistrate Judge Susan Prose. All other issues raised in the
        government’s motion, including the potential detention of Mr. and Mrs. Tew
        pending sentencing or the potential un-sealing of any prior CJA affidavits, will be
        addressed at a detention hearing before this Court as outlined below.




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                                                                  PageColorado
                                                                       2 of 7                       pg
                                  1134 of 1354




 ECF No. 455 (emphasis added).

        On March 28, 2024, the court conducted an ex parte hearing concerning Michael Tew’s

 entitlement to ongoing court-appointed counsel. 1 Over the course of that nearly three-hour-long

 hearing, the court considered information submitted by both Mr. Tew and the government before

 the hearing. See ECF Nos. 466, 467 (notices of Conventionally Submitted Material by the

 government and Tew, respectively). The court heard extensive argument from defense counsel

 and questioned counsel, in detail and at length. Upon a full consideration of the information

 available to this court, the undersigned concluded that Mr. Tew remains eligible for court-

 appointed counsel pursuant to § 3006A(c). See ECF No. 468. This order further memorializes

 that finding.

 I.     Procedural Background

        The action against Mr. Tew was initiated on July 8, 2020, by means of a criminal

 complaint. ECF No. 1. On September 24, 2020, Mr. Tew waived his right to prosecution by

 indictment and consented to prosecution by information. ECF No. 45. Ultimately, he was

 indicted on fifty-nine counts, including twenty-nine counts of wire fraud in violation of 18

 U.S.C. § 1343. ECF No. 83, Indictment (filed February 3, 2021). Mr. Tew did not receive court-

 appointed counsel in this matter until December 27, 2022. ECF No. 286, Minute Order. On that

 date, Judge Mix—after reviewing a CJA Form 23 Affidavit submitted by Mr. Tew—found that




 1
   The court will conduct a separate ex parte hearing to determine Kimberley Tew’s present
 eligibility for court-appointed counsel on April 15, 2024. See March 21, 2024 Minute Entry, ECF
 No. 462.
                                                  2




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                                                                  PageColorado
                                                                       3 of 7                           pg
                                  1135 of 1354




 he qualified for court-appointed counsel. Id. (referencing the court’s review of the affidavit); see

 also ECF No. 282 (Affidavit) (filed at a level 3 restriction on access). Since then, Mr. Tew

 continuously has been represented by court-appointed counsel in this case.

        On February 15, 2024, following an eight-day jury trial, Mr. Tew was found guilty on all

 fifty-nine counts in the indictment. See February 15, 2024 Courtroom Minutes at 2-3; see also

 February 15, 2024 Jury Verdict Form, ECF No. 448. On February 21, 2024, the government filed

 a motion seeking detention of both Tews pending their sentencing. ECF No. 450 (“Detention

 Motion”). Hearings on that question are set for April 22, 2024, before Judge Domenico. ECF

 Nos. 455. Their sentencing hearings are currently set for August 8, 2024, before Judge

 Domenico. ECF Nos. 456, 457.

        In the Detention Motion, the government did not specifically raise the question of

 whether the Tews remain entitled to ongoing court-appointed counsel. The Detention Motion,

 however, did present information “suggest[ing] that the Tews lied on their CJA affidavits,”

 which—the government argues—“constitutes perjury and a mandatory revocation of bond.”

 Detention Motion at 3; id. at 4 (summarizing information for a two-year period for an account

 held in the name of Mr. Tew). Based on that information, Judge Domenico found that “[t]here is

 sufficient evidence to call into question [the Tews’s] present eligibility under 18 U.S.C.

 3006A(c).” ECF No. 455. Hence the referral of the present-eligibility question to this court. See

 id.

        This court held a status conference on March 21, 2024, at which counsel for all parties,

 and Michael and Kimberley Tew themselves, were present. See Minute Entry, ECF No. 462. At

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            1:20-cr-00305-DDDDocument
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                                                                  PageColorado
                                                                       4 of 7                         pg
                                  1136 of 1354




 the status conference, the court discussed its plan to conduct two separate ex parte hearings (one

 for Mr. Tew and another for Kimberley Tew) during which the court would decide the present-

 eligibility question for each Defendant. Counsel for all parties agreed to the proposed

 procedure. 2

        As noted above, the ex parte hearing to evaluate the question of Mr. Tew’s ongoing

 eligibility for court-appointed counsel proceeded on March 28, 2024. In advance of that hearing,

 the parties were permitted to submit materials for the court’s consideration, which both the

 government and Mr. Tew chose to do. ECF Nos. 467, 468. 3 The government also submitted


 2
   The CJA itself is silent about disclosure of information concerning a defendant’s eligibility for
 CJA status. See United States v. Gonzales, 150 F.3d 1246, 1265 (10th Cir. 1998) (“Neither the
 statute nor the Administrative Office’s rules specify whether [the procedure regarding
 appointment of counsel] is to be done ex parte.”). The Guide to Judiciary Policy issued by the
 Administrative Office of the United States Courts (“AO Guide”), which governs the
 administration of the CJA, states that, “generally,” such information “should be made available
 unless it: (a) is judicially placed under seal; (b) could reasonably be expected to unduly intrude
 upon the privacy of attorneys or defendants; (c) could reasonably be expected to compromise
 defense strategies, investigative procedures, attorney work product, the attorney-client
 relationship or privileged information provided by the defendant or other sources; (d) or
 otherwise adversely affect the defendant’s right to the effective assistance of counsel, a fair trial,
 or an impartial adjudication.” AO Guide, vol. 7, chap. 5, § 510.30, available at Criminal Justice
 Act (CJA) Guidelines - Guide to Judiciary Policy, Vol. 7A (uscourts.gov). The court also takes
 into account here the Tenth Circuit’s holding in Gonzales, in which the Court of Appeals
 concluded that backup documentation for CJA vouchers, motions, orders, and hearing transcripts
 related to the appointment of counsel should be sealed, in part, because disclosure of this CJA
 information would intrude on the defendants’ privacy interests and “may implicate the
 Defendants’ Fifth Amendment rights as to the instant crime.” See 150 F.3d at 1265-66 (finding
 that district court abused its discretion in ordering unconditional release of these documents).
 Taking into account the totality of the circumstances here, this court deemed it appropriate to
 conduct the hearing ex parte.
 3
   Consistent with this court’s directive, Mr. Tew’s submission was made ex parte.
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            1:20-cr-00305-DDDDocument
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                                                                  PageColorado
                                                                       5 of 7                          pg
                                  1137 of 1354




 briefing. See Government’s Brief Regarding Defendants’ Ongoing Eligibility for CJA Counsel,

 ECF No. 465.

         The court now turns to the hearing and its assessment of the evidence, bearing in mind

 the ex parte nature of that proceeding and the necessity to confine the language of this order to a

 high, non-specific level.

 II.     Analysis

         The Act provides that counsel should be appointed in any criminal case in which the

 defendant is “financially unable” to obtain counsel pursuant to a plan implemented by each

 district court. 18 U.S.C. §§ 3006A(a) & (b); see also Criminal Justice Act Plan, United States

 District Court for the District of Colorado, available at CJA_Plan_2019.pdf (uscourts.gov)

 (effective January 1, 2020). The Act permits the court to terminate the appointment of counsel if

 the court finds the defendant is able to afford legal counsel, but it does not require the court to do

 so: “[I]f at any time after the appointment of counsel the United States magistrate judge or the

 court finds that the person is financially able to obtain counsel . . ., it may terminate the

 appointment of counsel or authorize payment as provided in [18 U.S.C. 3006A(f)], as the

 interests of justice may dictate.” 18 U.S.C. § 3006A(c) (emphasis added).

         In assessing whether a defendant is financially unable to obtain counsel, this court is

 obliged to make an “appropriate inquiry.” 18 U.S.C. § 3006A(b). “Appropriate inquiry

 necessarily varies with the circumstances presented, and no one method or combination of

 methods is required. Investigation of the applicant’s assets, liabilities, income and obligations

 alone may constitute sufficient inquiry.” United States v. Barcelon, 833 F.2d 894, 897 (10th Cir.

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                                                       04/05/24 USDC
                                                                  PageColorado
                                                                       6 of 7                          pg
                                  1138 of 1354




 1987) (footnote and citations omitted). The court focuses on the defendant’s current ability to

 pay. United States v. Anthony, No. 15-CR-126-C-5, 2018 WL 1866614, at *3 (W.D. Okla. Mar.

 26, 2018) (noting that courts have interpreted 18 U.S.C. §§ 3006A(c) and (f) “to require a finding

 that the criminal defendant has a present ability to pay for his attorney, not that he may have, at

 some point in the past, had that ability”) (emphasis in original) (collecting cases).

        “The burden is on the defendant to demonstrate financial inability in order to obtain

 counsel.” United States v. Peister, 631 F.2d 658, 662 (10th Cir. 1980); see also Barcelon, 833

 F.2d at 896 (same) (collecting cases); Anthony, 2018 WL 1866614, at *2 (finding that defendant

 bore the burden “to prove, by a preponderance of the evidence, that he is financially unable to

 afford counsel,” but recognizing the lack of Tenth Circuit authority on the precise level of the

 burden). But “[a]ny doubts about a person’s eligibility should be resolved in the person’s favor;

 erroneous determinations of eligibility may be corrected at a later time.” AO Guide vol. 7A,

 Appx. 2A, § IV.B.2.e.

        Guided by these legal principles, the court finds that Mr. Tew has met his burden to show

 that he is entitled, at the present time, to court-appointed counsel. In reaching this conclusion, the

 court has considered extensive information. The court has evaluated Mr. Tew’s income,

 property, and financial accounts, as well as his obligations, expenses, and debts—including

 expenses for housing, food, medical needs, utilities, credit cards, vehicles, childcare, and

 insurance. The court has taken into account Mr. Tew’s other very substantial liabilities. The

 court has reviewed the information provided by the government.

        In addition, the court has reviewed the financial affidavit provided by Mr. Tew on

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         1:20-cr-00305-DDD
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                                          471 filed
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                                                     01/24/25
                                                       04/05/24 USDC
                                                                  PageColorado
                                                                       7 of 7                         pg
                                  1139 of 1354




 December 13, 2022, which informed Judge Mix’s assessment that Mr. Tew was entitled to CJA

 counsel at that time. See ECF No. 282 (affidavit); ECF No. 286 (“Having reviewed the

 Affidavits [#282] timely submitted by Defendants Michael A. Tew and Kimberly [sic] A. Tew,

 the Court finds that they qualify for court-appointed counsel.”). The court recognizes that its

 assessment is focused on Mr. Tew’s present eligibility under § 3006A(c). Nevertheless, the court

 wishes to be clear that it has examined the December 13, 2022 affidavit, which is part of the

 record in this matter, and that the information contained in that affidavit does not alter the court’s

 conclusion regarding Mr. Tew’s entitlement to ongoing court-appointed counsel. The court finds

 that, based on the information before this court (including information obtained at the ex parte

 hearing), Mr. Tew is “in no better financial condition to afford an attorney than he had been

 when he completed the initial financial affidavit” on December 13, 2022. See Anthony, 2018 WL

 1866614, at *3.

        In conclusion, for the foregoing reasons, the court respectfully finds that Defendant

 Michael Aaron Tew qualifies, at this time, for ongoing court-appointed counsel pursuant to 18

 U.S.C. § 3006A(c) of the Criminal Justice Act.

 DATED: April 5, 2024                           BY THE COURT:




                                                Susan Prose
                                                United States Magistrate Judge




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            1:20-cr-00305-DDDDocument
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                                                                  PageColorado
                                                                       1 of 6         pg
                                  1140 of 1354




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD-SBP

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW, and
      2. KIMBERLEY ANN TEW, a/k/a Kimberley Vertanen,

        Defendants.


            GOVERNMENT’S BRIEF REGARDING DEFENDANT
       KIMBERLEY TEW’S ONGOING ELIGIBILITY FOR CJA COUNSEL


        On March 27, 2024, the government filed a brief outlining certain financial

 information it has received regarding the state of Michael and Kimberley Tew’s assets

 between approximately the time they were appointed CJA counsel (in December

 2022) through the near-present (approximately February 2024). ECF No. 465. The

 same filing outlined the government’s position as to the law that should be applied in

 determining the question referred to this Court, namely, whether Michael Tew is

 entitled to CJA-funded representation going forward. Id. The government fully

 incorporates that brief by reference, and makes this filing for the limited purpose of

 supplementing those facts and law that are particularly pertinent to assessing the

 same question of Kimberley Tew’s ongoing eligibility for CJA representation.1



 1     On March 28, this Court held a three-hour ex parte hearing as to Michael Tew’s
 ongoing eligibility. By and through oral and written order, this Court determined that




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                                                       04/10/24 USDC
                                                                  PageColorado
                                                                       2 of 6           pg
                                  1141 of 1354




       As with her husband, the government has limited information regarding

 Kimberley Tew’s present financial state. As to the facts, here is what the government

 does know: The government is not aware of any legitimate employment for Kimberley

 Tew. She is, however, a profligate gambler. Her gambling addiction is apparently

 severe, and it poses a threat to herself and others. In recent years, that addiction has

 expanded into cryptocurrency speculation. To feed this habit, she has used her own

 funds; funds legitimately earned by her husband; funds that she convinced others to

 “invest” with her; and funds stolen from the Victim Company in this case.

       The banking records, summarized in the government’s prior brief, strongly

 suggest that she has not broken her habit. Vast quantities of cash and digital

 currency have gone into accounts held by Kimberley Tew and Michael Tew, the exact

 provenance of which is unknown at this time. Any inquiry into the present state of

 Kimberley Tew’s finances will require an accounting of the sources of funds into and

 out of those accounts, much of which has been partially anonymized and/or made

 difficult to trace given Kimberley’s propensity to use financial technologies such as

 peer-to-peer payments, crypto exchanges, and off-shore gambling websites.2

       Based on evidence gathered during the investigation that led to her conviction,

 as well as the evidence presented in civil fraud proceedings in Denver District Court,

 it is more likely than not that Kimberley solicited currency and crypto from others




 Michael Tew remained so eligible. See ECF Nos. 468, 471.
 2     Most online gambling is prohibited in the U.S.; however, the evidence would
 seem to suggest that Kimberley Tew has used VPNs to mask the location of her IP
 address in order to use gambling websites that are based in other countries.




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                                                     01/24/25
                                                       04/10/24 USDC
                                                                  PageColorado
                                                                       3 of 6          pg
                                  1142 of 1354




 to invest on their behalf. See Gov't Sentencing Statement, ECF No. 459 at 27-29. That

 same evidence shows that Kimberley convinced those investors that she could earn

 fantastic returns with a “trading algorithm.” In reality, the evidence described in the

 Government’s James log, ECF No. 341-1 and set forth in in its sentencing statement,

 ECF No. 459, show that Kimberley used proceeds from one fraud to pay off another,

 skimming money from any source she could find to feed a seemingly endless appetite

 to gamble and to spend.

       This means that one of two scenarios applies here: (1) Kimberley has

 substantial fungible assets available to her that she has been choosing to invest in

 crypto, rather than paying for her own legal defense; or (2) she has income derived

 from others’ investments which could have been used for that purpose. The origin of

 these funds, and Kimberley’s credibility regarding those assets, should be evaluated

 carefully by this Court in examining whether she is entitled to CJA-funded counsel

 going forward and if not, from what source of funds she will pay for private counsel.

 See generally Caplin & Drysdale, Chartered v. United States, 491 U.S. 617, 626 (1989)

 (restating general proposition that criminal defendant has no right to use stolen

 money to pay for private counsel).

       In addition to the facts summarized in the government’s prior brief, the

 government has recently learned that an account held with wirex USA in the name

 of Michael Tew engaged in over $20,000 worth of transactions between the end of

 November 2023 through the end of March 2024. Those transactions were associated

 with a variety of online gambling platforms such as stake.com. The fact that this




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                                                       04/10/24 USDC
                                                                  PageColorado
                                                                       4 of 6          pg
                                  1143 of 1354




 account was held in Michael Tew’s name is significant only insofar as Kimberley has

 often controlled accounts put in her husband’s name, especially when doing so could

 give her some measure of deniability about her knowledge of and access to those

 holdings. The gambling activity, however, is entirely consistent with her past

 behavior and her own confessions that she is gambling addict.

       Moreover, the government also points out that the influxes of cash associated

 with Kimberley’s crypto speculation show all the hallmarks of structuring. This, too,

 is consistent with the couple’s past criminal behavior; their knowledge of financial

 institutions’ reporting requirements; and a calculated effort to engage in questionable

 financial activity in a way intended to avoid the scrutiny of regulators, law

 enforcement, and pretrial services.

       Finally, the banking records from Credit Union of Denver indicate that

 Kimberley had control or access to the funds being held there as well, including the

 income earned by Michael. The government notes two purchases made around trial:

 On February 8, 2024, she purchased $575.60 worth of items at Nordstrom, and on

 February 13, she spent $1,278.53 at Valentino. Both of these purchases were

 consistent with apparel she wore at trial. Likewise, large three- and four-figure

 withdrawals during trial, including through Apple Cash, indicate the same peer-to-

 peer transactions reminiscent of her transfers of fiat into crypto. These purchases are

 direct evidence that she retains sufficient discretionary income to pay for a lawyer

 and are exactly the type of frivolous spending that should be spent on repaying the

 CJA program, rather than on enriching herself.




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                                                       04/10/24 USDC
                                                                  PageColorado
                                                                       5 of 6          pg
                                  1144 of 1354




                                    CONCLUSION

       The Court indicated in its written decision regarding Michael Tew that it

 conducted a searching inquiry of his finances, including examination of the

 supporting documents. The Court convened a three-hour hearing to assess the

 present state of Michael Tew’s finances. The same sort of searching inquiry is

 required here. For Kimberley, that assessment may be all the more difficult, given

 her propensity to engage in non-traditional investment activities that obscure both

 the nature of her income and the necessity of any expenses. The government therefore

 urges the Court, as part of that inquiry, to require that Kimberley fully disclose the

 account balances and transactional history of all her accounts, including those held

 with peer-to-peer payment systems, crypto exchanges, and off-shore online casinos.

 Should Kimberley opt not to do so, then the Court would be well within the law and

 the facts to decide that she cannot meet her burden to show her ongoing eligibility for

 CJA-funded counsel.


 Respectfully submitted this 10th day of April, 2024.

                                         COLE FINEGAN
                                         United States Attorney

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                                                                       6 of 6          pg
                                  1145 of 1354




                           CERTIFICATE OF SERVICE


        I hereby certify that on this 10h day of April, 2024, I electronically filed the
 foregoing with the Clerk of the Court using the CM/ECF system that will send
 notification of such filing to counsel of record in this case.




                                               s/ Sarah H. Weiss
                                               Sarah H. Weiss
                                               Assistant U.S. Attorney
                                               1801 California Street, Suite 1600
                                               Denver, CO 80202
                                               Telephone 303-454-0100
                                               Facsimile 303-454-0402
                                               Sarah.Weiss@usdoj.gov




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  MIME−Version:1.0
  From:COD_ENotice@cod.uscourts.gov
  To:COD_ENotice@cod.uscourts.gov
  Bcc:
  −−Case Participants: Nancy Lin Cohen (cbfile@cohenblacklaw.com, ilana@cohenblacklaw.com,
  mary@cohenblacklaw.com, nancy@cohenblacklaw.com), Bryan David Fields
  (bryan.fields3@usdoj.gov, caseview.ecf@usdoj.gov, danielle.storinsky@usdoj.gov,
  ilmira.allazova@usdoj.gov, kelsey.totura@usdoj.gov, usaco.ecfcriminal@usdoj.gov), Kristen
  M. Frost (frost@ridleylaw.com, grant@ridleylaw.com, mckinley@ridleylaw.com), Eric S.
  Galler (egaller@gcorplaw.com), Jamie Hughes Hubbard (hickam@slhlegal.com,
  hubbard@slhlegal.com), David Scott Kaplan (hickam@slhlegal.com, kaplan@slhlegal.com,
  spoole@wpparalegal.net), Richard Kent Kornfeld (admin@rklawpc.com, erin@rklawpc.com,
  kate@rklawpc.com, rick@rklawpc.com), Lisa Marie Saccomano (lisa.saccomano@kutakrock.com,
  trina.rioux@kutakrock.com), Jason Dale Schall (jason@bowsch.com, jasondschall@yahoo.com),
  Michael John Tallon (jdeatsch@tallonlaw.com, mtallon@tallonlaw.com), Sarah Hunter Weiss
  (caseview.ecf@usdoj.gov, maggie.grenvik@usdoj.gov, sarah.weiss@usdoj.gov,
  usaco.ecfcivil@usdoj.gov, usaco.ecfcriminal@usdoj.gov), Judge Daniel D. Domenico
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  −−No Notice Sent:

  Message−Id:9638206@cod.uscourts.gov
  Subject:Activity in Case 1:20−cr−00305−DDD USA v. Tew et al Conventionally Submitted
  Material
  Content−Type: text/html

                                  U.S. District Court − District of Colorado

                                            District of Colorado

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  The following transaction was entered on 4/15/2024 at 1:51 PM MDT and filed on 4/15/2024

  Case Name:       USA v. Tew et al
  Case Number:     1:20−cr−00305−DDD
  Filer:           Dft No. 2 − Kimberley Ann Tew
  Document Number: 473(No document attached)
  Docket Text:
  Conventionally Submitted Material: 1 USB Drive re [462] Status Conference, by Defendant
  Kimberley Ann Tew. Location: 1st Floor Area, Box D−5−9. Text Only Entry (trvo, )


  1:20−cr−00305−DDD−2 Notice has been electronically mailed to:

  Nancy Lin Cohen nancy@cohenblacklaw.com, cbfile@cohenblacklaw.com, ilana@cohenblacklaw.com,
  mary@cohenblacklaw.com

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  Richard Kent Kornfeld     rick@rklawpc.com, admin@rklawpc.com, erin@rklawpc.com, kate@rklawpc.com



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Case No. 1:20-cr-00305-DDD           Document 645-2 filed 01/24/25           USDC Colorado   pg
                                         1147 of 1354


  Kristen M. Frost     frost@ridleylaw.com, grant@ridleylaw.com, mckinley@ridleylaw.com

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  danielle.storinsky@usdoj.gov, ilmira.allazova@usdoj.gov, usaco.ecfcriminal@usdoj.gov

  Sarah Hunter Weiss sarah.weiss@usdoj.gov, CaseView.ECF@usdoj.gov, USACO.ECFCivil@usdoj.gov,
  maggie.grenvik@usdoj.gov, usaco.ecfcriminal@usdoj.gov

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  Michael John Tallon (Terminated)     mtallon@tallonlaw.com, jdeatsch@tallonlaw.com

  Eric S. Galler     egaller@gcorplaw.com

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                                  1148 of 1354




                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO
                                    Magistrate Judge Susan Prose

 Civil Action No: 1:20-cr-00305-DDD-2                                 Date: April 15, 2024
 Courtroom Deputy: Tram Vo                                            FTR: Courtroom C205

     Parties:                                                         Counsel:

     UNITED STATES OF AMERICA,                                        No Appearance


            Plaintiff,

     v.

     2. KIMBERLEY ANN TEW,                                            David Scott Kaplan
                                                                      Jamie Hughes Hubbard

            Defendant.


                                        COURTROOM MINUTES


 SEALED EX PARTE HEARING

 1:36 p.m.         Court in session.
 1:36 p.m.         Record sealed.

 Court calls case. Appearances of defense counsel.

 This Court has been referred the issue of whether Defendant Kimberley Ann Tew 1 remains
 entitled to ongoing court-appointed counsel pursuant to 18 U.S.C. § 3006A(c). See Order, ECF
 No. 455. The Court hears argument on the referred issue.

 As stated on the sealed record, the Court finds that Defendant Kimberley Ann Tew remains
 eligible for court-appointed counsel. A separate public written order will be issued.

 3:14 p.m.         Court in recess.

 Hearing concluded.
 Total in-court time: 1 hour and 38 minutes

 1
  An ex parte hearing regarding Defendant Michael Tew’s eligibility for ongoing court-appointed counsel was
 conducted on March 28, 2024. At that hearing, the Court found that Defendant Michael Tew remains eligible for
 court-appointed counsel.




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                                  1150 of 1354




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO


  Case No. 1:20-cr-00305-DDD-2

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  2. KIMBERLEY ANN TEW

         Defendant.

        Unopposed Motion for Court Order Requiring the Parties to File Visual
                          Presentations into the Record


        Kimberley Tew, through attorneys David S. Kaplan and Jamie Hubbard of the

 law firm Stimson LaBranche Hubbard, LLC submits this Unopposed Motion for Court

 Order Requiring the Parties to File Visual Presentations into the Record.

        During the recently completed trial, all parties utilized visual presentations

 during opening statement and closing argument. While not “evidence” that the jury is

 to base its verdict on, statements and arguments made by counsel during closing

 arguments can be grounds for error. See e.g., Wilson v. Sirmons, 536 F.3d 1064, 1117 (10th

 Cir. 2008) (discussing when a prosecutor’s statements during closing argument may

 constitute error). The same is true for visuals shown to the jury during these arguments.

 See Thornton v. Hayes, 2020 WL 1170507, at *18 (W.D. Wash. Feb. 18, 2020) (addressing

 whether prosecutor’s PowerPoint during closing rose to the level of misconduct). The




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                                  1151 of 1354




 visual presentations used by the parties are not presently part of the record for

 purposes of appeal.

        To ensure there is a full record of everything that occurred during trial for

 purposes of her appeal, Mrs. Tew asks the Court to order the parties to file their visual

 presentations into the Court’s e-filing system.

        Dated: April 16, 2024.

                                              Respectfully submitted,



                                              s/ Jamie Hubbard
                                              David S. Kaplan
                                              Jamie Hubbard
                                              STIMSON LABRANCHE HUBBARD, LLC
                                              1652 Downing Street
                                              Denver, CO 80218
                                              720.689.8909
                                              kaplan@slhlegal.com
                                              hubbard@slhlegal.com

                                              Attorneys for Kimberley Ann Tew




                                              2

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                                  1152 of 1354




                       Certification of Type-Volume Limitation

        I hereby certify that the foregoing pleading complies with the type-volume
 limitation set forth in Judge Domenico’s Practice Standard III(A)(1).


                           Statement of Speedy Trial Impact

        Pursuant to Judge Domenico’s Practice Standard III(C), defense counsel notes
 that this filing has no effect on the speedy trial clock.



                                            s/ Jamie Hubbard
                                            Jamie Hubbard




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                                  1153 of 1354




                                     Certificate of Service

         I certify that on April 16, 2024, I electronically filed the foregoing Unopposed
 Motion for Court Order Requiring the Parties to File Visual Presentations into the Record with
 the Clerk of Court using the CM/ECF system which will send notification of such filing
 to the following e-mail address and all parties of record:

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 Jason D. Schall
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 jason@bowsch.com

 Kristen M. Frost
 Ridley McGreevy & Winocur, P.C.
 303 16th Street, Suite 200
 Denver, CO 80202
 frost@ridleylaw.com

 Counsel for Michael Tew


                                                s/ Nancy Hickam
                                                Nancy Hickam, Paralegal




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Case No. 1:20-cr-00305-DDD         Document 645-2 filed 01/24/25              USDC Colorado   pg
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  MIME−Version:1.0
  From:COD_ENotice@cod.uscourts.gov
  To:COD_ENotice@cod.uscourts.gov
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  −−Case Participants: Richard Kent Kornfeld (admin@rklawpc.com, erin@rklawpc.com,
  kate@rklawpc.com, rick@rklawpc.com), Sarah Hunter Weiss (caseview.ecf@usdoj.gov,
  maggie.grenvik@usdoj.gov, sarah.weiss@usdoj.gov, usaco.ecfcivil@usdoj.gov,
  usaco.ecfcriminal@usdoj.gov), Michael John Tallon (jdeatsch@tallonlaw.com,
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  (bryan.fields3@usdoj.gov, caseview.ecf@usdoj.gov, danielle.storinsky@usdoj.gov,
  ilmira.allazova@usdoj.gov, kelsey.totura@usdoj.gov, usaco.ecfcriminal@usdoj.gov), David
  Scott Kaplan (hickam@slhlegal.com, kaplan@slhlegal.com, spoole@wpparalegal.net), Kristen
  M. Frost (frost@ridleylaw.com, grant@ridleylaw.com, mckinley@ridleylaw.com), Lisa Marie
  Saccomano (lisa.saccomano@kutakrock.com, trina.rioux@kutakrock.com), Jamie Hughes Hubbard
  (hickam@slhlegal.com, hubbard@slhlegal.com), Jason Dale Schall (jason@bowsch.com,
  jasondschall@yahoo.com), Nancy Lin Cohen (cbfile@cohenblacklaw.com,
  ilana@cohenblacklaw.com, mary@cohenblacklaw.com, nancy@cohenblacklaw.com), Judge Daniel D.
  Domenico (domenico_chambers@cod.uscourts.gov)
  −−Non Case Participants: dddlc6 (theodore_furchtgott@cod.uscourts.gov), mcole
  (mallory_coleman@cod.uscourts.gov), dddlc3 (brian_jacobsmeyer@cod.uscourts.gov), Linda A.
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  royce.namoca@usdoj.gov, scott.scherfling@usdoj.gov, sike.bennett@usdoj.gov,
  triana.luce@usdoj.gov, usms.cod−criminal@usdoj.gov)
  −−No Notice Sent:

  Message−Id:9641443@cod.uscourts.gov
  Subject:Activity in Case 1:20−cr−00305−DDD USA v. Tew et al Order on Motion for Order
  Content−Type: text/html

                                 U.S. District Court − District of Colorado

                                            District of Colorado

  Notice of Electronic Filing


  The following transaction was entered on 4/16/2024 at 6:46 PM MDT and filed on 4/16/2024

  Case Name:       USA v. Tew et al
  Case Number:     1:20−cr−00305−DDD
  Filer:
  Document Number: 476(No document attached)
  Docket Text:
   ORDER granting [475] Motion for Order Requiring the Parties to File Visual Presentations
  into the Record. The parties are ordered to file all visual presentations used during opening
  statements and closing arguments into the record. SO ORDERED by Judge Daniel D.
  Domenico on 4/16/2024. Text Only Entry (dddlc9, )


  1:20−cr−00305−DDD−1 Notice has been electronically mailed to:

  Nancy Lin Cohen nancy@cohenblacklaw.com, cbfile@cohenblacklaw.com, ilana@cohenblacklaw.com,
  mary@cohenblacklaw.com



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Case No. 1:20-cr-00305-DDD           Document 645-2 filed 01/24/25           USDC Colorado    pg
                                         1155 of 1354


  David Scott Kaplan      kaplan@slhlegal.com, hickam@slhlegal.com, spoole@wpparalegal.net

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  Michael John Tallon (Terminated)     mtallon@tallonlaw.com, jdeatsch@tallonlaw.com

  Eric S. Galler     egaller@gcorplaw.com

  1:20−cr−00305−DDD−1 Notice has been mailed by the filer to:

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  Jamie Hughes Hubbard       hubbard@slhlegal.com, hickam@slhlegal.com

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                                         1156 of 1354




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  Michael John Tallon (Terminated)     mtallon@tallonlaw.com, jdeatsch@tallonlaw.com

  Eric S. Galler     egaller@gcorplaw.com

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                                  1157 of 1354




                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO


 Criminal Action No.: 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 1.MICHAEL AARON TEW, and
 2.KIMBERLEY ANN TEW, a/k/a Kimberley Vertanen,
       Defendants.


               GOVERNMENT’S CONVENTIONAL SUBMISSION
               RE: ORDER REQUIRING THE PARTIES TO FILE
                VISUAL PRESENTATIONS INTO THE RECORD
      ______________________________________________________________________

       The United States of America, by United States Attorney Cole Finegan,

 through Bryan D. Fields and Sarah H. Weiss, Assistant United States Attorneys,

 hereby submits the following conventional submission in response to the Court’s

 Order requiring the government to file visual presentations into the record. See

 ECF No. 476.

       This conventional submission is one thumb drive containing one PowerPoint

 presentation that the Government used during trial’s closing statements.




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                                  1158 of 1354




       Respectfully submitted this 18th day of April, 2024.

                                       COLE FINEGAN
                                       UNITED STATES ATTORNEY


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 Bryan D. Fields                              Sarah H. Weiss
 Assistant United States Attorney             Assistant United States Attorney
 U.S. Attorney’s Office                       U.S. Attorney’s Office
 1801 California St. Suite 1600               1801 California St. Suite 1600
 Denver, CO 80202                             Denver, CO 80202
 (303) 454-0100                               (303) 454-0100
 Bryan.Fields3@usdoj.gov                      Sarah.Weiss@usdoj.gov
 Attorney for the Government                  Attorney for the Government




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         1:20-cr-00305-DDD
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                                                                       3 of 3           pg
                                  1159 of 1354




                             CERTIFICATE OF SERVICE

        I hereby certify that on this 18th day of April, 2024, I electronically filed the

 foregoing with the Clerk of the Court using the CM/ECF system which will send

 notification of such filing to all counsel of record.



                                           By: s/ Bryan D. Fields
                                           Assistant United States Attorney
                                           United States Attorney’s Office




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Case No.
      Case
         1:20-cr-00305-DDD
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                                  1160 of 1354




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Action No. 1:20-cr-00305-DDD-2

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 2.     KIMBERLEY ANN TEW,

       Defendant.
 ______________________________________________________________________________

           ORDER REGARDING DEFENDANT KIMBERLEY ANN TEW’S
           ELIGIBILITY FOR ONGOING COURT-APPOINTED COUNSEL
 ______________________________________________________________________________

        THIS MATTER came before the court for a determination of the narrow question of

 Defendant Kimberley Ann Tew’s eligibility for ongoing court-appointed counsel pursuant to 18

 U.S.C. § 3006A(c) of the Criminal Justice Act of 1964 (“CJA” or “Act”). Judge Domenico

 referred that question to the undersigned Magistrate Judge by Order dated March 12, 2024. ECF

 No. 455. Specifically, Judge Domenico stated:

        ORDER re 450 Motion to Detain Defendants Michael and Kimberley Tew. The
        government’s motion questions whether Mr. and Mrs. Tew are still eligible for
        CJA-appointed counsel for this case. There is sufficient evidence to call into
        question their present eligibility under 18 U.S.C. § 3006A(c).

        The issue of whether Michael Tew and Kimberley Tew remain entitled to
        ongoing court-appointed counsel under Section 3006A(c) is therefore
        REFERRED to Magistrate Judge Susan Prose. All other issues raised in the
        government’s motion, including the potential detention of Mr. and Mrs. Tew
        pending sentencing or the potential un-sealing of any prior CJA affidavits, will be
        addressed at a detention hearing before this Court as outlined below.




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                                  1161 of 1354




 ECF No. 455 (emphasis added).

        On April 15, 2024, the court conducted an ex parte hearing concerning Ms. Tew’s

 entitlement to ongoing court-appointed counsel. See Minute Entry for Ex Parte Hearing as to

 Kimberley Ann Tew, ECF No. 474. 1 Over the course of that hour-and-thirty-eight-minute

 hearing, the court considered information submitted by Ms. Tew at the hearing, as well as

 information submitted by the government. See ECF No. 466 (notice of Conventionally Submitted

 Material by the government); ECF No. 472 (Government’s Brief Regarding Defendant

 Kimberley Tew’s Ongoing Eligibility for CJA Counsel). The court heard extensive argument

 from defense counsel and engaged in a lengthy colloquy with counsel. Upon a full consideration

 of the information available to this court, the undersigned concluded that Ms. Tew remains

 eligible for court-appointed counsel pursuant to § 3006A(c). See ECF No. 474. This order further

 memorializes that finding.

 I.     Procedural Background 2

        Ms. Tew was indicted on thirteen counts, including counts of wire fraud and conspiracy

 to commit wire fraud, conspiracy to commit money laundering, and engaging in monetary

 transactions in property derived from unlawful activity. ECF No. 83, Indictment (filed February


 1
   In a separate ex parte hearing, the court evaluated whether Defendant Michael Tew remains
 eligible for ongoing court-appointed counsel and determined that, at this time, he does remain
 eligible. See ECF Nos. 468, 471.
 2
    In light of the Tews’s status as co-defendants, and the court’s charge to evaluate the same issue
 as to each of them pursuant to the same governing legal principles, the instant order necessarily
 bears a strong resemblance to the order regarding Mr. Tew. The court emphasizes, however, that
 it has independently assessed the specific information presented at the Tews’s respective
 hearings.
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                                  1162 of 1354




 3, 2021). Ms. Tew did not receive court-appointed counsel in this matter until December 27,

 2022. ECF No. 286, Minute Order. On that date, Judge Mix—after reviewing a CJA Form 23

 Affidavit submitted by Ms. Tew—found that she qualified for court-appointed counsel. Id.

 (referencing the court’s review of the affidavit); see also ECF No. 282 (Affidavit) (filed at a

 level 3 restriction on access). Since then, Ms. Tew continuously has been represented by court-

 appointed counsel in this case.

        On February 15, 2024, following an eight-day jury trial, Ms. Tew was found guilty on

 twelve of the thirteen counts in the indictment. See February 15, 2024 Courtroom Minutes, ECF

 No. 439 at 3; see also February 15, 2024 Jury Verdict Form, ECF No. 448. On February 21,

 2024, the government filed a motion seeking detention of both Tews pending their sentencing.

 ECF No. 450 (“Detention Motion”). Hearings on that question are set for April 22, 2024, before

 Judge Domenico. ECF Nos. 455. Their sentencing hearings are currently set for August 8, 2024,

 before Judge Domenico. ECF Nos. 456, 457.

        In the Detention Motion, the government did not specifically raise the question of

 whether the Tews remain entitled to ongoing court-appointed counsel. The Detention Motion,

 however, did present information “suggest[ing] that the Tews lied on their CJA affidavits,”

 which—the government argues—“constitutes perjury and a mandatory revocation of bond.”

 Detention Motion at 3; id. at 4 (summarizing information for a two-year period for an account

 held in the name of Mr. Tew). Based on that information, Judge Domenico found that “[t]here is

 sufficient evidence to call into question [the Tews’s] present eligibility under 18 U.S.C.

 3006A(c).” ECF No. 455. Hence the referral of the present-eligibility question to this court. See

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                                                                       4 of 8                         pg
                                  1163 of 1354




 id.

        This court held a status conference on March 21, 2024, at which counsel for all parties,

 and Michael and Kimberley Tew themselves, were present. See Minute Entry, ECF No. 462. At

 the status conference, the court discussed its plan to conduct two separate ex parte hearings (one

 for Kimberley Tew and the other for Mr. Tew) during which the court would decide the present-

 eligibility question for each Defendant. Counsel for all parties agreed to the proposed

 procedure. 3

        As noted above, the ex parte hearing to evaluate the question of Ms. Tew’s ongoing



 3
   The CJA itself is silent about disclosure of information concerning a defendant’s eligibility for
 CJA status. See United States v. Gonzales, 150 F.3d 1246, 1265 (10th Cir. 1998) (“Neither the
 statute nor the Administrative Office’s rules specify whether [the procedure regarding
 appointment of counsel] is to be done ex parte.”). The Guide to Judiciary Policy issued by the
 Administrative Office of the United States Courts (“AO Guide”), which governs the
 administration of the CJA, states that, “generally,” such information “should be made available
 unless it: (a) is judicially placed under seal; (b) could reasonably be expected to unduly intrude
 upon the privacy of attorneys or defendants; (c) could reasonably be expected to compromise
 defense strategies, investigative procedures, attorney work product, the attorney-client
 relationship or privileged information provided by the defendant or other sources; (d) or
 otherwise adversely affect the defendant’s right to the effective assistance of counsel, a fair trial,
 or an impartial adjudication.” AO Guide, vol. 7, chap. 5, § 510.30, available at Criminal Justice
 Act (CJA) Guidelines - Guide to Judiciary Policy, Vol. 7A (uscourts.gov). The court also takes
 into account here the Tenth Circuit’s holding in Gonzales, in which the Court of Appeals
 concluded that backup documentation for CJA vouchers, motions, orders, and hearing transcripts
 related to the appointment of counsel should be sealed, in part, because disclosure of this CJA
 information would intrude on the defendants’ privacy interests and “may implicate the
 Defendants’ Fifth Amendment rights as to the instant crime.” See 150 F.3d at 1265-66 (finding
 that district court abused its discretion in ordering unconditional release of these documents).
 Taking into account the totality of the circumstances here, this court deemed it appropriate to
 conduct the hearings ex parte.
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                                  1164 of 1354




 eligibility for court-appointed counsel proceeded on April 15, 2024. In advance of that hearing,

 the parties were permitted to submit materials for the court’s consideration. Ms. Tew submitted

 materials at the hearing. The government submitted both materials and briefing. See ECF Nos.

 466, 472; see also ECF No. 465 (Brief Regarding Defendants’ Ongoing Eligibility for CJA

 Counsel, ECF No. 465 at 9-12 (discussing transaction activity in accounts and peer-to-peer

 platforms attributed to Kimberley Tew).

         The court now turns to the hearing and its assessment of the evidence, bearing in mind

 the ex parte nature of that proceeding and the necessity to confine the language of this order to a

 high, non-specific level.

 II.     Analysis

         The Act provides that counsel should be appointed in any criminal case in which the

 defendant is “financially unable” to obtain counsel pursuant to a plan implemented by each

 district court. 18 U.S.C. §§ 3006A(a) & (b); see also Criminal Justice Act Plan, United States

 District Court for the District of Colorado, available at CJA_Plan_2019.pdf (uscourts.gov)

 (effective January 1, 2020). The Act permits the court to terminate the appointment of counsel if

 the court finds the defendant is able to afford legal counsel, but it does not require the court to do

 so: “[I]f at any time after the appointment of counsel the United States magistrate judge or the

 court finds that the person is financially able to obtain counsel . . ., it may terminate the

 appointment of counsel or authorize payment as provided in [18 U.S.C. § 3006A(f)], as the

 interests of justice may dictate.” 18 U.S.C. § 3006A(c) (emphasis added).

         In assessing whether a defendant is financially unable to obtain counsel, this court is

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                                                                       6 of 8                          pg
                                  1165 of 1354




 obliged to make an “appropriate inquiry.” 18 U.S.C. § 3006A(b). “Appropriate inquiry

 necessarily varies with the circumstances presented, and no one method or combination of

 methods is required. Investigation of the applicant’s assets, liabilities, income and obligations

 alone may constitute sufficient inquiry.” United States v. Barcelon, 833 F.2d 894, 897 (10th Cir.

 1987) (footnote and citations omitted). The court focuses on the defendant’s current ability to

 pay. United States v. Anthony, No. 15-CR-126-C-5, 2018 WL 1866614, at *3 (W.D. Okla. Mar.

 26, 2018) (noting that courts have interpreted 18 U.S.C. §§ 3006A(c) and (f) “to require a finding

 that the criminal defendant has a present ability to pay for his attorney, not that he may have, at

 some point in the past, had that ability”) (emphasis in original) (collecting cases).

        “The burden is on the defendant to demonstrate financial inability in order to obtain

 counsel.” United States v. Peister, 631 F.2d 658, 662 (10th Cir. 1980); see also Barcelon, 833

 F.2d at 896 (same) (collecting cases); Anthony, 2018 WL 1866614, at *2 (finding that defendant

 bore the burden “to prove, by a preponderance of the evidence, that he is financially unable to

 afford counsel,” but recognizing the lack of Tenth Circuit authority on the precise level of the

 burden). But “[a]ny doubts about a person’s eligibility should be resolved in the person’s favor;

 erroneous determinations of eligibility may be corrected at a later time.” AO Guide vol. 7A,

 Appx. 2A, § IV.B.2.e.

        Guided by these legal principles, the court finds that Ms. Tew has met her burden to show

 that she is entitled, at the present time, to court-appointed counsel. In reaching this conclusion,

 the court has considered extensive information. The court has evaluated information concerning

 Ms. Tew’s income, property, and financial accounts, as well as her obligations, expenses, and

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 debts—including expenses for housing, food, medical care, utilities, credit cards, a vehicle,

 childcare, and insurance. Moreover, the court has taken into account Ms. Tew’s very substantial

 liabilities. The court also has reviewed the information provided by the government.

        In addition, the court has reviewed the financial affidavit provided by Ms. Tew on

 December 13, 2022, which informed Judge Mix’s assessment that Ms. Tew was entitled to CJA

 counsel at that time. See ECF No. 282 (affidavit); ECF No. 286 (“Having reviewed the

 Affidavits [#282] timely submitted by Defendants Michael A. Tew and Kimberly [sic] A. Tew,

 the Court finds that they qualify for court-appointed counsel.”). This court likewise recognizes

 that its current assessment is focused on Ms. Tew’s present ability to pay under § 3006A(c).

 Nevertheless, the court wishes to be clear that it has examined the December 13, 2022 affidavit,

 which is part of the record in this matter, and that the information contained in that affidavit does

 not alter the court’s conclusion regarding Ms. Tew’s entitlement to ongoing court-appointed

 counsel. The court finds that, based on the information before this court (including information

 obtained at the ex parte hearing), Ms. Tew is “in no better financial condition to afford an

 attorney than [s]he had been when he completed the initial financial affidavit” on December 13,

 2022. See Anthony, 2018 WL 1866614, at *3.

        For the foregoing reasons, the court respectfully finds that Defendant Kimberley Ann

 Tew qualifies, at this time, for ongoing court-appointed counsel pursuant to 18 U.S.C.

 § 3006A(c) of the Criminal Justice Act.




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 DATED: April 19, 2024                BY THE COURT:




                                      Susan Prose
                                      United States Magistrate Judge




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Case No. 1:20-cr-00305-DDD          Document 645-2 filed 01/24/25              USDC Colorado   pg
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                                            District of Colorado

  Notice of Electronic Filing


  The following transaction was entered on 4/19/2024 at 1:52 PM MDT and filed on 4/18/2024

  Case Name:       USA v. Tew et al
  Case Number:     1:20−cr−00305−DDD
  Filer:           USA
  Document Number: 479(No document attached)
  Docket Text:
  Conventionally Submitted Material : USB exhibits to [477] NOTICE OF CONVENTIONAL
  SUBMISSION re [476] Order on Motion for Order, by Plaintiff USA − Material placed in the
  oversized area D−5−9 of the Clerk's Office. Text Only Entry (angar, )


  1:20−cr−00305−DDD−1 Notice has been electronically mailed to:

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  Eric S. Galler     egaller@gcorplaw.com

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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


  Case No. 1:20-cr-00305-DDD-2

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  2. KIMBERLEY ANN TEW

         Defendant.

                                 Motion to Restrict Pleading


        Kimberley Tew, through attorneys David S. Kaplan and Jamie Hubbard of the

 law firm Stimson LaBranche Hubbard, LLC hereby respectfully moves to restrict ECF

 No. 482 and the brief filed in support of this motion, for the reasons stated in the brief

 filed in support of this motion. Mrs. Tew requests a “Level I” restriction, which would

 make the documents viewable by all parties and the Court.

        Dated: April 21, 2024.

                                               Respectfully submitted,

                                               s/ Jamie Hubbard
                                               David S. Kaplan
                                               Jamie Hubbard
                                               STIMSON LABRANCHE HUBBARD, LLC
                                               1652 Downing Street
                                               Denver, CO 80218
                                               720.689.8909
                                               kaplan@slhlegal.com
                                               hubbard@slhlegal.com

                                               Attorneys for Kimberley Ann Tew



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                                     Certificate of Service

        I certify that on April 16, 2024, I electronically filed the foregoing Motion to
 Restrict Pleading with the Clerk of Court using the CM/ECF system which will send
 notification of such filing to the following e-mail address and all parties of record:

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 Counsel for Michael Tew


                                                s/ Nancy Hickam
                                                Nancy Hickam, Paralegal




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                                  1172 of 1354




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                            JUDGE DANIEL D. DOMENICO


 Date:             April 22, 2024      Prob./Pret.: Seth Junker
 Courtroom Deputy: Robert R. Keech     Interpreter: N/A
 Court Reporter:   Tammy Hoffschildt
 ______________________________________________________________________

 Criminal Case No. 1:20-cr-00305-DDD           Counsel:

 UNITED STATES OF AMERICA,                     Bryan D. Fields
                                               Sarah H. Weiss
              Plaintiff,

 v.

 1. MICHAEL AARON TEW;                         Jason D. Schall
 and                                           Kristen M. Frost
 2. KIMBERLEY ANN TEW,                         David S. Kaplan
                                               Jamie H. Hubbard
              Defendants.



                               COURTROOM MINUTES


 DETENTION HEARING

 10:30 a.m.   Court in session. Defendants present, on bond.

 Appearances of counsel.

 Court’s opening remarks.

 Discussion regarding witnesses to be called and objection by Mr. Kaplan.

 [450] Government’s Motion for Detention Pending Sentencing is raised for argument.


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 10:50 a.m.   Government’s witness Seth Junker sworn.

              Direct examination by Government by Ms. Weiss.

 11:03 a.m.   Cross examination by Defendant Michael Aaron Tew by Mr. Schall.

 11:08 a.m.   Cross examination by Defendant Kimberley Ann Tew by Mr. Kaplan.

 11:12 a.m.   Re-direct examination by Government by Ms. Weiss.

 11:15 a.m.   Government’s witness Lisa Palmer sworn.

              Direct examination by Government by Ms. Weiss.
              Exhibit(s) identified: 2, 9, 10, 8, 7, 6, 3, 5, 11, 1, 12

 Exhibit(s) 2 RECEIVED.

 12:08 p.m.   Bench conference regarding issue raised by Mr. Schall.

 12:12 p.m.   Court in recess.

 12:28 p.m.   Court in session.

              Government’s witness Lisa Palmer resumes.

 12:29 p.m.   Cross examination by Defendant Michael Aaron Tew by Ms. Frost.

 12:37 p.m.   Cross examination by Defendant Kimberley Ann Tew by Ms. Hubbard.

 12:47 p.m.   Re-direct examination by Government by Ms. Weiss.
              Exhibit(s) identified: 2

 12:52 p.m.   Government rests.

 12:58 p.m.   Statement by Mr. Junker regarding additional conditions that could be
              imposed.

 Argument by Ms. Weiss, Ms. Hubbard, Mr. Schall.

 ORDERED: [450] Government’s Motion for Detention Pending Sentencing is DENIED,
          but the Court will impose additional conditions of bond.

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             Court indicates that a written order shall follow.

 ORDERED: Bond is CONTINUED as to Defendants Michael Aaron Tew and Kimberley
          Ann Tew.

 1:21 p.m.   Court in Recess. HEARING CONCLUDED. TOTAL TIME: 2:29




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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


  Case No. 1:20-cr-00305-DDD-2

  UNITED STATES OF AMERICA,

        Plaintiff,
  v.

  2. KIMBERLEY ANN TEW

        Defendant.

                Kimberley Tew’s Notice of Filing of Visual Presentation


       Kimberley Tew, through attorneys David S. Kaplan and Jamie Hubbard of the

 law firm Stimson LaBranche Hubbard, LLC hereby submits the following PowerPoint

 presentation that Kimberley Tew’s counsel used during trial’s closing statements.

       Dated: April 23, 2024.

                                            Respectfully submitted,

                                            s/ Jamie Hubbard
                                            David S. Kaplan
                                            Jamie Hubbard
                                            STIMSON LABRANCHE HUBBARD, LLC
                                            1652 Downing Street
                                            Denver, CO 80218
                                            720.689.8909
                                            kaplan@slhlegal.com
                                            hubbard@slhlegal.com

                                            Attorneys for Kimberley Ann Tew




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                                                                       2 of 2                pg
                                  1178 of 1354




                                     Certificate of Service

        I certify that on April 23, 2024, I electronically filed the foregoing Kimberley Tew’s
 Notice of Filing of Visual Presentation with the Clerk of Court using the CM/ECF system
 which will send notification of such filing to the following e-mail address and all parties
 of record:

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 303 16th Street, Suite 200
 Denver, CO 80202
 frost@ridleylaw.com

 Counsel for Michael Tew


                                                s/ Nancy Hickam
                                                Nancy Hickam, Paralegal




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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
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                                                       04/23/24 USDC
                                                                  PageColorado
                                                                       1 of 23   pg
                                 1179 of 1354




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     Case No.
          Case1:20-cr-00305-DDD
                1:20-cr-00305-DDD Document
                                   Document645-2
                                             484-1 filed
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                                                         01/24/25
                                                            04/23/24 USDC
                                                                       PageColorado
                                                                            2 of 23   pg
                                      1180 of 1354




Kimberley Tew Not Named in Counts 2-20
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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        484-1 filed
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                                                    01/24/25
                                                       04/23/24 USDC
                                                                  PageColorado
                                                                       3 of 23   pg
                                 1181 of 1354




                                                                                       Kimberley
                                                                                          Tew
                                                                                      Not Charged
                                                                                       in ANY of
                                                                                      these counts




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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        484-1 filed
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                                                    01/24/25
                                                       04/23/24 USDC
                                                                  PageColorado
                                                                       4 of 23   pg
                                 1182 of 1354




    No Charges Against
     Kimberley Tew




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         Case No.
              Case1:20-cr-00305-DDD
                    1:20-cr-00305-DDD Document
                                       Document645-2
                                                 484-1 filed
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                                                             01/24/25
                                                                04/23/24 USDC
                                                                           PageColorado
                                                                                5 of 23   pg
                                          1183 of 1354




All Transfers to
Michael’s Bank
Accounts
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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        484-1 filed
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                                                       04/23/24 USDC
                                                                  PageColorado
                                                                       6 of 23   pg
                                 1184 of 1354




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      Case No.
           Case1:20-cr-00305-DDD
                 1:20-cr-00305-DDD Document
                                    Document645-2
                                              484-1 filed
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                                                          01/24/25
                                                             04/23/24 USDC
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                                                                             7 of 23   pg
                                       1185 of 1354



                  Instruction 20
Conspiracy – Agreement & Interdependence Defined


        Proof is not sufficient if it merely shows that a
      defendant knew about the existence of the conspiracy
      or was associated with members of the conspiracy.
      Rather,      the     evidence       must       show      the     defendant
      knowingly joined the conspiracy with the intent to
      advance its purposes.




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      Case No.
           Case1:20-cr-00305-DDD
                 1:20-cr-00305-DDD Document
                                    Document645-2
                                              484-1 filed
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                                                             04/23/24 USDC
                                                                        PageColorado
                                                                             8 of 23   pg
                                       1186 of 1354




  Withdrawal on June 11 –
22 days BEFORE fake invoice
         submitted

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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
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                                                                       9 of 23   pg
                                 1187 of 1354




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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
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                                                     04/23/24 USDC
                                                               PageColorado
                                                                    10 of 23   pg
                                 1188 of 1354




                                                                                    1188
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      484-1 filed
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                                                   01/24/25
                                                     04/23/24 USDC
                                                               PageColorado
                                                                    11 of 23   pg
                                 1189 of 1354




                                                                                    1189
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      484-1 filed
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                                                     04/23/24 USDC
                                                               PageColorado
                                                                    12 of 23   pg
                                 1190 of 1354




                                              Kimberley Tew’s only link
                                                 to Count 44 is this
                                                  communication


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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
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                                                     04/23/24 USDC
                                                               PageColorado
                                                                    13 of 23   pg
                                 1191 of 1354




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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
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                                                               PageColorado
                                                                    14 of 23   pg
                                 1192 of 1354




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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
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                                                     04/23/24 USDC
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                                                                    15 of 23   pg
                                 1193 of 1354




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                   No. 1:20-cr-00305-DDD
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                                           Document645-2
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                                                                   04/23/24 USDC
                                                                             PageColorado
                                                                                  16 of 23   pg
                                               1194 of 1354




Kimberley Tew’s only link
    to Count 47 is
   communications




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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
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                                                               PageColorado
                                                                    17 of 23   pg
                                 1195 of 1354




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     No. 1:20-cr-00305-DDD
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                                                                    18 of 23   pg
                                 1196 of 1354




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     No. 1:20-cr-00305-DDD
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                                                     04/23/24 USDC
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                                                                    19 of 23   pg
                                 1197 of 1354




                                                         Kimberley Tew’s only link
                                                             to Count 48 is
                                                            communications

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     No. 1:20-cr-00305-DDD
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                                                                    20 of 23   pg
                                 1198 of 1354




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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
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                                                                    21 of 23   pg
                                 1199 of 1354




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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      484-1 filed
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                                                     04/23/24 USDC
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                                                                    22 of 23   pg
                                 1200 of 1354




                                              Kimberley Tew’s only link to
                                              Count 56 is communications




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Case Case
     No. 1:20-cr-00305-DDD
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                             Document645-2
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                                                                    23 of 23   pg
                                 1201 of 1354




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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                                       04/24/24 USDC
                                                                  PageColorado
                                                                       1 of 3               pg
                                  1202 of 1354




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

      1. MICHAEL AARON TEW;

      2. KIMBERLY ANN TEW; and
         a/k/a Kimberley Vertanen

      3. JONATHAN K. YIOULOS,

 Defendants.



              MICHAEL TEW’S NOTICE OF FILING OF VISUAL PRESENTATION


         Michael Tew, by and through counsel Kristen M. Frost of Ridley McGreevy & Winocur

 and Jason D. Schall of Bowlin & Schall, hereby submits the following PowerPoint presentation

 that Michael Tew’s counsel used during closing argument at trial. No visual presentation was

 used during Mr. Tew’s opening statement.

         Respectfully submitted this 24th day of April, 2024.

                                              s/ Kristen M. Frost
                                              Kristen M. Frost
                                              RIDLEY, MCGREEVY & WINOCUR, P.C.
                                              303 16th Street, Suite 200
                                              Denver, Colorado 80202
                                              Telephone: (303) 629-9700
                                              Facsimile: (303) 629-9702
                                              E-mail: frost@ridleylaw.com




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                                                       04/24/24 USDC
                                                                  PageColorado
                                                                       2 of 3                   pg
                                  1203 of 1354




                                             s/ Jason D. Schall
                                             Jason D. Schall
                                             BOWLIN & SCHALL LLC
                                             7350 E. Progress Place, Suite 100
                                             Telephone: (720) 505-3861
                                             E-mail: jason@bowsch.com

                                             Attorneys for Defendant Michael Tew


         I hereby certify that the foregoing pleading complies with the type-volume limitation set
 forth in Judge Domenico’s Practice Standard III(A)(1).




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         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                                       04/24/24 USDC
                                                                  PageColorado
                                                                       3 of 3                        pg
                                  1204 of 1354




                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 24th day of April, 2024, I served a true and correct copy of the
 foregoing MICHAEL TEW’S NOTICE OF FILING OF VISUAL PRESENTATION
 electronically with the Clerk of the Court via the CM/ECF system, which will send notice of
 such filing to the Court and parties.



                                                       s/ Kristin McKinley
                                                       Kristin McKinley




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        Case No.
             Case1:20-cr-00305-DDD
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                                      Document645-2
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                                                            01/24/25
                                                               04/24/24 USDC
                                                                          PageColorado
                                                                               1 of 27   pg
                                         1205 of 1354




United States v. Michael Tew
   The rest of the story.




                                                                                              1205
       Case No.
            Case1:20-cr-00305-DDD
                  1:20-cr-00305-DDD Document
                                     Document645-2
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                                                           01/24/25
                                                              04/24/24 USDC
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                                                                              2 of 27   pg
                                        1206 of 1354




         “This Case Is CRAZY”
Gambling /
                       Algorithms                    Prostitution                       Drugs
 Bitcoin


                                                                                      Money
                         A fake                      Blackmail /
“Conspiracy”                                                                      laundering –
                        wedding?                      Threats
                                                                                    spending.

                                                    Peter Pan
                       “More sad
 Vulgarity                                         Donuts from                   Manipulation
                       than mad.”
                                                   Brooklyn, NY.



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 Case No.
      Case1:20-cr-00305-DDD
            1:20-cr-00305-DDD Document
                               Document645-2
                                         488-1 filed
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                                                     01/24/25
                                                        04/24/24 USDC
                                                                   PageColorado
                                                                        3 of 27   pg
                                  1207 of 1354




Complicated - Cooperator



                                                          Jonathon
                                                           Yioulos


                                                                                       1207
     Case No.
          Case1:20-cr-00305-DDD
                1:20-cr-00305-DDD Document
                                   Document645-2
                                             488-1 filed
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                                                         01/24/25
                                                            04/24/24 USDC
                                                                       PageColorado
                                                                            4 of 27   pg
                                      1208 of 1354




                      “Conspiracy”

Mr. Fields used the word “conspiracy” numerous times in
his questions of Mr. Yioulos.

As part of his examination, Mr. Yioulos said the word
“conspiracy” a total of 64 times.




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    Case No.
         Case1:20-cr-00305-DDD
               1:20-cr-00305-DDD Document
                                  Document645-2
                                            488-1 filed
                                                     Filed
                                                        01/24/25
                                                           04/24/24 USDC
                                                                      PageColorado
                                                                           5 of 27   pg
                                     1209 of 1354




                     “Conspiracy”
Remember: As part of this testimony, Mr. Yioulos used the
word “conspiracy” a total of 64 times.

Magically, after being cross examined on this and taking a
lunch break where he was observed talking to his attorney,
a former federal prosecutor, Mr. Yioulos decided to stop
using the word conspiracy.

Why? “I just decided to say “this,” instead.
 Jonathan Yioulos took an oath, sat in the witness box,
 and lied to you just to hide the government’s narrative…



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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        488-1 filed
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                                                    01/24/25
                                                       04/24/24 USDC
                                                                  PageColorado
                                                                       6 of 27   pg
                                 1210 of 1354




                 “Conspiracy”

                                                                                      ...




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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        488-1 filed
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                                                    01/24/25
                                                       04/24/24 USDC
                                                                  PageColorado
                                                                       7 of 27   pg
                                 1211 of 1354




             “Coming Clean”




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                                                                                      1211
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        488-1 filed
                                                 Filed
                                                    01/24/25
                                                       04/24/24 USDC
                                                                  PageColorado
                                                                       8 of 27   pg
                                 1212 of 1354




     Yioulos’ Prior Thefts




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                                                                                      1212
  Case No.
       Case1:20-cr-00305-DDD
             1:20-cr-00305-DDD Document
                                Document645-2
                                          488-1 filed
                                                   Filed
                                                      01/24/25
                                                         04/24/24 USDC
                                                                    PageColorado
                                                                         9 of 27   pg
                                   1213 of 1354




Yioulos’ Deal with the Prosecution




                                                                                           9




                                                                                        1213
   Case Case
        No. 1:20-cr-00305-DDD
             1:20-cr-00305-DDD Document
                                Document645-2
                                         488-1 filed
                                                  Filed
                                                      01/24/25
                                                        04/24/24 USDC
                                                                  PageColorado
                                                                       10 of 27   pg
                                    1214 of 1354




Yioulos’ Deal with the Prosecution
                                                                Plea agreement, not
                                                                drafted by Yioulos,
                                                                fails to mention when
                                                                Yioulos started
                                                                defrauding NAC –
                                                                before the allegations
                                                                in this case began.


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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      488-1 filed
                                               Filed
                                                   01/24/25
                                                     04/24/24 USDC
                                                               PageColorado
                                                                    11 of 27   pg
                                 1215 of 1354




          Jonathon Yioulos

                                                          A “wedding,”
                                                          which did not
                                                           result in a
                                                            marriage.




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      Case Case
           No. 1:20-cr-00305-DDD
                1:20-cr-00305-DDD Document
                                   Document645-2
                                            488-1 filed
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                                                         01/24/25
                                                           04/24/24 USDC
                                                                     PageColorado
                                                                          12 of 27   pg
                                       1216 of 1354




            Yioulos is a bad liar
   Government’s Exhibit 975
Consensual call with Michael Tew
         July 8, 2020




                                                                                          1216
         Case Case
              No. 1:20-cr-00305-DDD
                   1:20-cr-00305-DDD Document
                                      Document645-2
                                               488-1 filed
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                                                            01/24/25
                                                              04/24/24 USDC
                                                                        PageColorado
                                                                             13 of 27   pg
                                          1217 of 1354




                Witness Credibility



  You should consider the testimony of Jonathan
Yioulos with “caution and weigh it with great care” –
 more so than the testimony of an ordinary witness.




                                                                                             1217
            Case Case
                 No. 1:20-cr-00305-DDD
                      1:20-cr-00305-DDD Document
                                         Document645-2
                                                  488-1 filed
                                                           Filed
                                                               01/24/25
                                                                 04/24/24 USDC
                                                                           PageColorado
                                                                                14 of 27   pg
                                             1218 of 1354




 Jon the Fraudster
One of two people in this case that
said they deleted evidence (i.e
destroyed text messages).

Saved Michael Tew in his phone as
“JB”

Certified Public Accountant (CPA):
an expert at “cooking the books.”


                                                                                                  14




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   Case Case
        No. 1:20-cr-00305-DDD
             1:20-cr-00305-DDD Document
                                Document645-2
                                         488-1 filed
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                                                      01/24/25
                                                        04/24/24 USDC
                                                                  PageColorado
                                                                       15 of 27   pg
                                    1219 of 1354




                 Abby Schwartz
“off the top of my head, no one but
Yioulos could have set this fraud up”




                                                                                         15




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        Case Case
             No. 1:20-cr-00305-DDD
                  1:20-cr-00305-DDD Document
                                     Document645-2
                                              488-1 filed
                                                       Filed
                                                           01/24/25
                                                             04/24/24 USDC
                                                                       PageColorado
                                                                            16 of 27   pg
                                         1220 of 1354




  The story behind the Indictment
Have you figured it out yet?

The government investigated Michael Tew, only to find that
Kimberley Tew was the one “driving” the activities.

But even in Mr. Yioulos’ plea agreement, they don’t want you to
see that. They don’t want to remind you of that…


                                      Why?


                                                                                            1220
         Case Case
              No. 1:20-cr-00305-DDD
                   1:20-cr-00305-DDD Document
                                      Document645-2
                                               488-1 filed
                                                        Filed
                                                            01/24/25
                                                              04/24/24 USDC
                                                                        PageColorado
                                                                             17 of 27   pg
                                          1221 of 1354




                         Who got what?
Jonathan Yioulos
(1) Bitcoin, which he said in his plea agreement that he sold for
    $100,000.00.
(2) Plus, his pre-allegations fraud on NAC, which he admitted
    involved at least $60,000.00.
(3) “First one to talk to us is going to get the best deal.”

Kimberley Tew
(1) Control
(2) Proceeds to feed her gambling addictions – including her
    Bitcoin algorithm
(3) Yet only 13 charges against her…
                                                                                               17




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            Case Case
                 No. 1:20-cr-00305-DDD
                      1:20-cr-00305-DDD Document
                                         Document645-2
                                                  488-1 filed
                                                           Filed
                                                               01/24/25
                                                                 04/24/24 USDC
                                                                           PageColorado
                                                                                18 of 27   pg
                                             1222 of 1354




                            Who got what?
Christopher Alf + National Air Cargo
(1) Reimbursed by insurance (except as to the AMEX
    charges), yet the government wants you to believe that
    Michael Tew caused the Company deep financial harm…




“War is great for the Company…” - Jonathan Yioulos


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            Case Case
                 No. 1:20-cr-00305-DDD
                      1:20-cr-00305-DDD Document
                                         Document645-2
                                                  488-1 filed
                                                           Filed
                                                               01/24/25
                                                                 04/24/24 USDC
                                                                           PageColorado
                                                                                19 of 27   pg
                                             1223 of 1354




                  Who got what?
Michael Tew
(1) 59 counts.

      *Fired from his job after his wife abused his corporate credit card.

      *The only person charged with willfully failing to file taxes.
            -Not Jonathan Yioulos.
            -Not Kimberley Tew.
            -Not Michael Meyers.

      *Greater than 4x the number of charges as Kimberley Tew (only 13
      counts).

                            13 + 13 + 13 + 13 = 52.


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                Case Case
                     No. 1:20-cr-00305-DDD
                          1:20-cr-00305-DDD Document
                                             Document645-2
                                                      488-1 filed
                                                               Filed
                                                                   01/24/25
                                                                     04/24/24 USDC
                                                                               PageColorado
                                                                                    20 of 27   pg
                                                 1224 of 1354




                      Mrs. Tew’s Influence
Testimony every lay witness that Mrs. Tew manipulated or bullied them:

        (1) Jonathan Yioulos
                  *Blocked her number(s).
                  *Threatened.
                  * “In the background screaming at the top of her lungs…”
        (2) Hannah Scaife
                  * “Used” by Kimberley Tew to “look good.”
                  * Blamed Kimberley Tew for her own poor choices, including violating
                    the law.
        (3) Abby Schwartz
                  *Berated on the phone and had to demand that she not have to speak to
                    Mrs. Tew ever again.
        (4) Michael Meyers
                  *Under Mrs. Tew’s “spell” in breaking the law.
        (5) Brittany Perry, Navy Federal Credit Union
                  * “Paranoid.”
        (6) How do you think she treated Michael Tew?




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   Case Case
        No. 1:20-cr-00305-DDD
             1:20-cr-00305-DDD Document
                                Document645-2
                                         488-1 filed
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                                                      01/24/25
                                                        04/24/24 USDC
                                                                  PageColorado
                                                                       21 of 27   pg
                                    1225 of 1354




Mrs. Tew’s Influence.




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   Case Case
        No. 1:20-cr-00305-DDD
             1:20-cr-00305-DDD Document
                                Document645-2
                                         488-1 filed
                                                  Filed
                                                      01/24/25
                                                        04/24/24 USDC
                                                                  PageColorado
                                                                       22 of 27   pg
                                    1226 of 1354




YOU ARE THE JUDGES OF THE FACTS




            The government has the burden of proving Michael Tew
                        guilty beyond a reasonable doubt
              and if it fails to do so you must find him not guilty.




                                                                                         22




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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      488-1 filed
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                                                   01/24/25
                                                     04/24/24 USDC
                                                               PageColorado
                                                                    23 of 27   pg
                                 1227 of 1354




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         Case Case
              No. 1:20-cr-00305-DDD
                   1:20-cr-00305-DDD Document
                                      Document645-2
                                               488-1 filed
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                                                            01/24/25
                                                              04/24/24 USDC
                                                                        PageColorado
                                                                             24 of 27   pg
                                          1228 of 1354




     Proof beyond a reasonable doubt.

 Unless the government proves
beyond a reasonable doubt that
Mr. Tew has committed each and
  every element of an offense
 charged in the Indictment, you
 must find him not guilty of that
             offense.




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      Case Case
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                1:20-cr-00305-DDD Document
                                   Document645-2
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                                                         01/24/25
                                                           04/24/24 USDC
                                                                     PageColorado
                                                                          25 of 27   pg
                                       1229 of 1354




  ALWAYS ON THE GOVERNMENT


This burden never shifts to
         Mr. Tew.




                                                                                          1229
              Case Case
                   No. 1:20-cr-00305-DDD
                        1:20-cr-00305-DDD Document
                                           Document645-2
                                                    488-1 filed
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                                                                 01/24/25
                                                                   04/24/24 USDC
                                                                             PageColorado
                                                                                  26 of 27   pg
                                               1230 of 1354




                               Instruction #3
Based upon reason and common sense after careful and
impartial consideration of all the evidence in the case.


    The evidence, the lack of evidence, nature of the evidence.



        That would make a reasonable person hesitate to act.


              So convincing that a reasonable person would not hesitate
              to rely and act upon it in making the most important
              decisions in his or her own life.




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   Case Case
        No. 1:20-cr-00305-DDD
             1:20-cr-00305-DDD Document
                                Document645-2
                                         488-1 filed
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                                                      01/24/25
                                                        04/24/24 USDC
                                                                  PageColorado
                                                                       27 of 27   pg
                                    1231 of 1354




• You now have the power

• Think about everything that does
  not make sense

• Use your power to do the right
  thing
                                                                                         27




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Case No. 1:20-cr-00305-DDD         Document 645-2 filed 01/24/25              USDC Colorado   pg
                                       1232 of 1354


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  Hubbard (hickam@slhlegal.com, hubbard@slhlegal.com), Judge Daniel D. Domenico
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  Message−Id:9656079@cod.uscourts.gov
  Subject:Activity in Case 1:20−cr−00305−DDD USA v. Tew et al Order
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                                 U.S. District Court − District of Colorado

                                            District of Colorado

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  Case Name:       USA v. Tew et al
  Case Number:     1:20−cr−00305−DDD
  Filer:
  Document Number: 489(No document attached)
  Docket Text:
  ORDER modifying conditions of release as to Michael Aaron Tew and Kimberley Ann Tew.
  The following conditions are added to those already in effect:

  1. Defendants shall disclose a complete list of all bank accounts and peer−to−peer financial
  services accounts to which they have access no later than April 30, 2024. Defendants shall
  further provide a statement for each of these accounts to their supervising officer no later
  than the 5th of each following month, starting on May 5th, 2024.

  2. Defendants shall refrain from gambling of any kind, purchasing over $50 of gift cards in a
  given day, and engaging in any cryptocurrency transaction without the prior approval of the
  supervising officer.


                                                                                                   1232
Case No. 1:20-cr-00305-DDD           Document 645-2 filed 01/24/25           USDC Colorado       pg
                                         1233 of 1354




  3.The supervising officer may, in his discretion, share any information provided to him by
  Defendants pursuant to these conditions with the government.

  SO ORDERED by Judge Daniel D. Domenico on 4/25/2024. Text Only Entry (dddlc9, )


  1:20−cr−00305−DDD−1 Notice has been electronically mailed to:

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                                         1235 of 1354


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  usaco.ecfcivil@usdoj.gov, usaco.ecfcriminal@usdoj.gov), Judge Daniel D. Domenico
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  Case Name:       USA v. Tew et al
  Case Number:     1:20−cr−00305−DDD
  Filer:
  Document Number: 490(No document attached)
  Docket Text:
   ORDER denying as moot [348] Motion in Limine in light of [483] and [489]. SO ORDERED by
  Judge Daniel D. Domenico on 4/25/2024. Text Only Entry (dddlc9, )


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                                         1236 of 1354




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  Domenico (domenico_chambers@cod.uscourts.gov)
  −−Non Case Participants: dddlc6 (theodore_furchtgott@cod.uscourts.gov), mcole
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  −−No Notice Sent:

  Message−Id:9656193@cod.uscourts.gov
  Subject:Activity in Case 1:20−cr−00305−DDD USA v. Tew et al Order on Motion for Leave to
  Restrict
  Content−Type: text/html

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  The following transaction was entered on 4/25/2024 at 3:34 PM MDT and filed on 4/25/2024

  Case Name:       USA v. Tew et al
  Case Number:     1:20−cr−00305−DDD
  Filer:
  Document Number: 491(No document attached)
  Docket Text:
   ORDER granting [480] Motion for Leave to Restrict. The Clerk of Court is directed to
  maintain Doc. [482] at Level 1 restriction. SO ORDERED by Judge Daniel D. Domenico on
  4/25/2024. Text Only Entry (dddlc9, )


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                                         1238 of 1354




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      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                      645-2
                                          495 filed
                                                 Filed
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                                                                  PageColorado
                                                                       1 of 3            pg
                                  1240 of 1354




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

 Criminal Action No. 20-cr-00305-DDD-2

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 2. KIMBERLEY ANN TEW, a/k/a Kimberley Vertanen,

       Defendant.


           UNITED STATES’ MOTION TO RESTRICT DOCUMENTS


       The United States of America, by and through Cole Finegan, United States

 Attorney for the District of Colorado, and Martha A. Paluch, Assistant United

 States Attorney, respectfully moves to restrict the document filed at ECF 493 and

 any order revealing the contents of that document at Level 3 restriction. Pursuant

 to D.C.COLO.LCrR 47.1(b), “Level 3” restriction would make the document, any

 order revealing the contents of that document, and the brief filed in support of this

 motion accessible to the government and the Court.

       The government also respectfully moves to restrict the brief filed in support

 of this motion at ECF 494 at Level 1, which would make that filing accessible to the




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                                                                  PageColorado
                                                                       2 of 3          pg
                                  1241 of 1354




 filing parties and the Court, for the same reasons cited by the defense and granted

 by the Court in ECFs 481 and 491.

       Dated this 26th day of April, 2024.

                                         Respectfully submitted,

                                         COLE FINEGAN
                                         United States Attorney

                                   By:    s/ Martha A. Paluch
                                         Martha A. Paluch
                                         Assistant U.S. Attorney
                                         Chief, Economic Crimes Section
                                         United States Attorney=s Office
                                         1801 California Street, Suite 1600
                                         Denver, CO 80202
                                         (303) 454-0100
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                                         Attorney for the Government




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                                                                       3 of 3               pg
                                  1242 of 1354




                            CERTIFICATE OF SERVICE

        I hereby certify that on this 26th day of April, 2024, I electronically filed the
 foregoing

            UNITED STATES’ MOTION TO RESTRICT DOCUMENT

 with the Clerk of Court using the CM/ECF system which will send notification of
 such filing to all e-mail addresses of record.



                                   By:   s/ Martha A. Paluch
                                          Martha A. Paluch
                                          Assistant U.S. Attorney
                                          Chief, Economic Crimes Section
                                          United States Attorney=s Office
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                                          Attorney for the Government




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                                                                        1 of 2       pg
                                  1243 of 1354



                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD-2

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 2. KIMBERLEY ANN TEW, a/k/a Kimberley Vertanen,


       Defendant.


              ORDER TO RESTRICT DOCKET NOS. 493 and 494
 ______________________________________________________________________________


       This matter is before the Court on the Government’s Motion to Restrict ECFs

 493 and 494. Upon consideration and for good cause shown,

       IT IS ORDERED that the government’s Brief in Support of Motion to Restrict

 (ECF 494), as well as any order revealing the contents of those documents, are hereby

 restricted at Level 1 and will be “Viewable by the Parties & Court” only.

       IT IS FURTHER ORDERED that the government’s Response (ECF 493), as

 well as any order revealing the contents of that document, pursuant to

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                                                                      Colorado
                                                                        2 of 2     pg
                                  1244 of 1354




 D.C.COLO.LCrR 47.1(b), are hereby restricted at a “Level 3 Restriction” and will be

 “Viewable by the Filing Party & Court” only.

       IT IS SO ORDERED on this         day of ________________, 2024.



                                BY THE COURT:

                                ____________________________________
                                HONORABLE DANIEL D. DOMENICO
                                UNITED STATES DISTRICT COURT JUDGE
                                DISTRICT OF COLORADO




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Case No. 1:20-cr-00305-DDD         Document 645-2 filed 01/24/25              USDC Colorado   pg
                                       1245 of 1354


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  −−Case Participants: Nancy Lin Cohen (cbfile@cohenblacklaw.com, ilana@cohenblacklaw.com,
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  (josh_roth@cod.uscourts.gov), mcole (mallory_coleman@cod.uscourts.gov)
  −−No Notice Sent:

  Message−Id:9661192@cod.uscourts.gov
  Subject:Activity in Case 1:20−cr−00305−DDD USA v. Tew et al Order on Motion for Leave to
  Restrict
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                                 U.S. District Court − District of Colorado

                                           District of Colorado

  Notice of Electronic Filing


  The following transaction was entered on 4/30/2024 at 9:41 AM MDT and filed on 4/30/2024

  Case Name:       USA v. Tew et al
  Case Number:     1:20−cr−00305−DDD
  Filer:
  Document Number: 498(No document attached)
  Docket Text:
  ORDER granting [495] Motion for Leave to Restrict. The Clerk of Court is directed to
  maintain Doc. 493 at Level 3 restriction and to maintain Doc. 494 at Level 1 restriction. SO
  ORDERED by Judge Daniel D. Domenico on 4/30/2024. Text Only Entry (dddlc9, )


  1:20−cr−00305−DDD−2 Notice has been electronically mailed to:

  Nancy Lin Cohen nancy@cohenblacklaw.com, cbfile@cohenblacklaw.com, ilana@cohenblacklaw.com,
  mary@cohenblacklaw.com

  David Scott Kaplan   kaplan@slhlegal.com, hickam@slhlegal.com, varas@slhlegal.com


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Case No. 1:20-cr-00305-DDD           Document 645-2 filed 01/24/25           USDC Colorado    pg
                                         1246 of 1354




  Richard Kent Kornfeld      rick@rklawpc.com, admin@rklawpc.com, erin@rklawpc.com, kate@rklawpc.com

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  maggie.grenvik@usdoj.gov, usaco.ecfcriminal@usdoj.gov

  Lisa Marie Saccomano       lisa.saccomano@kutakrock.com, trina.rioux@kutakrock.com

  Michael John Tallon (Terminated)     mtallon@tallonlaw.com, jdeatsch@tallonlaw.com

  Eric S. Galler     egaller@gcorplaw.com

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                                                                          PageColorado
                                                                               1 of 4                                        pg
                                          1247 of 1354
AO 199A (Rev.02/24 D/CO) Order Setting Conditions of Release                                                 Page 1 of   4   Pages



                                     UNITED STATES DISTRICT COURT
                                                                   for the
                                                           District
                                                    __________      of Colorado
                                                                District of __________


                   United States of America                            )
                              v.                                       )
                                                                       )        Case No. 1:20-cr-00305-DDD-2
                       Kimberley Ann Tew
                                                                       )
                              Defendant
                                                                       )

                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.
      The defendant must appear at:             Alfred A. Arraj U.S. Courthouse, 901 19th St., Denver, CO 80294
                                                                                         Place




      on                                                       August 8, 2024 at 1:30 p.m.
                                                                      date and time
      If blank, defendant will be notified of next appearance.

(5)    The defendant must sign an Appearance Bond, if ordered.




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                                                                              PageColorado
                                                                                   2 of 4                                                          pg
                                              1248 of 1354
AO 199B (Rev. 02/24 D/CO) Additional Conditions of Release                                                                          Page 2     of 4   Pages


                                                  ADDITIONAL CONDITIONS OF RELEASE




 Pursuant to 18 U.S.C. § 3142(c)(1)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
 appearance of the person as required and the safety of any other person and the community.

        IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

 (    ) (6)    The defendant is placed in the custody of:

who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian’s custody.


                                                                         Signed:
                                                                                                        Custodian                                  Date

        (     ) (a) The defendant must reside with the third party custodian at an address approved by the pretrial services office or supervising officer.


 ( ✔ ) (7) The defendant must:
        (   ) (a) Submit to supervision by and report for supervision to: 1929 Stout St., Suite C-120, Denver, CO 80294 / (303) 844-5424




        ( ✔ ) (b) continue or actively seek employment, if legally allowed to do so.
        (   ) (c) continue or start an education program.
        ( ✔ ) (d) surrender any passport to the Clerk, U.S. District Court within 2 business days.
        ( ✔ ) (e) not obtain a passport or other international travel document.
        (   ) (f) abide by the following restrictions on personal association, residence, or travel:

                     travel is restricted to Colorado unless prior permission is granted by the Court

        ( ✔ ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                  including:except husband

        (     ) h) participate in medical, psychiatric, and/or mental health treatment as directed by the pretrial services office or supervising officer:

        (     ) (i) pay all or part of the cost of psychiatric and/or mental health treatment based upon your ability to pay as determined by the pretrial
                    services office or supervising officer.

        (     ) (j) return to custody each                   at            o’clock after being released at                 o’clock for employment, schooling,
                    or the following purposes:

        (   ) (k) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                  necessary and follow the rules of that facility.
        ( ✔ ) (l) not possess a firearm, destructive device, or other weapon.
        ( ✔ ) (m) not use alcohol (        ) at all ( ✔ ) excessively.
        ( ✔ ) (n) Except as authorized by court order, the defendant shall not use or unlawfully possess a narcotic drug or other controlled substances
                  defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner. Except as authorized by court order, the defendant shall
                  not possess, use or sell marijuana or any marijuana derivative (including THC) in any form (including edibles) or for any purpose
                  (including medical purposes). Without the prior permission of the probation officer, the defendant shall not enter any marijuana
                  dispensary or grow facility.




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                                                                             PageColorado
                                                                                  3 of 4                                                        pg
                                             1249 of 1354
AO 199B (Rev. 02/24 D/CO) Additional Conditions of Release                                                                         Page 3    of 4 Pages

                                                 ADDITIONAL CONDITIONS OF RELEASE
       (    ) (o) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                  random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                  prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
                  of prohibited substance screening or testing.
       (    ) (p) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                  supervising officer.
       (    ) (q) pay all or part of the cost of substance abuse treatment and/or testing based upon your ability to pay as determined by the pretrial services
                  office or supervising officer.
       ( ✔ ) (r) participate in one of the following location restriction programs and comply with its requirements as directed.
                 (    ) (i) Curfew. You are restricted to your residence every day (            ) from                   to             , or (     ) as
                              directed by the pretrial services office or supervising officer; or
                 (    ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                               medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
                               activities approved in advance by the pretrial services office or supervising officer; or
                 ( ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                              court appearances or other activities specifically approved by the court; or
                 ( ✔ ) (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions. However,
                              you must comply with the location or travel restrictions as imposed by the court.
                              Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS) technology.
       ( ✔ ) (s) submit to the following location monitoring technology and comply with its requirements as directed:
                 (    ) (i) Location monitoring technology as directed by the pretrial services office or supervising officer; or
                 (    ) (ii) Radio Frequency; or
                 ( ✔ ) (iii) GPS.
                 (    ) (iv)
       ( ✔ ) (t) pay all or part of the cost of location monitoring based upon your ability to pay as determined by the pretrial services office or
                 supervising officer.
       ( ✔ ) (u) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
                 arrests, questioning, or traffic stops.
       ( ✔ ) (v) The defendant shall not act as an informant for any law enforcement agency without prior permission of the Court.

       ( ✔ ) (w) The defendant’s employment must be approved in advance by the supervising officer.


       ( ✔ ) (x) The defendant shall provide verification of any income or funds received.


       ( ✔ ) (y) The defendant shall provide access to any financial records requested by the supervising officer.


       ( ✔ ) (z) The defendant shall not co-mingle personal and business funds.


       ( ✔ ) (aa) The defendant shall not register any business entities without prior disclosure to the supervising officer. The defendant shall
                  notify the supervising officer of the registration of any business entities by his/her family members.

       ( ✔ ) (bb) The defendant shall notify third parties of risks that may be occasioned by her/his personal history or characteristics and shall
                  permit the probation officer to make such notifications and to confirm the defendant’s compliance with such notification
                  requirement.
       ( ✔ ) (cc) The defendant shall not conduct any financial transactions through the financial account of any business entity not previously
                  disclosed to the supervising officer or through any other individual’s financial account.


       ( ✔ ) (dd) The defendant shall not solicit or receive money from third parties without prior approval by the supervising officer.



       ( ✔ ) (ee) The defendant shall disclose a complete list of all bank accounts and peer-to-peer financial services accounts to which they have
                  access no later than April 29, 2024. Defendant shall further provide a statement for each of these accounts to their supervising
                  officer no later than the 5th of each following month, starting on May 5th, 2024.
       ( ✔ ) (ff) The defendant shall refrain from gambling of any kind, purchasing over $50 of gift cards in a given day, and engaging in any
                  cryptocurrency transaction without the prior approval of the supervising officer.

       ( ✔ ) (gg) The supervising officer may, in his discretion, share any information provided to him by defendant pursuant to these conditions
                  with the government.
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                                                                               4 of 4                                              pg
                                          1250 of 1354
AO 199C (Rev. 09/08) Advice of Penalties                                                                               Page 4   of 4    Pages

                                             ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more – you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years – you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony – you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor – you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                     Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth
above.




                                                                                      Defendant’s Signature

                                                        Denver, Colorado
                                                                                          City and State



                                                   Directions to the United States Marshal

(    ) The defendant is ORDERED released after processing.
(    ) The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
       has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before
       the appropriate judge at the time and place specified.


Date:             4/26/2024                                                         Daniel D. Domenico
                                                                                    Judicial Officer’s Signature

                                                                                    District Court Judge
                                                                                      Printed name and title




                     DISTRIBUTION:         COURT    DEFENDANT    PRETRIAL SERVICE     U.S. ATTORNEY            U.S. MARSHAL




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                                       1251 of 1354


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  −−Case Participants: Richard Kent Kornfeld (admin@rklawpc.com, erin@rklawpc.com,
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  −−Non Case Participants: dddlc6 (theodore_furchtgott@cod.uscourts.gov), mcole
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  −−No Notice Sent:

  Message−Id:9675413@cod.uscourts.gov
  Subject:Activity in Case 1:20−cr−00305−DDD USA v. Tew et al Order
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                                            District of Colorado

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  The following transaction was entered on 5/8/2024 at 3:26 PM MDT and filed on 5/8/2024

  Case Name:       USA v. Tew et al
  Case Number:     1:20−cr−00305−DDD
  Filer:
  Document Number: 501(No document attached)
  Docket Text:
   ORDER denying [482] RESTRICTED DOCUMENT − Level 1: by Kimberley Ann Tew. Having
  reviewed the pleadings on this issue and considered the relevant facts, the motion is denied.
  SO ORDERED by Judge Daniel D. Domenico on 5/8/2024. Text Only Entry (dddlc9, )


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                                         1252 of 1354


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Case No. 1:20-cr-00305-DDD           Document 645-2 filed 01/24/25           USDC Colorado    pg
                                         1253 of 1354




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                                           District of Colorado

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  Case Name:       USA v. Tew et al
  Case Number:     1:20−cr−00305−DDD
  Filer:           Dft No. 2 − Kimberley Ann Tew
  Document Number: 510(No document attached)
  Docket Text:
  Conventionally Submitted Material : 1 Flash Drive re Objection/Response to Presentence
  Report, [508] by Defendant Kimberley Ann Tew. Location of Stored Items: Box D−5−5. Text
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Case No. 1:20-cr-00305-DDD           Document 645-2 filed 01/24/25           USDC Colorado    pg
                                         1255 of 1354




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                                  1256 of 1354




                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 2. KIMBERLEY ANN TEW,
    a/ka Kimberley Vertanen,

       Defendant.
 ______________________________________________________________________________

         UNITED STATES’ MOTION FOR PRELIMINARY ORDER OF
           FORFEITURE FOR A PERSONAL MONEY JUDGMENT
               AGAINST DEFENDANT KIMBERLEY ANN TEW
 ______________________________________________________________________________

       The United States of America (“United States”), by and through Acting

 United States Attorney Matthew T. Kirsch and Assistant United States Attorney

 Laura B. Hurd, pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c), and Fed.

 R. Crim. P. 32.2(b)(2), respectfully requests that this Court enter before sentencing

 a Preliminary Order of Forfeiture for a Personal Money Judgment in the amount of

 $5,023,878.50 against defendant Kimberley Tew, which constitutes proceeds

 obtained by the defendant as a result of violations of 18 U.S.C. §§ 1343, 2, and 1349.

 A.    Background

       1.     On February 3, 2021, an Indictment was filed charging defendant

 Kimberly Ann Tew with the following: in Count 1 with violation of 18 U.S.C. § 1349




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                                                                       2 of 8                  pg
                                  1257 of 1354




 (conspiracy to commit wire fraud); in Counts 161, 21, 22, 25, 26, 31, and 32 with

 violations of 18 U.S.C. §§ 1343 and 2 (wire fraud and aiding and abetting); in Count

 41 with violation of 18 U.S.C. §§ 1956(h) (conspiracy to commit money laundering);

 and in Counts 43, 44, 47, 48, and 56 with violations of 18 U.S.C. § 1957 (money

 laundering-spending). ECF Doc. # 83, p. 1-21.

        2.     The Indictment also sought forfeiture, pursuant to 18 U.S.C. §

 981(a)(1)(C), and 28 U.S.C. § 2461(c), of any and all of the defendant’s right, title,

 and interest in all property constituting and derived from any proceeds the

 defendant obtained directly and indirectly as a result of the violations set forth in

 Counts 1 through 40, including but not limited to, a money judgment in the amount

 of proceeds obtained by the scheme and the defendants. In addition, the Indictment

 sought forfeiture, pursuant to 18 U.S.C. § 982(a)(2)2, for all property involved in the

 violations set forth in Counts 41 through 56 or all property traceable to such

 property. ECF Doc. #83, p. 23.

        3.     On February 15, 2024, defendant Kimberly Tew was found guilty at

 trial of Counts 1, 21, 22, 25, 26, 31, 32, 41, 43, 44, 47, and 56. ECF Doc. 448.




 1 Count 16 was removed from the verdict form and dismissed by the Court.
 2 Title 18, United States Code, Section 982(a)(1), states that upon conviction of violations of

 18 U.S.C. §§ 1956 or 1957, the Court “shall order that person forfeit to the United States
 any property, real or personal, involved in such offense, or any property traceable to such
 property.” Defendant Kimberley Tew was convicted of conspiracy to commit money
 laundering and substantive counts. A total of $72,000.00 is the amount of funds laundered
 by Kimberley Tew based on the substantive counts of conviction. The total amount
 involved in those individual transactions are significantly less than the total wire fraud
 conspiracy proceeds. Thus, the government does not intend to forfeit those funds in addition
 to the wire fraud conspiracy amounts.


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                                                                  PageColorado
                                                                       3 of 8            pg
                                  1258 of 1354




       4.     The government presented facts at trial which established a nexus

 between the criminal conduct for which the defendant was found guilty and the

 $5,023,878.50, which represents the proceeds obtained by the Tews through the

 wire fraud conspiracy and substantive counts. See EX 1002-1003.

 B.    Argument

       Pursuant to 18 U.S.C. § 981(a)(1)(C) the Court shall order criminal forfeiture

 of any property, real or personal, constituting or derived from proceeds traceable to

 a “specified unlawful activity” as defined in 18 U.S.C. § 1956(c)(7), or a conspiracy to

 commit such offense. Title 18, United States Code, Section 1956(c)(7) includes any

 offense listed in 18 U.S.C. § 1961(1) as a “specified unlawful activity.” Wire fraud in

 violation of 18 U.S.C. § 1343 is listed in 18 U.S.C. § 1961. Conspiracy to commit

 wire fraud is set forth in 18 U.S.C. § 1349.

       Proceeds are defined in 18 U.S.C. § 981(a)(2), which states that “proceeds”

 are “property of any kind obtained directly or indirectly, as the result of the

 commission of the offense giving rise to forfeiture, and any property traceable

 thereto, and is not limited to the net gain or profit realized from the offense.”

       The government may seek a money judgment against a defendant for the

 value of what they obtained from the criminal activity.” United States v. Channon,

 973 F.3d 1105, 1112 (10th Cir. 2020) (quotation marks and citation omitted); United

 States v. Venturella, 585 F.3d 1013, 1017 (7th Cir. 2009). This includes proceeds

 from the wire fraud scheme and proceeds obtained from the conspiracy the

 defendant benefitted from.



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                                                                       4 of 8              pg
                                  1259 of 1354




        When two co-conspirators jointly obtain and jointly enjoy the fruits from their

 conspiracy, they are liable for the full amount of that conspiracy. See Channon, 973

 F.3d at 1115 n.8 (citing United States v. Tanner, 942 F.3d 60, 67-68 (2d Cir. 2019));

 United States v. Dotson, 635 F. Supp. 3d 1326, 1333 (M.D. Fla. 2022) (“Mr. and Mrs.

 Dotson both benefited personally from the fraud” because they co-owned the stores

 that received the profits from the fraudulent transactions); United States v.

 Bikundi, 926 F.3d 761 (D.C. Cir. 2019) (defendants jointly obtained conspiracy

 proceeds because both were integrally involved in fraud scheme and treated

 property as joint property). This is because each of them is responsible for the

 conduct, acquisition, and use of the conspiracy proceeds. This is especially true

 when the codefendants are married and share finances and expenses. See United

 States v. Carlyle, 776 F. App'x 565, 571 (11th Cir. 2019) (a married couple were

 both liable for the full amount of the fraud proceeds because “it is reasonable to

 infer from the evidence in the record that [the defendant] possessed and enjoyed the

 fruits of her own efforts.”).

        Pursuant to Fed. R. Crim. P. 32.2(b)(1)(A), the Court must determine what

 property is subject to forfeiture as soon as practicable after a finding of guilt. When

 a personal money judgment is sought, “the court must determine the amount of

 money the defendant will be ordered to pay.” Fed. R. Crim. P. 32.2(b)(1)(A). As set

 forth in Fed. R. Crim. P. 32.2(b)(1)(B), the Court “determination may be based on

 evidence already in the record . . . and on any additional evidence or information

 submitted by the parties and accepted by the court as relevant and reliable.” When



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                                                       07/25/24 USDC
                                                                  PageColorado
                                                                       5 of 8           pg
                                  1260 of 1354




 considering the evidence, the Court need only find that a preponderance of the

 evidence supports forfeiture. United States v. Gordon, 710 F.3d 1124, 1165 (10th

 Cir. 2013) (“A forfeiture judgment must be supported by a preponderance of the

 evidence.” (quoting United States v. Bader, 678 F.3d858, 893 (10th Cir. 2012)).

       Once the property is determined to be subject to forfeiture, the Court “must

 promptly enter a preliminary order of forfeiture setting forth the amount of any

 money judgment.” Fed. R. Crim. P. 32.2(b)(2)(A). It is mandatory that the

 Preliminary Order of Forfeiture is entered “sufficiently in advance of sentencing to

 allow the parties to suggest revisions or modifications before the order becomes

 final as to the defendant.” Fed. R. Crim. P. 32.2(b)(2)(B).

         As set forth in the government’s sentencing statement, the evidence at trial

 established that from August 2018 to July 2020, Michael Tew, Kimberly Tew, and

 Jonathan Yioulos engaged in a scheme to defraud a Florida-based company, N.A.C.,

 Inc. (“the Victim Company”). As part of the conspiracy and scheme to defraud,

 fraudulent invoices were submitted to the Victim Company for services that were

 never rendered. ECF Doc. #459, p. 3 (citing Testimony of Jonathan Yioulos; GX

 1002, 1003, and 1008). At times, Michael and Kimberley Tew used various entities

 and identities in order to submit the invoices and to receive payment. After the

 fraudulent invoices were paid, Michael and Kimberley Tew engaged in multiple

 financial transactions through financial institutions in amounts greater than

 $10,000 from money they knew to be the proceeds of wire fraud. Id. (citing GX

 1009-1023).



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                                                                  PageColorado
                                                                       6 of 8           pg
                                  1261 of 1354




       Between August 2018 and July 2020, as a result of the conspiracy to commit

 wire fraud, the Victim Company paid $5,053,878.50 either directly to the Michael

 and Kimberley Tew or to third parties recruited by them. Id. at p. 12 (citing GX

 1002-1003). The fraud was perpetrated to pay outstanding and ongoing debts

 incurred by Kimberley Tew’s gambling, to cover the redemptions of “investors” who

 were victims of a separate cryptocurrency scheme, and to finance a lavish lifestyle

 that included a luxury apartment in Cherry Creek, designer clothes, expensive food,

 and Las Vegas junkets. Id. at 12-13.

       Michael and Kimberley Tew maintained multiple bank accounts at multiple

 financial institutions; some they held in their individual names, and others were

 joint accounts. Id. at p. 22 (citing GX 1000). After withdrawing cash from the

 proceeds of the fraud, Michael and Kimberley Tew often deposited the aggregated

 amount of cash from that day or over a few days into cryptocurrency ATMs, where

 they were able to deposit United States dollars in exchange for bitcoin, either held

 in their own wallets or sent to third parties, many of whom were owed money. All

 told, the Tews deposited approximately $2,429,181 into just one company’s

 cryptocurrency ATMs during the conspiracy. Id. at p. 23 (citing ECF No. 341-1, Log

 Entry # 176, 179, 189, 192, 193, 348, 351, 348, 351, 356).

       In total, the Victim Company paid $5,053,878.50 to the various entities for

 Michael and Kimberley Tew’s benefit or directly to bank accounts controlled or

 operated by Michael Tew and Kimberley Tew. Id. at p. 23-24; GX 1002-1003. `




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                                                       07/25/24 USDC
                                                                  PageColorado
                                                                       7 of 8             pg
                                  1262 of 1354




       Michael and Kimberly Tew were equally culpable in the conspiracy that

 obtained $5,053,878.50 from the Victim Company for their benefit. Based on their

 joint conduct, joint use of the proceeds, and joint responsibility related to the wire

 fraud conspiracy, the government seeks a forfeiture money judgment against

 defendant Kimberley Tew in the amount of $5,053,878.50. The government will

 credit any payments made toward the money judgment so that it will not collect

 more than the $5,053,878.50.

       In addition, the government intends to recommend to the Attorney General

 that any net proceeds derived from the sale of the judicially forfeited assets be

 remitted or restored to the eligible victim of the offenses, for which the defendant

 has been found guilty, pursuant to 18 U.S.C. § 981(e), 28 C.F.R. pt. 9, and any other

 applicable laws, if the legal requirements for recommendation are met.

       Conclusion

       Accordingly, the United States respectfully requests that the Court enter the

 Preliminary Order of Forfeiture for a Personal Money Judgment in the amount of

 $5,053,878.50 against defendant Kimberley Tew pursuant to 18 U.S.C. §

 981(a)(1)(C) and 28 U.S.C. § 2461(c).

       DATED this 25th day of July 2024.

                                                Respectfully submitted,

                                                Matthew T. Kirsch
                                                Acting United States Attorney




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                                                       07/25/24 USDC
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                                                                       8 of 8         pg
                                  1263 of 1354




                                        By:    /s/ Laura B. Hurd
                                               Laura B. Hurd
                                               Assistant U.S. Attorney
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                                               Telephone: (303) 454-0100
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                                               Attorney for the United States

 I hereby certify that the foregoing pleading complies with the type-volume

 limitation set forth in Judge Domenico’s Practice Standard III(A)(1).




                           CERTIFICATE OF SERVICE

        I hereby certify that on this 25th day of July 2024, I electronically filed the
 foregoing with the Clerk of Court using the ECF system which will send notice to all
 counsel of record.


                                               s/ Sheri Gidan
                                               FSA Federal Paralegal
                                               Office of the U.S. Attorney




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                                                                        1 of 3        pg
                                  1264 of 1354




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD-2

 UNITED STATES OF AMERICA,

              Plaintiff,

 v.

 2.     KIMBERLY ANN TEW,
        a/k/a Kimberly Vertanen

              Defendant.


      PRELIMINARY ORDER OF FORFEITURE FOR A PERSONAL MONEY
          JUDGMENT AGAINST DEFENDANT KIMBERLY ANN TEW


        THIS MATTER comes before the Court on the United States’ Motion for

 Preliminary Order of Forfeiture for a Personal Money Judgment against Defendant

 Kimberly Ann Tew pursuant to Rule 32.2(b)(2) of the Federal Rules of Criminal

 Procedure. The Court having read said Motion and being fully advised in the

 premises finds:

        THAT on February 3, 2021, an Indictment was filed charging defendant

 Kimberly Ann Tew with the following: in Count 1 with violation of 18 U.S.C. § 1349

 (conspiracy to commit wire fraud); in Counts 16, 21, 22, 25, 26, 31, and 32 with

 violations of 18 U.S.C. §§ 1343 and 2 (wire fraud and aiding and abetting); in Count

 41 with violation of 18 U.S.C. §§ 1956(h) (conspiracy to commit money laundering);

 and in Counts 43, 44, 47, 48, and 56 with violations of 18 U.S.C. § 1957 (money

 laundering-spending);


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                                                                      Colorado
                                                                        2 of 3            pg
                                  1265 of 1354




       THAT the Indictment also sought forfeiture, pursuant to 18 U.S.C. §

 981(a)(1)(C), and 28 U.S.C. § 2461(c), of any and all of the defendant’s right, title,

 and interest in all property constituting and derived from any proceeds the

 defendant obtained directly and indirectly as a result of the violations set forth in

 Counts 1 through 40, including but not limited to, a money judgment in the amount

 of proceeds obtained by the scheme and the defendants. In addition, the Indictment

 sought forfeiture, pursuant to 18 U.S.C. § 982(a)(2), for all property involved in the

 violations set forth in Counts 41 through 56 or all property traceable to such

 property; and

       That on February 15, 2024, defendant Kimberly Tew was found guilty by a

 jury of Counts 1, 21, 22, 25, 26, 31, 32, 41, 43, 44, 47, and 56; and

       THAT based on the facts set forth at trial, there is a factual basis and cause

 to issue a personal money judgment under 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §

 2461(c), and Rule 32.2(b) of the Federal Rules of Criminal Procedure.

              THEREFORE, IT IS ORDERED, DECREED AND ADJUDGED:

       THAT $5,053,878.50 is subject to forfeiture as proceeds obtained by

 defendant Kimberly Ann Tew through commission of the offenses in Counts 1, 21,

 22, 25, 26, 31, and 32 for which she was found guilty;

       THAT proceeds obtained from the wire fraud and conspiracy to commit wire

 fraud were laundered as a result of defendant Kimberly Ann Tew’s convictions for

 Counts 41, 43, 44, 47, and 56;




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                                  1266 of 1354




       THAT a Preliminary Order of Forfeiture for a Personal Money Judgment

 against defendant Kimberly Ann Tew in the amount of $5,053,878.50 shall be

 entered in accordance with 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c);

       THAT pursuant to Federal Rule of Criminal Procedure 32.2(b)(4), this

 Forfeiture Money Judgment shall become final as to the defendant at the time of

 sentencing and shall be made part of the sentence and included in the judgment;

       THAT any payments toward the money judgment will be credited so that the

 United States will not collect more than the $5,053,878.50; and

       THAT this Preliminary Order of Forfeiture may be amended pursuant to the

 Federal Rules of Criminal Procedure, Rule 32.2(e)(1).



       SO ORDERED this _________ day of __________________2024.


                                 BY THE COURT:


                                 _________________________________
                                 DANIEL D. DOMENICO
                                 United States District Court Judge




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Case No. 1:20-cr-00305-DDD         Document 645-2 filed 01/24/25              USDC Colorado   pg
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  −−No Notice Sent:

  Message−Id:9785023@cod.uscourts.gov
  Subject:Activity in Case 1:20−cr−00305−DDD USA v. Tew et al Order
  Content−Type: text/html

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                                            District of Colorado

  Notice of Electronic Filing


  The following transaction was entered on 7/25/2024 at 4:30 PM MDT and filed on 7/25/2024

  Case Name:       USA v. Tew et al
  Case Number:     1:20−cr−00305−DDD
  Filer:
  Document Number: 514(No document attached)
  Docket Text:
   ORDER re [513] Motion for Preliminary Order of Forfeiture. If Ms. Tew opposes the motion,
  she is ordered to file a response on or before August 2, 2024. SO ORDERED by Judge Daniel
  D. Domenico on 7/25/2024. Text Only Entry (dddlc9, )


  1:20−cr−00305−DDD−2 Notice has been electronically mailed to:

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Case No. 1:20-cr-00305-DDD           Document 645-2 filed 01/24/25           USDC Colorado      pg
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  MIME−Version:1.0
  From:COD_ENotice@cod.uscourts.gov
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  Message−Id:9790018@cod.uscourts.gov
  Subject:Activity in Case 1:20−cr−00305−DDD USA v. Tew et al Conventionally Submitted
  Material
  Content−Type: text/html

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                                           District of Colorado

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  The following transaction was entered on 7/30/2024 at 8:59 AM MDT and filed on 7/26/2024

  Case Name:       USA v. Tew et al
  Case Number:     1:20−cr−00305−DDD
  Filer:           USA
  Document Number: 519(No document attached)
  Docket Text:
  Conventionally Submitted Material : One CD re Restricted Document − Level 2[516] by
  Plaintiff USA. Location of stored items: Sealed Room. Text Only Entry (cmadr, )


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                                         1270 of 1354


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                                  1271 of 1354




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO


  Case No. 1:20-cr-00305-DDD-2

  UNITED STATES OF AMERICA,

           Plaintiff,
  v.

  2. KIMBERLEY ANN TEW

           Defendant.

       Kimberley Tew’s Notice of Objection to United States’ Motion for Preliminary
                                  Order of Forfeiture


          Kimberley Tew, through attorneys David S. Kaplan and Jamie Hubbard of the

 law firm Stimson LaBranche Hubbard, LLC submits Kimberley Tew’s Notice of Objection

 to United States’ Motion for Preliminary Order of Forfeiture and as grounds state the

 following:

          1. On February 15, 2024 Mrs. Kimberley Tew, was found guilty of twelve counts

             in the above captioned case. Her co-defendant, Mr. Michael Tew was

             convicted of sixty counts. On July 25, 2024, the government submitted United

             States’ Motion for Preliminary Order of Forfeiture for a Personal Money Judgment

             Against Defendant Kimberley Ann Tew. (Doc. 513). Mrs. Tew is set for a

             sentencing hearing on August 8, 2024.

          2. The Federal Rules of Criminal Procedure, addressing criminal forfeiture,

             require the court to determine if the government has established a nexus




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                                                                       2 of 4                                       pg
                                  1272 of 1354




                 between any specific property to be forfeited and the offenses of conviction.

                 Fed. R. Crim. P. 32.2(b)(1)(A); 32.2(b)(2)(A). The fact that defendants are

                 coconspirators does not mandate that joint and several liability must apply to

                 the repayment of a loss attributed to the conspiracy. Honeycutt v. United

                 States 581 U.S. 443, 137 S. Ct. 1626 (2017).

            3.   The government seeks an order of forfeiture disproportionate to Ms. Tews’

                 involvement or contribution to the counts of conviction. In an indictment

                 containing sixty counts Mrs. Tew was convicted of seven counts related to

                 wire fraud and five counts related to money laundering. 1 The government

                 has acknowledged that Mrs. Tew was not involved with more than 80% of the

                 fraudulent transfers. The government has further conceded that the amount

                 of funds laundered by Mrs. Tew was only $72,000.00 and as such is not

                 seeking their forfeiture. (U.S. Motion for Preliminary Order Doc. 513 p.2.n 2)

            4. The government requests forfeiture, in the form of a money judgement

                 totaling $5,053,878.50, for an amount derived from proceeds obtained by the

                 scheme and the defendants. The amount attributable to Mrs. Kimberley Tew

                 as a result of the wire fraud convictions is more accurately based on the

                 counts of conviction, totaling $184,300.00, as described in Defendant Kimberley




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     Mrs. Tew was acquitted on wire fraud count #16 and any forfeiture calculation should be reduced accordingly.

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                                  1273 of 1354




           Tew’s Objections to Presentence Investigation Report submission. (Doc. #508

           Offense Level Computation p. 24 incorporated herein by reference).

        5. Failing to provide a nexus between Mrs. Tew’s criminal conduct and the

           money judgement being sought by the government, this court should enter a

           preliminary order of forfeiture consistent with the amounts contained in this

           Notice of Objection.

        6. Mrs. Tew requests that the order of forfeiture enter sufficiently in advance of

           sentencing to allow counsel for Mrs. Tew to suggest revisions or

           modifications before the order becomes final. Fed. R. Crim P. 32.2(b)(2)(B).

        Dated: August 2, 2024.

                                                Respectfully submitted,

                                                s/ David S. Kaplan
                                                David S. Kaplan
                                                Jamie Hubbard
                                                STIMSON LABRANCHE HUBBARD, LLC
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                                                Attorneys for Kimberley Ann Tew



                                    Certificate of Service

         I certify that on August 2, 2024, I electronically filed the foregoing Kimberley
 Tew’s Notice of Objection to United States Motion for Preliminary Order of Forfeiture with the
 Clerk of Court using the CM/ECF system which will send notification of such filing to
 the following e-mail address and all parties of record:

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                                  1274 of 1354




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                                         s/ Andres L. Varas
                                         Andres L. Varas, Paralegal




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                                  1275 of 1354




                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD-2

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 2. KIMBERLEY ANN TEW,
    a/ka Kimberley Vertanen,

       Defendant.
 ______________________________________________________________________________

        UNITED STATES’ REPLY TO KIMBERLEY TEW’S NOTICE OF
  OBJECTION TO UNITED STATES’ MOTION FOR PRELIMINARY ORDER
                      OF FORFEITURE (ECF DOC. 522)
 ______________________________________________________________________________
       Defendant Kimberley Tew objects to forfeiture in the amount of proceeds

 obtained by her through the conspiracy and argues that she is only responsible for

 the substantive counts of wire fraud for which she was convicted. See ECF Doc. 52,

 ¶ 4. Her argument defies law and the overwhelming facts establishing her

 participation, direction, and pressure on her co-conspirators to obtain funds from

 the victim company to support her gambling, lifestyle, and cryptocurrency scheme

 as a result of the conspiracy in Count 1 and the wire fraud in Counts 2 through 40.

       The jury found beyond a reasonable doubt that (1) Kimberley Tew agreed

 with others to commit wire fraud; (2) she knew the essential objectives of the

 conspiracy; (3) she knowingly and voluntarily participated in the conspiracy; and (4)


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                                  1276 of 1354




 there was interdependence among the members of the conspiracy. Meaning, the

 members intended to act together for their shared mutual benefit within the

 scope of the conspiracy charged. ECF Doc. 438, p. 21 (Jury Instruction No. 18

 Conspiracy to Commit Wire Fraud) (emphasis added); see United States v. Fishman,

 645 F.3d 1175, 1189 (10th Cir.2011) (“Co-conspirators are interdependent when

 they ‘inten[d] to act together for their shared mutual benefit within the scope of the

 conspiracy charged.’ ”) (citation omitted). Interdependence among the members of

 the conspiracy, however, does not require that the members all agree on every

 detail. Id. at p. 25 (Jury Instruction No. 20 Conspiracy-Agreement &

 Interdependence Defined).

        In turn, the Indictment, which was provided to the jury, included all of the

 entities used to perpetrate the fraud, including H.S. CPAs LLC (“HS CPAs”);

 M.C.G. Inc. (“MCG”); 5530 J.D., LLC (“5530 JD”); P.M., Inc. (“PM”); Global Fuel

 Logistics, Inc. (“GFL”); and Aero Maintenance Resources (“AMR”), a division of

 GFL. ECF Doc. 83, ¶¶ 13-14. The conspiracy charged in Count 1 also stated that

 more than $5,000,000 was paid by the victim company from the invoices submitted

 by the six entities or divisions. Id. at ¶¶ 11, 15. Defendants Michael Tew and

 Kimberley Tew contacted defendant Jonathan Yioulos to demand money. It was

 also part of the conspiracy that Kimberley Tew and Michael Tew coordinated and

 consulted on the amount of money to demand from Yioulos. Id. at ¶ 20.

       There is absolutely no dispute that defendant Kimberley Tew was convicted

 of conspiracy to commit wire fraud. She was also found guilty of the wire fraud in



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                                                                  PageColorado
                                                                       3 of 6           pg
                                  1277 of 1354




 Counts 21, 22, 25, 26, 31, and 32. ECF Doc. 448. The individual wire fraud counts

 included invoices from GFL and AMR and there was evidence supporting her

 involvement with every entity who submitted false invoices. See e.g. ECF Doc. 516,

 p. 9-10 (citing Exhibit 2; ECF Docs. 361, 341-1 at 84-85; and GX 715).

       The evidence before the Court shows Kimberley Tew maintained consistent

 pressure on co-conspirators to ensure a constant stream of funds flowing to her and

 her husband through the conspiracy. This was done directly with defendant

 Yioulos, and after he cut off communications with her, through her husband

 Michael Tew. GX 975; see also ECF Doc. 341-1. As set forth in the government’s

 exhibit 1008, Kimberely Tew sent one message in furtherance of the conspiracy in

 almost every month of its existence. ECF Doc. 516, Exhibit 1. She was not a

 passive, unwilling participant. Defendant Kimberley Tew was a driving force and

 received the substantial financial benefits from the conspiracy. See ECF Doc. 516

 (citing ECF No. 341-1 to establish defendant Kimberley Tew’s conduct which aided

 at entries 59, 110, 156, 166, 173, 277, 279, 280, 281, 337, 338, 372; abetted, ECF No.

 341-1 at 129, 159; 166, 169, 176, 274, 286; 294, 295, 321, 322, 327, 340, 366, 371;

 counseled, ECF No. 341-1 at 140, 151, 160, 194, 229, 286, 288, 289, 291, 293, 301,

 307, 308, 317, 325, 326, 336, 342, 362, 364; commanded, ECF No. 341-1 at 126, 153,

 166, 170, 177, 192, 212, 222, 242, 249, 260, 261, 265, 290, 309, 313, 347, 357, 358,

 360, 367, 370; induced, ECF No. 341-1 at 130, 139, 160, 170, 178, 179, 197, 215, 225,

 272, 273, 283, 296, 311, 330, 348, 368; produced ECF No. 341-1 at 124, 187, 297;




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            1:20-cr-00305-DDDDocument
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                                                     01/24/25
                                                       08/06/24 USDC
                                                                  PageColorado
                                                                       4 of 6          pg
                                  1278 of 1354




 and willfully caused, ECF No. 341-1 at 136, 146, 189, 190, 200, 205, 276, 290, 298,

 299, 332, 341, 356).

       Any argument that defendant Kimberley Tew is not responsible for the funds

 received as a result of the conspiracy is at odds with her conduct and the jury’s

 determination of her participation. The primary objective of the conspiracy was to

 obtain funds through the wire fraud scheme. There is no evidence that defendant

 Kimberley Tew withdrew from the conspiracy or that she did not benefit from the

 funds flowing to her from every entity that submitted false invoices. In essence,

 defendant Kimberley Tew’s argument would mean that there were multiple sub-

 conspiracies related to each individual entity. That is not what the jury determined

 when it determined she was guilty beyond a reasonable doubt of Count 1. See e.g.

 United States v. Serr, 817 F. App'x 598, 602 (10th Cir. 2020) (“a single conspiracy

 does not fracture into multiple conspiracies merely because it involves a series of

 separate transactions.”) (citing United States v. Brewer, 630 F.2d 795, 799 (10th Cir.

 1980)).

       Although Kimberley Tew references Honeycutt v. United States, 581 U.S. 443,

 137 S. Ct. 1626 (2017), the United States is not asking for a joint and several

 finding on the forfeiture, but a forfeiture money judgment based on Kimberley

 Tew’s conduct and the benefit the Tews received through the wire fraud conspiracy.

 Although the Tenth Circuit has not held that Honeycutt applies to 18 U.S.C. §

 981(a)(1)(C), the Honeycutt decision aligns with what the government seeks here.

 That the defendants who receive the funds from the conspiracy are responsible for



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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                      645-2
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                                                     01/24/25
                                                       08/06/24 USDC
                                                                  PageColorado
                                                                       5 of 6            pg
                                  1279 of 1354




 those funds. See United States v. Channon, 973 F.3d 1105, 1115 n.8 (10th Cir.

 2020) (“Even if Honeycutt applied to § 981(a)(1)(C), Defendants failed to show that

 its analysis plainly applies to them. . . . Defendants are a married couple who lived

 together and enjoyed the benefits of their scheme together. The facts here are

 unlike the case of a drug kingpin and several drug dealers who do not have any

 relationship or shared benefits outside of the conspiracy.”). The government is not

 seeking to hold a low-level participant responsible based on Pinkerton liability for

 the fraud funds received by others in the conspiracy; but rather, the government is

 seeking to hold the primary participants responsible for their gain. Kimberley Tew

 substantially benefited from every dollar obtained through the wire fraud

 conspiracy and scheme. She cannot avoid the fact that she was an instrumental

 participate in the conspiracy to commit wire fraud and benefitted and enjoyed the

 receipts from the entire fraud conspiracy along with her husband.


       DATED this 6th day of August 2024.

                                               Respectfully submitted,

                                               Matthew T. Kirsch
                                               Acting United States Attorney

                                         By:   /s/ Laura B. Hurd
                                               Laura B. Hurd
                                               Assistant U.S. Attorney
                                               U.S. Attorney’s Office
                                               1801 California Street, Ste. 1600
                                               Denver, Colorado 80202
                                               Telephone: (303) 454-0100
                                               E-mail: laura.hurd@usdoj.gov
                                               Attorney for the United States



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                                                                       6 of 6          pg
                                  1280 of 1354




 I hereby certify that the foregoing pleading complies with the type-volume
 limitation set forth in Judge Domenico’s Practice Standard III(A)(1).



                           CERTIFICATE OF SERVICE

        I hereby certify that on this 6th day of August 2024, I electronically filed the
 foregoing with the Clerk of Court using the ECF system which will send notice to all
 counsel of record.


                                               s/ Sheri Gidan
                                               FSA Federal Paralegal
                                               Office of the U.S. Attorney




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                                  1281 of 1354




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                               JUDGE DANIEL D. DOMENICO

 Criminal Case No.: 1:20-cr-00305-DDD-02           Date: August 8, 2024
 Courtroom Deputy: Robert R. Keech                 Court Reporter: Tammy Hoffschildt
 Probation Officer: Josh Roth                      Interpreter: N/A

  Parties:                                                Counsel:

  UNITED STATES OF AMERICA,                               Bryan D. Fields
                                                          Sarah H. Weiss
       Plaintiff,                                         Laura B. Hurd

  v.

  KIMBERLEY ANN TEW,                                      David S. Kaplan
                                                          Jamie H. Hubbard
       Defendant.


                                   COURTROOM MINUTES


 HEARING ON PRELIMINARY ORDER OF FORFEITURE AND SENTENCING
 HEARING

 1:06 p.m.      Court in session. Defendant present, on bond.

                    Defendant found guilty at trial on February 15, 2024 (Day 9) to
                    Counts 1, 21, 22, 25, 26, 31, 32, 41, 43, 44, 47, and 56 of the
                    Indictment.

 Appearances of counsel.

 [513] United States’ Motion for Preliminary Order of Forfeiture for a Personal Money
 Judgment Against Defendant Kimberley Ann Tew is raised for argument.

 Argument by Ms. Hurd and Mr. Kaplan.

 ORDERED: [513] United States’ Motion for Preliminary Order of Forfeiture for a
          Personal Money Judgment Against Defendant Kimberley Ann Tew is
          GRANTED.

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Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                                       08/08/24 USDC
                                                                  PageColorado
                                                                       2 of 2           pg
                                  1282 of 1354




 Parties received and reviewed the presentence report and all addenda.

 Statements made by counsel for Defendant and counsel for Government.

 2:45 p.m.    Court in recess.

 3:03 p.m.    Court in session.

 Further statements made by counsel for Government, counsel for Defendant, and
 Defendant on her own behalf.

 After consideration of the provisions of 18 U.S.C. 3553 (a), the Court announces the
 sentence it intends to impose as reflected in the record.

 ORDERED: [515] Defendant’s Motion is GRANTED IN PART.

 ORDERED: Defendant is sentenced to a term of imprisonment of 48 months as to
          counts 1, 21, 22, 25, 26, 31, 32, 41, 43, 44, 47, and 56 of the Indictment,
          to run concurrently. Upon release from imprisonment, Defendant shall be
          placed on supervised release for a period of 3 years as to each of counts
          1, 21, 22, 25, 26, 31, 32, 41, 43, 44, 47, and 56 of the Indictment, to run
          concurrently. $1,200.00 special assessment to be paid immediately.

 Conditions and special conditions as set forth on the record.

 Court RECOMMENDS the Bureau of Prisons place the Defendant at a facility and be
 allowed to participate in the Residential Drug Abuse Program (R.D.A.P.).

 Defendant advised of right to appeal.

 ORDERED: Bond is CONTINUED.

 4:20 p.m.    Court in recess. Hearing concluded. Total time: 2:56




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Case No. 1:20-cr-00305-DDD       Document 645-2
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO



  Case No. 1:20-cr-00305-DDD-2

  UNITED STATES OF AMERICA,

        Plaintiff,
  v.
  2. KIMBERLEY ANN TEW

        Defendant.

                                  NOTICE OF APPEAL

        Notice is hereby given that Defendant Kimberley Ann Tew in the above-named
 case, hereby appeals to the United States Court of Appeals for the Tenth Circuit from
 the Judgment entered in this action on the 13th day of August 2024.


       Dated: August 20, 2024.
                                            Respectfully submitted,

                                            s/ David S. Kaplan
                                            David S. Kaplan
                                            Jamie Hubbard
                                            STIMSON LABRANCHE HUBBARD, LLC
                                            1652 Downing Street
                                            Denver, CO 80218
                                            720.689.8909
                                            kaplan@slhlegal.com
                                            hubbard@slhlegal.com

                                            Attorneys for Kimberley Ann Tew
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                                    Certificate of Service

        I certify that on August 20, 2024, I electronically filed the foregoing Notice of
 Appeal with the Clerk of Court and all parties using the CM/ECF system.


                                                s/ Nancy Hickam
                                                Nancy Hickam, Paralegal




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                                                                       1 of 2                      pg
                                  1285 of 1354

                                 UNITED STATES DISTRICT COURT           Alfred A. Arraj
                                 FOR THE DISTRICT OF COLORADO           United States Courthouse
                                      OFFICE OF THE CLERK               901 19th Street
                                                                        Denver, Colorado 80294
                                                                        www.cod.uscourts.gov


 Jeffrey P. Colwell                                                     Phone: (303) 844-3433
 Clerk



Date: 8/21/2024
                                                                          USA or other
   Pro Se             Retained         CJA                   FPD          Federal Agency
                                                                       (Appeal Fee Exempt)

Case No: 20-cr-00305-DDD-2                                    Amended Notice of Appeal
                                                              Other pending appeals
Date Filed: 8/20/2024                                         Transferred Successive
                                                              §2254 or §2255
Appellant: Kimberley Ann Tew                                  Supplemental Record

Pro Se Appellant:
        IFP forms mailed/given                Motion IFP pending          Appeal fee paid
                                              IFP denied                  Appeal fee not paid

Retained Counsel:
         Appeal fee paid               Appeal fee not paid                Motion IFP filed

 The Preliminary Record on Appeal is hereby transmitted to the Tenth Circuit Court of
 Appeals. Please refer to the forms, procedures, and requirements for ordering
 transcripts, preparing docketing statements and briefs, and designations of the record
 that are found on the Tenth Circuit’s website, www.ca10.uscourts.gov.

 If not already completed, either an appeal fee payment for filing this case or filing of a
 motion to proceed in forma pauperis will be made to this District Court.

 The transcript order form must be filed in the District Court as well as the Court of Appeals
 within 14 days after the notice of appeal was filed with the District Court.


 If you have questions, please contact this office.

                                             Sincerely,

                                             JEFFREY P. COLWELL, CLERK

                                             by: s/C. Madrid
                                                  Deputy Clerk


Rev. 8/17/2017


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                                                                            2 of 2    pg
                                      1286 of 1354
 cc:   Clerk of the Court, Tenth Circuit Court of Appeals




Rev. 8/17/2017


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Case No.
     Case1:20-cr-00305-DDD
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                                                    01/24/25
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                                                                  PageColorado
                                                                       1 of 49             pg
                                 1287 of 1354



                                                                                   APPEAL,TERMED
                     U.S. District Court − District of Colorado
                           District of Colorado (Denver)
              CRIMINAL DOCKET FOR CASE #: 1:20−cr−00305−DDD−2

   Case title: USA v. Tew et al                           Date Filed: 09/29/2020

                                                          Date Terminated: 08/13/2024

   Assigned to: Judge Daniel D.
   Domenico

   Defendant (2)
   Kimberley Ann Tew              represented by Peter R. Bornstein
   TERMINATED: 08/13/2024                        Peter R. Bornstein, Law Offices of
   also known as                                 6060 Greenwood Plaza Boulevard
   Kimberley Vertanen                            Suite 500
   TERMINATED: 08/13/2024                        Greenwood Village, CO 80111
                                                 720−354−4440
                                                 Fax: 720−287−5674
                                                 Email: pbornstein@prblegal.com
                                                 TERMINATED: 12/29/2022
                                                 LEAD ATTORNEY
                                                 Designation: CJA Appointment

                                                 David Scott Kaplan
                                                 Stimson LaBranche Hubbard, LLC
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                                                 Fax: 720−689−8909
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                                                 ATTORNEY TO BE NOTICED
                                                 Designation: CJA Appointment

                                                 Jamie Hughes Hubbard
                                                 Stimson LaBranche Hubbard, LLC
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                                                 Denver, CO 80218
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                                                 ATTORNEY TO BE NOTICED
                                                 Designation: CJA Appointment

                                                 Michael Hassard
                                                 Tor Ekeland Law, PLLC
                                                 30 Wall Street
                                                 8th Floor
                                                 New York, NY 10005

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                                 1288 of 1354



                                             718−737−7264
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                                             TERMINATED: 03/07/2022
                                             Designation: Retained

                                             Tor Bernhard Ekeland
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                                             Xuan Zhou
                                             Lewis Brisbois Bisgaard & Smith LLP
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                                             San Diego, CA 92101
                                             619−233−1006
                                             Email: xuan.zhou@lewisbrisbois.com
                                             TERMINATED: 03/07/2022
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   Pending Counts                            Disposition
                                             Defendant shall be imprisoned for a total term of
                                             forty−eight (48) months on each count to run
   18 U.S.C. § 1349 (Conspiracy to
                                             concurrently, three (3) years supervised release on
   Commit Wire Fraud)
                                             each count to run concurrently, $100.00 special
   (1)
                                             assessment ($1,200 total), no fine, and restitution in
                                             the total amount of $5,053,878.50.
                                             Defendant shall be imprisoned for a total term of
                                             forty−eight (48) months on each count to run
   18 U.S.C. § 1343 (Wire Fraud)             concurrently, three (3) years supervised release on
   (21−22)                                   each count to run concurrently, $100.00 special
                                             assessment ($1,200 total), no fine, and restitution in
                                             the total amount of $5,053,878.50.
                                             Defendant shall be imprisoned for a total term of
                                             forty−eight (48) months on each count to run
   18 U.S.C. § 1343 (Wire Fraud)             concurrently, three (3) years supervised release on
   (25−26)                                   each count to run concurrently, $100.00 special
                                             assessment ($1,200 total), no fine, and restitution in
                                             the total amount of $5,053,878.50.
                                             Defendant shall be imprisoned for a total term of
                                             forty−eight (48) months on each count to run
   18 U.S.C. § 1343 (Wire Fraud)             concurrently, three (3) years supervised release on
   (31−32)                                   each count to run concurrently, $100.00 special
                                             assessment ($1,200 total), no fine, and restitution in
                                             the total amount of $5,053,878.50.

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                                                                       3 of 49               pg
                                 1289 of 1354



                                             Defendant shall be imprisoned for a total term of
                                             forty−eight (48) months on each count to run
   18 U.S.C. § 1956(h) (Conspiracy
                                             concurrently, three (3) years supervised release on
   to Commit Money Laundering)
                                             each count to run concurrently, $100.00 special
   (41)
                                             assessment ($1,200 total), no fine, and restitution in
                                             the total amount of $5,053,878.50.
                                             Defendant shall be imprisoned for a total term of
   18 U.S.C. § 1957 (Engaging in
                                             forty−eight (48) months on each count to run
   Monetary Transactions in
                                             concurrently, three (3) years supervised release on
   Property Derived from Specified
                                             each count to run concurrently, $100.00 special
   Unlawful Activity)
                                             assessment ($1,200 total), no fine, and restitution in
   (43−44)
                                             the total amount of $5,053,878.50.
                                             Defendant shall be imprisoned for a total term of
   18 U.S.C. § 1957 (Engaging in
                                             forty−eight (48) months on each count to run
   Monetary Transactions in
                                             concurrently, three (3) years supervised release on
   Property Derived from Specified
                                             each count to run concurrently, $100.00 special
   Unlawful Activity)
                                             assessment ($1,200 total), no fine, and restitution in
   (47)
                                             the total amount of $5,053,878.50.
                                             Defendant shall be imprisoned for a total term of
   18 U.S.C. § 1957 (Engaging in
                                             forty−eight (48) months on each count to run
   Monetary Transactions in
                                             concurrently, three (3) years supervised release on
   Property Derived from Specified
                                             each count to run concurrently, $100.00 special
   Unlawful Activity)
                                             assessment ($1,200 total), no fine, and restitution in
   (56)
                                             the total amount of $5,053,878.50.

   Highest Offense Level
   (Opening)
   Felony

   Terminated Counts                         Disposition
   18 U.S.C. § 1343 (Wire Fraud)
                                             Dismissed by Court during jury trial.
   (16)
   18 U.S.C. § 1957 (Engaging in
   Monetary Transactions in
   Property Derived from Specified           Defendant was found not guilty by jury at trial.
   Unlawful Activity)
   (48)

   Highest Offense Level
   (Terminated)
   Felony

   Complaints                                Disposition
   None




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                                                                       4 of 49          pg
                                 1290 of 1354




   Movant
   National Air Cargo Holdings, Inc.     represented by Eric S. Galler
                                                        Galler Corporate Law Group
                                                        9466 Georgia Avenue
                                                        Suite 130
                                                        Silver Spring, MD 20910
                                                        301−728−3850
                                                        Email: egaller@gcorplaw.com
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                                                        ATTORNEY TO BE NOTICED
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                                                       Denver, CO 80203
                                                       720−699−2323
                                                       Email: nancy@cohenblacklaw.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED
                                                       Designation: Retained



   Movant
   National Air Cargo Group, Inc.        represented by Eric S. Galler
   doing business as                                    (See above for address)
   National Airlines                                    LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED
                                                        Designation: Retained

                                                       Nancy Lin Cohen
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED
                                                       Designation: Retained



   Movant
   Christopher J. Alf                    represented by Eric S. Galler
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED
                                                        Designation: Retained

                                                       Nancy Lin Cohen
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

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                                                                       5 of 49           pg
                                 1291 of 1354



                                                        Designation: Retained



   Movant
   Atlantic Union Bank                   represented by Lisa Marie Saccomano
                                                        Kutak Rock LLP
                                                        2001 16th Street
                                                        Suite 1800
                                                        Denver, CO 80202
                                                        303−292−7796
                                                        Fax: 303−292−7799
                                                        Email: lisa.saccomano@kutakrock.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED
                                                        Designation: Retained



   Plaintiff
   USA                                   represented by Matthew T. Kirsch
                                                        U.S. Attorney's Office
                                                        District of Colorado
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                                                        Suite 1600
                                                        Denver, CO 80202
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                                                        Fax: 303−454−0402
                                                        Email: matthew.kirsch@usdoj.gov
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                                                        Designation: Federal Agency Attorney

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                                                       303−454−0228
                                                       Email: al.buchman@usdoj.gov
                                                       TERMINATED: 12/12/2023
                                                       Designation: Federal Agency Attorney

                                                       Andrea Lee Surratt
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                                                       District of Colorado
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                                                       Denver, CO 80202
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                                                       TERMINATED: 06/16/2022


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                                                                       6 of 49        pg
                                 1292 of 1354



                                                     Designation: Federal Agency Attorney

                                                     Bryan David Fields
                                                     U.S. Attorney's Office
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                                                     Email: bryan.fields3@usdoj.gov
                                                     ATTORNEY TO BE NOTICED
                                                     Designation: Federal Agency Attorney

                                                     Hetal Janak Doshi
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                                                     1801 California Street
                                                     Suite 1600
                                                     Denver, CO 80202
                                                     202−808−4241
                                                     Email: hetal.doshi@usdoj.gov
                                                     TERMINATED: 02/02/2022
                                                     Designation: Federal Agency Attorney

                                                     Laura Beth Hurd
                                                     U.S. Attorney's Office
                                                     District of Colorado
                                                     1801 California Street
                                                     Suite 1600
                                                     Denver, CO 80202
                                                     303−454−0135
                                                     Fax: 303−454−0402
                                                     Email: laura.hurd@usdoj.gov
                                                     ATTORNEY TO BE NOTICED
                                                     Designation: Federal Agency Attorney

                                                     Martha Ann Paluch
                                                     U.S. Attorney's Office
                                                     District of Colorado
                                                     1801 California Street
                                                     Suite 1600
                                                     Denver, CO 80202
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                                                     Email: Martha.paluch@usdoj.gov
                                                     ATTORNEY TO BE NOTICED
                                                     Designation: Federal Agency Attorney

                                                     Sarah Hunter Weiss
                                                     U.S. Attorney's Office
                                                     District of Colorado


                                                                                            1290
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Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        537-1 filed
                                                 Filed
                                                    01/24/25
                                                       08/21/24 USDC
                                                                  PageColorado
                                                                       7 of 49                        pg
                                 1293 of 1354



                                                                  1801 California Street
                                                                  Suite 1600
                                                                  Denver, CO 80202
                                                                  303−454−0100
                                                                  Email: sarah.weiss@usdoj.gov
                                                                  ATTORNEY TO BE NOTICED
                                                                  Designation: Federal Agency Attorney

    Date Filed    #    Docket Text
    02/03/2021    83   INDICTMENT as to Michael Aaron Tew (1) count(s) 1s, 2s−40s, 41s, 42s, 44s−56s,
                       57s−60s, Kimberley Ann Tew (2) count(s) 1, 16, 21−22, 25−26, 31−32, 41, 43−44,
                       47−48, 56, Jonathan K. Yioulos (3) count(s) 1, 2−40. (Attachments: # 1 Penalty
                       Sheet, # 2 Penalty Sheet, # 3 Penalty Sheet) (athom, ) Modified on 2/9/2021 to
                       correct text (athom, ). (Entered: 02/04/2021)
    02/03/2021    84   RESTRICTED DOCUMENT − Level 4 as to Michael Aaron Tew, Kimberley Ann
                       Tew, Jonathan K. Yioulos. (athom, ) (Entered: 02/04/2021)
    02/03/2021    87   Summons Issued as to Kimberley Ann Tew. Initial Appearance set for 2/10/2021
                       02:00 PM in Courtroom A 401 before Magistrate Judge Kristen L. Mix. (athom, )
                       (Entered: 02/04/2021)
    02/10/2021    96   MINUTE ENTRY for Initial Appearance, Arraignment, Discovery and Detention
                       Hearing as to Kimberley Ann Tew held before Magistrate Judge Kristen L. Mix on
                       2/10/2021. Defendant present on summons and consents to proceeding by video
                       conference. Defendant advised. Defendant is not requesting court appointed counsel.
                       Plea of NOT GUILTY entered by defendant. Discovery memorandum
                       executed.Parties address the Court regarding conditions of release. Bond set as to
                       Kimberley Ann Tew (2) $10,000 Unsecured with the conditions as set forth in the
                       Order Setting Conditions of Release. Defendant is ordered to report to the probation
                       office on 2−11−21 at 1:00 p.m. Defendant advised of conditions of bond. Counsel is
                       directed to chambers. (Total time: 28 minutes, Hearing time: 2:31−2:59)

                       APPEARANCES ALL PARTIES APPEAR BY VIDEO CONFERENCE: Hetal
                       Doshi and Matthew Kirsch on behalf of the Government, Jamie Hubbard on behalf of
                       the defendant, Tommie Anderson on behalf of pretrial. FTR: KLM Courtroom A401.
                       (lgale, ) Text Only Entry (Entered: 02/10/2021)
    02/10/2021    97   Discovery Conference Memorandum and ORDER: Estimated Trial Time − 8 days as
                       to Kimberley Ann Tew by Magistrate Judge Kristen L. Mix on 2/10/21. (lgale, )
                       (Entered: 02/10/2021)
    02/10/2021    98   Unsecured Bond Entered as to Kimberley Ann Tew in amount of $10,000 (lgale, )
                       (Entered: 02/10/2021)
    02/10/2021    99   ORDER Setting Conditions of Release as to Kimberley Ann Tew (2) $10,000
                       Unsecured by Magistrate Judge Kristen L. Mix on 2/10/21. (lgale, ) (Entered:
                       02/10/2021)
    02/11/2021   101   ORDER Setting Trial Date and Related Deadlines as to Michael Aaron Tew,
                       Kimberley Ann Tew, Jonathan K. Yioulos. The court EXCLUDES nineteen days
                       from Mr. Tew's Speedy Trial clock. Motions due by 3/12/2021. Responses due by
                       3/17/2021. Eight−day Jury Trial set for 4/19/2021 at 09:00 AM in Courtroom A 702


                                                                                                           1291
                                                                                                              7
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        537-1 filed
                                                 Filed
                                                    01/24/25
                                                       08/21/24 USDC
                                                                  PageColorado
                                                                       8 of 49                        pg
                                 1294 of 1354



                       before Judge Daniel D. Domenico. Trial Preparation Conference set for 4/12/2021 at
                       01:30 PM in Courtroom A 702 before Judge Daniel D. Domenico. By Judge Daniel
                       D. Domenico on 02/11/2021. (athom, ) (Entered: 02/11/2021)
    02/11/2021   104   Passport Receipt as to Kimberley Ann Tew. Surrender of passport re Bond
                       Conditions; Passport Number 522213975 issued by USA. (athom, ) (Entered:
                       02/12/2021)
    02/16/2021   105   Summons Returned Executed on 2/11/2021 as to Kimberley Ann Tew. (angar, )
                       (Entered: 02/16/2021)
    02/25/2021   106   NOTICE OF ATTORNEY APPEARANCE: Tor Bernhard Ekeland appearing for
                       Michael Aaron Tew, Kimberley Ann TewAttorney Tor Bernhard Ekeland added to
                       party Michael Aaron Tew(pty:dft), Attorney Tor Bernhard Ekeland added to party
                       Kimberley Ann Tew(pty:dft) (Ekeland, Tor) (Entered: 02/25/2021)
    02/28/2021   108   MOTION for Hearing Regarding Joint Representation Pursuant to Fed. R. Crim. P.
                       44 by USA as to Michael Aaron Tew, Kimberley Ann Tew. (Doshi, Hetal) (Entered:
                       02/28/2021)
    03/01/2021   109   MINUTE ORDER regarding 108 motion for hearing concerning joint representation
                       of Defendants Michael Aaron Tew and Kimberley Ann Tew. No later than 4:00 PM
                       on 3/4/2021, Mr. Tew, Ms. Tew, and the Government must confer and email the
                       court at domenico_chambers@cod.uscourts.gov with three mutually agreeable dates
                       for a hearing on the Government's motion (Doc. 108) from the following list of dates:
                       3/9/21, 3/10/21, 3/11/21, 3/17/21, or 3/18/21. Mr. and Ms. Tew must file their
                       responses to the Government's motion, if any, no later than 3/5/2021. SO ORDERED
                       by Judge Daniel D. Domenico on 3/1/2021. Text Only Entry (dddlc2, ) (Entered:
                       03/01/2021)
    03/01/2021   110   NOTICE OF ATTORNEY APPEARANCE Andrea Lee Surratt appearing for USA.
                       Attorney Andrea Lee Surratt added to party USA(pty:pla) (Surratt, Andrea) (Entered:
                       03/01/2021)
    03/02/2021   112   ORDER setting hearing on 108 motion concerning joint representation and 111
                       motion to withdraw. A hearing on the Government's motion concerning joint
                       representation (Doc. 108) and Thomas R. Ward's motion to withdraw as counsel
                       (Doc. 111) is hereby set for 3/18/2021 at 10:30 AM before Judge Daniel D.
                       Domenico by video−teleconference. Counsel are directed to contact Courtroom
                       Deputy Patti Glover at patricia_glover@cod.uscourts.gov no later than three business
                       days before the hearing for instructions on how to proceed. SO ODERED by Judge
                       Daniel D. Domenico on 3/2/2021. Text Only Entry (dddlc2, ) (Entered: 03/02/2021)
    03/03/2021   113   Unopposed MOTION to Continue Deadline for Production of Discovery by USA as
                       to Michael Aaron Tew, Kimberley Ann Tew, Jonathan K. Yioulos. (Doshi, Hetal)
                       (Entered: 03/03/2021)
    03/03/2021   114   ORDER granting 113 Motion to Continue. The Government must produce discovery
                       in this case no later than 14 days after the court rules on the Government's motion
                       concerning joint representation. SO ORDERED by Judge Daniel D. Domenico on
                       3/3/2021. (dddlc2, ) (Entered: 03/03/2021)
    03/11/2021   115   MOTION to Continue FOR A 180−DAY ENDS OF JUSTICE CONTINUANCE
                       UNDER 18 U. S. C. § 3161(h)(7) by Michael Aaron Tew, Kimberley Ann Tew,
                       Jonathan K. Yioulos. (Attachments: # 1 Proposed Order (PDF Only))(Ekeland, Tor)


                                                                                                           1292
                                                                                                              8
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-2
                                        537-1 filed
                                                 Filed
                                                    01/24/25
                                                       08/21/24 USDC
                                                                  PageColorado
                                                                       9 of 49                       pg
                                 1295 of 1354



                       (Entered: 03/11/2021)
    03/18/2021   116   MINUTE ENTRY for Motion Hearing as to Michael Aaron Tew, Kimberley Ann
                       Tew, held before Judge Daniel D. Domenico on 3/18/2021. granting 108 Motion for
                       Hearing as to Michael Aaron Tew; Kimberley Ann Tew (2); granting 111 Motion to
                       Withdraw as Attorney. Thomas Richard Ward withdrawn from case as to Michael
                       Aaron Tew granting 115 Motion to Continue as to all defendants. Pretrial Motions
                       due by 8/30/2021, Responses due by 9/6/2021, Jury Trial (8 days) set for 10/12/2021
                       − 10/21/2021 09:00 AM; Trial Preparation Conference set for 9/27/2021 at 10:30 AM
                       all in Courtroom A 702 before Judge Daniel D. Domenico Court Reporter: Tracy
                       Weir. (pglov) (Entered: 03/18/2021)
    03/29/2021   119   MOTION for Leave to Restrict by USA as to Michael Aaron Tew, Kimberley Ann
                       Tew, Jonathan K. Yioulos. (Attachments: # 1 Proposed Order (PDF Only))(Doshi,
                       Hetal) (Entered: 03/29/2021)
    03/29/2021   120   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew,
                       Kimberley Ann Tew, Jonathan K. Yioulos (Doshi, Hetal) (Entered: 03/29/2021)
    03/29/2021   121   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew,
                       Kimberley Ann Tew, Jonathan K. Yioulos (Doshi, Hetal) (Entered: 03/29/2021)
    03/30/2021   124   RESTRICTED DOCUMENT − Level 1: as to Michael Aaron Tew, Kimberley Ann
                       Tew, Jonathan K. Yioulos. (athom, ) (Entered: 03/30/2021)
    03/30/2021   125   ORDER granting 119 Motion for Leave to Restrict as to Michael Aaron Tew,
                       Kimberley Ann Tew, Jonathan K. Yioulos. By Judge Daniel D. Domenico on
                       03/30/2021. Text Only Entry (athom, ) (Entered: 03/30/2021)
    03/31/2021   126   Unopposed MOTION for Protective Order by USA as to Michael Aaron Tew,
                       Kimberley Ann Tew, Jonathan K. Yioulos. (Attachments: # 1 Proposed Order (PDF
                       Only))(Doshi, Hetal) (Entered: 03/31/2021)
    04/01/2021   127   ORDER Granting 126 Unopposed Motion for Protective Order as to Michael Aaron
                       Tew, Kimberley Ann Tew, Jonathan K. Yioulos. By Judge Daniel D. Domenico on
                       04/01/2021. (athom, ) (Entered: 04/01/2021)
    05/13/2021   130   TRANSCRIPT of TRANSCRIPT OF PROCEEDINGS as to Kimberley Ann Tew
                       held on 02/10/2021 before Magistrate Judge Mix. Pages: 1−26. Prepared by: AB
                       Litigation Services.

                        NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                       this filing, each party shall inform the Court, by filing a Notice of Intent to
                       Redact, of the party's intent to redact personal identifiers from the electronic
                       transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                       within the allotted time, this transcript will be made electronically available
                       after 90 days. Please see the Notice of Electronic Availability of Transcripts
                       document at www.cod.uscourts.gov.

                       Transcript may only be viewed at the court public terminal or purchased through the
                       Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                       PACER. (AB Court Reporting & Video, Inc., ) (Entered: 05/13/2021)
    06/18/2021   133   NOTICE OF DEFENDANT KIMBERLEY TEWS MEMORANDUM IN SUPPORT
                       TO MODIFY THE CONDITIONS OF HER RELEASE by Kimberley Ann Tew


                                                                                                          1293
                                                                                                             9
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    10 of 49                         pg
                                 1296 of 1354



                      (Ekeland, Tor) Modified on 7/2/2021 to correct filer (athom, ). (Entered: 06/18/2021)
   06/18/2021   134   MOTION to Modify Conditions of Release by Kimberley Ann Tew. (Attachments: #
                      1 Affidavit Decl Kimbery Tew ISO Motion to Modify the Conditions)(Ekeland, Tor)
                      Modified on 7/2/2021 to correct filer (athom, ). (Entered: 06/18/2021)
   06/21/2021   135   ORDER REFERRING MOTION TO MODIFY CONDITIONS OF PRE−TRIAL
                      RELEASE 134 filed by Kimberly Tew. The Court refers the motion to Magistrate
                      Judge Kristen L. Mix because revocation or modification of a prior release order
                      under § 3142 "is available only when the review of a detention or release order is
                      being conducted by the same judicial officer who entered the order." See United
                      States v. Cisneros, 328 F.3d 610, 614 (10th Cir. 2003); see also United States v.
                      Anaya, 376 F. Supp. 2d 1261, 1262−63 (D.N.M. 2005). SO ORDERED by Judge
                      Daniel D. Domenico on 6/21/2021. Text Only Entry (dddlc2, ) (Entered: 06/21/2021)
   06/23/2021   136   NOTICE OF ATTORNEY APPEARANCE: Michael Hassard appearing for Michael
                      Aaron Tew, Kimberley Ann TewAttorney Michael Hassard added to party Michael
                      Aaron Tew(pty:dft), Attorney Michael Hassard added to party Kimberley Ann
                      Tew(pty:dft) (Hassard, Michael) (Entered: 06/23/2021)
   07/08/2021   137   MINUTE ORDER by Magistrate Judge Kristen L. Mix on 07/08/2021 as to
                      Kimberley Ann Tew re 134 MOTION to Modify Conditions of Release filed by
                      Kimberley Ann Tew Motion Hearing set for 7/15/2021 11:00 AM in Courtroom A
                      401 before Magistrate Judge Kristen L. Mix. (alave, ) (Entered: 07/09/2021)
   07/15/2021   138   MINUTE ENTRY for Motion Hearing as to Kimberley Ann Tew held before
                      Magistrate Judge Kristen L. Mix on 7/15/2021. Defendant present on bond.
                      Argument by defense counsel and counsel for the government as to 134 Motion to
                      Modify Conditions of Release. Court addresses defense counsel. The Court modifies
                      defendant's bond to remove the condition of home confinement and radio frequency
                      and imposes GPS monitoring and imposes a curfew of 8:00 a.m.−9:00 p.m. Probation
                      is granted discretion to allow exceptions to the curfew when requested by defendant.
                      Defendant acknowledges the new conditions of bond and agrees to abide by them.
                      Defendant's bond continued. (Total time: 22 minutes, Hearing time: 11:08−11:30)

                      APPEARANCES: Matthew Kirsch, Hetal Doshi and Andrea Surratt on behalf of the
                      Government, Tor Ekeland and Michael Hassard on behalf of the defendant, Carlos
                      Morales on behalf of probation. FTR: KLM Courtroom A401. (lgale, ) Text Only
                      Entry (Entered: 07/15/2021)
   08/10/2021   143   Second MOTION to Continue by Michael Aaron Tew, Kimberley Ann Tew.
                      (Hassard, Michael) Modified on 8/11/2021 to correct applicable parties (athom, ).
                      (Entered: 08/10/2021)
   08/20/2021   144   TRANSCRIPT of MOTION HEARING as to Kimberley Ann Tew held on
                      07/15/2021 before Magistrate Judge Mix. Pages: 1−20. Prepared by: AB Litigation
                      Services.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts


                                                                                                          1294
                                                                                                            10
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    11 of 49                        pg
                                 1297 of 1354



                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (AB Court Reporting & Video, Inc., ) (Entered: 08/20/2021)
   09/17/2021   146   WITHDRAWN − Unopposed MOTION to Travel MOTION UPON ATTORNEY
                      DECLARATION SEEKING ORDER PERMITTING TRAVEL BEYOND PRE−TRIAL
                      RELEASE ORDER AT PARAGRAPH 7(f) by Michael Aaron Tew, Kimberley Ann
                      Tew. (Attachments: # 1 Proposed Order (PDF Only))(Ekeland, Tor) Modified on
                      9/20/2021 to correct filers (athom, ). Modified on 2/4/2022 to withdraw pursuant to
                      173 Order (athom, ). (Entered: 09/17/2021)
   09/17/2021   147   MOTION to Withdraw as Attorney by USA as to Michael Aaron Tew, Kimberley
                      Ann Tew, Jonathan K. Yioulos. (Kirsch, Matthew) (Entered: 09/17/2021)
   09/20/2021   148   MOTION to Withdraw Document 146 Unopposed MOTION to Travel MOTION
                      UPON ATTORNEY DECLARATION SEEKING ORDER PERMITTING TRAVEL
                      BEYOND PRE−TRIAL RELEASE ORDER AT PARAGRAPH 7(f) by Michael Aaron
                      Tew, Kimberley Ann Tew. (Ekeland, Tor) Modified on 9/22/2021 to correct filers
                      (athom, ). (Entered: 09/20/2021)
   09/22/2021   149   ORDER as to Michael Aaron Tew, Kimberley Ann Tew. Defendants' Unopposed
                      Motion for a 12−Month Ends of Justice Continuance (Doc. 143 ) is PARTIALLY
                      GRANTED. One hundred eighty (180) days, from 9/22/2021 to 3/21/2022, will be
                      excluded from the computation of Defendants' Michael Tew and Kimberley Tew's
                      Speedy Trial Act time. Motions due by 1/3/2022. Responses due by 1/10/2022. The
                      eight−day Jury Trial set to begin 10/12/2021 is VACATED and RESET to 4/4/2022
                      at 09:00 AM in Courtroom A1002 before Judge Daniel D. Domenico. The Trial
                      Preparation Conference set for 09/27/2021 is VACATED and RESET to 3/21/2022 at
                      01:00 PM in Courtroom A1002 before Judge Daniel D. Domenico. By Judge Daniel
                      D. Domenico on 09/22/2021. (athom, ) (Entered: 09/22/2021)
   10/12/2021   151   NOTICE OF ATTORNEY APPEARANCE: Tor Bernhard Ekeland Attorney Xuan
                      Zhou appearing for Michael Aaron Tew and Kimberley Ann Tew appearing for
                      Michael Aaron Tew, Kimberley Ann Tew (Ekeland, Tor) Modified on 10/13/2021 to
                      correct applicable parties (athom, ). (Entered: 10/12/2021)
   10/13/2021   152   NOTICE OF NONCOMPLIANCE WITH COURT RULES/PROCEDURES: re: 151
                      Notice of Attorney Appearance − Defendant, filed by attorney Xuan Zhou. The
                      s/signature did not match the filers name on the account for which the login and
                      password are registered. Future documents must be filed pursuant to
                      D.C.COLO.LCivR 49.1(a) and 4.3(c) of the Electronic Case Filing Procedures
                      (Criminal Cases). Attorney Xuan Zhou has failed to comply D.C.COLO.LCr49.1(a)
                      and 4.3(d) of the Electronic Case Filing Procedures (Criminal Cases), which mandate
                      the correct form for an attorneys signature block. This document does not have a s/
                      signature and must be re−filed. Xuan Zhou must re−file the above referenced
                      document which must contain her s/ signature using her own log in and password.
                      Counsel is REMINDED that your firm does not represent defendant Yioulos.
                      UNLESS you are filing a joint pleading that pertains to defendant Yioulos, you
                      should ONLY be selecting the Tew defendants as the filers and as the applicable
                      parties. If you are unclear about how documents should be filed and/or which
                      parties should be selected when filing your documents, please contact the Clerk's
                      office for assistance or clarification. (Text Only Entry) (athom, ) (Entered:

                                                                                                         1295
                                                                                                           11
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    12 of 49                           pg
                                 1298 of 1354



                      10/13/2021)
   11/17/2021   153   ORDER GRANTING 147 Motion to Withdraw as Attorney. The Clerk of Court is
                      instructed to terminate attorney Matthew T. Kirsch as counsel of record, and to
                      remove this name from the electronic certificate of mailing. Plaintiff United States of
                      America will continue to be represented by attorneys Hetal Doshi and Andrea Surratt.
                      SO ORDERED by Judge Daniel D. Domenico on 11/17/2021. Text Only Entry
                      (dddlc4) (Entered: 11/17/2021)
   11/19/2021   157   NOTICE OF ATTORNEY APPEARANCE: Xuan Zhou appearing for Michael
                      Aaron Tew, Kimberley Ann TewAttorney Xuan Zhou added to party Michael Aaron
                      Tew(pty:dft), Attorney Xuan Zhou added to party Kimberley Ann Tew(pty:dft)
                      (Zhou, Xuan) (Entered: 11/19/2021)
   11/29/2021   158   NOTICE OF ATTORNEY APPEARANCE Bryan David Fields appearing for USA.
                      Attorney Bryan David Fields added to party USA(pty:pla) (Fields, Bryan) (Entered:
                      11/29/2021)
   11/29/2021   159   MOTION to Withdraw as Attorney by USA as to Michael Aaron Tew, Kimberley
                      Ann Tew, Jonathan K. Yioulos. (Doshi, Hetal) (Entered: 11/29/2021)
   12/27/2021   162   MOTION to Withdraw as Attorney by Tor Ekeland by Michael Aaron Tew,
                      Kimberley Ann Tew. (Ekeland, Tor) (Entered: 12/27/2021)
   12/27/2021   163   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew, Kimberley Ann
                      Tew. (Ekeland, Tor) (Entered: 12/27/2021)
   12/27/2021   164   MOTION for Leave to Restrict by Michael Aaron Tew, Kimberley Ann Tew.
                      (Attachments: # 1 Proposed Order (PDF Only))(Ekeland, Tor) (Entered: 12/27/2021)
   12/27/2021   165   Third MOTION to Continue by Michael Aaron Tew, Kimberley Ann Tew.
                      (Attachments: # 1 Proposed Order (PDF Only))(Ekeland, Tor) (Entered: 12/27/2021)
   12/27/2021   166   MOTION to Withdraw as Attorney by Xuan Zhou by Michael Aaron Tew,
                      Kimberley Ann Tew. (Zhou, Xuan) (Entered: 12/27/2021)
   12/27/2021   167   MOTION to Withdraw as Attorney by Michael Hassard by Michael Aaron Tew,
                      Kimberley Ann Tew. (Hassard, Michael) (Entered: 12/27/2021)
   01/31/2022   169   ORDER REFERRING MOTIONS as to Michael Aaron Tew, Kimberley Ann Tew.
                      167 MOTION to Withdraw as Attorney by Michael Hassard filed by Michael Aaron
                      Tew, Kimberley Ann Tew, 162 MOTION to Withdraw as Attorney by Tor Ekeland
                      filed by Michael Aaron Tew, Kimberley Ann Tew, 159 MOTION to Withdraw as
                      Attorney filed by USA, 166 MOTION to Withdraw as Attorney by Xuan Zhou filed
                      by Michael Aaron Tew, Kimberley Ann Tew. Motions referred to Magistrate Judge
                      Kristen L. Mix. SO ORDERED by Judge Daniel D. Domenico on 1/31/2022. Text
                      Only Entry (dddlc2, ) (Entered: 01/31/2022)
   02/02/2022   171   ORDER granting 159 Motion to Withdraw as Attorney. Hetal Janak Doshi
                      withdrawn from case as to Michael Aaron Tew (1), Kimberley Ann Tew (2),
                      Jonathan K. Yioulos (3). Attorney Hetal Doshi is relieved of any further
                      representation of the United States in this case. The Clerk of Court is instructed to
                      terminate Attorney Doshi as counsel of record, and to remove this name from the
                      electronic certificate of mailing. The Government shall continue to be represented by
                      Attorney Bryan Fields. by Magistrate Judge Kristen L. Mix on 2/2/2022. Text Only
                      Entry (klmlc2, ) (Entered: 02/02/2022)


                                                                                                            1296
                                                                                                              12
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    13 of 49                             pg
                                 1299 of 1354



   02/02/2022   172   MINUTE ORDER as to Michael Aaron Tew, Kimberley Ann Tew re 167 MOTION
                      to Withdraw as Attorney by Michael Hassard filed by Michael Aaron Tew,
                      Kimberley Ann Tew, 162 MOTION to Withdraw as Attorney by Tor Ekeland filed
                      by Michael Aaron Tew, Kimberley Ann Tew, 166 MOTION to Withdraw as
                      Attorney by Xuan Zhou filed by Michael Aaron Tew, Kimberley Ann Tew.
                      Defendant Michael Tew and Defendant Kimberley Tew shall each file a separate
                      financial affidavit under restriction at Level 3 NO LATER THAN FEBRUARY 14,
                      2022. by Magistrate Judge Kristen L. Mix on 2/2/2022. Text Only Entry (klmlc2, )
                      (Entered: 02/02/2022)
   02/02/2022   173   ORDER. The Motion to Withdraw Document 148 as to Michael Aaron Tew and
                      Kimberly Ann Tew is GRANTED. Accordingly, the Motion to Travel 146 is
                      DENIED AS MOOT. SO ORDERED by Judge Daniel D. Domenico on 2/2/2022.
                      Text Only Entry (dddlc2, ) (Entered: 02/02/2022)
   02/04/2022   174   ORDER as to Michael Aaron Tew, Kimberley Ann Tew. Defendants' counsel Motion
                      for a 3−Month Ends of Justice Continuance (Doc. 165 ) is GRANTED. Ninety (90)
                      days, from 2/4/2022 to 5/5/2022, will be excluded from the computation of
                      Defendants' Michael Tew and Kimberley Tew's Speedy Trial Act time. Motions due
                      by 5/12/2022. Responses due by 5/19/2022. The eight−day Jury Trial set to begin
                      4/4/2022 is VACATED and RESET to 6/13/2022 at 09:00 AM in Courtroom A1002
                      before Judge Daniel D. Domenico. The Trial Preparation Conference set for
                      3/21/2022 is VACATED and RESET to 6/2/2022 at 03:30 PM in Courtroom A1002
                      before Judge Daniel D. Domenico. By Judge Daniel D. Domenico on 02/04/2022.
                      (athom, ) (Entered: 02/04/2022)
   02/10/2022   175   Pro Se Letter by Michael Aaron Tew, Kimberley Ann Tew. (athom, ) (Entered:
                      02/10/2022)
   02/10/2022   176   ORDER REFERRING MOTION as to Michael Aaron Tew, Kimberley Ann Tew 175
                      MOTION for Extension of Time to File filed by Michael Aaron Tew, Kimberley Ann
                      Tew. SO ORDERED by Judge Daniel D. Domenico on 2/10/2022. Text Only Entry
                      (dddlc2, ) (Entered: 02/10/2022)
   02/14/2022   177   MINUTE ORDER by Magistrate Judge Kristen L. Mix on February 14, 2022. This
                      matter is before the Court on Defendants' Motion for Extension of Time 175 (the
                      "Motion"). Defendants ask for a two−week extension to file financial affidavits
                      because they "are currently reviewing an engagement letter with a law firm based in
                      Denver" and, therefore, may not require appointment of counsel through the CJA. IT
                      IS HEREBY ORDERED that the Motion 175 is GRANTED. The deadline for each
                      Defendant to file a separate financial affidavit under restriction at Level 3 is extended
                      to February 28, 2022. (csarr, ) (Entered: 02/14/2022)
   02/25/2022   178   NOTICE OF ATTORNEY APPEARANCE: Peter R. Bornstein appearing for
                      Michael Aaron Tew, Kimberley Ann TewAttorney Peter R. Bornstein added to party
                      Michael Aaron Tew(pty:dft), Attorney Peter R. Bornstein added to party Kimberley
                      Ann Tew(pty:dft) (Bornstein, Peter) (Entered: 02/25/2022)
   03/04/2022   179   Order. Defense counsel is directed to file a status report on or before 3/10/2022
                      confirming that he has discussed the potential conflicts of interest that joint
                      representation of criminal codefendants may raise with his clients, and that they each
                      continue to understand these dangers and risks and continue to consent to proceeding
                      with joint counsel in spite of them. SO ORDERED by Judge Daniel D. Domenico on
                      3/4/2022. Text Only Entry (dddlc2, ) (Entered: 03/04/2022)


                                                                                                              1297
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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    14 of 49                             pg
                                 1300 of 1354



   03/07/2022   180   ORDER granting 162 Motion to Withdraw as Attorney. Attorney Tor Ekeland is
                      relieved of any further representation of Defendants Michael Tew and Kimberly Tew.
                      The Clerk of Court is instructed to terminate Attorney Ekeland as counsel of record,
                      and to remove this name from the electronic certificate of mailing. Defendants
                      Michael Tew and Kimberly Tew shall continue to be represented by Attorneys
                      Michael Hassard, Peter Bornstein, and Xuan Zhou. by Magistrate Judge Kristen L.
                      Mix on 3/7/2022. Text Only Entry (klmlc2, ) (Entered: 03/07/2022)
   03/07/2022   181   ORDER granting 166 Motion to Withdraw as Attorney. Attorney Xuan Zhou is
                      relieved of any further representation of Defendants Michael Tew and Kimberly Tew.
                      The Clerk of Court is instructed to terminate Attorney Zhou as counsel of record, and
                      to remove this name from the electronic certificate of mailing. Defendants Michael
                      Tew and Kimberly Tew shall continue to be represented by Attorneys Michael
                      Hassard and Peter Bornstein. by Magistrate Judge Kristen L. Mix on 3/7/2022. Text
                      Only Entry (klmlc2, ) (Entered: 03/07/2022)
   03/07/2022   182   ORDER granting 167 Motion to Withdraw as Attorney. Attorney Michael Hassard is
                      relieved of any further representation of Defendants Michael Tew and Kimberly Tew.
                      The Clerk of Court is instructed to terminate Attorney Hassard as counsel of record,
                      and to remove this name from the electronic certificate of mailing. Defendants
                      Michael Tew and Kimberly Tew shall continue to be represented by Attorney Peter
                      Bornstein. by Magistrate Judge Kristen L. Mix on 3/7/2022. Text Only Entry
                      (klmlc2, ) (Entered: 03/07/2022)
   03/09/2022   183   Unopposed MOTION to Travel by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 03/09/2022)
   03/10/2022   184   STATUS REPORT by Michael Aaron Tew, Kimberley Ann Tew (Bornstein, Peter)
                      (Entered: 03/10/2022)
   03/14/2022   185   Order granting 183 Motion to travel. Defendants Michael and Kimberly Tew may
                      travel out of state with their children for spring break as requested in their motion.
                      Their pretrial monitoring is modified to stand−alone location monitoring without a
                      curfew. SO ORDERED by Judge Daniel D. Domenico on 3/14/2022. Text Only
                      Entry (dddlc2, ) (Entered: 03/14/2022)
   03/22/2022   187   MOTION to Amend/Correct Conditions of Release by Kimberley Ann Tew.
                      (Attachments: # 1 Exhibit A)(Bornstein, Peter) (Entered: 03/22/2022)
   03/24/2022   188   MINUTE ORDER re. 187 Motion to Amend/Correct Conditions of Supervised
                      Release. The Court reviews the conditions of pretrial release de novo, and having
                      reviewed the transcripts of the two previous hearings as well as the recommendations
                      of the Probation Department, does not find that the Government has shown by a
                      preponderance of evidence that location monitoring is required to reasonably assure
                      the appearance of Kimberley Tew or the safety of another person or the community.
                      The government has until 11:00am on 3/25/2022 to respond. SO ORDERED by
                      Judge Daniel D. Domenico on 3/24/2022. Text Only Entry (dddlc2, ) (Entered:
                      03/24/2022)
   03/25/2022   189   RESPONSE in Opposition by USA as to Kimberley Ann Tew re 187 MOTION to
                      Amend/Correct Conditions of Release (Fields, Bryan) (Entered: 03/25/2022)
   03/25/2022   190   ORDER GRANTING 187 Motion for Amendment of Conditions of Release as to
                      Kimberley Ann Tew (2). It is ORDERED that Ms. Tew's conditions of release are
                      modified to remove the requirement that she submit to GPS location monitoring. Ms.


                                                                                                               1298
                                                                                                                 14
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    15 of 49                          pg
                                 1301 of 1354



                      Tew is directed to contact the Probation Department for instructions on how to
                      comply with her conditions of release going forward. By Judge Daniel D. Domenico
                      on 3/25/2022. (dddlc1, ) (Entered: 03/25/2022)
   03/31/2022   192   ORDER granting 164 Motion for Leave to Restrict. Doc. 163 is restricted at Level 3.
                      SO ORDERED by Judge Daniel D. Domenico on 3/31/2022. Text Only Entry
                      (dddlc2, ) (Entered: 03/31/2022)
   04/26/2022   193   Unopposed MOTION to Continue Trial and for Ends of Justice Finding Pursuant to
                      18 U.S.C. § 3161(h)(7) by Michael Aaron Tew, Kimberley Ann Tew. (Bornstein,
                      Peter) (Entered: 04/26/2022)
   05/10/2022   194   Unopposed MOTION for Leave to File Excess Pages for Motion to Suppress by
                      Michael Aaron Tew, Kimberley Ann Tew. (Bornstein, Peter) (Entered: 05/10/2022)
   05/12/2022   195   ORDER granting 194 Motion for Leave to File Excess Pages as to Michael Aaron
                      Tew (1), Kimberley Ann Tew (2). The defendants have 6000 words for their motion
                      to suppress and the government has the same number for its response. SO
                      ORDERED by Judge Daniel D. Domenico on 5/12/2022. Text Only Entry (dddlc2, )
                      (Entered: 05/12/2022)
   05/12/2022   196   Unopposed MOTION for Extension of Time to File Pre−Trial Motions by Michael
                      Aaron Tew, Kimberley Ann Tew. (Bornstein, Peter) (Entered: 05/12/2022)
   05/12/2022   197   Unopposed MOTION for Reconsideration re 195 Order on Motion for Leave to File
                      Excess Pages, Motion to Suppress by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 05/12/2022)
   05/12/2022   198   ORDER as to Michael Aaron Tew, Kimberley Ann Tew. Defendants' Motion to
                      Continue Trial and for an Ends of Justice Finding (Doc. 193 ) is GRANTED. One
                      hundred and eighty (180) days, from 5/12/2022 to 11/8/2022, will be excluded from
                      the computation of Defendants' Michael Tew and Kimberley Tew's Speedy Trial Act
                      time. The deadline to file motions to suppress remains 5/12/2022. Other pretrial
                      Motions due by 6/13/2022. Responses due by 6/20/2022. The eight−day Jury Trial
                      set for 06/13/2022 is VACATED and RESET to 12/5/2022 at 09:00 AM in
                      Courtroom A1002 before Judge Daniel D. Domenico. The Trial Preparation
                      Conference set for 6/2/2022 is VACATED and RESET to 11/29/2022 at 03:30 PM in
                      Courtroom A1002 before Judge Daniel D. Domenico. By Judge Daniel D. Domenico
                      on 05/12/2022. (athom, ) (Entered: 05/12/2022)
   05/12/2022   199   ORDER granting 197 Motion for Reconsideration re 197 Unopposed MOTION for
                      Reconsideration re 195 Order on Motion for Leave to File Excess Pages, Motion to
                      Suppress filed by Michael Aaron Tew, Kimberley Ann Tew as to Michael Aaron
                      Tew (1), Kimberley Ann Tew (2). The defendants have 12,000 words for their
                      motion to suppress, and the government has the same number with which to respond.
                      SO ORDERED by Judge Daniel D. Domenico on 5/12/2022. Text Only Entry
                      (dddlc2, ) (Entered: 05/12/2022)
   05/12/2022   200   Motion to Suppress Evidence by Michael Aaron Tew, Kimberley Ann Tew.
                      (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                      E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11
                      Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16
                      Exhibit P, # 17 Exhibit Q, # 18 Exhibit R, # 19 Exhibit S, # 20 Exhibit T, # 21
                      Exhibit U, # 22 Exhibit V, # 23 Exhibit W, # 24 Exhibit X, # 25 Exhibit Y, # 26
                      Exhibit Z, # 27 Exhibit AA, # 28 Exhibit BB)(Bornstein, Peter) Modified on


                                                                                                           1299
                                                                                                             15
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    16 of 49                           pg
                                 1302 of 1354



                      8/22/2022 to add document title and un restrict Motion ONLY per 244 Response.
                      (sphil, ). Modified on 10/28/2022 to add text and correct event (athom, ). (Entered:
                      05/12/2022)
   05/12/2022   201   MOTION for Leave to Restrict by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 05/12/2022)
   05/18/2022   202   Unopposed MOTION for Extension of Time to File Response/Reply as to 200
                      Restricted Document − Level 1,, by USA as to Michael Aaron Tew, Kimberley Ann
                      Tew. (Fields, Bryan) (Entered: 05/18/2022)
   05/19/2022   203   NOTICE OF ATTORNEY APPEARANCE Albert C. Buchman appearing for USA.
                      Attorney Albert C. Buchman added to party USA(pty:pla) (Buchman, Albert)
                      (Entered: 05/19/2022)
   05/19/2022   204   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 201 MOTION for Leave to Restrict (Response to Motion to Suppress, ECF No.
                      200) (Attachments: # 1 Government Filter Memo, # 2 Filter Memo − Attachment 1, #
                      3 Filter Memo − Attachment 2, # 4 Filter Memo − Attachment 3, # 5 Filter Memo −
                      Attachment 4, # 6 Filter Memo − Attachment 5, # 7 Filter Memo − Attachment 6, # 8
                      Filter Memo − Attachment 7, # 9 Filter Memo − Attachment 8, # 10 Filter Memo −
                      Attachment 9)(Fields, Bryan) (Entered: 05/19/2022)
   05/20/2022   205   MOTION to Withdraw as Attorney by Andrea Surratt by USA as to Michael Aaron
                      Tew, Kimberley Ann Tew, Jonathan K. Yioulos. (Surratt, Andrea) (Entered:
                      05/20/2022)
   05/20/2022   208   ORDER granting 202 Motion for Extension of Time to File Response/Reply. The
                      government has until and including 6/9/2022 to file a response to the motion to
                      suppress. SO ORDERED by Judge Daniel D. Domenico on 5/20/2022. Text Only
                      Entry (dddlc2, ) (Entered: 05/20/2022)
   05/25/2022   209   MOTION to Disclose Grand Jury Material to Defendant by USA as to Michael
                      Aaron Tew, Kimberley Ann Tew. (Attachments: # 1 Proposed Order (PDF
                      Only))(Fields, Bryan) (Entered: 05/25/2022)
   05/25/2022   210   Unopposed MOTION for Leave to File Reply to Government's Response to
                      Defendant's Motion to Suppress Evidence by Michael Aaron Tew, Kimberley Ann
                      Tew. (Bornstein, Peter) (Entered: 05/25/2022)
   06/13/2022   212   Unopposed MOTION for Order Requiring the Government to Submit Expert Witness
                      Opinions 120 Days Before Trial by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 06/13/2022)
   06/13/2022   213   Unopposed MOTION for Leave to File Additional Motions by Michael Aaron Tew,
                      Kimberley Ann Tew. (Bornstein, Peter) (Entered: 06/13/2022)
   06/13/2022   214   MOTION for Sanctions for Violating Communication Privileges by Michael Aaron
                      Tew, Kimberley Ann Tew. (Bornstein, Peter) (Entered: 06/13/2022)
   06/13/2022   215   MOTION for Franks Hearing by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 06/13/2022)
   06/13/2022   217   Unopposed MOTION for Extension of Time to File Response/Reply to Defendant
                      Motions Filed on June 13, 2022 by USA as to Michael Aaron Tew, Kimberley Ann
                      Tew. (Fields, Bryan) (Entered: 06/13/2022)


                                                                                                             1300
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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    17 of 49                          pg
                                 1303 of 1354



   06/13/2022   218   MOTION to Sever Defendant by Kimberley Ann Tew. (Bornstein, Peter) (Entered:
                      06/13/2022)
   06/13/2022   220   MOTION for James Hearing and for Government to File a James Proffer by
                      Kimberley Ann Tew. (Bornstein, Peter) (Entered: 06/13/2022)
   06/13/2022   221   MOTION to Suppress Evidence from Search of 3222 East First Avenue, Apartment
                      224 by Michael Aaron Tew, Kimberley Ann Tew. (Attachments: # 1 Exhibit A, # 2
                      Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Bornstein, Peter) (Entered: 06/13/2022)
   06/16/2022   222   ORDER GRANTING 205 Motion to Withdraw as Attorney. The Clerk of Court is
                      instructed to terminate attorney Andrea Surratt as counsel of record, and to remove
                      this name from the electronic certificate of mailing. Plaintiff United States will
                      continue to be represented by attorney Bryan Fields and Albert Buchman. SO
                      ORDERED by Judge Daniel D. Domenico on 6/16/2022. Text Only Entry (dddlc2, )
                      (Entered: 06/16/2022)
   06/16/2022   223   ORDER GRANTING 210 Motion for Leave to File a Reply. Defendants have 5000
                      words for a reply to be filed on or before 6/22/2022. SO ORDERED by Judge Daniel
                      D. Domenico on 6/16/2022. Text Only Entry (dddlc2, ) (Entered: 06/16/2022)
   06/16/2022   224   ORDER Granting 209 Motion to Disclose Grand Jury Material as to Michael Aaron
                      Tew, Kimberley Ann Tew. By Judge Daniel D. Domenico on 06/16/2022. (athom, )
                      (Entered: 06/16/2022)
   06/22/2022   226   REPLY by Michael Aaron Tew, Kimberley Ann Tew in Support of Motion to
                      Suppress Evidence [Doc.200−Restricted] (Bornstein, Peter) (Entered: 06/22/2022)
   07/14/2022   228   ORDER granting 217 Motion for Extension of Time to File Response/Reply. The
                      government has until and including 8/9/2022 to file responses to the motions filed on
                      6/13/2022. SO ORDERED by Judge Daniel D. Domenico on 8/14/2022. Text Only
                      Entry (dddlc2, ) (Entered: 07/14/2022)
   08/09/2022   229   NOTICE of Conventional Filing Exhibit 1−3 by USA as to Michael Aaron Tew,
                      Kimberley Ann Tew (Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022   230   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 218 MOTION to Sever Defendant (Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022   231   REPLY TO RESPONSE to Motion by USA as to Michael Aaron Tew, Kimberley
                      Ann Tew re 219 MOTION for James Hearing and for Government to File a James
                      Proffer (Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022   232   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 220 MOTION for James Hearing and for Government to File a James Proffer
                      (Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022   233   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 215 MOTION for Franks Hearing (Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022   234   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 214 MOTION for Sanctions for Violating Communication Privileges (Buchman,
                      Albert) (Entered: 08/09/2022)
   08/09/2022   235   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 216 MOTION to Suppress the Use of Statements (Attachments: # 1 Conventionally
                      Submitted, # 2 Conventionally Submitted)(Buchman, Albert) (Entered: 08/09/2022)

                                                                                                           1301
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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    18 of 49                           pg
                                 1304 of 1354



   08/09/2022   236   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 221 MOTION to Suppress Evidence from Search of 3222 East First Avenue,
                      Apartment 224 (Attachments: # 1 Conventionally Submitted)(Buchman, Albert)
                      (Entered: 08/09/2022)
   08/09/2022   237   Conventionally Submitted Material : 1 Card USB Flash Drive: Exhibit 1 and Exhibit
                      2 to Response in Opposition 235 re 229 Notice, by Plaintiff USA. Material placed in
                      the oversized filing area Area D−5−5 of the Clerk's Office. Text Only Entry (athom, )
                      (submitted additional copy of USB placed in Chambers' mail box) (Entered:
                      08/11/2022)
   08/12/2022   238   ORDER GRANTING IN PART 201 Motion for Leave to File Motion to Suppress
                      Evidence as Restricted Level 1.

                      I must narrowly tailor any restrictions on public access, and must consider whether
                      supplying a redacted version of a document in lieu of restricting access to the entire
                      document would adequately protect the interests of the party seeking restriction.
                      United States v. Walker, 761 F. App'x 822, 835 (10th Cir. 2019); Local Civ. R.
                      7.2(c)(4). Defendants Michael and Kimberly Tew have not shown that redacting the
                      identified financial, medical, and other personal information from the motion to
                      suppress is impracticable or would not adequately protect the privacy interests at
                      stake.

                      Accordingly, the motion for leave to restrict is GRANTED IN PART with respect to
                      the exhibits to the motion only. The Clerk of Court is directed to maintain Doc. 200
                      and Docs. 200−1 to 200−28 under Level 1 restriction. Plaintiff must file a public
                      redacted version of the motion to suppress (Doc. 200 ) on or before 8/19/2022.

                      SO ORDERED by Judge Daniel D. Domenico on 8/12/2022. Text Only Entry
                      (dddlc1, ) (Entered: 08/12/2022)
   08/12/2022   239   ORDER GRANTING IN PART 212 Defendants' Unopposed Motion to Require the
                      Government to Submit Expert Witness Opinions 120 Days Before Trial.

                      Expert witness disclosures pursuant to Federal Rule of Criminal Procedure
                      16(a)(1)(G) and (b)(1)(C) must be made no later than 8/19/2022, and any challenges
                      to such experts must be made no later than 9/9/2022.

                      Rebuttal expert witness disclosures must be made no later than 9/16/2022, and any
                      challenges to such rebuttal experts must be made no later than 10/7/2022.

                      SO ORDERED by Judge Daniel D. Domenico on 8/12/2022. Text Only Entry
                      (dddlc1, ) (Entered: 08/12/2022)
   08/15/2022   240   Unopposed MOTION for Leave to File Replies to Government's Responses to
                      Motions by Michael Aaron Tew, Kimberley Ann Tew. (Bornstein, Peter) (Entered:
                      08/15/2022)
   08/15/2022   241   ORDER REGARDING PRETRIAL DEADLINES AND PENDING MOTIONS.

                      Defendants' Unopposed Motion for Leave to File Additional Motions (Doc. 213 ) is
                      GRANTED. Motions due 9/13/2022. Responses due 9/27/2022. No replies will be
                      permitted without prior leave of the Court.


                                                                                                            1302
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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    19 of 49                            pg
                                 1305 of 1354




                      Defendants' Unopposed Motion for Leave to File Replies to Government's Responses
                      to Motions (Doc. 240 ) is GRANTED. Replies due 8/23/2022.

                      A Motions Hearing is SET for 10/18/2022 at 10:30 AM in Courtroom A1002 before
                      Judge Daniel D. Domenico.

                      Due to a conflict on the Court's calendar, the eight−day Jury Trial set for 12/5/2022 is
                      VACATED and RESET to commence on 12/12/2022 at 09:00 AM in Courtroom
                      A1002. Counsel and pro se parties must be present at 08:30 AM on the first day of
                      trial. Due to a conflict on the Court's calendar, the Trial Preparation Conference set
                      for 11/29/2022 is VACATED and RESET to 11/22/2022 at 01:30 PM in Courtroom
                      A1002. See written Order for pretrial deadlines.

                      SO ORDERED by Judge Daniel D. Domenico on 8/15/2022. (dddlc1, ) (Entered:
                      08/15/2022)
   08/18/2022   242   Unopposed MOTION for Order to Reschedule Hearing Date on Motion by Michael
                      Aaron Tew, Kimberley Ann Tew. (Bornstein, Peter) (Entered: 08/18/2022)
   08/18/2022   243   ORDER GRANTING 242 Unopposed Motion to Reschedule Hearing Date on
                      Motions as to Michael Aaron Tew (1), Kimberley Ann Tew (2). The Motions
                      Hearing set for 10/18/2022 is VACATED and RESET to 10/12/2022 at 09:30 AM in
                      Courtroom A1002 before Judge Daniel D. Domenico. SO ORDERED by Judge
                      Daniel D. Domenico on 8/18/2022. Text Only Entry (dddlc1, ) (Entered: 08/18/2022)
   08/19/2022   244   RESPONSE by Michael Aaron Tew, Kimberley Ann Tew re: 238 Order on Motion
                      for Leave to Restrict,,,, (Bornstein, Peter) (Entered: 08/19/2022)
   08/23/2022   245   REPLY TO RESPONSE to Motion by Michael Aaron Tew, Kimberley Ann Tew re
                      214 MOTION for Sanctions for Violating Communication Privileges (Bornstein,
                      Peter) (Entered: 08/23/2022)
   08/23/2022   246   REPLY TO RESPONSE to Motion by Michael Aaron Tew, Kimberley Ann Tew re
                      221 MOTION to Suppress Evidence from Search of 3222 East First Avenue,
                      Apartment 224 (Bornstein, Peter) (Entered: 08/23/2022)
   08/23/2022   247   REPLY TO RESPONSE to Motion by Michael Aaron Tew, Kimberley Ann Tew re
                      219 MOTION for James Hearing and for Government to File a James Proffer, 220
                      MOTION for James Hearing and for Government to File a James Proffer (Bornstein,
                      Peter) (Entered: 08/23/2022)
   08/23/2022   248   REPLY TO RESPONSE to Motion by Kimberley Ann Tew re 218 MOTION to
                      Sever Defendant (Bornstein, Peter) (Entered: 08/23/2022)
   08/23/2022   250   REPLY TO RESPONSE to Motion by Michael Aaron Tew, Kimberley Ann Tew re
                      215 MOTION for Franks Hearing (Attachments: # 1 Affidavit Declaration of
                      Michael A. Tew, # 2 Affidavit Declaration of Kimberley A. Tew)(Bornstein, Peter)
                      (Entered: 08/23/2022)
   09/15/2022   251   Unopposed MOTION to Travel Out of State by Kimberley Ann Tew. (Bornstein,
                      Peter) (Entered: 09/15/2022)
   09/16/2022   252   ORDER granting 251 Unopposed Motion to Travel as to Kimberley Ann Tew (2).
                      SO ORDERED by Judge Daniel D. Domenico on 09/16/2022. Text Only Entry


                                                                                                             1303
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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    20 of 49                         pg
                                 1306 of 1354



                      (dddlc5, ) (Entered: 09/16/2022)
   10/07/2022   253   EXHIBIT LIST for Suppression Hearing of October 12, 2022 by USA as to Michael
                      Aaron Tew, Kimberley Ann Tew (Attachments: # 1 Proposed Exhibit List)(Fields,
                      Bryan) (Entered: 10/07/2022)
   10/07/2022   254   WITNESS LIST for Suppression Hearing of October 12, 2022 by USA as to Michael
                      Aaron Tew, Kimberley Ann Tew (Attachments: # 1 Proposed Witness List)(Fields,
                      Bryan) (Entered: 10/07/2022)
   10/12/2022   255   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico:
                      Suppression Hearing as to Michael Aaron Tew, Kimberley Ann Tew held on
                      10/12/2022. Taking under advisement 214 Motion for Sanctions as to Michael Aaron
                      Tew (1), Kimberley Ann Tew (2). Denying 215 Motion for Franks Hearing as to
                      Michael Aaron Tew (1), Kimberley Ann Tew (2). Taking under advisement 216
                      Motion to Suppress as to Michael Aaron Tew (1). Taking under advisement 200
                      Defendants Motion. Denying 219 Motion for James Hearing as to Michael Aaron
                      Tew (1). Taking under advisement 221 Motion to Suppress as to Michael Aaron Tew
                      (1), Kimberley Ann Tew (2). Taking under advisement 218 Motion to Sever
                      Defendant as to Kimberley Ann Tew (2). Taking under advisement 220 Motion for
                      James Hearing as to Kimberley Ann Tew (2). Bond continued as to both defendants.
                      Court Reporter: Julie Thomas. (rkeec) (Entered: 10/13/2022)
   10/12/2022   256   WITNESS LIST by USA as to Michael Aaron Tew (1), Kimberley Ann Tew (2).
                      With date and time testified. (rkeec) (Entered: 10/13/2022)
   10/12/2022   257   EXHIBIT LIST by USA as to Michael Aaron Tew (1), Kimberley Ann Tew (2).
                      (rkeec) (Entered: 10/13/2022)
   10/27/2022   258   ORDER Denying 221 Motion to Suppress Evidence from Search of 3222 East First
                      Avenue, Apartment 224 as to Michael Aaron Tew, Kimberley Ann Tew. By Judge
                      Daniel D. Domenico on 10/27/2022. (athom, ) (Entered: 10/28/2022)
   10/27/2022   260   ORDER Denying 218 Motion for Severance as to Kimberley Ann Tew. By Judge
                      Daniel D. Domenico on 10/27/2022. (athom, ) (Entered: 10/28/2022)
   10/27/2022   261   ORDER Denying 214 Motion for Sanctions as to Michael Aaron Tew, Kimberley
                      Ann Tew. By Judge Daniel D. Domenico on 10/27/2022. (athom, ) (Entered:
                      10/28/2022)
   10/27/2022   262   ORDER Denying 200 Motion to Suppress Evidence as to Michael Aaron Tew,
                      Kimberley Ann Tew. By Judge Daniel D. Domenico on 10/27/2022. (athom, )
                      (Entered: 10/28/2022)
   10/28/2022   263   ORDER GRANTING IN PART 220 Defendant Kimberly Ann Tew's Motion for a
                      James Proffer and Hearing. Ms. Tew's request for the Government to file a James
                      proffer and for the Court to hold a James hearing is granted, though not on the
                      timeline requested.

                      The Government must file any statements it will seek to admit at trial under Federal
                      Rule of Evidence 801(d)(2)(E) in the form of a James log, along with the referenced
                      exhibits and an accompanying brief, on or before 1/6/2023. The defendants must file
                      their responses to the Government's James log and brief on or before 1/20/2023. A
                      James Hearing is SET for 1/26/2023 at 09:30 AM in Courtroom A1002 before Judge
                      Daniel D. Domenico.


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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    21 of 49                           pg
                                 1307 of 1354




                      In light of the above, the Trial Preparation Conference set for 11/22/2022 is
                      VACATED and RESET for 3/7/2022 at 09:30 AM in Courtroom A1002, and the
                      eight−day Jury Trial set for 12/12/2022 is VACATED and RESET for 3/13/2023 at
                      09:00 AM in Courtroom A1002. Counsel and pro se parties must be present at 08:30
                      AM on the first day of trial. Pretrial deadlines remain as stated in the Court's Order
                      Regarding Pretrial Deadlines and Pending Motions (Doc. 241 ).

                      SO ORDERED by Judge Daniel D. Domenico on 10/28/2022. Text Only Entry
                      (dddlc1, ) (Entered: 10/28/2022)
   11/15/2022   264   MOTION for Leave to Restrict by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 11/15/2022)
   11/15/2022   265   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew, Kimberley Ann
                      Tew. (Bornstein, Peter) (Entered: 11/15/2022)
   11/15/2022   266   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew, Kimberley Ann
                      Tew. (Attachments: # 1 Exhibit A)(Bornstein, Peter) (Entered: 11/15/2022)
   11/16/2022   267   Unopposed MOTION to Travel Out of State by Michael Aaron Tew, Kimberley Ann
                      Tew. (Bornstein, Peter) (Entered: 11/16/2022)
   11/17/2022   268   ORDER granting 267 Motion to Travel as to Michael Aaron Tew (1), Kimberley Ann
                      Tew (2). Mr. and Mrs. Tew are granted permission to leave the state of Colorado and
                      travel to Marquette, Michigan with their children from 11/18/2022 until 11/27/2022.
                      SO ORDERED by Judge Daniel D. Domenico on 11/17/2022. Text Only Entry
                      (dddlc5, ) (Entered: 11/17/2022)
   11/17/2022   269   ORDER granting 264 Motion for Leave to Restrict 265 Restricted Document − Level
                      3, 266 Restricted Document − Level 3 as to Michael Aaron Tew (1), Kimberley Ann
                      Tew (2). The Clerk of Court is directed to maintain 265 and 266 UNDER
                      RESTRICTION at LEVEL 3. SO ORDERED by Judge Daniel D. Domenico on
                      11/17/2022. Text Only Entry (dddlc5, ) (Entered: 11/17/2022)
   11/29/2022   272   Order Regarding Motion for Subpoenas as to Michael Aaron Tew and Kimberley
                      Ann Tew. (angar, ) Modified on 11/29/2022 to correct restriction level and title
                      (angar, ). (Entered: 11/29/2022)
   12/01/2022   273   MOTION to Withdraw as Attorney by Peter R. Bornstein by Michael Aaron Tew,
                      Kimberley Ann Tew. (Bornstein, Peter) (Entered: 12/01/2022)
   12/01/2022   274   ORDER REFERRING MOTION as to Michael Aaron Tew, Kimberley Ann Tew 273
                      MOTION to Withdraw as Attorney by Peter R. Bornstein. Motion referred to
                      Magistrate Judge Kristen L. Mix, by Judge Daniel D. Domenico on 12/01/2022. Text
                      Only Entry (dddlc5, ) Modified on 12/5/2022 to add text (athom, ). (Entered:
                      12/01/2022)
   12/02/2022   275   MINUTE ORDER by Magistrate Judge Kristen L. Mix on 12/02/2022. IT IS
                      HEREBY ORDERED that the Motion 273 is GRANTED as to Michael Aaron Tew
                      (1), Kimberley Ann Tew (2). Mr. Bornstein is permitted to withdraw as counsel for
                      Defendants. IT IS FURTHER ORDERED that on or before December 16, 2022,
                      Defendants shall have replacement counsel enter an appearance or, if they believe
                      they are entitled to appointment of CJA counsel to represent them, shall each file a
                      financial affidavit under restriction at Level 3. (alave, ) (Entered: 12/05/2022)


                                                                                                             1305
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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    22 of 49                         pg
                                 1308 of 1354



   12/05/2022   276   MOTION for Reconsideration re 275 Order on Motion to Withdraw as Attorney,, or,
                      in the alternative, motion for expedited appointment and extension of deadlines by
                      USA as to Michael Aaron Tew, Kimberley Ann Tew. (Fields, Bryan) (Entered:
                      12/05/2022)
   12/05/2022   277   ORDER REFERRING MOTION as to Michael Aaron Tew, Kimberley Ann Tew 276
                      MOTION for Reconsideration re 275 Order on Motion to Withdraw as Attorney,, or,
                      in the alternative, motion for expedited appointment and extension of deadlines filed
                      by USA. Motion referred to Magistrate Judge Kristen L. Mix by Judge Daniel D.
                      Domenico on 12/05/2022. Text Only Entry (dddlc5, ) (Entered: 12/05/2022)
   12/06/2022   278   MINUTE ORDER by Magistrate Judge Kristen L. Mix on 12/06/2022. IT IS
                      HEREBY ORDERED that a hearing on the Motion 276 is set for December 9, 2022,
                      at 11:00 a.m. Counsel for the parties, including defense counsel Peter Bornstein who
                      was permitted to withdraw by Minute Order 275 of December 2, 2022, shall be
                      present at the hearing. IT IS FURTHER ORDERED that the Clerk of Court shall
                      email a copy of this Minute Order to Mr. Bornstein. (alave, ) (Entered: 12/06/2022)
   12/06/2022   279   Certificate of Service by E−Mail by Clerk of Court re 278 Minute Order to counsel
                      Peter Bornstein at pbornstein@prblegal.com. Text Only Entry. (alave, ) (Entered:
                      12/06/2022)
   12/09/2022   280   MINUTE ENTRY for In Court Hearing as to Michael Aaron Tew, Kimberley Ann
                      Tew held on 12/9/2022 before Magistrate Judge Kristen L. Mix. The court GRANTS
                      276 Motion for Reconsideration re 273 MOTION to Withdraw as Attorney. 273
                      MOTION to Withdraw as Attorney is GRANTED in part and DENIED in part to the
                      extent that Mr. Bornstein is permitted to withdraw as private counsel, but otherwise
                      denied. Defendants are ORDERED to submit financial affidavits on or before 5:00
                      PM Tuesday, December 13, 2022. Should Defendants qualify for court−appointed
                      counsel, Mr. Bornstein will be appointed as CJA counsel.

                      The Clerk of Court is ORDERED to allow Mr. Bornstein to file the financial
                      affidavits on the electronic docket on the Defendants' behalf. Should there be any
                      problem with the filing of the financial affidavits, Mr. Bornstein SHALL email them
                      to Mix_Chambers@cod.uscourts.gov.(Total time: 23 minutes, Hearing time:
                      11:00−11:23)

                      APPEARANCES: Bryan Fields, Albert Buchman on behalf of the Government,
                      Peter Bornstein on behalf of the defendant. FTR: A−401. (cpomm, ) Text Only Entry
                      (Entered: 12/09/2022)
   12/13/2022   281   MOTION for Leave to Restrict by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 12/13/2022)
   12/13/2022   282   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew, Kimberley Ann
                      Tew. (Bornstein, Peter) (Entered: 12/13/2022)
   12/14/2022   283   ORDER granting 281 Motion for Leave to Restrict 282 Restricted Document as to
                      Michael Aaron Tew (1), Kimberley Ann Tew (2). The Clerk of Court is instructed to
                      maintain 282 at LEVEL THREE RESTRICTION. SO ORDERED by Judge Daniel
                      D. Domenico on 12/14/2022. Text Only Entry (dddlc5, ) (Entered: 12/14/2022)
   12/27/2022   284   MOTION to Vacate Deadlines and for Status Conference by USA as to Michael
                      Aaron Tew, Kimberley Ann Tew. (Fields, Bryan) (Entered: 12/27/2022)


                                                                                                          1306
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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    23 of 49                           pg
                                 1309 of 1354



   12/27/2022   285   TRANSCRIPT of MOTIONS HEARING as to Michael Aaron Tew, Kimberley Ann
                      Tew held on 10/12/22 before Judge Domenico. Pages: 1−234.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (Thomas, Julie) (Entered: 12/27/2022)
   12/28/2022   287   ORDER DENYING 284 Government's Motion to Vacate Current Deadlines and for
                      Status Conference as to Michael Aaron Tew (1), Kimberley Ann Tew (2).

                      Attorney Peter Bornstein represented the defendants as retained counsel for a period
                      of over nine months from February to December 2022 (see Docs. 178 , 273 , 275 ,
                      280), and he now continues to represent the defendants as appointed CJA counsel
                      (Doc. 286 ). The Government has repeatedly stated its concern that further delays
                      may prejudice its case and the public (Doc. 284 at 3; Doc. 276 at 2, 3, 5, 8), and has
                      also acknowledged that Mr. Bornstein "is surely in the best position to advance this
                      case without any more delay" (Doc. 276 at 2). Having now been appointed as CJA
                      counsel, Mr. Bornstein has over a week to review the Government's James
                      submission prior to its filing on 1/6/2023.

                      The Government's request to vacate the deadlines related to its James proffer and log
                      is therefore denied.

                      SO ORDERED by Judge Daniel D. Domenico on 12/28/2022. Text Only Entry
                      (dddlc1, ) (Entered: 12/28/2022)
   12/28/2022   288   MOTION for Order Appointing Separate Counsel by Michael Aaron Tew, Kimberley
                      Ann Tew. (Bornstein, Peter) (Entered: 12/28/2022)
   12/29/2022   289   ORDER GRANTING 288 Motion for Appointment of Separate Counsel as to
                      Michael Aaron Tew (1), Kimberley Ann Tew (2).

                      Attorney Peter R. Bornstein is relieved of any further representation of Defendant
                      Kimberley Ann Tew, and the Clerk of Court is instructed to terminate Mr. Bornstein
                      as counsel of record for Ms. Tew. An attorney from the Criminal Justice Act panel
                      will be appointed to represent Ms. Tew. Defendant Michael Aaron Tew will continue
                      to be represented by Mr. Bornstein as appointed CJA counsel.

                      In light of the above, the deadlines for the Goverment's James proffer and log and the
                      defendants' response thereto, and the James Hearing set for 1/26/2023 are
                      CONTINUED pending further order of the Court.

                      Within one week of entry of appearance of new counsel for Ms. Tew, the parties
                      must file a Joint Status Report addressing: (1) the Speedy Trial Act implications of
                      the new representation, if any; (2) mutually agreeable proposed deadlines for further

                                                                                                            1307
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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    24 of 49                           pg
                                 1310 of 1354



                      James proceedings; and (3) any other issues the parties wish to bring to the Court's
                      attention.

                      SO ORDERED by Judge Daniel D. Domenico on 12/29/2022. Text Only Entry
                      (dddlc1, ) (Entered: 12/29/2022)
   01/03/2023   290   NOTICE OF ATTORNEY APPEARANCE: David Scott Kaplan appearing for
                      Kimberley Ann TewAttorney David Scott Kaplan added to party Kimberley Ann
                      Tew(pty:dft) (Kaplan, David) (Entered: 01/03/2023)
   01/05/2023   291   MOTION to Unrestrict Document 2 Warrant Issued, 1 Complaint, by USA as to
                      Michael Aaron Tew, Kimberley Ann Tew, Jonathan K. Yioulos. (Attachments: # 1
                      Proposed Order (PDF Only))(Fields, Bryan) (Entered: 01/05/2023)
   01/06/2023   292   ORDER granting 291 Motion to Unrestrict 291 . The Clerk of Court is directed to
                      unrestrict Documents 1 , 2 , 5 , and 6 as to Michael Aaron Tew (1), Kimberley Ann
                      Tew (2), Jonathan K. Yioulos (3). SO ORDERED by Judge Daniel D. Domenico on
                      01/06/2023. Text Only Entry (dddlc5, ) (Entered: 01/06/2023)
   01/10/2023   293   STATUS REPORT (Joint Status Report of Parties) by USA as to Michael Aaron
                      Tew, Kimberley Ann Tew (Fields, Bryan) (Entered: 01/10/2023)
   01/11/2023   294   MINUTE ORDER as to Michael Aaron Tew, Kimberley Ann Tew re 293 Status
                      Report filed by USA. By 1/17/2023, Mr. Bornstein and Mr. Kaplan must each submit
                      an ex parte filing describing their positions regarding any conflict of interest that
                      might prevent Mr. Bornstein from continuing to represent Mr. Tew and whether a
                      hearing is necessary to evaluate and resolve this issue. SO ORDERED by Judge
                      Daniel D. Domenico on 01/11/2023. Text Only Entry (dddlc5, ) (Entered:
                      01/11/2023)
   01/13/2023   295   NOTICE OF ATTORNEY APPEARANCE: Nancy Lin Cohen appearing for
                      Movants Christopher J. Alf, National Air Cargo Group, Inc., National Air Cargo
                      Holdings, Inc.Attorney Nancy Lin Cohen added to party Christopher J. Alf(pty:mov),
                      Attorney Nancy Lin Cohen added to party National Air Cargo Group, Inc. (pty:mov),
                      Attorney Nancy Lin Cohen added to party National Air Cargo Holdings,
                      Inc.(pty:mov) (athom, ) (Entered: 01/13/2023)
   01/13/2023   296   NOTICE OF ATTORNEY APPEARANCE: Eric S. Galler appearing for Movants
                      Christopher J. Alf, National Air Cargo Group, Inc., National Air Cargo Holdings,
                      Inc.Attorney Eric S. Galler added to party Christopher J. Alf(pty:mov), Attorney Eric
                      S. Galler added to party National Air Cargo Group, Inc. (pty:mov), Attorney Eric S.
                      Galler added to party National Air Cargo Holdings, Inc.(pty:mov) (athom, ) (Entered:
                      01/13/2023)
   01/13/2023   297   MOTION to Quash Subpoenas by Christopher J. Alf, National Air Cargo Group,
                      Inc., National Air Cargo Holdings, Inc. as to Michael Aaron Tew, Kimberley Ann
                      Tew, Jonathan K. Yioulos. (athom, ) (Entered: 01/13/2023)
   01/17/2023   301   RESTRICTED DOCUMENT − Level 3: by Kimberley Ann Tew. (Kaplan, David)
                      (Entered: 01/17/2023)
   01/29/2023   303   Unopposed MOTION to Modify Conditions of Release by Jonathan K. Yioulos as to
                      Michael Aaron Tew, Kimberley Ann Tew, Jonathan K. Yioulos. (Tallon, Michael)
                      (Entered: 01/29/2023)
   01/30/2023   306

                                                                                                             1308
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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    25 of 49                          pg
                                 1311 of 1354



                      ORDER as to Michael Aaron Tew, Kimberley Ann Tew, Jonathan K. Yioulos.The
                      Motion of Third−Party Victims to Quash Subpoenas (Doc. 297 ) is GRANTED.The
                      defendants' third−party subpoenas dated 12/1/2022 are QUASHED. The defendants
                      may, if they wish, file a renewed motion for leave to serve third−party subpoenas that
                      fully complies with Federal Rule of Criminal Procedure 17. By Judge Daniel D.
                      Domenico on 01/30/2023. (athom, ) (Entered: 01/30/2023)
   02/03/2023   310   ORDER re 309 Motion to Continue as to Michael Aaron Tew. The Court currently
                      does not have enough information to determine whether the ends−of−justice served
                      by the length of delay requested by the Defendant outweighs the best interests of the
                      defendant and public in a speedy trial. In light of the appointment of Mr. Tew's new
                      counsel and the suspension of the present time from the Speedy Trial Act given the
                      James proceeding is not yet under advisement, the eight−day jury trial set for 3/13/23
                      and Trial Preparation Conference set for 3/7/2023 are VACATED. The Motion to
                      Continue 309 is denied without prejudice. If Defendant wishes to file a renewed
                      Motion to Continue, he should do so concurrent with the status report due 3/13/2023.
                      SO ORDERED by Judge Daniel D. Domenico on 02/03/2023. Text Only Entry
                      (dddlc5, ) (Entered: 02/03/2023)
   02/07/2023   311   STATUS REPORT (Joint Status Report of Parties) by USA as to Michael Aaron
                      Tew, Kimberley Ann Tew (Fields, Bryan) (Entered: 02/07/2023)
   03/13/2023   314   STATUS REPORT re James Hearing (Joint Status Report of all Parties) by USA as
                      to Michael Aaron Tew, Kimberley Ann Tew, Jonathan K. Yioulos (Fields, Bryan)
                      (Entered: 03/13/2023)
   03/13/2023   315   Unopposed MOTION for Order for an Ends of Justice (EOJ) Continuance Pursuant
                      to 18 U.S.C. 3161(h)(7) by Kimberley Ann Tew. (Kaplan, David) (Entered:
                      03/13/2023)
   03/17/2023   317   ORDER as to Kimberley Ann Tew. Defendant's Motion to Continue Trial and for an
                      Ends of Justice Continuance (Doc. 315 ) is GRANTED. Three hundred and
                      twenty−nine (329) days, from 3/17/2023 to 2/9/2024, will be excluded from the
                      computation of Defendant Kimberley Tew's Speedy Trial Act time. Motions due by
                      9/13/2023. Responses due by 9/20/2023. The eight−day Jury Trial is RESET to
                      2/5/2024 at 9:00 a.m. in Courtroom A1002 before Judge Daniel D. Domenico. The
                      Trial Preparation Conference RESET to 1/30/2024 at 1:30 p.m. in Courtroom A1002
                      before Judge Daniel D. Domenico. By Judge Daniel D. Domenico on 03/17/2023.
                      (athom, ) (Entered: 03/17/2023)
   06/16/2023   331   Unopposed MOTION to Travel Out of State by Kimberley Ann Tew. (Kaplan,
                      David) (Entered: 06/16/2023)
   06/16/2023   332   ORDER granting 331 Motion to Travel as to Kimberley Ann Tew (2). Ms. Tew may
                      travel between on or around June 17, 2023 and June 22, 2023 to the States of
                      Wisconsin and Michigan. She must (1) provide documentation regarding her travel
                      plans to United States Pretrial and Probation Services in advance of departure, (2)
                      contact her probation officer as directed during approved travel, and (3) promptly
                      contact his probation officer upon return from travel as directed. SO ORDERED by
                      Judge Daniel D. Domenico on 6/16/2023. Text Only Entry (dddlc5, ) (Entered:
                      06/16/2023)
   09/12/2023   336   Unopposed MOTION for Extension of Time to File Pre−Trial Motions by
                      Kimberley Ann Tew. (Kaplan, David) (Entered: 09/12/2023)


                                                                                                           1309
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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    26 of 49                          pg
                                 1312 of 1354



   09/13/2023   338   ORDER GRANTING 337 Motion for Extension of Time to File as to Michael Aaron
                      Tew; and

                      GRANTING 336 Motion for Extension of Time to File as to Kimberley Ann Tew.

                      The motions deadline as to Mr. Tew and Ms. Tew is extended to October 13, 2023.
                      The government must file responses on or before October 20, 2023. SO ORDERED
                      by Judge Daniel D. Domenico on 9/13/2023. Text Only Entry (dddlc3, ) (Entered:
                      09/13/2023)
   10/13/2023   339   STATUS REPORT (Joint Status Report) by USA as to Michael Aaron Tew,
                      Kimberley Ann Tew (Fields, Bryan) (Entered: 10/13/2023)
   10/26/2023   340   ORDER SETTING JAMES HEARING as to Michael Aaron Tew, Kimberley Ann
                      Tew.

                      The Government must file any statements it will seek to admit at trial under Federal
                      Rule of Evidence 801(d)(2)(E) in the form of a James log, along with an
                      accompanying brief, on or before December 5, 2023.

                      The defendants must file their responses to the Government's James log and brief on
                      or before December 12, 2023. A James Hearing is SET for December 19, 2023 at
                      9:30 a.m. in Courtroom A1002 before Judge Daniel D. Domenico. SO ORDERED by
                      Judge Daniel D. Domenico on 10/26/2023. Text Only Entry (dddlc3, ) (Entered:
                      10/26/2023)
   12/05/2023   341   Government's Proffer (Memorandum in Support of James Log) re: 340 Order,, by
                      USA as to Michael Aaron Tew, Kimberley Ann Tew (Attachments: # 1 Exhibit 1 −
                      James Log, # 2 Exhibit 1001 − Bank Accounts, # 3 Exhibit 1002 − Scheme Invoice
                      Summary, # 4 Exhibit 1003 − Scheme Deposit Summary, # 5 Exhibit 1004 −
                      HSCPA, MCG & 5530JD Summary, # 6 Exhibit 1005 − PM Summary, # 7 Exhibit
                      1006 − GFL Summary, # 8 Exhibit 1007 − AMR Summary)(Fields, Bryan) (Entered:
                      12/05/2023)
   12/12/2023   342   MOTION to Withdraw as Attorney by Albert Buchman by USA as to Michael Aaron
                      Tew, Kimberley Ann Tew, Jonathan K. Yioulos. (Buchman, Albert) (Entered:
                      12/12/2023)
   12/12/2023   343   ORDER GRANTING 342 Motion to Withdraw as Attorney. The Clerk of Court is
                      instructed to terminate attorney Albert Buchman as counsel of record, and to remove
                      this name from the electronic certificate of mailing. The government will continue to
                      be represented by attorney Bryan Fields. SO ORDERED by Judge Daniel D.
                      Domenico on 12/12/2023. Text Only Entry (dddlc3, ) (Entered: 12/12/2023)
   12/12/2023   344   MOTION in Limine Regarding Exhibits Submitted as Part of James Proffer by USA
                      as to Michael Aaron Tew, Kimberley Ann Tew. (Attachments: # 1 Exhibit List of
                      Authentic Business Records)(Fields, Bryan) (Entered: 12/12/2023)
   12/12/2023   346   RESPONSE by Kimberley Ann Tew re: 341 Govt's Proffer, filed by USA
                      (Attachments: # 1 Exhibit 1)(Kaplan, David) (Entered: 12/12/2023)
   12/13/2023   347   RESTRICTED DOCUMENT − Level 3: by Kimberley Ann Tew. (Kaplan, David)
                      (Entered: 12/13/2023)
   12/18/2023   349


                                                                                                             1310
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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    27 of 49                             pg
                                 1313 of 1354



                      ORDER as to Kimberley Ann Tew. Jamie Hubbard of Stimson LaBranche Hubbard,
                      LLC is to be appointed as co−counsel for Kimberley Ann Tew's trial pursuant to the
                      Criminal Justice Act, 18 U.S.C. § 3006A et. seq. SO ORDERED by Judge Daniel D.
                      Domenico on 12/18/2023. Text Only Entry (dddlc3, ) (Entered: 12/18/2023)
   12/18/2023   350   EXHIBIT LIST JAMES HEARING by USA as to Michael Aaron Tew, Kimberley
                      Ann Tew, Jonathan K. Yioulos (Fields, Bryan) (Entered: 12/18/2023)
   12/18/2023   351   WITNESS LIST JAMES HEARING by USA as to Michael Aaron Tew, Kimberley
                      Ann Tew, Jonathan K. Yioulos (Fields, Bryan) (Entered: 12/18/2023)
   12/19/2023   353   NOTICE OF ATTORNEY APPEARANCE Sarah Hunter Weiss appearing for USA.
                      Attorney Sarah Hunter Weiss added to party USA(pty:pla) (Weiss, Sarah) (Entered:
                      12/19/2023)
   12/19/2023   355   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: James
                      Hearing as to Michael Aaron Tew (1), Kimberley Ann Tew (2) held on 12/19/2023 re
                      344 MOTION in Limine Regarding Exhibits Submitted as Part of James Proffer filed
                      by USA, 348 MOTION in Limine regarding post−trial release filed by Michael
                      Aaron Tew. Deferring ruling on 344 Motion in Limine as to Michael Aaron Tew (1),
                      Kimberley Ann Tew (2). Deferring ruling on 348 Motion in Limine as to Michael
                      Aaron Tew (1). James Proffer is TAKEN UNDER ADVISEMENT. Defendants shall
                      file responses to 344 Governments Motion in Limine for Ruling that Certain Exhibits
                      are Authentic and Covered by Business−Records Exception to the Hearsay Rule not
                      later than Friday, December 22, 2023. Bond is CONTINUED as to Defendants
                      Michael Aaron Tew and Kimberley Ann Tew. Court Reporter: Tammy Hoffschildt.
                      (rkeec) (Entered: 12/20/2023)
   12/19/2023   356   WITNESS LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew for James
                      Hearing held on 12/19/2023 with Clerk's notations as to date and time testified.
                      (rkeec) (Entered: 12/20/2023)
   12/19/2023   357   EXHIBIT LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew for
                      12/19/2023 James Hearing with Clerk's notations as to exhibits identified by the
                      witness. (rkeec) (Entered: 12/20/2023)
   12/20/2023   354   NOTICE OF ATTORNEY APPEARANCE: Jamie Hughes Hubbard appearing for
                      Kimberley Ann TewAttorney Jamie Hughes Hubbard added to party Kimberley Ann
                      Tew(pty:dft) (Hubbard, Jamie) (Entered: 12/20/2023)
   12/20/2023   358   ORDER GRANTING 352 Motion to Travel as to Michael Aaron Tew. Michael and
                      Kimberley Tew may travel out of state from on or about December 22 through
                      January 3 as requested so long as Mr. Tew provides completed travel itineraries to
                      the Probation Department once those travel plans are finalized. SO ORDERED by
                      Judge Daniel D. Domenico on 12/20/2023. Text Only Entry (dddlc3, ) (Entered:
                      12/20/2023)
   12/22/2023   360   RESPONSE to Motion by Kimberley Ann Tew re 344 MOTION in Limine
                      Regarding Exhibits Submitted as Part of James Proffer (Kaplan, David) (Entered:
                      12/22/2023)
   12/29/2023   361   ORDER REGARDING ADMISSIBILITY OF RULE 801(d)(2)(E) STATEMENTS
                      as to Michael Aaron Tew (1), Kimberley Ann Tew (2). SO ORDERED by Judge
                      Daniel D. Domenico on 12/29/23. (rkeec) (Entered: 12/29/2023)
   01/08/2024   362

                                                                                                              1311
                                                                                                                27
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    28 of 49                        pg
                                 1314 of 1354



                      NOTICE OF ATTORNEY APPEARANCE: Lisa Marie Saccomano appearing for
                      Movant Atlantic Union Bank. (cmadr, ) (Entered: 01/09/2024)
   01/09/2024   363   MOTION to Quash Subpoena by Atlantic Union Bank as to Michael Aaron Tew,
                      Kimberley Ann Tew, Jonathan K. Yioulos. (Attachments: # 1 Exhibit 1, # 2 Exhibit
                      2, # 3 Exhibit 3)(Saccomano, Lisa) (Entered: 01/09/2024)
   01/18/2024   366   RESPONSE to Motion by USA as to Michael Aaron Tew, Kimberley Ann Tew re
                      363 MOTION to Quash Subpoena (Weiss, Sarah) (Entered: 01/18/2024)
   01/19/2024   367   ORDER granting in part and denying in part as outlined in the order 344 Motion in
                      Limine as to Michael Aaron Tew (1), Kimberley Ann Tew (2). Denying as moot 363
                      Motion to Quash as to Michael Aaron Tew (1), Kimberley Ann Tew (2). SO
                      ORDERED by Judge Daniel D. Domenico on 1/19/2024. (rkeec) (Entered:
                      01/19/2024)
   01/22/2024   369   Unopposed MOTION for Order to Produce Trial Exhibits via Electronic Means by
                      USA as to Michael Aaron Tew, Kimberley Ann Tew. (Attachments: # 1 Proposed
                      Order (PDF Only))(Fields, Bryan) (Entered: 01/22/2024)
   01/24/2024   371   CLERK'S NOTE: ORIGINAL GOVERNMENT EXHIBITS for the 355 MINUTE
                      ENTRY for James Hearing as to Michael Aaron Tew, Kimberley Ann Tew were
                      returned to the Government on January 24, 2024. Text only entry. (rkeec) (Entered:
                      01/24/2024)
   01/24/2024   372   ORDER as to Michael Aaron Tew re 370 Motion in limine regarding proffer
                      statements. The government must file a response to Mr. Tew's motion at or before
                      5:00 pm on Friday, January 26, 2024. SO ORDERED by Judge Daniel D. Domenico
                      on 1/24/2024. Text Only Entry (dddlc3, ) (Entered: 01/24/2024)
   01/24/2024   373   MOTION in Limine re Admissibility of Proffer Statements by Kimberley Ann Tew.
                      (Attachments: # 1 Exhibit A)(Kaplan, David) (Entered: 01/24/2024)
   01/24/2024   374   MOTION to Continue Trial and Motion for Ends of Justice Continuance of 90 Days
                      by Kimberley Ann Tew. (Kaplan, David) (Entered: 01/24/2024)
   01/24/2024   375   Proposed Verdict Form as to Michael Aaron Tew, Kimberley Ann Tew
                      (Attachments: # 1 Proposed Document Parties' Proposed Verdict Form)(Weiss,
                      Sarah) (Entered: 01/24/2024)
   01/24/2024   376   TRIAL BRIEF by Kimberley Ann Tew (Attachments: # 1 Exhibit A, # 2 Exhibit
                      B)(Kaplan, David) (Entered: 01/24/2024)
   01/24/2024   378   NOTICE of Certifications of Authentic, Non−Hearsay Business Records by USA as
                      to Michael Aaron Tew, Kimberley Ann Tew (Attachments: # 1 Exhibit, # 2
                      Exhibit)(Weiss, Sarah) (Entered: 01/24/2024)
   01/24/2024   379   TRIAL BRIEF by USA as to Michael Aaron Tew, Kimberley Ann Tew (Weiss,
                      Sarah) (Entered: 01/24/2024)
   01/25/2024   380   Proposed Jury Instructions (Joint) by USA as to Michael Aaron Tew, Kimberley Ann
                      Tew (Weiss, Sarah) (Entered: 01/25/2024)
   01/25/2024   381   ORDER re Kimberley Tew's 373 Motion in Limine and 374 Motion to Continue
                      Trial. The government must provide responses to these two motions at or before
                      11:59 pm on Friday, January 26, 2024. The government's response deadline for Mr.
                      Tew's 370 Motion in Limine is also extended to 11:59 pm on Friday, January 26,

                                                                                                           1312
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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    29 of 49                          pg
                                 1315 of 1354



                      2024. SO ORDERED by Judge Daniel D. Domenico on 1/25/2024. Text Only Entry
                      (dddlc3, ) (Entered: 01/25/2024)
   01/25/2024   382   ORDER GRANTING 369 Unopposed Motion to Produce Trial Exhibits Via
                      Electronic Means. The government must provide one original paper set of its
                      proposed exhibits for use at the upcoming trial. The government must provide
                      electronic copies of those exhibits to defense counsel on or before January 26, 2024.

                      The government must also provide three electronic copies (e.g., via three thumb
                      drives) of its proposed exhibits to the court on or before January 26, 2024. SO
                      ORDERED by Judge Daniel D. Domenico on 1/25/2024. Text Only Entry (dddlc3, )
                      (Entered: 01/25/2024)
   01/25/2024   383   EXHIBIT LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew, Jonathan K.
                      Yioulos (Attachments: # 1 Exhibit List)(Fields, Bryan) (Entered: 01/25/2024)
   01/25/2024   384   WITNESS LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew, Jonathan
                      K. Yioulos (Attachments: # 1 Witness List)(Fields, Bryan) (Entered: 01/25/2024)
   01/25/2024   386   EXHIBIT LIST (Amended) by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      (Attachments: # 1 Amended Exhibit List)(Fields, Bryan) (Entered: 01/25/2024)
   01/25/2024   387   EXHIBIT LIST by Kimberley Ann Tew (Attachments: # 1 Proposed Document
                      Proposed Exhibit List)(Hubbard, Jamie) (Entered: 01/25/2024)
   01/25/2024   388   WITNESS LIST by Kimberley Ann Tew (Attachments: # 1 Proposed Document
                      Proposed Witness List)(Hubbard, Jamie) (Entered: 01/25/2024)
   01/26/2024   389   Proposed Voir Dire by Kimberley Ann Tew (Hubbard, Jamie) (Entered: 01/26/2024)
   01/26/2024   390   Proposed Voir Dire by USA as to Michael Aaron Tew, Kimberley Ann Tew (Weiss,
                      Sarah) (Entered: 01/26/2024)
   01/26/2024   391   RESPONSE in Opposition by USA as to Kimberley Ann Tew re 374 MOTION to
                      Continue Trial and Motion for Ends of Justice Continuance of 90 Days (Fields,
                      Bryan) (Entered: 01/26/2024)
   01/26/2024   393   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 373 MOTION in Limine re Admissibility of Proffer Statements and 370 Defendant
                      Michael Tew's Motion in Limine (Weiss, Sarah) (Entered: 01/26/2024)
   01/27/2024   394   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew, Kimberley Ann
                      Tew. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit)(Weiss, Sarah) (Entered:
                      01/27/2024)
   01/27/2024   395   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew, Kimberley Ann
                      Tew. (Weiss, Sarah) (Entered: 01/27/2024)
   01/27/2024   396   MOTION for Leave to Restrict by USA as to Michael Aaron Tew, Kimberley Ann
                      Tew. (Attachments: # 1 Proposed Order (PDF Only))(Weiss, Sarah) (Entered:
                      01/27/2024)
   01/29/2024   397   MOTION for Leave to File Reply in Support of Motion in Limine by Kimberley Ann
                      Tew. (Hubbard, Jamie) (Entered: 01/29/2024)
   01/29/2024   398   BRIEF in Support by Kimberley Ann Tew to 373 MOTION in Limine re
                      Admissibility of Proffer Statements (Reply) (Hubbard, Jamie) (Entered: 01/29/2024)


                                                                                                           1313
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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    30 of 49                       pg
                                 1316 of 1354



   01/29/2024   399   MOTION to Exclude Testimony Regarding the Reasons for Michael Tew's
                      Termination from NAC as Proposed in the Government's Trial Brief (ECF 379) by
                      Kimberley Ann Tew. (Kaplan, David) (Entered: 01/29/2024)
   01/29/2024   401   BAIL STATUS REPORT 107 as to Kimberley Ann Tew. (lgiac) (Entered:
                      01/29/2024)
   01/30/2024   403   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Trial
                      Preparation Conference as to Michael Aaron Tew (1), Kimberley Ann Tew (2) held
                      on 1/30/2024. Taking under advisement 374 Defendant Kimberly Ann Tews Motion
                      to Continue Trial and Motion for Ends of Justice Continuance of 90 Days. Taking
                      under advisement 370 Motion in Limine as to Michael Aaron Tew (1). Taking under
                      advisement 373 Motion in Limine as to Kimberley Ann Tew (2). Taking under
                      advisement 399 Motion to Exclude as to Kimberley Ann Tew (2); re 370 MOTION
                      in Limine regarding proffer agreements filed by Michael Aaron Tew, 373 MOTION
                      in Limine re Admissibility of Proffer Statements filed by Kimberley Ann Tew, 399
                      MOTION to Exclude Testimony Regarding the Reasons for Michael Tew's
                      Termination from NAC as Proposed in the Government's Trial Brief (ECF 379) filed
                      by Kimberley Ann Tew. Bond is CONTINUED as to Defendants Michael Aaron
                      Tew and Kimberly Ann Tew. Court Reporter: Tammy Hoffschildt. (rkeec) (Entered:
                      01/31/2024)
   01/31/2024   402   ORDER Denying 374 Motion to Continue as to Kimberley Ann Tew (2) by Judge
                      Daniel D. Domenico on 31 January 2024. The trial will proceed on February 5, 2024,
                      as scheduled. (cmadr, ) Modified to correct entry on 1/31/2024 (cmadr, ). (Entered:
                      01/31/2024)
   02/01/2024   404   ORDER REGARDING MOTIONS IN LIMINE AND PRE−TRIAL ISSUES as to
                      Michael Aaron Tew (1) and Kimberley Ann Tew (2) by Judge Daniel D. Domenico
                      on 1 February 2024. Defendants' motions, Docs. 370 and 373 , are GRANTED IN
                      PART and DENIED IN PART as outlined herein. Ms. Tew's motion, Doc. 399 , is
                      therefore DENIED. (cmadr, ) (Entered: 02/01/2024)
   02/02/2024   405   Unopposed MOTION for Order To Obtain Testimony Via Live Contemporaneous
                      Video Conference by USA as to Michael Aaron Tew, Kimberley Ann Tew. (Fields,
                      Bryan) (Entered: 02/02/2024)
   02/02/2024   406   Order GRANTING 405 Unopposed Motion to Obtain Testimony Via Live
                      Contemporaneous Video Conference. The government is cautioned, however, that it
                      bears the risk of any technology malfunctions, whether on the Court's end or the
                      witness's end. SO ORDERED by Judge Daniel D. Domenico on 2/2/2024. Text Only
                      Entry (dddlc3, ) (Entered: 02/02/2024)
   02/02/2024   407   WITNESS LIST (Final Witness List) by USA as to Michael Aaron Tew, Kimberley
                      Ann Tew (Attachments: # 1 Final Witness List)(Fields, Bryan) (Entered: 02/02/2024)
   02/02/2024   408   EXHIBIT LIST Final Exhibit List by USA as to Michael Aaron Tew, Kimberley Ann
                      Tew (Attachments: # 1 Exhibit)(Weiss, Sarah) (Entered: 02/02/2024)
   02/04/2024   409   MOTION for Order for Finding that Ms. Tew's Waiver of Right to Confront and
                      Cross−Examine Witnesses was Not Knowing or, in the Alternative, Request for
                      Hearing by Kimberley Ann Tew. (Hubbard, Jamie) (Entered: 02/04/2024)
   02/04/2024   411   NOTICE of Submission of Alternative Version of Charges for Juror Notebooks by
                      Kimberley Ann Tew (Attachments: # 1 Attachment)(Hubbard, Jamie) (Entered:


                                                                                                        1314
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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    31 of 49                         pg
                                 1317 of 1354



                      02/04/2024)
   02/04/2024   412   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 409 MOTION for Order for Finding that Ms. Tew's Waiver of Right to Confront
                      and Cross−Examine Witnesses was Not Knowing or, in the Alternative, Request for
                      Hearing, 410 MOTION for Reconsideration re 404 Order on Motion in Limine,,
                      Order on Motion to Exclude,,, (Fields, Bryan) (Entered: 02/04/2024)
   02/05/2024   413   EXHIBIT LIST by Kimberley Ann Tew (Hubbard, Jamie) (Entered: 02/05/2024)
   02/05/2024   414   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 1) held on 2/5/2024 as to Michael Aaron Tew (1), Kimberley Ann Tew (2).
                      Denying 410 Motion for Reconsideration re 410 MOTION for Reconsideration re
                      404 Order on Motion in Limine,, Order on Motion to Exclude,,, filed by Michael
                      Aaron Tew, 409 MOTION for Order for Finding that Ms. Tew's Waiver of Right to
                      Confront and Cross−Examine Witnesses was Not Knowing or, in the Alternative,
                      Request for Hearing filed by Kimberley Ann Tew as to Michael Aaron Tew (1).
                      Denying 409 Motion for Order as to Kimberley Ann Tew (2). Bond continued as to
                      both defendants. Court Reporter: Tammy Hoffschildt. (rkeec) (Entered: 02/06/2024)
   02/05/2024   415   Jury Strike Sheet − Unredacted − Restricted Doc. − Level 4 (rkeec) (Entered:
                      02/06/2024)
   02/05/2024   416   Jury Strike Sheet with juror names redacted as to Michael Aaron Tew, Kimberley
                      Ann Tew. (rkeec) (Entered: 02/06/2024)
   02/05/2024   417   Jury Random List − Unredacted − Restricted Doc. − Level 4 (rkeec) (Entered:
                      02/06/2024)
   02/06/2024   418   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 2) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/6/2024. Defendant
                      Kimberley Ann Tews oral motion for severance is TAKEN UNDER
                      ADVISEMENT. Bond is continued as to both defendants. Court Reporter: Tammy
                      Hoffschildt. (rkeec) (Entered: 02/07/2024)
   02/07/2024   419   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 3) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/7/2024. Bond is
                      continued as to both defendants. Court Reporter: Tammy Hoffschildt. (rkeec)
                      (Entered: 02/08/2024)
   02/08/2024   421   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 4) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/8/2024. Bond
                      continued as to both defendants. Court Reporter: Tammy Hoffschildt. (rkeec)
                      (Entered: 02/09/2024)
   02/09/2024   423   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 5) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/9/2024. Defendant
                      Kimberley Ann Tews oral motion for mistrial is DENIED. Bond continued as to both
                      defendants. Court Reporter: Tammy Hoffschildt. (rkeec) (Entered: 02/12/2024)
   02/12/2024   425   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 6) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/12/2024. 420
                      Defendant Michael Tews Renewed Motion for Severance is DENIED. Bond is
                      continued as to both defendants. Court Reporter: Tammy Hoffschildt. (rkeec)
                      (Entered: 02/13/2024)


                                                                                                          1315
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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    32 of 49                           pg
                                 1318 of 1354



   02/13/2024   426   MINUTE ORDER as to Michael Aaron Tew, Kimberley Ann Tew. The Clerk of
                      Court shall provide lunch to the jury for the duration of their deliberations
                      commencing on Wednesday, February 14, 2024. SO ORDERED by Judge Daniel D.
                      Domenico on 2/13/2024. (rkeec) (Entered: 02/13/2024)
   02/13/2024   427   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 7) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/13/2024. Bond
                      continued as to both defendants. Court Reporter: Tammy Hoffschildt. (rkeec)
                      (Entered: 02/14/2024)
   02/14/2024   428   AMENDED MINUTE ORDER as to Michael Aaron Tew, Kimberley Ann Tew. The
                      Clerk of Court shall provide lunch to the jury, including the alternate juror, for the
                      duration of their deliberations commencing on Wednesday, February 14, 2024. SO
                      ORDERED by Judge Daniel D. Domenico on 2/14/2024. (rkeec) (Entered:
                      02/14/2024)
   02/14/2024   430   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 8) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/14/2024.
                      Defendant Kimberley Ann Tews oral motion for mistrial is DENIED. Defendant
                      Kimberley Ann Tews oral Rule 29 motion is DENIED. Defendant Kimberley Ann
                      Tews oral motion for severance is DENIED. Defendant Michael Aaron Tews oral
                      Rule 29 motion is DENIED. Defendant Michael Aaron Tews oral motion for
                      severance is DENIED. Bond continued as to both defendants. Court Reporter:
                      Tammy Hoffschildt. (rkeec) (Entered: 02/15/2024)
   02/14/2024   431   Jury Note with juror name − Unredacted − Restricted Doc. − Level 4 (rkeec)
                      (Entered: 02/15/2024)
   02/14/2024   432   Jury Note with juror name redacted as to Michael Aaron Tew, Kimberley Ann Tew.
                      (rkeec) (Entered: 02/15/2024)
   02/14/2024   433   WITNESS LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew with dates
                      and times testified. (rkeec) (Entered: 02/15/2024)
   02/14/2024   434   WITNESS LIST by Kimberley Ann Tew as to Michael Aaron Tew, Kimberley Ann
                      Tew. (rkeec) (Entered: 02/15/2024)
   02/14/2024   435   EXHIBIT LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew indicating
                      admitted exhibits. (rkeec) (Entered: 02/15/2024)
   02/14/2024   436   EXHIBIT LIST by Michael Aaron Tew, Kimberley Ann Tew indicating admitted
                      exhibits. (rkeec) (Entered: 02/15/2024)
   02/15/2024   429   ORDER as to Michael Aaron Tew, Kimberley Ann Tew. SO ORDERED by Judge
                      Daniel D. Domenico on 2/15/2024. (rkeec) (Entered: 02/15/2024)
   02/15/2024   438   Final Jury Instructions as to Michael Aaron Tew, Kimberley Ann Tew as read into
                      the record on 2/14/2024. (rkeec) (Entered: 02/16/2024)
   02/15/2024   439   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 9) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/15/2024. Jury
                      Verdict as to Michael Aaron Tew (1) Guilty on Count
                      1,1s,2,2s−40s,3,41s,42s,44s−56s,57s−60s and Kimberley Ann Tew (2) Guilty on
                      Count 1,21−22,25−26,31−32,41,43−44,47,56. Bond is continued as to both
                      defendants. Court Reporter: Tammy Hoffschildt. (rkeec) Modified on 2/16/2024 to
                      correct as to Count 48 (rkeec). (Entered: 02/16/2024)


                                                                                                            1316
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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    33 of 49                           pg
                                 1319 of 1354



   02/15/2024   440   Jury Note 1 (Question) − Unredacted − Restricted Doc. − Level 4. (rkeec) (Entered:
                      02/16/2024)
   02/15/2024   441   Jury Note 2 (Question) − Unredacted − Restricted Doc. − Level 4. (rkeec) (Entered:
                      02/16/2024)
   02/15/2024   442   Jury Note 3 (Verdict) − Unredacted − Restricted Doc. − Level 4. (rkeec) (Entered:
                      02/16/2024)
   02/15/2024   443   Jury Note 1 (Question) with juror name redacted as to Michael Aaron Tew,
                      Kimberley Ann Tew. (rkeec) (Entered: 02/16/2024)
   02/15/2024   444   Jury Note 2 (Question) with juror name redacted as to Michael Aaron Tew,
                      Kimberley Ann Tew. (rkeec) (Entered: 02/16/2024)
   02/15/2024   445   Jury Note 3 (Verdict) with juror name redacted as to Michael Aaron Tew, Kimberley
                      Ann Tew. (rkeec) Modified on 2/16/2024 (rkeec, ). (Entered: 02/16/2024)
   02/15/2024   446   Court Response to Jury Notes 1 and 2 (Questions) as to Michael Aaron Tew,
                      Kimberley Ann Tew. (rkeec) (Entered: 02/16/2024)
   02/15/2024   447   Jury Verdict Un−Redacted − Level 4 − Viewable by Court Only. (rkeec) (Entered:
                      02/16/2024)
   02/15/2024   448   JURY VERDICT with juror name redacted as to Michael Aaron Tew, Kimberley
                      Ann Tew. (rkeec) (Entered: 02/16/2024)
   02/15/2024   449   STIPULATION AND ORDER REGARDING CUSTODY OF EXHIBITS AND
                      DEPOSITIONS as to Michael Aaron Tew, Kimberley Ann Tew. SO ORDERED by
                      Judge Daniel D. Domenico on 2/15/2024. (rkeec) (Entered: 02/16/2024)
   02/21/2024   450   MOTION to Detain Defendants Michael Tew & Kimberley Tew Pending Sentencing
                      by USA as to Michael Aaron Tew, Kimberley Ann Tew. (Attachments: # 1
                      Exhibit)(Weiss, Sarah) (Entered: 02/21/2024)
   02/21/2024   451   ORDER as to Michael Aaron Tew, Kimberley Ann Tew re 450 MOTION to Detain
                      Defendants Michael Tew & Kimberley Tew Pending Sentencing filed by USA.

                      Mr. Tew and Mrs. Tew must each file responses to the government's 450 Motion to
                      Detain on or before February 27, 2024. SO ORDERED by Judge Daniel D.
                      Domenico on 2/21/2024. Text Only Entry (dddlc3, ) (Entered: 02/21/2024)
   02/27/2024   454   RESPONSE to Motion by Kimberley Ann Tew re 450 MOTION to Detain
                      Defendants Michael Tew & Kimberley Tew Pending Sentencing (Kaplan, David)
                      (Entered: 02/27/2024)
   03/12/2024   455   ORDER re 450 Motion to Detain Defendants Michael and Kimberley Tew. The
                      government's motion questions whether Mr. and Mrs. Tew are still eligible for
                      CJA−appointed counsel for this case. There is sufficient evidence to call into
                      question their present eligibility under 18 U.S.C. § 3006A(c).

                      The issue of whether Michael Tew and Kimberley Tew remain entitled to ongoing
                      court−appointed counsel under Section 3006A(c) is therefore REFERRED to
                      Magistrate Judge Susan Prose. All other issues raised in the government's motion,
                      including the potential detention of Mr. and Mrs. Tew pending sentencing or the
                      potential un−sealing of any prior CJA affidavits, will be addressed at a detention


                                                                                                            1317
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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    34 of 49                           pg
                                 1320 of 1354



                      hearing before this Court as outlined below.

                      It is therefore ORDERED that a Hearing on the 450 Government's Motion is SET for
                      April 22, 2024 at 10:30 AM in Courtroom A1002 before Judge Daniel D. Domenico.
                      SO ORDERED by Judge Daniel D. Domenico on 3/12/2024. Text Only Entry
                      (dddlc3, ) (Entered: 03/12/2024)
   03/12/2024   457   ORDER as to Kimberley Ann Tew. A Sentencing Hearing as to Kimberley Tew is
                      SET for August 8, 2024 at 1:30 PM in Courtroom A1002 before Judge Daniel D.
                      Domenico. SO ORDERED by Judge Daniel D. Domenico on 3/12/2024. Text Only
                      Entry (dddlc3, ) (Entered: 03/12/2024)
   03/14/2024   459   SENTENCING STATEMENT by USA as to Kimberley Ann Tew (Attachments: # 1
                      Exhibit, # 2 Exhibit)(Fields, Bryan) (Entered: 03/14/2024)
   03/15/2024   460   ORDER SETTING STATUS CONFERENCE as to Michael Aaron Tew, Kimberley
                      Ann Tew by Magistrate Judge Susan Prose on 3/15/2024. A 30−minute in−person
                      Status Conference is hereby set for 3/18/2024, at 4:00 PM in Courtroom C205 before
                      Magistrate Judge Susan Prose. The parties shall be prepared to discuss Defendant
                      Michael Tew's request for "an ex parte hearing... to determine whether Mr. Tew 'is
                      financially able to obtain counsel or to make partial payment for the representation'
                      pursuant to 18 U.S.C. § 3006A(c)." See ECF No. 453 at 3. Text Only Entry. (trvo, )
                      (Entered: 03/15/2024)
   03/18/2024   461   MINUTE ORDER as to Michael Aaron Tew, Kimberley Ann Tew by Magistrate
                      Judge Susan Prose on 3/18/2024. At the request of the parties, the Status Conference
                      is RESET for 3/21/2024, at 04:00 PM in Courtroom C205 before Magistrate Judge
                      Susan Prose. Text Only Entry. (trvo, ) (Entered: 03/18/2024)
   03/21/2024   462   MINUTE ENTRY for Status Conference as to Michael Aaron Tew and Kimberley
                      Ann Tew held before Magistrate Judge Susan Prose on 3/21/2024. Discussion
                      regarding issue referred to this court (see ECF No. 455). An ex parte hearing to
                      determine Michael Tew's entitlement to ongoing court−appointed counsel under 18
                      U.S.C. § 3006A(c) is SET for March 28, 2024, at 1:30 p.m. in Courtroom C205
                      before Magistrate Judge Susan Prose. Any documents to be submitted in connection
                      with this hearing shall be sent directly to Chambers, as discussed on the record, on or
                      before 10:00 a.m. March 27, 2024. An ex parte hearing to determine Kimberley Ann
                      Tew's entitlement to ongoing court−appointed counsel under 18 U.S.C. § 3006A(c) is
                      SET for April 15, 2024, at 1:30 p.m. in Courtroom C205 before Magistrate Judge
                      Susan Prose. Any documents to be submitted in connection with this hearing shall be
                      sent directly to Chambers, as discussed on the record, on or before 12:00 p.m. April
                      10, 2024. Hearing concluded. FTR: C205. (Total time: 1 hour and 8 minutes, Hearing
                      time: 3:57 p.m. − 5:05 p.m.) Text Only Entry.

                      APPEARANCES: Bryan David Fields and Sarah Hunter Weiss on behalf of the
                      Government, Jason Dale Schall and Kristen M. Frost on behalf of Defendant Michael
                      Aaron Tew and David Scott Kaplan on behalf of Defendant Kimberly Ann Tew.
                      (trvo, ) (Entered: 03/22/2024)
   03/21/2024   464   Utility Setting/Resetting Deadlines/Hearings as to Kimberley Ann Tew: Ex Parte In
                      Court Hearing set for 4/15/2024, at 01:30 PM in Courtroom C205 before Magistrate
                      Judge Susan Prose. Text Only Entry (trvo, ) (Entered: 03/22/2024)
   03/27/2024   466


                                                                                                            1318
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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    35 of 49                            pg
                                 1321 of 1354



                      RESTRICTED DOCUMENT LEVEL 3 − Conventionally Submitted Material: 1
                      Flash Drive re 462 Status Conference, by Plaintiff USA. Location: 1st Floor Area,
                      Box D−5−9. Text Only Entry. (sphil, ) Modified on 4/15/2024 to add restriction
                      (trvo, ). (Entered: 03/27/2024)
   04/01/2024   469   ORDER GRANTING 397 Motion for Leave to File Reply as to Kimberley Ann Tew.
                      By Judge Daniel D. Domenico on 4/1/2024. Text Only Entry (dddlc1, ) (Entered:
                      04/01/2024)
   04/01/2024   470   ORDER GRANTING 396 Motion for Leave to Restrict. The Clerk of Court is
                      directed to maintain Docs. 394 and 395 at Level 2 restriction. SO ORDERED by
                      Judge Daniel D. Domenico on 4/1/2024. Text Only Entry (dddlc1, ) (Entered:
                      04/01/2024)
   04/10/2024   472   STATEMENT by Government Regarding Kimberley Tew's Eligibility for
                      CJA−Funded Counsel Going Forward by Plaintiff USA (Weiss, Sarah) (Entered:
                      04/10/2024)
   04/15/2024   473   RESTRICTED DOCUMENT LEVEL 3 − Conventionally Submitted Material: 1
                      USB Drive re 462 Status Conference, by Defendant Kimberley Ann Tew. Location:
                      1st Floor Area, Box D−5−9. Text Only Entry (trvo, ) Modified on 4/15/2024 to add
                      restriction (trvo, ). (Entered: 04/15/2024)
   04/15/2024   474   MINUTE ENTRY for Ex Parte Hearing as to Kimberley Ann Tew held before
                      Magistrate Judge Susan Prose on 4/15/2024. The Court finds that Defendant
                      Kimberley Ann Tew remains eligible for court−appointed counsel. A separate public
                      written order will be issued. FTR: C205. (trvo, ) (Entered: 04/16/2024)
   04/16/2024   475   Unopposed MOTION for Order Requiring the Parties to File Visual Presentations
                      into the Record by Kimberley Ann Tew. (Hubbard, Jamie) (Entered: 04/16/2024)
   04/16/2024   476   ORDER granting 475 Motion for Order Requiring the Parties to File Visual
                      Presentations into the Record. The parties are ordered to file all visual presentations
                      used during opening statements and closing arguments into the record. SO
                      ORDERED by Judge Daniel D. Domenico on 4/16/2024. Text Only Entry (dddlc9, )
                      (Entered: 04/16/2024)
   04/18/2024   477   NOTICE OF CONVENTIONAL SUBMISSION re 476 Order on Motion for Order, by
                      USA as to Michael Aaron Tew, Kimberley Ann Tew (Fields, Bryan) (Entered:
                      04/18/2024)
   04/18/2024   479   Conventionally Submitted Material : USB exhibits to 477 NOTICE OF
                      CONVENTIONAL SUBMISSION re 476 Order on Motion for Order, by Plaintiff
                      USA − Material placed in the oversized area D−5−9 of the Clerk's Office. Text Only
                      Entry (angar, ) (Entered: 04/19/2024)
   04/19/2024   478   ORDER REGARDING DEFENDANT KIMBERLEY ANN TEW'S ELIGIBILITY
                      FOR ONGOING COURT−APPOINTED COUNSEL by Magistrate Judge Susan
                      Prose on 4/19/2024. (trvo, ) (Entered: 04/19/2024)
   04/21/2024   480   MOTION for Leave to Restrict by Kimberley Ann Tew. (Hubbard, Jamie) (Entered:
                      04/21/2024)
   04/21/2024   481   RESTRICTED DOCUMENT − Level 1: by Kimberley Ann Tew. (Hubbard, Jamie)
                      (Entered: 04/21/2024)



                                                                                                             1319
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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    36 of 49                          pg
                                 1322 of 1354



   04/21/2024   482   RESTRICTED DOCUMENT − Level 1: by Kimberley Ann Tew. (Hubbard, Jamie)
                      (Entered: 04/21/2024)
   04/22/2024   483   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico:
                      Evidentiary Hearing as to Michael Aaron Tew, Kimberley Ann Tew held on
                      4/22/2024 re 450 MOTION to Detain Defendants Michael Tew & Kimberley Tew
                      Pending Sentencing filed by USA. 450 Motion to Detain as to Michael Aaron Tew
                      (1), Kimberley Ann Tew (2) is DENIED, but the Court will impose additional
                      conditions of bond. Court indicates that a written order shall follow. Bond is
                      continued as to Michael Aaron Tew and Kimberley Ann Tew. Court Reporter:
                      Tammy Hoffschildt. (Attachments: # 1 Government's witness list, # 2 Government's
                      exhibit list) (rkeec) (Entered: 04/22/2024)
   04/23/2024   484   NOTICE of Filing of Visual Presentation by Kimberley Ann Tew (Attachments: # 1
                      PowerPoint Closing Statement)(Hubbard, Jamie) (Entered: 04/23/2024)
   04/25/2024   489   ORDER modifying conditions of release as to Michael Aaron Tew and Kimberley
                      Ann Tew. The following conditions are added to those already in effect:

                      1. Defendants shall disclose a complete list of all bank accounts and peer−to−peer
                      financial services accounts to which they have access no later than April 30, 2024.
                      Defendants shall further provide a statement for each of these accounts to their
                      supervising officer no later than the 5th of each following month, starting on May
                      5th, 2024.

                      2. Defendants shall refrain from gambling of any kind, purchasing over $50 of gift
                      cards in a given day, and engaging in any cryptocurrency transaction without the
                      prior approval of the supervising officer.

                      3.The supervising officer may, in his discretion, share any information provided to
                      him by Defendants pursuant to these conditions with the government.

                      SO ORDERED by Judge Daniel D. Domenico on 4/25/2024. Text Only Entry
                      (dddlc9, ) (Entered: 04/25/2024)
   04/25/2024   491   ORDER granting 480 Motion for Leave to Restrict. The Clerk of Court is directed to
                      maintain Doc. 482 at Level 1 restriction. SO ORDERED by Judge Daniel D.
                      Domenico on 4/25/2024. Text Only Entry (dddlc9, ) (Entered: 04/25/2024)
   04/26/2024   492   NOTICE OF ATTORNEY APPEARANCE Martha Ann Paluch appearing for USA.
                      Attorney Martha Ann Paluch added to party USA(pty:pla) (Paluch, Martha) (Entered:
                      04/26/2024)
   04/26/2024   493   RESTRICTED DOCUMENT − Level 3: by USA as to Kimberley Ann Tew (Paluch,
                      Martha) (Entered: 04/26/2024)
   04/26/2024   494   RESTRICTED DOCUMENT − Level 1: by USA as to Kimberley Ann Tew (Paluch,
                      Martha) (Entered: 04/26/2024)
   04/26/2024   495   MOTION for Leave to Restrict by USA as to Kimberley Ann Tew. (Attachments: # 1
                      Proposed Order (PDF Only))(Paluch, Martha) (Entered: 04/26/2024)
   04/26/2024   500   ORDER Updating Conditions of Release as to Kimberley Ann Tew (2) $10,000
                      Unsecured. SO ORDERED by Judge Daniel D. Domenico on 4/26/2024. (rkeec)
                      (Entered: 05/01/2024)


                                                                                                            1320
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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    37 of 49                           pg
                                 1323 of 1354



   04/30/2024   498   ORDER granting 495 Motion for Leave to Restrict. The Clerk of Court is directed to
                      maintain Doc. 493 at Level 3 restriction and to maintain Doc. 494 at Level 1
                      restriction. SO ORDERED by Judge Daniel D. Domenico on 4/30/2024. Text Only
                      Entry (dddlc9, ) (Entered: 04/30/2024)
   05/08/2024   501   ORDER denying 482 RESTRICTED DOCUMENT − Level 1: by Kimberley Ann
                      Tew. Having reviewed the pleadings on this issue and considered the relevant facts,
                      the motion is denied. SO ORDERED by Judge Daniel D. Domenico on 5/8/2024.
                      Text Only Entry (dddlc9, ) (Entered: 05/08/2024)
   07/02/2024   504   RESTRICTED PRESENTENCE REPORT first disclosure for attorney review as to
                      Kimberley Ann Tew (Attachments: # 1 Exhibit A)(aarag, ) (Entered: 07/02/2024)
   07/15/2024   506   Unopposed MOTION for Extension of Time to File Objections to Presentence
                      Investigation Report by Kimberley Ann Tew. (Attachments: # 1 Proposed Order
                      (PDF Only) Proposed Order re: Motion for Extension of Time to Submit Objection to
                      Presentence Investigation Report)(Kaplan, David) (Entered: 07/15/2024)
   07/17/2024   507   ORDER granting 506 Motion for Extension of Time. Ms. Tew may file objections to
                      the PSIR on or before July 19, 2024. SO ORDERED by Judge Daniel D. Domenico
                      on 7/17/2024. Text Only Entry (dddlc9, ) (Entered: 07/17/2024)
   07/19/2024   508   OBJECTION/RESPONSE to Presentence Report by Kimberley Ann Tew
                      (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2, # 3 Exhibit Exhibit 3, # 4
                      Exhibit Exhibit 3a, # 5 Exhibit Exhibit 4, # 6 Exhibit Exhibit 5, # 7 Exhibit Exhibit 6,
                      # 8 Exhibit Exhibit 6a, # 9 Exhibit Exhibit 7, # 10 Exhibit Exhibit 7a)(Kaplan, David)
                      (Entered: 07/19/2024)
   07/19/2024   510   Conventionally Submitted Material : 1 Flash Drive re Objection/Response to
                      Presentence Report, 508 by Defendant Kimberley Ann Tew. Location of Stored
                      Items: Box D−5−5. Text Only Entry (cmadr, ) (Entered: 07/23/2024)
   07/22/2024   509   Unopposed MOTION for Leave to Restrict by Kimberley Ann Tew. (Attachments: #
                      1 Proposed Order (PDF Only) PO re Unopposed Motion to Restrict)(Kaplan, David)
                      (Entered: 07/22/2024)
   07/24/2024   511   ORDER granting 509 Motion for Leave to Restrict. The Clerk of Court is directed to
                      maintain Doc. 508 at Level 2 restriction. SO ORDERED by Judge Daniel D.
                      Domenico on 7/24/2024. Text Only Entry (dddlc9, ) (Entered: 07/24/2024)
   07/25/2024   512   NOTICE OF ATTORNEY APPEARANCE Laura Beth Hurd appearing for USA.
                      Attorney Laura Beth Hurd added to party USA(pty:pla) (Hurd, Laura) (Entered:
                      07/25/2024)
   07/25/2024   513   MOTION for Forfeiture of Property for Preliminary Order of Forfeiture by USA as
                      to Kimberley Ann Tew. (Attachments: # 1 Proposed Order (PDF Only))(Hurd,
                      Laura) (Entered: 07/25/2024)
   07/25/2024   514   ORDER re 513 Motion for Preliminary Order of Forfeiture. If Ms. Tew opposes the
                      motion, she is ordered to file a response on or before August 2, 2024. SO ORDERED
                      by Judge Daniel D. Domenico on 7/25/2024. Text Only Entry (dddlc9, ) (Entered:
                      07/25/2024)
   07/25/2024   515   RESTRICTED DOCUMENT − Level 2: as to Kimberley Ann Tew. (Kaplan, David)
                      (Entered: 07/25/2024)



                                                                                                            1321
                                                                                                              37
Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    38 of 49                            pg
                                 1324 of 1354



   07/26/2024   516   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew, Kimberley Ann
                      Tew, Jonathan K. Yioulos. (Attachments: # 1 Conventionally Submitted, # 2 Exhibit,
                      # 3 Exhibit)(Weiss, Sarah) (Entered: 07/26/2024)
   07/26/2024   519   Conventionally Submitted Material : One CD re Restricted Document − Level 2 516
                      by Plaintiff USA. Location of stored items: Sealed Room. Text Only Entry (cmadr, )
                      (Entered: 07/30/2024)
   07/29/2024   517   RESTRICTED PRESENTENCE REPORT as to Kimberley Ann Tew (Attachments:
                      # 1 Exhibit A)(agalv) (Entered: 07/29/2024)
   07/29/2024   518   RESTRICTED ADDENDUM to Presentence Report 517 as to Kimberley Ann Tew
                      (agalv) (Entered: 07/29/2024)
   08/01/2024   520   RESTRICTED DOCUMENT − Level 2: as to Kimberley Ann Tew. (Weiss, Sarah)
                      (Entered: 08/01/2024)
   08/02/2024   522   RESPONSE to Motion by Kimberley Ann Tew re 513 MOTION for Forfeiture of
                      Property for Preliminary Order of Forfeiture (Kaplan, David) (Entered: 08/02/2024)
   08/05/2024   523   ORDER as to Kimberley Ann Tew re 513 Motion for Preliminary Order of
                      Forfeiture. The Court will hold a hearing regarding forfeiture starting at 1:00 PM on
                      August 8, 2024 in Courtroom A1002. Sentencing will follow immediately afterward.
                      SO ORDERED by Judge Daniel D. Domenico on 8/5/2024. Text Only Entry (dddlc9,
                      ) (Entered: 08/05/2024)
   08/06/2024   525   REPLY TO RESPONSE to Motion by USA as to Kimberley Ann Tew re 513
                      MOTION for Forfeiture of Property for Preliminary Order of Forfeiture UNITED
                      STATES REPLY TO KIMBERLEY TEWS NOTICE OF OBJECTION TO UNITED
                      STATES MOTION FOR PRELIMINARY ORDER OF FORFEITURE (ECF DOC.
                      522) (Hurd, Laura) (Entered: 08/06/2024)
   08/08/2024   527   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico:
                      Forfeiture Hearing and Sentencing as to Kimberley Ann Tew (2) held on 8/8/2024.
                      Granting 513 Motion for Forfeiture of Property as to Kimberley Ann Tew (2).
                      Granting in part 515 Defendants Motion. Defendant sentenced as reflected on the
                      record. Bond continued. Court Reporter: Tammy Hoffschildt. (rkeec) Modified on
                      8/8/2024 to include ruling on 515 Defendant's Motion. (rkeec). (Entered: 08/08/2024)
   08/13/2024   528   JUDGMENT as to defendant Kimberley Ann Tew (2), Count(s) 1, Defendant shall be
                      imprisoned for a total term of forty−eight (48) months on each count to run
                      concurrently, three (3) years supervised release on each count to run concurrently,
                      $100.00 special assessment ($1,200 total), no fine, and restitution in the total amount
                      of $5,053,878.50.; Count(s) 16, Dismissed by Court during jury trial.; Count(s)
                      21−22, Defendant shall be imprisoned for a total term of forty−eight (48) months on
                      each count to run concurrently, three (3) years supervised release on each count to
                      run concurrently, $100.00 special assessment ($1,200 total), no fine, and restitution in
                      the total amount of $5,053,878.50.; Count(s) 25−26, Defendant shall be imprisoned
                      for a total term of forty−eight (48) months on each count to run concurrently, three
                      (3) years supervised release on each count to run concurrently, $100.00 special
                      assessment ($1,200 total), no fine, and restitution in the total amount of
                      $5,053,878.50.; Count(s) 31−32, Defendant shall be imprisoned for a total term of
                      forty−eight (48) months on each count to run concurrently, three (3) years supervised
                      release on each count to run concurrently, $100.00 special assessment ($1,200 total),
                      no fine, and restitution in the total amount of $5,053,878.50.; Count(s) 41, Defendant


                                                                                                             1322
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Case Case
     No. 1:20-cr-00305-DDD
          1:20-cr-00305-DDD Document
                             Document645-2
                                      537-1 filed
                                               Filed
                                                   01/24/25
                                                     08/21/24 USDC
                                                               PageColorado
                                                                    39 of 49                           pg
                                 1325 of 1354



                      shall be imprisoned for a total term of forty−eight (48) months on each count to run
                      concurrently, three (3) years supervised release on each count to run concurrently,
                      $100.00 special assessment ($1,200 total), no fine, and restitution in the total amount
                      of $5,053,878.50.; Count(s) 43−44, Defendant shall be imprisoned for a total term of
                      forty−eight (48) months on each count to run concurrently, three (3) years supervised
                      release on each count to run concurrently, $100.00 special assessment ($1,200 total),
                      no fine, and restitution in the total amount of $5,053,878.50.; Count(s) 47, Defendant
                      shall be imprisoned for a total term of forty−eight (48) months on each count to run
                      concurrently, three (3) years supervised release on each count to run concurrently,
                      $100.00 special assessment ($1,200 total), no fine, and restitution in the total amount
                      of $5,053,878.50.; Count(s) 48, Defendant was found not guilty by jury at trial.;
                      Count(s) 56, Defendant shall be imprisoned for a total term of forty−eight (48)
                      months on each count to run concurrently, three (3) years supervised release on each
                      count to run concurrently, $100.00 special assessment ($1,200 total), no fine, and
                      restitution in the total amount of $5,053,878.50. Entered by Judge Daniel D.
                      Domenico on 8/13/2024. (rkeec) (Entered: 08/13/2024)
   08/13/2024   529   STATEMENT OF REASONS as to Kimberley Ann Tew (2). (rkeec) (Entered:
                      08/13/2024)
   08/14/2024   530   Passport Receipt as to Kimberley Ann Tew (2). Forwarding passport to Dept. of
                      State; Passport Number 522213975 issued by USA. Sent certified mail; receipt
                      number 7019 2920 0001 1984 2431. (rkeec) (Entered: 08/14/2024)
   08/20/2024   535   NOTICE OF APPEAL by Kimberley Ann Tew. (Kaplan, David) (Entered:
                      08/20/2024)




                                                                                                            1323
                                                                                                              39
Case Case
     No. Case
         1:20-cr-00305-DDD
          1:20-cr-00305-DDD
              1:20-cr-00305-DDD
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                                                      01/24/25
                                                        08/20/24
                                                        08/21/24 USDC
                                                                 Page
                                                                  Page1Colorado
                                                                        40
                                                                        of 2of 49        pg
                                  1326 of 1354




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO



  Case No. 1:20-cr-00305-DDD-2

  UNITED STATES OF AMERICA,

        Plaintiff,
  v.
  2. KIMBERLEY ANN TEW

        Defendant.

                                 NOTICE OF APPEAL

        Notice is hereby given that Defendant Kimberley Ann Tew in the above-named
 case, hereby appeals to the United States Court of Appeals for the Tenth Circuit from
 the Judgment entered in this action on the 13th day of August 2024.


       Dated: August 20, 2024.
                                            Respectfully submitted,

                                            s/ David S. Kaplan
                                            David S. Kaplan
                                            Jamie Hubbard
                                            STIMSON LABRANCHE HUBBARD, LLC
                                            1652 Downing Street
                                            Denver, CO 80218
                                            720.689.8909
                                            kaplan@slhlegal.com
                                            hubbard@slhlegal.com

                                            Attorneys for Kimberley Ann Tew




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Case Case
     No. Case
         1:20-cr-00305-DDD
          1:20-cr-00305-DDD
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                                                      01/24/25
                                                        08/20/24
                                                        08/21/24 USDC
                                                                 Page
                                                                  Page2Colorado
                                                                        41
                                                                        of 2of 49           pg
                                  1327 of 1354




                                    Certificate of Service

        I certify that on August 20, 2024, I electronically filed the foregoing Notice of
 Appeal with the Clerk of Court and all parties using the CM/ECF system.


                                                s/ Nancy Hickam
                                                Nancy Hickam, Paralegal




                                               2

                                                                                                 1325
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          Case Case
               No. Case
                   1:20-cr-00305-DDD
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                                                                  08/13/24
                                                                  08/21/24 USDC
                                                                           Page
                                                                            Page1Colorado
                                                                                  42
                                                                                  of 8of 49                                            pg
                                            1328 of 1354
AO 245B (CO Rev. 11/20)     Judgment in a Criminal Case



                                       UNITED STATES DISTRICT COURT
                                                                 District of Colorado
                                                                            )
              UNITED STATES OF AMERICA                                      )    JUDGMENT IN A CRIMINAL CASE
                                 v.                                         )
                                                                            )
                   KIMBERLEY ANN TEW                                        )    Case Number:          1:20-cr-00305-DDD-2
                    a/k/a Kimberley Vertanen                                )    USM Number:           29883-509
                                                                            )
                                                                            )    David Scott Kaplan and Jamie Hughes Hubbard
                                                                            )    Defendant’s Attorneys
THE DEFENDANT:
☐ pleaded guilty to count(s)
☐ pleaded nolo contendere to count(s)
  which was accepted by the court.
☒ was found guilty on count(s)         1, 21, 22, 25, 26, 31, 32, 41, 43, 44, 47, and 56 of the Indictment
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                               Offense Ended          Count
18 U.S.C. §§ 1349 and 1343        Conspiracy to Commit Wire Fraud                                                  07/31/2020              1
18 U.S.C. §§ 1343 and 2           Wire Fraud and Aiding and Abetting                                               10/25/2019             21
18 U.S.C. §§ 1343 and 2           Wire Fraud and Aiding and Abetting                                               11/01/2019             22
18 U.S.C. §§ 1343 and 2           Wire Fraud and Aiding and Abetting                                               12/03/2019             25
18 U.S.C. §§ 1343 and 2           Wire Fraud and Aiding and Abetting                                               12/12/2019             26
18 U.S.C. §§ 1343 and 2           Wire Fraud and Aiding and Abetting                                               03/10/2020             31

    The defendant is sentenced as provided in pages 3 through                  8            of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
☒ The defendant has been found not guilty on count(s)              48 of the Indictment.
☐ Count(s)                                                ☐ is     ☐    are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                       August 8, 2024
                                                                       Date of Imposition of Judgment




                                                                       Signature of Judge




                                                                       Daniel D. Domenico, United States District Judge
                                                                       Name and Title of Judge

                                                                                              August 13, 2024
                                                                       Date




                                                                                                                                             1326
                                                                                                                                               42
          Case Case
               No. Case
                   1:20-cr-00305-DDD
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                                                                  08/21/24 USDC
                                                                           Page
                                                                            Page2Colorado
                                                                                  43
                                                                                  of 8of 49                                      pg
                                            1329 of 1354
AO 245B (CO Rev. 11/20) Judgment in Criminal Case

                                                                                               Judgment — Page      2    of           8
 DEFENDANT:                   KIMBERLEY ANN TEW
 CASE NUMBER:                 1:20-cr-00305-DDD-2

                                           ADDITIONAL COUNTS OF CONVICTION

Title & Section                        Nature of Offense                                                         Offense Ended        Count
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                         03/20/2020              32
18 U.S.C. §§ 1956(h) and 1957          Conspiracy to Commit Money Laundering                                      07/31/2020              41
18 U.S.C. § 1957                       Engaging in Monetary Transactions in Property Derived                      06/11/2019              43
                                       from Specified Unlawful Activity
18 U.S.C. § 1957                       Engaging in Monetary Transactions in Property Derived                      08/28/2019              44
                                       from Specified Unlawful Activity
18 U.S.C. § 1957                       Engaging in Monetary Transactions in Property Derived                      09/18/2019              47
                                       from Specified Unlawful Activity
18 U.S.C. § 1957                       Engaging in Monetary Transactions in Property Derived                      03/03/2020              56
                                       from Specified Unlawful Activity




                                                                                                                                      1327
                                                                                                                                        43
          Case Case
               No. Case
                   1:20-cr-00305-DDD
                    1:20-cr-00305-DDD
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                                                                  08/13/24
                                                                  08/21/24 USDC
                                                                           Page
                                                                            Page3Colorado
                                                                                  44
                                                                                  of 8of 49                                     pg
                                            1330 of 1354
AO 245B (CO Rev. 11/20) Judgment in Criminal Case

                                                                                                     Judgment — Page   3   of         8
 DEFENDANT:                   KIMBERLEY ANN TEW
 CASE NUMBER:                 1:20-cr-00305-DDD-2

                                                            IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
 forty-eight (48) months; forty-eight (48) months to each of Counts 1, 21, 22, 25, 26, 31, 32, 41, 43, 44, 47 and 56, imposed concurrently.



      ☒    The court makes the following recommendations to the Bureau of Prisons:
           The Court recommends the defendant be permitted to participate in Residential Drug Abuse Program (RDAP).




      ☐    The defendant is remanded to the custody of the United States Marshal.

      ☐    The defendant shall surrender to the United States Marshal for this district:
           ☐      at                                      ☐      a.m. ☐       p.m.    on                                                      .
           ☐      as notified by the United States Marshal.

      ☒    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           ☒      before 12 p.m.      within 15 days of designation, but not before 10/08/2024
           ☐      as notified by the United States Marshal.
           ☒      as notified by the Probation or Pretrial Services Office.

                                                                  RETURN
 I have executed this judgment as follows:




          Defendant delivered
                                                                                           to
          on

 at                                                 , with a certified copy of this judgment.



                                                                                                              UNITED STATES MARSHAL



                                                                                                By
                                                                                                          DEPUTY UNITED STATES MARSHAL




                                                                                                                                      1328
                                                                                                                                        44
          Case Case
               No. Case
                   1:20-cr-00305-DDD
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                                                                  08/21/24 USDC
                                                                           Page
                                                                            Page4Colorado
                                                                                  45
                                                                                  of 8of 49                                      pg
                                            1331 of 1354
AO 245B (CO Rev. 11/20) Judgment in Criminal Case

                                                                                                Judgment — Page     4      of         8
 DEFENDANT:                   KIMBERLEY ANN TEW
 CASE NUMBER:                 1:20-cr-00305-DDD-2

                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: three (3) years on each count, imposed concurrently.




                                                    MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and a maximum of 20 tests per year of supervision thereafter.
            ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                  substance abuse. (check if applicable)
4.    ☒ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.    ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    ☐ You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.




                                                                                                                                       1329
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          Case Case
               No. Case
                   1:20-cr-00305-DDD
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                                                                  08/21/24 USDC
                                                                           Page
                                                                            Page5Colorado
                                                                                  46
                                                                                  of 8of 49                                         pg
                                            1332 of 1354
AO 245B (CO Rev. 11/20) Judgment in Criminal Case

                                                                                                  Judgment — Page      5      of          8
 DEFENDANT:                   KIMBERLEY ANN TEW
 CASE NUMBER:                 1:20-cr-00305-DDD-2

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may, after
      obtaining Court approval, notify the person about the risk or require you to notify the person about the risk and you must comply
      with that instruction. The probation officer may contact the person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date




                                                                                                                                           1330
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               No. Case
                   1:20-cr-00305-DDD
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                                                                  08/21/24 USDC
                                                                           Page
                                                                            Page6Colorado
                                                                                  47
                                                                                  of 8of 49                                   pg
                                            1333 of 1354
AO 245B (CO Rev. 11/20) Judgment in Criminal Case

                                                                                              Judgment — Page     6     of          8
 DEFENDANT:                   KIMBERLEY ANN TEW
 CASE NUMBER:                 1:20-cr-00305-DDD-2

                                          SPECIAL CONDITIONS OF SUPERVISION
     1.  You must participate in a program of cognitive behavioral treatment (CBT) approved by the probation officer and follow the rules
         and regulations of such program. The probation officer, in consultation with the treatment provider, will supervise your
         participation in the program as to modality, duration, and intensity. You must pay for the cost of treatment based on your ability
         to pay.
     2. You must participate in a program of mental health treatment approved by the probation officer and follow the rules and
         regulations of such program. The probation officer, in consultation with the treatment provider, will supervise your participation
         in the program as to modality, duration, and intensity. You must pay for the cost of treatment based on your ability to pay.
     3. If the judgment imposes a financial penalty/restitution, you must pay the financial penalty/restitution in accordance with the
         Schedule of Payments sheet of this judgment. You must also notify the court of any changes in economic circumstances that
         might affect your ability to pay the financial penalty/restitution.
     4. You must not incur new credit charges or open additional lines of credit without the approval of the probation officer, unless you
         are in compliance with the periodic payment obligations imposed pursuant to the Court’s judgment and sentence.
     5. You must provide the probation officer access to any requested financial information and authorize the release of any financial
         information until all financial obligations imposed by the court are paid in full.
     6. You must apply any monies received from income tax refunds, inheritances, judgments, and any anticipated or unexpected
         financial gains to the outstanding court-ordered financial obligation in this case.
     7. If you have an outstanding financial obligation, the probation office may share any financial or employment documentation
         relevant to you with the Asset Recovery Division of the United States Attorney's Office to assist in the collection of the
         obligation.
     8. You must document all income and compensation generated or received from any source and must provide that information to the
         probation officer as requested.
     9. You must provide the probation officer access to any requested financial information and authorize the release of any financial
         information.
     10. You must not cause or induce anyone to conduct any financial transaction on your behalf or maintain funds on your behalf.
     11. You must not conduct any foreign financial transactions without the advance approval of the probation officer.
     12. You must not conduct any transactions in cryptocurrency or otherwise access cryptocurrency accounts without the advance
         approval of the probation officer.
     13. You must maintain separate personal and business finances and must not co-mingle personal and business funds or income in any
         financial accounts, including but not limited to bank accounts and lines of credit.
     14. You must not open or otherwise use any financial transaction account without the advance approval of the probation officer.
     15. You must not engage in employment in which you would solicit funds for investment or employment that would permit you to
         have custody and/or control over investor funds, and you must not be the signatory on any accounts possessing investor funds.
     16. You must not engage in any gambling (including “skill-based” games) or games of chance. You must not enter any casino or
         establishment with gambling or games of chance available for use with out the advance approval of the probation officer.
     17. You must submit your person, property, house, residence, papers, computers (as defined in 18 U.S.C. § 1030(e)(1)), other
         electronic communications or data storage devices or media, or office, to a search conducted by a United States probation officer.
         Failure to submit to search may be grounds for revocation of release. You must warn any other occupants that the premises may
         be subject to searches pursuant to this condition. An officer may conduct a search pursuant to this condition only when
         reasonable suspicion exists that you have violated a condition of your supervision and that the areas to be searched contain
         evidence of this violation. Any search must be conducted at a reasonable time and in a reasonable manner.




                                                                                                                                    1331
                                                                                                                                      47
          Case Case
               No. Case
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                                                                  08/13/24
                                                                  08/21/24 USDC
                                                                           Page
                                                                            Page7Colorado
                                                                                  48
                                                                                  of 8of 49                                          pg
                                            1334 of 1354
AO 245B (CO Rev. 11/20) Judgment in Criminal Case

                                                                                                     Judgment — Page   7       of         8
 DEFENDANT:                   KIMBERLEY ANN TEW
 CASE NUMBER:                 1:20-cr-00305-DDD-2

                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on the following page.

                       Assessment                   Restitution            Fine                AVAA Assessment*             JVTA Assessment**
TOTALS                 $1,200.00                    $5,053,878.50          $30,000.00          $0.00                        $0.00

☐ The determination of restitution is deferred until                     . An Amended Judgment in a Criminal Case (AO 245C) will be entered
  after such determination.

☒ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                                       Total Loss***           Restitution Ordered            Priority or Percentage
National Air Cargo
Attn: Accounting Office
350 Windward Drive
Orchard Park, New York 14127                                                                         $5,053,878.50




TOTALS                                                       $                                       $5,053,878.50
☐ Restitution amount ordered pursuant to plea agreement              $

☒ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
  fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the following page may be
  subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

☐ The court determined that the defendant does not have the ability to pay interest and it is ordered that:

    ☐ the interest requirement is waived for the            ☐ fine       ☐ restitution.

    ☐ the interest requirement for the        ☐      fine    ☐ restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Publ. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.




                                                                                                                                           1332
                                                                                                                                             48
          Case Case
               No. Case
                   1:20-cr-00305-DDD
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                                                                  08/21/24 USDC
                                                                           Page
                                                                            Page8Colorado
                                                                                  49
                                                                                  of 8of 49                                                    pg
                                            1335 of 1354
AO 245B (CO Rev. 11/20) Judgment in Criminal Case

                                                                                                          Judgment — Page        8      of           8
 DEFENDANT:                   KIMBERLEY ANN TEW
 CASE NUMBER:                 1:20-cr-00305-DDD-2

                                                      SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ☐ Lump sum payment of $                                    due immediately, balance due

           ☐      not later than                                    , or
           ☐      in accordance with ☐        C,     ☐      D,      ☐ E, or ☐         F below; or

B     ☒ Payment to begin immediately (may be combined with ☐ C,                       ☐       D, or     ☒       F below); or

C     ☐ Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                          (e.g., 30 or 60 days) after the date of this judgment; or

D     ☐ Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                           (e.g., months or years), to commence                          (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     ☐ Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
        imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F     ☒ Special instructions regarding the payment of criminal monetary penalties:
           The special assessment, restitution, and fine obligation are due immediately. Any unpaid monetary obligations upon release
           from incarceration shall be paid in monthly installment payments during the term of supervised release. The monthly
           installment payment will be calculated as at least 10 percent of the defendant’s gross monthly income.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

☒     Joint and Several
      Case Number
      Defendant and Co-Defendant Names                                           Total                Joint and Several              Corresponding Payee,
      (including defendant number)                                              Amount                   Amount                         if appropriate
      1:20-cr-00305-DDD-2, Kimberley Ann Tew                                 $5,053,878.50             $5,053,878.50                  National Air Cargo
      1:20-cr-00305-DDD-1, Michael Aaron Tew                                    TBD                       TBD                                TBD
      1:20-cr-00305-DDD-3, Jonathan K. Yioulos                                  TBD                       TBD                                TBD

☐     The defendant shall pay the cost of prosecution.

☐     The defendant shall pay the following court cost(s):

☒     The defendant shall forfeit the defendant’s interest in the following property to the United States:
      a money judgment in the amount of proceeds obtained by the scheme and by the defendants, $5,053,878.50.



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.



                                                                                                                                                         1333
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Case No.Case
          1:20-cr-00305-DDD
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                                                        08/21/24 USDC
                                                                   PageColorado
                                                                        1 of 2  pg
                                   1336 of 1354
Appellate Case: 24-1333 Document: 010111098109 Date Filed: 08/21/2024 Page: 1
                     UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                Byron White United States Courthouse
                                          1823 Stout Street
                                      Denver, Colorado 80257
                                           (303) 844-3157
                                      Clerk@ca10.uscourts.gov
 Christopher M. Wolpert                                                            Jane K. Castro
 Clerk of Court                                                                Chief Deputy Clerk
                                        August 21, 2024

  Jamie Hubbard
  Mr. David S. Kaplan
  Stimson LaBranche Hubbard
  1652 Downing Street
  Denver, CO 80218

  RE:       24-1333, United States v. Tew
            Dist/Ag docket: 1:20-CR-00305-DDD-2

 Dear Counsel:

 Your appeal has been docketed, and the appeal number is above. Within 14 days from
 the date of this letter, Appellant’s counsel must electronically file:

     •   An entry of appearance per 10th Cir. R. 46.1(A).
     •   A docketing statement per 10th Cir. R. 3.4.
     •   A transcript order form or notice that no transcript is necessary per 10th Cir.
         R. 10.2. This form must be filed in both the district court and this court.
     •   A designation of record per 10th Cir. R.10.3(A). This form must be filed in both
         the district court and this court.
     •   Either a motion to continue your CJA appointment, or a motion to withdraw
         per 10th Cir. R. 46.3(B).
     •   Please note: A defendant-appellant’s trial counsel in criminal and post-conviction
         cases must perfect the appeal before seeking to withdraw. This is the case even if
         counsel did not file the notice of appeal. Perfecting the appeal requires filing, at a
         minimum, an entry of appearance and a docketing statement. 10th Cir. R. 46.3(A).

 In addition, all counselled entities that are required to file a Federal Rule of Appellate
 Procedure 26.1 disclosure statement must do so within 14 days of the date of this letter.
 All parties must refer to Federal Rule of Appellate Procedure 26.1 and Tenth Circuit Rule
 26.1 for applicable disclosure requirements. All parties required to file a disclosure
 statement must do so even if there is nothing to disclose. Rule 26.1 disclosure statements
 must be promptly updated as necessary to keep them current.

 Also within 14 days, Appellee’s counsel must electronically file an entry of appearance
 and certificate of interested parties. Attorneys that do not enter an appearance within
 the specified time frame will be removed from the service list.


                                                                                                    1334
Case No.Case
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                                 Document
                                       645-2
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                                                      01/24/25
                                                        08/21/24 USDC
                                                                   PageColorado
                                                                        2 of 2  pg
                                   1337 of 1354
Appellate Case: 24-1333 Document: 010111098109 Date Filed: 08/21/2024 Page: 2
 The Federal Rules of Appellate Procedure, the Tenth Circuit Rules, and forms for the
 aforementioned filings are on the court’s website. The Clerk’s Office has also created a
 set of quick reference guides and checklists that highlight procedural requirements of
 appeals filed in this court.

 Please contact this office if you have questions.

                                             Sincerely,



                                             Christopher M. Wolpert
                                             Clerk of Court



  cc:      Bryan David Fields
           Laura Beth Hurd
           Martha A. Paluch
           Andrea L. Surratt
           Sarah Weiss



  CMW/klp




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Case No.
      Case
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            1:20-cr-00305-DDDDocument
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                                                     09/16/24 USDC
                                                               PageColorado
                                                                   1 of 10                       pg
                                 1338 of 1354




                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO


  Case No. 1:20-cr-00305-DDD-2

  UNITED STATES OF AMERICA,

          Plaintiff,
  v.

  2. KIMBERLEY ANN TEW

          Defendant.

                       Kimberley Tew’s Motion for Release Pending Appeal


         Defendant Kimberly Ann Tew, through trial attorneys David S. Kaplan and Jamie

 Hubbard, submits this motion to remain on bond pending her appeal in accordance with the

 authority contained in 18 U.S.C. § 3142(b)(1).

                                        Procedural History

         Kimberley Tew was indicted in February 2021 and released on pretrial supervision. For

 more than four and a half years, she has been under supervision by federal officers. She has

 remained in contact with her supervising officer, completed her required check-ins, showed up

 for every court appearance, and never had a violation report filed against her.

         On February 15, 2024, Kimberley Tew was convicted on twelve counts of conspiracy,

 wire fraud, and money laundering in the above case. After her convictions were entered, this

 Court allowed her to remain out of custody pending sentencing. (ECF No. 439.) After the

 Government objected to Mrs. Tew’s continued release, the Court held an evidentiary hearing on

 the matter and again ordered that she could remain on release pending sentencing. (ECF No.

 483.)




                                                                                                      1336
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
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                                                                   2 of 10                             pg
                                 1339 of 1354




         Mrs. Tew was recently sentenced by this Court to forty-eight months imprisonment

 followed by three years of supervised release. (ECF No. 527.) At the sentencing hearing, the

 Court permitted Mrs. Tew to remain on release until designated to a facility by the Bureau of

 Prisons. She is currently scheduled to report on October 9, 2024 to serve her sentence at Satellite

 Prison Camp at FCI-Phoenix. (ECF No. 545.)

         Mrs. Tew has appealed her convictions. (ECF No. 535.) This Court retains jurisdiction,

 however, to decide whether Mrs. Tew may remain on release pending her appeal. United States v

 Meyers, 95 F.3d 1475 n.6 (10th Cir. 1996) (“Although the filing of a notice of appeal usually

 divest the district court of further jurisdiction, the initial determination of whether a convicted

 defendant is to be released pending appeal is to be made by the district court.”); F.R.A.P. 9,

 advisory committee notes (“Notwithstanding the fact that jurisdiction has passed to the court of

 appeals, both 18 U.S.C. § 3148 and FRCrP 38(c) contemplate that the initial determination of

 whether a convicted defendant is to be released pending the appeal is to be made by the district

 court.”).

                                       Statement of Conferral

         The Government opposes the relief requested.

                                           Legal Standard

         Section 3143 of Title 18 of the United States Code provides, in relevant part:

                (b) Release or Detention Pending Appeal by the Defendant.—

                (1) Except as provided in paragraph (2), the judicial officer shall
                order that a person who has been found guilty of an offense and
                sentenced to a term of imprisonment, and who has filed an appeal
                or a petition for a writ of certiorari, be detained, unless the judicial
                officer finds—



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                                                               PageColorado
                                                                   3 of 10                         pg
                                 1340 of 1354




                  (A) by clear and convincing evidence that the person is not likely
                  to flee or pose a danger to the safety of any other person or the
                  community if released under section 3142(b) or (c) of this title; and

                  (B) that the appeal is not for the purpose of delay and raises a
                  substantial question of law or fact likely to result in—

                         (i) reversal,
                         (ii) an order for a new trial,
                         (iii) a sentence that does not include a term of
                         imprisonment, or
                         (iv) a reduced sentence to a term of imprisonment less than
                         the total of the time already served plus the expected
                         duration of the appeal process.

                  If the judicial officer makes such findings, such judicial officer
                  shall order the release of the person in accordance with section
                  3142(b) or (c) of this title, except that in the circumstance
                  described in subparagraph (B)(iv) of this paragraph, the judicial
                  officer shall order the detention terminated at the expiration of the
                  likely reduced sentence.

                              Mrs. Tew Is Not a Danger or Flight Risk

        This Court previously found—more than once—that Mrs. Tew is not a danger to herself

 or the community or a risk of flight. After the convictions entered, Mrs. Tew could only be

 released if the Court found “by clear and convincing evidence that the person is not likely to flee

 or pose a danger to the safety of any other person or the community if released.” 18 U.S.C. §

 3143(a). In allowing Mrs. Tew to remain on bond until her sentencing hearing, the Court pointed

 to the fact that Mrs. Tew had shown up for every court appearance, including trial, knowing

 there was a significant risk of conviction and a resulting (potentially lengthy) term of

 imprisonment. The Court noted Mrs. Tew’s ties to the community, most significantly her school-

 aged children.




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                                                                   4 of 10                               pg
                                 1341 of 1354




        None of the factors relied on by the Court in making this earlier determination have

 changed. Mrs. Tew remains compliant with supervision. Her daughters remain in Colorado; one

 is enrolled in public school while the other is home schooled. If anything, any potential flight

 risk has lessened since the Court last found Mrs. Tew met the criteria to remain on release. After

 her convictions entered, Mrs. Tew was aware that she faced the potential of more than a decade

 in prison if sentenced within the applicable guideline range. The Court then imposed a 48-month

 sentence, less than 1/3 of what the Government was seeking. Thus, any risk that Mrs. Tew would

 flee has decreased since the last time the Court found by clear and convincing evidence that she

 was not a flight risk or danger to the community.

        Mrs. Tew has been on pretrial release for more than four years. During that time, her

 supervising officer has not filed any violation reports or otherwise indicated non-compliance by

 Mrs. Tew, even as her conditions of release have shifted over time. Instead, she remained in

 contact with her supervising officer and appeared for every court date. As such, the Court can

 easily find in this case—as it has multiple times in the past—that Mrs. Tew is not a flight risk or

 a danger to the community so as to satisfy § 3143(b)(1)(A).

                     Substantial Issues Will be Raised in Mrs. Tew’s Appeal

        With respect to Section 3143(b)(1)(B), Mrs. Tew has separate counsel appointed to

 pursue her appeal. However, trial counsel has identified a number of issues that raise substantial

 questions of law or fact and which may result in her convictions being vacated. The two most

 obvious issues to trial counsel are addressed below and show that Mrs. Tew’s appeal is not for

 purposes of delay but rather raises substantial issues of fact and law that are likely to result in a

 new trial for Mrs. Tew.



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                                                                   5 of 10                            pg
                                 1342 of 1354




        Severance: Over the objection of both defendants, Mrs. Tew and her husband were tried

 jointly despite Mr. Tew’s defense being antagonistic towards Mrs. Tew. Mrs. Tew’s defense

 focused on knowledge—what she knew about the source of funds coming into her husband’s

 accounts and their joint account. Did she know the money came from National Air Cargo? Did

 she know Michael Tew wasn’t entitled to payment/compensation from NAC? If the jury

 concluded that Mrs. Tew did not know the source of the funds or did not know that her husband

 wasn’t entitled to the money being transferred to him, the jury could have acquitted her of the

 conspiracy, wire fraud, and money laundering charges.

        Mr. Tew’s defense team took a very different approach to the case. In a kind of duress

 defense, they portrayed Kimberley Tew as a puppeteer who was in complete control of her

 husband’s every action. Mr. Tew’s attorneys elicited testimony and presented evidence that—not

 only did Kimberley Tew know her husband was stealing funds from National—she made him do

 it. Mr. Tew’s attorneys wanted the jury to believe that, but for Kimberley Tew’s manipulation of

 her husband, Michael Tew would never have stolen the money.

        Defenses are antagonistic if “the conflict between codefendants’ defenses [is] such that

 the jury, in order to believe the core of one defense, must necessarily disbelieve the core of the

 other.” United States v. Linn, 31 F.3d 987, 992 (10th Cir.1994). For the jurors to believe Mr.

 Tew’s defense that Mrs. Tew was the mastermind behind the entire scheme, they would

 necessarily have to disbelieve Mrs. Tew’s defense that she lacked the required knowledge as to

 the legality of the source of funds. Under similar circumstances, the Tenth Circuit has held that

 defenses were antagonistic. United States v. Pursley, 474 F.3d 757, 766 (10th Cir. 2007).

 Moreover, in Pursley, the appeals court upheld denial of the severance because—even though



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                                                               PageColorado
                                                                   6 of 10                           pg
                                 1343 of 1354




 antagonistic—both parties’ defenses exonerated the defendant. Here, Michael Tew’s defense did

 not exonerate his wife; it placed all the blame at her feet. Thus, Mrs. Tew was prejudiced by the

 failure to sever. Id.

         The joint trial had the practical effect of Mrs. Tew being prosecuted by four attorneys—

 two attorneys representing the government and two attorneys representing her husband. Much of

 the testimony about Mrs. Tew’s character was elicited or amplified by the attorneys representing

 Michael Tew. Mrs. Tew has a strong argument on appeal that she was unfairly prejudiced by the

 joint trial. If the appellate court agrees, her conviction would be vacated and the matter remanded

 for a new trial. Accordingly, Mrs. Tew’s appeal satisfies 18 U.S.C. § 3143(b)(1)(B).

         Improper Character Evidence: During trial, witness after witness took the stand and

 testified negatively about prior interactions they had with Kimberley Tew or their opinions about

 Kimberley Tew’s bad character.

         Hannah Scaife was permitted to testify that Kimberley Tew was “toxic”, “emotionally

 manipulative,” and pressured her to do things that she would not otherwise do. Mrs. Scaife was

 specifically permitted to testify about a time in 2015—two years prior to the events at issue in

 this case—when she visited the Tews in Colorado and observed Kimberley “verbally abusing”

 Mr. Tew. At one point, in overruling the Government’s objection to a question asked on cross-

 examination, the Court noted that a big part of Ms. Scaife’s testimony was to establish that she

 had been manipulated by Mrs. Tew.

         The Government elicited this testimony that clearly falls within F.R.E. 404(b) without

 any prior notice of its intent to do so. Ms. Scaife’s character testimony was not during the

 timeframe of the conspiracy and did not relate to the facts of the conspiracy. It was offered to



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                                                                   7 of 10                           pg
                                 1344 of 1354




 show that Mrs. Tew was a manipulative and abusive person in 2015 and earlier, and therefore it

 is more likely that Mrs. Tew was abusive and manipulative during the conspiracy.

        Similarly, Abby Schwartz, a bookkeeper who worked at National, was permitted to

 testify about a phone call with Kimberley Tew where Mrs. Tew was screaming at her to pay an

 invoice for money owed to Michael Tew. Ms. Schwartz testified that she was so bothered by the

 tone and tenor of the call that she went to her boss and requested that she never be made to speak

 with Mrs. Tew again. This phone call occurred prior to the timeframe of the conspiracy and

 related to money that Michael Tew was legitimately owed by National based on his employment

 contract. The only purpose for this call was to show that Kimberley Tew had a propensity

 towards making abusive phone calls and verbally abusing others. It was admitted without the

 notice required by Rule 404(b) and without the required limiting instruction when 404(b)

 evidence is admitted for a non-propensity purpose.

        A slightly separate but related issue is the multiple witnesses who were permitted to give

 what was, in essence, victim impact testimony. Chris Alf, National’s president, testified about his

 wife’s cancer diagnosis and how dealing with the theft of funds during this stressful time

 impacted him emotionally. Abby Schwartz tearfully explained the betrayal she felt because of

 the defendants’ actions and how she was impacted emotionally. Michael Meyers was permitted

 to testify about how his cryptocurrency trading with Mrs. Tew—a different scheme that had little

 to nothing to do with the crimes charged—negatively impacted his life, including how it

 “destroyed” his relationship with his wife and daughter and drove him into drinking heavily.

        None of this character testimony was relevant to the crimes charged. Neither Mr. Alf’s

 wife’s cancer, nor Ms. Schwartz’s feelings of betrayal, nor the state of Mr. Meyers’s marriage



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                                                                   8 of 10                              pg
                                 1345 of 1354




 made any fact at issue more or less likely. Victim impact testimony was offered through witness

 after witness purely for the purpose of pulling on the jurors’ heartstrings and portraying

 Kimberley Tew as a manipulative, abusive, horrible human being that the jury should punish

 regardless of whether she committed the crimes charged. Admission of this kind of victim

 impact testimony from any of these witnesses was error. The cumulative impact of allowing the

 Government to intentionally elicit emotional victim impact testimony from witness after witness

 was unfairly prejudicial and materially impacted the outcome of this case. If the appellate court

 agrees, remand for a new trial would be appropriate. Accordingly, this issue also satisfies 18

 U.S.C. §3143(b)(1)(B).

           Mrs. Tew is Entitled to Release Pending Appeal Under Section 3143(b)(1)

         If the Court finds: (1) Mrs. Tew is not a flight risk or a danger to the community; and (2)

 her appeal raises substantial legal issues likely to result in reversal or an order for a new trial,

 then Section 3143(b)(1) provides that the Court “shall order the release of the person.” This

 Court has previously found that Mrs. Tew is not a danger or a flight risk and imposed conditions

 on her release that could remain in place during the pendency of an appeal. The appellate issues

 identified herein are just a few of the many viable challenges that will be addressed in her appeal,

 and which show that such appeal is not intended for delay and is likely to result in reversal of her

 convictions or a new trial. Because Mrs. Tew satisfies both prongs of Section 3143(b), the Court

 shall order her release pending appeal.

         For the reasons set forth above, Mrs. Tew respectfully requests the Court vacate the order

 requiring her to report to serve her custodial sentence and instead order that she remain on

 release under the supervision of the Court pending her appeal.



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                                                                   9 of 10    pg
                                 1346 of 1354




       Dated: September 16, 2024.


                                       Respectfully submitted,



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                                       David S. Kaplan
                                       Jamie Hubbard
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                                       Attorneys for Kimberley Ann Tew




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                                                                    10 of 10                      pg
                                  1347 of 1354




                                      Certificate of Service

        I certify that on September 16, 2024, I electronically filed Kimberley Tew’s Motion for
 Release pending Appeal using the CM/ECF system.

                                                 s/ Andres L. Varas
                                                 Andres L. Varas, Paralegal




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                                  1348 of 1354




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


  Case No. 1:20-cr-00305-DDD-2

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  2. KIMBERLEY ANN TEW

         Defendant.

               Order re: Kimberley Tew’s Motion for Release Pending Appeal


         This Court, having considered Kimberley Tew’s Motion for Release Pending Appeal
 hereby GRANTS the Motion. The Voluntary Surrender Order Supplementing Judgment (Doc.
 545) is VACATED. Defendant Kimberley Tew is directed to remain on release under the
 supervision of the Court pending her appeal.

                                                 BY THE COURT:


                                                 ______________________________
                                                 Judge




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                                                                  PageColorado
                                                                       1 of 6                    pg
                                  1349 of 1354




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW and
      2. KIMBERLEY ANN TEW,
         a/ka Kimberley Vertanen,

        Defendants.


   GOVERNMENT=S RESPONSE TO DEFENDANT’S MOTION FOR ORDER
                FOR RELEASE PENDING APPEAL


        Kimberley Tew’s motion to delay the execution of her sentence should be

 denied. The law dictates that a convicted defendant, including Ms. Tew, “shall” be

 remanded into custody, even when there is an appeal pending. See 18 U.S.C.

 § 3143(b)(1) (emphasis added). Exceptions to this rule are limited, and the bar is

 high. See 18 U.S.C. § 3143(b)(2)(A) & (B). In order to justify the exceptional relief she

 now requests, she must prove to this Court that her appeal raises “substantial”

 questions that are “likely to result in reversal or a new trial.” 18 U.S.C. § 3143(b); United

 States v. Affleck, 765 F.2d 944, 952 (10th Cir. 1985). Nothing in her motion meets this high

 standard.

        Ms. Tew takes issue with two aspects of her criminal trial: (1) the ruling on an


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            1:20-cr-00305-DDDDocument
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                                                                  PageColorado
                                                                       2 of 6                  pg
                                  1350 of 1354




 untimely severance motion made over a year after the relevant deadline and (2)

 questions about evidentiary rulings.

        The first argument was waived: the defendant did not file a written motion, but

 her oral motion for severance was just as untimely as her husband’s. See ECF No. 424 at

 5 (noting untimeliness of Michael Tew’s severance motion, which was grounded in

 arguments similar to defendant’s). A waived argument is reviewed only for plain error,

 which is a “very demanding” standard that is unlikely to raise a substantial question.

 See, e.g., United States v. Geddings, 497 F. Supp. 2d 729, 737 (W.D.N.C. 2007) (evaluating

 whether waived argument can amount to substantial question and concluding that

 plain error standard makes it unlikely).

        But even if questions about severance raised during trial were preserved, neither

 that issue nor the evidentiary issues related to testimony are particularly “substantial.”

 They amount to the rough equivalent of continued disagreement with an umpire’s balls

 and strikes. Indeed both issues were raised, briefed and/or argued vigorously at the

 time. Both were rejected after careful consideration.

        Further, even setting aside timeliness, each question will be evaluated by the

 appellate court under an abuse of discretion standard. United States v. Hill, 786 F.3d

 1254, 1272 (10th Cir. 2015) (describing the burden as “particularly heavy” in the context

 of severance); United States v. Cestnik, 36 F.3d 904, 906 (10th 1994) (“Evidentiary rulings

 are committed to the discretion of the trial court, and we review them only for abuse of



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                                                       09/20/24 USDC
                                                                  PageColorado
                                                                       3 of 6                  pg
                                  1351 of 1354




 discretion.”). In other words, in order to prevail on these issues on appeal, she has to

 show not just that the decisions could have gone the other way, or even that they were

 wrong, but that they were so egregiously wrong as to “exceed the bounds of

 permissible choice in the circumstance or [were] arbitrary, capricious or whimsical.”

 United States v. Henthorn, 864 F.3d 1241, 1248 (10th Cir. 2017) (describing abuse of

 discretion standard).

        Unsurprisingly, her brief describes no cases where anyone has met these

 rigorous standards for bond pending appeal under circumstances similar to hers. She

 points to no rulings where a trial court’s severance decision was found to be an abuse of

 discretion, let alone plain error. Nor does she cite a single case where the admission of

 what she describes as “character evidence” was found to be both outside the bounds of

 the trial court’s discretion and a reason to overturn a conviction. Instead, she simply

 repeats arguments that the Court already thoughtfully considered and rejected.

        Even if Ms. Tew were somehow able to articulate how the court’s exercises of

 discretion amount to substantial questions, she still would not be entitled to relief. That

 is because she would then need to show that those allegedly inappropriate decisions

 were so wrong that they are likely to result in reversal. Affleck, 765 F.2d at 953. On this

 score, the defendant’s arguments are conclusory at best.

        She does not engage at all with the considerable evidence put before the jurors

 which proved to them that she was guilty beyond a reasonable doubt. To take but one



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                                                                  PageColorado
                                                                       4 of 6              pg
                                  1352 of 1354




 category of evidence, the trial featured hundreds of pages of text messages in which Ms.

 Tew spoke openly about her crimes nearly every week for two years. The likelihood

 that the harmless error standard will bar the appellate relief required of Section

 3143(b)(2)(B) is further reason to deny her motion. Id. (noting that even substantial

 questions must amount to more than harmless error).

        Finally, the government understands and respects the Court’s prior rulings

 regarding the risks of flight and danger to the community. But for purposes of preserving

 the record, the government again reiterates its position that she is both, incorporates its

 prior filings articulating that position, and avers that this is yet another reason to deny

 the motion. ECF No. 450. Ms. Tew should be ordered to surrender as scheduled on

 October 9, 2024. ECF No. 545.

                                           Respectfully submitted,

                                           MATTHEW T. KIRSCH
                                           United States Attorney

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                                                                       5 of 6           pg
                                  1353 of 1354




 Certification of Type-Volume Limitation

        I hereby certify that the foregoing pleading complies with the type-volume
 limitation set forth in Judge Domenico’s Practice Standard III(A)(1).

                                                       /s Bryan Fields
                                                       Bryan David Fields

 Statement of Speedy Trial Impact

        Pursuant to Judge Domenico’s Practice Standard III(C), the government
 notes that this motion will not affect the speedy trial clock in this case because trial
 has already occurred within the Speedy Trial Act deadline.




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                                  1354 of 1354




                          CERTIFICATE OF SERVICE


        I hereby certify that on September 20, 2024, I electronically filed the
 foregoing with the Clerk of the Court using the CM/ECF system which will send
 notification of such filing to any and all counsel of record.


                                      s/ Bryan Fields
                                      United States Attorney’s Office




                                         6




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